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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 JAZZ PHARMACEUTICALS, INC.,

       Plaintiff and Counter-Defendant,
                                            C.A. No. 22-941-GBW
       v.

 AVADEL CNS PHARMACEUTICALS,
 LLC,

       Defendant and Counter-Plaintiff       PUBLIC VERSION FILED: June 20, 2025


           DECLARATION OF DANIEL M. SILVER, ESQ IN SUPPORT OF
  AVADEL CNS PHARMACEUTICALS, LLC’S REPLY BRIEF IN SUPPORT OF ITS
             SUMMARY JUDGMENT AND DAUBERT MOTIONS
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        I, Daniel M. Silver declare as follows:

            1. I am a partner at McCarter & English, LLP and counsel of record for defendant

Avadel CNS Pharmaceuticals, LLC (“Avadel”) in the above-captioned action. I am a member in

good standing of the State Bar of Delaware. The facts set forth herein are true and correct, and

based on my own personal knowledge. If called upon to testify as a witness, I could and would

competently testify thereto.

            2. Attached as Exhibit 97 is a true and correct copy of Jazz Pharmaceuticals’

Objections and Responses to Avadel’s Second Set of Interrogatories (Nos. 4-12) served on August

30, 2023.

            3. Attached as Exhibit 98 is a true and correct copy of Exhibit 122 to the Deposition

of Phillip J. Honerkamp taken on September 27, 2024.

            4. Attached as Exhibit 99 is a true and correct copy of the Deposition of Jana Gold

taken on October 8, 2024.

            5. Attached as Exhibit 100 is a true and correct copy of D.I. 585 Memorandum of

Law in Support of Defendant’s Motion for Summary Judgment filed in In re Lantus Direct

Purchaser Antitrust Litigation, Case No. 1:16-cv-12652-LTS-JCB (D. Mass Mar. 21, 2025).

            6. Attached as Exhibit 101 is a true and correct copy of Jazz Pharmaceuticals’

Objections and Responses to Avadel’s First Set of Interrogatories (Nos. 1-3) served on May 18,

2023.

            7. Attached as Exhibit 102 is a true and correct copy of SEC Form 10-K for Jazz

Pharmaceuticals Public Limited Company for the fiscal year ended December 31, 2016.

            8. Attached as Exhibit 103 is a true and correct copy of Exhibit 104 to the Deposition

of Bruce Cozadd taken on September 17, 2024.
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           9. Attached as Exhibit 104 is a true and correct copy of Exhibit 97 to the Deposition

of Bruce Cozadd taken on taken on September 17, 2024.

           10. Attached as Exhibit 105 is a true and correct copy of Exhibit 98 to the Deposition

of Bruce Cozadd taken on taken on September 17, 2024.

           11. Attached as Exhibit 106 is a true and correct copy of production document Bates

numbered JP-COMP-000409587.

           12. Attached as Exhibit 107 is a true and correct copy of the Brief of the Federal Trade

Commission as Amicus Curiae in Support of No Party, In re Wellbutrin XL Antitrust Litig., No.

15-3559 (3rd Cir. 2016).

           13. Attached as Exhibit 108 is a true and correct copy of the Brief of Amicus Curiae

Federal Trade Commission in Support of No Party, In re Nexium (Esomeprazole) Antitrust Litig.,

No. 15-2005 (1st Cir. 2016).

           14. Attached as Exhibit 109 is a true and correct copy of the Brief for the Federal Trade

Commission as Amicus Curiae in Support of Neither Party, United Healthcare Services, Inc. v.

Gilead Sciences, Inc., No. 24-1585 (N.D. Cal. 2024).

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on June 13, 2025.

                                                  /s/ Daniel M. Silver
                                                  Daniel M. Silver (#4758)
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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


                                           Civil Action No. 16-cv-12652-LTS-JCB

 In re LANTUS DIRECT PURCHASER              Public Version. Motion for Leave to
 ANTITRUST LITIGATION                       File Under Seal Granted on February 28,
                                            2025 (Docket No. 566)

                                           Oral Argument Requested




                  MEMORANDUM OF LAW IN SUPPORT OF
              DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

        Four complaints and eight years later, Plaintiffs—a group of corporate drug wholesalers—

 have abandoned multiple theories of liability arising from Sanofi’s attempt to comply with its

 obligations under the Hatch-Waxman Act. Sanofi is entitled to summary judgment on Plaintiffs’

 remaining antitrust claims for two core reasons: (1) Plaintiffs’ causation theory fails as a matter of

 law, and (2) antitrust law does not impose strict liability for a reasonable, good faith attempt to

 comply with a complex regulatory scheme.

        Plaintiffs assert that Sanofi-Aventis U.S. LLC (“Sanofi”) exploited provisions of the Food,

 Drug and Cosmetic Act (“FDCA”) to delay follow-on competition for its Lantus SoloStar, a pre-

 filled insulin glargine injector pen prescribed for the treatment of diabetes. According to Plaintiffs’

 sole remaining theory, Sanofi improperly submitted patents on the injector-pen component of the

 Lantus SoloStar (the “SoloStar Patents”) to FDA for publication in its list of Approved Drug

 Products with Therapeutic Equivalence Evaluations (known as the “Orange Book”), and then

 asserted the patents in Hatch-Waxman Act patent infringement lawsuits against Eli Lilly & Co.

 (“Lilly”) and Merck Sharp & Dohme Corp. (“Merck”) to obtain statutory 30-month stays of FDA

 approval for their competing pen products. Absent the stays caused by the SoloStar Patents,

 Plaintiffs assert, FDA would have approved Lilly’s Basaglar and Merck’s Lusduna pen products

 sooner, and the prices Plaintiffs paid for insulin glargine pen products would have fallen faster.

        Plaintiffs’ claims based on the SoloStar Patents fails for a simple reason: lack of causation.

 The SoloStar Patents did not cause 30-month stays of approval for Lilly’s and Merck’s drug

 applications as a matter of law. Two formulation patents (the “Formulation Patents”) were the sole

 or independent legal cause of the stays to which Plaintiffs attribute all their injuries.

        Even if Plaintiffs could prove causation, the antitrust laws do not impose “strict liability

 for improper Orange Book submissions.” In re Lantus, 950 F.3d 1, 11 (1st Cir. 2020). Here, listing


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 the SoloStar Patents in the Orange Book “was the result of [Sanofi’s] reasonable, good-faith

 attempt to comply with the Hatch-Waxman regulatory scheme,” and that bars antitrust liability as

 a matter of law. Id. at 14. Sanofi is entitled to summary judgment for both reasons.

                                                  BACKGROUND

          A. The Food, Drug and Cosmetic Act and the Hatch-Waxman Act

          To sell a new drug in the United States, a company must submit a New Drug Application

 (“NDA”) to FDA containing extensive information about the drug’s safety and efficacy. 21 U.S.C.

 § 355. When FDA approves a prescription drug, it lists the drug in the Orange Book’s Prescription

 Drug Product List, and assigns one or more product numbers to the drug. SOF ¶¶ 9, 11, 14.

          1. Hatch-Waxman. In 1984, Congress passed the Hatch-Waxman Act to incentivize drug

 development and access to generic drugs. See Apotex, Inc. v. Thompson, 347 F.3d 1335, 1338 (Fed.

 Cir. 2003). The statute accomplished two relevant things. First, it allowed generic manufacturers

 to obtain FDA approval for a generic version of a previously approved, Orange Book-listed drug

 (“Listed Drug”), by filing a truncated application that relies on FDA’s finding of safety and

 efficacy for the Listed Drug. Id.; 21 U.S.C. § 355(b)(2) & (j); McCalips Decl. Ex. 93, ¶¶ 19-20

 (“Glover Rpt.”). 1 The prior finding is based on testing and clinical studies that the manufacturer

 of the Listed Drug submitted with its NDA. 21 C.F.R. § 314.50(d)(5)(ii)-(iv); Glover Rpt. ¶ 17.

          Second, Hatch-Waxman created a framework for resolving patent disputes between

 innovative and generic drug manufacturers before the generic manufacturer launches its product

 at risk of treble damages for willful patent infringement. Apotex, 347 F.3d at 1338. If a generic



   1
     Section 505(b)(2) and (j) create separate shortcuts to FDA approval. Generally speaking, subsection (b)(2) is for
 “follow-on” drugs that differ in some way from the reference drug, but the manufacturer can show that any differences
 do not affect safety and efficacy; subsection (j) is for “generic” drugs that are bioequivalent and identical to the
 reference drug in all ways specified in the statute. The listing provision, codified at 21 U.S.C. § 355(b)(1) & (c)(2)
 (2018) (“Listing Provision,” discussed more fully below) applies to both, so this brief refers to applications filed under
 Section 505(b)(2) and (j) as “generics” unless otherwise noted.



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 manufacturer seeks to rely on FDA’s finding of safety and efficacy for a Listed Drug, it must

 determine whether there are patents listed in the Orange Book’s Patent and Exclusivity Addendum

 for that drug. Id. at 1338-39; McCalips Decl. Ex. 106) ¶¶ 8-12 (“Williams Supp. Rpt.”). The

 generic applicant must then certify to FDA that (i) no patent is listed; (ii) each listed patent has

 expired; (iii) the applicant will wait until the patent expires; or (iv) the listed patent “is invalid or

 will not be infringed” by the generic drug. 21 U.S.C. § 355(b)(2)(A)(i)-(iv). The last of these is

 called a “Paragraph IV Certification, ” and it constitutes a statutory “act of patent infringement.”

 Apotex, 347 F.3d at 1339. If the patent holder sues the generic manufacturer for infringement

 within 45 days of receiving notice of the Paragraph IV certification, FDA may not approve the

 generic drug until the earliest of: 30 months from the date of notice; the patent expires; the court

 modifies the stay; or the patent is held invalid or not infringed. Id.; 21 U.S.C. § 355(c)(3)(C).

         The Listing Provision described the types of patents that must be listed in the Orange Book.

 When Sanofi listed the SoloStar Patents beginning in 2011, the Listing Provision required NDA

 applicants and holders to inform FDA of “the patent number and the expiration date of any patent

 which claims the drug for which the applicant submitted the application or which claims a method

 of using such drug and with respect to which a claim of patent infringement could reasonably be

 asserted if a person not licensed by the owner engaged in the manufacture, use, or sale of the drug.”

 21 U.S.C. § 355(b)(1) & (c)(2) (2018). 2 The Hatch-Waxman Act required FDA to list these patents

 in the Orange Book’s Patent and Exclusivity Addendum. SOF ¶ 13.

         2. Drug-device combination products. A combination product comprises two or more

 “regulated components,” such as a drug component and a device component. 21 C.F.R. § 3.2(e)(1).



  2
     In ways not relevant here, Congress amended § 355 in the Orange Book Transparency Act of 2020, Pub. L. No.
 116-290, § 2 134 Stat. 4889 (2021). This case concerns Sanofi’s conduct under the prior version of the law, and all
 citations in this brief to § 355 refer to the prior version of the law unless otherwise noted.



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 In 1990, Congress gave FDA authority to regulate combination products as drugs if the “primary

 mode of action” is “that of … a drug.” 21 U.S.C. § 353(g)(1)(C) & (D)(i). Congress also amended

 the definition of “drug” so that it included “devices” and their “components.” Genus Med. Techs.,

 LLC v. FDA, 427 F. Supp.3d 74, 85 (D.D.C. 2019) (discussing Safe Medical Devices Act of 1990).

        FDA then issued regulations for drug-device combination products. One regulation defined

 a class of “single entity” combination products to include “[any] product comprised of two or more

 regulated components”—such as drug and a device—“that are physically, chemically, or otherwise

 combined or mixed and produced as a single entity.” 56 Fed. Reg. 58754, 58756 (Nov. 21, 1991)

 (codified at 21 C.F.R. § 3.2(e)(1)). FDA identified “a syringe prefilled with a drug” as one

 example. Id. at 58755. It also specified that if the combination product’s “primary mode of action”

 is “[a] drug,” the entire combination product is approved as a drug. Id. at 58756 (codified at 21

 C.F.R. § 3.4(a)(1)); see Glover Rpt. ¶¶ 78-85.

        3. Patent listing regulations: The agency’s first patent listing regulations, issued in 1994,

 did not explicitly address combination products. They provided that an NDA applicant or holder

 “must” submit any patents that claim the “drug substance (ingredient)” or the “drug product

 (formulation and composition)” described in the pending or approved NDA. 59 Fed. Reg. 50338,

 50363 (Oct. 3, 1994) (codified as amended at 21 C.F.R. § 314.53(b)(1)). “Drug substance” was

 defined to mean the “active ingredient,” and “drug product” was defined to mean the “finished

 dosage form,” which FDA has since defined as “the physical manifestation containing the active

 and inactive ingredients that delivers a dose of the drug product.” Id. 21 C.F.R. § 314.3(b).

        In 2003, FDA issued a new regulation providing that “patents that claim a drug product”

 must be listed, while “patents claiming packaging … must not.” 68 Fed. Reg. 36676, 36697 (June

 18, 2003) (the 2003 Final Rule); 21 C.F.R. § 314.53(b). FDA responded to comments asking




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 whether NDA owners should list patents “claiming devices,” such as “metered dose inhalers,” that

 are “drug delivery systems used and approved in combination with a drug.” 68 Fed. Reg. at 36680.

 Consistent with the regulation, FDA drew the line between patents claiming “packaging and

 containers” and patents claiming a “finished dosage form.” Id. “The key factor,” FDA said, “is

 whether the patent … claims the finished dosage form of the approved drug product.” Id. FDA

 identified “pre-filled drug delivery systems” as an example of a “dosage form,” id., and later

 identified “insulin injector pen[s]” as a type of “[p]refilled drug delivery system[].” McCalips

 Decl. Ex. 87 at 4.

        4. The meaning of “claims.” The 2003 Final Rule did not address what it meant for a

 patent to “claim” a finished dosage form. At the time, the Federal Circuit cases touching on the

 question suggested that “claims,” as used in the Listing Provision, had its ordinary patent law

 meaning: specifically, a patent “claims” a product if its “claims” (the numbered paragraphs

 appearing at the end of a patent) “read on” that product. Apotex, 347 F.3d at 1343; Hoechst-Roussel

 Pharms., Inc. v. Lehman, 109 F.3d 756, 758–59 (Fed. Cir. 1997). And a patent’s claims “read on”

 a product when each of the limitations (i.e., the series of limiting words or phrases) recited in the

 claim “is present in the [product].” Corning Glass Works v. Sumitomo Elec. U.S.A., Inc., 868 F.2d

 1251, 1258 (Fed. Cir. 1989) (citation omitted).

        In Apotex, the court held that whether a patent “claims the drug” under the Listing Provision

 “turns in part on a question of patent law.” 347 F.3d at 1343. Apotex further explained that “a

 patent must be listed if it contains a product claim that reads on the drug that is the subject of the

 NDA.” Id. at 1344 (emphasis added). In other words, Apotex appeared to hold that “claims the

 drug” means “reads on the drug” for purposes of the Listing Provision. Id. And Apotex was the

 only judicial decision to have addressed this issue for the Listing Provision when Sanofi submitted




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 the SoloStar Patents for listing in the Orange Book eight years later.

          Apotex was consistent with Hoechst, in which the court interpreted the phrase “claims a

 product” for purposes of a separate provision of the Hatch-Waxman Act. 109 F.3d at 758. 3 The

 Hoechst court held that “claims” has its “ordinary” patent law meaning, which is to “particularly

 point out … the subject matter that the applicant regards as his invention.” Id. at 758–59. The

 Federal Circuit distinguished that concept from the “related” concept of infringement, and the

 court’s reasoning suggested that a patent claims a product only if it literally reads on the product.

 Id. (contrasting “claiming” with infringement under the “doctrine of equivalents,” in which the

 patent does not literally read on the product); see Sipes Dep. (McCalips Decl. Ex. 83) at 116:13–

 117:6 (testifying that Hoescht was understood to mean that a patent claims a product if it “literally

 read[s] on” the product). Consistent with Hoescht, a PTO regulation used “claims the approved

 product” interchangeably with “reads on … [t]he approved product” in implementing the patent

 term extension provision. 37 C.F.R. § 1.740(a)(9)).

          In short, Apotex and Hoechst suggest that a patent “claims” a drug product for purposes of

 the Listing Provision so long as the patent’s claims literally “read on” the drug product. Critically,

 for an “open ended” patent—meaning a patent that uses the transitional phrase “comprising”

 before reciting the claim limitations—“the recited elements are only a part of the [invention]” and

 “the claim does not exclude additional, unrecited elements.” Multilayer Stretch Cling Film

 Holdings, Inc. v. Berry Plastics Corp., 831 F.3d 1350, 1358 (Fed. Cir. 2016). Thus, an open-ended

 patent reciting a device “comprising” A, B, and C reads on and claims a product containing those

 elements as well as D and E—even if D and E are not specifically mentioned or recited in the


  3
     The patent term extension provision, which sought to ensure that a patent term would not be curtailed by any delay
 in approving an innovative drug manufacturer’s NDA, defines “drug product” solely as the “active ingredient” of a
 drug. Hoechst, 109 F.3d at 759 n.3. In contrast, the Listing Provision defines “drug” more broadly as an “article” used
 to treat disease, and a “component of any article” used to treat disease. Infra pp. 22-23.



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 patent’s claims. McCalips Decl. Ex. 92, ¶¶ 51–52 (“Godici Rpt.”).

        5. Industry custom and practice. When Sanofi listed the SoloStar Patents, it was

 widespread industry custom and practice to list patents with claims that read on drug-device

 combination products (i.e., products containing elements A, B, and C) but did not recite the active

 pharmaceutical ingredient (i.e., element D or E). SOF ¶¶ 110–11. Orange Book editions published

 between 2009 and 2011 included more than 50 such patents for more than 20 NDAs. SOF ¶ 111.

 One report showed that 66 different manufacturers had listed at least 369 such patents associated

 with 144 drug-device combination products. Reed F. Beall, Tertiary Patenting on Drug-Device

 Combination Products, 36 Nature Biotechnology 142 (Feb. 1, 2018) (McCalips Decl. Ex. 71).

        FDA has long been aware of—and to this day has never disagreed with, much less

 condemned—this common industry practice. For example, in 2005 GlaxoSmithKline (“GSK”)

 asked FDA whether patents “claiming drug delivery devices that are an integral and non-separable

 part of the drug product” must be listed in the Orange Book even if those patents do not “mention”

 the “active ingredients” dispensed to the patient. SOF ¶ 68. Specifically, GSK advised FDA of its

 view that such patents should be listed in the Orange Book based on the agency’s prior statements.

 SOF ¶¶ 69-71. After FDA failed to respond to the substance of the request for clarification for four

 years, GSK submitted another letter to FDA, publicly informing the agency that it had “modified

 its Orange Book listing practices to list those patents whose claims read on the drug product subject

 to FDA approval, including those patents that claim all or a portion of integrated drug-device

 products, regardless of whether the approved drug substance is specifically mentioned in the

 claims of such patents.” SOF ¶ 85. And, between 2006 and 2012, AstraZeneca, Forest Labs, and

 Novo Nordisk filed public requests asking the same or similar questions. SOF ¶¶ 75-84, 87-97.

 Relying on the same FDA statements, each company informed FDA of its understanding that the




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 Listing Provision required NDA holders to list patents that read on the device component of

 drug/device combination products—“regardless of whether or not the patents disclose or claim the

 active ingredient or formulation [insulin] of the approved drug product”—and that each company

 would continue to list such patents in the Orange Book. SOF ¶¶ 75-84, 87-97.

        FDA never responded to the substance of the industry’s requests. SOF ¶ 109. As of the

 date of this filing—more than twenty years after GSK first asked FDA for clarification about its

 prior statements—FDA has still not provided additional guidance regarding Orange Book listings

 for drug-device combination products. And that’s despite inviting and receiving extensive public

 comments and promising Congress that the agency would establish a working group to study the

 question. SOF ¶¶ 98-100, 103-07. Earlier this year, Senator Bill Cassidy wrote to agency officials

 to lament their “extraordinary abdication” of duty, likening the agency’s years-long inaction to “a

 referee hiding the rulebook from athletes.” SOF ¶ 108.

        B. Sanofi’s Innovative Insulin Glargine Products: Lantus and Lantus SoloStar.

        Sanofi is the NDA holder for Lantus (insulin glargine), a long-acting synthetic insulin

 product. SOF ¶¶ 20-21. FDA approved NDA 21-081 for three different dosage forms of Lantus

 (two sizes of vials and a cartridge used with a reusable injector pen) on April 20, 2000. SOF ¶¶ 21-

 22. FDA created a single, new product listing for “Lantus (product 001)” in the Orange Book’s

 List of Approved Drug Products. McCalips Decl. Ex. 11 at 3. FDA simultaneously created a single,

 corresponding entry for Lantus (product 001) in the Patent and Exclusivity Addendum to the

 Orange Book and listed the original composition patent for insulin glargine (the ‘722 patent) there.

 Id. at 4; SOF ¶ 50.

        On March 15, 2005, FDA approved Sanofi’s supplemental NDA (sNDA S-017), which

 sought approval to add polysorbates (a stabilizing agent to reduce cloudiness) to the 10 mL vial

 products. SOF ¶¶ 26-27. And on April 25, 2007, FDA approved Sanofi’s supplemental NDA (S-


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 024), for the Lantus SoloStar, a pre-filled insulin glargine injector pen. SOF ¶¶ 29-30. FDA

 reviewed and approved the Lantus SoloStar as a drug-device combination product, and identified

 the Lantus SoloStar as a finished dosage form in the approved drug label. SOF ¶ 31.

        In 2009 and 2010, Sanofi obtained the Formulation Patents (the ’652 and ’930 patents),

 which claim the polysorbate formulation of Lantus, and submitted them to FDA for listing in the

 Orange Book. SOF ¶ 40-45. In 2011, Sanofi obtained the first of the SoloStar Patents and submitted

 it to FDA for listing in the Orange Book. SOF ¶ 40. Between August 2013 and December 2017,

 Sanofi listed 18 additional SoloStar Patents in the Orange Book for Lantus SoloStar. SOF ¶ 40. It

 is undisputed that all of the SoloStar Patents are directed to the injector pen or components of the

 injector pen used in the Lantus SoloStar. SOF ¶ 40.

        In late 2009, long before Sanofi listed the SoloStar Patents, one of Sanofi’s in-house patent

 attorneys

                                . SOF ¶ 115; see Sieber Dep. (McCalips Decl. Ex. 86) at 52:25–

 53:20. He and his colleagues began to analyze the issue, and sought additional advice from

 Christopher Sipes of Covington & Burling, LLP, a Harvard-trained expert with some 20 years of

 experience in Hatch-Waxman regulation at the time. SOF ¶¶ 115-116. After the first SoloStar

 Patent (the ‘833 patent) issued on April 5, 2011, Mr. Sipes advised Sanofi—first in an oral opinion

 and then in a written opinion—that

      . SOF ¶¶ 116-18; McCalips Decl. Ex 39 (“Orange Book Listing Opinion”).




   Mr. Frischkorn, who had more than twenty years of experience when he provided the opinion,




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 concluded that                                                                          SOF ¶ 119;

 Frischkorn Dep. (McCalips Decl. Ex. 82) at 127:15–21.                            , Sanofi submitted

 the ‘833 patent to FDA for listing in the Orange Book. SOF ¶¶ 119, 128-29. Sanofi repeated and

 relied on a similar process of consulting with and obtaining opinions from outside FDA and patent

 counsel before listing each of the other SoloStar Patents. SOF ¶¶ 120-21.

        C. Lilly and Merck Rely on                                     to Seek Approval for
           Follow-on Versions of Those Drugs.

        On October 17, 2013, Lilly sought FDA approval for the Basaglar KwikPen, an insulin

 glargine product in a pre-filled drug delivery device. SOF ¶ 51.

                                                                                . SOF ¶ 52. In early

 2014, Lilly provided Sanofi with Paragraph IV Certifications asserting both the Formulation

 Patents and the SoloStar Patents listed in the Orange Book at the time were invalid, unenforceable,

 and/or would not be infringed. SOF ¶ 55. On January 30, 2014, Sanofi sued Lilly for infringing

 the Formulation Patents and two of the SoloStar Patents, triggering a 30 month stay of FDA

 approval for the Basaglar KwikPen. SOF ¶ 56.

        On May 30, 2016, Merck sought FDA approval to market Lusduna, its own generic insulin

 glargine injector pen. SOF ¶ 60. Like Lilly, Merck filed Paragraph IV Certifications with respect

 to the Formulation Patents and the SoloStar Patents listed in the Orange Book. SOF ¶¶ 63–64.

 Sanofi sued Merck for infringement of the Formulation Patents and some of the SoloStar Patents,

 triggering a 30-month stay of FDA approval for its application. SOF ¶ 65. After a trial on some

 issues but before the court issued a ruling, Merck made an independent decision not to launch

 Lusduna                                                 , and asked the court to dismiss its lawsuit.




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 SOF ¶¶ 66–67. 4

          D. Plaintiffs Sue Sanofi for Listing the SoloStar Patents in the Orange Book and
             Triggering the Statutory Stay of Approval of Lilly and Merck’s Products.

          Plaintiffs pursue two claims under Section 2 of the Sherman Act. 15 U.S.C. § 2. They claim

 that Sanofi monopolized (Count I) and attempted to monopolize (Count II) an alleged market for

 insulin glargine by unlawfully listing the SoloStar Patents in the Orange Book and enforcing them

 against Lilly and Merck, causing a 30-month stay of FDA approval of Lilly and Merck’s competing

 products. Docket No. 466 at ¶ 116. But for the SoloStar Patents, Plaintiffs contend, FDA would

 have approved Lilly and Merck’s products sooner, and prices for SoloStar would have fallen faster.

 Docket No. 466 at ¶¶ 468–477. Although Plaintiffs’ complaints include allegations about the

 manner in which Sanofi listed the Formulation Patents, Plaintiffs have now disavowed any claim

 concerning the Formulation Patents, asserting that they “only seek damages for Lantus SoloStar,

 premised only on the improperly listed [SoloStar Patents].” Docket No. 542 at 1.

          Judge Dein granted Sanofi’s initial motion to dismiss these claims on grounds that

 “Sanofi’s interpretation of the listing requirement was reasonable” and therefore could not support

 antitrust liability, regardless of whether Sanofi’s interpretation was ultimately correct. Docket No.

 40 at 24. Judge Dein also dismissed an amended complaint, again determining that listing the

 SoloStar Patents was “objectively reasonable.” Docket No. 73 at 11; Docket No. 73 at 14 (“it is

 reasonable to interpret the FDA Regulations as requiring the listing of patents for devices such as

 SoloSTAR regardless of whether the patent itself expressly references insulin glargine”).




   4
     Plaintiffs initially pled that Sanofi’s listing and enforcement of the SoloStar patents also delayed FDA’s approval
 of a follow-on insulin glargine pen product developed by Mylan Pharmaceuticals. After discovery confirmed that
 FDA did not approve Mylan’s application until months after the 30-month stay expired—
                                                                  —Plaintiffs informed Sanofi that they did not intend to
 proffer any expert testimony that Sanofi’s conduct caused FDA to delay approval for Mylan’s product.



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        On appeal, the First Circuit agreed with Sanofi that the antitrust laws do not impose “strict

 liability for improper Orange Book submissions.” Lantus, 950 F.3d at 11. The court then held that

 a pharmaceutical company cannot be held liable for a “reasonable, good-faith attempt to comply

 with the regulatory demands of the Hatch-Waxman Amendments.” Id. at 12. For guidance on

 remand, the Court identified three touchstones for assessing Sanofi’s conduct. The first is whether

 the company’s interpretation of the statutory and regulatory text was “objectively reasonable.” Id.

 at 13–14. The court acknowledged “the complexity” of “reading” the laws at issue here, and

 suggested that the Listing Provision and statutes like it may be “reasonably susceptible to mis-

 readings.” Id. at 14–15. The second and third touchstones are whether listing the patents was

 supported by “custom and practice in the industry” and whether the company acted consistently

 with any obtained “legal opinions” obtained from outside counsel. Id. at 13.

                             SUMMARY JUDGMENT STANDARD

        Summary judgment is appropriate on a “claim or defense” or “part of [a] claim or defense”

 when “there is no genuine dispute as to any material fact and the movant is entitled to judgment

 as a matter of law.” Fed. R. Civ. P. 56(a). Whether an interpretation of the law is objectively

 reasonable is a legal question decided by a judge. See, e.g., United States v. Prigmore, 243 F.3d 1,

 18 (1st Cir. 2001) (“[T]he objective reasonableness of defendant’s view of the law is a legal

 question.”). Mixed questions of law and fact may be resolved on summary judgment if there is no

 genuine dispute as to any underlying material fact. See, e.g., Acosta v. Ames Dep’t Stores, Inc.,

 386 F.3d 5, 9 (1st Cir. 2004); see also In re Fin. Oversight & Mgmt. Bd. for Puerto Rico, 914 F.3d

 694, 709 (1st Cir. 2019) (“Nearly all of the operative facts are undisputed here, and the grant of

 summary judgment turns primarily on interpretations of law.”).




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                                           ARGUMENT

        Sanofi is entitled to summary judgment for two simple reasons. First, Plaintiffs cannot

 prove causation because the Formulation Patents caused the 30-month stay of Lilly’s and Merck’s

 drug applications, and Plaintiffs “only seek damages for Lantus SoloStar, premised only on the

 improperly listed pen patents.” Docket No 542 at 5. Second, even if Plaintiffs could prove

 causation “premised only on the improperly listed pen patents” (id.), their claims fail because

 listing the SoloStar Patents reflected a “reasonable, good-faith attempt to comply” with the Listing

 Provision. Lantus, 950 F.3d at 14.

 I.     The SoloStar Patents Did Not Cause Plaintiffs’ Alleged Injury.

        An antitrust plaintiff must prove “causation between the alleged violation and the alleged

 harm.” RSA Media, Inc. v. AK Media Grp., Inc., 260 F.3d 10, 14 (1st Cir. 2001). This requires

 proof that the alleged antitrust violation was both a but-for cause and the “proximate cause” of the

 alleged injury. In re Nexium (Esomeprazole) Antitrust Litig., 42 F. Supp. 3d 231, 267 (D. Mass.

 2014) (“Nexium I”), aff’d, 842 F.3d 34 (1st Cir. 2016) (“Nexium II”); In re Publ’n Paper Antitrust

 Litig., 690 F.3d 51, 66 (2d Cir. 2012) (“[A] plaintiff must establish that the injuries alleged would

 not have occurred but for the defendant’s antitrust violation.” (cleaned up)).

        Plaintiffs’ causation theory is that Sanofi improperly listed the SoloStar Patents in the

 Orange Book and sued Lilly and Merck on those patents, causing a 30-month stay of FDA approval

 for Lilly and Merck’s competing pen products, which in turn allegedly caused Plaintiffs to pay

 higher prices for SoloStar. McCalips Decl. Ex. 94, ¶¶ 19-21 (Webber Rpt.). “[A]bsent the 30-

 month stay” caused by the SoloStar Patents, Plaintiffs say, there would have been “no regulatory

 impediment to FDA granting Final Approval” of Lilly’s and Merck’s competing pens, and

 wholesale prices for insulin glargine pens would have fallen sooner. Id. ¶¶ 23–24 & 19 n.8. As




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 Plaintiffs told the Court, their theory of causation and injury is “premised only on the improperly

 listed pen patents”—i.e., the SoloStar Patents. Docket No. 542, at 2, 5.

        Plaintiffs’ causation argument fails because the Formulation Patents fully and

 independently caused the 30-month stay of FDA approval as to Lilly and Merck. The Formulation

 Patents would have caused (and did cause) the 30-month stay—even if the SoloStar Patents had

 never appeared in the Orange Book. So the SoloStar Patents were neither the but-for nor the

 proximate cause of the stay or Plaintiffs’ alleged injury.

        A.      Only the Formulation Patents Caused the FDA Stay as to Lilly.

        Not every patent listed in the Orange Book triggers a 30-month stay of FDA approval. By

 statute and FDA regulation, only patents submitted for listing “before the date on which the

 [generic] application … was submitted” trigger the 30-month stay. 21 U.S.C. § 355(c)(3)(C)

 (emphasis added); 80 Fed. Reg. 6802, 6835 (Feb. 6, 2015) (“availability of a 30-month stay” is

 “determined by whether the patent … was filed with FDA before the date [of the generic

 application]”). The “thirty-month statutory stay [is] inapplicable” to a patent submitted for listing

 in the Orange Book “after submission of [a generic application].” Vanda Pharms. Inc. v. West-

 Ward Pharms. Int’l Ltd., 887 F.3d 1117, 1138–39 (Fed. Cir. 2018).

        In its Hatch-Waxman suit against Lilly, Sanofi asserted infringement of the Formulation

 Patents and two of the SoloStar Patents (the ’864 and ’044 patents). SOF ¶ 56. By law, the SoloStar

 Patents did not cause a 30-month stay because the record shows that Sanofi submitted them to

 FDA for listing in the Orange Book after Lilly submitted its application for Basaglar on October

 17, 2003. SOF ¶¶ 40, 51. Instead, only the Formulation Patents caused the 30-month stay because

 they were submitted for listing before Lilly submitted its application. SOF ¶¶ 40-46, 51.

 Consequently, Plaintiffs’ claims as to Lilly, which are “premised only on the improperly listed




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 [SoloStar] pen patents” (Docket No. 542 at 2), fails as a matter of law because listing the SoloStar

 Patents after Lilly filed its application could not—and did not—cause the stay.

         B.       The Formulation Patents Independently Caused the FDA Stay as to Merck.

         Plaintiffs’ claims as to Merck also fail because the Formulation Patents independently

 caused the 30-month stay of approval for Lusduna, and this severs causation from the SoloStar

 Patents as a matter of law. 5

         An alleged act of anticompetitive conduct is not a material cause of harm when “a force

 other than the antitrust violation fully accounts for the plaintiff’s injury.” AREEDA & HOVENKAMP,

 ANTITRUST LAW, ¶ 338b (collecting cases); see Nexium I, 42 F. Supp. 3d at 267. A plaintiff alleging

 injury based on delayed market entry cannot establish causation when an “independent regulatory

 bar” would have prevented competitors’ entry into the market regardless of the defendant’s alleged

 antitrust violation. Nexium II, 842 F.3d at 63 (no causation because patents “independently

 preclude[d] competition” regardless of allegedly unlawful settlement agreement (cleaned up)); In

 re Wellbutrin XL Antitrust Litig. Indirect Purchaser Class, 868 F.3d 132, 165 (3d Cir. 2017)

 (same); RSA Media, 260 F.3d at 14-15 (no causation because local permitting regulations would

 have independently prevented competitor entry). “That a regulatory or legislative bar can break

 the chain of causation in an antitrust case is beyond fair dispute.” Wellbutrin, 868 F.3d at 165.

         Here, Sanofi asserted the Formulation Patents in its Hatch-Waxman suit against Merck,

 and the Formulation Patents triggered the statutory 30-month stay of approval for Lusduna. SOF

 ¶¶ 63-66. Even if the SoloStar Patents had never been listed in the Orange Book, the Formulation

 Patents still would have caused the 30-month stay. Because they independently caused the 30-

 month stay, the Formulation Patents were an “independent regulatory bar” to Merck and Lilly’s


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     Even if the Court concludes that the SoloStar Patents somehow caused FDA to stay approval for Lilly’s Basaglar,
 the Plaintiffs’ claims as to Lilly would still fail for the reasons stated in Part I.B and Part I.C.



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 product launches. Nexium II, 842 F.3d at 63; RSA Media, 260 F.3d at 14–15. The Formulation

 Patents therefore “break the chain of causation” from the SoloStar Patents as a matter of law.

 Wellbutrin, 868 F.3d at 165. Consequently, any claim “premised only on the improperly listed

 [SoloStar] pen patents” (Docket No. 542 at 2) fails as a matter of law.

        C.      Plaintiffs Cannot Show that Merck Could Have Avoided the Independent
                Bar Imposed by the Formulation Patents.

        Attempting to avoid this independent regulatory bar, Plaintiffs rely on the following

 convoluted chain of speculation about the Formulation Patents: (1) Sanofi erred in filling out the

 forms necessary to submit the Formulation Patents to FDA; (2) if Sanofi had filled out the forms

 differently, FDA would have organized the Orange Book differently; and (3) if FDA had organized

 the Orange Book as Plaintiffs wished, Merck could have avoided certifying to the Formulation

 Patents, and those patents would not have caused the 30-month stay. McCalips Decl. Ex. 98 ¶¶ 9-

 10, 12-13 (“Donatiello Reply”); McCalips Decl. Ex. 99 ¶¶ 27-31 (“Schultz Rpt.”). This wildly

 speculative and counterfactual argument fails as a matter of law and undisputed fact.

             1. Plaintiffs’ counterfactual world is irrelevant because they abandoned any
                claim that listing the Formulation Patents constituted an antitrust violation.

        Plaintiffs’ Rube Goldberg theory fails at the outset because it rests on attacking Sanofi’s

 listing of the Formulation Patents. But Plaintiffs’ antitrust claims are “premised only on the

 improperly listed [SoloStar] pen patents.” Docket No. 542 at 2. The law is clear: Antitrust injury

 must “flow[] from that which makes defendants’ acts unlawful.” Brunswick Corp. v. Pueblo Bowl-

 O-Mat, Inc., 429 U.S. 477, 489 (1977). Antitrust injury must “reflect the anticompetitive effect of

 either the violation or of anticompetitive acts made possible by the violation.” Kochert v. Greater

 Lafayette Health Servs., Inc., 463 F.3d 710, 716 (7th Cir. 2006). Thus, the plaintiff must prove that

 its “injuries alleged would not have occurred but for the defendant’s antitrust violation,” not some

 other conduct. In re Publ’n Paper, 690 F.3d at 66 (cleaned up); Nexium II, 842 F.3d at 60, 63.


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        Listing the Formulation Patents could not have caused Plaintiffs’ antitrust injury because

 it is neither the alleged antitrust violation nor an anticompetitive act made possible by the alleged

 violation. On the contrary, Plaintiffs have attested that the antitrust violation is “premised only on

 the improperly listed pen patents” and Sanofi’s conduct as to the Formulation Patents is “moot.”

 Docket No. 542 at 2, 5. Because Plaintiffs do not assert an antitrust violation “premised on” the

 Formulation Patents, the causation question is not whether their injuries would have occurred but

 for the Formulation Patents; it is whether the alleged injuries would have occurred but for the

 SoloStar Patents. In re Publ’n Paper, 690 F.3d at 66. All of Plaintiffs’ convoluted arguments about

 the Formulation Patents are therefore irrelevant.

            2. Plaintiffs’ counterfactual world is based on legal error and speculation.

        Even if Plaintiffs could rely on a counterfactual world in which the Formulation Patents

 were listed in the Orange Book differently, Sanofi would still be entitled to summary judgment

 because Plaintiffs offer nothing but rank speculation to support their argument. See Wellbutrin,

 868 F.3d at 167-69 (affirming summary judgment where plaintiff failed to support counterfactual

 about independent regulatory bar); Nexium II, 842 F.3d at 62-63 (same).

        a. Sanofi properly completed the FDA forms for the Formulation Patents.

        Plaintiffs’ theory for how Merck could have avoided certifying to the Formulation Patents

 starts with the premise that Sanofi erred in filling out its FDA forms—called Form 3542s—used

 to submit those patents to FDA. Based on their interpretation of the instructions for completing

 Form 3542s, Plaintiffs fault Sanofi for listing the original Lantus NDA approval date (April 2000),

 rather than the approval date of the supplemental NDA for the polysorbate formulation (March

 2005), because the Formulation Patents only claimed the formulation approved in the supplemental

 NDA. E.g., Schultz Rpt. ¶¶ 17.C, 27-28.




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        There was nothing improper about listing the original NDA approval date instead of the

 supplement approval date because the form expressly called for either date. See, e.g., Silverman v.

 Comm’r of Internal Revenue, 86 F.3d 260, 261 (1st Cir. 1996) (“proper interpretation of” IRS tax

 forms was a “pure question of law”); Est. of Caporella v. Comm’r of Internal Revenue, 817 F.2d

 706, 708 (11th Cir. 1987) (same). When Sanofi submitted the Formulation Patents for listing in

 2009 and 2010, Form 3542 was titled “Patent Information Submitted Upon and After Approval of

 An NDA Or Supplement.” SOF ¶ 36. The form asked for the “NDA Number” in one box. SOF

 ¶ 37. Another box asked for the “Approval Date of NDA or Supplement.” Id. The only instruction

 for this section of the form stated: “Complete all items in this section.” SOF ¶ 38. FDA did not

 provide any other relevant directions, such as whether Sanofi should identify the original NDA

 approval date or the supplement’s approval date. SOF ¶ 38. With nothing more than an ambiguous

 form asking for the approval date of either the “NDA or Supplement,” there is no basis to conclude

 that Sanofi erred by selecting one date over the other. See, e.g., Dacostagomez-Aguilar v. U.S.

 Atty. Gen., 40 F.4th 1312, 1316 (11th Cir. 2022) (“or” signifies a disjunctive list).

        Plaintiffs’ other arguments about the forms are even more specious. Plaintiffs contend that

 where the form asked for the “NDA Number,” Sanofi should have identified the supplemental

 NDA number rather than the original NDA number. See, e.g., Donatiello Reply ¶ 24; Schultz Rpt.

 ¶ 29. There is plainly no basis for requiring Sanofi to list the supplement number when the form

 asked only for the “NDA Number.” Similarly, one of Plaintiffs’ experts claims that Sanofi’s cover

 letter misled FDA by not “specifying or clarifying that the patent specifically pertained to [the

 supplemental NDA].” Donatiello Reply ¶ 24. But he offers no legal authority or explanation for

 why Sanofi had a duty to clarify its submission in the cover letter. Nor does he offer any evidence

 that FDA would have relied on the cover letter when making decisions about how to publish a




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 patent in the Orange Book. The FDA’s own instructions and regulations state the opposite—that

 “[o]nly information from form 3542 will be used for Orange Book publication purposes.”

 McCalips Decl. Ex. 27 Tab D, at SAMA03593905; see also 21 C.F.R. § 314.53(c)(1) (2009).

        b. Plaintiffs have no evidence that FDA would have organized the Orange Book
           differently if Sanofi had submitted its forms according to Plaintiffs’ instructions.

        Plaintiffs next engage in evidence-free speculation that if Sanofi had listed the supplement

 date for the polysorbate formulation on the Form 3542s, FDA would have known that the

 Formulation Patents claimed only the polysorbate formulation used in the vial product, and would

 have created a separate product number in the Orange Book’s list of Approved Drug Products for

 the vial. FDA then would have listed the Formulation Patents in the addendum under the new

 product listing for the vial, rather than under Lantus (Product 001) where FDA actually listed the

 Formulation Patents. Donatiello Reply ¶ 35; Schultz Rpt. ¶ 30. And if the Orange Book had been

 organized that way, Plaintiffs argue, Merck could and would have filed its application without

 certifying to the Formulation Patents. Donatiello Reply ¶ 35; Schultz Rpt. ¶ 30.

        The first obvious problem—and one that eviscerates this argument—is that Plaintiffs lack

 a shred of evidence that FDA would have created a new product listing if Sanofi had provided

 different information on its Form 3542s. They cite no FDA regulation, guidance document, or any

 comment, statement, or procedure that comes close to suggesting that FDA uses patent information

 from Form 3542s to create new product numbers in the Orange Book. Schultz Rpt.; Donatiello

 Reply; Schultz Dep. Tr. (McCalips Decl. Ex. 102) at 181:10-21, 182:2-183:14; Donatiello Dep.

 Tr. (McCalips Decl. Ex. 104) at 252:13-21. Nor do they identify a single example of FDA ever

 relying on the information in Form 3542s to create a new product number. Donatiello Dep. Tr.

 (McCalips Decl. Ex. 104) at 252:1-11. This alone is sufficient to reject Plaintiffs’ theory.




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        But there is more. The reason Plaintiffs cite no support is because they are wrong. FDA

 creates Orange Book product listings based on the therapeutic characteristics of those products—

 such as dosage form and strength—not patent information. SOF ¶¶ 5-11; see McCalips Decl. Ex.

 105 ¶¶ 11, 27, 37–42, 52 (“Glover Supp.”); Williams Supp. ¶¶ 31-32, 34. This is demonstrated by

 FDA’s own statements (SOF ¶¶ 10), by the history and design of the Orange Book (id. ¶¶ 1-9, 12-

 19), and by abundant examples, across various types of dosage forms (id. ¶¶ 11). Glover Supp. ¶¶

 22-24, 38, 54-76, 86, and Exs. E& F; see 81 Fed. Reg. 69580, 69601 (2016) (FDA may create “a

 new entry in the Orange Book” when it approves “a change to the dosage form, route of

 administration, [or] strength”). Indeed, FDA creates product numbers when it approves an NDA

 or sNDA, not when it receives patent information on Form 3542s, which by regulation are not

 submitted to FDA until after the NDA or sNDA is approved, and after FDA creates the product

 numbers. SOF ¶¶ 11, 33-34; 21 C.F.R. § 314.53(c)(2)(ii).

        Further, after being confronted with the speculative nature of their arguments, Plaintiffs’

 experts have backed away from any assertion that FDA “would have” responded to “correctly”

 completed Form 3542s by creating new product numbers. Instead, they say only that FDA “should

 have” created a new product number for the polysorbate vial product. See Donatiello Reply ¶¶ 32,

 35; Donatiello Dep. (McCalips Decl. Ex. 104) at 250:7-21; 251:8-10 (“I can’t say that they would

 have, only that they should have.”); Schultz Rpt. ¶ 30; Schultz Dep. (McCalips Decl. Ex. 102) at

 156:11–157:13, 212:2–213:9. Musings about what FDA “should have” done are beside the point.

 What matters is whether FDA would have organized the Formulation Patents in the Orange Book

 differently. See Welbutrin, 868 F.3d at 167 (a plaintiff must introduce evidence from which a “jury

 could conclude that it is more likely than not that [their counterfactual explanation for competitor

 entry] would have” occurred; evidence about what “may have” happened is not sufficient to




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  “withstand summary judgment” (emphasis in original)); Nexium, 842 F.3d at 62-63 (adopting the

  same approach). On that critically relevant question, Plaintiffs’ experts are silent, presumably

  because they know they cannot make that assertion in good faith.

         At bottom, Plaintiffs’ causal theory boils down to smoke and mirrors and does not create

  a disputed question of material fact. See Tropigas de P.R., Inc. v. Certain Underwriters at

  Lloyd’s of London, 637 F.3d 53, 57 (1st Cir. 2011) (summary judgment “focus is on facts, not

  speculation”). Plaintiffs have offered no evidence that FDA would have created separate product

  listings for Lantus and the polysorbate vials in response to Sanofi’s Form 3542s, whatever the

  approval date or other information on those forms.

II.      Sanofi Is Entitled to Summary Judgment on Its Regulatory Compliance Defense.

         Sanofi also has a complete defense to liability if listing the SoloStar Patents “was the result

  of a reasonable, good-faith attempt to comply with the Hatch-Waxman scheme.” Lantus, 950 F.3d

  at 14. Both “reasonableness” and “good faith” are met here as a matter of law and undisputed fact.

         A.      Listing the SoloStar Patents Was Objectively Reasonable as a Matter of Law.

         Under the First Circuit’s decision, listing the SoloStar Patents was “objectively reasonable”

  if it was (a) based on a reasonable interpretation of the Listing Provision and FDA’s implementing

  regulations, and (b) supported by “custom and practice in the industry” and “any legal opinions

  Sanofi sought and obtained before submitting the patent.” Lantus, 950 F.3d at 13-14.

      1. The Listing Provision was reasonably interpreted to apply to the SoloStar Patents.

         Whether it was reasonable to interpret the Listing Provision to apply to the SoloStar Patents

  is a legal question that turns primarily on the text of the statute and implementing regulations. See

  Lantus, 950 F.3d at 13–14 (discussing “objective reasonableness” and statutory interpretation); see

  also Prigmore, 243 F.3d at 18 (“reasonableness of defendant’s view of the law is a legal question”);

  MCI Commc’ns v. AT&T Co., 708 F.2d 1081, 1135 (7th Cir. 1983) (district court “improperly


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 allowed” jury to decide whether legal interpretation was reasonable). An interpretation is

 “reasonable” if it has “a foundation in the statutory text” and is not contradicted by precedent or

 “authoritative” agency guidance. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 70 (2007). To be

 clear, the question here is not whether Sanofi’s interpretation was correct—the question is instead

 whether it was reasonable. Lantus, 950 F.3d at 13–14 (analogizing the “reasonableness” inquiry

 to how courts assess the range of permissible interpretations of an ambiguous statute under

 Chevron, 467 U.S. 837 (1984)).

        At all relevant times, the Listing Provision required NDA applicants and holders to identify

 for listing “any patent which claims the drug for which the applicant submitted the application.”

 21 U.S.C. § 355(b)(1) & (c)(2). It was reasonable to interpret this provision to require listing the

 SoloStar Patents because that interpretation had a solid foundation in the statutory text and

 regulations, as well as contemporaneous agency and judicial interpretations.

        a. The “drug for which the applicant submitted the application” means the FDA-
           approved “drug product.”

        The starting point for interpreting the Listing Provision is the meaning of “drug.” The

 FDCA defines “drug” in relevant part as “articles intended for use in the diagnosis, cure,

 mitigation, treatment, or prevention of disease,” “articles … intended to affect the structure or any

 function of the body,” and “articles intended for use as a component of any article specified

 [above].” 21 U.S.C. § 321(g)(1). This is a broad definition, one Congress expanded in 1990 to

 capture combination drug-device products. Supra p. 4. The definition also sweeps in more than

 just an “active ingredient,” as shown by use of the term “articles.” See, e.g., WEBSTER’S NEW INT’L

 DICTIONARY 156 (3d ed. 1993) (defining “article” as “a material thing”). And statutory context

 confirms that view. Elsewhere, and for other purposes, Congress defined “drug” more narrowly as

 “the active ingredient.” 35 U.S.C. § 156(a), (f)(2). Congress’s decision to use the broader



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 definition of “drug” in the Listing Provision shows that it meant for the Listing Provision to have

 a broader reach. See Bittner v. United States, 598 U.S. 85, 94 (2023) (“traditional rule of statutory

 construction” is that “difference in language” conveys “difference in meaning”).

         FDA regulations likewise distinguish an “active ingredient” from the broader “drug.” 6 The

 regulations define “drug substance” as “an active ingredient.” 21 C.F.R. § 314.3(b). By contrast,

 the regulations define “drug” or “drug product” as a “finished dosage form.” Id. A “dosage form,”

 in turn, is the “physical manifestation containing the active and inactive ingredients that delivers a

 dose of the drug product.” Id. 7 FDA publications have long identified different types of “dosage

 forms,” such as “tablet[s],” “capsule[s],” “solution[s],” id., as well as a single-entity drug-device

 combination products, such as “insulin injector pens.” McCalips Decl. Ex. 25 at 4. Thus, on the

 face of FDA’s regulations, a “drug” is more than merely the “active ingredient.”

         FDA’s patent-listing regulations also track that view. They require NDA holders to submit

 any patents claiming the “drug product … described in the pending or approved NDA.” 21 C.F.R.

 § 314.53(b)(1). This includes both “active ingredient” patents and “drug product” patents. Id. If

 only “active ingredient” patents were required to be submitted, then the reference to “drug product”

 patents would make no sense. Indeed, FDA regulations never stated that device patents should not

 be submitted, or that only patents claiming (or mentioning) the active ingredient should be

 submitted. Instead, and as FDA said more than 20 years ago, “[t]he key factor is whether the patent

 being submitted claims the finished dosage form of the approved drug product.” 68 Fed. Reg. at

 36680. If it does—including when the finished dosage form is a drug-device combination product

 such as an insulin injector pen—then the patent must be listed in the Orange Book. See id.


  6
    FDA’s interpretations of Hatch–Waxman were afforded Chevron deference at the time. See, e.g., Mylan Lab’ys,
 Inc. v. Thompson, 389 F.3d 1272, 1279 (D.C. Cir. 2004).
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     While FDA did not formally define “dosage form” until 2016, the agency explained that its new definition
 tracked precedent dating back to the 1980s. 80 Fed. Reg. 6802, 6813 (Feb. 6, 2015).


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        b. A patent “claims” the drug product when it “reads on” the drug product, or
           when it claims at least a “component” of the drug product.

        Having shown that “drug” could be reasonably interpreted to mean the FDA-approved

 “drug product” or “finished dosage form”—as opposed to merely the “active ingredient”—the

 remaining question is what it means to “claim” the drug product. As shown below, it was

 reasonable to conclude that a patent “claims” the drug product when it “reads on” the drug product

 or when it claims at least a “component” of the drug product.

        “Claims” means “reads on.” Before Sanofi submitted the SoloStar Patents for listing, the

 Federal Circuit had suggested that “claims” in the Listing Provision meant “reads on.” Supra pp.

 5-7 (discussing Apotex). The Apotex case was consistent with other precedent discussing the

 difference between “claiming” and “infringing” a product. See Hoechst-Roussel, 109 F.3d at 758–

 59. And when Sanofi listed the SoloStar Patents, Apotex was the only judicial decision to have

 interpreted the word “claims” as it was used in the Listing Provision. Additionally, the PTO had

 long used “claims” interchangeably with “reads on.” 37 C.F.R. § 1.740(a)(9); see also Godici Rpt.

 ¶ 54. Suffice it to say, the consensus view of the Federal Circuit and PTO on the meaning of a

 patent-law term is a reasonable (and some would say leading) indicator of the term’s meaning. But

 this Court need not take Sanofi’s word for it. Plaintiffs’ own expert opines that, “[i]n general, for

 a patent to ‘claim’ something would mean that the elements in the claim find corresponding

 elements in the target (e.g., a product or method). This is the ‘read on’ standard.” McCalips Decl.

 Ex. 97) ¶ 34 (“Donatiello Opp. Rpt.” (emphasis added).

        A patent “reads on” a product when “each of the limitations recited in the [patent’s] claim

 is present in the [product].” Corning Glass, 868 F.2d at 1258. And when a patent uses the word

 “comprising” before reciting the claim limitations, it creates “a presumption that the recited

 elements are only a part of the [product]”—in other words, “that the claim does not exclude



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 additional, unrecited elements.” Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l,

 246 F.3d 1336, 1348 (Fed. Cir. 2001). Thus, an open-ended patent reciting a device “comprising”

 A, B, and C reads on and claims a product containing those elements as well as D and E—even if

 D and E are not specifically mentioned or recited in the patent’s claims. Supra p. 6-7.

         Thus, a patent using the transitional phrase “comprising” would “claim” a drug product so

 long as it “reads on” the drug product—that is, so long as all of the limitations of at least one of

 the patent’s claims correspond to elements in that product. And this is true even if the product

 contains additional elements—such as an active pharmaceutical ingredient—that are not included

 among the limitations in the patent’s claims.

         A “component” of an “article” used to treat disease is a “drug.” Even if “claims” did not

 mean “reads on,” the statutory definition of “drug” leads to the same result. A “drug” is not just

 an “article” used to treat disease, but any “component of any article” used to treat disease. 21

 U.S.C. § 321(g)(1). Under the plain text of that definition, a patent that claims a component of a

 drug claims the drug, because Congress has chosen to define a component of a drug as a drug. See

 id. And it is reasonable to interpret the controlling definition of “drug” according to its plain text.

 See Safeco, 551 U.S. at 70 (interpretation is reasonable if it has “a foundation in the statutory text”).

 Applying that definition here, a patent claims a drug product so long as it has claims that recite a

 component of that drug product, even if the drug product contains an additional component—such

 as an active ingredient—that is not included or recited in the claims.

         c. The SoloStar Patents claim the Lantus SoloStar.

         Against this backdrop it was eminently reasonable to conclude that the Listing Provision

 required Sanofi to list the SoloStar Patents in the Orange Book. The “drug product” that FDA

 approved is the “Lantus SoloSTAR disposable insulin injector device,” a single-entity drug-device

 combination product. SOF ¶¶ 31-32. And each of the SoloStar Patents claims the Lantus


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 SoloStar—for two reasons. First, each of the SoloStar Patents “reads on” the Lantus SoloStar

 because each includes at least one claim with limitations that correspond to elements found in the

 Lantus SoloSTAR. SOF ¶ 119-121. And the SoloStar Patents uniformly use the transitional phrase

 “comprising” before describing any claim limitations—for example, “a drive mechanism for use

 in a drug delivery device, comprising.” McCalips Decl. Ex. 10 at 79. They accordingly read on

 products containing additional elements (e.g., insulin glargine) that are not recited in the

 limitations. SOF ¶ 119-121; Godici Rpt. ¶¶ 58-61. Second, and independently, each of the SoloStar

 Patents claims a component of the Lantus SoloStar because each includes at least one claim with

 limitations directed to a component of the drug-device combination product. Id. Accordingly, the

 SoloStar Patents “claim[] the drug for which the applicant submitted the application.” 21 U.S.C.

 § 355(b)(1) & (c)(2).

        d. Judge Dein agreed that Sanofi’s interpretation was objectively reasonable.

        If all this were not enough, Judge Dein twice concluded that “Sanofi’s interpretation of the

 listing requirement was reasonable.” Docket No. 40 at 24; Docket No. 73 at 14 (“it is reasonable

 to interpret the FDA Regulations as requiring the listing of patents for devices such as SoloSTAR

 regardless of whether the patent itself expressly references insulin glargine or insulin glargine in

 connection with the pen-type injector”). And the First Circuit acknowledged “the complexity” of

 “reading” the laws at issue here, and suggested that the Listing Provision and statutes like it may

 be “reasonably susceptible” to different interpretations, even if they are ultimately “mis-readings.”

 Lantus, 950 F.3d at 14-15. That was true then, and it is true now.

            2. Industry custom and practice                                   supported Sanofi’s
               decision to submit the SoloStar Patents to FDA.

        While the reasonableness of Sanofi’s interpretation of the law is a legal question turning

 primarily on the text of the statute and regulations, the First Circuit also instructed the court to



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 consider “custom and practice in the industry” and “any legal opinions Sanofi sought and

 obtained.” Lantus, 950 F.3d at 13. These sources all point in the same direction, too.

        Industry Practice. Well before Sanofi listed the SoloStar Patents, companies routinely

 listed patents on drug components that did not include claims mentioning the active ingredient but

 nonetheless read on the approved product. SOF ¶ 110. In the early 2000s, for example, Pfizer

 submitted patents that described the “controlled release” technology in its FDA-approved

 extended-release oral-tablet product Glucotrol XL. SOF ¶ 110, App’x A at 1. These patents

 referred to dispensing a “useful agent” and delivering a “beneficial drug,” but they did not mention

 (let alone claim) glipizide, the active ingredient in Glucotrol XL. McCalips Decl. Ex. 6 at 11-59.

        Pfizer’s listings were hardly unusual. SOF ¶¶ 110-11; McCalips Decl. Ex. 90 ¶¶ 150-51 &

 Ex. 3 (“Williams Rpt.”). GlaxoSmithKline publicly told FDA in 2009 that the company’s practice

 was to list device patents that read on the approved product but that did not recite the active

 ingredient, just as AstraZeneca had told FDA in 2006, and just as Forest Labs and Novo Nordisk

 would tell the agency in 2011 and 2012. SOF ¶¶ 77, 82, 85, 90, 95; Williams Rpt. ¶¶ 92, 135;

 Glover Rpt. ¶¶ 200-13. And dozens of such patents were listed in the Orange Book from 2009 to

 2011. SOF ¶ 111. Indeed, even Plaintiffs’ expert, Guy Donatiello, who served as Endo

 Pharmaceutical’s vice president for intellectual property and chief patent counsel, and was

 responsible for the company’s Orange Book listings, allowed two such patents to remain in the

 Orange Book and even asserted them in Hatch-Waxman litigation. SOF ¶¶ 112-14. Donatiello

 concedes that the patents were listed in the Orange Book even though they did not recite the active

 ingredient—in other words, even though the patents “should not have been listed” under Plaintiffs’

 view of the world. SOF ¶ 113; Donatiello Dep. (McCalips Decl. Ex. 104) at 87:8-10; 88:17-19.

        All told, dozens of manufacturers listed hundreds of patents directed to device components




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 of combination products or patents that otherwise do not recite the active ingredient. Supra p. 7.

 As the FTC stated in court filings, such listings were “widespread” for drugs approved between

 1986 and 2020. 8 There can be no dispute, then, that industry practice, under FDA’s watch, strongly

 supported the objective reasonableness of Sanofi’s view of the law.

        Advice of Counsel. Before Sanofi submitted the SoloStar Patents to FDA, its in-house

 lawyers analyzed the issue and obtained oral and written opinions from outside counsel with

 relevant expertise. Supra pp. 8-9. Sanofi asked Christopher Sipes, an attorney with extensive

 Hatch-Waxman experience and the current Co-Chair of the Patent Litigation Group at Covington

 & Burling LLP,

      . SOF ¶ 116. Sipes did so and issued the                        Opinion, which concluded that




                  . SOF ¶ 117;                             Opinion at 7.




                   Id. at 6. Sanofi also obtained a separate                      Opinion

             from another experienced patent attorney, David Frischkorn of McDonnell Boehnen

 Hulbert & Berghoff LLP, who

 concluded that                                                                        SOF ¶ 119.

        Sanofi repeated a similar process before listing the other SoloStar Patents as they issued

 from the PTO. In each instance,



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   Br. for FTC as Amicus Curiae in Support of Appellees Supporting Affirmance at 19, Teva Branded
 Pharm. Prods. R&D, Inc. v. Amneal Pharms. of New York, LLC, No. 24-1936 (Fed. Cir. Sept. 6, 2024),
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                         . SOF ¶¶ 120-21.

        In sum, Sanofi satisfies the reasonableness element of its regulatory compliance defense as

 a matter of law because listing the SoloStar Patents was consistent with (a) an objectively

 reasonable interpretation of the Listing Provision and FDA regulations, (b) widespread and

 publicly acknowledged industry practice, and (c)                                            .

        B.      Sanofi Listed the SoloStar Patents in Good Faith.

        Sanofi also must show that it listed the SoloStar Patents in a “good faith.” Lantus, 950 F.3d

 at 13. In this context, “good faith” means not “solely on the basis of competitive considerations.”

 S. Pac. Commc’ns Co. v. AT&T Co., 740 F.2d 980, 1009 (D.C. Cir. 1984); accord In re Actos

 Antitrust Litig., 628 F.Supp.3d 524, 534 (S.D.N.Y. 2022). The qualifier “solely” is important. As

 the leading treatise explains, “[r]egulated firms are usually privately owned, profit-maximizing

 entities,” and “it is important to understand that good faith compliance with regulatory policies

 does not mean an altruistic disregard of self-interest in favor of [one’s] rivals or the public.”

 AREEDA & HOVENKAMP ¶ 246b. The focus is thus on whether the defendant acted with “plausible

 attention to regulatory policies,” or whether regulatory compliance is “obvious subterfuge.” Id.

        A reasonable factfinder looking at this record could not conclude that Sanofi listed the

 SoloStar Patents in bad faith—that is, “solely for competitive considerations” or as “obvious

 subterfuge.” On the contrary, extensive uncontroverted evidence shows the opposite. Specifically,

                                                                                . SOF ¶ 122.



              . SOF ¶ 123.




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 SOF ¶ 124-26.

                                                                      . SOF ¶ 127. They sought and

 received advice from highly qualified outside counsel. SOF ¶ 128.



                                            . SOF ¶ 129.

                                                                                         . SOF ¶ 131.

        In the face of all this evidence, Plaintiffs must come forward with sufficient contrary

 evidence from which a reasonable jury could conclude that Sanofi was acting “solely on the basis

 of competitive considerations,” S. Pac. Commc’ns, 740 F.2d at 1009. It is not enough for Plaintiffs

 to challenge these witnesses’ credibility or the weight a jury might give their testimony. See, e.g.,

 Nunes v. Mass. Dep’t of Correction, 766 F.3d 136, 142 (1st Cir. 2014) (“[A] party cannot raise a

 genuine dispute merely by relying on the hope that the jury will not trust the credibility of the

 witness.” (citation omitted)). Instead, Plaintiffs must have actual evidence that could persuade a

 reasonable jury that the testimony above is “obvious subterfuge,” AREEDA & HOVENKAMP,

 ¶ 246b—that




        The problem for Plaintiffs is that there is no such evidence. The record here leaves no doubt

 that

                                                                                           . Sanofi is

 thus entitled to summary judgment on its regulatory compliance defense.

                                          CONCLUSION

        Sanofi respectfully requests that the Court grant its motion for summary judgment.


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 Dated: March 7, 2025                   /s/ Rosanna K. McCalips
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                                 CERTIFICATE OF SERVICE

        I, Rosanna K. McCalips, hereby certify that a copy of this document, declaration, and

 exhibits thereto were served on all counsel of record via email on March 7, 2025.



                                                     /s/ Rosanna K. McCalips
                                                     Rosanna K. McCalips




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         THIS DOCUMENT HAS

    BEEN REDACTED IN ITS

                         ENTIRETY
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                         EXHIBIT 102
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                                                       UNITED STATES
                                           SECURITIES AND EXCHANGE COMMISSION
                                                                       WASHINGTON, D.C. 20549
                                                                             FORM 10-K
 (Mark One)

 ý         ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                              For the fiscal year ended December 31, 2016
                                                                                    or

 ¨         TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                    For the transition period from to
                                                                  Commission File Number: 001-33500

                JAZZ PHARMACEUTICALS PUBLIC LIMITED COMPANY
                                                          (Exact name of registrant as specified in its charter)

                                      Ireland                                                                                    XX-XXXXXXX
       (State or other jurisdiction of incorporation or organization)                                               (I.R.S. Employer Identification No.)

                                                                    Fourth Floor, Connaught House
                                                                 One Burlington Road, Dublin 4, Ireland
                                                                         011-353-1-634-7800
                     (Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)
                                                     Securities registered pursuant to Section 12(b) of the Act:

                                Title of each class                                                            Name of each exchange on which registered
            Ordinary shares, nominal value $0.0001 per share                                                        The NASDAQ Stock Market LLC
                                                     Securities registered pursuant to Section 12(g) of the Act:
                                                                               None
 CcY^XViZ Wn X]ZX` bVg` ^[ i]Z gZ\^higVci ^h V lZaa,`cdlc hZVhdcZY ^hhjZg+ Vh YZ[^cZY ^c LjaZ 3/4 d[ i]Z MZXjg^i^Zh ;Xi- SZh ý Hd ¨
 CcY^XViZ Wn X]ZX` bVg` ^[ i]Z gZ\^higVci ^h cdi gZfj^gZY id [^aZ gZedgih ejghjVci id MZXi^dc 02 dg MZXi^dc 04'Y( d[ i]Z ;Xi- SZh ¨ Hd ý
 CcY^XViZ Wn X]ZX` bVg` l]Zi]Zg i]Z gZ\^higVci '0( ]Vh [^aZY Vaa gZedgih gZfj^gZY id WZ [^aZY Wn MZXi^dc 02 dg 04'Y( d[ i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823 Yjg^c\ i]Z
 egZXZY^c\ 01 bdci]h 'dg [dg hjX] h]dgiZg eZg^dY i]Vi i]Z gZ\^higVci lVh gZfj^gZY id [^aZ hjX] gZedgih(+ VcY '1( ]Vh WZZc hjW_ZXi id hjX] [^a^c\ gZfj^gZbZcih [dg i]Z eVhi 8/
 YVnh- SZh ý Hd ¨
 CcY^XViZ Wn X]ZX` bVg` l]Zi]Zg i]Z gZ\^higVci ]Vh hjWb^iiZY ZaZXigdc^XVaan VcY edhiZY dc ^ih XdgedgViZ QZW h^iZ+ ^[ Vcn+ ZkZgn CciZgVXi^kZ >ViV @^aZ gZfj^gZY id WZ
 hjWb^iiZY VcY edhiZY ejghjVci id LjaZ 3/4 d[ LZ\jaVi^dc M,N Yjg^c\ i]Z egZXZY^c\ 01 bdci]h 'dg [dg hjX] h]dgiZg eZg^dY i]Vi i]Z gZ\^higVci lVh gZfj^gZY id hjWb^i VcY
 edhi hjX] [^aZh(- SZh ý Hd ¨
 CcY^XViZ Wn X]ZX` bVg` ^[ Y^hXadhjgZ d[ YZa^cfjZci [^aZgh ejghjVci id CiZb 3/4 d[ LZ\jaVi^dc M,E ^h cdi XdciV^cZY ]ZgZ^c+ VcY l^aa cdi WZ XdciV^cZY+ id i]Z WZhi d[
 gZ\^higVcixh `cdlaZY\Z+ ^c YZ[^c^i^kZ egdmn dg ^c[dgbVi^dc hiViZbZcih ^cXdgedgViZY Wn gZ[ZgZcXZ ^c JVgi CCC d[ i]^h @dgb 0/,E dg Vcn VbZcYbZci id i]^h @dgb 0/,E- ¨
 CcY^XViZ Wn X]ZX` bVg` l]Zi]Zg i]Z gZ\^higVci ^h V aVg\Z VXXZaZgViZY [^aZg+ Vc VXXZaZgViZY [^aZg+ V cdc,VXXZaZgViZY [^aZg+ dg V hbVaaZg gZedgi^c\ XdbeVcn- MZZ i]Z YZ[^c^i^dch
 d[ vaVg\Z VXXZaZgViZY [^aZg+w vVXXZaZgViZY [^aZgw VcY vhbVaaZg gZedgi^c\ XdbeVcnw ^c LjaZ 01W,1 d[ i]Z ?mX]Vc\Z ;Xi-

 FVg\Z VXXZaZgViZY [^aZg x          ;XXZaZgViZY [^aZg ¨             Hdc,VXXZaZgViZY [^aZg ¨                                               MbVaaZg gZedgi^c\ XdbeVcn ¨
                                                                    '>d cdi X]ZX` ^[ V hbVaaZg gZedgi^c\ XdbeVcn(
 CcY^XViZ Wn X]ZX` bVg` l]Zi]Zg i]Z gZ\^higVci ^h V h]Zaa XdbeVcn 'Vh YZ[^cZY ^c LjaZ 01W,1 d[ i]Z ;Xi(- SZh ¨ Hd ý
 N]Z V\\gZ\ViZ bVg`Zi kVajZ d[ i]Z kdi^c\ VcY cdc,kdi^c\ Xdbbdc Zfj^in ]ZaY Wn cdc,V[[^a^ViZh d[ i]Z gZ\^higVci+ Vh d[ DjcZ 2/+ 1/05+ i]Z aVhi Wjh^cZhh YVn d[ i]Z
 gZ\^higVcixh bdhi gZXZcian XdbeaZiZY hZXdcY [^hXVa fjVgiZg+ lVh Veegdm^bViZan #4+434+236+672 WVhZY jedc i]Z aVhi hVaZ eg^XZ gZedgiZY [dg i]Z gZ\^higVcixh dgY^cVgn h]VgZh
 dc hjX] YViZ dc N]Z H;M>;K AadWVa MZaZXi GVg`Zi- N]Z XVaXjaVi^dc d[ i]Z V\\gZ\ViZ bVg`Zi kVajZ d[ kdi^c\ VcY cdc,kdi^c\ Xdbbdc Zfj^in ZmXajYZh 10+153+/05
 dgY^cVgn h]VgZh d[ i]Z gZ\^higVci ]ZaY Wn ZmZXji^kZ d[[^XZgh+ Y^gZXidgh VcY h]VgZ]daYZgh i]Vi i]Z gZ\^higVci XdcXajYZY lZgZ V[[^a^ViZh d[ i]Z gZ\^higVci dc i]Vi YViZ- ?mXajh^dc
 d[ hjX] h]VgZh h]djaY cdi WZ XdchigjZY id ^cY^XViZ i]Vi Vcn hjX] eZghdc edhhZhhZh i]Z edlZg+ Y^gZXi dg ^cY^gZXi+ id Y^gZXi dg XVjhZ i]Z Y^gZXi^dc d[ i]Z bVcV\ZbZci dg
 eda^X^Zh d[ i]Z gZ\^higVci dg i]Vi hjX] eZghdc ^h XdcigdaaZY Wn dg jcYZg Xdbbdc Xdcigda l^i] i]Z gZ\^higVci-
 ;h d[ @ZWgjVgn 10+ 1/06+ V idiVa d[ 48+631+121 dgY^cVgn h]VgZh+ cdb^cVa kVajZ #/-///0 eZg h]VgZ+ d[ i]Z gZ\^higVci lZgZ djihiVcY^c\-
                                                             DOCUMENTS INCORPORATED BY REFERENCE
 =ZgiV^c ^c[dgbVi^dc gZfj^gZY Wn JVgi CCC+ CiZbh 0/,03 d[ i]^h @dgb 0/,E ^h ^cXdgedgViZY Wn gZ[ZgZcXZ id i]Z gZ\^higVcixh YZ[^c^i^kZ Jgdmn MiViZbZci [dg i]Z 1/06 ;ccjVa
 AZcZgVa GZZi^c\ d[ M]VgZ]daYZgh id WZ [^aZY l^i] i]Z MZXjg^i^Zh VcY ?mX]Vc\Z =dbb^hh^dc ejghjVci id LZ\jaVi^dc 03; cdi aViZg i]Vc 01/ YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa
 nZVg XdkZgZY Wn i]^h @dgb 0/,E+ egdk^YZY i]Vi ^[ hjX] Jgdmn MiViZbZci ^h cdi [^aZY l^i]^c hjX] eZg^dY+ hjX] ^c[dgbVi^dc l^aa WZ ^cXajYZY ^c Vc VbZcYbZci id i]^h @dgb
 0/,E id WZ [^aZY l^i]^c hjX] 01/,YVn eZg^dY-



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                                                       JAZZ PHARMACEUTICALS PLC
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 CiZb 0-         <jh^cZhh                                                                                                                           2
 CiZb 0;-        L^h` @VXidgh                                                                                                                      22
 CiZb 0<-        OcgZhdakZY MiV[[ =dbbZcih                                                                                                         67
 CiZb 1-         JgdeZgi^Zh                                                                                                                        67
 CiZb 2-         FZ\Va JgdXZZY^c\h                                                                                                                 68
 CiZb 3-         G^cZ MV[Zin >^hXadhjgZh                                                                                                           71


                                                              PART II

 CiZb 4-         GVg`Zi [dg LZ\^higVcixh =dbbdc ?fj^in+ LZaViZY MidX`]daYZg GViiZgh VcY ChhjZg JjgX]VhZh d[ ?fj^in MZXjg^i^Zh                      71
 CiZb 5-         MZaZXiZY @^cVcX^Va >ViV                                                                                                           75
 CiZb 6-         GVcV\ZbZcixh >^hXjhh^dc VcY ;cVanh^h d[ @^cVcX^Va =dcY^i^dc VcY LZhjaih d[ IeZgVi^dch                                             78
 CiZb 6;-        KjVci^iVi^kZ VcY KjVa^iVi^kZ >^hXadhjgZh ;Wdji GVg`Zi L^h`                                                                    00/
 CiZb 7-         @^cVcX^Va MiViZbZcih VcY MjeeaZbZciVgn >ViV                                                                                   000
 CiZb 8-         =]Vc\Zh ^c VcY >^hV\gZZbZcih l^i] ;XXdjciVcih dc ;XXdjci^c\ VcY @^cVcX^Va >^hXadhjgZ                                          000
 CiZb 8;-        =dcigdah VcY JgdXZYjgZh                                                                                                       000
 CiZb 8<-        Ii]Zg Cc[dgbVi^dc                                                                                                             002


                                                              PART III

 CiZb 0/-        >^gZXidgh+ ?mZXji^kZ I[[^XZgh VcY =dgedgViZ AdkZgcVcXZ                                                                        002
 CiZb 00-        ?mZXji^kZ =dbeZchVi^dc                                                                                                        002
 CiZb 01-        MZXjg^in IlcZgh]^e d[ =ZgiV^c <ZcZ[^X^Va IlcZgh VcY GVcV\ZbZci VcY LZaViZY MidX`]daYZg GViiZgh                                002
 CiZb 02-        =ZgiV^c LZaVi^dch]^eh VcY LZaViZY NgVchVXi^dch+ VcY >^gZXidg CcYZeZcYZcXZ                                                     003
 CiZb 03-        Jg^cX^eVa ;XXdjciVci @ZZh VcY MZgk^XZh                                                                                        003


                                                              PART IV

 CiZb 04-        ?m]^W^ih VcY @^cVcX^Va MiViZbZci MX]ZYjaZh                                                                                    003
 CiZb 05-        @dgb 0/,E MjbbVgn                                                                                                             010
 M^\cVijgZh                                                                                                                                    011


 QZ dlc dg ]VkZ g^\]ih id kVg^djh Xdeng^\]ih+ igVYZbVg`h+ VcY igVYZ cVbZh jhZY ^c djg Wjh^cZhh ^c i]Z O-M- VcY.dg di]Zg Xdjcig^Zh+ ^cXajY^c\ i]Z
 [daadl^c\9 DVoo J]VgbVXZji^XVaht+ RngZbt 'hdY^jb dmnWViZ( dgVa hdaji^dc+ ?gl^cVoZt 'VheVgV\^cVhZ Erwinia chrysanthemi(+ ?gl^cVhZt+ >Z[^iZa^dt
 'YZ[^Wgdi^YZ hdY^jb(+ >Z[^iZa^dt 'YZ[^Wgdi^YZ(+ Jg^Vait 'o^Xdcdi^YZ( ^cigVi]ZXVa ^c[jh^dc+ =dbW^JaZmt VcY PnmZdhNG- N]^h gZedgi Vahd ^cXajYZh
 igVYZbVg`h+ hZgk^XZ bVg`h VcY igVYZ cVbZh d[ di]Zg XdbeVc^Zh- NgVYZbVg`h+ hZgk^XZ bVg`h VcY igVYZ cVbZh VeeZVg^c\ ^c i]^h ;ccjVa LZedgi dc
 @dgb 0/,E VgZ i]Z egdeZgin d[ i]Z^g gZheZXi^kZ dlcZgh-


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                                      CAUTIONARY NOTE REGARDING FORWARD-LOOKING STATEMENTS
 This Annual Report on Form 10-K contains forward-looking statements within the meaning of Section 27A of the Securities Act of 1933, as
 amended, and Section 21E of the Securities Exchange Act of 1934, as amended, which are subject to the “safe harbor” created by those sections.
 Forward-looking statements are based on our management’s beliefs and assumptions and on information currently available to our
 management. In some cases, you can identify forward-looking statements by terms such as “may,” “will,” “should,” “could,” “would,” “expect,”
 “plan,” “anticipate,” “believe,” “estimate,” “project,” “predict,” “propose,” “intend,” “continue,” “potential,” “possible,” “foreseeable,”
 “likely,” “unforeseen” and similar expressions intended to identify forward-looking statements. These statements involve known and unknown
 risks, uncertainties and other factors which may cause our actual results, performance, time frames or achievements to be materially different
 from any future results, performance, time frames or achievements expressed or implied by the forward-looking statements. We discuss many of
 these risks, uncertainties and other factors in this Annual Report on
 Form 10-K in greater detail under the heading “Risk Factors.” Given these risks, uncertainties and other factors, you should not place undue
 reliance on these forward-looking statements. Also, these forward-looking statements represent our estimates and assumptions only as of the date
 of this filing. You should read this Annual Report on Form 10-K completely and with the understanding that our actual future results may be
 materially different from what we expect. We hereby qualify our forward-looking statements by our cautionary statements. Except as required by
 law, we assume no obligation to update our forward-looking statements publicly, or to update the reasons that actual results could differ
 materially from those anticipated in these forward-looking statements, even if new information becomes available in the future.

                                                     NOTE REGARDING COMPANY REFERENCE
 In this report, unless otherwise indicated or the context otherwise requires, all references to “Jazz Pharmaceuticals,” “the registrant,” “we,”
 “us,” and “our” refer to Jazz Pharmaceuticals plc and its consolidated subsidiaries, except when the context makes clear that the time period
 being referenced is prior to January 18, 2012, in which case such terms are references to Jazz Pharmaceuticals, Inc. and its consolidated
 subsidiaries. On January 18, 2012, the businesses of Jazz Pharmaceuticals, Inc. and Azur Pharma Public Limited Company, or Azur Pharma,
 were combined in a merger transaction, or the Azur Merger, in connection with which Azur Pharma was re-named Jazz Pharmaceuticals plc and
 we became the parent company of and successor to Jazz Pharmaceuticals, Inc., with Jazz Pharmaceuticals, Inc. becoming our wholly owned
 subsidiary. Jazz Pharmaceuticals, Inc. was treated as the acquiring company in the Azur Merger for accounting purposes, and as a result, the
 historical consolidated financial statements of Jazz Pharmaceuticals, Inc. became our consolidated financial statements.

                                                                         PART I

 Item 1.        Business
 Overview
 DVoo J]VgbVXZji^XVah eaX ^h Vc ^ciZgcVi^dcVa W^de]VgbVXZji^XVa XdbeVcn [dXjhZY dc ^begdk^c\ eVi^Zcihx a^kZh Wn ^YZci^[n^c\+ YZkZade^c\ VcY
 XdbbZgX^Va^o^c\ bZVc^c\[ja egdYjXih i]Vi VYYgZhh jcbZi bZY^XVa cZZYh-
 QZ ]VkZ V Y^kZghZ edgi[da^d d[ egdYjXih VcY egdYjXi XVcY^YViZh+ l^i] V [dXjh ^c i]Z VgZVh d[ haZZe VcY ]ZbVidad\n.dcXdad\n- Ijg aZVY bVg`ZiZY
 egdYjXih VgZ9
 s          Xyrem® (sodium oxybate) oral solution+ i]Z dcan egdYjXi VeegdkZY Wn i]Z O-M- @ddY VcY >gj\ ;Yb^c^higVi^dc+ dg @>;+ VcY XjggZcian
            bVg`ZiZY [dg i]Z igZVibZci d[ Wdi] XViVeaZmn VcY ZmXZhh^kZ YVni^bZ haZZe^cZhh+ dg ?>M+ ^c eVi^Zcih l^i] cVgXdaZehn:
 s          Erwinaze® (asparaginase Erwinia chrysanthemi)+ V igZVibZci VeegdkZY ^c i]Z O-M- VcY ^c XZgiV^c bVg`Zih ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY
            Vh ?gl^cVhZt( [dg eVi^Zcih l^i] VXjiZ anbe]dWaVhi^X aZj`Zb^V+ dg ;FF+ l]d ]VkZ YZkZadeZY ]neZghZch^i^k^in id E. coli,YZg^kZY
            VheVgV\^cVhZ: VcY
 s          Defitelio® (defibrotide sodium)+ V egdYjXi VeegdkZY ^c i]Z O-M- [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] ]ZeVi^X kZcd,
            dXXajh^kZ Y^hZVhZ+ dg PI>+ Vahd `cdlc Vh h^cjhd^YVa dWhigjXi^dc hncYgdbZ+ dg MIM+ l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\
            ]ZbVided^Zi^X hiZb XZaa igVcheaVciVi^dc+ dg BM=N+ VcY ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY Vh >Z[^iZa^dt 'YZ[^Wgdi^YZ(( [dg i]Z igZVibZci d[
            hZkZgZ PI> ^c VYjaih VcY X]^aYgZc jcYZg\d^c\ BM=N i]ZgVen-
 Ijg higViZ\n ^h id XgZViZ h]VgZ]daYZg kVajZ Wn9
 s          Agdl^c\ hVaZh d[ i]Z Zm^hi^c\ egdYjXih ^c djg edgi[da^d+ ^cXajY^c\ Wn ^YZci^[n^c\ VcY ^ckZhi^c\ ^c \gdli] deedgijc^i^Zh hjX] Vh cZl
            igZVibZci ^cY^XVi^dch VcY cZl \Zd\gVe]^X bVg`Zih:

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 s         ;Xfj^g^c\ dg a^XZch^c\ g^\]ih id Xa^c^XVaan bZVc^c\[ja VcY Y^[[ZgZci^ViZY egdYjXih i]Vi VgZ dc i]Z bVg`Zi dg egdYjXi XVcY^YViZh i]Vi VgZ ^c
           aViZ,hiV\Z YZkZadebZci: VcY
 s         Jjghj^c\ iVg\ZiZY YZkZadebZci d[ edhi,Y^hXdkZgn Y^[[ZgZci^ViZY egdYjXi XVcY^YViZh-
 QZ Veean V Y^hX^ea^cZY VeegdVX] id VaadXVi^c\ djg gZhdjgXZh WZilZZc ^ckZhibZcih ^c djg XjggZci XdbbZgX^Va VcY YZkZadebZci edgi[da^d VcY
 VXfj^h^i^dch dg ^c,a^XZch^c\ d[ cZl VhhZih-
 Ijg gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh XjggZcian ^cXajYZ Xa^c^XVa YZkZadebZci d[ cZl egdYjXi XVcY^YViZh+ VXi^k^i^Zh gZaViZY id a^cZ ZmiZch^dch VcY
 cZl ^cY^XVi^dch [dg Zm^hi^c\ egdYjXih VcY i]Z \ZcZgVi^dc d[ VYY^i^dcVa Xa^c^XVa YViV [dg Zm^hi^c\ egdYjXih- ; hjbbVgn d[ djg dc\d^c\ YZkZadebZci
 VXi^k^i^Zh ^h egdk^YZY WZadl9

      Project                       Disease Area                                                              Status
 Sleep
 DTJ,00/             ?mXZhh^kZ haZZe^cZhh+ dg ?M+ ^c dWhigjXi^kZ JVi^Zci ZcgdaabZci ^c ild J]VhZ 2 ig^Vah XdbeaZiZY ^c i]^gY fjVgiZg d[ 1/05: ZmeZXi
                     haZZe VecZV+ dg IM;                         egZa^b^cVgn YViV Wn ZcY d[ [^ghi fjVgiZg d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Vah+ eaVc id
                                                                 hjWb^i V cZl Ygj\ Veea^XVi^dc+ dg H>;+ id i]Z @>; ^c aViZ 1/06
 DTJ,00/             ?M ^c cVgXdaZehn                              JVi^Zci ZcgdaabZci ^c J]VhZ 2 ig^Va XdbeaZiZY ^c [djgi] fjVgiZg d[ 1/05: ZmeZXi
                                                                   egZa^b^cVgn YViV ^c hZXdcY fjVgiZg d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Va+ eaVc id hjWb^i
                                                                   Vc H>; id i]Z @>; ^c aViZ 1/06
 DTJ,00/             ?M ^c JVg`^chdcxh Y^hZVhZ                     @^ghi eVi^Zci ZcgdaaZY ^c J]VhZ 1 ig^Va ^c [^ghi fjVgiZg d[ 1/06
 RngZb               ?>M VcY XViVeaZmn ^c eZY^Vig^X cVgXdaZehn JVi^Zci ZcgdaabZci ^c J]VhZ 2 ig^Va XdbeaZiZY ^c [djgi] fjVgiZg d[ 1/05: hjW_ZXi id
                     eVi^Zcih l^i] XViVeaZmn                   gZhjaih d[ ig^Va+ ZmeZXi id hjWb^i V hjeeaZbZciVa H>;+ dg hH>;+ VcY eZY^Vig^X lg^iiZc
                                                               gZfjZhi gZedgi id i]Z @>; ^c [djgi] fjVgiZg d[ 1/06
 DTJ,4/6             ?>M VcY XViVeaZmn ^c cVgXdaZehn               ?meZXi id hjWb^i Vc H>; id i]Z @>; Wn [^ghi fjVgiZg d[ 1/07
 DTJ,147             ?>M VcY XViVeaZmn ^c cVgXdaZehn               ?meZXi id ^c^i^ViZ J]VhZ 2 ig^Va ^c i]Z ?jgdeZVc Oc^dc+ dg ?O+ VcY O-M- ^c [^ghi fjVgiZg
                                                                   d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Va+ ZmeZXi id hjWb^i Vc H>; id i]Z @>; ^c 1/08
 ImnWViZ dcXZ,       HVgXdaZehn                                    Jgd\gVb egd\gZhh^c\: ZkVajVi^dc d[ YZjiZgViZY dmnWViZ VcY di]Zg [dgbjaVi^dc
 c^\]ian Ydh^c\                                                    dei^dch Xdci^cjZh Vh eVgi d[ dcXZ,c^\]ian YZkZadebZci
                                                                   egdXZhh
 Hematology/Oncology
 PnmZdh '=JR,        B^\],g^h` VXjiZ bnZad^Y aZj`Zb^V+ dg ;GF Cc^i^ViZY V gdaa^c\ hjWb^hh^dc d[ Vc H>; id i]Z @>; ^c i]^gY fjVgiZg d[ 1/05: ZmeZXi
 240(                                                         id XdbeaZiZ i]Z H>; hjWb^hh^dc Wn ZcY d[ [^ghi fjVgiZg d[ 1/06: ZmeZXi id hjWb^i V
                                                              bVg`Zi^c\ Vji]dg^oVi^dc Veea^XVi^dc+ dg G;;+ id i]Z ?jgdeZVc GZY^X^cZh ;\ZcXn+ dg
                                                              ?G;+ ^c hZXdcY ]Va[ d[ 1/06
 >Z[^Wgdi^YZ         JgZkZci^dc d[ PI> ^c ]^\],g^h` eVi^Zcih       @^ghi eVi^Zci ZcgdaaZY ^c J]VhZ 2 ig^Va ^c [^ghi fjVgiZg d[ 1/06
                     [daadl^c\ BM=N
 >Z[^Wgdi^YZ         JgZkZci^dc d[ VXjiZ AgV[i kZghjh Bdhi         ?meZXi id ^c^i^ViZ J]VhZ 1 egdd[ d[ XdcXZei ig^Va ^c [djgi] fjVgiZg d[ 1/06
                     >^hZVhZ+ dg VAkB>+ [daadl^c\ BM=N
 ;heVgV\^cVhZ        ;FF VcY di]Zg ]ZbVidad\^X Y^hdgYZgh           ?kVajVi^dc d[ ZVgan,hiV\Z egdYjXi XVcY^YViZh



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 Our Commercialized Products
 Xyrem
 RngZb ^h i]Z dcan igZVibZci VeegdkZY Wn i]Z @>; VcY bVg`ZiZY [dg Wdi] ?>M VcY XViVeaZmn ^c eVi^Zcih l^i] cVgXdaZehn- MdY^jb dmnWViZ+ i]Z VXi^kZ
 e]VgbVXZji^XVa ^c\gZY^Zci+ dg ;JC+ ^c RngZb+ ^h V [dgbjaVi^dc d[ i]Z hdY^jb hVai d[ \VbbV,]nYgdmnWjingViZ+ dg AB<+ Vc ZcYd\Zcdjh
 cZjgdigVchb^iiZg VcY bZiVWda^iZ d[ \VbbV,Vb^cdWjing^X VX^Y- RngZb lVh VeegdkZY ^c i]Z O-M- [dg i]Z igZVibZci d[ XViVeaZmn ^c eVi^Zcih l^i]
 cVgXdaZehn ^c 1//1 VcY lVh VeegdkZY [dg ?>M ^c eVi^Zcih l^i] cVgXdaZehn ^c 1//4- N]Z ;bZg^XVc ;XVYZbn d[ MaZZe GZY^X^cZ gZXdbbZcYZY RngZb
 Vh V hiVcYVgY d[ XVgZ [dg i]Z igZVibZci d[ Wdi] ?>M VcY XViVeaZmn VhhdX^ViZY l^i] cVgXdaZehn-
 HVgXdaZehn ^h V X]gdc^X cZjgdad\^XVa Y^hdgYZg XVjhZY Wn V adhh d[ cZjgdch i]Vi egdYjXZ i]Z cZjgdigVchb^iiZg ]nedXgZi^c 'Vahd `cdlc Vh dgZm^c(+
 l]^X] ^h ]nedi]Zh^oZY id hiVW^a^oZ haZZe,lV`Z hiViZh- N]Z eg^bVgn hnbeidbh d[ cVgXdaZehn ^cXajYZ ?>M+ XViVeaZmn+ haZZe eVgVanh^h+ ]necd\d\^X
 ]VaajX^cVi^dch VcY Y^hgjeiZY c^\]ii^bZ haZZe- ?>M ^h Vc ZhhZci^Va hnbeidb d[ cVgXdaZehn+ ^h egZhZci ^c Vaa cVgXdaZehn eVi^Zcih VcY ^h X]VgVXiZg^oZY
 Wn X]gdc^X+ eZgkVh^kZ haZZe^cZhh Vh lZaa Vh hjYYZc ^ggZh^hi^WaZ VcY dkZgl]Zab^c\ jg\Zh id haZZe '^cVYkZgiZci cVeh VcY haZZe ViiVX`h(- =ViVeaZmn+ i]Z
 hjYYZc adhh d[ bjhXaZ idcZ+ XVc WZ dcZ d[ i]Z bdhi YZW^a^iVi^c\ hnbeidbh d[ cVgXdaZehn- =ViVeaZmn ^h egZhZci ^c Veegdm^bViZan 6/$ d[ eVi^Zcih l^i]
 cVgXdaZehn- =ViVeaZmn XVc gVc\Z [gdb ha^\]i lZV`cZhh dg V Ygdde^c\ d[ [VX^Va bjhXaZh id i]Z XdbeaZiZ adhh d[ bjhXaZ idcZ gZhjai^c\ ^c edhijgVa
 XdaaVehZ- Ci bVn Vahd ^beV^g V eVi^Zcixh k^h^dc dg heZZX]- =ViVeaZmn ^h d[iZc ig^\\ZgZY Wn higdc\ Zbdi^dch hjX] Vh aVj\]iZg+ Vc\Zg dg hjgeg^hZ-
 =ViVeaZmn XVc hZkZgZan ^beV^g V eVi^Zcixh fjVa^in d[ a^[Z VcY VW^a^in id [jcXi^dc-
 HVgXdaZehn bVn V[[ZXi bVcn VgZVh d[ a^[Z+ ^cXajY^c\ a^b^i^c\ V eVi^Zcixh ZYjXVi^dc VcY ZbeadnbZci deedgijc^i^Zh VcY aZVY^c\ id Yg^k^c\ dg
 bVX]^cZgn VXX^YZcih dg Y^[[^Xjai^Zh Vi ldg` gZhjai^c\ ^c Y^hVW^a^in dg _dW Y^hb^hhVa- JVi^Zcih l^i] cVgXdaZehn bVn Vahd hj[[Zg [gdb h^\c^[^XVci bZY^XVa
 XdbdgW^Y^i^Zh+ ^cXajY^c\ YZegZhh^dc+ hj^X^YZ g^h`+ Vcm^Zin+ Y^hZVhZh d[ i]Z Y^\Zhi^kZ hnhiZb+ gZhe^gVidgn Y^hZVhZh VcY XVgY^VX Y^hdgYZgh-
 Ci ^h Zhi^bViZY i]Vi cVgXdaZehn V[[ZXiZY Veegdm^bViZan 0 ^c 1+/// eZdeaZ ^c i]Z O-M-+ dg Veegdm^bViZan 05/+/// eZdeaZ+ ^c 1/04- QZ WZa^ZkZ i]Vi [ZlZg
 i]Vc ]Va[ d[ i]dhZ eZdeaZ ]VkZ WZZc YZ[^c^i^kZan Y^V\cdhZY l^i] cVgXdaZehn- Cc i]Z [djgi] fjVgiZg d[ 1/05+ i]Z VkZgV\Z cjbWZg d[ VXi^kZ RngZb
 eVi^Zcih ^c i]Z O-M- lVh Veegdm^bViZan 01+8// eVi^Zcih+ VcY lZ WZa^ZkZ i]Vi i]ZgZ VgZ h^\c^[^XVcian bdgZ cVgXdaZei^X eVi^Zcih l^i] XViVeaZmn VcY.dg
 ?>M l]d b^\]i WZcZ[^i [gdb igZVibZci l^i] RngZb- Cc Vc Z[[dgi id gZVX] bdgZ eVi^Zcih+ lZ Xdci^cjZ id ^beaZbZci ^c^i^Vi^kZh hjX] Vh djigZVX] id
 egZhXg^WZgh l]d igZVi cVgXdaZehn+ e]nh^X^Vc.]ZVai]XVgZ egdk^YZg ZYjXVi^dc+ Zc]VcXZY eVi^Zci VcY e]nh^X^Vc hjeedgi hZgk^XZh VcY jcWgVcYZY
 Y^hZVhZ VlVgZcZhh egd\gVbh [dg i]Z ejWa^X-
 Cc 1/05+ cZi egdYjXi hVaZh d[ RngZb lZgZ #0+0/6-5 b^aa^dc+ l]^X] gZegZhZciZY 64$ d[ djg idiVa cZi egdYjXi hVaZh-
 QZ egdbdiZ RngZb ^c i]Z O-M- i]gdj\] V heZX^Vain hVaZh [dgXZ d[ Veegdm^bViZan 84 hVaZh egd[Zhh^dcVah YZY^XViZY id RngZb- Ijg bVg`Zi^c\+ hVaZh VcY
 Y^hig^Wji^dc d[ RngZb VgZ hjW_ZXi id V g^h` ZkVajVi^dc VcY b^i^\Vi^dc higViZ\n+ dg L?GM+ l]^X] ^h gZfj^gZY Wn i]Z @>; id ZchjgZ i]Z hV[Z Y^hig^Wji^dc
 d[ RngZb VcY b^c^b^oZ i]Z g^h` d[ b^hjhZ+ VWjhZ VcY Y^kZgh^dc d[ hdY^jb dmnWViZ- OcYZg i]Z RngZb L?GM+ Vaa d[ i]Z RngZb hdaY ^c i]Z O-M- bjhi WZ
 Y^heZchZY VcY h]^eeZY Y^gZXian id eVi^Zcih i]gdj\] V XZcigVa e]VgbVXn- RngZb bVn cdi WZ hidX`ZY ^c gZiV^a e]VgbVX^Zh- J]nh^X^Vch VcY eVi^Zcih
 bjhi XdbeaZiZ Vc ZcgdaabZci egdXZhh eg^dg id [ja[^aabZci d[ RngZb egZhXg^ei^dch+ VcY ZVX] e]nh^X^Vc VcY eVi^Zci gZXZ^kZh bViZg^Vah XdcXZgc^c\ i]Z
 g^h`h VcY WZcZ[^ih d[ RngZb WZ[dgZ i]Z e]nh^X^Vc XVc egZhXg^WZ+ dg V eVi^Zci XVc gZXZ^kZ+ i]Z egdYjXi- Q]ZcZkZg V egZhXg^ei^dc ^h gZXZ^kZY Wn i]Z
 XZcigVa e]VgbVXn+ i]Z XZcigVa e]VgbVXn kZg^[^Zh i]Z egZhXg^ei^dc VcY bjhi heZV` l^i] i]Z eVi^Zci WZ[dgZ ZVX] egZhXg^ei^dc d[ RngZb ^h [^aaZY VcY hZci
 id i]Z eVi^Zci- N]Z XZcigVa e]VgbVXn h]^eh i]Z egdYjXi Y^gZXian id i]Z eVi^Zci Wn V Xdjg^Zg hZgk^XZ+ VcY i]Z eVi^Zci dg ]^h.]Zg YZh^\cZZ h^\ch [dg i]Z
 eVX`V\Z- N]Z ^c^i^Va h]^ebZci bVn ^cXajYZ dcan je id V dcZ,bdci] hjeean+ VcY gZ[^aa dgYZgh bVn ^cXajYZ dcan je id V i]gZZ,bdci] hjeean-
 QZ ]VkZ Vc V\gZZbZci l^i] ?megZhh MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh+ CcX- VcY ^ih V[[^a^ViZ =jgVMXg^ei+ CcX-+ l]^X] lZ gZ[Zg id id\Zi]Zg Vh
 ?megZhh MXg^eih+ id ZmXajh^kZan Y^hig^WjiZ RngZb ^c i]Z O-M- VcY egdk^YZ XjhidbZg hjeedgi hZgk^XZh gZaViZY id i]Z hVaZh VcY bVg`Zi^c\ d[ RngZb-
 JjghjVci id i]Z V\gZZbZci+ ?megZhh MXg^eih egdk^YZh gZ^bWjghZbZci hjeedgi id eVi^Zcih Wn XddgY^cVi^c\ ^chjgVcXZ XdkZgV\Z [dg RngZb VcY+ Vh
 Veea^XVWaZ+ gZ[Zgg^c\ fjVa^[^ZY eVi^Zcih id kVg^djh eVi^Zci hVk^c\h dg Vhh^hiVcXZ egd\gVbh- Ijg V\gZZbZci l^i] ?megZhh MXg^eih+ l]^X] ]Vh WZZc ^c
 Z[[ZXi h^cXZ Djan 1//1+ Zme^gZh dc DjcZ 2/+ 1/06+ hjW_ZXi id VjidbVi^X ild,nZVg ZmiZch^dch jcaZhh Z^i]Zg eVgin egdk^YZh cdi^XZ id i]Z di]Zg d[ ^ih
 ^ciZci id iZgb^cViZ i]Z V\gZZbZci cdi aZhh i]Vc 01/ YVnh WZ[dgZ i]Z ZcY d[ i]Z i]Zc,XjggZci iZgb- OcYZg i]Z V\gZZbZci+ lZ dlc Vaa hiVcYVgY
 deZgVi^c\ egdXZYjgZh+ Wjh^cZhh gjaZh VcY i]Z gZaViZY ^ciZaaZXijVa egdeZgin- N]Z V\gZZbZci egdk^YZh [dg ?megZhh MXg^eih id Vhh^hi ^c i]Z dgYZgan
 igVch[Zg d[ i]Z hZgk^XZh i]Vi ?megZhh MXg^eih egdk^YZh id jh VcY i]Z gZaViZY ^ciZaaZXijVa egdeZgin+ ^cXajY^c\ ^ciZaaZXijVa egdeZgin gZaViZY id i]Z eVi^Zci
 YViVWVhZ+ id Vcn cZl e]VgbVXn i]Vi lZ bVn lZ Zc\V\Z-
 MZkZc XdbeVc^Zh hZci jh cdi^XZh i]Vi i]Zn ]VY [^aZY VWWgZk^ViZY cZl Ygj\ Veea^XVi^dch+ dg ;H>;h+ l^i] i]Z @>; hZZ`^c\ VeegdkVa id bVg`Zi V
 \ZcZg^X kZgh^dc d[ RngZb+ VcY lZ [^aZY eViZci aVlhj^ih V\V^chi ZVX] d[ i]ZhZ XdbeVc^Zh ^c i]Z >^hig^Xi =djgi [dg HZl DZghZn+ dg >^hig^Xi =djgi- Cc i]Z
 hZXdcY fjVgiZg d[ 1/05+ lZ hZiiaZY ild d[ i]ZhZ aVlhj^ih+ \gVci^c\ i]Z hZiia^c\ ;H>; Veea^XVcih V a^XZchZ id bVcj[VXijgZ+ bVg`Zi VcY hZaa i]Z^g
 \ZcZg^X kZgh^dch d[ RngZb dc dg V[iZg

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 >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- Cc 1/05+ i]Z >^hig^Xi =djgi Xdchda^YViZY Vaa d[ djg eZcY^c\ eViZci
 a^i^\Vi^dc V\V^chi QZhi,QVgY J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg LdmVcZ+ l^i] i]Z ZmXZei^dc d[ i]Z XVhZ [^aZY
 V\V^chi LdmVcZ ^c ;j\jhi 1/05+ VcY hZi i]Z Xdchda^YViZY XVhZ [dg ig^Va ^c i]Z hZXdcY fjVgiZg d[ 1/06- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z >^hig^Xi =djgi
 W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z Xdchda^YViZY XVhZ ^ckdak^c\ i]Z eViZcih dc i]Z RngZb Y^hig^Wji^dc hnhiZb+ dg L?GM eViZcih- QZ XVccdi
 egZY^Xi i]Z i^b^c\ dg djiXdbZ d[ i]^h dg i]Z di]Zg ;H>; a^i^\Vi^dc egdXZZY^c\h V\V^chi i]Z gZbV^c^c\ cdc,hZiia^c\ ;H>; [^aZgh+ l]^X] ]VkZ WZZc
 Xdchda^YViZY Vh dcZ XVhZ ^c i]Z >^hig^Xi =djgi+ l^i] cd ig^Va YViZ hZi- Cc Djan 1/05+ i]Z JViZci Ng^Va VcY ;eeZVa <dVgY+ dg JN;<+ d[ i]Z O-M- JViZci
 VcY NgVYZbVg` I[[^XZ+ dg OMJNI+ ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ h^m d[ hZkZc L?GM eViZcih VgZ jceViZciVWaZ: ^[ i]Z Oc^iZY MiViZh =djgi d[
 ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY+ VcY lZ l^aa cdi WZ VWaZ id Zc[dgXZ i]ZhZ eViZcih-
 @dg V YZhXg^ei^dc d[ i]ZhZ aZ\Va egdXZZY^c\h+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ LdmVcZxh ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>;
 cdiZh i]Vi LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\ ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa
 Vahd ^cXajYZh V lV^kZg i]Vi eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM
 hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb dmnWViZ egdYjXih- Ic DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild
 VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa J]VgbVXZji^XVah+ dg ;bcZVa+ VcY dcZ [dg I]b FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc
 Vh LVcWVmn+ CcX-+ dg LVcWVmn-
 N]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h jcXZgiV^c- Q]^aZ i]Z @>; ]Vh VeegdkZY dg iZciVi^kZan VeegdkZY
 ;H>;h hZZ`^c\ id bVg`Zi \ZcZg^X kZgh^dch d[ RngZb VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa
 ;H>;h+ lZ Yd cdi WZa^ZkZ V aVjcX] Wn Vc ;H>; [^aZg ^h a^`Zan id dXXjg eg^dg id Z^i]Zg V YViZ V\gZZY ^c V hZiiaZbZci V\gZZbZci WZilZZc jh VcY hjX]
 ;H>; [^aZg dg V >^hig^Xi =djgi+ dg ediZci^Vaan Vc VeeZaaViZ Xdjgi+ YZX^h^dc ^c djg dc\d^c\ eViZci a^i^\Vi^dc- QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X
 kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg egdYjXih i]Vi XdbeZiZ l^i] RngZb+ ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[
 RngZb VcY dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY
 l^i] @>; VeegdkVa d[ i]Z LdmVcZ ;H>;+ iZciVi^kZ VeegdkVa d[ i]Z ;bcZVa VcY LVcWVmn ;H>;h+ ediZci^Va VeegdkVa dg iZciVi^kZ VeegdkVa d[
 VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg hdY^jb dmnWViZ egdYjXih i]Vi
 XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-
 Waxman Actw ^c i]^h JVgi C+ CiZb 0 VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY
 vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 RngZb ^h V XdcigdaaZY hjWhiVcXZ ^c i]Z O-M-+ hjW_ZXi id gZ\jaVi^dc Wn i]Z O-M- >gj\ ?c[dgXZbZci ;Yb^c^higVi^dc+ dg >?;+ jcYZg i]Z =dcigdaaZY
 MjWhiVcXZh ;Xi+ dg =M;- N]ZgZ[dgZ+ ^ih bVcj[VXijg^c\ VcY Y^hig^Wji^dc VgZ ]^\]an gZhig^XiZY- N]Z ;JC [dg RngZb ^h bVcj[VXijgZY [dg jh Wn V h^c\aZ
 hdjgXZ hjeea^Zg- N]Z [^c^h]ZY egdYjXi [dg RngZb ^h bVcj[VXijgZY Wdi] Wn jh ^c djg [VX^a^in ^c CgZaVcY+ l]ZgZ lZ XdbbZcXZY bVcj[VXijg^c\ ^c i]Z
 i]^gY fjVgiZg d[ 1/05+ VcY Wn djg O-M-,WVhZY RngZb hjeea^Zg- @dg bdgZ ^c[dgbVi^dc gZ\VgY^c\ RngZb hjeean+ hZZ v<jh^cZhh,GVcj[VXijg^c\w ^c i]^h
 JVgi C+ CiZb 0 VcY i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe loss of our single source suppliers, delays or problems in the supply of our products for
 commercial sale or our product candidates for use in our clinical trials, or our or our suppliers’ failure to comply with manufacturing
 regulations, could materially and adversely affect our business, financial condition, results of operations and growth prospectsw ^c JVgi C+ CiZb 0;
 d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E-
 Ijih^YZ d[ i]Z O-M-+ O=< J]VgbV F^b^iZY+ dg O=<+ ]Vh Vc ZmXajh^kZ a^XZchZ id bVg`Zi RngZb [dg i]Z igZVibZci d[ cVgXdaZehn ^c 43 Xdjcig^Zh VcY
 XjggZcian hZaah i]Z egdYjXi ^c 10 Xdjcig^Zh- QZ ]VkZ a^XZchZY id PVaZVci =VcVYV F^b^iZY+ dg PVaZVci+ i]Z =VcVY^Vc bVg`Zi^c\ g^\]ih id RngZb [dg i]Z
 igZVibZci d[ cVgXdaZehn- QZ hjeean RngZb id O=< VcY PVaZVci-
 QZ ]VkZ 11 O-M- eViZcih gZaVi^c\ id RngZb+ l]^X] Zme^gZ Vi kVg^djh i^bZh [gdb >ZXZbWZg 1/08 id GVgX] 1/22- Ijg ^hhjZY eViZcih gZaViZ id RngZbxh
 hiVWaZ VcY b^XgdW^Vaan gZh^hiVci [dgbjaVi^dc+ ^ih bVcj[VXijg^c\ egdXZhh+ ^ih bZi]dY d[ jhZ+ ^cXajY^c\ ^ih gZhig^XiZY Y^hig^Wji^dc hnhiZb+ VcY ^ih
 bZi]dY d[ VYb^c^higVi^dc-
 Erwinaze
 ?gl^cVoZ 'XVaaZY ?gl^cVhZ ^c bVg`Zih djih^YZ i]Z O-M-+ VcY l]^X] lZ gZ[Zg id ^c i]^h gZedgi Vh ?gl^cVoZ jcaZhh di]Zgl^hZ ^cY^XViZY dg i]Z XdciZmi
 di]Zgl^hZ gZfj^gZh( ^h V W^dad\^X egdYjXi jhZY ^c Xdc_jcXi^dc l^i] X]Zbdi]ZgVen id igZVi eVi^Zcih l^i] ;FF l]d ]VkZ YZkZadeZY ]neZghZch^i^k^in
 id E. coli,YZg^kZY VheVgV\^cVhZ- ?gl^cVoZ ^h Vc VheVgV\^cVhZ+ V ineZ d[ ZconbZ i]Vi XVc YZeg^kZ aZj`Zb^X XZaah d[ Vc Vb^cd VX^Y ZhhZci^Va [dg i]Z^g
 \gdli]- Ci ^h YZg^kZY [gdb V gVgZ WVXiZg^jb 'Erwinia chrysanthemi( VcY ^h ^bbjcdad\^XVaan Y^hi^cXi [gdb E. coli,YZg^kZY VheVgV\^cVhZ VcY hj^iVWaZ
 [dg eVi^Zcih l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY igZVibZcih- @dg ;FF eVi^Zcih l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ+ ?gl^cVoZ
 XVc WZ V XgjX^Va XdbedcZci d[ i]Z^g i]ZgVeZji^X gZ\^bZc- ?gl^cVoZ lVh dg^\^cVaan YZkZadeZY Wn JjWa^X BZVai] ?c\aVcY+ V O-E- cVi^dcVa ZmZXji^kZ
 V\ZcXn- @^ghi VeegdkZY Wn i]Z @>; jcYZg V W^dad\^Xh a^XZchZ Veea^XVi^dc+ dg <F;+ [dg VYb^c^higVi^dc k^V

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 ^cigVbjhXjaVg ^c_ZXi^dc ^c Xdc_jcXi^dc l^i] X]Zbdi]ZgVen+ ?gl^cVoZ lVh aVjcX]ZY ^c i]Z O-M- ^c HdkZbWZg 1/00- Cc >ZXZbWZg 1/03+ i]Z @>;
 VeegdkZY V hjeeaZbZciVa <F; [dg VYb^c^higVi^dc d[ ?gl^cVoZ k^V ^cigVkZcdjh ^c[jh^dc ^c Xdc_jcXi^dc l^i] X]Zbdi]ZgVen- Cc ?jgdeZ VcY ZahZl]ZgZ
 VgdjcY i]Z ldgaY+ ?gl^cVhZ ^h hdaY ejghjVci id bVg`Zi^c\ Vji]dg^oVi^dch+ cVbZY eVi^Zci egd\gVbh+ iZbedgVgn jhZ Vji]dg^oVi^dch dg h^b^aVg
 Vji]dg^oVi^dch-
 ;FF ^h i]Z bdhi Xdbbdc X]^aY]ddY XVcXZg- N]Z ;bZg^XVc =VcXZg MdX^Zin Zhi^bViZh i]Vi WZilZZc 4+/// id 5+/// cZl XVhZh d[ ;FF l^aa WZ Y^V\cdhZY
 ^c i]Z O-M- ^c 1/06- <VhZY dc YViV [gdb i]Z O-M- HVi^dcVa =VcXZg Cchi^ijiZ VcY i]Z O-M- =Zchjh <jgZVj VkV^aVWaZ ^c 1/04+ lZ Zhi^bViZ i]Vi
 Veegdm^bViZan 4/$ d[ ;FF eVi^Zcih lZgZ Y^V\cdhZY jcYZg V\Z 04 VcY Veegdm^bViZan 1/$ lZgZ Y^V\cdhZY WZilZZc 04 VcY 28 nZVgh d[ V\Z- ; hijYn
 ejWa^h]ZY Wn >VcV @VgWZg =VcXZg Cchi^ijiZ+ l^i] bZY^Vc [daadl,je d[ 46 bdci]h+ XdcXajYZY i]Vi i]Z ^ciZch^kZ jhZ d[ ]^\],YdhZ VheVgV\^cVhZ ]Vh Vc
 ^bedgiVci gdaZ ^c i]Z igZVibZci d[ X]^aYgZc l^i] ;FF- >ViV gZedgiZY ^c ild hZeVgViZ eVeZgh ejWa^h]ZY ^c Pediatric Blood & Cancer VcY Journal of
 Clinical Oncology, gZheZXi^kZan+ hj\\Zhi i]Vi je id 1/$ d[ ;FF eVi^Zcih bVn YZkZade ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ- =jggZci
 igZVibZci \j^YZa^cZh VcY egdidXdah gZXdbbZcY hl^iX]^c\ V eVi^Zci gZXZ^k^c\ E. coli-YZg^kZY VheVgV\^cVhZ id igZVibZci l^i] ?gl^cVoZ ^[ i]Z eVi^Zcixh
 ]neZghZch^i^k^in gZVXi^dc id i]Z E. coli,YZg^kZY VheVgV\^cVhZ ^h AgVYZ 1,3+ ^cY^XVi^c\ i]Vi i]Z ]neZghZch^i^k^in gZVXi^dc ]Vh gZhjaiZY ^c Vc
 ^ciZgkZci^dc dg ^ciZggjei^dc ^c ^c[jh^dc dXXjgg^c\ ^c i]Z eVi^Zcixh igZVibZci gZ\^bZc- Q]^aZ eZY^Vig^X igZVibZci egdidXdah Xdbbdcan ^cXajYZ
 VheVgV\^cVhZ+ VYjai egdidXdah Yd cdi- Cc VYY^i^dc+ lZ WZa^ZkZ i]Vi ?gl^cVoZ ]Vh i]Z ediZci^Va [dg jhZ ^c eVi^Zcih l^i] h^aZci ]neZghZch^i^k^in+ V
 h^ijVi^dc ^c l]^X] E. coli,YZg^kZY VheVgV\^cVhZ bVn ^cYjXZ Vci^WdY^Zh i]Vi XVc cZjigVa^oZ i]Z ZconbZ dg ^cXgZVhZ ^ih XaZVgVcXZ+ i]ZgZWn YZeg^k^c\
 eVi^Zcih d[ ^ih i]ZgVeZji^X WZcZ[^ih l^i]dji bVc^[Zhi^c\ i]Z Xa^c^XVa hnbeidbh d[ ]neZghZch^i^k^in-
 Cc 1/05+ cZi egdYjXi hVaZh d[ ?gl^cVoZ lZgZ #1//-6 b^aa^dc+ l]^X] gZegZhZciZY 03$ d[ djg idiVa cZi egdYjXi hVaZh-
 QZ egdbdiZ ?gl^cVoZ ^c i]Z O-M- i]gdj\] V heZX^Vain hVaZh [dgXZ d[ Veegdm^bViZan 44 hVaZh egd[Zhh^dcVah+ l]d Vahd egdbdiZ >Z[^iZa^d ^c i]Z O-M- QZ
 egdk^YZ gZ^bWjghZbZci hjeedgi i]gdj\] djg DjbeMiVgiNG ;XXZhh % LZ^bWjghZbZci Mdaji^dch egd\gVb+ V YZY^XViZY ?gl^cVoZ XVaa XZciZg- Ijg [^ZaY,
 WVhZY VcY d[[^XZ,WVhZY gZ^bWjghZbZci iZVb egdk^YZh VYY^i^dcVa gZ^bWjghZbZci hjeedgi+ YZVa^c\ heZX^[^XVaan l^i] i]Z bdgZ XdbeaZm cZZYh d[
 e]nh^X^Vch VcY eVndgh-
 Ijg ]ZbVidad\n VcY dcXdad\n hVaZh [dgXZ djih^YZ d[ i]Z O-M- ]Vh Veegdm^bViZan 17 ]ZbVidad\n [^ZaY heZX^Va^hih gZhedch^WaZ [dg egdbdi^c\ ?gl^cVhZ
 VcY >Z[^iZa^d ^c VeegdkZY bVg`Zih l]ZgZ lZ XdbbZgX^Va^oZ i]ZhZ egdYjXih- Cc i]dhZ bVg`Zih l]ZgZ ?gl^cVhZ ^h cdi XjggZcian VeegdkZY+
 Veegdm^bViZan 07 bZY^XVa hX^ZcXZ a^V^hdch VcY Z^\]i bZY^XVa Y^gZXidgh VgZ gZhedch^WaZ [dg gZhedcY^c\ id bZY^XVa ^c[dgbVi^dc gZfjZhih VcY [dg
 egdk^Y^c\ ^c[dgbVi^dc Xdch^hiZci l^i] adXVa igZVibZci egdidXdah-
 ?gl^cVoZ ^h ZmXajh^kZan a^XZchZY id jh [dg ldgaYl^YZ bVg`Zi^c\+ hVaZh VcY Y^hig^Wji^dc Wn Jdgidc <^de]VgbV F^b^iZY+ dg J<F+ V XdbeVcn i]Vi ^h
 l]daan dlcZY Wn i]Z O-E- MZXgZiVgn d[ MiViZ [dg BZVai]- J<F Vahd bVcj[VXijgZh i]Z egdYjXi [dg jh VcY ^h djg hdaZ hjeea^Zg [dg ?gl^cVoZ- QZ VgZ
 dWa^\ViZY id bV`Z i^ZgZY gdnVain eVnbZcih id J<F WVhZY dc ldgaYl^YZ cZi hVaZh d[ ?gl^cVoZ- Ijg a^XZchZ VcY bVcj[VXijg^c\ V\gZZbZci l^i] J<F
 Zme^gZh ^c >ZXZbWZg 1/1/+ hjW_ZXi id VjidbVi^X [^kZ,nZVg ZmiZch^dch jcaZhh iZgb^cViZY Wn Z^i]Zg eVgin ^c lg^i^c\ Wn >ZXZbWZg 1/07- ?^i]Zg eVgin ]Vh
 i]Z g^\]i id iZgb^cViZ i]Z V\gZZbZci ^c i]Z ZkZci d[ i]Z di]Zg eVginxh jcXjgZY bViZg^Va WgZVX] dg ^chdakZcXn- @dg bdgZ ^c[dgbVi^dc gZ\VgY^c\
 ?gl^cVoZ hjeean+ hZZ v<jh^cZhh,GVcj[VXijg^c\w ^c i]^h JVgi C+ CiZb 0 VcY i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ “The loss of our single source suppliers,
 delays or problems in the supply of our products for commercial sale or our product candidates for use in our clinical trials, or our or our
 suppliers’ failure to comply with manufacturing regulations, could materially and adversely affect our business, financial condition, results of
 operations and growth prospects” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 ?gl^cVoZ ]Vh cd eViZci egdiZXi^dc- Ci lVh VlVgYZY dge]Vc Ygj\ ZmXajh^k^in [dg i]Z igZVibZci d[ ;FF ^c i]Z O-M- jci^a HdkZbWZg 1/07+ VcY lZ WZa^ZkZ
 i]Vi ^i ^h egdiZXiZY Wn ZmXajh^k^in i]Vi egZkZcih VeegdkVa d[ V W^dh^b^aVg ^c i]Z O-M- i]gdj\] aViZ 1/12 jcYZg i]Z O-M- <^dad\^Xh Jg^XZ =dbeZi^i^dc VcY
 CccdkVi^dc ;Xi+ dg <J=C;-
 Defitelio
 >Z[^Wgdi^YZ+ i]Z ;JC ^c >Z[^iZa^d+ ^h i]Z hdY^jb hVai d[ V XdbeaZm b^mijgZ d[ h^c\aZ,higVcYZY da^\dYZdmng^WdcjXaZdi^YZh YZg^kZY [gdb edgX^cZ >H;- Cc
 in vitro hijY^Zh+ YZ[^Wgdi^YZ ]Vh h]dlc V cjbWZg d[ e]VgbVXdad\^XVa Z[[ZXih i]Vi hj\\Zhi ^i ]Vh V gdaZ ^c Wdi] egdiZXi^dc d[ i]Z ZcYdi]Za^Va XZaah i]Vi
 [dgb i]Z ^ccZg a^c^c\ d[ WaddY kZhhZah VcY gZhidgVi^dc d[ i]Z WVaVcXZ WZilZZc Xadi [dgbVi^dc VcY WgZV`Ydlc ^c i]Z WaddY-
 >Z[^Wgdi^YZ ]Vh WZZc YZkZadeZY [dg i]Z igZVibZci VcY egZkZci^dc d[ PI>+ V ediZci^Vaan a^[Z,i]gZViZc^c\ Xdbea^XVi^dc d[ BM=N- MiZb XZaa
 igVcheaVciVi^dc ^h V [gZfjZcian jhZY igZVibZci bdYVa^in [dg ]ZbVidad\^X XVcXZgh VcY di]Zg XdcY^i^dch ^c Wdi] VYjaih VcY X]^aYgZc- =ZgiV^c
 XdcY^i^dc^c\ gZ\^bZch jhZY Vh eVgi d[ BM=N XVc YVbV\Z i]Z XZaah i]Vi a^cZ i]Z ]ZeVi^X kZhhZah+ l]^X] ^h i]dj\]i id aZVY id i]Z YZkZadebZci d[
 PI>+ Vahd gZ[ZggZY id Vh MIM+ V WadX`V\Z d[ i]Z hbVaa kZhhZah ^c i]Z a^kZg+ i]Vi XVc aZVY id a^kZg [V^ajgZ VcY ediZci^Vaan gZhjai ^c h^\c^[^XVci
 Ynh[jcXi^dc ^c di]Zg dg\Vch hjX] Vh i]Z `^YcZnh VcY ajc\h- MZkZgZ PI> ^h i]Z bdhi ZmigZbZ [dgb d[ PI> VcY ^h VhhdX^ViZY l^i] bjai^,dg\Vc [V^ajgZ
 VcY ]^\] gViZh d[ bdgW^Y^in VcY bdgiVa^in- ;c VcVanh^h d[ gZigdheZXi^kZ YViV+ egdheZXi^kZ Xd]dgi hijY^Zh VcY Xa^c^XVa ig^Vah ejWa^h]ZY WZilZZc 0868
 VcY 1//6 [djcY i]Vi i]Z

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 0//,YVn bdgiVa^in gViZ ^c hZkZgZ PI> XVhZh ^h \gZViZg i]Vc 7/$- <VhZY dc YViV [gdb ejWa^h]ZY hjgkZnh VcY djg bVg`Zi gZhZVgX]+ lZ XVaXjaViZY i]Vi+
 ^c ?jgdeZ+ d[ i]Z Zhi^bViZY Veegdm^bViZan 24+/// eVi^Zcih jcYZg\d^c\ BM=N ^c 1/03+ Veegdm^bViZan 5+2// lZgZ Xdch^YZgZY Vi ]^\] g^h` [dg i]Z
 YZkZadebZci d[ PI>+ VcY i]Z ^cX^YZcXZ d[ PI> lVh Veegdm^bViZan 2+5// eVi^Zcih: ^c i]Z O-M-+ d[ i]Z Zhi^bViZY Veegdm^bViZan 1/+/// eVi^Zcih
 jcYZg\d^c\ BM=N ^c 1/03+ Veegdm^bViZan 2+/// lZgZ Xdch^YZgZY Vi ]^\] g^h` [dg i]Z YZkZadebZci d[ PI>+ VcY i]Z ^cX^YZcXZ d[ PI> lVh
 Veegdm^bViZan 0+/// id 1+/// eVi^Zcih- Ijg gZk^Zl d[ gZaZkVci a^iZgVijgZ VcY bVg`Zi gZhZVgX] Vahd hj\\Zhih i]Vi VWdji dcZ,i]^gY id ild,i]^gYh d[ PI>
 eVi^Zcih bVn WZ Za^\^WaZ [dg igZVibZci jh^c\ YZ[^Wgdi^YZ-
 Cc IXidWZg 1/02+ i]Z ?jgdeZVc =dbb^hh^dc+ dg ?=+ \gVciZY bVg`Zi^c\ Vji]dg^oVi^dc jcYZg ZmXZei^dcVa X^gXjbhiVcXZh [dg >Z[^iZa^d [dg i]Z igZVibZci
 d[ hZkZgZ PI> ^c VYjaih VcY X]^aYgZc jcYZg\d^c\ BM=N- >Z[^iZa^d ^h Vahd i]Z dcan VeegdkZY igZVibZci [dg i]^h ediZci^Vaan a^[Z,i]gZViZc^c\ XdcY^i^dc
 ^c i]Z ?O- QZ aVjcX]ZY >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh WZ\^cc^c\ ^c 1/03 VcY Xdci^cjZ id aVjcX] i]Z egdYjXi ^c VYY^i^dcVa ?jgdeZVc
 Xdjcig^Zh dc V gdaa^c\ WVh^h- Cc i]dhZ ?jgdeZVc bVg`Zih l]ZgZ >Z[^iZa^d ^h VeegdkZY Wji cdi nZi aVjcX]ZY+ djg bZY^XVa hX^ZcXZ a^V^hdch VcY bZY^XVa
 Y^gZXidgh gZhedcY id bZY^XVa ^c[dgbVi^dc gZfjZhih gZ\VgY^c\ YZ[^Wgdi^YZ VcY egdk^YZ ^c[dgbVi^dc Xdch^hiZci l^i] adXVa igZVibZci egdidXdah- QZ
 ^ciZcY id ZkZcijVaan XdbbZgX^Va^oZ >Z[^iZa^d ^c Vaa ?jgdeZVc bVg`Zih l]ZgZ ^i ]Vh bVg`Zi^c\ Vji]dg^oVi^dc- QZ Vahd Xdci^cjZ id egdk^YZ eVi^Zcih
 VXXZhh id YZ[^Wgdi^YZ l]ZgZ ^i ^h cdi XdbbZgX^Vaan VkV^aVWaZ djih^YZ i]Z O-M- dc V cVbZY eVi^Zci WVh^h-
 Cc GVgX] 1/05+ i]Z @>; VeegdkZY djg H>; [dg >Z[^iZa^d [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI> l^i] gZcVa dg ejabdcVgn
 Ynh[jcXi^dc [daadl^c\ BM=N- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>; VeegdkVa+ VcY djg O-M- XdbbZgX^Va aVjcX] ^h hi^aa Vi Vc ZVgan hiV\Z-
 Cc 1/05+ >Z[^iZa^d.YZ[^Wgdi^YZ egdYjXi hVaZh lZgZ #0/8-/ b^aa^dc+ l]^X] gZegZhZciZY 6$ d[ djg idiVa cZi egdYjXi hVaZh-
 Cc ;j\jhi 1/03+ lZ VXfj^gZY [gdb M^\bV,NVj J]VgbVXZji^XVah+ CcX-+ dg M^\bV,NVj+ i]Z g^\]ih id YZ[^Wgdi^YZ [dg i]Z igZVibZci VcY egZkZci^dc d[ PI>
 ^c Hdgi] ;bZg^XV+ =ZcigVa ;bZg^XV VcY Mdji] ;bZg^XV- Cc ZmX]Vc\Z [dg i]Z g^\]ih id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh+ lZ bVYZ Vc je[gdci eVnbZci d[
 #64-/ b^aa^dc id M^\bV,NVj VcY Vahd bVYZ b^aZhidcZ eVnbZcih d[ #064-/ b^aa^dc Xdbeg^hZY d[ '^( #14-/ b^aa^dc jedc i]Z VXXZeiVcXZ [dg [^a^c\ Wn i]Z
 @>; d[ i]Z [^ghi H>; [dg YZ[^Wgdi^YZ [dg PI>+ eV^Y ^c i]Z [djgi] fjVgiZg d[ 1/04: VcY '^^( Vc VYY^i^dcVa #04/-/ b^aa^dc jedc @>; VeegdkVa d[
 YZ[^Wgdi^YZ [dg PI>+ eV^Y ^c i]Z hZXdcY fjVgiZg d[ 1/05-
 >Z[^Wgdi^YZ ]Vh gZXZ^kZY dge]Vc Ygj\ YZh^\cVi^dc id igZVi VcY egZkZci PI> [gdb i]Z ?jgdeZVc GZY^X^cZh ;\ZcXn+ dg ?G;+ VcY i]Z EdgZVc
 G^c^hign d[ @ddY VcY >gj\ MV[Zin- N]Z =dbbdclZVai] d[ ;jhigVa^V,>ZeVgibZci d[ BZVai] ]Vh \gVciZY YZ[^Wgdi^YZ dge]Vc Ygj\ YZh^\cVi^dc [dg i]Z
 igZVibZci d[ PI>- Cc VYY^i^dc+ i]Z ?G; Vahd \gVciZY dge]Vc Ygj\ YZh^\cVi^dc id YZ[^Wgdi^YZ [dg i]Z egZkZci^dc d[ \gV[i kZghjh ]dhi Y^hZVhZ+ dg
 AkB>+ Vcdi]Zg ediZci^Vaan [ViVa Xdbea^XVi^dc d[ BM=N i]Vi V[[a^Xih je id 4/$ d[ Vaa Ydcdg igVcheaVci eVi^Zcih- QZ VgZ Vahd YZkZade^c\ YZ[^Wgdi^YZ [dg
 di]Zg ediZci^Va ^cY^XVi^dch- @dg bdgZ ^c[dgbVi^dc gZ\VgY^c\ YZ[^Wgdi^YZ YZkZadebZci+ hZZ v<jh^cZhh,LZhZVgX] VcY >ZkZadebZciw ^c i]^h JVgi C+ CiZb
 0-
 N]Z Ygj\ hjWhiVcXZ YZ[^Wgdi^YZ lVh YZkZadeZY VcY ^h bVcj[VXijgZY ^c djg [VX^a^in ^c CiVan- N]Z [^c^h]ZY egdYjXi ^h bVcj[VXijgZY [dg jh Wn V h^c\aZ
 hdjgXZ hjeea^Zg- @dg bdgZ ^c[dgbVi^dc gZ\VgY^c\ >Z[^iZa^d.YZ[^Wgdi^YZ hjeean+ hZZ v<jh^cZhh,GVcj[VXijg^c\w ^c i]^h JVgi C+ CiZb 0 VcY i]Z g^h` [VXidg
 jcYZg i]Z ]ZVY^c\ vThe loss of our single source suppliers, delays or problems in the supply of our products for commercial sale or our product
 candidates for use in our clinical trials, or our or our suppliers’ failure to comply with manufacturing regulations, could materially and
 adversely affect our business, financial condition, results of operations and growth prospectsw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,
 E-
 N]Z jc^fjZ egdXZhh d[ YZg^k^c\ YZ[^Wgdi^YZ [gdb edgX^cZ >H; ^h ZmiZch^kZ VcY jhZh Wdi] X]Zb^XVa VcY W^dad\^XVa egdXZhhZh i]Vi gZan dc XdbeaZm
 X]VgVXiZg^oVi^dc bZi]dYh- QZ ]VkZ V edgi[da^d d[ O-M- VcY cdc,O-M- eViZcih VcY eViZci Veea^XVi^dch gZaVi^c\ id kVg^djh Xdbedh^i^dch+ bZi]dYh d[
 jhZ VcY bZi]dYh d[ X]VgVXiZg^oVi^dc+ l]^X] l^aa Zme^gZ Vi kVg^djh i^bZh WZilZZc ;eg^a 1/06 VcY DjcZ 1/24-
 Prialt and other products
 QZ Vahd XdbbZgX^Va^oZ Jg^Vai+ Vc ^cigVi]ZXVaan VYb^c^hiZgZY ^c[jh^dc d[ o^Xdcdi^YZ+ VeegdkZY Wn i]Z @>; ^c >ZXZbWZg 1//3 [dg i]Z bVcV\ZbZci d[
 hZkZgZ X]gdc^X eV^c ^c eVi^Zcih [dg l]db ^cigVi]ZXVa i]ZgVen ^h lVggVciZY+ VcY l]d VgZ ^cidaZgVci d[ dg gZ[gVXidgn id di]Zg igZVibZci+ hjX] Vh
 hnhiZb^X VcVa\Zh^Xh+ VY_jcXi^kZ i]ZgVe^Zh dg ^cigVi]ZXVa bdge]^cZ- CcigVi]ZXVa i]ZgVen ^h i]Z YZa^kZgn d[ i]Z Ygj\ ^cid i]Z ^cigVi]ZXVa heVXZ ^c i]Z
 he^cZ i]gdj\] Vc ^c[jh^dc hnhiZb Xdbeg^hZY d[ V egd\gVbbVWaZ ^c[jh^dc ejbe VcY XVi]ZiZg- @dg bdhi eVi^Zcih l]d VX]^ZkZ \ddY eV^c gZa^Z[ VcY
 idaZgVW^a^in l^i] Jg^Vai+ eV^c gZa^Z[ XVc WZ bV^ciV^cZY dkZg i^bZ l^i]dji XjbjaVi^kZ idm^X^in- Jg^Vai ^h i]Z dcan @>;,VeegdkZY cdc,de^d^Y ^cigVi]ZXVa
 VcVa\Zh^X- QZ ]VkZ ldgaYl^YZ g^\]ih id Jg^Vai+ ZmXajY^c\ XZgiV^c Xdjcig^Zh djih^YZ d[ i]Z O-M- a^XZchZY Wn ?^hV^ =d- F^b^iZY+ dg ?^hV^+ [gdb ?aVc
 J]VgbVXZji^XVah+ CcX- 'hjWhZfjZcian VXfj^gZY Wn JZgg^\d =dbeVcn eaX( ^c GVn 1/0/- QZ hZaa i]Z egdYjXi ^c i]Z O-M-+ VcY lZ hjeean Jg^Vai id ?^hV^+
 l]^X] hZaah i]Z egdYjXi ^c XZgiV^c Xdjcig^Zh djih^YZ d[ i]Z O-M-
 QZ Vahd hZaa ehnX]^Vign VcY di]Zg egdYjXih ^c i]Z O-M-



                                                                            7
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                                                            22095
 NVWaZ d[ =dciZcih



 Research and Development
 Ijg YZkZadebZci egd_ZXih XjggZcian ^cXajYZ Xa^c^XVa YZkZadebZci d[ cZl egdYjXi XVcY^YViZh+ VXi^k^i^Zh gZaViZY id a^cZ ZmiZch^dch [dg Zm^hi^c\
 egdYjXih VcY i]Z \ZcZgVi^dc d[ VYY^i^dcVa Xa^c^XVa YViV [dg Zm^hi^c\ egdYjXih ^c djg haZZe VcY ]ZbVidad\n.dcXdad\n i]ZgVeZji^X VgZVh-
 Cc i]Z haZZe i]ZgVeZji^X VgZV+ lZ ]VkZ i]Z [daadl^c\ dc\d^c\ VcY eaVccZY YZkZadebZci egd\gVbh9
 •          JZP-110.
 Phase 3 Clinical Trials. DTJ,00/ ^h V aViZ,hiV\Z ^ckZhi^\Vi^dcVa XdbedjcY WZ^c\ YZkZadeZY [dg ediZci^Va igZVibZci d[ ?M ^c eVi^Zcih l^i] cVgXdaZehn
 VcY ?M ^c eVi^Zcih l^i] IM;- QZ VXfj^gZY ldgaYl^YZ YZkZadebZci+ bVcj[VXijg^c\ VcY XdbbZgX^Va g^\]ih id DTJ,00/ [gdb ;Zg^Va <^dJ]VgbV FF=+ dg
 ;Zg^Va+ ^c DVcjVgn 1/03+ di]Zg i]Vc ^c XZgiV^c _jg^hY^Xi^dch ^c ;h^V l]ZgZ ME <^de]VgbVXZji^XVah =d-+ FiY+ dg ME+ gZiV^ch g^\]ih- QZ VgZ XdcYjXi^c\
 ild J]VhZ 2 Xa^c^XVa ig^Vah ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] IM; VcY dcZ J]VhZ 2 Xa^c^XVa ig^Va ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] cVgXdaZehn- Cc
 i]Z i]^gY fjVgiZg d[ 1/05+ lZ XdbeaZiZY ZcgdaabZci ^c i]Z ild J]VhZ 2 Xa^c^XVa ig^Vah ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] IM;- Cc i]Z [djgi] fjVgiZg d[
 1/05+ lZ XdbeaZiZY ZcgdaabZci ^c i]Z J]VhZ 2 Xa^c^XVa ig^Va ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] cVgXdaZehn- QZ ZcgdaaZY Veegdm^bViZan 78/ eVi^Zcih ^c
 i]ZhZ i]gZZ ig^Vah ^c i]Z V\\gZ\ViZ- QZ ZmeZXi egZa^b^cVgn YViV [gdb i]Z ig^Vah ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] IM; Wn i]Z ZcY d[ i]Z [^ghi fjVgiZg
 d[ 1/06 VcY [gdb i]Z ig^Va ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] cVgXdaZehn ^c i]Z hZXdcY fjVgiZg d[ 1/06- MjW_ZXi id i]Z gZhjaih d[ i]ZhZ ig^Vah+ lZ VgZ
 eaVcc^c\ id hjWb^i Vc H>; id i]Z @>; ^c aViZ 1/06- Cc VYY^i^dc+ lZ ZmeZXi id Zcgdaa Veegdm^bViZan 5// eVi^Zcih [gdb djg J]VhZ 1 VcY J]VhZ 2 Xa^c^XVa
 ig^Vah ^c Vc dc\d^c\ deZc aVWZa ZmiZch^dc ig^Va ZkVajVi^c\ i]Z adc\,iZgb hV[Zin VcY bV^ciZcVcXZ d[ Z[[^XVXn d[ DTJ,00/-
 Phase 2 Clinical Trial. QZ XdbbZcXZY eVi^Zci ZcgdaabZci ^c V J]VhZ 1 Xa^c^XVa ig^Va d[ DTJ,00/ ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] JVg`^chdcxh
 Y^hZVhZ ^c i]Z [^ghi fjVgiZg d[ 1/06- QZ ZmeZXi id Zcgdaa Veegdm^bViZan 4/ VYjai eVi^Zcih ^c i]^h ig^Va- N]ZgZ VgZ cd @>;,VeegdkZY i]ZgVe^Zh [dg ?M ^c
 JVg`^chdcxh Y^hZVhZ ^c i]Z O-M-
 Other Activities. QZ VgZ Vahd ZkVajVi^c\ [jijgZ e^eZa^cZ ZmeVch^dc deedgijc^i^Zh [dg DTJ,00/ ^c di]Zg Y^hdgYZgh VcY XdcY^i^dch+ Vh lZaa Vh
 deedgijc^i^Zh [dg \Zd\gVe]^X ZmeVch^dc-
 •          Xyrem-
 Phase 3 Clinical Trial of Xyrem in Children and Adolescents- Q]^aZ ^c bVcn eVi^Zcih cVgXdaZehn XVc WZ\^c Yjg^c\ X]^aY]ddY VcY VYdaZhXZcXZ+
 i]ZgZ ^h a^b^iZY ^c[dgbVi^dc dc i]Z igZVibZci d[ eZY^Vig^X cVgXdaZehn eVi^Zcih l^i] RngZb- QZ ]VkZ ldg`ZY l^i] i]Z @>; VcY hZkZgVa aZVY^c\
 heZX^Va^hih id YZh^\c V Xa^c^XVa ig^Va id \ZcZgViZ VYY^i^dcVa YViV dc i]Z igZVibZci d[ eZY^Vig^X cVgXdaZehn eVi^Zcih l^i] RngZb- Cc i]Z [djgi] fjVgiZg d[
 1/03+ lZ ^c^i^ViZY V J]VhZ 2 Xa^c^XVa ig^Va id VhhZhh i]Z hV[Zin VcY Z[[^XVXn d[ RngZb ^c X]^aYgZc VcY VYdaZhXZcih V\ZY hZkZc id 06 l]d ]VkZ
 cVgXdaZehn l^i] XViVeaZmn- QZ XdbeaZiZY ZcgdaabZci ^c i]^h ig^Va ^c i]Z [djgi] fjVgiZg d[ 1/05 VcY+ hjW_ZXi id i]Z gZhjaih d[ i]Z ig^Va+ Vci^X^eViZ
 hjWb^ii^c\ Vc hH>; VcY eZY^Vig^X lg^iiZc gZfjZhi gZedgi id i]Z @>; ^c i]Z [djgi] fjVgiZg d[ 1/06-
 s         JZP-507.

 DTJ,4/6 ^h Vc ^ckZhi^\Vi^dcVa Ygj\ XVcY^YViZ i]Vi ^c V e^adi hijYn ]Vh YZbdchigViZY W^dZfj^kVaZcXZ id RngZb l^i] V 4/$ gZYjXi^dc ^c hdY^jb
 XdciZci XdbeVgZY id RngZb- QZ VgZ ^ckZhi^\Vi^c\ DTJ,4/6 [dg i]Z ediZci^Va igZVibZci d[ Wdi] cVgXdaZehn l^i] XViVeaZmn VcY ?>M ^c cVgXdaZehn- QZ
 WZa^ZkZ i]Vi DTJ,4/6 ldjaY d[[Zg V Xa^c^XVaan bZVc^c\[ja WZcZ[^i id eVi^Zcih XdbeVgZY id RngZb- QZ Vci^X^eViZ hjWb^ii^c\ Vc H>; id i]Z @>; Wn i]Z
 [^ghi fjVgiZg d[ 1/07-
 s           JZP-258.

 DTJ,147 ^h Vc ^ckZhi^\Vi^dcVa cZl Ygj\ XVcY^YViZ i]Vi XdciV^ch 8/$ aZhh hdY^jb i]Vc RngZb VcY ^h WZ^c\ YZkZadeZY [dg i]Z ediZci^Va igZVibZci d[
 Wdi] cVgXdaZehn l^i] XViVeaZmn VcY ?>M ^c cVgXdaZehn- QZ WZa^ZkZ i]Vi DTJ,147 ldjaY d[[Zg V Xa^c^XVaan bZVc^c\[ja WZcZ[^i id eVi^Zcih XdbeVgZY id
 RngZb- QZ VgZ eaVcc^c\ id ^c^i^ViZ V J]VhZ 2 Xa^c^XVa ig^Va d[ DTJ,147 ^c i]Z ?O VcY O-M- ^c i]Z [^ghi fjVgiZg d[ 1/06+ VcY+ hjW_ZXi id i]Z gZhjaih d[ i]^h
 ig^Va+ lZ Vci^X^eViZ hjWb^ii^c\ Vc H>; id i]Z @>; ^c 1/08-
 Other Activities. QZ VgZ Vahd ejghj^c\ VXi^k^i^Zh gZaViZY id i]Z ediZci^Va YZkZadebZci d[ dcXZ,c^\]ian Ydh^c\ dei^dch [dg cVgXdaZehn eVi^Zcih i]Vi
 lZ WZa^ZkZ ldjaY egdk^YZ Xa^c^XVaan bZVc^c\[ja ^begdkZbZcih id eVi^Zcih XdbeVgZY id RngZb- QZ VgZ Zmeadg^c\ [dgbjaVi^dc dei^dch+ ^cXajY^c\ Vc
 ZkVajVi^dc d[ YZjiZgViZY dmnWViZ-
 Cc i]Z ]ZbVidad\n VcY dcXdad\n i]ZgVeZji^X VgZV+ lZ ]VkZ i]Z [daadl^c\ dc\d^c\ VcY eaVccZY YZkZadebZci VXi^k^i^Zh9
 s          Vyxeos (CPX-351). N]gdj\] i]Z VXfj^h^i^dc d[ =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ ^c Djan 1/05+ dg i]Z =ZaVidg ;Xfj^h^i^dc+ lZ
            VXfj^gZY ldgaYl^YZ YZkZadebZci VcY XdbbZgX^Va^oVi^dc g^\]ih id PnmZdh+ Vc ^ckZhi^\Vi^dcVa

                                                                              8
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 NVWaZ d[ =dciZcih



 egdYjXi ^c YZkZadebZci Vh V igZVibZci [dg ]^\],g^h` ;GF- PnmZdh ^h XjggZcian cdi VeegdkZY Vh V bVg`ZiZY egdYjXi ^c Vcn _jg^hY^Xi^dc- QZ ^c^i^ViZY V
 gdaa^c\ hjWb^hh^dc d[ Vc H>; [dg PnmZdh id i]Z @>; ^c i]Z i]^gY fjVgiZg d[ 1/05- QZ ZmeZXi id XdbeaZiZ i]Z H>; hjWb^hh^dc Wn i]Z ZcY d[ i]Z [^ghi
 fjVgiZg d[ 1/06 VcY id hjWb^i Vc G;; [dg PnmZdh id i]Z ?G; ^c i]Z hZXdcY ]Va[ d[ 1/06- Ijg VW^a^in id XdbeaZiZ i]Z H>; hjWb^hh^dc dc djg
 Vci^X^eViZY i^b^c\ gZbV^ch hjW_ZXi id djg VW^a^in id XdbeaZiZ cZXZhhVgn egZ,[^a^c\ VXi^k^i^Zh+ ^cXajY^c\ X]Zb^hign+ bVcj[VXijg^c\ VcY Xdcigdah+ dg
 =G=+ VXi^k^i^Zh+ ^c dgYZg id hjeedgi djg Veea^XVi^dc [dg bVg`Zi^c\ VeegdkVa- QZ Vahd ZmeZXi id XdcYjXi VYY^i^dcVa VXi^k^i^Zh+ ^cXajY^c\ l^i] gZheZXi
 id =G=+ ^c hjeedgi d[ VeegdkVa d[ djg H>; [dg PnmZdh V[iZg lZ XdbeaZiZ i]Z H>; hjWb^hh^dc-
 @>; <gZV`i]gdj\] N]ZgVen YZh^\cVi^dc ]Vh WZZc \gVciZY [dg PnmZdh [dg i]Z igZVibZci d[ VYjaih l^i] i]ZgVen,gZaViZY ;GF dg ;GF l^i]
 bnZadYnheaVh^V,gZaViZY X]Vc\Zh- <gZV`i]gdj\] N]ZgVen YZh^\cVi^dc ^h V egdXZhh YZh^\cZY id ZmeZY^iZ i]Z YZkZadebZci VcY gZk^Zl d[ V Ygj\ i]Vi ^h
 ^ciZcYZY id igZVi V hZg^djh dg a^[Z,i]gZViZc^c\ Y^hZVhZ dg XdcY^i^dc l]Zc egZa^b^cVgn Xa^c^XVa Zk^YZcXZ ^cY^XViZh i]Vi i]Z Ygj\ bVn YZbdchigViZ
 hjWhiVci^Va ^begdkZbZci dkZg VkV^aVWaZ i]ZgVe^Zh dc dcZ dg bdgZ Xa^c^XVaan h^\c^[^XVci ZcYed^cih- Cc VYY^i^dc+ i]Z @>; ]Vh \gVciZY @Vhi NgVX`
 YZh^\cVi^dc id PnmZdh [dg i]Z igZVibZci d[ ZaYZgan eVi^Zcih l^i] hZXdcYVgn ;GF- @Vhi NgVX` ^h V YZh^\cVi^dc Wn i]Z @>; d[ Vc ^ckZhi^\Vi^dcVa Ygj\
 [dg ZmeZY^iZY gZk^Zl id [VX^a^iViZ YZkZadebZci d[ Ygj\h l]^X] igZVi V hZg^djh dg a^[Z,i]gZViZc^c\ XdcY^i^dc VcY [ja[^aa Vc jcbZi bZY^XVa cZZY-
 QZ VgZ Vahd VhhZhh^c\ i]Z ediZci^Va [dg VeegdkVa d[ PnmZdh ^c di]Zg Xdjcig^Zh VcY [dg YZkZadebZci d[ PnmZdh ^c ^cY^XVi^dch ^c VYY^i^dc id i]Z
 igZVibZci d[ VYjaih l^i] i]ZgVen,gZaViZY ;GF dg ;GF l^i] bnZadYnheaVh^V,gZaViZY X]Vc\Zh-
 s          Defibrotide.
 Phase 3 Clinical Trial- QZ ZcgdaaZY i]Z [^ghi eVi^Zci ^c V J]VhZ 2 Xa^c^XVa ig^Va d[ YZ[^Wgdi^YZ id ZkVajViZ i]Z hV[Zin VcY Z[[^XVXn d[ YZ[^Wgdi^YZ [dg i]Z
 egZkZci^dc d[ PI> ^c ]^\],g^h` VcY kZgn ]^\],g^h` eVi^Zcih [daadl^c\ BM=N ^c i]Z [^ghi fjVgiZg d[ 1/06- QZ ZmeZXi id Zcgdaa Veegdm^bViZan 3//
 eVi^Zcih ^c i]^h \adWVa ig^Va VcY+ YZeZcY^c\ dc i]Z gZhjaih [gdb i]Z ^ciZg^b VcVanh^h+ i]Z ZcgdaabZci XdjaY ^cXgZVhZ id je id Veegdm^bViZan 5//
 eVi^Zcih-
 Planned Phase 2 Clinical Trial- QZ ZmeZXi id ^c^i^ViZ V J]VhZ 1 egdd[ d[ XdcXZei ig^Va id ZkVajViZ YZ[^Wgdi^YZ [dg i]Z egZkZci^dc d[ VAkB> [daadl^c\
 BM=N ^c i]Z [djgi] fjVgiZg d[ 1/06-
 Other Activities. QZ VgZ ejghj^c\ gZ\jaVidgn VeegdkVa d[ YZ[^Wgdi^YZ ^c =VcVYV- QZ VgZ Vahd ZkVajVi^c\ i]Z ediZci^Va d[ YZ[^Wgdi^YZ ^c VYY^i^dcVa
 edhi,BM=N Xdbea^XVi^dch+ Vh lZaa Vh ^ckZhi^\Vi^c\ YZ[^Wgdi^YZxh ediZci^Va ji^a^in ^c di]Zg hZg^djh+ a^[Z,i]gZViZc^c\ XdcY^i^dch-
 •          Asparaginase Programs. QZ VgZ ejghj^c\ VXi^k^i^Zh gZaViZY id i]Z YZkZadebZci d[ ^begdkZY egdYjXih [dg eVi^Zcih l^i] ;FF+ ^cXajY^c\
            Vc Z[[ZXi^kZ+ lZaa,idaZgViZY VcY adc\,VXi^c\ gZXdbW^cVci Xg^hVciVheVhZ i]Vi XdjaY d[[Zg Xa^c^XVaan bZVc^c\[ja WZcZ[^ih XdbeVgZY id
            ?gl^cVoZ- Cc VYY^i^dc+ ^c Djan 1/05+ lZ ZciZgZY ^cid Vc V\gZZbZci l^i] J[ZcZm CcX-+ dg J[ZcZm+ jcYZg l]^X] J[ZcZm \gVciZY jh ldgaYl^YZ
            g^\]ih id YZkZade VcY XdbbZgX^Va^oZ bjai^eaZ ZVgan,hiV\Z ]ZbVidad\n egdYjXi XVcY^YViZh- N]Z V\gZZbZci ^cXajYZh Vc dei^dc [dg jh id
            cZ\di^ViZ V a^XZchZ [dg V gZXdbW^cVci eZ\VheVg\VhZ egdYjXi XVcY^YViZ l^i] J[ZcZm-
 QZ gZXdgYZY gZhZVgX] VcY YZkZadebZci ZmeZchZh d[ #051-2 b^aa^dc+ #024-2 b^aa^dc VcY #74-1 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- QZ Vahd
 gZXdgYZY X]Vg\Zh d[ #12-7 b^aa^dc+ #/-/ b^aa^dc VcY #1/1-5 b^aa^dc id ^c,egdXZhh gZhZVgX] VcY YZkZadebZci ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan-


 Sales and Marketing
 QZ ]VkZ XdbbZgX^Va deZgVi^dch eg^bVg^an ^c i]Z O-M- VcY ?jgdeZ- Cc i]Z O-M-+ djg egdYjXih VgZ bVg`ZiZY i]gdj\] djg XdbbZgX^Va iZVbh+ ^cXajY^c\
 bdgZ i]Vc 04/ igV^cZY+ ZmeZg^ZcXZY hVaZh egd[Zhh^dcVah l]d egdbdiZ RngZb+ ?gl^cVoZ+ >Z[^iZa^d VcY Jg^Vai Y^gZXian id e]nh^X^Vch ^c heZX^Vai^Zh
 Veegdeg^ViZ [dg ZVX] egdYjXi- Ijih^YZ d[ i]Z O-M-+ djg ]ZbVidad\n VcY dcXdad\n hVaZh [dgXZ ]Vh Veegdm^bViZan 17 ]ZbVidad\n [^ZaY heZX^Va^hih
 gZhedch^WaZ [dg egdbdi^c\ ?gl^cVhZ VcY >Z[^iZa^d ^c VeegdkZY bVg`Zih l]ZgZ lZ XdbbZgX^Va^oZ i]ZhZ egdYjXih-
 Ijg XdbbZgX^Va VXi^k^i^Zh ^cXajYZ bVg`Zi^c\,gZaViZY hZgk^XZh+ Y^hig^Wji^dc hZgk^XZh VcY XdbbZgX^Va hjeedgi hZgk^XZh- QZ Zbeadn i]^gY eVgin kZcYdgh+
 hjX] Vh VYkZgi^h^c\ V\ZcX^Zh+ bVg`Zi gZhZVgX] [^gbh VcY hjeea^Zgh d[ bVg`Zi^c\ VcY di]Zg hVaZh hjeedgi,gZaViZY hZgk^XZh+ id Vhh^hi l^i] djg
 XdbbZgX^Va VXi^k^i^Zh-
 QZ XjggZcian ]VkZ V gZaVi^kZan hbVaa cjbWZg d[ hVaZh gZegZhZciVi^kZh XdbeVgZY l^i] i]Z cjbWZg d[ hVaZh gZegZhZciVi^kZh d[ bdhi di]Zg
 e]VgbVXZji^XVa XdbeVc^Zh l^i] bVg`ZiZY egdYjXih- ?VX] d[ djg hVaZh gZegZhZciVi^kZh ^h gZhedch^WaZ [dg V \Zd\gVe]^X iZgg^idgn d[ h^\c^[^XVci h^oZ- QZ
 WZa^ZkZ i]Vi i]Z h^oZ d[ djg hVaZh [dgXZ ^h Veegdeg^ViZ id Z[[ZXi^kZan gZVX] djg iVg\Zi VjY^ZcXZ [dg djg bVg`ZiZY egdYjXih ^c i]Z heZX^Vain bVg`Zih ^c
 l]^X] lZ XjggZcian deZgViZ- QZ egdbdiZ >Z[^iZa^d Vadc\ l^i]

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 ?gl^cVoZ id bVcn ]ZbVidad\n VcY dcXdad\n heZX^Va^hih l]d deZgViZ ^c i]Z hVbZ ]dhe^iVah+ VcY lZ WZa^ZkZ i]Vi lZ WZcZ[^i [gdb deZgVi^dcVa
 hncZg\^Zh [gdb i]^h dkZgaVe- =dci^cjZY \gdli] d[ djg XjggZci bVg`ZiZY egdYjXih VcY i]Z aVjcX] d[ Vcn [jijgZ egdYjXih bVn gZfj^gZ [jgi]Zg
 ZmeVch^dc d[ djg hVaZh [dgXZ VcY hVaZh hjeedgi dg\Vc^oVi^dc ^c i]Z O-M- VcY ^ciZgcVi^dcVaan-


 Competition
 N]Z e]VgbVXZji^XVa ^cYjhign ^h ]^\]an XdbeZi^i^kZ VcY Ydb^cViZY Wn V cjbWZg d[ aVg\Z+ ZhiVWa^h]ZY e]VgbVXZji^XVa XdbeVc^Zh+ Vh lZaa Vh heZX^Vain
 e]VgbVXZji^XVa XdbeVc^Zh i]Vi bVg`Zi egdYjXih VcY YZkZade egdYjXi XVcY^YViZh ^c haZZe+ ]ZbVidad\n.dcXdad\n+ eV^c VcY di]Zg i]ZgVeZji^X VgZVh-
 GVcn d[ i]ZhZ XdbeVc^Zh+ eVgi^XjaVgan aVg\Z e]VgbVXZji^XVa VcY a^[Z hX^ZcXZh XdbeVc^Zh+ ]VkZ hjWhiVci^Vaan \gZViZg [^cVcX^Va+ deZgVi^dcVa VcY
 ]jbVc gZhdjgXZh i]Vc lZ Yd- N]Zn XVc heZcY bdgZ dc+ VcY ]VkZ bdgZ ZmeZgi^hZ ^c+ gZhZVgX] VcY YZkZadebZci+ gZ\jaVidgn+ bVcj[VXijg^c\+
 Y^hig^Wji^dc VcY hVaZh VXi^k^i^Zh- ;h V gZhjai+ djg XdbeZi^idgh bVn dWiV^c gZ\jaVidgn VeegdkVah [dg i]Z^g egdYjXi XVcY^YViZh bdgZ gVe^Yan i]Vc lZ
 bVn VcY bVn bVg`Zi i]Z^g egdYjXih bdgZ Z[[ZXi^kZan i]Vc lZ Yd- MbVaaZg dg ZVga^Zg hiV\Z XdbeVc^Zh bVn Vahd egdkZ id WZ h^\c^[^XVci XdbeZi^idgh+
 eVgi^XjaVgan i]gdj\] XdaaVWdgVi^kZ VggVc\ZbZcih l^i] aVg\Z+ ZhiVWa^h]ZY XdbeVc^Zh-
 Ijg VW^a^in id Xdci^cjZ id \gdl gZfj^gZh i]Vi lZ XdbeZiZ hjXXZhh[jaan l^i] di]Zg e]VgbVXZji^XVa XdbeVc^Zh [dg egdYjXi VcY egdYjXi XVcY^YViZ
 VXfj^h^i^dc VcY ^c,a^XZch^c\ deedgijc^i^Zh- N]ZhZ XdbeZi^idgh ^cXajYZ di]Zg heZX^Vain e]VgbVXZji^XVa XdbeVc^Zh VcY ZhiVWa^h]ZY XdbeVc^Zh i]Vi
 bVn ]VkZ V XdbeZi^i^kZ VYkVciV\Z dkZg jh YjZ id i]Z^g h^oZ VcY [^cVcX^Va gZhdjgXZh-
 QZ Vahd [VXZ XdbeZi^i^dc+ VcY bVn ^c i]Z [jijgZ [VXZ VYY^i^dcVa XdbeZi^i^dc+ [gdb bVcj[VXijgZgh d[ \ZcZg^X Ygj\h+ ^cXajY^c\ ^c XdccZXi^dc l^i] i]Z
 @>;xh gZXZci VeegdkVa VcY iZciVi^kZ VeegdkVah d[ \ZcZg^X kZgh^dch d[ RngZb- AZcZg^X XdbeZi^i^dc d[iZc gZhjaih ^c YZXgZVhZh ^c i]Z eg^XZh Vi l]^X]
 WgVcYZY egdYjXih XVc WZ hdaY+ eVgi^XjaVgan l]Zc i]ZgZ ^h bdgZ i]Vc dcZ \ZcZg^X VkV^aVWaZ ^c i]Z bVg`ZieaVXZ- Cc VYY^i^dc+ aZ\^haVi^dc ZcVXiZY ^c i]Z
 O-M- Vaadlh [dg+ VcY ^c hdbZ ^chiVcXZh ^c i]Z VWhZcXZ d[ heZX^[^X ^chigjXi^dch [gdb i]Z egZhXg^W^c\ e]nh^X^Vc bVcYViZh+ i]Z Y^heZch^c\ d[ \ZcZg^X
 egdYjXih gVi]Zg i]Vc WgVcYZY egdYjXih l]ZgZ V \ZcZg^X kZgh^dc ^h VkV^aVWaZ- Ii]Zg XdbeVc^Zh XdjaY Vahd YZkZade egdYjXih i]Vi VgZ h^b^aVg+ Wji cdi
 ^YZci^XVa+ id djg bVg`ZiZY egdYjXih+ hjX] Vh Vc VaiZgcVi^kZ [dgbjaVi^dc d[ djg egdYjXi dg Vc VaiZgcVi^kZ [dgbjaVi^dc XdbW^cZY l^i] V Y^[[ZgZci
 YZa^kZgn iZX]cdad\n+ VcY hZZ` VeegdkVa ^c i]Z O-M- Wn gZ[ZgZcX^c\ djg egdYjXih VcY gZan^c\+ id hdbZ YZ\gZZ+ dc i]Z @>;xh [^cY^c\ i]Vi djg egdYjXih
 VgZ hV[Z VcY Z[[ZXi^kZ ^c i]Z^g VeegdkZY ^cY^XVi^dch-
 Ijg egdYjXih VcY egdYjXi XVcY^YViZh bVn Vahd XdbeZiZ ^c i]Z [jijgZ l^i] cZl egdYjXih XjggZcian jcYZg YZkZadebZci Wn di]Zgh- ;cn egdYjXih i]Vi
 lZ YZkZade VgZ a^`Zan id WZ ^c V ]^\]an XdbeZi^i^kZ bVg`Zi+ VcY bVcn d[ djg XdbeZi^idgh bVn hjXXZZY ^c YZkZade^c\ egdYjXih i]Vi bVn gZcYZg djg
 egdYjXih dWhdaZiZ dg cdcXdbeZi^i^kZ-
 Ijg egdYjXih [VXZ XdbeZi^i^dc Vh YZhXg^WZY WZadl9
 s         Xyrem- RngZb ^h i]Z dcan egdYjXi VeegdkZY Wn i]Z @>; VcY XjggZcian bVg`ZiZY ^c i]Z O-M- [dg i]Z igZVibZci d[ Wdi] XViVeaZmn VcY ?>M ^c
           eVi^Zcih l^i] cVgXdaZehn- Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ LdmVcZxh ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb- N]Z
           @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>; cdiZh i]Vi LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\
           ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa Vahd ^cXajYZh V lV^kZg i]Vi eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM egd\gVb [gdb
           RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb
           dmnWViZ egdYjXih- Ic DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg
           ;bcZVa VcY dcZ [dg LVcWVmn+ VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa ;H>;h-
           BdlZkZg+ i]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h jcXZgiV^c- QZ Yd cdi WZa^ZkZ V aVjcX] Wn Vc
           ;H>; [^aZg ^h a^`Zan id dXXjg eg^dg id Z^i]Zg V YViZ V\gZZY ^c V hZiiaZbZci V\gZZbZci WZilZZc jh VcY hjX] ;H>; [^aZg dg V >^hig^Xi =djgi+ dg
           ediZci^Vaan Vc VeeZaaViZ Xdjgi+ YZX^h^dc ^c djg dc\d^c\ eViZci a^i^\Vi^dc- @dg [jgi]Zg Y^hXjhh^dc d[ dc\d^c\ eViZci a^i^\Vi^dc VcY gZaViZY
           egdXZZY^c\h+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe
           approval and launch of a generic version of Xyrem or other sodium oxybate products that compete with Xyrem would adversely affect
           sales of Xyremw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E- @dg [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] @>;
           VeegdkVa d[ i]Z LdmVcZ ;H>;+ iZciVi^kZ VeegdkVa d[ i]Z ;bcZVa VcY LVcWVmn ;H>;h+ ediZci^Va VeegdkVa dg iZciVi^kZ VeegdkVa d[
           VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg hdY^jb dmnWViZ egdYjXih
           i]Vi XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The
           Hatch-Waxman Actw ^c i]^h JVgi C+ CiZb 0 VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[
           RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 s         ;h VaiZgcVi^kZh id RngZb+ XViVeaZmn ^h d[iZc igZViZY l^i] ig^XnXa^X Vci^YZegZhhVcih VcY hZaZXi^kZ hZgdidc^c gZjeiV`Z ^c]^W^idgh+ dg MMLCh+ dg
           hZaZXi^kZ cdgZe^cZe]g^cZ gZjeiV`Z ^c]^W^idgh+ dg MHLCh+ ZkZc i]dj\] i]ZhZ egdYjXih VgZ cdi VeegdkZY Wn i]Z @>; [dg i]Z igZVibZci d[
           XViVeaZmn- Ng^XnXa^X Vci^YZegZhhVcih VgZ V XaVhh d[ Vci^YZegZhhVci Ygj\h [^ghi

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 jhZY ^c i]Z 084/h- N]Z jhZ d[ i]ZhZ Ygj\h XVc d[iZc gZhjai ^c hdbcdaZcXZ+ l]^X] ZmVXZgWViZh i]Z ?>M VagZVYn ZmeZg^ZcXZY Wn Vaa eVi^Zcih l^i]
 cVgXdaZehn- MMLCh VcY MHLCh VgZ XdbedjcYh ine^XVaan jhZY [dg i]Z igZVibZci d[ Xa^c^XVa YZegZhh^dc- MdbcdaZcXZ VcY ^chdbc^V VgZ Xdbbdcan
 gZedgiZY h^YZ Z[[ZXih d[ MMLCh+ l]^aZ adhh d[ haZZe ^h V Xdbbdcan gZedgiZY h^YZ Z[[ZXi d[ MHLCh- N]ZhZ h^YZ Z[[ZXih bVn WZ egdWaZbVi^X [dg eVi^Zcih
 l^i] cVgXdaZehn-
 N]Z dcan di]Zg egdYjXih Wdi] VeegdkZY Wn i]Z @>; VcY XjggZcian bVg`ZiZY [dg i]Z igZVibZci d[ ?>M ^c eVi^Zcih l^i] cVgXdaZehn VgZ Jgdk^\^at
 'bdYV[^c^a( VcY Hjk^\^at 'VgbdYV[^c^a(+ l]^X] VgZ bVg`ZiZY Wn NZkV J]VgbVXZji^XVa CcYjhig^Zh F^b^iZY+ dg NZkV+ VcY \ZcZg^X kZgh^dch d[ Jgdk^\^a-
 Jgdk^\^a+ ^ih \ZcZg^X Zfj^kVaZcih VcY Hjk^\^a VgZ Vahd VeegdkZY [dg ^begdk^c\ lV`Z[jacZhh ^c eVi^Zcih l^i] ?>M VhhdX^ViZY l^i] igZViZY IM; dg h]^[i
 ldg` Y^hdgYZg- RngZb ^h d[iZc jhZY ^c Xdc_jcXi^dc l^i] hi^bjaVcih VcY lV`Z[jacZhh egdbdi^c\ V\Zcih+ ^cXajY^c\ Jgdk^\^a+ ^ih \ZcZg^X Zfj^kVaZcih
 VcY Hjk^\^a+ l]^X] VgZ VYb^c^hiZgZY Yjg^c\ i]Z YVn-
 QZ VgZ Vahd VlVgZ d[ egdYjXih WZ^c\ YZkZadeZY Wn di]Zgh [dg jhZ Vh igZVibZci dei^dch ^c XViVeaZmn VcY.dg ?>M ^c eVi^Zcih l^i] cVgXdaZehn+
 ^cXajY^c\ V egdYjXi id igZVi VYjai eVi^Zcih l^i] cVgXdaZehn l^i] dg l^i]dji XViVeaZmn i]Vi gZXZcian gZXZ^kZY bVg`Zi^c\ VeegdkVa ^c ?jgdeZ- Q]^aZ i]^h
 egdYjXi ^h XjggZcian cdi VeegdkZY Wn i]Z @>; [dg bVg`Zi^c\ ^c i]Z O-M- dg+ id djg `cdlaZY\Z+ hjW_ZXi id V eZcY^c\ Veea^XVi^dc [dg hjX] VeegdkVa+
 i]Z gZXZ^ei d[ bVg`Zi^c\ VeegdkVa VcY XdbbZgX^Va^oVi^dc d[ i]^h egdYjXi ^c i]Z O-M- [dg i]Z igZVibZci d[ cVgXdaZehn+ dg bVg`Zi^c\ VeegdkVa VcY
 XdbbZgX^Va^oVi^dc d[ di]Zg egdYjXih XjggZcian WZ^c\ YZkZadeZY [dg i]Z igZVibZci d[ cVgXdaZehn+ XdjaY+ YZeZcY^c\ dc i]Z iVg\ZiZY eVi^Zci
 edejaVi^dc+ cZ\Vi^kZan ^beVXi djg VW^a^in id bV^ciV^c VcY \gdl hVaZh d[ RngZb-
 Ii]Zg XdbeVc^Zh XdjaY Vahd YZkZade egdYjXih i]Vi VgZ h^b^aVg+ Wji cdi ^YZci^XVa+ id RngZb+ hjX] Vh Vc VaiZgcVi^kZ [dgbjaVi^dc dg Vc VaiZgcVi^kZ
 [dgbjaVi^dc XdbW^cZY l^i] V Y^[[ZgZci YZa^kZgn iZX]cdad\n+ VcY hZZ` VeegdkVa ^c i]Z O-M- Wn gZ[ZgZcX^c\ RngZb VcY gZan^c\+ id hdbZ YZ\gZZ+ dc i]Z
 @>;xh VeegdkVa d[ RngZb VcY gZaViZY YZiZgb^cVi^dch d[ hV[Zin VcY Z[[^XVXn- @dg ZmVbeaZ+ ;kVYZa J]VgbVXZji^XVah eaX+ dg ;kVYZa+ V XdbeVcn i]Vi ^h
 jh^c\ ^ih egdeg^ZiVgn iZX]cdad\n [dg YZa^kZgn d[ V hdY^jb dmnWViZ [dgbjaVi^dc id Za^b^cViZ hZXdcY c^\]ii^bZ Ydh^c\ [dg cVgXdaZehn eVi^Zcih+ ]Vh
 hiViZY i]Vi ^i ^h XdcYjXi^c\ V J]VhZ 2 e^kdiVa ig^Va ejghjVci id Vc @>;,VeegdkZY heZX^Va egdidXda VhhZhhbZci- C[ ;kVYZa ^h hjXXZhh[ja ^c YZkZade^c\
 V hdY^jb dmnWViZ [dgbjaVi^dc i]Vi XdjaY WZ Z[[ZXi^kZan jhZY l^i] ^ih YZa^kZgn iZX]cdad\n VcY ^h VWaZ id dWiV^c @>; dg di]Zg gZ\jaVidgn VeegdkVa [dg
 ^ih egdYjXi id igZVi cVgXdaZehn eVi^Zcih+ lZ ZmeZXi i]Z aVjcX] d[ hjX] V egdYjXi ldjaY XdbeZiZ Y^gZXian l^i] RngZb VcY XdjaY ]VkZ V bViZg^Va
 VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 s         Erwinaze- ?gl^cVoZ ^h V W^dad\^X egdYjXi jhZY ^c Xdc_jcXi^dc l^i] X]Zbdi]ZgVen VcY ^h ^cY^XViZY [dg eVi^Zcih l^i] ;FF l]d ]VkZ
           YZkZadeZY ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ- Q]^aZ i]ZgZ ^h XjggZcian cd Y^gZXi XdbeZi^i^dc id ?gl^cVoZ id igZVi ;FF
           eVi^Zcih l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ+ di]Zg XdbeVc^Zh ]VkZ YZkZadeZY dg VgZ YZkZade^c\ cZl igZVibZcih [dg
           ;FF+ ^cXajY^c\ cZl VheVgV\^cVhZ igZVibZcih i]Vi XdjaY gZYjXZ i]Z gViZ d[ ]neZghZch^i^k^in ^c eVi^Zcih l^i] ;FF+ VcY cZl igZVibZci
           egdidXdah VgZ WZ^c\ YZkZadeZY [dg ;FF i]Vi bVn cdi ^cXajYZ VheVgV\^cVhZ,XdciV^c^c\ gZ\^bZch- @dg ZmVbeaZ+ V cjbWZg d[ XdbeVc^Zh VgZ
           YZkZade^c\ cZl ^bbjcdi]ZgVen igZVibZcih [dg gZaVehZY dg gZ[gVXidgn ;FF eVi^Zcih+ ^cXajY^c\ dcZ igZVibZci i]Vi lVh gZXZcian VeegdkZY-
           ;cn ediZci^Va cZl igZVibZci XdjaY gZYjXZ i]Z bVg`Zi [dg ?gl^cVoZ- ;h V W^dad\^X egdYjXi+ ?gl^cVoZ Vahd [VXZh ediZci^Va XdbeZi^i^dc [gdb
           W^dh^b^aVg egdYjXih-
 s         Defitelio- >Z[^iZa^d ^h i]Z dcan VeegdkZY igZVibZci ^c i]Z O-M- [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI>+ Vahd `cdlc Vh
           MIM+ l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\ BM=N VcY i]Z dcan VeegdkZY igZVibZci ^c i]Z ?O [dg hZkZgZ PI> ^c VYjaih VcY
           X]^aYgZc jcYZg\d^c\ BM=N- PVg^djh Vci^,Xadii^c\ higViZ\^Zh ]VkZ WZZc ig^ZY Wn gZhZVgX]Zgh ^c eVi^Zcih l^i] PI> l^i] b^mZY gZhjaih+
           ^cXajY^c\ ;Xi^kVhZ 'VaiZeaVhZ(+ V gZXdbW^cVci i^hhjZ eaVhb^cd\Zc VXi^kVidg bVg`ZiZY Wn AZcZciZX]+ CcX-+ \ZcZg^X ]ZeVg^c hdY^jb ^c_ZXi^dc
           VcY N]gdbWViZ CCC 'Vci^i]gdbW^c CCC ']jbVc((+ bVg`ZiZY Wn Ag^[dah N]ZgVeZji^Xh+ CcX- Q]^aZ i]ZgZ ^h XjggZcian cd Y^gZXi XdbeZi^i^dc id
           >Z[^iZa^d id igZVi hZkZgZ PI>+ X]Vc\Zh ^c i]Z ineZh d[ XdcY^i^dc^c\ gZ\^bZch jhZY Vh eVgi d[ BM=N bVn V[[ZXi i]Z ^cX^YZcXZ gViZ d[ PI>
           VcY YZbVcY [dg >Z[^iZa^d-
 s         Vyxeos- ;GF+ V XVcXZg ^cY^XVi^dc [dg l]^X] lZ ^ciZcY id XdbbZgX^Va^oZ PnmZdh+ ]Vh ZhiVWa^h]ZY i]ZgVe^Zh- ; `Zn Xdch^YZgVi^dc ^c i]Z
           igZVibZci d[ ;GF eVi^Zcih ^h i]Z eVi^Zcixh hj^iVW^a^in [dg X]Zbdi]ZgVen- N]Z eVi^Zci edejaVi^dc hijY^ZY ^c i]Z PnmZdh J]VhZ 2 Xa^c^XVa ig^Va
           ^cXajYZY ;GF eVi^Zcih YZZbZY VWaZ id idaZgViZ X]Zbdi]ZgVen- N]ZgZ VgZ Zm^hi^c\ dei^dch [dg i]Z igZVibZci d[ cZlan,Y^V\cdhZY ;GF
           eVi^Zcih l]d XVc idaZgViZ X]Zbdi]ZgVen+ hjX] Vh XniVgVW^cZ ^c XdbW^cVi^dc l^i] Vc Vci]gVXnXa^cZ '^-Z-+ YVjcdgjW^X^c(+ `cdlc Vh 6*2- Cc
           VYY^i^dc+ lZ VgZ VlVgZ d[ hZkZgVa di]Zg egdYjXih ^c YZkZadebZci [dg jhZ Vh igZVibZci dei^dch [dg ;GF eVi^Zcih+ hjX] Vh iVg\ZiZY V\Zcih
           '@FN,2+ C>B,0+ C>B,1+ =>,22+ =;L N,XZaa(- MdbZ d[ i]Z eVi^Zci edejaVi^dch WZ^c\ hijY^ZY [dg i]ZhZ egdYjXih ^c YZkZadebZci dkZgaVe l^i]
           i]Z eVi^Zci edejaVi^dc hijY^ZY ^c i]Z PnmZdh J]VhZ 2 Xa^c^XVa ig^Va-

                                                                           01
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 Q^i] gZheZXi id Vaa d[ djg egdYjXih VcY egdYjXi XVcY^YViZh+ lZ WZa^ZkZ i]Vi djg VW^a^in id hjXXZhh[jaan XdbeZiZ l^aa YZeZcY dc+ Vbdc\ di]Zg i]^c\h9
 s         i]Z Zm^hiZcXZ d[ XdbeZi^c\ dg VaiZgcVi^kZ egdYjXih ^c i]Z bVg`ZieaVXZ+ ^cXajY^c\ \ZcZg^X XdbeZi^i^dc+ VcY i]Z gZaVi^kZ eg^XZ d[ i]dhZ
           egdYjXih:
 s         i]Z Z[[^XVXn+ hV[Zin VcY gZa^VW^a^in d[ djg egdYjXih VcY egdYjXi XVcY^YViZh XdbeVgZY id XdbeZi^c\ dg VaiZgcVi^kZ egdYjXih:
 s         egdYjXi VXXZeiVcXZ Wn e]nh^X^Vch+ di]Zg ]ZVai] XVgZ egdk^YZgh VcY eVi^Zcih:
 s         djg VW^a^in id Xdbean l^i] Veea^XVWaZ aVlh+ gZ\jaVi^dch VcY gZ\jaVidgn gZfj^gZbZcih l^i] gZheZXi id i]Z XdbbZgX^Va^oVi^dc d[ djg egdYjXih+
           ^cXajY^c\ Vcn X]Vc\Zh id+ dg jcXZgiV^ci^Zh VgdjcY+ gZ\jaVidgn gZhig^Xi^dch:
 s         egdiZXi^dc d[ djg egdeg^ZiVgn g^\]ih:
 s         dWiV^c^c\ gZ^bWjghZbZci [dg djg egdYjXih ^c VeegdkZY ^cY^XVi^dch:
 s         djg VW^a^in id XdbeaZiZ Xa^c^XVa YZkZadebZci VcY dWiV^c gZ\jaVidgn VeegdkVah [dg djg egdYjXi XVcY^YViZh+ VcY i]Z i^b^c\ VcY hXdeZ d[
           gZ\jaVidgn VeegdkVah:
 s         djg VW^a^in id egdk^YZ V gZa^VWaZ hjeean d[ XdbbZgX^Va fjVci^i^Zh d[ V egdYjXi id i]Z bVg`Zi: VcY
 s         djg VW^a^in id gZXgj^i+ gZiV^c VcY YZkZade h`^aaZY ZbeadnZZh+ ^cXajY^c\ hVaZh VcY bVg`Zi^c\ VcY Xa^c^XVa YZkZadebZci ZbeadnZZh-
 @dg bdgZ ^c[dgbVi^dc dc i]Z XdbeZi^i^kZ g^h`h lZ [VXZ \ZcZgVaan+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vWe face substantial competition from other
 companies, including companies with greater resources, including larger sales organizations and more experience working with large and
 diverse product portfolios, than we have” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-


 Customers and Information About Geographic Areas
 Cc i]Z O-M-+ djg aZVY bVg`ZiZY egdYjXi+ RngZb+ ^h hdaY id dcZ heZX^Vain e]VgbVXn+ ?megZhh MXg^eih+ l]^X] h]^eh RngZb Y^gZXian id eVi^Zcih- ?gl^cVoZ
 VcY >Z[^iZa^d VgZ hdaY id ]dhe^iVah i]gdj\] V heZX^Vain Y^hig^Wjidg+ GXEZhhdc =dgedgVi^dc- Jg^Vai ^h hdaY ^c i]Z O-M- i]gdj\] Vc ZmXajh^kZ e]VgbVXn
 id di]Zg e]VgbVX^Zh VcY bZY^XVa [VX^a^i^Zh+ VcY djg di]Zg egdYjXih VgZ hdaY ^c i]Z O-M- eg^bVg^an id Y^hig^Wjidgh l]d Y^hig^WjiZ i]Z egdYjXi id
 e]VgbVX^Zh VcY ]dhe^iVah- QZ ]VkZ Y^hig^Wji^dc hZgk^XZh V\gZZbZcih bVYZ ^c i]Z dgY^cVgn XdjghZ d[ Wjh^cZhh l^i] i]ZhZ Y^hig^Wjidgh+ l]^X] ^cXajYZ
 egdbei eVnbZci Y^hXdjcih VcY kVg^djh hiVcYVgY hZgk^XZ [ZZh dg gZWViZ VggVc\ZbZcih- JjgX]VhZh VgZ bVYZ dc V ejgX]VhZ dgYZg WVh^h-
 Ijih^YZ d[ i]Z O-M-+ lZ Y^hig^WjiZ ?gl^cVhZ i]gdj\] >jgW^c JF=+ V O-E-,WVhZY l]daZhVaZg VcY Y^hig^Wjidg+ id ]dhe^iVah VcY adXVa l]daZhVaZgh ^c
 ?jgdeZ l]ZgZ lZ bVg`Zi ?gl^cVhZ Y^gZXian VcY+ ^c bVg`Zih l]ZgZ lZ Yd cdi bVg`Zi ?gl^cVhZ Y^gZXian+ id adXVa Y^hig^Wjidgh VcY l]daZhVaZgh ^c ?jgdeZ
 VcY ZahZl]ZgZ ^c i]Z ldgaY- QZ Y^hig^WjiZ >Z[^iZa^d ^c ?jgdeZVc Xdjcig^Zh l]ZgZ i]Z egdYjXi ]Vh WZZc aVjcX]ZY XdbbZgX^Vaan eg^bVg^an i]gdj\]
 C>CM F^b^iZY+ dg C>CM+ V O-E-,WVhZY Y^hig^Wjidg- QZ Vahd ldg` l^i] C>CM VcY V cjbWZg d[ adXVa Y^hig^Wjidgh ^c ?jgdeZ VcY ZahZl]ZgZ ^c i]Z ldgaY id
 Y^hig^WjiZ YZ[^Wgdi^YZ dc V cVbZY eVi^Zci WVh^h- RngZb ^h XjggZcian hdaY ^c 10 Xdjcig^Zh Wn O=< 'l]^X] ]Vh g^\]ih id bVg`Zi RngZb ^c 43 Xdjcig^Zh(
 VcY ^c =VcVYV Wn PVaZVci- ?^hV^ ]Vh g^\]ih id bVg`Zi Jg^Vai ^c cjbZgdjh Xdjcig^Zh djih^YZ d[ i]Z O-M- Q]^aZ lZ gZiV^c i]Z g^\]ih id Jg^Vai ^c i]Z
 gZbV^c^c\ cdc,O-M- iZgg^idg^Zh+ lZ VgZ cdi XjggZcian hZaa^c\ i]Z egdYjXi djih^YZ d[ i]Z O-M-
 Cc[dgbVi^dc dc djg idiVa gZkZcjZh Wn egdYjXi+ Viig^WjiZY id O-M- VcY cdc,O-M- hdjgXZh VcY Viig^WjiZY id XjhidbZgh l]d gZegZhZciZY Vi aZVhi 0/$ d[
 djg idiVa gZkZcjZh ^c ZVX] d[ 1/05+ 1/04 VcY 1/03+ Vh lZaa Vh i]Z adXVi^dc d[ djg adc\,a^kZY VhhZih+ ^h ^cXajYZY ^c HdiZ 03 id djg Xdchda^YViZY
 [^cVcX^Va hiViZbZcih ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 QZ VgZ ]ZVYfjVgiZgZY ^c >jWa^c+ CgZaVcY- QZ Vahd ]VkZ d[[^XZh ^c JVad ;aid+ =Va^[dgc^V: J]^aVYZae]^V+ JZcchnakVc^V: ?l^c\+ HZl DZghZn: PVcXdjkZg+
 <g^i^h] =dajbW^V: Im[dgY+ Oc^iZY E^c\Ydb: Fndc+ @gVcXZ: P^aaV AjVgY^V '=dbd(+ CiVan: ;i]adcZ+ CgZaVcY: VcY ZahZl]ZgZ ^c ?jgdeZ- @dg V Y^hXjhh^dc
 d[ g^h`h gZaViZY id djg deZgVi^dch+ hZZ i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id Ijg <jh^cZhh+w vL^h`h LZaViZY id Ijg CcYjhignw VcY
 vL^h`h LZaViZY id Ijg @^cVcX^Va =dcY^i^dc VcY LZhjaihw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY vKjVci^iVi^kZ VcY KjVa^iVi^kZ
 >^hXadhjgZ ;Wdji GVg`Zi L^h`w ^c JVgi CC+ CiZb 6; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-


 Manufacturing
 QZ gZXZ^kZY @>; VeegdkVa d[ djg bVcj[VXijg^c\ VcY YZkZadebZci [VX^a^in ^c CgZaVcY ^c DjcZ 1/05+ VcY lZ XdbbZcXZY XdbbZgX^Va deZgVi^dch Vi i]^h
 [VX^a^in ^c i]Z i]^gY fjVgiZg d[ 1/05- QZ VgZ jh^c\ i]^h [VX^a^in [dg i]Z bVcj[VXijgZ d[ RngZb VcY

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 eaVc id Vahd jhZ i]^h [VX^a^in [dg i]Z bVcj[VXijgZ d[ YZkZadebZci,hiV\Z egdYjXi XVcY^YViZh- BdlZkZg+ di]Zg i]Vc djg CgZaVcY [VX^a^in VcY djg
 bVcj[VXijg^c\ eaVci ^c CiVan l]ZgZ lZ egdYjXZ i]Z YZ[^Wgdi^YZ Ygj\ hjWhiVcXZ+ lZ XjggZcian Yd cdi ]VkZ djg dlc XdbbZgX^Va bVcj[VXijg^c\
 XVeVW^a^in [dg djg egdYjXih+ egdYjXi XVcY^YViZh+ dg i]Z^g ;JCh+ dg eVX`V\^c\ XVeVW^a^in- ;h V gZhjai+ djg VW^a^in id YZkZade VcY hjeean egdYjXih ^c V
 i^bZan VcY XdbeZi^i^kZ bVccZg YZeZcYh eg^bVg^an dc i]^gY eVgin hjeea^Zgh WZ^c\ VWaZ id bZZi djg dc\d^c\ XdbbZgX^Va VcY Xa^c^XVa ig^Va cZZYh- QZ
 ]VkZ V h^c\aZ hdjgXZ d[ hjeean [dg bdhi d[ djg bVg`ZiZY egdYjXih+ egdYjXi XVcY^YViZh VcY i]Z^g ;JCh- QZ VcY djg bVcj[VXijgZgh bVn ZcXdjciZg
 Y^[[^Xjai^Zh ^c egdYjXi^dc+ ^cXajY^c\ Y^[[^Xjai^Zh l^i] egdYjXi^dc Xdhih VcY n^ZaYh+ egdXZhh Xdcigdah+ fjVa^in Xdcigda VcY fjVa^in VhhjgVcXZ+ ^cXajY^c\
 iZhi^c\ d[ hiVW^a^in+ ^bejg^i^Zh VcY ^bejg^in aZkZah VcY di]Zg egdYjXi heZX^[^XVi^dch Wn kVa^YViZY iZhi bZi]dYh+ VcY Xdbea^VcXZ l^i] hig^Xian Zc[dgXZY
 O-M-+ hiViZ VcY cdc,O-M- gZ\jaVi^dch- N]ZhZ Y^[[^Xjai^Zh XVc WZ ]Z^\]iZcZY l]Zc lZ dg djg hjeea^Zgh VgZ gZfj^gZY id egdYjXZ [^c^h]ZY egdYjXi Vi
 XdbbZgX^Va hXVaZ dg id egdYjXZ ^cXgZVhZY fjVci^i^Zh id bZZi \gdl^c\ YZbVcY- Cc VYY^i^dc+ lZ VcY djg hjeea^Zgh VgZ hjW_ZXi id i]Z @>;xh XjggZci
 AddY GVcj[VXijg^c\ JgVXi^XZh+ dg XAGJ+ gZfj^gZbZcih+ >?; gZ\jaVi^dch VcY di]Zg Zfj^kVaZci gjaZh VcY gZ\jaVi^dch egZhXg^WZY Wn cdc,O-M-
 gZ\jaVidgn Vji]dg^i^Zh- C[ lZ dg Vcn d[ djg hjeea^Zgh ZcXdjciZg i]ZhZ dg Vcn di]Zg bVcj[VXijg^c\+ fjVa^in dg Xdbea^VcXZ Y^[[^Xjai^Zh l^i] gZheZXi id
 Vcn d[ djg egdYjXih+ eVgi^XjaVgan RngZb VcY ?gl^cVoZ+ WZXVjhZ lZ bV^ciV^c a^b^iZY ^ckZcidg^Zh [dg i]ZhZ egdYjXih+ lZ bVn WZ jcVWaZ id bZZi
 XdbbZgX^Va YZbVcY [dg hjX] egdYjXih-
 Xyrem. Cc 1/0/+ lZ ZciZgZY ^cid Vc V\gZZbZci l^i] M^Z\[g^ZY 'OM;( CcX-+ hjWhZfjZcian gZcVbZY M^Z\[g^ZY OM;+ FF=+ dg M^Z\[g^ZY+ [dg i]Z hjeean d[
 hdY^jb dmnWViZ+ i]Z ;JC d[ RngZb- M^Z\[g^ZY lVh VeegdkZY Wn i]Z @>; Vh djg hjeea^Zg ^c HdkZbWZg 1/00 VcY cdl hjeea^Zh hdY^jb dmnWViZ id djg
 O-M-,WVhZY bVcj[VXijgZg d[ RngZb VcY+ i]gdj\] V M^Z\[g^ZY V[[^a^ViZ ^c ?jgdeZ+ id djg CgZaVcY bVcj[VXijg^c\ [VX^a^in- ;ai]dj\] M^Z\[g^ZY ]Vh WZZc
 djg dcan hjeea^Zg d[ hdY^jb dmnWViZ h^cXZ 1/01+ lZ ]VkZ i]Z g^\]i id ejgX]VhZ V edgi^dc d[ djg ldgaYl^YZ gZfj^gZbZcih d[ hdY^jb dmnWViZ [gdb
 di]Zg hjeea^Zgh- OcYZg djg V\gZZbZci+ lZ egdk^YZ eZg^dY^X gdaa^c\ [dgZXVhih id M^Z\[g^ZY+ VcY V edgi^dc d[ ZVX] gdaa^c\ [dgZXVhi Xdchi^ijiZh V [^gb
 ejgX]VhZ dgYZg- N]Z V\gZZbZci l^i] M^Z\[g^ZY Zme^gZh ^c ;eg^a 1/10+ hjW_ZXi id VjidbVi^X i]gZZ,nZVg ZmiZch^dch jci^a Z^i]Zg eVgin egdk^YZh cdi^XZ id
 i]Z di]Zg d[ ^ih ^ciZci id iZgb^cViZ i]Z V\gZZbZci Vi aZVhi 07 bdci]h WZ[dgZ i]Z ZcY d[ i]Z i]Zc,XjggZci iZgb- ?^i]Zg eVgin ]Vh i]Z g^\]i id iZgb^cViZ
 i]Z V\gZZbZci ^c i]Z ZkZci d[ i]Z di]Zg eVginxh jcXjgZY bViZg^Va WgZVX] dg ^chdakZcXn- >jg^c\ i]Z iZgb d[ i]Z V\gZZbZci VcY+ jcYZg XZgiV^c
 X^gXjbhiVcXZh [dg 07 bdci]h V[iZg i]Z V\gZZbZci iZgb^cViZh+ M^Z\[g^ZY ^h cdi eZgb^iiZY id bVcj[VXijgZ hdY^jb dmnWViZ [dg Vcn di]Zg XdbeVcn-
 ?[[ZXi^kZ IXidWZg 0+ 1/04+ lZ ZciZgZY ^cid V GVhiZg GVcj[VXijg^c\ MZgk^XZh ;\gZZbZci+ dg i]Z GVhiZg ;\gZZbZci+ l^i] JVi]Zdc J]VgbVXZji^XVah
 CcX-+ l]^X] lZ gZ[Zg id id\Zi]Zg l^i] ^ih V[[^a^ViZh Vh JVi]Zdc- N]Z GVhiZg ;\gZZbZci ZhiVWa^h]Zh i]Z \ZcZgVa iZgbh VcY XdcY^i^dch ejghjVci id
 l]^X] JVi]Zdc l^aa egdk^YZ bVcj[VXijg^c\ hZgk^XZh [dg Ygj\ egdYjXih+ ^cXajY^c\ RngZb VcY >Z[^iZa^d+ Vh heZX^[^ZY Wn jh ^c egdYjXi V\gZZbZcih
 ZciZgZY ^cid [gdb i^bZ id i^bZ- ;ai]dj\] lZ ]VkZ XdbbZcXZY bVcj[VXijg^c\ d[ RngZb ^c djg CgZaVcY [VX^a^in+ lZ ZmeZXi id gZan dc JVi]Zdc Vh djg
 O-M-,WVhZY hjeea^Zg d[ RngZb [dg i]Z [dgZhZZVWaZ [jijgZ- BdlZkZg+ lZ VgZ cdi gZfj^gZY id ejgX]VhZ RngZb ZmXajh^kZan [gdb JVi]Zdc- N]Z GVhiZg
 ;\gZZbZci Zme^gZh dc >ZXZbWZg 20+ 1/1/ VcY bVn WZ ZmiZcYZY [dg VYY^i^dcVa ild,nZVg iZgbh ^[ JVi]Zdc ^h i]Zc egdk^Y^c\ bVcj[VXijg^c\ hZgk^XZh [dg
 Vcn egdYjXi+ jcaZhh Z^i]Zg eVgin egdk^YZh 07 bdci]h eg^dg cdi^XZ d[ iZgb^cVi^dc- Cc VYY^i^dc+ lZ bVn iZgb^cViZ i]Z GVhiZg ;\gZZbZci [dg Vcn gZVhdc
 jedc 01 bdci]hx eg^dg lg^iiZc cdi^XZ+ VcY Z^i]Zg eVgin ]Vh i]Z g^\]i id iZgb^cViZ i]Z V\gZZbZci ^c i]Z ZkZci d[ i]Z di]Zg eVginxh jcXjgZY bViZg^Va
 WgZVX]-
 KjdiVh [gdb i]Z >?; VgZ gZfj^gZY ^c dgYZg id bVcj[VXijgZ VcY eVX`V\Z hdY^jb dmnWViZ VcY RngZb ^c i]Z O-M- ;XXdgY^c\an+ lZ gZfj^gZ >?; fjdiVh
 [dg M^Z\[g^ZY+ djg O-M-,WVhZY hdY^jb dmnWViZ hjeea^Zg+ id egdXjgZ hdY^jb dmnWViZ VcY [dg JVi]Zdc+ djg O-M-,WVhZY RngZb hjeea^Zg+ id dWiV^c i]Z
 hdY^jb dmnWViZ [gdb M^Z\[g^ZY ^c dgYZg id bVcj[VXijgZ VcY hjeean jh l^i] RngZb- <ZXVjhZ i]Z >?; ine^XVaan \gVcih fjdiVh dc Vc VccjVa WVh^h VcY
 gZfj^gZh V YZiV^aZY hjWb^hh^dc VcY _jhi^[^XVi^dc [dg V fjdiV gZfjZhi+ dWiV^c^c\ hj[[^X^Zci >?; fjdiVh XVc WZ V Y^[[^Xjai VcY i^bZ,Xdchjb^c\ egdXZhh-
 @dg i]Z aVhi [Zl nZVgh+ djg hjeea^Zgh lZgZ VaadXViZY dcan V edgi^dc d[ i]Z ejWa^h]ZY VccjVa V\\gZ\ViZ fjdiV [dg i]Z ;JC- C[ dcZ dg bdgZ ;H>; [^aZgh
 lZgZ id WZ\^c bVcj[VXijg^c\ V \ZcZg^X hdY^jb dmnWViZ egdYjXi+ \ZcZg^X bVcj[VXijgZgh ldjaY cZZY id dWiV^c V edgi^dc d[ i]Z VccjVa V\\gZ\ViZ ;JC
 fjdiV+ l]^X] XdjaY YZXgZVhZ i]Z >?; fjdiV VaadXVi^dc dWiV^cZY dc djg WZ]Va[ Wn M^Z\[g^ZY VcY JVi]Zdc- N]Z cZZY [dg fjdiVh ]Vh egZkZciZY jh ^c
 i]Z eVhi+ VcY bVn egZkZci jh ^c i]Z [jijgZ+ [gdb Wj^aY^c\ h^\c^[^XVci ^ckZcidg^Zh- @dg ^c[dgbVi^dc gZaViZY id >?; fjdiV gZfj^gZbZcih+ hZZ v<jh^cZhh,
 AdkZgcbZci LZ\jaVi^dc,Ii]Zg LZ\jaVidgn LZfj^gZbZcih,=dcigdaaZY MjWhiVcXZ LZ\jaVi^dchw ^c i]^h JVgi C+ CiZb 0-
 Erwinaze. ?gl^cVoZ ^h ZmXajh^kZan a^XZchZY id jh+ VcY bVcj[VXijgZY [dg jh+ Wn J<F+ l]^X] ^h djg hdaZ hjeea^Zg [dg ?gl^cVoZ- Ijg a^XZchZ VcY
 bVcj[VXijg^c\ V\gZZbZci l^i] J<F Zme^gZh ^c >ZXZbWZg 1/1/+ hjW_ZXi id VjidbVi^X [^kZ,nZVg ZmiZch^dch jcaZhh iZgb^cViZY Wn Z^i]Zg eVgin ^c lg^i^c\
 Wn >ZXZbWZg 1/07- ?^i]Zg eVgin ]Vh i]Z g^\]i id iZgb^cViZ i]Z V\gZZbZci ^c i]Z ZkZci d[ i]Z di]Zg eVginxh jcXjgZY bViZg^Va WgZVX] dg ^chdakZcXn- QZ
 egdk^YZ eZg^dY^X gdaa^c\ [dgZXVhih id J<F+ VcY V edgi^dc d[ ZVX] gdaa^c\ [dgZXVhi Xdchi^ijiZh V [^gb ejgX]VhZ dgYZg- N]Z ?gl^cVoZ <F; ^cXajYZh V
 cjbWZg d[ edhi,bVg`Zi^c\ Xdbb^ibZcih gZaViZY id i]Z bVcj[VXijgZ d[ ?gl^cVoZ Wn J<F-
 Cc DVcjVgn 1/06+ i]Z @>; ^hhjZY V lVgc^c\ aZiiZg id J<F X^i^c\ h^\c^[^XVci k^daVi^dch d[ XAGJ [dg [^c^h]ZY e]VgbVXZji^XVah VcY h^\c^[^XVci
 YZk^Vi^dch [gdb XAGJ [dg ;JCh- QZ XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa XdggZXi i]Z k^daVi^dch

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 VcY YZk^Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;- ;cn [V^ajgZ id Yd hd XdjaY gZhjai ^c i]Z @>; gZ[jh^c\ VYb^hh^dc d[ ?gl^cVoZ ^cid i]Z O-M-+ Vh lZaa Vh
 VYY^i^dcVa Zc[dgXZbZci VXi^dch Wn i]Z @>; VcY di]Zg gZ\jaVidgn Zci^i^Zh-
 GdgZdkZg+ i]Z XjggZci bVcj[VXijg^c\ XVeVX^in [dg ?gl^cVoZ ^h XdbeaZiZan VWhdgWZY Wn YZbVcY [dg i]Z egdYjXi- QZ VgZ ldg`^c\ l^i] J<F id ZkVajViZ
 ediZci^Va ZmeVch^dc d[ ^ih egdYjXi^dc XVeVX^in id ^cXgZVhZ i]Z hjeean d[ ?gl^cVoZ dkZg i]Z adc\Zg iZgb VcY id VYYgZhh i]Z egdYjXi^dc YZaVnh+ fjVa^in
 X]VaaZc\Zh VcY gZaViZY gZ\jaVidgn hXgji^cn- ;h V XdchZfjZcXZ d[ XdchigV^cZY bVcj[VXijg^c\ XVeVX^in+ lZ ]VkZ ]VY Vc ZmigZbZan a^b^iZY dg cd VW^a^in
 id Wj^aY egdYjXi ^ckZcidgn aZkZah i]Vi XVc WZ jhZY id VWhdgW Y^hgjei^dch id hjeean gZhjai^c\ [gdb fjVa^in+ gZ\jaVidgn dg di]Zg ^hhjZh- QZ ]VkZ
 ZmeZg^ZcXZY egdYjXi fjVa^in+ bVcj[VXijg^c\ VcY ^ckZcidgn X]VaaZc\Zh i]Vi ]VkZ gZhjaiZY+ VcY bVn Xdci^cjZ id gZhjai+ ^c Y^hgjei^dch ^c djg VW^a^in id
 hjeean XZgiV^c bVg`Zih+ ^cXajY^c\ i]Z O-M-+ [gdb i^bZ id i^bZ VcY ]VkZ XVjhZY+ VcY bVn ^c i]Z [jijgZ XVjhZ+ jh id ^beaZbZci WViX],heZX^[^X+ bdY^[^ZY
 egdYjXi jhZ ^chigjXi^dch- Gdhi gZXZcian+ lZ ZmeZg^ZcXZY hjeean ^ciZggjei^dch d[ ?gl^cVoZ ^c i]Z O-M- VcY di]Zg Xdjcig^Zh ^c i]Z i]^gY VcY [djgi]
 fjVgiZgh d[ 1/05- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>;xh gZfj^gZY gZbZY^Vi^dc VXi^k^i^Zh ^c XdccZXi^dc l^i] i]Z lVgc^c\ aZiiZg l^aa [jgi]Zg higV^c
 bVcj[VXijg^c\ XVeVX^in VcY VYkZghZan V[[ZXi ?gl^cVoZ hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg ZmigZbZan a^b^iZY egdYjXi ^ckZcidgn- ;h XVeVX^in
 XdchigV^cih VcY hjeean Y^hgjei^dch Xdci^cjZ+ l]Zi]Zg Vh V gZhjai d[ Xdci^cjZY fjVa^in dg di]Zg bVcj[VXijg^c\ ^hhjZh+ gZ\jaVidgn ^hhjZh dg
 di]Zgl^hZ+ lZ l^aa WZ jcVWaZ id Wj^aY V YZh^gZY ZmXZhh aZkZa d[ egdYjXi ^ckZcidgn+ djg VW^a^in id hjeean i]Z bVg`Zi bVn Xdci^cjZ id WZ Xdbegdb^hZY
 VcY e]nh^X^Vchx YZX^h^dch id jhZ ?gl^cVoZ ]VkZ WZZc+ VcY ^c i]Z [jijgZ bVn Xdci^cjZ id WZ+ cZ\Vi^kZan ^beVXiZY-
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 [daadl^c\ i]Z iZgb^cVi^dc d[ i]Z V\gZZbZci Wn jh YjZ id i]Z jcXjgZY bViZg^Va WgZVX] dg i]Z XZhhVi^dc d[ bVcj[VXijg^c\ Wn djg hjeea^Zg- C[ lZ VgZ
 gZfj^gZY id Zc\V\Z V WVX`je dg VaiZgcVi^kZ hjeea^Zg+ i]Z igVch[Zg d[ iZX]c^XVa ZmeZgi^hZ VcY bVcj[VXijg^c\ egdXZhh id i]Z WVX`je dg VaiZgcVi^kZ
 hjeea^Zg ldjaY WZ Y^[[^Xjai+ Xdhian VcY i^bZ,Xdchjb^c\+ b^\]i cdi WZ hjXXZhh[ja VcY ldjaY ^cXgZVhZ i]Z a^`Za^]ddY d[ V YZaVn dg ^ciZggjei^dc ^c
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 @dg [jgi]Zg ^c[dgbVi^dc gZ\VgY^c\ i]Z g^h`h lZ [VXZ l^i] gZheZXi id i]Z bVcj[VXijgZ VcY hjeean d[ ?gl^cVoZ+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\
 vThe loss of our single source suppliers, delays or problems in the supply of our products for commercial sale or our product candidates for use in
 our clinical trials, or our or our suppliers’ failure to comply with manufacturing regulations, could materially and adversely affect our business,
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 >Z[^iZa^d- ;ai]dj\] lZ VgZ VYk^hZY i]Vi JVi]Zdc CiVa^V gZbZY^ViZY i]Z dWhZgkVi^dch id i]Z @>;xh hVi^h[VXi^dc+ i]Z @>; l^aa Xdci^cjZ id ^cheZXi VcY
 ZkVajViZ i]^h [VX^a^in [dg dc\d^c\ Xdbea^VcXZ l^i] Veea^XVWaZ gZfj^gZbZcih- C[ JVi]Zdc YdZh cdi dg ^h cdi VWaZ id hjeean jh l^i] >Z[^iZa^d [dg Vcn
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 cZ\Vi^kZan ^beVXi djg Vci^X^eViZY gZkZcjZh [gdb >Z[^iZa^d VcY XdjaY ediZci^Vaan XVjhZ jh id WgZVX] XdcigVXijVa dWa^\Vi^dch l^i] XjhidbZgh dg id
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 dc\d^c\ VcY Vcn [jijgZ Xa^c^XVa ig^Vah d[+ XdbeaZiZ bVg`Zi^c\ Vji]dg^oVi^dc hjWb^hh^dch [dg+ VcY ediZci^Vaan aVjcX] djg egdYjXi XVcY^YViZh+ lZ cZZY
 id ]VkZ hj[[^X^Zci fjVci^i^Zh d[ egdYjXi bVcj[VXijgZY- Cc VYY^i^dc+ id dWiV^c @>; VeegdkVa d[ Vcn egdYjXi XVcY^YViZ+ lZ dg djg hjeea^Zg dg
 hjeea^Zgh [dg i]Vi egdYjXi l^aa cZZY id dWiV^c VeegdkVa Wn i]Z @>; id bVcj[VXijgZ VcY hjeean egdYjXi+ ^c hdbZ XVhZh WVhZY dc fjVa^[^XVi^dc YViV
 egdk^YZY id i]Z @>; Vh eVgi d[ Vc H>; hjWb^hh^dc- ;cn [V^ajgZ d[ jh dg V hjeea^Zg id dWiV^c @>; VeegdkVa id bVcj[VXijgZ VcY hjeean egdYjXi dg
 Vcn YZaVn ^c gZXZ^k^c\+ dg [V^ajgZ id gZXZ^kZ+ VYZfjViZ hjeea^Zh d[ V egdYjXi dc V i^bZan WVh^h dg ^c VXXdgYVcXZ l^i] Veea^XVWaZ heZX^[^XVi^dch XdjaY
 cZ\Vi^kZan ^beVXi djg VW^a^in id hjXXZhh[jaan aVjcX] VcY XdbbZgX^Va^oZ egdYjXih VcY \ZcZgViZ hVaZh d[ egdYjXih Vi i]Z aZkZah lZ ZmeZXi-
 PnmZdh ^h bVcj[VXijgZY jh^c\ =ZaVidgxh =dbW^JaZm iZX]cdad\n- =dbW^JaZm egdYjXih gZegZhZci [dgbjaVi^dch l^i] ^cXgZVhZY bVcj[VXijg^c\
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 Patents and Proprietary Rights
 QZ VXi^kZan hZZ` id eViZci+ dg id VXfj^gZ dg dWiV^c a^XZchZh id i]^gY eVgin eViZcih+ id egdiZXi djg egdYjXih VcY gZaViZY ^ckZci^dch VcY ^begdkZbZcih
 i]Vi lZ Xdch^YZg ^bedgiVci id djg Wjh^cZhh- QZ dlc V edgi[da^d d[ O-M VcY cdc,O-M- eViZcih VcY eViZci Veea^XVi^dch VcY ]VkZ a^XZchZY g^\]ih id V
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 egdYjXi XVcY^YViZh+ ^cXajY^c\ XZgiV^c [dgbjaVi^dch+ jhZh id igZVi eVgi^XjaVg XdcY^i^dch+ Y^hig^Wji^dc bZi]dYh VcY bZi]dYh d[ VYb^c^higVi^dc+ Ygj\
 YZa^kZgn iZX]cdad\^Zh VcY YZa^kZgn egd[^aZh VcY bZi]dYh d[ egdYjXi^dc- JViZcih ZmiZcY [dg kVgn^c\ eZg^dYh VXXdgY^c\ id i]Z YViZ d[ i]Z eViZci [^a^c\
 dg \gVci VcY i]Z aZ\Va iZgb d[ eViZcih ^c i]Z kVg^djh Xdjcig^Zh l]ZgZ eViZci egdiZXi^dc ^h dWiV^cZY- N]Z eViZci aVlh d[ cdc,O-M- Xdjcig^Zh Y^[[Zg [gdb
 i]dhZ ^c O-M-+ VcY i]Z YZ\gZZ d[ egdiZXi^dc V[[dgYZY Wn cdc,O-M- eViZcih bVn WZ Y^[[ZgZci [gdb i]Z egdiZXi^dc d[[ZgZY Wn O-M- eViZcih-
 N]Z eViZcih VcY eViZci Veea^XVi^dch i]Vi gZaViZ id djg aZVY bVg`ZiZY egdYjXih ^cXajYZ9
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           RngZbxh hiVWaZ VcY b^XgdW^Vaan gZh^hiVci [dgbjaVi^dc+ ^ih bVcj[VXijg^c\ egdXZhh+ ^ih bZi]dY d[ jhZ+ ^cXajY^c\ ^ih gZhig^XiZY Y^hig^Wji^dc
           hnhiZb+ VcY ^ih bZi]dY d[ VYb^c^higVi^dc- I[ i]Z eViZcih a^hiZY ^c i]Z IgVc\Z <dd`+ [^kZ VgZ [dgbjaVi^dc eViZcih Zme^g^c\ WZilZZc
           >ZXZbWZg 1/08 VcY Djan 1/1/: hZkZc VgZ L?GM eViZcih+ Zme^g^c\ WZilZZc >ZXZbWZg 1/11 VcY DjcZ 1/13: i]gZZ VgZ bZi]dY d[ jhZ eViZcih
           XdkZg^c\ RngZbxh jhZ ^c cVgXdaZehn+ l]^X] Zme^gZ ^c >ZXZbWZg 1/08: VcY i]gZZ VgZ bZi]dY d[ VYb^c^higVi^dc eViZcih gZaVi^c\ id V Ygj\,
           Ygj\ ^ciZgVXi^dc+ dg >>C+ WZilZZc RngZb VcY Y^kVaegdZm hdY^jb Zme^g^c\ ^c GVgX] 1/22- @djg eViZcih VgZ cdi a^hiZY ^c i]Z IgVc\Z <dd`
           Wji Vahd gZaViZ id RngZb9 ild [dg bZi]dYh [dg bV`^c\ i]Z [dgbjaVi^dc Zme^g^c\ >ZXZbWZg 1/08+ dcZ [dg V Y^hig^Wji^dc hnhiZb Zme^g^c\ DjcZ
           1/13 VcY dcZ [dg bZi]dY d[ VYb^c^higVi^dc Zme^g^c\ GVgX] 1/22- QZ ]VkZ gZXZ^kZY V eZY^Vig^X lg^iiZc gZfjZhi [gdb i]Z @>;+ VcY lZ
           ^ciZcY id hjWb^i i]Z gZhjaih d[ V eZY^Vig^X Xa^c^XVa hijYn ^c gZhedchZ id i]^h gZfjZhi- C[ i]Z @>; YZiZgb^cZh i]Vi i]Z hjWb^hh^dc bZZih i]Z
           iZgbh VcY XdcY^i^dch d[ i]Z lg^iiZc gZfjZhi+ i]Zc h^m bdci]h d[ eZY^Vig^X ZmXajh^k^in l^aa WZ VYYZY id i]Z iZgb d[ ZVX] eViZci a^hiZY [dg
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 YZX^h^dch dc @ZWgjVgn 11+ 1/06- C[ i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ
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 cZZY id gZVX] i]Z fjZhi^dc d[ l]Zi]Zg i]Z Ygj\,Ygj\ ^ciZgVXi^dc ^c[dgbVi^dc XdjaY ]VkZ WZZc ZmXajYZY [gdb i]Z \ZcZg^X hdY^jb dmnWViZ L?GM
 bViZg^Vah WZXVjhZ ^i lVh Veegdk^c\ V L?GM ^c XdccZXi^dc l^i] V hdY^jb dmnWViZ ;H>; ^cXajY^c\ i]Vi ^c[dgbVi^dc- Ijg RngZb eViZcih ^cXajYZ
 i]gZZ eViZcih gZaVi^c\ id i]Z hV[Z VcY Z[[ZXi^kZ jhZ d[ RngZb Wn YZXgZVh^c\ i]Z YdhZ d[ RngZb l]Zc jhZY XdcXdb^iVcian l^i] Y^kVaegdZm hdY^jb+ dg
 >>C eViZcih+ XdkZg^c\ i]ZhZ ^chigjXi^dch dc i]Z RngZb eVX`V\Z ^chZgi VcY RngZb L?GM- QZ XVccdi egZY^Xi l]Zi]Zg dg l]Zc dcZ dg bdgZ d[ i]Z
 ;H>; [^aZgh bVn ejghjZ V X]VaaZc\Z id i]Z @>;xh gZhedchZ id i]Z =^i^oZc JZi^i^dc dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja-
 QZ XVccdi egZY^Xi l]Zi]Zg lZ l^aa WZ VWaZ id bV^ciV^c i]Z kVa^Y^in d[ Vcn d[ djg eViZcih dg l^aa di]Zgl^hZ dWiV^c V _jY^X^Va YZiZgb^cVi^dc i]Vi V
 \ZcZg^X hdY^jb dmnWViZ egdYjXi+ ^ih eVX`V\Z ^chZgi dg i]Z \ZcZg^X hdY^jb dmnWViZ L?GM

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 ^c[g^c\Zh Vcn d[ djg eViZcih dg+ ^[ lZ egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb
 bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb dg ^chiZVY gZfj^gZ i]Z ;H>; [^aZgh id eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain-
 @dg V YZhXg^ei^dc d[ i]Z [dgZ\d^c\ bViiZgh+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci
 LZ\jaVi^dc,N]Z BViX],QVmbVc ;Xiw ^c i]^h JVgi C+ CiZb 0+ VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci
 CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 s         Defitelio- N]Z jc^fjZ egdXZhh d[ YZg^k^c\ YZ[^Wgdi^YZ [gdb edgX^cZ >H; ^h ZmiZch^kZ VcY jhZh Wdi] X]Zb^XVa VcY W^dad\^XVa egdXZhhZh
           i]Vi gZan dc XdbeaZm X]VgVXiZg^oVi^dc bZi]dYh- QZ ]VkZ V edgi[da^d d[ O-M- VcY cdc,O-M- eViZcih VcY eViZci Veea^XVi^dch gZaVi^c\ id
           kVg^djh Xdbedh^i^dch+ bZi]dYh d[ jhZ VcY bZi]dYh d[ X]VgVXiZg^oVi^dc+ l]^X] l^aa Zme^gZ Vi kVg^djh i^bZh WZilZZc ;eg^a 1/06 VcY DjcZ
           1/24- HdcZ d[ i]ZhZ eViZcih VgZ a^hiZY ^c i]Z IgVc\Z <dd`-
 s         Erwinaze- ?gl^cVoZ ]Vh cd eViZci egdiZXi^dc- Ci lVh VlVgYZY dge]Vc Ygj\ ZmXajh^k^in [dg i]Z igZVibZci d[ ;FF ^c i]Z O-M- jci^a HdkZbWZg
           1/07+ VcY lZ WZa^ZkZ i]Vi ^i ^h egdiZXiZY Wn ZmXajh^k^in i]Vi egZkZcih VeegdkVa d[ V W^dh^b^aVg ^c i]Z O-M- i]gdj\] aViZ 1/12 jcYZg i]Z
           <J=C;- @dg bdgZ YZiV^ah+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,Ige]Vc >gj\ VcY Ii]Zg ?mXajh^k^i^Zhw ^c i]^h JVgi C+ CiZb 0-
 N]Z eViZcih VcY eViZci Veea^XVi^dch i]Vi gZaViZ id djg egdYjXi XVcY^YViZh ^cXajYZ9
 s         Vyxeos. PnmZdh VcY ^ih gZaViZY iZX]cdad\^Zh VgZ XaV^bZY ^c bjai^eaZ O-M- VcY cdc,O-M- eViZcih- QZ VXfj^gZY g^\]ih id PnmZdh+ i]Z
           =dbW^JaZm iZX]cdad\n eaVi[dgb VcY gZaViZY iZX]cdad\^Zh ^c i]Z =ZaVidg ;Xfj^h^i^dc- QZ ]VkZ V edgi[da^d d[ O-M- VcY cdc,O-M- eViZcih VcY
           eViZci Veea^XVi^dch gZaVi^c\ id PnmZdh+ ^cXajY^c\ i]gZZ O-M- [dgbjaVi^dc eViZcih Zme^g^c\ WZilZZc MZeiZbWZg 1/16 VcY ;eg^a 1/18 VcY ild
           O-M- eViZcih XdkZg^c\ i]Z =dbW^JaZm iZX]cdad\n eaVi[dgb Zme^g^c\ ^c DVcjVgn 1/16+ hjW_ZXi id Vcn eViZci iZgb ZmiZch^dch-
 s         JZP-110- DTJ,00/ VcY ^ih VhhdX^ViZY jhZh VgZ XaV^bZY ^c bjai^eaZ O-M- VcY cdc,O-M- eViZcih VcY eViZci Veea^XVi^dch- QZ VXfj^gZY g^\]ih id
           DTJ,00/ [gdb ;Zg^Va ^c DVcjVgn 1/03+ ^cXajY^c\ ;Zg^Vaxh eViZci g^\]ih gZaVi^c\ id DTJ,00/+ di]Zg i]Vc ^c XZgiV^c _jg^hY^Xi^dch ^c ;h^V l]ZgZ
           ME gZiV^ch g^\]ih- IcZ d[ i]Z O-M- Xdbedh^i^dc d[ bViiZg eViZcih Zme^gZY ^c MZeiZbWZg 1/04- Nld O-M- bZi]dY d[ jhZ eViZcih XdkZg^c\
           igZVibZci d[ haZZe,gZaViZY XdcY^i^dch l^aa Zme^gZ ^c DjcZ 1/15 VcY ;j\jhi 1/16+ hjW_ZXi id Vcn eViZci iZgb ZmiZch^dc-
 s         JZP-507 and JZP-258. =ZgiV^c eViZcih VcY eViZci Veea^XVi^dch gZaVi^c\ id RngZb XdkZg DTJ,4/6 VcY DTJ,147- Cc VYY^i^dc+ DTJ,4/6 VcY
           DTJ,147 VgZ XaV^bZY ^c [dgbjaVi^dc eViZcih i]Vi l^aa Zme^gZ ^c DVcjVgn 1/22-
 QZ XVccdi WZ XZgiV^c i]Vi Vcn d[ djg eViZci Veea^XVi^dch+ dg i]dhZ d[ djg a^XZchdgh+ l^aa gZhjai ^c ^hhjZY eViZcih+ i]Vi i]Z eViZcih lZ dlc VcY
 a^XZchZ+ dg Vcn VYY^i^dcVa eViZcih lZ bVn dlc dg a^XZchZ+ l^aa egZkZci di]Zg XdbeVc^Zh [gdb YZkZade^c\ h^b^aVg dg i]ZgVeZji^XVaan Zfj^kVaZci
 egdYjXih+ dg i]Vi di]Zgh l^aa cdi WZ ^hhjZY eViZcih i]Vi bVn egZkZci i]Z hVaZ d[ djg egdYjXih dg gZfj^gZ a^XZch^c\ VcY i]Z eVnbZci d[ h^\c^[^XVci [ZZh
 dg gdnVai^Zh-
 QZ Vahd gZan dc igVYZ hZXgZih VcY di]Zg jceViZciZY egdeg^ZiVgn ^c[dgbVi^dc+ id egdiZXi djg egdYjXih VcY XdbbZgX^Va edh^i^dc+ eVgi^XjaVgan l^i]
 gZheZXi id djg egdYjXih l^i] a^b^iZY dg cd eViZci egdiZXi^dc+ hjX] Vh ?gl^cVoZ- QZ hZZ` id egdiZXi djg igVYZ hZXgZih VcY di]Zg jceViZciZY
 egdeg^ZiVgn ^c[dgbVi^dc ^c eVgi i]gdj\] Xdc[^YZci^Va^in V\gZZbZcih l^i] djg ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh VcY eVgicZgh- HZkZgi]ZaZhh+ djg
 ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh VcY eVgicZgh bVn jc^ciZci^dcVaan dg l^aa[jaan Y^hXadhZ djg egdeg^ZiVgn ^c[dgbVi^dc id XdbeZi^idgh+ VcY lZ bVn cdi
 ]VkZ VYZfjViZ gZbZY^Zh [dg hjX] Y^hXadhjgZh- Cc VYY^i^dc+ ^[ djg ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh dg eVgicZgh YZkZade ^ckZci^dch dg egdXZhhZh
 ^cYZeZcYZcian+ dg _d^cian l^i] jh+ i]Vi bVn WZ Veea^XVWaZ id djg egdYjXih+ Y^hejiZh bVn Vg^hZ VWdji dlcZgh]^e dg egdeg^ZiVgn g^\]ih id i]dhZ
 ^ckZci^dch VcY egdXZhhZh- MjX] ^ckZci^dch VcY egdXZhhZh l^aa cdi cZXZhhVg^an WZXdbZ djg egdeZgin Wji bVn gZbV^c i]Z egdeZgin d[ i]dhZ i]^gY
 eVgi^Zh dg i]Z^g ZbeadnZgh- ?c[dgX^c\ V XaV^b i]Vi V i]^gY eVgin ^aaZ\Vaan dWiV^cZY+ dg ^h jh^c\ Vcn d[ djg ^ckZci^dch dg igVYZ hZXgZih ^h ZmeZch^kZ VcY
 i^bZ,Xdchjb^c\+ VcY i]Z djiXdbZ ^h jcegZY^XiVWaZ- Cc VYY^i^dc+ Xdjgih djih^YZ d[ i]Z O-M- VgZ hdbZi^bZh aZhh l^aa^c\ id egdiZXi igVYZ hZXgZih-
 GdgZdkZg+ djg XdbeZi^idgh bVn ^cYZeZcYZcian YZkZade Zfj^kVaZci `cdlaZY\Z+ bZi]dYh VcY `cdl,]dl-
 @V^ajgZ id dWiV^c dg bV^ciV^c eViZci VcY.dg igVYZ hZXgZi egdiZXi^dc+ [dg Vcn gZVhdc+ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh- MZZ i]Z g^h`
 [VXidgh jcYZg i]Z ]ZVY^c\ vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Cc VYY^i^dc+ lZ ]VkZ V cjbWZg d[ igVYZbVg`h VcY hZgk^XZ bVg`h+ VcY eZcY^c\ igVYZbVg` VcY hZgk^XZ bVg` Veea^XVi^dch+ ^c i]Z O-M- VcY ZahZl]ZgZ ^c
 i]Z ldgaY id [jgi]Zg egdiZXi i]Z egdeg^ZiVgn edh^i^dc d[ djg egdYjXih-



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 N]Z bVcj[VXijg^c\+ aVWZa^c\+ eVX`V\^c\+ VYkZghZ ZkZci gZedgi^c\+ hidgV\Z+ VYkZgi^h^c\+ egdbdi^dc+ hVaZ+ Y^hig^Wji^dc+ gZXdgY `ZZe^c\+ ^bedgi^c\ VcY
 Zmedgi^c\ d[ djg egdYjXih VcY djg gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh VgZ hjW_ZXi id ZmiZch^kZ gZ\jaVi^dc Wn i]Z @>;+ i]Z ?=+ i]Z XdbeZiZci
 Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg gZ\jaVidgn Vji]dg^i^Zh- LZ\jaVi^dch Y^[[Zg [gdb Xdjcign id Xdjcign- ;h V gZhjai d[ i]ZhZ gZ\jaVi^dch+
 egdYjXi YZkZadebZci+ VeegdkVa VcY XdbbZgX^Va^oVi^dc egdXZhhZh VgZ ZmeZch^kZ VcY i^bZ,Xdchjb^c\-
 Approval of Pharmaceutical Products
 QZ VgZ cdi eZgb^iiZY id bVg`Zi V e]VgbVXZji^XVa egdYjXi ^c i]Z O-M- dg ^c i]Z ?O bZbWZg hiViZh jci^a lZ gZXZ^kZ VeegdkVa [gdb i]Z @>;+ i]Z ?= dg
 i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh+ Vh Veea^XVWaZ- ;c Veea^XVi^dc [dg bVg`Zi^c\ VeegdkVa bjhi XdciV^c ^c[dgbVi^dc YZbdchigVi^c\
 i]Z fjVa^in+ hV[Zin VcY Z[[^XVXn d[ i]Z e]VgbVXZji^XVa egdYjXi+ ^cXajY^c\ YViV [gdb egZXa^c^XVa VcY Xa^c^XVa ig^Vah+ ^c[dgbVi^dc eZgiV^c^c\ id i]Z
 egZeVgVi^dc VcY bVcj[VXijgZ d[ i]Z Ygj\ dg W^dad\^X+ VcVani^XVa bZi]dYh+ egdYjXi [dgbjaVi^dc+ YZiV^ah dc i]Z bVcj[VXijgZ VcY hiVW^a^in d[ i]Z
 [^c^h]ZY e]VgbVXZji^XVa egdYjXi+ egdedhVah XdcXZgc^c\ [ja[^aabZci d[ e]VgbVXdk^\^aVcXZ dWa^\Vi^dch+ VcY egdedhZY egdYjXi eVX`V\^c\ VcY aVWZa^c\-
 Cc i]Z O-M-+ i]Z @>;+ jcYZg i]Z @ZYZgVa @ddY+ >gj\ VcY =dhbZi^X ;Xi+ dg @>=;+ VcY ^ih ^beaZbZci^c\ gZ\jaVi^dch+ gZ\jaViZh i]Z gZk^Zl+ VeegdkVa+
 bVcj[VXijg^c\ VcY bVg`Zi^c\ d[ djg egdYjXih- Ijg [V^ajgZ+ dg i]Z [V^ajgZ d[ Vcn d[ djg i]^gY eVgin eVgicZgh+ id Xdbean l^i] Veea^XVWaZ gZfj^gZbZcih
 XdjaY hjW_ZXi jh id VYb^c^higVi^kZ dg _jY^X^Va hVcXi^dch dg di]Zg cZ\Vi^kZ XdchZfjZcXZh+ hjX] Vh YZaVnh ^c VeegdkVa dg gZ[jhVa id VeegdkZ V egdYjXi
 XVcY^YViZ+ l^i]YgVlVa d[ egdYjXi VeegdkVa+ cdi^XZh d[ k^daVi^dc+ jci^iaZY aZiiZgh+ lVgc^c\ aZiiZgh+ [^cZh VcY di]Zg bdcZiVgn eZcVai^Zh+ jcVci^X^eViZY
 ZmeZcY^ijgZh+ egdYjXi gZXVaa dg hZ^ojgZ+ idiVa dg eVgi^Va hjheZch^dc d[ egdYjXi^dc dg Y^hig^Wji^dc+ ^ciZggjei^dc d[ bVcj[VXijg^c\ dg Xa^c^XVa ig^Vah+
 deZgVi^c\ gZhig^Xi^dch+ ^c_jcXi^dch+ hjheZch^dc d[ a^XZchZh+ X^k^a eZcVai^Zh VcY.dg Xg^b^cVa egdhZXji^dc-
 Nd dWiV^c @>; VeegdkVa d[ V egdYjXi XVcY^YViZ+ Vc Veea^XVci+ Vahd XVaaZY V hedchdg+ bjhi+ Vbdc\ di]Zg i]^c\h+ hjWb^i i]Z YViV VcY ^c[dgbVi^dc
 YZhXg^WZY VWdkZ ^c i]Z [dgb d[ Vc H>; dg <F;+ Vh Veea^XVWaZ+ VcY eVn V jhZg [ZZ- N]Z YZkZadebZci d[ YViV VcY i]Z egZeVgVi^dc d[ cZXZhhVgn
 Veea^XVi^dch VgZ ZmeZch^kZ VcY i^bZ,Xdchjb^c\+ VcY i]Z djiXdbZh VgZ jcXZgiV^c- N]Z hiZeh gZfj^gZY WZ[dgZ V Ygj\ dg W^dad\^X bVn WZ VeegdkZY [dg
 bVg`Zi^c\ ^c i]Z O-M- \ZcZgVaan ^cXajYZ9 egZXa^c^XVa aVWdgVidgn iZhih VcY Vc^bVa iZhih: hjWb^hh^dc id i]Z @>; d[ Vc CH> [dg ]jbVc Xa^c^XVa iZhi^c\+
 l]^X] bjhi WZXdbZ Z[[ZXi^kZ WZ[dgZ ]jbVc Xa^c^XVa ig^Vah XdbbZcXZ: VYZfjViZ VcY lZaa,XdcigdaaZY ]jbVc Xa^c^XVa ig^Vah id ZhiVWa^h] i]Z hV[Zin VcY
 Z[[^XVXn d[ i]Z Ygj\ dg W^dad\^X [dg ZVX] ^cY^XVi^dc: i]Z hjWb^hh^dc id i]Z @>; d[ i]Z H>; dg <F;: hVi^h[VXidgn XdbeaZi^dc d[ Vc @>; ^cheZXi^dc
 d[ i]Z bVcj[VXijg^c\ [VX^a^i^Zh Vi l]^X] i]Z egdYjXi ^h bVYZ+ VcVanoZY VcY hidgZY id VhhZhh Xdbea^VcXZ l^i] XAGJ: ediZci^Va @>; VjY^i d[ i]Z
 cdcXa^c^XVa VcY Xa^c^XVa ig^Va h^iZh i]Vi \ZcZgViZY i]Z YViV ^c hjeedgi d[ i]Z Veea^XVi^dc: VcY @>; gZk^Zl VcY VeegdkVa d[ i]Z Veea^XVi^dc-
 BjbVc Xa^c^XVa ig^Vah XdcYjXiZY WZ[dgZ VeegdkVa d[ V egdYjXi [dg V heZX^[^X ^cY^XVi^dc \ZcZgVaan egdXZZY ^c i]gZZ hZfjZci^Va e]VhZh+ Vai]dj\] i]Z
 e]VhZh bVn dkZgaVe- =a^c^XVa ig^Vah bjhi WZ XdcYjXiZY ^c VXXdgYVcXZ l^i] \ZcZgVa ^ckZhi^\Vi^dcVa eaVch VcY egdidXdah+ Vh lZaa Vh i]Z @>;xh
 gZfj^gZbZcih+ Xdbbdcan gZ[ZggZY id Vh \ddY Xa^c^XVa egVXi^XZh+ [dg XdcYjXi^c\+ gZXdgY^c\ VcY gZedgi^c\ i]Z gZhjaih d[ Xa^c^XVa ig^Vah id ZchjgZ i]Vi i]Z
 YViV VcY gZhjaih VgZ XgZY^WaZ VcY VXXjgViZ VcY i]Vi i]Z ig^Va eVgi^X^eVcih VgZ VYZfjViZan egdiZXiZY- N]Z @>; Zc[dgXZh \ddY Xa^c^XVa egVXi^XZh i]gdj\]
 eZg^dY^X ^cheZXi^dch d[ ig^Va hedchdgh+ eg^cX^eVa ^ckZhi^\Vidgh VcY ig^Va h^iZh- Cc J]VhZ 0+ i]Z ^c^i^Va ^cigdYjXi^dc d[ i]Z Ygj\ ^cid ]jbVc hjW_ZXih+ i]Z
 Ygj\ ^h ine^XVaan iZhiZY id VhhZhh bZiVWda^hb+ e]VgbVXd`^cZi^Xh+ e]VgbVXdad\^XVa VXi^dch VcY h^YZ Z[[ZXih VhhdX^ViZY l^i] ^cXgZVh^c\ YdhZh- J]VhZ
 1 jhjVaan ^ckdakZh Xa^c^XVa ig^Vah ^c V a^b^iZY eVi^Zci edejaVi^dc id YZiZgb^cZ i]Z Z[[ZXi^kZcZhh d[ i]Z Ygj\ [dg V eVgi^XjaVg ^cY^XVi^dc dg ^cY^XVi^dch+
 YdhV\Z idaZgVcXZ VcY dei^bjb YdhV\Z VcY id ^YZci^[n Xdbbdc VYkZghZ Z[[ZXih VcY hV[Zin g^h`h- C[ V Ygj\ YZbdchigViZh Zk^YZcXZ d[ Z[[ZXi^kZcZhh
 VcY Vc VXXZeiVWaZ hV[Zin egd[^aZ ^c J]VhZ 1+ J]VhZ 2 Xa^c^XVa ig^Vah VgZ jcYZgiV`Zc id dWiV^c VYY^i^dcVa ^c[dgbVi^dc VWdji Xa^c^XVa Z[[^XVXn VcY hV[Zin
 ^c V aVg\Zg cjbWZg d[ eVi^Zcih- Cc VYY^i^dc+ J]VhZ 3+ dg edhi,VeegdkVa+ Xa^c^XVa ig^Vah bVn WZ gZfj^gZY Wn i]Z @>; VcY VgZ jhZY id \V^c VYY^i^dcVa
 hV[Zin YViV dg id YdXjbZci V Xa^c^XVa WZcZ[^i ^c i]Z XVhZ d[ egdYjXih VeegdkZY jcYZg ;XXZaZgViZY ;eegdkVa gZ\jaVi^dch-
 N]Z @>; eZg[dgbh Vc ^c^i^Va gZk^Zl d[ V hjWb^iiZY H>; dg <F; WZ[dgZ ^i VXXZeih ^i [dg [^a^c\ VcY bVn gZ[jhZ id [^aZ Vc Veea^XVi^dc VcY.dg gZfjZhi
 VYY^i^dcVa ^c[dgbVi^dc WZ[dgZ VXXZeiVcXZ- IcXZ Vc H>; dg <F; hjWb^hh^dc ^h VXXZeiZY [dg [^a^c\+ i]Z @>; WZ\^ch Vc ^c,YZei] gZk^Zl d[ i]Z
 Veea^XVi^dc- OcYZg i]Z XjggZci \dVah VcY eda^X^Zh V\gZZY id Wn i]Z @>; jcYZg i]Z JgZhXg^ei^dc >gj\ OhZg @ZZ ;Xi+ dg J>O@;+ [dg V cZl bdaZXjaVg
 Zci^in+ i]Z @>; ]Vh ilZakZ bdci]h [gdb hjWb^hh^dc ^c l]^X] id XdbeaZiZ ^ih ^c^i^Va gZk^Zl d[ V hiVcYVgY Veea^XVi^dc VcY gZhedcY id i]Z Veea^XVci+
 VcY Z^\]i bdci]h [dg V eg^dg^in Veea^XVi^dc [dg V cZl bdaZXjaVg Zci^in- N]Z @>; YdZh cdi ValVnh bZZi ^ih J>O@; \dVa YViZh+ VcY ^c XZgiV^c
 X^gXjbhiVcXZh i]Z J>O@; \dVa YViZ bVn WZ ZmiZcYZY- N]Z @>; bVn cdi VXi fj^X`an dg [VkdgVWan ^c gZk^Zl^c\ Veea^XVi^dch+ VcY lZ bVn ZcXdjciZg
 h^\c^[^XVci Y^[[^Xjai^Zh dg Xdhih ^c Vcn Z[[dgih id dWiV^c @>; VeegdkVah+ l]^X] XdjaY YZaVn dg egZXajYZ jh [gdb bVg`Zi^c\ djg egdYjXi XVcY^YViZh-
 J>O@; lVh [^ghi Vji]dg^oZY Wn i]Z O-M- =dc\gZhh ^c 0881+ VcY+ Vbdc\ di]Zg i]^c\h+ eZgb^ih i]Z @>; id XdaaZXi vjhZg [ZZh" [gdb e]VgbVXZji^XVa
 bVcj[VXijgZgh id [jcY i]Z Ygj\ VeegdkVa egdXZhh- N]ZhZ jhZg [ZZh ]VkZ WZZc gZVji]dg^oZY Wn i]Z O-M- =dc\gZhh [djg i^bZh h^cXZ 0881+ bdhi
 gZXZcian ^c 1/01 l^i] i]Z Vji]dg^oVi^dc d[ J>O@; P- J>O@; P

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 Zme^gZh dc MZeiZbWZg 2/+ 1/06+ VcY lZ XVccdi egZY^Xi l]Zi]Zg jhZg [ZZh l^aa WZ gZVji]dg^oZY dg dc l]Vi iZgbh+ dg i]Z ^beVXi d[ Vcn [V^ajgZ id
 gZVji]dg^oZ jhZg [ZZh dc i]Z @>;xh J>O@; \dVa YViZh-
 C[ i]Z @>; YZiZgb^cZh i]Vi V L?GM ^h cZXZhhVgn id ZchjgZ i]Vi i]Z WZcZ[^ih d[ i]Z Ygj\ djilZ^\] i]Z g^h`h+ V hedchdg bVn WZ gZfj^gZY id ^cXajYZ V
 egdedhZY L?GM 'Vh eVgi d[ i]Z Veea^XVi^dc dg V[iZg VeegdkVa(+ l]^X] bVn ^cXajYZ V eVi^Zci eVX`V\Z ^chZgi dg V bZY^XVi^dc \j^YZ id egdk^YZ
 ^c[dgbVi^dc id XdchjbZgh VWdji i]Z egdYjXixh g^h`h VcY WZcZ[^ih: V eaVc [dg Xdbbjc^XVi^dc id ]ZVai]XVgZ egdk^YZgh: VcY gZhig^Xi^dch dc i]Z
 egdYjXixh Y^hig^Wji^dc gZ[ZggZY id Vh ZaZbZcih id VhhjgZ hV[Z jhZ+ dg ?N;MO- @dg ZmVbeaZ+ RngZb ^h gZfj^gZY id ]VkZ V L?GM- MZZ i]Z Y^hXjhh^dc
 gZ\VgY^c\ L?GM jcYZg v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-Waxman Actw WZadl VcY ^c i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vThe
 distribution and sale of Xyrem are subject to significant regulatory oversight and restrictions and the requirements of a risk evaluation and
 mitigation strategy, and these restrictions and requirements, as well as the potential impact of changes to these restrictions and requirements,
 subject us to increased risks and uncertainties, any of which could negatively impact sales of Xyremw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa
 JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 >jg^c\ i]Z gZk^Zl d[ V bVg`Zi^c\ Veea^XVi^dc+ i]Z @>; Vahd ZkVajViZh Vcn bVcj[VXijg^c\ VcY cdcXa^c^XVa VcY Xa^c^XVa ig^Va [VX^a^i^Zh [dg i]Z egdedhZY
 egdYjXi- Q]Zc i]Z @>;xh ZkVajVi^dc ^h XdbeaZiZ+ ^i ^hhjZh Vc VeegdkVa aZiiZg dg V XdbeaZiZ gZhedchZ aZiiZg- ; XdbeaZiZ gZhedchZ aZiiZg \ZcZgVaan
 djia^cZh i]Z YZ[^X^ZcX^Zh ^c i]Z hjWb^hh^dc VcY bVn gZfj^gZ hjWhiVci^Va VYY^i^dcVa iZhi^c\ dg ^c[dgbVi^dc ^c dgYZg [dg i]Z @>; id gZXdch^YZg i]Z
 Veea^XVi^dc- C[ VcY l]Zc i]dhZ YZ[^X^ZcX^Zh ]VkZ WZZc VYYgZhhZY id i]Z @>;xh hVi^h[VXi^dc ^c V gZhjWb^hh^dc d[ i]Z Veea^XVi^dc+ i]Z @>; l^aa ^hhjZ
 Vc VeegdkVa aZiiZg- N]Z @>; bVn Vahd gZ[Zg Vc Veea^XVi^dc id i]Z Veegdeg^ViZ VYk^hdgn Xdbb^iiZZ+ ine^XVaan V eVcZa d[ Xa^c^X^Vch+ [dg gZk^Zl+
 ZkVajVi^dc VcY V gZXdbbZcYVi^dc Vh id l]Zi]Zg i]Z Veea^XVi^dc h]djaY WZ VeegdkZY- N]Z @>; ^h cdi WdjcY Wn i]Z gZXdbbZcYVi^dch d[ i]Z
 VYk^hdgn Xdbb^iiZZ-
 N]Z @>; ]Vh VcY ]Vh jhZY kVg^djh egd\gVbh+ ^cXajY^c\ @Vhi NgVX`+ Jg^dg^in LZk^Zl+ <gZV`i]gdj\] N]ZgVen VcY ;XXZaZgViZY ;eegdkVa 'MjWeVgi B
 VcY ?(+ i]Vi VgZ ^ciZcYZY id ZmeZY^iZ i]Z egdXZhh [dg gZk^Zl^c\ XZgiV^c Veea^XVi^dch VcY.dg egdk^YZ [dg VeegdkVa dc i]Z WVh^h d[ hjggd\ViZ ZcYed^cih
 dg gZhig^XiZY Y^hig^Wji^dc- AZcZgVaan+ Ygj\h VcY W^dad\^Xh bVn WZ Za^\^WaZ [dg dcZ dg bdgZ d[ i]ZhZ egd\gVbh ^[ i]Zn VgZ ^ciZcYZY [dg hZg^djh dg a^[Z,
 i]gZViZc^c\ Y^hZVhZh dg XdcY^i^dch+ ]VkZ ediZci^Va id VYYgZhh jcbZi bZY^XVa cZZYh+ dg bVn egdk^YZ bZVc^c\[ja WZcZ[^i dkZg Zm^hi^c\ igZVibZcih-
 Ijih^YZ d[ i]Z O-M-+ djg VW^a^in id bVg`Zi V bZY^X^cVa egdYjXi \ZcZgVaan YZeZcYh jedc gZXZ^k^c\ V bVg`Zi^c\ Vji]dg^oVi^dc [gdb i]Z Veegdeg^ViZ
 gZ\jaVidgn Vji]dg^in- N]Z gZfj^gZbZcih \dkZgc^c\ i]Z XdcYjXi d[ Xa^c^XVa ig^Vah+ dWiV^c^c\ bVg`Zi^c\ Vji]dg^oVi^dc+ [ja[^aabZci d[ e]VgbVXdk^\^aVcXZ
 dWa^\Vi^dch+ dWiV^c^c\ eg^X^c\ VcY gZ^bWjghZbZci VcY gZaViZY bViiZgh kVgn l^YZan [gdb Xdjcign id Xdjcign- Cc Vcn Xdjcign+ ]dlZkZg+ lZ l^aa
 \ZcZgVaan WZ eZgb^iiZY id XdbbZgX^Va^oZ djg egdYjXih ^[ i]Z Veegdeg^ViZ gZ\jaVidgn Vji]dg^in ^h hVi^h[^ZY i]Vi lZ ]VkZ egZhZciZY VYZfjViZ Zk^YZcXZ
 d[ hV[Zin+ fjVa^in VcY Z[[^XVXn VcY \gVcih V gZaViZY Vji]dg^oVi^dc- N]Z i^bZ cZZYZY id hZXjgZ VeegdkVa [dg bZY^X^cVa egdYjXih bVn WZ adc\Zg dg
 h]dgiZg i]Vc i]Vi gZfj^gZY [dg @>; VeegdkVa- N]Z gZ\jaVidgn VeegdkVa VcY dkZgh^\]i egdXZhh ^c di]Zg Xdjcig^Zh ^cXajYZh Vaa d[ i]Z g^h`h VhhdX^ViZY
 l^i] gZ\jaVi^dc Wn i]Z @>; VcY XZgiV^c hiViZ gZ\jaVidgn V\ZcX^Zh Vh YZhXg^WZY WZadl-
 Cc i]Z ?O+ bVg`Zi^c\ Vji]dg^oVi^dc [dg bZY^X^cVa egdYjXih XVc WZ dWiV^cZY i]gdj\] hZkZgVa Y^[[ZgZci egdXZYjgZh- N]ZhZ VgZ i]gdj\] V XZcigVa^oZY+
 bjijVa gZXd\c^i^dc egdXZYjgZ+ YZXZcigVa^oZY egdXZYjgZ+ dg cVi^dcVa egdXZYjgZ 'h^c\aZ Xdjcign(- N]Z XZcigVa^oZY egdXZYjgZ Vaadlh V XdbeVcn id
 hjWb^i V h^c\aZ Veea^XVi^dc id i]Z ?G;+ l]^X] l^aa egdk^YZ V edh^i^kZ de^c^dc gZ\VgY^c\ i]Z Veea^XVi^dc ^[ ^i bZZih XZgiV^c hV[Zin+ fjVa^in VcY
 Z[[^XVXn gZfj^gZbZcih- N]Z ?= l^aa+ WVhZY dc V edh^i^kZ de^c^dc d[ i]Z ?G;+ \gVci V XZcigVa^oZY bVg`Zi^c\ Vji]dg^oVi^dc i]Vi ^h kVa^Y ^c Vaa ?O
 bZbWZg hiViZh VcY i]gZZ d[ i]Z [djg ?jgdeZVc @gZZ NgVYZ ;hhdX^Vi^dc+ dg ?@N;+ Xdjcig^Zh 'CXZaVcY+ F^ZX]iZchiZ^c VcY HdglVn(- N]Z XZcigVa^oZY
 egdXZYjgZ ^h bVcYVidgn [dg XZgiV^c bZY^X^cVa egdYjXih+ ^cXajY^c\ dge]Vc bZY^X^cVa egdYjXih VcY W^dad\^X egdYjXih+ VcY dei^dcVa [dg XZgiV^c di]Zg
 egdYjXih- N]Z YZXZcigVa^oZY egdXZYjgZ Vaadlh XdbeVc^Zh id [^aZ ^YZci^XVa Veea^XVi^dch [dg Vji]dg^oVi^dc id hZkZgVa ?O bZbWZg hiViZh h^bjaiVcZdjhan
 [dg bZY^X^cVa egdYjXih i]Vi ]VkZ cdi nZi WZZc Vji]dg^oZY ^c Vcn ?O bZbWZg hiViZ- N]Z XdbeZiZci Vji]dg^in d[ dcZ ?O bZbWZg hiViZ+ hZaZXiZY Wn i]Z
 Veea^XVci+ VhhZhhZh i]Z Veea^XVi^dc [dg bVg`Zi^c\ Vji]dg^oVi^dc- N]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z di]Zg ?O bZbWZg hiViZh VgZ hjWhZfjZcian gZfj^gZY
 id \gVci bVg`Zi^c\ Vji]dg^oVi^dc [dg i]Z^g iZgg^idg^Zh dc i]Z WVh^h d[ i]^h VhhZhhbZci ZmXZei l]ZgZ \gdjcYh d[ ediZci^Va hZg^djh g^h` id ejWa^X ]ZVai]
 gZfj^gZ i]^h Vji]dg^oVi^dc id WZ gZ[jhZY- N]Z bjijVa gZXd\c^i^dc egdXZYjgZ Vaadlh XdbeVc^Zh i]Vi ]VkZ V bZY^X^cVa egdYjXi VagZVYn Vji]dg^oZY ^c
 dcZ ?O bZbWZg hiViZ id Veean [dg i]^h Vji]dg^oVi^dc id WZ gZXd\c^oZY Wn i]Z XdbeZiZci Vji]dg^i^Zh ^c di]Zg ?O bZbWZg hiViZh-
 N]Z ^c^i^Va bVg`Zi^c\ Vji]dg^oVi^dc \gVciZY ^c i]Z ?O ^h kVa^Y [dg [^kZ nZVgh- IcXZ gZcZlZY+ i]Z Vji]dg^oVi^dc ^h jhjVaan kVa^Y [dg Vc jca^b^iZY eZg^dY
 jcaZhh i]Z cVi^dcVa XdbeZiZci Vji]dg^in dg i]Z ?= YZX^YZh+ [daadl^c\ V gZaViZY de^c^dc [gdb i]Z ?G; VcY dc _jhi^[^ZY \gdjcYh gZaVi^c\ id
 e]VgbVXdk^\^aVcXZ+ l]^X] XdjaY ^cXajYZ ZmedhjgZ d[ Vc ^chj[[^X^Zci cjbWZg d[ eVi^Zcih id i]Z egdYjXi XdcXZgcZY+ id egdXZZY l^i] dcZ VYY^i^dcVa
 [^kZ,nZVg gZcZlVa- N]Z gZcZlVa d[ V bVg`Zi^c\ Vji]dg^oVi^dc ^h hjW_ZXi id V gZ,ZkVajVi^dc d[ i]Z g^h`,WZcZ[^i WVaVcXZ d[ i]Z egdYjXi Wn i]Z cVi^dcVa
 XdbeZiZci Vji]dg^i^Zh dg i]Z ?G;-
 Cc VYY^i^dc+ egdYjXih bVn WZ Za^\^WaZ [dg \gVci d[ bVg`Zi^c\ Vji]dg^oVi^dc jcYZg ZmXZei^dcVa X^gXjbhiVcXZh ^[ Vc Veea^XVci [dg bVg`Zi^c\
 Vji]dg^oVi^dc XVc YZbdchigViZ i]Vi XdbegZ]Zch^kZ YViV dc i]Z Z[[^XVXn VcY hV[Zin d[ i]Z egdYjXi jcYZg cdgbVa XdcY^i^dch d[ jhZ XVccdi WZ
 egdk^YZY YjZ id XZgiV^c heZX^[^ZY dW_ZXi^kZ VcY kZg^[^VWaZ gZVhdch- ; bVg`Zi^c\ Vji]dg^oVi^dc \gVciZY jcYZg ZmXZei^dcVa X^gXjbhiVcXZh ^h kVa^Y [dg
 [^kZ nZVgh+ Wji ^h hjW_ZXi id Vc VccjVa gZVhhZhhbZci d[ XdcY^i^dch ^bedhZY

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 Wn i]Z XdbeZiZci Vji]dg^i^Zh+ ^cXajY^c\ XdcY^i^dch gZaVi^c\ id i]Z hV[Zin d[ i]Z egdYjXi+ cdi^[^XVi^dc id i]Z cVi^dcVa XdbeZiZci Vji]dg^i^Zh d[ Vcn
 ^cX^YZci gZaVi^c\ id ^ih jhZ+ VcY VXi^dch id WZ iV`Zc- Cc IXidWZg 1/02+ i]Z ?= \gVciZY bVg`Zi^c\ Vji]dg^oVi^dc jcYZg ZmXZei^dcVa X^gXjbhiVcXZh [dg
 >Z[^iZa^d [dg i]Z igZVibZci d[ hZkZgZ PI> ^c VYjaih VcY X]^aYgZc jcYZg\d^c\ BM=N-
 N]Z bV`^c\ VkV^aVWaZ dg eaVX^c\ dc i]Z ?O bVg`Zi d[ jcVji]dg^oZY bZY^X^cVa egdYjXih ^h egd]^W^iZY- BdlZkZg+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O
 bZbWZg hiViZh bVn ZmXZei^dcVaan VcY iZbedgVg^an Vaadl i]Z hjeean d[ hjX] egdYjXih+ Z^i]Zg dc V cVbZY eVi^Zci WVh^h dg i]gdj\] V XdbeVhh^dcViZ
 jhZ egdXZhh+ id ^cY^k^YjVa eVi^Zcih dg V \gdje d[ eVi^Zcih l^i] V X]gdc^XVaan dg hZg^djhan YZW^a^iVi^c\ Y^hZVhZ dg l]dhZ Y^hZVhZ ^h Xdch^YZgZY id WZ
 a^[Z,i]gZViZc^c\+ VcY l]d XVccdi WZ igZViZY hVi^h[VXidg^an Wn Vc Vji]dg^oZY bZY^X^cVa egdYjXi-
 =a^c^XVa hijY^Zh bjhi XjggZcian WZ XdcYjXiZY ^c VXXdgYVcXZ l^i] i]Z gZfj^gZbZcih d[ i]Z ?O =a^c^XVa Ng^Vah >^gZXi^kZ VcY Veea^XVWaZ \ddY Xa^c^XVa
 egVXi^XZ hiVcYVgYh+ Vh ^beaZbZciZY ^cid cVi^dcVa aZ\^haVi^dc Wn ?O bZbWZg hiViZh- ;aa Zci^i^Zh XdcYjXi^c\ Xa^c^XVa ig^Vah ^c i]Z ?O l^aa WZ gZfj^gZY id
 Xdbean l^i] i]Z gZfj^gZbZcih d[ i]Z cZl ?O =a^c^XVa Ng^Vah LZ\jaVi^dc+ l]^X] ^h Vci^X^eViZY id ZciZg ^cid [dgXZ ^c b^Y,1/07- N]Z cZl ?O =a^c^XVa
 Ng^Vah LZ\jaVi^dc+ l]^X] l^aa gZeaVXZ i]Z ?O =a^c^XVa Ng^Vah >^gZXi^kZ+ ^cigdYjXZh V XdbeaZiZ dkZg]Vja d[ i]Z Zm^hi^c\ gZ\jaVi^dc d[ Xa^c^XVa ig^Vah [dg
 bZY^X^cVa egdYjXih ^c i]Z ?O+ ^cXajY^c\ V cZl XddgY^cViZY egdXZYjgZ [dg Vji]dg^oVi^dc d[ Xa^c^XVa ig^Vah i]Vi ^h gZb^c^hXZci d[ i]Z bjijVa gZXd\c^i^dc
 egdXZYjgZ [dg bVg`Zi^c\ Vji]dg^oVi^dc d[ bZY^X^cVa egdYjXih+ VcY Vc dWa^\Vi^dc dc hedchdgh id ejWa^h] Xa^c^XVa ig^Va gZhjaih-
 The Hatch-Waxman Act
 N]Z VeegdkVa egdXZhh YZhXg^WZY VWdkZ [dg i]Z O-M- ^h egZb^hZY dc i]Z Veea^XVci WZ^c\ i]Z dlcZg d[+ dg ]Vk^c\ dWiV^cZY V g^\]i d[ gZ[ZgZcXZ id+ Vaa d[
 i]Z YViV gZfj^gZY id egdkZ i]Z hV[Zin VcY Z[[ZXi^kZcZhh d[ V Ygj\ egdYjXi- N]^h ineZ d[ bVg`Zi^c\ Veea^XVi^dc+ hdbZi^bZh gZ[ZggZY id Vh V v[jaaw dg
 vhiVcY,VadcZw H>;+ ^h \dkZgcZY Wn MZXi^dc 4/4'W('0( d[ i]Z @>=;- ; MZXi^dc 4/4'W('0( H>; XdciV^ch [jaa gZedgih d[ ^ckZhi^\Vi^dch d[ hV[Zin VcY
 Z[[ZXi^kZcZhh+ l]^X] ^cXajYZh i]Z gZhjaih d[ egZXa^c^XVa VcY Xa^c^XVa ig^Vah+ id\Zi]Zg l^i] YZiV^aZY ^c[dgbVi^dc dc i]Z bVcj[VXijgZ VcY Xdbedh^i^dc d[
 i]Z egdYjXi+ ^c VYY^i^dc id di]Zg ^c[dgbVi^dc Vh YZhXg^WZY VWdkZ-
 ;aiZgcVi^kZan+ i]Z >gj\ Jg^XZ =dbeZi^i^dc VcY JViZci NZgb LZhidgVi^dc ;Xi d[ 0873+ dg i]Z BViX],QVmbVc ;Xi+ l]^X] jeYViZY XZgiV^c hZXi^dch d[
 i]Z @>=;+ ZhiVWa^h]Zh ild VWWgZk^ViZY VeegdkVa eVi]lVnh [dg Ygj\ egdYjXih i]Vi VgZ ^c hdbZ lVn [daadl,dc kZgh^dch d[ egdYjXih VagZVYn XdkZgZY
 Wn Vc VeegdkZY H>;- N]Z [^ghi eVi]+ jcYZg MZXi^dc 4/4'W('1(+ ^h [dg i]Z VeegdkVa d[ V egdYjXi i]Vi ^h h^b^aVg+ Wji cdi ^YZci^XVa+ id V egZk^djhan,
 VeegdkZY WgVcY,cVbZ egdYjXi+ l]^X] ^h gZ[ZggZY id Vh i]Z gZ[ZgZcXZ a^hiZY Ygj\+ dg LF>- OcYZg i]^h eVi]+ i]Z Veea^XVci ^h eZgb^iiZY id gZan id hdbZ
 YZ\gZZ dc i]Z @>;xh [^cY^c\ i]Vi i]Z LF> ^h hV[Z VcY Z[[ZXi^kZ VcY bjhi hjWb^i ^ih dlc egdYjXi,heZX^[^X YViV d[ hV[Zin VcY Z[[ZXi^kZcZhh id i]Z
 ZmiZci cZXZhhVgn WZXVjhZ d[ i]Z Y^[[ZgZcXZh WZilZZc i]Z egdYjXih- N]Z @>; bVn i]Zc VeegdkZ i]Z cZl Ygj\ egdYjXi [dg Vaa dg hdbZ d[ i]Z aVWZa
 ^cY^XVi^dch [dg l]^X] i]Z LF> ]Vh WZZc VeegdkZY dg [dg V cZl ^cY^XVi^dc hdj\]i Wn i]Z MZXi^dc 4/4'W('1( Veea^XVci-
 N]Z hZXdcY eVi] ZhiVWa^h]ZY jcYZg i]Z BViX],QVmbVc ;Xi ^h [dg i]Z VeegdkVa d[ \ZcZg^X Ygj\h- MZXi^dc 4/4'_( d[ i]Z @>=; eZgb^ih i]Z hjWb^hh^dc
 d[ Vc ;H>; [dg V \ZcZg^X kZgh^dc d[ Vc VeegdkZY+ WgVcY,cVbZ Ygj\- AZcZgVaan+ Vc ;H>; bjhi XdciV^c YViV VcY ^c[dgbVi^dc h]dl^c\ i]Vi i]Z
 egdedhZY \ZcZg^X egdYjXi VcY i]Z VeegdkZY LF> '0( ]VkZ i]Z hVbZ VXi^kZ ^c\gZY^Zci+ ^c i]Z hVbZ higZc\i] VcY YdhV\Z [dgb+ id WZ YZa^kZgZY k^V i]Z
 hVbZ gdjiZ d[ VYb^c^higVi^dc+ '1( VgZ ^ciZcYZY [dg i]Z hVbZ jhZh+ VcY '2( VgZ W^dZfj^kVaZci- N]^h YViV VcY ^c[dgbVi^dc VgZ egdk^YZY ^chiZVY d[
 ^cYZeZcYZcian YZbdchigVi^c\ i]Z egdedhZY \ZcZg^X egdYjXixh hV[Zin VcY Z[[ZXi^kZcZhh+ l]^X] VgZ ^c[ZggZY [gdb i]Z [VXi i]Vi i]Z \ZcZg^X egdYjXi ^h
 i]Z hVbZ Vh i]Z LF> i]Z @>; egZk^djhan [djcY id WZ hV[Z VcY Z[[ZXi^kZ-
 Nd i]Z ZmiZci i]Vi Vc ;H>; dg V MZXi^dc 4/4'W('1( H>; Veea^XVci ^h gZan^c\ dc i]Z @>;xh [^cY^c\h [dg Vc VagZVYn,VeegdkZY egdYjXi+ i]Z Veea^XVci ^h
 gZfj^gZY id XZgi^[n i]Vi i]ZgZ VgZ cd eViZcih a^hiZY [dg i]Vi egdYjXi ^c i]Z IgVc\Z <dd`+ dg i]Vi [dg ZVX] IgVc\Z <dd`,a^hiZY eViZci i]Z a^hiZY eViZci
 ]Vh Zme^gZY+ dg l^aa Zme^gZ dc V eVgi^XjaVg YViZ VcY VeegdkVa ^h hdj\]i V[iZg eViZci Zme^gVi^dc+ dg i]Z a^hiZY eViZci ^h ^ckVa^Y dg l^aa cdi WZ ^c[g^c\ZY Wn
 i]Z bVcj[VXijgZ+ jhZ dg hVaZ d[ i]Z cZl egdYjXi- ; XZgi^[^XVi^dc i]Vi VeegdkVa ^h hdj\]i V[iZg eViZci Zme^gVi^dc ^h XVaaZY V vJVgV\gVe] CCC JViZci
 =Zgi^[^XVi^dc-w ; XZgi^[^XVi^dc i]Vi i]Z cZl egdYjXi l^aa cdi ^c[g^c\Z i]Z LF>xh IgVc\Z <dd`,a^hiZY eViZcih dg i]Vi hjX] eViZcih VgZ ^ckVa^Y ^h XVaaZY V
 vJVgV\gVe] CP JViZci =Zgi^[^XVi^dc+w dg JVgV\gVe] CP =Zgi^[^XVi^dc- C[ i]Z eViZci ^h [dg Vc VeegdkZY bZi]dY d[ jhZ+ Vc ;H>; dg MZXi^dc 4/4'W('1(
 Veea^XVci XVc Vahd [^aZ V hiViZbZci+ XVaaZY V vhZXi^dc k^^^ hiViZbZci+w i]Vi i]Z Veea^XVi^dc YdZh cdi hZZ` VeegdkVa d[ i]Z jhZ XdkZgZY Wn i]Z a^hiZY
 eViZci- C[ i]Z Veea^XVci YdZh cdi X]VaaZc\Z i]Z a^hiZY eViZcih+ i]Z ;H>; dg i]Z MZXi^dc 4/4'W('1( H>; l^aa cdi WZ VeegdkZY jci^a Vaa i]Z a^hiZY
 eViZcih XaV^b^c\ i]Z LF> ]VkZ Zme^gZY+ Vh lZaa Vh Vcn VYY^i^dcVa eZg^dY d[ ZmXajh^k^in i]Vi b^\]i WZ dWiV^cZY [dg XdbeaZi^c\ eZY^Vig^X hijY^Zh
 ejghjVci id i]Z @>;xh lg^iiZc gZfjZhi- N]Z ;H>; dg i]Z MZXi^dc 4/4'W('1( H>; bVn Vahd WZ hjW_ZXi id YZaVn ^c gZk^Zl dg VeegdkVa WVhZY dc
 Veea^XVWaZ cdc,eViZci ZmXajh^k^i^Zh+ hjX] Vh ZmXajh^k^in i]Vi gZhjaih [gdb dWiV^c^c\ VeegdkVa d[ V cZl X]Zb^XVa Zci^in dg d[ V cZl jhZ d[ V egZk^djhan
 VeegdkZY VXi^kZ ^c\gZY^Zci-
 C[ i]Z Veea^XVci ]Vh egdk^YZY V JVgV\gVe] CP =Zgi^[^XVi^dc id i]Z @>;+ i]Z Veea^XVci bjhi Vahd hZcY V cdi^XZ d[ hjX] XZgi^[^XVi^dc id i]Z ]daYZg d[ i]Z
 H>; VcY i]Z gZaZkVci eViZci ]daYZgh dcXZ i]Z ;H>; dg i]Z MZXi^dc 4/4'W('1( H>; ]Vh WZZc VXXZeiZY [dg [^a^c\ Wn i]Z @>;- N]Z H>; VcY eViZci
 ]daYZgh bVn i]Zc ^c^i^ViZ V aZ\Va X]VaaZc\Z id i]Z egdedhZY \ZcZg^X egdYjXi [dg ^c[g^c\^c\ i]Z eViZci- N]Z [^a^c\ d[ V eViZci ^c[g^c\ZbZci aVlhj^i
 l^i]^c 34 YVnh d[ gZXZ^ei d[ V cdi^XZ d[

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 JVgV\gVe] CP =Zgi^[^XVi^dc VjidbVi^XVaan egZkZcih i]Z @>; [gdb Veegdk^c\ i]Z ;H>; dg i]Z MZXi^dc 4/4'W('1( H>; jci^a i]Z ZVga^Zhi d[ 2/ bdci]h
 V[iZg i]Z H>; ]daYZgxh gZXZ^ei d[ i]Z cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc+ Zme^gVi^dc d[ i]Z eViZci+ hZiiaZbZci d[ i]Z aVlhj^i dg V YZX^h^dc ^c i]Z
 ^c[g^c\ZbZci XVhZ i]Vi ^h [VkdgVWaZ id i]Z ;H>; Veea^XVci- N]Z 2/,bdci] hiVn eZg^dY bVn Vahd WZ h]dgiZcZY dg aZc\i]ZcZY jedc dgYZg d[ i]Z Xdjgi
 ^c i]Z ^c[g^c\ZbZci aVlhj^i- @dg Ygj\h l^i] [^kZ,nZVg ZmXajh^k^in+ ^[ Vc VXi^dc [dg eViZci ^c[g^c\ZbZci ^h ^c^i^ViZY V[iZg nZVg [djg d[ i]Vi ZmXajh^k^in
 eZg^dY+ i]Zc i]Z 2/,bdci] hiVn eZg^dY ^h ZmiZcYZY Wn hjX] Vbdjci d[ i^bZ hd i]Vi 6-4 nZVgh ]Vh ZaVehZY h^cXZ i]Z VeegdkVa d[ i]Z H>; [dg i]Z LF>-
 N]^h eZg^dY XdjaY WZ ZmiZcYZY Wn h^m bdci]h ^[ i]Z H>; hedchdg dWiV^ch eZY^Vig^X ZmXajh^k^in- ;aiZgcVi^kZan+ ^[ i]Z a^hiZY eViZci ]daYZg YdZh cdi [^aZ
 V eViZci ^c[g^c\ZbZci aVlhj^i l^i]^c i]Z gZfj^gZY 34,YVn eZg^dY+ i]Z Veea^XVci l^aa cdi WZ hjW_ZXi id i]Z 2/,bdci] hiVn- N]Z @>; bVn ^hhjZ iZciVi^kZ
 VeegdkVa d[ Vc ;H>; ^[ i]Z \ZcZg^X Veea^XVci bZZih Vaa XdcY^i^dch [dg VeegdkVa Wji XVccdi gZXZ^kZ Z[[ZXi^kZ VeegdkVa WZXVjhZ i]Z 2/,bdci] hiVn dg
 Vcdi]Zg eZg^dY d[ gZ\jaVidgn ZmXajh^k^in+ ^cXajY^c\ Vc ZmXajh^k^in ]ZaY Wn Vcdi]Zg ;H>; [^aZg+ ]Vh cdi Zme^gZY- C[ Vc ;H>; ^h VeegdkZY V[iZg i]Z 2/,
 bdci] hiVn VcY WZ[dgZ XdcXajh^dc d[ Vcn gZaZkVci eViZci a^i^\Vi^dc Vi i]Z Y^hig^Xi+ VcY ediZci^Vaan VeeZaaViZ+ Xdjgi+ V \ZcZg^X bVcj[VXijgZg XdjaY
 cdcZi]ZaZhh X]ddhZ id XdbbZgX^Va^oZ i]Z \ZcZg^X egdYjXi+ Vahd `cdlc Vh V vaVjcX] Vi g^h`-w Cc i]Z ZkZci d[ hjX] XdbbZgX^Va^oVi^dc+ i]Z \ZcZg^X
 bVcj[VXijgZg \ZcZgVaan ldjaY WZ a^VWaZ [dg YVbV\Zh ^[ i]Z H>; ]daYZg jai^bViZan egZkV^ah ^c i]Z eViZci a^i^\Vi^dc-
 QZ ^ciZcY id k^\dgdjhan YZ[ZcY Vcn eViZcih [dg djg VeegdkZY egdYjXih+ ^cXajY^c\ djg IgVc\Z <dd`,a^hiZY eViZcih- MZkZc XdbeVc^Zh hZci jh
 cdi^XZh d[ JVgV\gVe] CP =Zgi^[^XVi^dc i]Vi i]Zn ]VY [^aZY ;H>;h l^i] i]Z @>; hZZ`^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb WZ[dgZ i]Z
 Zme^gVi^dc d[ i]Z IgVc\Z <dd`,a^hiZY eViZcih gZaVi^c\ id RngZb- QZ [^aZY eViZci aVlhj^ih V\V^chi ZVX] d[ i]ZhZ XdbeVc^Zh hZZ`^c\ id egZkZci i]Z
 ^cigdYjXi^dc d[ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih- Cc i]Z hZXdcY fjVgiZg d[ 1/05+ lZ hZiiaZY ild d[ i]ZhZ aVlhj^ih+ \gVci^c\
 i]Z hZiia^c\ ;H>; Veea^XVcih V a^XZchZ id bVcj[VXijgZ+ bVg`Zi VcY hZaa i]Z^g \ZcZg^X kZgh^dch d[ RngZb dc dg V[iZg >ZXZbWZg 20+ 1/14+ dg ZVga^Zg
 YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ LdmVcZxh ;H>; [dg V \ZcZg^X kZgh^dc d[
 RngZb- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>; cdiZh i]Vi LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\
 ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi-
 Ic DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa VcY dcZ [dg LVcWVmn-
 BdlZkZg+ i]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h jcXZgiV^c- Q]^aZ i]Z @>; ]Vh VeegdkZY dg iZciVi^kZan
 VeegdkZY ;H>;h hZZ`^c\ id bVg`Zi \ZcZg^X kZgh^dch d[ RngZb VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ
 VYY^i^dcVa ;H>;h+ lZ Yd cdi WZa^ZkZ V aVjcX] Wn Vc ;H>; [^aZg ^h a^`Zan id dXXjg eg^dg id Z^i]Zg V YViZ V\gZZY ^c V hZiiaZbZci V\gZZbZci WZilZZc
 jh VcY hjX] ;H>; [^aZg dg V >^hig^Xi =djgi+ dg ediZci^Vaan Vc VeeZaaViZ Xdjgi+ YZX^h^dc ^c djg dc\d^c\ eViZci a^i^\Vi^dc- C[ lZ egZkV^a Vi ig^Va dg dc
 VeeZVa+ lZ XVccdi \jVgVciZZ i]Vi i]Z Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb-
 CchiZVY+ i]Z Xdjgi bVn dgYZg Vc ;H>; [^aZg i]Vi ^h [djcY id ^c[g^c\Z id eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain+ l]^X] XdjaY
 WZ h^\c^[^XVci- ;YY^i^dcVa ;H>;h hZZ`^c\ id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb VcY.dg MZXi^dc 4/4'W('1( H>;h hZZ`^c\ VeegdkVa d[ V egdYjXi i]Vi
 ^h h^b^aVg+ Wji cdi ^YZci^XVa+ id RngZb+ bVn WZ [^aZY ^c i]Z [jijgZ- @dg ZmVbeaZ+ ;kVYZa+ V XdbeVcn i]Vi ^h jh^c\ ^ih egdeg^ZiVgn iZX]cdad\n [dg YZa^kZgn
 d[ V hdY^jb dmnWViZ [dgbjaVi^dc i]Vi ^h jcYZg\d^c\ Xa^c^XVa ig^Vah+ ]Vh ^cY^XViZY i]Vi ^i ^ciZcYh id hZZ` VeegdkVa d[ ^ih egdYjXi XVcY^YViZ jh^c\ V
 4/4'W('1( H>; VeegdkVa eVi]lVn- @dg V [jgi]Zg YZhXg^ei^dc d[ i]ZhZ bViiZgh+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb
 0/,E+ VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg
 CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 MZXi^dc 4/4,0'^('0( d[ i]Z @>=; \ZcZgVaan egdk^YZh i]Vi '^( Vc ;H>; i]Vi gZ[ZgZcXZh V Ygj\ hjW_ZXi id V L?GM l^i] ?N;MO ^h gZfj^gZY id ]VkZ V
 L?GM l^i] i]Z hVbZ ZaZbZcih Vh i]Z LF> VcY '^^( i]Z ;H>; Ygj\ VcY i]Z LF> h]Vaa jhZ V h^c\aZ h]VgZY hnhiZb id VhhjgZ hV[Z jhZ- BdlZkZg+ i]Z
 @>; bVn lV^kZ i]^h gZfj^gZbZci [dg V h^c\aZ h]VgZY hnhiZb VcY VeegdkZ Vc ;H>; l^i] V hZeVgViZ L?GM l^i] Y^[[Zg^c\ Wji XdbeVgVWaZ VheZXih d[
 ?N;MO ^[ i]Z @>; Z^i]Zg YZiZgb^cZh i]Vi i]Z WjgYZc d[ XgZVi^c\ V h^c\aZ h]VgZY hnhiZb djilZ^\]h ^ih WZcZ[^i+ dg ^[ i]Z ;H>; Veea^XVci XZgi^[^Zh i]Vi
 ^i ]Vh WZZc jcVWaZ id dWiV^c V a^XZchZ id Vcn VheZXih d[ i]Z L?GM [dg i]Z LF> i]Vi VgZ XdkZgZY Wn V eViZci dg V igVYZ hZXgZi- N]Z @>=; egdk^YZh
 i]Vi i]Z @>; bVn hZZ` id cZ\di^ViZ V a^XZchZ WZilZZc i]Z ;H>; Veea^XVci VcY i]Z hedchdg d[ i]Z LF> WZ[dgZ \gVci^c\ V lV^kZg d[ i]Z h^c\aZ
 h]VgZY hnhiZb gZfj^gZbZci- N]Z @>=; [jgi]Zg hiViZh i]Vi V L?GM h]Vaa cdi WZ jhZY Wn i]Z H>; ]daYZg id WadX` dg YZaVn \ZcZg^X Ygj\h [gdb
 ZciZg^c\ i]Z bVg`Zi-
 N]Z @>; VeegdkVa d[ i]Z LdmVcZ ;H>; dc DVcjVgn 06+ 1/06 ^cXajYZh V lV^kZg d[ i]Z h]VgZY,L?GM gZfj^gZbZci i]Vi eZgb^ih LdmVcZ id jhZ V
 hZeVgViZ L?GM egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg
 H>;h [dg hdY^jb dmnWViZ egdYjXih- Cc XdccZXi^dc l^i] i]Z lV^kZg+ @>; ^hhjZY V hiViZbZci i]Vi ^i Xdch^YZgh i]Z \ZcZg^X hdY^jb dmnWViZ L?GM id
 ]VkZ i]Z hVbZ ?N;MO Vh i]Z RngZb L?GM VcY deZgVi^dcVa^oZh i]dhZ ZaZbZcih ^c V XdbeVgVWaZ bVccZg id VX]^ZkZ i]Z hVbZ aZkZa d[ hV[Zin Vh i]Z
 RngZb L?GM- MeZX^[^XVaan+ i]Z @>; hiViZY i]Vi Wdi] i]Z RngZb L?GM VcY i]Z \ZcZg^X hdY^jb dmnWViZ L?GM gZfj^gZ i]Vi '0( ]ZVai]XVgZ egdk^YZgh
 l]d egZhXg^WZ i]Z Ygj\ WZ heZX^Vaan XZgi^[^ZY: '1( i]Z Ygj\ WZ Y^heZchZY dcan Wn e]VgbVX^Zh i]Vi VgZ heZX^Vaan XZgi^[^ZY: VcY '2( i]Z Ygj\ WZ
 Y^heZchZY VcY h]^eeZY dcan id eVi^Zcih l]d VgZ ZcgdaaZY ^c i]Z L?GM egd\gVb l^i] YdXjbZciVi^dc d[ hV[Z jhZ XdcY^i^dch- BdlZkZg+ i]Z @>;
 hiViZY i]Vi i]Z \ZcZg^X hdY^jb dmnWViZ L?GM+ jca^`Z i]Z RngZb L?GM+ eZgb^ih bjai^eaZ

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 XZgi^[^ZY e]VgbVX^Zh VcY bjai^eaZ YViVWVhZh i]Vi VgZ XdccZXiZY k^V Vc ZaZXigdc^X vhl^iX]w hnhiZb- N]Z \ZcZg^X hdY^jb dmnWViZ L?GM Vahd gZfj^gZh
 i]Z XZgi^[^ZY e]VgbVX^Zh ^c ^ih hnhiZb id XdciVXi i]Z RngZb L?GM egd\gVb id kZg^[n i]Vi i]Z eVi^Zci ]Vh cd di]Zg VXi^kZ egZhXg^ei^dch [dg RngZb
 i]Vi dkZgaVe l^i] i]Z \ZcZg^X egZhXg^ei^dc id WZ [^aaZY VcY id ^YZci^[n Vcn eVi^Zci VcY egZhXg^WZg Y^hZcgdaabZcih [gdb i]Z RngZb hnhiZb [dg hjheZXiZY
 VWjhZ+ b^hjhZ VcY Y^kZgh^dc- QZ lZgZ cdi ^ckdakZY ^c YZkZadebZci d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM VcY lZgZ cdi XdchjaiZY gZ\VgY^c\ Vcn
 [ZVijgZh d[ i]Z lV^kZg,\gVciZY L?GM- QZ l^aa ZkVajViZ l]Zi]Zg i]Z @>;xh lV^kZg d[ i]Z gZfj^gZbZci [dg V h^c\aZ+ h]VgZY hnhiZb L?GM ^c
 XdccZXi^dc l^i] VeegdkVa VcY iZciVi^kZ VeegdkVa d[ i]Z ;H>;h bZZih i]Z XdcY^i^dch [dg hjX] V lV^kZg jcYZg Veea^XVWaZ aVl VcY+ id i]Z ZmiZci i]Vi
 lZ YZiZgb^cZ i]Vi i]Z lV^kZg lVh cdi eZgb^hh^WaZ jcYZg Veea^XVWaZ aVl+ l^aa ZkVajViZ ediZci^Va X]VaaZc\Zh id i]Z @>;xh lV^kZg YZX^h^dc- QZ XVccdi
 egZY^Xi i]Z djiXdbZ dg ^beVXi dc djg Wjh^cZhh d[ Vcn [jijgZ VXi^dc i]Vi lZ bVn iV`Z l^i] gZheZXi id i]Z @>;xh lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZb
 L?GM gZfj^gZbZci+ ^ih VeegdkVa VcY iZciVi^kZ VeegdkVa d[ \ZcZg^X kZgh^dch d[ RngZb dg i]Z XdchZfjZcXZh d[ Y^hig^Wji^dc d[ hdY^jb dmnWViZ
 i]gdj\] i]Z \ZcZg^X hdY^jb dmnWViZ L?GM VeegdkZY Wn i]Z @>;- QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ldjaY ]VkZ V bViZg^Va
 VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidgh jcYZg i]Z
 ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[
 i]^h ;ccjVa LZedgi dc @dgb 0/|E-
 OcYZg i]Z BViX],QVmbVc ;Xi+ cZlan VeegdkZY Ygj\h VcY ^cY^XVi^dch bVn WZcZ[^i [gdb V hiVijidgn eZg^dY d[ cdc,eViZci bVg`Zi^c\ ZmXajh^k^in- N]Z
 BViX],QVmbVc ;Xi egdk^YZh [^kZ,nZVg bVg`Zi^c\ ZmXajh^k^in id i]Z [^ghi Veea^XVci id \V^c VeegdkVa d[ Vc H>; [dg V cZl X]Zb^XVa Zci^in+ bZVc^c\
 i]Vi i]Z @>; ]Vh cdi egZk^djhan VeegdkZY Vcn di]Zg cZl Ygj\ XdciV^c^c\ i]Z hVbZ VXi^kZ bd^Zin- N]Z BViX],QVmbVc ;Xi egd]^W^ih i]Z @>; [gdb
 VXXZei^c\ [dg gZk^Zl Vc ;H>; dg V MZXi^dc 4/4'W('1( H>; [dg Vcdi]Zg kZgh^dc d[ hjX] Ygj\ Yjg^c\ i]Z [^kZ,nZVg ZmXajh^kZ eZg^dY: ]dlZkZg+ Vh
 ZmeaV^cZY VWdkZ+ hjWb^hh^dc d[ Vc ;H>; dg MZXi^dc 4/4'W('1( H>; XdciV^c^c\ V JVgV\gVe] CP =Zgi^[^XVi^dc ^h eZgb^iiZY V[iZg [djg nZVgh+ l]^X] bVn
 ig^\\Zg a^i^\Vi^dc aZVY^c\ id V 2/,bdci] hiVn d[ VeegdkVa d[ i]Z ;H>; dg MZXi^dc 4/4'W('1( H>; i]Vi XdjaY ZmiZcY id 6-4 nZVgh V[iZg VeegdkVa d[ i]Z
 LF>- JgdiZXi^dc jcYZg i]Z BViX],QVmbVc ;Xi l^aa cdi egZkZci i]Z hjWb^hh^dc dg VeegdkVa d[ Vcdi]Zg v[jaaw H>;: ]dlZkZg+ i]Z Veea^XVci ldjaY WZ
 gZfj^gZY id XdcYjXi ^ih dlc egZXa^c^XVa VcY VYZfjViZ VcY lZaa,XdcigdaaZY Xa^c^XVa ig^Vah id YZbdchigViZ hV[Zin VcY Z[[ZXi^kZcZhh- N]Z BViX],QVmbVc
 ;Xi Vahd egdk^YZh i]gZZ nZVgh d[ bVg`Zi^c\ ZmXajh^k^in [dg i]Z VeegdkVa d[ cZl VcY hjeeaZbZciVa H>;h+ ^cXajY^c\ MZXi^dc 4/4'W('1( H>;h+ [dg+
 Vbdc\ di]Zg i]^c\h+ cZl ^cY^XVi^dch+ YdhV\Zh+ dg higZc\i]h d[ Vc Zm^hi^c\ Ygj\+ ^[ cZl Xa^c^XVa ^ckZhi^\Vi^dch i]Vi lZgZ XdcYjXiZY dg hedchdgZY Wn
 i]Z Veea^XVci VgZ YZiZgb^cZY Wn i]Z @>; id WZ ZhhZci^Va id i]Z VeegdkVa d[ i]Z Veea^XVi^dc-
 N]Z BViX],QVmbVc ;Xi Vahd eZgb^ih V eViZci iZgb ZmiZch^dc d[ je id [^kZ nZVgh Vh XdbeZchVi^dc [dg eViZci iZgb adhi Yjg^c\ egdYjXi YZkZadebZci
 VcY i]Z @>; gZ\jaVidgn gZk^Zl egdXZhh- BdlZkZg+ V eViZci iZgb ZmiZch^dc XVccdi ZmiZcY i]Z gZbV^c^c\ iZgb d[ V eViZci WZndcY V idiVa d[ 03 nZVgh
 V[iZg i]Z @>; VeegdkZh V bVg`Zi^c\ Veea^XVi^dc- N]Z eViZci iZgb ZmiZch^dc eZg^dY ^h \ZcZgVaan ZfjVa id i]Z hjb d[ dcZ,]Va[ i]Z i^bZ WZilZZc i]Z
 Z[[ZXi^kZ YViZ d[ Vc CH> VcY i]Z hjWb^hh^dc YViZ d[ Vc H>;+ VcY Vaa d[ i]Z i^bZ WZilZZc i]Z hjWb^hh^dc YViZ d[ Vc H>; VcY i]Z VeegdkVa d[ i]Vi
 Veea^XVi^dc+ je id V idiVa d[ [^kZ nZVgh- Ican dcZ eViZci Veea^XVWaZ id V egdYjXi dg ^ih jhZ bVn WZ ZmiZcYZY+ VcY dcan ^[ i]Z gZ\jaVidgn gZk^Zl aZVYh id
 i]Z [^ghi XdbbZgX^Va bVg`Zi^c\ d[ i]Vi Ygj\+ VcY i]Z ZmiZch^dc bjhi WZ Veea^ZY [dg eg^dg id Zme^gVi^dc d[ i]Z eViZci- N]Z OMJNI+ ^c XdchjaiVi^dc l^i]
 i]Z @>;+ gZk^Zlh VcY VeegdkZh Veea^XVi^dch [dg eViZci iZgb ZmiZch^dc- QZ l^aa Xdch^YZg Veean^c\ [dg V eViZci iZgb ZmiZch^dc [dg hdbZ d[ djg
 eViZcih id VYY eViZci a^[Z WZndcY i]Z Zme^gVi^dc YViZ+ ^[ lZ bZZi i]Z aZ\Va gZfj^gZbZcih eZgb^ii^c\ Vc ZmiZch^dc VcY YZeZcY^c\ dc i]Z ZmeZXiZY
 aZc\i] d[ Xa^c^XVa ig^Vah VcY di]Zg [VXidgh ^ckdakZY ^c i]Z hjWb^hh^dc d[ Vc H>;-
 Orphan Drug and Other Exclusivities
 MdbZ _jg^hY^Xi^dch+ ^cXajY^c\ i]Z O-M-+ bVn YZh^\cViZ Ygj\h dg W^dad\^Xh [dg gZaVi^kZan hbVaa eVi^Zci edejaVi^dch Vh dge]Vc Ygj\h- N]Z @>; \gVcih
 dge]Vc Ygj\ YZh^\cVi^dc id Ygj\h dg W^dad\^Xh ^ciZcYZY id igZVi V gVgZ Y^hZVhZ dg XdcY^i^dc i]Vi V[[ZXih [ZlZg i]Vc 1//+/// ^cY^k^YjVah ^c i]Z O-M-+ dg
 bdgZ i]Vc 1//+/// ^cY^k^YjVah ^c i]Z O-M- ^[ i]ZgZ ^h cd gZVhdcVWaZ ZmeZXiVi^dc i]Vi i]Z Xdhi d[ YZkZade^c\ VcY bV`^c\ VkV^aVWaZ ^c i]Z O-M- V Ygj\ dg
 W^dad\^X [dg i]^h ineZ d[ Y^hZVhZ dg XdcY^i^dc l^aa WZ gZXdkZgZY [gdb hVaZh ^c i]Z O-M- [dg i]Vi egdYjXi- Cc i]Z O-M-+ ^c dgYZg id dWiV^c dge]Vc Ygj\
 YZh^\cVi^dc+ i]Z YZh^\cVi^dc bjhi WZ gZfjZhiZY WZ[dgZ hjWb^ii^c\ Vc Veea^XVi^dc [dg bVg`Zi^c\ VeegdkVa- ;c dge]Vc Ygj\ YZh^\cVi^dc YdZh cdi
 h]dgiZc i]Z YjgVi^dc d[ i]Z gZ\jaVidgn gZk^Zl VcY VeegdkVa egdXZhh- BdlZkZg+ ^[ V egdYjXi i]Vi ]Vh dge]Vc Ygj\ YZh^\cVi^dc hjWhZfjZcian gZXZ^kZh
 i]Z [^ghi @>; VeegdkVa [dg i]Z ^cY^XVi^dc [dg l]^X] ^i ]Vh hjX] YZh^\cVi^dc+ i]Z egdYjXi ^h Zci^iaZY id dge]Vc Ygj\ ZmXajh^k^in+ l]^X] bZVch i]Z @>;
 bVn cdi VeegdkZ Vcn di]Zg Veea^XVi^dc id bVg`Zi i]Z hVbZ egdYjXi [dg i]Z hVbZ ^cY^XVi^dc [dg V eZg^dY d[ hZkZc nZVgh [gdb i]Z i^bZ d[ @>;
 VeegdkVa+ ZmXZei ^c a^b^iZY X^gXjbhiVcXZh+ hjX] Vh V h]dl^c\ d[ Xa^c^XVa hjeZg^dg^in id i]Z egdYjXi l^i] dge]Vc Ygj\ ZmXajh^k^in- =dbeZi^idgh bVn
 gZXZ^kZ VeegdkVa d[ Y^[[ZgZci Ygj\h dg W^dad\^Xh [dg i]Z ^cY^XVi^dch [dg l]^X] i]Z dge]Vc egdYjXi ]Vh ZmXajh^k^in-
 N]Z @>; VeegdkZY RngZb Vh Vc dge]Vc Ygj\ [dg i]Z igZVibZci d[ ?>M VcY XViVeaZmn ^c eVi^Zcih l^i] cVgXdaZehn+ Wji i]dhZ eZg^dYh d[ dge]Vc Ygj\
 ZmXajh^k^in ]VkZ Zme^gZY- ?gl^cVoZ ]Vh dge]Vc Ygj\ ZmXajh^k^in [dg i]Z igZVibZci d[ ;FF jci^a HdkZbWZg 1/07+ hZkZc nZVgh [gdb ^ih @>; VeegdkVa-
 >Z[^Wgdi^YZ ]Vh dge]Vc Ygj\ YZh^\cVi^dc id igZVi VcY egZkZci PI> jci^a GVgX] 1/12+ hZkZc nZVgh [gdb ^ih @>; VeegdkVa-

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 MZeVgViZan+ ?gl^cVoZ+ Vh V W^dad\^X egdYjXi VeegdkZY jcYZg V <F;+ ^h hjW_ZXi id i]Z <J=C;- N]Z <J=C; Vji]dg^oZh i]Z @>; id a^XZchZ V W^dad\^XVa
 egdYjXi i]Vi ^h W^dh^b^aVg id Vc @>;,a^XZchZY W^dad\^X i]gdj\] Vc VWWgZk^ViZY eVi]lVn- N]Z <J=C; ZhiVWa^h]Zh Xg^iZg^V [dg YZiZgb^c^c\ l]Zi]Zg V
 egdYjXi ^h W^dh^b^aVg id Vc VagZVYn,a^XZchZY W^dad\^X+ dg gZ[ZgZcXZ egdYjXi+ VcY ZhiVWa^h]Zh V egdXZhh [dg Vc VWWgZk^ViZY <F; [dg V W^dh^b^aVg egdYjXi
 id WZ hjWb^iiZY+ gZk^ZlZY VcY VeegdkZY- N]Z <J=C; egdk^YZh eZg^dYh d[ ZmXajh^k^in i]Vi egdiZXi V gZ[ZgZcXZ egdYjXi [gdb XdbeZi^i^dc Wn
 W^dh^b^aVgh- OcYZg i]Z <J=C;+ i]Z @>; bVn cdi VXXZei V W^dh^b^aVg Veea^XVi^dc [dg gZk^Zl jci^a [djg nZVgh V[iZg i]Z YViZ d[ [^ghi a^XZchjgZ d[ i]Z
 gZ[ZgZcXZ egdYjXi+ VcY i]Z W^dh^b^aVg XVccdi WZ a^XZchZY jci^a 01 nZVgh V[iZg i]Z gZ[ZgZcXZ egdYjXi lVh [^ghi a^XZchZY- <ZXVjhZ i]Z <J=C; ^h V
 gZaVi^kZan cZl aVl+ lZ Vci^X^eViZ i]Vi ^ih ^beVXi dc Wdi] gZ[ZgZcXZ egdYjXi hedchdgh VcY W^dh^b^aVg Veea^XVcih l^aa ZkdakZ dkZg V eZg^dY d[ nZVgh- Cih
 ^beaZbZciVi^dc a^`Zan l^aa WZ h]VeZY Wn V kVg^Zin d[ [VXidgh+ ^cXajY^c\ @>; ^hhjVcXZ d[ \j^YVcXZ YdXjbZcih+ egdedhZY gZ\jaVi^dch+ VcY YZX^h^dch
 ^c i]Z XdjghZ d[ Xdch^YZg^c\ heZX^[^X Veea^XVi^dch- QZ WZa^ZkZ i]Vi ?gl^cVoZ l^aa gZXZ^kZ ZmXajh^k^in i]Vi egZkZcih VeegdkVa d[ V W^dh^b^aVg ^c i]Z O-M-
 i]gdj\] aViZ 1/12 jcYZg i]Z <J=C;-
 JgdYjXih Vahd bVn WZ Za^\^WaZ [dg h^m bdci]h d[ VYY^i^dcVa ZmXajh^k^in VcY eViZci egdiZXi^dc ^[ i]Z hedchdg hjWb^ih eZY^Vig^X YViV i]Vi [V^gan gZhedcY
 id V lg^iiZc gZfjZhi [gdb i]Z @>; [dg hjX] YViV- N]Z YViV Yd cdi cZZY id h]dl i]Z egdYjXi id WZ Z[[ZXi^kZ ^c i]Z eZY^Vig^X edejaVi^dc hijY^ZY:
 gVi]Zg+ ^[ i]Z Xa^c^XVa ig^Va ^h YZZbZY id [V^gan gZhedcY id i]Z @>;xh gZfjZhi+ i]Z VYY^i^dcVa egdiZXi^dc ^h \gVciZY- C[ gZedgih d[ gZfjZhiZY eZY^Vig^X
 hijY^Zh VgZ hjWb^iiZY id VcY VXXZeiZY Wn i]Z @>; l^i]^c hiVijidgn i^bZ a^b^ih+ l]ViZkZg hiVijidgn dg gZ\jaVidgn eZg^dYh d[ ZmXajh^k^in dg a^hiZY
 eViZci egdiZXi^dc XdkZg i]Z Ygj\ VgZ ZmiZcYZY Wn h^m bdci]h- N]^h ^h cdi V eViZci iZgb ZmiZch^dc+ Wji ^i Z[[ZXi^kZan ZmiZcYh i]Z eZg^dY Yjg^c\ l]^X]+
 WZXVjhZ d[ gZ\jaVidgn ZmXajh^k^in dg a^hiZY eViZcih+ i]Z @>; XVccdi VeegdkZ Vc ;H>; dg 4/4'W('1( H>;- QZ l^aa Xdch^YZg hZZ`^c\ eZY^Vig^X
 ZmXajh^k^in [dg djg egdYjXih ^[ lZ bZZi i]Z aZ\Va gZfj^gZbZcih VcY WZa^ZkZ ^i l^aa WZ XdbbZgX^Vaan WZcZ[^X^Va- @dg ZmVbeaZ+ ^c i]Z [djgi] fjVgiZg d[
 1/03+ ^c gZhedchZ id V lg^iiZc gZfjZhi [gdb i]Z @>; id \ZcZgViZ VYY^i^dcVa YViV+ lZ ^c^i^ViZY V J]VhZ 2 Xa^c^XVa ig^Va id VhhZhh i]Z hV[Zin VcY Z[[^XVXn
 d[ RngZb ^c X]^aYgZc VcY VYdaZhXZcih V\ZY hZkZc id 06 l]d ]VkZ cVgXdaZehn l^i] XViVeaZmn- QZ XdbeaZiZY ZcgdaabZci ^c i]^h ig^Va ^c i]Z [djgi]
 fjVgiZg d[ 1/05 VcY+ hjW_ZXi id i]Z gZhjaih d[ i]Z ig^Va+ Vci^X^eViZ hjWb^ii^c\ Vc hH>; VcY eZY^Vig^X lg^iiZc gZfjZhi gZedgi id i]Z @>; ^c i]Z [djgi]
 fjVgiZg d[ 1/06-
 Cc i]Z ?O+ dge]Vc Ygj\ YZh^\cVi^dc bVn WZ \gVciZY id egdYjXih i]Vi XVc WZ jhZY id igZVi a^[Z,i]gZViZc^c\ Y^hZVhZh dg X]gdc^XVaan YZW^a^iVi^c\
 XdcY^i^dch l^i] Vc ^cX^YZcXZ d[ cd bdgZ i]Vc [^kZ ^c 0/+/// eZdeaZ dg i]Vi+ [dg ZXdcdb^X gZVhdch+ ldjaY WZ jca^`Zan id WZ YZkZadeZY l^i]dji
 ^cXZci^kZh- Cc dgYZg id gZXZ^kZ dge]Vc Ygj\ YZh^\cVi^dc+ i]ZgZ bjhi Vahd WZ cd hVi^h[VXidgn bZi]dY d[ Y^V\cdh^h+ egZkZci^dc dg igZVibZci d[ i]Z
 XdcY^i^dc+ dg ^[ hjX] V bZi]dY Zm^hih+ i]Z bZY^X^cZ bjhi ediZci^Vaan WZ d[ V h^\c^[^XVci WZcZ[^i id i]dhZ V[[ZXiZY Wn i]Z XdcY^i^dc- IcXZ Vji]dg^oZY+
 dge]Vc bZY^X^cVa egdYjXih VgZ Zci^iaZY id iZc nZVgh d[ bVg`Zi ZmXajh^k^in ^c Vaa ?O bZbWZg hiViZh VcY V gVc\Z d[ di]Zg WZcZ[^ih Yjg^c\ i]Z
 YZkZadebZci VcY gZ\jaVidgn gZk^Zl egdXZhh+ ^cXajY^c\ hX^Zci^[^X Vhh^hiVcXZ [dg hijYn egdidXdah+ VXXZhh id i]Z XZcigVa^oZY bVg`Zi^c\ Vji]dg^oVi^dc
 egdXZYjgZ VcY V gZYjXi^dc dg Za^b^cVi^dc d[ gZ\^higVi^dc VcY bVg`Zi^c\ Vji]dg^oVi^dc [ZZh- BdlZkZg+ bVg`Zi^c\ Vji]dg^oVi^dc bVn WZ \gVciZY id V
 h^b^aVg bZY^X^cVa egdYjXi l^i] i]Z hVbZ dge]Vc ^cY^XVi^dc Yjg^c\ i]Z iZc,nZVg eZg^dY l^i] i]Z XdchZci d[ i]Z bVg`Zi^c\ Vji]dg^oVi^dc ]daYZg [dg i]Z
 dg^\^cVa dge]Vc bZY^X^cVa egdYjXi dg ^[ i]Z bVcj[VXijgZg d[ i]Z dg^\^cVa dge]Vc bZY^X^cVa egdYjXi ^h jcVWaZ id hjeean hj[[^X^Zci fjVci^i^Zh-
 GVg`Zi^c\ Vji]dg^oVi^dc bVn Vahd WZ \gVciZY id V h^b^aVg bZY^X^cVa egdYjXi l^i] i]Z hVbZ dge]Vc ^cY^XVi^dc ^[ i]Z h^b^aVg egdYjXi ^h YZZbZY hV[Zg+
 bdgZ Z[[ZXi^kZ dg di]Zgl^hZ Xa^c^XVaan hjeZg^dg id i]Z dg^\^cVa dge]Vc bZY^X^cVa egdYjXi- N]Z eZg^dY d[ bVg`Zi ZmXajh^k^in bVn+ ^c VYY^i^dc+ WZ
 gZYjXZY id h^m nZVgh ^[ ^i XVc WZ YZbdchigViZY dc i]Z WVh^h d[ VkV^aVWaZ Zk^YZcXZ i]Vi i]Z dg^\^cVa dge]Vc bZY^X^cVa egdYjXi ^h hj[[^X^Zcian egd[^iVWaZ
 cdi id _jhi^[n bV^ciZcVcXZ d[ bVg`Zi ZmXajh^k^in- >Z[^Wgdi^YZ gZXZ^kZY dge]Vc Ygj\ YZh^\cVi^dc id igZVi VcY egZkZci PI> [gdb i]Z ?G; eg^dg id
 \gVci d[ bVg`Zi^c\ Vji]dg^oVi^dc ^c i]Z ?O- Ci ]Vh Vahd gZXZ^kZY dge]Vc YZh^\cVi^dc [gdb i]Z EdgZVc G^c^hign d[ @ddY VcY >gj\ MV[Zin [dg i]^h
 ^cY^XVi^dc- N]Z =dbbdclZVai] d[ ;jhigVa^V,>ZeVgibZci d[ BZVai] ]Vh \gVciZY YZ[^Wgdi^YZ dge]Vc Ygj\ YZh^\cVi^dc [dg i]Z igZVibZci d[ PI>- Cc
 VYY^i^dc+ i]Z ?G; Vahd \gVciZY dge]Vc Ygj\ YZh^\cVi^dc id YZ[^Wgdi^YZ [dg i]Z egZkZci^dc d[ AkB>+ Vcdi]Zg ediZci^Vaan [ViVa Xdbea^XVi^dc d[ BM=N-
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 ;[iZg VeegdkVa+ XZgiV^c X]Vc\Zh id i]Z VeegdkZY egdYjXi+ hjX] Vh VYY^c\ cZl ^cY^XVi^dch+ bV`^c\ XZgiV^c bVcj[VXijg^c\ X]Vc\Zh+ bdY^[n^c\ V
 L?GM dg bV`^c\ XZgiV^c VYY^i^dcVa aVWZa^c\ XaV^bh+ VgZ hjW_ZXi id [jgi]Zg gZ\jaVidgn gZk^Zl VcY VeegdkVa- IWiV^c^c\ VeegdkVa [dg V cZl ^cY^XVi^dc
 \ZcZgVaan gZfj^gZh i]Vi VYY^i^dcVa Xa^c^XVa hijY^Zh WZ XdcYjXiZY-
 I[iZc+ ZkZc V[iZg V Ygj\ dg W^dad\^X ]Vh WZZc VeegdkZY Wn i]Z @>; [dg hVaZ+ i]Z @>; bVn ^bedhZ XZgiV^c edhi,VeegdkVa gZfj^gZbZcih+ ^cXajY^c\ i]Z
 XdcYjXi d[ VYY^i^dcVa Xa^c^XVa hijY^Zh VcY ig^Vah- C[ hjX] edhi,VeegdkVa XdcY^i^dch VgZ cdi hVi^h[^ZY+ i]Z @>; bVn ^bedhZ X^k^a bdcZiVgn eZcVai^Zh+
 YZXaVgZ i]Z egdYjXi b^hWgVcYZY dg egd]^W^i i]Z ^cigdYjXi^dc d[ i]Z Ygj\ ^c ^ciZghiViZ XdbbZgXZ- BdaYZgh d[ Vc VeegdkZY H>; dg <F; VgZ gZfj^gZY
 id9 gZedgi XZgiV^c VYkZghZ gZVXi^dch id i]Z @>;: Xdbean l^i] XZgiV^c gZfj^gZbZcih XdcXZgc^c\ VYkZgi^h^c\ VcY egdbdi^dcVa aVWZa^c\ [dg i]Z^g
 egdYjXih: hjWb^i Ygj\ hV[Zin dg VYkZghZ ZkZci gZedgih: VcY Xdci^cjZ id ]VkZ fjVa^in Xdcigda VcY bVcj[VXijg^c\ egdXZYjgZh Xdc[dgb id XAGJ V[iZg
 VeegdkVa- @dg ZmVbeaZ+ i]Z @>;xh VeegdkVa d[ i]Z <F; [dg ?gl^cVoZ ^cXajYZh V cjbWZg d[ edhi,bVg`Zi^c\ Xdbb^ibZcih gZaViZY id i]Z bVcj[VXijgZ d[
 ?gl^cVoZ Wn jh VcY J<F-
 ; Ygj\ egdYjXi VeegdkZY Wn i]Z @>; bVn Vahd WZ hjW_ZXi id hX]ZYja^c\ Vh V XdcigdaaZY hjWhiVcXZ jcYZg i]Z =M;+ YZeZcY^c\ dc i]Z Ygj\xh
 ediZci^Va [dg VWjhZ- =dcigdaaZY hjWhiVcXZh i]Vi VgZ e]VgbVXZji^XVa egdYjXih VgZ hjW_ZXi id V ]^\]

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 YZ\gZZ d[ gZ\jaVi^dc jcYZg i]Z =M;+ l]^X] ZhiVWa^h]Zh+ Vbdc\ di]Zg i]^c\h+ XZgiV^c gZ\^higVi^dc+ bVcj[VXijg^c\ fjdiVh+ hZXjg^in+ gZXdgY`ZZe^c\+
 gZedgi^c\+ ^bedgi+ Zmedgi VcY di]Zg gZfj^gZbZcih VYb^c^hiZgZY Wn i]Z >?;- N]Z >?; XaVhh^[^Zh XdcigdaaZY hjWhiVcXZh ^cid [^kZ hX]ZYjaZh9 MX]ZYjaZ
 C+ CC+ CCC+ CP dg P- MX]ZYjaZ C hjWhiVcXZh Wn YZ[^c^i^dc ]VkZ V ]^\] ediZci^Va [dg VWjhZ+ ]VkZ cd XjggZcian vVXXZeiZY bZY^XVa jhZw ^c i]Z O-M-+ aVX`
 VXXZeiZY hV[Zin [dg jhZ jcYZg bZY^XVa hjeZgk^h^dc+ VcY bVn cdi WZ egZhXg^WZY+ bVg`ZiZY dg hdaY ^c i]Z O-M- J]VgbVXZji^XVa egdYjXih VeegdkZY [dg
 jhZ ^c i]Z O-M- bVn WZ a^hiZY Vh MX]ZYjaZ CC+ CCC+ CP dg P+ l^i] MX]ZYjaZ CC hjWhiVcXZh Xdch^YZgZY id egZhZci i]Z ]^\]Zhi ediZci^Va [dg VWjhZ dg
 YZeZcYZcXZ VcY MX]ZYjaZ P hjWhiVcXZh i]Z adlZhi gZaVi^kZ g^h` d[ VWjhZ Vbdc\ hjX] hjWhiVcXZh- QZ ZmeZXi i]Vi DTJ,00/ l^aa WZ hjW_ZXi id
 hX]ZYja^c\ jcYZg i]Z =M; WZ[dgZ ^i XVc WZ XdbbZgX^Vaan aVjcX]ZY- ;i dg WZ[dgZ i]Z i^bZ DTJ,00/ gZXZ^kZh @>; VeegdkVa+ i]Z @>;+ i]Z O-M-
 >ZeVgibZci d[ BZVai] VcY BjbVc MZgk^XZh+ dg BBM+ VcY i]Z >?; l^aa jcYZgiV`Z i]Z VYb^c^higVi^kZ egdXZhh hZi dji ^c i]Z =M; id hX]ZYjaZ i]Z Ygj\
 ^c dgYZg [dg i]Z Ygj\ egdYjXi id WZ egZhXg^WZY id eVi^Zcih ^c i]Z O-M- N]Z =M; gZfj^gZh i]Z >?; id ^hhjZ Vc ^ciZg^b [^cVa dgYZg hX]ZYja^c\ i]Z Ygj\
 l^i]^c 8/ YVnh V[iZg i]Z @>; VeegdkZh i]Z Ygj\ VcY i]Z >?; gZXZ^kZh V hX^Zci^[^X VcY bZY^XVa ZkVajVi^dc VcY hX]ZYja^c\ gZXdbbZcYVi^dc [gdb i]Z
 BBM-
 M^b^aVgan+ djih^YZ d[ i]Z O-M-+ lZ VgZ hjW_ZXi id V kVg^Zin d[ edhi,Vji]dg^oVi^dc gZ\jaVi^dch+ ^cXajY^c\ l^i] gZheZXi id Xa^c^XVa hijY^Zh+ egdYjXi
 bVcj[VXijg^c\+ VYkZgi^h^c\ VcY egdbdi^dc+ Y^hig^Wji^dc+ VcY hV[Zin gZedgi^c\- @dg ZmVbeaZ+ i]Z bVg`Zi^c\ Vji]dg^oVi^dc ^c i]Z ?O [dg >Z[^iZa^d lVh
 \gVciZY jcYZg ZmXZei^dcVa X^gXjbhiVcXZh VcY gZfj^gZh jh id Xdbean l^i] V cjbWZg d[ edhi,bVg`Zi^c\ dWa^\Vi^dch+ ^cXajY^c\ dWa^\Vi^dch gZaVi^c\ id
 i]Z bVcj[VXijg^c\ d[ i]Z Ygj\ hjWhiVcXZ VcY [^c^h]ZY egdYjXi+ i]Z hjWb^hh^dc d[ YViV XdcXZgc^c\ eVi^Zcih igZViZY l^i] i]Z egdYjXi XdaaZXiZY
 i]gdj\] V i]^gY,eVgin eVi^Zci gZ\^hign VcY i]Z ZhiVWa^h]bZci d[ V bjai^,XZciZg+ bjai^cVi^dcVa VcY egdheZXi^kZ dWhZgkVi^dcVa eVi^Zci gZ\^hign-
 QZ bdc^idg VYkZghZ ZkZcih gZhjai^c\ [gdb i]Z jhZ d[ djg XdbbZgX^Va egdYjXih+ Vh Yd i]Z gZ\jaVidgn Vji]dg^i^Zh+ VcY lZ [^aZ eZg^dY^X gZedgih l^i] i]Z
 Vji]dg^i^Zh XdcXZgc^c\ VYkZghZ ZkZcih- N]Z @>; Vahd eZg^dY^XVaan ^cheZXih djg gZXdgYh gZaViZY id hV[Zin gZedgi^c\- @daadl^c\ hjX] ^cheZXi^dch+ i]Z
 @>; bVn ^hhjZ cdi^XZh dc @dgb @>; 372 VcY lVgc^c\ aZiiZgh i]Vi XdjaY XVjhZ jh id bdY^[n XZgiV^c VXi^k^i^Zh- ; @dgb @>; 372 cdi^XZ+ ^[ ^hhjZY Vi
 i]Z XdcXajh^dc d[ Vc @>; ^cheZXi^dc+ XVc a^hi XdcY^i^dch i]Z @>; ^ckZhi^\Vidgh WZa^ZkZ bVn ]VkZ k^daViZY gZaZkVci @>; gZ\jaVi^dch dg \j^YVcXZ-
 @V^ajgZ id VYZfjViZan VcY egdbeian XdggZXi i]Z dWhZgkVi^dc'h( XVc gZhjai ^c [jgi]Zg gZ\jaVidgn Zc[dgXZbZci VXi^dc-
 N]Z Vji]dg^i^Zh gZk^Zl i]ZhZ ZkZcih VcY gZedgih+ VcY ^[ i]Zn YZiZgb^cZ i]Vi Vcn ZkZcih VcY.dg gZedgih ^cY^XViZ V igZcY dg h^\cVa+ i]Zn XVc gZfj^gZ V
 X]Vc\Z ^c V egdYjXi aVWZa+ gZhig^Xi hVaZh VcY bVg`Zi^c\ VcY.dg gZfj^gZ dg XdcYjXi di]Zg VXi^dch+ ediZci^Vaan ^cXajY^c\ l^i]YgVlVa dg hjheZch^dc d[
 i]Z egdYjXi [gdb i]Z bVg`Zi- @gdb i^bZ id i^bZ+ i]Z @>; ^hhjZh Ygj\ hV[Zin Xdbbjc^XVi^dch dc ^ih VYkZghZ ZkZci gZedgi^c\ hnhiZb WVhZY dc ^ih
 gZk^Zl d[ gZedgiZY VYkZghZ ZkZcih- @dg ZmVbeaZ+ lZ X]Vc\ZY djg RngZb aVWZa ^c 1/01 ^c XdccZXi^dc l^i] Vc @>; Ygj\ hV[Zin Xdbbjc^XVi^dc
 gZb^cY^c\ e]nh^X^Vch VcY eVi^Zcih i]Vi i]Z jhZ d[ RngZb l^i] VaXd]da dg XZcigVa cZgkdjh hnhiZb YZegZhhVcih XVc ^beV^g XdchX^djhcZhh VcY aZVY id
 hZkZgZ WgZVi]^c\ egdWaZbh- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe distribution and sale of Xyrem are subject to
 significant regulatory oversight and restrictions and the requirements of a risk evaluation and mitigation strategy, and these restrictions and
 requirements, as well as the potential impact of changes to these restrictions and requirements, subject us to increased risks and uncertainties,
 any of which could negatively impact sales of Xyremw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 N]Z ]daYZg d[ Vc ?O bVg`Zi^c\ Vji]dg^oVi^dc [dg V bZY^X^cVa egdYjXi bjhi Vahd Xdbean l^i] i]Z ?Oxh e]VgbVXdk^\^aVcXZ aZ\^haVi^dc+ l]^X] ^cXajYZh
 gZfj^gZbZcih [dg XdcYjXi^c\ e]VgbVXdk^\^aVcXZ+ dg i]Z VhhZhhbZci VcY bdc^idg^c\ d[ i]Z hV[Zin d[ bZY^X^cVa egdYjXih- N]^h aZ\^haVi^dc egdk^YZh
 i]Z ?G; VcY i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh l^i] i]Z Vji]dg^in id gZfj^gZ XdbeVc^Zh id XdcYjXi VYY^i^dcVa edhi,VeegdkVa
 Xa^c^XVa Z[[^XVXn VcY hV[Zin hijY^Zh- N]Z aZ\^haVi^dc Vahd \dkZgch i]Z dWa^\Vi^dch d[ bVg`Zi^c\ Vji]dg^oVi^dc ]daYZgh l^i] gZheZXi id VYY^i^dcVa
 bdc^idg^c\+ VYkZghZ ZkZci bVcV\ZbZci VcY gZedgi^c\- ;h eVgi d[ i]Z aZ\^haVi^dc VcY ^ih gZaViZY gZ\jaVi^dch VcY \j^YZa^cZh+ bVg`Zi^c\ Vji]dg^oVi^dc
 ]daYZgh bVn WZ gZfj^gZY id XdcYjXi V aVWdg ^ciZch^kZ XdaaZXi^dc d[ YViV gZ\VgY^c\ i]Z g^h`h VcY WZcZ[^ih d[ bVg`ZiZY egdYjXih VcY bVn WZ gZfj^gZY
 id Zc\V\Z ^c dc\d^c\ VhhZhhbZcih d[ i]dhZ g^h`h VcY WZcZ[^ih+ ^cXajY^c\ i]Z edhh^WaZ gZfj^gZbZci id XdcYjXi VYY^i^dcVa Xa^c^XVa hijY^Zh+ l]^X] bVn
 WZ i^bZ Xdchjb^c\ VcY ZmeZch^kZ VcY XdjaY ^beVXi egd[^iVW^a^in- N]Z ?G; gZk^Zlh eZg^dY^X hV[Zin jeYViZ gZedgih hjWb^iiZY Wn bVg`Zi^c\
 Vji]dg^oVi^dc ]daYZgh- C[ i]Z ?G; ]Vh XdcXZgch i]Vi i]Z g^h` WZcZ[^i egd[^aZ d[ V egdYjXi ]Vh kVg^ZY+ ^i XVc VYdei Vc de^c^dc VYk^h^c\ i]Vi i]Z
 Zm^hi^c\ bVg`Zi^c\ Vji]dg^oVi^dc [dg i]Z egdYjXi WZ kVg^ZY VcY gZfj^g^c\ i]Z bVg`Zi^c\ Vji]dg^oVi^dc ]daYZg id XdcYjXi edhi,Vji]dg^oVi^dc hV[Zin
 hijY^Zh- N]Z de^c^dc ^h i]Zc hjWb^iiZY [dg VeegdkVa Wn i]Z ?=- Hdc,Xdbea^VcXZ l^i] hjX] dWa^\Vi^dch XVc aZVY id i]Z kVg^Vi^dc+ hjheZch^dc dg
 l^i]YgVlVa d[ bVg`Zi^c\ Vji]dg^oVi^dc dg ^bedh^i^dc d[ [^cVcX^Va eZcVai^Zh dg di]Zg Zc[dgXZbZci bZVhjgZh-
 N]Z bVcj[VXijg^c\ egdXZhh [dg e]VgbVXZji^XVa egdYjXih ^h ]^\]an gZ\jaViZY+ VcY gZ\jaVidgh bVn h]ji Ydlc bVcj[VXijg^c\ [VX^a^i^Zh i]Vi i]Zn
 WZa^ZkZ Yd cdi Xdbean l^i] gZ\jaVi^dch- QZ VcY djg i]^gY eVgin hjeea^Zgh VgZ hjW_ZXi id XAGJ+ l]^X] VgZ ZmiZch^kZ gZ\jaVi^dch \dkZgc^c\
 bVcj[VXijg^c\ egdXZhhZh+ hiVW^a^in iZhi^c\+ gZXdgY `ZZe^c\ VcY fjVa^in hiVcYVgYh Vh YZ[^cZY Wn i]Z @>;+ i]Z ?G;+ i]Z XdbeZiZci Vji]dg^i^Zh d[ ?O
 bZbWZg hiViZh VcY di]Zg gZ\jaVidgn Vji]dg^i^Zh- N]Z @>; Vahd eZg^dY^XVaan ^cheZXih i]Z hedchdgxh gZXdgYh gZaViZY id bVcj[VXijg^c\ [VX^a^i^Zh+ l]^X]
 Z[[dgi ^cXajYZh VhhZhhbZci d[ Xdbea^VcXZ l^i] XAGJ- @daadl^c\ hjX] ^cheZXi^dch+ i]Z @>; bVn ^hhjZ cdi^XZh dc @dgb @>; 372 VcY lVgc^c\
 aZiiZgh- QZ VcY djg i]^gY eVgin hjeea^Zgh bjhi Xdci^cjZ id ZmeZcY i^bZ+ bdcZn VcY Z[[dgi ^c i]Z VgZV d[ egdYjXi^dc VcY fjVa^in Xdcigda id bV^ciV^c
 XAGJ

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                                                          22111
 NVWaZ d[ =dciZcih



 Xdbea^VcXZ- Cc VYY^i^dc id @dgb @>; 372 cdi^XZh VcY lVgc^c\ aZiiZgh+ [V^ajgZ id Xdbean l^i] i]Z hiVijidgn VcY gZ\jaVidgn gZfj^gZbZcih bVn gZhjai ^c
 hjheZch^dc d[ bVcj[VXijg^c\+ egdYjXi hZ^ojgZ+ l^i]YgVlVa d[ i]Z egdYjXi [gdb i]Z bVg`Zi+ VYb^c^higVi^kZ+ X^k^a VcY Xg^b^cVa eZcVai^Zh+ Vbdc\ di]Zg
 Zc[dgXZbZci gZbZY^Zh Wdi] ^c i]Z O-M- VcY ^c cdc,O-M- Xdjcig^Zh-
 Cc VYY^i^dc+ kVg^djh gZfj^gZbZcih Veean id i]Z bVcj[VXijg^c\ VcY eaVX^c\ dc i]Z ?O bVg`Zi d[ bZY^X^cVa egdYjXih- N]Z bVcj[VXijg^c\ d[ bZY^X^cVa
 egdYjXih ^c i]Z ?O gZfj^gZh V bVcj[VXijg^c\ Vji]dg^oVi^dc+ VcY i]Z bVcj[VXijg^c\ Vji]dg^oVi^dc ]daYZg bjhi Xdbean l^i] kVg^djh gZfj^gZbZcih hZi
 dji ^c i]Z Veea^XVWaZ ?O aVlh+ gZ\jaVi^dch VcY \j^YVcXZ- N]ZhZ gZfj^gZbZcih ^cXajYZ Xdbea^VcXZ l^i] ?O XAGJ hiVcYVgYh l]Zc bVcj[VXijg^c\
 bZY^X^cVa egdYjXih VcY ;JCh+ ^cXajY^c\ i]Z bVcj[VXijgZ d[ ;JCh djih^YZ d[ i]Z ?O l^i] i]Z ^ciZci^dc id ^bedgi i]Z ;JCh ^cid i]Z ?O- M^b^aVgan+ i]Z
 Y^hig^Wji^dc d[ bZY^X^cVa egdYjXih ^cid VcY l^i]^c i]Z ?O ^h hjW_ZXi id Xdbea^VcXZ l^i] i]Z Veea^XVWaZ ?O aVlh+ gZ\jaVi^dch VcY \j^YZa^cZh+
 ^cXajY^c\ i]Z gZfj^gZbZci id ]daY Veegdeg^ViZ Vji]dg^oVi^dch [dg Y^hig^Wji^dc \gVciZY Wn i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh-
 GVg`Zi^c\ Vji]dg^oVi^dc ]daYZgh bVn WZ hjW_ZXi id X^k^a+ Xg^b^cVa dg VYb^c^higVi^kZ hVcXi^dch+ ^cXajY^c\ hjheZch^dc d[ bVcj[VXijg^c\ Vji]dg^oVi^dc+
 ^c XVhZ d[ cdc,Xdbea^VcXZ l^i] i]Z ?O dg ?O bZbWZg hiViZhx gZfj^gZbZcih Veea^XVWaZ id i]Z bVcj[VXijg^c\ d[ bZY^X^cVa egdYjXih-
 U.S. Healthcare Reform
 N]Z JVi^Zci JgdiZXi^dc VcY ;[[dgYVWaZ =VgZ ;Xi+ Vh VbZcYZY Wn i]Z BZVai] =VgZ VcY ?YjXVi^dc LZXdcX^a^Vi^dc ;Xi d[ 1/0/+ l]^X] lZ gZ[Zg id
 id\Zi]Zg Vh i]Z BZVai]XVgZ LZ[dgb ;Xi+ ^h V hlZZe^c\ bZVhjgZ ^ciZcYZY id ZmeVcY ]ZVai]XVgZ XdkZgV\Z l^i]^c i]Z O-M-+ eg^bVg^an i]gdj\] i]Z
 ^bedh^i^dc d[ ]ZVai] ^chjgVcXZ bVcYViZh dc ZbeadnZgh VcY ^cY^k^YjVah VcY ZmeVch^dc d[ i]Z GZY^XV^Y egd\gVb- N]^h aVl hjWhiVci^Vaan X]Vc\Zh i]Z
 lVn ]ZVai]XVgZ ^h [^cVcXZY Wn Wdi] \dkZgcbZciVa VcY eg^kViZ ^chjgZgh VcY h^\c^[^XVcian ^beVXih i]Z e]VgbVXZji^XVa ^cYjhign- =]Vc\Zh i]Vi bVn
 V[[ZXi djg Wjh^cZhh ^cXajYZ i]dhZ \dkZgc^c\ ZcgdaabZci ^c [ZYZgVa ]ZVai]XVgZ egd\gVbh+ gZ^bWjghZbZci X]Vc\Zh+ WZcZ[^ih [dg eVi^Zcih l^i]^c V
 XdkZgV\Z \Ve ^c i]Z GZY^XVgZ JVgi > egZhXg^ei^dc Ygj\ egd\gVb 'Xdbbdcan `cdlc Vh i]Z vYdcji ]daZw(+ gjaZh gZ\VgY^c\ egZhXg^ei^dc Ygj\ WZcZ[^ih
 jcYZg i]Z ]ZVai] ^chjgVcXZ ZmX]Vc\Zh+ X]Vc\Zh id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ ZmeVch^dc d[ i]Z JjWa^X BZVai] MZgk^XZxh 23/< Ygj\ eg^X^c\
 Y^hXdjci egd\gVb+ dg 23/< egd\gVb+ [gVjY VcY VWjhZ VcY Zc[dgXZbZci- N]ZhZ X]Vc\Zh ^beVXi Zm^hi^c\ \dkZgcbZci ]ZVai]XVgZ egd\gVbh VcY VgZ
 gZhjai^c\ ^c i]Z YZkZadebZci d[ cZl egd\gVbh+ ^cXajY^c\ GZY^XVgZ eVnbZci [dg eZg[dgbVcXZ ^c^i^Vi^kZh VcY ^begdkZbZcih id i]Z e]nh^X^Vc fjVa^in
 gZedgi^c\ hnhiZb VcY [ZZYWVX` egd\gVb- >ZiV^ah d[ i]Z X]Vc\Zh id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb VcY i]Z 23/< egd\gVb VgZ Y^hXjhhZY jcYZg
 vJ]VgbVXZji^XVa Jg^X^c\ VcY LZ^bWjghZbZciw ^c i]^h JVgi C+ CiZb 0 VcY i]Z g^h` [VXidg “If we fail to comply with our reporting and payment
 obligations under the Medicaid Drug Rebate program or other governmental pricing programs, we could be subject to additional
 reimbursement requirements, penalties, sanctions and fines, which could have a material adverse effect on our business, financial condition,
 results of operations and growth prospects” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 MdbZ hiViZh ]VkZ ZaZXiZY cdi id ZmeVcY i]Z^g GZY^XV^Y egd\gVbh Wn gV^h^c\ i]Z ^cXdbZ a^b^i id 022$ d[ i]Z [ZYZgVa edkZgin aZkZa+ Vh ^h eZgb^iiZY
 jcYZg i]Z BZVai]XVgZ LZ[dgb ;Xi- @dg ZVX] hiViZ i]Vi YdZh cdi X]ddhZ id ZmeVcY ^ih GZY^XV^Y egd\gVb+ i]ZgZ bVn WZ [ZlZg ^chjgZY eVi^Zcih dkZgVaa+
 l]^X] XdjaY ^beVXi djg hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc- Q]ZgZ GZY^XV^Y eVi^Zcih gZXZ^kZ ^chjgVcXZ XdkZgV\Z jcYZg Vcn d[ i]Z cZl dei^dch
 bVYZ VkV^aVWaZ i]gdj\] i]Z BZVai]XVgZ LZ[dgb ;Xi+ i]Z edhh^W^a^in Zm^hih i]Vi bVcj[VXijgZgh bVn WZ gZfj^gZY id eVn GZY^XV^Y gZWViZh dc Ygj\h
 jhZY jcYZg i]ZhZ X^gXjbhiVcXZh+ V YZX^h^dc i]Vi XdjaY ^beVXi bVcj[VXijgZg gZkZcjZh- Cc VYY^i^dc+ i]Z [ZYZgVa \dkZgcbZci ]Vh VccdjcXZY YZaVnh ^c
 i]Z ^beaZbZciVi^dc d[ `Zn egdk^h^dch d[ i]Z BZVai]XVgZ LZ[dgb ;Xi+ ^cXajY^c\ i]Z ZbeadnZg bVcYViZ- N]Z ^bea^XVi^dch d[ i]ZhZ YZaVnh [dg djg hVaZh+
 Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc+ ^[ Vcn+ VgZ cdi nZi XaZVg-
 FZ\^haVi^kZ X]Vc\Zh id i]Z BZVai]XVgZ LZ[dgb ;Xi gZbV^c edhh^WaZ VcY VeeZVg a^`Zan ^c i]Z 004i] O-M- =dc\gZhh VcY jcYZg i]Z Ngjbe
 ;Yb^c^higVi^dc- N]Z cVijgZ VcY ZmiZci d[ Vcn aZ\^haVi^kZ X]Vc\Zh id i]Z BZVai]XVgZ LZ[dgb ;Xi VgZ jcXZgiV^c Vi i]^h i^bZ- QZ ZmeZXi i]Vi i]Z
 BZVai]XVgZ LZ[dgb ;Xi+ Vh XjggZcian ZcVXiZY dg Vh ^i bVn WZ VbZcYZY+ VcY di]Zg ]ZVai]XVgZ gZ[dgb bZVhjgZh i]Vi bVn WZ VYdeiZY ^c i]Z [jijgZ+
 XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg ^cYjhign \ZcZgVaan VcY dc djg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ djg Zm^hi^c\ egdYjXih dg id
 hjXXZhh[jaan XdbbZgX^Va^oZ djg egdYjXi XVcY^YViZh+ ^[ VeegdkZY-
 Other Regulatory Requirements
 QZ VgZ Vahd hjW_ZXi id gZ\jaVi^dc Wn di]Zg gZ\^dcVa+ cVi^dcVa+ hiViZ VcY adXVa V\ZcX^Zh+ ^cXajY^c\ i]Z >?;+ i]Z O-M- >ZeVgibZci d[ Djhi^XZ+ dg >ID+
 i]Z @ZYZgVa NgVYZ =dbb^hh^dc+ dg @N=+ i]Z O-M- >ZeVgibZci d[ =dbbZgXZ+ dg >I=+ i]Z I[[^XZ d[ CcheZXidg AZcZgVa+ dg ICA+ d[ i]Z BBM VcY di]Zg
 gZ\jaVidgn WdY^Zh- Cc VYY^i^dc id i]Z @>=;+ di]Zg hiVijiZh VcY gZ\jaVi^dch \dkZgc id kVgn^c\ YZ\gZZh i]Z gZhZVgX]+ YZkZadebZci+ bVcj[VXijg^c\
 VcY XdbbZgX^Va VXi^k^i^Zh gZaVi^c\ id egZhXg^ei^dc e]VgbVXZji^XVa egdYjXih+ ^cXajY^c\ egZXa^c^XVa iZhi^c\+ VeegdkVa+ egdYjXi^dc+ aVWZa^c\+ hVaZ+
 Y^hig^Wji^dc+ ^bedgi+ Zmedgi+ edhi,bVg`Zi hjgkZ^aaVcXZ+ VYkZgi^h^c\+ Y^hhZb^cVi^dc d[ ^c[dgbVi^dc+ egdbdi^dc+ bVg`Zi^c\+ VcY eg^X^c\ id \dkZgcbZci
 ejgX]VhZgh VcY \dkZgcbZci ]ZVai]XVgZ egd\gVbh- Ijg eVgicZgh+ ^cXajY^c\ djg hjeea^Zgh VcY Y^hig^Wjidgh VcY i]Z XZcigVa e]VgbVXn [dg RngZb+ VgZ
 hjW_ZXi id bVcn d[ i]Z hVbZ gZfj^gZbZcih-

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 NVWaZ d[ =dciZcih



 Controlled Substance Regulations
 N]Z >?; ^bedhZh kVg^djh fjdiV+ gZ\^higVi^dc+ gZXdgY `ZZe^c\ VcY gZedgi^c\ gZfj^gZbZcih+ aVWZa^c\ VcY eVX`V\^c\ gZfj^gZbZcih+ ^bedgi^c\+
 Zmedgi^c\+ hZXjg^in Xdcigdah VcY V gZhig^Xi^dc dc egZhXg^ei^dc gZ[^aah dc XZgiV^c e]VgbVXZji^XVa egdYjXih i]Vi bZZi i]Z YZ[^c^i^dc d[ V XdcigdaaZY
 hjWhiVcXZ d[ a^hiZY X]Zb^XVa jcYZg i]Z =M;- N]Z hiViZh Vahd ^bedhZ h^b^aVg gZfj^gZbZcih [dg ]VcYa^c\ XdcigdaaZY hjWhiVcXZh- MdY^jb dmnWViZ+ ^c
 i]Z [dgb d[ Vc ;JC+ ^h gZ\jaViZY Wn i]Z >?; Vh V MX]ZYjaZ C XdcigdaaZY hjWhiVcXZ+ V XViZ\dgn gZhZgkZY [dg egdYjXih WZa^ZkZY id egZhZci i]Z ]^\]Zhi
 g^h` d[ hjWhiVcXZ VWjhZ VcY l^i] cd VeegdkZY bZY^X^cVa jhZ- Q]Zc XdciV^cZY ^c RngZb+ hdY^jb dmnWViZ ^h gZ\jaViZY Vh V MX]ZYjaZ CCC XdcigdaaZY
 hjWhiVcXZ-
 N]Z >?; a^b^ih i]Z fjVci^in d[ XZgiV^c MX]ZYjaZ C XdcigdaaZY hjWhiVcXZh i]Vi bVn WZ bVcj[VXijgZY VcY egdXjgZY ^c i]Z O-M- ^c Vcn \^kZc XVaZcYVg
 nZVg i]gdj\] V fjdiV hnhiZb VcY+ Vh V gZhjai+ fjdiVh [gdb i]Z >?; VgZ gZfj^gZY ^c dgYZg id bVcj[VXijgZ VcY eVX`V\Z hdY^jb dmnWViZ VcY RngZb ^c
 i]Z O-M- ;XXdgY^c\an+ lZ gZfj^gZ >?; fjdiVh [dg M^Z\[g^ZY+ djg O-M-,WVhZY hdY^jb dmnWViZ hjeea^Zg+ id egdXjgZ hdY^jb dmnWViZ VcY [dg JVi]Zdc+
 djg O-M-,WVhZY RngZb hjeea^Zg+ id dWiV^c i]Z hdY^jb dmnWViZ [gdb M^Z\[g^ZY ^c dgYZg id bVcj[VXijgZ VcY hjeean jh l^i] RngZb- <ZXVjhZ i]Z >?;
 ine^XVaan \gVcih fjdiVh dc Vc VccjVa WVh^h+ djg O-M-,WVhZY hdY^jb dmnWViZ VcY RngZb hjeea^Zgh VgZ gZfj^gZY id gZfjZhi VcY _jhi^[n VaadXVi^dc d[
 hj[[^X^Zci VccjVa >?; fjdiVh Vh lZaa Vh VYY^i^dcVa >?; fjdiVh ^[ djg XdbbZgX^Va dg Xa^c^XVa gZfj^gZbZcih ZmXZZY i]Z VaadXViZY fjdiVh i]gdj\]dji
 i]Z nZVg- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe loss of our single source suppliers, delays or problems in the supply of
 our products for commercial sale or our product candidates for use in our clinical trials, or our or our suppliers’ failure to comply with
 manufacturing regulations, could materially and adversely affect our business, financial condition, results of operations and growth prospectsw
 ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 ;h V MX]ZYjaZ CCC Ygj\+ RngZb ^h Vahd hjW_ZXi id >?; VcY hiViZ gZ\jaVi^dch gZaVi^c\ id bVcj[VXijg^c\+ hidgV\Z+ Y^hig^Wji^dc VcY e]nh^X^Vc
 egZhXg^ei^dc egdXZYjgZh+ ^cXajY^c\ a^b^iVi^dch dc egZhXg^ei^dc gZ[^aah- Cc VYY^i^dc+ i]Z i]^gY eVgi^Zh l]d eZg[dgb djg Xa^c^XVa VcY XdbbZgX^Va
 bVcj[VXijg^c\+ Y^hig^Wji^dc+ Y^heZch^c\ VcY Xa^c^XVa hijY^Zh [dg RngZb VgZ gZfj^gZY id bV^ciV^c cZXZhhVgn >?; gZ\^higVi^dch VcY hiViZ a^XZchZh- N]Z
 >?; eZg^dY^XVaan ^cheZXih [VX^a^i^Zh [dg Xdbea^VcXZ l^i] ^ih gjaZh VcY gZ\jaVi^dch- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ “We
 are subject to significant ongoing regulatory obligations and oversight, which may result in significant additional expense and limit our ability
 to commercialize our products” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Sales and Marketing Regulations
 QZ VgZ Vahd hjW_ZXi id kVg^djh O-M- [ZYZgVa VcY hiViZ aVlh gZhig^Xi^c\ XZgiV^c bVg`Zi^c\ egVXi^XZh ^c i]Z e]VgbVXZji^XVa ^cYjhign+ ^cXajY^c\ Vci^,
 `^X`WVX` aVlh VcY [VahZ XaV^bh aVlh- N]Z [ZYZgVa ]ZVai]XVgZ egd\gVb Vci^,`^X`WVX` hiVijiZ egd]^W^ih+ Vbdc\ di]Zg i]^c\h+ `cdl^c\an VcY l^aa[jaan
 d[[Zg^c\+ eVn^c\+ hda^X^i^c\ dg gZXZ^k^c\ gZbjcZgVi^dc id ^cYjXZ dg ^c gZijgc [dg ejgX]Vh^c\+ aZVh^c\+ dgYZg^c\ dg VggVc\^c\ [dg dg gZXdbbZcY^c\ i]Z
 ejgX]VhZ+ aZVhZ dg dgYZg d[ Vcn ]ZVai]XVgZ ^iZb dg hZgk^XZ gZ^bWjghVWaZ jcYZg GZY^XVgZ+ GZY^XV^Y dg di]Zg [ZYZgVaan [^cVcXZY ]ZVai]XVgZ egd\gVbh-
 F^VW^a^in jcYZg i]Z [ZYZgVa Vci^,`^X`WVX` hiVijiZ bVn WZ ZhiVWa^h]ZY l^i]dji V eZghdc dg Zci^in ]Vk^c\ VXijVa `cdlaZY\Z d[ i]Z hiVijiZ dg heZX^[^X
 ^ciZci id k^daViZ ^i- P^daVi^dch d[ i]Z [ZYZgVa Vci^,`^X`WVX` hiVijiZ bVn WZ ejc^h]ZY Wn X^k^a VcY Xg^b^cVa [^cZh+ ^beg^hdcbZci+ VcY.dg ZmXajh^dc [gdb
 eVgi^X^eVi^dc ^c [ZYZgVa ]ZVai]XVgZ egd\gVbh- N]Z [ZYZgVa X^k^a @VahZ =aV^bh ;Xi+ dg i]Z @VahZ =aV^bh ;Xi+ egd]^W^ih+ Vbdc\ di]Zg i]^c\h+ Vcn eZghdc
 [gdb `cdl^c\an egZhZci^c\+ dg XVjh^c\ id WZ egZhZciZY+ V [VahZ dg [gVjYjaZci XaV^b [dg eVnbZci d[ [ZYZgVa [jcYh+ dg `cdl^c\an bV`^c\+ dg XVjh^c\ id
 WZ bVYZ+ V [VahZ hiViZbZci id \Zi V [VahZ XaV^b eV^Y- P^daVi^dch d[ i]Z @VahZ =aV^bh ;Xi bVn gZhjai ^c h^\c^[^XVci [^cVcX^Va eZcVai^Zh VcY YVbV\Zh- Cc
 VYY^i^dc+ i]Z J]nh^X^Vc JVnbZci Mjch]^cZ ;Xi egdk^h^dch d[ i]Z BZVai]XVgZ LZ[dgb ;Xi gZfj^gZ ZmiZch^kZ igVX`^c\ d[ eVnbZcih VcY igVch[Zgh d[
 kVajZ id e]nh^X^Vch VcY iZVX]^c\ ]dhe^iVah VcY ejWa^X gZedgi^c\ d[ i]Z YViV XdaaZXiZY+ VcY \dkZgcbZci V\ZcX^Zh VcY eg^kViZ Zci^i^Zh bVn ^cfj^gZ
 VWdji djg bVg`Zi^c\ egVXi^XZh dg ejghjZ di]Zg Zc[dgXZbZci VXi^k^i^Zh WVhZY dc i]Z Y^hXadhjgZh ^c i]dhZ ejWa^X gZedgih-
 N]Z bV_dg^in d[ hiViZh Vahd ]VkZ hiVijiZh dg gZ\jaVi^dch h^b^aVg id i]Z [ZYZgVa Vci^,`^X`WVX` aVl VcY i]Z @VahZ =aV^bh ;Xi+ l]^X] Veean id ^iZbh VcY
 hZgk^XZh gZ^bWjghZY jcYZg GZY^XV^Y VcY di]Zg hiViZ egd\gVbh+ dg+ ^c hZkZgVa hiViZh+ Veean gZ\VgYaZhh d[ i]Z eVndg- ; cjbWZg d[ hiViZh cdl gZfj^gZ
 e]VgbVXZji^XVa XdbeVc^Zh id gZedgi ZmeZchZh gZaVi^c\ id i]Z bVg`Zi^c\ VcY egdbdi^dc d[ e]VgbVXZji^XVa egdYjXih VcY id gZedgi \^[ih VcY eVnbZcih
 id ^cY^k^YjVa e]nh^X^Vch ^c i]Z hiViZh- Ii]Zg hiViZh gZhig^Xi l]Zc e]VgbVXZji^XVa XdbeVc^Zh bVn egdk^YZ bZVah id egZhXg^WZgh dg Zc\V\Z ^c di]Zg
 bVg`Zi^c\ gZaViZY VXi^k^i^Zh- MdbZ hiViZh gZfj^gZ i]Z edhi^c\ d[ ^c[dgbVi^dc gZaVi^c\ id Xa^c^XVa hijY^Zh VcY i]Z^g djiXdbZh- Cc VYY^i^dc+ =Va^[dgc^V+
 =dccZXi^Xji+ GVhhVX]jhZiih VcY HZkVYV gZfj^gZ e]VgbVXZji^XVa XdbeVc^Zh id ^beaZbZci Xdbea^VcXZ egd\gVbh dg bVg`Zi^c\ XdYZh d[ XdcYjXi-
 Ijih^YZ i]Z O-M-+ lZ VgZ Vahd hjW_ZXi id h^b^aVg gZ\jaVi^dch ^c i]dhZ Xdjcig^Zh l]ZgZ lZ bVg`Zi VcY hZaa egdYjXih-
 N]Z cjbWZg VcY XdbeaZm^in d[ Wdi] O-M- [ZYZgVa VcY hiViZ aVlh Xdci^cjZ id ^cXgZVhZ+ VcY VYY^i^dcVa \dkZgcbZciVa gZhdjgXZh VgZ WZ^c\ VYYZY id
 Zc[dgXZ i]ZhZ aVlh VcY id egdhZXjiZ XdbeVc^Zh VcY ^cY^k^YjVah l]d VgZ WZa^ZkZY id WZ k^daVi^c\ i]Zb- Cc GVn VcY IXidWZg 1/05 VcY @ZWgjVgn 1/06+
 lZ gZXZ^kZY hjWedZcVh [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih gZfjZhi^c\ YdXjbZcih gZaViZY id djg hjeedgi d[ 4/0'X('2(
 dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id

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 GZY^XVgZ eVi^Zcih VcY YdXjbZcih XdcXZgc^c\ i]Z egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih iV`^c\ Ygj\h hdaY Wn jh- N]Z ICA ]Vh
 ZhiVWa^h]ZY \j^YZa^cZh i]Vi eZgb^i e]VgbVXZji^XVa bVcj[VXijgZgh id bV`Z YdcVi^dch id X]Vg^iVWaZ dg\Vc^oVi^dch l]d egdk^YZ Xd,eVn Vhh^hiVcXZ id
 GZY^XVgZ eVi^Zcih+ egdk^YZY i]Vi hjX] dg\Vc^oVi^dch+ Vbdc\ di]Zg i]^c\h+ VgZ bona fide X]Vg^i^Zh+ VgZ Zci^gZan ^cYZeZcYZci d[ VcY cdi XdcigdaaZY Wn
 i]Z bVcj[VXijgZg+ egdk^YZ V^Y id Veea^XVcih dc V [^ghi,XdbZ WVh^h VXXdgY^c\ id Xdch^hiZci [^cVcX^Va Xg^iZg^V+ VcY Yd cdi a^c` V^Y id jhZ d[ V Ydcdgxh
 egdYjXi- C[ lZ dg djg kZcYdgh dg YdcVi^dc gZX^e^Zcih VgZ YZZbZY id [V^a id Xdbean l^i] gZaZkVci aVlh+ gZ\jaVi^dch dg Zkdak^c\ \dkZgcbZci \j^YVcXZ
 ^c i]Z deZgVi^dc d[ i]ZhZ egd\gVbh+ lZ XdjaY WZ hjW_ZXi id YVbV\Zh+ [^cZh+ eZcVai^Zh dg di]Zg Xg^b^cVa+ X^k^a dg VYb^c^higVi^kZ hVcXi^dch dg
 Zc[dgXZbZci VXi^dch- @dg bdgZ ^c[dgbVi^dc gZ\VgY^c\ Veea^XVWaZ aVlh VcY gZ\jaVi^dch+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vWe are subject to
 significant ongoing regulatory obligations and oversight, which may result in significant additional expense and limit our ability to
 commercialize our products,Other Regulatory Authoritiesw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 N]Z @>;+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg \dkZgcbZciVa Vji]dg^i^Zh gZfj^gZ VYkZgi^h^c\ VcY egdbdi^dcVa aVWZa^c\ id WZ
 igji][ja VcY cdi b^haZVY^c\+ VcY egdYjXih id WZ bVg`ZiZY dcan [dg i]Z^g VeegdkZY ^cY^XVi^dch VcY ^c VXXdgYVcXZ l^i] i]Z egdk^h^dch d[ i]Z VeegdkZY
 aVWZa- N]Z @>; gdji^cZan egdk^YZh ^ih ^ciZgegZiVi^dch d[ i]Vi Vji]dg^in ^c ^c[dgbVa Xdbbjc^XVi^dch VcY Vahd ^c bdgZ [dgbVa Xdbbjc^XVi^dch hjX] Vh
 jci^iaZY aZiiZgh dg lVgc^c\ aZiiZgh+ VcY Vai]dj\] hjX] Xdbbjc^XVi^dch bVn cdi WZ Xdch^YZgZY [^cVa V\ZcXn YZX^h^dch+ XdbeVc^Zh bVn YZX^YZ cdi id
 XdciZhi i]Z V\ZcXnxh ^ciZgegZiVi^dch hd Vh id Vkd^Y Y^hejiZh l^i] i]Z @>;+ ZkZc ^[ i]Zn WZa^ZkZ i]Z XaV^bh id WZ igji][ja+ cdi b^haZVY^c\ VcY
 di]Zgl^hZ aVl[ja- Cc gZXZci nZVgh+ XZgiV^c Xdjgih ]VkZ YZiZgb^cZY i]Vi i]Z @^ghi ;bZcYbZci d[ i]Z O-M- =dchi^iji^dc eZgb^ih Xdbbjc^XVi^dch
 gZ\VgY^c\ d[[,aVWZa jhZh d[ Ygj\ egdYjXih+ Vh adc\ Vh hjX] Xdbbjc^XVi^dch VgZ igji][ja VcY cdi b^haZVY^c\- ;i i]Z WZ\^cc^c\ d[ 1/06+ i]Z @>;
 gZaZVhZY egdedhZY gjaZ X]Vc\Zh VcY YgV[i \j^YVcXZ dc @>;xh ^ciZgegZiVi^dc dc i]Z a^b^iVi^dch d[ hjX] heZZX]- N]ZhZ XVhZh VcY gZ\jaVidgn VXi^dch
 XgZViZ VYY^i^dcVa jcXZgiV^cin gZ\VgY^c\ i]Z a^b^ih d[ eZgb^hh^WaZ Xdbbjc^XVi^dc gZ\VgY^c\ djg egdYjXih-
 N]Z @>;+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg \dkZgcbZciVa Vji]dg^i^Zh Vahd VXi^kZan ^ckZhi^\ViZ VaaZ\Vi^dch d[ d[[,aVWZa
 egdbdi^dc VXi^k^i^Zh ^c dgYZg id Zc[dgXZ gZ\jaVi^dch egd]^W^i^c\ i]ZhZ ineZh d[ VXi^k^i^Zh- ; XdbeVcn i]Vi ^h [djcY id ]VkZ egdbdiZY Vc VeegdkZY
 egdYjXi [dg d[[,aVWZa jhZh bVn WZ hjW_ZXi id h^\c^[^XVci a^VW^a^in+ ^cXajY^c\ X^k^a VcY VYb^c^higVi^kZ [^cVcX^Va eZcVai^Zh VcY di]Zg gZbZY^Zh Vh lZaa Vh
 Xg^b^cVa [^cVcX^Va eZcVai^Zh VcY di]Zg hVcXi^dch- ?kZc l]Zc V XdbeVcn ^h cdi YZiZgb^cZY id ]VkZ Zc\V\ZY ^c d[[,aVWZa egdbdi^dc+ i]Z VaaZ\Vi^dc
 [gdb \dkZgcbZci Vji]dg^i^Zh dg bVg`Zi eVgi^X^eVcih i]Vi V XdbeVcn ]Vh Zc\V\ZY ^c hjX] VXi^k^i^Zh XdjaY ]VkZ V h^\c^[^XVci ^beVXi dc i]Z XdbeVcnxh
 hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc- N]Z O-M- \dkZgcbZci ]Vh Vahd gZfj^gZY XdbeVc^Zh i]Vi ]VkZ Zc\V\ZY ^c hjX] VXi^k^i^Zh id ZciZg ^cid
 XdbeaZm XdgedgViZ ^ciZ\g^in V\gZZbZcih VcY YZ[ZggZY, dg cdc,egdhZXji^dc V\gZZbZcih i]Vi ^bedhZ h^\c^[^XVci gZedgi^c\ VcY di]Zg WjgYZch dc i]Z
 V[[ZXiZY XdbeVc^Zh- @dg Vaa d[ djg egdYjXih+ ^i ^h ^bedgiVci i]Vi lZ bV^ciV^c V XdbegZ]Zch^kZ Xdbea^VcXZ egd\gVb- @V^ajgZ id bV^ciV^c V
 XdbegZ]Zch^kZ VcY Z[[ZXi^kZ Xdbea^VcXZ egd\gVb+ VcY id ^ciZ\gViZ i]Z deZgVi^dch d[ VXfj^gZY Wjh^cZhhZh ^cid V XdbW^cZY XdbegZ]Zch^kZ VcY
 Z[[ZXi^kZ Xdbea^VcXZ egd\gVb dc V i^bZan WVh^h+ XdjaY hjW_ZXi jh id V gVc\Z d[ gZ\jaVidgn VXi^dch i]Vi XdjaY V[[ZXi djg VW^a^in id XdbbZgX^Va^oZ djg
 egdYjXih VcY XdjaY ]Vgb dg egZkZci hVaZh d[ i]Z V[[ZXiZY egdYjXih+ dg XdjaY hjWhiVci^Vaan ^cXgZVhZ i]Z Xdhih VcY ZmeZchZh d[ XdbbZgX^Va^o^c\ VcY
 bVg`Zi^c\ djg egdYjXih-
 Cc i]Z ?O+ i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ djg egdYjXih VgZ hjW_ZXi id ?O bZbWZg hiViZhx aVlh \dkZgc^c\ egdbdi^dc d[ bZY^X^cVa egdYjXih+
 ^ciZgVXi^dch l^i] e]nh^X^Vch+ b^haZVY^c\ VcY XdbeVgVi^kZ VYkZgi^h^c\ VcY jc[V^g XdbbZgX^Va egVXi^XZh- Cc VYY^i^dc+ di]Zg aZ\^haVi^dc VYdeiZY Wn
 ^cY^k^YjVa ?O bZbWZg hiViZh bVn Veean id i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ bZY^X^cVa egdYjXih- N]ZhZ aVlh gZfj^gZ i]Vi egdbdi^dcVa bViZg^Vah VcY
 VYkZgi^h^c\ ^c gZaVi^dc id bZY^X^cVa egdYjXih Xdbean l^i] i]Z egdYjXixh MjbbVgn d[ JgdYjXi =]VgVXiZg^hi^Xh+ dg MbJ=+ Vh VeegdkZY Wn i]Z
 XdbeZiZci Vji]dg^i^Zh- N]Z MbJ= ^h i]Z YdXjbZci i]Vi egdk^YZh ^c[dgbVi^dc id e]nh^X^Vch XdcXZgc^c\ i]Z hV[Z VcY Z[[ZXi^kZ jhZ d[ i]Z bZY^X^cVa
 egdYjXi- Ci [dgbh Vc ^cig^ch^X VcY ^ciZ\gVa eVgi d[ i]Z bVg`Zi^c\ Vji]dg^oVi^dc \gVciZY [dg i]Z bZY^X^cVa egdYjXi- Jgdbdi^dc d[ V bZY^X^cVa egdYjXi
 i]Vi YdZh cdi Xdbean l^i] i]Z MbJ= ^h Xdch^YZgZY id Xdchi^ijiZ d[[,aVWZa egdbdi^dc- N]Z d[[,aVWZa egdbdi^dc d[ bZY^X^cVa egdYjXih ^h egd]^W^iZY ^c
 i]Z ?O- N]Z Veea^XVWaZ aVlh Vi ?O aZkZa VcY ^c i]Z ^cY^k^YjVa ?O bZbWZg hiViZh Vahd egd]^W^i i]Z Y^gZXi,id,XdchjbZg VYkZgi^h^c\ d[ egZhXg^ei^dc,dcan
 bZY^X^cVa egdYjXih- P^daVi^dch d[ i]Z gjaZh \dkZgc^c\ i]Z egdbdi^dc d[ bZY^X^cVa egdYjXih ^c i]Z ?O XdjaY WZ eZcVa^oZY Wn VYb^c^higVi^kZ bZVhjgZh+
 [^cZh VcY ^beg^hdcbZci- N]ZhZ aVlh bVn [jgi]Zg a^b^i dg gZhig^Xi i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ djg egdYjXih id i]Z \ZcZgVa ejWa^X VcY bVn Vahd
 ^bedhZ a^b^iVi^dch dc djg egdbdi^dcVa VXi^k^i^Zh l^i] ]ZVai] XVgZ egd[Zhh^dcVah-
 Nd ]Zae eVi^Zcih V[[dgY djg egdYjXih+ lZ ]VkZ kVg^djh egd\gVbh id Vhh^hi i]Zb+ ^cXajY^c\ eVi^Zci Vhh^hiVcXZ egd\gVbh+ V RngZb [gZZ egdYjXi
 kdjX]Zg egd\gVb VcY Xd,eVn Xdjedc egd\gVbh [dg XZgiV^c egdYjXih- N]ZhZ egd\gVbh VcY gZaViZY g^h`h VgZ Y^hXjhhZY ^c \gZViZg YZiV^a ^c i]Z g^h`
 [VXidg jcYZg i]Z ]ZVY^c\ vChanges in healthcare law and implementing regulations, including those based on recently enacted legislation, as
 well as changes in healthcare policy, may impact our business in ways that we cannot currently predict and these changes could have a material
 adverse effect on our business and financial conditionw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-

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 Anti-Corruption Legislation
 Ijg Wjh^cZhh VXi^k^i^Zh djih^YZ d[ i]Z O-M- VgZ hjW_ZXi id i]Z O-M- @dgZ^\c =dggjei JgVXi^XZh ;Xi+ dg @=J;+ VcY h^b^aVg Vci^,Wg^WZgn dg Vci^,Xdggjei^dc
 aVlh+ gZ\jaVi^dch+ ^cYjhign hZa[,gZ\jaVi^dc XdYZh d[ XdcYjXi VcY e]nh^X^Vchx XdYZh d[ egd[Zhh^dcVa XdcYjXi dg gjaZh d[ di]Zg Xdjcig^Zh ^c l]^X] lZ
 deZgViZ+ ^cXajY^c\ i]Z O-E- <g^WZgn ;Xi d[ 1/0/+ dg i]Z OE <g^WZgn ;Xi- N]Z @=J; VcY h^b^aVg Vci^,Xdggjei^dc aVlh ^c [dgZ^\c Xdjcig^Zh \ZcZgVaan
 egd]^W^i i]Z d[[Zg^c\+ egdb^h^c\+ \^k^c\+ dg Vji]dg^o^c\ di]Zgh id \^kZ Vcni]^c\ d[ kVajZ+ Z^i]Zg Y^gZXian dg ^cY^gZXian+ id O-M- dg cdc,O-M- \dkZgcbZci
 d[[^X^Vah ^c dgYZg id ^begdeZgan ^c[ajZcXZ Vcn VXi dg YZX^h^dc+ hZXjgZ Vc ^begdeZg VYkVciV\Z+ dg dWiV^c dg gZiV^c Wjh^cZhh- ?mXZeiZY [gdb i]Z @=J;
 VgZ eVnbZcih id [VX^a^iViZ dg ZmeZY^iZ gdji^cZ \dkZgcbZci VXi^dc VcY WdcV [^YZ+ gZVhdcVWaZ gZ^bWjghZbZci d[ ZmeZchZh- N]Z @=J; Vahd gZfj^gZh
 ejWa^X XdbeVc^Zh id bV`Z VcY `ZZe Wdd`h VcY gZXdgYh i]Vi VXXjgViZan VcY [V^gan gZ[aZXi i]Z igVchVXi^dch d[ i]Z XdbeVcn VcY id YZk^hZ VcY bV^ciV^c
 Vc VYZfjViZ hnhiZb d[ ^ciZgcVa VXXdjci^c\ Xdcigdah- N]Z OE <g^WZgn ;Xi egd]^W^ih \^k^c\+ d[[Zg^c\+ dg egdb^h^c\ Wg^WZh id Vcn eZghdc+ ^cXajY^c\
 O-E- VcY cdc,O-E- \dkZgcbZci d[[^X^Vah VcY eg^kViZ eZghdch+ Vh lZaa Vh gZfjZhi^c\+ V\gZZ^c\ id gZXZ^kZ+ dg VXXZei^c\ Wg^WZh [gdb Vcn eZghdc- Cc
 VYY^i^dc+ jcYZg i]Z OE <g^WZgn ;Xi+ XdbeVc^Zh l]^X] XVggn dc V Wjh^cZhh dg eVgi d[ V Wjh^cZhh ^c i]Z O-E- bVn WZ ]ZaY a^VWaZ [dg Wg^WZh \^kZc+
 d[[ZgZY dg egdb^hZY id Vcn eZghdc+ ^cXajY^c\ O-E- VcY cdc,O-E- \dkZgcbZci d[[^X^Vah VcY eg^kViZ eZghdch ^c Vcn Xdjcign+ Wn ZbeadnZZh VcY
 eZghdch VhhdX^ViZY l^i] i]Z XdbeVcn ^c dgYZg id dWiV^c dg gZiV^c Wjh^cZhh dg V Wjh^cZhh VYkVciV\Z [dg i]Z XdbeVcn- F^VW^a^in ^h hig^Xi+ l^i] cd
 ZaZbZci d[ V Xdggjei hiViZ d[ b^cY+ Wji V YZ[ZchZ d[ ]Vk^c\ ^c eaVXZ VYZfjViZ egdXZYjgZh YZh^\cZY id egZkZci Wg^WZgn ^h VkV^aVWaZ- @jgi]ZgbdgZ+
 jcYZg i]Z OE <g^WZgn ;Xi i]ZgZ ^h cd ZmXZei^dc [dg [VX^a^iVi^dc eVnbZcih- ;h YZhXg^WZY VWdkZ+ djg Wjh^cZhh ^h ]ZVk^an gZ\jaViZY VcY i]ZgZ[dgZ
 ^ckdakZh h^\c^[^XVci ^ciZgVXi^dc l^i] ejWa^X d[[^X^Vah+ ^cXajY^c\ d[[^X^Vah d[ cdc,O-M- \dkZgcbZcih- ;YY^i^dcVaan+ ^c bVcn di]Zg Xdjcig^Zh+ i]Z ]ZVai]
 XVgZ egdk^YZgh l]d egZhXg^WZ e]VgbVXZji^XVah VgZ ZbeadnZY Wn i]Z^g \dkZgcbZci+ VcY i]Z ejgX]VhZgh d[ e]VgbVXZji^XVah VgZ \dkZgcbZci Zci^i^Zh:
 i]ZgZ[dgZ+ djg YZVa^c\h l^i] i]ZhZ egZhXg^WZgh VcY ejgX]VhZgh bVn WZ hjW_ZXi id i]Z @=J;- LZXZcian i]Z MZXjg^i^Zh VcY ?mX]Vc\Z =dbb^hh^dc+ dg
 M?=+ VcY i]Z >ID ]VkZ ^cXgZVhZY i]Z^g @=J; Zc[dgXZbZci VXi^k^i^Zh l^i] gZheZXi id e]VgbVXZji^XVa XdbeVc^Zh- Cc VYY^i^dc+ jcYZg i]Z >dYY,@gVc`
 QVaa MigZZi LZ[dgb VcY =dchjbZg JgdiZXi^dc ;Xi+ dg >dYY,@gVc` ;Xi+ eg^kViZ ^cY^k^YjVah l]d gZedgi id i]Z M?= dg^\^cVa ^c[dgbVi^dc i]Vi aZVYh id
 hjXXZhh[ja Zc[dgXZbZci VXi^dch bVn WZ Za^\^WaZ [dg V bdcZiVgn VlVgY- QZ VgZ Zc\V\ZY ^c dc\d^c\ Z[[dgih i]Vi VgZ YZh^\cZY id ZchjgZ djg
 Xdbea^VcXZ l^i] i]ZhZ aVlh+ ^cXajY^c\ YjZ Y^a^\ZcXZ+ igV^c^c\+ eda^X^Zh+ egdXZYjgZh+ VcY ^ciZgcVa Xdcigdah- BdlZkZg+ i]ZgZ ^h cd XZgiV^cin i]Vi Vaa
 ZbeadnZZh VcY i]^gY eVgin Wjh^cZhh eVgicZgh '^cXajY^c\ djg Y^hig^Wjidgh+ l]daZhVaZgh+ V\Zcih+ XdcigVXidgh+ VcY di]Zg eVgicZgh( l^aa Xdbean l^i] Vci^,
 Wg^WZgn aVlh- Cc eVgi^XjaVg+ lZ Yd cdi Xdcigda i]Z VXi^dch d[ djg hjeea^Zgh VcY di]Zg i]^gY eVgin V\Zcih+ Vai]dj\] lZ bVn WZ a^VWaZ [dg i]Z^g VXi^dch-
 P^daVi^dc d[ i]ZhZ aVlh bVn gZhjai ^c X^k^a dg Xg^b^cVa hVcXi^dch+ l]^X] XdjaY ^cXajYZ bdcZiVgn [^cZh+ Xg^b^cVa eZcVai^Zh+ VcY Y^h\dg\ZbZci d[ eVhi
 egd[^ih+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ ^beVXi dc djg Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc-
 Data Privacy and Protection
 QZ VgZ Vahd hjW_ZXi id aVlh VcY gZ\jaVi^dch \dkZgc^c\ eg^kVXn VcY YViV hZXjg^in- N]ZhZ aVlh ^cXajYZ hZXjg^in WgZVX] cdi^[^XVi^dc gZfj^gZbZcih VcY
 egdiZXi^dc d[ XdchjbZg ]ZVai] ^c[dgbVi^dc- N]Z aZ\^haVi^kZ VcY gZ\jaVidgn aVcYhXVeZ [dg eg^kVXn VcY YViV hZXjg^in Xdci^cjZh id ZkdakZ+ VcY i]ZgZ
 ]Vh WZZc Vc ^cXgZVh^c\ [dXjh dc eg^kVXn VcY YViV hZXjg^in ^hhjZh l]^X] bVn V[[ZXi djg Wjh^cZhh- ;ai]dj\] i]ZgZ VgZ aZ\Va bZX]Vc^hbh id [VX^a^iViZ
 i]Z igVch[Zg d[ eZghdcVa YViV [gdb i]Z ?jgdeZVc ?Xdcdb^X ;gZV+ dg ??;+ VcY Ml^ioZgaVcY id i]Z O-M-+ i]Z YZX^h^dc d[ i]Z ?jgdeZVc =djgi d[ Djhi^XZ
 i]Vi ^ckVa^YViZY i]Z hV[Z ]VgWdg [gVbZldg` dc l]^X] lZ egZk^djhan gZa^ZY ]Vh ^cXgZVhZY jcXZgiV^cin VgdjcY Xdbea^VcXZ l^i] ?O eg^kVXn aVl
 gZfj^gZbZcih- ;h V gZhjai d[ i]Z YZX^h^dc+ ^i lVh cd adc\Zg edhh^WaZ id gZan dc hV[Z ]VgWdg XZgi^[^XVi^dc Vh V aZ\Va WVh^h [dg i]Z igVch[Zg d[ eZghdcVa
 YViV [gdb i]Z ?O id Zci^i^Zh ^c i]Z O-M- Cc @ZWgjVgn 1/05+ i]Z ?= VccdjcXZY Vc V\gZZbZci l^i] i]Z >I= id gZeaVXZ i]Z ^ckVa^YViZY hV[Z ]VgWdg
 [gVbZldg` l^i] V cZl ?O,O-M- vJg^kVXn M]^ZaY-w Ic Djan 01+ 1/05+ i]Z ?= VYdeiZY V YZX^h^dc dc i]Z VYZfjVXn d[ i]Z egdiZXi^dc egdk^YZY Wn i]Z
 Jg^kVXn M]^ZaY- N]Z Jg^kVXn M]^ZaY ^h ^ciZcYZY id VYYgZhh i]Z gZfj^gZbZcih hZi dji Wn i]Z ?jgdeZVc =djgi d[ Djhi^XZ ^c ^ih gZXZci gja^c\ Wn ^bedh^c\
 bdgZ hig^c\Zci dWa^\Vi^dch dc XdbeVc^Zh+ egdk^Y^c\ higdc\Zg bdc^idg^c\ VcY Zc[dgXZbZci Wn i]Z >I= VcY @N= VcY bV`^c\ Xdbb^ibZcih dc i]Z
 eVgi d[ ejWa^X Vji]dg^i^Zh gZ\VgY^c\ VXXZhh id ^c[dgbVi^dc-
 O-M-,WVhZY XdbeVc^Zh bVn XZgi^[n Xdbea^VcXZ l^i] i]Z eg^kVXn eg^cX^eaZh d[ i]Z Jg^kVXn M]^ZaY- =Zgi^[^XVi^dc id i]Z Jg^kVXn M]^ZaY+ ]dlZkZg+ ^h cdi
 bVcYVidgn- C[ V O-M-,WVhZY XdbeVcn YdZh cdi XZgi^[n Xdbea^VcXZ l^i] i]Z Jg^kVXn M]^ZaY+ ^i bVn gZan dc di]Zg Vji]dg^oZY bZX]Vc^hbh id igVch[Zg
 eZghdcVa YViV- Cc MZeiZbWZg 1/05+ lZ [^aZY [dg XZgi^[^XVi^dc [dg djg O-M-,WVhZY hjWh^Y^Vg^Zh jcYZg i]Z Jg^kVXn M]^ZaY- N]^h XZgi^[^XVi^dc lVh VeegdkZY
 ^c DVcjVgn 1/06-
 N]Z eg^kVXn VcY YViV hZXjg^in aVcYhXVeZ ^h hi^aa ^c [ajm- Cc MZeiZbWZg 1/05+ i]Z Cg^h] eg^kVXn VYkdXVXn \gdje+ >^\^iVa L^\]ih CgZaVcY+ Wgdj\]i Vc
 VXi^dc [dg VccjabZci d[ i]Z ?= YZX^h^dc dc i]Z VYZfjVXn d[ Jg^kVXn M]^ZaY+ =VhZ N,56/.05+ l]^X] ^h eZcY^c\ WZ[dgZ i]Z ?jgdeZVc =djgi d[ Djhi^XZ-
 M]djaY i]Z ?jgdeZVc =djgi d[ Djhi^XZ ^ckVa^YViZ i]Z Jg^kVXn M]^ZaY+ ^i l^aa cd adc\Zg WZ edhh^WaZ id igVch[Zg YViV [gdb i]Z ?O id Zci^i^Zh ^c i]Z O-M-
 jcYZg V Jg^kVXn M]^ZaY XZgi^[^XVi^dc+ ^c l]^X] XVhZ di]Zg aZ\Va bZX]Vc^hbh ldjaY cZZY id WZ eji ^c eaVXZ-
 BZVai]XVgZ egdk^YZgh l]d egZhXg^WZ djg egdYjXih VcY gZhZVgX] ^chi^iji^dch i]Vi lZ XdaaVWdgViZ l^i] VgZ hjW_ZXi id eg^kVXn VcY hZXjg^in
 gZfj^gZbZcih jcYZg i]Z BZVai] CchjgVcXZ JdgiVW^a^in VcY ;XXdjciVW^a^in ;Xi d[ 0885+ Vh VbZcYZY Wn i]Z BZVai] Cc[dgbVi^dc NZX]cdad\n [dg
 ?Xdcdb^X VcY =a^c^XVa BZVai] ;Xi+ dg BCJ;;- ;ai]dj\] lZ VgZ cdi Y^gZXian hjW_ZXi id BCJ;;

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 di]Zg i]Vc l^i] gZheZXi id egdk^Y^c\ XZgiV^c ZbeadnZZ WZcZ[^ih+ lZ XdjaY ediZci^Vaan WZ hjW_ZXi id Xg^b^cVa eZcVai^Zh ^[ lZ+ djg V[[^a^ViZh dg djg
 V\Zcih `cdl^c\an dWiV^c dg Y^hXadhZ ^cY^k^YjVaan ^YZci^[^VWaZ ]ZVai] ^c[dgbVi^dc bV^ciV^cZY Wn V BCJ;;,XdkZgZY Zci^in ^c V bVccZg i]Vi ^h cdi
 Vji]dg^oZY dg eZgb^iiZY Wn BCJ;;-
 @V^ajgZ id Xdbean l^i] XjggZci VcY [jijgZ aVlh VcY gZ\jaVi^dch XdjaY gZhjai ^c \dkZgcbZci Zc[dgXZbZci VXi^dch '^cXajY^c\ i]Z ^bedh^i^dc d[
 h^\c^[^XVci eZcVai^Zh(+ Xg^b^cVa VcY X^k^a a^VW^a^in [dg jh VcY djg d[[^XZgh VcY Y^gZXidgh VcY.dg VYkZghZ ejWa^X^in i]Vi cZ\Vi^kZan V[[ZXi djg Wjh^cZhh-
 C[ lZ dg djg kZcYdgh [V^a id Xdbean l^i] Veea^XVWaZ YViV eg^kVXn aVlh+ dg ^[ i]Z aZ\Va bZX]Vc^hbh lZ dg djg kZcYdgh gZan jedc id Vaadl [dg i]Z
 igVch[Zg d[ eZghdcVa YViV [gdb i]Z ??; dg Ml^ioZgaVcY id i]Z O-M- 'dg di]Zg Xdjcig^Zh cdi Xdch^YZgZY Wn i]Z ?= id egdk^YZ Vc VYZfjViZ aZkZa d[ YViV
 egdiZXi^dc( VgZ cdi Xdch^YZgZY VYZfjViZ+ lZ XdjaY WZ hjW_ZXi id \dkZgcbZci Zc[dgXZbZci VXi^dch VcY h^\c^[^XVci eZcVai^Zh V\V^chi jh+ VcY djg
 Wjh^cZhh XdjaY WZ VYkZghZan ^beVXiZY ^[ djg VW^a^in id igVch[Zg eZghdcVa YViV djih^YZ d[ i]Z ??; dg Ml^ioZgaVcY ^h gZhig^XiZY+ l]^X] XdjaY VYkZghZan
 ^beVXi djg deZgVi^c\ gZhjaih- Cc >ZXZbWZg 1/04+ V egdedhVa [dg Vc ?O AZcZgVa >ViV JgdiZXi^dc LZ\jaVi^dc+ ^ciZcYZY id gZeaVXZ i]Z XjggZci ?O >ViV
 JgdiZXi^dc >^gZXi^kZ+ lVh V\gZZY WZilZZc i]Z ?jgdeZVc JVga^VbZci+ i]Z =djcX^a d[ i]Z ?jgdeZVc Oc^dc VcY i]Z ?=- N]Z ?O AZcZgVa >ViV JgdiZXi^dc
 LZ\jaVi^dc+ l]^X] lVh d[[^X^Vaan VYdeiZY ^c ;eg^a 1/05 VcY l^aa WZ Veea^XVWaZ ^c GVn 1/07+ l^aa ^cigdYjXZ cZl YViV egdiZXi^dc gZfj^gZbZcih ^c i]Z
 ?O+ Vh lZaa Vh hjWhiVci^Va [^cZh [dg WgZVX]Zh d[ i]Z YViV egdiZXi^dc gjaZh- N]Z ?O AZcZgVa >ViV JgdiZXi^dc LZ\jaVi^dc l^aa ^cXgZVhZ djg gZhedch^W^a^in
 VcY a^VW^a^in ^c gZaVi^dc id eZghdcVa YViV i]Vi lZ egdXZhh+ VcY lZ bVn WZ gZfj^gZY id eji ^c eaVXZ VYY^i^dcVa bZX]Vc^hbh id ZchjgZ Xdbea^VcXZ l^i]
 i]Z cZl ?O YViV egdiZXi^dc gjaZh- Cc VYY^i^dc+ YViV egdiZXi^dc Vji]dg^i^Zh d[ i]Z Y^[[ZgZci ?O bZbWZg hiViZh bVn ^ciZgegZi i]Z ?O >ViV JgdiZXi^dc
 >^gZXi^kZ VcY cVi^dcVa aVlh Y^[[ZgZcian+ VcY \j^YVcXZ dc ^beaZbZciVi^dc VcY Xdbea^VcXZ egVXi^XZh VgZ d[iZc jeYViZY dg di]Zgl^hZ gZk^hZY+ l]^X]
 VYYh id i]Z XdbeaZm^in d[ egdXZhh^c\ eZghdcVa YViV ^c i]Z ?O-
 ;YY^i^dcVa gZfj^gZbZcih VcY gZhig^Xi^dch gZ\VgY^c\+ Vbdc\ di]Zg i]^c\h+ i]Z Zmedgi VcY ^bedgiVi^dc d[ egdYjXih+ ^ciZaaZXijVa egdeZgin g^\]ih+ i]Z
 Zck^gdcbZci+ iVmVi^dc VcY ldg` hV[Zin Veean ^c ^cY^k^YjVa Xdjcig^Zh+ VcY cdc,Xdbea^VcXZ l^i] hjX] gZfj^gZbZcih bVn gZhjai ^c X^k^a+ Xg^b^cVa dg
 VYb^c^higVi^kZ hVcXi^dch-


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 Ijg VW^a^in id XdbbZgX^Va^oZ djg egdYjXih hjXXZhh[jaan+ VcY id ViigVXi XdbbZgX^Va^oVi^dc eVgicZgh [dg djg egdYjXih+ YZeZcYh ^c h^\c^[^XVci eVgi dc i]Z
 VkV^aVW^a^in d[ VYZfjViZ [^cVcX^Va XdkZgV\Z VcY gZ^bWjghZbZci [gdb i]^gY eVgin eVndgh+ ^cXajY^c\+ ^c i]Z O-M-+ \dkZgcbZciVa eVndgh hjX] Vh i]Z
 GZY^XVgZ VcY GZY^XV^Y egd\gVbh+ bVcV\ZY XVgZ dg\Vc^oVi^dch VcY eg^kViZ ]ZVai] ^chjgZgh-
 Jda^i^XVa+ ZXdcdb^X VcY gZ\jaVidgn ^c[ajZcXZh VgZ hjW_ZXi^c\ i]Z ]ZVai]XVgZ ^cYjhign ^c i]Z O-M- id [jcYVbZciVa X]Vc\Zh- N]ZgZ ]VkZ WZZc+ VcY lZ
 ZmeZXi i]ZgZ l^aa Xdci^cjZ id WZ+ aZ\^haVi^kZ VcY gZ\jaVidgn egdedhVah ^c i]Z O-M- id X]Vc\Z i]Z ]ZVai]XVgZ hnhiZb ^c lVnh i]Vi XdjaY ^beVXi djg
 VW^a^in id hZaa djg egdYjXih egd[^iVWan+ eVgi^XjaVgan \^kZc i]Z XjggZci Vibdhe]ZgZ d[ bdjci^c\ Xg^i^X^hb d[ egZhXg^ei^dc Ygj\ Xdhih ^c i]Z O-M- QZ
 ZmeZXi id Xdci^cjZ id ZmeZg^ZcXZ eg^X^c\ egZhhjgZ ^c i]Z O-M- ^c XdccZXi^dc l^i] i]Z hVaZ d[ djg egdYjXih YjZ id bVcV\ZY ]ZVai]XVgZ+ i]Z ^cXgZVh^c\
 ^c[ajZcXZ d[ ]ZVai] bV^ciZcVcXZ dg\Vc^oVi^dch+ VYY^i^dcVa aZ\^haVi^kZ egdedhVah id XjgW ]ZVai]XVgZ Xdhih VcY cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ eg^X^c\
 VcY eg^XZ ^cXgZVhZh \ZcZgVaan+ l]^X] XdjaY a^b^i i]Z eg^XZh i]Vi lZ X]Vg\Z [dg djg egdYjXih+ ^cXajY^c\ RngZb+ a^b^i djg XdbbZgX^Va deedgijc^in
 VcY.dg cZ\Vi^kZan ^beVXi gZkZcjZh [gdb hVaZh d[ djg egdYjXih- QZ Vci^X^eViZ i]Vi i]Z O-M- =dc\gZhh+ hiViZ aZ\^haVijgZh VcY i]Z eg^kViZ hZXidg l^aa
 Xdci^cjZ id Xdch^YZg VcY bVn VYdei ]ZVai]XVgZ eda^X^Zh ^beVXi^c\ e]VgbVXZji^XVa egdYjXi eg^X^c\ i]Vi VgZ ^ciZcYZY id XjgW g^h^c\ ]ZVai]XVgZ Xdhih-
 N]ZhZ Xdhi XdciV^cbZci bZVhjgZh bVn ^cXajYZ [ZYZgVa VcY hiViZ Xdcigdah dc \dkZgcbZci,[jcYZY gZ^bWjghZbZci [dg Ygj\h: cZl dg ^cXgZVhZY
 gZfj^gZbZcih id eVn egZhXg^ei^dc Ygj\ gZWViZh id \dkZgcbZci ]ZVai] XVgZ egd\gVbh: e]VgbVXZji^XVa Xdhi igVcheVgZcXn W^aah i]Vi V^b id gZfj^gZ Ygj\
 XdbeVc^Zh id _jhi^[n i]Z^g eg^XZh i]gdj\] gZfj^gZY Y^hXadhjgZh: Xdcigdah dc ]ZVai]XVgZ egdk^YZgh: X]VaaZc\Zh id i]Z eg^X^c\ d[ Ygj\h dg a^b^ih dg
 egd]^W^i^dch dc gZ^bWjghZbZci [dg heZX^[^X egdYjXih i]gdj\] di]Zg bZVch: gZfj^gZbZcih id ign aZhh ZmeZch^kZ egdYjXih dg \ZcZg^Xh WZ[dgZ V bdgZ
 ZmeZch^kZ WgVcYZY egdYjXi: X]Vc\Zh ^c Ygj\ ^bedgiVi^dc aVlh: ZmeVch^dc d[ jhZ d[ bVcV\ZY XVgZ hnhiZbh ^c l]^X] ]ZVai]XVgZ egdk^YZgh XdcigVXi id
 egdk^YZ XdbegZ]Zch^kZ ]ZVai]XVgZ [dg V [^mZY Xdhi eZg eZghdc: VcY ejWa^X [jcY^c\ [dg Xdhi Z[[ZXi^kZcZhh gZhZVgX]+ l]^X] bVn WZ jhZY Wn
 \dkZgcbZci VcY eg^kViZ i]^gY eVgin eVndgh id bV`Z XdkZgV\Z VcY eVnbZci YZX^h^dch-
 @dg ZmVbeaZ+ bjX] ViiZci^dc ]Vh WZZc eV^Y id aZ\^haVi^dc egdedh^c\ [ZYZgVa gZWViZh dc GZY^XVgZ JVgi > VcY GZY^XVgZ ;YkVciV\Z ji^a^oVi^dc [dg
 Ygj\h ^hhjZY id XZgiV^c \gdjeh d[ adlZg ^cXdbZ WZcZ[^X^Vg^Zh VcY i]Z YZh^gZ id X]Vc\Z i]Z egdk^h^dch i]Vi igZVi i]ZhZ YjVa,Za^\^WaZ eVi^Zcih
 Y^[[ZgZcian [gdb igVY^i^dcVa GZY^XVgZ eVi^Zcih- ;cn hjX] X]Vc\Zh XdjaY ]VkZ V cZ\Vi^kZ ^beVXi dc gZkZcjZh [gdb hVaZh d[ djg egdYjXih-
 @jgi]Zg+ WZ\^cc^c\ ;eg^a 0+ 1/02+ GZY^XVgZ eVnbZcih [dg Vaa ^iZbh VcY hZgk^XZh+ ^cXajY^c\ Ygj\h VcY W^dad\^Xh+ lZgZ gZYjXZY Wn 1$ jcYZg i]Z
 hZfjZhigVi^dc '^-Z-+ VjidbVi^X heZcY^c\ gZYjXi^dch( gZfj^gZY Wn i]Z <jY\Zi =dcigda ;Xi d[ 1/00+ Vh VbZcYZY Wn i]Z ;bZg^XVc NVmeVnZg LZa^Z[ ;Xi d[
 1/01- MjWhZfjZci aZ\^haVi^dc ZmiZcYZY i]Z 1$ gZYjXi^dc+ dc VkZgV\Z+ id

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 1/14- N]ZhZ Xjih gZYjXZ gZ^bWjghZbZci eVnbZcih gZaViZY id djg egdYjXih+ l]^X] XdjaY ediZci^Vaan cZ\Vi^kZan ^beVXi djg gZkZcjZ-
 Cc VYY^i^dc+ Ygj\ eg^X^c\ Wn e]VgbVXZji^XVa XdbeVc^Zh ^h XjggZcian+ VcY ^h ZmeZXiZY id Xdci^cjZ id WZ+ jcYZg XadhZ hXgji^cn+ ^cXajY^c\ l^i] gZheZXi
 id XdbeVc^Zh i]Vi ]VkZ ^cXgZVhZY i]Z eg^XZ d[ egdYjXih V[iZg VXfj^g^c\ i]dhZ egdYjXih [gdb di]Zg XdbeVc^Zh- <di] i]Z O-M- BdjhZ d[
 LZegZhZciVi^kZh VcY i]Z O-M- MZcViZ ]VkZ XdcYjXiZY hZkZgVa ]ZVg^c\h l^i] gZheZXi id e]VgbVXZji^XVa Ygj\ eg^X^c\ egVXi^XZh+ ^cXajY^c\ ^c
 XdccZXi^dc l^i] i]Z ^ckZhi^\Vi^dc d[ heZX^[^X eg^XZ ^cXgZVhZh Wn hZkZgVa e]VgbVXZji^XVa XdbeVc^Zh- C[ lZ WZXdbZ i]Z hjW_ZXi d[ Vcn \dkZgcbZci
 ^ckZhi^\Vi^dc l^i] gZheZXi id djg Ygj\ eg^X^c\ dg di]Zg Wjh^cZhh egVXi^XZh+ lZ XdjaY ^cXjg h^\c^[^XVci ZmeZchZ VcY XdjaY WZ Y^higVXiZY [gdb
 deZgVi^dc d[ djg Wjh^cZhh VcY ZmZXji^dc d[ djg higViZ\n- ;cn hjX] ^ckZhi^\Vi^dc XdjaY Vahd gZhjai ^c gZYjXZY bVg`Zi VXXZeiVcXZ VcY YZbVcY [dg
 djg egdYjXih+ XdjaY ]Vgb djg gZejiVi^dc VcY djg VW^a^in id bVg`Zi djg egdYjXih ^c i]Z [jijgZ+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vChanges
 in healthcare law and implementing regulations, including those based on recently enacted legislation, as well as changes in healthcare policy,
 may impact our business in ways that we cannot currently predict, and these changes could have a material adverse effect on our business and
 financial conditionw VcY vWe are subject to significant ongoing regulatory obligations and oversight, which may result in significant additional
 expense and limit our ability to commercialize our productsw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 N]^gY eVgin eVndgh+ ^cXajY^c\ \dkZgcbZciVa eVndgh hjX] Vh i]Z GZY^XVgZ VcY GZY^XV^Y egd\gVbh+ bVcV\ZY XVgZ dg\Vc^oVi^dch VcY eg^kViZ ]ZVai]
 ^chjgZgh+ YZX^YZ l]^X] Ygj\h XVc WZ gZ^bWjghZY VcY ZhiVWa^h] gZ^bWjghZbZci VcY Xd,eVn aZkZah VcY XdcY^i^dch [dg gZ^bWjghZbZci- N]^gY eVgin
 eVndgh VgZ ^cXgZVh^c\an X]VaaZc\^c\ i]Z eg^XZh X]Vg\ZY [dg bZY^XVa egdYjXih VcY hZgk^XZh VcY ZmVb^c^c\ i]Z^g Xdhi Z[[ZXi^kZcZhh+ ^c VYY^i^dc id i]Z^g
 hV[Zin VcY Z[[^XVXn- Cc hdbZ XVhZh+ [dg ZmVbeaZ+ i]^gY eVgin eVndgh ign id ZcXdjgV\Z i]Z jhZ d[ aZhh ZmeZch^kZ \ZcZg^X egdYjXih i]gdj\] i]Z^g
 egZhXg^ei^dc WZcZ[^ih XdkZgV\Z VcY gZ^bWjghZbZci VcY Xd,eVn eda^X^Zh- QZ bVn cZZY id XdcYjXi ZmeZch^kZ e]VgbVXdZXdcdb^X VcY.dg Xa^c^XVa
 hijY^Zh ^c dgYZg id YZbdchigViZ i]Z Xdhi Z[[ZXi^kZcZhh d[ djg egdYjXih- ?kZc l^i] hijY^Zh+ djg egdYjXih bVn WZ Xdch^YZgZY aZhh hV[Z+ aZhh Z[[ZXi^kZ
 dg aZhh Xdhi,Z[[ZXi^kZ i]Vc di]Zg egdYjXih+ VcY i]^gY eVgin eVndgh bVn cdi egdk^YZ VcY bV^ciV^c eg^XZ VeegdkVah+ XdkZgV\Z VcY gZ^bWjghZbZci [dg
 djg egdYjXih dg Vcn d[ djg egdYjXi XVcY^YViZh i]Vi lZ XdbbZgX^Va^oZ+ ^c l]daZ dg ^c eVgi- N]Z egdXZhh [dg YZiZgb^c^c\ l]Zi]Zg V eVndg l^aa egdk^YZ
 XdkZgV\Z [dg V egdYjXi bVn WZ hZeVgViZ [gdb i]Z egdXZhh [dg hZii^c\ i]Z eg^XZ dg gZ^bWjghZbZci gViZ i]Vi i]Z eVndg l^aa eVn [dg i]Z egdYjXi dcXZ
 XdkZgV\Z ^h VeegdkZY- N]^gY eVgin eVndgh bVn a^b^i XdkZgV\Z id heZX^[^X egdYjXih dc Vc VeegdkZY a^hi+ dg [dgbjaVgn+ l]^X] b^\]i cdi ^cXajYZ Vaa d[
 i]Z VeegdkZY egdYjXih [dg V eVgi^XjaVg ^cY^XVi^dc- @dg ZmVbeaZ+ i]^gY eVgin eVndgh ]VkZ hiVgiZY id gZfj^gZ Y^hXdjcih VcY.dg ZmXajh^k^in VggVc\ZbZcih
 l^i] hdbZ Ygj\ bVcj[VXijgZgh ^c ZmX]Vc\Z [dg ^cXajY^c\ V heZX^[^X egdYjXi dc i]Z^g [dgbjaVg^Zh- ;cn hjX] gZfj^gZbZcih XdjaY ]VkZ V cZ\Vi^kZ
 ^beVXi dc gZkZcjZh [gdb hVaZh d[ djg egdYjXih-
 JVndgh Vahd VgZ ^cXgZVh^c\an Xdch^YZg^c\ cZl bZig^Xh Vh i]Z WVh^h [dg gZ^bWjghZbZci gViZh+ hjX] Vh VkZgV\Z hVaZh eg^XZ+ VkZgV\Z bVcj[VXijgZg eg^XZ
 VcY VXijVa VXfj^h^i^dc Xdhi- =ZgiV^c hiViZh ]VkZ WZ\jc id hjgkZn VXfj^h^i^dc Xdhi YViV [dg i]Z ejgedhZ d[ hZii^c\ GZY^XV^Y gZ^bWjghZbZci gViZh-
 <di] GZY^XVgZ VcY GZY^XV^Y VgZ VYb^c^hiZgZY Wn i]Z =ZciZgh [dg GZY^XVgZ VcY GZY^XV^Y MZgk^XZh+ dg =GM- =GM hjgkZnh VcY ejWa^h]Zh gZiV^a
 Xdbbjc^in e]VgbVXn VXfj^h^i^dc Xdhi ^c[dgbVi^dc ^c i]Z [dgb d[ HVi^dcVa ;kZgV\Z >gj\ ;Xfj^h^i^dc =dhi [^aZh id egdk^YZ hiViZ GZY^XV^Y V\ZcX^Zh
 l^i] V WVh^h d[ XdbeVg^hdc [dg i]Z^g dlc gZ^bWjghZbZci VcY eg^X^c\ bZi]dYdad\^Zh VcY gViZh- Ci ^h Y^[[^Xjai id egd_ZXi i]Z ^beVXi d[ i]ZhZ Zkdak^c\
 gZ^bWjghZbZci bZX]Vc^Xh dc i]Z l^aa^c\cZhh d[ eVndgh id XdkZg djg egdYjXih-
 QZ eVgi^X^eViZ ^c VcY ]VkZ XZgiV^c eg^XZ gZedgi^c\ dWa^\Vi^dch id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ hZkZgVa hiViZ GZY^XV^Y hjeeaZbZciVa gZWViZ
 egd\gVbh VcY di]Zg \dkZgcbZciVa eg^X^c\ egd\gVbh+ VcY lZ ]VkZ dWa^\Vi^dch id gZedgi i]Z VkZgV\Z hVaZh eg^XZ [dg XZgiV^c d[ djg Ygj\h id i]Z
 GZY^XVgZ egd\gVb- OcYZg i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ lZ VgZ gZfj^gZY id eVn V gZWViZ id ZVX] hiViZ GZY^XV^Y egd\gVb [dg djg XdkZgZY
 djieVi^Zci Ygj\h i]Vi VgZ Y^heZchZY id GZY^XV^Y WZcZ[^X^Vg^Zh VcY eV^Y [dg Wn V hiViZ GZY^XV^Y egd\gVb Vh V XdcY^i^dc d[ ]Vk^c\ [ZYZgVa [jcYh
 WZ^c\ bVYZ VkV^aVWaZ id i]Z hiViZh [dg djg Ygj\h jcYZg GZY^XV^Y VcY JVgi < d[ i]Z GZY^XVgZ egd\gVb- N]dhZ gZWViZh VgZ WVhZY dc eg^X^c\ YViV
 gZedgiZY Wn jh dc V bdci]an VcY fjVgiZgan WVh^h id =GM- N]ZhZ YViV ^cXajYZ i]Z VkZgV\Z bVcj[VXijgZg eg^XZ VcY+ ^c i]Z XVhZ d[ ^ccdkVidg egdYjXih+
 i]Z WZhi eg^XZ [dg ZVX] Ygj\ l]^X]+ ^c \ZcZgVa+ gZegZhZcih i]Z adlZhi eg^XZ VkV^aVWaZ [gdb i]Z bVcj[VXijgZg id Vcn Zci^in ^c i]Z O-M- ^c Vcn eg^X^c\
 higjXijgZ+ XVaXjaViZY id ^cXajYZ Vaa hVaZh VcY VhhdX^ViZY gZWViZh+ Y^hXdjcih VcY di]Zg eg^XZ XdcXZhh^dch- L^h`h gZaVi^c\ id eg^XZ gZedgi^c\ VcY
 eVnbZci dWa^\Vi^dch VgZ [jgi]Zg Y^hXjhhZY ^c i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vIf we fail to comply with our reporting and payment obligations
 under the Medicaid Drug Rebate program or other governmental pricing programs, we could be subject to additional reimbursement
 requirements, penalties, sanctions and fines, which could have a material adverse effect on our business, financial condition, results of
 operations and growth prospects” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E- ; h^\c^[^XVci edgi^dc d[ djg gZkZcjZ [gdb hVaZh d[
 ?gl^cVoZ ^h dWiV^cZY i]gdj\] \dkZgcbZci eVndgh+ ^cXajY^c\ GZY^XV^Y+ VcY Vcn [V^ajgZ id fjVa^[n [dg gZ^bWjghZbZci [dg ?gl^cVoZ jcYZg i]dhZ
 egd\gVbh ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc gZkZcjZh [gdb hVaZh d[ ?gl^cVoZ-
 @ZYZgVa aVl Vahd gZfj^gZh i]Vi V XdbeVcn i]Vi eVgi^X^eViZh ^c i]Z GZY^XV^Y gZWViZ egd\gVb gZedgi i]Z VkZgV\Z hVaZh eg^XZ ^c[dgbVi^dc ZVX] fjVgiZg id
 =GM [dg XZgiV^c XViZ\dg^Zh d[ Ygj\h i]Vi VgZ eV^Y jcYZg JVgi < d[ i]Z GZY^XVgZ egd\gVb-

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 GVcj[VXijgZgh XVaXjaViZ i]Z VkZgV\Z hVaZh eg^XZ WVhZY dc V hiVijidg^an YZ[^cZY [dgbjaV VcY ^ciZgegZiVi^dch d[ i]Z hiVijiZ Wn =GM- =GM jhZh i]ZhZ
 hjWb^hh^dch id YZiZgb^cZ eVnbZci gViZh [dg Ygj\h jcYZg GZY^XVgZ JVgi < [dg djg egdYjXih VcY i]Z gZhjai^c\ GZY^XVgZ eVnbZci gViZ+ VcY XdjaY
 cZ\Vi^kZan ^beVXi djg gZhjaih d[ deZgVi^dch-
 @ZYZgVa aVl gZfj^gZh i]Vi Vcn XdbeVcn i]Vi eVgi^X^eViZh ^c i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb Vahd eVgi^X^eViZ ^c i]Z 23/< egd\gVb ^c dgYZg [dg
 [ZYZgVa [jcYh id WZ VkV^aVWaZ [dg i]Z bVcj[VXijgZgxh Ygj\h jcYZg GZY^XV^Y VcY GZY^XVgZ JVgi <- N]Z 23/< egd\gVb gZfj^gZh eVgi^X^eVi^c\
 bVcj[VXijgZgh id V\gZZ id X]Vg\Z hiVijidg^an YZ[^cZY XdkZgZY Zci^i^Zh cd bdgZ i]Vc i]Z 23/< vXZ^a^c\ eg^XZw [dg i]Z bVcj[VXijgZgxh XdkZgZY
 djieVi^Zci Ygj\h- N]ZhZ 23/< XdkZgZY Zci^i^Zh ^cXajYZ V kVg^Zin d[ Xdbbjc^in ]ZVai] Xa^c^Xh VcY di]Zg Zci^i^Zh i]Vi gZXZ^kZ ]ZVai] hZgk^XZh \gVcih
 [gdb i]Z JjWa^X BZVai] MZgk^XZ+ Vh lZaa Vh ]dhe^iVah i]Vi hZgkZ V Y^hegdedgi^dcViZ h]VgZ d[ adl,^cXdbZ eVi^Zcih- N]Z 23/< XZ^a^c\ eg^XZ ^h XVaXjaViZY
 jh^c\ V hiVijidgn [dgbjaV+ l]^X] ^h WVhZY dc i]Z VkZgV\Z bVcj[VXijgZg eg^XZ VcY gZWViZ Vbdjci [dg i]Z XdkZgZY djieVi^Zci Ygj\ Vh XVaXjaViZY jcYZg
 i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb- ;cn X]Vc\Zh id i]Z YZ[^c^i^dc d[ VkZgV\Z bVcj[VXijgZg eg^XZ VcY i]Z GZY^XV^Y gZWViZ Vbdjci jcYZg i]Z
 BZVai]XVgZ LZ[dgb ;Xi XdjaY V[[ZXi djg 23/< XZ^a^c\ eg^XZ XVaXjaVi^dch VcY cZ\Vi^kZan ^beVXi djg gZhjaih d[ deZgVi^dch- Cc DVcjVgn 1/05+ =GM
 ^hhjZY V [^cVa gjaZ+ l]^X] WZXVbZ Z[[ZXi^kZ ^c ;eg^a 1/05+ id ^beaZbZci i]Z X]Vc\Zh id i]Z GZY^XV^Y gZWViZ egd\gVb jcYZg i]Z BZVai]XVgZ LZ[dgb
 ;Xi- N]Z ^hhjVcXZ d[ i]Z [^cVa gZ\jaVi^dc+ Vh lZaa Vh Vcn di]Zg gZ\jaVi^dch VcY XdkZgV\Z ZmeVch^dc Wn kVg^djh \dkZgcbZciVa V\ZcX^Zh gZaVi^c\ id i]Z
 GZY^XV^Y >gj\ LZWViZ egd\gVb+ ]Vh ^cXgZVhZY VcY l^aa Xdci^cjZ id ^cXgZVhZ djg Xdhih VcY i]Z XdbeaZm^in d[ Xdbea^VcXZ+ ]Vh WZZc VcY l^aa Xdci^cjZ
 id WZ i^bZ,Xdchjb^c\ id ^beaZbZci+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg gZhjaih d[ deZgVi^dch+ eVgi^XjaVgan ^[ =GM X]VaaZc\Zh i]Z
 VeegdVX] lZ iV`Z ^c djg ^beaZbZciVi^dc d[ i]Z [^cVa gjaZ-
 Cc dgYZg id WZ Za^\^WaZ id ]VkZ djg egdYjXih eV^Y [dg l^i] [ZYZgVa [jcYh jcYZg i]Z GZY^XV^Y VcY GZY^XVgZ JVgi < egd\gVbh VcY ejgX]VhZY Wn XZgiV^c
 [ZYZgVa V\ZcX^Zh VcY \gVciZZh+ lZ eVgi^X^eViZ ^c i]Z O-M- >ZeVgibZci d[ PZiZgVch ;[[V^gh+ dg P;+ @ZYZgVa Mjeean MX]ZYjaZ+ dg @MM+ eg^X^c\ egd\gVb-
 OcYZg i]^h egd\gVb+ lZ VgZ dWa^\ViZY id bV`Z djg egdYjXi VkV^aVWaZ [dg egdXjgZbZci dc Vc @MM XdcigVXi VcY X]Vg\Z V eg^XZ id [djg [ZYZgVa V\ZcX^Zh ,
 i]Z P;+ O-M- >ZeVgibZci d[ >Z[ZchZ+ JjWa^X BZVai] MZgk^XZ VcY O-M- =dVhi AjVgY , i]Vi ^h cd ]^\]Zg i]Vc i]Z hiVijidgn @ZYZgVa =Z^a^c\ Jg^XZ+ dg @=J-
 N]Z @=J ^h WVhZY dc i]Z cdc,[ZYZgVa VkZgV\Z bVcj[VXijgZg eg^XZ+ dg Hdc,@;GJ+ l]^X] lZ XVaXjaViZ VcY gZedgi id i]Z P; dc V fjVgiZgan VcY VccjVa
 WVh^h- QZ Vahd eVgi^X^eViZ ^c i]Z Ng^XVgZ LZiV^a J]VgbVXn egd\gVb+ jcYZg l]^X] lZ eVn fjVgiZgan gZWViZh dc ji^a^oVi^dc d[ ^ccdkVidg egdYjXih i]Vi VgZ
 Y^heZchZY i]gdj\] i]Z Ng^XVgZ LZiV^a J]VgbVXn cZildg` id Ng^XVgZ WZcZ[^X^Vg^Zh- N]Z gZWViZh VgZ XVaXjaViZY Vh i]Z Y^[[ZgZcXZ WZilZZc i]Z VccjVa
 Hdc,@;GJ VcY @=J-
 M^b^aVg id l]Vi ^h dXXjgg^c\ ^ch^YZ i]Z O-M-+ eda^i^XVa+ ZXdcdb^X VcY gZ\jaVidgn YZkZadebZcih djih^YZ d[ i]Z O-M- VgZ Vahd hjW_ZXi^c\ i]Z ]ZVai]XVgZ
 ^cYjhign id [jcYVbZciVa X]Vc\Zh VcY X]VaaZc\Zh- JgZhhjgZ Wn \dkZgcbZcih VcY di]Zg hiV`Z]daYZgh dc eg^XZh VcY gZ^bWjghZbZci aZkZah Xdci^cjZ id
 Zm^hi- Cc kVg^djh ?O bZbWZg hiViZh lZ ZmeZXi id WZ hjW_ZXi id Xdci^cjdjh Xdhi,Xjii^c\ bZVhjgZh+ hjX] Vh adlZg bVm^bjb eg^XZh+ adlZg dg aVX` d[
 gZ^bWjghZbZci XdkZgV\Z VcY ^cXZci^kZh id jhZ X]ZVeZg+ jhjVaan \ZcZg^X+ egdYjXih Vh Vc VaiZgcVi^kZ- BZVai] NZX]cdad\n ;hhZhhbZci+ dg BN;+ d[
 bZY^X^cVa egdYjXih ^h WZXdb^c\ Vc ^cXgZVh^c\an Xdbbdc eVgi d[ i]Z eg^X^c\ VcY gZ^bWjghZbZci egdXZYjgZh ^c hdbZ ?O bZbWZg hiViZh- N]ZhZ ?O
 bZbWZg hiViZh ^cXajYZ i]Z O-E-+ @gVcXZ+ AZgbVcn+ CgZaVcY+ CiVan+ MeV^c VcY MlZYZc- N]Z BN; egdXZhh+ l]^X] ^h \dkZgcZY Wn i]Z cVi^dcVa aVlh d[
 i]ZhZ Xdjcig^Zh+ ^h i]Z egdXZYjgZ VXXdgY^c\ id l]^X] i]Z VhhZhhbZci d[ i]Z ejWa^X ]ZVai] ^beVXi+ i]ZgVeZji^X ^beVXi VcY i]Z ZXdcdb^X VcY hdX^ZiVa
 ^beVXi d[ jhZ d[ V \^kZc bZY^X^cVa egdYjXi ^c i]Z cVi^dcVa ]ZVai]XVgZ hnhiZbh d[ i]Z ^cY^k^YjVa Xdjcign ^h XdcYjXiZY- BN; \ZcZgVaan [dXjhZh dc i]Z
 Xa^c^XVa Z[[^XVXn VcY Z[[ZXi^kZcZhh+ hV[Zin+ Xdhi VcY Xdhi,Z[[ZXi^kZcZhh d[ ^cY^k^YjVa bZY^X^cVa egdYjXih+ Vh lZaa Vh i]Z^g ediZci^Va ^bea^XVi^dch [dg i]Z
 ]ZVai]XVgZ hnhiZb- N]dhZ ZaZbZcih d[ bZY^X^cVa egdYjXih VgZ XdbeVgZY l^i] di]Zg igZVibZci dei^dch VkV^aVWaZ dc i]Z bVg`Zi- N]Z djiXdbZ d[ BN;
 gZ\VgY^c\ heZX^[^X bZY^X^cVa egdYjXih l^aa d[iZc ^c[ajZcXZ i]Z eg^X^c\ VcY gZ^bWjghZbZci hiVijh \gVciZY id i]ZhZ bZY^X^cVa egdYjXih Wn i]Z
 XdbeZiZci Vji]dg^i^Zh d[ ^cY^k^YjVa ?O bZbWZg hiViZh- JjghjVci id >^gZXi^kZ 1/00.13.?O+ V kdajciVgn cZildg` d[ cVi^dcVa Vji]dg^i^Zh dg WdY^Zh
 gZhedch^WaZ [dg BN; ^c i]Z ^cY^k^YjVa ?O bZbWZg hiViZh lVh ZhiVWa^h]ZY- N]Z ?O bZbWZg hiViZh lZgZ gZfj^gZY id ^beaZbZci i]Z egdk^h^dch d[ i]Z
 >^gZXi^kZ ^cid i]Z^g cVi^dcVa aZ\^haVi^dc Wn IXidWZg 1/02- N]Z ejgedhZ d[ i]Z cZildg` ^h id [VX^a^iViZ VcY hjeedgi i]Z ZmX]Vc\Z d[ hX^Zci^[^X
 ^c[dgbVi^dc XdcXZgc^c\ BN;h- N]^h XdjaY aZVY id ]Vgbdc^oVi^dc WZilZZc ?O bZbWZg hiViZh d[ i]Z Xg^iZg^V iV`Zc ^cid VXXdjci ^c i]Z XdcYjXi d[ BN;
 VcY i]Z^g ^beVXi dc eg^X^c\ VcY gZ^bWjghZbZci YZX^h^dch-
 Cc i]Z ?O+ djg egdYjXih VgZ bVg`ZiZY i]gdj\] kVg^djh X]VccZah VcY l^i]^c Y^[[ZgZci aZ\Va [gVbZldg`h- Cc XZgiV^c ?O bZbWZg hiViZh+ gZ^bWjghZbZci
 [dg jcVji]dg^oZY egdYjXih ^h egdk^YZY i]gdj\] cVi^dcVa cVbZY eVi^Zci dg XdbeVhh^dcViZ jhZ egd\gVbh- MjX] gZ^bWjghZbZci bVn cd adc\Zg WZ
 VkV^aVWaZ ^[ Vji]dg^oVi^dc [dg cVbZY eVi^Zci dg XdbeVhh^dcViZ jhZ egd\gVbh Zme^gZ dg VgZ iZgb^cViZY dg ^[ bVg`Zi^c\ Vji]dg^oVi^dc ^h \gVciZY [dg i]Z
 egdYjXi- Cc di]Zg ?O bZbWZg hiViZh+ Vji]dg^oVi^dc VcY gZ^bWjghZbZci eda^X^Zh bVn Vahd YZaVn XdbbZgX^Va^oVi^dc d[ djg egdYjXih+ dg bVn VYkZghZan
 V[[ZXi djg VW^a^in id hZaa djg egdYjXih dc V egd[^iVWaZ WVh^h- ;[iZg ^c^i^Va eg^XZ VcY gZ^bWjghZbZci VeegdkVah+ gZYjXi^dch ^c eg^XZh VcY X]Vc\Zh ^c
 gZ^bWjghZbZci aZkZah XVc WZ ig^\\ZgZY Wn bjai^eaZ [VXidgh+ ^cXajY^c\ gZ[ZgZcXZ eg^X^c\ hnhiZbh VcY ejWa^XVi^dc d[ Y^hXdjcih Wn i]^gY eVgin eVndgh dg
 Vji]dg^i^Zh ^c di]Zg Xdjcig^Zh- Cc i]Z ?O+ eg^XZh XVc WZ gZYjXZY [jgi]Zg Wn eVgVaaZa Y^hig^Wji^dc VcY eVgVaaZa igVYZ+ dg VgW^igV\Z WZilZZc adl,eg^XZY
 VcY ]^\],eg^XZY ?O bZbWZg hiViZh-

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 ;cn VYY^i^dcVa aZ\^haVi^dc+ gZ\jaVi^dch+ eda^X^Zh dg gZ[dgbh gZaVi^c\ id i]Z ]ZVai]XVgZ ^cYjhign+ e]VgbVXZji^XVa eg^X^c\ dg i]^gY eVgin XdkZgV\Z VcY
 gZ^bWjghZbZci i]Vi bVn WZ ZcVXiZY ^c i]Z [jijgZ ^c i]Z O-M-+ i]Z ?O dg i]Z ?O bZbWZg hiViZh+ VcY Vcn cZ\Vi^kZ ejWa^X^in lZ bVn ZmeZg^ZcXZ l^i]
 gZheZXi id eg^X^c\ d[ djg egdYjXih dg i]Z eg^X^c\ d[ e]VgbVXZji^XVa Ygj\h \ZcZgVaan+ bVn cZ\Vi^kZan ^beVXi i]Z eg^XZh i]Vi lZ X]Vg\Z [dg djg
 egdYjXih+ ^cXajY^c\ RngZb+ VcY djg XdbbZgX^Va deedgijc^in VcY.dg djg gZkZcjZh [gdb hVaZh d[ djg egdYjXih- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h`
 [VXidg jcYZg i]Z ]ZVY^c\ vPrice approvals and reimbursement may not be available for our products, which could diminish our sales or affect our
 ability to sell our products profitablyw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E-


 Employees
 ;h d[ @ZWgjVgn 10+ 1/06+ lZ ]VY Veegdm^bViZan 0+/3/ ZbeadnZZh ldgaYl^YZ- QZ Xdch^YZg djg ZbeadnZZ gZaVi^dch id WZ \ddY-


 Environment, Health and Safety
 Ijg deZgVi^dch VgZ hjW_ZXi id XdbeaZm VcY ^cXgZVh^c\an hig^c\Zci Zck^gdcbZciVa+ ]ZVai] VcY hV[Zin aVlh VcY gZ\jaVi^dch ^c i]Z Xdjcig^Zh l]ZgZ lZ
 deZgViZ VcY+ ^c eVgi^XjaVg+ ^c CiVan VcY CgZaVcY l]ZgZ lZ ]VkZ bVcj[VXijg^c\ [VX^a^i^Zh- Ijg bVcj[VXijg^c\ VXi^k^i^Zh ^c CiVan VcY CgZaVcY ^ckdakZ i]Z
 XdcigdaaZY hidgV\Z+ jhZ VcY Y^hedhVa d[ X]Zb^XVah VcY hdakZcih- ?ck^gdcbZciVa VcY ]ZVai] VcY hV[Zin Vji]dg^i^Zh ^c i]Z gZaZkVci _jg^hY^Xi^dch
 VYb^c^hiZg aVlh i]Vi ^beaZbZci ?O Y^gZXi^kZh VcY gZ\jaVi^dch \dkZgc^c\+ Vbdc\ di]Zg bViiZgh+ i]Z Zb^hh^dc d[ edaajiVcih ^cid i]Z V^g '^cXajY^c\ i]Z
 ldg`eaVXZ(+ i]Z Y^hX]Vg\Z d[ edaajiVcih ^cid WdY^Zh d[ lViZg+ i]Z hidgV\Z+ jhZ+ ]VcYa^c\ VcY Y^hedhVa d[ ]VoVgYdjh hjWhiVcXZh+ i]Z ZmedhjgZ d[
 eZghdch id ]VoVgYdjh hjWhiVcXZh+ VcY i]Z \ZcZgVa ]ZVai]+ hV[Zin VcY lZa[VgZ d[ ZbeadnZZh VcY bZbWZgh d[ i]Z ejWa^X- Cc XZgiV^c XVhZh+ hjX] aVlh+
 Y^gZXi^kZh VcY gZ\jaVi^dch bVn ^bedhZ hig^Xi a^VW^a^in [dg edaaji^dc d[ i]Z Zck^gdcbZci VcY XdciVb^cVi^dc gZhjai^c\ [gdb he^aah+ Y^hedhVah dg di]Zg
 gZaZVhZh d[ ]VoVgYdjh hjWhiVcXZh dg lVhiZ dg Vcn b^\gVi^dc d[ hjX] ]VoVgYdjh hjWhiVcXZh dg lVhiZ- =dhih+ YVbV\Zh VcY.dg [^cZh bVn gZhjai [gdb
 i]Z egZhZcXZ+ ^ckZhi^\Vi^dc VcY gZbZY^Vi^dc d[ hjX] XdciVb^cVi^dc Vi egdeZgi^Zh XjggZcian dg [dgbZgan dlcZY+ aZVhZY dg deZgViZY Wn jh dg Vi d[[,h^iZ
 adXVi^dch+ ^cXajY^c\ l]ZgZ lZ ]VkZ VggVc\ZY [dg i]Z Y^hedhVa d[ ]VoVgYdjh hjWhiVcXZh dg lVhiZ- Cc VYY^i^dc+ lZ bVn WZ hjW_ZXi id i]^gY eVgin
 XaV^bh+ ^cXajY^c\ [dg cVijgVa gZhdjgXZ YVbV\Zh+ eZghdcVa ^c_jgn VcY egdeZgin YVbV\Z+ ^c XdccZXi^dc l^i] hjX] XdciVb^cVi^dc-


 About Jazz Pharmaceuticals plc
 DVoo J]VgbVXZji^XVah eaX lVh [dgbZY jcYZg i]Z aVlh d[ CgZaVcY 'gZ\^hiZgZY cjbWZg 288081( Vh V eg^kViZ a^b^iZY a^VW^a^in XdbeVcn ^c GVgX] 1//4 jcYZg
 i]Z cVbZ ;ojg J]VgbV F^b^iZY VcY lVh hjWhZfjZcian gZ,gZ\^hiZgZY Vh V ejWa^X a^b^iZY XdbeVcn jcYZg i]Z cVbZ ;ojg J]VgbV JjWa^X F^b^iZY
 =dbeVcn+ dg ;ojg J]VgbV+ ^c IXidWZg 1/00- Ic DVcjVgn 07+ 1/01+ i]Z Wjh^cZhhZh d[ DVoo J]VgbVXZji^XVah+ CcX- VcY ;ojg J]VgbV lZgZ XdbW^cZY ^c V
 bZg\Zg igVchVXi^dc+ ^c XdccZXi^dc l^i] l]^X] ;ojg J]VgbV lVh gZ,cVbZY DVoo J]VgbVXZji^XVah eaX VcY lZ WZXVbZ i]Z eVgZci XdbeVcn d[ VcY
 hjXXZhhdg id DVoo J]VgbVXZji^XVah+ CcX- QZ gZ[Zg id i]^h igVchVXi^dc Vh i]Z ;ojg GZg\Zg-
 Ijg egZYZXZhhdg+ DVoo J]VgbVXZji^XVah+ CcX-+ lVh ^cXdgedgViZY ^c =Va^[dgc^V ^c GVgX] 1//2 VcY lVh gZ^cXdgedgViZY ^c >ZaVlVgZ ^c DVcjVgn 1//3- Cc
 i]Z ;ojg GZg\Zg+ Vaa djihiVcY^c\ h]VgZh d[ DVoo J]VgbVXZji^XVah+ CcX-xh Xdbbdc hidX` lZgZ XVcXZaZY VcY XdckZgiZY ^cid i]Z g^\]i id gZXZ^kZ+ dc V
 dcZ,[dg,dcZ WVh^h+ djg dgY^cVgn h]VgZh-
 Cc DjcZ 1/01+ lZ VXfj^gZY ?OM; J]VgbV CcX-+ dg ?OM; J]VgbV+ l]^X] lZ gZ[Zg id Vh i]Z ?OM; ;Xfj^h^i^dc+ VcY ^c DVcjVgn 1/03+ lZ XdbeaZiZY i]Z
 VXfj^h^i^dc d[ AZci^jb M-g-a- Cc Djan 1/05+ lZ XdbeaZiZY i]Z =ZaVidg ;Xfj^h^i^dc-



 Available Information
 QZ [^aZ dg [jgc^h] ejghjVci id MZXi^dc 02'V( dg 04'Y( d[ i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY+ dg ?mX]Vc\Z ;Xi+ Vh Veea^XVWaZ+ djg
 ;ccjVa LZedgih dc @dgb 0/,E+ KjVgiZgan LZedgih dc @dgb 0/,K+ =jggZci LZedgih dc @dgb 7,E+ VbZcYbZcih id i]dhZ gZedgih+ egdmn hiViZbZcih VcY
 di]Zg ^c[dgbVi^dc ZaZXigdc^XVaan l^i] i]Z M?=- @jgi]Zg Xde^Zh d[ i]ZhZ gZedgih VgZ adXViZY Vi i]Z M?=xh JjWa^X LZ[ZgZcXZ Lddb Vi 0// @ MigZZi+ H?+
 QVh]^c\idc+ >-=- 1/438- Cc[dgbVi^dc dc i]Z deZgVi^dc d[ i]Z JjWa^X LZ[ZgZcXZ Lddb XVc WZ dWiV^cZY Wn XVaa^c\ i]Z M?= Vi 0,7//,M?=,/22/- N]Z
 M?= bV^ciV^ch V lZWh^iZ i]Vi XdciV^ch gZedgih+ egdmn hiViZbZcih VcY di]Zg ^c[dgbVi^dc gZ\VgY^c\ djg [^a^c\h Vi lll-hZX-\dk-
 N]Z bV^a^c\ VYYgZhh d[ djg ]ZVYfjVgiZgh ^h @djgi] @addg+ IcZ <jga^c\idc LdVY+ >jWa^c 3+ CgZaVcY+ VcY djg iZaZe]dcZ cjbWZg Vi i]Vi adXVi^dc ^h 242,
 0,523,67//- Ijg lZWh^iZ ^h lll-_Vooe]VgbVXZji^XVah-Xdb- N]gdj\] V a^c` dc djg lZWh^iZ+ lZ bV`Z Xde^Zh d[ djg eZg^dY^X VcY XjggZci gZedgih+ egdmn
 hiViZbZcih VcY di]Zg ^c[dgbVi^dc VkV^aVWaZ+ [gZZ d[ X]Vg\Z+ Vh hddc Vh

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 gZVhdcVWan egVXi^XVWaZ V[iZg lZ ZaZXigdc^XVaan [^aZ hjX] bViZg^Va l^i]+ dg [jgc^h] ^i id+ i]Z M?=- Cc[dgbVi^dc [djcY dc+ dg VXXZhh^WaZ i]gdj\]+ djg
 lZWh^iZ ^h cdi V eVgi d[+ VcY ^h cdi ^cXdgedgViZY ^cid+ i]^h ;ccjVa LZedgi dc @dgb 0/,E-

 Item 1A.       Risk Factors
 We have identified the following risks and uncertainties that may have a material adverse effect on our business, financial condition or results of
 operations. The risks described below are not the only ones we face. Additional risks not presently known to us or that we currently believe are
 immaterial may also significantly impair our business operations. Our business could be harmed by any of these risks. The trading price of our
 ordinary shares could decline due to any of these risks, and you may lose all or part of your investment. In assessing these risks, you should also
 refer to the other information contained in this Annual Report on Form 10-K, including our consolidated financial statements and
 accompanying notes.
 Risks Related to Xyrem and the Significant Impact of Xyrem Sales
 Xyrem is our largest selling product, and our inability to maintain or increase sales of Xyrem would have a material adverse effect on our
 business, financial condition, results of operations and growth prospects.
 RngZb ^h djg aVg\Zhi hZaa^c\ egdYjXi+ VcY djg [^cVcX^Va gZhjaih VgZ h^\c^[^XVcian ^c[ajZcXZY Wn hVaZh d[ RngZb+ l]^X] VXXdjciZY [dg 64-/$ VcY 61-4$
 d[ djg cZi egdYjXi hVaZh [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05 VcY 1/04- Ijg [jijgZ eaVch VhhjbZ i]Vi hVaZh d[ RngZb l^aa ^cXgZVhZ+ Vai]dj\] djg
 eaVch VhhjbZ V hadlZg gViZ d[ ^cXgZVhZ i]Vc ^c gZXZci nZVgh- Q]^aZ RngZb egdYjXi hVaZh \gZl [gdb 1/04 id 1/05+ lZ XVccdi VhhjgZ ndj i]Vi lZ XVc
 bV^ciV^c hVaZh d[ RngZb Vi dg cZVg XjggZci aZkZah+ dg i]Vi RngZb hVaZh l^aa Xdci^cjZ id \gdl- QZ ]VkZ eZg^dY^XVaan ^cXgZVhZY i]Z eg^XZ d[ RngZb+ bdhi
 gZXZcian ^c DVcjVgn 1/06+ VcY lZ XVccdi VhhjgZ ndj i]Vi eg^XZ VY_jhibZcih lZ ]VkZ iV`Zc dg bVn iV`Z ^c i]Z [jijgZ l^aa cdi cZ\Vi^kZan V[[ZXi RngZb
 hVaZh kdajbZh-
 Cc VYY^i^dc id di]Zg g^h`h YZhXg^WZY ]ZgZ^c+ djg VW^a^in id bV^ciV^c dg ^cXgZVhZ RngZb egdYjXi hVaZh ^h hjW_ZXi id V cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh+
 i]Z bdhi ^bedgiVci d[ l]^X] VgZ Y^hXjhhZY ^c bdgZ YZiV^a WZadl+ ^cXajY^c\ i]dhZ gZaViZY id9
 s          i]Z ediZci^Va XdbbZgX^Va^oVi^dc d[ V \ZcZg^X kZgh^dc d[ RngZb+ ^cXajY^c\ ^c XdccZXi^dc l^i] i]Z gZXZci VeegdkVa Wn i]Z O-M- @ddY VcY
            >gj\ ;Yb^c^higVi^dc+ dg @>;+ d[ Vc VWWgZk^ViZY cZl Ygj\ Veea^XVi^dc+ dg ;H>;+ [dg V \ZcZg^X kZgh^dc d[ RngZb+ Vh lZaa Vh iZciVi^kZ
            VeegdkVa d[ ild VYY^i^dcVa ;H>;h:
 s          i]Z ediZci^Va O-M- ^cigdYjXi^dc d[ Vc VaiZgcVi^kZ egdYjXi id RngZb [dg igZVi^c\ XViVeaZmn VcY.dg ZmXZhh^kZ YVni^bZ haZZe^cZhh+ dg ?>M+ ^c
            cVgXdaZehn:
 s          X]Vc\Zh id+ ^cXgZVhZh d[ dg jcXZgiV^ci^Zh VgdjcY gZ\jaVidgn gZhig^Xi^dch+ ^cXajY^c\ X]Vc\Zh id djg RngZb g^h` ZkVajVi^dc VcY b^i^\Vi^dc
            higViZ\n+ dg L?GM+ eVgi^XjaVgan ^c a^\]i d[ i]Z @>;xh lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZb L?GM gZfj^gZbZci [dg hdY^jb dmnWViZ VcY
            VeegdkVa d[ V hZeVgViZ \ZcZg^X hdY^jb dmnWViZ L?GM:
 s          Vcn ^cXgZVhZ ^c eg^X^c\ egZhhjgZ [gdb+ dg gZhig^Xi^dch dc gZ^bWjghZbZci ^bedhZY Wn+ i]^gY eVgin eVndgh:
 s          X]Vc\Zh ^c ]ZVai]XVgZ aVlh VcY eda^Xn+ ^cXajY^c\ X]Vc\Zh ^c gZfj^gZbZcih [dg eVi^Zci Vhh^hiVcXZ egd\gVbh+ gZWViZh+ gZ^bWjghZbZci VcY
            XdkZgV\Z Wn [ZYZgVa ]ZVai]XVgZ egd\gVbh+ VcY X]Vc\Zh gZhjai^c\ [gdb ^cXgZVhZY hXgji^cn dc e]VgbVXZji^XVa eg^X^c\ Wn \dkZgcbZci
            Zci^i^Zh:
 s          deZgVi^dcVa Y^hgjei^dch Vi i]Z RngZb XZcigVa e]VgbVXn dg Vcn [V^ajgZ id Xdbean l^i] djg L?GM dWa^\Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;:
 s          Vcn hjeean dg bVcj[VXijg^c\ egdWaZbh+ ^cXajY^c\ Vcn egdWaZbh l^i] djg hdaZ hdjgXZ RngZb ;JC egdk^YZg:
 s          Xdci^cjZY VXXZeiVcXZ d[ RngZb Wn e]nh^X^Vch VcY eVi^Zcih+ ZkZc ^c i]Z [VXZ d[ cZ\Vi^kZ ejWa^X^in i]Vi hjg[VXZh [gdb i^bZ id i^bZ:
 s          X]Vc\Zh id djg aVWZa+ ^cXajY^c\ cZl hV[Zin lVgc^c\h dg X]Vc\Zh id djg WdmZY lVgc^c\+ i]Vi [jgi]Zg gZhig^Xi ]dl lZ bVg`Zi VcY hZaa RngZb:
            VcY
 s          djg O-M-,WVhZY hdY^jb dmnWViZ VcY RngZb hjeea^Zghx VW^a^in id dWiV^c hj[[^X^Zci fjdiVh [gdb i]Z O-M- >gj\ ?c[dgXZbZci ;Yb^c^higVi^dc+
            dg >?;+ id hVi^h[n djg cZZYh [dg RngZb-
 N]ZhZ VcY i]Z di]Zg g^h`h YZhXg^WZY WZadl gZaViZY id RngZb egdYjXi hVaZh VcY egdiZXi^dc d[ djg egdeg^ZiVgn g^\]ih XdjaY ]VkZ V bViZg^Va VYkZghZ
 Z[[ZXi dc djg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ RngZb-
 C[ hVaZh d[ RngZb lZgZ id YZXa^cZ h^\c^[^XVcian+ lZ b^\]i cZZY id gZYjXZ djg deZgVi^c\ ZmeZchZh dg hZZ` id gV^hZ VYY^i^dcVa [jcYh+ l]^X] ldjaY ]VkZ
 V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih+ dg lZ b^\]i cdi WZ VWaZ id VXfj^gZ+ ^c,
 a^XZchZ dg YZkZade cZl egdYjXih ^c i]Z [jijgZ id \gdl djg Wjh^cZhh-

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 The approval and launch of a generic version of Xyrem or other sodium oxybate products that compete with Xyrem would adversely affect
 sales of Xyrem.
 ;ai]dj\] RngZb ^h egdiZXiZY Wn eViZcih XdkZg^c\ ^ih bVcj[VXijgZ+ [dgbjaVi^dc+ Y^hig^Wji^dc hnhiZb VcY bZi]dY d[ jhZ+ bjai^eaZ i]^gY eVgi^Zh ]VkZ
 [^aZY ;H>;h hZZ`^c\ @>; VeegdkVa d[ \ZcZg^X kZgh^dch d[ RngZb- Cc VYY^i^dc+ lZ VgZ VlVgZ d[ V i]^gY eVgin i]Vi ]Vh hiViZY i]Vi ^i ^ciZcYh id [^aZ V
 cZl Ygj\ Veea^XVi^dc+ dg H>;+ jcYZg hZXi^dc 4/4'W('1( id bVg`Zi V dcXZ,c^\]ian [dgbjaVi^dc d[ hdY^jb dmnWViZ [dg igZVibZci d[ XViVeaZmn VcY.dg
 ?>M ^c cVgXdaZehn- Hdil^i]hiVcY^c\ djg eViZcih+ ^i ^h edhh^WaZ i]Vi dcXZ ^ih Veea^XVi^dc ^h VeegdkZY+ Vc ;H>; [^aZg dg H>; [^aZg XdjaY ^cigdYjXZ V
 XdbeZi^c\ hdY^jb dmnWViZ egdYjXi WZ[dgZ djg eViZcih Zme^gZ ^[ ^i ^h YZiZgb^cZY i]Vi ^i YdZh cdi ^c[g^c\Z djg eViZcih+ dg i]Vi djg eViZcih VgZ ^ckVa^Y
 dg jcZc[dgXZVWaZ+ dg ^[ hjX] XdbeVcn dg XdbeVc^Zh YZX^YZ+ WZ[dgZ Veea^XVWaZ dc\d^c\ eViZci a^i^\Vi^dc ^h XdcXajYZY+ id aVjcX] V hdY^jb dmnWViZ
 egdYjXi Vi g^h` d[ WZ^c\ ]ZaY a^VWaZ [dg YVbV\Zh [dg eViZci ^c[g^c\ZbZci- ;h Y^hXjhhZY WZadl+ i]Z @>; ]Vh VeegdkZY i]Z [^ghi ;H>; [dg RngZb VcY
 ]Vh iZciVi^kZan VeegdkZY ild VYY^i^dcVa ;H>;h-
 MZkZc XdbeVc^Zh hZci jh cdi^XZh i]Vi i]Zn ]VY [^aZY ;H>;h l^i] i]Z @>; hZZ`^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb+ VcY lZ [^aZY
 eViZci aVlhj^ih V\V^chi ZVX] d[ i]ZhZ XdbeVc^Zh ^c i]Z >^hig^Xi =djgi [dg HZl DZghZn+ dg >^hig^Xi =djgi- Cc i]Z hZXdcY fjVgiZg d[ 1/05+ lZ hZiiaZY ild
 d[ i]ZhZ aVlhj^ih+ \gVci^c\ i]Z hZiia^c\ ;H>; Veea^XVcih V a^XZchZ id bVcj[VXijgZ+ bVg`Zi VcY hZaa i]Z^g \ZcZg^X kZgh^dch d[ RngZb dc dg V[iZg
 >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- Cc 1/05+ i]Z >^hig^Xi =djgi Xdchda^YViZY Vaa d[ djg eZcY^c\ eViZci
 a^i^\Vi^dc V\V^chi QZhi,QVgY J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg LdmVcZ+ 'l^i] i]Z ZmXZei^dc d[ i]Z XVhZ [^aZY
 V\V^chi LdmVcZ ^c ;j\jhi 1/05( VcY hZi i]Z XdbW^cZY Xdchda^YViZY XVhZ [dg ig^Va ^c i]Z hZXdcY fjVgiZg d[ 1/06- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z
 >^hig^Xi =djgi W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z XdbW^cZY Xdchda^YViZY XVhZ ^ckdak^c\ i]Z eViZcih dc i]Z RngZb Y^hig^Wji^dc hnhiZb+ dg L?GM
 eViZcih- QZ XVccdi egZY^Xi i]Z i^b^c\ dg djiXdbZ d[ i]^h dg i]Z di]Zg ;H>; a^i^\Vi^dc egdXZZY^c\h V\V^chi i]Z gZbV^c^c\ cdc,hZiia^c\ ;H>; [^aZgh+
 l]^X] ]VkZ WZZc Xdchda^YViZY Vh dcZ XVhZ ^c i]Z >^hig^Xi =djgi+ l^i] cd ig^Va YViZ hZi-
 =ZgiV^c ;H>; [^aZgh Vahd [^aZY eZi^i^dch [dg ^ciZg eVgiZh gZk^Zl+ dg CJL+ Wn i]Z JViZci Ng^Va VcY ;eeZVa <dVgY+ dg i]Z JN;<+ d[ i]Z O-M- JViZci VcY
 NgVYZbVg` I[[^XZ+ dg OMJNI+ l^i] gZheZXi id i]Z kVa^Y^in d[ XZgiV^c Y^hig^Wji^dc+ bZi]dY d[ jhZ VcY [dgbjaVi^dc eViZcih XdkZg^c\ RngZb- N]Z JN;<
 ^chi^ijiZY CJL ig^Vah l^i] gZheZXi id eViZcih VcY eViZci XaV^bh i]Vi VgZ i]Z hjW_ZXi d[ XZgiV^c d[ i]ZhZ eZi^i^dch- Cc Djan 1/05+ i]Z JN;< ^hhjZY [^cVa
 YZX^h^dch i]Vi i]Z XaV^bh d[ h^m d[ hZkZc L?GM eViZcih VgZ jceViZciVWaZ- QZ [^aZY V cdi^XZ d[ VeeZVa d[ i]ZhZ YZX^h^dch dc @ZWgjVgn 11+ 1/06- C[ i]Z
 Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY+ VcY lZ l^aa cdi WZ VWaZ id
 Zc[dgXZ i]ZhZ eViZcih- Cc GVgX] 1/05+ i]Z JN;< eVgi^Vaan ^chi^ijiZY Vc CJL dc V hZkZci] L?GM eViZci+ YZXa^c^c\ id gZk^Zl 14 d[ 17 XaV^bh- ; JN;<
 YZX^h^dc dc i]Z i]gZZ XaV^bh i]Vi lZgZ ig^ZY ^h ZmeZXiZY WZ[dgZ i]Z ZcY d[ i]Z [^ghi fjVgiZg d[ 1/06- @dg V YZhXg^ei^dc d[ i]ZhZ aZ\Va egdXZZY^c\h+ hZZ
 vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E- QZ XVccdi egZY^Xi l]Zi]Zg VYY^i^dcVa edhi,\gVci eViZci gZk^Zl
 X]VaaZc\Zh l^aa WZ [^aZY Wn Vcn d[ i]Z ;H>; [^aZgh dg Vcn di]Zg Zci^in+ i]Z djiXdbZ d[ Vcn eZcY^c\ CJL dg di]Zg egdXZZY^c\+ i]Z djiXdbZ d[ Vcn
 VeeZVa d[ i]Z Djan 1/05 CJL YZX^h^dch l^i] gZheZXi id i]Z h^m L?GM eViZcih dg i]Z ^beVXi Vcn CJL dg di]Zg egdXZZY^c\ b^\]i ]VkZ dc dc\d^c\
 ;H>; a^i^\Vi^dc egdXZZY^c\h dg di]Zg VheZXih d[ djg RngZb Wjh^cZhh-
 Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ LdmVcZxh ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>;
 cdiZh i]Vi LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\ ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa
 Vahd ^cXajYZh V lV^kZg i]Vi eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM
 hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb dmnWViZ egdYjXih- Ic DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild
 VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa J]VgbVXZji^XVah+ dg ;bcZVa+ VcY dcZ [dg I]b FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc
 Vh LVcWVmn+ CcX-+ dg LVcWVmn+ VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa ;H>;h-
 N]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h jcXZgiV^c- Ci ^h edhh^WaZ i]Vi LdmVcZ dg Vcn di]Zg XdbeVcn i]Vi
 gZXZ^kZh @>; VeegdkVa d[ Vc ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb dg Vc H>; [dg Vcdi]Zg hdY^jb dmnWViZ egdYjXi XdjaY ^cigdYjXZ V \ZcZg^X
 kZgh^dc d[ RngZb dg di]Zg hdY^jb dmnWViZ egdYjXi WZ[dgZ djg eViZcih Zme^gZ ^[ ^i ^h YZiZgb^cZY i]Vi Vcn hjX] \ZcZg^X kZgh^dc d[ RngZb dg hdY^jb
 dmnWViZ egdYjXi YdZh cdi ^c[g^c\Z djg eViZcih+ dg i]Vi djg eViZcih VgZ ^ckVa^Y dg jcZc[dgXZVWaZ+ dg ^[ hjX] XdbeVcn dg XdbeVc^Zh YZX^YZ+ WZ[dgZ
 Veea^XVWaZ dc\d^c\ eViZci a^i^\Vi^dc ^h XdcXajYZY+ id aVjcX] V hdY^jb dmnWViZ egdYjXi Vi g^h` d[ WZ^c\ ]ZaY a^VWaZ [dg YVbV\Zh [dg eViZci
 ^c[g^c\ZbZci- QZ XVccdi egZY^Xi l]Zi]Zg lZ l^aa WZ VWaZ id bV^ciV^c i]Z kVa^Y^in d[ Vcn d[ djg eViZcih dg l^aa di]Zgl^hZ dWiV^c V _jY^X^Va
 YZiZgb^cVi^dc i]Vi V \ZcZg^X hdY^jb dmnWViZ egdYjXi+ ^ih eVX`V\Z ^chZgi dg i]Z \ZcZg^X hdY^jb dmnWViZ L?GM ^c[g^c\Zh Vcn d[ djg eViZcih dg+ ^[ lZ
 egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[
 RngZb dg ^chiZVY gZfj^gZ i]Z ;H>; [^aZgh id eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain- BdlZkZg+ lZ ZmeZXi i]Vi i]Z aVjcX] d[ V
 \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg egdYjXih i]Vi XdbeZiZ l^i] RngZb+ ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh
 d[ RngZb VcY dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h
 VhhdX^ViZY l^i] @>; VeegdkVa d[ i]Z LdmVcZ ;H>;+ iZciVi^kZ VeegdkVa d[ i]Z ;bcZVa VcY LVcWVmn ;H>;h+ ediZci^Va VeegdkVa dg iZciVi^kZ
 VeegdkVa d[ VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg hdY^jb dmnWViZ
 egdYjXih i]Vi

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 NVWaZ d[ =dciZcih



 XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,N]Z BViX],
 QVmbVc ;Xiw ^c i]^h JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z
 M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c i]^h JVgi C+ CiZb 0;-
 Ii]Zg XdbeVc^Zh XdjaY Vahd YZkZade egdYjXih i]Vi VgZ h^b^aVg+ Wji cdi ^YZci^XVa+ id RngZb+ hjX] Vh Vc VaiZgcVi^kZ [dgbjaVi^dc dg Vc VaiZgcVi^kZ
 [dgbjaVi^dc XdbW^cZY l^i] V Y^[[ZgZci YZa^kZgn iZX]cdad\n+ VcY hZZ` VeegdkVa ^c i]Z O-M- Wn gZ[ZgZcX^c\ RngZb VcY gZan^c\+ id hdbZ YZ\gZZ+ dc i]Z
 @>;xh VeegdkVa d[ RngZb VcY gZaViZY YZiZgb^cVi^dch d[ hV[Zin VcY Z[[^XVXn- @dg ZmVbeaZ+ ;kVYZa J]VgbVXZji^XVah eaX+ dg ;kVYZa+ V XdbeVcn i]Vi ^h
 jh^c\ ^ih egdeg^ZiVgn iZX]cdad\n [dg YZa^kZgn d[ V hdY^jb dmnWViZ [dgbjaVi^dc id Za^b^cViZ hZXdcY c^\]ii^bZ Ydh^c\ [dg cVgXdaZehn eVi^Zcih+ ]Vh
 hiViZY i]Vi ^i ^h XdcYjXi^c\ V J]VhZ 2 e^kdiVa ig^Va ejghjVci id Vc @>;,VeegdkZY heZX^Va egdidXda VhhZhhbZci+ VcY ]Vh ^cY^XViZY i]Vi ^i ^ciZcYh id
 hZZ` VeegdkVa d[ ^ih egdYjXi XVcY^YViZ jh^c\ V 4/4'W('1( H>; VeegdkVa eVi]lVn+ l]^X] Vaadlh XdbeVc^Zh id hZZ` VeegdkVa d[ V egdYjXi i]Vi ^h
 h^b^aVg+ Wji cdi ^YZci^XVa+ id V egZk^djhan,VeegdkZY WgVcY,cVbZ egdYjXi- C[ ;kVYZa ^h hjXXZhh[ja ^c YZkZade^c\ V hdY^jb dmnWViZ [dgbjaVi^dc i]Vi
 XdjaY WZ Z[[ZXi^kZan jhZY l^i] ^ih YZa^kZgn iZX]cdad\n VcY ^h VWaZ id dWiV^c @>; dg di]Zg gZ\jaVidgn VeegdkVa [dg ^ih egdYjXi id igZVi cVgXdaZehn
 eVi^Zcih+ lZ ZmeZXi i]Z aVjcX] d[ hjX] V egdYjXi ldjaY XdbeZiZ l^i] RngZb VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va
 XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 ;[iZg Vcn ^cigdYjXi^dc d[ V \ZcZg^X XdbeZi^idg+ V h^\c^[^XVci eZgXZciV\Z d[ i]Z egZhXg^ei^dch lg^iiZc [dg RngZb bVn WZ [^aaZY l^i] i]Z \ZcZg^X kZgh^dc+
 gZhjai^c\ ^c V adhh ^c hVaZh d[ RngZb- AZcZg^X XdbeZi^i^dc d[iZc Vahd gZhjaih ^c YZXgZVhZh ^c i]Z eg^XZh Vi l]^X] WgVcYZY egdYjXih XVc WZ hdaY+
 eVgi^XjaVgan l]Zc i]ZgZ ^h bdgZ i]Vc dcZ \ZcZg^X VkV^aVWaZ ^c i]Z bVg`ZieaVXZ- Cc VYY^i^dc+ XZgiV^c O-M- hiViZ aVlh Vaadl [dg+ VcY ^c hdbZ ^chiVcXZh ^c
 i]Z VWhZcXZ d[ heZX^[^X ^chigjXi^dch [gdb i]Z egZhXg^W^c\ e]nh^X^Vc bVcYViZ+ i]Z Y^heZch^c\ d[ \ZcZg^X egdYjXih gVi]Zg i]Vc WgVcYZY egdYjXih
 l]ZgZ V \ZcZg^X kZgh^dc ^h VkV^aVWaZ- Cc VYY^i^dc+ i]Z @>;xh VeegdkVa d[ V hZeVgViZ L?GM [dg \ZcZg^X hdY^jb dmnWViZ egdYjXih bZVch i]Vi hjX]
 egdYjXih XdjaY WZ Y^hig^WjiZY i]gdj\] bjai^eaZ e]VgbVX^Zh- MjX] X]Vc\Zh ^c i]Z Y^hig^Wji^dc d[ RngZb bVn aZVY id cZ\Vi^kZ ZmeZg^ZcXZh [dg
 eVi^Zcih+ egZhXg^WZgh VcY i]Z ejWa^X i]Vi XdjaY ^beVXi VXXZeiVcXZ d[ hdY^jb dmnWViZ Vh V igZVibZci [dg ?>M VcY XViVeaZmn ^c cVgXdaZehn- QZ ZmeZXi
 i]Vi \ZcZg^X XdbeZi^i^dc [dg RngZb ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli]
 egdheZXih- @dg bdgZ ^c[dgbVi^dc VWdji ediZci^Va XdbeZi^i^dc [dg RngZb+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vQZ [VXZ hjWhiVci^Va XdbeZi^i^dc [gdb
 di]Zg XdbeVc^Zh+ ^cXajY^c\ XdbeVc^Zh l^i] \gZViZg gZhdjgXZh+ ^cXajY^c\ aVg\Zg hVaZh dg\Vc^oVi^dch VcY bdgZ ZmeZg^ZcXZ ldg`^c\ l^i] aVg\Z VcY
 Y^kZghZ egdYjXi edgi[da^dh+ i]Vc lZ ]VkZw ^c i]^h JVgi C+ CiZb 0;-
 The distribution and sale of Xyrem are subject to significant regulatory oversight and restrictions and the requirements of a risk evaluation
 and mitigation strategy, and these restrictions and requirements, as well as the potential impact of changes to these restrictions and
 requirements, subject us to increased risks and uncertainties, any of which could negatively impact sales of Xyrem.
 ;h V XdcY^i^dc d[ VeegdkVa d[ RngZb+ i]Z @>; bVcYViZY i]Vi lZ bV^ciV^c V g^h` bVcV\ZbZci VcY XdcigdaaZY Y^hig^Wji^dc hnhiZb+ dg RngZb L^h`
 GVcV\ZbZci Jgd\gVb+ ^c Xdc_jcXi^dc l^i] RngZbxh VeegdkVa Wn i]Z @>; id ZchjgZ i]Z hV[Z Y^hig^Wji^dc d[ RngZb VcY b^c^b^oZ i]Z g^h` d[ b^hjhZ+
 VWjhZ VcY Y^kZgh^dc d[ hdY^jb dmnWViZ- N]Z RngZb L^h` GVcV\ZbZci Jgd\gVb ^cXajYZY ZaZbZcih hjX] Vh eVi^Zci VcY e]nh^X^Vc ZYjXVi^dc+ V
 YViVWVhZ d[ ^c[dgbVi^dc id igVX` VcY gZedgi XZgiV^c ^c[dgbVi^dc+ VcY i]Z jhZ d[ V h^c\aZ XZcigVa e]VgbVXn id Y^hig^WjiZ RngZb- N]Z RngZb L^h`
 GVcV\ZbZci Jgd\gVb+ VYdeiZY ^c 1//1 WZ[dgZ i]Z @>; ]VY Vji]dg^in id gZfj^gZ L?GM+ lVh YZZbZY id WZ Vc VeegdkZY L?GM ejghjVci id i]Z @ddY
 VcY >gj\ ;Yb^c^higVi^dc ;bZcYbZcih ;Xi+ dg @>;;;- N]Z @>;;;+ l]^X] VbZcYZY i]Z @ZYZgVa @ddY+ >gj\ VcY =dhbZi^X ;Xi+ dg @>=;+
 gZfj^gZY i]Vi YZZbZY L?GM VcY gZaViZY YdXjbZcih WZ jeYViZY id Xdbean l^i] i]Z XjggZci gZfj^gZbZcih [dg L?GM YdXjbZcih- Cc @ZWgjVgn 1/04+
 i]Z @>; cdi^[^ZY DVoo J]VgbVXZji^XVah+ CcX-+ djg l]daan dlcZY hjWh^Y^Vgn+ d[ i]Z @>;xh VeegdkVa d[ i]Z XjggZci RngZb L?GM+ l]^X] ^cXajYZh
 egdk^h^dch gZfj^g^c\ Y^hig^Wji^dc i]gdj\] V h^c\aZ e]VgbVXn-
 N]Z 1/04 RngZb L?GM VeegdkVa aZiiZg ^cXajYZY hiViZbZcih [gdb i]Z @>; i]Vi '^( i]Z VeegdkVa VXi^dc h]djaY cdi WZ XdchigjZY dg jcYZghiddY Vh
 V\gZZbZci l^i] l]Vi i]Z @>; hiViZY lVh djg edh^i^dc i]Vi Y^heZch^c\ i]gdj\] V h^c\aZ e]VgbVXn ^h i]Z dcan lVn id ZchjgZ i]Vi i]Z WZcZ[^ih d[
 RngZb djilZ^\] ^ih g^h`h+ VcY i]Vi i]Z @>; ]Vh Xdci^cj^c\ XdcXZgch i]Vi a^b^i^c\ i]Z Y^hig^Wji^dc d[ RngZb id dcZ e]VgbVXn ^bedhZh WjgYZch dc
 eVi^Zci VXXZhh VcY i]Z ]ZVai]XVgZ YZa^kZgn hnhiZb+ VcY '^^( Vh l^i] Vaa L?GM+ i]Z @>; ^ciZcYh id ZkVajViZ i]Z RngZb L?GM dc Vc dc\d^c\ WVh^h
 VcY l^aa gZfj^gZ bdY^[^XVi^dch Vh bVn WZ Veegdeg^ViZ- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>; l^aa hZZ` id gZfj^gZ dg jai^bViZan gZfj^gZ bdY^[^XVi^dch id
 i]Z RngZb L?GM+ ^cXajY^c\ l^i] gZheZXi id i]Z Y^hig^Wji^dc hnhiZb 'eVgi^XjaVgan cdl i]Vi i]Z @>; ]Vh VeegdkZY V hZeVgViZ L?GM [dg i]Z ;H>;
 [^aZgh i]Vi XdciZbeaViZh ^ciZgVXi^dc l^i] i]Z RngZb L?GM(+ dg hZZ` id di]Zgl^hZ ^bedhZ dg jai^bViZan ^bedhZ VYY^i^dcVa gZfj^gZbZcih id i]Z RngZb
 L?GM+ dg i]Z ediZci^Va i^b^c\+ iZgbh dg egdeg^Zin i]ZgZd[- ;cn hjX] bdY^[^XVi^dch dg VYY^i^dcVa gZfj^gZbZcih XdjaY ediZci^Vaan bV`Z ^i ZVh^Zg [dg
 [jijgZ hdY^jb dmnWViZ XdbeZi^idgh+ bV`Z ^i bdgZ Y^[[^Xjai dg ZmeZch^kZ [dg jh id Y^hig^WjiZ RngZb+ bV`Z Y^hig^Wji^dc ZVh^Zg [dg [jijgZ hdY^jb dmnWViZ
 XdbeZi^idgh+ ^beV^g i]Z hV[Zin egd[^aZ d[ RngZb VcY.dg cZ\Vi^kZan V[[ZXi hVaZh d[ RngZb- GdgZdkZg+ V hdY^jb dmnWViZ Y^hig^Wji^dc hnhiZb i]Vi ^h aZhh
 gZhig^Xi^kZ i]Vc i]Z RngZb L?GM+ hjX] Vh i]Z \ZcZg^X hdY^jb dmnWViZ L?GM VeegdkZY Wn i]Z @>; ^c DVcjVgn 1/06+ bVn ^cXgZVhZ i]Z g^h`h
 VhhdX^ViZY

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 l^i] hdY^jb dmnWViZ Y^hig^Wji^dc+ Vh eVi^Zcih+ XdchjbZgh VcY di]Zgh bVn cdi Y^[[ZgZci^ViZ \ZcZg^X hdY^jb dmnWViZ [gdb RngZb+ dg Y^[[ZgZci^ViZ
 WZilZZc i]Z Y^[[ZgZci L?GM egd\gVbh- ;cn cZ\Vi^kZ djiXdbZh+ ^cXajY^c\ Wji cdi a^b^iZY id g^h`h id i]Z ejWa^X+ XVjhZY Wn dg di]Zgl^hZ gZaViZY id V
 hZeVgViZ \ZcZg^X hdY^jb dmnWViZ L?GM+ XdjaY ]VkZ V h^\c^[^XVci cZ\Vi^kZ ^beVXi ^c iZgbh d[ egdYjXi a^VW^a^in+ \ddYl^aa+ VcY egZhXg^WZghx l^aa^c\cZhh
 id egZhXg^WZ+ VcY eVi^Zcihx l^aa^c\cZhh id iV`Z+ RngZb+ Vcn d[ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg RngZb gZkZcjZh-
 Cc ;j\jhi 1/04+ lZ ^beaZbZciZY i]Z XjggZci RngZb L?GM+ VcY lZ ]VkZ hjWb^iiZY VcY ZmeZXi id Xdci^cjZ id hjWb^i dc\d^c\ VhhZhhbZcih Vh hZi
 [dgi] ^c i]Z @>;xh RngZb L?GM VeegdkVa aZiiZg- BdlZkZg+ lZ XVccdi \jVgVciZZ i]Vi djg ^beaZbZciVi^dc VcY dc\d^c\ VhhZhhbZcih l^aa WZ
 hVi^h[VXidgn id i]Z @>; dg i]Vi i]Z RngZb L?GM l^aa hVi^h[n i]Z @>;xh ZmeZXiVi^dch ^c ^ih ZkVajVi^dc d[ i]Z RngZb L?GM dc Vc dc\d^c\ WVh^h- ;cn
 [V^ajgZ id Xdbean l^i] i]Z L?GM dWa^\Vi^dch XdjaY gZhjai ^c Zc[dgXZbZci VXi^dc Wn i]Z @>;: aZVY id X]Vc\Zh ^c djg RngZb L?GM dWa^\Vi^dch:
 cZ\Vi^kZan V[[ZXi hVaZh d[ RngZb: gZhjai ^c VYY^i^dcVa Xdhih VcY ZmeZchZh [dg jh: VcY.dg iV`Z V h^\c^[^XVci Vbdjci d[ i^bZ+ Vcn d[ l]^X] XdjaY
 bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Q]^aZ lZ ]VkZ Vc ZmXajh^kZ V\gZZbZci l^i] ?megZhh MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh+ CcX-+ dg ?megZhh MXg^eih+ i]Z XZcigVa e]VgbVXn [dg
 RngZb+ i]gdj\] DjcZ 1/06+ ^[ i]Z XZcigVa e]VgbVXn YdZh cdi [ja[^aa ^ih XdcigVXijVa dWa^\Vi^dch id jh+ [V^ah id bZZi i]Z gZfj^gZbZcih d[ i]Z RngZb
 L?GM Veea^XVWaZ id i]Z XZcigVa e]VgbVXn+ egdk^YZh i^bZan cdi^XZ i]Vi ^i lVcih id iZgb^cViZ djg V\gZZbZci+ gZ[jhZh dg [V^ah id VYZfjViZan hZgkZ
 eVi^Zcih+ dg [V^ah id egdbeian VcY VYZfjViZan VYYgZhh deZgVi^dcVa X]VaaZc\Zh+ l]Zi]Zg ZmeZXiZY dg jcZmeZXiZY+ i]Z [ja[^aabZci d[ RngZb egZhXg^ei^dch
 VcY djg hVaZh ldjaY WZ VYkZghZan V[[ZXiZY- C[ lZ X]Vc\Z id V cZl XZcigVa e]VgbVXn+ cZl XdcigVXih b^\]i WZ gZfj^gZY l^i] \dkZgcbZci VcY di]Zg
 ^chjgZgh l]d eVn [dg RngZb+ VcY i]Z iZgbh d[ Vcn cZl XdcigVXih XdjaY WZ aZhh [VkdgVWaZ id jh i]Vc XjggZci V\gZZbZcih- Cc VYY^i^dc+ Vcn cZl XZcigVa
 e]VgbVXn ldjaY cZZY id WZ gZ\^hiZgZY l^i] i]Z >?; VcY ldjaY Vahd cZZY id ^beaZbZci i]Z eVgi^XjaVg egdXZhhZh+ egdXZYjgZh VcY VXi^k^i^Zh
 cZXZhhVgn id Y^hig^WjiZ RngZb jcYZg i]Z RngZb L?GM- NgVch^i^dc^c\ id V cZl e]VgbVXn XdjaY gZhjai ^c egdYjXi h]dgiV\Zh+ l]^X] ldjaY cZ\Vi^kZan
 V[[ZXi hVaZh d[ RngZb+ gZhjai ^c VYY^i^dcVa Xdhih VcY ZmeZchZh [dg jh VcY.dg iV`Z V h^\c^[^XVci Vbdjci d[ i^bZ+ Vcn d[ l]^X] XdjaY bViZg^Vaan VcY
 VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 MZXi^dc 4/4,0'^('0( d[ i]Z @>=; \ZcZgVaan egdk^YZh i]Vi '^( Vc ;H>; i]Vi gZ[ZgZcXZh V Ygj\ hjW_ZXi id V L?GM l^i] ZaZbZcih id VhhjgZ hV[Z jhZ+ dg
 ?N;MO+ ^h gZfj^gZY id ]VkZ V L?GM l^i] i]Z hVbZ ZaZbZcih Vh i]Z gZ[ZgZcXZ a^hiZY Ygj\+ dg LF>+ VcY '^^( i]Z ;H>; Ygj\ VcY i]Z LF> h]Vaa jhZ V
 h^c\aZ h]VgZY hnhiZb id VhhjgZ hV[Z jhZ- BdlZkZg+ i]Z @>; bVn lV^kZ i]^h gZfj^gZbZci [dg V h^c\aZ h]VgZY hnhiZb VcY VeegdkZ Vc ;H>; l^i] V
 hZeVgViZ L?GM l^i] Y^[[Zg^c\ Wji XdbeVgVWaZ VheZXih d[ ?N;MO ^[ i]Z @>; Z^i]Zg YZiZgb^cZh i]Vi i]Z WjgYZc d[ XgZVi^c\ V h^c\aZ h]VgZY hnhiZb
 djilZ^\]h ^ih WZcZ[^i+ dg ^[ i]Z ;H>; Veea^XVci XZgi^[^Zh i]Vi ^i ]Vh WZZc jcVWaZ id dWiV^c V a^XZchZ id Vcn VheZXih d[ i]Z L?GM [dg i]Z LF> i]Vi VgZ
 XdkZgZY Wn V eViZci dg V igVYZ hZXgZi- N]Z @>=; egdk^YZh i]Vi i]Z @>; bVn hZZ` id cZ\di^ViZ V a^XZchZ WZilZZc i]Z ;H>; Veea^XVci VcY i]Z
 hedchdg d[ i]Z LF> WZ[dgZ \gVci^c\ V lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZb gZfj^gZbZci- N]Z @>=; [jgi]Zg hiViZh i]Vi V L?GM h]Vaa cdi WZ jhZY Wn
 i]Z H>; ]daYZg id WadX` dg YZaVn \ZcZg^X Ygj\h [gdb ZciZg^c\ i]Z bVg`Zi-
 Cc DVcjVgn 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ i]Z LdmVcZ ;H>; VcY lV^kZY i]Z h]VgZY L?GM gZfj^gZbZci- N]Z @>;xh lV^kZg d[ i]Z h]VgZY
 L?GM gZfj^gZbZci eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM hnhiZb WZ
 deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb dmnWViZ egdYjXih- Cc XdccZXi^dc l^i] i]Z lV^kZg+ @>; ^hhjZY V hiViZbZci i]Vi ^i
 Xdch^YZgh i]Z \ZcZg^X hdY^jb dmnWViZ L?GM id ]VkZ i]Z hVbZ ?N;MO Vh i]Z RngZb L?GM VcY deZgVi^dcVa^oZh i]dhZ ZaZbZcih ^c V XdbeVgVWaZ
 bVccZg id VX]^ZkZ i]Z hVbZ aZkZa d[ hV[Zin Vh i]Z RngZb L?GM- QZ lZgZ cdi ^ckdakZY ^c YZkZadebZci d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM VcY
 lZgZ cdi XdchjaiZY gZ\VgY^c\ Vcn [ZVijgZh d[ i]Z lV^kZg,\gVciZY L?GM- QZ XVccdi egZY^Xi i]Z djiXdbZ dg ^beVXi dc djg Wjh^cZhh d[ Vcn [jijgZ
 VXi^dc i]Vi lZ bVn iV`Z l^i] gZheZXi id i]Z @>;xh lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZb L?GM gZfj^gZbZci+ ^ih VeegdkVa VcY iZciVi^kZ VeegdkVa d[
 \ZcZg^X kZgh^dch d[ RngZb dg i]Z XdchZfjZcXZh d[ Y^hig^Wji^dc d[ hdY^jb dmnWViZ i]gdj\] \ZcZg^X hdY^jb dmnWViZ L?GM VeegdkZY Wn i]Z @>;-
 QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[
 deZgVi^dch VcY \gdli] egdheZXih-
 QZ bVn [VXZ egZhhjgZ id bdY^[n i]Z RngZb L?GM+ dg id a^XZchZ dg h]VgZ ^ciZaaZXijVa egdeZgin eZgi^cZci id i]Z RngZb L?GM+ ^cXajY^c\ egdeg^ZiVgn
 YViV gZfj^gZY [dg hV[Z Y^hig^Wji^dc d[ hdY^jb dmnWViZ+ ^c XdccZXi^dc l^i] i]Z @>;xh VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM- QZ XVccdi
 egZY^Xi i]Z djiXdbZ dg ^beVXi dc djg Wjh^cZhh d[ Vcn [jijgZ VXi^dc i]Vi lZ bVn iV`Z l^i] gZheZXi id i]Z VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ
 L?GM+ dg a^XZch^c\ dg h]Vg^c\ ^ciZaaZXijVa egdeZgin eZgi^cZci id djg RngZb L?GM dg ZaZbZcih d[ i]Z RngZb L?GM-
 Cc MZeiZbWZg 1/05+ DVoo J]VgbVXZji^XVah+ CcX-+ djg l]daan dlcZY hjWh^Y^Vgn+ hjWb^iiZY V =^i^oZc JZi^i^dc id i]Z @>; gZfjZhi^c\ i]Vi+ [dg hV[Zin
 gZVhdch+ i]Z @>; gZ[jhZ id VeegdkZ Vcn hdY^jb dmnWViZ ;H>; l^i] V egdedhZY eVX`V\Z ^chZgi dg L?GM i]Vi db^ih i]Z edgi^dch d[ i]Z RngZb
 eVX`V\Z ^chZgi VcY i]Z RngZb L?GM i]Vi ^chigjXi egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ i]Z egdYjXi l]Zc ^i ^h Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm
 hdY^jb 'Vahd `cdlc Vh kVaegdViZ dg kVaegd^X VX^Y(- Ic DVcjVgn 06+ 1/06+ i]Z @>; \gVciZY i]Z =^i^oZc JZi^i^dc l^i] gZheZXi id i]Z RngZb eVX`V\Z
 ^chZgi- N]Z @>; XdcXajYZY i]Vi ^i l^aa cdi VeegdkZ Vcn hdY^jb dmnWViZ ;H>; gZ[ZgZcX^c\ RngZb i]Vi YdZh cdi ^cXajYZ ^c ^ih eVX`V\Z ^chZgi i]Z
 edgi^dch d[ i]Z XjggZcian VeegdkZY RngZb eVX`V\Z ^chZgi gZaViZY id i]Z Ygj\,Ygj\ ^ciZgVXi^dc l^i] Y^kVaegdZm hdY^jb- N]Z @>; hiViZY i]Vi ^i

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 Y^Y cdi cZZY id gZVX] i]Z fjZhi^dc d[ l]Zi]Zg i]Z Ygj\,Ygj\ ^ciZgVXi^dc ^c[dgbVi^dc XdjaY ]VkZ WZZc ZmXajYZY [gdb i]Z \ZcZg^X hdY^jb dmnWViZ
 L?GM bViZg^Vah WZXVjhZ ^i lVh Veegdk^c\ V L?GM ^c XdccZXi^dc l^i] V hdY^jb dmnWViZ ;H>; ^cXajY^c\ i]Vi ^c[dgbVi^dc- Ijg RngZb eViZcih
 ^cXajYZ i]gZZ bZi]dY d[ VYb^c^higVi^dc eViZcih gZaVi^c\ id V Ygj\,Ygj\ ^ciZgVXi^dc+ dg >>C eViZcih+ XdkZg^c\ i]ZhZ ^chigjXi^dch dc i]Z RngZb
 eVX`V\Z ^chZgi VcY RngZb L?GM- QZ XVccdi egZY^Xi l]Zi]Zg dg l]Zc dcZ dg bdgZ d[ i]Z ;H>; [^aZgh bVn ejghjZ V X]VaaZc\Z id i]Z @>;xh
 gZhedchZ id i]Z =^i^oZc JZi^i^dc dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja- F^`Zl^hZ+ lZ XVccdi egZY^Xi l]Zi]Zg lZ l^aa WZ VWaZ id
 bV^ciV^c i]Z kVa^Y^in d[ Vcn d[ djg eViZcih dg l^aa di]Zgl^hZ dWiV^c V _jY^X^Va YZiZgb^cVi^dc i]Vi i]Z \ZcZg^X hdY^jb dmnWViZ eVX`V\Z ^chZgi dg i]Z
 \ZcZg^X hdY^jb dmnWViZ L?GM l^aa ^c[g^c\Z Vcn d[ djg eViZcih dg+ ^[ lZ egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi
 egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb dg ^chiZVY gZfj^gZ i]Z ;H>; [^aZgh id eVn YVbV\Zh ^c i]Z [dgb d[ adhi
 egd[^ih dg V gZVhdcVWaZ gdnVain-
 @dg V YZhXg^ei^dc d[ i]Z [dgZ\d^c\ bViiZgh+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci
 LZ\jaVi^dc,N]Z BViX],QVmbVc ;Xiw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vThe approval
 and launch of a generic version of Xyrem or other sodium oxybate products that compete with Xyrem would adversely affect sales of Xyremw VcY
 vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c i]^h JVgi C+ CiZb 0;-
 N]Z @ZYZgVa NgVYZ =dbb^hh^dc+ dg @N=+ ]Vh WZZc eVn^c\ ^cXgZVh^c\ ViiZci^dc id i]Z jhZ d[ L?GM Wn XdbeVc^Zh hZaa^c\ WgVcYZY egdYjXih+ ^c
 eVgi^XjaVg id l]Zi]Zg V L?GM bVn WZ YZa^WZgViZan WZ^c\ jhZY id gZYjXZ i]Z g^h` d[ XdbeZi^i^dc [gdb \ZcZg^X Ygj\h ^c V lVn i]Vi bVn WZ YZZbZY id
 WZ Vci^XdbeZi^i^kZ- Ci ^h edhh^WaZ i]Vi i]Z @N=+ di]Zg \dkZgcbZciVa Vji]dg^i^Zh dg di]Zgh XdjaY XaV^b dg YZiZgb^cZ i]Vi lZ VgZ jh^c\ i]Z RngZb L?GM
 ^c Vc Vci^XdbeZi^i^kZ bVccZg '^cXajY^c\ ^c a^\]i d[ i]Z @>;xh hiViZbZci ^c i]Z RngZb L?GM VeegdkVa aZiiZg i]Vi i]Z RngZb L?GM XdjaY WZ jhZY ^c
 Vc Vci^XdbeZi^i^kZ bVccZg ^cXdch^hiZci l^i] Veea^XVWaZ egdk^h^dch d[ i]Z @>=;( dg ]VkZ Zc\V\ZY ^c di]Zg Vci^XdbeZi^i^kZ egVXi^XZh- N]Z @>=;
 [jgi]Zg hiViZh i]Vi V L?GM ?N;MO h]Vaa cdi WZ jhZY Wn Vc H>; ]daYZg id WadX` dg YZaVn \ZcZg^X Ygj\h [gdb ZciZg^c\ i]Z bVg`Zi- MZkZgVa d[ i]Z
 ;H>; Veea^XVcih ]VkZ VhhZgiZY i]Vi djg L?GM eViZcih h]djaY cdi ]VkZ WZZc a^hiZY ^c i]Z @>;xh ejWa^XVi^dc v;eegdkZY >gj\ JgdYjXih l^i]
 N]ZgVeZji^X ?fj^kVaZcXZ ?kVajVi^dch+w dg IgVc\Z <dd`+ VcY i]Vi i]Z RngZb L?GM ^h WadX`^c\ XdbeZi^i^dc- QZ XVccdi egZY^Xi i]Z djiXdbZ d[
 i]ZhZ XaV^bh ^c i]Z dc\d^c\ a^i^\Vi^dc+ dg i]Z ^beVXi d[ Vcn h^b^aVg XaV^bh i]Vi bVn WZ bVYZ ^c i]Z [jijgZ-
 ;h gZfj^gZY Wn i]Z @>; VcY di]Zg gZ\jaVidgn V\ZcX^Zh+ i]Z VYkZghZ ZkZci ^c[dgbVi^dc i]Vi lZ XdaaZXi [dg RngZb ^h gZ\jaVgan gZedgiZY id i]Z @>;
 VcY XdjaY gZhjai ^c i]Z @>; gZfj^g^c\ X]Vc\Zh id RngZb aVWZa^c\ dg iV`^c\ dg gZfj^g^c\ jh id iV`Z di]Zg VXi^dch i]Vi XdjaY ]VkZ Vc VYkZghZ Z[[ZXi dc
 RngZbxh XdbbZgX^Va hjXXZhh- Ijg RngZb L?GM ^cXajYZh jc^fjZ [ZVijgZh i]Vi egdk^YZ bdgZ ZmiZch^kZ ^c[dgbVi^dc VWdji VYkZghZ ZkZcih+ ^cXajY^c\
 YZVi]h+ i]Vc ^h \ZcZgVaan VkV^aVWaZ [dg di]Zg egdYjXih i]Vi VgZ cdi hjW_ZXi id h^b^aVg L?GM gZfj^gZbZcih-
 N]Z @>; ]Vh gZfj^gZY i]Vi RngZbxh aVWZa^c\ ^cXajYZ V WdmZY lVgc^c\ gZ\VgY^c\ i]Z g^h` d[ XZcigVa cZgkdjh hnhiZb YZegZhh^dc VcY b^hjhZ VcY
 VWjhZ- ; WdmZY lVgc^c\ ^h i]Z higdc\Zhi ineZ d[ lVgc^c\ i]Vi i]Z @>; XVc gZfj^gZ [dg V Ygj\ egdYjXi VcY lVgch egZhXg^WZgh i]Vi i]Z Ygj\ XVgg^Zh V
 h^\c^[^XVci g^h` d[ hZg^djh dg ZkZc a^[Z,i]gZViZc^c\ VYkZghZ Z[[ZXih- ; WdmZY lVgc^c\ Vahd bZVch+ Vbdc\ di]Zg i]^c\h+ i]Vi i]Z egdYjXi XVccdi WZ
 VYkZgi^hZY i]gdj\] gZb^cYZg VYh+ dg VYh i]Vi bZci^dc i]Z e]VgbVXZji^XVa WgVcY cVbZ Wji cdi i]Z ^cY^XVi^dc dg bZY^XVa XdcY^i^dc ^i igZVih- QZ
 XVccdi egZY^Xi l]Zi]Zg i]Z @>; l^aa gZfj^gZ VYY^i^dcVa lVgc^c\h+ ^cXajY^c\ WdmZY lVgc^c\h+ id WZ ^cXajYZY dc RngZbxh aVWZa^c\- QVgc^c\h ^c i]Z
 RngZb aVWZa^c\ VcY Vcn a^b^iVi^dch dc djg VW^a^in id VYkZgi^hZ VcY egdbdiZ RngZb bVn ]VkZ V[[ZXiZY+ VcY XdjaY ^c i]Z [jijgZ cZ\Vi^kZan V[[ZXi+
 RngZb hVaZh VcY i]ZgZ[dgZ djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 ;cn [V^ajgZ id YZbdchigViZ djg hjWhiVci^Va Xdbea^VcXZ l^i] Veea^XVWaZ gZ\jaVidgn gZfj^gZbZcih id i]Z hVi^h[VXi^dc d[ i]Z @>; dg Vcn di]Zg
 gZ\jaVidgn Vji]dg^in XdjaY gZhjai ^c hjX] gZ\jaVidgn Vji]dg^i^Zh iV`^c\ VXi^dch ^c i]Z [jijgZ+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc RngZb
 hVaZh VcY i]ZgZ[dgZ dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg
 i]Z ]ZVY^c\ vWe are subject to significant ongoing regulatory obligations and oversight, which may result in significant additional expense and
 limit our ability to commercialize our productsw ^c i]^h JVgi C+ CiZb 0;-


 Risks Related to Our Business
 While Xyrem remains our largest product, our success also depends on our ability to effectively commercialize our other products and, in the
 case of our product candidates, our ability to obtain regulatory approval in the U.S. and Europe and, if approved, to successfully launch and
 commercialize those product candidates. Our inability to do so could have a material adverse effect on our business, financial condition,
 results of operations and growth prospects.
 Cc VYY^i^dc id RngZb+ lZ VgZ XdbbZgX^Va^o^c\ V edgi[da^d d[ egdYjXih+ ^cXajY^c\ djg di]Zg aZVY bVg`ZiZY egdYjXih+ ?gl^cVoZ VcY >Z[^iZa^d+ VcY lZ
 ]VkZ bVYZ V h^\c^[^XVci ^ckZhibZci ^c PnmZdh VcY di]Zg egdYjXi XVcY^YViZh+ l]^X] VgZ XjggZcian cdi VeegdkZY Vh bVg`ZiZY egdYjXih ^c Vcn
 _jg^hY^Xi^dc-

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 Erwinaze
 ?gl^cVoZ 'XVaaZY ?gl^cVhZ ^c bVg`Zih djih^YZ i]Z O-M-(+ V W^dad\^X egdYjXi+ ^h jhZY ^c Xdc_jcXi^dc l^i] X]Zbdi]ZgVen id igZVi eVi^Zcih l^i] VXjiZ
 anbe]dWaVhi^X aZj`Zb^V+ dg ;FF+ l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ- ?gl^cVoZ lVh VeegdkZY Wn i]Z @>; jcYZg V W^dad\^Xh
 a^XZchZ Veea^XVi^dc+ dg <F;+ VcY lVh aVjcX]ZY ^c i]Z O-M- ^c HdkZbWZg 1/00- Ci ^h Vahd WZ^c\ hdaY jcYZg bVg`Zi^c\ Vji]dg^oVi^dch+ cVbZY eVi^Zci
 egd\gVbh+ iZbedgVgn jhZ Vji]dg^oVi^dch dg h^b^aVg Vji]dg^oVi^dch ^c bjai^eaZ Xdjcig^Zh ^c ?jgdeZ VcY ZahZl]ZgZ- ?gl^cVoZ ^h a^XZchZY [gdb VcY
 bVcj[VXijgZY Wn V h^c\aZ hdjgXZ+ Jdgidc <^de]VgbV F^b^iZY+ dg J<F+ l]^X] ^h l]daan dlcZY Wn i]Z O-E- MZXgZiVgn d[ MiViZ [dg BZVai]- Ijg
 V\gZZbZci l^i] J<F+ ^cXajY^c\ djg a^XZchZ+ Zme^gZh ^c >ZXZbWZg 1/1/+ hjW_ZXi id [^kZ,nZVg ZmiZch^dch jcaZhh iZgb^cViZY Wn Z^i]Zg eVgin ^c lg^i^c\ Wn
 >ZXZbWZg 1/07- QZ XVccdi egZY^Xi l]Zi]Zg i]Z iZgb d[ i]Z V\gZZbZci l^aa WZ ZmiZcYZY dg+ ^[ ZmiZcYZY+ i]Z iZgbh d[ Vcn hjX] ZmiZch^dc-
 ?gl^cVoZ gZegZhZcih Vc ^bedgiVci eVgi d[ djg higViZ\n id \gdl hVaZh d[ djg Zm^hi^c\ egdYjXih- BdlZkZg+ djg VW^a^in id hjXXZhh[jaan VcY hjhiV^cVWan
 bV^ciV^c dg \gdl hVaZh d[ ?gl^cVoZ ^h hjW_ZXi id V cjbWZg d[ X]VaaZc\Zh+ ^cXajY^c\ i]Z a^b^iZY edejaVi^dc d[ eVi^Zcih l^i] ;FF VcY i]Z ^cX^YZcXZ d[
 ]neZghZch^i^k^in gZVXi^dch id E. coli,YZg^kZY VheVgV\^cVhZ l^i]^c i]Vi edejaVi^dc VcY djg cZZY id Veean [dg VcY gZXZ^kZ bVg`Zi^c\ Vji]dg^oVi^dch+
 i]gdj\] i]Z ?jgdeZVc Oc^dcxh+ dg ?Oxh+ bjijVa gZXd\c^i^dc egdXZYjgZ dg di]Zgl^hZ ^c XZgiV^c VYY^i^dcVa Xdjcig^Zh hd lZ XVc aVjcX] egdbdi^dcVa
 Z[[dgih ^c i]dhZ Xdjcig^Zh- ;cdi]Zg h^\c^[^XVci X]VaaZc\Z id djg VW^a^in id bV^ciV^c XjggZci hVaZh aZkZah VcY id ^cXgZVhZ hVaZh ^h djg ZmigZbZan a^b^iZY
 ^ckZcidgn d[ ?gl^cVoZ+ eVhi hjeean ^ciZggjei^dch VcY djg cZZY id b^c^b^oZ dg Vkd^Y VYY^i^dcVa hjeean ^ciZggjei^dch YjZ id XVeVX^in XdchigV^cih+
 egdYjXi^dc YZaVnh+ fjVa^in dg gZ\jaVidgn X]VaaZc\Zh VcY di]Zg bVcj[VXijg^c\ Y^[[^Xjai^Zh- MZZ i]Z Y^hXjhh^dc gZ\VgY^c\ ?gl^cVoZ hjeean ^hhjZh ^c
 i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe loss of our single source suppliers, delays or problems in the supply of our products for commercial sale or
 our product candidates for use in our clinical trials, or our or our suppliers’ failure to comply with manufacturing regulations, could materially
 and adversely affect our business, financial condition, results of operations and growth prospectsw ^c i]^h JVgi C+ CiZb 0;-
 QZ Vahd [VXZ cjbZgdjh di]Zg g^h`h i]Vi bVn ^beVXi ?gl^cVoZ hVaZh+ ^cXajY^c\ gZ\jaVidgn g^h`h+ i]Z YZkZadebZci d[ cZl VheVgV\^cVhZ igZVibZcih dg
 igZVibZci egdidXdah i]Vi XdjaY gZYjXZ i]Z gViZ d[ ]neZghZch^i^k^in ^c eVi^Zcih l^i] ;FF+ i]Z YZkZadebZci d[ cZl igZVibZci egdidXdah [dg ;FF i]Vi
 bVn cdi ^cXajYZ VheVgV\^cVhZ,XdciV^c^c\ gZ\^bZch+ Y^[[^Xjai^Zh l^i] dWiV^c^c\ VcY bV^ciV^c^c\ [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VggVc\ZbZcih+
 VcY ediZci^Va XdbeZi^i^dc [gdb [jijgZ W^dh^b^aVg egdYjXih- Cc VYY^i^dc+ ^[ lZ [V^a id Xdbean l^i] djg dWa^\Vi^dch jcYZg djg V\gZZbZci l^i] i]Z
 a^XZchdg VcY hjeea^Zg d[ ?gl^cVoZ dg adhZ g^\]ih id ?gl^cVoZ+ ^cXajY^c\ ^[ djg V\gZZbZci iZgb^cViZh Vi i]Z ZcY d[ ^ih XjggZci iZgb ^c >ZXZbWZg 1/1/+ dg
 ^[ lZ di]Zgl^hZ [V^a id bV^ciV^c dg \gdl hVaZh d[ ?gl^cVoZ+ djg \gdli] egdheZXih XdjaY WZ cZ\Vi^kZan V[[ZXiZY-
 Defitelio
 QZ bVYZ V h^\c^[^XVci ^ckZhibZci ^c >Z[^iZa^d ^c 1/03+ VYY^c\ i]Z egdYjXi id djg edgi[da^d Vh V gZhjai d[ djg VXfj^h^i^dc d[ AZci^jb M-g-a+ dg AZci^jb+
 l]^X] lZ gZ[Zg id Vh i]Z AZci^jb ;Xfj^h^i^dc+ VcY i]Zc hZXjg^c\ ldgaYl^YZ g^\]ih id i]Z egdYjXi Wn VXfj^g^c\ g^\]ih id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh
 ^c ;j\jhi 1/03- QZ aVjcX]ZY >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh WZ\^cc^c\ ^c 1/03 VcY Xdci^cjZ id aVjcX] i]Z egdYjXi ^c VYY^i^dcVa ?jgdeZVc
 Xdjcig^Zh dc V gdaa^c\ WVh^h- Ic GVgX] 2/+ 1/05+ i]Z @>; VeegdkZY djg H>; [dg >Z[^iZa^d [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i]
 ]ZeVi^X kZcd,dXXajh^kZ Y^hZVhZ+ dg PI>+ Vahd `cdlc Vh h^cjhd^YVa dWhigjXi^dc hncYgdbZ+ dg MIM+ l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\
 ]ZbVided^Zi^X hiZb XZaa igVcheaVciVi^dc+ dg BM=N- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>; VeegdkVa+ VcY djg O-M- XdbbZgX^Va aVjcX] ^h
 hi^aa Vi Vc ZVgan hiV\Z-
 Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb i]^h ^ckZhibZci ^h hjW_ZXi id g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\9
 s           i]Z Xdci^cjZY VXXZeiVcXZ d[ >Z[^iZa^d ^c i]Z O-M- Wn ]dhe^iVa e]VgbVXn VcY i]ZgVeZji^Xh Xdbb^iiZZh VcY i]Z Xdci^cjZY VkV^aVW^a^in d[
             VYZfjViZ XdkZgV\Z VcY gZ^bWjghZbZci Wn \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh:
 s           i]Z aVX` d[ ZmeZg^ZcXZ d[ O-M- e]nh^X^Vch ^c Y^V\cdh^c\ VcY igZVi^c\ PI>+ eVgi^XjaVgan ^c VYjaih+ VcY i]Z edhh^W^a^in i]Vi e]nh^X^Vch bVn
             YZaVn ^c^i^Vi^dc d[ igZVibZci dg iZgb^cViZ igZVibZci WZ[dgZ i]Z ZcY d[ i]Z gZXdbbZcYZY Ydh^c\ hX]ZYjaZ:
 s           djg VW^a^in id hjXXZhh[jaan bV^ciV^c dg \gdl hVaZh d[ >Z[^iZa^d ^c ?jgdeZ:
 s           YZaVnh dg egdWaZbh ^c i]Z hjeean dg bVcj[VXijgZ d[ i]Z egdYjXi:
 s           i]Z a^b^iZY h^oZ d[ i]Z edejaVi^dc d[ PI> eVi^Zcih l]d VgZ ^cY^XViZY [dg igZVibZci l^i] >Z[^iZa^d 'eVgi^XjaVgan ^[ X]Vc\Zh ^c BM=N igZVibZci
             egdidXdah gZYjXZ i]Z ^cX^YZcXZ d[ PI> Y^V\cdh^h(:
 s           djg VW^a^in id bZZi i]Z edhi,bVg`Zi^c\ Xdbb^ibZcih VcY gZfj^gZbZcih ^bedhZY Wn i]Z @>; ^c XdccZXi^dc l^i] ^ih VeegdkVa d[ djg H>; [dg
             >Z[^iZa^d: VcY
 s           djg VW^a^in id dWiV^c bVg`Zi^c\ VeegdkVa ^c di]Zg Xdjcig^Zh VcY id YZkZade i]Z egdYjXi [dg VYY^i^dcVa ^cY^XVi^dch-

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 QZ VgZ ^c i]Z egdXZhh d[ bV`^c\ eg^X^c\ VcY gZ^bWjghZbZci hjWb^hh^dch l^i] gZheZXi id >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh l]ZgZ >Z[^iZa^d ^h
 cdi nZi aVjcX]ZY+ ^cXajY^c\ ^c Xdjcig^Zh l]ZgZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah VgZ gZfj^gZY [dg aVjcX]- QZ XVccdi egZY^Xi i]Z i^b^c\ d[
 >Z[^iZa^dxh aVjcX] ^c ?jgdeZVc Xdjcig^Zh l]ZgZ lZ VgZ Zc\V\ZY ^c eg^X^c\ VcY gZ^bWjghZbZci hjWb^hh^dch- C[ lZ ZmeZg^ZcXZ YZaVnh dg jc[dgZhZZc
 Y^[[^Xjai^Zh ^c dWiV^c^c\ [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah+ eaVccZY aVjcX]Zh ^c i]Z V[[ZXiZY ?jgdeZVc Xdjcig^Zh l^aa WZ YZaVnZY+ l]^X]
 XdjaY cZ\Vi^kZan ^beVXi Vci^X^eViZY gZkZcjZ [gdb >Z[^iZa^d- N]Z egdXZhh [dg dWiV^c^c\ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^h XdbeaZm VcY XVc kVgn
 [gdb Xdjcign id Xdjcign- Cc VYY^i^dc+ dge]Vc egdYjXih i]Vi ]VkZ h^\c^[^XVci ^beVXi dc eVi^Zci hjgk^kVa+ hjX] Vh >Z[^iZa^d+ bVn WZ WjY\ZiZY dc V
 adXVa gVi]Zg i]Vc cVi^dcVa aZkZa- N]Z WVaVcXZ d[ Vaa d[ i]ZhZ [VXidgh l^aa YZiZgb^cZ djg VW^a^in id jai^bViZan dWiV^c [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci
 VeegdkVah ^c i]Z ?O- GVcn ?jgdeZVc Xdjcig^Zh eZg^dY^XVaan gZk^Zl i]Z^g gZ^bWjghZbZci XaVhhZh+ l]^X] XdjaY ]VkZ Vc VYkZghZ ^beVXi dc i]Z
 gZ^bWjghZbZci hiVijh d[ >Z[^iZa^d- QZ ]VkZ YZkZadeZY Zhi^bViZh d[ Vci^X^eViZY eg^X^c\ ^c i]Z ?O+ l]^X] VgZ WVhZY dc djg gZhZVgX] VcY
 jcYZghiVcY^c\ d[ i]Z egdYjXi VcY iVg\Zi bVg`Zi- BdlZkZg+ YjZ id Z[[dgih id egdk^YZ [dg XdciV^cbZci d[ ]ZVai] XVgZ Xdhih+ dcZ dg bdgZ Xdjcig^Zh bVn
 cdi hjeedgi djg Zhi^bViZY aZkZa d[ \dkZgcbZciVa eg^X^c\ VcY gZ^bWjghZbZci [dg >Z[^iZa^d+ eVgi^XjaVgan ^c a^\]i d[ i]Z WjY\Zi Xg^hZh [VXZY Wn V cjbWZg
 d[ Xdjcig^Zh ^c i]Z ?O+ l]^X] ldjaY cZ\Vi^kZan ^beVXi Vci^X^eViZY gZkZcjZ [gdb >Z[^iZa^d- @jgi]ZgbdgZ+ V[iZg ^c^i^Va eg^X^c\ VcY gZ^bWjghZbZci
 VeegdkVah+ gZYjXi^dch ^c eg^XZh VcY X]Vc\Zh ^c gZ^bWjghZbZci aZkZah XVc WZ ig^\\ZgZY Wn bjai^eaZ [VXidgh+ ^cXajY^c\ gZ[ZgZcXZ eg^X^c\ hnhiZbh VcY
 ejWa^XVi^dc d[ Y^hXdjcih Wn i]^gY eVgin eVndgh dg Vji]dg^i^Zh ^c di]Zg Xdjcig^Zh- Cc i]Z ?O+ eg^XZh XVc WZ gZYjXZY [jgi]Zg Wn eVgVaaZa Y^hig^Wji^dc VcY
 eVgVaaZa igVYZ+ dg VgW^igV\Z WZilZZc adl,eg^XZY VcY ]^\],eg^XZY Xdjcig^Zh- C[ Vcn d[ i]ZhZ ZkZcih dXXjgh+ djg Vci^X^eViZY gZkZcjZ [gdb >Z[^iZa^d ^c i]Z
 ?O ldjaY WZ cZ\Vi^kZan V[[ZXiZY- C[ lZ VgZ jcVWaZ id dWiV^c VcY bV^ciV^c [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^c ?jgdeZVc Xdjcig^Zh i]Vi
 gZegZhZci h^\c^[^XVci bVg`Zih+ ZheZX^Vaan l]ZgZ V Xdjcignxh gZ^bWjghZY eg^XZ ^c[ajZcXZh di]Zg Xdjcig^Zh+ djg Vci^X^eViZY gZkZcjZ [gdb VcY \gdli]
 egdheZXih [dg >Z[^iZa^d ^c i]Z ?O XdjaY WZ cZ\Vi^kZan V[[ZXiZY- Cc VYY^i^dc+ djg VW^a^in id XdbbZgX^Va^oZ >Z[^iZa^d hjXXZhh[jaan ^c i]Z O-M- l^aa YZeZcY
 dc+ Vbdc\ di]Zg i]^c\h+ i]Z Xdci^cjZY VkV^aVW^a^in d[ VYZfjViZ XdkZgV\Z dg gZ^bWjghZbZci Wn O-M- \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh-
 N]Z ?jgdeZVc =dbb^hh^dc+ dg ?=+ \gVciZY bVg`Zi^c\ Vji]dg^oVi^dc id >Z[^iZa^d jcYZg vZmXZei^dcVa X^gXjbhiVcXZhw WZXVjhZ ^i lVh cdi edhh^WaZ id
 dWiV^c XdbeaZiZ ^c[dgbVi^dc VWdji i]Z egdYjXi YjZ id i]Z gVg^in d[ i]Z Y^hZVhZ VcY WZXVjhZ Zi]^XVa Xdch^YZgVi^dch egZkZciZY XdcYjXi^c\ V hijYn
 Y^gZXian XdbeVg^c\ >Z[^iZa^d l^i] WZhi hjeedgi^kZ XVgZ dg V eaVXZWd- ; bVg`Zi^c\ Vji]dg^oVi^dc \gVciZY jcYZg ZmXZei^dcVa X^gXjbhiVcXZh ^h hjW_ZXi id
 VeegdkVa XdcY^i^dch VcY Vc VccjVa gZVhhZhhbZci d[ i]Z g^h`,WZcZ[^i WVaVcXZ Wn ?jgdeZVc GZY^X^cZh ;\ZcXn+ dg ?G;- ;h V gZhjai+ ^[ lZ [V^a id bZZi
 i]Z VeegdkVa XdcY^i^dc [dg >Z[^iZa^d ZhiVWa^h]ZY Wn i]Z ?=+ l]^X] gZfj^gZh i]Vi lZ hZi je V eVi^Zci gZ\^hign id ^ckZhi^\ViZ i]Z adc\,iZgb hV[Zin+
 ]ZVai] djiXdbZh VcY eViiZgch d[ ji^a^oVi^dc d[ >Z[^iZa^d Yjg^c\ cdgbVa jhZ+ dg ^[ ^i ^h YZiZgb^cZY i]Vi i]Z WVaVcXZ d[ g^h`h VcY WZcZ[^ih d[ jh^c\
 >Z[^iZa^d X]Vc\Zh bViZg^Vaan+ i]Z ?G; XdjaY kVgn+ hjheZcY dg l^i]YgVl i]Z bVg`Zi^c\ Vji]dg^oVi^dc [dg >Z[^iZa^d- Cc VYY^i^dc+ i]Z @>; ^bedhZY
 hZkZgVa edhi,bVg`Zi^c\ Xdbb^ibZcih VcY gZfj^gZbZcih ^c XdccZXi^dc l^i] ^ih VeegdkVa d[ djg H>; [dg >Z[^iZa^d ^c GVgX] 1/05+ ^cXajY^c\ i]Z
 gZfj^gZbZci i]Vi lZ XdcYjXi V Xa^c^XVa ig^Va id VcVanoZ i]Z hV[Zin d[ YZ[^Wgdi^YZ kZghjh WZhi hjeedgi^kZ XVgZ ^c i]Z egZkZci^dc d[ PI> ^c VYjai VcY
 eZY^Vig^X eVi^Zcih- QZ bVn WZ jcVWaZ id Xdbean l^i] i]ZhZ dg di]Zg edhi,bVg`Zi^c\ dWa^\Vi^dch ^bedhZY Vh eVgi d[ i]Z bVg`Zi^c\ VeegdkVah [dg
 >Z[^iZa^d- C[ lZ [V^a id bZZi Vcn d[ i]ZhZ edhi,bVg`Zi^c\ dWa^\Vi^dch+ djg hVaZh d[ VcY gZkZcjZh [gdb >Z[^iZa^d XdjaY WZ bViZg^Vaan VYkZghZan V[[ZXiZY+
 VcY djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi bVn WZ a^b^iZY-
 N]Z h^oZ d[ i]Z edejaVi^dc d[ PI> eVi^Zcih l]d VgZ ^cY^XViZY [dg igZVibZci l^i] >Z[^iZa^d ^h a^b^iZY+ VcY X]Vc\Zh ^c BM=N igZVibZci egdidXdah XdjaY
 gZYjXZ i]Z ^cX^YZcXZ d[ PI> Y^V\cdh^h- =]Vc\Zh ^c igZVibZci egdidXdah i]Vi gZYjXZ i]Z ^cX^YZcXZ d[ PI> Y^V\cdh^h XdjaY VYkZghZan V[[ZXi djg
 Vci^X^eViZY gZkZcjZh [gdb >Z[^iZa^d VcY djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 QZ VgZ Vahd VhhZhh^c\ i]Z ediZci^Va [dg VeegdkVa d[ YZ[^Wgdi^YZ ^c di]Zg Xdjcig^Zh VcY [dg YZkZadebZci d[ YZ[^Wgdi^YZ ^c VYY^i^dcVa ^cY^XVi^dch- QZ
 XVccdi `cdl l]Zc+ ^[ ZkZg+ YZ[^Wgdi^YZ l^aa WZ VeegdkZY ^c Vcn di]Zg Xdjcign dg jcYZg l]Vi X^gXjbhiVcXZh+ VcY l]Vi+ ^[ Vcn+ VYY^i^dcVa Xa^c^XVa dg
 di]Zg YZkZadebZci VXi^k^i^Zh l^aa WZ gZfj^gZY ^c dgYZg id ediZci^Vaan dWiV^c hjX] gZ\jaVidgn VeegdkVa VcY i]Z Xdhi VhhdX^ViZY l^i] hjX] gZfj^gZY
 VXi^k^i^Zh+ ^[ Vcn- C[ lZ [V^a id dWiV^c VeegdkVa [dg YZ[^Wgdi^YZ ^c di]Zg Xdjcig^Zh dg [dg cZl ^cY^XVi^dch+ dg ^[ Vcn [jijgZ VeegdkVah lZ gZXZ^kZ VgZ [dg
 cVggdlZg ^cY^XVi^dch i]Vc lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb YZ[^Wgdi^YZ VcY djg \gdli] egdheZXih ldjaY WZ cZ\Vi^kZan V[[ZXiZY-
 >jZ id i]Z a^b^iZY Vbdjci d[ ]^hidg^XVa hVaZh YViV [gdb XdbbZgX^Va^oVi^dc d[ >Z[^iZa^d+ djg >Z[^iZa^d hVaZh l^aa WZ Y^[[^Xjai id egZY^Xi [gdb eZg^dY id
 eZg^dY- ;h V gZhjai+ >Z[^iZa^d hVaZh gZhjaih dg igZcYh ^c Vcn eZg^dY VgZ cdi cZXZhhVg^an ^cY^XVi^kZ d[ [jijgZ eZg[dgbVcXZ- C[ hVaZh d[ >Z[^iZa^d Yd cdi
 gZVX] i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb >Z[^iZa^d ldjaY WZ cZ\Vi^kZan V[[ZXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 C[ lZ [V^a id bV^ciV^c dg ^cXgZVhZ egZhXg^ei^dch VcY gZkZcjZ [gdb hVaZh d[ RngZb+ ?gl^cVoZ VcY >Z[^iZa^d+ djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[
 deZgVi^dch VcY \gdli] egdheZXih XdjaY WZ bViZg^Vaan VYkZghZan V[[ZXiZY- QZ bVn X]ddhZ id ^cXgZVhZ i]Z eg^XZ d[ djg egdYjXih+ VcY eg^XZ
 VY_jhibZcih bVn cZ\Vi^kZan V[[ZXi djg hVaZh kdajbZh- ;ahd+ hVaZh d[ ZVX] d[ djg egdYjXih bVn [ajXijViZ h^\c^[^XVcian [gdb fjVgiZg id fjVgiZg+
 YZeZcY^c\ dc i]Z cjbWZg d[ eVi^Zcih gZXZ^k^c\ igZVibZci+ i]Z

                                                                              28
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 VkV^aVW^a^in d[ hjeean id bZZi i]Z YZbVcY [dg i]Z egdYjXi+ i]Z Ydh^c\ gZfj^gZbZcih d[ igZViZY eVi^Zcih VcY di]Zg [VXidgh- N]Z bVg`Zi eg^XZ d[ djg
 dgY^cVgn h]VgZh bVn YZXa^cZ ^[ hVaZh d[ djg egdYjXih Yd cdi Xdci^cjZ dg \gdl Vi i]Z gViZh Vci^X^eViZY Wn [^cVcX^Va VcVanhih dg ^ckZhidgh-
 Cc VYY^i^dc+ ^[ lZ [V^a id dWiV^c VeegdkVah [dg XZgiV^c d[ djg bVg`ZiZY egdYjXih ^c cZl ^cY^XVi^dch dg [dgbjaVi^dch+ lZ l^aa WZ jcVWaZ id XdbbZgX^Va^oZ
 djg egdYjXih ^c cZl ^cY^XVi^dch dg [dgbjaVi^dch+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[
 deZgVi^dch VcY \gdli] egdheZXih-
 Product Candidates
 Cc [jgi]ZgVcXZ d[ djg \gdli] higViZ\n+ lZ ]VkZ bVYZ h^\c^[^XVci ^ckZhibZcih ^c V cjbWZg d[ egdYjXi XVcY^YViZh- Cc eVgi^XjaVg+ lZ ]VkZ bVYZ V
 h^\c^[^XVci ^ckZhibZci ^c PnmZdh i]gdj\] i]Z VXfj^h^i^dc d[ =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ l]^X] lZ gZ[Zg id Vh i]Z =ZaVidg ;Xfj^h^i^dc-
 PnmZdh ^h XjggZcian cdi VeegdkZY Vh V bVg`ZiZY egdYjXi ^c Vcn _jg^hY^Xi^dc VcY ^h i]Z [^ghi ^c_ZXiVWaZ [^mZY gVi^d+ Ygj\ YZa^kZgn XdbW^cVi^dc dcXdad\n
 egdYjXi WVhZY dc i]Z =dbW^JaZm iZX]cdad\n eaVi[dgb i]Vi i]Z @>; VcY ?G; ldjaY ediZci^Vaan WZ Xdch^YZg^c\ [dg VeegdkVa- QZ ^c^i^ViZY V gdaa^c\
 hjWb^hh^dc d[ Vc H>; [dg PnmZdh id i]Z @>; ^c i]Z i]^gY fjVgiZg d[ 1/05- QZ ZmeZXi id XdbeaZiZ i]Z H>; hjWb^hh^dc Wn i]Z ZcY d[ i]Z [^ghi fjVgiZg
 d[ 1/06 VcY id bV`Z V gZ\jaVidgn hjWb^hh^dc [dg PnmZdh ^c ?jgdeZ ^c i]Z hZXdcY ]Va[ d[ 1/06- Ijg VW^a^in id XdbeaZiZ i]Z H>; hjWb^hh^dc dc djg
 Vci^X^eViZY i^b^c\ gZbV^ch hjW_ZXi id djg VW^a^in id XdbeaZiZ cZXZhhVgn egZ,[^a^c\ VXi^k^i^Zh+ ^cXajY^c\ X]Zb^hign+ bVcj[VXijg^c\ VcY Xdcigdah+ dg
 =G=+ VXi^k^i^Zh+ ^c dgYZg id hjeedgi djg Veea^XVi^dc [dg bVg`Zi^c\ VeegdkVa- QZ Vahd ZmeZXi id XdcYjXi VYY^i^dcVa VXi^k^i^Zh+ ^cXajY^c\ l^i] gZheZXi
 id =G=+ ^c hjeedgi d[ VeegdkVa d[ djg H>; [dg PnmZdh V[iZg lZ XdbeaZiZ i]Z H>; hjWb^hh^dc- Cc VYY^i^dc+ Vai]dj\] i]Z @>; ]Vh \gVciZY @Vhi
 NgVX` YZh^\cVi^dc id PnmZdh [dg i]Z igZVibZci d[ ZaYZgan eVi^Zcih l^i] hZXdcYVgn VXjiZ bnZad^Y aZj`Zb^V+ dg ;GF+ VcY <gZV`i]gdj\] N]ZgVen [dg
 i]Z igZVibZci d[ VYjaih l^i] i]ZgVen,gZaViZY ;GF dg ;GF l^i] bnZadYnheaVh^V,gZaViZY X]Vc\Zh+ i]ZhZ YZh^\cVi^dch Yd cdi \jVgVciZZ i]Vi lZ l^aa
 WZ VWaZ id iV`Z VYkVciV\Z d[ i]Z ZmeZY^iZY gZk^Zl egdXZYjgZh VcY Yd cdi ^cXgZVhZ i]Z a^`Za^]ddY i]Vi PnmZdh l^aa gZXZ^kZ bVg`Zi^c\ VeegdkVa- QZ
 XVccdi egZY^Xi l]Zi]Zg djg H>; [dg PnmZdh l^aa WZ VeegdkZY ^c V i^bZan bVccZg+ ^[ Vi Vaa-
 Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb djg ^ckZhibZci ^c PnmZdh ^h hjW_ZXi id V cjbWZg d[ VYY^i^dcVa g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\9
 s         djg VW^a^in id Y^[[ZgZci^ViZ PnmZdh [gdb di]Zg a^edhdbVa X]Zbdi]ZgVe^Zh VcY \ZcZg^XVaan VkV^aVWaZ X]Zbdi]ZgVen XdbW^cVi^dch l^i] l]^X]
           e]nh^X^Vch VcY igZVibZci XZciZgh VgZ bdgZ [Vb^a^Vg:
 s         i]Z cZZY id ZhiVWa^h] eg^X^c\ VcY gZ^bWjghZbZci hjeedgi [dg PnmZdh ^c i]Z ZkZci lZ VgZ VWaZ id dWiV^c bVg`Zi^c\ VeegdkVa [dg PnmZdh ^c
           i]Z O-M- dg ^c di]Zg Xdjcig^Zh:
 s         i]Z VXXZeiVcXZ d[ PnmZdh ^c i]Z O-M- VcY di]Zg Xdjcig^Zh Wn ]dhe^iVa e]VgbVXn VcY i]ZgVeZji^Xh Xdbb^iiZZh VcY i]Z VkV^aVW^a^in d[
           VYZfjViZ XdkZgV\Z VcY gZ^bWjghZbZci Wn \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh:
 s         YZaVnh dg egdWaZbh ^c i]Z hjeean dg bVcj[VXijgZ d[ i]Z egdYjXi+ ^cXajY^c\ l^i] gZheZXi id i]Z gZfj^gZbZci d[ i]Z i]^gY eVgi^Zh jedc l]^X]
           lZ gZan id bVcj[VXijgZ PnmZdh VcY ^ih VXi^kZ e]VgbVXZji^XVa ^c\gZY^Zcih+ dg ;JCh+ dWiV^c i]Z VeegdkVa d[ i]Z @>; VcY.dg di]Zg gZ\jaVidgn
           Vji]dg^i^Zh id bVcj[VXijgZ PnmZdh VcY id bVcj[VXijgZ hj[[^X^Zci fjVci^i^Zh d[ PnmZdh ^c VXXdgYVcXZ l^i] Veea^XVWaZ heZX^[^XVi^dch: VcY
 s         i]Z a^b^iZY h^oZ d[ i]Z edejaVi^dc d[ ]^\],g^h` ;GF eVi^Zcih l]d bVn ediZci^Vaan WZ ^cY^XViZY [dg igZVibZci l^i] PnmZdh+ eVgi^XjaVgan \^kZc
           i]Z dc\d^c\ Xa^c^XVa ig^Vah Wn di]Zg XdbeVc^Zh l^i] i]Z hVbZ eVi^Zci edejaVi^dc-
 Cc VYY^i^dc+ hjW_ZXi id i]Z gZhjaih d[ dc\d^c\ Xa^c^XVa ig^Vah [dg DTJ,00/+ lZ eaVc id hjWb^i Vc H>; id i]Z @>; [dg DTJ,00/ ^c aViZ 1/06- QZ Vahd
 ZmeZXi id hjWb^i Vc H>; id i]Z @>; [dg DTJ,4/6 Wn i]Z [^ghi fjVgiZg d[ 1/07- ;cn [V^ajgZ dg YZaVn ^c XdbeaZi^c\ cZXZhhVgn Xa^c^XVa ig^Vah VcY
 XdcYjXi^c\ di]Zg VXi^k^i^Zh+ ^cXajY^c\ =G= VXi^k^i^Zh+ i]Vi VgZ gZfj^gZY id XdbeaZiZ djg eaVccZY H>; hjWb^hh^dch VcY dWiV^c gZ\jaVidgn VeegdkVa
 XdjaY bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- MZZ i]Z Y^hXjhh^dc jcYZg i]Z
 ]ZVY^c\ vConducting clinical trials is costly and time-consuming, and the outcomes are uncertain. A failure to prove that our product
 candidates are safe and effective in clinical trials, or to generate data in clinical trials to support expansion of the therapeutic uses for our
 existing products, could materially and adversely affect our business, financial condition, results of operations and growth prospectsw ^c i]^h JVgi
 C+ CiZb 0; [dg V Y^hXjhh^dc d[ g^h`h gZaViZY id djg Xa^c^XVa ig^Vah d[ DTJ,00/- Q^i] gZheZXi id DTJ,4/6+ l]^aZ lZ WZa^ZkZ i]Vi lZ ]VkZ V eVi] id dWiV^c
 i]Z YViV cZXZhhVgn id XdbeaZiZ djg eaVccZY H>; hjWb^hh^dc [dg DTJ,4/6 Wn i]Z [^ghi fjVgiZg d[ 1/07+ lZ bVn cdi WZ VWaZ id \ZcZgViZ hj[[^X^Zci YViV
 dc djg Vci^X^eViZY i^b^c\+ dg Vi Vaa+ dg bVn WZ gZfj^gZY id XdcYjXi bdgZ ZmiZch^kZ hijY^Zh i]Vc lZ XjggZcian Vci^X^eViZ+ Z^i]Zg d[ l]^X] XdjaY YZaVn dg
 egZkZci hjWb^hh^dc d[ Vc H>;-
 MZZ Vahd i]Z Y^hXjhh^dch jcYZg i]Z ]ZVY^c\h vThe loss of our single source suppliers, delays or problems in the supply of our products for
 commercial sale or our product candidates for use in our clinical trials, or our or our suppliers’ failure to comply with manufacturing
 regulations, could materially and adversely affect our business, financial condition, results of operations and growth prospects” VcY vThe
 regulatory approval process is expensive, time-consuming and uncertain and may

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 prevent us or our partners from obtaining approvals for the commercialization of some or all of our product candidates” ^c i]^h JVgi C+ CiZb 0;-
 C[ lZ VgZ jcVWaZ id dWiV^c gZ\jaVidgn VeegdkVa [dg djg egdYjXi XVcY^YViZh+ ^cXajY^c\ PnmZdh ^c i]Z O-M- dg ^c ?jgdeZ+ ^c V i^bZan bVccZg+ dg Vi Vaa+ dg ^[
 hVaZh d[ Vc VeegdkZY egdYjXi Yd cdi gZVX] i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb djg egdYjXi XVcY^YViZh ldjaY WZ cZ\Vi^kZan V[[ZXiZY+
 l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 The loss of our single source suppliers, delays or problems in the supply of our products for commercial sale or our product candidates for use
 in our clinical trials, or our or our suppliers’ failure to comply with manufacturing regulations, could materially and adversely affect our
 business, financial condition, results of operations and growth prospects.
 N]Z bVcj[VXijgZ d[ e]VgbVXZji^XVa egdYjXih gZfj^gZh h^\c^[^XVci ZmeZgi^hZ VcY XVe^iVa ^ckZhibZci+ ^cXajY^c\ i]Z YZkZadebZci d[ egdXZhh Xdcigdah
 gZfj^gZY id Xdch^hiZcian egdYjXZ i]Z ;JC VcY i]Z [^c^h]ZY egdYjXi ^c hj[[^X^Zci fjVci^i^Zh l]^aZ bZZi^c\ YZiV^aZY egdYjXi heZX^[^XVi^dch dc V
 gZeZViZY WVh^h- QZ VcY djg bVcj[VXijgZgh bVn ZcXdjciZg Y^[[^Xjai^Zh ^c egdYjXi^dc+ ^cXajY^c\ Y^[[^Xjai^Zh l^i] egdYjXi^dc Xdhih VcY n^ZaYh+ egdXZhh
 Xdcigdah+ fjVa^in Xdcigda VcY fjVa^in VhhjgVcXZ+ ^cXajY^c\ iZhi^c\ d[ hiVW^a^in+ ^bejg^i^Zh VcY ^bejg^in aZkZah VcY di]Zg egdYjXi heZX^[^XVi^dch Wn
 kVa^YViZY iZhi bZi]dYh+ VcY Xdbea^VcXZ l^i] hig^Xian Zc[dgXZY O-M-+ hiViZ VcY cdc,O-M- gZ\jaVi^dch- N]ZhZ Y^[[^Xjai^Zh XVc WZ ]Z^\]iZcZY l]Zc lZ dg
 djg hjeea^Zgh VgZ gZfj^gZY id egdYjXZ [^c^h]ZY egdYjXi Vi XdbbZgX^Va hXVaZ dg id egdYjXZ ^cXgZVhZY fjVci^i^Zh id bZZi \gdl^c\ YZbVcY- Cc VYY^i^dc+
 lZ VcY djg hjeea^Zgh VgZ hjW_ZXi id i]Z @>;xh XjggZci AddY GVcj[VXijg^c\ JgVXi^XZh+ dg XAGJ+ gZfj^gZbZcih+ >?; gZ\jaVi^dch VcY di]Zg Zfj^kVaZci
 gjaZh VcY gZ\jaVi^dch egZhXg^WZY Wn cdc,O-M- gZ\jaVidgn Vji]dg^i^Zh- C[ lZ dg Vcn d[ djg hjeea^Zgh ZcXdjciZg i]ZhZ dg Vcn di]Zg bVcj[VXijg^c\+
 fjVa^in dg Xdbea^VcXZ Y^[[^Xjai^Zh l^i] gZheZXi id Vcn d[ djg egdYjXih+ eVgi^XjaVgan RngZb VcY ?gl^cVoZ+ WZXVjhZ lZ bV^ciV^c a^b^iZY ^ckZcidg^Zh [dg
 i]ZhZ egdYjXih+ lZ bVn WZ jcVWaZ id bZZi XdbbZgX^Va YZbVcY [dg hjX] egdYjXih+ l]^X] XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+
 gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 QZ gZXZ^kZY @>; VeegdkVa d[ djg bVcj[VXijg^c\ VcY YZkZadebZci [VX^a^in ^c CgZaVcY ^c DjcZ 1/05+ VcY lZ XdbbZcXZY XdbbZgX^Va deZgVi^dch Vi i]^h
 [VX^a^in ^c i]Z i]^gY fjVgiZg d[ 1/05- QZ VgZ jh^c\ i]^h [VX^a^in [dg i]Z bVcj[VXijgZ d[ RngZb VcY eaVc id Vahd jhZ i]^h [VX^a^in [dg i]Z bVcj[VXijgZ d[
 YZkZadebZci,hiV\Z egdYjXih- BdlZkZg+ di]Zg i]Vc djg CgZaVcY [VX^a^in VcY djg bVcj[VXijg^c\ eaVci ^c CiVan l]ZgZ lZ egdYjXZ i]Z YZ[^Wgdi^YZ Ygj\
 hjWhiVcXZ+ lZ XjggZcian Yd cdi ]VkZ djg dlc XdbbZgX^Va bVcj[VXijg^c\ XVeVW^a^in [dg djg egdYjXih+ egdYjXi XVcY^YViZh dg i]Z^g ;JCh+ dg eVX`V\^c\
 XVeVW^a^in- ;h V gZhjai+ djg VW^a^in id YZkZade VcY hjeean egdYjXih ^c V i^bZan VcY XdbeZi^i^kZ bVccZg YZeZcYh eg^bVg^an dc i]^gY eVgin hjeea^Zgh
 WZ^c\ VWaZ id bZZi djg dc\d^c\ XdbbZgX^Va VcY Xa^c^XVa ig^Va cZZYh [dg ;JC+ di]Zg gVl bViZg^Vah+ eVX`V\^c\ bViZg^Vah VcY [^c^h]ZY egdYjXih- Cc eVgi
 YjZ id i]Z a^b^iZY bVg`Zi h^oZ [dg djg egdYjXih VcY egdYjXi XVcY^YViZh+ lZ ]VkZ V h^c\aZ hdjgXZ d[ hjeean [dg bdhi d[ djg bVg`ZiZY egdYjXih+
 egdYjXi XVcY^YViZh VcY i]Z^g ;JCh- N]ZhZ h^c\aZ hdjgXZ VggVc\ZbZcih eji jh Vi g^h` d[ ^ciZggjei^dc ^c hjeean ^c i]Z ZkZci d[ bVcj[VXijg^c\+ fjVa^in
 dg Xdbea^VcXZ Y^[[^Xjai^Zh Vi djg hjeea^Zgh-
 M^Z\[g^ZY 'OM;( CcX-+ hjWhZfjZcian gZcVbZY M^Z\[g^ZY OM;+ FF=+ dg M^Z\[g^ZY+ ]Vh WZZc djg hdaZ hjeea^Zg d[ hdY^jb dmnWViZ h^cXZ 1/01- M^Z\[g^ZY
 hjeea^Zh hdY^jb dmnWViZ id djg O-M-,WVhZY bVcj[VXijgZg d[ RngZb VcY cdl hjeea^Zh hdY^jb dmnWViZ+ i]gdj\] V M^Z\[g^ZY V[[^a^ViZ ^c ?jgdeZ+ id djg
 CgZaVcY bVcj[VXijg^c\ [VX^a^in- QZ ZmeZXi i]Vi M^Z\[g^ZY l^aa Xdci^cjZ id WZ djg hdaZ hjeea^Zg d[ hdY^jb dmnWViZ [dg i]Z [dgZhZZVWaZ [jijgZ+ VcY lZ
 XVccdi VhhjgZ ndj i]Vi M^Z\[g^ZY XVc dg l^aa Xdci^cjZ id hjeean dc V i^bZan WVh^h+ dg Vi Vaa+ hj[[^X^Zci fjVci^i^Zh d[ ;JC id ZcVWaZ i]Z bVcj[VXijgZ d[
 i]Z fjVci^i^Zh d[ RngZb i]Vi lZ cZZY- JVi]Zdc J]VgbVXZji^XVah CcX-+ l]^X] lZ gZ[Zg id id\Zi]Zg l^i] ^ih V[[^a^ViZh Vh JVi]Zdc+ ^h djg hdaZ
 bVcj[VXijgZg VcY hjeea^Zg d[ RngZb ^c i]Z O-M- ;ai]dj\] lZ ]VkZ XdbbZcXZY bVcj[VXijg^c\ d[ RngZb ^c djg CgZaVcY [VX^a^in+ lZ ZmeZXi id gZan dc
 JVi]Zdc Vh djg O-M-,WVhZY hjeea^Zg d[ RngZb [dg i]Z [dgZhZZVWaZ [jijgZ+ VcY lZ XVccdi VhhjgZ ndj i]Vi JVi]Zdc XVc dg l^aa Xdci^cjZ id hjeean dc V
 i^bZan WVh^h+ dg Vi Vaa+ i]Z fjVci^i^Zh d[ RngZb i]Vi lZ cZZY [gdb JVi]Zdc-
 N]Z ;JC d[ RngZb+ hdY^jb dmnWViZ+ ^h V MX]ZYjaZ C XdcigdaaZY hjWhiVcXZ ^c i]Z O-M- N]Z >?; a^b^ih i]Z fjVci^in d[ XZgiV^c MX]ZYjaZ C XdcigdaaZY
 hjWhiVcXZh i]Vi bVn WZ bVcj[VXijgZY VcY egdXjgZY ^c i]Z O-M- ^c Vcn \^kZc XVaZcYVg nZVg i]gdj\] V fjdiV hnhiZb VcY+ Vh V gZhjai+ fjdiVh [gdb i]Z
 >?; VgZ gZfj^gZY ^c dgYZg id bVcj[VXijgZ VcY eVX`V\Z hdY^jb dmnWViZ VcY RngZb ^c i]Z O-M- ;XXdgY^c\an+ lZ gZfj^gZ >?; fjdiVh [dg M^Z\[g^ZY+ djg
 O-M-,WVhZY hdY^jb dmnWViZ hjeea^Zg+ id egdXjgZ hdY^jb dmnWViZ VcY [dg JVi]Zdc+ djg O-M-,WVhZY RngZb hjeea^Zg+ id dWiV^c i]Z hdY^jb dmnWViZ [gdb
 M^Z\[g^ZY ^c dgYZg id bVcj[VXijgZ VcY hjeean jh l^i] RngZb- <ZXVjhZ i]Z >?; ine^XVaan \gVcih fjdiVh dc Vc VccjVa WVh^h+ M^Z\[g^ZY VcY JVi]Zdc
 VgZ gZfj^gZY id gZfjZhi VcY _jhi^[n VaadXVi^dc d[ hj[[^X^Zci VccjVa >?; fjdiVh Vh lZaa Vh VYY^i^dcVa >?; fjdiVh ^[ djg XdbbZgX^Va dg Xa^c^XVa
 gZfj^gZbZcih ZmXZZY i]Z VaadXViZY fjdiVh i]gdj\]dji i]Z nZVg- @dg i]Z aVhi [Zl nZVgh+ djg hjeea^Zgh lZgZ VaadXViZY dcan V edgi^dc d[ i]Z ejWa^h]ZY
 VccjVa V\\gZ\ViZ fjdiV [dg i]Z ;JC- C[ dcZ dg bdgZ ;H>; [^aZgh lZgZ id WZ\^c bVcj[VXijg^c\ V \ZcZg^X hdY^jb dmnWViZ egdYjXi+ \ZcZg^X
 bVcj[VXijgZgh ldjaY cZZY id dWiV^c V edgi^dc d[ i]Z VccjVa V\\gZ\ViZ ;JC fjdiV+ l]^X] XdjaY YZXgZVhZ i]Z >?; fjdiV VaadXVi^dc dWiV^cZY dc djg
 WZ]Va[ Wn M^Z\[g^ZY VcY JVi]Zdc- Cc i]Z eVhi+ lZ ]VkZ ]VY id Zc\V\Z ^c aZc\i]n Z[[dgih id dWiV^c i]Z cZZYZY fjdiVh V[iZg i]Z dg^\^cVa VccjVa fjdiVh
 ]VY [^ghi WZZc VaadXViZY- N]Z cZZY [dg fjdiVh ]Vh egZkZciZY jh ^c i]Z eVhi+ VcY bVn egZkZci jh ^c i]Z [jijgZ+ [gdb Wj^aY^c\ h^\c^[^XVci ^ckZcidg^Zh-
 @dg 1/06+ Wdi] M^Z\[g^ZY VcY JVi]Zdc ]VkZ WZZc VaadXViZY bdhi+ Wji cdi Vaa+ d[ i]Z^g gZheZXi^kZ gZfjZhiZY fjdiVh- C[+ ^c i]Z [jijgZ+ lZ VcY

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 djg i]^gY eVgin hjeea^Zgh XVccdi dWiV^c i]Z fjdiVh i]Vi VgZ cZZYZY dc V i^bZan WVh^h+ dg Vi Vaa+ djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch
 VcY \gdli] egdheZXih XdjaY WZ bViZg^Vaan VcY VYkZghZan V[[ZXiZY-
 ?gl^cVoZ ^h a^XZchZY [gdb VcY bVcj[VXijgZY [dg jh Wn V h^c\aZ hdjgXZ+ J<F+ l]^X] ^h l]daan dlcZY Wn i]Z O-E- MZXgZiVgn d[ MiViZ [dg BZVai]- N]Z
 @>;xh VeegdkVa d[ i]Z <F; [dg ?gl^cVoZ ^cXajYZh V cjbWZg d[ edhi,bVg`Zi^c\ Xdbb^ibZcih gZaViZY id i]Z bVcj[VXijgZ d[ ?gl^cVoZ Wn J<F- QZ
 XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa Xdbean l^i] ^ih bVcj[VXijg^c\,gZaViZY edhi,bVg`Zi^c\ Xdbb^ibZcih i]Vi VgZ eVgi d[ i]Z <F; VeegdkVa- Cc GVgX]
 1/05+ i]Z @>; XdcYjXiZY Vc ^cheZXi^dc d[ i]Z J<F bVcj[VXijg^c\ [VX^a^in VcY ^hhjZY Vc @>; @dgb 372 id J<F i]Vi ^cXajYZY dWhZgkVi^dch gZaViZY id
 V gVc\Z d[ deZgVi^dcVa hnhiZbh VcY egdXZhhZh- Ic ;eg^a 1/05 VcY MZeiZbWZg 1/05+ J<F gZhedcYZY id i]Z @>; @dgb 372 l^i] ^ih eaVc+ ^cXajY^c\
 gZfj^gZY gZbZY^Vi^dc VXi^k^i^Zh+ id VYYgZhh i]Z dWhZgkVi^dch+ VcY hjWhZfjZcian egdk^YZY VYY^i^dcVa ^c[dgbVi^dc ^c gZhedchZ id Vcdi]Zg @>;
 gZfjZhi- Cc DVcjVgn 1/06+ i]Z @>; ^hhjZY V lVgc^c\ aZiiZg id J<F X^i^c\ h^\c^[^XVci k^daVi^dch d[ XAGJ [dg [^c^h]ZY e]VgbVXZji^XVah VcY h^\c^[^XVci
 YZk^Vi^dch [gdb XAGJ [dg ;JCh- QZ XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa XdggZXi i]Z k^daVi^dch VcY YZk^Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;- ;cn
 [V^ajgZ id Yd hd id i]Z hVi^h[VXi^dc d[ i]Z @>; XdjaY gZhjai ^c i]Z @>; gZ[jh^c\ VYb^hh^dc d[ ?gl^cVoZ ^cid i]Z O-M-+ Vh lZaa Vh VYY^i^dcVa
 Zc[dgXZbZci VXi^dch Wn i]Z @>; VcY di]Zg gZ\jaVidgn Zci^i^Zh-
 Cc i]Z Oc^iZY E^c\Ydb+ dg OE+ l]ZgZ J<Fxh bVcj[VXijg^c\ [VX^a^i^Zh VgZ adXViZY+ J<F ^h hjW_ZXi id h^b^aVg ^cheZXi^dch XdcYjXiZY Wn i]Z OE
 GZY^X^cZh VcY BZVai]XVgZ JgdYjXih LZ\jaVidgn ;\ZcXn+ dg GBL;- CcVW^a^in id Xdbean l^i] gZ\jaVidgn gZfj^gZbZcih d[ i]Z @>;+ i]Z GBL; dg
 di]Zg XdbeZiZci Vji]dg^i^Zh ^c i]Z ?O bZbWZg hiViZh ^c l]^X] ?gl^cVoZ ^h hjW_ZXi id bVg`Zi^c\ Vji]dg^oVi^dc XdjaY VYkZghZan V[[ZXi ?gl^cVoZ
 hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg ZmigZbZan a^b^iZY egdYjXi ^ckZcidgn+ VcY XdjaY gZhjai ^c9 Zc[dgXZbZci VXi^dch Wn i]Z @>;+ GBL; dg di]Zg ?O
 bZbWZg hiViZhx XdbeZiZci Vji]dg^i^Zh '^cXajY^c\ i]Z ^hhjVcXZ d[ i]Z adXVa Zfj^kVaZcih d[ @>; @dgb 372h dg lVgc^c\ aZiiZgh(: i]Z VeegdkVa d[ i]Z
 @>; dg i]ZhZ XdbeZiZci Vji]dg^i^Zh WZ^c\ hjheZcYZY+ kVg^ZY+ dg gZkd`ZY: egdYjXi gZaZVhZ WZ^c\ YZaVnZY+ dg hjheZcYZY: dg egdYjXi WZ^c\ hZ^oZY dg
 gZXVaaZY- ;cn d[ i]ZhZ VXi^dch XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[+ VcY gZkZcjZh [gdb+ ?gl^cVoZ VcY a^b^i djg ediZci^Va [jijgZ
 bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi- Cc VYY^i^dc+ ^[ i]Z @>; dg Vcn cdc,O-M- gZ\jaVidgn Vji]dg^in bVcYViZh Vcn X]Vc\Zh id i]Z
 heZX^[^XVi^dch [dg ?gl^cVoZ+ lZ bVn [VXZ X]VaaZc\Zh ]Vk^c\ egdYjXi egdYjXZY id bZZi hjX] heZX^[^XVi^dch+ VcY djg hjeea^Zg bVn ^cXgZVhZ ^ih eg^XZ id
 hjeean ?gl^cVoZ bZZi^c\ hjX] heZX^[^XVi^dch+ l]^X] bVn gZhjai ^c VYY^i^dcVa Xdhih id jh dg V YZaVn ^c hjeean VcY bVn YZXgZVhZ Vcn egd[^i lZ ldjaY
 di]Zgl^hZ VX]^ZkZ l^i] ?gl^cVoZ-
 GdgZdkZg+ i]Z XjggZci bVcj[VXijg^c\ XVeVX^in [dg ?gl^cVoZ ^h XdbeaZiZan VWhdgWZY Wn YZbVcY [dg i]Z egdYjXi- ;h V XdchZfjZcXZ d[ XdchigV^cZY
 bVcj[VXijg^c\ XVeVX^in+ lZ ]VkZ ]VY Vc ZmigZbZan a^b^iZY dg cd VW^a^in id Wj^aY egdYjXi ^ckZcidgn aZkZah i]Vi XVc WZ jhZY id VWhdgW hjeean
 Y^hgjei^dch gZhjai^c\ [gdb fjVa^in+ gZ\jaVidgn dg di]Zg ^hhjZh- QZ ]VkZ ZmeZg^ZcXZY egdYjXi fjVa^in+ bVcj[VXijg^c\ VcY ^ckZcidgn X]VaaZc\Zh i]Vi
 ]VkZ gZhjaiZY+ VcY bVn Xdci^cjZ id gZhjai+ ^c Y^hgjei^dch ^c djg VW^a^in id hjeean XZgiV^c bVg`Zih+ ^cXajY^c\ i]Z O-M-+ VcY ]VkZ XVjhZY+ VcY bVn ^c
 i]Z [jijgZ XVjhZ+ jh id ^beaZbZci WViX],heZX^[^X+ bdY^[^ZY egdYjXi jhZ ^chigjXi^dch- Gdhi gZXZcian+ lZ ZmeZg^ZcXZY hjeean ^ciZggjei^dch d[ ?gl^cVoZ
 ^c i]Z O-M- VcY di]Zg Xdjcig^Zh ^c i]Z i]^gY VcY [djgi] fjVgiZgh d[ 1/05- QZ XVccdi egZY^Xi l]Zi]Zg i]Z gZfj^gZY gZbZY^Vi^dc VXi^k^i^Zh ^c XdccZXi^dc
 l^i] i]Z DVcjVgn 1/06 lVgc^c\ aZiiZg l^aa [jgi]Zg higV^c bVcj[VXijg^c\ XVeVX^in VcY VYkZghZan V[[ZXi ?gl^cVoZ hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg
 ZmigZbZan a^b^iZY egdYjXi ^ckZcidgn- ;h XVeVX^in XdchigV^cih VcY hjeean Y^hgjei^dch Xdci^cjZ+ l]Zi]Zg Vh V gZhjai d[ Xdci^cjZY fjVa^in dg di]Zg
 bVcj[VXijg^c\ ^hhjZh+ gZ\jaVidgn ^hhjZh dg di]Zgl^hZ+ lZ l^aa WZ jcVWaZ id Wj^aY V YZh^gZY ZmXZhh aZkZa d[ egdYjXi ^ckZcidgn+ djg VW^a^in id hjeean
 i]Z bVg`Zi bVn Xdci^cjZ id WZ Xdbegdb^hZY VcY e]nh^X^Vchx YZX^h^dch id jhZ ?gl^cVoZ ]VkZ WZZc+ VcY bVn Xdci^cjZ id WZ+ cZ\Vi^kZan ^beVXiZY-
 C[ fjVa^in dg di]Zg bVcj[VXijg^c\ ^hhjZh dg gZ\jaVidgn Y^[[^Xjai^Zh eZgh^hi VcY gZhjai ^c V Y^hgjei^dc id hjeean dg XVeVX^in XdchigV^cih+ jcYZg djg
 V\gZZbZci l^i] J<F+ lZ Yd cdi ]VkZ i]Z g^\]i id Zc\V\Z V WVX`je hjeea^Zg [dg ?gl^cVoZ ZmXZei ^c kZgn a^b^iZY X^gXjbhiVcXZh+ hjX] Vh [daadl^c\ i]Z
 iZgb^cVi^dc d[ i]Z V\gZZbZci Wn jh YjZ id i]Z jcXjgZY bViZg^Va WgZVX] dg i]Z XZhhVi^dc d[ bVcj[VXijg^c\ Wn djg hjeea^Zg- C[ lZ VgZ gZfj^gZY id
 Zc\V\Z V WVX`je dg VaiZgcVi^kZ hjeea^Zg+ i]Z igVch[Zg d[ iZX]c^XVa ZmeZgi^hZ VcY bVcj[VXijg^c\ egdXZhh id i]Z WVX`je dg VaiZgcVi^kZ hjeea^Zg ldjaY
 WZ Y^[[^Xjai+ Xdhian VcY i^bZ,Xdchjb^c\+ b^\]i cdi WZ hjXXZhh[ja VcY ldjaY ^cXgZVhZ i]Z a^`Za^]ddY d[ V YZaVn dg ^ciZggjei^dc ^c bVcj[VXijg^c\ dg V
 h]dgiV\Z d[ hjeean d[ ?gl^cVoZ- C[ lZ [V^a id dWiV^c V hj[[^X^Zci hjeean d[ ?gl^cVoZ+ djg hVaZh d[ VcY gZkZcjZh [gdb ?gl^cVoZ+ djg ediZci^Va [jijgZ
 bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi+ VcY.dg djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih XdjaY
 WZ bViZg^Vaan VYkZghZan V[[ZXiZY-
 QZ VgZ djg hdaZ hjeea^Zg d[+ VcY lZ WZa^ZkZ i]Vi lZ VgZ XjggZcian i]Z hdaZ ldgaYl^YZ egdYjXZg d[+ i]Z YZ[^Wgdi^YZ Ygj\ XdbedjcY- QZ bVcj[VXijgZ
 i]Z YZ[^Wgdi^YZ XdbedjcY ^c V h^c\aZ [VX^a^in adXViZY ^c P^aaV AjVgY^V+ cZVg =dbd+ CiVan- JVi]Zdc XjggZcian egdXZhhZh i]Z YZ[^Wgdi^YZ XdbedjcY ^cid
 ^ih [^c^h]ZY k^Va [dgb+ VcY JVi]Zdc ^h i]Z hdaZ egdk^YZg d[ djg XdbbZgX^Va VcY Xa^c^XVa hjeean d[ >Z[^iZa^d- Cc 1/04+ i]Z @>; ^hhjZY Vc @>; @dgb 372
 id JVi]Zdc CiVa^V i]Vi ^cXajYZY dWhZgkVi^dch gZaViZY id i]Z @ZgZci^cd+ CiVan [VX^a^in i]Vi bVcj[VXijgZh >Z[^iZa^d- ;ai]dj\] lZ VgZ VYk^hZY i]Vi
 JVi]Zdc CiVa^V gZbZY^ViZY i]Z dWhZgkVi^dch id i]Z @>;xh hVi^h[VXi^dc+ i]Z @>; l^aa Xdci^cjZ id ^cheZXi VcY ZkVajViZ i]^h [VX^a^in [dg dc\d^c\
 Xdbea^VcXZ l^i] Veea^XVWaZ gZfj^gZbZcih- C[ JVi]Zdc YdZh cdi dg ^h cdi VWaZ id hjeean jh l^i] >Z[^iZa^d [dg Vcn gZVhdc+ ^i bVn iV`Z i^bZ VcY
 gZhdjgXZh id ^beaZbZci VcY ZmZXjiZ i]Z cZXZhhVgn iZX]cdad\n igVch[Zg id Vcdi]Zg egdXZhhdg+ VcY hjX] YZaVn XdjaY cZ\Vi^kZan

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 ^beVXi djg Vci^X^eViZY gZkZcjZh [gdb >Z[^iZa^d VcY XdjaY ediZci^Vaan XVjhZ jh id WgZVX] XdcigVXijVa dWa^\Vi^dch l^i] XjhidbZgh dg id k^daViZ adXVa
 aVlh gZfj^g^c\ jh id YZa^kZg i]Z egdYjXi id i]dhZ ^c cZZY-
 Cc VYY^i^dc+ i]Z ;JC ^c >Z[^iZa^d ^h YZg^kZY [gdb edgX^cZ >H;- C[ djg edgX^cZ >H; hjeea^Zg ZmeZg^ZcXZh hV[Zin dg di]Zg ^hhjZh i]Vi ^beVXi ^ih VW^a^in
 id hjeean edgX^cZ bViZg^Vah id jh Vh cZZYZY+ lZ bVn cdi WZ VWaZ id [^cY VaiZgcVi^kZ hjeea^Zgh ^c V i^bZan [Vh]^dc+ l]^X] XdjaY cZ\Vi^kZan ^beVXi djg
 hjeean d[ >Z[^iZa^d-
 PnmZdh ^h bVcj[VXijgZY jh^c\ =ZaVidgxh =dbW^JaZm iZX]cdad\n- =dbW^JaZm egdYjXih gZegZhZci [dgbjaVi^dch l^i] ^cXgZVhZY bVcj[VXijg^c\
 XdbeaZm^i^Zh VhhdX^ViZY l^i] egdYjX^c\ Ygj\ YZa^kZgn kZ]^XaZh ZcXVehjaVi^c\ ild dg bdgZ Ygj\h i]Vi VgZ bV^ciV^cZY Vi V [^mZY gVi^d VcY+ ^c i]Z XVhZ
 d[ PnmZdh+ ild Ygj\h i]Vi VgZ Xd,ZcXVehjaViZY ^c V [gZZoZ,Yg^ZY [dgbVi- PnmZdh ^h bVcj[VXijgZY Wn <VmiZg IcXdad\n AbWB+ dg <VmiZg+ l]^X] ^h V hdaZ
 hdjgXZ hjeea^Zg [gdb V h^c\aZ h^iZ adXVi^dc- <VmiZg hjXXZhh[jaan bVcj[VXijgZY WViX]Zh i]Vi lZgZ jhZY ^c =ZaVidgxh XdbeaZiZY J]VhZ 2 Xa^c^XVa ig^Va [dg
 PnmZdh+ Wji <VmiZg ]Vh ZmeZg^ZcXZY WViX] [V^ajgZh YjZ id bZX]Vc^XVa+ XdbedcZci VcY di]Zg ^hhjZh- Q]^aZ di]Zg XdcigVXi bVcj[VXijgZgh bVn WZ VWaZ
 id egdYjXZ PnmZdh+ i]Z egdeg^ZiVgn iZX]cdad\n i]Vi hjeedgih i]Z bVcj[VXijgZ d[ PnmZdh ^h cdi ZVh^an igVch[ZgVWaZ- =dchZfjZcian+ Zc\V\^c\ Vc
 VaiZgcViZ bVcj[VXijgZg bVn WZ Y^[[^Xjai+ Xdhian VcY i^bZ,Xdchjb^c\- C[ <VmiZg YdZh cdi YZa^kZg hj[[^X^Zci fjVci^i^Zh d[ PnmZdh ^c VXXdgYVcXZ l^i]
 Veea^XVWaZ heZX^[^XVi^dch dc V i^bZan WVh^h+ l]Zi]Zg YjZ id WViX] [V^ajgZh dg di]Zg YZaVnh+ dg ^[ <VmiZg ^h jcVWaZ id gZXZ^kZ @>; VeegdkVa id
 bVcj[VXijgZ PnmZdh+ djg VW^a^in id dWiV^c @>; VeegdkVa VcY hjXXZhh[jaan aVjcX] VcY XdbbZgX^Va^oZ Vc VeegdkZY PnmZdh egdYjXi VcY \ZcZgViZ hVaZh
 d[ i]^h egdYjXi Vi i]Z aZkZa lZ ZmeZXi XdjaY WZ bViZg^Vaan VcY VYkZghZan V[[ZXiZY-
 Cc VYY^i^dc+ l]^aZ i]Z ;JCh ^c PnmZdh+ XniVgVW^cZ VcY YVjcdgjW^X^c+ VgZ VkV^aVWaZ [gdb V cjbWZg d[ hjeea^Zgh+ XZgiV^c hjeea^Zgh ]VkZ gZXZ^kZY
 lVgc^c\ aZiiZgh [gdb i]Z @>;- ;h V gZhjai+ lZ ]VkZ fjVa^[^ZY di]Zg hjeea^Zgh [dg ZVX] ;JC+ VcY lZ l^aa egdk^YZ i]Z fjVa^[^XVi^dc YViV id i]Z @>; Vh
 eVgi d[ djg H>; hjWb^hh^dc- C[ i]Z @>; YdZh cdi VeegdkZ Z^i]Zg ;JC hjeea^Zg dg gZhig^Xih ^bedgiVi^dc d[ ;JC [gdb Z^i]Zg hjeea^Zg+ VcY lZ VgZ jcVWaZ
 id fjVa^[n ;JC [gdb VYY^i^dcVa hjeea^Zgh ^c V i^bZan bVccZg+ dg Vi Vaa+ djg VW^a^in id dWiV^c @>; VeegdkVa VcY hjXXZhh[jaan aVjcX] VcY XdbbZgX^Va^oZ
 Vc VeegdkZY PnmZdh egdYjXi VcY \ZcZgViZ hVaZh d[ i]^h egdYjXi Vi i]Z aZkZa lZ ZmeZXi XdjaY WZ bViZg^Vaan VcY VYkZghZan V[[ZXiZY-
 Nd XdcYjXi djg dc\d^c\ VcY Vcn [jijgZ Xa^c^XVa ig^Vah d[+ XdbeaZiZ bVg`Zi^c\ Vji]dg^oVi^dc hjWb^hh^dch [dg+ VcY ediZci^Vaan aVjcX] djg di]Zg
 egdYjXi XVcY^YViZh+ lZ cZZY id ]VkZ hj[[^X^Zci fjVci^i^Zh d[ egdYjXi bVcj[VXijgZY- N]ZgZ XVc WZ cd VhhjgVcXZ i]Vi lZ dg djg hjeea^Zgh l^aa WZ VWaZ
 id egdYjXZ hj[[^X^Zci hjeea^Zh d[ djg egdYjXi XVcY^YViZh ^c V i^bZan bVccZg dg ^c VXXdgYVcXZ l^i] Veea^XVWaZ heZX^[^XVi^dch- Cc VYY^i^dc+ id dWiV^c
 @>; VeegdkVa d[ Vcn egdYjXi XVcY^YViZ+ lZ dg djg hjeea^Zg dg hjeea^Zgh [dg i]Vi egdYjXi bjhi dWiV^c VeegdkVa Wn i]Z @>; id bVcj[VXijgZ VcY
 hjeean egdYjXi+ ^c hdbZ XVhZh WVhZY dc fjVa^[^XVi^dc YViV egdk^YZY id i]Z @>; Vh eVgi d[ djg H>; hjWb^hh^dc- ;cn YZaVn ^c \ZcZgVi^c\+ dg [V^ajgZ
 id \ZcZgViZ+ YViV gZfj^gZY ^c XdccZXi^dc l^i] hjWb^hh^dc d[ i]Z =G= edgi^dch d[ Vcn H>; XdjaY cZ\Vi^kZan ^beVXi djg VW^a^in id bZZi djg
 Vci^X^eViZY hjWb^hh^dc YViZh+ VcY i]ZgZ[dgZ djg Vci^X^eViZY i^b^c\ [dg dWiV^c^c\ @>; VeegdkVa+ dg djg VW^a^in id dWiV^c @>; VeegdkVa Vi Vaa- Cc
 VYY^i^dc+ Vcn [V^ajgZ d[ jh dg V hjeea^Zg id dWiV^c VeegdkVa Wn i]Z @>; id bVcj[VXijgZ VcY hjeean egdYjXi dg Vcn YZaVn ^c gZXZ^k^c\+ dg [V^ajgZ id
 gZXZ^kZ+ VYZfjViZ hjeea^Zh d[ V egdYjXi dc V i^bZan WVh^h dg ^c VXXdgYVcXZ l^i] Veea^XVWaZ heZX^[^XVi^dch XdjaY cZ\Vi^kZan ^beVXi djg VW^a^in id
 hjXXZhh[jaan aVjcX] VcY XdbbZgX^Va^oZ egdYjXih VcY \ZcZgViZ hVaZh d[ egdYjXih Vi i]Z aZkZah lZ ZmeZXi-
 @V^ajgZ Wn jh dg djg i]^gY eVgin hjeea^Zgh id Xdbean l^i] gZ\jaVidgn gZfj^gZbZcih XdjaY VYkZghZan V[[ZXi djg dg i]Z^g VW^a^in id hjeean egdYjXih dg
 ^c\gZY^Zcih- ;aa [VX^a^i^Zh VcY bVcj[VXijg^c\ iZX]c^fjZh jhZY [dg i]Z bVcj[VXijgZ d[ e]VgbVXZji^XVa egdYjXih bjhi WZ deZgViZY ^c Xdc[dgb^in l^i]
 Veea^XVWaZ XAGJ+ gZfj^gZbZcih- >?; gZ\jaVi^dch Vahd \dkZgc [VX^a^i^Zh l]ZgZ XdcigdaaZY hjWhiVcXZh hjX] Vh hdY^jb dmnWViZ VgZ bVcj[VXijgZY- Ijg
 bVcj[VXijg^c\ [VX^a^i^Zh VcY bVcj[VXijg^c\ [VX^a^i^Zh d[ djg hjeea^Zgh ]VkZ WZZc VcY VgZ hjW_ZXi id eZg^dY^X jcVccdjcXZY ^cheZXi^dc Wn i]Z @>;+
 i]Z ?G;+ i]Z >?;+ i]Z CiVa^Vc BZVai] ;ji]dg^in VcY di]Zg gZ\jaVidgn Vji]dg^i^Zh+ ^cXajY^c\ hiViZ Vji]dg^i^Zh VcY h^b^aVg Vji]dg^i^Zh ^c di]Zg
 _jg^hY^Xi^dch+ id Xdc[^gb Xdbea^VcXZ l^i] XAGJ VcY di]Zg gZfj^gZbZcih- QZ VcY djg i]^gY eVgin hjeea^Zgh bjhi Xdci^cjVaan ZmeZcY i^bZ+ bdcZn VcY
 Z[[dgi ^c egdYjXi^dc+ gZXdgY `ZZe^c\ VcY fjVa^in VhhjgVcXZ VcY Xdcigda id ZchjgZ i]Vi djg egdYjXih VcY egdYjXi XVcY^YViZh bZZi Veea^XVWaZ
 heZX^[^XVi^dch VcY di]Zg gZfj^gZbZcih [dg egdYjXi hV[Zin+ Z[[^XVXn VcY fjVa^in- @V^ajgZ id Xdbean l^i] Veea^XVWaZ aZ\Va VcY gZ\jaVidgn gZfj^gZbZcih
 hjW_ZXih jh VcY djg hjeea^Zgh id edhh^WaZ aZ\Va dg gZ\jaVidgn VXi^dc+ ^cXajY^c\ gZhig^Xi^dch dc hjeean dg h]jiYdlc+ l]^X] bVn VYkZghZan V[[ZXi djg
 dg V hjeea^Zgxh VW^a^in id hjeean i]Z ^c\gZY^Zcih dg [^c^h]ZY egdYjXih lZ cZZY- GdgZdkZg+ djg dg djg i]^gY eVgin hjeea^Zghx [VX^a^i^Zh XdjaY WZ
 YVbV\ZY Wn [^gZ+ [addY+ ZVgi]fjV`Z+ edlZg adhh+ iZaZXdbbjc^XVi^dc VcY ^c[dgbVi^dc hnhiZb [V^ajgZ+ iZggdg^hb dg h^b^aVg ZkZcih- ;cn d[ i]ZhZ ZkZcih
 XdjaY XVjhZ V YZaVn dg ^ciZggjei^dc ^c bVcj[VXijg^c\ VcY ediZci^Vaan V hjeean h]dgiV\Z d[ djg egdYjXih+ l]^X] XdjaY cZ\Vi^kZan ^beVXi djg
 Vci^X^eViZY gZkZcjZh-
 C[+ [dg Vcn gZVhdc+ djg hjeea^Zgh+ ^cXajY^c\ Vcn cZl hjeea^Zgh+ Yd cdi Xdci^cjZ id hjeean jh l^i] djg egdYjXih dg egdYjXi XVcY^YViZh ^c V i^bZan
 [Vh]^dc VcY ^c Xdbea^VcXZ l^i] Veea^XVWaZ fjVa^in VcY gZ\jaVidgn gZfj^gZbZcih+ dg di]Zgl^hZ [V^a dg gZ[jhZ id Xdbean l^i] i]Z^g dWa^\Vi^dch id jh
 jcYZg djg hjeean VcY bVcj[VXijg^c\ VggVc\ZbZcih+ lZ bVn cdi ]VkZ VYZfjViZ gZbZY^Zh [dg Vcn WgZVX]+ VcY i]Z^g [V^ajgZ id hjeean jh XdjaY gZhjai
 ^c V h]dgiV\Z d[ djg egdYjXih dg egdYjXi XVcY^YViZh+ l]^X] XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY
 \gdli] egdheZXih-

                                                                           32
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 NVWaZ d[ =dciZcih



 Cc VYY^i^dc+ ^[ dcZ d[ djg hjeea^Zgh [V^ah dg gZ[jhZh id hjeean jh [dg Vcn gZVhdc+ ^i ldjaY iV`Z V h^\c^[^XVci Vbdjci d[ i^bZ VcY ZmeZchZ id fjVa^[n V
 cZl hjeea^Zg- N]Z @>; VcY h^b^aVg ^ciZgcVi^dcVa gZ\jaVidgn WdY^Zh bjhi VeegdkZ bVcj[VXijgZgh d[ i]Z VXi^kZ VcY ^cVXi^kZ e]VgbVXZji^XVa
 ^c\gZY^Zcih VcY XZgiV^c eVX`V\^c\ bViZg^Vah jhZY ^c djg egdYjXih- N]Z adhh d[ dcZ d[ djg hjeea^Zgh XdjaY gZfj^gZ jh id dWiV^c gZ\jaVidgn XaZVgVcXZ ^c
 i]Z [dgb d[ V veg^dg VeegdkVa hjeeaZbZciw VcY id ^cXjg kVa^YVi^dc VcY di]Zg Xdhih VhhdX^ViZY l^i] i]Z igVch[Zg d[ i]Z ;JC dg egdYjXi bVcj[VXijg^c\
 egdXZhh- QZ WZa^ZkZ i]Vi ^i XdjaY iV`Z je id ild nZVgh+ dg adc\Zg ^c XZgiV^c XVhZh+ id fjVa^[n V cZl hjeea^Zg+ VcY lZ bVn cdi WZ VWaZ id dWiV^c ;JCh
 dg [^c^h]ZY egdYjXih [gdb cZl hjeea^Zgh dc VXXZeiVWaZ iZgbh VcY Vi gZVhdcVWaZ eg^XZh+ dg Vi Vaa- C[ i]ZgZ VgZ YZaVnh ^c fjVa^[n^c\ cZl hjeea^Zgh dg
 [VX^a^i^Zh dg V cZl hjeea^Zg ^h jcVWaZ id dWiV^c V hj[[^X^Zci fjdiV [gdb i]Z >?;+ ^[ gZfj^gZY+ dg id di]Zgl^hZ bZZi @>; dg h^b^aVg ^ciZgcVi^dcVa
 gZ\jaVidgn WdYnxh gZfj^gZbZcih [dg VeegdkVa+ i]ZgZ XdjaY WZ V h]dgiV\Z d[ i]Z V[[ZXiZY egdYjXih [dg i]Z bVg`ZieaVXZ dg [dg jhZ ^c Xa^c^XVa hijY^Zh+ dg
 Wdi]+ eVgi^XjaVgan h^cXZ lZ Yd cdi ]VkZ hZXdcYVgn hdjgXZh [dg hjeean VcY bVcj[VXijgZ d[ i]Z ;JCh [dg djg egdYjXih dg WVX`je hjeea^Zgh [dg djg
 [^c^h]ZY egdYjXih-
 Ijg VW^a^in id YZkZade VcY YZa^kZg egdYjXih ^c V i^bZan VcY XdbeZi^i^kZ bVccZg YZeZcYh dc djg i]^gY eVgin hjeea^Zgh WZ^c\ VWaZ id Xdci^cjZ id bZZi
 djg dc\d^c\ XdbbZgX^Va cZZYh- ;cn YZaVn ^c hjeean^c\+ dg [V^ajgZ id hjeean+ egdYjXih dg egdYjXi XVcY^YViZh Wn Vcn d[ djg hjeea^Zgh XdjaY gZhjai ^c
 djg ^cVW^a^in id bZZi i]Z XdbbZgX^Va YZbVcY [dg djg egdYjXih+ dg djg cZZYh [dg jhZ ^c Xa^c^XVa ig^Vah+ VcY XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh+
 [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 We have substantially expanded our international footprint and operations, and we may expand further in the future, but we do not yet have
 substantial historical experience in international markets and may not achieve the results that we, our shareholders or analysts who cover our
 business expect.
 QZ VgZ ]ZVYfjVgiZgZY ^c >jWa^c+ CgZaVcY VcY ]VkZ bjai^eaZ d[[^XZh ^c i]Z O-M-+ i]Z Oc^iZY E^c\Ydb+ CiVan VcY di]Zg Xdjcig^Zh ^c ?jgdeZ- Ijg
 ]ZVYXdjci ]Vh \gdlc id Veegdm^bViZan 0+/3/ ^c @ZWgjVgn 1/06- N]^h ^cXajYZh ZbeadnZZh ^c 03 Xdjcig^Zh ^c Hdgi] ;bZg^XV VcY ?jgdeZ+ V ?jgdeZVc
 XdbbZgX^Va egZhZcXZ+ V XdbeaZm Y^hig^Wji^dc cZildg` [dg egdYjXih ^c ?jgdeZ VcY VYY^i^dcVa iZgg^idg^Zh+ VcY bVcj[VXijg^c\ [VX^a^i^Zh ^c CiVan VcY
 CgZaVcY- Cc VYY^i^dc+ lZ bVn ZmeVcY djg ^ciZgcVi^dcVa deZgVi^dch ^cid di]Zg Xdjcig^Zh ^c i]Z [jijgZ+ Z^i]Zg dg\Vc^XVaan dg Wn VXfj^h^i^dc- Q]^aZ lZ
 ]VkZ VXfj^gZY h^\c^[^XVci bVcV\ZbZci VcY di]Zg eZghdccZa l^i] hjWhiVci^Va ^ciZgcVi^dcVa ZmeZg^ZcXZ+ XdcYjXi^c\ djg Wjh^cZhh ^c bjai^eaZ Xdjcig^Zh
 hjW_ZXih jh id V kVg^Zin d[ g^h`h VcY XdbeaZm^i^Zh i]Vi bVn bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ gZhjaih d[ deZgVi^dch+ [^cVcX^Va XdcY^i^dc
 VcY \gdli] egdheZXih+ ^cXajY^c\+ Vbdc\ di]Zg i]^c\h9
 s         i]Z ^cXgZVhZY XdbeaZm^in VcY Xdhih ^c]ZgZci ^c bVcV\^c\ ^ciZgcVi^dcVa deZgVi^dch:
 s         Y^kZghZ gZ\jaVidgn+ [^cVcX^Va VcY aZ\Va gZfj^gZbZcih+ VcY Vcn [jijgZ X]Vc\Zh id hjX] gZfj^gZbZcih+ ^c dcZ dg bdgZ Xdjcig^Zh l]ZgZ lZ VgZ
           adXViZY dg Yd Wjh^cZhh:
 s         Xdjcign,heZX^[^X iVm+ aVWdg VcY ZbeadnbZci aVlh VcY gZ\jaVi^dch:
 s         Veea^XVWaZ igVYZ aVlh+ iVg^[[h+ Zmedgi fjdiVh+ Xjhidb Yji^Zh dg di]Zg igVYZ gZhig^Xi^dch VcY Vcn X]Vc\Zh id i]Zb:
 s         X]VaaZc\Zh ^c]ZgZci ^c Z[[^X^Zcian bVcV\^c\ ZbeadnZZh ^c Y^kZghZ \Zd\gVe]^Zh+ ^cXajY^c\ i]Z cZZY id VYVei hnhiZbh+ eda^X^Zh+ WZcZ[^ih VcY
           Xdbea^VcXZ egd\gVbh id Y^[[Zg^c\ aVWdg VcY di]Zg gZ\jaVi^dch+ Vh lZaa Vh bV^ciV^c^c\ edh^i^kZ ^ciZgVXi^dch l^i] jc^dc^oZY ZbeadnZZh ^c
           dcZ d[ djg ^ciZgcVi^dcVa adXVi^dch:
 s         a^VW^a^i^Zh [dg VXi^k^i^Zh d[+ dg gZaViZY id+ djg ^ciZgcVi^dcVa deZgVi^dch+ egdYjXih dg egdYjXi XVcY^YViZh:
 s         X]Vc\Zh ^c XjggZcXn gViZh: VcY
 s         gZ\jaVi^dch gZaVi^c\ id YViV hZXjg^in VcY i]Z jcVji]dg^oZY jhZ d[+ dg VXXZhh id+ XdbbZgX^Va VcY eZghdcVa ^c[dgbVi^dc-
 ;h V gZhjai d[ djg gVe^Y \gdli]+ djg Wjh^cZhh VcY XdgedgViZ higjXijgZ ]Vh WZXdbZ hjWhiVci^Vaan bdgZ XdbeaZm- N]ZgZ XVc WZ cd VhhjgVcXZ i]Vi lZ
 l^aa Z[[ZXi^kZan bVcV\Z i]Z ^cXgZVhZY XdbeaZm^in l^i]dji ZmeZg^ZcX^c\ deZgVi^c\ ^cZ[[^X^ZcX^Zh dg Xdcigda YZ[^X^ZcX^Zh- M^\c^[^XVci bVcV\ZbZci i^bZ
 VcY Z[[dgi ^h gZfj^gZY id Z[[ZXi^kZan bVcV\Z i]Z ^cXgZVhZY XdbeaZm^in d[ djg XdbeVcn+ VcY djg [V^ajgZ id hjXXZhh[jaan Yd hd XdjaY ]VkZ V bViZg^Va
 VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Cc gZXZci nZVgh+ i]Z \adWVa ZXdcdbn ]Vh WZZc ^beVXiZY Wn i]Z Z[[ZXih d[ Vc dc\d^c\ \adWVa [^cVcX^Va Xg^h^h+ ^cXajY^c\ i]Z ?jgdeZVc hdkZgZ^\c YZWi
 Xg^h^h+ l]^X] ]Vh XVjhZY ZmigZbZ Y^hgjei^dc ^c i]Z [^cVcX^Va bVg`Zih+ ^cXajY^c\ hZkZgZan Y^b^c^h]ZY a^fj^Y^in VcY XgZY^i VkV^aVW^a^in- Cc VYY^i^dc+ lZ
 ZmeZXi id Xdci^cjZ id \gdl djg egdYjXi hVaZh ^c ?jgdeZ- =dci^cj^c\ ldgaYl^YZ ZXdcdb^X ^chiVW^a^in+ ^cXajY^c\ X]VaaZc\Zh [VXZY Wn i]Z ?jgdodcZ
 VcY XZgiV^c d[ i]Z Xdjcig^Zh ^c ?jgdeZ VcY i]Z dc\d^c\ WjY\ZiVgn Y^[[^Xjai^Zh [VXZY Wn V cjbWZg d[ ?O bZbWZg hiViZh+ ^cXajY^c\ AgZZXZ VcY MeV^c+
 ]Vh aZY VcY bVn Xdci^cjZ id aZVY id hjWhiVci^Va YZaVnh ^c eVnbZci VcY eVnbZci eVgi^Vaan l^i] \dkZgcbZci WdcYh gVi]Zg i]Vc XVh] [dg bZY^X^cVa
 Ygj\ egdYjXih+ l]^X] XdjaY cZ\Vi^kZan ^beVXi djg gZkZcjZh VcY egd[^iVW^a^in-
 Cc VYY^i^dc+ dc DjcZ 12+ 1/05+ Za^\^WaZ bZbWZgh d[ i]Z ZaZXidgViZ ^c i]Z Oc^iZY E^c\Ydb YZX^YZY Wn gZ[ZgZcYjb id aZVkZ i]Z ?O+ dg <gZm^i- QZ ]VkZ V
 h^\c^[^XVci d[[^XZ ^c Im[dgY+ ?c\aVcY+ l]^X] [dXjhZh dc XdbbZgX^Va^oVi^dc d[ djg egdYjXih djih^YZ d[ i]Z O-M-+ Vbdc\ di]Zg VXi^k^i^Zh- QZ Yd cdi
 `cdl id l]Vi ZmiZci+ dg l]Zc+ <gZm^i dg Vcn di]Zg [jijgZ X]Vc\Zh id

                                                                             33
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 bZbWZgh]^e ^c i]Z ?O l^aa ^beVXi djg Wjh^cZhh+ ^[ Vi Vaa- Cc eVgi^XjaVg+ djg VW^a^in id XdcYjXi ^ciZgcVi^dcVa Wjh^cZhh dji d[ i]Z Oc^iZY E^c\Ydb bVn
 WZ bViZg^Vaan VcY VYkZghZan V[[ZXiZY-
 The commercial success of our products depends upon their market acceptance by physicians, patients, third party payors and the medical
 community.
 C[ e]nh^X^Vch Yd cdi egZhXg^WZ djg egdYjXih+ lZ XVccdi \ZcZgViZ i]Z gZkZcjZh lZ Vci^X^eViZ [gdb egdYjXi hVaZh- GVg`Zi VXXZeiVcXZ d[ Vcn d[ djg
 egdYjXih Wn e]nh^X^Vch+ eVi^Zcih+ i]^gY eVgin eVndgh VcY i]Z bZY^XVa Xdbbjc^in YZeZcYh dc9
 s         i]Z Xa^c^XVa ^cY^XVi^dch [dg l]^X] V egdYjXi ^h VeegdkZY+ ^cXajY^c\ Vcn gZhig^Xi^dch eaVXZY jedc i]Z egdYjXi ^c XdccZXi^dc l^i] ^ih
           VeegdkVa+ hjX] Vh V L?GM+ eVi^Zci gZ\^hign dg aVWZa^c\ gZhig^Xi^dch:
 s         i]Z egZkVaZcXZ d[ i]Z Y^hZVhZ dg XdcY^i^dc [dg l]^X] i]Z egdYjXi ^h VeegdkZY VcY ^ih Y^V\cdh^h+ VcY i]Z hZkZg^in d[ h^YZ Z[[ZXih:
 s         VXXZeiVcXZ Wn e]nh^X^Vch VcY eVi^Zcih d[ ZVX] egdYjXi Vh V hV[Z VcY Z[[ZXi^kZ igZVibZci:
 s         VkV^aVW^a^in d[ hj[[^X^Zci egdYjXi ^ckZcidgn id bZZi YZbVcY+ eVgi^XjaVgan l^i] gZheZXi id ?gl^cVoZ:
 s         e]nh^X^Vchx YZX^h^dch gZaVi^c\ id igZVibZci egVXi^XZh WVhZY dc VkV^aVW^a^in d[ egdYjXi ^ckZcidgn:
 s         eZgXZ^kZY VYkVciV\Zh dkZg VaiZgcVi^kZ igZVibZcih:
 s         gZaVi^kZ XdckZc^ZcXZ VcY ZVhZ d[ VYb^c^higVi^dc:
 s         e]nh^X^Vc VcY eVi^Zci VhhZhhbZci d[ i]Z WjgYZch VhhdX^ViZY l^i] dWiV^c^c\ dg bV^ciV^c^c\ i]Z XZgi^[^XVi^dch gZfj^gZY jcYZg i]Z RngZb
           L?GM:
 s         i]Z Xdhi d[ igZVibZci ^c gZaVi^dc id VaiZgcVi^kZ igZVibZcih+ ^cXajY^c\ \ZcZg^X egdYjXih:
 s         i]Z ZmiZci id l]^X] i]Z egdYjXi ^h VeegdkZY [dg ^cXajh^dc dc [dgbjaVg^Zh d[ ]dhe^iVah VcY bVcV\ZY XVgZ dg\Vc^oVi^dch:
 s         i]Z XdcY^i^dch [dg gZ^bWjghZbZci gZfj^gZY Wn+ VcY Veegdeg^ViZ eg^X^c\ VcY VkV^aVW^a^in d[ gZ^bWjghZbZci [gdb+ i]^gY eVgin eVndgh: VcY
 s         i]Z VkV^aVW^a^in d[ [^cVcX^Va dg di]Zg Vhh^hiVcXZ [dg eVi^Zcih l]d VgZ jc^chjgZY dg jcYZg^chjgZY-
 <ZXVjhZ d[ djg YZeZcYZcXZ jedc bVg`Zi VXXZeiVcXZ d[ djg egdYjXih+ Vcn VYkZghZ ejWa^X^in VhhdX^ViZY l^i] ]Vgb id eVi^Zcih dg di]Zg VYkZghZ
 ZkZcih gZhjai^c\ [gdb i]Z jhZ dg b^hjhZ d[ djg egdYjXih dg Vcn h^b^aVg egdYjXih Y^hig^WjiZY Wn di]Zg XdbeVc^Zh+ ^cXajY^c\ \ZcZg^X kZgh^dch d[ djg
 egdYjXih+ XdjaY bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg ZmVbeaZ+ [gdb
 i^bZ id i^bZ+ i]ZgZ ^h cZ\Vi^kZ ejWa^X^in VWdji ^aa^X^i \VbbV,]nYgdmnWjingViZ+ dg AB<+ VcY ^ih Z[[ZXih+ ^cXajY^c\ l^i] gZheZXi id ^aaZ\Va jhZ+
 dkZgYdhZh+ hZg^djh ^c_jgn VcY YZVi]- <ZXVjhZ hdY^jb dmnWViZ+ i]Z ;JC ^c RngZb+ ^h V YZg^kVi^kZ d[ AB<+ RngZb hdbZi^bZh Vahd gZXZ^kZh cZ\Vi^kZ
 bZci^dc ^c ejWa^X^in gZaVi^c\ id AB<- JVi^Zcih+ e]nh^X^Vch VcY gZ\jaVidgh bVn i]ZgZ[dgZ k^Zl RngZb Vh i]Z hVbZ Vh dg h^b^aVg id ^aa^X^i AB<- Cc
 VYY^i^dc+ i]ZgZ VgZ gZ\jaVidgh VcY hdbZ aVl Zc[dgXZbZci V\ZcX^Zh i]Vi deedhZ i]Z egZhXg^ei^dc VcY jhZ d[ RngZb \ZcZgVaan WZXVjhZ d[ ^ih
 XdccZXi^dc id AB<- RngZbxh aVWZa ^cXajYZh ^c[dgbVi^dc VWdji VYkZghZ ZkZcih [gdb AB<- GdgZdkZg+ V hdY^jb dmnWViZ Y^hig^Wji^dc hnhiZb i]Vi ^h
 aZhh gZhig^Xi^kZ i]Vc i]Z RngZb L?GM+ hjX] Vh i]Z \ZcZg^X hdY^jb dmnWViZ L?GM VeegdkZY Wn i]Z @>; ^c DVcjVgn 1/06+ bVn ^cXgZVhZ i]Z g^h`h
 VhhdX^ViZY l^i] hdY^jb dmnWViZ Y^hig^Wji^dc+ Vh eVi^Zcih+ XdchjbZgh VcY di]Zgh bVn cdi Y^[[ZgZci^ViZ \ZcZg^X hdY^jb dmnWViZ [gdb RngZb+ dg
 Y^[[ZgZci^ViZ WZilZZc i]Z Y^[[ZgZci L?GM egd\gVbh- ;cn cZ\Vi^kZ djiXdbZh+ ^cXajY^c\ Wji cdi a^b^iZY id g^h`h id i]Z ejWa^X+ XVjhZY Wn dg di]Zgl^hZ
 gZaViZY id i]Z hZeVgViZ \ZcZg^X hdY^jb dmnWViZ L?GM XdjaY ]VkZ V h^\c^[^XVci cZ\Vi^kZ ^beVXi ^c iZgbh d[ egdYjXi a^VW^a^in+ \ddYl^aa+ VcY
 egZhXg^WZghx l^aa^c\cZhh id egZhXg^WZ+ VcY eVi^Zcihx l^aa^c\cZhh id iV`Z+ RngZb+ Vcn d[ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg RngZb
 gZkZcjZh-
 Cc VYY^i^dc+ lZ ]VkZ eZg^dY^XVaan ^cXgZVhZY i]Z eg^XZ d[ RngZb VcY bVn Yd hd V\V^c ^c i]Z [jijgZ- QZ Vahd ]VkZ bVYZ VcY bVn ^c i]Z [jijgZ bV`Z
 h^b^aVg eg^XZ ^cXgZVhZh dc djg di]Zg egdYjXih- Jg^XZ ^cXgZVhZh dc djg egdYjXih VcY cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ eg^X^c\ VcY eg^XZ ^cXgZVhZh
 \ZcZgVaan+ l]Zi]Zg dc djg egdYjXih dg egdYjXih Y^hig^WjiZY Wn di]Zg e]VgbVXZji^XVa XdbeVc^Zh+ XdjaY cZ\Vi^kZan V[[ZXi bVg`Zi VXXZeiVcXZ d[ djg
 egdYjXih- @dg VYY^i^dcVa Y^hXjhh^dc VWdji eVndg VXXZeiVcXZ+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vPrice approvals and reimbursement may not be
 available for our products, which could diminish our sales or affect our ability to sell our products profitablyw ^c i]^h JVgi C+ CiZb 0;-
 We may not be able to successfully identify and acquire, in-license or develop additional products or product candidates to grow our business,
 and, even if we are able to do so, we may not be able to successfully manage the risks associated with integrating any products or product
 candidates we may acquire in the future into our product portfolio, or we may otherwise fail to realize the anticipated benefits of these
 acquisitions.
 QZ ^ciZcY id \gdl djg Wjh^cZhh dkZg i]Z adc\ iZgb Wn VXfj^g^c\ dg ^c,a^XZch^c\ VcY YZkZade^c\ VYY^i^dcVa egdYjXih VcY egdYjXi XVcY^YViZh i]Vi lZ
 WZa^ZkZ ]VkZ h^\c^[^XVci XdbbZgX^Va ediZci^Va- @jijgZ \gdli] i]gdj\] VXfj^h^i^dc dg ^c,a^XZch^c\

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 l^aa YZeZcY jedc i]Z VkV^aVW^a^in d[ hj^iVWaZ egdYjXih VcY egdYjXi XVcY^YViZh [dg VXfj^h^i^dc dg ^c,a^XZch^c\ dc VXXZeiVWaZ eg^XZh+ iZgbh VcY
 XdcY^i^dch-
 ?kZc ^[ Veegdeg^ViZ deedgijc^i^Zh VgZ VkV^aVWaZ+ lZ bVn cdi WZ VWaZ id hjXXZhh[jaan ^YZci^[n i]Zb+ dg lZ bVn cdi ]VkZ i]Z [^cVcX^Va gZhdjgXZh
 cZXZhhVgn id ejghjZ i]Zb- Ii]Zg XdbeVc^Zh+ bVcn d[ l]^X] bVn ]VkZ hjWhiVci^Vaan \gZViZg [^cVcX^Va+ bVg`Zi^c\ VcY hVaZh gZhdjgXZh+ XdbeZiZ l^i]
 jh [dg i]ZhZ deedgijc^i^Zh- Cc dgYZg id XdbeZiZ hjXXZhh[jaan id VXfj^gZ ViigVXi^kZ egdYjXih dg egdYjXi XVcY^YViZh ^c i]Z XjggZci Wjh^cZhh Xa^bViZ+ lZ
 bVn ]VkZ id eVn ]^\]Zg eg^XZh [dg VhhZih i]Vc bVn ]VkZ WZZc eV^Y ]^hidg^XVaan+ l]^X] bVn bV`Z ^i bdgZ Y^[[^Xjai [dg jh id gZVa^oZ Vc VYZfjViZ gZijgc
 dc Vcn VXfj^h^i^dc-
 ?kZc ^[ lZ VgZ VWaZ id hjXXZhh[jaan ^YZci^[n VcY VXfj^gZ+ ^c,a^XZchZ dg YZkZade VYY^i^dcVa egdYjXih dg egdYjXi XVcY^YViZh+ lZ XVccdi VhhjgZ ndj i]Vi
 lZ l^aa WZ VWaZ id hjXXZhh[jaan bVcV\Z i]Z g^h`h VhhdX^ViZY l^i] ^ciZ\gVi^c\ Vcn egdYjXih dg egdYjXi XVcY^YViZh dg i]Z g^h`h Vg^h^c\ [gdb Vci^X^eViZY
 VcY jcVci^X^eViZY egdWaZbh ^c XdccZXi^dc l^i] Vc VXfj^h^i^dc dg ^c,a^XZch^c\- QZ bVn cdi WZ VWaZ id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih d[ Vcn
 VXfj^h^i^dc dg ^c,a^XZch^c\ [dg V kVg^Zin d[ gZVhdch+ ^cXajY^c\ ^[9
 s         lZ VgZ jcVWaZ id dWiV^c VcY bV^ciV^c VYZfjViZ [jcY^c\ id XdbeaZiZ i]Z YZkZadebZci d[+ dWiV^c gZ\jaVidgn VeegdkVa [dg VcY XdbbZgX^Va^oZ
           Vc VXfj^gZY egdYjXi XVcY^YViZ:
 s         V egdYjXi XVcY^YViZ egdkZh cdi id WZ hV[Z dg Z[[ZXi^kZ ^c aViZg Xa^c^XVa ig^Vah:
 s         V egdYjXi [V^ah id gZVX] ^ih [dgZXVhiZY XdbbZgX^Va ediZci^Va Vh V gZhjai d[ eg^X^c\ egZhhjgZh:
 s         lZ ZmeZg^ZcXZ cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ VXijVa dg ediZci^Va [jijgZ eg^XZ ^cXgZVhZh [dg i]Vi egdYjXi dg di]Zgl^hZ: dg
 s         i]Z ^ciZ\gVi^dc d[ V egdYjXi dg egdYjXi XVcY^YViZ \^kZh g^hZ id jc[dgZhZZc Y^[[^Xjai^Zh VcY ZmeZcY^ijgZh-
 ;cn [V^ajgZ ^c ^YZci^[n^c\ VcY bVcV\^c\ i]ZhZ g^h`h VcY jcXZgiV^ci^Zh Z[[ZXi^kZan ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh-
 @dg ZmVbeaZ+ ^c Djan 1/05 lZ bVYZ V hjWhiVci^Va ^ckZhibZci ^c =ZaVidg i]gdj\] i]Z =ZaVidg ;Xfj^h^i^dc- N]Z V\\gZ\ViZ Xdch^YZgVi^dc [dg i]Z =ZaVidg
 ;Xfj^h^i^dc lVh #0-4 W^aa^dc- N]Z =ZaVidg ;Xfj^h^i^dc WgdVYZcZY djg ]ZbVidad\n.dcXdad\n edgi[da^d l^i] i]Z VXfj^h^i^dc d[ ldgaYl^YZ YZkZadebZci
 VcY XdbbZgX^Va^oVi^dc g^\]ih id PnmZdh- PnmZdh ^h XjggZcian cdi VeegdkZY Vh V bVg`ZiZY egdYjXi ^c Vcn _jg^hY^Xi^dc- Q]^aZ lZ ]VkZ XdbbZcXZY V
 gdaa^c\ hjWb^hh^dc [dg PnmZdh ^c i]Z O-M- VcY eaVc id bV`Z V gZ\jaVidgn hjWb^hh^dc ^c ?jgdeZ Vh lZaa+ i]ZgZ XVc WZ cd \jVgVciZZ i]Vi lZ l^aa dWiV^c
 VeegdkVa ^c Vcn _jg^hY^Xi^dc ^c V i^bZan bVccZg+ dg Vi Vaa- C[ lZ VgZ jcVWaZ id dWiV^c gZ\jaVidgn VeegdkVa [dg PnmZdh ^c i]Z O-M- dg ?jgdeZ ^c V i^bZan
 bVccZg+ dg Vi Vaa+ dg ^[ hVaZh d[ PnmZdh [daadl^c\ gZ\jaVidgn VeegdkVah Yd cdi gZVX] i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb i]Z egdYjXi
 ldjaY WZ cZ\Vi^kZan V[[ZXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli]
 egdheZXih- MZZ Vahd i]Z Y^hXjhh^dc jcYZg i]Z ]ZVY^c\ vWhile Xyrem remains our largest product, our success also depends on our ability to
 effectively commercialize our other products and, in the case of our product candidates, our ability to obtain regulatory approval in the U.S. and
 Europe and, if approved, to successfully launch and commercialize those product candidates. Our inability to do so could have a material
 adverse effect on our business, financial condition, results of operations and growth prospectsw ^c i]^h JVgi C+ CiZb 0;-
 Cc VYY^i^dc+ egdYjXi VcY egdYjXi XVcY^YViZ VXfj^h^i^dch XgZViZ di]Zg jcXZgiV^ci^Zh VcY g^h`h+ eVgi^XjaVgan l]Zc i]Z VXfj^h^i^dc iV`Zh i]Z [dgb d[ V
 bZg\Zg dg di]Zg Wjh^cZhh Xdchda^YVi^dc+ hjX] Vh i]Z =ZaVidg ;Xfj^h^i^dc- Ijg Wjh^cZhh VXfj^h^i^dch ]VkZ gZfj^gZY+ VcY Vcn h^b^aVg [jijgZ
 igVchVXi^dch l^aa Vahd gZfj^gZ+ h^\c^[^XVci Z[[dgih VcY ZmeZcY^ijgZh+ ^cXajY^c\ l^i] gZheZXi id igVch^i^dc VXi^k^i^Zh VcY ^ciZ\gVi^c\ i]Z VXfj^gZY
 Wjh^cZhh l^i] djg ]^hidg^XVa Wjh^cZhh- QZ bVn ZcXdjciZg jcZmeZXiZY Y^[[^Xjai^Zh+ dg ^cXjg jcZmeZXiZY Xdhih+ ^c XdccZXi^dc l^i] ediZci^Va
 VXfj^h^i^dch VcY h^b^aVg igVchVXi^dch+ l]^X] ^cXajYZ9
 s         ]^\] VXfj^h^i^dc Xdhih:
 s         i]Z cZZY id ^cXjg hjWhiVci^Va YZWi dg Zc\V\Z ^c Y^aji^kZ ^hhjVcXZh d[ Zfj^in hZXjg^i^Zh id eVn [dg VXfj^h^i^dch:
 s         i]Z ediZci^Va Y^hgjei^dc d[ djg ]^hidg^XVa XdgZ Wjh^cZhh:
 s         i]Z higV^c dc+ VcY cZZY id Xdci^cjZ id ZmeVcY+ djg Zm^hi^c\ deZgVi^dcVa+ iZX]c^XVa+ [^cVcX^Va VcY VYb^c^higVi^kZ ^c[gVhigjXijgZ:
 s         i]Z Y^[[^Xjai^Zh ^c Vhh^b^aVi^c\ ZbeadnZZh VcY XdgedgViZ XjaijgZh:
 s         i]Z [V^ajgZ id gZiV^c `Zn bVcV\Zgh VcY di]Zg eZghdccZa:
 s         i]Z X]VaaZc\Zh ^c Xdcigdaa^c\ VYY^i^dcVa Xdhih VcY ZmeZchZh ^c XdccZXi^dc l^i] VcY Vh V gZhjai d[ Vcn VXfj^h^i^dc:
 s         i]Z cZZY id lg^iZ Ydlc VhhZih dg gZXd\c^oZ ^beV^gbZci X]Vg\Zh:
 s         i]Z Y^kZgh^dc d[ djg bVcV\ZbZcixh ViiZci^dc id ^ciZ\gVi^dc d[ deZgVi^dch VcY XdgedgViZ VcY VYb^c^higVi^kZ ^c[gVhigjXijgZh: VcY

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 NVWaZ d[ =dciZcih



 s         Vcn jcVci^X^eViZY a^VW^a^i^Zh [dg VXi^k^i^Zh d[ dg gZaViZY id i]Z VXfj^gZY Wjh^cZhh dg ^ih deZgVi^dch+ egdYjXih dg egdYjXi XVcY^YViZh-
 C[ Vcn d[ i]ZhZ dg di]Zg [VXidgh ^beV^g djg VW^a^in id ^ciZ\gViZ Vcn VXfj^gZY Wjh^cZhh Z[[^X^Zcian VcY hjXXZhh[jaan+ lZ bVn WZ gZfj^gZY id heZcY i^bZ
 dg bdcZn dc ^ciZ\gVi^dc VXi^k^i^Zh i]Vi di]Zgl^hZ ldjaY WZ heZci dc i]Z YZkZadebZci VcY ZmeVch^dc d[ djg Wjh^cZhh- C[ lZ [V^a id ^ciZ\gViZ dg
 di]Zgl^hZ bVcV\Z Vc VXfj^gZY Wjh^cZhh hjXXZhh[jaan VcY ^c V i^bZan bVccZg+ gZhjai^c\ deZgVi^c\ ^cZ[[^X^ZcX^Zh XdjaY ^cXgZVhZ Xdhih VcY ZmeZchZh
 bdgZ i]Vc lZ eaVccZY+ XdjaY cZ\Vi^kZan ^beVXi i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh VcY XdjaY di]Zgl^hZ Y^higVXi jh [gdb i]Z ZmZXji^dc d[ djg
 higViZ\n- @V^ajgZ id bV^ciV^c Z[[ZXi^kZ [^cVcX^Va Xdcigdah VcY gZedgi^c\ hnhiZbh VcY egdXZYjgZh Yjg^c\ VcY V[iZg ^ciZ\gVi^dc d[ Vc VXfj^gZY Wjh^cZhh
 XdjaY Vahd ^beVXi djg VW^a^in id egdYjXZ i^bZan VcY VXXjgViZ [^cVcX^Va hiViZbZcih-
 Conducting clinical trials is costly and time-consuming, and the outcomes are uncertain. A failure to prove that our product candidates are
 safe and effective in clinical trials, or to generate data in clinical trials to support expansion of the therapeutic uses for our existing products,
 could materially and adversely affect our business, financial condition, results of operations and growth prospects.
 M^cXZ 1/03+ lZ ]VkZ bVYZ h^\c^[^XVci ^ckZhibZcih ^cid ZmeVcY^c\ djg egdYjXi YZkZadebZci e^eZa^cZ VcY ZmeZXi id Xdci^cjZ id ^cXgZVhZ djg gZhZVgX]
 VcY YZkZadebZci dg\Vc^oVi^dc- M^\c^[^XVci Xa^c^XVa+ YZkZadebZci VcY [^cVcX^Va gZhdjgXZh l^aa WZ gZfj^gZY id egd\gZhh egdYjXi XVcY^YViZh i]gdj\]
 Xa^c^XVa ig^Vah VcY i]Z gZ\jaVidgn VeegdkVa egdXZhh id YZkZade i]Zb ^cid XdbbZgX^Vaan k^VWaZ egdYjXih- QZ ]VkZ V cjbWZg d[ egdYjXi XVcY^YViZh
 jcYZg YZkZadebZci- QZ Vahd ^ciZcY id ejghjZ Xa^c^XVa YZkZadebZci d[ di]Zg egdYjXi XVcY^YViZh i]Vi lZ bVn VXfj^gZ dg ^c,a^XZchZ ^c i]Z [jijgZ- ;cn
 [V^ajgZ dg YZaVn ^c XdbeaZi^c\ Xa^c^XVa ig^Vah [dg djg egdYjXi XVcY^YViZh ldjaY egZkZci dg YZaVn i]Z XdbbZgX^Va^oVi^dc d[ djg egdYjXi XVcY^YViZh+
 l]^X] XdjaY bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 ;h V XdcY^i^dc id gZ\jaVidgn VeegdkVa+ ZVX] egdYjXi XVcY^YViZ bjhi jcYZg\d ZmiZch^kZ VcY ZmeZch^kZ egZXa^c^XVa hijY^Zh VcY Xa^c^XVa ig^Vah id
 YZbdchigViZ id V hiVi^hi^XVaan h^\c^[^XVci YZ\gZZ i]Vi i]Z egdYjXi XVcY^YViZ ^h hV[Z VcY Z[[ZXi^kZ- N]Z gZhjaih Vi Vcn hiV\Z d[ i]Z YZkZadebZci
 egdXZhh bVn aVX` i]Z YZh^gZY hV[Zin+ Z[[^XVXn dg e]VgbVXd`^cZi^X X]VgVXiZg^hi^Xh- LZhjaih d[ a^b^iZY egZXa^c^XVa hijY^Zh+ ^cXajY^c\ hijY^Zh d[ djg
 egdYjXi XVcY^YViZh ^c Vc^bVa bdYZah+ bVn cdi egZY^Xi i]Z gZhjaih d[ ]jbVc Xa^c^XVa ig^Vah d[ i]dhZ egdYjXi XVcY^YViZh- M^b^aVgan+ gZhjaih [gdb ZVgan
 Xa^c^XVa ig^Vah bVn cdi WZ egZY^Xi^kZ d[ gZhjaih dWiV^cZY ^c aViZg VcY aVg\Zg Xa^c^XVa ig^Vah+ VcY egdYjXi XVcY^YViZh ^c aViZg Xa^c^XVa ig^Vah bVn [V^a id h]dl
 i]Z YZh^gZY hV[Zin VcY Z[[^XVXn YZhe^iZ ]Vk^c\ egd\gZhhZY hjXXZhh[jaan i]gdj\] ^c^i^Va Xa^c^XVa iZhi^c\- Cc i]Vi XVhZ+ i]Z @>; dg Vcn Zfj^kVaZci cdc,
 O-M- gZ\jaVidgn V\ZcXn bVn YZiZgb^cZ djg YViV ^h cdi hj[[^X^Zcian XdbeZaa^c\ id lVggVci bVg`Zi^c\ VeegdkVa VcY bVn gZfj^gZ jh id Zc\V\Z ^c
 VYY^i^dcVa Xa^c^XVa ig^Vah dg egdk^YZ [jgi]Zg VcVanh^h l]^X] bVn WZ Xdhian VcY i^bZ,Xdchjb^c\- ; cjbWZg d[ XdbeVc^Zh ^c i]Z e]VgbVXZji^XVa
 ^cYjhign+ ^cXajY^c\ jh+ ]VkZ hj[[ZgZY h^\c^[^XVci hZiWVX`h ^c Xa^c^XVa ig^Vah+ ZkZc ^c VYkVcXZY Xa^c^XVa ig^Vah V[iZg h]dl^c\ edh^i^kZ gZhjaih ^c
 egZXa^c^XVa hijY^Zh dg ZVga^Zg Xa^c^XVa ig^Vah- C[ V egdYjXi XVcY^YViZ [V^ah Vi Vcn hiV\Z d[ YZkZadebZci VcY YdZh cdi gZXZ^kZ gZ\jaVidgn VeegdkVa+ lZ l^aa
 cdi WZ VWaZ id XdbbZgX^Va^oZ ^i VcY gZXZ^kZ Vcn gZijgc dc djg ^ckZhibZci ^c i]Vi egdYjXi XVcY^YViZ-
 @dg ZmVbeaZ+ lZ VgZ XdcYjXi^c\ i]gZZ J]VhZ 2 Xa^c^XVa ig^Vah VcY Vc deZc aVWZa ZmiZch^dc ig^Va [dg DTJ,00/+ V aViZ,hiV\Z ^ckZhi^\Vi^dcVa XdbedjcY
 WZ^c\ YZkZadeZY [dg ediZci^Va igZVibZci d[ ZmXZhh^kZ haZZe^cZhh+ dg ?M+ ^c eVi^Zcih l^i] cVgXdaZehn VcY ?M ^c eVi^Zcih l^i] dWhigjXi^kZ haZZe VecZV+
 dg IM;- QZ ZmeZXi egZa^b^cVgn YViV [gdb i]Z ild J]VhZ 2 Xa^c^XVa ig^Vah ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] IM; Wn i]Z ZcY d[ i]Z [^ghi fjVgiZg d[
 1/06 VcY [gdb i]Z J]VhZ 2 Xa^c^XVa ig^Va ^c eVi^Zcih l^i] ?M VhhdX^ViZY l^i] cVgXdaZehn ^c i]Z hZXdcY fjVgiZg d[ 1/06- LZhjaih [gdb ZVga^Zg J]VhZ 1
 Xa^c^XVa ig^Vah bVn cdi WZ egZY^Xi^kZ d[ i]Z gZhjaih [gdb i]Z J]VhZ 2 Xa^c^XVa ig^Vah [dg DTJ,00/+ VcY ^c VYY^i^dc+ [dg ?M ^c eVi^Zcih l^i] IM;+ i]ZgZ lZgZ
 cd hijY^Zh XdcYjXiZY [dg DTJ,00/ eg^dg id djg J]VhZ 2 Xa^c^XVa ig^Vah- IcZ dg bdgZ d[ i]Z J]VhZ 2 Xa^c^XVa ig^Vah bVn [V^a id YZbdchigViZ i]Z YZh^gZY
 hV[Zin dg Z[[^XVXn [dg i]^h egdYjXi XVcY^YViZ- C[ i]Z egZa^b^cVgn gZhjaih+ dg i]Z [^cVa gZhjaih+ d[ dcZ dg bdgZ d[ i]Z J]VhZ 2 Xa^c^XVa ig^Vah [dg DTJ,00/ [V^a
 id YZbdchigViZ i]Z YZh^gZY hV[Zin dg Z[[^XVXn d[ i]^h egdYjXi XVcY^YViZ+ lZ bVn WZ gZfj^gZY id XdcYjXi VYY^i^dcVa Xa^c^XVa ig^Vah WZ[dgZ hjWb^ii^c\ [dg
 gZ\jaVidgn VeegdkVa ^c Z^i]Zg dg Wdi] ^cY^XVi^dch+ l]^X] ldjaY WZ Xdhian VcY i^bZ,Xdchjb^c\ VcY XdjaY egZkZci jh [gdb hjWb^ii^c\ Vc H>; id i]Z
 @>; dc djg Vci^X^eViZY i^bZa^cZ+ dg Vi Vaa- GdgZdkZg+ ^[ lZ hjWb^i Vc H>; id i]Z @>; [dg VeegdkVa VcY i]Z @>; YZiZgb^cZh i]Vi djg hV[Zin dg
 Z[[^XVXn YViV Yd cdi lVggVci bVg`Zi^c\ VeegdkVa+ lZ l^aa cdi WZ VWaZ id XdbbZgX^Va^oZ DTJ,00/+ VcY lZ l^aa cdi gZXZ^kZ Vcn gZijgc dc djg ^ckZhibZci-
 Ijg YZkZadebZci e^eZa^cZ egd_ZXih bVn cdi WZ hjXXZhh[ja+ VcY Vcn VYkZghZ ZkZcih dg di]Zg ^c[dgbVi^dc \ZcZgViZY Yjg^c\ i]Z XdjghZ d[ hijY^Zh
 gZaViZY id Zm^hi^c\ egdYjXih XdjaY gZhjai ^c VXi^dc Wn i]Z @>; dg V cdc,O-M- gZ\jaVidgn V\ZcXn+ l]^X] bVn gZhig^Xi djg VW^a^in id hZaa+ dg VYkZghZan
 V[[ZXi hVaZh d[+ XjggZcian bVg`ZiZY egdYjXih+ dg hjX] ZkZcih dg di]Zg ^c[dgbVi^dc XdjaY di]Zgl^hZ ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc V gZaViZY
 XdbbZgX^Va egdYjXi- ;cn [V^ajgZ dg YZaVn ^c XdbeaZi^c\ Xa^c^XVa ig^Vah [dg a^cZ ZmiZch^dch dg i]Z \ZcZgVi^dc d[ VYY^i^dcVa Xa^c^XVa YViV XdjaY bViZg^Vaan
 VcY VYkZghZan V[[ZXi i]Z bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zih [dg i]Z gZaViZY bVg`ZiZY egdYjXih+ l]^X] XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh+
 [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY dkZgVaa \gdli] egdheZXih-
 Cc VYY^i^dc id ^hhjZh gZaVi^c\ id i]Z gZhjaih \ZcZgViZY ^c Xa^c^XVa ig^Vah+ Xa^c^XVa ig^Vah XVc WZ YZaVnZY dg ]VaiZY [dg V kVg^Zin d[ gZVhdch+ ^cXajY^c\9

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 s         YZaVnh dg [V^ajgZh ^c dWiV^c^c\ gZ\jaVidgn Vji]dg^oVi^dc id XdbbZcXZ V ig^Va WZXVjhZ d[ hV[Zin XdcXZgch d[ gZ\jaVidgh gZaVi^c\ id djg
           egdYjXi XVcY^YViZh dg h^b^aVg egdYjXi XVcY^YViZh d[ djg XdbeZi^idgh dg [V^ajgZ id [daadl gZ\jaVidgn \j^YZa^cZh:
 s         YZaVnh dg [V^ajgZh ^c dWiV^c^c\ Xa^c^XVa bViZg^Vah VcY bVcj[VXijg^c\ hj[[^X^Zci fjVci^i^Zh d[ i]Z egdYjXi XVcY^YViZ [dg jhZ ^c ig^Vah:
 s         YZaVnh dg [V^ajgZh ^c gZVX]^c\ V\gZZbZci dc VXXZeiVWaZ iZgbh l^i] egdheZXi^kZ hijYn h^iZh:
 s         YZaVnh dg [V^ajgZh ^c dWiV^c^c\ VeegdkVa d[ djg Xa^c^XVa ig^Va egdidXda [gdb Vc ^chi^iji^dcVa gZk^Zl WdVgY+ Vahd `cdlc Vh ?i]^Xh =dbb^iiZZh
           ^c ?jgdeZ+ id XdcYjXi V Xa^c^XVa ig^Va Vi V egdheZXi^kZ hijYn h^iZ:
 s         YZaVnh dg [V^ajgZh ^c gZXgj^i^c\ eVi^Zcih id eVgi^X^eViZ ^c V Xa^c^XVa ig^Va:
 s         [V^ajgZ d[ djg Xa^c^XVa ig^Vah VcY Xa^c^XVa ^ckZhi^\Vidgh id WZ ^c Xdbea^VcXZ l^i] i]Z @>; VcY di]Zg gZ\jaVidgn V\ZcX^Zhx \ddY Xa^c^XVa
           egVXi^XZ \j^YZa^cZh:
 s         jc[dgZhZZc hV[Zin ^hhjZh+ ^cXajY^c\ cZ\Vi^kZ gZhjaih [gdb dc\d^c\ egZXa^c^XVa hijY^Zh VcY Xa^c^XVa ig^Vah VcY VYkZghZ ZkZcih VhhdX^ViZY
           l^i] egdYjXi XVcY^YViZh:
 s         ^cVW^a^in id bdc^idg eVi^Zcih VYZfjViZan Yjg^c\ dg V[iZg igZVibZci:
 s         Y^[[^Xjain bdc^idg^c\ bjai^eaZ hijYn h^iZh:
 s         Y^[[^Xjain ^YZci^[n^c\ dg Zcgdaa^c\ Za^\^WaZ eVi^Zcih+ ^c hdbZ XVhZh WVhZY dc i]Z cjbWZg d[ Xa^c^XVa ig^Vah l^i] ZcgdaabZci Xg^iZg^V iVg\Zi^c\
           i]Z hVbZ eVi^Zci edejaVi^dc:
 s         [V^ajgZ d[ djg i]^gY eVgin Xa^c^XVa ig^Va bVcV\Zgh id hVi^h[VXidg^an eZg[dgb i]Z^g XdcigVXijVa Yji^Zh+ Xdbean l^i] gZ\jaVi^dch dg bZZi ZmeZXiZY
           YZVYa^cZh: dg
 s         ^chj[[^X^Zci [jcYh id XdbeaZiZ i]Z ig^Vah-
 We rely on third parties to conduct our clinical trials, and if they do not properly and successfully perform their legal and regulatory
 obligations, as well as their contractual obligations to us, we may not be able to obtain regulatory approvals for our product candidates.
 QZ gZan dc XdcigVXi gZhZVgX] dg\Vc^oVi^dch VcY di]Zg i]^gY eVgi^Zh id Vhh^hi jh ^c YZh^\c^c\+ bVcV\^c\+ bdc^idg^c\ VcY di]Zgl^hZ XVggn^c\ dji djg
 Xa^c^XVa ig^Vah+ ^cXajY^c\ l^i] gZheZXi id h^iZ hZaZXi^dc+ XdcigVXi cZ\di^Vi^dc VcY YViV bVcV\ZbZci- QZ Yd cdi Xdcigda i]ZhZ i]^gY eVgi^Zh+ VcY+ Vh V
 gZhjai+ i]Zn bVn cdi igZVi djg Xa^c^XVa hijY^Zh Vh V ]^\] eg^dg^in+ dg ^c i]Z bVccZg ^c l]^X] lZ ldjaY egZ[Zg+ l]^X] XdjaY gZhjai ^c YZaVnh- QZ VgZ
 gZhedch^WaZ [dg Xdc[^gb^c\ i]Vi ZVX] d[ djg Xa^c^XVa ig^Vah ^h XdcYjXiZY ^c VXXdgYVcXZ l^i] ^ih \ZcZgVa ^ckZhi^\Vi^dcVa eaVc VcY egdidXda+ Vh lZaa Vh
 i]Z @>;xh VcY cdc,O-M- gZ\jaVidgn V\ZcX^Zhx gZfj^gZbZcih+ Xdbbdcan gZ[ZggZY id Vh \ddY Xa^c^XVa egVXi^XZh+ [dg XdcYjXi^c\+ gZXdgY^c\ VcY gZedgi^c\
 i]Z gZhjaih d[ Xa^c^XVa ig^Vah id ZchjgZ i]Vi i]Z YViV VcY gZhjaih VgZ XgZY^WaZ VcY VXXjgViZ VcY i]Vi i]Z ig^Va eVgi^X^eVcih VgZ VYZfjViZan egdiZXiZY- N]Z
 @>; VcY cdc,O-M- gZ\jaVidgn V\ZcX^Zh Zc[dgXZ \ddY Xa^c^XVa egVXi^XZh i]gdj\] eZg^dY^X ^cheZXi^dch d[ ig^Va hedchdgh+ eg^cX^eVa ^ckZhi^\Vidgh VcY
 ig^Va h^iZh- C[ lZ+ XdcigVXi gZhZVgX] dg\Vc^oVi^dch dg di]Zg i]^gY eVgi^Zh Vhh^hi^c\ jh dg djg hijYn h^iZh [V^a id Xdbean l^i] Veea^XVWaZ \ddY Xa^c^XVa
 egVXi^XZh+ i]Z Xa^c^XVa YViV \ZcZgViZY ^c djg Xa^c^XVa ig^Vah bVn WZ YZZbZY jcgZa^VWaZ VcY i]Z @>; dg ^ih cdc,O-M- XdjciZgeVgih bVn gZfj^gZ jh id
 eZg[dgb VYY^i^dcVa Xa^c^XVa ig^Vah WZ[dgZ Veegdk^c\ djg bVg`Zi^c\ Veea^XVi^dch- QZ XVccdi VhhjgZ ndj i]Vi+ jedc ^cheZXi^dc+ i]Z @>; dg cdc,O-M-
 gZ\jaVidgn V\ZcX^Zh l^aa YZiZgb^cZ i]Vi Vcn d[ djg Xa^c^XVa ig^Vah Xdbean l^i] \ddY Xa^c^XVa egVXi^XZh- Cc VYY^i^dc+ djg Xa^c^XVa ig^Vah bjhi WZ XdcYjXiZY
 l^i] egdYjXi egdYjXZY jcYZg i]Z @>;xh XAGJ gZ\jaVi^dch VcY h^b^aVg gZ\jaVi^dch djih^YZ d[ i]Z O-M- Ijg [V^ajgZ+ dg i]Z [V^ajgZ d[ djg egdYjXi
 hjeea^Zgh+ id Xdbean l^i] i]ZhZ gZ\jaVi^dch bVn gZfj^gZ jh id gZeZVi dg gZYZh^\c Xa^c^XVa ig^Vah+ l]^X] ldjaY YZaVn i]Z gZ\jaVidgn VeegdkVa egdXZhh-
 C[ i]^gY eVgi^Zh Yd cdi hjXXZhh[jaan XVggn dji i]Z^g Yji^Zh jcYZg i]Z^g V\gZZbZcih l^i] jh+ ^[ i]Z fjVa^in dg VXXjgVXn d[ i]Z YViV i]Zn dWiV^c ^h
 Xdbegdb^hZY YjZ id [V^ajgZ id VY]ZgZ id djg Xa^c^XVa egdidXdah+ ^cXajY^c\ Ydh^c\ gZfj^gZbZcih+ dg gZ\jaVidgn gZfj^gZbZcih+ dg ^[ i]Zn di]Zgl^hZ [V^a id
 Xdbean l^i] Xa^c^XVa ig^Va egdidXdah dg bZZi ZmeZXiZY YZVYa^cZh+ djg Xa^c^XVa ig^Vah bVn cdi bZZi gZ\jaVidgn gZfj^gZbZcih- C[ djg Xa^c^XVa ig^Vah Yd cdi
 bZZi gZ\jaVidgn gZfj^gZbZcih dg ^[ i]ZhZ i]^gY eVgi^Zh cZZY id WZ gZeaVXZY+ djg Xa^c^XVa ig^Vah bVn WZ ZmiZcYZY+ YZaVnZY+ hjheZcYZY dg iZgb^cViZY- C[
 Vcn d[ i]ZhZ ZkZcih dXXjg+ lZ bVn cdi WZ VWaZ id dWiV^c gZ\jaVidgn VeegdkVa d[ djg egdYjXi XVcY^YViZh dg hjXXZZY ^c djg Z[[dgih id XgZViZ VeegdkZY
 a^cZ ZmiZch^dch [dg XZgiV^c d[ djg Zm^hi^c\ egdYjXih dg \ZcZgViZ VYY^i^dcVa jhZ[ja Xa^c^XVa YViV ^c hjeedgi d[ i]ZhZ egdYjXih-
 We face substantial competition from other companies, including companies with greater resources, including larger sales organizations and
 more experience working with large and diverse product portfolios, than we have.
 N]Z XdbbZgX^Va ediZci^Va d[ djg XjggZci egdYjXih VcY Vcn [jijgZ egdYjXih bVn WZ gZYjXZY dg Za^b^cViZY ^[ djg XdbeZi^idgh YZkZade dg VXfj^gZ VcY
 XdbbZgX^Va^oZ \ZcZg^X dg WgVcYZY egdYjXih i]Vi VgZ hV[Zg dg bdgZ Z[[ZXi^kZ+ ]VkZ [ZlZg h^YZ Z[[ZXih+ VgZ ZVh^Zg id VYb^c^hiZg dg VgZ aZhh ZmeZch^kZ
 i]Vc djg egdYjXih- N]Z e]VgbVXZji^XVa ^cYjhign ^h ]^\]an XdbeZi^i^kZ VcY

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 Ydb^cViZY Wn V cjbWZg d[ aVg\Z+ ZhiVWa^h]ZY e]VgbVXZji^XVa XdbeVc^Zh+ Vh lZaa Vh heZX^Vain e]VgbVXZji^XVa XdbeVc^Zh i]Vi bVg`Zi egdYjXih VcY
 YZkZade egdYjXi XVcY^YViZh ^c haZZe+ ]ZbVidad\n.dcXdad\n+ eV^c VcY di]Zg i]ZgVeZji^X VgZVh- GVcn d[ djg XdbeZi^idgh+ eVgi^XjaVgan aVg\Z
 e]VgbVXZji^XVa VcY a^[Z hX^ZcXZh XdbeVc^Zh+ ]VkZ hjWhiVci^Vaan \gZViZg [^cVcX^Va+ deZgVi^dcVa VcY ]jbVc gZhdjgXZh i]Vc lZ Yd- N]Zn XVc heZcY
 bdgZ dc+ VcY ]VkZ bdgZ ZmeZgi^hZ ^c+ gZhZVgX] VcY YZkZadebZci+ gZ\jaVidgn+ bVcj[VXijg^c\+ Y^hig^Wji^dc VcY hVaZh VXi^k^i^Zh- ;h V gZhjai+ djg
 XdbeZi^idgh bVn dWiV^c @>; dg di]Zg gZ\jaVidgn VeegdkVah [dg i]Z^g egdYjXi XVcY^YViZh bdgZ gVe^Yan i]Vc lZ bVn VcY bVn bVg`Zi i]Z^g egdYjXih
 bdgZ Z[[ZXi^kZan i]Vc lZ Yd- MbVaaZg dg ZVga^Zg hiV\Z XdbeVc^Zh bVn Vahd egdkZ id WZ h^\c^[^XVci XdbeZi^idgh+ eVgi^XjaVgan i]gdj\] [dXjhZY
 YZkZadebZci egd\gVbh VcY XdaaVWdgVi^kZ VggVc\ZbZcih l^i] aVg\Z+ ZhiVWa^h]ZY XdbeVc^Zh-
 Q]^aZ RngZb ^h i]Z dcan egdYjXi VeegdkZY Wn i]Z @>; VcY XjggZcian bVg`ZiZY ^c i]Z O-M- [dg i]Z igZVibZci d[ Wdi] XViVeaZmn VcY ?>M ^c eVi^Zcih
 l^i] cVgXdaZehn+ XViVeaZmn ^h d[iZc igZViZY l^i] ig^XnXa^X Vci^YZegZhhVcih VcY hZaZXi^kZ hZgdidc^c gZjeiV`Z ^c]^W^idgh dg hZaZXi^kZ cdgZe^cZe]g^cZ
 gZjeiV`Z ^c]^W^idgh+ ZkZc i]dj\] i]ZhZ egdYjXih VgZ cdi VeegdkZY Wn i]Z @>; [dg i]Z igZVibZci d[ XViVeaZmn- Ii]Zg igZVibZcih [dg ?>M ^c eVi^Zcih
 l^i] cVgXdaZehn ^cXajYZ hi^bjaVcih VcY lV`Z[jacZhh egdbdi^c\ V\Zcih+ hjX] Vh Jgdk^\^at 'bdYV[^c^a( VcY Hjk^\^at 'VgbdYV[^c^a(+ Vh lZaa Vh \ZcZg^X
 kZgh^dch d[ Jgdk^\^a+ i]Z dcan di]Zg egdYjXih Wdi] VeegdkZY Wn i]Z @>; VcY XjggZcian bVg`ZiZY [dg i]Z igZVibZci d[ ?>M ^c eVi^Zcih l^i]
 cVgXdaZehn- Jgdk^\^a+ ^ih \ZcZg^X Zfj^kVaZcih VcY Hjk^\^a VgZ Vahd VeegdkZY [dg ^begdk^c\ lV`Z[jacZhh ^c eVi^Zcih l^i] ?>M VhhdX^ViZY l^i] igZViZY
 IM; dg h]^[i ldg` Y^hdgYZg-
 QZ VgZ Vahd VlVgZ d[ egdYjXih WZ^c\ YZkZadeZY Wn di]Zgh [dg jhZ Vh igZVibZci dei^dch ^c XViVeaZmn VcY.dg ?>M ^c eVi^Zcih l^i] cVgXdaZehn+
 ^cXajY^c\ V egdYjXi id igZVi VYjai eVi^Zcih l^i] cVgXdaZehn l^i] dg l^i]dji XViVeaZmn i]Vi gZXZcian gZXZ^kZY bVg`Zi^c\ VeegdkVa ^c ?jgdeZ- Q]^aZ i]^h
 egdYjXi ^h XjggZcian cdi VeegdkZY Wn i]Z @>; [dg bVg`Zi^c\ ^c i]Z O-M- dg+ id djg `cdlaZY\Z+ hjW_ZXi id V eZcY^c\ Veea^XVi^dc [dg hjX] VeegdkVa+
 i]Z gZXZ^ei d[ bVg`Zi^c\ VeegdkVa VcY XdbbZgX^Va^oVi^dc d[ i]^h egdYjXi ^c i]Z O-M- [dg i]Z igZVibZci d[ cVgXdaZehn XdjaY+ YZeZcY^c\ dc i]Z iVg\ZiZY
 eVi^Zci edejaVi^dc+ cZ\Vi^kZan ^beVXi djg VW^a^in id bV^ciV^c VcY \gdl hVaZh d[ RngZb-
 N]Z @>; ]Vh VeegdkZY dg iZciVi^kZan VeegdkZY ;H>;h hZZ`^c\ id bVg`Zi \ZcZg^X kZgh^dch d[ RngZb VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z @>;
 l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa ;H>;h- Ii]Zg XdbeVc^Zh XdjaY Vahd YZkZade egdYjXih i]Vi VgZ h^b^aVg+ Wji cdi ^YZci^XVa+ id RngZb+
 hjX] Vh Vc VaiZgcVi^kZ [dgbjaVi^dc dg Vc VaiZgcVi^kZ [dgbjaVi^dc XdbW^cZY l^i] V Y^[[ZgZci YZa^kZgn iZX]cdad\n+ VcY hZZ` VeegdkVa ^c i]Z O-M- Wn
 gZ[ZgZcX^c\ RngZb VcY gZan^c\+ id hdbZ YZ\gZZ+ dc i]Z @>;xh VeegdkVa d[ RngZb VcY gZaViZY YZiZgb^cVi^dch d[ hV[Zin VcY Z[[^XVXn- @dg ZmVbeaZ+
 ;kVYZa ]Vh hiViZY i]Vi ^i ^h XdcYjXi^c\ V J]VhZ 2 e^kdiVa ig^Va ejghjVci id Vc @>;,VeegdkZY heZX^Va egdidXda VhhZhhbZci- C[ ;kVYZa ^h hjXXZhh[ja ^c
 YZkZade^c\ V hdY^jb dmnWViZ [dgbjaVi^dc i]Vi XdjaY WZ Z[[ZXi^kZan jhZY l^i] ^ih YZa^kZgn iZX]cdad\n VcY ^h VWaZ id dWiV^c @>; dg di]Zg gZ\jaVidgn
 VeegdkVa [dg ^ih egdYjXi id igZVi cVgXdaZehn eVi^Zcih+ lZ ZmeZXi i]Z aVjcX] d[ hjX] V egdYjXi ldjaY XdbeZiZ Y^gZXian l^i] RngZb VcY XdjaY ]VkZ V
 bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg egdYjXih i]Vi XdbeZiZ l^i] RngZb+ ldjaY ]VkZ V
 bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[ RngZb VcY dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg [jgi]Zg
 Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] @>; VeegdkVa VcY iZciVi^kZ VeegdkVa d[ ;H>;h+ ediZci^Va VeegdkVa dg iZciVi^kZ VeegdkVa d[
 VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa d[ di]Zg hdY^jb dmnWViZ egdYjXih i]Vi XdbeZiZ l^i]
 RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-Waxman Actw ^c i]^h
 JVgi C+ CiZb 0 VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg
 CciZaaZXijVa JgdeZginw ^c i]^h JVgi C+ CiZb 0;-
 Q]^aZ i]ZgZ ^h XjggZcian cd Y^gZXi XdbeZi^i^dc id ?gl^cVoZ id igZVi ;FF eVi^Zcih l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ+ di]Zg
 XdbeVc^Zh ]VkZ YZkZadeZY dg VgZ YZkZade^c\ cZl igZVibZcih [dg ;FF+ ^cXajY^c\ cZl VheVgV\^cVhZ igZVibZcih i]Vi XdjaY gZYjXZ i]Z gViZ d[
 ]neZghZch^i^k^in ^c eVi^Zcih l^i] ;FF+ VcY cZl igZVibZci egdidXdah VgZ WZ^c\ YZkZadeZY [dg ;FF i]Vi bVn cdi ^cXajYZ VheVgV\^cVhZ,XdciV^c^c\
 gZ\^bZch- @dg ZmVbeaZ+ V cjbWZg d[ XdbeVc^Zh VgZ YZkZade^c\ cZl ^bbjcdi]ZgVen igZVibZcih [dg gZaVehZY dg gZ[gVXidgn ;FF eVi^Zcih+ ^cXajY^c\ dcZ
 igZVibZci i]Vi lVh gZXZcian VeegdkZY- N]Z YZkZadebZci d[ i]ZhZ cZl igZVibZcih XdjaY cZ\Vi^kZan ^beVXi djg VW^a^in id bV^ciV^c VcY \gdl hVaZh d[
 ?gl^cVoZ ^c eVi^Zci edejaVi^dch l]ZgZ i]Z WZcZ[^i d[ Vc VheVgV\^cVhZ,XdciV^c^c\ gZ\^bZc ^h cdi lZaa ZhiVWa^h]ZY-
 Q^i] gZheZXi id PnmZdh+ ;GF+ V XVcXZg ^cY^XVi^dc [dg l]^X] lZ ^ciZcY id XdbbZgX^Va^oZ PnmZdh+ ]Vh ZhiVWa^h]ZY i]ZgVe^Zh- ; `Zn Xdch^YZgVi^dc ^c
 i]Z igZVibZci d[ ;GF eVi^Zcih ^h i]Z eVi^Zcixh hj^iVW^a^in [dg X]Zbdi]ZgVen- N]Z eVi^Zci edejaVi^dc hijY^ZY ^c i]Z PnmZdh J]VhZ 2 Xa^c^XVa ig^Va
 ^cXajYZY ;GF eVi^Zcih YZZbZY VWaZ id idaZgViZ X]Zbdi]ZgVen- N]ZgZ VgZ Zm^hi^c\ dei^dch [dg i]Z igZVibZci d[ cZlan,Y^V\cdhZY ;GF eVi^Zcih l]d
 XVc idaZgViZ X]Zbdi]ZgVen+ hjX] Vh XniVgVW^cZ ^c XdbW^cVi^dc l^i] Vc Vci]gVXnXa^cZ '^-Z-+ YVjcdgjW^X^c(+ `cdlc Vh 6*2- Cc VYY^i^dc+ lZ VgZ VlVgZ d[
 hZkZgVa di]Zg egdYjXih ^c YZkZadebZci [dg jhZ Vh igZVibZci dei^dch [dg ;GF eVi^Zcih+ hjX] Vh iVg\ZiZY V\Zcih '@FN,2+ C>B,0+ C>B,1+ =>,22+ =;L N,
 XZaa(- MdbZ d[ i]Z eVi^Zci edejaVi^dch WZ^c\ hijY^ZY [dg i]ZhZ egdYjXih ^c YZkZadebZci dkZgaVe l^i] i]Z eVi^Zci edejaVi^dc hijY^ZY ^c i]Z PnmZdh
 J]VhZ 2 Xa^c^XVa ig^Va- N]Z Zm^hiZcXZ d[ ZhiVWa^h]ZY igZVibZci dei^dch VcY i]Z YZkZadebZci d[ XdbeZi^c\ egdYjXih [dg i]Z igZVibZci d[ eVi^Zcih ^c i]Z
 eVi^Zci edejaVi^dc hijY^ZY ^c i]Z PnmZdh J]VhZ 2 Xa^c^XVa ig^Va dg h^b^aVg eVi^Zci

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 edejaVi^dch XdjaY cZ\Vi^kZan ^beVXi djg VW^a^in id hjXXZhh[jaan aVjcX] VcY XdbbZgX^Va^oZ Vc VeegdkZY PnmZdh egdYjXi VcY VX]^ZkZ i]Z aZkZa d[
 hVaZh lZ ZmeZXi+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Cc VYY^i^dc+ bVcn d[ djg XdbeZi^idgh VgZ VWaZ id YZeadn bdgZ eZghdccZa id bVg`Zi VcY hZaa i]Z^g egdYjXih i]Vc lZ Yd- QZ XjggZcian ]VkZ V gZaVi^kZan
 hbVaa cjbWZg d[ hVaZh gZegZhZciVi^kZh XdbeVgZY l^i] i]Z cjbWZg d[ hVaZh gZegZhZciVi^kZh d[ bdhi di]Zg e]VgbVXZji^XVa XdbeVc^Zh l^i] bVg`ZiZY
 egdYjXih- ?VX] d[ djg hVaZh gZegZhZciVi^kZh ^h gZhedch^WaZ [dg V iZgg^idgn d[ h^\c^[^XVci h^oZ- N]Z Xdci^cjZY \gdli] d[ djg XjggZci egdYjXih VcY i]Z
 aVjcX] d[ Vcn [jijgZ egdYjXih bVn gZfj^gZ ZmeVch^dc d[ djg hVaZh [dgXZ VcY hVaZh hjeedgi dg\Vc^oVi^dc+ VcY lZ bVn cZZY id Xdbb^i h^\c^[^XVci
 VYY^i^dcVa [jcYh+ bVcV\ZbZci VcY di]Zg gZhdjgXZh id i]Z \gdli] d[ djg hVaZh dg\Vc^oVi^dc- QZ bVn cdi WZ VWaZ id VX]^ZkZ Vcn cZXZhhVgn \gdli] ^c
 V i^bZan dg Xdhi,Z[[ZXi^kZ bVccZg dg gZVa^oZ V edh^i^kZ gZijgc dc djg ^ckZhibZci+ VcY lZ bVn cdi ]VkZ i]Z [^cVcX^Va gZhdjgXZh id VX]^ZkZ i]Z
 cZXZhhVgn \gdli] ^c V i^bZan bVccZg+ dg Vi Vaa- Cc eVgi^XjaVg+ lZ XdbeZiZ l^i] V h^\c^[^XVci cjbWZg d[ e]VgbVXZji^XVa VcY a^[Z hX^ZcXZh XdbeVc^Zh
 l^i] ZmiZch^kZ hVaZh+ bVg`Zi^c\ VcY egdbdi^dcVa ZmeZg^ZcXZ ^c ]ZbVidad\n.dcXdad\n bVg`Zih+ VcY djg [V^ajgZ id XdbeZiZ Z[[ZXi^kZan ^c i]^h VgZV
 XdjaY cZ\Vi^kZan V[[ZXi djg hVaZh d[ ?gl^cVoZ+ >Z[^iZa^d VcY di]Zg egdYjXih- QZ Vahd ]VkZ id XdbeZiZ l^i] di]Zg e]VgbVXZji^XVa VcY a^[Z hX^ZcXZh
 XdbeVc^Zh id gZXgj^i+ ]^gZ+ igV^c VcY gZiV^c hVaZh VcY bVg`Zi^c\ eZghdccZa+ VcY ijgcdkZg ^c djg hVaZh [dgXZ VcY bVg`Zi^c\ eZghdccZa XdjaY cZ\Vi^kZan
 V[[ZXi hVaZh d[ djg egdYjXih- C[ djg heZX^Vain hVaZh [dgXZ VcY hVaZh dg\Vc^oVi^dc VgZ cdi Veegdeg^ViZan h^oZY id VYZfjViZan egdbdiZ Vcn XjggZci dg
 ediZci^Va [jijgZ egdYjXih+ i]Z XdbbZgX^Va ediZci^Va d[ djg XjggZci egdYjXih VcY Vcn [jijgZ egdYjXih bVn WZ Y^b^c^h]ZY-
 QZ Vahd [VXZ XdbeZi^i^dc+ VcY bVn ^c i]Z [jijgZ [VXZ VYY^i^dcVa XdbeZi^i^dc+ [gdb bVcj[VXijgZgh d[ \ZcZg^X Ygj\h+ ^cXajY^c\ ^c XdccZXi^dc l^i] i]Z
 @>;xh gZXZci VeegdkVa VcY iZciVi^kZ VeegdkVah d[ \ZcZg^X kZgh^dch d[ RngZb- AZcZg^X XdbeZi^i^dc d[iZc gZhjaih ^c YZXgZVhZh ^c i]Z eg^XZh Vi l]^X]
 WgVcYZY egdYjXih XVc WZ hdaY+ eVgi^XjaVgan l]Zc i]ZgZ ^h bdgZ i]Vc dcZ \ZcZg^X VkV^aVWaZ ^c i]Z bVg`ZieaVXZ- Cc VYY^i^dc+ aZ\^haVi^dc ZcVXiZY ^c i]Z
 O-M- Vaadlh [dg+ VcY ^c hdbZ ^chiVcXZh ^c i]Z VWhZcXZ d[ heZX^[^X ^chigjXi^dch [gdb i]Z egZhXg^W^c\ e]nh^X^Vc bVcYViZh+ i]Z Y^heZch^c\ d[ \ZcZg^X
 egdYjXih gVi]Zg i]Vc WgVcYZY egdYjXih l]ZgZ V \ZcZg^X kZgh^dc ^h VkV^aVWaZ- Ii]Zg XdbeVc^Zh XdjaY Vahd YZkZade egdYjXih i]Vi VgZ h^b^aVg+ Wji cdi
 ^YZci^XVa+ id djg bVg`ZiZY egdYjXih+ hjX] Vh Vc VaiZgcVi^kZ [dgbjaVi^dc d[ djg egdYjXi dg Vc VaiZgcVi^kZ [dgbjaVi^dc XdbW^cZY l^i] V Y^[[ZgZci
 YZa^kZgn iZX]cdad\n+ VcY hZZ` VeegdkVa ^c i]Z O-M- Wn gZ[ZgZcX^c\ djg egdYjXih VcY gZan^c\+ id hdbZ YZ\gZZ+ dc i]Z @>;xh [^cY^c\ i]Vi djg egdYjXih
 VgZ hV[Z VcY Z[[ZXi^kZ- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ “The approval and launch of a generic version of Xyrem or other
 sodium oxybate products that compete with Xyrem would adversely affect sales of Xyrem” ^c i]^h JVgi C+ CiZb 0;-
 Ijg egdYjXih VcY egdYjXi XVcY^YViZh bVn Vahd XdbeZiZ ^c i]Z [jijgZ l^i] cZl egdYjXih XjggZcian jcYZg YZkZadebZci Wn di]Zgh- ;cn egdYjXih i]Vi
 lZ YZkZade VgZ a^`Zan id WZ ^c V ]^\]an XdbeZi^i^kZ bVg`Zi+ VcY bVcn d[ djg XdbeZi^idgh bVn hjXXZZY ^c YZkZade^c\ egdYjXih i]Vi bVn gZcYZg djg
 egdYjXih dWhdaZiZ dg cdcXdbeZi^i^kZ-
 Ijg VW^a^in id Xdci^cjZ id \gdl [jgi]Zg gZfj^gZh i]Vi lZ XdbeZiZ hjXXZhh[jaan l^i] heZX^Vain e]VgbVXZji^XVa XdbeVc^Zh [dg egdYjXi VcY egdYjXi
 XVcY^YViZ VXfj^h^i^dc VcY ^c,a^XZch^c\ deedgijc^i^Zh- N]ZhZ XdbeZi^idgh ^cXajYZ ZhiVWa^h]ZY XdbeVc^Zh i]Vi bVn ]VkZ V XdbeZi^i^kZ VYkVciV\Z
 dkZg jh YjZ id i]Z^g h^oZ VcY [^cVcX^Va gZhdjgXZh-
 We cannot predict whether historical revenues from named patient programs for our hematology/oncology products will continue or whether
 we will be able to continue to distribute those products on a named patient basis.
 Cc XZgiV^c ?jgdeZVc Xdjcig^Zh+ gZ^bWjghZbZci [dg egdYjXih i]Vi ]VkZ cdi nZi gZXZ^kZY bVg`Zi^c\ Vji]dg^oVi^dc bVn WZ egdk^YZY i]gdj\] cVi^dcVa
 cVbZY eVi^Zci egd\gVbh- ?gl^cVhZ VcY >Z[^iZa^d VgZ VkV^aVWaZ dc V cVbZY eVi^Zci WVh^h ^c bVcn Xdjcig^Zh l]ZgZ i]Zn VgZ cdi XdbbZgX^Vaan VkV^aVWaZ-
 MjX] gZ^bWjghZbZci bVn XZVhZ id WZ VkV^aVWaZ ^[ Vji]dg^oVi^dc [dg V cVbZY eVi^Zci egd\gVb Zme^gZh dg ^h iZgb^cViZY- Q]^aZ lZ \ZcZgViZ gZkZcjZ [gdb
 i]Z Y^hig^Wji^dc d[ i]ZhZ egdYjXih i]gdj\] cVbZY eVi^Zci egd\gVbh+ lZ XVccdi egZY^Xi l]Zi]Zg ]^hidg^XVa gZkZcjZh [gdb i]ZhZ egd\gVbh l^aa
 Xdci^cjZ+ l]Zi]Zg lZ l^aa WZ VWaZ id Xdci^cjZ id Y^hig^WjiZ djg egdYjXih dc V cVbZY eVi^Zci WVh^h ^c i]ZhZ Xdjcig^Zh+ l]Zi]Zg lZ l^aa WZ VWaZ id
 XdbbZgX^Va^oZ djg egdYjXih ^c Xdjcig^Zh l]ZgZ i]Z egdYjXih ]VkZ ]^hidg^XVaan WZZc VkV^aVWaZ dc V cVbZY eVi^Zci WVh^h+ dg l]Zi]Zg XdbbZgX^Va
 gZkZcjZh l^aa ZmXZZY gZkZcjZh ]^hidg^XVaan \ZcZgViZY [gdb hVaZh dc V cVbZY eVi^Zci WVh^h- ;cn [V^ajgZ id bV^ciV^c gZkZcjZh [gdb hVaZh d[ ?gl^cVhZ
 VcY.dg >Z[^iZa^d dc V cVbZY eVi^Zci WVh^h VcY.dg id \ZcZgViZ gZkZcjZh [gdb XdbbZgX^Va hVaZh d[ i]ZhZ egdYjXih ZmXZZY^c\ ]^hidg^XVa hVaZh dc V
 cVbZY eVi^Zci WVh^h XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 If we fail to attract, retain and motivate key personnel or to retain the members of our executive management team, our operations and our
 future growth may be adversely affected.
 Ijg hjXXZhh VcY djg VW^a^in id \gdl YZeZcY ^c eVgi dc djg Xdci^cjZY VW^a^in id ViigVXi+ gZiV^c VcY bdi^kViZ ]^\]an fjVa^[^ZY eZghdccZa VcY dc djg
 VW^a^in id YZkZade VcY bV^ciV^c ^bedgiVci gZaVi^dch]^eh l^i] aZVY^c\ VXVYZb^X ^chi^iji^dch+ Xa^c^X^Vch VcY hX^Zci^hih- QZ VgZ ]^\]an YZeZcYZci jedc
 djg ZmZXji^kZ bVcV\ZbZci iZVb VcY di]Zg Xg^i^XVa eZghdccZa+ Vaa d[ l]db ldg` dc bVcn XdbeaZm bViiZgh i]Vi VgZ ZhhZci^Va id djg hjXXZhh- QZ Yd
 cdi XVggn v`Zn eZghdcw ^chjgVcXZ- N]Z adhh d[ hZgk^XZh d[ dcZ dg bdgZ bZbWZgh d[ djg ZmZXji^kZ bVcV\ZbZci iZVb dg di]Zg `Zn eZghdccZa XdjaY
 YZaVn dg egZkZci i]Z hjXXZhh[ja XdbeaZi^dc d[ hdbZ d[ djg k^iVa VXi^k^i^Zh- ;cn ZbeadnZZ bVn iZgb^cViZ ]^h dg ]Zg ZbeadnbZci Vi Vcn i^bZ l^i]dji
 cdi^XZ dg l^i] dcan h]dgi

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 cdi^XZ VcY l^i]dji XVjhZ dg \ddY gZVhdc- N]Z gZhjai^c\ adhh d[ ^chi^iji^dcVa `cdlaZY\Z bVn cZ\Vi^kZan ^beVXi djg deZgVi^dch VcY [jijgZ \gdli]-
 Cc VYY^i^dc+ id \gdl djg XdbeVcn lZ l^aa cZZY VYY^i^dcVa eZghdccZa- =dbeZi^i^dc [dg fjVa^[^ZY eZghdccZa ^c i]Z e]VgbVXZji^XVa ^cYjhign ^h kZgn
 ^ciZchZ- C[ lZ VgZ jcVWaZ id ViigVXi+ gZiV^c VcY bdi^kViZ fjVa^in ^cY^k^YjVah+ ^cXajY^c\ ^c djg gZhZVgX] VcY YZkZadebZci deZgVi^dch+ l]^X] VgZ
 Xdci^cj^c\ id ZmeVcY+ djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih XdjaY WZ VYkZghZan V[[ZXiZY-
 QZ Vahd YZeZcY dc i]Z jc^fjZ VW^a^i^Zh+ ^cYjhign ZmeZg^ZcXZ VcY ^chi^iji^dcVa `cdlaZY\Z d[ i]Z bZbWZgh d[ djg WdVgY d[ Y^gZXidgh id Z[[^X^Zcian hZi
 XdbeVcn higViZ\n VcY Z[[ZXi^kZan \j^YZ djg ZmZXji^kZ bVcV\ZbZci iZVb- QZ XVccdi WZ XZgiV^c i]Vi [jijgZ WdVgY ijgcdkZg l^aa cdi cZ\Vi^kZan V[[ZXi
 djg Wjh^cZhh-
 Significant disruptions of information technology systems or data security breaches could adversely affect our business.
 QZ VgZ ^cXgZVh^c\an YZeZcYZci dc ^c[dgbVi^dc iZX]cdad\n hnhiZbh VcY ^c[gVhigjXijgZ+ ^cXajY^c\ bdW^aZ iZX]cdad\^Zh+ id deZgViZ djg Wjh^cZhh- Cc
 i]Z dgY^cVgn XdjghZ d[ djg Wjh^cZhh+ lZ XdaaZXi+ hidgZ VcY igVchb^i aVg\Z Vbdjcih d[ Xdc[^YZci^Va ^c[dgbVi^dc+ ^cXajY^c\ ^ciZaaZXijVa egdeZgin+
 egdeg^ZiVgn Wjh^cZhh ^c[dgbVi^dc VcY eZghdcVa ^c[dgbVi^dc- Ci ^h Xg^i^XVa i]Vi lZ Yd hd ^c V hZXjgZ bVccZg id bV^ciV^c i]Z Xdc[^YZci^Va^in VcY ^ciZ\g^in
 d[ hjX] Xdc[^YZci^Va ^c[dgbVi^dc- QZ ]VkZ Vahd djihdjgXZY ZaZbZcih d[ djg deZgVi^dch '^cXajY^c\ ZaZbZcih d[ djg ^c[dgbVi^dc iZX]cdad\n
 ^c[gVhigjXijgZ( id i]^gY eVgi^Zh+ VcY Vh V gZhjai lZ bVcV\Z V cjbWZg d[ i]^gY eVgin kZcYdgh l]d bVn dg XdjaY ]VkZ VXXZhh id djg Xdc[^YZci^Va
 ^c[dgbVi^dc- N]Z h^oZ VcY XdbeaZm^in d[ djg ^c[dgbVi^dc iZX]cdad\n hnhiZbh+ VcY i]dhZ d[ i]^gY eVgin kZcYdgh l^i] l]db lZ XdcigVXi+ VcY i]Z aVg\Z
 Vbdjcih d[ Xdc[^YZci^Va ^c[dgbVi^dc hidgZY dc i]dhZ hnhiZbh+ bV`Z hjX] hnhiZbh ediZci^Vaan kjacZgVWaZ id hZgk^XZ ^ciZggjei^dch dg id hZXjg^in
 WgZVX]Zh [gdb ^cVYkZgiZci dg ^ciZci^dcVa VXi^dch Wn djg ZbeadnZZh+ i]^gY eVgin kZcYdgh+ VcY.dg Wjh^cZhh eVgicZgh+ dg [gdb XnWZg,ViiVX`h Wn
 bVa^X^djh i]^gY eVgi^Zh- =nWZg,ViiVX`h VgZ ^cXgZVh^c\ ^c i]Z^g [gZfjZcXn+ hde]^hi^XVi^dc VcY ^ciZch^in- =nWZg,ViiVX`h XdjaY ^cXajYZ i]Z YZeadnbZci d[
 ]Vgb[ja bValVgZ+ YZc^Va,d[,hZgk^XZ ViiVX`h+ hdX^Va Zc\^cZZg^c\ VcY di]Zg bZVch id V[[ZXi hZgk^XZ gZa^VW^a^in VcY i]gZViZc i]Z Xdc[^YZci^Va^in+ ^ciZ\g^in
 VcY VkV^aVW^a^in d[ ^c[dgbVi^dc- @gdb i^bZ id i^bZ+ djg hnhiZbh ]VkZ WZZc hjW_ZXi id XnWZg,ViiVX`h-
 M^\c^[^XVci Y^hgjei^dch d[ djg ^c[dgbVi^dc iZX]cdad\n hnhiZbh dg hZXjg^in WgZVX]Zh XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh deZgVi^dch VcY.dg gZhjai ^c
 i]Z adhh+ b^hVeegdeg^Vi^dc+ VcY.dg jcVji]dg^oZY VXXZhh+ jhZ dg Y^hXadhjgZ d[+ dg i]Z egZkZci^dc d[ VXXZhh id+ Xdc[^YZci^Va ^c[dgbVi^dc '^cXajY^c\
 igVYZ hZXgZih dg di]Zg ^ciZaaZXijVa egdeZgin+ egdeg^ZiVgn Wjh^cZhh ^c[dgbVi^dc VcY eZghdcVa ^c[dgbVi^dc(+ VcY XdjaY gZhjai ^c [^cVcX^Va+ aZ\Va+ Wjh^cZhh
 VcY gZejiVi^dcVa ]Vgb id jh- ;cn hjX] ZkZci i]Vi aZVYh id jcVji]dg^oZY VXXZhh+ jhZ dg Y^hXadhjgZ d[ eZghdcVa ^c[dgbVi^dc+ ^cXajY^c\ eZghdcVa
 ^c[dgbVi^dc gZ\VgY^c\ djg eVi^Zcih dg ZbeadnZZh+ XdjaY ]Vgb djg gZejiVi^dc+ XdbeZa jh id Xdbean l^i] [ZYZgVa VcY.dg hiViZ WgZVX] cdi^[^XVi^dc aVlh
 VcY [dgZ^\c aVl Zfj^kVaZcih+ hjW_ZXi jh id bVcYVidgn XdggZXi^kZ VXi^dc+ gZfj^gZ jh id kZg^[n i]Z XdggZXicZhh d[ YViVWVhZ XdciZcih VcY di]Zgl^hZ
 hjW_ZXi jh id a^VW^a^in jcYZg aVlh VcY gZ\jaVi^dch i]Vi egdiZXi i]Z eg^kVXn VcY hZXjg^in d[ eZghdcVa ^c[dgbVi^dc+ l]^X] XdjaY Y^hgjei djg Wjh^cZhh+
 gZhjai ^c ^cXgZVhZY Xdhih dg adhh d[ gZkZcjZ+ VcY.dg gZhjai ^c h^\c^[^XVci aZ\Va VcY [^cVcX^Va ZmedhjgZ- Cc VYY^i^dc+ hZXjg^in WgZVX]Zh VcY di]Zg
 ^cVeegdeg^ViZ VXXZhh XVc WZ Y^[[^Xjai id YZiZXi+ VcY Vcn YZaVn ^c ^YZci^[n^c\ i]Zb bVn aZVY id ^cXgZVhZY ]Vgb d[ i]Z ineZ YZhXg^WZY VWdkZ-
 GdgZdkZg+ i]Z egZkVaZci jhZ d[ bdW^aZ YZk^XZh id VXXZhh Xdc[^YZci^Va ^c[dgbVi^dc ^cXgZVhZh i]Z g^h` d[ hZXjg^in WgZVX]Zh- Q]^aZ lZ ]VkZ
 ^beaZbZciZY hZXjg^in bZVhjgZh id egdiZXi djg ^c[dgbVi^dc iZX]cdad\n hnhiZbh VcY ^c[gVhigjXijgZ+ i]ZgZ XVc WZ cd VhhjgVcXZ i]Vi hjX] bZVhjgZh
 l^aa egZkZci hZgk^XZ ^ciZggjei^dch dg hZXjg^in WgZVX]Zh i]Vi XdjaY VYkZghZan V[[ZXi djg Wjh^cZhh-


 Risks Related to Our Intellectual Property
 It is difficult and costly to protect our proprietary rights, and we may not be able to ensure their protection.
 Ijg XdbbZgX^Va hjXXZhh YZeZcYh ^c eVgi dc dWiV^c^c\ VcY bV^ciV^c^c\ eViZci egdiZXi^dc d[ djg egdYjXih VcY egdYjXi XVcY^YViZh VcY i]Z^g jhZ VcY
 i]Z bZi]dYh jhZY id bVcj[VXijgZ VcY Y^hig^WjiZ i]Zb+ Vh lZaa Vh hjXXZhh[jaan YZ[ZcY^c\ i]ZhZ eViZcih V\V^chi i]^gY eVgin X]VaaZc\Zh+ VcY
 hjXXZhh[jaan egdiZXi^c\ djg igVYZ hZXgZih- Ijg VW^a^in id egdiZXi djg egdYjXih VcY egdYjXi XVcY^YViZh [gdb jcVji]dg^oZY bV`^c\+ jh^c\+ hZaa^c\+
 d[[Zg^c\ id hZaa dg ^bedgiVi^dc Wn i]^gY eVgi^Zh YZeZcYh dc i]Z ZmiZci id l]^X] lZ ]VkZ g^\]ih jcYZg kVa^Y VcY Zc[dgXZVWaZ eViZcih dg ]VkZ igVYZ
 hZXgZih i]Vi XdkZg i]ZhZ VXi^k^i^Zh- QZ XVccdi WZ XZgiV^c i]Vi Vcn d[ djg eViZci Veea^XVi^dch+ dg i]dhZ d[ djg a^XZchdgh+ l^aa gZhjai ^c ^hhjZY eViZcih+
 i]Vi i]Z eViZcih lZ dlc VcY a^XZchZ+ dg Vcn VYY^i^dcVa eViZcih lZ bVn dlc dg a^XZchZ+ l^aa egZkZci di]Zg XdbeVc^Zh [gdb YZkZade^c\ h^b^aVg dg
 i]ZgVeZji^XVaan Zfj^kVaZci egdYjXih+ dg i]Vi di]Zgh l^aa cdi WZ ^hhjZY eViZcih i]Vi bVn egZkZci i]Z hVaZ d[ djg egdYjXih dg gZfj^gZ a^XZch^c\ VcY i]Z
 eVnbZci d[ h^\c^[^XVci [ZZh dg gdnVai^Zh-
 N]Z eViZci edh^i^dc d[ e]VgbVXZji^XVa XdbeVc^Zh XVc WZ ]^\]an jcXZgiV^c VcY ^ckdakZ XdbeaZm VcY d[iZc X]Vc\^c\ aZ\Va+ gZ\jaVidgn VcY [VXijVa
 fjZhi^dch- QZ dlc V edgi[da^d d[ O-M- VcY cdc,O-M- eViZcih VcY eViZci Veea^XVi^dch VcY ]VkZ a^XZchZY g^\]ih id V cjbWZg d[ ^hhjZY eViZcih VcY
 eViZci Veea^XVi^dch i]Vi XdkZg dg gZaViZ id djg egdYjXih VcY egdYjXi XVcY^YViZh+ ^cXajY^c\ RngZb+ >Z[^iZa^d VcY PnmZdh- =]Vc\Zh ^c Z^i]Zg i]Z eViZci
 aVlh dg ^c ^ciZgegZiVi^dch d[ eViZci aVlh ^c i]Z O-M- VcY di]Zg Xdjcig^Zh bVn Y^b^c^h] i]Z kVajZ d[ djg ^ciZaaZXijVa egdeZgin- ?kZc ^[ lZ VgZ VWaZ id
 dWiV^c eViZcih XdkZg^c\ djg egdYjXih

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 VcY egdYjXi XVcY^YViZh+ Vcn eViZci bVn WZ X]VaaZc\ZY+ ^ckVa^YViZY+ ]ZaY jcZc[dgXZVWaZ dg X^gXjbkZciZY+ ediZci^Vaan ^cXajY^c\ Wn @>; VeegdkVa d[
 Vc ;H>; i]Vi Vkd^Yh ^c[g^c\ZbZci d[ djg ^ciZaaZXijVa egdeZgin-
 ;ai]dj\] RngZb ^h XdkZgZY Wn eViZcih XdkZg^c\ ^ih [dgbjaVi^dc+ Y^hig^Wji^dc hnhiZb VcY bZi]dY d[ jhZ+ i]^gY eVgi^Zh VgZ hZZ`^c\ id ^cigdYjXZ
 \ZcZg^X kZgh^dch d[ RngZb+ VcY VYY^i^dcVa i]^gY eVgi^Zh bVn Vahd ViiZbei id ^ckVa^YViZ dg YZh^\c VgdjcY i]Z eViZcih+ dg VhhZgi i]Vi i]Zn VgZ ^ckVa^Y dg
 di]Zgl^hZ jcZc[dgXZVWaZ+ VcY hZZ` id ^cigdYjXZ \ZcZg^X kZgh^dch d[ RngZb dg di]Zg hdY^jb dmnWViZ egdYjXih [dg igZVibZci d[ XViVeaZmn VcY.dg ?>M
 ^c cVgXdaZehn- Ci ^h edhh^WaZ i]Vi LdmVcZ dg Vcn di]Zg XdbeVcn i]Vi gZXZ^kZh @>; VeegdkVa d[ Vc ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb dg Vc H>;
 [dg Vcdi]Zg hdY^jb dmnWViZ egdYjXi XdjaY ^cigdYjXZ V \ZcZg^X kZgh^dc d[ RngZb dg di]Zg hdY^jb dmnWViZ egdYjXi WZ[dgZ djg eViZcih Zme^gZ ^[ ^i ^h
 YZiZgb^cZY i]Vi Vcn hjX] \ZcZg^X kZgh^dc d[ RngZb dg hdY^jb dmnWViZ egdYjXi YdZh cdi ^c[g^c\Z djg eViZcih+ dg i]Vi djg eViZcih VgZ ^ckVa^Y dg
 jcZc[dgXZVWaZ+ dg ^[ hjX] XdbeVcn dg XdbeVc^Zh YZX^YZ+ WZ[dgZ Veea^XVWaZ dc\d^c\ eViZci a^i^\Vi^dc ^h XdcXajYZY+ id aVjcX] V hdY^jb dmnWViZ
 egdYjXi Vi g^h` d[ WZ^c\ ]ZaY a^VWaZ [dg YVbV\Zh [dg eViZci ^c[g^c\ZbZci- @dg V YZhXg^ei^dc d[ djg dc\d^c\ eViZci egdXZZY^c\h ^c i]Z >^hig^Xi =djgi
 VcY i]Z JN;< VcY gZaViZY gZ\jaVidgn bViiZgh VcY [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[
 RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg hdY^jb dmnWViZ egdYjXih i]Vi XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i]
 gZheZXi id RngZb+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-
 Waxman Actw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z
 M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vWe have incurred and expect to continue to incur substantial costs as a result of litigation or other
 proceedings relating to patents, other intellectual property rights and related matters, and we may be unable to protect our rights to, or
 commercialize, our products” ^c i]^h JVgi C+ CiZb 0;-
 N]Z Zm^hiZcXZ d[ V eViZci l^aa cdi cZXZhhVg^an egZkZci di]Zg XdbeVc^Zh [gdb YZkZade^c\ h^b^aVg dg i]ZgVeZji^XVaan Zfj^kVaZci egdYjXih dg egdiZXi jh
 [gdb XaV^bh d[ i]^gY eVgi^Zh i]Vi djg egdYjXih ^c[g^c\Z i]Z^g ^hhjZY eViZcih+ l]^X] bVn gZfj^gZ a^XZch^c\ VcY i]Z eVnbZci d[ h^\c^[^XVci [ZZh dg
 gdnVai^Zh- =dbeZi^idgh bVn hjXXZhh[jaan X]VaaZc\Z djg eViZcih+ egdYjXZ h^b^aVg egdYjXih i]Vi Yd cdi ^c[g^c\Z djg eViZcih+ dg bVcj[VXijgZ egdYjXih
 ^c Xdjcig^Zh l]ZgZ lZ ]VkZ cdi Veea^ZY [dg eViZci egdiZXi^dc dg i]Vi Yd cdi gZheZXi djg eViZcih- ;XXdgY^c\an+ lZ XVccdi egZY^Xi i]Z WgZVYi] d[
 XaV^bh i]Vi bVn WZ VaadlZY dg Zc[dgXZY ^c djg eViZcih+ djg a^XZchZY eViZcih dg ^c i]^gY eVgin eViZcih-
 N]Z YZ\gZZ d[ [jijgZ egdiZXi^dc id WZ V[[dgYZY Wn djg egdeg^ZiVgn g^\]ih ^h jcXZgiV^c WZXVjhZ aZ\Va bZVch V[[dgY dcan a^b^iZY egdiZXi^dc VcY bVn cdi
 VYZfjViZan egdiZXi djg g^\]ih dg eZgb^i jh id \V^c dg `ZZe djg XdbeZi^i^kZ VYkVciV\Z- @dg ZmVbeaZ9
 s         di]Zgh bVn ^cYZeZcYZcian YZkZade h^b^aVg dg VaiZgcVi^kZ egdYjXih l^i]dji ^c[g^c\^c\ djg ^ciZaaZXijVa egdeZgin g^\]ih+ hjX] Vh egdYjXih
           i]Vi VgZ cdi XdkZgZY Wn i]Z XaV^bh d[ djg eViZcih+ dg [dg l]^X] lZ Yd cdi ]VkZ VYZfjViZ ZmXajh^kZ g^\]ih jcYZg djg a^XZchZ V\gZZbZcih:
 s         lZ dg djg a^XZchdgh dg eVgicZgh b^\]i cdi ]VkZ WZZc i]Z [^ghi id ^ckZci dg [^aZ+ Vh Veegdeg^ViZ+ hjW_ZXi bViiZgh XdkZgZY Wn djg ^hhjZY
           eViZcih dg eZcY^c\ eViZci Veea^XVi^dch dg i]Z eZcY^c\ eViZci Veea^XVi^dch dg ^hhjZY eViZcih d[ djg a^XZchdgh dg eVgicZgh:
 s         djg eZcY^c\ eViZci Veea^XVi^dch bVn cdi gZhjai ^c ^hhjZY eViZcih:
 s         djg ^hhjZY eViZcih VcY i]Z ^hhjZY eViZcih d[ djg a^XZchdgh dg eVgicZgh bVn cdi egdk^YZ jh l^i] Vcn XdbeZi^i^kZ VYkVciV\Zh+ dg bVn WZ
           ]ZaY ^ckVa^Y dg jcZc[dgXZVWaZ Vh V gZhjai d[ aZ\Va X]VaaZc\Zh Wn i]^gY eVgi^Zh:
 s         djg ^hhjZY eViZcih VcY i]Z ^hhjZY eViZcih d[ djg a^XZchdgh dg eVgicZgh bVn WZ kjacZgVWaZ id aZ\Va X]VaaZc\Zh Vh V gZhjai d[ X]Vc\Zh ^c
           Veea^XVWaZ aVl:
 s         lZ bVn cdi YZkZade VYY^i^dcVa egdeg^ZiVgn egdYjXih i]Vi VgZ eViZciVWaZ: dg
 s         i]Z eViZcih d[ di]Zgh bVn ]VkZ Vc VYkZghZ Z[[ZXi dc djg Wjh^cZhh-
 QZ Vahd gZan dc igVYZ hZXgZih VcY di]Zg jceViZciZY egdeg^ZiVgn ^c[dgbVi^dc id egdiZXi djg egdYjXih VcY XdbbZgX^Va edh^i^dc+ eVgi^XjaVgan l^i]
 gZheZXi id djg egdYjXih l^i] a^b^iZY dg cd eViZci egdiZXi^dc+ hjX] Vh ?gl^cVoZ- QZ hZZ` id egdiZXi djg igVYZ hZXgZih VcY di]Zg jceViZciZY
 egdeg^ZiVgn ^c[dgbVi^dc ^c eVgi i]gdj\] Xdc[^YZci^Va^in V\gZZbZcih l^i] djg ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh VcY eVgicZgh- HZkZgi]ZaZhh+ djg
 ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh VcY eVgicZgh bVn jc^ciZci^dcVaan dg l^aa[jaan Y^hXadhZ djg egdeg^ZiVgn ^c[dgbVi^dc id XdbeZi^idgh+ VcY lZ bVn cdi
 ]VkZ VYZfjViZ gZbZY^Zh [dg hjX] Y^hXadhjgZh- Cc VYY^i^dc+ ^[ djg ZbeadnZZh+ XdchjaiVcih+ VYk^hdgh VcY eVgicZgh YZkZade ^ckZci^dch dg egdXZhhZh
 ^cYZeZcYZcian+ dg _d^cian l^i] jh+ i]Vi bVn WZ Veea^XVWaZ id djg egdYjXih+ Y^hejiZh bVn Vg^hZ VWdji dlcZgh]^e dg egdeg^ZiVgn g^\]ih id i]dhZ
 ^ckZci^dch VcY egdXZhhZh- MjX] ^ckZci^dch VcY egdXZhhZh l^aa cdi cZXZhhVg^an WZXdbZ djg egdeZgin+ Wji bVn gZbV^c i]Z egdeZgin d[ i]dhZ i]^gY
 eVgi^Zh dg i]Z^g ZbeadnZgh- ?c[dgX^c\ V XaV^b i]Vi V i]^gY eVgin ^aaZ\Vaan dWiV^cZY dg ^h jh^c\ Vcn d[ djg ^ckZci^dch dg igVYZ hZXgZih ^h ZmeZch^kZ VcY
 i^bZ,Xdchjb^c\+ VcY i]Z djiXdbZ ^h jcegZY^XiVWaZ- Cc VYY^i^dc+ Xdjgih djih^YZ d[ i]Z O-M- VgZ hdbZi^bZh aZhh l^aa^c\ id egdiZXi igVYZ hZXgZih-
 GdgZdkZg+ djg XdbeZi^idgh bVn ^cYZeZcYZcian YZkZade Zfj^kVaZci `cdlaZY\Z+

                                                                           41
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 bZi]dYh VcY `cdl,]dl- @V^ajgZ id dWiV^c dg bV^ciV^c eViZci VcY.dg igVYZ hZXgZi egdiZXi^dc+ [dg Vcn gZVhdc+ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc
 djg Wjh^cZhh-
 =ZgiV^c d[ i]Z egdYjXih lZ hZaa ]VkZ cd eViZci egdiZXi^dc VcY+ Vh V gZhjai+ ediZci^Va XdbeZi^idgh [VXZ [ZlZg WVgg^Zgh ^c ^cigdYjX^c\ XdbeZi^c\
 egdYjXih- QZ gZan dc igVYZ hZXgZih VcY di]Zg jceViZciZY egdeg^ZiVgn ^c[dgbVi^dc id egdiZXi djg XdbbZgX^Va edh^i^dc l^i] gZheZXi id hjX] egdYjXih+
 l]^X] lZ bVn WZ jcVWaZ id Yd- Cc hdbZ ^chiVcXZh+ lZ Vahd gZan dc gZ\jaVidgn ZmXajh^k^in- @dg ZmVbeaZ+ ?gl^cVoZ ]Vh cd eViZci egdiZXi^dc- Cc
 VYY^i^dc id egdiZXi^dc jh^c\ igVYZ hZXgZih+ ?gl^cVoZ ]Vh dge]Vc Ygj\ ZmXajh^k^in ^c i]Z O-M- [dg V hZkZc,nZVg eZg^dY [gdb ^ih @>; VeegdkVa+ l]^X]
 egZXajYZh VeegdkVa d[ Vcdi]Zg egdYjXi l^i] i]Z hVbZ eg^cX^eVa bdaZXjaVg higjXijgZ [dg i]Z hVbZ ^cY^XVi^dc jci^a HdkZbWZg 1/07- ?gl^cVoZ+ Vh V
 W^dad\^X egdYjXi VeegdkZY jcYZg V <F;+ ^h Vahd hjW_ZXi id i]Z O-M- <^dad\^Xh Jg^XZ =dbeZi^i^dc VcY CccdkVi^dc ;Xi+ dg <J=C;- QZ WZa^ZkZ i]Vi
 ?gl^cVoZ ^h egdiZXiZY Wn ZmXajh^k^in i]Vi egZkZcih VeegdkVa d[ V W^dh^b^aVg ^c i]Z O-M- i]gdj\] aViZ 1/12 jcYZg i]Z <J=C;- BdlZkZg+ i]Z <J=C; bVn
 ZkdakZ dkZg i^bZ WVhZY dc @>; ^hhjVcXZ d[ \j^YVcXZ YdXjbZcih+ egdedhZY gZ\jaVi^dch+ VcY YZX^h^dch ^c i]Z XdjghZ d[ Xdch^YZg^c\ heZX^[^X
 Veea^XVi^dch- ;h V gZhjai+ ^i ^h edhh^WaZ i]Vi V ediZci^Va XdbeZi^c\ Ygj\ egdYjXi b^\]i dWiV^c @>; VeegdkVa WZ[dgZ i]Z dge]Vc Ygj\ VcY ZmeZXiZY
 <=JC; ZmXajh^k^in eZg^dYh ]VkZ Zme^gZY+ l]^X] ldjaY VYkZghZan V[[ZXi hVaZh d[ ?gl^cVoZ- Cc i]Z ?O+ i]Z gZ\jaVidgn YViV egdiZXi^dc VcY i]jh
 gZ\jaVidgn ZmXajh^k^in eZg^dY [dg ?gl^cVhZ ]Vh aVehZY- N]^h Vahd bZVch i]Vi Vcn cZl bVg`Zi^c\ Vji]dg^oVi^dch [dg ?gl^cVhZ ^c di]Zg ?O bZbWZg
 hiViZh l^aa cdi gZXZ^kZ Vcn gZ\jaVidgn YViV egdiZXi^dc- C[ V W^dh^b^aVg egdYjXi id ?gl^cVoZ ^h VeegdkZY Vh ^ciZgX]Vc\ZVWaZ id ?gl^cVoZ ^c i]Z O-M- dg ^c
 di]Zg Xdjcig^Zh l]ZgZ ?gl^cVoZ ^h hdaY+ V h^\c^[^XVci eZgXZciV\Z d[ i]Z egZhXg^ei^dch i]Vi ldjaY ]VkZ WZZc lg^iiZc [dg ?gl^cVoZ bVn WZ [^aaZY l^i]
 i]Z W^dh^b^aVg kZgh^dc+ gZhjai^c\ ^c V adhh ^c hVaZh d[ ?gl^cVoZ+ VcY i]ZgZ bVn WZ V YZXgZVhZ ^c i]Z eg^XZ Vi l]^X] ?gl^cVoZ XVc WZ hdaY- =dbeZi^i^dc
 [gdb V W^dh^b^aVg egdYjXi id ?gl^cVoZ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli]
 egdheZXih-
 Ijg gZhZVgX] VcY YZkZadebZci XdaaVWdgVidgh bVn ]VkZ g^\]ih id ejWa^h] YViV VcY di]Zg ^c[dgbVi^dc id l]^X] lZ ]VkZ g^\]ih- Cc VYY^i^dc+ lZ
 hdbZi^bZh Zc\V\Z ^cY^k^YjVah dg Zci^i^Zh id XdcYjXi gZhZVgX] i]Vi bVn WZ gZaZkVci id djg Wjh^cZhh- Q]^aZ i]Z VW^a^in d[ i]ZhZ ^cY^k^YjVah dg Zci^i^Zh
 id ejWa^h] dg di]Zgl^hZ ejWa^Xan Y^hXadhZ YViV VcY di]Zg ^c[dgbVi^dc \ZcZgViZY Yjg^c\ i]Z XdjghZ d[ i]Z^g gZhZVgX] ^h hjW_ZXi id XdcigVXijVa
 a^b^iVi^dch+ i]ZhZ XdcigVXijVa egdk^h^dch bVn WZ ^chj[[^X^Zci dg ^cVYZfjViZ id egdiZXi djg igVYZ hZXgZih VcY bVn ^beV^g djg eViZci g^\]ih- C[ lZ Yd
 cdi Veean [dg eViZci egdiZXi^dc eg^dg id hjX] ejWa^XVi^dc+ dg ^[ lZ XVccdi di]Zgl^hZ bV^ciV^c i]Z Xdc[^YZci^Va^in d[ djg ^ccdkVi^dch VcY di]Zg
 Xdc[^YZci^Va ^c[dgbVi^dc+ i]Zc djg VW^a^in id dWiV^c eViZci egdiZXi^dc dg egdiZXi djg egdeg^ZiVgn ^c[dgbVi^dc bVn WZ _ZdeVgY^oZY- GdgZdkZg+ V Y^hejiZ
 bVn Vg^hZ l^i] djg gZhZVgX] VcY YZkZadebZci XdaaVWdgVidgh dkZg i]Z dlcZgh]^e d[ g^\]ih id _d^cian YZkZadeZY ^ciZaaZXijVa egdeZgin- MjX] Y^hejiZh+ ^[
 cdi hjXXZhh[jaan gZhdakZY+ XdjaY aZVY id V adhh d[ g^\]ih VcY edhh^Wan egZkZci jh [gdb ejghj^c\ XZgiV^c cZl egdYjXih dg egdYjXi XVcY^YViZh-
 We have incurred and expect to continue to incur substantial costs as a result of litigation or other proceedings relating to patents, other
 intellectual property rights and related matters, and we may be unable to protect our rights to, or commercialize, our products.
 Ijg VW^a^in+ VcY i]Vi d[ djg eVgicZgh+ id XdbbZgX^Va^oZ Vcn VeegdkZY egdYjXih l^aa YZeZcY+ ^c eVgi+ dc djg VW^a^in id dWiV^c eViZcih+ Zc[dgXZ i]dhZ
 eViZcih VcY deZgViZ l^i]dji ^c[g^c\^c\ i]Z egdeg^ZiVgn g^\]ih d[ i]^gY eVgi^Zh- N]Z eViZci edh^i^dch d[ e]VgbVXZji^XVa XdbeVc^Zh XVc WZ ]^\]an
 jcXZgiV^c VcY ^ckdakZ XdbeaZm aZ\Va VcY [VXijVa fjZhi^dch- QZ ]VkZ [^aZY bjai^eaZ O-M- eViZci Veea^XVi^dch VcY cdc,O-M- XdjciZgeVgih+ VcY bVn [^aZ
 VYY^i^dcVa O-M- VcY cdc,O-M- eViZci Veea^XVi^dch- N]ZgZ XVc WZ cd VhhjgVcXZ i]Vi Vcn ^hhjZY eViZcih lZ dlc dg Xdcigda l^aa egdk^YZ hj[[^X^Zci
 egdiZXi^dc id XdcYjXi djg Wjh^cZhh Vh egZhZcian XdcYjXiZY dg Vh egdedhZY id WZ XdcYjXiZY- GdgZdkZg+ [dg V kVg^Zin d[ gZVhdch+ ^cXajY^c\ i]Z
 Zm^hiZcXZ d[ gZaZkVci eg^dg gZhZVgX] eZg[dgbZY VcY i]Z Zm^hiZcXZ d[ Xdc[a^Xi^c\ eViZci Veea^XVi^dch hjWb^iiZY ^c i]Z hVbZ bVccZg dg h^b^aVg [^ZaYh+
 i]ZgZ XVc WZ cd VhhjgVcXZ i]Vi Vcn eViZcih l^aa ^hhjZ [gdb i]Z eViZci Veea^XVi^dch dlcZY Wn jh+ dg i]Vi lZ l^aa gZbV^c [gZZ [gdb ^c[g^c\ZbZci XaV^bh
 Wn i]^gY eVgi^Zh-
 C[ lZ X]ddhZ id \d id Xdjgi id hide V i]^gY eVgin [gdb ^c[g^c\^c\ djg eViZcih+ djg a^XZchZY eViZcih dg djg eVgicZghx eViZcih+ i]Vi i]^gY eVgin ]Vh i]Z
 g^\]i id Vh` i]Z Xdjgi+ dg id Vg\jZ ^c [gdci d[ Vc VYb^c^higVi^kZ V\ZcXn+ id gjaZ i]Vi i]ZhZ eViZcih VgZ ^ckVa^Y VcY.dg h]djaY cdi WZ Zc[dgXZY- N]ZhZ
 aVlhj^ih VcY VYb^c^higVi^kZ egdXZZY^c\h VgZ ZmeZch^kZ VcY XdchjbZ i^bZ VcY di]Zg gZhdjgXZh+ VcY lZ bVn cdi WZ hjXXZhh[ja ^c i]ZhZ egdXZZY^c\h
 dg ^c hidee^c\ ^c[g^c\ZbZci- Cc VYY^i^dc+ i]Z CJL egdXZhh jcYZg i]Z FZV]n,Mb^i] ;bZg^XV CckZcih ;Xi eZgb^ih Vcn eZghdc+ l]Zi]Zg i]Zn VgZ VXXjhZY
 d[ ^c[g^c\^c\ i]Z eViZci Vi ^hhjZ dg cdi+ id X]VaaZc\Z i]Z kVa^Y^in d[ XZgiV^c eViZcih- ;h V gZhjai+ Zci^i^Zh VhhdX^ViZY l^i] ]ZY\Z [jcYh Vh lZaa Vh
 ;H>; a^i^\Vcih ]VkZ X]VaaZc\ZY kVajVWaZ e]VgbVXZji^XVa eViZcih i]gdj\] i]Z CJL egdXZhh- N]ZgZ ^h V g^h` i]Vi V Xdjgi l^aa YZX^YZ i]Vi djg eViZcih
 VgZ cdi kVa^Y dg ^c[g^c\ZY+ dg i]Vi i]Z JN;< l^aa YZX^YZ i]Vi XZgiV^c eViZcih VgZ cdi kVa^Y+ VcY i]Vi lZ Yd cdi ]VkZ i]Z g^\]i id hide V i]^gY eVgin [gdb
 jh^c\ i]Z eViZciZY hjW_ZXi bViiZg- @dg V YZhXg^ei^dc d[ djg dc\d^c\ eViZci egdXZZY^c\h ^c i]Z >^hig^Xi =djgi VcY i]Z JN;< VcY [jgi]Zg Y^hXjhh^dc
 gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg hdY^jb dmnWViZ
 egdYjXih i]Vi XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[
 i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-Waxman Actw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E
 VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vIt is difficult and costly to

                                                                            42
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 protect our proprietary rights, and we may not be able to ensure their protection” ^c i]^h JVgi C+ CiZb 0;- QZ XVccdi VhhjgZ ndj i]Vi djg eZcY^c\
 aVlhj^ih+ di]Zg aVlhj^ih dg egdXZZY^c\h lZ bVn [^aZ ^c i]Z [jijgZ+ dg djg YZ[ZchZ V\V^chi Vcn aVlhj^ih dg di]Zg egdXZZY^c\ i]Vi ]VkZ WZZc dg l^aa WZ
 Wgdj\]i V\V^chi jh l^aa WZ hjXXZhh[ja ^c hidee^c\ i]Z ^c[g^c\ZbZci d[ djg eViZcih+ i]Vi Vcn hjX] a^i^\Vi^dc dg di]Zg egdXZZY^c\h l^aa WZ Xdhi,
 Z[[ZXi^kZ+ dg i]Vi Vcn d[ i]Zb l^aa ]VkZ V hVi^h[VXidgn gZhjai [dg jh-
 F^i^\Vi^dc ^ckdak^c\ eViZci bViiZgh ^h [gZfjZcian hZiiaZY WZilZZc i]Z eVgi^Zh+ gVi]Zg i]Vc Xdci^cj^c\ id V Xdjgi gja^c\- C[ lZ lZgZ id hZiiaZ V eViZci
 aVlhj^i l^i] V \ZcZg^X e]VgbVXZji^XVa XdbeVcn+ lZ XdjaY WZ hjW_ZXi id ^ckZhi^\Vi^dch Wn i]Z @N= dg di]Zg Vci^igjhi Zc[dgXZbZci V\ZcX^Zh dg
 \dkZgcbZci dg eg^kViZ,eVgin aVlhj^ih- N]Z @N= ]Vh ejWa^Xan hiViZY i]Vi+ ^c ^ih k^Zl+ XZgiV^c ineZh d[ V\gZZbZcih WZilZZc WgVcY VcY \ZcZg^X
 e]VgbVXZji^XVa XdbeVc^Zh gZaViZY id i]Z hZiiaZbZci d[ eViZci a^i^\Vi^dc dg i]Z bVcj[VXijgZ+ bVg`Zi^c\ VcY hVaZ d[ \ZcZg^X kZgh^dch d[ WgVcYZY Ygj\h
 k^daViZ i]Z Vci^igjhi aVlh VcY ]Vh XdbbZcXZY ^ckZhi^\Vi^dch VcY Wgdj\]i VXi^dch V\V^chi hdbZ XdbeVc^Zh i]Vi ]VkZ ZciZgZY ^cid hjX] V\gZZbZcih-
 Cc eVgi^XjaVg+ i]Z @N= ]Vh ZmegZhhZY ^ih ^ciZci^dc id iV`Z V\\gZhh^kZ VXi^dc id X]VaaZc\Z hZiiaZbZcih i]Vi ^cXajYZ Vc VaaZ\ZY igVch[Zg d[ kVajZ [gdb
 i]Z WgVcY XdbeVcn id i]Z \ZcZg^X XdbeVcn 'hd,XVaaZY veVn [dg YZaVnw eViZci a^i^\Vi^dc hZiiaZbZcih( VcY id XVaa dc aZ\^haVidgh id eVhh higdc\Zg aVlh
 egd]^W^i^c\ hjX] hZiiaZbZcih- <ZXVjhZ i]ZgZ ^h XjggZcian cd egZX^hZ aZ\Va hiVcYVgY l^i] gZheZXi id i]Z aVl[jacZhh d[ hjX] hZiiaZbZcih+ i]ZgZ XdjaY WZ
 ZmiZch^kZ a^i^\Vi^dc dkZg l]Zi]Zg Vcn hZiiaZbZci i]Vi lZ b^\]i ZciZg ^cid Xdchi^ijiZh V gZVhdcVWaZ VcY aVl[ja eViZci hZiiaZbZci- ;cn hjX]
 ^ckZhi^\Vi^dch dg aVlhj^ih+ VcY i]Z djiXdbZ i]ZgZd[+ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh-
 ; i]^gY eVgin bVn XaV^b i]Vi lZ dg djg bVcj[VXijg^c\ dg XdbbZgX^Va^oVi^dc eVgicZgh VgZ jh^c\ ^ckZci^dch XdkZgZY Wn i]Z i]^gY eVginxh eViZci g^\]ih+
 dg i]Vi lZ dg hjX] eVgicZgh VgZ ^c[g^c\^c\+ b^hVeegdeg^Vi^c\ dg di]Zgl^hZ k^daVi^c\ di]Zg ^ciZaaZXijVa egdeZgin g^\]ih+ VcY bVn \d id Xdjgi id hide jh
 [gdb Zc\V\^c\ ^c djg cdgbVa deZgVi^dch VcY VXi^k^i^Zh+ ^cXajY^c\ bV`^c\ dg hZaa^c\ djg egdYjXih- MjX] aVlhj^ih VgZ Xdhian VcY XdjaY V[[ZXi djg
 gZhjaih d[ deZgVi^dch VcY Y^kZgi i]Z ViiZci^dc d[ bVcV\ZbZci VcY YZkZadebZci eZghdccZa- N]ZgZ ^h V g^h` i]Vi V Xdjgi XdjaY YZX^YZ i]Vi lZ dg djg
 eVgicZgh VgZ ^c[g^c\^c\+ b^hVeegdeg^Vi^c\ dg di]Zgl^hZ k^daVi^c\ i]^gY eVgin eViZci dg di]Zg ^ciZaaZXijVa egdeZgin g^\]ih+ l]^X] XdjaY WZ kZgn Xdhian id
 jh VcY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh-
 Cc i]Z e]VgbVXZji^XVa VcY a^[Z hX^ZcXZh ^cYjhign+ a^`Z di]Zg ^cYjhig^Zh+ ^i ^h cdi ValVnh XaZVg id ^cYjhign eVgi^X^eVcih+ ^cXajY^c\ jh+ l]^X] eViZcih
 XdkZg kVg^djh ineZh d[ egdYjXih dg bZi]dYh- N]Z XdkZgV\Z d[ eViZcih ^h hjW_ZXi id ^ciZgegZiVi^dc Wn i]Z Xdjgih+ VcY i]Z ^ciZgegZiVi^dc ^h cdi ValVnh
 jc^[dgb- C[ lZ VgZ hjZY [dg eViZci ^c[g^c\ZbZci+ lZ ldjaY cZZY id YZbdchigViZ i]Vi djg egdYjXih dg bZi]dYh Yd cdi ^c[g^c\Z i]Z eViZci XaV^bh d[ i]Z
 gZaZkVci eViZci VcY.dg i]Vi i]Z eViZci XaV^bh VgZ ^ckVa^Y dg jcZc[dgXZVWaZ+ l]^X] lZ bVn cdi WZ VWaZ id Yd-
 <ZXVjhZ hdbZ eViZci Veea^XVi^dch ^c i]Z O-M- bVn WZ bV^ciV^cZY ^c hZXgZXn jci^a i]Z eViZcih VgZ ^hhjZY+ WZXVjhZ eViZci Veea^XVi^dch ^c i]Z O-M- VcY
 bVcn cdc,O-M- _jg^hY^Xi^dch VgZ ine^XVaan cdi ejWa^h]ZY jci^a 07 bdci]h V[iZg i]Z^g eg^dg^in YViZ+ VcY WZXVjhZ ejWa^XVi^dch ^c i]Z hX^Zci^[^X a^iZgVijgZ
 d[iZc aV\ WZ]^cY VXijVa Y^hXdkZg^Zh+ lZ XVccdi WZ XZgiV^c i]Vi di]Zgh ]VkZ cdi [^aZY eViZci Veea^XVi^dch [dg ^ckZci^dch XdkZgZY Wn djg dg djg
 a^XZchdghx ^hhjZY eViZcih dg eZcY^c\ Veea^XVi^dch+ dg i]Vi lZ dg djg a^XZchdgh lZgZ i]Z [^ghi ^ckZcidgh- Ijg XdbeZi^idgh bVn ]VkZ [^aZY+ VcY bVn ^c
 i]Z [jijgZ [^aZ+ eViZci Veea^XVi^dch XdkZg^c\ hjW_ZXi bViiZg h^b^aVg id djgh- ;cn hjX] eViZci Veea^XVi^dc bVn ]VkZ eg^dg^in dkZg djg dg djg a^XZchdghx
 eViZcih dg Veea^XVi^dch VcY XdjaY [jgi]Zg gZfj^gZ jh id dWiV^c g^\]ih id ^hhjZY eViZcih XdkZg^c\ hjX] hjW_ZXi bViiZg- C[ Vcdi]Zg eVgin ]Vh [^aZY V O-M-
 eViZci Veea^XVi^dc dc ^ckZci^dch h^b^aVg id djgh+ lZ bVn ]VkZ id eVgi^X^eViZ ^c Vc ^ciZg[ZgZcXZ egdXZZY^c\ YZXaVgZY Wn i]Z OMJNI id YZiZgb^cZ
 eg^dg^in d[ ^ckZci^dc ^c i]Z O-M- N]Z Xdhih d[ i]ZhZ egdXZZY^c\h XdjaY WZ hjWhiVci^Va+ VcY ^i ^h edhh^WaZ i]Vi hjX] Z[[dgih ldjaY WZ jchjXXZhh[ja+
 gZhjai^c\ ^c V adhh d[ djg O-M- eViZci edh^i^dc l^i] gZheZXi id hjX] ^ckZci^dch- JViZci ^ciZg[ZgZcXZh VgZ a^b^iZY dg jcVkV^aVWaZ [dg eViZci Veea^XVi^dch
 [^aZY V[iZg GVgX] 05+ 1/02-
 MdbZ d[ djg XdbeZi^idgh bVn WZ VWaZ id hjhiV^c i]Z Xdhih d[ XdbeaZm eViZci VcY di]Zg ^ciZaaZXijVa egdeZgin a^i^\Vi^dc bdgZ Z[[ZXi^kZan i]Vc lZ XVc
 WZXVjhZ i]Zn ]VkZ hjWhiVci^Vaan \gZViZg gZhdjgXZh- Cc VYY^i^dc+ Vcn jcXZgiV^ci^Zh gZhjai^c\ [gdb i]Z ^c^i^Vi^dc VcY Xdci^cjVi^dc d[ Vcn a^i^\Vi^dc
 XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg VW^a^in id gV^hZ i]Z [jcYh cZXZhhVgn id Xdci^cjZ djg deZgVi^dch-
 Cc MZeiZbWZg 1/05+ DVoo J]VgbVXZji^XVah+ CcX-+ djg l]daan dlcZY hjWh^Y^Vgn+ hjWb^iiZY V =^i^oZc JZi^i^dc id i]Z @>; gZfjZhi^c\ i]Vi+ [dg hV[Zin
 gZVhdch+ i]Z @>; gZ[jhZ id VeegdkZ Vcn hdY^jb dmnWViZ ;H>; l^i] V egdedhZY eVX`V\Z ^chZgi dg L?GM i]Vi db^ih i]Z edgi^dch d[ i]Z RngZb
 eVX`V\Z ^chZgi VcY i]Z RngZb L?GM i]Vi ^chigjXi egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ i]Z egdYjXi l]Zc ^i ^h Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm
 hdY^jb 'Vahd `cdlc Vh kVaegdViZ dg kVaegd^X VX^Y(- Ijg RngZb eViZcih ^cXajYZ i]gZZ >>C eViZcih XdkZg^c\ i]ZhZ ^chigjXi^dch dc i]Z RngZb eVX`V\Z
 ^chZgi VcY RngZb L?GM- Ijg aVlhj^ih V\V^chi ZVX] d[ i]Z RngZb ;H>; [^aZgh VaaZ\Z ^c[g^c\ZbZci d[ bjai^eaZ eViZcih+ ^cXajY^c\ i]Z >>C eViZcih+
 VcY hZZ` V eZgbVcZci ^c_jcXi^dc id egZkZci i]ZhZ RngZb ;H>; [^aZgh [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih-
 Ic DVcjVgn 06+ 1/06+ i]Z @>; \gVciZY i]Z =^i^oZc JZi^i^dc l^i] gZheZXi id i]Z RngZb eVX`V\Z ^chZgi- N]Z @>; XdcXajYZY i]Vi ^i l^aa cdi VeegdkZ Vcn
 hdY^jb dmnWViZ ;H>; gZ[ZgZcX^c\ RngZb i]Vi YdZh cdi ^cXajYZ ^c ^ih eVX`V\Z ^chZgi i]Z edgi^dch d[ i]Z XjggZcian VeegdkZY RngZb eVX`V\Z ^chZgi
 gZaViZY id i]Z Ygj\,Ygj\ ^ciZgVXi^dc l^i] Y^kVaegdZm hdY^jb- N]Z @>; hiViZY i]Vi ^i Y^Y cdi cZZY id gZVX] i]Z fjZhi^dc d[ l]Zi]Zg i]Z Ygj\,Ygj\
 ^ciZgVXi^dc ^c[dgbVi^dc XdjaY ]VkZ WZZc ZmXajYZY [gdb i]Z \ZcZg^X hdY^jb dmnWViZ L?GM bViZg^Vah WZXVjhZ ^i lVh Veegdk^c\ V L?GM ^c
 XdccZXi^dc l^i] V hdY^jb dmnWViZ ;H>; ^cXajY^c\ i]Vi ^c[dgbVi^dc- QZ XVccdi egZY^Xi l]Zi]Zg dg l]Zc dcZ dg bdgZ d[ i]Z ;H>; [^aZgh bVn
 ejghjZ V X]VaaZc\Z

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 id i]Z @>;xh gZhedchZ id i]Z =^i^oZc JZi^i^dc dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja- F^`Zl^hZ+ lZ XVccdi egZY^Xi l]Zi]Zg lZ l^aa WZ
 VWaZ id bV^ciV^c i]Z kVa^Y^in d[ Vcn d[ djg eViZcih dg l^aa di]Zgl^hZ dWiV^c V _jY^X^Va YZiZgb^cVi^dc i]Vi i]Z \ZcZg^X hdY^jb dmnWViZ eVX`V\Z ^chZgi dg
 i]Z \ZcZg^X hdY^jb dmnWViZ L?GM l^aa ^c[g^c\Z Vcn d[ djg eViZcih dg+ ^[ lZ egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V Xdjgi l^aa \gVci Vc ^c_jcXi^dc
 i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb- @dg V YZhXg^ei^dc d[ i]ZhZ bViiZgh+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+
 CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-Waxman Actw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc
 @dgb 0/,E+ VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg
 CciZaaZXijVa JgdeZginw ^c i]^h JVgi C+ CiZb 0;-
 QZ Vahd dlc bZi]dY d[ jhZ eViZcih VcY igVYZ hZXgZih i]Vi XdkZg ZaZbZcih d[ i]Z RngZb L?GM+ ^cXajY^c\ eViZcih i]Vi XdkZg i]Z jhZ d[ V h^c\aZ
 XZcigVa e]VgbVXn id Y^hig^WjiZ RngZb- Cc Djan 1/05+ i]Z JN;< ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ h^m d[ hZkZc L?GM eViZcih VgZ jceViZciVWaZ:
 ^[ i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY+ VcY lZ l^aa cdi WZ
 VWaZ id Zc[dgXZ i]ZhZ eViZcih- Cc GVgX] 1/05+ i]Z JN;< eVgi^Vaan ^chi^ijiZY Vc CJL dc V hZkZci] L?GM eViZci+ YZXa^c^c\ id gZk^Zl 14 d[ 17 XaV^bh- ;
 JN;< YZX^h^dc dc i]Z i]gZZ XaV^bh i]Vi lZgZ ig^ZY ^h ZmeZXiZY WZ[dgZ i]Z ZcY d[ i]Z [^ghi fjVgiZg d[ 1/06- @dg V YZhXg^ei^dc d[ i]ZhZ bViiZgh+ hZZ
 vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E- N]Z RngZb L?GM VeegdkVa aZiiZg ^cXajYZh hiViZbZcih [gdb i]Z @>; i]Vi
 '^( i]Z VeegdkVa VXi^dc h]djaY cdi WZ XdchigjZY dg jcYZghiddY Vh V\gZZbZci l^i] jh i]Vi Y^heZch^c\ i]gdj\] V h^c\aZ e]VgbVXn ^h i]Z dcan lVn id
 ZchjgZ i]Vi i]Z WZcZ[^ih d[ RngZb djilZ^\] ^ih g^h`h+ VcY i]Vi i]Z @>; ]Vh Xdci^cj^c\ XdcXZgch i]Vi a^b^i^c\ i]Z Y^hig^Wji^dc d[ RngZb id dcZ
 e]VgbVXn ^bedhZh WjgYZch dc eVi^Zci VXXZhh VcY i]Z ]ZVai]XVgZ YZa^kZgn hnhiZb VcY '^^( Vh l^i] Vaa L?GM+ i]Z @>; ^ciZcYh id ZkVajViZ i]Z RngZb
 L?GM dc Vc dc\d^c\ WVh^h VcY l^aa gZfj^gZ bdY^[^XVi^dch Vh bVn WZ Veegdeg^ViZ- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>; l^aa hZZ` id gZfj^gZ dg
 jai^bViZan gZfj^gZ bdY^[^XVi^dch id i]Z RngZb L?GM+ ^cXajY^c\ l^i] gZheZXi id i]Z RngZb Y^hig^Wji^dc hnhiZb 'eVgi^XjaVgan cdl i]Vi i]Z @>; ]Vh
 VeegdkZY V hZeVgViZ L?GM [dg i]Z ;H>; [^aZgh i]Vi XdciZbeaViZh ^ciZgVXi^dc l^i] i]Z RngZb L?GM(+ dg hZZ` id di]Zgl^hZ ^bedhZ dg jai^bViZan
 ^bedhZ VYY^i^dcVa gZfj^gZbZcih id i]Z RngZb L?GM+ dg i]Z ediZci^Va i^b^c\+ iZgbh dg egdeg^Zin i]ZgZd[- ;cn hjX] bdY^[^XVi^dch dg VYY^i^dcVa
 gZfj^gZbZcih XdjaY ediZci^Vaan bV`Z ^i ZVh^Zg [dg [jijgZ hdY^jb dmnWViZ XdbeZi^idgh+ bV`Z ^i bdgZ Y^[[^Xjai dg ZmeZch^kZ [dg jh id Y^hig^WjiZ RngZb
 VcY.dg cZ\Vi^kZan V[[ZXi hVaZh d[ RngZb- Cc eVgi^XjaVg+ YZeZcY^c\ dc i]Z cVijgZ d[ Vcn hjX] bdY^[^XVi^dch dg VYY^i^dcVa gZfj^gZbZcih+ i]Z VW^a^in d[
 djg Zm^hi^c\ eViZcih VcY di]Zg ^ciZaaZXijVa egdeZgin id egdiZXi djg RngZb Y^hig^Wji^dc hnhiZb [gdb hdY^jb dmnWViZ XdbeZi^idgh bVn WZ gZYjXZY- Cc
 VYY^i^dc+ i]Z ZmiZci d[ egdiZXi^dc egdk^YZY Wn djg eViZcih VcY di]Zg ^ciZaaZXijVa egdeZgin gZaViZY id i]Z Y^hig^Wji^dc d[ RngZb YZeZcYh dc i]Z cVijgZ
 d[ i]Z Y^hig^Wji^dc hnhiZb i]Vi bVn WZ jhZY Wn Vcn hdY^jb dmnWViZ XdbeZi^idg- C[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM i]Vi ]Vh WZZc VeegdkZY Wn i]Z
 @>; ^c XdccZXi^dc l^i] ^ih VeegdkVa d[ LdmVcZxh ;H>; YdZh cdi [Vaa l^i]^c i]Z hXdeZ d[ Vcn d[ i]Z XaV^bh d[ djg eViZcih+ i]dhZ eViZcih l^aa cdi WZ
 V WVgg^Zg id i]Z \ZcZg^X kZgh^dcxh Zcign ^cid i]Z bVg`Zi- QZ XVccdi WZ XZgiV^c l]Zi]Zg djg Zm^hi^c\ eViZcih+ eViZcih i]Vi bVn WZ \gVciZY ^c i]Z [jijgZ
 dg di]Zg ^ciZaaZXijVa egdeZgin l^aa WZ XdchigjZY id XdkZg i]Z \ZcZg^X hdY^jb dmnWViZ L?GM- N]Z ^ciZgegZiVi^dc d[ ^ciZaaZXijVa egdeZgin egdiZXi^dch
 VcY i]Z Z[[ZXi d[ i]ZhZ egdiZXi^dch VgZ ZmigZbZan XdbeaZm+ VcY lZ XVccdi egZY^Xi i]Z ^beVXi d[ Vcn d[ i]ZhZ bViiZgh dc djg Wjh^cZhh-


 Risks Related to Our Industry
 The regulatory approval process is expensive, time-consuming and uncertain and may prevent us or our partners from obtaining approvals for
 the commercialization of some or all of our product candidates.
 N]Z bVcj[VXijg^c\+ aVWZa^c\+ eVX`V\^c\+ VYkZghZ ZkZci gZedgi^c\+ hidgV\Z+ VYkZgi^h^c\+ egdbdi^dc+ hVaZ+ Y^hig^Wji^dc+ gZXdgY `ZZe^c\+ ^bedgi^c\ VcY
 Zmedgi^c\ d[ djg egdYjXih VcY djg gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh VgZ hjW_ZXi id ZmiZch^kZ gZ\jaVi^dc Wn i]Z @>;+ i]Z >?;+ i]Z ?=+ i]Z
 XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg gZ\jaVidgn Vji]dg^i^Zh- LZ\jaVi^dch Y^[[Zg [gdb Xdjcign id Xdjcign- ;h V gZhjai d[ i]ZhZ
 gZ\jaVi^dch+ egdYjXi YZkZadebZci+ VeegdkVa VcY XdbbZgX^Va^oVi^dc egdXZhhZh VgZ ZmeZch^kZ VcY i^bZ,Xdchjb^c\- @dg ZmVbeaZ+ lZ VgZ cdi eZgb^iiZY
 id bVg`Zi V e]VgbVXZji^XVa egdYjXi ^c i]Z O-M- dg ^c i]Z ?O bZbWZg hiViZh jci^a lZ gZXZ^kZ VeegdkVa [gdb i]Z @>;+ i]Z ?= dg i]Z XdbeZiZci
 Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh+ Vh Veea^XVWaZ- ;c Veea^XVi^dc [dg bVg`Zi^c\ VeegdkVa bjhi XdciV^c ^c[dgbVi^dc YZbdchigVi^c\ i]Z fjVa^in+
 hV[Zin VcY Z[[^XVXn d[ i]Z e]VgbVXZji^XVa egdYjXi+ ^cXajY^c\ YViV [gdb egZXa^c^XVa VcY Xa^c^XVa ig^Vah+ ^c[dgbVi^dc eZgiV^c^c\ id i]Z egZeVgVi^dc VcY
 bVcj[VXijgZ d[ i]Z ;JC+ VcVani^XVa bZi]dYh+ egdYjXi [dgbjaVi^dc+ YZiV^ah dc i]Z bVcj[VXijgZ VcY hiVW^a^in d[ i]Z [^c^h]ZY e]VgbVXZji^XVa egdYjXi
 VcY egdedhZY egdYjXi eVX`V\^c\ VcY aVWZa^c\- MjWb^hh^dc d[ Vc Veea^XVi^dc [dg bVg`Zi^c\ Vji]dg^oVi^dc YdZh cdi VhhjgZ VeegdkVa [dg bVg`Zi^c\ ^c
 Vcn _jg^hY^Xi^dc+ VcY lZ bVn ZcXdjciZg h^\c^[^XVci Y^[[^Xjai^Zh dg Xdhih ^c djg Z[[dgih id dWiV^c VeegdkVa id bVg`Zi egdYjXih- C[ lZ VgZ jcVWaZ id
 dWiV^c gZ\jaVidgn VeegdkVa d[ djg egdYjXi XVcY^YViZh+ lZ l^aa cdi WZ VWaZ id XdbbZgX^Va^oZ i]Zb VcY gZXdje djg gZhZVgX] VcY YZkZadebZci Xdhih-
 ;cn YZaVn dg [V^ajgZ ^c dWiV^c^c\ VeegdkVa d[ V Ygj\ XVcY^YViZ+ dg gZXZ^ei d[ VeegdkVa [dg cVggdlZg ^cY^XVi^dch i]Vc hdj\]i+ XVc ]VkZ V cZ\Vi^kZ
 ^beVXi dc djg [^cVcX^Va eZg[dgbVcXZ-

 ;c VeegdkZY Ygj\ egdYjXi dg Ygj\ XVcY^YViZ i]Vi ]Vh cdi nZi WZZc VeegdkZY Wn i]Z @>; bVn WZ hjW_ZXi id hX]ZYja^c\ Vh V XdcigdaaZY hjWhiVcXZ
 jcYZg i]Z O-M- =dcigdaaZY MjWhiVcXZh ;Xi+ dg =M;+ YZeZcY^c\ dc i]Z Ygj\xh ediZci^Va [dg VWjhZ-

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 NVWaZ d[ =dciZcih


 =dcigdaaZY hjWhiVcXZh i]Vi VgZ e]VgbVXZji^XVa egdYjXih VgZ hjW_ZXi id V ]^\] YZ\gZZ d[ gZ\jaVi^dc jcYZg i]Z =M;+ l]^X] ZhiVWa^h]Zh+ Vbdc\ di]Zg
 i]^c\h+ XZgiV^c gZ\^higVi^dc+ bVcj[VXijg^c\ fjdiVh+ hZXjg^in+ gZXdgY`ZZe^c\+ gZedgi^c\+ ^bedgi+ Zmedgi VcY di]Zg gZfj^gZbZcih VYb^c^hiZgZY Wn i]Z
 >?;- N]Z =M; gZfj^gZh i]Z >?; id ^hhjZ Vc ^ciZg^b [^cVa dgYZg hX]ZYja^c\ i]Z Ygj\ l^i]^c 8/ YVnh V[iZg i]Z @>; VeegdkZh i]Z Ygj\ VcY i]Z >?;
 gZXZ^kZh V hX^Zci^[^X VcY bZY^XVa ZkVajVi^dc VcY hX]ZYja^c\ gZXdbbZcYVi^dc [gdb i]Z O-M- >ZeVgibZci d[ BZVai] VcY BjbVc MZgk^XZh+ dg BBM- QZ
 ZmeZXi i]Vi DTJ,00/ l^aa WZ hjW_ZXi id hX]ZYja^c\ jcYZg i]Z =M; WZ[dgZ ^i XVc WZ XdbbZgX^Vaan aVjcX]ZY- GdgZdkZg+ YZeZcY^c\ dc ^ih hX]ZYja^c\+
 i]Z bVcj[VXijgZ+ ^bedgiVi^dc+ ZmedgiVi^dc+ YdbZhi^X Y^hig^Wji^dc+ hidgV\Z+ hVaZ VcY aZ\^i^bViZ jhZ d[ DTJ,00/ bVn WZ hjW_ZXi id V h^\c^[^XVci YZ\gZZ
 d[ gZ\jaVi^dc Wn i]Z >?;- @dg V YZhXg^ei^dc d[ i]Z >?; hX]ZYja^c\ egdXZhh+ hZZ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,Jdhi,;eegdkVa LZ\jaVi^dcw ^c
 JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 C[ i]Z @>;+ i]Z ?= dg i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh YZiZgb^cZ i]Vi V L?GM dg i]Z ^bedh^i^dc d[ edhi,bVg`Zi^c\ dWa^\Vi^dch ^h
 cZXZhhVgn id ZchjgZ i]Vi i]Z WZcZ[^ih d[ i]Z Ygj\ djilZ^\] i]Z g^h`h+ lZ bVn WZ gZfj^gZY id ^cXajYZ V egdedhZY L?GM Vh eVgi d[ Vc H>; dg <F; dg
 id egdedhZ edhi,bVg`Zi^c\ dWa^\Vi^dch id WZ ^cXajYZY ^c i]Z bVg`Zi^c\ Vji]dg^oVi^dc [dg djg egdYjXih ^c i]Z ?O- Cc cdc,?O Xdjcig^Zh+ lZ bVn Vahd
 WZ gZfj^gZY id ^cXajYZ V eVi^Zci eVX`V\Z ^chZgi dg V bZY^XVi^dc \j^YZ id egdk^YZ ^c[dgbVi^dc id XdchjbZgh VWdji i]Z egdYjXixh g^h`h VcY WZcZ[^ih+ V
 eaVc [dg Xdbbjc^XVi^dc id ]ZVai]XVgZ egdk^YZgh+ VcY gZhig^Xi^dch dc i]Z egdYjXixh Y^hig^Wji^dc- @dg ZmVbeaZ+ i]Z @>; gZfj^gZh V L?GM [dg RngZb+
 Y^hXjhhZY ^c YZiV^a ^c i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vThe distribution and sale of Xyrem are subject to significant regulatory oversight and
 restrictions and the requirements of a risk evaluation and mitigation strategy, and these restrictions and requirements, as well as the potential
 impact of changes to these restrictions and requirements, subject us to increased risks and uncertainties, any of which could negatively impact
 sales of Xyremw ^c i]^h JVgi C+ CiZb 0;+ VcY di]Zg egdYjXih i]Vi lZ hZaa VgZ dg bVn WZXdbZ hjW_ZXi id V L?GM heZX^[^X id djg egdYjXi dg h]VgZY l^i]
 di]Zg egdYjXih ^c i]Z hVbZ XaVhh d[ Ygj\- QZ XVccdi egZY^Xi i]Z ^beVXi i]Vi Vcn cZl L?GM gZfj^gZbZcih Veea^XVWaZ id Vcn d[ djg egdYjXih ldjaY
 ]VkZ dc djg Wjh^cZhh-
 N]Z @>; VeegdkZY i]Z <F; [dg ?gl^cVoZ ^c i]Z O-M- ^c HdkZbWZg 1/00+ hjW_ZXi id XZgiV^c edhi,bVg`Zi^c\ gZfj^gZbZcih+ l]^X] ]VkZ WZZc XdbeaZiZY+
 VcY Xdbea^VcXZ l^i] bjai^eaZ edhi,bVg`Zi^c\ Xdbb^ibZcih+ ^cXajY^c\ XZgiV^c Xdbb^ibZcih i]Vi bjhi WZ bZi Wn i]Z egdYjXixh bVcj[VXijgZg l^i]
 gZheZXi id egdYjXi bVcj[VXijg^c\+ l]^X] VgZ djih^YZ d[ djg Xdcigda- Q]^aZ VXi^k^i^Zh VgZ jcYZglVn id XdbeaZiZ i]Z edhi,bVg`Zi^c\ Xdbb^ibZcih+
 Vcn ^cVW^a^in id Xdbean l^i] gZ\jaVidgn gZfj^gZbZcih+ ^cXajY^c\ Xdbea^VcXZ l^i] bVcj[VXijg^c\,gZaViZY edhi,bVg`Zi^c\ Xdbb^ibZcih i]Vi VgZ eVgi d[
 i]Z <F; VeegdkVa+ Vh lZaa Vh di]Zg gZfj^gZbZcih bdc^idgZY Wn i]Z @>;+ XdjaY VYkZghZan V[[ZXi ?gl^cVoZ hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg ZmigZbZan
 a^b^iZY egdYjXi ^ckZcidgn+ VcY XdjaY gZhjai ^c @>; VeegdkVa WZ^c\ gZkd`ZY+ egdYjXi gZaZVhZ WZ^c\ YZaVnZY gZhjai^c\ ^c egdYjXi h]dgiV\Z dg egdYjXi
 gZXVaah+ Vcn d[ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[ VcY gZkZcjZh [gdb ?gl^cVoZ VcY a^b^i djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY
 \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi- MZZ Vahd i]Z Y^hXjhh^dc jcYZg i]Z ]ZVY^c\ vThe loss of our single source suppliers, delays or problems in the
 supply of our products for commercial sale or our product candidates for use in our clinical trials, or our or our suppliers’ failure to comply with
 manufacturing regulations, could materially and adversely affect our business, financial condition, results of operations and growth prospects.w
 ^c i]^h JVgi C+ CiZb 0;-
 ;h Vcdi]Zg ZmVbeaZ+ i]Z bVg`Zi^c\ Vji]dg^oVi^dc ^c i]Z ?O [dg >Z[^iZa^d gZfj^gZh jh id Xdbean l^i] V cjbWZg d[ edhi,bVg`Zi^c\ dWa^\Vi^dch+
 ^cXajY^c\ dWa^\Vi^dch gZaVi^c\ id i]Z ZhiVWa^h]bZci d[ V eVi^Zci gZ\^hign id ^ckZhi^\ViZ i]Z adc\,iZgb hV[Zin+ ]ZVai] djiXdbZh VcY eViiZgch d[
 ji^a^oVi^dc d[ >Z[^iZa^d Yjg^c\ cdgbVa jhZ+ VcY i]Z @>; ^bedhZY hZkZgVa edhi,bVg`Zi^c\ Xdbb^ibZcih VcY gZfj^gZbZcih ^c XdccZXi^dc l^i] ^ih
 VeegdkVa d[ djg H>; [dg >Z[^iZa^d ^c GVgX] 1/05+ ^cXajY^c\ i]Z gZfj^gZbZci i]Vi lZ XdcYjXi V Xa^c^XVa ig^Va id VcVanoZ i]Z hV[Zin d[ YZ[^Wgdi^YZ
 kZghjh WZhi hjeedgi^kZ XVgZ ^c i]Z egZkZci^dc d[ PI> ^c VYjai VcY eZY^Vig^X eVi^Zcih- C[ lZ [V^a id bZZi Vcn d[ i]ZhZ edhi,bVg`Zi^c\ dWa^\Vi^dch+ i]Z
 dc\d^c\ kVa^Y^in d[ i]Z bVg`Zi^c\ Vji]dg^oVi^dc bVn WZ XVaaZY ^cid fjZhi^dc+ djg hVaZh d[ VcY gZkZcjZh [gdb >Z[^iZa^d XdjaY WZ bViZg^Vaan VYkZghZan
 V[[ZXiZY VcY djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi bVn WZ a^b^iZY-
 Cc VYY^i^dc+ h^cXZ V h^\c^[^XVci egdedgi^dc d[ i]Z gZ\jaVidgn [gVbZldg` ^c i]Z O-E- ^h YZg^kZY [gdb ?O Y^gZXi^kZh VcY gZ\jaVi^dch+ <gZm^i XdjaY
 bViZg^Vaan X]Vc\Z i]Z gZ\jaVidgn gZ\^bZ Veea^XVWaZ id djg deZgVi^dch+ ^cXajY^c\ l^i] gZheZXi id i]Z VeegdkVa d[ djg egdYjXi XVcY^YViZh- ;cn hjX]
 X]Vc\Zh id i]Z gZ\jaVidgn gZ\^bZ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc i]Z e]VgbVXZji^XVa ^cYjhign \ZcZgVaan VcY dc djg VW^a^in id dWiV^c
 VeegdkVa [dg djg egdYjXi XVcY^YViZh dg+ ^[ VeegdkZY+ id hjXXZhh[jaan XdbbZgX^Va^oZ djg egdYjXi XVcY^YViZh-
 Changes in healthcare law and implementing regulations, including those based on recently enacted legislation, as well as changes in
 healthcare policy, may impact our business in ways that we cannot currently predict, and these changes could have a material adverse effect on
 our business and financial condition.
 N]Z JVi^Zci JgdiZXi^dc VcY ;[[dgYVWaZ =VgZ ;Xi+ Vh VbZcYZY Wn i]Z BZVai]XVgZ VcY ?YjXVi^dc LZXdcX^a^Vi^dc ;Xi d[ 1/0/+ id\Zi]Zg+ i]Z BZVai]XVgZ
 LZ[dgb ;Xi+ ^h V hlZZe^c\ bZVhjgZ ^ciZcYZY id ZmeVcY ]ZVai]XVgZ XdkZgV\Z l^i]^c i]Z O-M-+ eg^bVg^an i]gdj\] i]Z ^bedh^i^dc d[ ]ZVai] ^chjgVcXZ
 bVcYViZh dc ZbeadnZgh VcY ^cY^k^YjVah VcY ZmeVch^dc d[ i]Z GZY^XV^Y egd\gVb- N]^h aVl hjWhiVci^Vaan X]Vc\Zh i]Z lVn ]ZVai]XVgZ ^h [^cVcXZY Wn
 Wdi] \dkZgcbZciVa VcY eg^kViZ ^chjgZgh+ VcY h^\c^[^XVcian ^beVXih i]Z e]VgbVXZji^XVa ^cYjhign- =]Vc\Zh i]Vi bVn V[[ZXi djg Wjh^cZhh ^cXajYZ i]dhZ
 \dkZgc^c\ ZcgdaabZci ^c [ZYZgVa ]ZVai]XVgZ egd\gVbh+ gZ^bWjghZbZci X]Vc\Zh+ WZcZ[^ih [dg eVi^Zcih l^i]^c V XdkZgV\Z \Ve ^c i]Z GZY^XVgZ JVgi >
 egZhXg^ei^dc

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 NVWaZ d[ =dciZcih



 Ygj\ egd\gVb 'Xdbbdcan `cdlc Vh i]Z vYdcji ]daZw(+ gjaZh gZ\VgY^c\ egZhXg^ei^dc Ygj\ WZcZ[^ih jcYZg i]Z ]ZVai] ^chjgVcXZ ZmX]Vc\Zh+ X]Vc\Zh id
 i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ ZmeVch^dc d[ i]Z JjWa^X BZVai] MZgk^XZxh 23/< Ygj\ eg^X^c\ egd\gVb+ dg i]Z 23/< egd\gVb+ [gVjY VcY VWjhZ VcY
 Zc[dgXZbZci- N]ZhZ X]Vc\Zh l^aa ^beVXi Zm^hi^c\ \dkZgcbZci ]ZVai]XVgZ egd\gVbh VcY l^aa gZhjai ^c i]Z YZkZadebZci d[ cZl egd\gVbh+ ^cXajY^c\
 GZY^XVgZ eVnbZci [dg eZg[dgbVcXZ ^c^i^Vi^kZh VcY ^begdkZbZcih id i]Z e]nh^X^Vc fjVa^in gZedgi^c\ hnhiZb VcY [ZZYWVX` egd\gVb-
 >ZiV^ah d[ i]Z X]Vc\Zh id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb VcY i]Z 23/< egd\gVb VgZ Y^hXjhhZY ^c i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vIf we fail to
 comply with our reporting and payment obligations under the Medicaid Drug Rebate program or other governmental pricing programs, we
 could be subject to additional reimbursement requirements, penalties, sanctions and fines, which could have a material adverse effect on our
 business, financial condition, results of operations and growth prospectsw ^c i]^h JVgi C+ CiZb 0;- =dc\gZhh XdjaY ZcVXi VYY^i^dcVa aZ\^haVi^dc i]Vi
 [jgi]Zg ^cXgZVhZh GZY^XV^Y Ygj\ gZWViZh dg di]Zg Xdhih VcY X]Vg\Zh VhhdX^ViZY l^i] eVgi^X^eVi^c\ ^c i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb- N]Z
 ^hhjVcXZ d[ gZ\jaVi^dch VcY XdkZgV\Z ZmeVch^dc Wn kVg^djh \dkZgcbZciVa V\ZcX^Zh gZaVi^c\ id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb ]Vh ^cXgZVhZY
 VcY l^aa Xdci^cjZ id ^cXgZVhZ djg Xdhih VcY i]Z XdbeaZm^in d[ Xdbea^VcXZ+ ]Vh WZZc VcY l^aa WZ i^bZ,Xdchjb^c\+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ
 Z[[ZXi dc djg gZhjaih d[ deZgVi^dch-
 MdbZ hiViZh ]VkZ ZaZXiZY cdi id ZmeVcY i]Z^g GZY^XV^Y egd\gVbh Wn gV^h^c\ i]Z ^cXdbZ a^b^i id 022$ d[ i]Z [ZYZgVa edkZgin aZkZa+ Vh ^h eZgb^iiZY
 jcYZg i]Z BZVai]XVgZ LZ[dgb ;Xi- @dg ZVX] hiViZ i]Vi YdZh cdi X]ddhZ id ZmeVcY ^ih GZY^XV^Y egd\gVb+ i]ZgZ bVn WZ [ZlZg ^chjgZY eVi^Zcih dkZgVaa+
 l]^X] XdjaY ^beVXi djg hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc- Q]ZgZ GZY^XV^Y eVi^Zcih gZXZ^kZ ^chjgVcXZ XdkZgV\Z jcYZg Vcn d[ i]Z cZl dei^dch
 bVYZ VkV^aVWaZ i]gdj\] i]Z BZVai]XVgZ LZ[dgb ;Xi+ i]Z edhh^W^a^in Zm^hih i]Vi bVcj[VXijgZgh bVn WZ gZfj^gZY id eVn GZY^XV^Y gZWViZh dc Ygj\h
 jhZY jcYZg i]ZhZ X^gXjbhiVcXZh+ V YZX^h^dc i]Vi XdjaY ^beVXi bVcj[VXijgZg gZkZcjZh- Cc VYY^i^dc+ i]Z [ZYZgVa \dkZgcbZci ]Vh Vahd VccdjcXZY
 YZaVnh ^c i]Z ^beaZbZciVi^dc d[ `Zn egdk^h^dch d[ i]Z BZVai]XVgZ LZ[dgb ;Xi+ ^cXajY^c\ i]Z ZbeadnZg bVcYViZ- N]Z ^bea^XVi^dch d[ i]ZhZ YZaVnh [dg
 djg hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc+ ^[ Vcn+ VgZ cdi nZi XaZVg-
 GdgZdkZg+ aZ\^haVi^kZ X]Vc\Zh id i]Z BZVai]XVgZ LZ[dgb ;Xi gZbV^c edhh^WaZ VcY VeeZVg a^`Zan ^c i]Z 004i] O-M- =dc\gZhh VcY jcYZg i]Z Ngjbe
 ;Yb^c^higVi^dc- N]Z cVijgZ VcY ZmiZci d[ Vcn aZ\^haVi^kZ X]Vc\Zh id i]Z BZVai]XVgZ LZ[dgb ;Xi VgZ jcXZgiV^c Vi i]^h i^bZ- QZ ZmeZXi i]Vi i]Z
 BZVai]XVgZ LZ[dgb ;Xi+ Vh XjggZcian ZcVXiZY dg Vh ^i bVn WZ VbZcYZY ^c i]Z [jijgZ+ VcY di]Zg ]ZVai]XVgZ gZ[dgb bZVhjgZh i]Vi bVn WZ VYdeiZY ^c i]Z
 [jijgZ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg ^cYjhign \ZcZgVaan VcY dc djg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ djg Zm^hi^c\ egdYjXih dg id
 hjXXZhh[jaan XdbbZgX^Va^oZ djg egdYjXi XVcY^YViZh+ ^[ VeegdkZY-
 Cc VYY^i^dc id i]Z BZVai]XVgZ LZ[dgb ;Xi+ i]ZgZ l^aa Xdci^cjZ id WZ egdedhVah Wn aZ\^haVidgh Vi Wdi] i]Z [ZYZgVa VcY hiViZ aZkZah+ gZ\jaVidgh VcY i]^gY
 eVgin eVndgh id `ZZe ]ZVai]XVgZ Xdhih Ydlc l]^aZ ZmeVcY^c\ ^cY^k^YjVa ]ZVai]XVgZ WZcZ[^ih-
 F^`Zl^hZ+ ^c i]Z Xdjcig^Zh ^c i]Z ?O+ aZ\^haVidgh+ eda^XnbV`Zgh VcY ]ZVai]XVgZ ^chjgVcXZ [jcYh Xdci^cjZ id egdedhZ VcY ^beaZbZci Xdhi,XdciV^c^c\
 bZVhjgZh id `ZZe ]ZVai]XVgZ Xdhih Ydlc+ YjZ ^c eVgi id i]Z ViiZci^dc WZ^c\ eV^Y id ]ZVai]XVgZ Xdhi XdciV^cbZci VcY di]Zg VjhiZg^in bZVhjgZh ^c i]Z
 ?O- =ZgiV^c d[ i]ZhZ X]Vc\Zh XdjaY ^bedhZ a^b^iVi^dch dc i]Z eg^XZh lZ l^aa WZ VWaZ id X]Vg\Z [dg djg egdYjXih VcY Vcn VeegdkZY egdYjXi
 XVcY^YViZh dg i]Z Vbdjcih d[ gZ^bWjghZbZci VkV^aVWaZ [dg i]ZhZ egdYjXih [gdb \dkZgcbZciVa V\ZcX^Zh dg i]^gY eVgin eVndgh+ bVn ^cXgZVhZ i]Z iVm
 dWa^\Vi^dch dc e]VgbVXZji^XVa XdbeVc^Zh hjX] Vh djgh+ dg bVn [VX^a^iViZ i]Z ^cigdYjXi^dc d[ \ZcZg^X XdbeZi^i^dc l^i] gZheZXi id djg egdYjXih-
 @jgi]Zg+ Vc ^cXgZVh^c\ cjbWZg d[ ?O bZbWZg hiViZh VcY di]Zg [dgZ^\c Xdjcig^Zh jhZ eg^XZh [dg bZY^X^cVa egdYjXih ZhiVWa^h]ZY ^c di]Zg Xdjcig^Zh Vh
 vgZ[ZgZcXZ eg^XZhw id ]Zae YZiZgb^cZ i]Z eg^XZ d[ i]Z egdYjXi ^c i]Z^g dlc iZgg^idgn- =dchZfjZcian+ V YdlclVgY igZcY ^c eg^XZh d[ bZY^X^cVa egdYjXih
 ^c hdbZ Xdjcig^Zh XdjaY Xdcig^WjiZ id h^b^aVg YdlclVgY igZcYh ZahZl]ZgZ- Cc VYY^i^dc+ i]Z dc\d^c\ WjY\ZiVgn Y^[[^Xjai^Zh [VXZY Wn V cjbWZg d[ ?O
 bZbWZg hiViZh+ ^cXajY^c\ AgZZXZ VcY MeV^c+ ]VkZ aZY VcY bVn Xdci^cjZ id aZVY id hjWhiVci^Va YZaVnh ^c eVnbZci VcY eVnbZci eVgi^Vaan l^i]
 \dkZgcbZci WdcYh gVi]Zg i]Vc XVh] [dg bZY^X^cVa Ygj\ egdYjXih+ l]^X] XdjaY cZ\Vi^kZan ^beVXi djg gZkZcjZh VcY egd[^iVW^a^in- GdgZdkZg+ ^c dgYZg
 id dWiV^c gZ^bWjghZbZci [dg djg egdYjXih ^c hdbZ Xdjcig^Zh+ ^cXajY^c\ hdbZ ?O bZbWZg hiViZh+ lZ bVn WZ gZfj^gZY id XdcYjXi Xa^c^XVa ig^Vah i]Vi
 XdbeVgZ i]Z Xdhi,Z[[ZXi^kZcZhh d[ djg egdYjXih id di]Zg VkV^aVWaZ i]ZgVe^Zh- N]ZgZ XVc WZ cd VhhjgVcXZ i]Vi djg egdYjXih l^aa dWiV^c [VkdgVWaZ
 gZ^bWjghZbZci hiVijh ^c Vcn Xdjcign-
 Nd ]Zae eVi^Zcih V[[dgY djg egdYjXih+ lZ ]VkZ kVg^djh egd\gVbh id Vhh^hi i]Zb+ ^cXajY^c\ eVi^Zci Vhh^hiVcXZ egd\gVbh+ V RngZb [gZZ egdYjXi
 kdjX]Zg egd\gVb VcY Xd,eVn Xdjedc egd\gVbh [dg RngZb VcY XZgiV^c di]Zg egdYjXih- ;YY^i^dcVaan+ lZ bV`Z \gVcih id ^cYZeZcYZci X]Vg^iVWaZ
 [djcYVi^dch i]Vi ]Zae [^cVcX^Vaan cZZYn eVi^Zcih l^i] i]Z^g egZb^jb+ Xd,eVn+ VcY Xd,^chjgVcXZ dWa^\Vi^dch- =d,eVn Xdjedc egd\gVbh+ ^cXajY^c\ djg
 egd\gVb [dg RngZb+ ]VkZ gZXZ^kZY hdbZ cZ\Vi^kZ ejWa^X^in gZaViZY id i]Z^g jhZ id egdbdiZ WgVcYZY e]VgbVXZji^XVa egdYjXih dkZg di]Zg aZhh Xdhian
 VaiZgcVi^kZh- Cc gZXZci nZVgh+ di]Zg e]VgbVXZji^XVa bVcj[VXijgZgh lZgZ cVbZY ^c XaVhh VXi^dc aVlhj^ih X]VaaZc\^c\ i]Z aZ\Va^in d[ i]Z^g Xd,eVn
 egd\gVbh jcYZg V kVg^Zin d[ [ZYZgVa VcY hiViZ aVlh- Cc VYY^i^dc+ Vi aZVhi dcZ ^chjgZg ]Vh Y^gZXiZY ^ih cZildg` e]VgbVX^Zh id cd adc\Zg VXXZei Xd,eVn
 Xdjedch [dg XZgiV^c heZX^Vain Ygj\h i]Z ^chjgZg ^YZci^[^ZY- Ijg Xd,eVn Xdjedc egd\gVbh XdjaY WZXdbZ i]Z iVg\Zi d[ h^b^aVg aVlhj^ih dg ^chjgZg
 VXi^dch- Cc VYY^i^dc+ ^c HdkZbWZg 1/02+ i]Z =ZciZgh [dg GZY^XVgZ VcY GZY^XV^Y MZgk^XZh+ dg =GM+ ^hhjZY \j^YVcXZ id i]Z ^hhjZgh d[ fjVa^[^ZY ]ZVai]
 eaVch hdaY i]gdj\] i]Z BZVai]XVgZ LZ[dgb ;Xixh bVg`ZieaVXZh ZcXdjgV\^c\ hjX] eaVch id gZ_ZXi eVi^Zci Xdhi,h]Vg^c\ hjeedgi [gdb i]^gY eVgi^Zh VcY
 ^cY^XVi^c\ i]Vi =GM ^ciZcYh id bdc^idg i]Z egdk^h^dc d[ hjX]

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                                                           22144
 NVWaZ d[ =dciZcih



 hjeedgi VcY bVn iV`Z gZ\jaVidgn VXi^dc id a^b^i ^i ^c i]Z [jijgZ- =GM hjWhZfjZcian ^hhjZY V gjaZ gZfj^g^c\ ^cY^k^YjVa bVg`Zi fjVa^[^ZY ]ZVai] eaVch id
 VXXZei i]^gY,eVgin egZb^jb VcY Xdhi,h]Vg^c\ eVnbZcih [gdb XZgiV^c \dkZgcbZci,gZaViZY Zci^i^Zh- Cc MZeiZbWZg 1/03+ i]Z I[[^XZ d[ CcheZXidg AZcZgVa+
 dg ICA+ d[ i]Z BBM ^hhjZY V MeZX^Va ;Yk^hdgn <jaaZi^c lVgc^c\ bVcj[VXijgZgh i]Vi i]Zn bVn WZ hjW_ZXi id hVcXi^dch jcYZg i]Z [ZYZgVa Vci^,`^X`WVX`
 hiVijiZ VcY.dg X^k^a bdcZiVgn eZcVain aVlh ^[ i]Zn Yd cdi iV`Z Veegdeg^ViZ hiZeh id ZmXajYZ GZY^XVgZ JVgi > WZcZ[^X^Vg^Zh [gdb jh^c\ Xd,eVn
 Xdjedch- Ci ^h edhh^WaZ i]Vi X]Vc\Zh ^c ^chjgZg eda^X^Zh gZ\VgY^c\ Xd,eVn Xdjedch VcY.dg i]Z ^cigdYjXi^dc VcY ZcVXibZci d[ cZl aZ\^haVi^dc dg
 gZ\jaVidgn VXi^dc XdjaY gZhig^Xi dg di]Zgl^hZ cZ\Vi^kZan V[[ZXi i]ZhZ eVi^Zci hjeedgi egd\gVbh+ l]^X] XdjaY gZhjai ^c [ZlZg eVi^Zcih jh^c\ V[[ZXiZY
 egdYjXih+ ^cXajY^c\ RngZb+ VcY i]ZgZ[dgZ XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc-
 JVi^Zci Vhh^hiVcXZ egd\gVbh i]Vi gZXZ^kZ eVgi^Va [^cVcX^Va hjeedgi [gdb XdbeVc^Zh ]VkZ WZXdbZ i]Z hjW_ZXi d[ Zc]VcXZY \dkZgcbZci VcY gZ\jaVidgn
 hXgji^cn- @dg ZmVbeaZ+ i]Z ICA ]Vh ZhiVWa^h]ZY \j^YZa^cZh i]Vi eZgb^i e]VgbVXZji^XVa bVcj[VXijgZgh id bV`Z YdcVi^dch id X]Vg^iVWaZ dg\Vc^oVi^dch
 l]d egdk^YZ Xd,eVn Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih+ egdk^YZY i]Vi hjX] dg\Vc^oVi^dch+ Vbdc\ di]Zg i]^c\h+ VgZ bona fide X]Vg^i^Zh+ VgZ Zci^gZan
 ^cYZeZcYZci d[ VcY cdi XdcigdaaZY Wn i]Z bVcj[VXijgZg+ egdk^YZ V^Y id Veea^XVcih dc V [^ghi,XdbZ WVh^h VXXdgY^c\ id Xdch^hiZci [^cVcX^Va Xg^iZg^V+ VcY
 Yd cdi a^c` V^Y id jhZ d[ V Ydcdgxh egdYjXi- C[ lZ dg djg kZcYdgh dg YdcVi^dc gZX^e^Zcih VgZ YZZbZY id [V^a id Xdbean l^i] gZaZkVci aVlh+ gZ\jaVi^dch
 dg Zkdak^c\ \dkZgcbZci \j^YVcXZ ^c i]Z deZgVi^dc d[ i]ZhZ egd\gVbh+ lZ XdjaY WZ hjW_ZXi id YVbV\Zh+ [^cZh+ eZcVai^Zh dg di]Zg Xg^b^cVa+ X^k^a dg
 VYb^c^higVi^kZ hVcXi^dch dg Zc[dgXZbZci VXi^dch- QZ XVccdi ZchjgZ i]Vi djg Xdbea^VcXZ Xdcigdah+ eda^X^Zh VcY egdXZYjgZh l^aa WZ hj[[^X^Zci id
 egdiZXi V\V^chi VXih d[ djg ZbeadnZZh+ Wjh^cZhh eVgicZgh dg kZcYdgh i]Vi bVn k^daViZ i]Z aVlh dg gZ\jaVi^dch d[ i]Z _jg^hY^Xi^dch ^c l]^X] lZ
 deZgViZ- Cc GVn VcY IXidWZg 1/05 VcY @ZWgjVgn 1/06+ lZ gZXZ^kZY hjWedZcVh [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih
 gZfjZhi^c\ YdXjbZcih gZaViZY id djg hjeedgi d[ 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih VcY YdXjbZcih
 XdcXZgc^c\ i]Z egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih iV`^c\ Ygj\h hdaY Wn jh- LZ\VgYaZhh d[ l]Zi]Zg lZ ]VkZ Xdbea^ZY l^i] i]Z
 aVl+ V \dkZgcbZci ^ckZhi^\Vi^dc XdjaY ^beVXi djg Wjh^cZhh egVXi^XZh+ ]Vgb djg gZejiVi^dc+ Y^kZgi i]Z ViiZci^dc d[ bVcV\ZbZci VcY ^cXgZVhZ djg
 ZmeZchZh- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vWe are subject to significant ongoing regulatory obligations and oversight,
 which may result in significant additional expense and limit our ability to commercialize our productsw ^c i]^h JVgi C+ CiZb 0;-
 We are subject to significant ongoing regulatory obligations and oversight, which may result in significant additional expense and limit our
 ability to commercialize our products.
 Oversight by FDA and Equivalent Non-U.S. Regulatory Authorities
 QZ VgZ hjW_ZXi id h^\c^[^XVci dc\d^c\ gZ\jaVidgn dWa^\Vi^dch l^i] gZheZXi id djg bVg`ZiZY egdYjXih+ hjX] Vh hV[Zin gZedgi^c\ gZfj^gZbZcih VcY
 VYY^i^dcVa edhi,bVg`Zi^c\ dWa^\Vi^dch+ ^cXajY^c\ gZ\jaVidgn dkZgh^\]i d[ i]Z egdbdi^dc VcY bVg`Zi^c\ d[ djg egdYjXih- Cc VYY^i^dc+ gZhZVgX]+ iZhi^c\+
 bVcj[VXijg^c\+ aVWZa^c\+ eVX`V\^c\+ VYkZghZ ZkZci gZedgi^c\+ hidgV\Z+ VYkZgi^h^c\+ egdbdi^dc+ hVaZ+ Y^hig^Wji^dc+ gZXdgY `ZZe^c\+ ^bedgi^c\ VcY
 Zmedgi^c\ d[ djg egdYjXih VgZ+ VcY Vcn d[ djg egdYjXi XVcY^YViZh i]Vi bVn WZ VeegdkZY Wn i]Z @>;+ i]Z ?=+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O
 bZbWZg hiViZh VcY di]Zg cdc,O-M- gZ\jaVidgn Vji]dg^i^Zh l^aa WZ+ hjW_ZXi id ZmiZch^kZ VcY dc\d^c\ gZ\jaVidgn gZfj^gZbZcih- N]ZhZ gZfj^gZbZcih
 Veean Wdi] id jh VcY id i]^gY eVgi^Zh lZ XdcigVXi l^i] id eZg[dgb hZgk^XZh VcY hjeean jh l^i] egdYjXih- @V^ajgZ Wn jh dg Vcn d[ djg i]^gY eVgin
 eVgicZgh+ ^cXajY^c\ hjeea^Zgh+ Y^hig^Wjidgh VcY djg XZcigVa e]VgbVXn [dg RngZb+ id Xdbean l^i] Veea^XVWaZ gZfj^gZbZcih XdjaY hjW_ZXi jh id
 VYb^c^higVi^kZ dg _jY^X^Va hVcXi^dch dg di]Zg cZ\Vi^kZ XdchZfjZcXZh+ hjX] Vh YZaVnh ^c VeegdkVa dg gZ[jhVa id VeegdkZ V egdYjXi XVcY^YViZ+
 l^i]YgVlVa+ hjheZch^dc dg kVg^Vi^dc d[ egdYjXi VeegdkVa+ jci^iaZY aZiiZgh+ lVgc^c\ aZiiZgh+ [^cZh VcY di]Zg bdcZiVgn eZcVai^Zh+ jcVci^X^eViZY
 ZmeZcY^ijgZh+ egdYjXi gZXVaa+ l^i]YgVlVa dg hZ^ojgZ+ idiVa dg eVgi^Va hjheZch^dc d[ egdYjXi^dc dg Y^hig^Wji^dc+ ^ciZggjei^dc d[ bVcj[VXijg^c\ dg Xa^c^XVa
 ig^Vah+ deZgVi^c\ gZhig^Xi^dch+ ^c_jcXi^dch: hjheZch^dc d[ a^XZchZh+ X^k^a eZcVai^Zh VcY.dg Xg^b^cVa egdhZXji^dc+ Vcn d[ l]^X] XdjaY ]VkZ V h^\c^[^XVci
 ^beVXi dc djg hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc-
 QZ bdc^idg VYkZghZ ZkZcih gZhjai^c\ [gdb i]Z jhZ d[ djg XdbbZgX^Va egdYjXih+ Vh Yd i]Z gZ\jaVidgn Vji]dg^i^Zh+ VcY lZ [^aZ eZg^dY^X gZedgih l^i] i]Z
 Vji]dg^i^Zh XdcXZgc^c\ VYkZghZ ZkZcih- N]Z Vji]dg^i^Zh gZk^Zl i]ZhZ ZkZcih VcY gZedgih+ VcY ^[ i]Zn YZiZgb^cZ i]Vi Vcn ZkZcih VcY.dg gZedgih
 ^cY^XViZ V igZcY dg h^\cVa+ i]Zn XVc gZfj^gZ V X]Vc\Z ^c V egdYjXi aVWZa+ gZhig^Xi hVaZh VcY bVg`Zi^c\ VcY.dg gZfj^gZ dg XdcYjXi di]Zg VXi^dch+
 ediZci^Vaan ^cXajY^c\ l^i]YgVlVa dg hjheZch^dc d[ i]Z egdYjXi [gdb i]Z bVg`Zi+ Vcn d[ l]^X] XdjaY gZhjai ^c gZYjXZY bVg`Zi VXXZeiVcXZ VcY YZbVcY
 [dg djg egdYjXih+ XdjaY ]Vgb djg gZejiVi^dc VcY djg VW^a^in id bVg`Zi djg egdYjXih ^c i]Z [jijgZ+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 N]Z @>; VcY i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O GZbWZg MiViZh dc WZ]Va[ d[ i]Z ?G; Vahd eZg^dY^XVaan ^cheZXi djg gZXdgYh gZaViZY id hV[Zin
 gZedgi^c\- @daadl^c\ hjX] ^cheZXi^dch+ i]Z @>; bVn ^hhjZ cdi^XZh dc @>; @dgb 372 VcY lVgc^c\ aZiiZgh i]Vi XdjaY XVjhZ jh id bdY^[n XZgiV^c
 VXi^k^i^Zh- N]Z ?G;xh J]VgbVXdk^\^aVcXZ L^h` ;hhZhhbZci =dbb^iiZZ+ dg i]Z JL;=+ bVn egdedhZ id i]Z =dbb^iiZZ [dg BjbVc GZY^X^cVa JgdYjXih+
 dg i]Z =BGJ+ i]Vi i]Z bVg`Zi^c\ Vji]dg^oVi^dc ]daYZg WZ gZfj^gZY id iV`Z heZX^[^X hiZeh dg VYk^hZ i]Vi i]Z Zm^hi^c\ bVg`Zi^c\ Vji]dg^oVi^dc WZ kVg^ZY+
 hjheZcYZY+ dg l^i]YgVlc- ;c @>; @dgb 372 cdi^XZ+ ^[ ^hhjZY Vi i]Z XdcXajh^dc d[ Vc @>; ^cheZXi^dc+ XVc a^hi XdcY^i^dch i]Z @>; ^ckZhi^\Vidgh
 WZa^ZkZ bVn ]VkZ

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 k^daViZY gZaZkVci @>; gZ\jaVi^dch dg \j^YVcXZ- @V^ajgZ id VYZfjViZan VcY egdbeian XdggZXi i]Z dWhZgkVi^dc'h( XVc gZhjai ^c [jgi]Zg gZ\jaVidgn
 Zc[dgXZbZci VXi^dc- @dg ZmVbeaZ+ ^c ;eg^a 1/03+ lZ gZXZ^kZY Vc @>; @dgb 372 Vi i]Z XdcXajh^dc d[ V e]VgbVXdk^\^aVcXZ ^cheZXi^dc XdcYjXiZY Wn
 i]Z @>;- N]Z @>; @dgb 372 ^cXajYZY dWhZgkVi^dch gZaVi^c\ id XZgiV^c VheZXih d[ djg VYkZghZ Ygj\ ZmeZg^ZcXZ+ dg ;>?+ gZedgi^c\ hnhiZb [dg Vaa d[
 djg egdYjXih+ ^cXajY^c\ RngZb- QZ gZhedcYZY id i]Z @>; @dgb 372 l^i] V YZhXg^ei^dc d[ i]Z XdggZXi^kZ VXi^dch VcY ^begdkZbZcih lZ ]VY
 ^beaZbZciZY WZ[dgZ dg h]dgian [daadl^c\ i]Z ^cheZXi^dc VcY VYY^i^dcVa ^begdkZbZcih i]Vi lZ eaVccZY id ^beaZbZci+ VcY ]VkZ cdl ^beaZbZciZY+ id
 VYYgZhh i]Z dWhZgkVi^dch ^c i]Z @>; @dgb 372- Cc ;j\jhi 1/03+ i]Z @>; ^hhjZY Vc ?hiVWa^h]bZci CcheZXi^dc LZedgi id jh+ l]^X] ^cY^XViZh i]Vi i]Z
 ^cheZXi^dc ^h XadhZY- ;ai]dj\] lZ ]VkZ ^beaZbZciZY ^begdkZbZcih id djg ;>? gZedgi^c\ hnhiZb+ i]ZgZ XVc WZ cd VhhjgVcXZ i]Vi i]Z @>; dg di]Zg
 gZ\jaVidgn V\ZcX^Zh l^aa cdi ^YZci^[n VYY^i^dcVa bViiZgh ^c [jijgZ e]VgbVXdk^\^aVcXZ ^cheZXi^dch dg i]Vi lZ l^aa WZ VWaZ id VYZfjViZan VYYgZhh Vcn
 bViiZgh ^YZci^[^ZY Wn i]Z @>; dg di]Zg gZ\jaVidgn V\ZcX^Zh ^c i]Z [jijgZ+ VcY i]Z [V^ajgZ id Yd hd XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 C[ lZ gZXZ^kZ gZ\jaVidgn VeegdkVah id hZaa djg egdYjXih+ i]Z @>;+ i]Z ?=+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg cdc,O-M-
 gZ\jaVidgn Vji]dg^i^Zh l]ZgZ djg egdYjXih VgZ VeegdkZY bVn ^bedhZ h^\c^[^XVci gZhig^Xi^dch dc i]Z ^cY^XViZY jhZh dg bVg`Zi^c\ d[ djg egdYjXih+ dg
 ^bedhZ gZfj^gZbZcih [dg WjgYZchdbZ edhi,VeegdkVa hijY^Zh dg ig^Vah- N]Z iZgbh d[ Vcn egdYjXi VeegdkVa+ ^cXajY^c\ aVWZa^c\+ bVn WZ bdgZ gZhig^Xi^kZ
 i]Vc lZ YZh^gZ VcY XdjaY V[[ZXi i]Z XdbbZgX^Va ediZci^Va d[ i]Z egdYjXi- C[ lZ WZXdbZ VlVgZ d[ egdWaZbh l^i] Vcn d[ djg egdYjXih ^c i]Z O-M-+ i]Z
 ?O dg ZahZl]ZgZ ^c i]Z ldgaY dg Vi djg i]^gY eVgin hjeea^Zghx [VX^a^i^Zh+ V gZ\jaVidgn V\ZcXn bVn ^bedhZ gZhig^Xi^dch dc djg egdYjXih+ djg hjeea^Zgh+
 djg di]Zg eVgicZgh dg jh- Cc hjX] Vc ^chiVcXZ+ lZ XdjaY ZmeZg^ZcXZ V h^\c^[^XVci Ygde ^c i]Z hVaZh d[ i]Z V[[ZXiZY egdYjXih+ djg egdYjXi gZkZcjZh VcY
 gZejiVi^dc ^c i]Z bVg`ZieaVXZ bVn hj[[Zg+ VcY lZ XdjaY WZXdbZ i]Z iVg\Zi d[ aVlhj^ih- @dg ZmVbeaZ+ ^c ;eg^a 1/04+ GZYigdc^X CcX-+ dg GZYigdc^X+
 VccdjcXZY V XdchZci YZXgZZ l^i] i]Z @>; gZaViZY id GZYigdc^Xxh MncX]gdGZYt CC ^beaVciVWaZ ^c[jh^dc ejbe hnhiZbh- Ijg egdYjXi Jg^Vai ^h
 VeegdkZY [dg VYb^c^higVi^dc id eVi^Zcih k^V i]Vi ejbe- Q]^aZ i]Z GZYigdc^X XdchZci YZXgZZ YdZh cdi ^beVXi Zm^hi^c\ eVi^Zcih l^i] i]Z ejbe+
 e]nh^X^Vch l]d lVci id ^beaVci i]Z ejbe ^c cZl eVi^Zcih VgZ gZfj^gZY id XdbeaZiZ V XZgi^[^XVi^dc egdXZhh id YdXjbZci bZY^XVa cZXZhh^in- Q]^aZ i]Z
 VeegdkZY ^cY^XVi^dc [dg Jg^Vai ^h dcZ d[ i]Z XdcY^i^dch Za^\^WaZ id hjeedgi V h]dl^c\ d[ bZY^XVa cZXZhh^in egdk^YZY Wn i]Z XdchZci YZXgZZ+ lZ
 XVccdi egZY^Xi i]Z ^beVXi d[ i]^h cZl XZgi^[^XVi^dc gZfj^gZbZci dc hVaZh d[ Jg^Vai-
 ?O aZ\^haVi^dc gZaViZY id e]VgbVXdk^\^aVcXZ+ dg i]Z VhhZhhbZci VcY bdc^idg^c\ d[ i]Z hV[Zin d[ bZY^X^cVa egdYjXih+ egdk^YZh i]Vi i]Z ?G; VcY i]Z
 XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh ]VkZ i]Z Vji]dg^in id gZfj^gZ XdbeVc^Zh id XdcYjXi VYY^i^dcVa edhi,VeegdkVa Xa^c^XVa Z[[^XVXn VcY
 hV[Zin hijY^Zh- N]Z aZ\^haVi^dc Vahd \dkZgch i]Z dWa^\Vi^dch d[ bVg`Zi^c\ Vji]dg^oVi^dc ]daYZgh l^i] gZheZXi id VYY^i^dcVa bdc^idg^c\+ VYkZghZ ZkZci
 bVcV\ZbZci VcY gZedgi^c\- OcYZg i]Z aZ\^haVi^dc VcY ^ih gZaViZY gZ\jaVi^dch VcY \j^YZa^cZh+ lZ bVn WZ gZfj^gZY id XdcYjXi V aVWdg ^ciZch^kZ
 XdaaZXi^dc d[ YViV gZ\VgY^c\ i]Z g^h`h VcY WZcZ[^ih d[ bVg`ZiZY egdYjXih VcY bVn WZ gZfj^gZY id Zc\V\Z ^c dc\d^c\ VhhZhhbZcih d[ i]dhZ g^h`h VcY
 WZcZ[^ih+ ^cXajY^c\ i]Z edhh^WaZ gZfj^gZbZci id XdcYjXi VYY^i^dcVa Xa^c^XVa hijY^Zh+ l]^X] bVn WZ i^bZ,Xdchjb^c\ VcY ZmeZch^kZ VcY XdjaY ^beVXi
 djg egd[^iVW^a^in- Hdc,Xdbea^VcXZ l^i] hjX] dWa^\Vi^dch XVc aZVY id i]Z kVg^Vi^dc+ hjheZch^dc dg l^i]YgVlVa d[ bVg`Zi^c\ Vji]dg^oVi^dc dg ^bedh^i^dc
 d[ [^cVcX^Va eZcVai^Zh dg di]Zg Zc[dgXZbZci bZVhjgZh-
 N]Z @>; VeegdkZY i]Z <F; [dg ?gl^cVoZ ^c i]Z O-M- ^c HdkZbWZg 1/00+ hjW_ZXi id XZgiV^c edhi,bVg`Zi^c\ gZfj^gZbZcih+ l]^X] ]VkZ WZZc XdbeaZiZY+
 VcY Xdbea^VcXZ l^i] bjai^eaZ edhi,bVg`Zi^c\ Xdbb^ibZcih+ ^cXajY^c\ XZgiV^c Xdbb^ibZcih i]Vi bjhi WZ bZi Wn i]Z egdYjXixh bVcj[VXijgZg l^i]
 gZheZXi id egdYjXi bVcj[VXijg^c\+ l]^X] VgZ djih^YZ d[ djg Xdcigda- Q]^aZ VXi^k^i^Zh VgZ jcYZglVn id XdbeaZiZ i]Z edhi,bVg`Zi^c\ Xdbb^ibZcih+
 Vcn ^cVW^a^in id Xdbean l^i] gZ\jaVidgn gZfj^gZbZcih+ ^cXajY^c\ Xdbea^VcXZ l^i] bVcj[VXijg^c\,gZaViZY edhi,bVg`Zi^c\ Xdbb^ibZcih i]Vi VgZ eVgi d[
 i]Z <F; VeegdkVa+ Vh lZaa Vh di]Zg gZfj^gZbZcih bdc^idgZY Wn i]Z @>;+ XdjaY VYkZghZan V[[ZXi ?gl^cVoZ hjeean VcY XdjaY gZhjai ^c @>; VeegdkVa
 WZ^c\ gZkd`ZY dg egdYjXi gZXVaah+ Vaa d[ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[ VcY gZkZcjZh [gdb ?gl^cVoZ VcY a^b^i djg
 ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi-
 N]Z bVg`Zi^c\ Vji]dg^oVi^dc ^c i]Z ?O [dg >Z[^iZa^d gZfj^gZh jh id Xdbean l^i] V cjbWZg d[ edhi,bVg`Zi^c\ dWa^\Vi^dch+ ^cXajY^c\ dWa^\Vi^dch
 gZaVi^c\ id i]Z ZhiVWa^h]bZci d[ V eVi^Zci gZ\^hign id ^ckZhi^\ViZ i]Z adc\,iZgb hV[Zin+ ]ZVai] djiXdbZh VcY eViiZgch d[ ji^a^oVi^dc d[ >Z[^iZa^d Yjg^c\
 cdgbVa jhZ+ VcY i]Z @>; ^bedhZY hZkZgVa edhi,bVg`Zi^c\ gZfj^gZbZcih VcY Xdbb^ibZcih ^c XdccZXi^dc l^i] ^ih GVgX] 1/05 VeegdkVa d[ djg H>;
 [dg >Z[^iZa^d+ ^cXajY^c\ i]Z gZfj^gZbZci i]Vi lZ XdcYjXi V Xa^c^XVa ig^Va id VcVanoZ i]Z hV[Zin d[ YZ[^Wgdi^YZ kZghjh WZhi hjeedgi^kZ XVgZ ^c i]Z
 egZkZci^dc d[ PI> ^c VYjai VcY eZY^Vig^X eVi^Zcih- QZ bVn WZ jcVWaZ id Xdbean l^i] i]ZhZ dg di]Zg edhi,bVg`Zi^c\ dWa^\Vi^dch- C[ lZ [V^a id bZZi
 Vcn d[ i]ZhZ edhi,bVg`Zi^c\ dWa^\Vi^dch+ i]Z dc\d^c\ kVa^Y^in d[ i]Z bVg`Zi^c\ Vji]dg^oVi^dc bVn WZ XVaaZY ^cid fjZhi^dc+ djg hVaZh d[ VcY gZkZcjZh
 [gdb >Z[^iZa^d XdjaY WZ bViZg^Vaan VYkZghZan V[[ZXiZY VcY djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi bVn WZ a^b^iZY-
 ?gl^cVhZ VcY YZ[^Wgdi^YZ VgZ VkV^aVWaZ dc V cVbZY eVi^Zci WVh^h ^c bVcn Xdjcig^Zh l]ZgZ i]Zn VgZ cdi XdbbZgX^Vaan VkV^aVWaZ- C[ Vcn hjX] Xdjcignxh
 gZ\jaVidgn Vji]dg^i^Zh YZiZgb^cZ i]Vi lZ VgZ egdbdi^c\ ?gl^cVhZ dg YZ[^Wgdi^YZ l^i]dji egdeZg Vji]dg^oVi^dc+ lZ XdjaY WZ [djcY id WZ ^c k^daVi^dc d[
 e]VgbVXZji^XVa VYkZgi^h^c\ aVlh dg i]Z gZ\jaVi^dch eZgb^ii^c\ hVaZh jcYZg cVbZY eVi^Zci egd\gVbh- Cc i]Vi XVhZ+ lZ bVn WZ hjW_ZXi id [^cVcX^Va dg
 di]Zg eZcVai^Zh-

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 N]Z @>;+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg \dkZgcbZciVa Vji]dg^i^Zh gZfj^gZ VYkZgi^h^c\ VcY egdbdi^dcVa aVWZa^c\ id WZ
 igji][ja VcY cdi b^haZVY^c\+ VcY egdYjXih id WZ bVg`ZiZY dcan [dg i]Z^g VeegdkZY ^cY^XVi^dch VcY ^c VXXdgYVcXZ l^i] i]Z egdk^h^dch d[ i]Z VeegdkZY
 aVWZa- N]Z @>; gdji^cZan egdk^YZh ^ih ^ciZgegZiVi^dch d[ i]Vi Vji]dg^in ^c ^c[dgbVa Xdbbjc^XVi^dch VcY Vahd ^c bdgZ [dgbVa Xdbbjc^XVi^dch hjX] Vh
 jci^iaZY aZiiZgh dg lVgc^c\ aZiiZgh+ VcY Vai]dj\] hjX] Xdbbjc^XVi^dch bVn cdi WZ Xdch^YZgZY [^cVa V\ZcXn YZX^h^dch+ XdbeVc^Zh bVn YZX^YZ cdi id
 XdciZhi i]Z V\ZcXnxh ^ciZgegZiVi^dch hd Vh id Vkd^Y Y^hejiZh l^i] i]Z @>;+ ZkZc ^[ i]Zn WZa^ZkZ i]Z XaV^bh id WZ igji][ja+ cdi b^haZVY^c\ VcY
 di]Zgl^hZ aVl[ja- Cc gZXZci nZVgh+ XZgiV^c Xdjgih ]VkZ YZiZgb^cZY i]Vi i]Z @^ghi ;bZcYbZci d[ i]Z O-M- =dchi^iji^dc eZgb^ih Xdbbjc^XVi^dch
 gZ\VgY^c\ d[[,aVWZa jhZh d[ Ygj\ egdYjXih+ Vh adc\ Vh hjX] Xdbbjc^XVi^dch VgZ igji][ja VcY cdi b^haZVY^c\- ;i i]Z WZ\^cc^c\ d[ 1/06+ i]Z @>;
 gZaZVhZY egdedhZY gjaZ X]Vc\Zh VcY YgV[i \j^YVcXZ dc i]Z @>;xh ^ciZgegZiVi^dc dc i]Z a^b^iVi^dch d[ hjX] heZZX]- N]ZhZ XVhZh VcY gZ\jaVidgn
 VXi^dch XgZViZ VYY^i^dcVa jcXZgiV^cin gZ\VgY^c\ i]Z a^b^ih d[ eZgb^hh^WaZ Xdbbjc^XVi^dc gZ\VgY^c\ djg egdYjXih-
 N]Z @>;+ i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh VcY di]Zg \dkZgcbZciVa Vji]dg^i^Zh Vahd VXi^kZan ^ckZhi^\ViZ VaaZ\Vi^dch d[ d[[,aVWZa
 egdbdi^dc VXi^k^i^Zh ^c dgYZg id Zc[dgXZ gZ\jaVi^dch egd]^W^i^c\ i]ZhZ ineZh d[ VXi^k^i^Zh- ; XdbeVcn i]Vi ^h [djcY id ]VkZ egdbdiZY Vc VeegdkZY
 egdYjXi [dg d[[,aVWZa jhZh bVn WZ hjW_ZXi id h^\c^[^XVci a^VW^a^in+ ^cXajY^c\ X^k^a VcY VYb^c^higVi^kZ [^cVcX^Va eZcVai^Zh VcY di]Zg gZbZY^Zh Vh lZaa Vh
 Xg^b^cVa [^cVcX^Va eZcVai^Zh VcY di]Zg hVcXi^dch- ?kZc l]Zc V XdbeVcn ^h cdi YZiZgb^cZY id ]VkZ Zc\V\ZY ^c d[[,aVWZa egdbdi^dc+ i]Z VaaZ\Vi^dc
 [gdb \dkZgcbZci Vji]dg^i^Zh dg bVg`Zi eVgi^X^eVcih i]Vi V XdbeVcn ]Vh Zc\V\ZY ^c hjX] VXi^k^i^Zh XdjaY ]VkZ V h^\c^[^XVci ^beVXi dc i]Z XdbeVcnxh
 hVaZh+ Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc- N]Z O-M- \dkZgcbZci ]Vh Vahd gZfj^gZY XdbeVc^Zh id ZciZg ^cid XdbeaZm XdgedgViZ ^ciZ\g^in V\gZZbZcih
 VcY.dg cdc,egdhZXji^dc V\gZZbZcih i]Vi ^bedhZ h^\c^[^XVci gZedgi^c\ VcY di]Zg WjgYZch dc i]Z V[[ZXiZY XdbeVc^Zh- @dg Vaa d[ djg egdYjXih+ ^i ^h
 ^bedgiVci i]Vi lZ bV^ciV^c V XdbegZ]Zch^kZ Xdbea^VcXZ egd\gVb- @V^ajgZ id bV^ciV^c V XdbegZ]Zch^kZ VcY Z[[ZXi^kZ Xdbea^VcXZ egd\gVb+ VcY id
 ^ciZ\gViZ i]Z deZgVi^dch d[ VXfj^gZY Wjh^cZhhZh ^cid V XdbW^cZY XdbegZ]Zch^kZ VcY Z[[ZXi^kZ Xdbea^VcXZ egd\gVb dc V i^bZan WVh^h+ XdjaY hjW_ZXi
 jh id V gVc\Z d[ gZ\jaVidgn VXi^dch i]Vi XdjaY V[[ZXi djg VW^a^in id XdbbZgX^Va^oZ djg egdYjXih VcY XdjaY ]Vgb dg egZkZci hVaZh d[ i]Z V[[ZXiZY
 egdYjXih+ dg XdjaY hjWhiVci^Vaan ^cXgZVhZ i]Z Xdhih VcY ZmeZchZh d[ XdbbZgX^Va^o^c\ VcY bVg`Zi^c\ djg egdYjXih-
 Other Regulatory Authorities
 QZ VgZ Vahd hjW_ZXi id gZ\jaVi^dc Wn di]Zg gZ\^dcVa+ cVi^dcVa+ hiViZ VcY adXVa V\ZcX^Zh+ ^cXajY^c\ i]Z >?;+ i]Z O-M- >ZeVgibZci d[ Djhi^XZ+ dg >ID+
 i]Z @N=+ i]Z Oc^iZY MiViZh >ZeVgibZci d[ =dbbZgXZ+ dg >I=+ i]Z ICA VcY di]Zg gZ\jaVidgn WdY^Zh+ Vh lZaa Vh \dkZgcbZciVa Vji]dg^i^Zh ^c i]dhZ
 cdc,O-M- Xdjcig^Zh ^c l]^X] lZ XdbbZgX^Va^oZ djg egdYjXih- Cc VYY^i^dc id i]Z @>=;+ di]Zg [ZYZgVa+ hiViZ VcY cdc,O-M- hiVijiZh VcY gZ\jaVi^dch
 \dkZgc id kVgn^c\ YZ\gZZh i]Z gZhZVgX]+ YZkZadebZci+ bVcj[VXijg^c\ VcY XdbbZgX^Va VXi^k^i^Zh gZaVi^c\ id egZhXg^ei^dc e]VgbVXZji^XVa egdYjXih+
 ^cXajY^c\ egZXa^c^XVa iZhi^c\+ VeegdkVa+ egdYjXi^dc+ aVWZa^c\+ hVaZ+ Y^hig^Wji^dc+ ^bedgi+ Zmedgi+ edhi,bVg`Zi hjgkZ^aaVcXZ+ VYkZgi^h^c\+ Y^hhZb^cVi^dc d[
 ^c[dgbVi^dc+ egdbdi^dc+ bVg`Zi^c\+ VcY eg^X^c\ id \dkZgcbZci ejgX]VhZgh VcY \dkZgcbZci ]ZVai]XVgZ egd\gVbh- Ijg eVgicZgh+ ^cXajY^c\ djg
 hjeea^Zgh VcY Y^hig^Wjidgh VcY i]Z XZcigVa e]VgbVXn [dg RngZb+ V XdcigdaaZY hjWhiVcXZ jcYZg i]Z =M;+ VgZ Vahd hjW_ZXi id >?; VcY hiViZ
 gZ\jaVi^dch gZaVi^c\ id bVcj[VXijg^c\+ hidgV\Z+ Y^hig^Wji^dc VcY e]nh^X^Vc egZhXg^ei^dc egdXZYjgZh+ ^cXajY^c\ a^b^iVi^dch dc egZhXg^ei^dc gZ[^aah VcY
 VgZ gZfj^gZY id bV^ciV^c cZXZhhVgn >?; gZ\^higVi^dch VcY hiViZ a^XZchZh- N]Z >?; eZg^dY^XVaan ^cheZXih [VX^a^i^Zh [dg Xdbea^VcXZ l^i] ^ih gjaZh VcY
 gZ\jaVi^dch- @V^ajgZ id Xdbean l^i] XjggZci VcY [jijgZ gZ\jaVi^dch d[ i]Z >?;+ gZaZkVci hiViZ Vji]dg^i^Zh dg Vcn XdbeVgVWaZ ^ciZgcVi^dcVa
 gZfj^gZbZcih XdjaY aZVY id V kVg^Zin d[ hVcXi^dch+ ^cXajY^c\ gZkdXVi^dc dg YZc^Va d[ gZcZlVa d[ >?; gZ\^higVi^dch+ [^cZh+ ^c_jcXi^dch+ dg X^k^a dg
 Xg^b^cVa eZcVai^Zh+ XdjaY gZhjai ^c+ Vbdc\ di]Zg i]^c\h+ VYY^i^dcVa deZgVi^c\ Xdhih id jh dg YZaVnh ^c h]^ebZcih djih^YZ dg ^cid i]Z O-M- VcY XdjaY
 ]VkZ Vc VYkZghZ Z[[ZXi dc djg Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc-
 Cc VYY^i^dc+ i]Z >?; a^b^ih i]Z fjVci^in d[ XZgiV^c MX]ZYjaZ C XdcigdaaZY hjWhiVcXZh i]Vi bVn WZ egdYjXZY dg egdXjgZY ^c i]Z O-M- ^c Vcn \^kZc
 XVaZcYVg nZVg i]gdj\] V fjdiV hnhiZb- ;XXdgY^c\an+ lZ gZfj^gZ >?; fjdiVh [dg M^Z\[g^ZY+ djg O-M-,WVhZY hdY^jb dmnWViZ hjeea^Zg+ id egdXjgZ
 hdY^jb dmnWViZ VcY [dg JVi]Zdc+ djg O-M-,WVhZY RngZb hjeea^Zg+ id dWiV^c i]Z hdY^jb dmnWViZ [gdb M^Z\[g^ZY ^c dgYZg id bVcj[VXijgZ VcY hjeean jh
 l^i] RngZb- <ZXVjhZ i]Z >?; ine^XVaan \gVcih fjdiVh dc Vc VccjVa WVh^h+ M^Z\[g^ZY VcY JVi]Zdc VgZ gZfj^gZY id gZfjZhi VcY _jhi^[n VaadXVi^dc d[
 hj[[^X^Zci VccjVa >?; fjdiVh Vh lZaa Vh VYY^i^dcVa >?; fjdiVh ^[ djg XdbbZgX^Va dg Xa^c^XVa gZfj^gZbZcih ZmXZZY i]Z VaadXViZY fjdiVh i]gdj\]dji
 i]Z nZVg- @dg i]Z aVhi [Zl nZVgh+ djg hjeea^Zgh lZgZ VaadXViZY dcan V edgi^dc d[ i]Z ejWa^h]ZY VccjVa V\\gZ\ViZ fjdiV [dg i]Z ;JC- C[ dcZ dg bdgZ
 ;H>; [^aZgh lZgZ id WZ\^c bVcj[VXijg^c\ V \ZcZg^X hdY^jb dmnWViZ egdYjXi+ \ZcZg^X bVcj[VXijgZgh ldjaY cZZY id dWiV^c V edgi^dc d[ i]Z VccjVa
 V\\gZ\ViZ ;JC fjdiV+ l]^X] XdjaY YZXgZVhZ i]Z >?; fjdiV VaadXVi^dc dWiV^cZY dc djg WZ]Va[ Wn M^Z\[g^ZY VcY JVi]Zdc- Cc i]Z eVhi+ lZ ]VkZ Vahd
 ]VY id Zc\V\Z ^c aZc\i]n Z[[dgih id dWiV^c i]Z cZZYZY fjdiVh V[iZg i]Z dg^\^cVa VccjVa fjdiVh ]VY [^ghi WZZc VaadXViZY- @dg 1/06+ Wdi] M^Z\[g^ZY VcY
 JVi]Zdc ]VkZ WZZc VaadXViZY bdhi+ Wji cdi Vaa+ d[ i]Z^g gZheZXi^kZ gZfjZhiZY fjdiVh- C[+ ^c i]Z [jijgZ+ djg hjeea^Zgh XVccdi dWiV^c i]Z fjdiVh i]Vi VgZ
 cZZYZY dc V i^bZan WVh^h+ dg Vi Vaa+ djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih XdjaY WZ bViZg^Vaan VcY VYkZghZan
 V[[ZXiZY-
 N]Z O-M- [ZYZgVa ]ZVai]XVgZ egd\gVb Vci^,`^X`WVX` hiVijiZ egd]^W^ih+ Vbdc\ di]Zg i]^c\h+ `cdl^c\an VcY l^aa[jaan d[[Zg^c\+ eVn^c\+ hda^X^i^c\+ dg
 gZXZ^k^c\ gZbjcZgVi^dc id ^cYjXZ dg ^c gZijgc [dg ejgX]Vh^c\+ aZVh^c\+ dgYZg^c\ dg VggVc\^c\ [dg dg gZXdbbZcY^c\ i]Z ejgX]VhZ+ aZVhZ dg dgYZg d[ Vcn
 ]ZVai]XVgZ ^iZb dg hZgk^XZ gZ^bWjghVWaZ jcYZg GZY^XVgZ+ GZY^XV^Y dg di]Zg

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 [ZYZgVaan [^cVcXZY ]ZVai]XVgZ egd\gVbh- F^VW^a^in bVn WZ ZhiVWa^h]ZY l^i]dji V eZghdc dg Zci^in ]Vk^c\ VXijVa `cdlaZY\Z d[ i]Z [ZYZgVa ;ci^,
 E^X`WVX` MiVijiZ dg heZX^[^X ^ciZci id k^daViZ ^i- N]^h hiVijiZ ]Vh WZZc ^ciZgegZiZY id Veean id VggVc\ZbZcih WZilZZc e]VgbVXZji^XVa XdbeVc^Zh dc
 dcZ ]VcY VcY GZY^XVgZ eVi^Zcih+ egZhXg^WZgh+ ejgX]VhZgh VcY [dgbjaVgn bVcV\Zgh dc i]Z di]Zg- N]Z BZVai]XVgZ LZ[dgb ;Xi VbZcYZY i]Z MdX^Va
 MZXjg^in ;Xi id egdk^YZ i]Vi i]Z \dkZgcbZci bVn VhhZgi i]Vi V XaV^b ^cXajY^c\ ^iZbh dg hZgk^XZh gZhjai^c\ [gdb V k^daVi^dc d[ i]Z [ZYZgVa Vci^,
 `^X`WVX` hiVijiZ Xdchi^ijiZh V [VahZ dg [gVjYjaZci XaV^b [dg ejgedhZh d[ i]Z [ZYZgVa X^k^a @VahZ =aV^bh ;Xi- ;ai]dj\] i]ZgZ VgZ V cjbWZg d[ hiVijidgn
 ZmZbei^dch VcY gZ\jaVidgn hV[Z ]VgWdgh egdiZXi^c\ XZgiV^c Xdbbdc bVcj[VXijgZg Wjh^cZhh VggVc\ZbZcih VcY VXi^k^i^Zh [gdb egdhZXji^dc VcY
 VYb^c^higVi^kZ hVcXi^dc+ i]Z ZmZbei^dch VcY hV[Z ]VgWdgh VgZ YgVlc cVggdlan+ VcY egVXi^XZh i]Vi ^ckdakZ gZbjcZgVi^dc ^ciZcYZY id ^cYjXZ
 egZhXg^W^c\+ ejgX]VhZh dg gZXdbbZcYVi^dch d[ djg egdYjXih bVn WZ hjW_ZXi id hXgji^cn ^[ i]Zn Yd cdi fjVa^[n [dg Vc ZmZbei^dc dg hV[Z ]VgWdg- Ijg
 egVXi^XZh bVn cdi ^c Vaa XVhZh bZZi Vaa d[ i]Z Xg^iZg^V [dg hV[Z ]VgWdg egdiZXi^dc [gdb Vci^,`^X`WVX` a^VW^a^in+ VcY i]ZgZ[dgZ ldjaY WZ hjW_ZXi id V [VXih
 VcY X^gXjbhiVcXZh VcVanh^h-
 N]Z @VahZ =aV^bh ;Xi egd]^W^ih+ Vbdc\ di]Zg i]^c\h+ Vcn eZghdc [gdb `cdl^c\an egZhZci^c\+ dg XVjh^c\ id WZ egZhZciZY+ V [VahZ dg [gVjYjaZci XaV^b
 [dg eVnbZci d[ [ZYZgVa [jcYh+ dg `cdl^c\an bV`^c\+ dg XVjh^c\ id WZ bVYZ+ V [VahZ hiViZbZci id \Zi V [VahZ XaV^b eV^Y- N]Z @VahZ =aV^bh ;Xi Vahd
 eZgb^ih V eg^kViZ ^cY^k^YjVa VXi^c\ Vh V vl]^hiaZWadlZgw id Wg^c\ VXi^dch dc WZ]Va[ d[ i]Z [ZYZgVa \dkZgcbZci VaaZ\^c\ k^daVi^dch d[ i]Z hiVijiZ VcY
 id h]VgZ ^c Vcn bdcZiVgn gZXdkZgn- GVcn e]VgbVXZji^XVa VcY di]Zg ]ZVai]XVgZ XdbeVc^Zh ]VkZ WZZc ^ckZhi^\ViZY dg hjW_ZXi id aVlhj^ih Wn
 l]^hiaZWadlZgh VcY ]VkZ gZVX]ZY hjWhiVci^Va [^cVcX^Va hZiiaZbZcih l^i] i]Z [ZYZgVa \dkZgcbZci jcYZg i]Z @VahZ =aV^bh ;Xi [dg V kVg^Zin d[ VaaZ\ZY
 ^begdeZg bVg`Zi^c\ VXi^k^i^Zh+ ^cXajY^c\ egdk^Y^c\ [gZZ egdYjXi id XjhidbZgh l^i] i]Z ZmeZXiVi^dc i]Vi i]Z XjhidbZgh ldjaY W^aa [ZYZgVa egd\gVbh [dg
 i]Z egdYjXi: egdk^Y^c\ Xdchjai^c\ [ZZh+ \gVcih+ [gZZ igVkZa+ VcY di]Zg WZcZ[^ih id e]nh^X^Vch id ^cYjXZ i]Zb id egZhXg^WZ i]Z XdbeVcnxh egdYjXih:
 VcY ^c[aVi^c\ eg^XZh gZedgiZY id eg^kViZ eg^XZ ejWa^XVi^dc hZgk^XZh+ l]^X] VgZ jhZY id hZi Ygj\ gZ^bWjghZbZci gViZh jcYZg \dkZgcbZci ]ZVai]XVgZ
 egd\gVbh- Cc VYY^i^dc+ ^c gZXZci nZVgh i]Z \dkZgcbZci VcY eg^kViZ l]^hiaZWadlZgh ]VkZ ejghjZY @VahZ =aV^bh ;Xi XVhZh V\V^chi V cjbWZg d[
 e]VgbVXZji^XVa XdbeVc^Zh [dg XVjh^c\ [VahZ XaV^bh id WZ hjWb^iiZY Vh V gZhjai d[ i]Z bVg`Zi^c\ d[ i]Z^g egdYjXih [dg jcVeegdkZY jhZh-
 J]VgbVXZji^XVa VcY di]Zg ]ZVai]XVgZ XdbeVc^Zh Vahd VgZ hjW_ZXi id di]Zg [ZYZgVa [VahZ XaV^b aVlh+ ^cXajY^c\ [ZYZgVa Xg^b^cVa ]ZVai]XVgZ [gVjY VcY
 [VahZ hiViZbZci hiVijiZh i]Vi ZmiZcY id cdc,\dkZgcbZci ]ZVai] WZcZ[^i egd\gVbh-
 Cc VYY^i^dc+ i]Z J]nh^X^Vc JVnbZci Mjch]^cZ ;Xi+ dg Mjch]^cZ egdk^h^dch+ gZfj^gZh ZmiZch^kZ igVX`^c\ d[ eVnbZcih VcY igVch[Zgh d[ kVajZ id
 e]nh^X^Vch VcY iZVX]^c\ ]dhe^iVah VcY ejWa^X gZedgi^c\ d[ i]Z YViV XdaaZXiZY- <n GVgX] 20 d[ ZVX] XVaZcYVg nZVg+ bVcj[VXijgZgh XdkZgZY jcYZg i]Z
 Mjch]^cZ egdk^h^dch VgZ gZfj^gZY id hjWb^i V gZedgi Y^hXadh^c\ eVnbZcih VcY igVch[Zgh d[ kVajZ bVYZ ^c i]Z egZXZY^c\ XVaZcYVg nZVg+ VcY =GM i]Zc
 l^aa ejWa^h] i]Z gZedgiZY YViV dc dg WZ[dgZ DjcZ 2/ d[ i]Z gZedgi^c\ nZVg- JjWa^X gZedgi^c\ jcYZg i]Z Mjch]^cZ egdk^h^dch ]Vh gZhjaiZY ^c ^cXgZVhZY
 hXgji^cn d[ i]Z [^cVcX^Va gZaVi^dch]^eh WZilZZc ^cYjhign+ iZVX]^c\ ]dhe^iVah VcY e]nh^X^Vch+ VcY hjX] hXgji^cn bVn cZ\Vi^kZan ^beVXi djg VW^a^in id
 Zc\V\Z l^i] e]nh^X^Vch dc bViiZgh d[ ^bedgiVcXZ id jh- Cc VYY^i^dc+ ^[ i]Z YViV gZ[aZXiZY ^c djg gZedgih VgZ [djcY id WZ ^c k^daVi^dc d[ Vcn d[ i]Z
 Mjch]^cZ egdk^h^dch dg Vcn di]Zg O-M- [ZYZgVa+ hiViZ dg adXVa aVlh dg gZ\jaVi^dch i]Vi bVn Veean+ dg ^[ lZ di]Zgl^hZ [V^a id Xdbean l^i] i]Z Mjch]^cZ
 egdk^h^dch+ lZ bVn WZ hjW_ZXi id h^\c^[^XVci X^k^a+ Xg^b^cVa VcY VYb^c^higVi^kZ eZcVai^Zh+ YVbV\Zh dg [^cZh-
 N]Z bV_dg^in d[ hiViZh Vahd ]VkZ hiVijiZh dg gZ\jaVi^dch h^b^aVg id i]Z [ZYZgVa Vci^,`^X`WVX` aVl VcY [VahZ XaV^bh aVlh+ l]^X] Veean id ^iZbh VcY
 hZgk^XZh gZ^bWjghZY jcYZg GZY^XV^Y VcY di]Zg hiViZ egd\gVbh+ dg+ ^c hZkZgVa hiViZh+ Veean gZ\VgYaZhh d[ i]Z eVndg- ; cjbWZg d[ hiViZh gZfj^gZ
 e]VgbVXZji^XVa XdbeVc^Zh id gZedgi ZmeZchZh gZaVi^c\ id i]Z bVg`Zi^c\ VcY egdbdi^dc d[ e]VgbVXZji^XVa egdYjXih VcY id gZedgi \^[ih VcY eVnbZcih
 id ^cY^k^YjVa e]nh^X^Vch ^c i]Z hiViZh- Ii]Zg hiViZh gZhig^Xi l]Zc e]VgbVXZji^XVa XdbeVc^Zh bVn egdk^YZ bZVah id egZhXg^WZgh dg Zc\V\Z ^c di]Zg
 bVg`Zi^c\ gZaViZY VXi^k^i^Zh- Mi^aa di]Zg hiViZh gZfj^gZ i]Z edhi^c\ d[ ^c[dgbVi^dc gZaVi^c\ id Xa^c^XVa hijY^Zh VcY i]Z^g djiXdbZh- Cc VYY^i^dc+ =Va^[dgc^V+
 =dccZXi^Xji+ GVhhVX]jhZiih VcY HZkVYV gZfj^gZ e]VgbVXZji^XVa XdbeVc^Zh id ^beaZbZci Xdbea^VcXZ egd\gVbh dg bVg`Zi^c\ XdYZh d[ XdcYjXi-
 Ijih^YZ i]Z O-M-+ lZ VgZ hjW_ZXi id h^b^aVg gZ\jaVi^dch ^c i]dhZ Xdjcig^Zh l]ZgZ lZ bVg`Zi VcY hZaa egdYjXih-
 Cc GVn 1/05+ lZ gZXZ^kZY V hjWedZcV [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih gZfjZhi^c\ YdXjbZcih gZaViZY id djg
 hjeedgi d[ 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih+ VcY+ [dg RngZb+ YdXjbZcih XdcXZgc^c\ i]Z egdk^h^dc d[
 [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih- Cc IXidWZg 1/05+ lZ gZXZ^kZY V hZXdcY hjWedZcV jeYVi^c\ VcY [jgi]Zg heZX^[n^c\ YdXjbZci gZfjZhih
 gZ\VgY^c\ hjeedgi id 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih VcY i]Z egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ [dg
 GZY^XVgZ eVi^Zcih iV`^c\ Ygj\h hdaY Wn jh- Cc @ZWgjVgn 1/06+ lZ gZXZ^kZY V i]^gY hjWedZcV gZfjZhi^c\ YdXjbZcih gZ\VgY^c\ djg hjeedgi id V
 heZX^[^X 4/0'X('2( dg\Vc^oVi^dc i]Vi ZhiVWa^h]ZY V [jcY [dg cVgXdaZehn eVi^Zcih ^c DVcjVgn 1/06- Ii]Zg XdbeVc^Zh ]VkZ Y^hXadhZY h^b^aVg hjWedZcVh
 VcY Xdci^cj^c\ ^cfj^g^Zh- QZ VgZ XddeZgVi^c\ l^i] i]^h ^ckZhi^\Vi^dc- QZ VgZ jcVWaZ id egZY^Xi ]dl adc\ i]^h ^ckZhi^\Vi^dc l^aa Xdci^cjZ+ l]Zi]Zg
 lZ l^aa gZXZ^kZ VYY^i^dcVa hjWedZcVh ^c XdccZXi^dc l^i] i]^h ^ckZhi^\Vi^dc+ dg ^ih djiXdbZ+ Wji lZ ZmeZXi i]Vi lZ l^aa Xdci^cjZ id ^cXjg h^\c^[^XVci
 Xdhih ^c XdccZXi^dc l^i] i]Z ^ckZhi^\Vi^dc+ gZ\VgYaZhh d[ i]Z djiXdbZ- QZ bVn Vahd WZXdbZ hjW_ZXi id h^b^aVg ^ckZhi^\Vi^dch Wn di]Zg hiViZ dg
 [ZYZgVa \dkZgcbZciVa V\ZcX^Zh dg d[[^XZh- N]Z ^ckZhi^\Vi^dc Wn i]Z O-M- ;iidgcZnxh I[[^XZ VcY Vcn VYY^i^dcVa ^ckZhi^\Vi^dch d[ djg eVi^Zci
 Vhh^hiVcXZ egd\gVbh dg di]Zg Wjh^cZhh egVXi^XZh bVn gZhjai ^c YVbV\Zh+ [^cZh+ eZcVai^Zh dg di]Zg Xg^b^cVa+ X^k^a dg VYb^c^higVi^kZ hVcXi^dch dg
 Zc[dgXZbZci VXi^dch V\V^chi jh dg 4/0'X('2( dg\Vc^oVi^dch i]Vi lZ hjeedgi '^cXajY^c\ dg\Vc^oVi^dch i]Vi egdk^YZ Vhh^hiVcXZ id cVgXdaZehn VcY
 X]gdc^X eV^c eVi^Zcih(+ cZ\Vi^kZ ejWa^X^in dg di]Zg cZ\Vi^kZ VXi^dch Vh id jh dg 4/0'X('2( dg\Vc^oVi^dch i]Vi lZ hjeedgi i]Vi XdjaY

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 ]Vgb djg gZejiVi^dc+ ^beVXi djg Wjh^cZhh egVXi^XZh+ gZYjXZ YZbVcY [dg+ dg eVi^Zci VXXZhh id+ RngZb VcY Jg^Vai VcY.dg gZYjXZ XdkZgV\Z d[ RngZb VcY
 Jg^Vai+ ^cXajY^c\ Wn [ZYZgVa ]ZVai] XVgZ egd\gVbh VcY hiViZ ]ZVai] XVgZ egd\gVbh- ;cn kdajciVgn hZiiaZbZci l^i] i]Z O-M- ;iidgcZnxh I[[^XZ XdjaY
 gZhjai ^c hjWhiVci^Va eVnbZcih+ VcY Zcign ^cid V =dgedgViZ CciZ\g^in ;\gZZbZci+ l]^X] ldjaY ^bedhZ Xdhih VcY WjgYZch dc djg deZgVi^dc d[ i]Z
 Wjh^cZhh- C[ Vcn dg Vaa d[ i]ZhZ ZkZcih dXXjg+ djg Wjh^cZhh VcY hidX` eg^XZ XdjaY WZ bViZg^Vaan VcY VYkZghZan V[[ZXiZY- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z
 g^h` [VXidgh jcYZg i]Z ]ZVY^c\ vChanges in healthcare law and implementing regulations, including those based on recently enacted legislation,
 as well as changes in healthcare policy, may impact our business in ways that we cannot currently predict, and these changes could have a
 material adverse effect on our business and financial conditionw ^c i]^h JVgi C+ CiZb 0;-
 Cc i]Z ?O+ i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ djg egdYjXih VgZ hjW_ZXi id ?O bZbWZg hiViZhx aVlh \dkZgc^c\ egdbdi^dc d[ bZY^X^cVa egdYjXih+
 ^ciZgVXi^dch l^i] e]nh^X^Vch+ b^haZVY^c\ VcY XdbeVgVi^kZ VYkZgi^h^c\ VcY jc[V^g XdbbZgX^Va egVXi^XZh- Cc VYY^i^dc+ di]Zg aZ\^haVi^dc VYdeiZY Wn
 ^cY^k^YjVa ?O bZbWZg hiViZh bVn Veean id i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ bZY^X^cVa egdYjXih- N]ZhZ aVlh gZfj^gZ i]Vi egdbdi^dcVa bViZg^Vah VcY
 VYkZgi^h^c\ ^c gZaVi^dc id bZY^X^cVa egdYjXih Xdbean l^i] i]Z egdYjXixh MjbbVgn d[ JgdYjXi =]VgVXiZg^hi^Xh+ dg MbJ=+ Vh VeegdkZY Wn i]Z
 XdbeZiZci Vji]dg^i^Zh- N]Z MbJ= ^h i]Z YdXjbZci i]Vi egdk^YZh ^c[dgbVi^dc id e]nh^X^Vch XdcXZgc^c\ i]Z hV[Z VcY Z[[ZXi^kZ jhZ d[ i]Z bZY^X^cVa
 egdYjXi- Ci [dgbh Vc ^cig^ch^X VcY ^ciZ\gVa eVgi d[ i]Z bVg`Zi^c\ Vji]dg^oVi^dc \gVciZY [dg i]Z bZY^X^cVa egdYjXi- Jgdbdi^dc d[ V bZY^X^cVa egdYjXi
 i]Vi YdZh cdi Xdbean l^i] i]Z MbJ= ^h Xdch^YZgZY id Xdchi^ijiZ d[[,aVWZa egdbdi^dc- N]Z d[[,aVWZa egdbdi^dc d[ bZY^X^cVa egdYjXih ^h egd]^W^iZY ^c
 i]Z ?O- N]Z Veea^XVWaZ aVlh Vi ?O aZkZa VcY ^c i]Z ^cY^k^YjVa ?O bZbWZg hiViZh Vahd egd]^W^i i]Z Y^gZXi,id,XdchjbZg VYkZgi^h^c\ d[ egZhXg^ei^dc,dcan
 bZY^X^cVa egdYjXih- P^daVi^dch d[ i]Z gjaZh \dkZgc^c\ i]Z egdbdi^dc d[ bZY^X^cVa egdYjXih ^c i]Z ?O XdjaY WZ eZcVa^oZY Wn VYb^c^higVi^kZ bZVhjgZh+
 [^cZh VcY ^beg^hdcbZci- N]ZhZ aVlh bVn [jgi]Zg a^b^i dg gZhig^Xi i]Z VYkZgi^h^c\ VcY egdbdi^dc d[ djg egdYjXih id i]Z \ZcZgVa ejWa^X VcY bVn Vahd
 ^bedhZ a^b^iVi^dch dc djg egdbdi^dcVa VXi^k^i^Zh l^i] ]ZVai] XVgZ egd[Zhh^dcVah-
 CciZgVXi^dch WZilZZc e]VgbVXZji^XVa XdbeVc^Zh VcY e]nh^X^Vch VgZ Vahd \dkZgcZY Wn hig^Xi aVlh+ gZ\jaVi^dch+ ^cYjhign hZa[,gZ\jaVi^dc XdYZh d[
 XdcYjXi VcY e]nh^X^Vchx XdYZh d[ egd[Zhh^dcVa XdcYjXi ^c i]Z ^cY^k^YjVa ?O bZbWZg hiViZh- N]Z egdk^h^dc d[ WZcZ[^ih dg VYkVciV\Zh id e]nh^X^Vch
 id ^cYjXZ dg ZcXdjgV\Z i]Z egZhXg^ei^dc+ gZXdbbZcYVi^dc+ ZcYdghZbZci+ ejgX]VhZ+ hjeean+ dgYZg dg jhZ d[ bZY^X^cVa egdYjXih ^h egd]^W^iZY ^c i]Z
 ?O- N]Z egdk^h^dc d[ WZcZ[^ih dg VYkVciV\Zh id e]nh^X^Vch ^h Vahd \dkZgcZY Wn i]Z cVi^dcVa Vci^,Wg^WZgn aVlh d[ i]Z ?O bZbWZg hiViZh- IcZ ZmVbeaZ
 ^h i]Z O-E- <g^WZgn ;Xi- ;h [jgi]Zg Y^hXjhhZY WZadl+ i]Z O-E- <g^WZgn ;Xi Veea^Zh id Vcn XdbeVcn ^cXdgedgViZY ^c dg vXVggn^c\ dc Wjh^cZhhw ^c i]Z
 O-E-+ ^ggZheZXi^kZ d[ l]ZgZ ^c i]Z ldgaY i]Z VaaZ\ZY Wg^WZgn VXi^k^in dXXjgh+ l]^X] XdjaY ]VkZ ^bea^XVi^dch [dg djg ^ciZgVXi^dch l^i] e]nh^X^Vch Wdi]
 ^c VcY djih^YZ d[ i]Z O-E- P^daVi^dc d[ i]ZhZ aVlh XdjaY gZhjai ^c hjWhiVci^Va [^cZh VcY ^beg^hdcbZci- =ZgiV^c ?O bZbWZg hiViZh gZfj^gZ i]Vi
 eVnbZcih bVYZ id e]nh^X^Vch bjhi WZ ejWa^Xan Y^hXadhZY- GdgZdkZg+ V\gZZbZcih l^i] e]nh^X^Vch bjhi d[iZc WZ i]Z hjW_ZXi d[ eg^dg cdi^[^XVi^dc VcY
 VeegdkVa Wn i]Z e]nh^X^Vcxh ZbeadnZg+ ]^h.]Zg XdbeZiZci egd[Zhh^dcVa dg\Vc^oVi^dc+ VcY.dg i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ^cY^k^YjVa ?O bZbWZg
 hiViZh- @V^ajgZ id Xdbean l^i] i]ZhZ gZfj^gZbZcih XdjaY gZhjai ^c gZejiVi^dcVa g^h`+ ejWa^X gZeg^bVcYh+ VYb^c^higVi^kZ eZcVai^Zh+ [^cZh dg
 ^beg^hdcbZci-
 Ijg Wjh^cZhh VXi^k^i^Zh djih^YZ d[ i]Z O-M- VgZ hjW_ZXi id i]Z O-M- @dgZ^\c =dggjei JgVXi^XZh ;Xi+ dg @=J;+ VcY h^b^aVg Vci^,Wg^WZgn dg Vci^,Xdggjei^dc
 aVlh+ gZ\jaVi^dch dg gjaZh d[ di]Zg Xdjcig^Zh ^c l]^X] lZ deZgViZ+ ^cXajY^c\ i]Z O-E- <g^WZgn ;Xi- N]Z @=J; VcY h^b^aVg Vci^,Xdggjei^dc aVlh
 \ZcZgVaan egd]^W^i i]Z d[[Zg^c\+ egdb^h^c\+ \^k^c\+ dg Vji]dg^o^c\ di]Zgh id \^kZ Vcni]^c\ d[ kVajZ+ Z^i]Zg Y^gZXian dg ^cY^gZXian+ id cdc,O-M-
 \dkZgcbZci d[[^X^Vah ^c dgYZg id ^begdeZgan ^c[ajZcXZ Vcn VXi dg YZX^h^dc+ hZXjgZ Vcn di]Zg ^begdeZg VYkVciV\Z+ dg dWiV^c dg gZiV^c Wjh^cZhh- N]Z
 @=J; Vahd gZfj^gZh ejWa^X XdbeVc^Zh id bV`Z VcY `ZZe Wdd`h VcY gZXdgYh i]Vi VXXjgViZan VcY [V^gan gZ[aZXi i]Z igVchVXi^dch d[ i]Z XdbeVcn VcY id
 YZk^hZ VcY bV^ciV^c Vc VYZfjViZ hnhiZb d[ ^ciZgcVa VXXdjci^c\ Xdcigdah- N]Z O-E- <g^WZgn ;Xi egd]^W^ih \^k^c\+ d[[Zg^c\+ dg egdb^h^c\ Wg^WZh id Vcn
 eZghdc+ ^cXajY^c\ Wdi] O-E- VcY cdc,O-E- \dkZgcbZci d[[^X^Vah VcY eg^kViZ eZghdch+ Vh lZaa Vh gZfjZhi^c\+ V\gZZ^c\ id gZXZ^kZ+ dg VXXZei^c\ Wg^WZh
 [gdb Vcn eZghdc- Cc VYY^i^dc+ jcYZg i]Z O-E- <g^WZgn ;Xi+ XdbeVc^Zh l]^X] XVggn dc V Wjh^cZhh dg eVgi d[ V Wjh^cZhh ^c i]Z O-E- bVn WZ ]ZaY a^VWaZ
 [dg Wg^WZh \^kZc+ d[[ZgZY dg egdb^hZY id Vcn eZghdc+ ^cXajY^c\ cdc,O-E- \dkZgcbZci d[[^X^Vah VcY eg^kViZ eZghdch+ ^c Vcdi]Zg Xdjcign Wn ZbeadnZZh
 VcY eZghdch VhhdX^ViZY l^i] i]Z XdbeVcn ^c dgYZg id dWiV^c dg gZiV^c Wjh^cZhh dg V Wjh^cZhh VYkVciV\Z [dg i]Z XdbeVcn- F^VW^a^in ^h hig^Xi+ l^i] cd
 ZaZbZci d[ V Xdggjei hiViZ d[ b^cY+ Wji ]Vk^c\ ^c eaVXZ VYZfjViZ egdXZYjgZh YZh^\cZY id egZkZci Wg^WZgn ^h Vc VkV^aVWaZ YZ[ZchZ- @jgi]ZgbdgZ+ jcYZg
 i]Z O-E- <g^WZgn ;Xi i]ZgZ ^h cd ZmXZei^dc [dg [VX^a^iVi^dc eVnbZcih- ;h YZhXg^WZY VWdkZ+ djg Wjh^cZhh ^h ]ZVk^an gZ\jaViZY VcY i]ZgZ[dgZ ^ckdakZh
 h^\c^[^XVci ^ciZgVXi^dc l^i] ejWa^X d[[^X^Vah+ ^cXajY^c\ d[[^X^Vah d[ cdc,O-M- \dkZgcbZcih- ;YY^i^dcVaan+ ^c bVcn di]Zg Xdjcig^Zh+ i]Z ]ZVai] XVgZ
 egdk^YZgh l]d egZhXg^WZ e]VgbVXZji^XVah VgZ ZbeadnZY Wn i]Z^g \dkZgcbZci+ VcY i]Z ejgX]VhZgh d[ e]VgbVXZji^XVah VgZ \dkZgcbZci Zci^i^Zh:
 i]ZgZ[dgZ+ djg YZVa^c\h l^i] i]ZhZ egZhXg^WZgh VcY ejgX]VhZgh bVn WZ hjW_ZXi id gZ\jaVi^dc jcYZg i]Z @=J;- LZXZcian i]Z M?= VcY i]Z >ID ]VkZ
 ^cXgZVhZY i]Z^g @=J; Zc[dgXZbZci VXi^k^i^Zh l^i] gZheZXi id e]VgbVXZji^XVa XdbeVc^Zh- Cc VYY^i^dc+ jcYZg i]Z >dYY,@gVc` QVaa MigZZi LZ[dgb VcY
 =dchjbZg JgdiZXi^dc ;Xi+ eg^kViZ ^cY^k^YjVah l]d gZedgi id i]Z M?= dg^\^cVa ^c[dgbVi^dc i]Vi aZVYh id hjXXZhh[ja Zc[dgXZbZci VXi^dch bVn WZ
 Za^\^WaZ [dg V bdcZiVgn VlVgY- N]ZgZ ^h cd XZgiV^cin i]Vi Vaa ZbeadnZZh VcY i]^gY eVgin Wjh^cZhh eVgicZgh '^cXajY^c\ djg Y^hig^Wjidgh+ l]daZhVaZgh+
 V\Zcih+ XdcigVXidgh+ VcY di]Zg eVgicZgh( l^aa Xdbean l^i] Vci^,Wg^WZgn aVlh- Cc eVgi^XjaVg+ lZ Yd cdi Xdcigda i]Z VXi^dch d[ hjeea^Zgh VcY di]Zg i]^gY
 eVgin V\Zcih+ Vai]dj\] lZ bVn WZ a^VWaZ [dg i]Z^g VXi^dch- P^daVi^dc d[ i]ZhZ aVlh bVn gZhjai

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                                                            22149
 NVWaZ d[ =dciZcih



 ^c X^k^a dg Xg^b^cVa hVcXi^dch+ l]^X] XdjaY ^cXajYZ bdcZiVgn [^cZh+ Xg^b^cVa eZcVai^Zh+ VcY Y^h\dg\ZbZci d[ eVhi egd[^ih+ l]^X] XdjaY ]VkZ V bViZg^Va
 VYkZghZ ^beVXi dc djg Wjh^cZhh VcY [^cVcX^Va XdcY^i^dc-
 QZ VgZ Vahd hjW_ZXi id aVlh VcY gZ\jaVi^dch \dkZgc^c\ eg^kVXn VcY YViV hZXjg^in- N]ZhZ aVlh ^cXajYZ hZXjg^in WgZVX] cdi^[^XVi^dc gZfj^gZbZcih VcY
 egdiZXi^dc d[ XdchjbZg ]ZVai] ^c[dgbVi^dc- N]Z aZ\^haVi^kZ VcY gZ\jaVidgn aVcYhXVeZ [dg eg^kVXn VcY YViV hZXjg^in Xdci^cjZh id ZkdakZ+ VcY i]ZgZ
 ]Vh WZZc Vc ^cXgZVh^c\ [dXjh dc eg^kVXn VcY YViV hZXjg^in ^hhjZh l]^X] bVn V[[ZXi djg Wjh^cZhh- ;ai]dj\] i]ZgZ VgZ aZ\Va bZX]Vc^hbh id [VX^a^iViZ
 i]Z igVch[Zg d[ eZghdcVa YViV [gdb i]Z ?jgdeZVc ?Xdcdb^X ;gZV+ dg ??;+ VcY Ml^ioZgaVcY id i]Z O-M-+ i]Z YZX^h^dc d[ i]Z ?jgdeZVc =djgi d[ Djhi^XZ
 i]Vi ^ckVa^YViZY i]Z hV[Z ]VgWdg [gVbZldg` dc l]^X] lZ egZk^djhan gZa^ZY ]Vh ^cXgZVhZY jcXZgiV^cin VgdjcY Xdbea^VcXZ l^i] ?O eg^kVXn aVl
 gZfj^gZbZcih- ;h V gZhjai d[ i]Z YZX^h^dc+ ^i lVh cd adc\Zg edhh^WaZ id gZan dc hV[Z ]VgWdg XZgi^[^XVi^dc Vh V aZ\Va WVh^h [dg i]Z igVch[Zg d[ eZghdcVa
 YViV [gdb i]Z ?O id Zci^i^Zh ^c i]Z O-M- Cc @ZWgjVgn 1/05+ i]Z ?= VccdjcXZY Vc V\gZZbZci l^i] i]Z >I= id gZeaVXZ i]Z ^ckVa^YViZY hV[Z ]VgWdg
 [gVbZldg` l^i] V cZl ?O,O-M- vJg^kVXn M]^ZaY-w Ic Djan 01+ 1/05+ i]Z ?= VYdeiZY V YZX^h^dc dc i]Z VYZfjVXn d[ i]Z egdiZXi^dc egdk^YZY Wn i]Z
 Jg^kVXn M]^ZaY- N]Z Jg^kVXn M]^ZaY ^h ^ciZcYZY id VYYgZhh i]Z gZfj^gZbZcih hZi dji Wn i]Z ?jgdeZVc =djgi d[ Djhi^XZ ^c ^ih gZXZci gja^c\ Wn ^bedh^c\
 bdgZ hig^c\Zci dWa^\Vi^dch dc XdbeVc^Zh+ egdk^Y^c\ higdc\Zg bdc^idg^c\ VcY Zc[dgXZbZci Wn i]Z >I= VcY @N= VcY bV`^c\ Xdbb^ibZcih dc i]Z
 eVgi d[ ejWa^X Vji]dg^i^Zh gZ\VgY^c\ VXXZhh id ^c[dgbVi^dc-
 O-M-,WVhZY XdbeVc^Zh bVn XZgi^[n Xdbea^VcXZ l^i] i]Z eg^kVXn eg^cX^eaZh d[ i]Z Jg^kVXn M]^ZaY- =Zgi^[^XVi^dc id i]Z Jg^kVXn M]^ZaY+ ]dlZkZg+ ^h cdi
 bVcYVidgn- C[ V O-M-,WVhZY XdbeVcn YdZh cdi XZgi^[n Xdbea^VcXZ l^i] i]Z Jg^kVXn M]^ZaY+ ^i bVn gZan dc di]Zg Vji]dg^oZY bZX]Vc^hbh id igVch[Zg
 eZghdcVa YViV- Cc MZeiZbWZg 1/05+ lZ [^aZY [dg XZgi^[^XVi^dc [dg djg O-M-,WVhZY hjWh^Y^Vg^Zh jcYZg i]Z Jg^kVXn M]^ZaY- N]^h XZgi^[^XVi^dc lVh VeegdkZY
 ^c DVcjVgn 1/06-
 N]Z eg^kVXn VcY YViV hZXjg^in aVcYhXVeZ ^h hi^aa ^c [ajm- Cc MZeiZbWZg 1/05+ i]Z Cg^h] eg^kVXn VYkdXVXn \gdje+ >^\^iVa L^\]ih CgZaVcY+ Wgdj\]i Vc
 VXi^dc [dg VccjabZci d[ i]Z ?= YZX^h^dc dc i]Z VYZfjVXn d[ Jg^kVXn M]^ZaY+ =VhZ N,56/.05+ l]^X] ^h eZcY^c\ WZ[dgZ i]Z ?jgdeZVc =djgi d[ Djhi^XZ-
 M]djaY i]Z ?jgdeZVc =djgi d[ Djhi^XZ ^ckVa^YViZ i]Z Jg^kVXn M]^ZaY+ ^i l^aa cd adc\Zg WZ edhh^WaZ id igVch[Zg YViV [gdb i]Z ?O id Zci^i^Zh ^c i]Z O-M-
 jcYZg V Jg^kVXn M]^ZaY XZgi^[^XVi^dc+ ^c l]^X] XVhZ di]Zg aZ\Va bZX]Vc^hbh ldjaY cZZY id WZ eji ^c eaVXZ-
 BZVai]XVgZ egdk^YZgh l]d egZhXg^WZ djg egdYjXih VcY gZhZVgX] ^chi^iji^dch i]Vi lZ XdaaVWdgViZ l^i] VgZ hjW_ZXi id eg^kVXn VcY hZXjg^in
 gZfj^gZbZcih jcYZg i]Z BZVai] CchjgVcXZ JdgiVW^a^in VcY ;XXdjciVW^a^in ;Xi d[ 0885+ Vh VbZcYZY Wn i]Z BZVai] Cc[dgbVi^dc NZX]cdad\n [dg
 ?Xdcdb^X VcY =a^c^XVa BZVai] ;Xi+ dg BCJ;;- ;ai]dj\] lZ VgZ cdi Y^gZXian hjW_ZXi id BCJ;; di]Zg i]Vc l^i] gZheZXi id egdk^Y^c\ XZgiV^c ZbeadnZZ
 WZcZ[^ih+ lZ XdjaY ediZci^Vaan WZ hjW_ZXi id Xg^b^cVa eZcVai^Zh ^[ lZ+ djg V[[^a^ViZh dg djg V\Zcih `cdl^c\an dWiV^c dg Y^hXadhZ ^cY^k^YjVaan ^YZci^[^VWaZ
 ]ZVai] ^c[dgbVi^dc bV^ciV^cZY Wn V BCJ;;,XdkZgZY Zci^in ^c V bVccZg i]Vi ^h cdi Vji]dg^oZY dg eZgb^iiZY Wn BCJ;;-
 @V^ajgZ id Xdbean l^i] XjggZci VcY [jijgZ aVlh VcY gZ\jaVi^dch XdjaY gZhjai ^c \dkZgcbZci Zc[dgXZbZci VXi^dch '^cXajY^c\ i]Z ^bedh^i^dc d[
 h^\c^[^XVci eZcVai^Zh(+ Xg^b^cVa VcY X^k^a a^VW^a^in [dg jh VcY djg d[[^XZgh VcY Y^gZXidgh VcY.dg VYkZghZ ejWa^X^in i]Vi cZ\Vi^kZan V[[ZXi djg Wjh^cZhh-
 C[ lZ dg djg kZcYdgh [V^a id Xdbean l^i] Veea^XVWaZ YViV eg^kVXn aVlh+ dg ^[ i]Z aZ\Va bZX]Vc^hbh lZ dg djg kZcYdgh gZan jedc id Vaadl [dg i]Z
 igVch[Zg d[ eZghdcVa YViV [gdb i]Z ??; dg Ml^ioZgaVcY id i]Z O-M- 'dg di]Zg Xdjcig^Zh cdi Xdch^YZgZY Wn i]Z ?= id egdk^YZ Vc VYZfjViZ aZkZa d[ YViV
 egdiZXi^dc( VgZ cdi Xdch^YZgZY VYZfjViZ+ lZ XdjaY WZ hjW_ZXi id \dkZgcbZci Zc[dgXZbZci VXi^dch VcY h^\c^[^XVci eZcVai^Zh V\V^chi jh+ VcY djg
 Wjh^cZhh XdjaY WZ VYkZghZan ^beVXiZY ^[ djg VW^a^in id igVch[Zg eZghdcVa YViV djih^YZ d[ i]Z ??; dg Ml^ioZgaVcY ^h gZhig^XiZY+ l]^X] XdjaY VYkZghZan
 ^beVXi djg deZgVi^c\ gZhjaih- Cc >ZXZbWZg 1/04+ V egdedhVa [dg Vc ?O AZcZgVa >ViV JgdiZXi^dc LZ\jaVi^dc+ ^ciZcYZY id gZeaVXZ i]Z XjggZci ?O >ViV
 JgdiZXi^dc >^gZXi^kZ+ lVh V\gZZY WZilZZc i]Z ?jgdeZVc JVga^VbZci+ i]Z =djcX^a d[ i]Z ?jgdeZVc Oc^dc VcY i]Z ?=- N]Z ?O AZcZgVa >ViV JgdiZXi^dc
 LZ\jaVi^dc+ l]^X] lVh d[[^X^Vaan VYdeiZY ^c ;eg^a 1/05 VcY l^aa WZ Veea^XVWaZ ^c GVn 1/07+ l^aa ^cigdYjXZ cZl YViV egdiZXi^dc gZfj^gZbZcih ^c i]Z
 ?O+ Vh lZaa Vh hjWhiVci^Va [^cZh [dg WgZVX]Zh d[ i]Z YViV egdiZXi^dc gjaZh- N]Z ?O AZcZgVa >ViV JgdiZXi^dc LZ\jaVi^dc l^aa ^cXgZVhZ djg gZhedch^W^a^in
 VcY a^VW^a^in ^c gZaVi^dc id eZghdcVa YViV i]Vi lZ egdXZhh+ VcY lZ bVn WZ gZfj^gZY id eji ^c eaVXZ VYY^i^dcVa bZX]Vc^hbh id ZchjgZ Xdbea^VcXZ l^i]
 i]Z cZl ?O YViV egdiZXi^dc gjaZh- Cc VYY^i^dc+ YViV egdiZXi^dc Vji]dg^i^Zh d[ i]Z Y^[[ZgZci ?O bZbWZg hiViZh bVn ^ciZgegZi i]Z ?O >ViV JgdiZXi^dc
 >^gZXi^kZ VcY cVi^dcVa aVlh Y^[[ZgZcian+ VcY \j^YVcXZ dc ^beaZbZciVi^dc VcY Xdbea^VcXZ egVXi^XZh VgZ d[iZc jeYViZY dg di]Zgl^hZ gZk^hZY+ l]^X]
 VYYh id i]Z XdbeaZm^in d[ egdXZhh^c\ eZghdcVa YViV ^c i]Z ?O-
 N]Z cjbWZg VcY XdbeaZm^in d[ Wdi] O-M- [ZYZgVa VcY hiViZ aVlh Xdci^cjZ id ^cXgZVhZ+ VcY VYY^i^dcVa \dkZgcbZciVa gZhdjgXZh VgZ WZ^c\ VYYZY id
 Zc[dgXZ i]ZhZ aVlh VcY id egdhZXjiZ XdbeVc^Zh VcY ^cY^k^YjVah l]d VgZ WZa^ZkZY id WZ k^daVi^c\ i]Zb- Cc VYY^i^dc+ lZ ZmeZXi eg^kViZ eaV^ci^[[h id
 Xdci^cjZ id [^aZ aVlhj^ih V\V^chi e]VgbVXZji^XVa bVcj[VXijgZgh jcYZg i]Z l]^hiaZWadlZg egdk^h^dch d[ i]Z @VahZ =aV^bh ;Xi VcY hiViZ Zfj^kVaZcih
 VcY id hZZ` dji cZl i]Zdg^Zh d[ a^VW^a^in jcYZg i]dhZ hiVijiZh- QZ Vahd ZmeZXi \dkZgcbZci Zc[dgXZbZci V\ZcX^Zh id Xdci^cjZ id v^ciZgkZcZw ^c
 eg^kViZ l]^hiaZWadlZg aVlhj^ih+ Z[[ZXi^kZan XdckZgi^c\ i]Z eg^kViZ aVlhj^i ^cid V aVlhj^i Wn i]Z \dkZgcbZci+ l]^X] ine^XVaan ^cXgZVhZh i]Z a^`Za^]ddY
 i]Vi i]Z aVlhj^i l^aa gZhjai ^c ^cXgZVhZY ZmeZchZ [dg i]Z XdbeVcn VcY.dg V WjgYZchdbZ hZiiaZbZci- @dg ZmVbeaZ+ [ZYZgVa Zc[dgXZbZci V\ZcX^Zh
 gZXZcian ]VkZ h]dlc ^ciZgZhi ^c e]VgbVXZji^XVa XdbeVc^Zhx egdYjXi VcY eVi^Zci Vhh^hiVcXZ egd\gVbh+ ^cXajY^c\

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 bVcj[VXijgZg gZ^bWjghZbZci hjeedgi hZgk^XZh VcY gZaVi^dch]^eh l^i] heZX^Vain e]VgbVX^Zh- MdbZ d[ i]ZhZ ^ckZhi^\Vi^dch ]VkZ gZhjaiZY ^c
 \dkZgcbZci Zc[dgXZbZci Vji]dg^i^Zh ^ciZgkZc^c\ ^c gZaViZY l]^hiaZWadlZg aVlhj^ih VcY dWiV^c^c\ h^\c^[^XVci X^k^a VcY Xg^b^cVa hZiiaZbZcih- Ii]Zg
 eg^kViZ l]^hiaZWadlZgh ]VkZ egdXZZYZY l^i]dji \dkZgcbZci ^ckZci^dc+ XVjh^c\ Xdch^YZgVWaZ ZmeZchZ id iVg\ZiZY XdbeVc^Zh-
 LZXZci X]Vc\Zh ^c i]Z aVl ]VkZ gZ^c[dgXZY VcY [VX^a^iViZY i]ZhZ igZcYh- Cc eVgi^XjaVg+ i]Z BZVai]XVgZ LZ[dgb ;Xi ^cXajYZh V cjbWZg d[ egdk^h^dch
 V^bZY Vi higZc\i]Zc^c\ i]Z \dkZgcbZcixh VW^a^in id ejghjZ Vci^,`^X`WVX` VcY [VahZ XaV^bh XVhZh V\V^chi e]VgbVXZji^XVa bVcj[VXijgZgh VcY di]Zg
 ]ZVai]XVgZ Zci^i^Zh+ ^cXajY^c\ hjWhiVci^Vaan ^cXgZVhZY [jcY^c\ [dg ]ZVai]XVgZ [gVjY Zc[dgXZbZci VXi^k^i^Zh+ Zc]VcXZY ^ckZhi^\Vi^kZ edlZgh+ VcY
 VbZcYbZcih id i]Z @VahZ =aV^bh ;Xi i]Vi bV`Z ^i ZVh^Zg [dg i]Z \dkZgcbZci VcY l]^hiaZWadlZgh id ejghjZ XVhZh [dg VaaZ\ZY `^X`WVX` VcY [VahZ XaV^b
 k^daVi^dch+ hjX] Vh YZ[^c^c\ V v[VahZw XaV^b id ^cXajYZ Vcn XaV^b WVhZY dc V k^daVi^dc d[ i]Z Vci^,`^X`WVX` hiVijiZ- Q]^aZ lZ XVccdi hVn l^i]
 XZgiV^cin l]Vi Z[[ZXi i]ZhZ X]Vc\Zh ]VkZ ]VY dg l^aa ]VkZ dc djg Wjh^cZhh+ lZ Vci^X^eViZ i]Vi ^cXgZVhZY Zc[dgXZbZci VcY a^i^\Vi^dc+ ^cXajY^c\
 i]gdj\] \dkZgcbZci ^ciZgkZci^dc ^c l]^hiaZWadlZg aVlhj^ih VcY eg^kViZ l]^hiaZWadlZgh egdXZZY^c\ dc i]Z^g dlc+ l^aa Xdci^cjZ [dg i]Z [dgZhZZVWaZ
 [jijgZ- LZhedcY^c\ id V l]^hiaZWadlZg aVlhj^i+ \dkZgcbZci ^ckZhi^\Vi^dc dg Zc[dgXZbZci VXi^dc+ YZ[ZcY^c\ Vcn XaV^bh gV^hZY+ VcY eVn^c\ Vcn
 gZhjai^c\ [^cZh+ YVbV\Zh+ eZcVai^Zh dg hZiiaZbZci Vbdjcih ldjaY WZ ZmeZch^kZ VcY i^bZ,Xdchjb^c\+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 gZejiVi^dc+ Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 =dbea^VcXZ l^i] O-M- [ZYZgVa VcY hiViZ+ ?O VcY ?O bZbWZg hiViZ cVi^dcVa aVlh i]Vi Veean id e]VgbVXZji^XVa bVcj[VXijgZgh ^h Y^[[^Xjai VcY i^bZ,
 Xdchjb^c\+ VcY XdbeVc^Zh i]Vi k^daViZ i]ZhZ aVlh bVn [VXZ hjWhiVci^Va eZcVai^Zh- N]Z ediZci^Va hVcXi^dch ^cXajYZ X^k^a bdcZiVgn eZcVai^Zh+
 ZmXajh^dc d[ V XdbeVcnxh egdYjXih [gdb gZ^bWjghZbZci jcYZg \dkZgcbZci egd\gVbh+ Xg^b^cVa [^cZh VcY ^beg^hdcbZci- <ZXVjhZ d[ i]Z WgZVYi] d[
 i]ZhZ aVlh VcY+ ^c hdbZ XVhZh+ i]Z aVX` d[ ZmiZch^kZ aZ\Va \j^YVcXZ ^c i]Z [dgb d[ gZ\jaVi^dch dg Xdjgi YZX^h^dch+ ^i ^h edhh^WaZ i]Vi hdbZ d[ djg
 Wjh^cZhh VXi^k^i^Zh XdjaY WZ hjW_ZXi id X]VaaZc\Z jcYZg dcZ dg bdgZ d[ i]ZhZ aVlh- @dg ZmVbeaZ+ i]Z @N= ]Vh WZZc eVn^c\ ^cXgZVh^c\ ViiZci^dc id i]Z
 jhZ d[ L?GM Wn XdbeVc^Zh hZaa^c\ WgVcYZY egdYjXih+ ^c eVgi^XjaVg id l]Zi]Zg L?GM bVn WZ WZ^c\ YZa^WZgViZan jhZY id gZYjXZ i]Z g^h` d[
 XdbeZi^i^dc [gdb \ZcZg^X Ygj\h ^c V lVn i]Vi bVn WZ YZZbZY id WZ Vci^XdbeZi^i^kZ- Ci ^h edhh^WaZ i]Vi i]Z @N=+ di]Zg \dkZgcbZciVa Vji]dg^i^Zh dg
 di]Zgh XdjaY XaV^b dg YZiZgb^cZ i]Vi lZ VgZ jh^c\ i]Z RngZb L?GM ^c Vc Vci^XdbeZi^i^kZ bVccZg '^cXajY^c\ ^c a^\]i d[ i]Z @>;xh hiViZbZci ^c i]Z
 RngZb L?GM VeegdkVa aZiiZg i]Vi i]Z RngZb L?GM XdjaY WZ jhZY ^c Vc Vci^XdbeZi^i^kZ bVccZg ^cXdch^hiZci l^i] Veea^XVWaZ egdk^h^dch d[ i]Z
 @>=;( dg ]VkZ Zc\V\ZY ^c di]Zg Vci^XdbeZi^i^kZ egVXi^XZh- N]Z @>=; [jgi]Zg hiViZh i]Vi V L?GM h]Vaa cdi WZ jhZY Wn Vc H>; ]daYZg id WadX` dg
 YZaVn \ZcZg^X Ygj\h [gdb ZciZg^c\ i]Z bVg`Zi- MZkZgVa d[ i]Z ;H>; Veea^XVcih ]VkZ VhhZgiZY i]Vi djg L?GM eViZcih h]djaY cdi ]VkZ WZZc a^hiZY ^c
 i]Z IgVc\Z <dd`+ VcY i]Vi i]Z RngZb L?GM ^h WadX`^c\ XdbeZi^i^dc- Cc DVcjVgn 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ i]Z LdmVcZ ;H>; VcY
 lV^kZY i]Z h]VgZY L?GM gZfj^gZbZci- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci
 CbeVXi d[ RngZb MVaZhw ^c i]^h JVgi C+ CiZb 0;- ;cn XaV^b i]Vi lZ dg djg Wjh^cZhh eVgicZgh ]VkZ [V^aZY id Xdbean l^i] Veea^XVWaZ aVlh VcY
 gZ\jaVi^dch XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- C[ lZ dg i]Z di]Zg
 eVgi^Zh l^i] l]db lZ ldg` [V^a id Xdbean l^i] Veea^XVWaZ gZ\jaVidgn gZfj^gZbZcih+ lZ dg i]Zn XdjaY WZ hjW_ZXi id V gVc\Z d[ gZ\jaVidgn VXi^dch i]Vi
 XdjaY V[[ZXi djg VW^a^in id XdbbZgX^Va^oZ djg egdYjXih VcY XdjaY ]Vgb dg egZkZci hVaZh d[ i]Z V[[ZXiZY egdYjXih+ dg XdjaY hjWhiVci^Vaan ^cXgZVhZ i]Z
 Xdhih VcY ZmeZchZh d[ XdbbZgX^Va^o^c\ VcY bVg`Zi^c\ djg egdYjXih- ;cn i]gZViZcZY dg VXijVa \dkZgcbZci Zc[dgXZbZci VXi^dc XdjaY Vahd \ZcZgViZ
 VYkZghZ ejWa^X^in VcY gZfj^gZ i]Vi lZ YZkdiZ hjWhiVci^Va gZhdjgXZh i]Vi XdjaY di]Zgl^hZ WZ jhZY ^c di]Zg VheZXih d[ djg Wjh^cZhh-
 QZ bVcj[VXijgZ XZgiV^c ;JCh+ ^cXajY^c\ i]Z YZ[^Wgdi^YZ Ygj\ hjWhiVcXZ+ Vi djg bVcj[VXijg^c\ [VX^a^i^Zh ^c CiVan- Cc VYY^i^dc+ lZ ]VkZ Zc\V\ZY V i]^gY
 eVgin hjeea^Zg id egdXZhh YZ[^Wgdi^YZ ^cid i]Z [^c^h]ZY egdYjXi ^c CiVan- Ijg bVcj[VXijg^c\ [VX^a^i^Zh VcY i]dhZ d[ djg i]^gY eVgin bVcj[VXijgZg VgZ
 hjW_ZXi id Xdci^cj^c\ gZ\jaVi^dc Wn i]Z CiVa^Vc BZVai] ;ji]dg^in VcY di]Zg CiVa^Vc gZ\jaVidgn Vji]dg^i^Zh l^i] gZheZXi id i]Z bVcj[VXijg^c\ d[ ;JCh
 VcY Ygj\ egdYjXih+ ^cXajY^c\ i]Z YZ[^Wgdi^YZ Ygj\ hjWhiVcXZ VcY ^ih [^c^h]ZY [dgb- N]ZhZ [VX^a^i^Zh VgZ Vahd hjW_ZXi id ^cheZXi^dc VcY gZ\jaVi^dc Wn
 i]Z ?G;- @daadl^c\ ^c^i^Va VeegdkVa ^c V _jg^hY^Xi^dc+ i]Z XdbeZiZci Vji]dg^i^Zh l^aa Xdci^cjZ id ^cheZXi djg bVcj[VXijg^c\ [VX^a^i^Zh VcY i]dhZ d[ djg
 i]^gY eVgin hjeea^Zg+ ^c hdbZ XVhZh+ jcVccdjcXZY+ id Xdc[^gb dc\d^c\ Xdbea^VcXZ l^i] XAGJ- N]Z XAGJ gZfj^gZbZcih \dkZgc fjVa^in Xdcigda d[ i]Z
 bVcj[VXijg^c\ egdXZhh VcY YdXjbZciVi^dc eda^X^Zh VcY egdXZYjgZh+ VcY lZ VcY djg i]^gY eVgin hjeea^Zgh l^aa cZZY id ZchjgZ i]Vi Vaa d[ djg
 egdXZhhZh+ bZi]dYh VcY Zfj^ebZci VgZ Xdbea^Vci l^i] XAGJ- C[ i]ZhZ Vji]dg^i^Zh YZiZgb^cZ i]Vi Z^i]Zg djg [VX^a^i^Zh dg djg i]^gY eVgin hjeea^Zgxh
 [VX^a^in ^c CiVan Yd cdi bZZi i]Z hiVcYVgYh d[ Xdbea^VcXZ gZfj^gZY jcYZg Veea^XVWaZ gZ\jaVi^dch+ i]Zn bVn YZcn VeegdkVa id bVcj[VXijgZ djg
 egdYjXih+ gZfj^gZ jh id hide bVcj[VXijg^c\ djg egdYjXih+ YZcn VeegdkVa id i]Z hVaZ d[ djg egdYjXih dg hjheZcY i]Z hVaZ d[ djg egdYjXih-
 If we fail to comply with our reporting and payment obligations under the Medicaid Drug Rebate program or other governmental pricing
 programs, we could be subject to additional reimbursement requirements, penalties, sanctions and fines, which could have a material adverse
 effect on our business, financial condition, results of operations and growth prospects.

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 QZ eVgi^X^eViZ ^c VcY ]VkZ XZgiV^c eg^XZ gZedgi^c\ dWa^\Vi^dch id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ hZkZgVa hiViZ GZY^XV^Y hjeeaZbZciVa gZWViZ
 egd\gVbh VcY di]Zg \dkZgcbZciVa eg^X^c\ egd\gVbh+ VcY lZ ]VkZ dWa^\Vi^dch id gZedgi VkZgV\Z hVaZh eg^XZ jcYZg i]Z GZY^XVgZ egd\gVb- OcYZg i]Z
 GZY^XV^Y >gj\ LZWViZ egd\gVb+ lZ VgZ gZfj^gZY id eVn V gZWViZ id ZVX] hiViZ GZY^XV^Y egd\gVb [dg djg XdkZgZY djieVi^Zci Ygj\h i]Vi VgZ
 Y^heZchZY id GZY^XV^Y WZcZ[^X^Vg^Zh VcY eV^Y [dg Wn V hiViZ GZY^XV^Y egd\gVb Vh V XdcY^i^dc d[ ]Vk^c\ [ZYZgVa [jcYh WZ^c\ bVYZ VkV^aVWaZ id i]Z
 hiViZh [dg djg Ygj\h jcYZg GZY^XV^Y VcY GZY^XVgZ JVgi <- N]dhZ gZWViZh VgZ WVhZY dc eg^X^c\ YViV gZedgiZY Wn jh dc V bdci]an VcY fjVgiZgan WVh^h
 id =GM+ i]Z [ZYZgVa V\ZcXn i]Vi VYb^c^hiZgh i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb- N]ZhZ YViV ^cXajYZ i]Z VkZgV\Z bVcj[VXijgZg eg^XZ VcY+ ^c i]Z XVhZ
 d[ ^ccdkVidg egdYjXih+ i]Z WZhi eg^XZ [dg ZVX] Ygj\ l]^X]+ ^c \ZcZgVa+ gZegZhZcih i]Z adlZhi eg^XZ VkV^aVWaZ [gdb i]Z bVcj[VXijgZg id Vcn Zci^in ^c
 i]Z O-M- ^c Vcn eg^X^c\ higjXijgZ+ XVaXjaViZY id ^cXajYZ Vaa hVaZh VcY VhhdX^ViZY gZWViZh+ Y^hXdjcih VcY di]Zg eg^XZ XdcXZhh^dch- Ijg [V^ajgZ id
 Xdbean l^i] i]ZhZ eg^XZ gZedgi^c\ VcY gZWViZ eVnbZci dWa^\Vi^dch XdjaY cZ\Vi^kZan ^beVXi djg [^cVcX^Va gZhjaih-
 N]Z BZVai]XVgZ LZ[dgb ;Xi bVYZ h^\c^[^XVci X]Vc\Zh id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ hjX] Vh ZmeVcY^c\ gZWViZ a^VW^a^in [gdb [ZZ,[dg,hZgk^XZ
 GZY^XV^Y ji^a^oVi^dc id ^cXajYZ i]Z ji^a^oVi^dc d[ GZY^XV^Y bVcV\ZY XVgZ dg\Vc^oVi^dch Vh lZaa VcY X]Vc\^c\ i]Z YZ[^c^i^dc d[ VkZgV\Z bVcj[VXijgZg
 eg^XZ- N]Z BZVai]XVgZ LZ[dgb ;Xi Vahd ^cXgZVhZY i]Z b^c^bjb GZY^XV^Y gZWViZ: X]Vc\ZY i]Z XVaXjaVi^dc d[ i]Z gZWViZ [dg XZgiV^c ^ccdkVidg egdYjXih
 i]Vi fjVa^[n Vh a^cZ ZmiZch^dch d[ Zm^hi^c\ Ygj\h: VcY XVeeZY i]Z idiVa gZWViZ Vbdjci Vi 0//$ d[ i]Z VkZgV\Z bVcj[VXijgZg eg^XZ- @^cVaan+ i]Z
 BZVai]XVgZ LZ[dgb ;Xi gZfj^gZh e]VgbVXZji^XVa bVcj[VXijgZgh d[ WgVcYZY egZhXg^ei^dc Ygj\h id eVn V WgVcYZY egZhXg^ei^dc Ygj\ [ZZ id i]Z [ZYZgVa
 \dkZgcbZci- =dc\gZhh XdjaY ZcVXi VYY^i^dcVa aZ\^haVi^dc i]Vi [jgi]Zg ^cXgZVhZh GZY^XV^Y Ygj\ gZWViZh dg di]Zg Xdhih VcY X]Vg\Zh VhhdX^ViZY l^i]
 eVgi^X^eVi^c\ ^c i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb- ;h cdiZY VWdkZ+ =GM gZXZcian ^hhjZY V [^cVa gZ\jaVi^dc+ l]^X] WZXVbZ Z[[ZXi^kZ dc ;eg^a 0+
 1/05+ id ^beaZbZci i]Z X]Vc\Zh id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb jcYZg i]Z BZVai]XVgZ LZ[dgb ;Xi- N]Z ^hhjVcXZ d[ i]Z [^cVa gZ\jaVi^dc+ Vh lZaa
 Vh Vcn di]Zg gZ\jaVi^dch VcY XdkZgV\Z ZmeVch^dc Wn kVg^djh \dkZgcbZciVa V\ZcX^Zh gZaVi^c\ id i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb+ ]Vh ^cXgZVhZY
 VcY l^aa Xdci^cjZ id ^cXgZVhZ djg Xdhih VcY i]Z XdbeaZm^in d[ Xdbea^VcXZ+ ]Vh WZZc VcY l^aa Xdci^cjZ id WZ i^bZ,Xdchjb^c\ id ^beaZbZci+ VcY XdjaY
 ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg gZhjaih d[ deZgVi^dch+ eVgi^XjaVgan ^[ =GM X]VaaZc\Zh i]Z VeegdVX] lZ iV`Z ^c djg ^beaZbZciVi^dc d[ i]Z [^cVa
 gZ\jaVi^dc-
 @ZYZgVa aVl gZfj^gZh i]Vi Vcn XdbeVcn i]Vi eVgi^X^eViZh ^c i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb Vahd eVgi^X^eViZ ^c i]Z JjWa^X BZVai] MZgk^XZxh 23/<
 egd\gVb ^c dgYZg [dg [ZYZgVa [jcYh id WZ VkV^aVWaZ [dg i]Z bVcj[VXijgZgxh Ygj\h jcYZg GZY^XV^Y VcY GZY^XVgZ JVgi <- N]Z 23/< egd\gVb gZfj^gZh
 eVgi^X^eVi^c\ bVcj[VXijgZgh id V\gZZ id X]Vg\Z hiVijidg^an YZ[^cZY XdkZgZY Zci^i^Zh cd bdgZ i]Vc i]Z 23/< vXZ^a^c\ eg^XZw [dg i]Z bVcj[VXijgZgxh
 XdkZgZY djieVi^Zci Ygj\h- N]ZhZ 23/< XdkZgZY Zci^i^Zh ^cXajYZ V kVg^Zin d[ Xdbbjc^in ]ZVai] Xa^c^Xh VcY di]Zg Zci^i^Zh i]Vi gZXZ^kZ ]ZVai] hZgk^XZh
 \gVcih [gdb i]Z JjWa^X BZVai] MZgk^XZ+ Vh lZaa Vh ]dhe^iVah i]Vi hZgkZ V Y^hegdedgi^dcViZ h]VgZ d[ adl,^cXdbZ eVi^Zcih- N]Z BZVai]XVgZ LZ[dgb ;Xi
 ZmeVcYZY i]Z a^hi d[ XdkZgZY Zci^i^Zh id ^cXajYZ XZgiV^c [gZZ,hiVcY^c\ XVcXZg ]dhe^iVah+ Xg^i^XVa VXXZhh ]dhe^iVah+ gjgVa gZ[ZggVa XZciZgh VcY hdaZ
 Xdbbjc^in ]dhe^iVah+ Wji ZmZbeih vdge]Vc Ygj\hw [gdb i]Z XZ^a^c\ eg^XZ gZfj^gZbZcih [dg i]ZhZ XdkZgZY Zci^i^Zh- N]Z 23/< XZ^a^c\ eg^XZ ^h XVaXjaViZY
 jh^c\ V hiVijidgn [dgbjaV WVhZY dc i]Z VkZgV\Z bVcj[VXijgZg eg^XZ VcY gZWViZ Vbdjci [dg i]Z XdkZgZY djieVi^Zci Ygj\ Vh XVaXjaViZY jcYZg i]Z
 GZY^XV^Y >gj\ LZWViZ egd\gVb+ VcY ^c \ZcZgVa+ egdYjXih hjW_ZXi id GZY^XV^Y eg^XZ gZedgi^c\ VcY gZWViZ a^VW^a^in VgZ Vahd hjW_ZXi id i]Z 23/< XZ^a^c\
 eg^XZ XVaXjaVi^dc VcY Y^hXdjci gZfj^gZbZci- ;cn VYY^i^dcVa [jijgZ X]Vc\Zh id i]Z YZ[^c^i^dc d[ VkZgV\Z bVcj[VXijgZg eg^XZ VcY i]Z GZY^XV^Y gZWViZ
 Vbdjci jcYZg i]Z BZVai]XVgZ LZ[dgb ;Xi XdjaY V[[ZXi djg 23/< XZ^a^c\ eg^XZ XVaXjaVi^dch VcY cZ\Vi^kZan ^beVXi djg gZhjaih d[ deZgVi^dch-
 N]Z BZVai]XVgZ LZ[dgb ;Xi dWa^\ViZh i]Z MZXgZiVgn d[ i]Z BBM id jeYViZ i]Z V\gZZbZci i]Vi bVcj[VXijgZgh bjhi h^\c id eVgi^X^eViZ ^c i]Z 23/<
 egd\gVb id dWa^\ViZ V bVcj[VXijgZg id d[[Zg i]Z 23/< eg^XZ id XdkZgZY Zci^i^Zh ^[ i]Z bVcj[VXijgZg bV`Zh i]Z Ygj\ VkV^aVWaZ id Vcn di]Zg ejgX]VhZg Vi
 Vcn eg^XZ VcY id gZedgi id i]Z \dkZgcbZci i]Z XZ^a^c\ eg^XZh [dg ^ih Ygj\h- N]Z BZVai] LZhdjgXZh VcY MZgk^XZh ;Yb^c^higVi^dc+ dg BLM;+ gZXZcian
 ^c^i^ViZY i]Z egdXZhh d[ jeYVi^c\ i]Z V\gZZbZci l^i] eVgi^X^eVi^c\ bVcj[VXijgZgh- N]Z BZVai]XVgZ LZ[dgb ;Xi Vahd dWa^\ViZh i]Z MZXgZiVgn d[ i]Z
 BBM id XgZViZ gZ\jaVi^dch VcY egdXZhhZh id ^begdkZ i]Z ^ciZ\g^in d[ i]Z 23/< egd\gVb- Cc 1/04+ BLM; ^hhjZY egdedhZY dbc^Wjh \j^YVcXZ i]Vi
 VYYgZhhZh bVcn VheZXih d[ i]Z 23/< egd\gVb+ VcY ^c ;j\jhi 1/05+ BLM; ^hhjZY V egdedhZY gZ\jaVi^dc gZ\VgY^c\ Vc VYb^c^higVi^kZ Y^hejiZ
 gZhdaji^dc egdXZhh [dg i]Z 23/< egd\gVb- Ci ^h jcXaZVg l]Zc dg l]Zi]Zg i]Z \j^YVcXZ dg gZ\jaVi^dc l^aa WZ gZaZVhZY ^c [^cVa [dgb jcYZg i]Z Ngjbe
 ;Yb^c^higVi^dc- Ic DVcjVgn 4+ 1/06+ BLM; ^hhjZY V [^cVa gZ\jaVi^dc gZ\VgY^c\ i]Z XVaXjaVi^dc d[ 23/< XZ^a^c\ eg^XZ VcY i]Z ^bedh^i^dc d[ X^k^a
 bdcZiVgn eZcVai^Zh dc bVcj[VXijgZgh i]Vi `cdl^c\an VcY ^ciZci^dcVaan dkZgX]Vg\Z XdkZgZY Zci^i^Zh- N]Z Ngjbe ;Yb^c^higVi^dc ]Vh Y^gZXiZY i]Vi
 i]^h gZ\jaVi^dc+ l]^X] lVh haViZY id WZXdbZ Z[[ZXi^kZ GVgX] 5+ 1/06+ WZ iZbedgVg^an YZaVnZY jci^a GVgX] 10+ 1/06+ VcY i]Z gZ\jaVi^dc XdjaY WZ
 hjW_ZXi id [jgi]Zg YZaVn dg di]Zg bdY^[^XVi^dc Wn i]Z Ngjbe ;Yb^c^higVi^dc- CbeaZbZciVi^dc d[ i]^h [^cVa gjaZ VcY i]Z ^hhjVcXZ d[ Vcn di]Zg [^cVa
 gZ\jaVi^dch VcY \j^YVcXZ XdjaY V[[ZXi djg dWa^\Vi^dch jcYZg i]Z 23/< egd\gVb ^c lVnh lZ XVccdi Vci^X^eViZ- Cc VYY^i^dc+ aZ\^haVi^dc bVn WZ
 ^cigdYjXZY i]Vi+ ^[ eVhhZY+ ldjaY [jgi]Zg ZmeVcY i]Z 23/< egd\gVb id VYY^i^dcVa XdkZgZY Zci^i^Zh dg ldjaY gZfj^gZ eVgi^X^eVi^c\ bVcj[VXijgZgh id
 V\gZZ id egdk^YZ 23/< Y^hXdjciZY eg^X^c\ dc Ygj\h jhZY ^c Vc ^ceVi^Zci hZii^c\-
 @ZYZgVa aVl Vahd gZfj^gZh i]Vi V XdbeVcn i]Vi eVgi^X^eViZh ^c i]Z GZY^XV^Y >gj\ LZWViZ egd\gVb gZedgi VkZgV\Z hVaZh eg^XZ ^c[dgbVi^dc ZVX] fjVgiZg
 id =GM [dg XZgiV^c XViZ\dg^Zh d[ Ygj\h i]Vi VgZ eV^Y jcYZg i]Z GZY^XVgZ JVgi < egd\gVb- GVcj[VXijgZgh XVaXjaViZ i]Z VkZgV\Z hVaZh eg^XZ WVhZY dc V
 hiVijidg^an YZ[^cZY [dgbjaV Vh lZaa Vh gZ\jaVi^dch VcY ^ciZgegZiVi^dch

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 NVWaZ d[ =dciZcih



 d[ i]Z hiVijiZ Wn =GM- =GM jhZh i]ZhZ hjWb^hh^dch id YZiZgb^cZ eVnbZci gViZh [dg Ygj\h jcYZg GZY^XVgZ JVgi <- MiVijidgn dg gZ\jaVidgn X]Vc\Zh
 dg =GM W^cY^c\ \j^YVcXZ XdjaY V[[ZXi i]Z VkZgV\Z hVaZh eg^XZ XVaXjaVi^dch [dg djg egdYjXih VcY i]Z gZhjai^c\ GZY^XVgZ eVnbZci gViZ+ VcY XdjaY
 cZ\Vi^kZan ^beVXi djg gZhjaih d[ deZgVi^dch-
 Jg^X^c\ VcY gZWViZ XVaXjaVi^dch kVgn VXgdhh egdYjXih VcY egd\gVbh+ VgZ XdbeaZm+ VcY VgZ d[iZc hjW_ZXi id ^ciZgegZiVi^dc Wn jh+ \dkZgcbZciVa dg
 gZ\jaVidgn V\ZcX^Zh VcY i]Z Xdjgih- Cc i]Z XVhZ d[ djg GZY^XV^Y eg^X^c\ YViV+ ^[ lZ WZXdbZ VlVgZ i]Vi djg gZedgi^c\ [dg V eg^dg fjVgiZg lVh ^cXdggZXi+
 dg ]Vh X]Vc\ZY Vh V gZhjai d[ gZXVaXjaVi^dc d[ i]Z eg^X^c\ YViV+ lZ VgZ dWa^\ViZY id gZhjWb^i i]Z XdggZXiZY YViV [dg je id i]gZZ nZVgh V[iZg i]dhZ YViV
 dg^\^cVaan lZgZ YjZ- MjX] gZhiViZbZcih VcY gZXVaXjaVi^dch ^cXgZVhZ djg Xdhih [dg Xdbean^c\ l^i] i]Z aVlh VcY gZ\jaVi^dch \dkZgc^c\ i]Z GZY^XV^Y
 >gj\ LZWViZ egd\gVb VcY XdjaY gZhjai ^c Vc dkZgV\Z dg jcYZgV\Z ^c djg gZWViZ a^VW^a^in [dg eVhi fjVgiZgh- Jg^XZ gZXVaXjaVi^dch Vahd bVn V[[ZXi i]Z
 XZ^a^c\ eg^XZ Vi l]^X] lZ VgZ gZfj^gZY id d[[Zg djg egdYjXih jcYZg i]Z 23/< egd\gVb-
 =^k^a bdcZiVgn eZcVai^Zh XVc WZ Veea^ZY ^[ lZ VgZ [djcY id ]VkZ `cdl^c\an hjWb^iiZY Vcn [VahZ eg^XZ ^c[dgbVi^dc id i]Z \dkZgcbZci+ ^[ lZ VgZ [djcY
 id ]VkZ bVYZ V b^hgZegZhZciVi^dc ^c i]Z gZedgi^c\ d[ djg VkZgV\Z hVaZh eg^XZ+ dg ^[ lZ [V^a id hjWb^i i]Z gZfj^gZY eg^XZ YViV dc V i^bZan WVh^h- MjX]
 XdcYjXi Vahd XdjaY WZ \gdjcYh [dg =GM id iZgb^cViZ djg GZY^XV^Y Ygj\ gZWViZ V\gZZbZci+ ^c l]^X] XVhZ [ZYZgVa eVnbZcih bVn cdi WZ VkV^aVWaZ
 jcYZg GZY^XV^Y dg GZY^XVgZ JVgi < [dg djg XdkZgZY djieVi^Zci Ygj\h- QZ XVccdi VhhjgZ ndj i]Vi djg hjWb^hh^dch l^aa cdi WZ [djcY Wn =GM id WZ
 ^cXdbeaZiZ dg ^cXdggZXi-
 Cc dgYZg id WZ Za^\^WaZ id ]VkZ djg egdYjXih eV^Y [dg l^i] [ZYZgVa [jcYh jcYZg i]Z GZY^XV^Y VcY GZY^XVgZ JVgi < egd\gVbh VcY ejgX]VhZY Wn XZgiV^c
 [ZYZgVa V\ZcX^Zh VcY \gVciZZh+ lZ eVgi^X^eViZ ^c i]Z O-M- >ZeVgibZci d[ PZiZgVch ;[[V^gh+ dg P;+ @ZYZgVa Mjeean MX]ZYjaZ+ dg @MM+ eg^X^c\ egd\gVb-
 ;h eVgi d[ i]^h egd\gVb+ lZ VgZ dWa^\ViZY id bV`Z djg egdYjXih VkV^aVWaZ [dg egdXjgZbZci dc Vc @MM XdcigVXi jcYZg l]^X] lZ bjhi Xdbean l^i]
 hiVcYVgY \dkZgcbZci iZgbh VcY XdcY^i^dch VcY X]Vg\Z V eg^XZ i]Vi ^h cd ]^\]Zg i]Vc i]Z hiVijidgn @ZYZgVa =Z^a^c\ Jg^XZ+ dg @=J+ id [djg [ZYZgVa
 V\ZcX^Zh 'P;+ O-M- >ZeVgibZci d[ >Z[ZchZ+ dg >I>+ JjWa^X BZVai] MZgk^XZ+ VcY O-M- =dVhi AjVgY(- N]Z @=J ^h WVhZY dc i]Z Hdc,@ZYZgVa ;kZgV\Z
 GVcj[VXijgZg Jg^XZ+ dg Hdc,@;GJ+ l]^X] lZ XVaXjaViZ VcY gZedgi id i]Z P; dc V fjVgiZgan VcY VccjVa WVh^h- JjghjVci id Veea^XVWaZ aVl+ `cdl^c\
 egdk^h^dc d[ [VahZ ^c[dgbVi^dc ^c XdccZXi^dc l^i] V Hdc,@;GJ [^a^c\ XVc hjW_ZXi V bVcj[VXijgZg id eZcVai^Zh d[ #067+045 [dg ZVX] ^iZb d[ [VahZ
 ^c[dgbVi^dc- N]ZhZ dWa^\Vi^dch Vahd XdciV^c ZmiZch^kZ Y^hXadhjgZ VcY XZgi^[^XVi^dc gZfj^gZbZcih-
 QZ Vahd eVgi^X^eViZ ^c i]Z Ng^XVgZ LZiV^a J]VgbVXn egd\gVb+ jcYZg l]^X] lZ eVn fjVgiZgan gZWViZh dc ji^a^oVi^dc d[ ^ccdkVidg egdYjXih i]Vi VgZ
 Y^heZchZY i]gdj\] i]Z Ng^XVgZ LZiV^a J]VgbVXn cZildg` id Ng^XVgZ WZcZ[^X^Vg^Zh- N]Z gZWViZh VgZ XVaXjaViZY Vh i]Z Y^[[ZgZcXZ WZilZZc i]Z VccjVa
 Hdc,@;GJ VcY @=J- QZ VgZ gZfj^gZY id a^hi djg XdkZgZY egdYjXih dc V Ng^XVgZ ;\gZZbZci ^c dgYZg [dg i]ZhZ egdYjXih id WZ Za^\^WaZ [dg >I>
 [dgbjaVgn ^cXajh^dc- C[ lZ dkZgX]Vg\Z i]Z \dkZgcbZci ^c XdccZXi^dc l^i] djg @MM XdcigVXi dg Ng^XVgZ ;\gZZbZci+ l]Zi]Zg YjZ id V b^hhiViZY @=J dg
 di]Zgl^hZ+ lZ VgZ gZfj^gZY id gZ[jcY i]Z Y^[[ZgZcXZ id i]Z \dkZgcbZci- @V^ajgZ id bV`Z cZXZhhVgn Y^hXadhjgZh VcY.dg id ^YZci^[n XdcigVXi
 dkZgX]Vg\Zh XVc gZhjai ^c VaaZ\Vi^dch V\V^chi jh jcYZg i]Z @VahZ =aV^bh ;Xi VcY di]Zg aVlh VcY gZ\jaVi^dch- OcZmeZXiZY gZ[jcYh id i]Z \dkZgcbZci+
 VcY gZhedcY^c\ id V \dkZgcbZci ^ckZhi^\Vi^dc dg Zc[dgXZbZci VXi^dc+ ldjaY WZ ZmeZch^kZ VcY i^bZ,Xdchjb^c\+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ
 Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Price approvals and reimbursement may not be available for our products, which could diminish our sales or affect our ability to sell our
 products profitably.
 Cc Wdi] O-M- VcY cdc,O-M- bVg`Zih+ djg VW^a^in id XdbbZgX^Va^oZ djg egdYjXih hjXXZhh[jaan+ VcY id ViigVXi XdbbZgX^Va^oVi^dc eVgicZgh [dg djg
 egdYjXih+ YZeZcYh ^c h^\c^[^XVci eVgi dc i]Z VkV^aVW^a^in d[ VYZfjViZ [^cVcX^Va XdkZgV\Z VcY gZ^bWjghZbZci [gdb i]^gY eVgin eVndgh+ ^cXajY^c\+ ^c i]Z
 O-M-+ \dkZgcbZciVa eVndgh hjX] Vh i]Z GZY^XVgZ VcY GZY^XV^Y egd\gVbh+ bVcV\ZY XVgZ dg\Vc^oVi^dch VcY eg^kViZ ]ZVai] ^chjgZgh- Cc bVcn
 Xdjcig^Zh+ eg^XZ VeegdkVah bjhi WZ dWiV^cZY WZ[dgZ egdYjXih XVc WZ eaVXZY dc i]Z bVg`Zi dg hjWb^iiZY [dg gZ^bWjghZbZci- N]^gY eVgin eVndgh+
 ^cXajY^c\ \dkZgcbZci eVndgh+ YZX^YZ l]^X] Ygj\h XVc WZ gZ^bWjghZY VcY ZhiVWa^h] gZ^bWjghZbZci VcY Xd,eVn aZkZah VcY XdcY^i^dch [dg
 gZ^bWjghZbZci- N]^gY eVgin eVndgh VgZ ^cXgZVh^c\an X]VaaZc\^c\ i]Z eg^XZh X]Vg\ZY [dg bZY^XVa egdYjXih VcY hZgk^XZh VcY ZmVb^c^c\ i]Z^g Xdhi
 Z[[ZXi^kZcZhh+ ^c VYY^i^dc id i]Z^g hV[Zin VcY Z[[^XVXn- Cc hdbZ XVhZh+ [dg ZmVbeaZ+ i]^gY eVgin eVndgh ign id ZcXdjgV\Z i]Z jhZ d[ aZhh ZmeZch^kZ
 \ZcZg^X egdYjXih i]gdj\] i]Z^g egZhXg^ei^dc WZcZ[^ih XdkZgV\Z VcY gZ^bWjghZbZci VcY Xd,eVn eda^X^Zh- QZ bVn cZZY id XdcYjXi ZmeZch^kZ
 e]VgbVXdZXdcdb^X VcY.dg Xa^c^XVa hijY^Zh ^c dgYZg id YZbdchigViZ i]Z Xdhi,Z[[ZXi^kZcZhh d[ djg egdYjXih- ?kZc l^i] hjX] hijY^Zh+ djg egdYjXih
 bVn WZ Xdch^YZgZY aZhh hV[Z+ aZhh Z[[ZXi^kZ dg aZhh Xdhi,Z[[ZXi^kZ i]Vc di]Zg egdYjXih+ VcY i]^gY eVgin eVndgh bVn cdi egdk^YZ VcY bV^ciV^c eg^XZ
 VeegdkVah+ XdkZgV\Z VcY gZ^bWjghZbZci [dg djg egdYjXih dg Vcn d[ djg egdYjXi XVcY^YViZh i]Vi lZ XdbbZgX^Va^oZ+ ^c l]daZ dg ^c eVgi-
 Jda^i^XVa+ ZXdcdb^X VcY gZ\jaVidgn ^c[ajZcXZh VgZ hjW_ZXi^c\ i]Z ]ZVai]XVgZ ^cYjhign ^c i]Z O-M- id [jcYVbZciVa X]Vc\Zh- N]ZgZ ]VkZ WZZc+ VcY lZ
 ZmeZXi i]ZgZ l^aa Xdci^cjZ id WZ+ aZ\^haVi^kZ VcY gZ\jaVidgn egdedhVah id X]Vc\Z i]Z ]ZVai]XVgZ hnhiZb ^c lVnh i]Vi XdjaY ^beVXi djg VW^a^in id hZaa
 djg egdYjXih egd[^iVWan- QZ Vci^X^eViZ i]Vi i]Z O-M- =dc\gZhh+ hiViZ aZ\^haVijgZh VcY i]Z eg^kViZ hZXidg l^aa Xdci^cjZ id Xdch^YZg VcY bVn VYdei
 ]ZVai]XVgZ eda^X^Zh VcY gZ[dgbh ^ciZcYZY id XjgW ]ZVai]XVgZ Xdhih+ eVgi^XjaVgan \^kZc i]Z XjggZci Vibdhe]ZgZ d[ bdjci^c\ Xg^i^X^hb d[ egZhXg^ei^dc
 Ygj\ Xdhih ^c i]Z O-M- N]ZhZ Xdhi XdciV^cbZci bZVhjgZh bVn ^cXajYZ [ZYZgVa VcY hiViZ Xdcigdah dc \dkZgcbZci,[jcYZY gZ^bWjghZbZci [dg Ygj\h:
 cZl dg ^cXgZVhZY gZfj^gZbZcih id eVn egZhXg^ei^dc Ygj\ gZWViZh id \dkZgcbZci ]ZVai] XVgZ egd\gVbh: e]VgbVXZji^XVa Xdhi igVcheVgZcXn W^aah i]Vi

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 NVWaZ d[ =dciZcih



 V^b id gZfj^gZ Ygj\ XdbeVc^Zh id _jhi^[n i]Z^g eg^XZh i]gdj\] gZfj^gZY Y^hXadhjgZh: Xdcigdah dc ]ZVai]XVgZ egdk^YZgh: X]VaaZc\Zh id i]Z eg^X^c\ d[
 Ygj\h+ dg a^b^ih dg egd]^W^i^dch dc gZ^bWjghZbZci [dg heZX^[^X egdYjXih i]gdj\] di]Zg bZVch: gZfj^gZbZcih id ign aZhh ZmeZch^kZ egdYjXih dg
 \ZcZg^Xh WZ[dgZ V bdgZ ZmeZch^kZ WgVcYZY egdYjXi: X]Vc\Zh ^c Ygj\ ^bedgiVi^dc aVlh: ZmeVch^dc d[ jhZ d[ bVcV\ZY XVgZ hnhiZbh ^c l]^X]
 ]ZVai]XVgZ egdk^YZgh XdcigVXi id egdk^YZ XdbegZ]Zch^kZ ]ZVai]XVgZ [dg V [^mZY Xdhi eZg eZghdc: VcY ejWa^X [jcY^c\ [dg Xdhi Z[[ZXi^kZcZhh gZhZVgX]+
 l]^X] bVn WZ jhZY Wn \dkZgcbZci VcY eg^kViZ i]^gY eVgin eVndgh id bV`Z XdkZgV\Z VcY eVnbZci YZX^h^dch- @dg ZmVbeaZ+ ^c GVgX] 1/05+ =GM
 egdedhZY id XdcYjXi V YZbdchigVi^dc egd_ZXi i]Vi ldjaY gZYjXZ i]Z GZY^XVgZ eVnbZci gViZh [dg bdhi JVgi < Ygj\h [gdb VkZgV\Z hVaZh eg^XZ eajh 5$
 id VkZgV\Z hVaZh eg^XZ eajh 1-4$ [dg Veegdm^bViZan ]Va[ d[ i]Z Xdjcign- BdlZkZg+ ^c >ZXZbWZg 1/05+ =GM VccdjcXZY i]Vi ^i ldjaY cdi bdkZ [dglVgY
 l^i] i]Z YZbdchigVi^dc egd_ZXi-
 ;YY^i^dcVaan+ Ygj\ eg^X^c\ Wn e]VgbVXZji^XVa XdbeVc^Zh ^h XjggZcian+ VcY ^h ZmeZXiZY id Xdci^cjZ id WZ+ jcYZg XadhZ hXgji^cn+ ^cXajY^c\ l^i] gZheZXi
 id XdbeVc^Zh i]Vi ]VkZ ^cXgZVhZY i]Z eg^XZ d[ egdYjXih V[iZg VXfj^g^c\ i]dhZ egdYjXih [gdb di]Zg XdbeVc^Zh- <di] i]Z O-M- BdjhZ d[
 LZegZhZciVi^kZh VcY i]Z O-M- MZcViZ ]VkZ XdcYjXiZY hZkZgVa ]ZVg^c\h l^i] gZheZXi id e]VgbVXZji^XVa Ygj\ eg^X^c\ egVXi^XZh+ ^cXajY^c\ ^c
 XdccZXi^dc l^i] i]Z ^ckZhi^\Vi^dc d[ heZX^[^X eg^XZ ^cXgZVhZh Wn hZkZgVa e]VgbVXZji^XVa XdbeVc^Zh- C[ lZ WZXdbZ i]Z hjW_ZXi d[ Vcn \dkZgcbZci
 ^ckZhi^\Vi^dc l^i] gZheZXi id djg Ygj\ eg^X^c\ dg di]Zg Wjh^cZhh egVXi^XZh+ lZ XdjaY ^cXjg h^\c^[^XVci ZmeZchZ VcY XdjaY WZ Y^higVXiZY [gdb
 deZgVi^dc d[ djg Wjh^cZhh VcY ZmZXji^dc d[ djg higViZ\n- ;cn hjX] ^ckZhi^\Vi^dc XdjaY Vahd gZhjai ^c gZYjXZY bVg`Zi VXXZeiVcXZ VcY YZbVcY [dg
 djg egdYjXih+ XdjaY ]Vgb djg gZejiVi^dc VcY djg VW^a^in id bVg`Zi djg egdYjXih ^c i]Z [jijgZ+ VcY XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- Cc GVn VcY IXidWZg 1/05 VcY @ZWgjVgn 1/06+ lZ gZXZ^kZY hjWedZcVh
 [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih gZfjZhi^c\ YdXjbZcih gZaViZY id djg hjeedgi d[ 4/0'X('2( dg\Vc^oVi^dch i]Vi
 egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih VcY YdXjbZcih XdcXZgc^c\ i]Z egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih iV`^c\
 Ygj\h hdaY Wn jh- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vChanges in healthcare law and implementing regulations,
 including those based on recently enacted legislation, as well as changes in healthcare policy, may impact our business in ways that we cannot
 currently predict, and these changes could have a material adverse effect on our business and financial conditionw VcY vWe are subject to
 significant ongoing regulatory obligations and oversight, which may result in significant additional expense and limit our ability to
 commercialize our productsw ^c i]^h JVgi C+ CiZb 0;- C[ ]ZVai]XVgZ eda^X^Zh dg gZ[dgbh ^ciZcYZY id XjgW ]ZVai]XVgZ Xdhih VgZ VYdeiZY dg ^[ lZ
 ZmeZg^ZcXZ cZ\Vi^kZ ejWa^X^in l^i] gZheZXi id eg^X^c\ d[ djg egdYjXih dg i]Z eg^X^c\ d[ e]VgbVXZji^XVa Ygj\h \ZcZgVaan+ i]Z eg^XZh i]Vi lZ X]Vg\Z [dg
 djg egdYjXih+ ^cXajY^c\ RngZb+ bVn WZ a^b^iZY+ djg XdbbZgX^Va deedgijc^in bVn WZ a^b^iZY VcY.dg djg gZkZcjZh [gdb hVaZh d[ djg egdYjXih bVn WZ
 cZ\Vi^kZan ^beVXiZY-
 Cc VYY^i^dc+ bjX] ViiZci^dc ]Vh WZZc eV^Y id aZ\^haVi^dc egdedh^c\ [ZYZgVa gZWViZh dc GZY^XVgZ JVgi > VcY GZY^XVgZ ;YkVciV\Z ji^a^oVi^dc [dg Ygj\h
 ^hhjZY id XZgiV^c \gdjeh d[ adlZg ^cXdbZ WZcZ[^X^Vg^Zh VcY i]Z YZh^gZ id X]Vc\Z i]Z egdk^h^dch i]Vi igZVi i]ZhZ YjVa,Za^\^WaZ eVi^Zcih Y^[[ZgZcian [gdb
 igVY^i^dcVa GZY^XVgZ eVi^Zcih- ;cn hjX] X]Vc\Zh XdjaY ]VkZ V cZ\Vi^kZ ^beVXi dc gZkZcjZh [gdb hVaZh d[ djg egdYjXih-
 @jgi]Zg+ WZ\^cc^c\ ;eg^a 0+ 1/02+ GZY^XVgZ eVnbZcih [dg Vaa ^iZbh VcY hZgk^XZh+ ^cXajY^c\ Ygj\h VcY W^dad\^Xh+ lZgZ gZYjXZY Wn 1$ jcYZg i]Z
 hZfjZhigVi^dc '^-Z-+ VjidbVi^X heZcY^c\ gZYjXi^dch( gZfj^gZY Wn i]Z <jY\Zi =dcigda ;Xi d[ 1/00+ Vh VbZcYZY Wn i]Z ;bZg^XVc NVmeVnZg LZa^Z[ ;Xi d[
 1/01- MjWhZfjZci aZ\^haVi^dc ZmiZcYZY i]Z 1$ gZYjXi^dc+ dc VkZgV\Z+ id 1/14- N]ZhZ Xjih gZYjXZ gZ^bWjghZbZci eVnbZcih gZaViZY id djg egdYjXih+
 l]^X] XdjaY ediZci^Vaan cZ\Vi^kZan ^beVXi djg gZkZcjZ-
 N]^gY eVgin eVndghx egVXi^XZh bVn V[[ZXi i]Z XdcY^i^dch gZfj^gZY [dg gZ^bWjghZbZci VcY i]Z VkV^aVW^a^in d[ gZ^bWjghZbZci [dg djg egdYjXih+ ^cXajY^c\
 RngZb VcY >Z[^iZa^d- Ijg Wjh^cZhh XdjaY WZ bViZg^Vaan ]VgbZY ^[ i]Z GZY^XV^Y egd\gVb+ GZY^XVgZ egd\gVb dg di]Zg i]^gY eVgin eVndgh ^c i]Z O-M- dg
 ZahZl]ZgZ lZgZ id YZcn gZ^bWjghZbZci [dg djg egdYjXih+ a^b^i i]Z ^cY^XVi^dch [dg l]^X] djg egdYjXih l^aa WZ gZ^bWjghZY+ dg egdk^YZ gZ^bWjghZbZci
 dcan dc jc[VkdgVWaZ iZgbh- N]^h g^h` ^h eVgi^XjaVgan h^\c^[^XVci l^i] gZheZXi id RngZb VcY >Z[^iZa^d+ ^c eVgi YjZ id eVndg hZch^i^k^in id i]Z eg^XZ d[
 i]ZhZ egdYjXih- N]^gY eVgin eVndgh d[iZc gZfj^gZ eg^dg Vji]dg^oVi^dc [dg+ gZfj^gZ gZVji]dg^oVi^dc [dg Xdci^cjVi^dc d[+ dg gZ[jhZ id egdk^YZ
 gZ^bWjghZbZci [dg djg egdYjXih+ VcY di]Zgh bVn Yd hd ^c i]Z [jijgZ- ;h V gZhjai d[ hjX] egVXi^XZh+ eVi^Zcih bVn cdi WZ VWaZ id dWiV^c egZhXg^WZY
 bZY^XVi^dch YjZ id Vc ^cVW^a^in id V[[dgY i]Z bZY^XVi^dc- @dg ZmVbeaZ+ lZ VgZ ZmeZg^ZcX^c\ ^cXgZVh^c\an gZhig^Xi^kZ XdcY^i^dch [dg gZ^bWjghZbZci
 gZfj^gZY Wn hdbZ i]^gY eVgin eVndgh [dg RngZb+ l]^X] bVn ]VkZ V bViZg^Va Z[[ZXi dc i]Z dkZgVaa aZkZa d[ gZ^bWjghZbZci XdkZgV\Z [dg RngZb- Cc
 VYY^i^dc+ ^cXgZVhZh ^c gZ^bWjghZbZci,gZaViZY VXi^k^i^Zh ]VkZ ZmiZcYZY i]Z i^bZ gZfj^gZY id [^aa egZhXg^ei^dch VcY XdjaY Xdci^cjZ id Yd hd ^c i]Z [jijgZ-
 @jgi]Zg+ ^cXgZVh^c\ Xdchda^YVi^dc Vbdc\ i]^gY eVgin eVndgh ]Vh aZY id [ZlZg VcY aVg\Zg i]^gY eVgin eVndgh l^i] ^cXgZVhZY cZ\di^Vi^c\ edlZg- Cc
 eVgi^XjaVg+ V hbVaa cjbWZg d[ i]^gY eVgin eVndgh XdkZg V h^\c^[^XVci edgi^dc d[ RngZb eVi^Zcih- QZ ]VkZ ZmeZg^ZcXZY VcY ZmeZXi id Xdci^cjZ id
 ZmeZg^ZcXZ ^cXgZVh^c\ egZhhjgZ [gdb i]^gY eVgin eVndgh id V\gZZ id Y^hXdjcih+ gZWViZh dg di]Zg gZhig^Xi^kZ eg^X^c\ iZgbh [dg RngZb- C[ lZ VgZ
 jchjXXZhh[ja ^c bV^ciV^c^c\ gZ^bWjghZbZci [dg djg egdYjXih ^c V i^bZan bVccZg VcY Vi VXXZeiVWaZ aZkZah+ ^[ gZ^bWjghZbZci [dg djg egdYjXih Wn i]^gY
 eVgin eVndgh ^h hjW_ZXi id gZhig^Xi^kZ eg^X^c\ iZgbh dg dkZgan gZhig^Xi^kZ gZ^bWjghZbZci XdcY^i^dch+ dg ^[ i]^gY eVgin eVndgh a^b^i i]Z ^cY^XVi^dch [dg
 l]^X] djg egdYjXih l^aa WZ gZ^bWjghZY dg gZ[jhZ id egdk^YZ gZ^bWjghZbZci+ i]Z aZkZa d[ gZ^bWjghZbZci [dg djg egdYjXih ldjaY WZ cZ\Vi^kZan
 ^beVXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-

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 Cc bVcn Xdjcig^Zh+ egdXZYjgZh id dWiV^c eg^XZ VeegdkVah+ XdkZgV\Z VcY gZ^bWjghZbZci XVc iV`Z Xdch^YZgVWaZ i^bZ V[iZg i]Z gZXZ^ei d[ bVg`Zi^c\
 VeegdkVa- QZ aVjcX]ZY >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh WZ\^cc^c\ ^c 1/03 VcY Xdci^cjZ id aVjcX] i]Z egdYjXi ^c VYY^i^dcVa ?jgdeZVc
 Xdjcig^Zh dc V gdaa^c\ WVh^h- QZ VgZ ^c i]Z egdXZhh d[ bV`^c\ eg^X^c\ VcY gZ^bWjghZbZci hjWb^hh^dch l^i] gZheZXi id >Z[^iZa^d ^c i]dhZ ?jgdeZVc
 Xdjcig^Zh l]ZgZ >Z[^iZa^d ^h cdi nZi aVjcX]ZY+ ^cXajY^c\ ^c Xdjcig^Zh l]ZgZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah VgZ gZfj^gZY [dg aVjcX]- QZ XVccdi
 egZY^Xi i]Z i^b^c\ d[ >Z[^iZa^dxh aVjcX] ^c Xdjcig^Zh l]ZgZ lZ VgZ Zc\V\ZY ^c eg^X^c\ VcY gZ^bWjghZbZci hjWb^hh^dch- C[ lZ ZmeZg^ZcXZ YZaVnh dg
 jc[dgZhZZc Y^[[^Xjai^Zh ^c dWiV^c^c\ [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah+ eaVccZY aVjcX]Zh ^c i]Z V[[ZXiZY Xdjcig^Zh ldjaY WZ YZaVnZY+
 dg+ ^[ lZ VgZ jcVWaZ id jai^bViZan dWiV^c [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^c Xdjcig^Zh i]Vi gZegZhZci h^\c^[^XVci bVg`Zih+ ZheZX^Vaan
 l]ZgZ V Xdjcignxh gZ^bWjghZY eg^XZ ^c[ajZcXZh di]Zg Xdjcig^Zh+ djg \gdli] egdheZXih ^c ?jgdeZ XdjaY WZ cZ\Vi^kZan V[[ZXiZY- Cc VYY^i^dc+ dc GVgX]
 2/+ 1/05+ i]Z @>; VeegdkZY djg H>; [dg YZ[^Wgdi^YZ [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI>+ Vahd `cdlc Vh MIM+ l^i] gZcVa dg
 ejabdcVgn Ynh[jcXi^dc [daadl^c\ BM=N- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>; VeegdkVa+ VcY djg O-M- XdbbZgX^Va aVjcX] ^h hi^aa Vi Vc
 ZVgan hiV\Z- Ijg VW^a^in id XdbbZgX^Va^oZ >Z[^iZa^d hjXXZhh[jaan ^c i]Z O-M- l^aa YZeZcY dc+ Vbdc\ di]Zg i]^c\h+ i]Z Xdci^cjZY VkV^aVW^a^in d[ VYZfjViZ
 XdkZgV\Z dg gZ^bWjghZbZci Wn O-M- \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\
 vWhile Xyrem remains our largest product, our success also depends on our ability to effectively commercialize our other products and, in the
 case of our product candidates, our ability to obtain regulatory approval in the U.S. and Europe and, if approved, to successfully launch and
 commercialize those product candidates. Our inability to do so could have a material adverse effect on our business, financial condition, results
 of operations and growth prospectsw ^c i]^h JVgi C+ CiZb 0;-
 QZ XVccdi egZY^Xi VXi^dch i]^gY eVgin eVndgh bVn iV`Z+ dg l]Zi]Zg i]Zn l^aa a^b^i i]Z eg^XZ VeegdkVah+ XdkZgV\Z VcY aZkZa d[ gZ^bWjghZbZci [dg djg
 egdYjXih dg gZ[jhZ id egdk^YZ VcY bV^ciV^c Vcn VeegdkVah dg XdkZgV\Z Vi Vaa- @dg ZmVbeaZ+ WZXVjhZ hdbZ d[ djg egdYjXih XdbeZiZ ^c V bVg`Zi l^i]
 Wdi] WgVcYZY VcY \ZcZg^X egdYjXih+ dWiV^c^c\ VcY bV^ciV^c^c\ eg^XZ VeegdkVah VcY gZ^bWjghZbZci XdkZgV\Z Wn \dkZgcbZci VcY eg^kViZ eVndgh
 bVn WZ bdgZ X]VaaZc\^c\ i]Vc [dg cZl X]Zb^XVa Zci^i^Zh [dg l]^X] cd i]ZgVeZji^X VaiZgcVi^kZh Zm^hi- ;YY^i^dcVaan+ ^c bVcn Xdjcig^Zh+ gZ^bWjghZbZci
 \j^YZa^cZh VcY ^cXZci^kZh egdk^YZY id egZhXg^W^c\ e]nh^X^Vch Wn i]^gY eVgin eVndgh bVn ]VkZ V h^\c^[^XVci ^beVXi dc i]Z egZhXg^W^c\ e]nh^X^Vchx
 l^aa^c\cZhh id egZhXg^WZ djg egdYjXih- @dg ZmVbeaZ+ i]Z O-M- [ZYZgVa \dkZgcbZci [daadlh V GZY^XVgZ hZkZg^in Y^V\cdh^h,gZaViZY \gdje+ dg GM,>LA+
 eVnbZci hnhiZb [dg XZgiV^c ^ceVi^Zci ]dhe^iVa hZgk^XZh egdk^YZY jcYZg GZY^XVgZ+ l]^X] hdbZ hiViZh Vahd jhZ [dg GZY^XV^Y- N]Z GM,>LA hnhiZb
 Zci^iaZh V ]dhe^iVa id V [^mZY gZ^bWjghZbZci WVhZY dc Y^hX]Vg\Z Y^V\cdhZh gVi]Zg i]Vc VXijVa Xdhih ^cXjggZY ^c egdk^Y^c\ ^ceVi^Zci igZVibZci+ i]ZgZWn
 ^cXgZVh^c\ i]Z ^cXZci^kZ [dg i]Z [VX^a^in id a^b^i dg Xdcigda ZmeZcY^ijgZh [dg bVcn ]ZVai]XVgZ egdYjXih- @dg djg egdYjXih jhZY ^c i]Z ^ceVi^Zci ]dhe^iVa
 hZii^c\+ i]ZgZ bVn cdi WZ hj[[^X^Zci gZ^bWjghZbZci jcYZg i]Z GM,>LA id [jaan XdkZg i]Z Xdhi d[ djg egdYjXih- QZ XVccdi WZ hjgZ i]Vi
 gZ^bWjghZbZci Vbdjcih+ dg i]Z aVX` d[ gZ^bWjghZbZci+ l^aa cdi gZYjXZ i]Z YZbVcY [dg+ dg i]Z eg^XZ d[+ djg egdYjXih- C[ gZ^bWjghZbZci ^h cdi VkV^aVWaZ
 dg ^h VkV^aVWaZ dcan Vi a^b^iZY aZkZah+ lZ bVn cdi WZ VWaZ id Z[[ZXi^kZan XdbbZgX^Va^oZ djg egdYjXih-
 N]^gY eVgin eVndgh [gZfjZcian gZfj^gZ i]Vi Ygj\ XdbeVc^Zh cZ\di^ViZ V\gZZbZcih l^i] i]Zb i]Vi egdk^YZ Y^hXdjcih dg gZWViZh [gdb a^hi eg^XZh dg
 ^cXajYZ di]Zg gZhig^Xi^kZ eg^X^c\ iZgbh- QZ ]VkZ ZmeZg^ZcXZY ^cXgZVh^c\ egZhhjgZ [gdb i]^gY eVgin eVndgh id V\gZZ id Y^hXdjcih+ gZWViZh dg di]Zg
 gZhig^Xi^kZ eg^X^c\ iZgbh [dg egdYjXih hjX] Vh RngZb- Cc VYY^i^dc+ ^[ djg XdbeZi^idgh gZYjXZ i]Z eg^XZh d[ i]Z^g egdYjXih+ dg di]Zgl^hZ YZbdchigViZ
 i]Vi i]Zn VgZ WZiiZg dg bdgZ Xdhi Z[[ZXi^kZ i]Vc djg egdYjXih+ i]^h bVn gZhjai ^c V \gZViZg aZkZa d[ gZ^bWjghZbZci [dg i]Z^g egdYjXih gZaVi^kZ id djg
 egdYjXih+ l]^X] ldjaY gZYjXZ djg hVaZh VcY ]Vgb djg gZhjaih d[ deZgVi^dch- N]Z egdXZhh [dg YZiZgb^c^c\ l]Zi]Zg V eVndg l^aa egdk^YZ XdkZgV\Z [dg
 V egdYjXi bVn WZ hZeVgViZ [gdb i]Z egdXZhh [dg hZii^c\ i]Z eg^XZ dg gZ^bWjghZbZci gViZ i]Vi i]Z eVndg l^aa eVn [dg i]Z egdYjXi dcXZ XdkZgV\Z ^h
 VeegdkZY- N]^gY eVgin eVndgh bVn a^b^i XdkZgV\Z id heZX^[^X egdYjXih dc Vc VeegdkZY a^hi+ dg [dgbjaVgn+ l]^X] b^\]i cdi ^cXajYZ Vaa d[ i]Z VeegdkZY
 egdYjXih [dg V eVgi^XjaVg ^cY^XVi^dc- ;cn hjX] gZfj^gZbZcih XdjaY ]VkZ V cZ\Vi^kZ ^beVXi dc gZkZcjZh [gdb hVaZh d[ djg egdYjXih-
 JVndgh Vahd VgZ ^cXgZVh^c\an Xdch^YZg^c\ cZl bZig^Xh Vh i]Z WVh^h [dg gZ^bWjghZbZci gViZh+ hjX] Vh VkZgV\Z hVaZh eg^XZ+ VkZgV\Z bVcj[VXijgZg eg^XZ
 VcY VXijVa VXfj^h^i^dc Xdhi- =ZgiV^c hiViZh ]VkZ WZ\jc id hjgkZn VXfj^h^i^dc Xdhi YViV [dg i]Z ejgedhZ d[ hZii^c\ GZY^XV^Y gZ^bWjghZbZci gViZh-
 =GM hjgkZnh VcY ejWa^h]Zh gZiV^a Xdbbjc^in e]VgbVXn VXfj^h^i^dc Xdhi ^c[dgbVi^dc ^c i]Z [dgb d[ HVi^dcVa ;kZgV\Z >gj\ ;Xfj^h^i^dc =dhi [^aZh id
 egdk^YZ hiViZ GZY^XV^Y V\ZcX^Zh l^i] V WVh^h d[ XdbeVg^hdc [dg i]Z^g dlc gZ^bWjghZbZci VcY eg^X^c\ bZi]dYdad\^Zh VcY gViZh- Ci bVn WZ Y^[[^Xjai id
 egd_ZXi i]Z ^beVXi d[ i]ZhZ Zkdak^c\ gZ^bWjghZbZci bZX]Vc^Xh dc i]Z l^aa^c\cZhh d[ eVndgh id XdkZg djg egdYjXih- ;cn [V^ajgZ id XdkZg djg
 egdYjXih Veegdeg^ViZan+ ^c VYY^i^dc id aZ\^haVi^kZ VcY gZ\jaVidgn X]Vc\Zh VcY di]Zgh i]Vi bVn dXXjg ^c i]Z [jijgZ+ XdjaY ^beVXi djg VW^a^in id
 bVm^b^oZ gZkZcjZh ^c i]Z [ZYZgVa bVg`ZieaVXZ- ; h^\c^[^XVci edgi^dc d[ djg gZkZcjZ [gdb hVaZh d[ ?gl^cVoZ ^h dWiV^cZY i]gdj\] \dkZgcbZci eVndgh+
 ^cXajY^c\ GZY^XV^Y+ VcY Vcn [V^ajgZ id fjVa^[n [dg gZ^bWjghZbZci [dg ?gl^cVoZ jcYZg i]dhZ egd\gVbh+ ^cXajY^c\ Vh V gZhjai d[ aZ\^haVi^kZ X]Vc\Zh id
 i]ZhZ egd\gVbh+ ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc gZkZcjZh [gdb hVaZh d[ ?gl^cVoZ-
 QZ ZmeZXi id ZmeZg^ZcXZ eg^X^c\ egZhhjgZ ^c i]Z O-M- ^c XdccZXi^dc l^i] i]Z hVaZ d[ djg egdYjXih YjZ id bVcV\ZY ]ZVai]XVgZ+ i]Z ^cXgZVh^c\
 ^c[ajZcXZ d[ ]ZVai] bV^ciZcVcXZ dg\Vc^oVi^dch+ VYY^i^dcVa aZ\^haVi^kZ egdedhVah id XjgW ]ZVai]XVgZ Xdhih VcY cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ eg^X^c\
 VcY eg^XZ ^cXgZVhZh \ZcZgVaan+ l]^X] XdjaY a^b^i i]Z eg^XZh i]Vi lZ X]Vg\Z [dg djg

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 egdYjXih+ ^cXajY^c\ RngZb+ a^b^i i]Z XdbbZgX^Va deedgijc^i^Zh [dg djg egdYjXih VcY.dg cZ\Vi^kZan ^beVXi gZkZcjZh [gdb hVaZh d[ djg egdYjXih- Cc
 kVg^djh ?O bZbWZg hiViZh lZ ZmeZXi id WZ hjW_ZXi id Xdci^cjdjh Xdhi,Xjii^c\ bZVhjgZh+ hjX] Vh adlZg bVm^bjb eg^XZh+ adlZg dg aVX` d[
 gZ^bWjghZbZci XdkZgV\Z VcY ^cXZci^kZh id jhZ X]ZVeZg+ jhjVaan \ZcZg^X+ egdYjXih Vh Vc VaiZgcVi^kZ- C[ lZ [V^a id hjXXZhh[jaan hZXjgZ VcY bV^ciV^c
 gZ^bWjghZbZci XdkZgV\Z [dg djg egdYjXih dg VgZ h^\c^[^XVcian YZaVnZY ^c Yd^c\ hd+ lZ l^aa ]VkZ Y^[[^Xjain VX]^Zk^c\ bVg`Zi VXXZeiVcXZ d[ djg
 egdYjXih VcY djg Wjh^cZhh l^aa WZ ]VgbZY- QZ ]VkZ eZg^dY^XVaan ^cXgZVhZY i]Z eg^XZ d[ RngZb+ bdhi gZXZcian ^c DVcjVgn 1/06+ VcY lZ ]VkZ bVYZ
 VcY bVn ^c i]Z [jijgZ bV`Z h^b^aVg eg^XZ ^cXgZVhZh dc djg di]Zg egdYjXih- QZ XVccdi VhhjgZ ndj i]Vi hjX] eg^XZ VY_jhibZcih 'eVgi^XjaVgan ^c i]Z
 ZkZci V \ZcZg^X kZgh^dc l^i] V adlZg eg^XZ i]Vc RngZb ^h ^cigdYjXZY( l^aa cdi cZ\Vi^kZan V[[ZXi djg gZejiVi^dc VcY djg VW^a^in id hZXjgZ VcY bV^ciV^c
 gZ^bWjghZbZci XdkZgV\Z [dg djg egdYjXih+ l]^X] XdjaY cZ\Vi^kZan ^beVXi djg hVaZh kdajbZh VcY gZkZcjZ-
 BZVai] NZX]cdad\n ;hhZhhbZci+ dg BN;+ d[ bZY^X^cVa egdYjXih ^h WZXdb^c\ Vc ^cXgZVh^c\an Xdbbdc eVgi d[ i]Z eg^X^c\ VcY gZ^bWjghZbZci
 egdXZYjgZh ^c hdbZ ?O bZbWZg hiViZh- N]ZhZ ?O bZbWZg hiViZh ^cXajYZ i]Z Oc^iZY E^c\Ydb+ @gVcXZ+ AZgbVcn+ CgZaVcY+ CiVan+ MeV^c+ VcY MlZYZc-
 N]Z BN; egdXZhh+ l]^X] ^h \dkZgcZY Wn i]Z cVi^dcVa aVlh d[ i]ZhZ Xdjcig^Zh+ ^h i]Z egdXZYjgZ VXXdgY^c\ id l]^X] i]Z VhhZhhbZci d[ i]Z ejWa^X
 ]ZVai] ^beVXi+ i]ZgVeZji^X ^beVXi VcY i]Z ZXdcdb^X VcY hdX^ZiVa ^beVXi d[ jhZ d[ V \^kZc bZY^X^cVa egdYjXi ^c i]Z cVi^dcVa ]ZVai]XVgZ hnhiZbh d[
 i]Z ^cY^k^YjVa Xdjcign ^h XdcYjXiZY- BN; \ZcZgVaan [dXjhZh dc i]Z Xa^c^XVa Z[[^XVXn VcY Z[[ZXi^kZcZhh+ hV[Zin+ Xdhi+ VcY Xdhi,Z[[ZXi^kZcZhh d[
 ^cY^k^YjVa bZY^X^cVa egdYjXih+ Vh lZaa Vh i]Z^g ediZci^Va ^bea^XVi^dch [dg i]Z ]ZVai]XVgZ hnhiZb- N]dhZ ZaZbZcih d[ bZY^X^cVa egdYjXih VgZ XdbeVgZY
 l^i] di]Zg igZVibZci dei^dch VkV^aVWaZ dc i]Z bVg`Zi- N]Z djiXdbZ d[ BN; gZ\VgY^c\ heZX^[^X bZY^X^cVa egdYjXih l^aa d[iZc ^c[ajZcXZ i]Z eg^X^c\ VcY
 gZ^bWjghZbZci hiVijh \gVciZY id i]ZhZ bZY^X^cVa egdYjXih Wn i]Z XdbeZiZci Vji]dg^i^Zh d[ ^cY^k^YjVa ?O bZbWZg hiViZh- JjghjVci id >^gZXi^kZ
 1/00.13.?O+ V kdajciVgn cZildg` d[ cVi^dcVa Vji]dg^i^Zh dg WdY^Zh gZhedch^WaZ [dg BN; ^c i]Z ^cY^k^YjVa ?O bZbWZg hiViZh lVh ZhiVWa^h]ZY- N]Z ?O
 bZbWZg hiViZh lZgZ gZfj^gZY id ^beaZbZci i]Z egdk^h^dch d[ i]Z >^gZXi^kZ ^cid i]Z^g cVi^dcVa aZ\^haVi^dc Wn IXidWZg 14+ 1/02- N]Z ejgedhZ d[ i]Z
 cZildg` ^h id [VX^a^iViZ VcY hjeedgi i]Z ZmX]Vc\Z d[ hX^Zci^[^X ^c[dgbVi^dc XdcXZgc^c\ BN;h- N]^h XdjaY aZVY id ]Vgbdc^oVi^dc WZilZZc ?O bZbWZg
 hiViZh d[ i]Z Xg^iZg^V iV`Zc ^cid VXXdjci ^c i]Z XdcYjXi d[ BN; VcY i]Z^g ^beVXi dc eg^X^c\ VcY gZ^bWjghZbZci YZX^h^dch-
 N]Z ZmiZci id l]^X] eg^X^c\ VcY gZ^bWjghZbZci YZX^h^dch VgZ ^c[ajZcXZY Wn i]Z BN; d[ i]Z heZX^[^X bZY^X^cVa egdYjXi+ ]dlZkZg+ hi^aa kVgn WZilZZc
 ?O bZbWZg hiViZh VcY XVccdi WZ YZiZgb^cZY dg Vci^X^eViZY ^c gZaVi^dc id djg egdYjXih Vi i]Z egZhZci i^bZ- C[ lZ VgZ jcVWaZ id jai^bViZan dWiV^c
 [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^c Xdjcig^Zh i]Vi gZegZhZci h^\c^[^XVci bVg`Zih+ ZheZX^Vaan l]ZgZ V Xdjcignxh gZ^bWjghZY eg^XZ
 ^c[ajZcXZh di]Zg Xdjcig^Zh+ djg \gdli] egdheZXih ^c ?jgdeZ XdjaY WZ cZ\Vi^kZan V[[ZXiZY-
 Cc i]Z ?O+ djg egdYjXih VgZ bVg`ZiZY i]gdj\] kVg^djh X]VccZah VcY l^i]^c Y^[[ZgZci aZ\Va [gVbZldg`h- Cc XZgiV^c ?O bZbWZg hiViZh+ gZ^bWjghZbZci
 [dg jcVji]dg^oZY egdYjXih bVn WZ egdk^YZY i]gdj\] cVi^dcVa cVbZY eVi^Zci egd\gVbh- MjX] gZ^bWjghZbZci bVn cd adc\Zg WZ VkV^aVWaZ ^[
 Vji]dg^oVi^dc [dg cVbZY eVi^Zci egd\gVbh Zme^gZ dg VgZ iZgb^cViZY dg l]Zc bVg`Zi^c\ Vji]dg^oVi^dc ^h \gVciZY- Cc di]Zg ?O bZbWZg hiViZh+
 Vji]dg^oVi^dc VcY gZ^bWjghZbZci eda^X^Zh bVn Vahd YZaVn XdbbZgX^Va^oVi^dc d[ djg egdYjXih+ dg bVn VYkZghZan V[[ZXi djg VW^a^in id hZaa djg egdYjXih
 dc V egd[^iVWaZ WVh^h- ;[iZg ^c^i^Va eg^XZ VcY gZ^bWjghZbZci VeegdkVah+ gZYjXi^dch ^c eg^XZh VcY X]Vc\Zh ^c gZ^bWjghZbZci aZkZah XVc WZ ig^\\ZgZY Wn
 bjai^eaZ [VXidgh+ ^cXajY^c\ gZ[ZgZcXZ eg^X^c\ hnhiZbh VcY ejWa^XVi^dc d[ Y^hXdjcih Wn i]^gY eVgin eVndgh dg Vji]dg^i^Zh ^c di]Zg Xdjcig^Zh- Cc i]Z ?O+
 eg^XZh XVc WZ gZYjXZY [jgi]Zg Wn eVgVaaZa Y^hig^Wji^dc VcY eVgVaaZa igVYZ+ dg VgW^igV\Z WZilZZc adl,eg^XZY VcY ]^\],eg^XZY bZbWZg hiViZh-
 QZ VgZ jcVWaZ id egZY^Xi l]Vi VYY^i^dcVa aZ\^haVi^dc+ gZ\jaVi^dch dg eda^X^Zh+ ^[ Vcn+ gZaVi^c\ id i]Z ]ZVai]XVgZ ^cYjhign dg i]^gY eVgin XdkZgV\Z VcY
 gZ^bWjghZbZci bVn WZ ZcVXiZY ^c i]Z [jijgZ dg l]Vi Z[[ZXi hjX] aZ\^haVi^dc+ gZ\jaVi^dch dg eda^X^Zh ldjaY ]VkZ dc djg Wjh^cZhh- ;cn Xdhi
 XdciV^cbZci bZVhjgZh+ ^cXajY^c\ i]dhZ a^hiZY VWdkZ+ dg di]Zg ]ZVai]XVgZ hnhiZb gZ[dgbh i]Vi VgZ VYdeiZY+ XdjaY cZ\Vi^kZan V[[ZXi djg \gdli]
 egdheZXih ^c ?jgdeZ-
 N]ZgZ Vahd Xdci^cjZ id WZ aZ\^haVi^kZ egdedhVah id VbZcY O-M- aVlh id Vaadl i]Z ^bedgiVi^dc ^cid i]Z O-M- d[ egZhXg^ei^dc Ygj\h+ l]^X] XVc WZ hdaY Vi
 eg^XZh i]Vi VgZ gZ\jaViZY Wn i]Z \dkZgcbZcih d[ kVg^djh cdc,O-M- Xdjcig^Zh- N]Z ediZci^Va ^bedgiVi^dc d[ egZhXg^ei^dc Ygj\h XdjaY edhZ h^\c^[^XVci
 hV[Zin XdcXZgch [dg eVi^Zcih+ ^cXgZVhZ i]Z g^h` d[ XdjciZg[Z^i egdYjXih WZXdb^c\ VkV^aVWaZ ^c i]Z bVg`Zi+ VcY XdjaY Vahd ]VkZ V cZ\Vi^kZ ^beVXi dc
 egZhXg^ei^dc Ygj\ eg^XZh ^c i]Z O-M- @dg ZmVbeaZ+ i]Z ediZci^Va ^bedgiVi^dc d[ RngZb l^i]dji i]Z hV[Z\jVgY d[ djg RngZb L?GM XdjaY ]Vgb eVi^Zcih
 VcY XdjaY Vahd cZ\Vi^kZan ^beVXi RngZb gZkZcjZh-
 Product liability and product recalls could harm our business.
 N]Z YZkZadebZci+ bVcj[VXijgZ+ iZhi^c\+ bVg`Zi^c\ VcY hVaZ d[ e]VgbVXZji^XVa egdYjXih VgZ VhhdX^ViZY l^i] h^\c^[^XVci g^h`h d[ egdYjXi a^VW^a^in
 XaV^bh dg gZXVaah- M^YZ Z[[ZXih dg VYkZghZ ZkZcih `cdlc dg gZedgiZY id WZ VhhdX^ViZY l^i]+ dg bVcj[VXijg^c\ YZ[ZXih ^c+ i]Z egdYjXih hdaY Wn jh
 XdjaY ZmVXZgWViZ V eVi^Zcixh XdcY^i^dc+ dg XdjaY gZhjai ^c hZg^djh ^c_jgn dg ^beV^gbZcih dg ZkZc YZVi]- N]^h XdjaY gZhjai ^c egdYjXi a^VW^a^in XaV^bh
 VcY.dg gZXVaah d[ dcZ dg bdgZ d[ djg egdYjXih- MdbZ d[ djg egdYjXih+ ^cXajY^c\ RngZb VcY Jg^Vai+ ]VkZ WdmZY lVgc^c\h ^c i]Z^g aVWZah- Cc VYY^i^dc+ ^c
 i]Z ?O+ >Z[^iZa^dxh aVWZa ^cXajYZh Vc ^ckZgiZY WaVX` ig^Vc\aZ i]Vi ^cY^XViZh i]Z egdYjXi ^h hjW_ZXi id VYY^i^dcVa bdc^idg^c\ id eZgb^i fj^X`
 ^YZci^[^XVi^dc d[ cZl hV[Zin ^c[dgbVi^dc+ Vh V XdcY^i^dc d[ Vji]dg^oVi^dc d[ >Z[^iZa^d jcYZg vZmXZei^dcVa X^gXjbhiVcXZh-w Cc bVcn Xdjcig^Zh+

                                                                            58
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 NVWaZ d[ =dciZcih



 ^cXajY^c\ ^c ?O bZbWZg hiViZh+ cVi^dcVa aVlh egdk^YZ [dg hig^Xi 'cd,[Vjai( a^VW^a^in l]^X] Veea^Zh ZkZc l]ZgZ YVbV\Zh VgZ XVjhZY Wdi] Wn V YZ[ZXi ^c
 V egdYjXi VcY Wn i]Z VXi dg db^hh^dc d[ V i]^gY eVgin-
 JgdYjXi a^VW^a^in XaV^bh bVn WZ Wgdj\]i Wn ^cY^k^YjVah hZZ`^c\ gZa^Z[ [dg i]ZbhZakZh dg Wn \gdjeh hZZ`^c\ id gZegZhZci V XaVhh d[ ^c_jgZY eVi^Zcih-
 @jgi]Zg+ i]^gY eVgin eVndgh+ Z^i]Zg ^cY^k^YjVaan dg Vh V ejiVi^kZ XaVhh+ bVn Wg^c\ VXi^dch hZZ`^c\ id gZXdkZg bdc^Zh heZci dc dcZ d[ djg egdYjXih-
 N]Z g^h` d[ egdYjXi a^VW^a^in XaV^bh bVn Vahd ^cXgZVhZ ^[ V XdbeVcn gZXZ^kZh V lVgc^c\ aZiiZg [gdb V gZ\jaVidgn V\ZcXn- JgdYjXi a^VW^a^in XaV^bh VgZ Vc
 ^c]ZgZci g^h` ^c djg Wjh^cZhh+ Wji lZ XVccdi egZY^Xi i]Z [gZfjZcXn+ djiXdbZ dg Xdhi id YZ[ZcY Vcn hjX] XaV^bh-
 JgdYjXi a^VW^a^in ^chjgVcXZ XdkZgV\Z ^h ZmeZch^kZ+ XVc WZ Y^[[^Xjai id dWiV^c VcY bVn cdi WZ VkV^aVWaZ ^c i]Z [jijgZ dc VXXZeiVWaZ iZgbh+ dg Vi Vaa- Ijg
 egdYjXi a^VW^a^in ^chjgVcXZ bVn cdi XdkZg Vaa d[ i]Z [jijgZ a^VW^a^i^Zh lZ b^\]i ^cXjg ^c XdccZXi^dc l^i] i]Z YZkZadebZci+ bVcj[VXijgZ dg hVaZ d[ djg
 egdYjXih- Cc VYY^i^dc+ lZ bVn cdi Xdci^cjZ id WZ VWaZ id dWiV^c ^chjgVcXZ dc hVi^h[VXidgn iZgbh dg ^c VYZfjViZ Vbdjcih-
 ; hjXXZhh[ja XaV^b dg XaV^bh Wgdj\]i V\V^chi jh ^c ZmXZhh d[ VkV^aVWaZ ^chjgVcXZ XdkZgV\Z XdjaY hjW_ZXi jh id h^\c^[^XVci a^VW^a^i^Zh VcY XdjaY ]VkZ V
 bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- MjX] XaV^bh XdjaY Vahd ]Vgb djg gZejiVi^dc
 VcY i]Z gZejiVi^dc d[ djg egdYjXih+ VYkZghZan V[[ZXi^c\ djg VW^a^in id bVg`Zi djg egdYjXih hjXXZhh[jaan- Cc VYY^i^dc+ YZ[ZcY^c\ V egdYjXi a^VW^a^in
 aVlhj^i ^h ZmeZch^kZ VcY XVc Y^kZgi i]Z ViiZci^dc d[ `Zn ZbeadnZZh [gdb deZgVi^c\ djg Wjh^cZhh-
 JgdYjXi gZXVaah bVn WZ ^hhjZY Vi djg Y^hXgZi^dc dg Vi i]Z Y^hXgZi^dc d[ djg hjeea^Zgh+ \dkZgcbZci V\ZcX^Zh VcY di]Zg Zci^i^Zh i]Vi ]VkZ gZ\jaVidgn
 Vji]dg^in [dg e]VgbVXZji^XVa hVaZh- ;cn gZXVaa d[ djg egdYjXih XdjaY bViZg^Vaan VYkZghZan V[[ZXi djg Wjh^cZhh Wn gZcYZg^c\ jh jcVWaZ id hZaa i]Vi
 egdYjXi [dg hdbZ i^bZ VcY Wn VYkZghZan V[[ZXi^c\ djg gZejiVi^dc- ; gZXVaa XdjaY Vahd gZhjai ^c egdYjXi a^VW^a^in XaV^bh Wn ^cY^k^YjVah VcY i]^gY eVgin
 eVndgh- Cc VYY^i^dc+ egdYjXi a^VW^a^in XaV^bh XdjaY gZhjai ^c Vc ^ckZhi^\Vi^dc d[ i]Z hV[Zin dg Z[[^XVXn d[ djg egdYjXih+ djg bVcj[VXijg^c\ egdXZhhZh
 VcY [VX^a^i^Zh+ dg djg bVg`Zi^c\ egd\gVbh XdcYjXiZY Wn i]Z @>;+ i]Z ?G;+ dg i]Z XdbeZiZci Vji]dg^i^Zh d[ i]Z ?O bZbWZg hiViZh- MjX]
 ^ckZhi^\Vi^dch XdjaY Vahd ediZci^Vaan aZVY id V gZXVaa d[ djg egdYjXih dg bdgZ hZg^djh Zc[dgXZbZci VXi^dch+ a^b^iVi^dch dc i]Z ^cY^XVi^dch [dg l]^X]
 i]Zn bVn WZ jhZY+ dg hjheZch^dc+ kVg^Vi^dc+ dg l^i]YgVlVa d[ VeegdkVa- ;cn hjX] gZ\jaVidgn VXi^dc Wn i]Z @>;+ i]Z ?= dg i]Z XdbeZiZci Vji]dg^i^Zh
 d[ i]Z ?O bZbWZg hiViZh XdjaY aZVY id egdYjXi a^VW^a^in aVlhj^ih Vh lZaa-
 We use hazardous materials in our manufacturing facilities, and any claims relating to the improper handling, storage, release or disposal of
 these materials could be time-consuming and expensive.
 Ijg deZgVi^dch VgZ hjW_ZXi id XdbeaZm VcY ^cXgZVh^c\an hig^c\Zci Zck^gdcbZciVa+ ]ZVai] VcY hV[Zin aVlh VcY gZ\jaVi^dch ^c i]Z Xdjcig^Zh l]ZgZ lZ
 deZgViZ VcY+ ^c eVgi^XjaVg+ ^c CiVan VcY CgZaVcY l]ZgZ lZ ]VkZ bVcj[VXijg^c\ [VX^a^i^Zh- ?ck^gdcbZciVa VcY ]ZVai] VcY hV[Zin Vji]dg^i^Zh ^c i]Z
 gZaZkVci _jg^hY^Xi^dch VYb^c^hiZg aVlh+ l]^X] ^beaZbZci ?O Y^gZXi^kZh VcY gZ\jaVi^dch \dkZgc^c\+ Vbdc\ di]Zg bViiZgh+ i]Z Zb^hh^dc d[ edaajiVcih
 ^cid i]Z V^g '^cXajY^c\ i]Z ldg`eaVXZ(+ i]Z Y^hX]Vg\Z d[ edaajiVcih ^cid WdY^Zh d[ lViZg+ i]Z hidgV\Z+ jhZ+ ]VcYa^c\ VcY Y^hedhVa d[ ]VoVgYdjh
 hjWhiVcXZh+ i]Z ZmedhjgZ d[ eZghdch id ]VoVgYdjh hjWhiVcXZh+ VcY i]Z \ZcZgVa ]ZVai]+ hV[Zin VcY lZa[VgZ d[ ZbeadnZZh VcY bZbWZgh d[ i]Z ejWa^X-
 Cc XZgiV^c XVhZh+ hjX] aVlh+ Y^gZXi^kZh VcY gZ\jaVi^dch bVn ^bedhZ hig^Xi a^VW^a^in [dg edaaji^dc d[ i]Z Zck^gdcbZci VcY XdciVb^cVi^dc gZhjai^c\ [gdb
 he^aah+ Y^hedhVah dg di]Zg gZaZVhZh d[ ]VoVgYdjh hjWhiVcXZh dg lVhiZ dg Vcn b^\gVi^dc d[ hjX] ]VoVgYdjh hjWhiVcXZh dg lVhiZ- =dhih+ YVbV\Zh
 VcY.dg [^cZh bVn gZhjai [gdb i]Z egZhZcXZ+ ^ckZhi^\Vi^dc VcY gZbZY^Vi^dc d[ hjX] XdciVb^cVi^dc Vi egdeZgi^Zh XjggZcian dg [dgbZgan dlcZY+ aZVhZY dg
 deZgViZY Wn jh dg Vi d[[,h^iZ adXVi^dch+ ^cXajY^c\ l]ZgZ lZ ]VkZ VggVc\ZY [dg i]Z Y^hedhVa d[ ]VoVgYdjh hjWhiVcXZh dg lVhiZ- Cc VYY^i^dc+ lZ bVn WZ
 hjW_ZXi id i]^gY eVgin XaV^bh+ ^cXajY^c\ [dg cVijgVa gZhdjgXZ YVbV\Zh+ eZghdcVa ^c_jgn VcY egdeZgin YVbV\Z+ ^c XdccZXi^dc l^i] hjX] XdciVb^cVi^dc-
 Ijg bVcj[VXijg^c\ VXi^k^i^Zh ^c CiVan VcY CgZaVcY ^ckdakZ i]Z XdcigdaaZY hidgV\Z+ jhZ VcY Y^hedhVa d[ X]Zb^XVah VcY hdakZcih- ?kZc ^[ djg hV[Zin
 egdXZYjgZh [dg ]VcYa^c\ VcY Y^hedh^c\ d[ i]ZhZ ]VoVgYdjh bViZg^Vah Xdbean l^i] i]Z hiVcYVgYh egZhXg^WZY Wn i]ZhZ ?O aVlh VcY gZ\jaVi^dch+ lZ
 XVccdi XdbeaZiZan Za^b^cViZ i]Z g^h` d[ XdciVb^cVi^dc dg ^c_jgn [gdb ]VoVgYdjh bViZg^Vah- C[ Vc VXX^YZci dXXjgh+ Vc ^c_jgZY eVgin XdjaY hZZ` id ]daY
 jh a^VWaZ [dg Vcn YVbV\Zh i]Vi gZhjai VcY Vcn a^VW^a^in XdjaY ZmXZZY i]Z a^b^ih dg [Vaa djih^YZ i]Z XdkZgV\Z d[ djg ^chjgVcXZ- QZ bVn cdi WZ VWaZ id
 bV^ciV^c ^chjgVcXZ dc VXXZeiVWaZ iZgbh+ dg Vi Vaa- QZ bVn ^cXjg h^\c^[^XVci Xdhih id Xdbean l^i] XjggZci dg [jijgZ ?O Zck^gdcbZciVa aVlh VcY
 gZ\jaVi^dch-


 Risks Related to Our Financial Condition and Results
 We have incurred substantial debt, which could impair our flexibility and access to capital and adversely affect our financial position.
 ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY idiVa ^cYZWiZYcZhh d[ Veegdm^bViZan #1-0 W^aa^dc+ l]^X] ^cXajYZY #/-8 W^aa^dc ^c djihiVcY^c\ Wdggdl^c\h jcYZg djg
 gZkdak^c\ XgZY^i [VX^a^in+ #601-8 b^aa^dc d[ djihiVcY^c\ hZXjgZY ^cYZWiZYcZhh jcYZg V XgZY^i V\gZZbZci i]Vi lZ ZciZgZY ^cid ^c DjcZ 1/04 VcY
 hjWhZfjZcian VbZcYZY ^c Djan 1/05+ l]^X] lZ gZ[Zg id Vh i]Z VbZcYZY XgZY^i V\gZZbZci+ VcY #464-/ b^aa^dc d[ djihiVcY^c\ ^cYZWiZYcZhh jcYZg djg
 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10+ dg i]Z 1/10 HdiZh+ l]^X] lZgZ ^hhjZY ^c ;j\jhi 1/03-

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 NVWaZ d[ =dciZcih



 Ijg YZWi bVn9
 s         a^b^i djg VW^a^in id Wdggdl VYY^i^dcVa [jcYh [dg ldg`^c\ XVe^iVa+ XVe^iVa ZmeZcY^ijgZh+ VXfj^h^i^dch dg di]Zg \ZcZgVa Wjh^cZhh ejgedhZh:
 s         a^b^i djg VW^a^in id jhZ djg XVh] [adl dg dWiV^c VYY^i^dcVa [^cVcX^c\ [dg ldg`^c\ XVe^iVa+ XVe^iVa ZmeZcY^ijgZh+ VXfj^h^i^dch dg di]Zg \ZcZgVa
           Wjh^cZhh ejgedhZh:
 s         gZfj^gZ jh id jhZ V hjWhiVci^Va edgi^dc d[ djg XVh] [adl [gdb deZgVi^dch id bV`Z YZWi hZgk^XZ eVnbZcih:
 s         a^b^i djg [aZm^W^a^in id eaVc [dg+ dg gZVXi id+ X]Vc\Zh ^c djg Wjh^cZhh VcY ^cYjhign:
 s         gZhjai ^c Y^aji^dc id djg Zm^hi^c\ h]VgZ]daYZgh ^c i]Z ZkZci ZmX]Vc\Zh d[ djg 1/10 HdiZh VgZ hZiiaZY ^c djg dgY^cVgn h]VgZh:
 s         eaVXZ jh Vi V XdbeZi^i^kZ Y^hVYkVciV\Z XdbeVgZY id djg aZhh aZkZgV\ZY XdbeZi^idgh: VcY
 s         ^cXgZVhZ djg kjacZgVW^a^in id i]Z ^beVXi d[ VYkZghZ ZXdcdb^X VcY ^cYjhign XdcY^i^dch-
 Ijg VW^a^in id bZZi djg YZWi hZgk^XZ dWa^\Vi^dch l^aa YZeZcY dc djg [jijgZ eZg[dgbVcXZ+ l]^X] l^aa WZ hjW_ZXi id [^cVcX^Va+ Wjh^cZhh VcY di]Zg [VXidgh
 V[[ZXi^c\ djg deZgVi^dch+ bVcn d[ l]^X] VgZ WZndcY djg Xdcigda- C[ lZ Yd cdi ]VkZ hj[[^X^Zci [jcYh id bZZi djg YZWi hZgk^XZ dWa^\Vi^dch+ lZ bVn WZ
 gZfj^gZY id gZ[^cVcXZ dg gZhigjXijgZ Vaa dg eVgi d[ djg Zm^hi^c\ YZWi+ hZaa VhhZih+ Wdggdl bdgZ bdcZn dg hZaa hZXjg^i^Zh+ cdcZ d[ l]^X] lZ XVc VhhjgZ
 ndj i]Vi lZ ldjaY WZ VWaZ id Yd ^c V i^bZan bVccZg+ dg Vi Vaa-
 Covenants in our amended credit agreement restrict our business and operations in many ways and if we do not effectively manage our
 covenants, our financial conditions and results of operations could be adversely affected.
 N]Z VbZcYZY XgZY^i V\gZZbZci egdk^YZh [dg V #64/-/ b^aa^dc eg^cX^eVa Vbdjci iZgb adVc YjZ ^c Djan 1/10 VcY V #0-14 W^aa^dc gZkdak^c\ XgZY^i [VX^a^in+
 l^i] adVch jcYZg hjX] gZkdak^c\ XgZY^i [VX^a^in YjZ ^c Djan 1/10+ hjW_ZXi id ZVgan bVcYVidgn gZeVnbZcih jcYZg XZgiV^c X^gXjbhiVcXZh- N]Z VbZcYZY
 XgZY^i V\gZZbZci XdciV^ch kVg^djh XdkZcVcih i]Vi a^b^i djg VW^a^in VcY.dg djg gZhig^XiZY hjWh^Y^Vg^Zhx VW^a^in id+ Vbdc\ di]Zg i]^c\h9
 s         ^cXjg dg VhhjbZ a^Zch dg VYY^i^dcVa YZWi dg egdk^YZ \jVgVciZZh ^c gZheZXi d[ dWa^\Vi^dch d[ di]Zg eZghdch:
 s         ^hhjZ gZYZZbVWaZ egZ[ZggZY hidX`:
 s         eVn Y^k^YZcYh dg Y^hig^Wji^dch dg gZYZZb dg gZejgX]VhZ XVe^iVa hidX`:
 s         egZeVn+ gZYZZb dg gZejgX]VhZ XZgiV^c YZWi:
 s         bV`Z adVch+ ^ckZhibZcih+ VXfj^h^i^dch '^cXajY^c\ VXfj^h^i^dch d[ ZmXajh^kZ a^XZchZh( VcY XVe^iVa ZmeZcY^ijgZh:
 s         ZciZg ^cid V\gZZbZcih i]Vi gZhig^Xi Y^hig^Wji^dch [gdb djg hjWh^Y^Vg^Zh:
 s         hZaa VhhZih VcY XVe^iVa hidX` d[ djg hjWh^Y^Vg^Zh:
 s         ZciZg ^cid XZgiV^c igVchVXi^dch l^i] V[[^a^ViZh: VcY
 s         Xdchda^YViZ dg bZg\Z l^i] dg ^cid+ dg hZaa hjWhiVci^Vaan Vaa d[ djg VhhZih id+ Vcdi]Zg eZghdc-
 N]Z VbZcYZY XgZY^i V\gZZbZci Vahd ^cXajYZh [^cVcX^Va XdkZcVcih i]Vi gZfj^gZ jh id bV^ciV^c V bVm^bjb hZXjgZY aZkZgV\Z gVi^d VcY V b^c^bjb
 ^ciZgZhi XdkZgV\Z gVi^d- Ijg VW^a^in id Xdbean l^i] i]ZhZ [^cVcX^Va XdkZcVcih bVn WZ V[[ZXiZY Wn ZkZcih WZndcY djg Xdcigda- Cc VYY^i^dc+ i]Z
 XdkZcVcih jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci XdjaY gZhig^Xi djg deZgVi^dch+ eVgi^XjaVgan djg VW^a^in id gZhedcY id X]Vc\Zh ^c djg Wjh^cZhh dg id
 iV`Z heZX^[^ZY VXi^dch id iV`Z VYkVciV\Z d[ XZgiV^c Wjh^cZhh deedgijc^i^Zh i]Vi bVn WZ egZhZciZY id jh- Ijg [V^ajgZ id Xdbean l^i] Vcn d[ i]Z
 XdkZcVcih XdjaY gZhjai ^c V YZ[Vjai jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci+ l]^X] XdjaY eZgb^i i]Z aZcYZgh id YZXaVgZ Vaa dg eVgi d[ Vcn djihiVcY^c\
 Wdggdl^c\h id WZ ^bbZY^ViZan YjZ VcY eVnVWaZ+ dg id gZ[jhZ id eZgb^i VYY^i^dcVa Wdggdl^c\h jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in- ; YZ[Vjai jcYZg i]Z
 VbZcYZY XgZY^i V\gZZbZci XdjaY Vahd aZVY id V YZ[Vjai jcYZg di]Zg YZWi V\gZZbZcih dg dWa^\Vi^dch+ ^cXajY^c\ i]Z ^cYZcijgZ \dkZgc^c\ djg 1/10
 HdiZh-
 Cc VYY^i^dc+ i]Z ]daYZgh d[ djg 1/10 HdiZh ]VkZ i]Z VW^a^in id gZfj^gZ jh id gZejgX]VhZ i]Z^g cdiZh [dg XVh] ^[ lZ jcYZg\d XZgiV^c [jcYVbZciVa
 X]Vc\Zh+ hjX] Vh heZX^[^ZY X]Vc\Z d[ Xdcigda igVchVXi^dch+ djg a^fj^YVi^dc dg Y^hhdaji^dc+ dg i]Z YZa^hi^c\ d[ djg dgY^cVgn h]VgZh [gdb N]Z
 H;M>;K AadWVa MZaZXi GVg`Zi- GdgZdkZg+ jedc ZmX]Vc\Z d[ i]Z 1/10 HdiZh+ jcaZhh lZ ZaZXi id XVjhZ id WZ YZa^kZgZY hdaZan dgY^cVgn h]VgZh id
 hZiiaZ hjX] ZmX]Vc\Z+ lZ l^aa WZ gZfj^gZY id bV`Z XVh] eVnbZcih ^c gZheZXi d[ i]Z 1/10 HdiZh WZ^c\ ZmX]Vc\ZY- Cc i]^h gZ\VgY+ ^i ^h djg ^ciZci VcY
 eda^Xn id hZiiaZ i]Z eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh ^c XVh] jedc ZmX]Vc\Z- BdlZkZg+ lZ bVn cdi ]VkZ Zcdj\] VkV^aVWaZ XVh] dg WZ VWaZ id
 dWiV^c [^cVcX^c\ Vi i]Z i^bZ lZ VgZ gZfj^gZY id bV`Z Vcn gZfj^gZY gZejgX]VhZh d[ hjggZcYZgZY 1/10 HdiZh dg id eVn XVh] jedc ZmX]Vc\Zh d[ 1/10
 HdiZh- Ijg [V^ajgZ id gZejgX]VhZ 1/10 HdiZh Vi V i^bZ l]Zc i]Z gZejgX]VhZ ^h gZfj^gZY Wn i]Z ^cYZcijgZ \dkZgc^c\ i]Z 1/10 HdiZh dg id eVn

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 NVWaZ d[ =dciZcih



 Vcn XVh] eVnVWaZ dc [jijgZ ZmX]Vc\Zh d[ i]Z 1/10 HdiZh Vh gZfj^gZY Wn i]Z ^cYZcijgZ \dkZgc^c\ i]Z 1/10 HdiZh ldjaY Xdchi^ijiZ V YZ[Vjai jcYZg
 i]Vi ^cYZcijgZ- ; YZ[Vjai jcYZg i]Vi ^cYZcijgZ XdjaY Vahd aZVY id V YZ[Vjai jcYZg di]Zg YZWi V\gZZbZcih dg dWa^\Vi^dch+ ^cXajY^c\ i]Z VbZcYZY XgZY^i
 V\gZZbZci- C[ i]Z gZeVnbZci d[ i]Z gZaViZY ^cYZWiZYcZhh lZgZ id WZ VXXZaZgViZY+ lZ bVn cdi ]VkZ hj[[^X^Zci [jcYh id gZeVn i]Z gZaViZY ^cYZWiZYcZhh+
 l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg [^cVcX^Va XdcY^i^dc VcY djg Wjh^cZhh- Cc i]^h gZ\VgY+ ^[ lZ VgZ jcVWaZ id gZeVn Vbdjcih jcYZg i]Z
 VbZcYZY XgZY^i V\gZZbZci+ i]Z aZcYZgh jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci XdjaY egdXZZY V\V^chi i]Z XdaaViZgVa \gVciZY id i]Zb id hZXjgZ i]Vi
 YZWi+ l]^X] ldjaY hZg^djhan ]Vgb djg Wjh^cZhh-
 We may not be able to generate sufficient cash to service our debt obligations.
 Ijg VW^a^in id bV`Z eVnbZcih dc VcY id gZ[^cVcXZ djg YZWi l^aa YZeZcY dc djg [jijgZ [^cVcX^Va VcY deZgVi^c\ eZg[dgbVcXZ+ l]^X] ^h hjW_ZXi id
 egZkV^a^c\ ZXdcdb^X VcY XdbeZi^i^kZ XdcY^i^dch VcY id XZgiV^c [^cVcX^Va+ Wjh^cZhh VcY di]Zg [VXidgh WZndcY djg Xdcigda- QZ bVn WZ jcVWaZ id
 bV^ciV^c V aZkZa d[ edh^i^kZ XVh] [adlh [gdb deZgVi^c\ VXi^k^i^Zh hj[[^X^Zci id eZgb^i jh id eVn i]Z eg^cX^eVa VcY ^ciZgZhi dc djg YZWi-
 C[ djg XVh] [adlh VcY XVe^iVa gZhdjgXZh VgZ ^chj[[^X^Zci id [jcY djg YZWi hZgk^XZ dWa^\Vi^dch+ lZ bVn WZ [dgXZY id gZYjXZ dg YZaVn ^ckZhibZcih VcY
 XVe^iVa ZmeZcY^ijgZh+ hZZ` VYY^i^dcVa XVe^iVa dg gZhigjXijgZ dg gZ[^cVcXZ djg YZWi- N]ZhZ VaiZgcVi^kZ bZVhjgZh bVn cdi WZ hjXXZhh[ja VcY bVn cdi
 eZgb^i jh id bZZi djg hX]ZYjaZY YZWi hZgk^XZ dWa^\Vi^dch- Cc i]Z VWhZcXZ d[ hjX] XVh] [adlh VcY gZhdjgXZh+ lZ XdjaY [VXZ hjWhiVci^Va a^fj^Y^in
 egdWaZbh VcY b^\]i WZ gZfj^gZY id Y^hedhZ d[ bViZg^Va VhhZih dg deZgVi^dch id bZZi djg YZWi hZgk^XZ VcY di]Zg dWa^\Vi^dch- N]Z VbZcYZY XgZY^i
 V\gZZbZci gZhig^Xih djg VW^a^in id Y^hedhZ d[ VhhZih+ jhZ i]Z egdXZZYh [gdb Vcn Y^hedh^i^dc d[ VhhZih VcY gZ[^cVcXZ djg ^cYZWiZYcZhh- QZ bVn cdi
 WZ VWaZ id XdchjbbViZ dg dWiV^c egdXZZYh [gdb hjX] Y^hedh^i^dch+ VcY Vcn hjX] egdXZZYh bVn cdi WZ VYZfjViZ id bZZi Vcn YZWi hZgk^XZ
 dWa^\Vi^dch i]Zc YjZ-
 Cc VYY^i^dc+ djg Wdggdl^c\h jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci VgZ+ VcY VgZ ZmeZXiZY id Xdci^cjZ id WZ+ Vi kVg^VWaZ gViZh d[ ^ciZgZhi VcY ZmedhZ jh
 id ^ciZgZhi gViZ g^h`- C[ ^ciZgZhi gViZh ^cXgZVhZ+ djg YZWi hZgk^XZ dWa^\Vi^dch dc i]Z kVg^VWaZ gViZ ^cYZWiZYcZhh ldjaY ^cXgZVhZ ZkZc ^[ i]Z Vbdjci
 WdggdlZY gZbV^cZY i]Z hVbZ+ VcY djg cZi ^cXdbZ ldjaY YZXgZVhZ-
 To continue to grow our business, we will need to commit substantial resources, which could result in future losses or otherwise limit our
 opportunities or affect our ability to operate our business.
 N]Z hXdeZ d[ djg Wjh^cZhh VcY deZgVi^dch ]Vh \gdlc hjWhiVci^Vaan h^cXZ 1/01 i]gdj\] V hZg^Zh d[ igVchVXi^dch+ ^cXajY^c\ i]Z Wjh^cZhh XdbW^cVi^dc
 WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY ;ojg J]VgbV+ l]^X] lZ gZ[Zg id Vh i]Z ;ojg GZg\Zg+ djg VXfj^h^i^dc d[ ?OM; J]VgbV CcX-+ dg ?OM; J]VgbV+
 l]^X] lZ gZ[Zg id Vh i]Z ?OM; ;Xfj^h^i^dc+ i]Z AZci^jb ;Xfj^h^i^dc VcY i]Z =ZaVidg ;Xfj^h^i^dc- Nd Xdci^cjZ id \gdl djg Wjh^cZhh dkZg i]Z adc\Zg
 iZgb+ lZ l^aa cZZY id Xdbb^i hjWhiVci^Va VYY^i^dcVa gZhdjgXZh id ^c,a^XZch^c\ VcY.dg VXfj^g^c\ cZl egdYjXih VcY egdYjXi XVcY^YViZh+ VcY id Xdhian
 VcY i^bZ,Xdchjb^c\ egdYjXi YZkZadebZci VcY Xa^c^XVa ig^Vah d[ djg egdYjXi XVcY^YViZh- QZ Vahd ^ciZcY id Xdci^cjZ id ^ckZhi ^c djg XdbbZgX^Va
 deZgVi^dch ^c Vc Z[[dgi id \gdl hVaZh d[ djg XjggZci egdYjXih- Ijg [jijgZ XVe^iVa gZfj^gZbZcih l^aa YZeZcY dc bVcn [VXidgh+ ^cXajY^c\ bVcn d[ i]dhZ
 Y^hXjhhZY VWdkZ+ hjX] Vh9
 s         i]Z gZkZcjZh [gdb djg XdbbZgX^Va egdYjXih+ l]^X] bVn WZ V[[ZXiZY Wn bVcn [VXidgh+ ^cXajY^c\ i]Z ZmiZci d[ \ZcZg^X dg di]Zg XdbeZi^i^dc
           [dg RngZb dg djg di]Zg egdYjXih:
 s         i]Z Xdhih d[ djg XdbbZgX^Va deZgVi^dch:
 s         i]Z Xdhih d[ ^ciZ\gVi^dc VXi^k^i^Zh gZaViZY id Vcn [jijgZ higViZ\^X igVchVXi^dch lZ bVn Zc\V\Z ^c:
 s         i]Z Xdhi d[ VXfj^g^c\ VcY.dg ^c,a^XZch^c\ Vcn cZl egdYjXih VcY egdYjXi XVcY^YViZh:
 s         i]Z hXdeZ+ gViZ d[ egd\gZhh+ gZhjaih VcY Xdhih d[ djg YZkZadebZci VcY Xa^c^XVa VXi^k^i^Zh:
 s         i]Z Xdhi VcY i^b^c\ d[ dWiV^c^c\ gZ\jaVidgn VeegdkVah VcY d[ Xdbea^VcXZ l^i] aVlh VcY gZ\jaVi^dch:
 s         i]Z Xdhi d[ egZeVg^c\+ [^a^c\+ egdhZXji^c\+ YZ[ZcY^c\ VcY Zc[dgX^c\ eViZci XaV^bh VcY di]Zg ^ciZaaZXijVa egdeZgin g^\]ih:
 s         i]Z Xdhi d[ ^ckZhi^\Vi^dch+ a^i^\Vi^dc VcY.dg hZiiaZbZcih gZaViZY id gZ\jaVidgn dkZgh^\]i VcY i]^gY eVgin XaV^bh: VcY
 s         X]Vc\Zh ^c aVlh VcY gZ\jaVi^dch+ ^cXajY^c\+ [dg ZmVbeaZ+ ]ZVai]XVgZ gZ[dgb aZ\^haVi^dc-
 Ijg higViZ\n ^cXajYZh i]Z ZmeVch^dc d[ djg Wjh^cZhh i]gdj\] i]Z VXfj^h^i^dc dg ^c,a^XZch^c\ VcY YZkZadebZci d[ VYY^i^dcVa bVg`ZiZY egdYjXih dg
 egdYjXi XVcY^YViZh i]Vi VgZ ^c aViZ,hiV\Z YZkZadebZci- QZ XVccdi VhhjgZ ndj i]Vi lZ l^aa Xdci^cjZ id ^YZci^[n ViigVXi^kZ deedgijc^i^Zh- ?kZc ^[
 Veegdeg^ViZ deedgijc^i^Zh VgZ VkV^aVWaZ+ ^c dgYZg id XdbeZiZ hjXXZhh[jaan id VXfj^gZ ViigVXi^kZ egdYjXih dg egdYjXi XVcY^YViZh ^c i]Z XjggZci
 Wjh^cZhh Xa^bViZ+ lZ bVn ]VkZ id eVn ]^\]Zg eg^XZh [dg VhhZih i]Vc bVn ]VkZ WZZc eV^Y ]^hidg^XVaan+ VcY lZ bVn cdi ]VkZ i]Z [^cVcX^Va gZhdjgXZh
 cZXZhhVgn id ejghjZ i]Zb- ;h V gZhjai+ lZ bVn WZ jcVWaZ id ZmeVcY djg Wjh^cZhh ^[ lZ Yd cdi ]VkZ hj[[^X^Zci XVe^iVa dg XVccdi Wdggdl dg gV^hZ
 VYY^i^dcVa XVe^iVa dc ViigVXi^kZ iZgbh- Cc eVgi^XjaVg+ djg hjWhiVci^Va ^cYZWiZYcZhh bVn a^b^i djg VW^a^in id Wdggdl VYY^i^dcVa [jcYh [dg VXfj^h^i^dch dg
 id jhZ djg XVh] [adl dg dWiV^c VYY^i^dcVa [^cVcX^c\ [dg [jijgZ VXfj^h^i^dch- Cc VYY^i^dc+ ^[ lZ jhZ V hjWhiVci^Va Vbdjci d[ djg [jcYh id

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 NVWaZ d[ =dciZcih



 VXfj^gZ dg ^c,a^XZchZ egdYjXih dg egdYjXi XVcY^YViZh+ lZ bVn cdi ]VkZ hj[[^X^Zci VYY^i^dcVa [jcYh id XdcYjXi Vaa d[ djg deZgVi^dch ^c i]Z bVccZg lZ
 ldjaY di]Zgl^hZ X]ddhZ-
 We may not be able to access the capital and credit markets on terms that are favorable to us, or at all.
 >jg^c\ i]Z eVhi hZkZgVa nZVgh+ YdbZhi^X VcY ^ciZgcVi^dcVa [^cVcX^Va bVg`Zih ]VkZ ZmeZg^ZcXZY ZmigZbZ Y^hgjei^dc [gdb i^bZ id i^bZ+ ^cXajY^c\+ Vbdc\
 di]Zg i]^c\h+ ]^\] kdaVi^a^in VcY h^\c^[^XVci YZXa^cZh ^c hidX` eg^XZh VcY hZkZgZan Y^b^c^h]ZY a^fj^Y^in VcY XgZY^i VkV^aVW^a^in [dg Wdi] WdggdlZgh VcY
 ^ckZhidgh- QZ ZmeZXi id deedgijc^hi^XVaan hZZ` VXXZhh id i]Z XVe^iVa VcY XgZY^i bVg`Zih id hjeeaZbZci djg Zm^hi^c\ XVh] WVaVcXZh+ XVh] lZ ZmeZXi id
 \ZcZgViZ [gdb deZgVi^dch VcY [jcYh VkV^aVWaZ jcYZg djg gZkdak^c\ XgZY^i [VX^a^in id hVi^h[n djg cZZYh [dg ldg`^c\ XVe^iVa+ XVe^iVa ZmeZcY^ijgZh VcY
 YZWi hZgk^XZ gZfj^gZbZcih dg id Xdci^cjZ id \gdl djg Wjh^cZhh dkZg i]Z adc\Zg iZgb i]gdj\] egdYjXi VXfj^h^i^dc VcY ^c,a^XZch^c\+ egdYjXi
 YZkZadebZci VcY Xa^c^XVa ig^Vah d[ egdYjXi XVcY^YViZh+ VcY ZmeVch^dc d[ djg XdbbZgX^Va deZgVi^dch- Cc i]Z ZkZci d[ VYkZghZ XVe^iVa VcY XgZY^i bVg`Zi
 XdcY^i^dch+ ^cXajY^c\ Vh V gZhjai d[ i]Z ediZci^Va [dg <gZm^i id Xdcig^WjiZ id hjhiV^cZY ^chiVW^a^in ^c i]Z \adWVa [^cVcX^Va bVg`Zih+ lZ bVn cdi WZ VWaZ
 id dWiV^c XVe^iVa bVg`Zi [^cVcX^c\ dg XgZY^i dc [VkdgVWaZ iZgbh+ dg Vi Vaa+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh VcY \gdli]
 egdheZXih- =]Vc\Zh ^c djg XgZY^i gVi^c\h ^hhjZY Wn cVi^dcVaan gZXd\c^oZY XgZY^i gVi^c\ V\ZcX^Zh XdjaY VYkZghZan V[[ZXi djg Xdhi d[ [^cVcX^c\ VcY
 ]VkZ Vc VYkZghZ Z[[ZXi dc i]Z bVg`Zi eg^XZ d[ djg hZXjg^i^Zh-
 We may not be able to successfully maintain our tax rates, which could adversely affect our business and financial condition, results of
 operations and growth prospects.
 QZ VgZ ^cXdgedgViZY ^c CgZaVcY VcY bV^ciV^c hjWh^Y^Vg^Zh ^c Hdgi] ;bZg^XV VcY V cjbWZg d[ di]Zg [dgZ^\c _jg^hY^Xi^dch- QZ VgZ VWaZ id VX]^ZkZ V adl
 VkZgV\Z iVm gViZ i]gdj\] i]Z eZg[dgbVcXZ d[ XZgiV^c [jcXi^dch VcY dlcZgh]^e d[ XZgiV^c VhhZih ^c iVm,Z[[^X^Zci _jg^hY^Xi^dch+ id\Zi]Zg l^i] ^cigV,\gdje
 hZgk^XZ VcY igVch[Zg eg^X^c\ V\gZZbZcih+ ZVX] dc Vc Vgbxh aZc\i] WVh^h- BdlZkZg+ X]Vc\Zh ^c iVm aVlh ^c Vcn d[ i]ZhZ _jg^hY^Xi^dch XdjaY VYkZghZan
 V[[ZXi djg VW^a^in id Yd hd ^c i]Z [jijgZ- NVm^c\ Vji]dg^i^Zh+ hjX] Vh i]Z O-M- CciZgcVa LZkZcjZ MZgk^XZ+ dg i]Z CLM+ VXi^kZan VjY^i VcY di]Zgl^hZ
 X]VaaZc\Z i]ZhZ ineZh d[ VggVc\ZbZcih+ VcY ]VkZ YdcZ hd ^c i]Z e]VgbVXZji^XVa ^cYjhign- QZ VgZ hjW_ZXi id gZk^Zlh VcY VjY^ih Wn i]Z CLM VcY di]Zg
 iVm^c\ Vji]dg^i^Zh [gdb i^bZ id i^bZ+ VcY i]Z CLM dg di]Zg iVm^c\ Vji]dg^in bVn X]VaaZc\Z djg higjXijgZ VcY igVch[Zg eg^X^c\ VggVc\ZbZcih i]gdj\] Vc
 VjY^i dg aVlhj^i- @dg ZmVbeaZ+ ^c >ZXZbWZg 1/04+ lZ gZXZ^kZY egdedhZY iVm VhhZhhbZci cdi^XZh [gdb i]Z @gZcX] iVm Vji]dg^i^Zh [dg 1/01 VcY 1/02
 gZaVi^c\ id XZgiV^c igVch[Zg eg^X^c\ VY_jhibZcih- N]Z cdi^XZh egdedhZ VYY^i^dcVa iVmZh d[ Veegdm^bViZan #3/-2 b^aa^dc+ ^cXajY^c\ ^ciZgZhi VcY eZcVai^Zh+
 i]gdj\] i]Z YViZ d[ i]Z VhhZhhbZci igVchaViZY Vi i]Z [dgZ^\c ZmX]Vc\Z gViZ Vi >ZXZbWZg 20+ 1/05- LZhedcY^c\ id dg YZ[ZcY^c\ V\V^chi i]^h VcY di]Zg
 X]VaaZc\Zh [gdb iVm^c\ Vji]dg^i^Zh XdjaY WZ ZmeZch^kZ VcY XdchjbZ i^bZ VcY di]Zg gZhdjgXZh+ VcY Y^kZgi bVcV\ZbZcixh i^bZ VcY [dXjh [gdb
 deZgVi^c\ djg Wjh^cZhh- QZ \ZcZgVaan XVccdi egZY^Xi l]Zi]Zg iVm^c\ Vji]dg^i^Zh l^aa XdcYjXi Vc VjY^i dg [^aZ V aVlhj^i X]VaaZc\^c\ djg higjXijgZ+ i]Z
 Xdhi ^ckdakZY ^c gZhedcY^c\ id Vcn hjX] VjY^i dg aVlhj^i+ dg i]Z djiXdbZ- C[ lZ VgZ jchjXXZhh[ja+ lZ bVn WZ gZfj^gZY id eVn iVmZh [dg eg^dg eZg^dYh+
 ^ciZgZhi+ [^cZh dg eZcVai^Zh+ VcY bVn WZ dWa^\ViZY id eVn ^cXgZVhZY iVmZh ^c i]Z [jijgZ+ Vcn d[ l]^X] XdjaY gZfj^gZ jh id gZYjXZ djg deZgVi^c\
 ZmeZchZh+ YZXgZVhZ Z[[dgih ^c hjeedgi d[ djg egdYjXih dg hZZ` id gV^hZ VYY^i^dcVa [jcYh- ;cn d[ i]ZhZ VXi^dch XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi
 dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 The IRS may not agree with the conclusion that we should be treated as a foreign corporation for U.S. federal tax purposes.
 ;ai]dj\] lZ VgZ ^cXdgedgViZY ^c CgZaVcY+ i]Z CLM bVn VhhZgi i]Vi lZ h]djaY WZ igZViZY Vh V O-M- XdgedgVi^dc 'VcY+ i]ZgZ[dgZ+ V O-M- iVm gZh^YZci( [dg
 O-M- [ZYZgVa iVm ejgedhZh ejghjVci id MZXi^dc 6763 d[ i]Z CciZgcVa LZkZcjZ =dYZ d[ 0875+ Vh VbZcYZY+ dg i]Z =dYZ- @dg O-M- [ZYZgVa iVm ejgedhZh+ V
 XdgedgVi^dc \ZcZgVaan ^h Xdch^YZgZY V iVm gZh^YZci ^c i]Z _jg^hY^Xi^dc d[ ^ih dg\Vc^oVi^dc dg ^cXdgedgVi^dc- <ZXVjhZ lZ VgZ Vc Cg^h] ^cXdgedgViZY Zci^in+
 lZ ldjaY WZ XaVhh^[^ZY Vh V [dgZ^\c XdgedgVi^dc 'VcY+ i]ZgZ[dgZ+ V cdc,O-M- iVm gZh^YZci( jcYZg i]ZhZ gjaZh- MZXi^dc 6763 d[ i]Z =dYZ egdk^YZh Vc
 ZmXZei^dc jcYZg l]^X] V [dgZ^\c ^cXdgedgViZY Zci^in bVn+ ^c XZgiV^c X^gXjbhiVcXZh+ WZ igZViZY Vh V O-M- XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh-
 <ZXVjhZ lZ ^cY^gZXian VXfj^gZY Vaa d[ DVoo J]VgbVXZji^XVah+ CcX-xh VhhZih i]gdj\] i]Z VXfj^h^i^dc d[ i]Z h]VgZh d[ DVoo J]VgbVXZji^XVah+ CcX- Xdbbdc
 hidX` ^c i]Z ;ojg GZg\Zg+ i]Z CLM XdjaY VhhZgi i]Vi lZ h]djaY WZ igZViZY Vh V O-M- XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh jcYZg MZXi^dc 6763- @dg
 jh id WZ igZViZY Vh V [dgZ^\c XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh jcYZg MZXi^dc 6763 d[ i]Z =dYZ+ Z^i]Zg '0( i]Z [dgbZg hidX`]daYZgh d[ DVoo
 J]VgbVXZji^XVah+ CcX- bjhi ]VkZ dlcZY 'l^i]^c i]Z bZVc^c\ d[ MZXi^dc 6763 d[ i]Z =dYZ( aZhh i]Vc 7/$ 'Wn Wdi] kdiZ VcY kVajZ( d[ djg dgY^cVgn
 h]VgZh Wn gZVhdc d[ ]daY^c\ h]VgZh ^c DVoo J]VgbVXZji^XVah+ CcX- V[iZg i]Z ;ojg GZg\Zg 'i]Z vdlcZgh]^e iZhiw(+ dg '1( lZ bjhi ]VkZ hjWhiVci^Va
 Wjh^cZhh VXi^k^i^Zh ^c CgZaVcY V[iZg i]Z ;ojg GZg\Zg 'iV`^c\ ^cid VXXdjci i]Z VXi^k^i^Zh d[ djg ZmeVcYZY V[[^a^ViZY \gdje(- N]Z DVoo J]VgbVXZji^XVah+
 CcX- hidX`]daYZgh dlcZY aZhh i]Vc 7/$ d[ djg h]VgZ XVe^iVa ^bbZY^ViZan V[iZg i]Z ;ojg GZg\Zg Wn gZVhdc d[ i]Z^g dlcZgh]^e d[ h]VgZh d[ DVoo
 J]VgbVXZji^XVah+ CcX- Xdbbdc hidX`- ;h V gZhjai+ lZ WZa^ZkZ i]Vi lZ h]djaY WZ igZViZY Vh V [dgZ^\c XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh jcYZg
 XjggZci aVl- Ci ^h edhh^WaZ i]Vi i]Z CLM XdjaY Y^hV\gZZ l^i] i]Z edh^i^dc i]Vi i]Z dlcZgh]^e iZhi ^h hVi^h[^ZY VcY VhhZgi i]Vi MZXi^dc 6763 d[ i]Z =dYZ
 Veea^Zh id igZVi jh Vh V O-M- XdgedgVi^dc [daadl^c\ i]Z ;ojg GZg\Zg- N]ZgZ ^h a^b^iZY \j^YVcXZ gZ\VgY^c\ i]Z =dYZ MZXi^dc 6763 egdk^h^dch+ ^cXajY^c\
 i]Z Veea^XVi^dc d[ i]Z dlcZgh]^e iZhi YZhXg^WZY VWdkZ- N]Z CLM Xdci^cjZh id hXgji^c^oZ igVchVXi^dch i]Vi VgZ ediZci^Vaan hjW_ZXi id MZXi^dc 6763+ VcY
 ]Vh ^hhjZY hZkZgVa hZih d[ [^cVa VcY iZbedgVgn gZ\jaVi^dch jcYZg MZXi^dc 6763 h^cXZ 1/01- Gdhi gZXZcian+ ^c ;eg^a 1/05+ i]Z CLM

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 ^hhjZY iZbedgVgn gZ\jaVi^dch jcYZg MZXi^dc 6763 gZ[aZXi^c\ \j^YVcXZ i]Vi i]Z CLM egZk^djhan VccdjcXZY ^c cdi^XZh YViZY MZeiZbWZg 1/03 VcY
 HdkZbWZg 1/04+ Vh lZaa Vh VYY^i^dcVa gjaZh+ VcY ^c DVcjVgn 1/06+ i]Z CLM ^hhjZY [^cVa VcY iZbedgVgn gZ\jaVi^dch jcYZg MZXi^dc 6763 bV`^c\ [jgi]Zg
 gZk^h^dch id eg^dg \j^YVcXZ- QZ Yd cdi ZmeZXi i]ZhZ gZ\jaVi^dch id V[[ZXi i]Z O-M- iVm XdchZfjZcXZh d[ i]Z ;ojg GZg\Zg- HZkZgi]ZaZhh+ cZl
 hiVijidgn VcY.dg gZ\jaVidgn egdk^h^dch jcYZg MZXi^dc 6763 d[ i]Z =dYZ dg di]Zgl^hZ XdjaY WZ ZcVXiZY i]Vi VYkZghZan V[[ZXi djg hiVijh Vh V [dgZ^\c
 XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh+ VcY Vcn hjX] egdk^h^dch XdjaY ]VkZ gZigdVXi^kZ Veea^XVi^dc id jh+ DVoo J]VgbVXZji^XVah+ CcX-+ djg
 gZheZXi^kZ h]VgZ]daYZgh VcY.dg i]Z ;ojg GZg\Zg- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vFuture changes to the tax laws under
 which we expect to be treated as a foreign corporation for U.S. federal tax purposes or to other tax laws relating to multinational corporations
 could adversely affect us,w ^c i]^h JVgi C+ CiZb 0;-
 Section 7874 of the Code limits Jazz Pharmaceuticals, Inc.’s ability to utilize its U.S. tax attributes to offset certain U.S. taxable income, if any,
 generated by certain taxable transactions.
 @daadl^c\ XZgiV^c VXfj^h^i^dch d[ V O-M- XdgedgVi^dc Wn V [dgZ^\c XdgedgVi^dc+ MZXi^dc 6763 d[ i]Z =dYZ XVc a^b^i i]Z VW^a^in d[ i]Z VXfj^gZY O-M-
 XdgedgVi^dc VcY ^ih O-M- V[[^a^ViZh id ji^a^oZ O-M- iVm Viig^WjiZh hjX] Vh cZi deZgVi^c\ adhhZh+ dg HIFh+ id d[[hZi O-M- iVmVWaZ ^cXdbZ gZhjai^c\ [gdb
 XZgiV^c igVchVXi^dch- <VhZY dc i]Z a^b^iZY \j^YVcXZ VkV^aVWaZ+ i]^h a^b^iVi^dc Veea^Zh id jh- ;h V gZhjai+ V[iZg i]Z ;ojg GZg\Zg+ DVoo J]VgbVXZji^XVah+
 CcX- ]Vh cdi WZZc VWaZ VcY l^aa Xdci^cjZ id WZ jcVWaZ+ [dg V eZg^dY d[ i^bZ+ id ji^a^oZ ^ih O-M- iVm Viig^WjiZh id d[[hZi ^ih O-M- iVmVWaZ ^cXdbZ+ ^[ Vcn+
 gZhjai^c\ [gdb XZgiV^c iVmVWaZ igVchVXi^dch- Hdil^i]hiVcY^c\ i]^h a^b^iVi^dc+ lZ eaVc id [jaan ji^a^oZ DVoo J]VgbVXZji^XVah+ CcX-xh O-M- HIFh eg^dg id
 i]Z^g Zme^gVi^dc- ;h V gZhjai d[ i]^h a^b^iVi^dc+ ]dlZkZg+ ^i bVn iV`Z DVoo J]VgbVXZji^XVah+ CcX- adc\Zg id jhZ ^ih HIFh- GdgZdkZg+ XdcigVgn id i]ZhZ
 eaVch+ ^i ^h edhh^WaZ i]Vi i]Z a^b^iVi^dc jcYZg MZXi^dc 6763 d[ i]Z =dYZ dc i]Z ji^a^oVi^dc d[ O-M- iVm Viig^WjiZh XdjaY egZkZci DVoo J]VgbVXZji^XVah+
 CcX- [gdb [jaan ji^a^o^c\ ^ih O-M- iVm Viig^WjiZh eg^dg id i]Z^g Zme^gVi^dc ^[ DVoo J]VgbVXZji^XVah+ CcX- YdZh cdi \ZcZgViZ hj[[^X^Zci iVmVWaZ ^cXdbZ-
 Jazz Pharmaceuticals, Inc.’s ability to use its net operating losses to offset potential taxable income and related income taxes that would
 otherwise be due could be subject to further limitations if we do not generate taxable income in a timely manner or if the “ownership change”
 provisions of Sections 382 and 383 of the Code result in further annual limitations.
 DVoo J]VgbVXZji^XVah+ CcX- ]Vh V h^\c^[^XVci Vbdjci d[ HIFh- Ijg VW^a^in id jhZ i]ZhZ HIFh id d[[hZi ediZci^Va [jijgZ iVmVWaZ ^cXdbZ VcY gZaViZY
 ^cXdbZ iVmZh i]Vi ldjaY di]Zgl^hZ WZ YjZ ^h YZeZcYZci jedc djg \ZcZgVi^dc d[ [jijgZ iVmVWaZ ^cXdbZ WZ[dgZ i]Z Zme^gVi^dc YViZh d[ i]Z HIFh+ VcY
 lZ XVccdi egZY^Xi l^i] XZgiV^cin l]Zc+ dg l]Zi]Zg+ DVoo J]VgbVXZji^XVah+ CcX- l^aa \ZcZgViZ hj[[^X^Zci iVmVWaZ ^cXdbZ id jhZ Vaa d[ i]Z HIFh- Cc
 VYY^i^dc+ gZVa^oVi^dc d[ HIFh id d[[hZi ediZci^Va [jijgZ iVmVWaZ ^cXdbZ VcY gZaViZY ^cXdbZ iVmZh i]Vi ldjaY di]Zgl^hZ WZ YjZ ^h hjW_ZXi id VccjVa
 a^b^iVi^dch jcYZg i]Z vdlcZgh]^e X]Vc\Zw egdk^h^dch d[ MZXi^dch 271 VcY 272 d[ i]Z =dYZ VcY h^b^aVg hiViZ egdk^h^dch+ l]^X] bVn gZhjai ^c i]Z
 Zme^gVi^dc d[ VYY^i^dcVa HIFh WZ[dgZ [jijgZ ji^a^oVi^dc- Cc \ZcZgVa+ Vc vdlcZgh]^e X]Vc\Zw dXXjgh ^[+ Yjg^c\ V i]gZZ,nZVg gdaa^c\ eZg^dY+ i]ZgZ ^h V
 X]Vc\Z d[ 4/$ dg bdgZ ^c i]Z eZgXZciV\Z dlcZgh]^e d[ V XdbeVcn Wn 4$ h]VgZ]daYZgh 'VcY XZgiV^c eZghdch igZViZY Vh 4$ h]VgZ]daYZgh(+ Vh YZ[^cZY
 ^c i]Z =dYZ VcY i]Z O-M- NgZVhjgn >ZeVgibZci gZ\jaVi^dch+ dg NgZVhjgn LZ\jaVi^dch+ egdbja\ViZY i]ZgZjcYZg- Cc i]^h gZ\VgY+ lZ XjggZcian Zhi^bViZ
 i]Vi+ Vh V gZhjai d[ i]ZhZ dlcZgh]^e X]Vc\Z egdk^h^dch+ lZ ]VkZ Vc VccjVa a^b^iVi^dc dc i]Z ji^a^oVi^dc d[ XZgiV^c HIFh VcY XgZY^ih d[ #170-1 b^aa^dc+
 WZ[dgZ iVm Z[[ZXi+ [dg 1/06+ #031-/ b^aa^dc+ WZ[dgZ iVm Z[[ZXi+ [dg 1/07 VcY V XdbW^cZY idiVa d[ #230-8 b^aa^dc+ WZ[dgZ iVm Z[[ZXi+ [dg 1/08 id 1/21-
 BdlZkZg+ MZXi^dch 271 VcY 272 d[ i]Z =dYZ VgZ ZmigZbZan XdbeaZm egdk^h^dch l^i] gZheZXi id l]^X] i]ZgZ VgZ bVcn jcXZgiV^ci^Zh+ VcY lZ ]VkZ cdi
 gZfjZhiZY V gja^c\ [gdb i]Z CLM id Xdc[^gb djg VcVanh^h d[ i]Z dlcZgh]^e X]Vc\Z a^b^iVi^dch gZaViZY id i]Z HIFh \ZcZgViZY Wn DVoo J]VgbVXZji^XVah+
 CcX- N]ZgZ[dgZ+ lZ ]VkZ cdi ZhiVWa^h]ZY l]Zi]Zg i]Z CLM ldjaY V\gZZ l^i] djg VcVanh^h gZ\VgY^c\ i]Z Veea^XVi^dc d[ MZXi^dch 271 VcY 272 d[ i]Z
 =dYZ- C[ i]Z CLM lZgZ id Y^hV\gZZ l^i] djg VcVanh^h+ dg ^[ DVoo J]VgbVXZji^XVah+ CcX- ZmeZg^ZcXZh VYY^i^dcVa dlcZgh]^e X]Vc\Zh ^c i]Z [jijgZ+ lZ XdjaY
 WZ hjW_ZXi id [jgi]Zg VccjVa a^b^iVi^dch dc i]Z jhZ d[ i]Z HIFh id d[[hZi ediZci^Va iVmVWaZ ^cXdbZ VcY gZaViZY ^cXdbZ iVmZh i]Vi ldjaY di]Zgl^hZ WZ
 YjZ-
 Future changes to the tax laws under which we expect to be treated as a foreign corporation for U.S. federal tax purposes or to other tax laws
 relating to multinational corporations could adversely affect us.
 ;h YZhXg^WZY VWdkZ+ jcYZg XjggZci aVl+ lZ WZa^ZkZ i]Vi lZ h]djaY WZ igZViZY Vh V [dgZ^\c XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh- BdlZkZg+
 X]Vc\Zh id i]Z =dYZ dg i]Z NgZVhjgn LZ\jaVi^dch dg di]Zg CLM \j^YVcXZ egdbja\ViZY i]ZgZjcYZg+ ^cXajY^c\ jcYZg MZXi^dc 6763 d[ i]Z =dYZ+ XdjaY
 VYkZghZan V[[ZXi djg hiVijh Vh V [dgZ^\c XdgedgVi^dc [dg O-M- [ZYZgVa iVm ejgedhZh dg XdjaY di]Zgl^hZ V[[ZXi djg Z[[ZXi^kZ iVm gViZ+ VcY Vcn hjX]
 X]Vc\Zh XdjaY ]VkZ egdheZXi^kZ dg gZigdVXi^kZ Veea^XVi^dc- LZXZci aZ\^haVi^kZ egdedhVah ]VkZ V^bZY id ZmeVcY i]Z hXdeZ d[ O-M- XdgedgViZ iVm
 gZh^YZcXZ- N]^h aZ\^haVi^dc+ ^[ eVhhZY+ XdjaY VYkZghZan V[[ZXi jh- Cc VYY^i^dc+ i]Z Ngjbe ;Yb^c^higVi^dc VcY bVcn bZbWZgh d[ i]Z O-M- =dc\gZhh
 ]VkZ XVaaZY [dg XdbegZ]Zch^kZ iVm gZ[dgb VcY ]VkZ hiViZY i]Vi O-M- iVm gZ[dgb h]djaY WZ V eg^dg^in [dg i]Z ^cXdb^c\ =dc\gZhh- ;ai]dj\] ^i ^h cdi
 edhh^WaZ id YZiZgb^cZ i]Z ^beVXi d[ Vcn iVm gZ[dgb dc jh+ iVm gZ[dgb+ ^[ ZcVXiZY+ XdjaY VYkZghZan V[[ZXi djg Z[[ZXi^kZ iVm gViZ VcY djg gZhjaih d[
 deZgVi^dch VcY [^cVcX^Va XdcY^i^dc-
 N]Z O-M- =dc\gZhh+ i]Z ?O+ i]Z Ig\Vc^oVi^dc [dg ?Xdcdb^X =d,deZgVi^dc VcY >ZkZadebZci VcY di]Zg \dkZgcbZci V\ZcX^Zh ^c _jg^hY^Xi^dch l]ZgZ
 lZ VcY djg V[[^a^ViZh Yd Wjh^cZhh ]VkZ Vahd ]VY Vc ZmiZcYZY [dXjh dc ^hhjZh gZaViZY id i]Z

                                                                             63
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 iVmVi^dc d[ bjai^cVi^dcVa XdgedgVi^dch- IcZ ZmVbeaZ ^h ^c i]Z VgZV d[ vWVhZ Zgdh^dc VcY egd[^i h]^[i^c\+w l]ZgZ eVnbZcih VgZ bVYZ WZilZZc V[[^a^ViZh
 [gdb V _jg^hY^Xi^dc l^i] ]^\] iVm gViZh id V _jg^hY^Xi^dc l^i] adlZg iVm gViZh- ;h V gZhjai+ i]Z iVm aVlh ^c CgZaVcY+ i]Z O-M- VcY di]Zg Xdjcig^Zh ^c l]^X]
 lZ VcY djg V[[^a^ViZh Yd Wjh^cZhh XdjaY X]Vc\Z dc V egdheZXi^kZ dg gZigdVXi^kZ WVh^h+ VcY Vcn hjX] X]Vc\Zh XdjaY VYkZghZan V[[ZXi jh-
 We have significant intangible assets and goodwill. Consequently, the future impairment of our intangible assets and goodwill may
 significantly impact our profitability.
 Ijg ^ciVc\^WaZ VhhZih VcY \ddYl^aa VgZ h^\c^[^XVci- ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY gZXdgYZY #2-8 W^aa^dc d[ ^ciVc\^WaZ VhhZih VcY \ddYl^aa gZaViZY
 id djg eVhi VXfj^h^i^dch- CciVc\^WaZ VhhZih VcY \ddYl^aa VgZ hjW_ZXi id Vc ^beV^gbZci VcVanh^h l]ZcZkZg ZkZcih dg X]Vc\Zh ^c X^gXjbhiVcXZh
 ^cY^XViZ i]Z XVggn^c\ Vbdjci d[ i]Z VhhZi bVn cdi WZ gZXdkZgVWaZ- ;YY^i^dcVaan+ \ddYl^aa VcY ^cYZ[^c^iZ,a^kZY VhhZih VgZ hjW_ZXi id Vc ^beV^gbZci
 iZhi Vi aZVhi VccjVaan-
 ?kZcih \^k^c\ g^hZ id ^beV^gbZci VgZ Vc ^c]ZgZci g^h` ^c i]Z e]VgbVXZji^XVa ^cYjhign VcY XVccdi WZ egZY^XiZY- @dg ZmVbeaZ+ ^c DVcjVgn 1/05+ lZ
 iZgb^cViZY V e^kdiVa J]VhZ 1 Xa^c^XVa ig^Va d[ DTJ,305 'eZ\Xg^hVciVheVhZ(+ V J?AnaViZY gZXdbW^cVci Erwinia chrysanthemi F,VheVgV\^cVhZ WZ^c\
 YZkZadeZY [dg i]Z igZVibZci d[ eVi^Zcih l^i] ;FF l]d VgZ ]neZghZch^i^kZ id E. coli,YZg^kZY VheVgV\^cVhZ- ;h V gZhjai+ ^c i]Z [djgi] fjVgiZg d[ 1/04+
 lZ gZXdgYZY Vc ^beV^gbZci X]Vg\Z d[ #20-4 b^aa^dc id djg VXfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci- Ijg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va
 edh^i^dc ^c [jijgZ eZg^dYh XdjaY WZ cZ\Vi^kZan ^beVXiZY h]djaY h^b^aVg dg di]Zg [jijgZ ^beV^gbZcih d[ ^ciVc\^WaZ VhhZih dg \ddYl^aa dXXjg-
 Our financial results have been and may continue to be adversely affected by foreign currency exchange rate fluctuations.
 QZ ]VkZ h^\c^[^XVci deZgVi^dch ^c ?jgdeZ Vh lZaa Vh ^c i]Z O-M-+ Wji lZ gZedgi gZkZcjZh+ Xdhih VcY ZVgc^c\h ^c O-M- YdaaVgh- Ijg eg^bVgn XjggZcXn
 igVchaVi^dc ZmedhjgZ gZaViZh id djg hjWh^Y^Vg^Zh i]Vi ]VkZ [jcXi^dcVa XjggZcX^Zh YZcdb^cViZY ^c i]Z Zjgd- ?mX]Vc\Z gViZh WZilZZc i]Z O-M- YdaaVg VcY
 i]Z Zjgd ]VkZ [ajXijViZY VcY VgZ a^`Zan id Xdci^cjZ id [ajXijViZ [gdb eZg^dY id eZg^dY- <ZXVjhZ djg [^cVcX^Va gZhjaih VgZ gZedgiZY ^c O-M- YdaaVgh+ lZ
 VgZ ZmedhZY id [dgZ^\c XjggZcXn ZmX]Vc\Z g^h` Vh i]Z [jcXi^dcVa XjggZcXn [^cVcX^Va hiViZbZcih d[ cdc,O-M- hjWh^Y^Vg^Zh VgZ igVchaViZY id O-M- YdaaVgh
 [dg gZedgi^c\ ejgedhZh- Nd i]Z ZmiZci i]Vi gZkZcjZ VcY ZmeZchZ igVchVXi^dch VgZ cdi YZcdb^cViZY ^c i]Z [jcXi^dcVa XjggZcXn+ lZ VgZ Vahd hjW_ZXi id
 i]Z g^h` d[ igVchVXi^dc adhhZh- @dg ZmVbeaZ+ WZXVjhZ djg >Z[^iZa^d VcY ?gl^cVhZ egdYjXi hVaZh djih^YZ d[ i]Z O-M- VgZ eg^bVg^an YZcdb^cViZY ^c i]Z
 Zjgd+ djg hVaZh d[ i]dhZ egdYjXih ]VkZ WZZc VcY bVn Xdci^cjZ id WZ VYkZghZan V[[ZXiZY Wn [ajXijVi^dch ^c [dgZ^\c XjggZcXn ZmX]Vc\Z gViZh- Cc i]^h
 gZ\VgY+ l]Zc i]Z O-M- YdaaVg higZc\i]Zch V\V^chi V [dgZ^\c XjggZcXn+ i]Z gZaVi^kZ kVajZ d[ hVaZh bVYZ ^c i]Z [dgZ^\c XjggZcXn YZXgZVhZh- =dckZghZan+
 l]Zc i]Z O-M- YdaaVg lZV`Zch V\V^chi V [dgZ^\c XjggZcXn+ i]Z gZaVi^kZ kVajZ d[ hjX] hVaZh ^cXgZVhZh- ;XXdgY^c\an+ ^cXgZVhZh ^c i]Z kVajZ d[ i]Z O-M-
 YdaaVg gZaVi^kZ id [dgZ^\c XjggZcX^Zh+ eg^bVg^an i]Z Zjgd+ XdjaY VYkZghZan V[[ZXi djg [dgZ^\c gZkZcjZh+ eZg]Veh h^\c^[^XVcian- Cc VYY^i^dc+ Vh lZ
 Xdci^cjZ id ZmeVcY djg ^ciZgcVi^dcVa deZgVi^dch+ lZ l^aa XdcYjXi bdgZ igVchVXi^dch ^c XjggZcX^Zh di]Zg i]Vc i]Z O-M- YdaaVg+ l]^X] XdjaY ^cXgZVhZ
 djg [dgZ^\c XjggZcXn ZmX]Vc\Z g^h`- A^kZc i]Z kdaVi^a^in d[ ZmX]Vc\Z gViZh+ Xdci^cjZY XdcXZgch gZ\VgY^c\ ?jgdeZVc hdkZgZ^\c YZWi VcY ^chiVW^a^in d[
 i]Z Zjgd+ Vh lZaa Vh djg ZmeVcY^c\ deZgVi^dch+ lZ XVccdi VhhjgZ ndj i]Vi lZ l^aa WZ VWaZ id Z[[ZXi^kZan bVcV\Z XjggZcXn igVchVXi^dc VcY.dg
 igVchaVi^dc g^h`h- QZ XjggZcian XdcYjXi dcan a^b^iZY ]ZY\^c\ VXi^k^i^Zh+ ^ckdak^c\ i]Z jhZ d[ [dgZ^\c ZmX]Vc\Z [dglVgY XdcigVXih+ id bVcV\Z
 XjggZcXn g^h` gZaViZY id XZgiV^c ^ciZgXdbeVcn adVch YZcdb^cViZY ^c cdc,[jcXi^dcVa XjggZcX^Zh- N]ZhZ [dgZ^\c ZmX]Vc\Z [dglVgY XdcigVXih VgZ cdi
 YZh^\cViZY Vh ]ZY\Zh: \V^ch VcY adhhZh dc i]ZhZ YZg^kVi^kZ ^chigjbZcih VgZ YZh^\cZY id d[[hZi \V^ch VcY adhhZh dc i]Z jcYZgan^c\ WVaVcXZ h]ZZi
 ZmedhjgZh- @ajXijVi^dch ^c [dgZ^\c XjggZcXn ZmX]Vc\Z gViZh XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va
 XdcY^i^dc-


 Risks Related to Our Ordinary Shares
 The market price of our ordinary shares has been volatile and may continue to be volatile in the future, and the value of your investment could
 decline significantly.
 N]Z bVg`Zi eg^XZ [dg djg dgY^cVgn h]VgZh ]Vh [ajXijViZY h^\c^[^XVcian [gdb i^bZ id i^bZ+ [dg ZmVbeaZ+ kVgn^c\ WZilZZc V ]^\] d[ #046-05 dc ;eg^a 11+
 1/05 VcY V adl d[ #85-63 dc HdkZbWZg 2+ 1/05 Yjg^c\ i]Z eZg^dY [gdb >ZXZbWZg 20+ 1/04 i]gdj\] >ZXZbWZg 20+ 1/05- N]Z bVg`Zi eg^XZ d[ djg
 dgY^cVgn h]VgZh ^h a^`Zan id Xdci^cjZ id WZ kdaVi^aZ VcY hjW_ZXi id h^\c^[^XVci eg^XZ VcY kdajbZ [ajXijVi^dch ^c gZhedchZ id bVg`Zi+ ^cYjhign VcY di]Zg
 [VXidgh+ ^cXajY^c\ i]Z g^h` [VXidgh YZhXg^WZY VWdkZ- N]Z hidX` bVg`Zi ^c \ZcZgVa+ ^cXajY^c\ i]Z bVg`Zi [dg a^[Z hX^ZcXZh XdbeVc^Zh+ ]Vh ZmeZg^ZcXZY
 ZmigZbZ eg^XZ VcY kdajbZ [ajXijVi^dch i]Vi ]VkZ d[iZc WZZc jcgZaViZY dg Y^hegdedgi^dcViZ id i]Z deZgVi^c\ eZg[dgbVcXZ d[ i]dhZ XdbeVc^Zh- Cc
 eVgi^XjaVg+ gZXZci cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ eg^X^c\ VcY eg^XZ ^cXgZVhZh Wn e]VgbVXZji^XVa XdbeVc^Zh ]Vh cZ\Vi^kZan ^beVXiZY+ VcY bVn Xdci^cjZ
 id cZ\Vi^kZan ^beVXi+ i]Z bVg`Zi [dg a^[Z hX^ZcXZh XdbeVc^Zh- N]ZhZ WgdVY bVg`Zi VcY ^cYjhign [VXidgh ]VkZ ]VgbZY+ VcY ^c i]Z [jijgZ bVn hZg^djhan
 ]Vgb+ i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh+ gZ\VgYaZhh d[ djg deZgVi^c\ eZg[dgbVcXZ-
 Ijg h]VgZ eg^XZ bVn WZ YZeZcYZci jedc i]Z kVajVi^dch VcY gZXdbbZcYVi^dch d[ i]Z VcVanhih l]d XdkZg djg Wjh^cZhh- C[ djg gZhjaih Yd cdi bZZi
 i]ZhZ VcVanhihx [dgZXVhih+ i]Z ZmeZXiVi^dch d[ djg ^ckZhidgh dg i]Z [^cVcX^Va \j^YVcXZ lZ egdk^YZ id ^ckZhidgh ^c Vcn eZg^dY+ i]Z bVg`Zi eg^XZ d[ djg
 dgY^cVgn h]VgZh XdjaY YZXa^cZ- Ijg VW^a^in id bZZi VcVanhihx [dgZXVhih+ ^ckZhidghx

                                                                             64
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 NVWaZ d[ =dciZcih



 ZmeZXiVi^dch VcY djg [^cVcX^Va \j^YVcXZ ^h hjWhiVci^Vaan YZeZcYZci dc djg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ RngZb VcY >Z[^iZa^d VcY id
 hjXXZhh[jaan aVjcX] PnmZdh XdbbZgX^Vaan ^c i]Z O-M- Cc VYY^i^dc+ lZ l^aa cZZY id b^c^b^oZ [jijgZ hjeean ^ciZggjei^dch d[ ?gl^cVoZ ^c dgYZg id bZZi
 gZkZcjZ ZmeZXiVi^dch [dg ?gl^cVoZ- N]Z g^h`h VcY jcXZgiV^ci^Zh VhhdX^ViZY l^i] djg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ RngZb+ ?gl^cVoZ VcY
 >Z[^iZa^d VcY id hjXXZhh[jaan aVjcX] PnmZdh ^cXajYZ i]dhZ Y^hXjhhZY ZahZl]ZgZ ^c i]ZhZ g^h` [VXidgh- Cc i]Z eVhi+ [daadl^c\ eZg^dYh d[ kdaVi^a^in ^c
 i]Z bVg`Zi dg h^\c^[^XVci eg^XZ YZXa^cZ+ hZXjg^i^Zh XaVhh,VXi^dc a^i^\Vi^dc ]Vh d[iZc WZZc ^chi^ijiZY V\V^chi XdbeVc^Zh- MjX] a^i^\Vi^dc+ ^[ ^chi^ijiZY
 V\V^chi jh+ XdjaY gZhjai ^c hjWhiVci^Va Xdhih VcY Y^kZgh^dc d[ bVcV\ZbZcixh ViiZci^dc VcY gZhdjgXZh+ l]^X] XdjaY bViZg^Vaan VcY VYkZghZan V[[ZXi
 djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Cc VYY^i^dc+ i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh bVn YZXa^cZ ^[ i]Z Z[[ZXih d[ djg igVchVXi^dch+ ^cXajY^c\ i]Z AZci^jb ;Xfj^h^i^dc+ i]Z =ZaVidg
 ;Xfj^h^i^dc VcY.dg ediZci^Va [jijgZ VXfj^h^i^dch+ dc i]Z [^cVcX^Va gZhjaih d[ djg XdbeVcn VgZ cdi Xdch^hiZci l^i] i]Z ZmeZXiVi^dch d[ [^cVcX^Va
 VcVanhih dg ^ckZhidgh- N]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh XdjaY Vahd WZ V[[ZXiZY Wn edhh^WaZ hVaZh d[ djg dgY^cVgn h]VgZh Wn ]daYZgh d[ djg
 1/10 HdiZh l]d bVn k^Zl i]Z 1/10 HdiZh Vh V bdgZ ViigVXi^kZ bZVch d[ Zfj^in eVgi^X^eVi^dc ^c djg XdbeVcn VcY Wn ]ZY\^c\ dg VgW^igV\Z igVY^c\
 VXi^k^in ^ckdak^c\ djg dgY^cVgn h]VgZh Wn i]Z ]daYZgh d[ i]ZhZ cdiZh-
 Future sales of our ordinary shares in the public market could cause our share price to fall.
 MVaZh d[ V hjWhiVci^Va cjbWZg d[ djg dgY^cVgn h]VgZh ^c i]Z ejWa^X bVg`Zi+ ^cXajY^c\ hVaZh Wn bZbWZgh d[ djg bVcV\ZbZci dg WdVgY d[ Y^gZXidgh+ dg
 i]Z eZgXZei^dc i]Vi i]ZhZ hVaZh b^\]i dXXjg+ XdjaY YZegZhh i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh VcY XdjaY ^beV^g djg VW^a^in id gV^hZ XVe^iVa
 i]gdj\] i]Z hVaZ d[ VYY^i^dcVa Zfj^in dg Zfj^in,gZaViZY hZXjg^i^Zh- ;h d[ @ZWgjVgn 10+ 1/06+ lZ ]VY 48+631+121 dgY^cVgn h]VgZh djihiVcY^c\+ Vaa d[
 l]^X] h]VgZh VgZ Za^\^WaZ [dg hVaZ ^c i]Z ejWa^X bVg`Zi+ hjW_ZXi ^c hdbZ XVhZh id i]Z kdajbZ a^b^iVi^dch VcY bVccZg d[ hVaZ VcY di]Zg gZfj^gZbZcih
 jcYZg LjaZ 033- Cc VYY^i^dc+ [jijgZ ^hhjVcXZh Wn jh d[ djg dgY^cVgn h]VgZh jedc i]Z ZmZgX^hZ dg hZiiaZbZci d[ Zfj^in,WVhZY VlVgYh VcY ZmX]Vc\Zh d[
 djg 1/10 HdiZh ldjaY Y^ajiZ Zm^hi^c\ h]VgZ]daYZghx dlcZgh]^e ^ciZgZhih ^c djg XdbeVcn+ VcY Vcn hVaZh ^c i]Z ejWa^X bVg`Zi d[ i]ZhZ dgY^cVgn h]VgZh+
 dg i]Z eZgXZei^dc i]Vi i]ZhZ hVaZh b^\]i dXXjg+ XdjaY Vahd VYkZghZan V[[ZXi i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh-
 GdgZdkZg+ lZ ]VkZ ^c i]Z eVhi VcY bVn ^c i]Z [jijgZ \gVci g^\]ih id hdbZ d[ djg h]VgZ]daYZgh i]Vi gZfj^gZ jh id gZ\^hiZg i]Z gZhVaZ d[ djg dgY^cVgn
 h]VgZh dc WZ]Va[ d[ i]ZhZ h]VgZ]daYZgh VcY.dg [VX^a^iViZ d[[Zg^c\h d[ dgY^cVgn h]VgZh ]ZaY Wn i]ZhZ h]VgZ]daYZgh+ ^cXajY^c\ ^c XdccZXi^dc l^i]
 ediZci^Va [jijgZ VXfj^h^i^dch d[ VYY^i^dcVa egdYjXih+ egdYjXi XVcY^YViZh dg XdbeVc^Zh- QZ ]VkZ Vahd [^aZY gZ\^higVi^dc hiViZbZcih id gZ\^hiZg i]Z hVaZ
 d[ djg dgY^cVgn h]VgZh gZhZgkZY [dg ^hhjVcXZ jcYZg djg Zfj^in ^cXZci^kZ VcY ZbeadnZZ hidX` ejgX]VhZ eaVch+ VcY lZ ^ciZcY id [^aZ VYY^i^dcVa
 gZ\^higVi^dc hiViZbZcih id gZ\^hiZg Vcn h]VgZh VjidbVi^XVaan VYYZY ZVX] nZVg id i]Z h]VgZ gZhZgkZh jcYZg i]ZhZ eaVch-
 We are subject to Irish law, which differs from the laws in effect in the U.S. and may afford less protection to holders of our securities.
 Ci bVn cdi WZ edhh^WaZ id Zc[dgXZ Xdjgi _jY\bZcih dWiV^cZY ^c i]Z O-M- V\V^chi jh ^c CgZaVcY WVhZY dc i]Z X^k^a a^VW^a^in egdk^h^dch d[ i]Z O-M- [ZYZgVa
 dg hiViZ hZXjg^i^Zh aVlh- Cc VYY^i^dc+ i]ZgZ ^h hdbZ jcXZgiV^cin Vh id l]Zi]Zg i]Z Xdjgih d[ CgZaVcY ldjaY gZXd\c^oZ dg Zc[dgXZ _jY\bZcih d[ O-M-
 Xdjgih dWiV^cZY V\V^chi jh dg djg Y^gZXidgh dg d[[^XZgh WVhZY dc i]Z X^k^a a^VW^a^in egdk^h^dch d[ i]Z O-M- [ZYZgVa dg hiViZ hZXjg^i^Zh aVlh dg ]ZVg
 VXi^dch V\V^chi jh dg i]dhZ eZghdch WVhZY dc i]dhZ aVlh- QZ ]VkZ WZZc VYk^hZY i]Vi i]Z O-M- XjggZcian YdZh cdi ]VkZ V igZVin l^i] CgZaVcY
 egdk^Y^c\ [dg i]Z gZX^egdXVa gZXd\c^i^dc VcY Zc[dgXZbZci d[ _jY\bZcih ^c X^k^a VcY XdbbZgX^Va bViiZgh- N]ZgZ[dgZ+ V [^cVa _jY\bZci [dg i]Z eVnbZci
 d[ bdcZn gZcYZgZY Wn Vcn O-M- [ZYZgVa dg hiViZ Xdjgi WVhZY dc X^k^a a^VW^a^in+ l]Zi]Zg dg cdi WVhZY hdaZan dc O-M- [ZYZgVa dg hiViZ hZXjg^i^Zh aVlh+
 ldjaY cdi VjidbVi^XVaan WZ Zc[dgXZVWaZ ^c CgZaVcY-
 ;h Vc Cg^h] XdbeVcn+ lZ VgZ \dkZgcZY Wn i]Z Cg^h] =dbeVc^Zh ;Xi 1/03+ l]^X] Y^[[Zgh ^c hdbZ bViZg^Va gZheZXih [gdb aVlh \ZcZgVaan Veea^XVWaZ id
 O-M- XdgedgVi^dch VcY h]VgZ]daYZgh+ ^cXajY^c\+ Vbdc\ di]Zgh+ Y^[[ZgZcXZh gZaVi^c\ id ^ciZgZhiZY Y^gZXidg VcY d[[^XZg igVchVXi^dch VcY h]VgZ]daYZg
 aVlhj^ih- F^`Zl^hZ+ i]Z Yji^Zh d[ Y^gZXidgh VcY d[[^XZgh d[ Vc Cg^h] XdbeVcn VgZ \ZcZgVaan dlZY id i]Z XdbeVcn dcan- M]VgZ]daYZgh d[ Cg^h]
 XdbeVc^Zh \ZcZgVaan Yd cdi ]VkZ V eZghdcVa g^\]i d[ VXi^dc V\V^chi Y^gZXidgh dg d[[^XZgh d[ i]Z XdbeVcn VcY bVn ZmZgX^hZ hjX] g^\]ih d[ VXi^dc dc
 WZ]Va[ d[ i]Z XdbeVcn dcan ^c a^b^iZY X^gXjbhiVcXZh- ;XXdgY^c\an+ ]daYZgh d[ djg hZXjg^i^Zh bVn ]VkZ bdgZ Y^[[^Xjain egdiZXi^c\ i]Z^g ^ciZgZhih i]Vc
 ldjaY ]daYZgh d[ hZXjg^i^Zh d[ V XdgedgVi^dc ^cXdgedgViZY ^c V _jg^hY^Xi^dc d[ i]Z O-M-
 Provisions of our articles of association, Irish law and the indenture governing our 2021 Notes could delay or prevent a takeover of us by a
 third party.
 Ijg Vgi^XaZh d[ VhhdX^Vi^dc XdjaY YZaVn+ YZ[Zg dg egZkZci V i]^gY eVgin [gdb VXfj^g^c\ jh+ YZhe^iZ i]Z edhh^WaZ WZcZ[^i id djg h]VgZ]daYZgh+ dg
 di]Zgl^hZ VYkZghZan V[[ZXi i]Z eg^XZ d[ djg dgY^cVgn h]VgZh- @dg ZmVbeaZ+ djg Vgi^XaZh d[ VhhdX^Vi^dc9
 s         ^bedhZ VYkVcXZ cdi^XZ gZfj^gZbZcih [dg h]VgZ]daYZg egdedhVah VcY cdb^cVi^dch d[ Y^gZXidgh id WZ Xdch^YZgZY Vi h]VgZ]daYZg bZZi^c\h:
 s         hiV\\Zg i]Z iZgbh d[ djg WdVgY d[ Y^gZXidgh ^cid i]gZZ XaVhhZh:

                                                                             65
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 NVWaZ d[ =dciZcih



 s         gZfj^gZ i]Z VeegdkVa d[ V hjeZgbV_dg^in d[ i]Z kdi^c\ edlZg d[ i]Z h]VgZh d[ djg h]VgZ XVe^iVa Zci^iaZY id kdiZ \ZcZgVaan Vi V bZZi^c\ d[
           h]VgZ]daYZgh id VbZcY dg gZeZVa djg Vgi^XaZh d[ VhhdX^Vi^dc: VcY
 s         eZgb^i djg WdVgY d[ Y^gZXidgh id ^hhjZ dcZ dg bdgZ hZg^Zh d[ egZ[ZggZY h]VgZh l^i] g^\]ih VcY egZ[ZgZcXZh+ Vh djg h]VgZ]daYZgh bVn
           YZiZgb^cZ Wn dgY^cVgn gZhdaji^dc-
 Cc VYY^i^dc+ hZkZgVa bVcYVidgn egdk^h^dch d[ Cg^h] aVl XdjaY egZkZci dg YZaVn Vc VXfj^h^i^dc d[ jh- @dg ZmVbeaZ+ Cg^h] aVl YdZh cdi eZgb^i
 h]VgZ]daYZgh d[ Vc Cg^h] ejWa^X a^b^iZY XdbeVcn id iV`Z VXi^dc Wn lg^iiZc XdchZci l^i] aZhh i]Vc jcVc^bdjh XdchZci+ VcY i]Z h]VgZ]daYZg VeegdkVa
 gZfj^gZbZcih [dg XZgiV^c ineZh d[ igVchVXi^dch Y^[[Zg [gdb i]dhZ ^c i]Z O-M-+ VcY ^c hdbZ XVhZh VgZ \gZViZg+ jcYZg Cg^h] aVl- QZ VgZ Vahd hjW_ZXi id
 kVg^djh egdk^h^dch d[ Cg^h] aVl gZaVi^c\ id bVcYVidgn W^Yh+ kdajciVgn W^Yh+ gZfj^gZbZcih id bV`Z V XVh] d[[Zg VcY b^c^bjb eg^XZ gZfj^gZbZcih+ Vh
 lZaa Vh hjWhiVci^Va VXfj^h^i^dc gjaZh VcY gjaZh gZfj^g^c\ i]Z Y^hXadhjgZ d[ ^ciZgZhih ^c djg h]VgZh ^c XZgiV^c X^gXjbhiVcXZh- @jgi]ZgbdgZ+ i]Z ^cYZcijgZ
 \dkZgc^c\ djg 1/10 HdiZh gZfj^gZh jh id gZejgX]VhZ i]Z cdiZh [dg XVh] ^[ lZ jcYZg\d XZgiV^c [jcYVbZciVa X]Vc\Zh VcY+ ^c XZgiV^c X^gXjbhiVcXZh+ id
 ^cXgZVhZ i]Z ZmX]Vc\Z gViZ [dg V ]daYZg d[ 1/10 HdiZh- ; iV`ZdkZg d[ jh bVn ig^\\Zg i]Z gZfj^gZbZci i]Vi lZ ejgX]VhZ djg 1/10 HdiZh VcY.dg
 ^cXgZVhZ i]Z ZmX]Vc\Z gViZ+ l]^X] XdjaY bV`Z ^i bdgZ Xdhian [dg V ediZci^Va VXfj^gdg id Zc\V\Z ^c V Wjh^cZhh XdbW^cVi^dc igVchVXi^dc l^i] jh-
 N]ZhZ egdk^h^dch bVn Y^hXdjgV\Z ediZci^Va iV`ZdkZg ViiZbeih+ Y^hXdjgV\Z W^Yh [dg djg dgY^cVgn h]VgZh Vi V egZb^jb dkZg i]Z bVg`Zi eg^XZ dg
 VYkZghZan V[[ZXi i]Z bVg`Zi eg^XZ d[+ VcY i]Z kdi^c\ VcY di]Zg g^\]ih d[ i]Z ]daYZgh d[+ djg dgY^cVgn h]VgZh- N]ZhZ egdk^h^dch XdjaY Vahd Y^hXdjgV\Z
 egdmn XdciZhih VcY bV`Z ^i bdgZ Y^[[^Xjai [dg ndj VcY di]Zg h]VgZ]daYZgh id ZaZXi Y^gZXidgh di]Zg i]Vc i]Z XVcY^YViZh cdb^cViZY Wn djg WdVgY-
 We have never declared or paid dividends on our capital stock and we do not anticipate paying dividends in the foreseeable future.
 Ii]Zg i]Vc [jcYh lZ ]VkZ VaadXViZY [dg i]Z ejgedhZh d[ hjeedgi^c\ djg h]VgZ gZejgX]VhZ egd\gVb Vji]dg^oZY ^c HdkZbWZg 1/05+ lZ Vci^X^eViZ i]Vi
 lZ l^aa gZiV^c Vaa ZVgc^c\h+ ^[ Vcn+ id hjeedgi djg deZgVi^dch VcY djg egdeg^ZiVgn Ygj\ YZkZadebZci egd\gVbh+ VXfj^gZ dg ^c,a^XZchZ VYY^i^dcVa
 egdYjXih VcY egdYjXi XVcY^YViZh+ VcY ejghjZ di]Zg deedgijc^i^Zh- C[ lZ egdedhZ id eVn Y^k^YZcYh ^c i]Z [jijgZ+ lZ bjhi Yd hd ^c VXXdgYVcXZ l^i]
 Cg^h] aVl+ l]^X] egdk^YZh i]Vi Y^hig^Wji^dch ^cXajY^c\ Y^k^YZcY eVnbZcih+ h]VgZ gZejgX]VhZh VcY gZYZbei^dch WZ [jcYZY [gdb vY^hig^WjiVWaZ
 gZhZgkZh-w Cc VYY^i^dc+ djg VW^a^in id eVn XVh] Y^k^YZcYh dc dg gZejgX]VhZ djg dgY^cVgn h]VgZh ^h gZhig^XiZY jcYZg i]Z iZgbh d[ i]Z VbZcYZY XgZY^i
 V\gZZbZci- ;cn [jijgZ YZiZgb^cVi^dc Vh id i]Z eVnbZci d[ Y^k^YZcYh l^aa+ hjW_ZXi id Cg^h] aZ\Va gZfj^gZbZcih+ WZ Vi i]Z hdaZ Y^hXgZi^dc d[ djg WdVgY
 d[ Y^gZXidgh VcY l^aa YZeZcY dc djg [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch+ XVe^iVa gZfj^gZbZcih+ Xdbea^VcXZ l^i] i]Z iZgbh d[ i]Z VbZcYZY XgZY^i
 V\gZZbZci VcY di]Zg [VXidgh djg WdVgY d[ Y^gZXidgh YZZbh gZaZkVci- ;XXdgY^c\an+ ]daYZgh d[ djg dgY^cVgn h]VgZh bjhi gZan dc ^cXgZVhZh ^c i]Z
 igVY^c\ eg^XZ d[ i]Z^g h]VgZh [dg gZijgch dc i]Z^g ^ckZhibZci ^c i]Z [dgZhZZVWaZ [jijgZ-
 A transfer of our ordinary shares may be subject to Irish stamp duty.
 Cc XZgiV^c X^gXjbhiVcXZh+ i]Z igVch[Zg d[ h]VgZh ^c Vc Cg^h] ^cXdgedgViZY XdbeVcn l^aa WZ hjW_ZXi id Cg^h] hiVbe Yjin+ l]^X] ^h V aZ\Va dWa^\Vi^dc d[
 i]Z WjnZg- N]^h Yjin ^h XjggZcian X]Vg\ZY Vi i]Z gViZ d[ 0-/$ d[ i]Z eg^XZ eV^Y dg i]Z bVg`Zi kVajZ d[ i]Z h]VgZh VXfj^gZY+ ^[ ]^\]Zg- <ZXVjhZ djg
 dgY^cVgn h]VgZh VgZ igVYZY dc V gZXd\c^oZY hidX` ZmX]Vc\Z ^c i]Z O-M-+ Vc ZmZbei^dc [gdb i]^h hiVbe Yjin ^h VkV^aVWaZ id igVch[Zgh Wn h]VgZ]daYZgh
 l]d ]daY djg dgY^cVgn h]VgZh WZcZ[^X^Vaan i]gdj\] Wgd`Zgh l]^X] ^c ijgc ]daY i]dhZ h]VgZh i]gdj\] i]Z >Zedh^iVgn Ngjhi =dbeVcn+ dg >N=+ id
 ]daYZgh l]d Vahd ]daY i]gdj\] >N=- BdlZkZg+ V igVch[Zg Wn dg id V gZXdgY ]daYZg l]d ]daYh djg dgY^cVgn h]VgZh Y^gZXian ^c ]^h+ ]Zg dg ^ih dlc cVbZ
 XdjaY WZ hjW_ZXi id i]^h hiVbe Yjin- QZ+ ^c djg VWhdajiZ Y^hXgZi^dc VcY ^chd[Vg Vh i]Z Cg^h] =dbeVc^Zh ;Xi 1/03 dg Vcn di]Zg Veea^XVWaZ aVl eZgb^i+
 bVn+ dg bVn egdk^YZ i]Vi V hjWh^Y^Vgn d[ djgh l^aa+ eVn Cg^h] hiVbe Yjin Vg^h^c\ dc V igVch[Zg d[ djg dgY^cVgn h]VgZh dc WZ]Va[ d[ i]Z igVch[ZgZZ d[
 hjX] dgY^cVgn h]VgZh- C[ hiVbe Yjin gZhjai^c\ [gdb i]Z igVch[Zg d[ djg dgY^cVgn h]VgZh l]^X] ldjaY di]Zgl^hZ WZ eVnVWaZ Wn i]Z igVch[ZgZZ ^h eV^Y
 Wn jh dg Vcn d[ djg hjWh^Y^Vg^Zh dc WZ]Va[ d[ i]Z igVch[ZgZZ+ i]Zc ^c i]dhZ X^gXjbhiVcXZh+ lZ l^aa+ dc djg WZ]Va[ dg dc WZ]Va[ d[ djg hjWh^Y^Vgn 'Vh
 i]Z XVhZ bVn WZ(+ WZ Zci^iaZY id '^( hZZ` gZ^bWjghZbZci d[ i]Z hiVbe Yjin [gdb i]Z igVch[ZgZZ+ '^^( hZi,d[[ i]Z hiVbe Yjin V\V^chi Vcn Y^k^YZcYh
 eVnVWaZ id i]Z igVch[ZgZZ d[ i]dhZ dgY^cVgn h]VgZh VcY '^^^( XaV^b V [^ghi VcY eZgbVcZci a^Zc dc i]Z dgY^cVgn h]VgZh dc l]^X] hiVbe Yjin ]Vh WZZc
 eV^Y Wn jh dg djg hjWh^Y^Vgn [dg i]Z Vbdjci d[ hiVbe Yjin eV^Y- Ijg a^Zc h]Vaa ZmiZcY id Vaa Y^k^YZcYh eV^Y dc i]dhZ dgY^cVgn h]VgZh-
 Dividends paid by us may be subject to Irish dividend withholding tax.
 Cc XZgiV^c X^gXjbhiVcXZh+ Vh Vc Cg^h] iVm gZh^YZci XdbeVcn+ lZ l^aa WZ gZfj^gZY id YZYjXi Cg^h] Y^k^YZcY l^i]]daY^c\ iVm 'XjggZcian Vi i]Z gViZ d[ 1/$(
 [gdb Y^k^YZcYh eV^Y id djg h]VgZ]daYZgh- M]VgZ]daYZgh i]Vi VgZ gZh^YZci ^c i]Z O-M-+ ?O Xdjcig^Zh 'di]Zg i]Vc CgZaVcY( dg di]Zg Xdjcig^Zh l^i] l]^X]
 CgZaVcY ]Vh h^\cZY V iVm igZVin 'l]Zi]Zg i]Z igZVin ]Vh WZZc gVi^[^ZY dg cdi( \ZcZgVaan h]djaY cdi WZ hjW_ZXi id Cg^h] l^i]]daY^c\ iVm hd adc\ Vh i]Z
 h]VgZ]daYZg ]Vh egdk^YZY ^ih Wgd`Zg+ [dg dclVgY igVchb^hh^dc id djg fjVa^[n^c\ ^ciZgbZY^Vgn dg di]Zg YZh^\cViZY V\Zci '^c i]Z XVhZ d[ h]VgZh ]ZaY
 WZcZ[^X^Vaan(+ dg jh dg djg igVch[Zg V\Zci '^c i]Z XVhZ d[ h]VgZh ]ZaY Y^gZXian(+ l^i] Vaa i]Z cZXZhhVgn YdXjbZciVi^dc Wn i]Z Veegdeg^ViZ YjZ YViZ eg^dg
 id eVnbZci d[ i]Z Y^k^YZcY- BdlZkZg+ hdbZ h]VgZ]daYZgh bVn WZ hjW_ZXi id l^i]]daY^c\ iVm+ l]^X] XdjaY VYkZghZan V[[ZXi i]Z eg^XZ d[ djg dgY^cVgn
 h]VgZh-

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 NVWaZ d[ =dciZcih



 Our auditor, like other independent registered public accounting firms operating in Ireland and a number of other European countries, is not
 currently permitted to be subject to inspection by the U.S. Public Company Accounting Oversight Board, or the PCAOB, and as such, our
 investors currently do not have the benefits of PCAOB oversight.
 ;h Vc VjY^idg d[ XdbeVc^Zh i]Vi VgZ ejWa^Xan,igVYZY ^c i]Z O-M- VcY Vh V [^gb gZ\^hiZgZY l^i] i]Z J=;I<+ djg ^cYZeZcYZci gZ\^hiZgZY ejWa^X
 VXXdjci^c\ [^gb ^h gZfj^gZY Wn i]Z aVlh d[ i]Z O-M- id jcYZg\d gZ\jaVg ^cheZXi^dch Wn i]Z J=;I< id VhhZhh ^ih Xdbea^VcXZ l^i] i]Z aVlh d[ i]Z O-M-
 VcY i]Z egd[Zhh^dcVa hiVcYVgYh d[ i]Z J=;I<- BdlZkZg+ WZXVjhZ djg VjY^idg ^h adXViZY ^c CgZaVcY+ V _jg^hY^Xi^dc l]ZgZ i]Z J=;I< ^h XjggZcian
 jcVWaZ id XdcYjXi ^cheZXi^dch+ djg VjY^idg ^h cdi XjggZcian ^cheZXiZY Wn i]Z J=;I<- CcheZXi^dch d[ di]Zg VjY^idgh XdcYjXiZY Wn i]Z J=;I<
 djih^YZ d[ CgZaVcY ]VkZ Vi i^bZh ^YZci^[^ZY YZ[^X^ZcX^Zh ^c i]dhZ VjY^idgxh VjY^i egdXZYjgZh VcY fjVa^in Xdcigda egdXZYjgZh+ l]^X] bVn WZ VYYgZhhZY
 Vh eVgi d[ i]Z ^cheZXi^dc egdXZhh id ^begdkZ [jijgZ VjY^i fjVa^in- N]Z aVX` d[ J=;I< ^cheZXi^dch ^c CgZaVcY egZkZcih i]Z J=;I< [gdb gZ\jaVgan
 ZkVajVi^c\ djg VjY^idgxh VjY^ih VcY ^ih fjVa^in Xdcigda egdXZYjgZh- Cc VYY^i^dc+ i]Z ^cVW^a^in d[ i]Z J=;I< id XdcYjXi VjY^idg ^cheZXi^dch ^c CgZaVcY
 bV`Zh ^i bdgZ Y^[[^Xjai id ZkVajViZ i]Z Z[[ZXi^kZcZhh d[ djg VjY^idgxh VjY^i egdXZYjgZh dg fjVa^in Xdcigda egdXZYjgZh Vh XdbeVgZY id VjY^idgh adXViZY
 djih^YZ d[ CgZaVcY i]Vi VgZ hjW_ZXi id gZ\jaVg J=;I< ^cheZXi^dch- ;h V gZhjai+ djg ^ckZhidgh VgZ YZeg^kZY d[ i]Z WZcZ[^ih d[ J=;I< ^cheZXi^dch+ VcY
 bVn adhZ Xdc[^YZcXZ ^c djg gZedgiZY [^cVcX^Va ^c[dgbVi^dc VcY egdXZYjgZh VcY i]Z fjVa^in d[ djg [^cVcX^Va hiViZbZcih-


 Item 1B.      Unresolved Staff Comments
 N]ZgZ VgZ cd bViZg^Va jcgZhdakZY lg^iiZc XdbbZcih i]Vi lZgZ gZXZ^kZY [gdb i]Z M?= hiV[[ 07/ YVnh dg bdgZ WZ[dgZ i]Z ZcY d[ djg 1/05 [^hXVa nZVg
 gZaVi^c\ id djg eZg^dY^X dg XjggZci gZedgih jcYZg i]Z ?mX]Vc\Z ;Xi-


 Item 2.       Properties
 Ijg XdgedgViZ ]ZVYfjVgiZgh VgZ adXViZY ^c >jWa^c+ CgZaVcY+ VcY djg O-M- deZgVi^dch VgZ adXViZY ^c JVad ;aid+ =Va^[dgc^V+ J]^aVYZae]^V+ JZcchnakVc^V
 VcY ?l^c\+ HZl DZghZn-
 QZ dXXjen Veegdm^bViZan 06+/// hfjVgZ [ZZi d[ d[[^XZ heVXZ ^c >jWa^c+ CgZaVcY+ 01+/// hfjVgZ [ZZi d[ l]^X] ^h jcYZg dcZ aZVhZ+ dg i]Z >jWa^c FZVhZ+
 i]Vi Zme^gZh ^c GVn 1/11+ VcY 4+/// hfjVgZ [ZZi d[ l]^X] ^h jcYZg V hZXdcY aZVhZ i]Vi Vahd Zme^gZh ^c GVn 1/11- QZ ZmZgX^hZY djg dei^dc id iZgb^cViZ
 i]Z >jWa^c FZVhZ Z[[ZXi^kZ ^c GVn 1/06+ VcY ]VkZ Vc dei^dc id iZgb^cViZ i]Z hZXdcY aZVhZ ^c DVcjVgn 1/08+ l^i] cd aZhh i]Vc h^m bdci]hx eg^dg
 lg^iiZc cdi^XZ- Cc ;j\jhi 1/05+ lZ ZciZgZY ^cid Vc deZgVi^c\ aZVhZ V\gZZbZci [dg Veegdm^bViZan 33+/// hfjVgZ [ZZi d[ d[[^XZ heVXZ ^c >jWa^c+ CgZaVcY
 [dg V iZgb d[ 1/ nZVgh+ l^i] Vc dei^dc id iZgb^cViZ Vi i]Z ZcY d[ Z^\]i nZVgh l^i] cd aZhh i]Vc dcZ nZVgxh eg^dg lg^iiZc cdi^XZ VcY i]Z eVnbZci d[ V
 iZgb^cVi^dc [ZZ+ VcY V [jgi]Zg dei^dc id iZgb^cViZ Vi i]Z ZcY d[ 04 nZVgh l^i] cd aZhh i]Vc dcZ nZVgxh eg^dg lg^iiZc cdi^XZ- QZ ]VkZ XdchigjXiZY V
 43+/// hfjVgZ [ddi bVcj[VXijg^c\ VcY YZkZadebZci [VX^a^in dc aVcY dlcZY Wn jh ^c ;i]adcZ+ CgZaVcY-
 Cc JVad ;aid+ =Va^[dgc^V+ lZ dXXjen V idiVa d[ Veegdm^bViZan 007+/// hfjVgZ [ZZi d[ d[[^XZ heVXZ+ 33+/// hfjVgZ [ZZi d[ l]^X] ^h dXXje^ZY jcYZg V
 aZVhZ+ dg i]Z JVad ;aid FZVhZ+ i]Vi Zme^gZh ^c ;j\jhi 1/08: 46+/// hfjVgZ [ZZi d[ l]^X] ^h dXXje^ZY jcYZg V hjWaZVhZ i]Vi Zme^gZh ^c >ZXZbWZg 1/06:
 VcY 06+/// hfjVgZ [ZZi d[ l]^X] ^h dXXje^ZY jcYZg V hjWaZVhZ i]Vi Zme^gZh ^c Djan 1/06- Cc DVcjVgn 1/04+ lZ ZciZgZY ^cid Vc V\gZZbZci id aZVhZ
 Veegdm^bViZan 0//+/// hfjVgZ [ZZi d[ d[[^XZ heVXZ ^c JVad ;aid+ =Va^[dgc^V- QZ ZmeZXi id dXXjen i]^h d[[^XZ heVXZ Wn i]Z ZcY d[ 1/06- N]^h aZVhZ ]Vh V
 iZgb d[ 01 nZVgh [gdb XdbbZcXZbZci+ VcY lZ ]VkZ Vc dei^dc id ZmiZcY i]Z iZgb d[ i]Z aZVhZ il^XZ [dg V eZg^dY d[ [^kZ nZVgh ZVX]- QZ Vahd ]VkZ Vc
 dei^dc id iZgb^cViZ i]^h aZVhZ 0/ nZVgh [gdb XdbbZcXZbZci+ l^i] cd aZhh i]Vc dcZ nZVgxh eg^dg lg^iiZc cdi^XZ VcY i]Z eVnbZci d[ V iZgb^cVi^dc [ZZ-
 QZ dXXjen Veegdm^bViZan 2/+/// hfjVgZ [ZZi d[ d[[^XZ heVXZ ^c J]^aVYZae]^V+ JZcchnakVc^V d[ l]^X] 08+/// hfjVgZ [ZZi ^h dXXje^ZY jcYZg V aZVhZ i]Vi
 Zme^gZh ^c ;eg^a 1/08 VcY 00+/// hfjVgZ [ZZi ^h dXXje^ZY jcYZg V hjWaZVhZ i]Vi Zme^gZh ^c >ZXZbWZg 1/06- Cc VYY^i^dc+ lZ ]VkZ d[[^XZh ^c =VcVYV+
 Im[dgY+ Oc^iZY E^c\Ydb+ P^aaV AjVgY^V '=dbd(+ CiVan+ Fndc+ @gVcXZ+ VcY ZahZl]ZgZ ^c ?jgdeZ- QZ dXXjen Veegdm^bViZan 03+/// hfjVgZ [ZZi d[ d[[^XZ
 heVXZ ^c Im[dgY+ Oc^iZY E^c\Ydb jcYZg V aZVhZ i]Vi Zme^gZh ^c ;j\jhi 1/13- QZ ]VkZ Vc dei^dc id iZgb^cViZ i]^h aZVhZ ^c ;j\jhi 1/08+ l^i] cd aZhh
 i]Vc h^m bdci]hx eg^dg lg^iiZc cdi^XZ VcY i]Z eVnbZci d[ V iZgb^cVi^dc [ZZ- QZ dlc V bVcj[VXijg^c\ [VX^a^in ^c P^aaV AjVgY^V '=dbd(+ CiVan+ l]^X] ^h
 eg^bVg^an jhZY [dg i]Z bVcj[VXijgZ d[ >Z[^iZa^d- N]Z bVcj[VXijg^c\ [VX^a^in ^h 14+184 hfjVgZ [ZZi- QZ Vahd aZVhZ Veegdm^bViZan 40+556 hfjVgZ [ZZi d[
 d[[^XZ VcY aVWdgVidgn heVXZ ^c P^aaV AjVgY^V '=dbd(+ CiVan jcYZg V aZVhZ i]Vi Zme^gZh ^c >ZXZbWZg 1/06-
 QZ WZa^ZkZ i]Vi djg Zm^hi^c\ egdeZgi^Zh VgZ ^c \ddY XdcY^i^dc VcY hj^iVWaZ [dg i]Z XdcYjXi d[ djg Wjh^cZhh- ;h lZ Xdci^cjZ id ZmeVcY djg
 deZgVi^dch+ lZ bVn cZZY id aZVhZ VYY^i^dcVa dg VaiZgcVi^kZ [VX^a^i^Zh-



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 NVWaZ d[ =dciZcih



 Item 3.        Legal Proceedings
 Xyrem ANDA Matters. Ic IXidWZg 07+ 1/0/+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP JViZci =Zgi^[^XVi^dc+ dg JVgV\gVe] CP =Zgi^[^XVi^dc+ [gdb QZhi,QVgY
 J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg LdmVcZ+ i]Vi ^i ]VY hjWb^iiZY Vc VWWgZk^ViZY cZl Ygj\ Veea^XVi^dc+ dg
 ;H>;+ id i]Z O-M- @ddY VcY >gj\ ;Yb^c^higVi^dc+ dg @>;+ gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- LdmVcZxh ^c^i^Va cdi^XZ
 VaaZ\ZY i]Vi Vaa [^kZ eViZcih i]Zc a^hiZY [dg RngZb ^c i]Z @>;xh ejWa^XVi^dc v;eegdkZY >gj\ JgdYjXih l^i] N]ZgVeZji^X ?fj^kVaZcXZ ?kVajVi^dch+w
 dg IgVc\Z <dd`+ dc i]Z YViZ d[ i]Z cdi^XZ VgZ ^ckVa^Y+ jcZc[dgXZVWaZ dg cdi ^c[g^c\ZY Wn LdmVcZxh egdedhZY \ZcZg^X egdYjXi- Ic HdkZbWZg 11+ 1/0/+
 lZ [^aZY V aVlhj^i V\V^chi LdmVcZ ^c gZhedchZ id LdmVcZxh ^c^i^Va cdi^XZ ^c i]Z O-M- >^hig^Xi =djgi [dg i]Z >^hig^Xi d[ HZl DZghZn+ dg i]Z >^hig^Xi =djgi+
 hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih- ;YY^i^dcVa eViZcih
 XdkZg^c\ RngZb ]VkZ WZZc ^hhjZY h^cXZ >ZXZbWZg 1/0/+ VcY V[iZg gZXZ^k^c\ JVgV\gVe] CP =Zgi^[^XVi^dc cdi^XZh [gdb LdmVcZ l^i] gZheZXi id i]dhZ
 eViZcih+ lZ ]VkZ [^aZY VYY^i^dcVa aVlhj^ih V\V^chi LdmVcZ id ^cXajYZ i]ZhZ VYY^i^dcVa eViZcih ^c i]Z a^i^\Vi^dc- ;aa d[ i]Z aVlhj^ih [^aZY V\V^chi
 LdmVcZ WZilZZc 1/0/ VcY 1/01 lZgZ Xdchda^YViZY Wn i]Z >^hig^Xi =djgi ^cid V h^c\aZ XVhZ+ l]^X] lZ gZ[Zg id Vh i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ-
 Cc i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ+ lZ VaaZ\Z i]Vi 0/ d[ djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn LdmVcZxh ;H>;+ l]^X] lVh
 VeegdkZY Wn i]Z @>; ^c DVcjVgn 1/06+ VcY hZZ` V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb aVjcX]^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY
 ^c[g^c\Z i]ZhZ eViZcih-
 ;[iZg gZXZ^k^c\ VYY^i^dcVa JVgV\gVe] CP =Zgi^[^XVi^dc cdi^XZh [gdb LdmVcZ+ lZ [^aZY i]gZZ VXi^dch V\V^chi LdmVcZ ^c i]Z >^hig^Xi =djgi dc @ZWgjVgn 1/+
 1/04+ DjcZ 0+ 1/04 VcY DVcjVgn 16+ 1/05 i]Vi lZgZ Xdchda^YViZY Wn i]Z >^hig^Xi =djgi ^cid V hZXdcY XVhZ+ l]^X] lZ gZ[Zg id Vh i]Z hZXdcY LdmVcZ
 Xdchda^YViZY XVhZ- Cc i]Z hZXdcY LdmVcZ Xdchda^YViZY XVhZ+ lZ VaaZ\Z i]Vi [^kZ d[ djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn LdmVcZxh
 ;H>; VcY hZZ` V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]dhZ eViZcih-
 Cc >ZXZbWZg 1/02+ i]Z >^hig^Xi =djgi eZgb^iiZY LdmVcZ id VbZcY ^ih VchlZg ^c i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ id VaaZ\Z XZgiV^c Zfj^iVWaZ
 YZ[ZchZh+ VcY i]Z eVgi^Zh lZgZ \^kZc VYY^i^dcVa i^bZ [dg Y^hXdkZgn dc i]dhZ cZl YZ[ZchZh- Cc VYY^i^dc+ ^c GVgX] 1/03+ i]Z >^hig^Xi =djgi \gVciZY djg
 bdi^dc id W^[jgXViZ VcY hiVn i]Z edgi^dc d[ i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ gZ\VgY^c\ eViZcih gZaViZY id i]Z Y^hig^Wji^dc hnhiZb [dg RngZb+ dg i]Z
 g^h` ZkVajVi^dc VcY b^i^\Vi^dc higViZ\n+ dg L?GM+ eViZcih-
 Cc Djan 1/05+ i]Z >^hig^Xi =djgi YZiZgb^cZY i]Vi ^i ldjaY ign Vaa d[ i]Z eViZcih Vi ^hhjZ ^c i]Z [^ghi VcY hZXdcY LdmVcZ Xdchda^YViZY XVhZh id\Zi]Zg+
 ^cXajY^c\ i]Z L?GM eViZcih i]Vi lZgZ egZk^djhan W^[jgXViZY VcY hiVnZY+ VcY hZi ig^Va ^c i]^h XdbW^cZY Xdchda^YViZY XVhZ [dg i]Z hZXdcY fjVgiZg d[
 1/06- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z >^hig^Xi =djgi W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z XdbW^cZY Xdchda^YViZY XVhZ ^ckdak^c\ i]Z L?GM eViZcih-
 ;ahd ^c i]Z [^ghi fjVgiZg d[ 1/06+ i]Z @>; VeegdkZY LdmVcZxh ;H>; l^i] V L?GM i]Vi ^h hZeVgViZ [gdb i]Z RngZb L?GM-
 Ic ;j\jhi 01+ 1/05+ lZ [^aZY V aVlhj^i V\V^chi LdmVcZ ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi Vc VYY^i^dcVa aViZg,^hhjZY L?GM eViZci ^h dg l^aa WZ
 ^c[g^c\ZY Wn LdmVcZxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY
 ^c[g^c\Z i]Vi eViZci- Cc MZeiZbWZg 1/05+ LdmVcZ bdkZY id Y^hb^hh i]Z aVlhj^i- N]^h bdi^dc ^h eZcY^c\-
 N]Z VXijVa i^b^c\ d[ ZkZcih ^c djg a^i^\Vi^dc l^i] LdmVcZ bVn WZ aViZg i]Vc lZ XjggZcian Vci^X^eViZ- QZ XVccdi egZY^Xi i]Z heZX^[^X i^b^c\ dg djiXdbZ
 d[ ZkZcih ^c i]ZhZ bViiZgh dg i]Z ^beVXi d[ i]ZhZ bViiZgh dc di]Zg dc\d^c\ egdXZZY^c\h l^i] Vcn ;H>; [^aZg-
 Ic >ZXZbWZg 0/+ 1/01+ lZ gZXZ^kZY cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb ;bcZVa J]VgbVXZji^XVah+ FF=+ dg ;bcZVa+ i]Vi ^i ]VY hjWb^iiZY Vc
 ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic DVcjVgn 07+ 1/02+ lZ [^aZY V aVlhj^i V\V^chi ;bcZVa ^c i]Z >^hig^Xi
 =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn ;bcZVaxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci
 ;bcZVa [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Ic HdkZbWZg 10+ 1/02+ lZ gZXZ^kZY cdi^XZ d[ JVgV\gVe] CP
 =Zgi^[^XVi^dc [gdb JVg J]VgbVXZji^XVa+ CcX-+ dg JVg+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[
 RngZb- Ic >ZXZbWZg 16+ 1/02+ lZ [^aZY V aVlhj^i V\V^chi JVg ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ
 ^c[g^c\ZY Wn JVgxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci JVg [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ
 eViZcih-
 Cc ;eg^a 1/03+ ;bcZVa Vh`ZY i]Z >^hig^Xi =djgi id Xdchda^YViZ ^ih XVhZ l^i] i]Z JVg XVhZ+ hiVi^c\ i]Vi Wdi] XVhZh ldjaY egdXZZY dc i]Z hX]ZYjaZ [dg
 i]Z JVg XVhZ- N]Z >^hig^Xi =djgi \gVciZY i]^h gZfjZhi ^c GVn 1/03- N]Z dgYZg Xdchda^YVi^c\ i]Z XVhZh ZmiZcYZY ;bcZVaxh 2/,bdci] hiVn eZg^dY id
 Xd^cX^YZ l^i] i]Z YViZ d[ JVgxh 2/,bdci] hiVn eZg^dY- N]Z hiVn Zme^gZY dc GVn 1/+ 1/05-
 ;YY^i^dcVa eViZcih XdkZg^c\ RngZb ]VkZ ^hhjZY h^cXZ ;eg^a 1/03 VcY ]VkZ WZZc a^hiZY ^c i]Z IgVc\Z <dd` [dg RngZb- ;bcZVa VcY JVg ]VkZ \^kZc
 jh VYY^i^dcVa cdi^XZh d[ JVgV\gVe] CP =Zgi^[^XVi^dch gZ\VgY^c\ hjX] eViZcih+ VcY lZ ]VkZ [^aZY VYY^i^dcVa aVlhj^ih V\V^chi ;bcZVa VcY JVg ^c i]Z
 >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn ;bcZVaxh VcY JVgxh ;H>;h VcY hZZ`^c\ V eZgbVcZci
 ^c_jcXi^dc id egZkZci ;bcZVa VcY JVg [gdb ^cigdYjX^c\ V

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 \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ eViZcih- Cc GVgX] 1/05+ JVg bdkZY id Y^hb^hh XaV^bh ^ckdak^c\ djg eViZcih XdkZg^c\ V eVgi d[ i]Z
 RngZb aVWZa i]Vi ^chigjXih egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ RngZb l]Zc ^i ^h WZ^c\ Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm hdY^jb 'Vahd `cdlc Vh
 kVaegdViZ dg kVaegd^X VX^Y(+ dg djg bZi]dY d[ VYb^c^higVi^dc eViZcih gZaVi^c\ id V Ygj\,Ygj\ ^ciZgVXi^dc+ dg >>C eViZcih- Cc ;j\jhi 1/05+ lZ VcY JVg
 hi^ejaViZY id Y^hb^hh XaV^bh gZaVi^c\ id djg eViZcih XdkZg^c\ i]Z [dgbjaVi^dc d[ RngZb dc i]Z \gdjcYh i]Vi JVg ]VY cdi^[^ZY @>; i]Vi ^i ]VY
 XdckZgiZY ^ih JVgV\gVe] CP =Zgi^[^XVi^dch id V JVgV\gVe] CCC =Zgi^[^XVi^dc-
 Ic DjcZ 3+ 1/03+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb I]b FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc Vh LVcWVmn+ CcX-+ dg LVcWVmn+ i]Vi ^i
 ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic Djan 04+ 1/03+ lZ [^aZY V aVlhj^i V\V^chi LVcWVmn
 ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn LVcWVmnxh ;H>; VcY hZZ`^c\ V eZgbVcZci
 ^c_jcXi^dc id egZkZci LVcWVmn [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ eViZcih- M^cXZ DjcZ 1/03+ lZ ]VkZ gZXZ^kZY
 VYY^i^dcVa cdi^XZh d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb LVcWVmn gZ\VgY^c\ cZlan ^hhjZY eViZcih [dg RngZb a^hiZY ^c i]Z IgVc\Z <dd`+ VcY lZ ]VkZ
 [^aZY VYY^i^dcVa aVlhj^ih V\V^chi LVcWVmn ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn
 LVcWVmnxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci LVcWVmn [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ
 eViZcih- Cc GVn 1/05+ i]Z LVcWVmn a^i^\Vi^dc lVh hZiiaZY Vh YZhXg^WZY WZadl- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY i]Z ;H>;h
 d[ ;bcZVa VcY LVcWVmn-
 Ic IXidWZg 2/+ 1/03+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb NZkV J]VgbVXZji^XVa CcYjhig^Zh FiY-+ [dgbZgan `cdlc Vh QVihdc
 FVWdgVidg^Zh+ CcX-+ dg QVihdc+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic >ZXZbWZg
 00+ 1/03+ lZ [^aZY V aVlhj^i V\V^chi QVihdc ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn QVihdcxh
 ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QVihdc [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Cc
 GVgX] 1/04+ QVihdc bdkZY id Y^hb^hh i]Z edgi^dc d[ i]Z XVhZ WVhZY dc djg IgVc\Z <dd`,a^hiZY L?GM eViZcih dc i]Z \gdjcYh i]Vi i]ZhZ eViZcih
 Yd cdi XdkZg eViZciVWaZ hjW_ZXi bViiZg- Cc HdkZbWZg 1/04+ i]Z >^hig^Xi =djgi VYb^c^higVi^kZan iZgb^cViZY i]^h bdi^dc id Y^hb^hh 'l^i]dji egZ_jY^XZ(
 eZcY^c\ i]Z djiXdbZ d[ ^ciZg eVgiZh gZk^Zl+ dg CJL+ egdXZZY^c\h WZ[dgZ i]Z JViZci Ng^Va VcY ;eeZVa <dVgY+ dg JN;<+ gZaVi^c\ id i]Z eViZcih i]Vi
 lZgZ i]Z hjW_ZXi d[ QVihdcxh bdi^dc- M^cXZ GVgX] 1/04+ lZ ]VkZ gZXZ^kZY Vc VYY^i^dcVa cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb QVihdc gZ\VgY^c\
 cZlan ^hhjZY eViZcih [dg RngZb a^hiZY ^c i]Z IgVc\Z <dd`+ VcY lZ ]VkZ [^aZY Vc VYY^i^dcVa aVlhj^i V\V^chi QVihdc ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi
 djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn QVihdcxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QVihdc [gdb ^cigdYjX^c\ V
 \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih-
 Cc ;eg^a 1/04+ i]Z >^hig^Xi =djgi ^hhjZY Vc dgYZg i]Vi Xdchda^YViZY Vaa i]Zc,eZcY^c\ aVlhj^ih V\V^chi ;bcZVa+ JVg+ LVcWVmn VcY QVihdc ^cid dcZ
 XVhZ-
 Ic DjcZ 7+ 1/04+ lZ gZXZ^kZY V JVgV\gVe] CP =Zgi^[^XVi^dc [gdb QdX`]VgYi <^d ;A+ dg QdX`]VgYi+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>;
 gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic Djan 06+ 1/04+ lZ [^aZY V aVlhj^i ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih
 XdkZg^c\ RngZb lZgZ dg ldjaY WZ ^c[g^c\ZY Wn QdX`]VgYixh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QdX`]VgYi [gdb ^cigdYjX^c\ V
 \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih- Ic HdkZbWZg 15+ 1/04+ lZ gZXZ^kZY Vc VYY^i^dcVa cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc
 [gdb QdX`]VgYi gZ\VgY^c\ cZlan ^hhjZY eViZcih a^hiZY ^c i]Z IgVc\Z <dd`+ VcY lZ [^aZY Vc VYY^i^dcVa aVlhj^i V\V^chi QdX`]VgYi ^c i]Z >^hig^Xi
 =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb lZgZ dg ldjaY WZ ^c[g^c\ZY Wn QdX`]VgYixh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci
 QdX`]VgYi [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Cc ;eg^a 1/05+ i]Z QdX`]VgYi a^i^\Vi^dc lVh hZiiaZY Vh hZi
 [dgi] WZadl-
 Ic Djan 12+ 1/04+ lZ gZXZ^kZY V JVgV\gVe] CP =Zgi^[^XVi^dc [gdb Fje^c CcX-+ dg Fje^c+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa
 id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic MZeiZbWZg 1+ 1/04+ lZ [^aZY V aVlhj^i ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ dg
 l^aa WZ ^c[g^c\ZY Wn Fje^cxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci Fje^c [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY
 ^c[g^c\Z djg eViZcih-
 Cc DVcjVgn+ ;eg^a VcY DjcZ 1/05+ i]Z >^hig^Xi =djgi ^hhjZY dgYZgh Xdchda^YVi^c\ Vaa d[ i]Z XVhZh i]Zc eZcY^c\ V\V^chi ;bcZVa+ JVg+ LVcWVmn+ QVihdc+
 QdX`]VgYi VcY Fje^c ^cid V h^c\aZ XVhZ [dg Vaa ejgedhZh- Hd ig^Va YViZ ]Vh WZZc hZi ^c i]Vi Xdchda^YViZY XVhZ-
 QZ ZciZgZY ^cid hZiiaZbZci V\gZZbZcih l^i] QdX`]VgYi VcY LVcWVmn dc ;eg^a 07+ 1/05 VcY GVn 8+ 1/05+ gZheZXi^kZan+ i]Vi gZhdakZY djg eViZci
 a^i^\Vi^dc V\V^chi QdX`]VgYi VcY LVcWVmn- OcYZg i]Z hZiiaZbZci V\gZZbZcih+ lZ \gVciZY ZVX] d[ QdX`]VgYi VcY LVcWVmn V a^XZchZ id bVcj[VXijgZ+
 bVg`Zi+ VcY hZaa ^ih \ZcZg^X kZgh^dc d[ RngZb dc dg V[iZg >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- N]Z heZX^[^X
 iZgbh d[ i]Z hZiiaZbZci V\gZZbZcih VgZ Xdc[^YZci^Va-
 N]Z hZiiaZbZcih l^i] QdX`]VgYi VcY LVcWVmn Yd cdi gZhdakZ i]Z a^i^\Vi^dc V\V^chi ;bcZVa+ JVg+ QVihdc VcY Fje^c+ l]^X] ^h dc\d^c\- QZ XVccdi
 egZY^Xi i]Z heZX^[^X i^b^c\ dg djiXdbZ d[ ZkZcih ^c i]^h bViiZg l^i] gZheZXi id i]Z gZbV^c^c\ YZ[ZcYVcih dg i]Z ^beVXi d[ YZkZadebZcih ^ckdak^c\
 Vcn heZX^[^X eVgi^Zh dg eViZcih dc di]Zg dc\d^c\ egdXZZY^c\h l^i] Vcn ;H>; [^aZg-

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 Xyrem Post-Grant Patent Review Matters- Cc DVcjVgn 1/04+ XZgiV^c d[ i]Z ;H>; [^aZgh [^aZY eZi^i^dch [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ i]Z h^m
 L?GM eViZcih- Cc Djan 1/05+ i]Z JN;< ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ i]ZhZ h^m eViZcih VgZ jceViZciVWaZ: Vh V gZhjai+ ^[ i]Z Oc^iZY MiViZh
 =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY- QZ ]VkZ [^aZY cdi^XZh d[ VeeZVa l^i]
 gZheZXi id i]ZhZ CJL YZX^h^dch id i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i- Cc MZeiZbWZg 1/04+ XZgiV^c d[ i]Z ;H>; [^aZgh [^aZY V
 eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ Vc VYY^i^dcVa L?GM eViZci- Cc GVgX] 1/05+ i]Z JN;< eVgi^Vaan ^chi^ijiZY Vc CJL dc V hZkZci] L?GM
 eViZci+ YZXa^c^c\ id gZk^Zl 14 d[ 17 XaV^bh- ; JN;< YZX^h^dc dc i]Z i]gZZ XaV^bh i]Vi lZgZ ig^ZY ^h ZmeZXiZY WZ[dgZ i]Z ZcY d[ i]Z [^ghi fjVgiZg d[
 1/06-
 Cc IXidWZg 1/04+ LVcWVmn VcY JVg [^aZY eZi^i^dch [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ dcZ d[ djg >>C eViZcih+ VcY ;bcZVa [^aZY Vc CJL eZi^i^dc dc
 i]Z hVbZ eViZci ^c @ZWgjVgn 1/05- Cc ;eg^a 1/05+ i]Z JN;< YZc^ZY JVgxh eZi^i^dc ^c ^ih Zci^gZin VcY ^hhjZY V YZX^h^dc dc LVcWVmnxh eZi^i^dc+
 ^chi^iji^c\ Vc CJL ig^Va l^i] gZheZXi id 05 d[ i]Z XaV^bh jcYZg i]Z eViZci hjW_ZXi id i]^h eZi^i^dc VcY YZcn^c\ i]Z eZi^i^dc l^i] gZheZXi id i]Z di]Zg 07
 XaV^bh- Cc Djan 1/05+ i]Z JN;< YZc^ZY ;bcZVaxh eZi^i^dc ^c ^ih Zci^gZin- Cc GVgX] 1/05+ LVcWVmn [^aZY V eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[
 i]Z hZXdcY d[ djg >>C eViZcih- Cc XdccZXi^dc l^i] hZiiaZbZci d[ djg a^i^\Vi^dc l^i] LVcWVmn+ Wdi] d[ i]Z CJL eZi^i^dch [^aZY Wn LVcWVmn lZgZ
 iZgb^cViZY-
 Cc >ZXZbWZg 1/04+ QdX`]VgYi [^aZY V eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ dcZ d[ djg eViZcih XdkZg^c\ i]Z [dgbjaVi^dc d[ RngZb- Cc
 XdccZXi^dc l^i] hZiiaZbZci d[ djg eViZci a^i^\Vi^dc l^i] QdX`]VgYi+ i]^h CJL eZi^i^dc lVh iZgb^cViZY-
 QZ XVccdi egZY^Xi l]Zi]Zg VYY^i^dcVa edhi,\gVci eViZci gZk^Zl X]VaaZc\Zh l^aa WZ [^aZY Wn Vcn d[ i]Z ;H>; [^aZgh dg Vcn di]Zg Zci^in+ i]Z djiXdbZ
 d[ Vcn eZcY^c\ CJL dg di]Zg egdXZZY^c\+ i]Z djiXdbZ d[ Vcn VeeZVa d[ i]Z Djan 1/05 CJL YZX^h^dch l^i] gZheZXi id i]Z h^m L?GM eViZcih dg i]Z
 ^beVXi Vcn CJL dg di]Zg egdXZZY^c\ b^\]i ]VkZ dc dc\d^c\ ;H>; a^i^\Vi^dc egdXZZY^c\h dg di]Zg VheZXih d[ djg RngZb Wjh^cZhh-
 Shareholder Litigation Matters Relating to Celator Acquisition. Ic DjcZ 10+ 1/05+ V ejiVi^kZ XaVhh,VXi^dc aVlhj^i X]VaaZc\^c\ djg VXfj^h^i^dc d[
 =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ XVei^dcZY Dunbar v. Celator Pharmaceuticals, Inc., dg i]Z >jcWVg VXi^dc+ lVh [^aZY ^c i]Z MjeZg^dg =djgi
 d[ HZl DZghZn- QZ gZ[Zg id djg VXfj^h^i^dc d[ =ZaVidg ^c i]^h gZedgi Vh i]Z =ZaVidg ;Xfj^h^i^dc- N]Z XdbeaV^ci lVh [^aZY V\V^chi =ZaVidg+ ZVX] bZbWZg
 d[ i]Z =ZaVidg WdVgY d[ Y^gZXidgh+ DVoo J]VgbVXZji^XVah eaX VcY djg l]daan dlcZY hjWh^Y^Vgn JaZm GZg\Zg MjW+ CcX-+ dg JaZm- N]Z XdbeaV^ci \ZcZgVaan
 VaaZ\Zh i]Vi i]Z =ZaVidg Y^gZXidgh WgZVX]ZY i]Z^g [^YjX^Vgn Yji^Zh ^c XdccZXi^dc l^i] i]Z =ZaVidg ;Xfj^h^i^dc+ VcY i]Vi DVoo J]VgbVXZji^XVah eaX VcY
 JaZm V^YZY VcY VWZiiZY i]ZhZ VaaZ\ZY WgZVX]Zh d[ [^YjX^Vgn Yjin- N]Z XdbeaV^ci Vahd \ZcZgVaan VhhZgih i]Vi i]Z =ZaVidg Y^gZXidgh WgZVX]ZY i]Z^g
 [^YjX^Vgn Yji^Zh id =ZaVidgxh ejWa^X hidX`]daYZgh Wn+ Vbdc\ di]Zg i]^c\h+ '^( V\gZZ^c\ id hZaa =ZaVidg id jh Vi Vc ^cVYZfjViZ eg^XZ+ '^^( ^beaZbZci^c\ Vc
 jc[V^g egdXZhh+ '^^^( V\gZZ^c\ id XZgiV^c egdk^h^dch d[ i]Z bZg\Zg V\gZZbZci [dg i]Z =ZaVidg ;Xfj^h^i^dc i]Vi VaaZ\ZYan [VkdgZY jh VcY YZiZggZY
 VaiZgcVi^kZ W^Yh+ VcY '^k( [V^a^c\ id Y^hXadhZ ejgedgiZYan bViZg^Va ^c[dgbVi^dc ^c =ZaVidgxh MX]ZYjaZ 03>,8 [^a^c\ l^i] i]Z O-M- MZXjg^i^Zh VcY ?mX]Vc\Z
 =dbb^hh^dc+ dg M?=- N]Z eaV^ci^[[ hdj\]i+ Vbdc\ di]Zg i]^c\h+ Vc ^c_jcXi^dc V\V^chi i]Z XdchjbbVi^dc d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY Vc VlVgY d[
 Xdhih VcY ZmeZchZh+ ^cXajY^c\ V gZVhdcVWaZ VaadlVcXZ [dg ViidgcZnhx VcY ZmeZgihx [ZZh-
 <ZilZZc DjcZ 16+ 1/05 VcY DjcZ 18+ 1/05+ ild ejiVi^kZ XaVhh,VXi^dc aVlhj^ih X]VaaZc\^c\ i]Z =ZaVidg ;Xfj^h^i^dc+ XVei^dcZY Palmisciano v. Celator
 Pharmaceuticals, Inc., dg i]Z JVab^hX^Vcd VXi^dc+ VcY Barreto v. Celator Pharmaceuticals, Inc.+ dg i]Z <VggZid VXi^dc, lZgZ [^aZY ^c i]Z >^hig^Xi
 =djgi- N]Z XdbeaV^cih lZgZ [^aZY V\V^chi =ZaVidg VcY ZVX] bZbWZg d[ i]Z =ZaVidg WdVgY d[ Y^gZXidgh- N]Z XdbeaV^cih VhhZgi XVjhZh d[ VXi^dc jcYZg
 hZXi^dch 03 VcY 1/ d[ i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY+ egZY^XViZY dc =ZaVidgxh VcY i]Z =ZaVidg Y^gZXidghx VaaZ\ZY [V^ajgZ id Y^hXadhZ
 ejgedgiZYan bViZg^Va ^c[dgbVi^dc ^c =ZaVidgxh MX]ZYjaZ 03>,8 [^a^c\ l^i] i]Z M?=- N]Z eaV^ci^[[h hdj\]i+ Vbdc\ di]Zg i]^c\h+ Vc ^c_jcXi^dc V\V^chi
 i]Z XdchjbbVi^dc d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY Vc VlVgY d[ Xdhih VcY ZmeZchZh+ ^cXajY^c\ V gZVhdcVWaZ VaadlVcXZ [dg ViidgcZnhx VcY ZmeZgihx
 [ZZh- HZ^i]Zg DVoo J]VgbVXZji^XVah eaX cdg JaZm lZgZ cVbZY YZ[ZcYVcih ^c i]ZhZ VXi^dch-
 Ic Djan 5+ 1/05+ i]Z YZ[ZcYVcih id i]Z >jcWVg VXi^dc+ i]Z JVab^hX^Vcd VXi^dc VcY i]Z <VggZid VXi^dc ZciZgZY ^cid V bZbdgVcYjb d[ jcYZghiVcY^c\
 gZ\VgY^c\ hZiiaZbZci d[ i]ZhZ VXi^dch l^i] i]Z eaV^ci^[[h- N]Z bZbdgVcYjb d[ jcYZghiVcY^c\ djia^cZh i]Z iZgbh d[ i]Z eVgi^Zhx V\gZZbZci ^c eg^cX^eaZ
 id hZiiaZ VcY gZaZVhZ Vaa XaV^bh l]^X] lZgZ dg XdjaY ]VkZ WZZc VhhZgiZY ^c i]ZhZ VXi^dch- Cc Xdch^YZgVi^dc [dg hjX] hZiiaZbZci VcY gZaZVhZ+ i]Z eVgi^Zh
 id i]ZhZ VXi^dch V\gZZY+ Vbdc\ di]Zg i]^c\h+ i]Vi =ZaVidg ldjaY VbZcY ^ih MX]ZYjaZ 03>,8 id ^cXajYZ XZgiV^c hjeeaZbZciVa Y^hXadhjgZh- N]Z
 MX]ZYjaZ 03>,8 lVh VbZcYZY Wn =ZaVidg dc Djan 5+ 1/05+ VcY i]Z =ZaVidg ;Xfj^h^i^dc lVh XdbeaZiZY dc Djan 01+ 1/05- N]Z hZiiaZbZci gZbV^ch
 hjW_ZXi id+ Vbdc\ di]Zg ^iZbh+ Xdc[^gbVidgn Y^hXdkZgn+ i]Z ZmZXji^dc d[ V hi^ejaVi^dc d[ hZiiaZbZci Wn i]Z eVgi^Zh+ [^cVa VeegdkVa d[ i]Z hZiiaZbZci Wn
 i]Z >^hig^Xi =djgi ^c i]Z <VggZid VXi^dc VcY Y^hb^hhVa l^i] egZ_jY^XZ d[ i]Z >jcWVg VXi^dc VcY i]Z JVab^hX^Vcd VXi^dc-
 @gdb i^bZ id i^bZ lZ VgZ ^ckdakZY ^c aZ\Va egdXZZY^c\h Vg^h^c\ ^c i]Z dgY^cVgn XdjghZ d[ Wjh^cZhh- QZ WZa^ZkZ i]ZgZ ^h cd di]Zg a^i^\Vi^dc eZcY^c\
 i]Vi XdjaY ]VkZ+ ^cY^k^YjVaan dg ^c i]Z V\\gZ\ViZ+ V bViZg^Va VYkZghZ Z[[ZXi dc djg gZhjaih d[ deZgVi^dch dg [^cVcX^Va XdcY^i^dc-



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 Item 4.         Mine Safety Disclosures.
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                                                                          PART II

 Item 5.         Market for Registrant’s Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities
 Market Information
 Ijg dgY^cVgn h]VgZh igVYZ dc N]Z H;M>;K AadWVa MZaZXi GVg`Zi jcYZg i]Z igVY^c\ hnbWda vD;TT-w N]Z [daadl^c\ iVWaZ hZih [dgi] i]Z ]^\] VcY
 adl ^cigVYVn hVaZh eg^XZh d[ djg dgY^cVgn h]VgZh dc N]Z H;M>;K AadWVa MZaZXi GVg`Zi [dg i]Z eZg^dYh ^cY^XViZY-

                                                                                                                    High                     Low
 Calendar Quarter-2015
 @^ghi KjVgiZg                                                                                             #               08/-06   #              044-/5
 MZXdcY KjVgiZg                                                                                            #               080-/0   #              054-//
 N]^gY KjVgiZg                                                                                             #               083-62   #              010-01
 @djgi] KjVgiZg                                                                                            #               040-17   #              006-15
 Calendar Quarter-2016
 @^ghi KjVgiZg                                                                                             #               028-44   #              0/7-4/
 MZXdcY KjVgiZg                                                                                            #               05/-//   #              018-//
 N]^gY KjVgiZg                                                                                             #               042-87   #              006-23
 @djgi] KjVgiZg                                                                                            #               015-25   #               84-7/

 Ic @ZWgjVgn 10+ 1/06+ i]Z aVhi gZedgiZY hVaZh eg^XZ eZg h]VgZ d[ djg dgY^cVgn h]VgZh lVh #024-82 eZg h]VgZ-
 Holders of Ordinary Shares
 ;h d[ @ZWgjVgn 10+ 1/06+ i]ZgZ lZgZ ild ]daYZgh d[ gZXdgY d[ djg dgY^cVgn h]VgZh- <ZXVjhZ Vabdhi Vaa d[ djg dgY^cVgn h]VgZh VgZ ]ZaY Wn Wgd`Zgh+
 cdb^cZZh VcY di]Zg ^chi^iji^dch dc WZ]Va[ d[ h]VgZ]daYZgh+ lZ VgZ jcVWaZ id Zhi^bViZ i]Z idiVa cjbWZg d[ h]VgZ]daYZgh gZegZhZciZY Wn i]ZhZ gZXdgY
 ]daYZgh-
 Dividends
 Cc 1/05 VcY 1/04+ lZ Y^Y cdi YZXaVgZ dg eVn XVh] Y^k^YZcYh dc djg Xdbbdc Zfj^in VcY lZ Yd cdi XjggZcian eaVc id eVn XVh] Y^k^YZcYh ^c i]Z
 [dgZhZZVWaZ [jijgZ- OcYZg Cg^h] aVl+ Y^k^YZcYh bVn dcan WZ eV^Y+ VcY h]VgZ gZejgX]VhZh VcY gZYZbei^dch bjhi \ZcZgVaan WZ [jcYZY dcan dji d[+
 vY^hig^WjiVWaZ gZhZgkZh-w Cc VYY^i^dc+ i]Z iZgbh d[ djg XgZY^i V\gZZbZci gZhig^Xi djg VW^a^in id bV`Z XZgiV^c gZhig^XiZY eVnbZcih+ ^cXajY^c\ Y^k^YZcYh
 VcY di]Zg Y^hig^Wji^dch Wn jh ^c gZheZXi d[ djg dgY^cVgn h]VgZh+ hjW_ZXi id+ Vbdc\ di]Zg ZmXZei^dch+ '0( V \ZcZgVa ZmXZei^dc [dg Y^k^YZcYh VcY
 gZhig^XiZY eVnbZcih je id #2/ b^aa^dc ^c i]Z V\\gZ\ViZ VcY '1( Vc ZmXZei^dc i]Vi Vaadlh [dg gZhig^XiZY eVnbZcih+ hjW_ZXi id V XVe ZfjVa i]Z hjb d[ '^(
 #0// b^aa^dc eajh '^^( hd adc\ Vh djg idiVa aZkZgV\Z gVi^d 'Vh YZ[^cZY ^c djg XgZY^i V\gZZbZci( YdZh cdi ZmXZZY 1-4 id 0 V[iZg \^k^c\ egd [dgbV Z[[ZXi id
 i]Z gZhig^XiZY eVnbZci+ V [dgbjaV,WVhZY Vbdjci i^ZY id djg Xdchda^YViZY cZi ^cXdbZ: egdk^YZY i]Vi hjX] XVe Veea^Zh dcan ^[ djg idiVa aZkZgV\Z gVi^d
 'Vh YZ[^cZY ^c djg XgZY^i V\gZZbZci( ZmXZZYh 190 V[iZg \^k^c\ egd [dgbV Z[[ZXi id i]Z gZhig^XiZY eVnbZci- ;cn [jijgZ YZiZgb^cVi^dc Vh id i]Z eVnbZci
 d[ Y^k^YZcYh l^aa+ hjW_ZXi id Cg^h] aZ\Va gZfj^gZbZcih+ WZ Vi i]Z hdaZ Y^hXgZi^dc d[ djg WdVgY d[ Y^gZXidgh VcY l^aa YZeZcY dc djg [^cVcX^Va XdcY^i^dc+
 gZhjaih d[ deZgVi^dch+ XVe^iVa gZfj^gZbZcih+ Xdbea^VcXZ l^i] i]Z iZgbh d[ djg XgZY^i V\gZZbZci VcY di]Zg [VXidgh djg WdVgY d[ Y^gZXidgh YZZbh
 gZaZkVci-
 Unregistered Sales of Equity Securities
 ?mXZei Vh egZk^djhan gZedgiZY ^c djg KjVgiZgan LZedgih dc @dgb 0/,K VcY =jggZci LZedgih dc @dgb 7,E [^aZY l^i] i]Z MZXjg^i^Zh VcY ?mX]Vc\Z
 =dbb^hh^dc+ dg M?=+ Yjg^c\ i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05+ i]ZgZ lZgZ cd jcgZ\^hiZgZY hVaZh d[ Zfj^in hZXjg^i^Zh Wn jh Yjg^c\ i]Z nZVg ZcYZY
 >ZXZbWZg 20+ 1/05-
 Irish Law Matters
 ;h lZ VgZ Vc Cg^h] ^cXdgedgViZY XdbeVcn+ i]Z [daadl^c\ bViiZgh d[ Cg^h] aVl VgZ gZaZkVci id i]Z ]daYZgh d[ djg dgY^cVgn h]VgZh-

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 Irish Restrictions on Import and Export of Capital
 ?mXZei Vh ^cY^XViZY WZadl+ i]ZgZ VgZ cd gZhig^Xi^dch dc cdc,gZh^YZcih d[ CgZaVcY YZVa^c\ ^c Cg^h] YdbZhi^X hZXjg^i^Zh+ l]^X] ^cXajYZh dgY^cVgn h]VgZh
 d[ Cg^h] XdbeVc^Zh- >^k^YZcYh VcY gZYZbei^dc egdXZZYh Vahd Xdci^cjZ id WZ [gZZan igVch[ZgVWaZ id cdc,gZh^YZci ]daYZgh d[ hjX] hZXjg^i^Zh- N]Z
 @^cVcX^Va NgVch[Zgh ;Xi+ 0881 \^kZh edlZg id i]Z G^c^hiZg [dg @^cVcXZ d[ CgZaVcY id gZhig^Xi [^cVcX^Va igVch[Zgh WZilZZc CgZaVcY VcY di]Zg Xdjcig^Zh
 VcY eZghdch- @^cVcX^Va igVch[Zgh VgZ WgdVYan YZ[^cZY VcY ^cXajYZ Vaa igVch[Zgh i]Vi ldjaY WZ bdkZbZcih d[ XVe^iVa dg eVnbZcih l^i]^c i]Z bZVc^c\
 d[ i]Z igZVi^Zh \dkZgc^c\ i]Z bZbWZg hiViZh d[ i]Z ?jgdeZVc Oc^dc+ dg ?O- N]Z VXfj^h^i^dc dg Y^hedhVa d[ ^ciZgZhih ^c h]VgZh ^hhjZY Wn Vc Cg^h]
 ^cXdgedgViZY XdbeVcn VcY VhhdX^ViZY eVnbZcih [Vaah l^i]^c i]^h YZ[^c^i^dc- Cc VYY^i^dc+ Y^k^YZcYh dg eVnbZcih dc gZYZbei^dc dg ejgX]VhZ d[
 h]VgZh VcY eVnbZcih dc V a^fj^YVi^dc d[ Vc Cg^h] ^cXdgedgViZY XdbeVcn ldjaY [Vaa l^i]^c i]^h YZ[^c^i^dc- ;i egZhZci i]Z @^cVcX^Va NgVch[Zgh ;Xi+
 0881 egd]^W^ih [^cVcX^Va igVch[Zgh ^ckdak^c\ i]Z aViZ MadWdYVc G^adhZk^X VcY VhhdX^ViZY eZghdch+ <ZaVgjh+ XZgiV^c eZghdch ^cY^XiZY Wn i]Z
 CciZgcVi^dcVa =g^b^cVa Ng^WjcVa [dg i]Z [dgbZg Sj\dhaVk^V+ i]Z aViZ IhVbV W^c FVYZc+ ;a,KV^YV+ i]Z NVa^WVc d[ ;[\]Vc^hiVc+ >ZbdXgVi^X LZejWa^X d[
 =dc\d+ >ZbdXgVi^X JZdeaZxh LZejWa^X d[ EdgZV 'Hdgi] EdgZV(+ CgVc+ CgVf+ =qiZ YxCkd^gZ+ FZWVcdc+ F^WZg^V+ T^bWVWlZ+ MjYVc+ MdbVa^V+ LZejWa^X d[
 Aj^cZV,<^hhVj+ ;[\]Vc^hiVc+ ?\nei+ ?g^igZV+ F^WnV+ Mng^V+ Njc^h^V+ XZgiV^c `cdlc iZggdg^hih VcY iZggdg^hi \gdjeh+ Xdjcig^Zh i]Vi ]VgWdg XZgiV^c
 iZggdg^hi \gdjeh VcY O`gV^cZ l^i]dji i]Z eg^dg eZgb^hh^dc d[ i]Z =ZcigVa <Vc` d[ CgZaVcY-
 ;cn igVch[Zg d[+ dg eVnbZci ^c gZheZXi d[+ V h]VgZ dg ^ciZgZhi ^c V h]VgZ ^ckdak^c\ i]Z \dkZgcbZci d[ Vcn Xdjcign i]Vi ^h XjggZcian i]Z hjW_ZXi d[
 Oc^iZY HVi^dch hVcXi^dch+ Vcn eZghdc dg WdYn XdcigdaaZY Wn Vcn d[ i]Z [dgZ\d^c\+ dg Wn Vcn eZghdc VXi^c\ dc WZ]Va[ d[ i]Z [dgZ\d^c\+ bVn WZ
 hjW_ZXi id gZhig^Xi^dch ejghjVci id hjX] hVcXi^dch Vh ^beaZbZciZY ^cid Cg^h] aVl-
 Irish Taxes Applicable to U.S. Holders
 Withholding Tax on Dividends. Q]^aZ lZ ]VkZ cd XjggZci eaVch id eVn Y^k^YZcYh+ Y^k^YZcYh dc djg dgY^cVgn h]VgZh ldjaY \ZcZgVaan WZ hjW_ZXi id
 Cg^h] >^k^YZcY Q^i]]daY^c\ NVm+ dg >QN+ Vi i]Z hiVcYVgY gViZ d[ ^cXdbZ iVm 'XjggZcian 1/$(+ jcaZhh Vc ZmZbei^dc Veea^Zh-
 >^k^YZcYh dc djg dgY^cVgn h]VgZh i]Vi VgZ dlcZY Wn gZh^YZcih d[ i]Z O-M- VcY ]ZaY WZcZ[^X^Vaan i]gdj\] i]Z >Zedh^iVgn Ngjhi =dbeVcn+ dg >N=+ l^aa
 cdi WZ hjW_ZXi id >QN egdk^YZY i]Vi i]Z VYYgZhh d[ i]Z WZcZ[^X^Va dlcZg d[ i]Z dgY^cVgn h]VgZh ^c i]Z gZXdgYh d[ i]Z Wgd`Zg ^h ^c i]Z O-M-
 >^k^YZcYh dc djg dgY^cVgn h]VgZh i]Vi VgZ dlcZY Wn gZh^YZcih d[ i]Z O-M- VcY ]ZaY Y^gZXian 'djih^YZ d[ >N=( l^aa cdi WZ hjW_ZXi id >QN egdk^YZY
 i]Vi i]Z h]VgZ]daYZg ]Vh XdbeaZiZY i]Z Veegdeg^ViZ Cg^h] >QN [dgb VcY i]^h [dgb gZbV^ch kVa^Y- MjX] h]VgZ]daYZgh bjhi egdk^YZ i]Z Veegdeg^ViZ
 Cg^h] >QN [dgb id djg igVch[Zg V\Zci Vi aZVhi hZkZc Wjh^cZhh YVnh WZ[dgZ i]Z gZXdgY YViZ [dg i]Z [^ghi Y^k^YZcY eVnbZci id l]^X] i]Zn VgZ Zci^iaZY-
 C[ Vcn h]VgZ]daYZg l]d ^h gZh^YZci ^c i]Z O-M- gZXZ^kZh V Y^k^YZcY hjW_ZXi id >QN+ ]Z dg h]Z h]djaY \ZcZgVaan WZ VWaZ id bV`Z Vc Veea^XVi^dc [dg V
 gZ[jcY [gdb i]Z Cg^h] LZkZcjZ =dbb^hh^dcZgh dc i]Z egZhXg^WZY [dgb-
 Q]^aZ i]Z O-M-.CgZaVcY >djWaZ NVm NgZVin XdciV^ch egdk^h^dch gZ\VgY^c\ l^i]]daY^c\+ YjZ id i]Z l^YZ hXdeZ d[ i]Z ZmZbei^dch [gdb >QN VkV^aVWaZ
 jcYZg Cg^h] YdbZhi^X aVl+ ^i ldjaY \ZcZgVaan WZ jccZXZhhVgn [dg V O-M- gZh^YZci h]VgZ]daYZg id gZan dc i]Z igZVin egdk^h^dch-
 Income Tax on Dividends. ; h]VgZ]daYZg l]d ^h cZ^i]Zg gZh^YZci cdg dgY^cVg^an gZh^YZci ^c CgZaVcY VcY l]d ^h Zci^iaZY id Vc ZmZbei^dc [gdb >QN
 \ZcZgVaan ]Vh cd VYY^i^dcVa a^VW^a^in id Cg^h] ^cXdbZ iVm dg id i]Z jc^kZghVa hdX^Va X]Vg\Z dc V Y^k^YZcY [gdb jh jcaZhh i]Vi h]VgZ]daYZg ]daYh djg
 dgY^cVgn h]VgZh i]gdj\] V WgVcX] dg V\ZcXn ^c CgZaVcY i]gdj\] l]^X] V igVYZ ^h XVgg^ZY dc-
 ; h]VgZ]daYZg l]d ^h cZ^i]Zg gZh^YZci cdg dgY^cVg^an gZh^YZci ^c CgZaVcY VcY l]d ^h cdi Zci^iaZY id Vc ZmZbei^dc [gdb >QN \ZcZgVaan ]Vh cd
 VYY^i^dcVa a^VW^a^in id Cg^h] ^cXdbZ iVm dg id i]Z jc^kZghVa hdX^Va X]Vg\Z dc V Y^k^YZcY [gdb jh- N]Z >QN YZYjXiZY Wn jh Y^hX]Vg\Zh i]Z a^VW^a^in id
 Cg^h] ^cXdbZ iVm VcY id i]Z jc^kZghVa hdX^Va X]Vg\Z- N]^h ]dlZkZg ^h cdi i]Z XVhZ l]ZgZ i]Z h]VgZ]daYZg ]daYh i]Z dgY^cVgn h]VgZh i]gdj\] V WgVcX]
 dg V\ZcXn ^c CgZaVcY i]gdj\] l]^X] V igVYZ ^h XVgg^ZY dc-
 Irish Tax on Capital Gains- ; h]VgZ]daYZg l]d ^h cZ^i]Zg gZh^YZci cdg dgY^cVg^an gZh^YZci ^c CgZaVcY VcY YdZh cdi ]daY djg dgY^cVgn h]VgZh ^c
 XdccZXi^dc l^i] V igVYZ dg Wjh^cZhh XVgg^ZY dc Wn hjX] h]VgZ]daYZg ^c CgZaVcY i]gdj\] V WgVcX] dg V\ZcXn h]djaY cdi WZ l^i]^c i]Z X]Vg\Z id Cg^h]
 iVm dc XVe^iVa \V^ch dc V Y^hedhVa d[ djg dgY^cVgn h]VgZh-
 Capital Acquisitions Tax- Cg^h] XVe^iVa VXfj^h^i^dch iVm+ dg =;N+ ^h Xdbeg^hZY eg^cX^eVaan d[ \^[i iVm VcY ^c]Zg^iVcXZ iVm- =;N XdjaY Veean id V \^[i dg
 ^c]Zg^iVcXZ d[ djg dgY^cVgn h]VgZh ^ggZheZXi^kZ d[ i]Z eaVXZ d[ gZh^YZcXZ+ dgY^cVgn gZh^YZcXZ dg Ydb^X^aZ d[ i]Z eVgi^Zh- N]^h ^h WZXVjhZ djg dgY^cVgn
 h]VgZh VgZ gZ\VgYZY Vh egdeZgin h^ijViZY ^c CgZaVcY Vh djg h]VgZ gZ\^hiZg bjhi WZ ]ZaY ^c CgZaVcY- N]Z eZghdc l]d gZXZ^kZh i]Z \^[i dg ^c]Zg^iVcXZ ]Vh
 eg^bVgn a^VW^a^in [dg =;N-
 =;N ^h aZk^ZY Vi V gViZ d[ 22$ VWdkZ XZgiV^c iVm,[gZZ i]gZh]daYh- N]Z Veegdeg^ViZ iVm,[gZZ i]gZh]daY ^h YZeZcYZci jedc '^( i]Z gZaVi^dch]^e WZilZZc
 i]Z Ydcdg VcY i]Z YdcZZ VcY '^^( i]Z V\\gZ\Vi^dc d[ i]Z kVajZh d[ egZk^djh \^[ih VcY ^c]Zg^iVcXZh gZXZ^kZY Wn i]Z YdcZZ [gdb eZghdch l^i]^c i]Z
 hVbZ XViZ\dgn d[ gZaVi^dch]^e [dg =;N ejgedhZh- A^[ih VcY ^c]Zg^iVcXZh eVhh^c\

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 WZilZZc hedjhZh VgZ ZmZbei [gdb =;N- Ijg h]VgZ]daYZgh h]djaY Xdchjai i]Z^g dlc iVm VYk^hZgh Vh id l]Zi]Zg =;N ^h XgZY^iVWaZ dg YZYjXi^WaZ ^c
 Xdbeji^c\ Vcn YdbZhi^X iVm a^VW^a^i^Zh-
 Stamp Duty. Cg^h] hiVbe Yjin '^[ Vcn( bVn WZXdbZ eVnVWaZ ^c gZheZXi d[ dgY^cVgn h]VgZ igVch[Zgh- BdlZkZg+ V igVch[Zg d[ djg dgY^cVgn h]VgZh [gdb V
 hZaaZg l]d ]daYh h]VgZh i]gdj\] >N= id V WjnZg l]d ]daYh i]Z VXfj^gZY h]VgZh i]gdj\] >N= l^aa cdi WZ hjW_ZXi id Cg^h] hiVbe Yjin- ; igVch[Zg d[
 djg dgY^cVgn h]VgZh '^( Wn V hZaaZg l]d ]daYh dgY^cVgn h]VgZh djih^YZ d[ >N= id Vcn WjnZg dg '^^( Wn V hZaaZg l]d ]daYh i]Z dgY^cVgn h]VgZh i]gdj\]
 >N= id V WjnZg l]d ]daYh i]Z VXfj^gZY dgY^cVgn h]VgZh djih^YZ d[ >N=+ bVn WZ hjW_ZXi id Cg^h] hiVbe Yjin 'XjggZcian Vi i]Z gViZ d[ 0$ d[ i]Z eg^XZ
 eV^Y dg i]Z bVg`Zi kVajZ d[ i]Z dgY^cVgn h]VgZh VXfj^gZY+ ^[ \gZViZg(- N]Z eZghdc VXXdjciVWaZ [dg eVnbZci d[ hiVbe Yjin ^h i]Z WjnZg dg+ ^c i]Z XVhZ
 d[ V igVch[Zg Wn lVn d[ V \^[i dg [dg aZhh i]Vc bVg`Zi kVajZ+ Vaa eVgi^Zh id i]Z igVch[Zg-
 ; h]VgZ]daYZg l]d ]daYh dgY^cVgn h]VgZh djih^YZ d[ >N= bVn igVch[Zg i]dhZ dgY^cVgn h]VgZh ^cid >N= l^i]dji \^k^c\ g^hZ id Cg^h] hiVbe Yjin
 egdk^YZY i]Vi i]Z h]VgZ]daYZg ldjaY WZ i]Z WZcZ[^X^Va dlcZg d[ i]Z gZaViZY Wdd`,Zcign ^ciZgZhi ^c i]dhZ dgY^cVgn h]VgZh gZXdgYZY ^c i]Z hnhiZbh d[
 >N= 'VcY ^c ZmVXian i]Z hVbZ egdedgi^dch( Vh V gZhjai d[ i]Z igVch[Zg VcY Vi i]Z i^bZ d[ i]Z igVch[Zg ^cid >N= i]ZgZ ^h cd hVaZ d[ i]dhZ Wdd`,Zcign
 ^ciZgZhih id V i]^gY eVgin WZ^c\ XdciZbeaViZY Wn i]Z h]VgZ]daYZg- M^b^aVgan+ V h]VgZ]daYZg l]d ]daYh dgY^cVgn h]VgZh i]gdj\] >N= bVn igVch[Zg
 i]dhZ dgY^cVgn h]VgZh dji d[ >N= l^i]dji \^k^c\ g^hZ id Cg^h] hiVbe Yjin egdk^YZY i]Vi i]Z h]VgZ]daYZg ldjaY WZ i]Z WZcZ[^X^Va dlcZg d[ i]Z
 dgY^cVgn h]VgZh 'VcY ^c ZmVXian i]Z hVbZ egdedgi^dch( Vh V gZhjai d[ i]Z igVch[Zg+ VcY Vi i]Z i^bZ d[ i]Z igVch[Zg dji d[ >N= i]ZgZ ^h cd hVaZ d[ i]dhZ
 dgY^cVgn h]VgZh id V i]^gY eVgin WZ^c\ XdciZbeaViZY Wn i]Z h]VgZ]daYZg- Cc dgYZg [dg i]Z h]VgZ gZ\^higVg id WZ hVi^h[^ZY Vh id i]Z Veea^XVi^dc d[ i]^h
 Cg^h] hiVbe Yjin igZVibZci l]ZgZ gZaZkVci+ i]Z h]VgZ]daYZg bjhi Xdc[^gb id jh i]Vi i]Z h]VgZ]daYZg ldjaY WZ i]Z WZcZ[^X^Va dlcZg d[ i]Z gZaViZY
 Wdd`,Zcign ^ciZgZhi ^c i]dhZ dgY^cVgn h]VgZh gZXdgYZY ^c i]Z hnhiZbh d[ >N= 'VcY ^c ZmVXian i]Z hVbZ egdedgi^dch( 'dg k^XZ,kZghV( Vh V gZhjai d[ i]Z
 igVch[Zg VcY i]ZgZ ^h cd V\gZZbZci WZ^c\ XdciZbeaViZY [dg i]Z hVaZ d[ i]Z gZaViZY Wdd`,Zcign ^ciZgZhi dg i]Z dgY^cVgn h]VgZh dg Vc ^ciZgZhi ^c i]Z
 dgY^cVgn h]VgZh+ Vh i]Z XVhZ bVn WZ+ Wn i]Z h]VgZ]daYZg id V i]^gY eVgin-

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 Performance Measurement Comparison (1)
 N]Z [daadl^c\ \gVe] h]dlh i]Z idiVa h]VgZ]daYZg gZijgc dc i]Z aVhi YVn d[ ZVX] nZVg d[ Vc ^ckZhibZci d[ #0// ^c XVh] Vh ^[ bVYZ dc >ZXZbWZg 20+
 1/00 ^c '^( djg dgY^cVgn h]VgZh: '^^( i]Z H;M>;K =dbedh^iZ CcYZm: VcY '^^^( i]Z H;M>;K <^diZX]cdad\n CcYZm i]gdj\] >ZXZbWZg 20+ 1/05-
 Cc[dgbVi^dc hZi [dgi] ^c i]Z \gVe] WZadl gZegZhZcih i]Z eZg[dgbVcXZ d[ i]Z DVoo J]VgbVXZji^XVah+ CcX- Xdbbdc hidX` [gdb >ZXZbWZg 20+ 1/00 jci^a
 DVcjVgn 06+ 1/01+ i]Z YVn WZ[dgZ i]Z Wjh^cZhhZh d[ DVoo J]VgbVXZji^XVah+ CcX- VcY ;ojg J]VgbV JjWa^X F^b^iZY =dbeVcn+ dg ;ojg J]VgbV+ lZgZ
 XdbW^cZY ^c V bZg\Zg igVchVXi^dc+ dg i]Z ;ojg GZg\Zg+ VcY i]Z eZg[dgbVcXZ d[ djg dgY^cVgn h]VgZh [gdb DVcjVgn 07+ 1/01 i]gdj\] >ZXZbWZg 20+
 1/05- Ijg dgY^cVgn h]VgZh igVYZ dc i]Z hVbZ ZmX]Vc\Z VcY jcYZg i]Z hVbZ igVY^c\ hnbWda Vh i]Z DVoo J]VgbVXZji^XVah+ CcX- Xdbbdc hidX` eg^dg id
 i]Z ;ojg GZg\Zg- N]Z h]VgZ]daYZg gZijgc h]dlc ^c i]Z \gVe] WZadl ^h cdi cZXZhhVg^an ^cY^XVi^kZ d[ [jijgZ eZg[dgbVcXZ+ VcY lZ Yd cdi bV`Z dg
 ZcYdghZ Vcn egZY^Xi^dch Vh id [jijgZ h]VgZ]daYZg gZijgch-


                                        COMPARISON OF FIVE YEAR CUMULATIVE TOTAL RETURN (2)




                                                           UUUUUUUUUUUUUUUUUUUUUUUUU
 '0(    N]^h hZXi^dc ^h cdi vhda^X^i^c\ bViZg^Va+w ^h cdi YZZbZY v[^aZYw l^i] i]Z M?= VcY ^h cdi id WZ ^cXdgedgViZY Wn gZ[ZgZcXZ ^cid Vcn d[ djg [^a^c\h
        jcYZg i]Z MZXjg^i^Zh ;Xi d[ 0822+ Vh VbZcYZY+ dg i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY+ dg ?mX]Vc\Z ;Xi+ l]Zi]Zg bVYZ WZ[dgZ dg
        V[iZg i]Z YViZ ]ZgZd[ VcY ^ggZheZXi^kZ d[ Vcn \ZcZgVa ^cXdgedgVi^dc aVc\jV\Z ^c Vcn hjX] [^a^c\-
 '1(    Cc[dgbVi^dc jhZY ^c i]Z \gVe] lVh dWiV^cZY [gdb LZhZVgX] >ViV Agdje+ CcX-

                                                                           74
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 Issuer Purchases of Equity Securities
 N]Z [daadl^c\ iVWaZ hjbbVg^oZh ejgX]VhZh d[ djg dgY^cVgn h]VgZh bVYZ Wn dg dc WZ]Va[ d[ jh dg Vcn d[ djg vV[[^a^ViZY ejgX]VhZghw Vh YZ[^cZY ^c LjaZ
 0/W,07'V('2( jcYZg i]Z ?mX]Vc\Z ;Xi Yjg^c\ ZVX] [^hXVa bdci] Yjg^c\ i]Z i]gZZ,bdci] eZg^dY ZcYZY >ZXZbWZg 20+ 1/059

                                                                                                                               Maximum Number (or
                                                                                                                                Approximate Dollar
                                                                                                      Total Number of Shares   Value) of Shares that
                                                                                                       Purchased as Part of    May Yet Be Purchased
                                                  Total Number of Shares     Average Price Paid per     Publicly Announced      Under the Plans or
                                                       Purchased (1)               Share (2)           Plans or Programs (3)       Programs (4)
 IXidWZg 0 , IXidWZg 20+ 1/05                                           ,    #                   ,                         ,   #                    ,
 HdkZbWZg 0 , HdkZbWZg 2/+ 1/05                                   11+4//     #              00/-3/                   11+4//    #         186+405+334
 >ZXZbWZg 0 , >ZXZbWZg 20+ 1/05                                  041+2//     #              0/4-/1                  041+2//    #         170+413+71/
 NdiVa                                                           063+7//     #              0/4-60                  063+7//
 UUUUUUUUUUUUUUUUUUUUUUUUU
 '0(   N]^h iVWaZ YdZh cdi ^cXajYZ dgY^cVgn h]VgZh i]Vi lZ l^i]]ZaY ^c dgYZg id hVi^h[n b^c^bjb iVm l^i]]daY^c\ gZfj^gZbZcih ^c XdccZXi^dc l^i]
       i]Z kZhi^c\ d[ gZhig^XiZY hidX` jc^ih-
 '1(   ;kZgV\Z eg^XZ eV^Y eZg h]VgZ ^cXajYZh Wgd`ZgV\Z Xdbb^hh^dch-
 '2(   N]Z dgY^cVgn h]VgZh gZedgiZY ^c i]Z iVWaZ VWdkZ lZgZ ejgX]VhZY ejghjVci id djg ejWa^Xan VccdjcXZY h]VgZ gZejgX]VhZ egd\gVb- Cc
       HdkZbWZg 1/05+ lZ VccdjcXZY i]Vi djg WdVgY d[ Y^gZXidgh Vji]dg^oZY i]Z jhZ d[ je id #2// b^aa^dc id gZejgX]VhZ djg dgY^cVgn h]VgZh- N]^h
       Vji]dg^oVi^dc ]Vh cd Zme^gVi^dc YViZ-
 '3(   N]Z YdaaVg Vbdjci h]dlc gZegZhZcih+ Vh d[ i]Z ZcY d[ ZVX] eZg^dY+ i]Z Veegdm^bViZ YdaaVg kVajZ d[ dgY^cVgn h]VgZh i]Vi bVn nZi WZ
       ejgX]VhZY jcYZg djg ejWa^Xan VccdjcXZY h]VgZ gZejgX]VhZ egd\gVb+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- N]Z i^b^c\ VcY Vbdjci d[
       gZejgX]VhZh l^aa YZeZcY dc V kVg^Zin d[ [VXidgh+ ^cXajY^c\ i]Z eg^XZ d[ djg dgY^cVgn h]VgZh+ VaiZgcVi^kZ ^ckZhibZci deedgijc^i^Zh+ gZhig^Xi^dch
       jcYZg djg XgZY^i V\gZZbZci+ XdgedgViZ VcY gZ\jaVidgn gZfj^gZbZcih VcY bVg`Zi XdcY^i^dch+ VcY bVn WZ bdY^[^ZY+ hjheZcYZY dg di]Zgl^hZ
       Y^hXdci^cjZY Vi Vcn i^bZ l^i]dji eg^dg cdi^XZ-


 Item 6.       Selected Financial Data
 N]Z [daadl^c\ hZaZXiZY Xdchda^YViZY [^cVcX^Va YViV h]djaY WZ gZVY id\Zi]Zg l^i] djg Xdchda^YViZY [^cVcX^Va hiViZbZcih VcY VXXdbeVcn^c\ cdiZh
 VcY vGVcV\ZbZcixh >^hXjhh^dc VcY ;cVanh^h d[ @^cVcX^Va =dcY^i^dc VcY LZhjaih d[ IeZgVi^dchw VeeZVg^c\ ZahZl]ZgZ ^c i]^h ;ccjVa LZedgi dc
 @dgb 0/,E- N]Z hZaZXiZY Xdchda^YViZY [^cVcX^Va YViV ^c i]^h hZXi^dc ^h cdi ^ciZcYZY id gZeaVXZ djg Xdchda^YViZY [^cVcX^Va hiViZbZcih VcY i]Z
 VXXdbeVcn^c\ cdiZh- Ijg ]^hidg^XVa gZhjaih VgZ cdi cZXZhhVg^an ^cY^XVi^kZ d[ djg [jijgZ gZhjaih-
 QZ YZg^kZY i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ YViV [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03 VcY i]Z Xdchda^YViZY WVaVcXZ h]ZZi
 YViV Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04 [gdb i]Z VjY^iZY Xdchda^YViZY [^cVcX^Va hiViZbZcih VeeZVg^c\ ZahZl]ZgZ ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 N]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ YViV [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/02 VcY 1/01+ VcY i]Z hZaZXiZY Xdchda^YViZY WVaVcXZ h]ZZi YViV Vh
 d[ >ZXZbWZg 20+ 1/03+ 1/02 VcY 1/01 VgZ YZg^kZY [gdb VjY^iZY Xdchda^YViZY [^cVcX^Va hiViZbZcih cdi ^cXajYZY ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E-



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                                                                                              Year Ended December 31,
                                                                  2016(1)            2015               2014(2)           2013              2012(3)
                                                                                     (In thousands, except per share amounts)
 Consolidated Statements of Income Data:
 LZkZcjZh9
 JgdYjXi hVaZh+ cZi                                           #    0+366+150     #   0+205+708      #    0+051+605    #    754+287      #     47/+416
 LdnVai^Zh VcY XdcigVXi gZkZcjZh                                      0/+601             6+873              0/+048           6+/14               4+341
 NdiVa gZkZcjZh                                                    0+376+862         0+213+7/2           0+061+764         761+312            474+868
 IeZgVi^c\ ZmeZchZh9
 =dhi d[ egdYjXi hVaZh 'ZmXajY^c\ Vbdgi^oVi^dc VcY
 ^beV^gbZci d[ ^ciVc\^WaZ VhhZih(                                   0/4+275            0/1+415             006+307         0/1+035              67+314
 MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ                                4/1+781            338+008             3/5+003         2/3+2/2            112+771
 LZhZVgX] VcY YZkZadebZci                                           051+186            024+142              74+070          30+521              1/+366
 ;Xfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci                         12+64/                   ,          1/1+515            3+877                    ,
 CciVc\^WaZ VhhZi Vbdgi^oVi^dc                                      0/0+883             87+051            015+473           68+/31              54+240
 CbeV^gbZci X]Vg\Zh                                                          ,          20+412              28+254                  ,                 ,
 NdiVa deZgVi^c\ ZmeZchZh                                           785+208            705+472            866+177           421+000           277+024
 CcXdbZ [gdb deZgVi^dch                                             480+543            4/7+11/            084+476          23/+201            086+733
 CciZgZhi ZmeZchZ+ cZi                                               '50+831(          '45+806(            '41+602(         '15+805(           '05+758(
 @dgZ^\c XjggZcXn \V^c 'adhh(                                          2+261             0+334               7+572           '0+586(            '2+51/(
 Fdhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi                        '527(          '05+704(                   ,          '2+638(                  ,
 CcXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc 'WZcZ[^i( VcY Zfj^in ^c
 adhh d[ ^ckZhiZZ                                                   421+335            324+822            040+446          2/6+84/            066+244
 CcXdbZ iVm egdk^h^dc 'WZcZ[^i(                                     024+125            0/5+288              83+120          80+527             '72+683(
 ?fj^in ^c adhh d[ ^ckZhiZZ                                             268                    ,                  ,                 ,                 ,
 CcXdbZ [gdb Xdci^cj^c\ deZgVi^dch                                  285+720            218+423              46+215         105+201            150+038
 CcXdbZ [gdb Y^hXdci^cjZY deZgVi^dch+ cZi d[ iVmZh                           ,                 ,                  ,                 ,           16+326
 HZi ^cXdbZ                                                         285+720            218+423              46+215         105+201            177+475
 HZi adhh Viig^WjiVWaZ id cdcXdcigdaa^c\ ^ciZgZhih                           ,                '0(           '0+/50(                 ,                 ,
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX          #     285+720      #     218+424      #       47+276    #    105+201      #     177+475


 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg
 dgY^cVgn h]VgZ9
 <Vh^X9
 CcXdbZ [gdb Xdci^cj^c\ deZgVi^dch                            #         5-45     #          4-27    #         /-87    #          2-60   #         3-50
 CcXdbZ [gdb Y^hXdci^cjZY deZgVi^dch                                         ,                 ,                  ,                 ,             /-37
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX          #         5-45     #          4-27    #         /-87    #          2-60   #         4-/8
 >^ajiZY9
 CcXdbZ [gdb Xdci^cj^c\ deZgVi^dch                            #         5-30     #          4-12    #         /-82    #          2-40   #         3-23
 CcXdbZ [gdb Y^hXdci^cjZY deZgVi^dch                                         ,                 ,                  ,                 ,             /-34
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX          #         5-30     #          4-12    #         /-82    #          2-40   #         3-68
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ
 XVaXjaVi^dch , WVh^X                                                 5/+4//            50+121              48+635          47+187              45+532
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ
 XVaXjaVi^dch , Y^ajiZY                                               50+76/            52+/25              51+503          50+458              5/+084




                                                                            76
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                                                           22174
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                                                                                                As of December 31,
                                                             2016(1)               2015                2014(2)             2013              2012(3)
                                                                                                    (In thousands)
 Consolidated Balance Sheet Data:
 =Vh]+ XVh] Zfj^kVaZcih VcY ^ckZhibZcih                 #        314+852    #        877+674    #          573+/31   #       525+4/3    #        276+085
 Qdg`^c\ XVe^iVa                                                 38/+552            0+/20+/14              688+/33           55/+478             25/+/23
 NdiVa VhhZih '3('4(                                           3+7//+116            2+221+501            2+2/7+506          1+114+8//          0+841+/03
 Fdc\,iZgb YZWi+ XjggZci VcY cdc,XjggZci '3(                   1+/18+514            0+077+333            0+202+050           428+325             332+187
 LZiV^cZY ZVgc^c\h 'VXXjbjaViZY YZ[^X^i(                         417+8/6             2/1+575                23+6/3             07+421            '50+185(
 NdiVa DVoo J]VgbVXZji^XVah eaX h]VgZ]daYZghx Zfj^in           0+766+228            0+487+535            0+260+033          0+184+423          0+010+181
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0( Ic GVn 16+ 1/05+ lZ ZciZgZY ^cid V YZ[^c^i^kZ bZg\Zg V\gZZbZci l^i] =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ ejghjVci id l]^X] lZ bVYZ V
     XVh] iZcYZg d[[Zg d[ #2/-14 eZg h]VgZ [dg Vaa d[ i]Z djihiVcY^c\ h]VgZh d[ =ZaVidgxh Xdbbdc hidX`- Ic Djan 01+ 1/05+ lZ XdbeaZiZY i]Z
     VXfj^h^i^dc d[ =ZaVidg+ l]^X] VXfj^h^i^dc lZ gZ[Zg id ^c i]^h gZedgi Vh i]Z =ZaVidg ;Xfj^h^i^dc+ jcYZg i]Z iZgbh d[ i]Z bZg\Zg V\gZZbZci- =ZaVidg
     WZXVbZ Vc ^cY^gZXi l]daan,dlcZY hjWh^Y^Vgn d[ DVoo J]VgbVXZji^XVah eaX+ VcY ZVX] h]VgZ d[ =ZaVidg Xdbbdc hidX` i]Zc djihiVcY^c\ 'di]Zg
     i]Vc h]VgZh dlcZY Wn jh dg =ZaVidg( lVh XdckZgiZY ^cid i]Z g^\]i id gZXZ^kZ #2/-14+ i]Z hVbZ eg^XZ eZg h]VgZ d[[ZgZY ^c i]Z iZcYZg d[[Zg- N]Z
     V\\gZ\ViZ XVh] Xdch^YZgVi^dc [dg i]Z =ZaVidg ;Xfj^h^i^dc lVh #0-4 W^aa^dc- N]Z gZhjaih d[ deZgVi^dch d[ i]Z VXfj^gZY =ZaVidg Wjh^cZhh+ Vadc\
     l^i] i]Z Zhi^bViZY [V^g kVajZh d[ i]Z VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY ^c i]Z =ZaVidg ;Xfj^h^i^dc+ ]VkZ WZZc ^cXajYZY ^c djg Xdchda^YViZY
     [^cVcX^Va hiViZbZcih h^cXZ i]Z Xadh^c\ d[ i]Z =ZaVidg ;Xfj^h^i^dc dc Djan 01+ 1/05- Ic Djan 01+ 1/05+ lZ ZciZgZY ^cid Vc VbZcYbZci id djg 1/04
     XgZY^i V\gZZbZci+ l]^X] VbZcYZY V\gZZbZci lZ gZ[Zg id ^c i]^h gZedgi Vh djg VbZcYZY XgZY^i V\gZZbZci+ i]Vi egdk^YZh [dg V gZkdak^c\ XgZY^i
     [VX^a^in d[ #0-14 W^aa^dc+ l]^X] gZeaVXZY djg eg^dg gZkdak^c\ XgZY^i [VX^a^in d[ #64/-/ b^aa^dc+ VcY V #64/-/ b^aa^dc iZgb adVc [VX^a^in- QZ jhZY i]Z
     egdXZZYh d[ #0-/ W^aa^dc d[ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc- N]Z bVijg^in
     YViZ d[ Wdi] djg gZkdak^c\ XgZY^i [VX^a^in VcY iZgb adVc [VX^a^in lVh ZmiZcYZY [gdb DjcZ 1/1/ id Djan 1/10 ejghjVci id i]Z VbZcYZY XgZY^i [VX^a^in-
 '1( Ic DVcjVgn 12+ 1/03+ ejghjVci id V iZcYZg d[[Zg+ lZ WZXVbZ i]Z ^cY^gZXi bV_dg^in h]VgZ]daYZg d[ AZci^jb M-g-a-+ dg AZci^jb+ VXfj^g^c\ Xdcigda d[
     AZci^jb dc i]Vi YViZ- Cc @ZWgjVgn 1/03+ lZ XdbeaZiZY V hjWhZfjZci d[[Zg^c\ eZg^dY d[ i]Z iZcYZg d[[Zg+ gZhjai^c\ ^c idiVa ejgX]VhZh ejghjVci id
     i]Z iZcYZg d[[Zg d[ Veegdm^bViZan 87$ d[ i]Z [jaan Y^ajiZY kdi^c\ hZXjg^i^Zh d[ AZci^jb- ;h d[ >ZXZbWZg 20+ 1/04+ lZ ]VY VXfj^gZY i]Z gZbV^c^c\
     1$ ^ciZgZhi ^c AZci^jb [dg XVh] Xdch^YZgVi^dc d[ #06-8 b^aa^dc+ gZhjai^c\ ^c Vc V\\gZ\ViZ VXfj^h^i^dc Xdhi id jh d[ #883-0 b^aa^dc+ Xdbeg^h^c\
     XVh] eVnbZcih d[ #0+/00-1 b^aa^dc d[[hZi Wn egdXZZYh [gdb i]Z ZmZgX^hZ d[ AZci^jb h]VgZ dei^dch d[ #06-0 b^aa^dc- N]Z gZhjaih d[ deZgVi^dch d[
     i]Z VXfj^gZY AZci^jb Wjh^cZhh+ Vadc\ l^i] i]Z Zhi^bViZY [V^g kVajZh d[ i]Z VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY ^c i]Z igVchVXi^dc+ ]VkZ WZZc
     ^cXajYZY ^c djg Xdchda^YViZY [^cVcX^Va hiViZbZcih h^cXZ i]Z XdbeaZi^dc d[ i]Z VXfj^h^i^dc d[ AZci^jb dc DVcjVgn 12+ 1/03+ l]^X] ^h gZ[ZggZY id ^c
     i]^h gZedgi Vh i]Z AZci^jb ;Xfj^h^i^dc- Cc XdccZXi^dc l^i] i]Z AZci^jb ;Xfj^h^i^dc+ dc DVcjVgn 12+ 1/03+ lZ ZciZgZY ^cid V hZXdcY VbZcYbZci
     id i]Z XgZY^i V\gZZbZci lZ ZciZgZY ^cid ^c DjcZ 1/01+ dg i]Z egZk^djh XgZY^i V\gZZbZci- QZ jhZY i]Z egdXZZYh [gdb ^cXgZbZciVa iZgb adVch d[
     #24/-/ b^aa^dc VcY #2//-/ b^aa^dc d[ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in egdk^YZY [dg jcYZg i]Z egZk^djh XgZY^i V\gZZbZci+ id\Zi]Zg l^i]
     XVh] dc ]VcY+ id [^cVcXZ i]Z AZci^jb ;Xfj^h^i^dc- Cc ;j\jhi 1/03+ lZ XdbeaZiZY V eg^kViZ eaVXZbZci d[ #464-/ b^aa^dc V\\gZ\ViZ eg^cX^eVa
     Vbdjci d[ 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10+ dg i]Z 1/10 HdiZh+ gZhjai^c\ ^c cZi egdXZZYh id jh+ V[iZg YZWi ^hhjVcXZ Xdhih+ d[ #447-8
     b^aa^dc- QZ jhZY V edgi^dc d[ i]Z cZi egdXZZYh [gdb i]Z ^hhjVcXZ d[ i]Z 1/10 HdiZh id gZeVn Vaa i]Zc djihiVcY^c\ Wdggdl^c\h jcYZg i]Z
     gZkdak^c\ XgZY^i [VX^a^in egdk^YZY [dg jcYZg i]Z egZk^djh XgZY^i V\gZZbZci-
 '2( Ic DVcjVgn 07+ 1/01+ i]Z Wjh^cZhhZh d[ DVoo J]VgbVXZji^XVah+ CcX- VcY ;ojg J]VgbV lZgZ XdbW^cZY ^c i]Z ;ojg GZg\Zg ejghjVci id l]^X] Vaa
     djihiVcY^c\ h]VgZh d[ DVoo J]VgbVXZji^XVah+ CcX-xh Xdbbdc hidX` lZgZ XVcXZaZY VcY XdckZgiZY ^cid i]Z g^\]i id gZXZ^kZ+ dc V dcZ,[dg,dcZ WVh^h+
     djg dgY^cVgn h]VgZh- DVoo J]VgbVXZji^XVah+ CcX- lVh igZViZY Vh i]Z VXfj^g^c\ XdbeVcn ^c i]Z ;ojg GZg\Zg [dg VXXdjci^c\ ejgedhZh+ VcY Vh V
     gZhjai+ i]Z ]^hidg^XVa Xdchda^YViZY [^cVcX^Va hiViZbZcih d[ DVoo J]VgbVXZji^XVah+ CcX- WZXVbZ djg Xdchda^YViZY [^cVcX^Va hiViZbZcih- Ic DjcZ 01+
     1/01+ lZ XdbeaZiZY djg VXfj^h^i^dc d[ ?OM; J]VgbV CcX-+ dg ?OM; J]VgbV+ l]^X] lZ gZ[Zg id Vh i]Z ?OM; ;Xfj^h^i^dc- ;i i]Z Xadh^c\ d[ i]Z
     ?OM; ;Xfj^h^i^dc+ lZ eV^Y #567-3 b^aa^dc ^c XVh]+ VcY V\gZZY id bV`Z Vc VYY^i^dcVa Xdci^c\Zci eVnbZci d[ #4/-/ b^aa^dc ^c XVh] ^[ ?gl^cVoZ
     VX]^ZkZY cZi hVaZh ^c i]Z O-M- d[ #013-4 b^aa^dc dg bdgZ ^c 1/02- Cc 1/02+ cZi hVaZh d[ ?gl^cVoZ ^c i]Z O-M- ZmXZZYZY #013-4 b^aa^dc VcY Vh V gZhjai+
     lZ bVYZ i]^h eVnbZci ^c 1/03- N]Z gZhjaih d[ deZgVi^dch d[ i]Z VXfj^gZY ;ojg J]VgbV VcY ?OM; J]VgbV Wjh^cZhhZh+ Vadc\ l^i] i]Z Zhi^bViZY
     [V^g kVajZh d[ i]Z VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY ^c ZVX] igVchVXi^dc+ VgZ ^cXajYZY ^c djg Xdchda^YViZY [^cVcX^Va hiViZbZcih h^cXZ i]Z
     Z[[ZXi^kZ YViZh d[ i]Z ;ojg GZg\Zg VcY i]Z

                                                                            77
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 ?OM; ;Xfj^h^i^dc+ gZheZXi^kZan- QZ [^cVcXZY i]Z ?OM; ;Xfj^h^i^dc+ ^c eVgi+ Wn ZciZg^c\ ^cid V XgZY^i V\gZZbZci ^c DjcZ 1/01+ l]^X] Vi i]Z i^bZ
 egdk^YZY [dg #364-/ b^aa^dc eg^cX^eVa Vbdjci d[ iZgb adVch VcY V #0//-/ b^aa^dc gZkdak^c\ XgZY^i [VX^a^in- QZ jhZY Vaa d[ i]Z egdXZZYh d[ i]dhZ iZgb
 adVch+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [^cVcXZ i]Z ?OM; ;Xfj^h^i^dc-
 '3( ?[[ZXi^kZ DVcjVgn 0+ 1/05+ lZ VYdeiZY ;XXdjci^c\ MiVcYVgYh OeYViZ+ dg ;MO+ Hd- 1/04,/2 vCciZgZhi , CbejiVi^dc d[ CciZgZhiw l]^X] gZfj^gZh
     YZWi ^hhjVcXZ Xdhih gZaViZY id V gZXd\c^oZY YZWi a^VW^a^in id WZ egZhZciZY ^c i]Z WVaVcXZ h]ZZi Vh V Y^gZXi YZYjXi^dc [gdb i]Z YZWi a^VW^a^in
     ^chiZVY d[ Vh Vc VhhZi- N]Z hiVcYVgY gZfj^gZh gZigdheZXi^kZ Veea^XVi^dc- Jg^dg eZg^dY Vbdjcih [dg Vaa nZVgh egZhZciZY VWdkZ lZgZ gZXaVhh^[^ZY id
     Xdc[dgb id i]Z XjggZci eZg^dY egZhZciVi^dc- NdiVa VhhZih VcY idiVa adc\,iZgb YZWi+ XjggZci VcY cdc,XjggZci Vi >ZXZbWZg 20+ 1/04+ 1/03+ 1/02 VcY
     1/01 ]VkZ WZZc gZYjXZY Wn #05-0 b^aa^dc+ #18-2 b^aa^dc+ #0/-4 b^aa^dc VcY #02-4 b^aa^dc+ gZheZXi^kZan+ id gZ[aZXi i]Z VYdei^dc d[ ;MO Hd- 1/04,/2-
 '4( N]Z ^cY^gZXi Z[[ZXih d[ XZgiV^c jcgZXd\c^oZY iVm WZcZ[^ih+ egZk^djhan XaVhh^[^ZY l^i]^c di]Zg cdc,XjggZci VhhZih [dg Vaa nZVgh egZhZciZY VWdkZ+
     ]VkZ WZZc gZXaVhh^[^ZY id YZ[ZggZY iVm VhhZih+ cZi+ cdc,XjggZci VcY YZ[ZggZY iVm a^VW^a^in+ cZi+ cdc,XjggZci id Xdc[dgb id XjggZci eZg^dY
     egZhZciVi^dc-


 Item 7.        Management’s Discussion and Analysis of Financial Condition and Results of Operations
 The following discussion of our financial condition and results of operations should be read in conjunction with the consolidated financial
 statements and notes to consolidated financial statements included elsewhere in this Annual Report on Form 10-K. This discussion contains
 forward-looking statements that involve risks and uncertainties. When reviewing the discussion below, you should keep in mind the substantial
 risks and uncertainties that impact our business. In particular, we encourage you to review the risks and uncertainties described in “Risk
 Factors” in Part I, Item 1A in this Annual Report on Form 10-K. These risks and uncertainties could cause actual results to differ materially from
 those projected in forward-looking statements contained in this report or implied by past results and trends.


 Overview
 DVoo J]VgbVXZji^XVah eaX ^h Vc ^ciZgcVi^dcVa W^de]VgbVXZji^XVa XdbeVcn [dXjhZY dc ^begdk^c\ eVi^Zcihx a^kZh Wn ^YZci^[n^c\+ YZkZade^c\ VcY
 XdbbZgX^Va^o^c\ bZVc^c\[ja egdYjXih i]Vi VYYgZhh jcbZi bZY^XVa cZZYh-
 QZ ]VkZ V Y^kZghZ edgi[da^d d[ egdYjXih VcY egdYjXi XVcY^YViZh+ l^i] V [dXjh ^c i]Z VgZVh d[ haZZe VcY ]ZbVidad\n.dcXdad\n- Ijg aZVY bVg`ZiZY
 egdYjXih VgZ9
 s          Xyrem® (sodium oxybate) oral solution+ i]Z dcan egdYjXi VeegdkZY Wn i]Z O-M- @ddY VcY >gj\ ;Yb^c^higVi^dc+ dg @>;+ VcY bVg`ZiZY ^c
            i]Z O-M- [dg i]Z igZVibZci d[ Wdi] XViVeaZmn VcY ZmXZhh^kZ YVni^bZ haZZe^cZhh+ dg ?>M+ ^c eVi^Zcih l^i] cVgXdaZehn:
 s          Erwinaze® (asparaginase Erwinia chrysanthemi)+ V igZVibZci VeegdkZY ^c i]Z O-M- VcY ^c XZgiV^c bVg`Zih ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY
            Vh ?gl^cVhZt( [dg eVi^Zcih l^i] VXjiZ anbe]dWaVhi^X aZj`Zb^V+ dg ;FF+ l]d ]VkZ YZkZadeZY ]neZghZch^i^k^in id E. coli,YZg^kZY
            VheVgV\^cVhZ: VcY
 s          Defitelio® (defibrotide sodium)+ V egdYjXi VeegdkZY ^c i]Z O-M- [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] ]ZeVi^X kZcd,
            dXXajh^kZ Y^hZVhZ+ dg PI>+ Vahd `cdlc Vh h^cjhd^YVa dWhigjXi^dc hncYgdbZ+ dg MIM+ l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\
            ]ZbVided^Zi^X hiZb XZaa igVcheaVciVi^dc+ dg BM=N+ VcY ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY Vh >Z[^iZa^dt 'YZ[^Wgdi^YZ(( [dg i]Z igZVibZci d[
            hZkZgZ PI> ^c VYjaih VcY X]^aYgZc jcYZg\d^c\ BM=N i]ZgVen-
 Ijg higViZ\n ^h id XgZViZ h]VgZ]daYZg kVajZ Wn9
 s          Agdl^c\ hVaZh d[ i]Z Zm^hi^c\ egdYjXih ^c djg edgi[da^d+ ^cXajY^c\ Wn ^YZci^[n^c\ VcY ^ckZhi^c\ ^c \gdli] deedgijc^i^Zh hjX] Vh cZl
            igZVibZci ^cY^XVi^dch VcY cZl \Zd\gVe]^X bVg`Zih:
 s          ;Xfj^g^c\ dg a^XZch^c\ g^\]ih id Xa^c^XVaan bZVc^c\[ja VcY Y^[[ZgZci^ViZY egdYjXih i]Vi VgZ dc i]Z bVg`Zi dg egdYjXi XVcY^YViZh i]Vi VgZ ^c
            aViZ,hiV\Z YZkZadebZci: VcY
 s          Jjghj^c\ iVg\ZiZY YZkZadebZci d[ edhi,Y^hXdkZgn Y^[[ZgZci^ViZY egdYjXi XVcY^YViZh-
 QZ Veean V Y^hX^ea^cZY VeegdVX] id VaadXVi^c\ djg gZhdjgXZh WZilZZc ^ckZhibZcih ^c djg XjggZci XdbbZgX^Va VcY YZkZadebZci edgi[da^d VcY
 VXfj^h^i^dch dg ^c,a^XZch^c\ d[ cZl VhhZih-
 Ijg idiVa cZi egdYjXi hVaZh ^cXgZVhZY Wn 01$ ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id Vc ^cXgZVhZ ^c RngZb VcY >Z[^iZa^d egdYjXi hVaZh- QZ
 ZmeZXi idiVa cZi egdYjXi hVaZh id ^cXgZVhZ ^c 1/06 dkZg 1/05+ eg^bVg^an YjZ id ZmeZXiZY \gdli] ^c hVaZh d[ djg aZVY bVg`ZiZY egdYjXih+ Vh lZaa Vh hVaZh
 [gdb i]Z Vci^X^eViZY O-M- XdbbZgX^Va aVjcX] d[ PnmZdhNG+ Vc

                                                                            78
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 NVWaZ d[ =dciZcih



 ^ckZhi^\Vi^dcVa egdYjXi ^c YZkZadebZci Vh V igZVibZci [dg ]^\],g^h` VXjiZ bnZad^Y aZj`Zb^V+ dg ;GF- Ijg VW^a^in id ^cXgZVhZ cZi egdYjXi hVaZh ^h
 hjW_ZXi id V cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh Vh hZi [dgi] WZadl VcY jcYZg vL^h` @VXidghw ^c CiZb C+ JVgi 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+
 ^cXajY^c\ XdbeaZi^dc d[ hjWb^hh^dc d[ djg cZl Ygj\ Veea^XVi^dc+ dg H>;+ [dg PnmZdh VcY ^ih VeegdkVa Wn i]Z @>;-
 Significant Developments Affecting Our Business
 Approval of Generic Versions of Xyrem
 Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ Vc VWWgZk^ViZY cZl Ygj\ Veea^XVi^dc+ dg ;H>;+ [dg V \ZcZg^X kZgh^dc d[ RngZb+ ]ZaY Wn
 QZhi,QVgY J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg LdmVcZ- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>; cdiZh i]Vi
 LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\ ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa Vahd
 ^cXajYZh V lV^kZg i]Vi eZgb^ih LdmVcZ id jhZ V hZeVgViZ g^h` ZkVajVi^dc VcY b^i^\Vi^dc higViZ\n+ dg L?GM+ egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc
 i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb dmnWViZ egdYjXih- Ic DVcjVgn 08+ 1/06+
 i]Z @>; iZciVi^kZan VeegdkZY ild VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa J]VgbVXZji^XVah+ dg ;bcZVa+ VcY dcZ [dg I]b
 FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc Vh LVcWVmn+ CcX-+ dg LVcWVmn- @dg [jgi]Zg Y^hXjhh^dc+ hZZ v,=]VaaZc\Zh+ L^h`h VcY NgZcYh LZaViZY id Ijg FZVY
 GVg`ZiZY JgdYjXihw WZadl-
 2016 Developments
 Ic GVgX] 2/+ 1/05+ i]Z @>; \gVciZY bVg`Zi^c\ VeegdkVa [dg >Z[^iZa^d [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI>+ Vahd `cdlc Vh MIM+
 l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\ BM=N- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>; VeegdkVa-
 Ic Djan 01+ 1/05+ lZ XdbeaZiZY i]Z VXfj^h^i^dc d[ =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ l]^X] lZ gZ[Zg id Vh i]Z =ZaVidg ;Xfj^h^i^dc- N]Z =ZaVidg
 ;Xfj^h^i^dc WgdVYZcZY djg ]ZbVidad\n.dcXdad\n edgi[da^d l^i] i]Z VXfj^h^i^dc d[ ldgaYl^YZ YZkZadebZci VcY XdbbZgX^Va^oVi^dc g^\]ih id PnmZdh-
 Cc i]Z i]^gY fjVgiZg d[ 1/05+ lZ ^c^i^ViZY V gdaa^c\ hjWb^hh^dc d[ Vc H>; id i]Z @>; [dg PnmZdh- QZ ZmeZXi id XdbeaZiZ i]Z H>; hjWb^hh^dc Wn i]Z
 ZcY d[ i]Z [^ghi fjVgiZg d[ 1/06- Ijg VW^a^in id XdbeaZiZ i]Z H>; hjWb^hh^dc [dg PnmZdh VcY id dWiV^c @>; VeegdkVa d[ i]Z H>; ^h hjW_ZXi id V
 cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\ i]dhZ hZi [dgi] jcYZg i]Z ]ZVY^c\ vWhile Xyrem remains our largest product, our success also depends
 on our ability to effectively commercialize our other products and, in the case of our product candidates, our ability to obtain regulatory
 approval in the U.S. and Europe and, if approved, to successfully launch and commercialize those product candidates. Our inability to do so
 could have a material adverse effect on our business, financial condition, results of operations and growth prospectsw ^c L^h` @VXidgh ^c JVgi C+
 CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Cc XdccZXi^dc l^i] i]Z =ZaVidg ;Xfj^h^i^dc+ dc Djan 01+ 1/05+ lZ ZciZgZY ^cid djg VbZcYZY XgZY^i V\gZZbZci egdk^Y^c\ [dg V gZkdak^c\ XgZY^i [VX^a^in
 d[ #0-14 W^aa^dc+ l]^X] gZeaVXZY djg eg^dg gZkdak^c\ XgZY^i [VX^a^in d[ #64/-/ b^aa^dc+ VcY V #64/-/ b^aa^dc iZgb adVc [VX^a^in+ d[ l]^X] #601-8 b^aa^dc
 eg^cX^eVa Vbdjci gZbV^cZY djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05-
 Cc i]Z i]^gY fjVgiZg d[ 1/05+ lZ XdbbZcXZY XdbbZgX^Va deZgVi^dch Vi djg cZl bVcj[VXijg^c\ [VX^a^in ^c CgZaVcY V[iZg gZXZ^k^c\ @>; VeegdkVa d[ i]Z
 [VX^a^in ^c DjcZ 1/05- Cc MZeiZbWZg 1/05+ lZ bVcj[VXijgZY VcY h]^eeZY djg [^ghi XdbbZgX^Va WViX] d[ RngZb [gdb i]^h [VX^a^in+ gZYjX^c\ djg
 YZeZcYZcXZ dc djg i]^gY,eVgin RngZb hjeea^Zg-
 Cc HdkZbWZg 1/05+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY V cZl h]VgZ gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ VgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg
 d[ dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ ejgX]VhZ eg^XZ d[ je id #2// b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch-
 Continued Emphasis on Research and Development
 QZ ]VkZ Xdci^cjZY djg [dXjh dc gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh+ VcY+ ^c 1/05+ lZ VX]^ZkZY bZVc^c\[ja b^aZhidcZh ^c djg Xa^c^XVa YZkZadebZci
 d[ cZl egdYjXi XVcY^YViZh+ VXi^k^i^Zh gZaViZY id a^cZ ZmiZch^dch VcY cZl ^cY^XVi^dch [dg Zm^hi^c\ egdYjXih VcY i]Z \ZcZgVi^dc d[ VYY^i^dcVa Xa^c^XVa
 YViV [dg Zm^hi^c\ egdYjXih+ Vaa ^c djg haZZe VcY ]ZbVidad\n.dcXdad\n i]ZgVeZji^X VgZVh-
 ; hjbbVgn d[ djg dc\d^c\ YZkZadebZci VXi^k^i^Zh ^h egdk^YZY WZadl9

                                                                            8/
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 NVWaZ d[ =dciZcih



      Project                       Disease Area                                                              Status
  Sleep
  DTJ,00/            ?mXZhh^kZ haZZe^cZhh+ dg ?M+ ^c dWhigjXi^kZ JVi^Zci ZcgdaabZci ^c ild J]VhZ 2 ig^Vah XdbeaZiZY ^c i]^gY fjVgiZg d[ 1/05: ZmeZXi
                     haZZe VecZV+ dg IM;                         egZa^b^cVgn YViV Wn ZcY d[ [^ghi fjVgiZg d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Vah+ eaVc id
                                                                 hjWb^i Vc H>;+ id i]Z @>; ^c aViZ 1/06
  DTJ,00/            ?M ^c cVgXdaZehn                              JVi^Zci ZcgdaabZci ^c J]VhZ 2 ig^Va XdbeaZiZY ^c [djgi] fjVgiZg d[ 1/05: ZmeZXi
                                                                   egZa^b^cVgn YViV ^c hZXdcY fjVgiZg d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Va+ eaVc id hjWb^i
                                                                   Vc H>; id i]Z @>; ^c aViZ 1/06
  DTJ,00/            ?M ^c JVg`^chdcxh Y^hZVhZ                     @^ghi eVi^Zci ZcgdaaZY ^c J]VhZ 1 ig^Va ^c [^ghi fjVgiZg d[ 1/06

  RngZb              ?>M VcY XViVeaZmn ^c eZY^Vig^X cVgXdaZehn JVi^Zci ZcgdaabZci ^c J]VhZ 2 ig^Va XdbeaZiZY ^c [djgi] fjVgiZg d[ 1/05: hjW_ZXi id
                     eVi^Zcih l^i] XViVeaZmn                   gZhjaih d[ ig^Va+ ZmeZXi id hjWb^i V hjeeaZbZciVa H>;+ dg hH>;+ VcY eZY^Vig^X lg^iiZc
                                                               gZfjZhi gZedgi id i]Z @>; ^c [djgi] fjVgiZg d[ 1/06
  DTJ,4/6            ?>M VcY XViVeaZmn ^c cVgXdaZehn               ?meZXi id hjWb^i Vc H>; id i]Z @>; Wn [^ghi fjVgiZg d[ 1/07
  DTJ,147            ?>M VcY XViVeaZmn ^c cVgXdaZehn               ?meZXi id ^c^i^ViZ J]VhZ 2 ig^Va ^c i]Z ?jgdeZVc Oc^dc+ dg ?O+ VcY O-M- ^c [^ghi fjVgiZg
                                                                   d[ 1/06: hjW_ZXi id gZhjaih d[ ig^Va+ ZmeZXi id hjWb^i Vc H>; id i]Z @>; ^c 1/08
  ImnWViZ dcXZ,      HVgXdaZehn                                    Jgd\gVb egd\gZhh^c\: ZkVajVi^dc d[ YZjiZgViZY dmnWViZ VcY di]Zg [dgbjaVi^dc
  c^\]ian Ydh^c\                                                   dei^dch Xdci^cjZh Vh eVgi d[ dcXZ,c^\]ian YZkZadebZci
                                                                   egdXZhh
  Hematology/Oncology
  PnmZdh '=JR,       B^\],g^h` VXjiZ bnZad^Y aZj`Zb^V+ dg ;GF Cc^i^ViZY V gdaa^c\ hjWb^hh^dc d[ Vc H>; id i]Z @>; ^c i]^gY fjVgiZg d[ 1/05: ZmeZXi
  240(                                                        id XdbeaZiZ i]Z H>; hjWb^hh^dc Wn ZcY d[ [^ghi fjVgiZg d[ 1/06: ZmeZXi id hjWb^i V
                                                              bVg`Zi^c\ Vji]dg^oVi^dc Veea^XVi^dc+ dg G;;+ id i]Z ?jgdeZVc GZY^X^cZh ;\ZcXn+
                                                              dg ?G;+ ^c hZXdcY ]Va[ d[ 1/06
  >Z[^Wgdi^YZ        JgZkZci^dc d[ PI> ^c ]^\],g^h` eVi^Zcih       @^ghi eVi^Zci ZcgdaaZY ^c J]VhZ 2 ig^Va ^c [^ghi fjVgiZg d[ 1/06
                     [daadl^c\ BM=N
  >Z[^Wgdi^YZ        JgZkZci^dc d[ VXjiZ AgV[i kZghjh Bdhi         ?meZXi id ^c^i^ViZ J]VhZ 1 egdd[ d[ XdcXZei ig^Va ^c [djgi] fjVgiZg d[ 1/06
                     >^hZVhZ+ dg VAkB>+ [daadl^c\ BM=N
  ;heVgV\^cVhZ       ;FF VcY di]Zg ]ZbVidad\^X Y^hdgYZgh           ?kVajVi^dc d[ ZVgan,hiV\Z egdYjXi XVcY^YViZh

 @dg [jgi]Zg YZiV^ah gZ\VgY^c\ i]ZhZ YZkZadebZci VXi^k^i^Zh+ hZZ v<jh^cZhh , LZhZVgX] VcY >ZkZadebZciw ^c CiZb 0 d[ JVgi C+ <jh^cZhh+ d[ i]^h ;ccjVa
 LZedgi dc @dgb 0/,E-
 @dg 1/06 VcY WZndcY+ lZ ZmeZXi i]Vi djg gZhZVgX] VcY YZkZadebZci ZmeZchZh l^aa ^cXgZVhZ [gdb ]^hidg^XVa aZkZah+ eVgi^XjaVgan Vh lZ ^c^i^ViZ VcY
 jcYZgiV`Z VYY^i^dcVa Xa^c^XVa ig^Vah VcY gZaViZY YZkZadebZci ldg` VcY ediZci^Vaan VXfj^gZ g^\]ih id VYY^i^dcVa egdYjXi XVcY^YViZh- Ijg VW^a^in id
 Xdci^cjZ id jcYZgiV`Z djg eaVccZY YZkZadebZci VXi^k^i^Zh+ Vh lZaa Vh i]Z hjXXZhh d[ i]ZhZ VXi^k^i^Zh+ VgZ hjW_ZXi id V cjbWZg d[ g^h`h VcY
 jcXZgiV^ci^Zh+ ^cXajY^c\ i]dhZ hZi [dgi] jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id Ijg <jh^cZhhw VcY vL^h`h LZaViZY id Ijg CcYjhignw ^c L^h` @VXidgh ^c
 JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Challenges, Risks and Trends Related to Our Lead Marketed Products
 Xyrem. RngZb ^h djg aVg\Zhi hZaa^c\ egdYjXi+ VcY djg [^cVcX^Va gZhjaih VgZ h^\c^[^XVcian ^c[ajZcXZY Wn hVaZh d[ RngZb+ l]^X] VXXdjciZY [dg 64$ d[
 djg cZi egdYjXi hVaZh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05 VcY 62$ d[ djg cZi egdYjXi hVaZh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/04- ;h V gZhjai+ lZ
 Xdci^cjZ id eaVXZ V ]^\] eg^dg^in dc hZZ`^c\ id bV^ciV^c VcY ^cXgZVhZ hVaZh d[ RngZb ^c ^ih VeegdkZY ^cY^XVi^dch+ l]^aZ gZbV^c^c\ [dXjhZY dc
 Zchjg^c\ i]Z hV[Z VcY Z[[ZXi^kZ jhZ d[ i]Z egdYjXi- QZ VgZ Vahd [dXjh^c\ dc egdYjXi YZkZadebZci Z[[dgih gZaVi^c\ id RngZb+ ^cXajY^c\ hZZ`^c\ id
 Zc]VcXZ VcY Zc[dgXZ djg ^ciZaaZXijVa egdeZgin g^\]ih VcY id YZkZade egdYjXi+ hZgk^XZ VcY hV[Zin ^begdkZbZcih [dg eVi^Zcih-
 Ijg [jijgZ eaVch VhhjbZ i]Vi hVaZh d[ RngZb l^aa ^cXgZVhZ+ Vai]dj\] djg eaVch VhhjbZ V hadlZg gViZ d[ ^cXgZVhZ i]Vc ^c gZXZci nZVgh- Q]^aZ RngZb
 egdYjXi hVaZh \gZl [gdb 1/04 id 1/05 VcY [gdb 1/03 id 1/04+ lZ XVccdi VhhjgZ ndj i]Vi lZ XVc bV^ciV^c hVaZh d[ RngZb Vi dg cZVg XjggZci aZkZah+ dg
 i]Vi RngZb hVaZh l^aa Xdci^cjZ id \gdl- QZ ]VkZ eZg^dY^XVaan ^cXgZVhZY i]Z eg^XZ d[ RngZb+ bdhi gZXZcian ^c DVcjVgn 1/06+ VcY lZ XVccdi VhhjgZ
 ndj i]Vi eg^XZ VY_jhibZcih lZ ]VkZ iV`Zc dg bVn iV`Z ^c i]Z [jijgZ l^aa cdi cZ\Vi^kZan V[[ZXi RngZb hVaZh kdajbZh-

                                                                              80
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 NVWaZ d[ =dciZcih



 Ijg VW^a^in id bV^ciV^c dg ^cXgZVhZ RngZb egdYjXi hVaZh ^h hjW_ZXi id g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\ i]dhZ Y^hXjhhZY ^c vL^h` @VXidghw ^c JVgi C+
 CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ ^cXajY^c\ i]dhZ gZaViZY id9
 s         i]Z ediZci^Va XdbbZgX^Va^oVi^dc d[ V \ZcZg^X kZgh^dc d[ RngZb+ ^cXajY^c\ ^c XdccZXi^dc l^i] i]Z gZXZci VeegdkVa Wn i]Z @>; d[ ;H>; [dg
           V \ZcZg^X kZgh^dc d[ RngZb+ Vh lZaa Vh iZciVi^kZ VeegdkVa d[ ild VYY^i^dcVa ;H>;h+ Vh [jgi]Zg YZhXg^WZY WZadl:
 s         i]Z ediZci^Va O-M- ^cigdYjXi^dc d[ Vc VaiZgcVi^kZ egdYjXi id RngZb [dg igZVi^c\ XViVeaZmn VcY.dg ?>M ^c cVgXdaZehn:
 s         X]Vc\Zh id+ ^cXgZVhZh d[ dg jcXZgiV^ci^Zh VgdjcY gZ\jaVidgn gZhig^Xi^dch+ ^cXajY^c\ X]Vc\Zh id djg RngZb L?GM+ eVgi^XjaVgan ^c a^\]i d[
           i]Z @>;xh lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZbh L?GM gZfj^gZbZci [dg hdY^jb dmnWViZ VcY VeegdkVa d[ V hZeVgViZ \ZcZg^X hdY^jb dmnWViZ
           L?GM+ Vh [jgi]Zg YZhXg^WZY WZadl:
 s         Vcn ^cXgZVhZ ^c eg^X^c\ egZhhjgZ [gdb+ dg gZhig^Xi^dch dc gZ^bWjghZbZci ^bedhZY Wn+ i]^gY eVgin eVndgh:
 s         X]Vc\Zh ^c ]ZVai]XVgZ aVlh VcY eda^Xn+ ^cXajY^c\ X]Vc\Zh ^c gZfj^gZbZcih [dg eVi^Zci Vhh^hiVcXZ egd\gVbh+ gZWViZh+ gZ^bWjghZbZci VcY
           XdkZgV\Z Wn [ZYZgVa ]ZVai]XVgZ egd\gVbh+ VcY X]Vc\Zh gZhjai^c\ [gdb ^cXgZVhZY hXgji^cn dc e]VgbVXZji^XVa eg^X^c\ Wn \dkZgcbZci
           Zci^i^Zh:
 s         deZgVi^dcVa Y^hgjei^dch Vi i]Z RngZb XZcigVa e]VgbVXn dg Vcn [V^ajgZ id Xdbean l^i] djg L?GM dWa^\Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z
           @>;:
 s         Vcn hjeean dg bVcj[VXijg^c\ egdWaZbh+ ^cXajY^c\ Vcn egdWaZbh l^i] djg hdaZ hdjgXZ RngZb ;JC egdk^YZg:
 s         Xdci^cjZY VXXZeiVcXZ d[ RngZb Wn e]nh^X^Vch VcY eVi^Zcih+ ZkZc ^c i]Z [VXZ d[ cZ\Vi^kZ ejWa^X^in i]Vi hjg[VXZh [gdb i^bZ id i^bZ:
 s         X]Vc\Zh id djg aVWZa+ ^cXajY^c\ cZl hV[Zin lVgc^c\h dg X]Vc\Zh id djg WdmZY lVgc^c\+ i]Vi [jgi]Zg gZhig^Xi ]dl lZ bVg`Zi VcY hZaa RngZb:
           VcY
 s         djg O-M-,WVhZY hdY^jb dmnWViZ VcY RngZb hjeea^Zghx VW^a^in id dWiV^c hj[[^X^Zci fjdiVh [gdb i]Z O-M- >gj\ ?c[dgXZbZci ;Yb^c^higVi^dc+
           dg >?;+ id hVi^h[n djg cZZYh [dg RngZb-
 MZkZc XdbeVc^Zh hZci jh cdi^XZh i]Vi i]Zn ]VY [^aZY ;H>;h l^i] i]Z @>; hZZ`^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb+ VcY lZ [^aZY
 eViZci aVlhj^ih V\V^chi ZVX] d[ i]ZhZ XdbeVc^Zh ^c i]Z >^hig^Xi =djgi [dg HZl DZghZn+ dg >^hig^Xi =djgi- Cc i]Z hZXdcY fjVgiZg d[ 1/05+ lZ hZiiaZY ild
 d[ i]ZhZ aVlhj^ih+ \gVci^c\ i]Z hZiia^c\ ;H>; Veea^XVcih V a^XZchZ id bVcj[VXijgZ+ bVg`Zi VcY hZaa i]Z^g \ZcZg^X kZgh^dch d[ RngZb dc dg V[iZg
 >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- Cc 1/05+ i]Z >^hig^Xi =djgi Xdchda^YViZY Vaa d[ djg eZcY^c\ eViZci
 a^i^\Vi^dc 'di]Zg i]Vc djg aVlhj^i [^aZY ^c ;j\jhi 1/05( VcY hZi i]Z Xdchda^YViZY XVhZ [dg ig^Va ^c i]Z hZXdcY fjVgiZg d[ 1/06- Cc i]Z [^ghi fjVgiZg d[
 1/06+ i]Z >^hig^Xi =djgi W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z Xdchda^YViZY XVhZ ^ckdak^c\ i]Z eViZcih dc i]Z RngZb Y^hig^Wji^dc hnhiZb+ dg L?GM
 eViZcih- QZ XVccdi egZY^Xi i]Z i^b^c\ dg djiXdbZ d[ i]^h dg i]Z di]Zg ;H>; a^i^\Vi^dc egdXZZY^c\h V\V^chi i]Z gZbV^c^c\ cdc,hZiia^c\ ;H>; [^aZgh+
 l]^X] ]VkZ WZZc Xdchda^YViZY Vh dcZ XVhZ ^c i]Z >^hig^Xi =djgi+ l^i] cd ig^Va YViZ hZi- Cc Djan 1/05+ i]Z JViZci Ng^Va VcY ;eeZVa <dVgY+ dg JN;<+ d[
 i]Z O-M- JViZci VcY NgVYZbVg` I[[^XZ ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ h^m d[ hZkZc L?GM eViZcih VgZ jceViZciVWaZ- QZ [^aZY V cdi^XZ d[
 VeeZVa d[ i]ZhZ YZX^h^dch dc @ZWgjVgn 11+ 1/06- C[ i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+
 i]ZhZ XaV^bh l^aa WZ XVcXZaZY+ VcY lZ l^aa cdi WZ VWaZ id Zc[dgXZ i]ZhZ eViZcih- Cc GVgX] 1/05+ i]Z JN;< eVgi^Vaan ^chi^ijiZY Vc CJL dc V hZkZci]
 L?GM eViZci+ YZXa^c^c\ id gZk^Zl 14 d[ 17 XaV^bh- ; JN;< YZX^h^dc dc i]Z i]gZZ XaV^bh i]Vi lZgZ ig^ZY ^h ZmeZXiZY WZ[dgZ i]Z ZcY d[ i]Z [^ghi fjVgiZg
 d[ 1/06- @dg V YZhXg^ei^dc d[ i]ZhZ aZ\Va egdXZZY^c\h+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E- QZ XVccdi
 egZY^Xi l]Zi]Zg VYY^i^dcVa edhi,\gVci eViZci gZk^Zl X]VaaZc\Zh l^aa WZ [^aZY Wn Vcn d[ i]Z ;H>; [^aZgh dg Vcn di]Zg Zci^in+ i]Z djiXdbZ d[ Vcn
 eZcY^c\ CJL dg di]Zg egdXZZY^c\ dg i]Z ^beVXi Vcn CJL dg di]Zg egdXZZY^c\ b^\]i ]VkZ dc dc\d^c\ ;H>; a^i^\Vi^dc egdXZZY^c\h dg di]Zg VheZXih
 d[ djg RngZb Wjh^cZhh-
 Cc MZeiZbWZg 1/05+ DVoo J]VgbVXZji^XVah+ CcX-+ djg l]daan dlcZY hjWh^Y^Vgn+ hjWb^iiZY V =^i^oZc JZi^i^dc id i]Z @>; gZfjZhi^c\ i]Vi+ [dg hV[Zin
 gZVhdch+ i]Z @>; gZ[jhZ id VeegdkZ Vcn hdY^jb dmnWViZ ;H>; l^i] V egdedhZY eVX`V\Z ^chZgi dg L?GM i]Vi db^ih i]Z edgi^dch d[ i]Z RngZb
 eVX`V\Z ^chZgi VcY i]Z RngZb L?GM i]Vi ^chigjXi egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ i]Z egdYjXi l]Zc ^i ^h Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm
 hdY^jb 'Vahd `cdlc Vh kVaegdViZ dg kVaegd^X VX^Y(- Ic DVcjVgn 06+ 1/06+ i]Z @>; \gVciZY i]Z =^i^oZc JZi^i^dc l^i] gZheZXi id i]Z RngZb eVX`V\Z
 ^chZgi- N]Z @>; XdcXajYZY i]Vi ^i l^aa cdi VeegdkZ Vcn hdY^jb dmnWViZ ;H>; gZ[ZgZcX^c\ RngZb i]Vi YdZh cdi ^cXajYZ ^c ^ih eVX`V\Z ^chZgi i]Z
 edgi^dch d[ i]Z XjggZcian VeegdkZY RngZb eVX`V\Z ^chZgi gZaViZY id i]Z Ygj\,Ygj\ ^ciZgVXi^dc l^i] Y^kVaegdZm hdY^jb- N]Z @>; hiViZY i]Vi ^i Y^Y cdi
 cZZY id gZVX] i]Z fjZhi^dc d[ l]Zi]Zg i]Z Ygj\,Ygj\ ^ciZgVXi^dc ^c[dgbVi^dc XdjaY ]VkZ WZZc ZmXajYZY [gdb i]Z \ZcZg^X hdY^jb dmnWViZ L?GM
 bViZg^Vah WZXVjhZ ^i lVh Veegdk^c\ V L?GM ^c XdccZXi^dc l^i] V hdY^jb dmnWViZ ;H>; ^cXajY^c\ i]Vi ^c[dgbVi^dc- Ijg RngZb eViZcih ^cXajYZ
 i]gZZ bZi]dY d[ VYb^c^higVi^dc eViZcih gZaVi^c\ id V Ygj\,Ygj\ ^ciZgVXi^dc+ dg >>C eViZcih+ XdkZg^c\ i]ZhZ ^chigjXi^dch dc i]Z RngZb eVX`V\Z ^chZgi
 VcY RngZb L?GM- QZ XVccdi egZY^Xi l]Zi]Zg dg l]Zc dcZ dg bdgZ d[ i]Z ;H>; [^aZgh bVn ejghjZ V X]VaaZc\Z id i]Z @>;xh gZhedchZ id i]Z =^i^oZc
 JZi^i^dc dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja- F^`Zl^hZ+ lZ XVccdi egZY^Xi l]Zi]Zg lZ l^aa WZ VWaZ id bV^ciV^c i]Z kVa^Y^in d[ Vcn d[
 djg eViZcih dg l^aa

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 di]Zgl^hZ dWiV^c V _jY^X^Va YZiZgb^cVi^dc i]Vi i]Z \ZcZg^X hdY^jb dmnWViZ eVX`V\Z ^chZgi dg i]Z \ZcZg^X hdY^jb dmnWViZ L?GM l^aa ^c[g^c\Z Vcn d[
 djg eViZcih dg+ ^[ lZ egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g
 \ZcZg^X kZgh^dch d[ RngZb- @dg V YZhXg^ei^dc d[ i]ZhZ bViiZgh+ ^cXajY^c\ g^h`h VcY jcXZgiV^ci^Zh gZaViZY id djg L?GM+ djg L?GM eViZcih VcY djg
 >>C eViZcih+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,The Hatch-Waxman
 Actw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E+ VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci
 CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ i]Z LdmVcZ ;H>;+ VcY dc DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild VYY^i^dcVa
 ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa VcY dcZ [dg LVcWVmn- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>; cdiZh i]Vi LdmVcZ lVh
 i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\ ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa Vahd ^cXajYZh V lV^kZg d[
 i]Z h^c\aZ h]VgZY L?GM gZfj^gZbZci VcY eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,
 \gVciZY L?GM hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb dmnWViZ egdYjXih- QZ lZgZ cdi ^ckdakZY ^c i]Z YZkZadebZci
 d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM- QZ l^aa ZkVajViZ l]Zi]Zg i]Z @>;xh lV^kZg d[ i]Z gZfj^gZbZci [dg V h^c\aZ+ h]VgZY hnhiZb L?GM ^c
 XdccZXi^dc l^i] VeegdkVa d[ i]Z ;H>;h bZZih i]Z XdcY^i^dch [dg hjX] V lV^kZg jcYZg Veea^XVWaZ aVl VcY+ id i]Z ZmiZci i]Vi lZ YZiZgb^cZ i]Vi i]Z
 lV^kZg lVh cdi eZgb^hh^WaZ jcYZg Veea^XVWaZ aVl+ l^aa ZkVajViZ ediZci^Va X]VaaZc\Zh id i]Z @>;xh lV^kZg YZX^h^dc- QZ XVccdi egZY^Xi l]Zi]Zg dg
 l]Zc lZ bVn ejghjZ Vcn hjX] X]VaaZc\Zh dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja-
 Q]^aZ i]Z @>; ]Vh VeegdkZY dg iZciVi^kZan VeegdkZY ;H>;h hZZ`^c\ id bVg`Zi \ZcZg^X kZgh^dch d[ RngZb VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z
 @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa ;H>;h+ i]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h
 jcXZgiV^c- QZ Yd cdi WZa^ZkZ V aVjcX] Wn Vc ;H>; [^aZg ^h a^`Zan id dXXjg eg^dg id Z^i]Zg V YViZ V\gZZY ^c V hZiiaZbZci V\gZZbZci WZilZZc jh VcY
 hjX] ;H>; [^aZg dg V >^hig^Xi =djgi+ dg ediZci^Vaan Vc VeeZaaViZ Xdjgi+ YZX^h^dc ^c djg dc\d^c\ eViZci a^i^\Vi^dc- C[ lZ egZkV^a Vi ig^Va dg dc VeeZVa+ lZ
 XVccdi \jVgVciZZ i]Vi i]Z Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb- CchiZVY+ i]Z
 Xdjgi bVn dgYZg Vc ;H>; [^aZg i]Vi ^h [djcY id ^c[g^c\Z id eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain+ l]^X] XdjaY WZ
 h^\c^[^XVci- QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg egdYjXih i]Vi XdbeZiZ l^i] RngZb+ ldjaY
 ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[ RngZb VcY dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg
 [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] @>; VeegdkVa d[ i]Z LdmVcZ ;H>;+ iZciVi^kZ VeegdkVa d[ i]Z ;bcZVa VcY LVcWVmn ;H>;h+
 ediZci^Va VeegdkVa dg iZciVi^kZ VeegdkVa d[ VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[
 di]Zg hdY^jb dmnWViZ egdYjXih i]Vi XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,
 AdkZgcbZci LZ\jaVi^dc,N]Z BViX],QVmbVc ;Xiw ^c JVgi C+ CiZb 0 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h
 vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h
 ;ccjVa LZedgi dc @dgb 0/,E-
 Cc XdccZXi^dc l^i] @>; VeegdkVa d[ i]Z XjggZci RngZb L?GM ^c @ZWgjVgn 1/04+ i]Z @>; ^cY^XViZY i]Vi ^i ^ciZcYh id ZkVajViZ i]Z RngZb L?GM dc
 Vc dc\d^c\ WVh^h VcY l^aa gZfj^gZ bdY^[^XVi^dch Vh bVn WZ Veegdeg^ViZ- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>; l^aa gZfjZhi+ hZZ` id gZfj^gZ dg
 jai^bViZan gZfj^gZ bdY^[^XVi^dch id i]Z RngZb L?GM ^c XdccZXi^dc l^i] VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM 'dg di]Zgl^hZ( dg hZZ` id
 di]Zgl^hZ ^bedhZ dg jai^bViZan ^bedhZ VYY^i^dcVa gZfj^gZbZcih id i]Z RngZb L?GM+ dg i]Z ediZci^Va i^b^c\+ iZgbh dg egdeg^Zin i]ZgZd[- ;cn hjX]
 bdY^[^XVi^dch dg VYY^i^dcVa gZfj^gZbZcih XdjaY bV`Z ^i bdgZ Y^[[^Xjai dg ZmeZch^kZ [dg jh id Y^hig^WjiZ RngZb+ bV`Z Y^hig^Wji^dc ZVh^Zg [dg hdY^jb
 dmnWViZ XdbeZi^idgh+ ^beV^g i]Z hV[Zin egd[^aZ d[ RngZb VcY.dg cZ\Vi^kZan V[[ZXi hVaZh d[ RngZb- QZ Vahd bVn [VXZ egZhhjgZ id a^XZchZ dg h]VgZ
 ^ciZaaZXijVa egdeZgin eZgi^cZci id i]Z RngZb L?GM+ ^cXajY^c\ egdeg^ZiVgn YViV gZfj^gZY [dg hV[Z Y^hig^Wji^dc d[ hdY^jb dmnWViZ+ ^c XdccZXi^dc l^i]
 i]Z @>;xh VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM- QZ XVccdi egZY^Xi i]Z djiXdbZ dg ^beVXi dc djg Wjh^cZhh d[ Vcn [jijgZ VXi^dc i]Vi lZ
 bVn iV`Z l^i] gZheZXi id i]Z VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM+ dg a^XZch^c\ dg h]Vg^c\ ^ciZaaZXijVa egdeZgin eZgi^cZci id djg RngZb
 L?GM dg ZaZbZcih d[ i]Z RngZb L?GM-
 @dg V [jgi]Zg Y^hXjhh^dc d[ di]Zg g^h`h gZaVi^c\ id RngZb+ hZZ i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\ vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi
 d[ RngZb MVaZhw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Erwinaze/Erwinase. MVaZh d[ djg hZXdcY aVg\Zhi egdYjXi+ ?gl^cVoZ.?gl^cVhZ 'l]^X] lZ gZ[Zg id ^c i]^h gZedgi Vh ?gl^cVoZ jcaZhh di]Zgl^hZ
 ^cY^XViZY dg i]Z XdciZmi di]Zgl^hZ gZfj^gZh(+ VXXdjciZY [dg 03$ d[ djg cZi egdYjXi hVaZh ^c 1/05 VcY 04$ d[ djg cZi egdYjXi hVaZh ^c 1/04- QZ hZZ`
 id bV^ciV^c VcY ^cXgZVhZ hVaZh d[ ?gl^cVoZ+ Vh lZaa Vh id bV`Z ?gl^cVoZ bdgZ l^YZan VkV^aVWaZ+ i]gdj\] dc\d^c\ hVaZh VcY bVg`Zi^c\ VcY gZhZVgX]
 VcY YZkZadebZci VXi^k^i^Zh-
 BdlZkZg+ V h^\c^[^XVci X]VaaZc\Z id djg VW^a^in id bV^ciV^c XjggZci hVaZh aZkZah VcY id ^cXgZVhZ hVaZh ^h djg ZmigZbZan a^b^iZY ^ckZcidgn d[ ?gl^cVoZ+
 eVhi VcY Xdci^cj^c\ hjeean ^ciZggjei^dch VcY djg cZZY id b^c^b^oZ dg Vkd^Y VYY^i^dcVa hjeean ^ciZggjei^dch YjZ id XVeVX^in XdchigV^cih+ egdYjXi^dc
 YZaVnh+ fjVa^in dg gZ\jaVidgn X]VaaZc\Zh VcY di]Zg bVcj[VXijg^c\ Y^[[^Xjai^Zh- ?gl^cVoZ ^h a^XZchZY [gdb VcY bVcj[VXijgZY Wn V h^c\aZ hdjgXZ+ Jdgidc
 <^de]VgbV F^b^iZY+ dg J<F-

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 Cc DVcjVgn 1/06+ i]Z @>; ^hhjZY V lVgc^c\ aZiiZg id J<F ^cY^XVi^c\ i]Vi ^i lVh cdi hVi^h[^ZY l^i] J<Fxh gZhedchZh id i]Z @>; @dgb 372 ^hhjZY id J<F
 ^c GVgX] 1/05+ X^i^c\ h^\c^[^XVci k^daVi^dch d[ i]Z @>;xh XjggZci AddY GVcj[VXijg^c\ JgVXi^XZh+ dg XAGJ+ [dg [^c^h]ZY e]VgbVXZji^XVah VcY
 h^\c^[^XVci YZk^Vi^dch [gdb XAGJ [dg VXi^kZ e]VgbVXZji^XVa ^c\gZY^Zcih+ dg ;JCh- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>;xh gZfj^gZY gZbZY^Vi^dc
 VXi^k^i^Zh l^aa [jgi]Zg higV^c bVcj[VXijg^c\ XVeVX^in VcY VYkZghZan V[[ZXi ?gl^cVoZ hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg ZmigZbZan a^b^iZY egdYjXi
 ^ckZcidgn- QZ Vahd XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa XdggZXi i]Z k^daVi^dch VcY YZk^Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;- ;cn [V^ajgZ id Yd hd
 XdjaY gZhjai ^c i]Z @>; gZ[jh^c\ VYb^hh^dc d[ ?gl^cVoZ ^c i]Z O-M-+ Vh lZaa Vh VYY^i^dcVa Zc[dgXZbZci VXi^dch Wn i]Z @>; VcY di]Zg gZ\jaVidgn
 Zci^i^Zh- ;cn d[ i]ZhZ VXi^dch XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[+ VcY gZkZcjZh [gdb+ ?gl^cVoZ VcY a^b^i djg ediZci^Va [jijgZ
 bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi-
 GdgZdkZg+ i]Z XjggZci bVcj[VXijg^c\ XVeVX^in [dg ?gl^cVoZ ^h XdbeaZiZan VWhdgWZY Wn YZbVcY [dg i]Z egdYjXi- QZ VgZ ldg`^c\ l^i] J<F id ZkVajViZ
 ediZci^Va ZmeVch^dc d[ ^ih egdYjXi^dc XVeVX^in id ^cXgZVhZ i]Z hjeean d[ ?gl^cVoZ dkZg i]Z adc\Zg iZgb VcY id VYYgZhh i]Z egdYjXi^dc YZaVnh+ fjVa^in
 X]VaaZc\Zh VcY gZaViZY gZ\jaVidgn hXgji^cn- ;h V XdchZfjZcXZ d[ XdchigV^cZY bVcj[VXijg^c\ XVeVX^in+ lZ ]VkZ ]VY Vc ZmigZbZan a^b^iZY dg cd VW^a^in
 id Wj^aY egdYjXi ^ckZcidgn aZkZah i]Vi XVc WZ jhZY id VWhdgW Y^hgjei^dch id hjeean gZhjai^c\ [gdb fjVa^in+ gZ\jaVidgn dg di]Zg ^hhjZh- QZ ]VkZ
 ZmeZg^ZcXZY egdYjXi fjVa^in+ bVcj[VXijg^c\ VcY ^ckZcidgn X]VaaZc\Zh i]Vi ]VkZ gZhjaiZY+ VcY bVn Xdci^cjZ id gZhjai+ ^c Y^hgjei^dch ^c djg VW^a^in id
 hjeean XZgiV^c bVg`Zih+ ^cXajY^c\ i]Z O-M-+ [gdb i^bZ id i^bZ VcY ]VkZ XVjhZY+ VcY bVn ^c i]Z [jijgZ XVjhZ+ jh id ^beaZbZci WViX],heZX^[^X+ bdY^[^ZY
 egdYjXi jhZ ^chigjXi^dch- Gdhi gZXZcian+ lZ ZmeZg^ZcXZY hjeean ^ciZggjei^dch d[ ?gl^cVoZ ^c i]Z O-M- VcY di]Zg Xdjcig^Zh ^c i]Z i]^gY VcY [djgi]
 fjVgiZgh d[ 1/05- ;h XVeVX^in XdchigV^cih VcY hjeean Y^hgjei^dch Xdci^cjZ+ l]Zi]Zg Vh V gZhjai d[ Xdci^cjZY fjVa^in dg di]Zg bVcj[VXijg^c\ ^hhjZh+
 gZ\jaVidgn ^hhjZh dg di]Zgl^hZ+ lZ l^aa WZ jcVWaZ id Wj^aY V YZh^gZY ZmXZhh aZkZa d[ egdYjXi ^ckZcidgn+ djg VW^a^in id hjeean i]Z bVg`Zi bVn Xdci^cjZ
 id WZ Xdbegdb^hZY VcY e]nh^X^Vchx YZX^h^dch id jhZ ?gl^cVoZ ]VkZ WZZc+ VcY ^c i]Z [jijgZ bVn Xdci^cjZ id WZ+ cZ\Vi^kZan ^beVXiZY- ;YY^i^dcVa
 ?gl^cVoZ hjeean ^ciZggjei^dch VcY.dg djg ^cVW^a^in id ZmeVcY egdYjXi^dc XVeVX^in XdjaY bViZg^Vaan VYkZghZan V[[ZXi djg hVaZh d[ VcY gZkZcjZh [gdb
 ?gl^cVoZ VcY djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi+ Vh [jgi]Zg Y^hXjhhZY ^c vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[
 i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Defitelio/defibrotide. MVaZh d[ >Z[^iZa^d.YZ[^Wgdi^YZ lZgZ 6$ d[ djg cZi egdYjXi hVaZh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05 VcY 4$ d[ djg cZi
 egdYjXi hVaZh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/04- QZ aVjcX]ZY >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh WZ\^cc^c\ ^c 1/03 VcY Xdci^cjZ id aVjcX]
 i]Z egdYjXi ^c VYY^i^dcVa ?jgdeZVc Xdjcig^Zh dc V gdaa^c\ WVh^h- Ic GVgX] 2/+ 1/05+ i]Z @>; VeegdkZY djg H>; [dg >Z[^iZa^d [dg i]Z igZVibZci d[
 VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI> l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\ BM=N- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>;
 VeegdkVa+ VcY djg O-M- XdbbZgX^Va aVjcX] ^h hi^aa Vi Vc ZVgan hiV\Z-
 Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb djg ^ckZhibZci ^c >Z[^iZa^d ^h hjW_ZXi id g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\ i]dhZ g^h` [VXidgh hZi
 [dgi] jcYZg i]Z ]ZVY^c\ vL^h`h LZaViZY id Ijg <jh^cZhhw ^c CiZb 0+ JVgi 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E- C[ hVaZh d[ >Z[^iZa^d Yd cdi gZVX]
 i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb i]Z egdYjXi l^aa WZ cZ\Vi^kZan V[[ZXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-
 Other Challenges and Risks
 QZ Vci^X^eViZ i]Vi lZ l^aa Xdci^cjZ id [VXZ V cjbWZg d[ di]Zg X]VaaZc\Zh VcY g^h`h id djg Wjh^cZhh VcY djg VW^a^in id ZmZXjiZ djg higViZ\n ^c 1/06
 VcY WZndcY- MdbZ d[ i]ZhZ X]VaaZc\Zh VcY g^h`h VgZ heZX^[^X id djg Wjh^cZhh+ VcY di]Zgh VgZ Xdbbdc id XdbeVc^Zh ^c i]Z e]VgbVXZji^XVa ^cYjhign
 l^i] YZkZadebZci VcY XdbbZgX^Va deZgVi^dch- Cc 1/05+ lZ bVYZ V h^\c^[^XVci ^ckZhibZci ^c PnmZdh i]gdj\] i]Z =ZaVidg ;Xfj^h^i^dc- Ijg VW^a^in id
 gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb i]^h ^ckZhibZci ^h hjW_ZXi id V cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\ i]Z g^h` [VXidgh hZi [dgi] jcYZg
 vL^h`h LZaVi^c\ id Ijg <jh^cZhhw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Cc VYY^i^dc+ Ygj\ eg^X^c\ Wn e]VgbVXZji^XVa XdbeVc^Zh ^h XjggZcian+ VcY ^h ZmeZXiZY id Xdci^cjZ id WZ+ jcYZg XadhZ hXgji^cn+ ^cXajY^c\ l^i] gZheZXi
 id XdbeVc^Zh i]Vi ]VkZ ^cXgZVhZY i]Z eg^XZ d[ egdYjXih V[iZg VXfj^g^c\ i]dhZ egdYjXih [gdb di]Zg XdbeVc^Zh- <di] i]Z O-M- BdjhZ d[
 LZegZhZciVi^kZh VcY i]Z O-M- MZcViZ ]VkZ XdcYjXiZY hZkZgVa ]ZVg^c\h l^i] gZheZXi id e]VgbVXZji^XVa Ygj\ eg^X^c\ egVXi^XZh+ ^cXajY^c\ ^c
 XdccZXi^dc l^i] i]Z ^ckZhi^\Vi^dc d[ heZX^[^X eg^XZ ^cXgZVhZh Wn hZkZgVa e]VgbVXZji^XVa XdbeVc^Zh- C[ lZ WZXdbZ i]Z hjW_ZXi d[ Vcn \dkZgcbZci
 ^ckZhi^\Vi^dc l^i] gZheZXi id djg Ygj\ eg^X^c\ dg di]Zg Wjh^cZhh egVXi^XZh+ lZ XdjaY ^cXjg h^\c^[^XVci ZmeZchZ VcY XdjaY WZ Y^higVXiZY [gdb
 deZgVi^dc d[ djg Wjh^cZhh VcY ZmZXji^dc d[ djg higViZ\n-
 Cc GVn VcY IXidWZg 1/05 VcY @ZWgjVgn 1/06+ lZ gZXZ^kZY hjWedZcVh [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih gZfjZhi^c\
 YdXjbZcih gZaViZY id djg hjeedgi d[ 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih VcY YdXjbZcih XdcXZgc^c\ i]Z
 egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih iV`^c\ Ygj\h hdaY Wn jh- N]Z I[[^XZ d[ i]Z CcheZXidg AZcZgVa ]Vh ZhiVWa^h]ZY \j^YZa^cZh i]Vi
 eZgb^i e]VgbVXZji^XVa bVcj[VXijgZgh id bV`Z YdcVi^dch id X]Vg^iVWaZ dg\Vc^oVi^dch l]d egdk^YZ Xd,eVn Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih+ egdk^YZY
 i]Vi hjX] dg\Vc^oVi^dch+ Vbdc\ di]Zg i]^c\h+ VgZ bona fide X]Vg^i^Zh+ VgZ Zci^gZan ^cYZeZcYZci d[ VcY cdi XdcigdaaZY Wn i]Z bVcj[VXijgZg+ egdk^YZ V^Y
 id Veea^XVcih dc V

                                                                             83
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                                                            22181
 NVWaZ d[ =dciZcih



 [^ghi,XdbZ WVh^h VXXdgY^c\ id Xdch^hiZci [^cVcX^Va Xg^iZg^V+ VcY Yd cdi a^c` V^Y id jhZ d[ V Ydcdgxh egdYjXi- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidgh
 jcYZg i]Z ]ZVY^c\h vChanges in healthcare law and implementing regulations, including those based on recently enacted legislation, as well as
 changes in healthcare policy, may impact our business in ways that we cannot currently predict, and these changes could have a material
 adverse effect on our business and financial conditionw VcY vWe are subject to significant ongoing regulatory obligations and oversight, which
 may result in significant additional expense and limit our ability to commercialize our productsw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb
 0/,E-
 Ii]Zg `Zn X]VaaZc\Zh VcY g^h`h i]Vi lZ [VXZ ^cXajYZ g^h`h VcY jcXZgiV^ci^Zh gZaViZY id9
 s         i]Z X]VaaZc\Zh d[ egdiZXi^c\ VcY Zc]VcX^c\ djg ^ciZaaZXijVa egdeZgin g^\]ih:
 s         i]Z X]VaaZc\Zh d[ VX]^Zk^c\ VcY bV^ciV^c^c\ XdbbZgX^Va hjXXZhh d[ djg egdYjXih:
 s         YZaVnh dg egdWaZbh ^c i]Z hjeean dg bVcj[VXijgZ d[ djg egdYjXih VcY egdYjXi XVcY^YViZh+ eVgi^XjaVgan l^i] gZheZXi id XZgiV^c egdYjXih Vh
           id l]^X] lZ bV^ciV^c a^b^iZY ^ckZcidg^Zh+ djg YZeZcYZcXZ dc h^c\aZ hdjgXZ hjeea^Zgh [dg bdhi d[ djg egdYjXih+ egdYjXi XVcY^YViZh VcY
           ;JCh+ VcY i]Z gZfj^gZbZci i]Vi lZ VcY djg egdYjXi hjeea^Zgh WZ fjVa^[^ZY Wn i]Z @>; id bVcj[VXijgZ egdYjXi VcY Xdbean l^i] Veea^XVWaZ
           bVcj[VXijg^c\ gZ\jaVi^dch:
 s         i]Z cZZY id dWiV^c VcY bV^ciV^c Veegdeg^ViZ eg^X^c\ VcY gZ^bWjghZbZci [dg djg egdYjXih ^c Vc ^cXgZVh^c\an X]VaaZc\^c\ Zck^gdcbZci YjZ
           id+ Vbdc\ di]Zg i]^c\h+ i]Z ViiZci^dc WZ^c\ eV^Y id ]ZVai]XVgZ Xdhi XdciV^cbZci VcY di]Zg VjhiZg^in bZVhjgZh VcY e]VgbVXZji^XVa eg^X^c\
           ^c i]Z O-M- VcY ldgaYl^YZ+ ^cXajY^c\ i]Z cZZY id dWiV^c VcY bV^ciV^c gZ^bWjghZbZci [dg RngZb ^c i]Z O-M- ^c Vc Zck^gdcbZci ^c l]^X] lZ
           VgZ hjW_ZXi id ^cXgZVh^c\an gZhig^Xi^kZ XdcY^i^dch [dg gZ^bWjghZbZci gZfj^gZY Wn \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh:
 s         djg VW^a^in id ^YZci^[n VcY VXfj^gZ+ ^c,a^XZchZ dg YZkZade VYY^i^dcVa egdYjXih dg egdYjXi XVcY^YViZh id \gdl djg Wjh^cZhh:
 s         i]Z X]VaaZc\Zh d[ Xdbea^VcXZ l^i] i]Z gZfj^gZbZcih d[ i]Z @>;+ i]Z >?; VcY XdbeVgVWaZ cdc,O-M- gZ\jaVidgn V\ZcX^Zh+ ^cXajY^c\ l^i]
           gZheZXi id egdYjXi aVWZa^c\+ gZfj^gZbZcih [dg Y^hig^Wji^dc+ dWiV^c^c\ hj[[^X^Zci >?; fjdiVh l]ZgZ cZZYZY+ bVg`Zi^c\ VcY egdbdi^dcVa
           VXi^k^i^Zh+ eVi^Zci Vhh^hiVcXZ egd\gVbh+ VYkZghZ ZkZci gZedgi^c\ VcY egdYjXi gZXVaah dg l^i]YgVlVah:
 s         i]Z Y^[[^Xjain VcY jcXZgiV^cin d[ e]VgbVXZji^XVa egdYjXi YZkZadebZci+ ^cXajY^c\ i]Z i^b^c\ i]ZgZd[+ VcY i]Z jcXZgiV^cin d[ Xa^c^XVa
           hjXXZhh+ hjX] Vh i]Z g^h` i]Vi gZhjaih [gdb egZXa^c^XVa hijY^Zh VcY.dg ZVgan Xa^c^XVa ig^Vah bVn cdi WZ egZY^Xi^kZ d[ gZhjaih dWiV^cZY ^c aViZg
           VcY aVg\Zg Xa^c^XVa ig^Vah eaVccZY dg Vci^X^eViZY id WZ XdcYjXiZY [dg djg egdYjXi XVcY^YViZh:
 s         i]Z ^c]ZgZci jcXZgiV^cin VhhdX^ViZY l^i] i]Z gZ\jaVidgn VeegdkVa egdXZhh+ ZheZX^Vaan Vh lZ Xdci^cjZ id ^cXgZVhZ ^ckZhibZci ^c djg
           egdYjXi e^eZa^cZ YZkZadebZci egd_ZXih VcY jcYZgiV`Z bjai^eaZ eaVccZY H>; hjWb^hh^dch [dg djg egdYjXi XVcY^YViZh:
 s         i]Z g^h`h VhhdX^ViZY l^i] Wjh^cZhh XdbW^cVi^dc dg egdYjXi dg egdYjXi XVcY^YViZ VXfj^h^i^dc igVchVXi^dch+ ^cXajY^c\ g^h`h VhhdX^ViZY l^i]
           i]Z =ZaVidg ;Xfj^h^i^dc+ hjX] Vh i]Z X]VaaZc\Zh ^c]ZgZci ^c i]Z ^ciZ\gVi^dc d[ VXfj^gZY Wjh^cZhhZh l^i] djg ]^hidg^XVa Wjh^cZhh+ i]Z
           ^cXgZVhZ ^c \Zd\gVe]^X Y^heZgh^dc Vbdc\ djg XZciZgh d[ deZgVi^dc VcY i]Z g^h`h i]Vi lZ bVn VXfj^gZ jcVci^X^eViZY a^VW^a^i^Zh Vadc\ l^i]
           VXfj^gZY Wjh^cZhhZh dg di]Zgl^hZ [V^a id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih 'XdbbZgX^Va dg di]Zgl^hZ( [gdb hjX] igVchVXi^dch: VcY
 s         edhh^WaZ gZhig^Xi^dch dc djg VW^a^in VcY [aZm^W^a^in id ejghjZ XZgiV^c [jijgZ deedgijc^i^Zh Vh V gZhjai d[ djg hjWhiVci^Va djihiVcY^c\ YZWi
           dWa^\Vi^dch+ Vh V gZhjai d[+ Vbdc\ di]Zg i]^c\h+ i]Z =ZaVidg ;Xfj^h^i^dc-
 ;cn d[ i]ZhZ g^h`h VcY jcXZgiV^ci^Zh XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli]
 egdheZXih- ;aa d[ i]ZhZ g^h`h VgZ Y^hXjhhZY ^c \gZViZg YZiV^a+ Vadc\ l^i] di]Zg g^h`h+ ^c vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc
 @dgb 0/,E-



                                                                             84
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 NVWaZ d[ =dciZcih




 Results of Operations
 N]Z [daadl^c\ iVWaZ egZhZcih gZkZcjZh VcY ZmeZchZh [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03 '^c i]djhVcYh ZmXZei eZgXZciV\Zh(9

                                                                  2016 (1)           Chan ge              2015             Chan ge              2014 (2)
 JgdYjXi hVaZh+ cZi                                           #     0+366+150                01$      #   0+205+708               02$       #    0+051+605
 LdnVai^Zh VcY XdcigVXi gZkZcjZh                                       0/+601                23$             6+873                '10($             0/+048
 =dhi d[ egdYjXi hVaZh 'ZmXajY^c\ Vbdgi^oVi^dc VcY
 ^beV^gbZci d[ ^ciVc\^WaZ VhhZih(                                    0/4+275                   2$          0/1+415                '02($            006+307
 MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ                                 4/1+781                 01$           338+008                 00$             3/5+003
 LZhZVgX] VcY YZkZadebZci                                            051+186                 1/$           024+142                48$               74+070
 ;Xfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci                          12+64/           H.;'2(                     ,          H.;'2(               1/1+515
 CciVc\^WaZ VhhZi Vbdgi^oVi^dc                                       0/0+883                   3$           87+051                '11($            015+473
 CbeV^gbZci X]Vg\Zh                                                          ,          H.;'2(              20+412                '1/($             28+254
 CciZgZhi ZmeZchZ+ cZi                                                 50+831                  8$           45+806                   7$             41+602
 @dgZ^\c XjggZcXn \V^c                                                 '2+261(             022$              '0+334(              '72($             '7+572(
 Fdhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi                           527              '85($           05+704            H.;'2(                       ,
 CcXdbZ iVm egdk^h^dc                                                024+125                 16$           0/5+288                02$               83+120
 ?fj^in ^c cZi adhh d[ ^ckZhiZZ                                            268          H.;'2(                     ,          H.;'2(                       ,
 HZi adhh Viig^WjiVWaZ id cdcXdcigdaa^c\ ^ciZgZhih                            ,          H.;'2(                   '0(         H.;'2(               '0+/50(
 UUUUUUUUUUUUUUUUUUUUUUUUU
 '0(    Ijg [^cVcX^Va gZhjaih ^cXajYZ i]Z [^cVcX^Va gZhjaih d[ i]Z ]^hidg^XVa =ZaVidg Wjh^cZhh h^cXZ i]Z Xadh^c\ d[ i]Z =ZaVidg ;Xfj^h^i^dc dc Djan 01+
        1/05-
 '1(    Ijg [^cVcX^Va gZhjaih ^cXajYZ i]Z [^cVcX^Va gZhjaih d[ i]Z ]^hidg^XVa AZci^jb Wjh^cZhh h^cXZ i]Z Xadh^c\ d[ i]Z AZci^jb ;Xfj^h^i^dc dc DVcjVgn
        12+ 1/03-
 '2(    =dbeVg^hdc id eg^dg eZg^dY ^h cdi bZVc^c\[ja-
 Revenues
 N]Z [daadl^c\ iVWaZ egZhZcih egdYjXi hVaZh+ gdnVai^Zh VcY XdcigVXi gZkZcjZh+ VcY idiVa gZkZcjZh [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY
 1/03 '^c i]djhVcYh ZmXZei eZgXZciV\Zh(9

                                                                    2016             Chan ge              2015             Chan ge               2014
 RngZb                                                        #     0+0/6+505                05$      #    844+076                12$       #      667+473
 ?gl^cVoZ.?gl^cVhZ                                                    1//+567                  '0($        1/2+150                   1$            088+554
 >Z[^iZa^d.YZ[^Wgdi^YZ                                                0/7+841                43$            6/+620                   ,$             6/+426
 Jg^Vait 'o^Xdcdi^YZ( ^cigVi]ZXVa ^c[jh^dc                             18+01/                0/$            15+33/                   ,$             15+310
 JhnX]^Vign                                                            06+542               '41($           26+024                   '8($           3/+768
 Ii]Zg                                                                 02+131               '34($           13+/54                '37($             35+52/
 JgdYjXi hVaZh+ cZi                                                 0+366+150                01$          0+205+708               02$            0+051+605
 LdnVai^Zh VcY XdcigVXi gZkZcjZh                                       0/+601                23$             6+873                '10($             0/+048
 NdiVa gZkZcjZh                                               #     0+376+862                01$      #   0+213+7/2               02$       #    0+061+764

 Product Sales, Net
 RngZb egdYjXi hVaZh ^cXgZVhZY Wn 05$ ^c 1/05 VcY Wn 12$ ^c 1/04 XdbeVgZY id i]Z ^bbZY^ViZan egZXZY^c\ nZVgh+ eg^bVg^an YjZ id ]^\]Zg VkZgV\Z
 cZi hZaa^c\ eg^XZh ^c 1/05 VcY 1/04 VcY+ id V aZhhZg ZmiZci+ ^cXgZVhZh ^c hVaZh kdajbZ- Jg^XZ ^cXgZVhZh lZgZ ^chi^ijiZY ^c @ZWgjVgn 1/05 VcY @ZWgjVgn
 1/04- RngZb egdYjXi hVaZh kdajbZh ^cXgZVhZY Wn 5$ ^c Wdi] 1/05 VcY 1/04 XdbeVgZY id i]Z ^bbZY^ViZan egZXZY^c\ nZVgh- N]Z hVaZh kdajbZ
 ^cXgZVhZ ^c Wdi] nZVgh lVh Yg^kZc Wn Vc ^cXgZVhZ ^c i]Z VkZgV\Z cjbWZg d[ eVi^Zcih dc RngZb+ l]^X] ^cXajYZh cZl eVi^Zcih+ eVi^Zcih l]d ]VkZ
 gZhiVgiZY RngZb i]ZgVen VcY VXi^kZ eVi^Zcih l]d gZbV^cZY dc RngZb i]ZgVen- Cc aViZ ;j\jhi 1/04+ lZ ^beaZbZciZY i]Z [^cVa L?GM i]Vi lVh
 VeegdkZY Wn i]Z @>; ^c @ZWgjVgn 1/04- Cc i]Z i]^gY fjVgiZg d[ 1/04+ RngZb egdYjXi hVaZh lZgZ VYkZghZan ^beVXiZY Wn deZgVi^dcVa Y^hgjei^dc VcY
 gZhjai^c\ YZaVnh ^c egZhXg^ei^dc [^aah VcY gZ[^aah- Cc i]Z [djgi] fjVgiZg d[ 1/04+ lZ dWhZgkZY Vc ^begdkZbZci ^c `Zn

                                                                             85
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 NVWaZ d[ =dciZcih



 deZgVi^dcVa bZig^Xh XdbeVgZY id i]Z i]^gY fjVgiZg d[ 1/04 VcY e]VgbVXn deZgVi^dch lZgZ hVi^h[VXidgn Yjg^c\ 1/05- ?gl^cVoZ egdYjXi hVaZh YZXgZVhZY
 ha^\]ian ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id V YZXgZVhZ ^c hVaZh kdajbZ+ eVgi^Vaan d[[hZi Wn eg^XZ ^cXgZVhZh ^chi^ijiZY ^c DVcjVgn 1/05 VcY Djan
 1/04- Cc 1/05+ i]Z XdbeVcn Xdci^cjZY id ZmeZg^ZcXZ hjeean X]VaaZc\Zh+ l]^X] gZhjaiZY ^c [ajXijVi^dch ^c ^ckZcidgn aZkZah VcY iZbedgVgn Y^hgjei^dch
 id i]Z XdbeVcnxh VW^a^in id hjeean XZgiV^c bVg`Zih- ?gl^cVoZ egdYjXi hVaZh ^cXgZVhZY Wn 1$ ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id Vc ^cXgZVhZ
 ^c hVaZh kdajbZ VcY+ id V aZhhZg ZmiZci+ eg^XZ ^cXgZVhZh ^chi^ijiZY ^c DVcjVgn 1/04 VcY Djan 1/04+ eVgi^Vaan d[[hZi eg^bVg^an Wn ]^\]Zg X]Vg\ZWVX`h VcY
 gZWViZh gZhjai^c\ [gdb ^cXgZVhZY ji^a^oVi^dc jcYZg i]Z 23/< Ygj\ eg^X^c\ Y^hXdjci VcY GZY^XV^Y egd\gVbh VcY+ id V aZhhZg ZmiZci+ i]Z ^beVXi d[
 [dgZ^\c ZmX]Vc\Z dc hVaZh bVYZ ^c Zjgd- N]Z ?gl^cVoZ hVaZh kdajbZ ^cXgZVhZ ^c 1/04 lVh eg^bVg^an Yg^kZc Wn Zm^hi^c\ igZVibZci h^iZh ^YZci^[n^c\
 VYY^i^dcVa ;FF eVi^Zcih l^i] ]neZghZch^i^k^in id E. coli,YZg^kZY VheVgV\^cVhZ VcY+ id V aZhhZg ZmiZci+ \gdli] ^c cZl igZVibZci h^iZh egZhXg^W^c\
 ?gl^cVoZ- >Z[^iZa^d.YZ[^Wgdi^YZ egdYjXi hVaZh ^cXgZVhZY ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id i]Z aVjcX] d[ >Z[^iZa^d ^c i]Z O-M- ^c ;eg^a 1/05
 VcY ]^\]Zg cZi hVaZh djih^YZ i]Z O-M eg^bVg^an YjZ id ]^\]Zg hVaZh kdajbZ- >Z[^iZa^d.YZ[^Wgdi^YZ egdYjXi hVaZh ^c 1/04 lZgZ Xdch^hiZci l^i] hVaZh ^c
 1/03+ WZ\^cc^c\ [gdb i]Z Xadh^c\ d[ i]Z AZci^jb ;Xfj^h^i^dc dc DVcjVgn 12+ 1/03+ VcY ^cXajYZY V hVaZh kdajbZ ^cXgZVhZ d[ 08$+ l]^X] lVh eVgi^Vaan
 d[[hZi Wn i]Z ^beVXi d[ [dgZ^\c ZmX]Vc\Z dc hVaZh bVYZ ^c Zjgd- Ic V egd [dgbV WVh^h+ Vhhjb^c\ i]Z AZci^jb ;Xfj^h^i^dc ]VY XadhZY dc DVcjVgn 0+
 1/03+ >Z[^iZa^d.YZ[^Wgdi^YZ egdYjXi hVaZh YZXgZVhZY Wn 3$ ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id i]Z ^beVXi d[ [dgZ^\c ZmX]Vc\Z dc hVaZh bVYZ
 ^c Zjgd+ eVgi^Vaan d[[hZi Wn Vc ^cXgZVhZ ^c hVaZh kdajbZh d[ 02$- Jg^Vai egdYjXi hVaZh ^cXgZVhZY ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id Vc ^cXgZVhZ
 ^c hVaZh kdajbZ- Jg^Vai egdYjXi hVaZh ^c 1/04 lZgZ Xdch^hiZci l^i] hVaZh ^c 1/03- JhnX]^Vign egdYjXi hVaZh YZXgZVhZY ^c 1/05 VcY 1/04 XdbeVgZY id
 i]Z ^bbZY^ViZan egZXZY^c\ nZVgh+ eg^bVg^an YjZ id i]Z ^beVXi d[ \ZcZg^X XdbeZi^i^dc- Ii]Zg egdYjXi hVaZh YZXgZVhZY ^c 1/05 VcY 1/04 XdbeVgZY id
 i]Z ^bbZY^ViZan egZXZY^c\ nZVgh+ eg^bVg^an YjZ id djg Y^hedh^i^dc+ ^c GVgX] 1/04+ d[ XZgiV^c egdYjXih VcY i]Z gZaViZY Wjh^cZhh i]Vi lZ dg^\^cVaan
 VXfj^gZY ^c i]Z ?OM; ;Xfj^h^i^dc- QZ ZmeZXi idiVa egdYjXi hVaZh l^aa ^cXgZVhZ ^c 1/06 dkZg 1/05+ eg^bVg^an YjZ id Vci^X^eViZY \gdli] ^c hVaZh d[ djg
 aZVY bVg`ZiZY egdYjXih+ Vh lZaa Vh hVaZh [gdb i]Z Vci^X^eViZY O-M XdbbZgX^Va aVjcX] d[ PnmZdh+ eVgi^Vaan d[[hZi Wn YZXgZVhZh ^c hVaZh d[ XZgiV^c di]Zg
 egdYjXih-
 Royalties and Contract Revenues
 LdnVai^Zh VcY XdcigVXi gZkZcjZh ^cXgZVhZY Wn #1-6 b^aa^dc ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id hVaZh,WVhZY b^aZhidcZ gZkZcjZ d[ #0-/ b^aa^dc
 gZXd\c^oZY ^c 1/05 VcY ]^\]Zg hVaZh d[ dji,a^XZchZY egdYjXih- LdnVai^Zh VcY XdcigVXi gZkZcjZh YZXgZVhZY ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id
 V #1-/ b^aa^dc hVaZh,WVhZY b^aZhidcZ eVnbZci lZ gZXZ^kZY ^c 1/03- QZ ZmeZXi gdnVai^Zh VcY XdcigVXi gZkZcjZh ^c 1/06 id YZXgZVhZ ha^\]ian XdbeVgZY
 id 1/05+ eg^bVg^an YjZ id i]Z hVaZh,WVhZY b^aZhidcZ gZkZcjZ lZ gZXd\c^oZY ^c 1/05-
 Cost of Product Sales
 =dhi d[ egdYjXi hVaZh ^cXgZVhZY ^c 1/05 XdbeVgZY id 1/04 eg^bVg^an YjZ id V X]Vc\Z ^c egdYjXi b^m VcY Vc ^cXgZVhZ ^c cZi egdYjXi hVaZh- =dhi d[
 egdYjXi hVaZh YZXgZVhZY ^c 1/04 XdbeVgZY id 1/03 eg^bVg^an YjZ id V YZXgZVhZ ^c VXfj^h^i^dc VXXdjci^c\ ^ckZcidgn [V^g kVajZ hiZe,je VY_jhibZcih d[
 #0/-4 b^aa^dc VcY V X]Vc\Z ^c egdYjXi b^m+ eVgi^Vaan d[[hZi Wn Vc ^cXgZVhZ ^c cZi egdYjXi hVaZh- Agdhh bVg\^ch Vh V eZgXZciV\Z d[ cZi egdYjXi hVaZh
 lZgZ 81-8$+ 81-1$ VcY 78-8$ ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- N]Z ^cXgZVhZ ^c djg \gdhh bVg\^c eZgXZciV\Z ^c 1/05 XdbeVgZY id 1/04 lVh
 eg^bVg^an YjZ id V X]Vc\Z ^c egdYjXi b^m- N]Z ^cXgZVhZ ^c djg \gdhh bVg\^c eZgXZciV\Z ^c 1/04 XdbeVgZY id 1/03 lVh eg^bVg^an YjZ id V X]Vc\Z ^c
 egdYjXi b^m VcY V YZXgZVhZ ^c VXfj^h^i^dc VXXdjci^c\ ^ckZcidgn [V^g kVajZ hiZe,je VY_jhibZcih- QZ ZmeZXi i]Vi djg \gdhh bVg\^c Vh V eZgXZciV\Z d[
 cZi egdYjXi hVaZh l^aa cdi X]Vc\Z bViZg^Vaan ^c 1/06 XdbeVgZY id 1/05-
 Selling, General and Administrative Expenses
 MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZh ^cXgZVhZY ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id Vc ^cXgZVhZ d[ #11-6 b^aa^dc ^c XdbeZchVi^dc,
 gZaViZY ZmeZchZh Yg^kZc Wn ]^\]Zg ]ZVYXdjci+ Vc ^cXgZVhZ d[ igVchVXi^dc VcY ^ciZ\gVi^dc ZmeZchZh gZaViZY id i]Z =ZaVidg ;Xfj^h^i^dc d[ #02-0 b^aa^dc+
 V dcZ,i^bZ XdcigVXi iZgb^cVi^dc [ZZ d[ #00-5 b^aa^dc id Za^b^cViZ [jijgZ gdnVain eVnbZcih gZaViZY id PnmZdh+ Vc ^cXgZVhZ d[ #7-4 b^aa^dc ^c aZ\Va [ZZh VcY
 ZmeZchZh gZaViZY id XZgiV^c aZ\Va egdXZZY^c\h VcY gZhigjXijg^c\+ VcY Vc ^cXgZVhZ ^c di]Zg ZmeZchZh gZaViZY id i]Z ZmeVch^dc VcY hjeedgi d[ djg
 Wjh^cZhh+ ^cXajY^c\ ZmeZchZh gZaViZY id i]Z aVjcX] d[ >Z[^iZa^d ^c i]Z O-M-+ eVgi^Vaan d[[hZi Wn V dcZ,i^bZ X]Vg\Z d[ #07-/ b^aa^dc ^c 1/04 [dg hZiiaZbZci
 d[ V XdcigVXi XaV^b a^VW^a^in- MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZh ^cXgZVhZY ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id Vc ^cXgZVhZ ^c
 XdbeZchVi^dc,gZaViZY ZmeZchZh d[ #12-5 b^aa^dc Yg^kZc Wn ]^\]Zg ]ZVYXdjci+ Vc ^cXgZVhZ ^c di]Zg ZmeZchZh gZaViZY id i]Z ZmeVch^dc d[ djg Wjh^cZhh
 d[ #17-8 b^aa^dc VcY V dcZ,i^bZ X]Vg\Z d[ #07-/ b^aa^dc [dg hZiiaZbZci d[ V XdcigVXi XaV^b dg^\^cVaan VhhZgiZY V\V^chi ;ojg J]VgbV eg^dg id i]Z ;ojg
 GZg\Zg+ eVgi^Vaan d[[hZi Wn V YZXgZVhZ ^c igVchVXi^dc VcY ^ciZ\gVi^dc ZmeZchZh d[ #16-4 b^aa^dc- QZ ZmeZXi hZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ
 ZmeZchZh ^c 1/06 id ^cXgZVhZ XdbeVgZY id 1/05+ eg^bVg^an YjZ id Vc ^cXgZVhZ ^c XdbeZchVi^dc,gZaViZY ZmeZchZh Yg^kZc Wn ]^\]Zg ]ZVYXdjci VcY
 ^cXgZVhZh ^c ZmeZchZh gZaViZY id i]Z egZeVgVi^dc [dg i]Z ediZci^Va O-M- XdbbZgX^Va aVjcX] d[ PnmZdh+ ]^\]Zg egdbdi^dc Xdhih VcY eVi^Zci VXXZhh VcY
 hjeedgi hZgk^XZh [dg RngZb+ VcY di]Zg ZmeZchZh gZaViZY id i]Z ZmeVch^dc VcY hjeedgi d[ djg Wjh^cZhh-

                                                                            86
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 NVWaZ d[ =dciZcih



 Research and Development Expenses
 LZhZVgX] VcY YZkZadebZci ZmeZchZh Xdch^hi eg^bVg^an d[ Xdhih gZaViZY id Xa^c^XVa hijY^Zh VcY djih^YZ hZgk^XZh+ eZghdccZa ZmeZchZh+ b^aZhidcZ
 eVnbZcih VcY di]Zg gZhZVgX] VcY YZkZadebZci Xdhih- =a^c^XVa hijYn VcY djih^YZ hZgk^XZh Xdhih gZaViZ eg^bVg^an id hZgk^XZh eZg[dgbZY Wn Xa^c^XVa
 gZhZVgX] dg\Vc^oVi^dch+ bViZg^Vah VcY hjeea^Zh+ VcY di]Zg i]^gY eVgin [ZZh- JZghdccZa ZmeZchZh gZaViZ eg^bVg^an id hVaVg^Zh+ WZcZ[^ih VcY h]VgZ,WVhZY
 XdbeZchVi^dc- Ii]Zg gZhZVgX] VcY YZkZadebZci ZmeZchZh eg^bVg^an ^cXajYZ dkZg]ZVY VaadXVi^dch Xdch^hi^c\ d[ kVg^djh hjeedgi VcY [VX^a^i^Zh,gZaViZY
 Xdhih- QZ Yd cdi igVX` [jaan,WjgYZcZY gZhZVgX] VcY YZkZadebZci ZmeZchZh dc V egd_ZXi,Wn,egd_ZXi WVh^h- QZ bVcV\Z djg gZhZVgX] VcY
 YZkZadebZci ZmeZchZh Wn ^YZci^[n^c\ i]Z gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh i]Vi lZ Vci^X^eViZ l^aa WZ eZg[dgbZY Yjg^c\ V \^kZc eZg^dY VcY i]Zc
 eg^dg^i^o^c\ Z[[dgih WVhZY dc djg VhhZhhbZci d[ l]^X] YZkZadebZci VXi^k^i^Zh VgZ ^bedgiVci id djg Wjh^cZhh VcY ]VkZ V gZVhdcVWaZ egdWVW^a^in d[
 hjXXZhh+ VcY Wn YncVb^XVaan VaadXVi^c\ gZhdjgXZh VXXdgY^c\an- QZ Vahd Xdci^cjVaan gZk^Zl djg YZkZadebZci e^eZa^cZ egd_ZXih VcY i]Z hiVijh d[ i]Z^g
 YZkZadebZci VcY+ Vh cZXZhhVgn+ gZVaadXViZ gZhdjgXZh Vbdc\ djg YZkZadebZci e^eZa^cZ egd_ZXih i]Vi lZ WZa^ZkZ l^aa WZhi hjeedgi i]Z [jijgZ \gdli]
 d[ djg Wjh^cZhh-
 N]Z [daadl^c\ iVWaZ egdk^YZh V WgZV`dji d[ djg gZhZVgX] VcY YZkZadebZci ZmeZchZh Wn bV_dg XViZ\dg^Zh d[ ZmeZchZ '^c i]djhVcYh(9

                                                                                                              Year Ended December 31,
                                                                                              2016                     2015                2014
 =a^c^XVa hijY^Zh VcY djih^YZ hZgk^XZh                                                #           0//+054       #             52+/68              30+658
 JZghdccZa ZmeZchZh                                                                                  36+858                   28+404              27+117
 G^aZhidcZ                                                                                             64/                    14+///                   ,
 Ii]Zg                                                                                               02+302                    6+548               4+073
 NdiVa                                                                                #           051+186       #          024+142     #          74+070

 LZhZVgX] VcY YZkZadebZci ZmeZchZh ^cXgZVhZY Wn #16-/ b^aa^dc ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id ^cXgZVhZY Xa^c^XVa hijY^Zh VcY djih^YZ
 hZgk^XZh Xdhih gZaViZY id i]gZZ J]VhZ 2 Xa^c^XVa ig^Vah [dg DTJ,00/ VcY YZkZadebZci d[ di]Zg haZZe egdYjXi XVcY^YViZh VcY ZmeZchZh gZaViZY id
 ^c^i^Vi^dc d[ V gdaa^c\ hjWb^hh^dc d[ Vc H>; [dg PnmZdh- JZghdccZa ZmeZchZh ^cXgZVhZY Wn #7-4 b^aa^dc ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id
 hVaVgn VcY WZcZ[^i,gZaViZY ZmeZchZh '^cXajY^c\ h]VgZ,WVhZY XdbeZchVi^dc( eg^bVg^an Yg^kZc Wn ^cXgZVhZY ]ZVYXdjci ^c hjeedgi d[ djg YZkZadebZci
 egd\gVbh VcY+ id V aZhhZg ZmiZci+ ^cXgZVhZY ]ZVYXdjci YjZ id i]Z =ZaVidg ;Xfj^h^i^dc- LZhZVgX] VcY YZkZadebZci ZmeZchZh ^cXgZVhZY Wn #4/-0
 b^aa^dc ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id V #14-/ b^aa^dc b^aZhidcZ ZmeZchZ i]Vi lVh ig^\\ZgZY Wn i]Z VXXZeiVcXZ [dg [^a^c\ Wn i]Z @>; d[ djg
 H>; [dg YZ[^Wgdi^YZ [dg PI> VcY ^cXgZVhZY Xa^c^XVa hijY^Zh VcY djih^YZ hZgk^XZh Xdhih Yg^kZc eg^bVg^an Wn ^c^i^Vi^dc d[ J]VhZ 2 Xa^c^XVa ig^Vah gZaVi^c\
 id DTJ,00/- JZghdccZa ZmeZchZh Y^Y cdi X]Vc\Z bViZg^Vaan ^c 1/04 XdbeVgZY id 1/03-
 @dg 1/06 VcY WZndcY+ lZ ZmeZXi i]Vi djg gZhZVgX] VcY YZkZadebZci ZmeZchZh l^aa Xdci^cjZ id ^cXgZVhZ [gdb ]^hidg^XVa aZkZah eVgi^XjaVgan Vh lZ
 egZeVgZ [dg V cjbWZg d[ Vci^X^eViZY gZ\jaVidgn hjWb^hh^dch+ ^c^i^ViZ VYY^i^dcVa Xa^c^XVa ig^Vah VcY gZaViZY YZkZadebZci ldg` VcY ediZci^Vaan VXfj^gZ
 g^\]ih id VYY^i^dcVa egdYjXi XVcY^YViZh- ; Y^hXjhh^dc d[ i]Z g^h`h VcY jcXZgiV^ci^Zh l^i] gZheZXi id djg gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh+
 ^cXajY^c\ XdbeaZi^c\ i]Z YZkZadebZci d[ djg egdYjXi XVcY^YViZh+ VcY i]Z XdchZfjZcXZh id djg Wjh^cZhh+ [^cVcX^Va edh^i^dc VcY \gdli] egdheZXih
 XVc WZ [djcY ^c vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Acquired In-Process Research and Development
 Cc 1/05+ VXfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci+ dg CJL%>+ ZmeZchZ lVh gZaViZY id je[gdci VcY dei^dc eVnbZcih- Cc GVgX] 1/05 lZ
 dWiV^cZY ^ciZaaZXijVa egdeZgin VcY `cdl,]dl gZaViZY id gZXdbW^cVci Xg^hVciVheVhZ [dg V eVnbZci d[ #7-7 b^aa^dc- Cc Djan 1/05 lZ bVYZ V eVnbZci d[
 #04-/ b^aa^dc id J[ZcZm CcX-+ dg J[ZcZm+ jcYZg Vc V\gZZbZci l]ZgZWn J[ZcZm \gVciZY jh ldgaYl^YZ g^\]ih id YZkZade VcY XdbbZgX^Va^oZ bjai^eaZ ZVgan,
 hiV\Z ]ZbVidad\n egdYjXi XVcY^YViZh VcY Vc dei^dc [dg jh id cZ\di^ViZ V a^XZchZ [dg V gZXdbW^cVci eZ\VheVg\VhZ egdYjXi XVcY^YViZ-
 Cc 1/03+ lZ VXfj^gZY i]Z g^\]ih id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh [gdb M^\bV,NVj J]VgbVXZji^XVah+ CcX-+ dg M^\bV,NVj+ [dg Vc je[gdci eVnbZci d[ #64-/
 b^aa^dc+ VcY lZ Vahd VXfj^gZY i]Z ldgaYl^YZ YZkZadebZci+ bVcj[VXijg^c\ VcY XdbbZgX^Va g^\]ih id DTJ,00/+ di]Zg i]Vc ^c XZgiV^c _jg^hY^Xi^dch ^c
 ;h^V l]ZgZ ME <^de]VgbVXZji^XVah =d-+ FiY+ dg ME+ gZiV^cZY g^\]ih+ [dg Vc je[gdci eVnbZci d[ #014-/ b^aa^dc id ;Zg^Va- QZ Vahd eV^Y V #1-/ b^aa^dc
 b^aZhidcZ id ME+ l]^X] lVh ig^\\ZgZY dc Vhh^\cbZci d[ i]Z DTJ,00/ g^\]ih [gdb ;Zg^Va id jh+ VcY #/-5 b^aa^dc ^c a^XZchZ [ZZh ^c XdccZXi^dc l^i] DTJ,
 305-
 Intangible Asset Amortization
 CciVc\^WaZ VhhZi Vbdgi^oVi^dc ^cXgZVhZY ^c 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id i]Z XdbbZcXZbZci d[ Vbdgi^oVi^dc d[ i]Z >Z[^iZa^d O-M- ^ciVc\^WaZ
 VhhZi jedc @>; VeegdkVa ^c GVgX] 1/05+ eVgi^Vaan d[[hZi Wn i]Z XZhhVi^dc d[ Vbdgi^oVi^dc d[ XZgiV^c ^ciVc\^WaZ VhhZih i]Vi lZgZ [jaan Vbdgi^oZY ^c
 1/04 VcY i]Z ^beVXi d[ [dgZ^\c ZmX]Vc\Z gViZh dc Zjgd,YZcdb^cViZY VhhZih- CciVc\^WaZ VhhZi Vbdgi^oVi^dc YZXgZVhZY ^c 1/04 XdbeVgZY id 1/03+ YjZ
 id i]Z XZhhVi^dc d[ Vbdgi^oVi^dc d[ ^ciVc\^WaZ

                                                                           87
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 NVWaZ d[ =dciZcih



 VhhZih XaVhh^[^ZY Vh VhhZih ]ZaY [dg hVaZ Vh d[ >ZXZbWZg 20+ 1/03 VcY XZgiV^c di]Zg ^ciVc\^WaZ VhhZih i]Vi lZgZ [jaan Vbdgi^oZY ^c 1/03 VcY i]Z ^beVXi
 d[ [dgZ^\c ZmX]Vc\Z gViZh dc Zjgd YZcdb^cViZY VhhZih- CciVc\^WaZ VhhZi Vbdgi^oVi^dc ^h ZmeZXiZY id ^cXgZVhZ ^c 1/06 XdbeVgZY id 1/05+ hjW_ZXi id
 @>; VeegdkVa d[ PnmZdh VcY XdbbZcXZbZci d[ Vbdgi^oVi^dc d[ i]Z gZaViZY ^ciVc\^WaZ VhhZi-
 Impairment Charges
 Cc i]Z [djgi] fjVgiZg d[ 1/04+ lZ gZXdgYZY Vc ^beV^gbZci X]Vg\Z d[ #20-4 b^aa^dc gZaViZY id djg VXfj^gZY CJL%> VhhZi Vh V gZhjai d[ djg YZX^h^dc id
 iZgb^cViZ V e^kdiVa J]VhZ 1 Xa^c^XVa ig^Va d[ DTJ,305- Cc 1/03+ lZ gZXdgYZY ^beV^gbZci X]Vg\Zh d[ #28-3 b^aa^dc gZaViZY id XZgiV^c egdYjXih VXfj^gZY Vh
 eVgi d[ i]Z ?OM; ;Xfj^h^i^dc i]Vi lZ hdaY ^c GVgX] 1/04-
 Interest Expense, Net
 Ic Djan 01+ 1/05+ lZ ZciZgZY ^cid i]Z VbZcYZY XgZY^i V\gZZbZci+ l]^X] egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc+ d[ l]^X] #0-/ W^aa^dc
 lVh YgVlc id eVgi^Vaan [jcY i]Z =ZaVidg ;Xfj^h^i^dc VcY #74/-/ b^aa^dc gZbV^cZY djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05+ VcY V #64/-/ b^aa^dc iZgb adVc
 [VX^a^in+ d[ l]^X] #601-8 b^aa^dc eg^cX^eVa Vbdjci gZbV^cZY djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05- CciZgZhi ZmeZchZ+ cZi ^cXgZVhZY Wn #4-/ b^aa^dc ^c
 1/05 XdbeVgZY id 1/04+ eg^bVg^an YjZ id i]Z ^cXgZVhZ ^c djg VkZgV\Z YZWi WVaVcXZ VcY ^cXgZVhZY ^ciZgZhi gViZh dc Wdggdl^c\h jcYZg i]Z VbZcYZY
 XgZY^i V\gZZbZci Vh XdbeVgZY id i]Z 1/04 XgZY^i V\gZZbZci- CciZgZhi ZmeZchZ+ cZi ^cXgZVhZY Wn #3-1 b^aa^dc ^c 1/04 XdbeVgZY id 1/03+ eg^bVg^an YjZ id
 i]Z ^cXajh^dc d[ V [jaa nZVg d[ ^ciZgZhi ZmeZchZ dc i]Z 1/10 HdiZh+ eVgi^Vaan d[[hZi Wn V gZYjXi^dc ^c ^ciZgZhi gViZh dc Wdggdl^c\h jcYZg i]Z 1/04 XgZY^i
 V\gZZbZci XdbeVgZY id djg egZk^djh XgZY^i V\gZZbZci- Cc ;j\jhi 1/03+ lZ ^hhjZY #464-/ b^aa^dc eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh+ l]^X] gZbV^cZY
 djihiVcY^c\ Vi >ZXZbWZg 20+ 1/05- Cc DjcZ 1/04+ lZ gZ[^cVcXZY djg Zm^hi^c\ iZgb adVch VcY gZkdak^c\ XgZY^i [VX^a^in l]^X] gZYjXZY i]Z ^ciZgZhi gViZ
 dc djg iZgb adVc VcY gZkdak^c\ XgZY^i [VX^a^in Wdggdl^c\h- QZ ZmeZXi ^ciZgZhi ZmeZchZ l^aa WZ ]^\]Zg ^c 1/06 XdbeVgZY id 1/05 eg^bVg^an YjZ id i]Z
 ^cXgZVhZ ^c djg VkZgV\Z YZWi WVaVcXZ-
 Foreign Currency Gain
 @dgZ^\c XjggZcXn \V^c ^h eg^bVg^an gZaViZY id i]Z igVchaVi^dc d[ Zjgd YZcdb^cViZY cZi bdcZiVgn a^VW^a^i^Zh+ ^cXajY^c\ ^ciZgXdbeVcn WVaVcXZh+ ]ZaY Wn
 hjWh^Y^Vg^Zh l^i] V O-M- YdaaVg [jcXi^dcVa XjggZcXn-
 Loss on Extinguishment and Modification of Debt
 Cc 1/05+ lZ gZXdgYZY V adhh d[ #/-5 b^aa^dc ^c XdccZXi^dc l^i] djg Zcign ^cid i]Z VbZcYZY XgZY^i V\gZZbZci ^c Djan 1/05+ l]^X] lVh eg^bVg^an
 Xdbeg^hZY d[ cZl i]^gY eVgin [ZZh VhhdX^ViZY l^i] i]Z bdY^[^ZY YZWi- Cc 1/04+ lZ gZXdgYZY V adhh d[ #05-7 b^aa^dc ^c XdccZXi^dc l^i] i]Z gZ[^cVcX^c\
 d[ djg iZgb adVch VcY gZkdak^c\ XgZY^i [VX^a^in ^c DjcZ 1/04+ l]^X] lVh Xdbeg^hZY d[ #05-/ b^aa^dc gZaViZY id i]Z ZmeZch^c\ d[ jcVbdgi^oZY YZ[ZggZY
 [^cVcX^c\ Xdhih VcY jcVbdgi^oZY dg^\^cVa ^hhjZ Y^hXdjci VhhdX^ViZY l^i] Zmi^c\j^h]ZY YZWi VcY #/-7 b^aa^dc gZaViZY id cZl i]^gY eVgin [ZZh
 VhhdX^ViZY l^i] i]Z bdY^[^XVi^dc d[ Zm^hi^c\ YZWi-
 Income Tax Provision
 Ijg ^cXdbZ iVm egdk^h^dc lVh #024-1 b^aa^dc+ #0/5-3 b^aa^dc VcY #83-1 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- N]Z Z[[ZXi^kZ iVm gViZh [dg 1/05+
 1/04 VcY 1/03 lZgZ 14-3$+ 13-3$ VcY 51-1$+ gZheZXi^kZan- ;[iZg VY_jhi^c\ i]Z ^cXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc [dg 1/03 Wn ZmXajY^c\ V idiVa d[
 #1/1-/ b^aa^dc ^c je[gdci VcY b^aZhidcZ eVnbZcih [dg g^\]ih id DTJ,00/ VcY id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh+ l]^X] lZgZ VXfj^gZY Wn djg hjWh^Y^Vg^Zh
 ^c V cdc,iVmVWaZ _jg^hY^Xi^dc+ i]Z Z[[ZXi^kZ iVm gViZ dc i]Z gZhjai^c\ ^cXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc [dg 1/03 lVh 15-6$- N]Z Z[[ZXi^kZ iVm gViZh [dg
 1/05 VcY 1/04 lZgZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ d[ 01-4$+ eg^bVg^an YjZ id ^cXdbZ iVmVWaZ Vi V gViZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ+
 jcgZXd\c^oZY iVm WZcZ[^ih VcY kVg^djh ZmeZchZh cdi YZYjXi^WaZ [dg iVm ejgedhZh+ eVgi^Vaan d[[hZi Wn dg^\^cVi^c\ iVm XgZY^ih+ YZYjXi^dch VkV^aVWaZ ^c
 gZaVi^dc id hjWh^Y^Vgn Zfj^in VcY gZYjXi^dch ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch- N]Z Z[[ZXi^kZ iVm gViZ [dg 1/03 lVh ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn
 gViZ d[ 01-4$+ eg^bVg^an YjZ id ^cXdbZ iVmVWaZ Vi V gViZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ+ jcgZXd\c^oZY iVm WZcZ[^ih+ XjggZci nZVg adhhZh ^c hdbZ
 _jg^hY^Xi^dch [dg l]^X] cd iVm WZcZ[^i ^h VkV^aVWaZ VcY kVg^djh ZmeZchZh cdi YZYjXi^WaZ [dg iVm ejgedhZh+ eVgi^Vaan d[[hZi Wn X]Vc\Zh ^c O-M- hiViZ
 kVajVi^dc VaadlVcXZh VcY WZcZ[^ih [gdb XZgiV^c dg^\^cVi^c\ ^cXdbZ iVm XgZY^ih- N]Z ^cXgZVhZ ^c i]Z Z[[ZXi^kZ iVm gViZ ^c 1/05 XdbeVgZY id 1/04 lVh
 eg^bVg^an YjZ id V YZXgZVhZ ^c i]Z ^beVXi d[ gZYjXi^dch ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch VcY V YZXgZVhZ ^c dg^\^cVi^c\ iVm XgZY^ih+ eVgi^Vaan d[[hZi Wn
 X]Vc\Zh ^c ^cXdbZ b^m Vbdc\ i]Z kVg^djh _jg^hY^Xi^dch ^c l]^X] lZ deZgViZ- N]Z YZXgZVhZ ^c i]Z Z[[ZXi^kZ iVm gViZ ^c 1/04 XdbeVgZY id 1/03 lVh
 eg^bVg^an YjZ id X]Vc\Zh ^c ^cXdbZ b^m Vbdc\ i]Z kVg^djh _jg^hY^Xi^dch ^c l]^X] lZ deZgViZ+ ^cXgZVhZY dg^\^cVi^c\ iVm XgZY^ih+ ^cXgZVhZY YZYjXi^dch
 VkV^aVWaZ ^c gZaVi^dc id hjWh^Y^Vgn Zfj^in VcY gZYjXi^dch ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch+ eVgi^Vaan d[[hZi Wn i]Z ^beVXi d[ ^beV^gbZcih d[
 ^ciVc\^WaZ VhhZih VcY X]Vc\Zh ^c O-M- hiViZ kVajVi^dc VaadlVcXZh Yjg^c\ 1/03-
 Equity in Net Loss of Investee
 ?fj^in ^c cZi adhh d[ ^ckZhiZZ gZaViZh id djg h]VgZ ^c i]Z cZi adhh d[ V XdbeVcn ^c l]^X] lZ ]VkZ bVYZ Vc ^ckZhibZci VXXdjciZY [dg jcYZg i]Z
 Zfj^in bZi]dY d[ VXXdjci^c\-

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 Net Loss Attributable to Noncontrolling Interests
 HZi adhh Viig^WjiVWaZ id cdcXdcigdaa^c\ ^ciZgZhih gZaViZh id i]Z edgi^dc d[ i]Z cZi adhh d[ AZci^jb cdi Viig^WjiVWaZ+ Y^gZXian dg ^cY^gZXian+ id djg
 dlcZgh]^e ^ciZgZhi- >jg^c\ 1/04+ lZ VXfj^gZY i]Z gZbV^c^c\ cdcXdcigdaa^c\ ^ciZgZhih ^c AZci^jb-


 Liquidity and Capital Resources
 ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY XVh]+ XVh] Zfj^kVaZcih VcY ^ckZhibZcih d[ #315-/ b^aa^dc+ Wdggdl^c\ VkV^aVW^a^in jcYZg djg gZkdak^c\ XgZY^i [VX^a^in
 d[ #288-4 b^aa^dc VcY adc\,iZgb YZWi eg^cX^eVa Vbdjci d[ #1-0 W^aa^dc- Ijg adc\,iZgb YZWi ^cXajYZY #74/-/ b^aa^dc ^c djihiVcY^c\ Wdggdl^c\h jcYZg
 djg gZkdak^c\ XgZY^i [VX^a^in+ #601-8 b^aa^dc V\\gZ\ViZ eg^cX^eVa Vbdjci iZgb adVc VcY #464-/ b^aa^dc eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh- >jg^c\ 1/05+
 1/04 VcY 1/03+ lZ \ZcZgViZY XVh] [adlh [gdb deZgVi^dch d[ #48/-4 b^aa^dc+ #420-8 b^aa^dc VcY #3/6-5 b^aa^dc+ gZheZXi^kZan+ VcY lZ ZmeZXi id Xdci^cjZ
 id \ZcZgViZ edh^i^kZ XVh] [adl [gdb deZgVi^dch-
 Ic Djan 01+ 1/05+ lZ XdbeaZiZY i]Z =ZaVidg ;Xfj^h^i^dc- N]Z V\\gZ\ViZ Xdhi id jh d[ i]Z =ZaVidg ;Xfj^h^i^dc lVh #0-4 W^aa^dc- Ic Djan 01+ 1/05+ lZ
 ZciZgZY ^cid i]Z VbZcYZY XgZY^i V\gZZbZci+ l]^X] egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc gZeaVX^c\ djg eg^dg gZkdak^c\ XgZY^i [VX^a^in
 d[ #64/-/ b^aa^dc+ VcY V #64/-/ b^aa^dc iZgb adVc [VX^a^in+ d[ l]^X] #601-8 b^aa^dc eg^cX^eVa Vbdjci lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05- QZ jhZY
 i]Z egdXZZYh d[ #0-/ W^aa^dc d[ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc VcY ZmeZXi id
 jhZ i]Z egdXZZYh [gdb [jijgZ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ ^[ Vcn+ [dg \ZcZgVa XdgedgViZ ejgedhZh+ ^cXajY^c\ XdgedgViZ YZkZadebZci
 VXi^k^i^Zh- Cc i]Z [djgi] fjVgiZg d[ 1/05 lZ bVYZ V #04/-/ b^aa^dc gZeVnbZci d[ Wdggdl^c\h jcYZg djg gZkdak^c\ XgZY^i [VX^a^in-
 QZ WZa^ZkZ i]Vi djg Zm^hi^c\ XVh] WVaVcXZh+ XVh] lZ ZmeZXi id \ZcZgViZ [gdb deZgVi^dch VcY [jcYh VkV^aVWaZ jcYZg djg gZkdak^c\ XgZY^i [VX^a^in l^aa
 WZ hj[[^X^Zci id [jcY djg deZgVi^dch VcY id bZZi djg Zm^hi^c\ dWa^\Vi^dch [dg i]Z [dgZhZZVWaZ [jijgZ- N]Z VYZfjVXn d[ djg XVh] gZhdjgXZh YZeZcYh
 dc bVcn Vhhjbei^dch+ ^cXajY^c\ eg^bVg^an djg Vhhjbei^dch l^i] gZheZXi id egdYjXi hVaZh VcY ZmeZchZh+ Vh lZaa Vh i]Z di]Zg [VXidgh hZi [dgi] ^c
 vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[
 RngZb MVaZhw VcY “To continue to grow our business, we will need to commit substantial resources, which could result in future losses or
 otherwise limit our opportunities or affect our ability to operate our business.” Ijg Vhhjbei^dch bVn egdkZ id WZ lgdc\ dg di]Zg [VXidgh bVn
 VYkZghZan V[[ZXi djg Wjh^cZhh+ VcY Vh V gZhjai lZ XdjaY Zm]Vjhi dg h^\c^[^XVcian YZXgZVhZ djg VkV^aVWaZ XVh] gZhdjgXZh+ VcY lZ bVn cdi WZ VWaZ id
 \ZcZgViZ hj[[^X^Zci XVh] id hZgk^XZ djg YZWi dWa^\Vi^dch l]^X] XdjaY+ Vbdc\ di]Zg i]^c\h+ [dgXZ jh id gV^hZ VYY^i^dcVa [jcYh VcY.dg [dgXZ jh id
 gZYjXZ djg ZmeZchZh+ Z^i]Zg d[ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh-
 Nd Xdci^cjZ id \gdl djg Wjh^cZhh dkZg i]Z adc\Zg iZgb+ lZ eaVc id Xdbb^i hjWhiVci^Va gZhdjgXZh id egdYjXi VXfj^h^i^dc VcY ^c,a^XZch^c\+ egdYjXi
 YZkZadebZci+ Xa^c^XVa ig^Vah d[ egdYjXi XVcY^YViZh VcY ZmeVch^dc d[ djg XdbbZgX^Va+ bVcj[VXijg^c\ VcY di]Zg deZgVi^dch- Cc i]^h gZ\VgY+ lZ ]VkZ
 ZkVajViZY VcY ZmeZXi id Xdci^cjZ id ZkVajViZ V l^YZ VggVn d[ higViZ\^X igVchVXi^dch Vh eVgi d[ djg higViZ\n id VXfj^gZ dg ^c,a^XZchZ VcY YZkZade
 VYY^i^dcVa egdYjXih VcY egdYjXi XVcY^YViZh- ;Xfj^h^i^dc deedgijc^i^Zh i]Vi lZ ejghjZ XdjaY bViZg^Vaan V[[ZXi djg a^fj^Y^in VcY XVe^iVa gZhdjgXZh
 VcY bVn gZfj^gZ jh id ^cXjg VYY^i^dcVa ^cYZWiZYcZhh+ hZZ` Zfj^in XVe^iVa dg Wdi]- Cc VYY^i^dc+ lZ bVn ejghjZ cZl deZgVi^dch dg Xdci^cjZ i]Z
 ZmeVch^dc d[ djg Zm^hi^c\ deZgVi^dch- ;XXdgY^c\an+ lZ ZmeZXi id Xdci^cjZ id deedgijc^hi^XVaan hZZ` VXXZhh id VYY^i^dcVa XVe^iVa id a^XZchZ dg VXfj^gZ
 VYY^i^dcVa egdYjXih+ egdYjXi XVcY^YViZh dg XdbeVc^Zh id ZmeVcY djg deZgVi^dch dg [dg \ZcZgVa XdgedgViZ ejgedhZh- LV^h^c\ VYY^i^dcVa XVe^iVa XdjaY
 WZ VXXdbea^h]ZY i]gdj\] dcZ dg bdgZ ejWa^X dg eg^kViZ YZWi dg Zfj^in [^cVcX^c\h+ XdaaVWdgVi^dch dg eVgicZg^c\ VggVc\ZbZcih- ;cn Zfj^in [^cVcX^c\
 ldjaY WZ Y^aji^kZ id djg h]VgZ]daYZgh+ VcY i]Z XdchZci d[ i]Z aZcYZgh jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci XdjaY WZ gZfj^gZY [dg XZgiV^c [^cVcX^c\h-
 Cc GVn 1/02+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY V h]VgZ gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ lZgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg d[
 dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ gZejgX]VhZ eg^XZ d[ je id #1// b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- Cc ;j\jhi 1/04+ lZ XdbeaZiZY
 gZejgX]VhZh jcYZg i]Z GVn 1/02 h]VgZ gZejgX]VhZ egd\gVb- Cc HdkZbWZg 1/04+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY Vcdi]Zg h]VgZ gZejgX]VhZ egd\gVb
 ejghjVci id l]^X] lZ lZgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg d[ dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ ejgX]VhZ eg^XZ d[ je id #2// b^aa^dc+
 ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- Cc MZeiZbWZg 1/05+ lZ XdbeaZiZY gZejgX]VhZh jcYZg i]Z HdkZbWZg 1/04 h]VgZ gZejgX]VhZ egd\gVb- Cc
 HdkZbWZg 1/05+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY V cZl h]VgZ gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ VgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg d[
 dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ ejgX]VhZ eg^XZ d[ je id #2// b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- OcYZg i]^h egd\gVb+ l]^X] ]Vh
 cd Zme^gVi^dc YViZ+ lZ bVn gZejgX]VhZ dgY^cVgn h]VgZh [gdb i^bZ id i^bZ dc i]Z deZc bVg`Zi- N]Z i^b^c\ VcY Vbdjci d[ gZejgX]VhZh l^aa YZeZcY dc
 V kVg^Zin d[ [VXidgh+ ^cXajY^c\ i]Z eg^XZ d[ djg dgY^cVgn h]VgZh+ VaiZgcVi^kZ ^ckZhibZci deedgijc^i^Zh+ gZhig^Xi^dch jcYZg i]Z VbZcYZY XgZY^i
 V\gZZbZci+ XdgedgViZ VcY gZ\jaVidgn gZfj^gZbZcih VcY bVg`Zi XdcY^i^dch- N]Z cZl h]VgZ gZejgX]VhZ egd\gVb bVn WZ bdY^[^ZY+ hjheZcYZY dg
 Y^hXdci^cjZY Vi Vcn i^bZ l^i]dji eg^dg cdi^XZ- Cc 1/05+ jcYZg i]Z HdkZbWZg 1/04 VcY HdkZbWZg 1/05 gZejgX]VhZ egd\gVbh+ lZ heZci V idiVa d[
 #167-2 b^aa^dc id gZejgX]VhZ 1-1 b^aa^dc d[ djg dgY^cVgn h]VgZh Vi Vc VkZgV\Z idiVa ejgX]VhZ eg^XZ+ ^cXajY^c\ Wgd`ZgV\Z Xdbb^hh^dch+ d[ #013-/8 eZg
 h]VgZ- ;aa dgY^cVgn h]VgZh gZejgX]VhZY lZgZ XVcXZaZY- ;h d[ >ZXZbWZg 20+ 1/05+ i]Z gZbV^c^c\ Vbdjci Vji]dg^oZY jcYZg i]Z HdkZbWZg 1/05 h]VgZ
 gZejgX]VhZ egd\gVb lVh #170-4 b^aa^dc-

                                                                             0//
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 NVWaZ d[ =dciZcih



 N]Z [daadl^c\ iVWaZ h]dlh V hjbbVgn d[ djg XVh] [adlh [dg i]Z eZg^dYh ^cY^XViZY '^c i]djhVcYh(9

                                                                                                             Year Ended December 31,
                                                                                           2016                       2015                  2014
 HZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh                                        #               48/+425     #              420+832    #          3/6+5/5
 HZi XVh] jhZY ^c ^ckZhi^c\ VXi^k^i^Zh                                                       '0+638+2//(                      '1+144(         '0+/56+538(
 HZi XVh] egdk^YZY Wn 'jhZY ^c( [^cVcX^c\ VXi^k^i^Zh                                              43/+876                '103+212(                 600+/23
 ?[[ZXi d[ ZmX]Vc\Z gViZh dc XVh] VcY XVh] Zfj^kVaZcih                                             '4+/34(                   '0/+511(               '2+342(
 HZi ^cXgZVhZ 'YZXgZVhZ( ^c XVh] VcY XVh] Zfj^kVaZcih                             #            '511+711( #                   2/3+632    #           36+427

 HZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh d[ #48/-4 b^aa^dc ^c 1/05 gZaViZY id cZi ^cXdbZ d[ #285-7 b^aa^dc+ VY_jhiZY [dg je[gdci VcY dei^dc eVnbZcih
 idiVa^c\ #12-7 b^aa^dc ^c XdccZXi^dc l^i] djg VXfj^h^i^dc d[ CJL%> VhhZih VcY cdc,XVh] ^iZbh d[ #081-6 b^aa^dc eg^bVg^an gZaViZY id ^ciVc\^WaZ VhhZi
 Vbdgi^oVi^dc+ h]VgZ,WVhZY XdbeZchVi^dc VcY Vbdgi^oVi^dc d[ YZWi Y^hXdjci+ YZ[ZggZY [^cVcX^c\ Xdhih VcY YZ[ZggZY ^cXdbZ iVmZh- N]^h lVh eVgi^Vaan
 d[[hZi Wn #11-6 b^aa^dc d[ cZi XVh] dji[adl gZaViZY id X]Vc\Zh ^c deZgVi^c\ VhhZih VcY a^VW^a^i^Zh- HZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh ^c 1/04
 gZaViZY id cZi ^cXdbZ d[ #218-4 b^aa^dc+ VY_jhiZY [dg cdc,XVh] ^iZbh d[ #1/0-3 b^aa^dc eg^bVg^an gZaViZY id ^ciVc\^WaZ VhhZi Vbdgi^oVi^dc+ h]VgZ,WVhZY
 XdbeZchVi^dc ZmeZchZ+ ^beV^gbZci X]Vg\Zh+ Vbdgi^oVi^dc d[ YZWi Y^hXdjci VcY YZ[ZggZY [^cVcX^c\ Xdhih VcY adhh dc Zmi^c\j^h]bZci VcY
 bdY^[^XVi^dc d[ YZWi- HZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh ^c 1/03 gZaViZY id cZi ^cXdbZ d[ #46-2 b^aa^dc+ VY_jhiZY [dg je[gdci VcY b^aZhidcZ
 eVnbZcih idiVa^c\ #1/1-5 b^aa^dc eg^bVg^an ^c XdccZXi^dc l^i] djg VXfj^h^i^dc d[ g^\]ih id DTJ,00/ VcY id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh VcY cdc,XVh]
 ^iZbh d[ #1/7-1 b^aa^dc eg^bVg^an gZaViZY id ^ciVc\^WaZ VhhZi Vbdgi^oVi^dc+ h]VgZ,WVhZY XdbeZchVi^dc ZmeZchZ+ ^beV^gbZci X]Vg\Zh+ Vbdgi^oVi^dc d[
 YZWi Y^hXdjci VcY YZ[ZggZY [^cVcX^c\ Xdhih+ VXfj^h^i^dc VXXdjci^c\ ^ckZcidgn [V^g kVajZ hiZe,je VY_jhibZcih VcY YZ[ZggZY ^cXdbZ iVmZh- N]^h lVh
 eVgi^Vaan d[[hZi Wn #5/-4 b^aa^dc d[ cZi XVh] dji[adl gZaViZY id X]Vc\Zh ^c deZgVi^c\ VhhZih VcY a^VW^a^i^Zh l]^X] ^cXajYZY Vc ^cXgZVhZ d[ #44-/ b^aa^dc
 ^c djg VXXdjcih gZXZ^kVWaZ+ eg^bVg^an YjZ id Vc ^cXgZVhZ ^c hVaZh-
 HZi XVh] jhZY ^c ^ckZhi^c\ VXi^k^i^Zh ^c 1/05 eg^bVg^an gZaViZY id i]Z =ZaVidg ;Xfj^h^i^dc [dg #0-4 W^aa^dc+ V #04/-/ b^aa^dc b^aZhidcZ eVnbZci id M^\bV,
 NVj i]Vi lVh ig^\\ZgZY Wn i]Z @>; VeegdkVa d[ >Z[^iZa^d dc GVgX] 2/+ 1/05+ ejgX]VhZ d[ ^ckZhibZcih d[ #54-2 b^aa^dc VcY je[gdci VcY dei^dc
 eVnbZcih d[ #12-7 b^aa^dc id VXfj^gZ CJL%> VhhZih- HZi XVh] jhZY ^c ^ckZhi^c\ VXi^k^i^Zh ^c 1/04 gZaViZY id ejgX]VhZh d[ egdeZgin VcY Zfj^ebZci d[
 #25-/ b^aa^dc eg^bVg^an gZaViZY id i]Z XdchigjXi^dc d[ V bVcj[VXijg^c\ VcY YZkZadebZci [VX^a^in ^c CgZaVcY+ eVgi^Vaan d[[hZi Wn cZi egdXZZYh d[ #22-6
 b^aa^dc [gdb i]Z hVaZ d[ XZgiV^c egdYjXih VcY i]Z gZaViZY Wjh^cZhh i]Vi lZ dg^\^cVaan VXfj^gZY Vh eVgi d[ i]Z ?OM; ;Xfj^h^i^dc- HZi XVh] jhZY ^c
 ^ckZhi^c\ VXi^k^i^Zh ^c 1/03 eg^bVg^an gZaViZY id i]Z [jcY^c\ d[ i]Z AZci^jb ;Xfj^h^i^dc+ i]Z VXfj^h^i^dc d[ g^\]ih id DTJ,00/ VcY id YZ[^Wgdi^YZ ^c i]Z
 ;bZg^XVh VcY+ id V aZhhZg ZmiZci+ ZmeZcY^ijgZh gZaViZY id egdeZgin VcY Zfj^ebZci-
 HZi XVh] egdk^YZY Wn [^cVcX^c\ VXi^k^i^Zh ^c 1/05 eg^bVg^an gZaViZY id cZi egdXZZYh [gdb ^hhjVcXZ d[ YZWi d[ #883-5 b^aa^dc VcY egdXZZYh d[ #13-1
 b^aa^dc [gdb ZbeadnZZ Zfj^in ^cXZci^kZ VcY ejgX]VhZ eaVch+ eVgi^Vaan d[[hZi Wn #167-2 b^aa^dc jhZY id gZejgX]VhZ djg dgY^cVgn h]VgZh jcYZg djg
 h]VgZ gZejgX]VhZ egd\gVb+ #04/-/ b^aa^dc VcY #17-2 b^aa^dc gZeVnbZcih d[ Wdggdl^c\h jcYZg djg gZkdak^c\ XgZY^i [VX^a^in VcY adc\,iZgb YZWi+
 gZheZXi^kZan+ VcY eVnbZci d[ ZbeadnZZ l^i]]daY^c\ iVmZh d[ #10-1 b^aa^dc gZaViZY id h]VgZ,WVhZY VlVgYh- HZi XVh] jhZY ^c [^cVcX^c\ VXi^k^i^Zh ^c
 1/04 eg^bVg^an gZaViZY id gZeVnbZcih d[ adc\,iZgb YZWi d[ #8/4-7 b^aa^dc eg^bVg^an [dg i]Z idiVa eg^cX^eVa Vbdjci d[ iZgb adVch djihiVcY^c\ jcYZg V
 egZk^djh XgZY^i V\gZZbZci+ gZeVnbZci d[ #05/-/ b^aa^dc d[ Wdggdl^c\h jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in egdk^YZY [dg jcYZg i]Z 1/04 XgZY^i
 V\gZZbZci+ #50-5 b^aa^dc jhZY id gZejgX]VhZ djg dgY^cVgn h]VgZh jcYZg djg egZk^djh VcY XjggZci h]VgZ gZejgX]VhZ egd\gVbh VcY eVnbZci d[
 ZbeadnZZ l^i]]daY^c\ iVmZh d[ #15-0 b^aa^dc gZaViZY id h]VgZ,WVhZY VlVgYh+ eVgi^Vaan d[[hZi Wn egdXZZYh [gdb Wdggdl^c\h idiVa^c\ #787-5 b^aa^dc
 jcYZg i]Z 1/04 XgZY^i V\gZZbZci VcY egdXZZYh d[ #3/-4 b^aa^dc [gdb ZbeadnZZ Zfj^in ^cXZci^kZ VcY ejgX]VhZ eaVch- HZi XVh] egdk^YZY Wn [^cVcX^c\
 VXi^k^i^Zh ^c 1/03 eg^bVg^an gZaViZY id cZi egdXZZYh d[ #0+083-3 b^aa^dc [gdb adc\,iZgb YZWi VcY egdXZZYh d[ #47-4 b^aa^dc [gdb ZbeadnZZ Zfj^in
 ^cXZci^kZ VcY ejgX]VhZ eaVch VcY ZmZgX^hZ d[ lVggVcih+ eVgi^Vaan d[[hZi Wn gZeVnbZci d[ #2//-/ b^aa^dc Wdggdl^c\h jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in
 egdk^YZY [dg jcYZg V egZk^djh XgZY^i V\gZZbZci+ #026-/ b^aa^dc [dg i]Z VXfj^h^i^dc d[ cdcXdcigdaa^c\ ^ciZgZhih ^c AZci^jb+ #24-0 b^aa^dc ^c gZheZXi d[
 i]Z eVnbZci d[ i]Z Xdci^c\Zci Xdch^YZgVi^dc ^c XdccZXi^dc l^i] i]Z ?OM; ;Xfj^h^i^dc VcY #31-1 b^aa^dc jhZY id gZejgX]VhZ djg dgY^cVgn h]VgZh
 jcYZg djg egZk^djh h]VgZ gZejgX]VhZ egd\gVb-

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 Ic DjcZ 07+ 1/04+ DVoo J]VgbVXZji^XVah eaX+ Vh \jVgVcidg+ VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh+ Vh WdggdlZgh+ ZciZgZY ^cid i]Z 1/04 XgZY^i
 V\gZZbZci i]Vi egdk^YZY [dg V #64/-/ b^aa^dc eg^cX^eVa Vbdjci iZgb adVc+ l]^X] lVh YgVlc ^c [jaa Vi Xadh^c\+ VcY V #64/-/ b^aa^dc gZkdak^c\ XgZY^i
 [VX^a^in+ d[ l]^X] #05/-/ b^aa^dc lVh YgVlc Vi Xadh^c\ VcY hjWhZfjZcian gZeV^Y- QZ jhZY i]Z egdXZZYh [gdb ^c^i^Va Wdggdl^c\h jcYZg i]Z 1/04 XgZY^i
 V\gZZbZci id gZeVn ^c [jaa i]Z #782-0 b^aa^dc eg^cX^eVa Vbdjci d[ iZgb adVch djihiVcY^c\ jcYZg i]Z egZk^djh XgZY^i V\gZZbZci+ VcY id eVn gZaViZY [ZZh
 VcY ZmeZchZh- N]Z egZk^djh XgZY^i V\gZZbZci lVh iZgb^cViZY jedc gZeVnbZci d[ i]Z iZgb adVch djihiVcY^c\ i]ZgZjcYZg-

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 Ic Djan 01+ 1/05+ DVoo J]VgbVXZji^XVah eaX+ Vh \jVgVcidg+ VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh+ Vh WdggdlZgh+ ZciZgZY ^cid ;bZcYbZci Hd- 0
 id djg 1/04 XgZY^i V\gZZbZci- N]Z VbZcYZY XgZY^i V\gZZbZci egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc+ l]^X] gZeaVXZh i]Z gZkdak^c\
 XgZY^i [VX^a^in d[ #64/-/ b^aa^dc egdk^YZY [dg jcYZg i]Z 1/04 XgZY^i V\gZZbZci+ VcY V #64/-/ b^aa^dc iZgb adVc [VX^a^in+ d[ l]^X] #601-8 b^aa^dc eg^cX^eVa
 Vbdjci lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05- QZ jhZY i]Z egdXZZYh d[ #0-/ W^aa^dc d[ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ d[ l]^X] #74/-/
 b^aa^dc lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc+ VcY lZ ZmeZXi id jhZ i]Z egdXZZYh
 [gdb [jijgZ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ ^[ Vcn+ [dg \ZcZgVa XdgedgViZ ejgedhZh+ ^cXajY^c\ XdgedgViZ YZkZadebZci VXi^k^i^Zh-
 OcYZg i]Z VbZcYZY XgZY^i V\gZZbZci+ i]Z iZgb adVc bVijgZh dc Djan 01+ 1/10 VcY i]Z gZkdak^c\ XgZY^i [VX^a^in iZgb^cViZh+ VcY Vcn adVch djihiVcY^c\
 i]ZgZjcYZg WZXdbZ YjZ VcY eVnVWaZ+ dc Djan 01+ 1/10-
 <dggdl^c\h jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci WZVg ^ciZgZhi+ Vi djg dei^dc+ Vi V gViZ ZfjVa id Z^i]Zg 'V( i]Z FC<IL gViZ+ eajh Vc Veea^XVWaZ bVg\^c
 gVc\^c\ [gdb 0-4/$ id 1-14$ eZg Vccjb+ WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d+ dg 'W( i]Z eg^bZ aZcY^c\ gViZ+ eajh Vc Veea^XVWaZ bVg\^c gVc\^c\
 [gdb /-4/$ id 0-14$ eZg Vccjb+ WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d- N]Z gZkdak^c\ XgZY^i [VX^a^in ]Vh V Xdbb^ibZci [ZZ eVnVWaZ dc i]Z jcYgVlc
 Vbdjci gVc\^c\ [gdb /-14$ id /-24$ eZg Vccjb WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d-
 DVoo J]VgbVXZji^XVah eaX VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh VgZ WdggdlZgh jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci- N]Z WdggdlZghx
 dWa^\Vi^dch jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci VcY Vcn ]ZY\^c\ dg XVh] bVcV\ZbZci dWa^\Vi^dch ZciZgZY ^cid l^i] V aZcYZg VgZ \jVgVciZZY dc V
 hZc^dg hZXjgZY WVh^h Wn DVoo J]VgbVXZji^XVah eaX VcY XZgiV^c d[ djg hjWh^Y^Vg^Zh '^cXajY^c\ i]Z ^hhjZg d[ i]Z 1/10 HdiZh Vh YZhXg^WZY WZadl( VcY VgZ
 hZXjgZY Wn hjWhiVci^Vaan Vaa d[ DVoo J]VgbVXZji^XVah eaXxh+ i]Z WdggdlZghx VcY i]Z \jVgVcidg hjWh^Y^Vg^Zhx VhhZih-
 QZ bVn bV`Z kdajciVgn egZeVnbZcih d[ eg^cX^eVa Vi Vcn i^bZ l^i]dji eVnbZci d[ V egZb^jb- QZ VgZ gZfj^gZY id bV`Z bVcYVidgn egZeVnbZcih d[
 i]Z iZgb adVc 'l^i]dji eVnbZci d[ V egZb^jb( l^i] '0( cZi XVh] egdXZZYh [gdb XZgiV^c cdc,dgY^cVgn XdjghZ VhhZi hVaZh 'hjW_ZXi id gZ^ckZhibZci
 g^\]ih VcY di]Zg ZmXZei^dch(+ '1( cZi XVh] egdXZZYh [gdb ^hhjVcXZh d[ YZWi 'di]Zg i]Vc XZgiV^c eZgb^iiZY YZWi(+ VcY '2( XVhjVain egdXZZYh VcY
 XdcYZbcVi^dc VlVgYh 'hjW_ZXi id gZ^ckZhibZci g^\]ih VcY di]Zg ZmXZei^dch(-
 Jg^cX^eVa gZeVnbZcih d[ i]Z iZgb adVc+ l]^X] VgZ YjZ fjVgiZgan+ WZ\Vc ^c >ZXZbWZg 1/05 VcY VgZ ZfjVa id 4-/$ eZg Vccjb d[ i]Z eg^cX^eVa Vbdjci
 djihiVcY^c\ dc Djan 01+ 1/05 d[ #610-8 b^aa^dc Yjg^c\ i]Z [^ghi ild nZVgh+ 6-4$ eZg Vccjb Yjg^c\ i]Z i]^gY nZVg+ 0/-/$ eZg Vccjb Yjg^c\ i]Z [djgi]
 nZVg VcY 01-4$ eZg Vccjb Yjg^c\ i]Z [^[i] nZVg+ l^i] Vcn gZbV^c^c\ WVaVcXZ eVnVWaZ dc i]Z bVijg^in YViZ-
 N]Z VbZcYZY XgZY^i V\gZZbZci XdciV^ch [^cVcX^Va XdkZcVcih i]Vi gZfj^gZ DVoo J]VgbVXZji^XVah eaX VcY djg gZhig^XiZY hjWh^Y^Vg^Zh id cdi 'V( ZmXZZY V
 bVm^bjb hZXjgZY cZi aZkZgV\Z gVi^d dg 'W( [Vaa WZadl V XVh] ^ciZgZhi XdkZgV\Z gVi^d- QZ lZgZ+ Vh d[ >ZXZbWZg 20+ 1/05+ VcY VgZ XjggZcian+ ^c
 Xdbea^VcXZ l^i] i]ZhZ [^cVcX^Va XdkZcVcih-
 Exchangeable Senior Notes

 Cc ;j\jhi 1/03+ DVoo J]VgbVXZji^XVah eaX+ i]gdj\] djg l]daan dlcZY [^cVcXZ hjWh^Y^Vgn DVoo CckZhibZcih C F^b^iZY+ XdbeaZiZY V eg^kViZ eaVXZbZci
 d[ #464-/ b^aa^dc eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh- N]Z 1/10 HdiZh VgZ i]Z hZc^dg jchZXjgZY dWa^\Vi^dch d[ DVoo CckZhibZcih C F^b^iZY VcY VgZ [jaan
 VcY jcXdcY^i^dcVaan \jVgVciZZY dc V hZc^dg jchZXjgZY WVh^h Wn DVoo J]VgbVXZji^XVah eaX- CciZgZhi dc i]Z 1/10 HdiZh ^h eVnVWaZ hZb^,VccjVaan ^c
 XVh] ^c VggZVgh dc @ZWgjVgn 04 VcY ;j\jhi 04 d[ ZVX] nZVg+ WZ\^cc^c\ dc @ZWgjVgn 04+ 1/04+ Vi V gViZ d[ 0-764$ eZg nZVg- Cc XZgiV^c X^gXjbhiVcXZh+
 lZ bVn WZ gZfj^gZY id eVn VYY^i^dcVa Vbdjcih Vh V gZhjai d[ Vcn Veea^XVWaZ iVm l^i]]daY^c\ dg YZYjXi^dch gZfj^gZY ^c gZheZXi d[ eVnbZcih dc i]Z
 1/10 HdiZh- N]Z 1/10 HdiZh bVijgZ dc ;j\jhi 04+ 1/10+ jcaZhh ZVga^Zg ZmX]Vc\ZY+ gZejgX]VhZY dg gZYZZbZY-

 N]Z ]daYZgh d[ i]Z 1/10 HdiZh ]VkZ i]Z VW^a^in id gZfj^gZ jh id gZejgX]VhZ Vaa dg V edgi^dc d[ i]Z^g 1/10 HdiZh [dg XVh] ^c i]Z ZkZci lZ jcYZg\d
 XZgiV^c [jcYVbZciVa X]Vc\Zh+ hjX] Vh heZX^[^ZY X]Vc\Z d[ Xdcigda igVchVXi^dch+ djg a^fj^YVi^dc dg Y^hhdaji^dc dg i]Z YZa^hi^c\ d[ djg dgY^cVgn h]VgZh
 [gdb N]Z H;M>;K AadWVa MZaZXi GVg`Zi- Jg^dg id ;j\jhi 04+ 1/10+ lZ bVn gZYZZb i]Z 1/10 HdiZh+ ^c l]daZ Wji cdi ^c eVgi+ hjW_ZXi id Xdbea^VcXZ
 l^i] XZgiV^c XdcY^i^dch+ ^[ lZ ]VkZ+ dg dc i]Z cZmi ^ciZgZhi eVnbZci YViZ ldjaY+ WZXdbZ dWa^\ViZY id eVn id i]Z ]daYZg d[ Vcn 1/10 HdiZ VYY^i^dcVa
 Vbdjcih Vh V gZhjai d[ XZgiV^c iVm,gZaViZY ZkZcih- QZ Vahd bVn gZYZZb i]Z 1/10 HdiZh dc dg V[iZg ;j\jhi 1/+ 1/07+ ^c l]daZ dg ^c eVgi+ ^[ i]Z aVhi
 gZedgiZY hVaZ eg^XZ eZg dgY^cVgn h]VgZ ]Vh WZZc Vi aZVhi 02/$ d[ i]Z ZmX]Vc\Z eg^XZ i]Zc ^c Z[[ZXi [dg Vi aZVhi 1/ igVY^c\ YVnh 'l]Zi]Zg dg cdi
 XdchZXji^kZ( Yjg^c\ Vcn 2/ XdchZXji^kZ igVY^c\ YVn eZg^dY ZcY^c\ dc+ VcY ^cXajY^c\+ i]Z igVY^c\ YVn ^bbZY^ViZan egZXZY^c\ i]Z YViZ dc l]^X] lZ
 egdk^YZ i]Z cdi^XZ d[ gZYZbei^dc-

 N]Z 1/10 HdiZh VgZ ZmX]Vc\ZVWaZ Vi Vc ^c^i^Va ZmX]Vc\Z gViZ d[ 4-//46 dgY^cVgn h]VgZh eZg #0+/// eg^cX^eVa Vbdjci d[ 1/10 HdiZh+ l]^X] ^h Zfj^kVaZci
 id Vc ^c^i^Va ZmX]Vc\Z eg^XZ d[ Veegdm^bViZan #088-66 eZg dgY^cVgn h]VgZ- Oedc ZmX]Vc\Z+ i]Z 1/10 HdiZh bVn WZ hZiiaZY ^c XVh]+ dgY^cVgn h]VgZh dg V
 XdbW^cVi^dc d[ XVh] VcY dgY^cVgn h]VgZh+ Vi djg ZaZXi^dc- Ijg ^ciZci VcY eda^Xn ^h id hZiiaZ i]Z eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh ^c XVh] jedc
 ZmX]Vc\Z- N]Z ZmX]Vc\Z gViZ l^aa WZ hjW_ZXi id

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 VY_jhibZci ^c hdbZ ZkZcih Wji l^aa cdi WZ VY_jhiZY [dg Vcn VXXgjZY VcY jceV^Y ^ciZgZhi- Cc VYY^i^dc+ [daadl^c\ XZgiV^c bV`Z,l]daZ [jcYVbZciVa
 X]Vc\Zh dXXjgg^c\ eg^dg id i]Z bVijg^in YViZ d[ i]Z 1/10 HdiZh dg jedc djg ^hhjVcXZ d[ V cdi^XZ d[ gZYZbei^dc+ lZ l^aa ^c XZgiV^c X^gXjbhiVcXZh
 ^cXgZVhZ i]Z ZmX]Vc\Z gViZ [dg ]daYZgh d[ i]Z 1/10 HdiZh l]d ZaZXi id ZmX]Vc\Z i]Z^g 1/10 HdiZh ^c XdccZXi^dc l^i] i]Vi bV`Z,l]daZ [jcYVbZciVa
 X]Vc\Z dg Yjg^c\ i]Z gZaViZY gZYZbei^dc eZg^dY- Jg^dg id @ZWgjVgn 04+ 1/10+ i]Z 1/10 HdiZh l^aa WZ ZmX]Vc\ZVWaZ dcan jedc hVi^h[VXi^dc d[ XZgiV^c
 XdcY^i^dch VcY Yjg^c\ XZgiV^c eZg^dYh+ VcY i]ZgZV[iZg+ Vi Vcn i^bZ jci^a i]Z XadhZ d[ Wjh^cZhh dc i]Z hZXdcY hX]ZYjaZY igVY^c\ YVn ^bbZY^ViZan
 egZXZY^c\ i]Z bVijg^in YViZ-


 Contractual Obligations
 N]Z iVWaZ WZadl egZhZcih V hjbbVgn d[ djg XdcigVXijVa dWa^\Vi^dch Vh d[ >ZXZbWZg 20+ 1/05 '^c i]djhVcYh(9

                                                                                                 Payments Due by Period
                                                                                     Less than                                                 More than
 Contractual Obligations (1)                                       Total              1 Year             1-3 Years           3-5 Years          5 years
 NZgb adVc , eg^cX^eVa                                        #      601+741     #        25+/83     #        88+147     #       466+4//   #               ,
 NZgb adVc , ^ciZgZhi '1(                                             67+163              08+527              24+805              11+61/                   ,
 1/10 HdiZh , eg^cX^eVa                                              464+///                     ,                   ,           464+///                   ,
 1/10 HdiZh , ^ciZgZhi '2(                                            42+8/5              0/+67/              10+452              10+452                   ,
 LZkdak^c\ XgZY^i [VX^a^in , eg^cX^eVa                               74/+///                     ,                   ,           74/+///                   ,
 LZkdak^c\ XgZY^i [VX^a^in , ^ciZgZhi '1(                            0/5+270              13+321              35+335              24+4/2                   ,
 LZkdak^c\ XgZY^i [VX^a^in , Xdbb^ibZci [ZZ '3(                        5+31/               0+307               1+724               1+056                   ,
 =dbb^ibZci id ^ckZhiZZ '4(                                           1/+///               4+///              0/+///               4+///                   ,
 JjgX]VhZ dWa^\Vi^dch '5(                                             17+323              16+/63                30/                  341              387
 IeZgVi^c\ VcY [VX^a^in aZVhZ dWa^\Vi^dch '6(                        014+761              04+331              12+025              08+27/            56+803
 NdiVa                                                        #    1+446+028     #      028+767      #      128+453      #     1+0/8+174   #        57+301
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0(   N]^h iVWaZ YdZh cdi ^cXajYZ ediZci^Va [jijgZ b^aZhidcZ eVnbZci dg gdnVain dWa^\Vi^dch id i]^gY eVgi^Zh jcYZg VhhZi ejgX]VhZ+ egdYjXi
       YZkZadebZci+ a^XZchZ VcY di]Zg V\gZZbZcih Vh i]Z i^b^c\ VcY a^`Za^]ddY d[ hjX] b^aZhidcZ eVnbZcih VgZ cdi `cdlc+ VcY+ ^c i]Z XVhZ d[
       gdnVain dWa^\Vi^dch+ Vh i]Z Vbdjci d[ hjX] dWa^\Vi^dch VgZ cdi Zhi^bVWaZ- Cc 1/03+ lZ h^\cZY V YZ[^c^i^kZ V\gZZbZci l^i] ;Zg^Va jcYZg l]^X]
       lZ VXfj^gZY ldgaYl^YZ YZkZadebZci+ bVcj[VXijg^c\ VcY XdbbZgX^Va g^\]ih id DTJ,00/ 'di]Zg i]Vc ^c XZgiV^c _jg^hY^Xi^dch ^c ;h^V l]ZgZ ME
       gZiV^ch g^\]ih(- ;Zg^Va VcY ME VgZ XjggZcian Za^\^WaZ id gZXZ^kZ b^aZhidcZ eVnbZcih je id Vc V\\gZ\ViZ d[ #16/ b^aa^dc WVhZY dc YZkZadebZci+
       gZ\jaVidgn VcY hVaZh b^aZhidcZh VcY i^ZgZY gdnVai^Zh [gdb ]^\] h^c\aZ Y^\^ih id b^Y,iZZch WVhZY dc ediZci^Va [jijgZ hVaZh d[ DTJ,00/- Cc Djan
       1/05+ lZ ZciZgZY ^cid Vc V\gZZbZci l^i] J[ZcZm jcYZg l]^X] J[ZcZm \gVciZY jh ldgaYl^YZ g^\]ih id YZkZade VcY XdbbZgX^Va^oZ bjai^eaZ
       ZVgan,hiV\Z ]ZbVidad\n egdYjXi XVcY^YViZh- N]Z V\gZZbZci Vahd ^cXajYZh Vc dei^dc [dg jh id cZ\di^ViZ V a^XZchZ [dg V gZXdbW^cVci
       eZ\VheVg\VhZ egdYjXi XVcY^YViZ l^i] J[ZcZm- OcYZg i]Z V\gZZbZci+ J[ZcZm gZXZ^kZY je[gdci+ dei^dc VcY YZkZadebZci b^aZhidcZ eVnbZcih
       idiVa^c\ #04-7 b^aa^dc VcY bVn WZ Za^\^WaZ id gZXZ^kZ VYY^i^dcVa eVnbZcih d[ je id #054 b^aa^dc WVhZY dc i]Z VX]^ZkZbZci d[ YZkZadebZci+
       gZ\jaVidgn VcY hVaZh b^aZhidcZh- JdiZci^Va [jijgZ b^aZhidcZ eVnbZcih id di]Zg i]^gY eVgi^Zh jcYZg di]Zg V\gZZbZcih XdjaY WZ je id Vc
       V\\gZ\ViZ d[ #145 b^aa^dc+ d[ l]^X] je id #01/ b^aa^dc l^aa WZXdbZ YjZ VcY eVnVWaZ id JZgg^\d =dbeVcn eaX '[dgbZgan ?aVc J]VgbVXZji^XVah+
       CcX-( ^c i^ZgZY Xdci^c\Zci eVnbZcih+ l^i] i]Z [^ghi hjX] eVnbZci WZXdb^c\ YjZ ^[ cZi hVaZh d[ Jg^Vai d[ Vi aZVhi #64 b^aa^dc VgZ VX]^ZkZY ^c V
       XVaZcYVg nZVg- N]Z gZbV^cYZg ldjaY WZXdbZ YjZ VcY eVnVWaZ id di]Zg i]^gY eVgi^Zh jedc i]Z VX]^ZkZbZci d[ XZgiV^c YZkZadebZciVa+ Xa^c^XVa+
       gZ\jaVidgn VcY.dg XdbbZgX^Va b^aZhidcZh+ i]Z i^b^c\ VcY a^`Za^]ddY d[ l]^X] VgZ cdi `cdlc- QZ VgZ Vahd dWa^\ViZY jcYZg i]ZhZ V\gZZbZcih
       id eVn gdnVai^Zh dc cZi hVaZh d[ XZgiV^c egdYjXih Vi heZX^[^ZY gViZh+ l]^X] gdnVai^Zh VgZ YZeZcYZci dc [jijgZ egdYjXi hVaZh VcY VgZ cdi
       egdk^YZY [dg ^c i]Z iVWaZ VWdkZ Vh i]Zn VgZ cdi Zhi^bVWaZ-
 '1(   ?hi^bViZY ^ciZgZhi lVh XVaXjaViZY WVhZY dc i]Z ^ciZgZhi gViZh ^c Z[[ZXi Vh d[ >ZXZbWZg 20+ 1/05- N]Z ^ciZgZhi gViZh [dg djg iZgb adVc VcY
       gZkdak^c\ XgZY^i [VX^a^in Wdggdl^c\h lZgZ 1-66$ VcY 1-58$+ gZheZXi^kZan+ Vi >ZXZbWZg 20+ 1/05-
 '2(   QZ jhZY i]Z [^mZY ^ciZgZhi gViZ d[ 0-764$ id Zhi^bViZ ^ciZgZhi dlZY dc i]Z 1/10 HdiZh Vh d[ >ZXZbWZg 20+ 1/05 jci^a i]Z [^cVa bVijg^in YViZ ^c
       ;j\jhi 1/10-
 '3(   Ijg gZkdak^c\ XgZY^i [VX^a^in ]Vh V Xdbb^ibZci [ZZ eVnVWaZ dc i]Z jcYgVlc Vbdjci gVc\^c\ [gdb /-14$ id /-24$ eZg Vccjb WVhZY jedc djg
       hZXjgZY aZkZgV\Z gVi^d- Cc i]Z iVWaZ VWdkZ+ lZ jhZY V gViZ d[ /-24$ VcY VhhjbZY jcYgVlc Vbdjcih d[ #288-4 b^aa^dc Vh d[ >ZXZbWZg 20+ 1/05
       id Zhi^bViZ Xdbb^ibZci [ZZh dlZY- OcYgVlc Wdggdl^c\ XVeVX^in Vh d[ >ZXZbWZg 20+ 1/05 YdZh cdi ^cXajYZ Vc Vbdjci d[ #/-4 b^aa^dc
       Xdbb^iiZY jcYZg Vc djihiVcY^c\ aZiiZg d[ XgZY^i-

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 '4(    QZ Xdbb^iiZY id ^ckZhi #14-/ b^aa^dc ^c ;gg^kd <^dkZcijgZh+ FF= l]^X] XVc WZ XVaaZY dc Vc VccjVa WVh^h dkZg V [^kZ,nZVg eZg^dY- N]Z [^ghi
        XVe^iVa XVaa d[ #4-/ b^aa^dc lVh bVYZ Yjg^c\ i]Z hZXdcY fjVgiZg d[ 1/05- Ijg Zfj^in bZi]dY ^ckZhibZci ^h ^cXajYZY l^i]^c di]Zg cdc,XjggZci
        VhhZih dc i]Z Xdchda^YViZY WVaVcXZ h]ZZi Vh d[ >ZXZbWZg 20+ 1/05-
 '5(    =dch^hih eg^bVg^an d[ cdc,XVcXZaVWaZ Xdbb^ibZcih id i]^gY eVgin bVcj[VXijgZgh-
 '6(    =dch^hih eg^bVg^an d[ i]Z b^c^bjb aZVhZ eVnbZcih [dg djg d[[^XZ Wj^aY^c\h VcY VjidbdW^aZ aZVhZ eVnbZcih [dg djg hVaZh [dgXZ+ ^cXajY^c\ V
        aZVhZ V\gZZbZci lZ ZciZgZY ^cid ^c DVcjVgn 1/04 id aZVhZ d[[^XZ heVXZ adXViZY ^c JVad ;aid+ =Va^[dgc^V- QZ ZmeZXi id dXXjen i]^h d[[^XZ heVXZ
        Wn i]Z ZcY d[ 1/06- QZ VgZ dWa^\ViZY id bV`Z aZVhZ eVnbZcih idiVa^c\ Veegdm^bViZan #77 b^aa^dc dkZg i]Z ^c^i^Va iZgb d[ i]Z aZVhZ- Hdi
        ^cXajYZY ^c i]Z iVWaZ VWdkZ VgZ djg Zhi^bViZY Xdhih d[ Veegdm^bViZan #1/ b^aa^dc VhhdX^ViZY l^i] i]Z YZh^\c+ YZkZadebZci VcY XdchigjXi^dc
        d[ iZcVci ^begdkZbZcih jcYZg i]^h aZVhZ V\gZZbZci+ l]^X] Zhi^bViZ YdZh cdi ^cXajYZ V iZcVci ^begdkZbZci VaadlVcXZ id WZ egdk^YZY Wn i]Z
        aVcYadgY- IeZgVi^c\ ZmeZchZh VhhdX^ViZY l^i] djg aZVhZY d[[^XZ Wj^aY^c\h VgZ Vahd cdi ^cXajYZY ^c iVWaZ VWdkZ-
 QZ Yd cdi egdk^YZ [dg Cg^h] ^cXdbZ iVmZh dc jcY^hig^WjiZY ZVgc^c\h d[ djg [dgZ^\c deZgVi^dch i]Vi VgZ ^ciZcYZY id WZ ^cYZ[^c^iZan gZ^ckZhiZY ^c djg
 [dgZ^\c hjWh^Y^Vg^Zh- =jbjaVi^kZ jcgZb^iiZY ZVgc^c\h d[ djg [dgZ^\c hjWh^Y^Vg^Zh idiVaZY Veegdm^bViZan #0-1 W^aa^dc Vi >ZXZbWZg 20+ 1/05- Cc i]Z ZkZci
 d[ i]Z Y^hig^Wji^dc d[ i]dhZ ZVgc^c\h ^c i]Z [dgb d[ Y^k^YZcYh dg di]Zgl^hZ+ lZ bVn WZ a^VWaZ [dg ^cXdbZ iVmZh+ hjW_ZXi id Vc VY_jhibZci+ ^[ Vcn+ [dg
 [dgZ^\c iVm XgZY^ih VcY [dgZ^\c l^i]]daY^c\ iVmZh eVnVWaZ id XZgiV^c [dgZ^\c iVm Vji]dg^i^Zh- ;h d[ >ZXZbWZg 20+ 1/05+ ^i ^h cdi egVXi^XVWaZ id
 YZiZgb^cZ i]Z Vbdjci d[ i]Z ^cXdbZ iVm a^VW^a^in gZaViZY id i]ZhZ jcY^hig^WjiZY ZVgc^c\h YjZ id V kVg^Zin d[ [VXidgh-
 Cc VYY^i^dc+ djg a^VW^a^in [dg jcgZXd\c^oZY iVm WZcZ[^ih ]Vh WZZc ZmXajYZY [gdb i]Z VWdkZ XdcigVXijVa dWa^\Vi^dch iVWaZ Vh i]Z cVijgZ VcY i^b^c\ d[
 [jijgZ eVnbZcih+ ^[ Vcn+ XVccdi WZ gZVhdcVWan Zhi^bViZY- ;h d[ >ZXZbWZg 20+ 1/05+ djg a^VW^a^in [dg jcgZXd\c^oZY iVm WZcZ[^ih VbdjciZY id #8/-8
 b^aa^dc 'ZmXajY^c\ ^ciZgZhi VcY eZcVai^Zh(- QZ Yd cdi Vci^X^eViZ i]Vi i]Z Vbdjci d[ djg Zm^hi^c\ a^VW^a^in [dg jcgZXd\c^oZY iVm WZcZ[^ih l^aa
 h^\c^[^XVcian X]Vc\Z ^c i]Z cZmi ilZakZ bdci]h-


 Critical Accounting Policies and Significant Estimates
 ; Xg^i^XVa VXXdjci^c\ eda^Xn ^h dcZ i]Vi ^h Wdi] ^bedgiVci id i]Z edgigVnVa d[ djg [^cVcX^Va XdcY^i^dc VcY gZhjaih d[ deZgVi^dch VcY gZfj^gZh
 bVcV\ZbZcixh bdhi Y^[[^Xjai+ hjW_ZXi^kZ dg XdbeaZm _jY\bZcih+ d[iZc Vh V gZhjai d[ i]Z cZZY id bV`Z Zhi^bViZh VWdji i]Z Z[[ZXi d[ bViiZgh i]Vi VgZ
 ^c]ZgZcian jcXZgiV^c- Q]^aZ djg h^\c^[^XVci VXXdjci^c\ eda^X^Zh VgZ bdgZ [jaan YZhXg^WZY ^c HdiZ 1 d[ i]Z HdiZh id i]Z =dchda^YViZY @^cVcX^Va
 MiViZbZcih ^cXajYZY ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E+ lZ WZa^ZkZ i]Z [daadl^c\ VXXdjci^c\ Zhi^bViZh VcY eda^X^Zh id WZ Xg^i^XVa-
 Revenue Recognition
 LZkZcjZh VgZ gZXd\c^oZY l]Zc i]ZgZ ^h eZghjVh^kZ Zk^YZcXZ i]Vi Vc VggVc\ZbZci Zm^hih+ YZa^kZgn ]Vh dXXjggZY+ i]Z eg^XZ ^h [^mZY VcY YZiZgb^cVWaZ
 VcY XdaaZXi^dc ^h gZVhdcVWan VhhjgZY-
 Product Sales, Net
 JgdYjXi hVaZh gZkZcjZ ^h gZXd\c^oZY l]Zc i^iaZ ]Vh igVch[ZggZY id i]Z XjhidbZg VcY i]Z XjhidbZg ]Vh VhhjbZY i]Z g^h`h VcY gZlVgYh d[ dlcZgh]^e+
 l]^X] ^h ine^XVaan dc YZa^kZgn id i]Z XjhidbZg dg+ ^c i]Z XVhZ d[ egdYjXih i]Vi VgZ hjW_ZXi id Xdch^\cbZci V\gZZbZcih+ l]Zc i]Z XjhidbZg gZbdkZh
 egdYjXi [gdb djg Xdch^\cZY ^ckZcidgn adXVi^dc [dg h]^ebZci Y^gZXian id V eVi^Zci-
 ; h^\c^[^XVci edgi^dc d[ djg cZi egdYjXi gZkZcjZh VgZ YZg^kZY [gdb hVaZh d[ RngZb- QZ hZaa RngZb ^c i]Z O-M- id V h^c\aZ XZcigVa e]VgbVXn+ ?megZhh
 MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh VcY ^ih V[[^a^ViZ =jgVMXg^ei+ CcX-+ dg ?megZhh MXg^eih- Cc 1/05+ hVaZh d[ RngZb id ?megZhh MXg^eih VXXdjciZY [dg
 63-7$ d[ djg cZi egdYjXi hVaZh- QZ gZXd\c^oZ gZkZcjZh [gdb hVaZh d[ RngZb l^i]^c i]Z O-M- jedc igVch[Zg d[ i^iaZ+ l]^X] dXXjgh l]Zc ?megZhh
 MXg^eih gZbdkZh egdYjXi [gdb djg Xdch^\cZY ^ckZcidgn adXVi^dc Vi ^ih [VX^a^in [dg h]^ebZci Y^gZXian id V eVi^Zci- QZ VXXZei gZijgch [gdb VcY egdk^YZ
 ?megZhh MXg^eih l^i] V XgZY^i [dg Vcn egdYjXi gZijgcZY Wn eVi^Zcih id ?megZhh MXg^eih l^i] YZ[ZXih i]Vi lZgZ cdi gZVhdcVWan Y^hXdkZgVWaZ jedc
 gZXZ^ei d[ i]Z Xdch^\cZY egdYjXi Wn ?megZhh MXg^eih- <VhZY dc djg ZmeZg^ZcXZ+ egdYjXi gZijgch id ?megZhh MXg^eih [gdb eVi^Zcih VgZ gVgZ: Yjg^c\
 1/05+ lZ ^hhjZY XgZY^ih idiVa^c\ aZhh i]Vc #/-0 b^aa^dc id ?megZhh MXg^eih [dg gZijgcZY egdYjXi-
 Items Deducted from Gross Product Sales- LZkZcjZh [gdb hVaZh d[ egdYjXih VgZ gZXdgYZY cZi d[ \dkZgcbZci gZWViZh VcY gZWViZh jcYZg bVcV\ZY
 XVgZ eaVch+ Zhi^bViZY VaadlVcXZh [dg hVaZh gZijgch+ \dkZgcbZci X]Vg\ZWVX`h+ egdbei eVnbZci Y^hXdjcih+ eVi^Zci Xdjedc egd\gVbh+ VcY heZX^Vain
 Y^hig^Wjidg VcY l]daZhVaZg [ZZh- =VaXjaVi^c\ XZgiV^c d[ i]ZhZ ^iZbh ^ckdakZh Zhi^bViZh VcY _jY\bZcih WVhZY dc hVaZh dg ^ckd^XZ YViV+ XdcigVXijVa
 iZgbh+ ]^hidg^XVa ji^a^oVi^dc gViZh+ cZl ^c[dgbVi^dc gZ\VgY^c\ X]Vc\Zh ^c Veea^XVWaZ gZ\jaVi^dch VcY \j^YZa^cZh i]Vi ldjaY ^beVXi i]Z Vbdjci d[ i]Z
 VXijVa gZWViZh+ djg ZmeZXiVi^dch gZ\VgY^c\ [jijgZ ji^a^oVi^dc gViZh VcY X]VccZa ^ckZcidgn YViV- QZ gZk^Zl i]Z VYZfjVXn d[ djg egdk^h^dch [dg hVaZh
 YZYjXi^dch dc V fjVgiZgan WVh^h- ;bdjcih VXXgjZY [dg hVaZh YZYjXi^dch VgZ VY_jhiZY l]Zc igZcYh dg h^\c^[^XVci ZkZcih ^cY^XViZ i]Vi VY_jhibZci ^h
 Veegdeg^ViZ VcY id gZ[aZXi VXijVa ZmeZg^ZcXZ- <ZXVjhZ lZ YZg^kZ V h^\c^[^XVci edgi^dc d[ djg gZkZcjZh [gdb hVaZh d[ RngZb ^c i]Z O-M- id dcZ
 heZX^Vain e]VgbVXn XjhidbZg+ ?megZhh MXg^eih+ lZ ]VkZ V bjX] ]^\]Zg aZkZa d[ `cdlaZY\Z VWdji ZVX] egZhXg^ei^dc i]Vc ^[ lZ hdaY i]Z egdYjXi
 i]gdj\] i]Z cdgbVa e]VgbVXZji^XVa l]daZhVaZg X]VccZa Vh lZ Yd l^i] bdhi d[ djg di]Zg

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 NVWaZ d[ =dciZcih



 egdYjXih- N]Z bdhi h^\c^[^XVci ^iZbh YZYjXiZY [gdb \gdhh egdYjXi hVaZh l]ZgZ lZ ZmZgX^hZ _jY\bZci VgZ gZWViZh+ hVaZh gZijgch VcY X]Vg\ZWVX`h-
 N]Z [daadl^c\ iVWaZ egZhZcih i]Z VXi^k^in VcY ZcY^c\ WVaVcXZh [dg djg hVaZh,gZaViZY VXXgjVah VcY VaadlVcXZh '^c i]djhVcYh(9

                                                                                 Sales Returns                          Discounts and
                                                         Rebates Payable            Reserve            Chargebacks     Distributor Fees         Total
 <VaVcXZ Vi >ZXZbWZg 20+ 1/02 '0(                       #          20+447    #          10+00/     #          3+30/    #         4+78/    #        51+857
 Jgdk^h^dc+ cZi                                                    77+618                2+037               17+611             60+753            081+352
 JVnbZcih.XgZY^ih                                                 '64+743(              '0/+108(            '17+477(           '60+768(          '075+43/(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/03 '0(                                  33+322               03+/28                3+433              4+764             57+780
 Jgdk^h^dc+ cZi                                                   013+507                '3+333(             28+013             35+422            1/4+720
 JVnbZcih.XgZY^ih                                                '0/6+/02(               '2+374(            '27+661(           '37+573(          '086+843(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/04                                      51+/27                 5+00/               3+785              2+613             65+657
 Jgdk^h^dc+ cZi                                                   018+5/7                 '426(              3/+32/             3/+/46            1/8+447
 JVnbZcih.XgZY^ih                                                '012+272(               '0+1/6(            '3/+466(           '28+471(          '1/3+638(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/05                           #          57+152    #           3+255     #          3+638    #         3+088    #        70+466
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0( CcXajYZh Wdi] Xdci^cj^c\ deZgVi^dch VcY Y^hXdci^cjZY deZgVi^dch id i]Z YViZ d[ Y^hedhVa-
 NdiVa ^iZbh YZYjXiZY [gdb \gdhh egdYjXi hVaZh lZgZ #1/8-5 b^aa^dc+ #1/4-7 b^aa^dc VcY #081-4 b^aa^dc+ dg 01-3$+ 02-4$ VcY 03-1$ Vh V eZgXZciV\Z d[
 \gdhh egdYjXi hVaZh+ ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- CcXajYZY ^c i]ZhZ Vbdjcih VgZ ^bbViZg^Va VY_jhibZcih gZaViZY id eg^dg,nZVg hVaZh YjZ id
 X]Vc\Zh ^c Zhi^bViZh- MjX] Vbdjcih gZegZhZciZY aZhh i]Vc 0$ d[ cZi egdYjXi hVaZh [dg ZVX] d[ i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03-
 Rebates
 QZ VgZ hjW_ZXi id gZWViZh dc hVaZh bVYZ jcYZg \dkZgcbZciVa VcY bVcV\ZY,XVgZ eg^X^c\ egd\gVbh ^c i]Z O-M- N]Z aVg\Zhi d[ i]ZhZ gZWViZh ^h
 VhhdX^ViZY l^i] hVaZh XdkZgZY Wn GZY^XV^Y- QZ eVgi^X^eViZ ^c hiViZ \dkZgcbZci,bVcV\ZY GZY^XV^Y egd\gVbh Vh lZaa Vh XZgiV^c di]Zg fjVa^[n^c\
 [ZYZgVa VcY hiViZ \dkZgcbZci egd\gVbh jcYZg i]Z iZgbh d[ l]^X] Y^hXdjcih VcY gZWViZh VgZ egdk^YZY id eVgi^X^eVi^c\ \dkZgcbZci Zci^i^Zh- QZ d[[Zg
 gZWViZh VcY Y^hXdjcih id bVcV\ZY ]ZVai] XVgZ dg\Vc^oVi^dch ^c i]Z O-M- Cc Zhi^bVi^c\ djg egdk^h^dch [dg gZWViZh+ lZ Xdch^YZg gZaZkVci hiVijiZh l^i]
 gZheZXi id \dkZgcbZciVa eg^X^c\ egd\gVbh VcY XdcigVXijVa hVaZh iZgbh l^i] bVcV\ZY,XVgZ egdk^YZgh VcY \gdje ejgX]Vh^c\ dg\Vc^oVi^dch- QZ
 Zhi^bViZ i]Z gZWViZ egdk^h^dc WVhZY dc ]^hidg^XVa ji^a^oVi^dc gViZh+ ]^hidg^XVa eVnbZci ZmeZg^ZcXZ+ cZl ^c[dgbVi^dc gZ\VgY^c\ X]Vc\Zh ^c gZ\jaVi^dch
 VcY \j^YZa^cZh i]Vi ldjaY ^beVXi i]Z Vbdjci d[ i]Z VXijVa gZWViZh+ djg ZmeZXiVi^dch gZ\VgY^c\ [jijgZ ji^a^oVi^dc gViZh VcY X]VccZa ^ckZcidgn YViV
 dWiV^cZY [gdb djg bV_dg O-M- l]daZhVaZgh ^c VXXdgYVcXZ l^i] djg ^ckZcidgn bVcV\ZbZci V\gZZbZcih- ?hi^bVi^c\ i]ZhZ gZWViZh ^h XdbeaZm+ ^c eVgi
 YjZ id i]Z i^bZ YZaVn WZilZZc i]Z YViZ d[ hVaZ VcY i]Z VXijVa hZiiaZbZci d[ i]Z a^VW^a^in- QZ WZa^ZkZ i]Vi i]Z bZi]dYdad\n lZ jhZ id Zhi^bViZ gZWViZh
 dc egdYjXi hVaZh bVYZ jcYZg \dkZgcbZciVa VcY bVcV\ZY,XVgZ eg^X^c\ egd\gVbh ^h gZVhdcVWaZ VcY Veegdeg^ViZ \^kZc XjggZci [VXih VcY
 X^gXjbhiVcXZh- BdlZkZg+ Zhi^bViZh bVn kVgn [gdb VXijVa ZmeZg^ZcXZ-
 LZWViZh lZgZ #018-5 b^aa^dc+ #013-5 b^aa^dc VcY #77-6 b^aa^dc+ dg 6-6$+ 7-1$ VcY 5-4$ Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh+ ^c 1/05+ 1/04 VcY 1/03+
 gZheZXi^kZan- LZWViZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh YZXgZVhZY ^c 1/05 XdbeVgZY id 1/04 eg^bVg^an YjZ id YZXgZVhZY GZY^XV^Y ZmeZchZ [dg
 XZgiV^c egdYjXih l^i] \ZcZg^X XdbeZi^i^dc Vh V gZhjai d[ adlZg cZi egdYjXi hVaZh [gdb i]dhZ egdYjXih ^c 1/05+ eVgi^Vaan d[[hZi Wn ^cXgZVhZY Ng^XVgZ eZg
 jc^i gZWViZ Vbdjcih- LZWViZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh ^cXgZVhZY ^c 1/04 XdbeVgZY id 1/03 eg^bVg^an YjZ id ^cXgZVhZY GZY^XV^Y
 ji^a^oVi^dc gViZh VcY ^cXgZVhZY Ng^XVgZ eZg jc^i gZWViZ Vbdjcih- QZ ZmeZXi i]Vi gZWViZh l^aa Xdci^cjZ id h^\c^[^XVcian ^beVXi djg gZedgiZY cZi hVaZh-
 BdlZkZg+ gZWViZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh VgZ cdi ZmeZXiZY id X]Vc\Z bViZg^Vaan ^c 1/06 XdbeVgZY id 1/05-
 Sales returns
 @dg XZgiV^c egdYjXih+ lZ Vaadl XjhidbZgh id gZijgc egdYjXi l^i]^c V heZX^[^ZY eZg^dY WZ[dgZ VcY V[iZg i]Z Veea^XVWaZ Zme^gVi^dc YViZ VcY ^hhjZ XgZY^ih
 l]^X] bVn WZ Veea^ZY V\V^chi Zm^hi^c\ dg [jijgZ ^ckd^XZh- QZ VXXdjci [dg hVaZh gZijgch Vh V gZYjXi^dc ^c cZi gZkZcjZ Vi i]Z i^bZ V hVaZ ^h gZXd\c^oZY
 Wn ZhiVWa^h]^c\ Vc VXXgjVa ^c Vc Vbdjci ZfjVa id i]Z Zhi^bViZY kVajZ d[ egdYjXih ZmeZXiZY id WZ gZijgcZY- N]Z hVaZh gZijgc VXXgjVa ^h Zhi^bViZY
 eg^cX^eVaan WVhZY dc ]^hidg^XVa ZmeZg^ZcXZ+ i]Z aZkZa VcY Zhi^bViZY h]Za[ a^[Z d[ ^ckZcidgn ^c i]Z Y^hig^Wji^dc X]VccZa+ djg gZijgc eda^Xn VcY ZmeZXiZY
 bVg`Zi ZkZcih ^cXajY^c\ \ZcZg^X XdbeZi^i^dc-
 MVaZh gZijgch gZegZhZciZY V XgZY^i d[ #/-4 b^aa^dc VcY #3-3 b^aa^dc ^c 1/05 VcY 1/04+ gZheZXi^kZan+ VcY V X]Vg\Z d[ #2-0 b^aa^dc ^c 1/03+ dg /$+ '/-2$(
 VcY /-2$ Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- MVaZh

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 gZijgch Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh Y^Y cdi X]Vc\Z bViZg^Vaan ^c 1/05 XdbeVgZY id 1/04- MVaZh gZijgch Vh V eZgXZciV\Z d[ \gdhh egdYjXi
 hVaZh YZXgZVhZY ^c 1/04 XdbeVgZY id 1/03 YjZ id V X]Vc\Z ^c i]Z Zhi^bViZY gZijgch gViZ [dg XZgiV^c egdYjXih l^i] \ZcZg^X XdbeZi^i^dc WVhZY dc
 VXijVa gZijgch ZmeZg^ZcXZ ^c VYY^i^dc id i]Z aVehZ d[ i]Z egdYjXi gZijgc eZg^dY [dg XZgiV^c egdYjXih- MVaZh gZijgch Vh V eZgXZciV\Z d[ \gdhh egdYjXi
 hVaZh VgZ cdi ZmeZXiZY id X]Vc\Z bViZg^Vaan ^c 1/06 XdbeVgZY id 1/05-
 Chargebacks
 QZ eVgi^X^eViZ ^c X]Vg\ZWVX` egd\gVbh l^i] V cjbWZg d[ Zci^i^Zh+ eg^cX^eVaan i]Z O-M- >ZeVgibZci d[ >Z[ZchZ+ i]Z O-M- >ZeVgibZci d[ PZiZgVch
 ;[[V^gh VcY di]Zg ejWa^X eVgi^Zh+ jcYZg l]^X] eg^X^c\ dc egdYjXih WZadl l]daZhVaZghx a^hi eg^XZh ^h egdk^YZY id eVgi^X^eVi^c\ Zci^i^Zh- N]ZhZ Zci^i^Zh
 ejgX]VhZ egdYjXi i]gdj\] l]daZhVaZgh Vi i]Z adlZg cZ\di^ViZY eg^XZ VcY i]Z l]daZhVaZgh X]Vg\Z WVX` id jh i]Z Y^[[ZgZcXZ WZilZZc i]Z^g VXfj^h^i^dc
 Xdhi VcY i]Z adlZg cZ\di^ViZY eg^XZ- QZ gZXdgY i]Z Y^[[ZgZcXZ Vh VaadlVcXZh V\V^chi VXXdjcih gZXZ^kVWaZ- QZ YZiZgb^cZ djg Zhi^bViZ d[ i]Z
 X]Vg\ZWVX`h egdk^h^dc eg^bVg^an WVhZY dc ]^hidg^XVa ZmeZg^ZcXZ dc V egdYjXi VcY egd\gVb WVh^h+ XjggZci XdcigVXi eg^XZh jcYZg i]Z X]Vg\ZWVX`
 egd\gVbh VcY X]VccZa ^ckZcidgn YViV-
 =]Vg\ZWVX`h lZgZ #3/-3 b^aa^dc+ #28-0 b^aa^dc VcY #17-6 b^aa^dc+ dg 1-3$+ 1-5$ VcY 1-0$ Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh ^c 1/05+ 1/04 VcY
 1/03+ gZheZXi^kZan- =]Vg\ZWVX`h Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh Y^Y cdi X]Vc\Z bViZg^Vaan ^c 1/05 XdbeVgZY id 1/04- =]Vg\ZWVX`h Vh V
 eZgXZciV\Z d[ \gdhh egdYjXi hVaZh ^cXgZVhZY ^c 1/04 XdbeVgZY id 1/03 eg^bVg^an YjZ id ^cXgZVhZY 23/< Ygj\ eg^X^c\ Y^hXdjci egd\gVb ji^a^oVi^dc VcY
 ^cXgZVhZY X]Vg\ZWVX` eZg jc^i Vbdjcih- ;h V gZhjai d[ i]Z egdYjXih lZ VXfj^gZY ^c i]Z ?OM; ;Xfj^h^i^dc+ eVgi^XjaVgan ?gl^cVoZ+ X]Vg\ZWVX`h VgZ
 ZmeZXiZY id Xdci^cjZ id h^\c^[^XVcian ^beVXi djg gZedgiZY cZi egdYjXi hVaZh- =]Vg\ZWVX`h Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh VgZ cdi ZmeZXiZY id
 X]Vc\Z bViZg^Vaan ^c 1/06 XdbeVgZY id 1/05-
 Discounts and distributor fees
 >^hXdjcih VcY Y^hig^Wjidg [ZZh Xdbeg^hZ egdbei eVnbZci Y^hXdjcih+ eVi^Zci Xdjedc egd\gVbh VcY heZX^Vain Y^hig^Wjidg VcY l]daZhVaZg [ZZh- QZ
 d[[Zg XjhidbZgh V XVh] Y^hXdjci dc \gdhh egdYjXi hVaZh Vh Vc ^cXZci^kZ [dg egdbei eVnbZci- QZ Zhi^bViZ egdk^h^dch [dg egdbei eVn Y^hXdjcih
 WVhZY dc XdcigVXijVa hVaZh iZgbh l^i] XjhidbZgh VcY ]^hidg^XVa eVnbZci ZmeZg^ZcXZ- Nd ]Zae eVi^Zcih V[[dgY djg egdYjXih+ lZ ]VkZ kVg^djh
 egd\gVbh id Vhh^hi i]Zb+ ^cXajY^c\ eVi^Zci Vhh^hiVcXZ egd\gVbh+ V [gZZ egdYjXi kdjX]Zg egd\gVb VcY Xd,eVn Xdjedc egd\gVbh [dg XZgiV^c egdYjXih-
 QZ Zhi^bViZ egdk^h^dch [dg i]ZhZ egd\gVbh eg^bVg^an WVhZY dc ZmeZXiZY egd\gVb ji^a^oVi^dc+ VY_jhiZY Vh cZXZhhVgn id gZ[aZXi djg VXijVa ZmeZg^ZcXZ
 dc V egdYjXi VcY egd\gVb WVh^h- MeZX^Vain Y^hig^Wjidg VcY l]daZhVaZg [ZZh Xdbeg^hZ [ZZh [dg Y^hig^Wji^dc d[ djg egdYjXih- QZ Zhi^bViZ egdk^h^dch
 [dg Y^hig^Wjidg VcY l]daZhVaZg [ZZh eg^bVg^an WVhZY dc hVaZh kdajbZh VcY XdcigVXijVa iZgbh l^i] djg Y^hig^Wjidgh-
 >^hXdjcih VcY Y^hig^Wjidg [ZZh lZgZ #3/-0 b^aa^dc+ #35-4 b^aa^dc VcY #60-8 b^aa^dc+ dg 1-3$+ 2-0$ VcY 4-2$ Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh ^c
 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- >^hXdjcih VcY Y^hig^Wjidg [ZZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh YZXgZVhZY ^c 1/05 XdbeVgZY id 1/04
 eg^bVg^an YjZ id YZXgZVhZY Y^hig^Wjidg [ZZh eVnVWaZ id eVgicZg Y^hig^Wjidgh ^c ^ciZgcVi^dcVa bVg`Zih Yg^kZc Wn V X]Vc\Z ^c i]Z Y^hig^Wji^dc bdYZa [dg
 XZgiV^c egdYjXih- >^hXdjcih VcY Y^hig^Wjidg [ZZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh YZXgZVhZY ^c 1/04 XdbeVgZY id 1/03 eg^bVg^an YjZ id V
 X]Vc\Z ^c i]Z eVi^Zci Xdjedc egd\gVbh i]gZh]daY VcY i]Z eVi^Zci Za^\^W^a^in Xg^iZg^V- QZ ZmeZXi i]Vi Y^hXdjcih VcY Y^hig^Wjidg [ZZh Vh V l]daZ l^aa
 Xdci^cjZ id h^\c^[^XVcian ^beVXi djg gZedgiZY cZi egdYjXi hVaZh- >^hXdjcih VcY Y^hig^Wjidg [ZZh Vh V eZgXZciV\Z d[ \gdhh egdYjXi hVaZh VgZ cdi
 ZmeZXiZY id X]Vc\Z bViZg^Vaan ^c 1/06 XdbeVgZY id 1/05-
 Goodwill and Intangible Assets
 Goodwill
 AddYl^aa gZegZhZcih i]Z ZmXZhh d[ i]Z VXfj^h^i^dc Xdch^YZgVi^dc dkZg i]Z [V^g kVajZ d[ VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY- QZ iZhi \ddYl^aa [dg
 ^beV^gbZci VccjVaan ^c IXidWZg VcY l]Zc ZkZcih dg X]Vc\Zh ^c X^gXjbhiVcXZh ^cY^XViZ i]Vi i]Z XVggn^c\ kVajZ bVn cdi WZ gZXdkZgVWaZ- QZ ]VkZ
 YZiZgb^cZY i]Vi lZ deZgViZ ^c V h^c\aZ hZ\bZci VcY ]VkZ V h^c\aZ gZedgi^c\ jc^i VhhdX^ViZY l^i] i]Z YZkZadebZci VcY XdbbZgX^Va^oVi^dc d[
 e]VgbVXZji^XVa egdYjXih- N]Z VccjVa iZhi [dg \ddYl^aa ^beV^gbZci ^h V ild,hiZe egdXZhh- N]Z [^ghi hiZe ^h V XdbeVg^hdc d[ i]Z [V^g kVajZ d[ i]Z
 gZedgi^c\ jc^i l^i] ^ih XVggn^c\ Vbdjci+ ^cXajY^c\ \ddYl^aa- C[ i]^h hiZe ^cY^XViZh ^beV^gbZci+ i]Zc ^c i]Z hZXdcY hiZe+ i]Z adhh ^h bZVhjgZY Vh i]Z
 ZmXZhh d[ gZXdgYZY \ddYl^aa dkZg ^ih ^bea^ZY [V^g kVajZ- Cbea^ZY [V^g kVajZ ^h i]Z ZmXZhh d[ i]Z [V^g kVajZ d[ i]Z gZedgi^c\ jc^i dkZg i]Z [V^g kVajZ d[ Vaa
 ^YZci^[^ZY VhhZih VcY a^VW^a^i^Zh- QZ ]VkZ YZiZgb^cZY i]Z [V^g kVajZ d[ djg h^c\aZ gZedgi^c\ jc^i id WZ ZfjVa id djg bVg`Zi XVe^iVa^oVi^dc+ Vh YZiZgb^cZY
 Wn djg igVYZY h]VgZ eg^XZ+ eajh V Xdcigda egZb^jb- N]Z Xdcigda egZb^jb jhZY lVh WVhZY dc V gZk^Zl d[ hjX] egZb^jbh ^YZci^[^ZY ^c gZXZci
 VXfj^h^i^dch d[ XdbeVc^Zh d[ h^b^aVg h^oZ VcY ^c h^b^aVg ^cYjhig^Zh- QZ eZg[dgbZY djg VccjVa \ddYl^aa ^beV^gbZci iZhi ^c IXidWZg 1/05 VcY XdcXajYZY
 i]Vi \ddYl^aa lVh cdi ^beV^gZY Vh i]Z [V^g kVajZ d[ i]Z gZedgi^c\ jc^i h^\c^[^XVcian ZmXZZYZY ^ih XVggn^c\ Vbdjci+ ^cXajY^c\ \ddYl^aa- ;h d[ >ZXZbWZg
 20+ 1/05+ lZ ]VY #782-7 b^aa^dc d[ \ddYl^aa eg^bVg^an gZhjai^c\ [gdb i]Z ;ojg GZg\Zg dc DVcjVgn 07+ 1/01+ i]Z ?OM; ;Xfj^h^i^dc dc DjcZ 01+ 1/01+ i]Z
 AZci^jb ;Xfj^h^i^dc dc DVcjVgn 12+ 1/03 VcY i]Z =ZaVidg ;Xfj^h^i^dc dc Djan 01+ 1/05-

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 Intangible Assets
 Cc XdccZXi^dc l^i] i]Z ;ojg GZg\Zg+ i]Z ?OM; ;Xfj^h^i^dc+ i]Z AZci^jb ;Xfj^h^i^dc VcY i]Z =ZaVidg ;Xfj^h^i^dc+ lZ VXfj^gZY V cjbWZg d[
 ^ciVc\^WaZ VhhZih+ ^cXajY^c\ ^ciVc\^WaZ VhhZih gZaViZY id XjggZcian bVg`ZiZY egdYjXih 'YZkZadeZY iZX]cdad\n( VcY ^ciVc\^WaZ VhhZih gZaViZY id
 egdYjXi XVcY^YViZh 'CJL%>(- Q]Zc h^\c^[^XVci ^YZci^[^VWaZ ^ciVc\^WaZ VhhZih VgZ VXfj^gZY+ lZ Zc\V\Z Vc ^cYZeZcYZci i]^gY eVgin kVajVi^dc [^gb id
 Vhh^hi ^c YZiZgb^c^c\ i]Z [V^g kVajZh d[ i]ZhZ VhhZih Vh d[ i]Z VXfj^h^i^dc YViZ- >^hXdjciZY XVh] [adl bdYZah VgZ ine^XVaan jhZY ^c i]ZhZ kVajVi^dch+
 l]^X] gZfj^gZ i]Z jhZ d[ h^\c^[^XVci Zhi^bViZh VcY Vhhjbei^dch+ ^cXajY^c\ Wji cdi a^b^iZY id9
 s      Zhi^bVi^c\ i]Z i^b^c\ d[ VcY ZmeZXiZY Xdhih id XdbeaZiZ i]Z ^c,egdXZhh egd_ZXih:
 s      egd_ZXi^c\ gZ\jaVidgn VeegdkVah:
 s      Zhi^bVi^c\ [jijgZ XVh] [adlh [gdb egdYjXi hVaZh gZhjai^c\ [gdb XdbeaZiZY egdYjXih VcY ^c,egdXZhh egd_ZXih: VcY
 s      YZkZade^c\ Veegdeg^ViZ Y^hXdjci gViZh VcY egdWVW^a^in gViZh Wn egd_ZXi-
 QZ WZa^ZkZ i]Z [V^g kVajZh i]Vi lZ Vhh^\c id i]Z ^ciVc\^WaZ VhhZih VXfj^gZY VgZ WVhZY jedc gZVhdcVWaZ Zhi^bViZh VcY Vhhjbei^dch \^kZc VkV^aVWaZ
 [VXih VcY X^gXjbhiVcXZh Vh d[ i]Z VXfj^h^i^dc YViZh- Hd VhhjgVcXZ XVc WZ \^kZc+ ]dlZkZg+ i]Vi i]Z jcYZgan^c\ Vhhjbei^dch jhZY id Zhi^bViZ
 ZmeZXiZY XVh] [adlh l^aa igVche^gZ Vh Zhi^bViZY- Cc VYY^i^dc+ lZ VgZ gZfj^gZY id Zhi^bViZ i]Z eZg^dY d[ i^bZ dkZg l]^X] id Vbdgi^oZ i]Z ^ciVc\^WaZ
 VhhZih+ l]^X] gZfj^gZh h^\c^[^XVci _jY\bZci-
 Ijg [^c^iZ,a^kZY ^ciVc\^WaZ VhhZih VgZ Vbdgi^oZY dc V higV^\]i,a^cZ WVh^h dkZg i]Z^g Zhi^bViZY jhZ[ja a^kZh+ l]^X] gVc\Z [gdb ild id 05 nZVgh- N]Z
 Zhi^bViZY jhZ[ja a^kZh VhhdX^ViZY l^i] ^ciVc\^WaZ VhhZih VgZ Xdch^hiZci l^i] i]Z Zhi^bViZY a^kZh d[ i]Z egdYjXih VcY bVn WZ bdY^[^ZY l]Zc
 X^gXjbhiVcXZh lVggVci- CciVc\^WaZ VhhZih l^i] [^c^iZ a^kZh VgZ gZk^ZlZY [dg ^beV^gbZci l]ZcZkZg ZkZcih dg X^gXjbhiVcXZh ^cY^XViZ i]Vi i]Z XVggn^c\
 kVajZ d[ Vc VhhZi bVn cdi WZ gZXdkZgVWaZ- ?kZcih \^k^c\ g^hZ id ^beV^gbZci VgZ Vc ^c]ZgZci g^h` ^c i]Z e]VgbVXZji^XVa ^cYjhign VcY XVccdi WZ
 egZY^XiZY- @VXidgh i]Vi lZ Xdch^YZg ^c YZX^Y^c\ l]Zc id eZg[dgb Vc ^beV^gbZci gZk^Zl ^cXajYZ h^\c^[^XVci jcYZg,eZg[dgbVcXZ d[ V egdYjXi ^c gZaVi^dc
 id ZmeZXiVi^dch+ h^\c^[^XVci cZ\Vi^kZ ^cYjhign dg ZXdcdb^X igZcYh+ VcY h^\c^[^XVci X]Vc\Zh dg eaVccZY X]Vc\Zh ^c djg jhZ d[ i]Z VhhZih- ;c
 ^beV^gbZci adhh ldjaY WZ gZXd\c^oZY l]Zc Zhi^bViZY jcY^hXdjciZY [jijgZ XVh] [adlh ZmeZXiZY id gZhjai [gdb i]Z jhZ d[ i]Z VhhZi VcY ^ih ZkZcijVa
 Y^hedh^i^dc VgZ aZhh i]Vc ^ih XVggn^c\ Vbdjci- ?hi^bVi^c\ [jijgZ XVh] [adlh gZaViZY id Vc ^ciVc\^WaZ VhhZi ^ckdakZh Zhi^bViZh VcY Vhhjbei^dch- C[ djg
 Vhhjbei^dch VgZ cdi XdggZXi+ i]ZgZ XdjaY WZ Vc ^beV^gbZci adhh dg+ ^c i]Z XVhZ d[ V X]Vc\Z ^c i]Z Zhi^bViZY jhZ[ja a^[Z d[ i]Z VhhZi+ V X]Vc\Z ^c
 Vbdgi^oVi^dc ZmeZchZ-
 CJL%> ^h cdi Vbdgi^oZY Wji ^h iZhiZY [dg ^beV^gbZci VccjVaan dg l]Zc ZkZcih dg X^gXjbhiVcXZh ^cY^XViZ i]Vi i]Z [V^g kVajZ bVn WZ WZadl i]Z XVggn^c\
 kVajZ d[ i]Z VhhZi- C[ i]Z XVggn^c\ kVajZ d[ i]Z VhhZih ^h cdi ZmeZXiZY id WZ gZXdkZgZY+ i]Z VhhZih VgZ lg^iiZc Ydlc id i]Z^g Zhi^bViZY [V^g kVajZh-
 ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY #0-0 W^aa^dc d[ [^c^iZ,a^kZY ^ciVc\^WaZ VhhZih VcY #0-8 W^aa^dc d[ CJL%> VhhZih gZaViZY id i]Z bVg`ZiZY egdYjXih VcY
 i]Z CJL%> egd_ZXih i]Vi lZ VXfj^gZY ^c i]Z ;ojg GZg\Zg+ i]Z ?OM; ;Xfj^h^i^dc+ i]Z AZci^jb ;Xfj^h^i^dc VcY i]Z =ZaVidg ;Xfj^h^i^dc- QZ Y^Y cdi
 gZXd\c^oZ Vc ^beV^gbZci X]Vg\Z gZaViZY id djg ^ciVc\^WaZ VhhZih Yjg^c\ 1/05- Cc 1/04+ lZ gZXdgYZY Vc ^beV^gbZci X]Vg\Z d[ #20-4 b^aa^dc id djg
 VXfj^gZY CJL%> VhhZi Vh V gZhjai d[ djg YZX^h^dc id iZgb^cViZ V e^kdiVa J]VhZ 1 Xa^c^XVa ig^Va d[ DTJ,305- Cc 1/03+ lZ gZXdgYZY ^beV^gbZci X]Vg\Zh d[
 #28-3 b^aa^dc gZaViZY id XZgiV^c egdYjXih VXfj^gZY Vh eVgi d[ i]Z ?OM; ;Xfj^h^i^dc i]Vi lZ hdaY ^c GVgX] 1/04-
 JaZVhZ gZ[Zg id i]Z HdiZh id =dchda^YViZY @^cVcX^Va MiViZbZcih ^cXajYZY ZahZl]ZgZ ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E [dg [jgi]Zg ^c[dgbVi^dc VWdji
 djg ^ciVc\^WaZ VhhZih VcY i]Z gZbV^c^c\ jhZ[ja a^kZh d[ djg [^c^iZ,a^kZY ^ciVc\^WaZ VhhZih Vh d[ >ZXZbWZg 20+ 1/05-
 Income Taxes
 QZ jhZ i]Z VhhZi VcY a^VW^a^in bZi]dY d[ VXXdjci^c\ [dg ^cXdbZ iVmZh- OcYZg i]^h bZi]dY+ YZ[ZggZY iVm VhhZih VcY a^VW^a^i^Zh VgZ YZiZgb^cZY WVhZY dc
 Y^[[ZgZcXZh WZilZZc i]Z [^cVcX^Va hiViZbZci XVggn^c\ Vbdjci VcY i]Z iVm WVh^h d[ VhhZih VcY a^VW^a^i^Zh VcY VgZ bZVhjgZY jh^c\ ZcVXiZY iVm gViZh VcY
 aVlh i]Vi l^aa WZ ^c Z[[ZXi l]Zc i]Z Y^[[ZgZcXZh VgZ ZmeZXiZY id gZkZghZ- QZ egdk^YZ V kVajVi^dc VaadlVcXZ l]Zc ^i ^h bdgZ,a^`Zan,i]Vc,cdi i]Vi
 YZ[ZggZY iVm VhhZih l^aa cdi WZ gZVa^oZY-
 Ijg bdhi h^\c^[^XVci iVm _jg^hY^Xi^dch VgZ CgZaVcY+ i]Z O-M-+ CiVan VcY @gVcXZ- M^\c^[^XVci Zhi^bViZh VgZ gZfj^gZY ^c YZiZgb^c^c\ djg egdk^h^dc [dg
 ^cXdbZ iVmZh- MdbZ d[ i]ZhZ Zhi^bViZh VgZ WVhZY dc bVcV\ZbZcixh ^ciZgegZiVi^dch d[ _jg^hY^Xi^dc,heZX^[^X iVm aVlh dg gZ\jaVi^dch VcY i]Z a^`Za^]ddY
 d[ hZiiaZbZci gZaViZY id iVm VjY^i ^hhjZh- PVg^djh ^ciZgcVa VcY ZmiZgcVa [VXidgh bVn ]VkZ [VkdgVWaZ dg jc[VkdgVWaZ Z[[ZXih dc djg [jijgZ Z[[ZXi^kZ
 ^cXdbZ iVm gViZ- N]ZhZ [VXidgh ^cXajYZ+ Wji VgZ cdi a^b^iZY id+ X]Vc\Zh ^c iVm aVlh+ gZ\jaVi^dch VcY.dg gViZh+ X]Vc\^c\ ^ciZgegZiVi^dch d[ Zm^hi^c\ iVm
 aVlh dg gZ\jaVi^dch+ X]Vc\Zh ^c Zhi^bViZh d[ eg^dg nZVghx ^iZbh+ i]Z ^beVXi d[ VXXdjci^c\ [dg h]VgZ,WVhZY XdbeZchVi^dc+ X]Vc\Zh ^c djg ^ciZgcVi^dcVa
 dg\Vc^oVi^dc+ a^`Za^]ddY d[ hZiiaZbZci+ VcY X]Vc\Zh ^c dkZgVaa aZkZah d[ ^cXdbZ WZ[dgZ iVmZh-
 LZVa^oVi^dc d[ djg YZ[ZggZY iVm VhhZih ^h YZeZcYZci jedc i]Z \ZcZgVi^dc d[ [jijgZ iVmVWaZ ^cXdbZ+ i]Z Vbdjci VcY i^b^c\ d[ l]^X] VgZ jcXZgiV^c- Cc
 ZkVajVi^c\ djg VW^a^in id gZXdkZg djg YZ[ZggZY iVm VhhZih+ lZ Xdch^YZg Vaa VkV^aVWaZ edh^i^kZ VcY

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 cZ\Vi^kZ Zk^YZcXZ+ ^cXajY^c\ XjbjaVi^kZ ^cXdbZ ^c gZXZci [^hXVa nZVgh+ djg [dgZXVhi d[ [jijgZ iVmVWaZ ^cXdbZ ZmXajh^kZ d[ XZgiV^c gZkZgh^c\ iZbedgVgn
 Y^[[ZgZcXZh VcY h^\c^[^XVci g^h`h VcY jcXZgiV^ci^Zh gZaViZY id djg Wjh^cZhh- Cc YZiZgb^c^c\ [jijgZ iVmVWaZ ^cXdbZ+ lZ VgZ gZhedch^WaZ [dg Vhhjbei^dch
 ji^a^oZY ^cXajY^c\ i]Z Vbdjci d[ hiViZ+ [ZYZgVa VcY ^ciZgcVi^dcVa egZ,iVm deZgVi^c\ ^cXdbZ+ i]Z gZkZghVa d[ XZgiV^c iZbedgVgn Y^[[ZgZcXZh VcY i]Z
 ^beaZbZciVi^dc d[ [ZVh^WaZ VcY egjYZci iVm eaVcc^c\ higViZ\^Zh- N]ZhZ Vhhjbei^dch gZfj^gZ h^\c^[^XVci _jY\bZci VWdji i]Z [dgZXVhih d[ [jijgZ
 iVmVWaZ ^cXdbZ VcY VgZ Xdch^hiZci l^i] i]Z eaVch VcY Zhi^bViZh i]Vi lZ VgZ jh^c\ id bVcV\Z djg jcYZgan^c\ Wjh^cZhh-
 QZ bV^ciV^c V kVajVi^dc VaadlVcXZ V\V^chi XZgiV^c di]Zg YZ[ZggZY iVm VhhZih l]ZgZ gZVa^oVW^a^in ^h cdi XZgiV^c- QZ eZg^dY^XVaan ZkVajViZ i]Z a^`Za^]ddY
 d[ i]Z gZVa^oVi^dc d[ YZ[ZggZY iVm VhhZih VcY gZYjXZ i]Z XVggn^c\ Vbdjci d[ i]ZhZ YZ[ZggZY iVm VhhZih Wn V kVajVi^dc VaadlVcXZ id i]Z ZmiZci lZ
 WZa^ZkZ V edgi^dc l^aa cdi WZ gZVa^oZY- N]^h YZiZgb^cVi^dc YZeZcYh dc V kVg^Zin d[ [VXidgh+ hdbZ d[ l]^X] VgZ hjW_ZXi^kZ+ ^cXajY^c\ djg gZXZci
 XjbjaVi^kZ ZVgc^c\h ZmeZg^ZcXZ Wn iVm^c\ _jg^hY^Xi^dc+ ZmeZXiVi^dch d[ [jijgZ iVmVWaZ ^cXdbZ+ XVggn[dglVgY eZg^dYh VkV^aVWaZ id jh [dg iVm gZedgi^c\
 ejgedhZh+ kVg^djh ^cXdbZ iVm higViZ\^Zh VcY di]Zg gZaZkVci [VXidgh- C[ lZ YZiZgb^cZ i]Vi i]Z YZ[ZggZY iVm VhhZih VgZ cdi gZVa^oVWaZ ^c V [jijgZ eZg^dY+
 lZ ldjaY gZXdgY bViZg^Va X]Vc\Zh id ^cXdbZ iVm ZmeZchZ ^c i]Vi eZg^dY-
 QZ ]VkZ Vahd egdk^YZY [dg jcgZXd\c^oZY iVm WZcZ[^ih i]Vi lZ WZa^ZkZ VgZ cdi bdgZ,a^`Zan,i]Vc,cdi id WZ hjhiV^cZY jedc ZmVb^cVi^dc Wn iVm
 Vji]dg^i^Zh- N]Z ZkVajVi^dc d[ jcgZXd\c^oZY iVm WZcZ[^ih ^h WVhZY dc [VXidgh i]Vi ^cXajYZ+ Wji VgZ cdi a^b^iZY id+ X]Vc\Zh ^c iVm aVl+ i]Z bZVhjgZbZci
 d[ iVm edh^i^dch iV`Zc dg ZmeZXiZY id WZ iV`Zc ^c iVm gZijgch+ i]Z Z[[ZXi^kZ hZiiaZbZci d[ bViiZgh hjW_ZXi id VjY^i+ cZl VjY^i VXi^k^in VcY X]Vc\Zh ^c
 [VXih dg X^gXjbhiVcXZh gZaViZY id V iVm edh^i^dc- QZ ZkVajViZ jcgZXd\c^oZY iVm WZcZ[^ih dc V fjVgiZgan WVh^h VcY VY_jhi i]Z aZkZa d[ i]Z a^VW^a^in id
 gZ[aZXi Vcn hjWhZfjZci X]Vc\Zh ^c i]Z gZaZkVci [VXih hjggdjcY^c\ i]Z jcXZgiV^c edh^i^dch- Ijg a^VW^a^i^Zh [dg jcgZXd\c^oZY iVm WZcZ[^ih XVc WZ
 gZa^ZkZY dcan ^[ i]Z Xdci^c\ZcXn WZXdbZh aZ\Vaan Zmi^c\j^h]ZY i]gdj\] Z^i]Zg eVnbZci id i]Z iVm^c\ Vji]dg^in dg i]Z Zme^gVi^dc d[ i]Z hiVijiZ d[
 a^b^iVi^dch+ i]Z gZXd\c^i^dc d[ i]Z WZcZ[^ih VhhdX^ViZY l^i] i]Z edh^i^dc bZZi i]Z bdgZ,a^`Zan,i]Vc,cdi i]gZh]daY dg i]Z a^VW^a^in WZXdbZh Z[[ZXi^kZan
 hZiiaZY i]gdj\] i]Z ZmVb^cVi^dc egdXZhh- QZ Xdch^YZg bViiZgh id WZ Z[[ZXi^kZan hZiiaZY dcXZ i]Z iVm^c\ Vji]dg^in ]Vh XdbeaZiZY Vaa d[ ^ih gZfj^gZY dg
 ZmeZXiZY ZmVb^cVi^dc egdXZYjgZh+ ^cXajY^c\ Vaa VeeZVah VcY VYb^c^higVi^kZ gZk^Zlh- QZ Vahd VXXgjZ [dg ediZci^Va ^ciZgZhi VcY eZcVai^Zh gZaViZY id
 jcgZXd\c^oZY iVm WZcZ[^ih ^c ^cXdbZ iVm egdk^h^dc 'WZcZ[^i(-
 Share-Based Compensation
 QZ ]VkZ ZaZXiZY id jhZ i]Z <aVX`,MX]daZh dei^dc eg^X^c\ bdYZa id XVaXjaViZ i]Z [V^g kVajZ d[ h]VgZ dei^dc \gVcih jcYZg djg Zfj^in ^cXZci^kZ eaVch
 VcY \gVcih jcYZg djg ZbeadnZZ hidX` ejgX]VhZ eaVc+ dg ?MJJ+ VcY lZ VgZ jh^c\ i]Z higV^\]i,a^cZ bZi]dY id VaadXViZ XdbeZchVi^dc Xdhi id gZedgi^c\
 eZg^dYh- N]Z [V^g kVajZ d[ h]VgZ dei^dch lVh Zhi^bViZY jh^c\ i]Z [daadl^c\ Vhhjbei^dch9

                                                                                                            Year Ended December 31,
                                                                                             2016                    2015                  2014
 PdaVi^a^in                                                                                          28$                     28$                    34$
 ?meZXiZY iZgb 'nZVgh(                                                                               3-1                    3-1                    3-2
 LVc\Z d[ g^h`,[gZZ gViZh                                                                      /-7,0-5$                0-0,0-4$              0-0,0-3$
 ?meZXiZY Y^k^YZcY n^ZaY                                                                               ,$                     ,$                     ,$

 N]Z ild ^cejih l]^X] gZfj^gZ i]Z \gZViZhi _jY\bZci VcY ]VkZ V aVg\Z ^beVXi dc [V^g kVajZh VgZ kdaVi^a^in VcY ZmeZXiZY iZgb-
 QZ gZan dcan dc V WaZcY d[ i]Z ]^hidg^XVa VcY ^bea^ZY kdaVi^a^i^Zh d[ djg dlc dgY^cVgn h]VgZh id YZiZgb^cZ ZmeZXiZY kdaVi^a^in [dg h]VgZ dei^dc \gVcih-
 Cc VYY^i^dc+ lZ jhZ V h^c\aZ kdaVi^a^in Zhi^bViZ [dg ZVX] h]VgZ dei^dc \gVci- N]Z lZ^\]iZY,VkZgV\Z kdaVi^a^in ^h YZiZgb^cZY Wn XVaXjaVi^c\ i]Z
 lZ^\]iZY VkZgV\Z d[ kdaVi^a^i^Zh [dg Vaa h]VgZ dei^dch \gVciZY ^c V \^kZc nZVg-
 N]Z ZmeZXiZY iZgb d[ h]VgZ dei^dc \gVcih gZegZhZcih i]Z lZ^\]iZY,VkZgV\Z eZg^dY i]Z VlVgYh VgZ ZmeZXiZY id gZbV^c djihiVcY^c\- QZ Zhi^bViZY i]Z
 lZ^\]iZY,VkZgV\Z ZmeZXiZY iZgb WVhZY dc ]^hidg^XVa ZmZgX^hZ YViV-


 Recent Accounting Pronouncements
 Cc DVcjVgn 1/06+ i]Z @^cVcX^Va ;XXdjci^c\ MiVcYVgYh <dVgY+ dg i]Z @;M<+ ^hhjZY ;MO Hd- 1/06,/3+ vCciVc\^WaZh , AddYl^aa VcY Ii]Zg 'Nde^X 24/(9
 M^bea^[n^c\ i]Z NZhi [dg AddYl^aa CbeV^gbZciw l]^X] h^bea^[^Zh i]Z VXXdjci^c\ [dg \ddYl^aa ^beV^gbZci Wn Za^b^cVi^c\ MiZe 1 d[ i]Z XjggZci \ddYl^aa
 ^beV^gbZci iZhi- AddYl^aa ^beV^gbZci l^aa cdl WZ i]Z Vbdjci Wn l]^X] i]Z gZedgi^c\ jc^ixh XVggn^c\ kVajZ ZmXZZYh ^ih [V^g kVajZ+ a^b^iZY id i]Z
 XVggn^c\ kVajZ d[ i]Z \ddYl^aa- N]Z hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/1/- ?Vgan VYdei^dc ^h eZgb^iiZY [dg Vcn ^beV^gbZci iZhih
 eZg[dgbZY V[iZg DVcjVgn 0+ 1/06- N]Z cZl \j^YVcXZ ^h cdi ZmeZXiZY id ]VkZ V bViZg^Va ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc-

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 Cc DVcjVgn 1/06+ i]Z @;M< ^hhjZY ;MO Hd- 1/06,/0+ v<jh^cZhh =dbW^cVi^dch 'Nde^X 7/4(9 =aVg^[n^c\ i]Z >Z[^c^i^dc d[ V <jh^cZhhw l]^X] egdk^YZh
 XaVg^[^XVi^dc dc i]Z YZ[^c^i^dc d[ V Wjh^cZhh VcY VYYh \j^YVcXZ id Vhh^hi Zci^i^Zh l^i] ZkVajVi^c\ l]Zi]Zg igVchVXi^dch h]djaY WZ VXXdjciZY [dg Vh
 VXfj^h^i^dch 'dg Y^hedhVah( d[ VhhZih dg Wjh^cZhhZh- N]Z hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- N]Z
 [jijgZ ^beVXi d[ ;MO Hd- 1/06,/0 l^aa WZ YZeZcYZci jedc i]Z cVijgZ d[ djg [jijgZ VXfj^h^i^dc dg Y^hedh^i^dc igVchVXi^dch+ ^[ Vcn-
 Cc IXidWZg 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,05+ vCcXdbZ NVmZh 'Nde^X 63/(9 CcigV,?ci^in NgVch[Zgh d[ ;hhZih Ii]Zg N]Vc CckZcidgnw l]^X]
 gZfj^gZh Vc Zci^in id gZXd\c^oZ i]Z ^cXdbZ iVm XdchZfjZcXZh d[ Vc ^cigV,Zci^in VhhZi igVch[Zg+ di]Zg i]Vc Vc ^cigV,Zci^in VhhZi igVch[Zg d[ ^ckZcidgn+
 l]Zc i]Z igVch[Zg dXXjgh- N]Z hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- QZ VgZ XjggZcian VhhZhh^c\ djg
 VeegdVX] id i]Z VYdei^dc d[ i]^h hiVcYVgY VcY i]Z ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc-
 Cc ;j\jhi 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,04+ vMiViZbZci d[ =Vh] @adlh 'Nde^X 12/(9 =aVhh^[^XVi^dc d[ =ZgiV^c =Vh] LZXZ^eih VcY =Vh]
 JVnbZcihw- ;MO 1/05,04 VYYgZhhZh ]dl XZgiV^c XVh] gZXZ^eih VcY XVh] eVnbZcih VgZ egZhZciZY VcY XaVhh^[^ZY ^c i]Z hiViZbZci d[ XVh] [adlh- N]Z
 hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- QZ Yd cdi ZmeZXi i]Z VYdei^dc d[ i]^h \j^YVcXZ id ]VkZ V
 bViZg^Va ^beVXi dc djg Xdchda^YViZY [^cVcX^Va hiViZbZcih-
 Cc @ZWgjVgn 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,/1+ vFZVhZh 'Nde^X 731(w- OcYZg i]Z cZl \j^YVcXZ+ aZhhZZh l^aa WZ gZfj^gZY id gZXd\c^oZ V g^\]i,d[,
 jhZ VhhZi+ l]^X] gZegZhZcih i]Z aZhhZZxh g^\]i id jhZ+ dg Xdcigda i]Z jhZ d[+ V heZX^[^ZY VhhZi [dg i]Z aZVhZ iZgb+ VcY V XdggZhedcY^c\ aZVhZ a^VW^a^in+
 l]^X] gZegZhZcih i]Z aZhhZZxh dWa^\Vi^dc id bV`Z aZVhZ eVnbZcih jcYZg V aZVhZ+ bZVhjgZY dc V Y^hXdjciZY WVh^h- ;MO Hd- 1/05,/1 ^h Z[[ZXi^kZ
 WZ\^cc^c\ DVcjVgn 0+ 1/08 VcY ZVgan Veea^XVi^dc ^h eZgb^iiZY- ;MO Hd- 1/05,/1 bjhi WZ VYdeiZY dc V bdY^[^ZY gZigdheZXi^kZ igVch^i^dc WVh^h [dg
 aZVhZh Zm^hi^c\ Vi+ dg ZciZgZY ^cid V[iZg+ i]Z WZ\^cc^c\ d[ i]Z ZVga^Zhi XdbeVgVi^kZ eZg^dY egZhZciZY ^c i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih- Q]^aZ
 lZ VgZ Xdci^cj^c\ id VhhZhh Vaa ediZci^Va ^beVXih d[ i]Z hiVcYVgY+ lZ XjggZcian WZa^ZkZ i]Z bdhi h^\c^[^XVci ^beVXi gZaViZh id djg VXXdjci^c\ [dg i]Z
 aZVhZ V\gZZbZci lZ ZciZgZY ^cid ^c DVcjVgn 1/04 id aZVhZ d[[^XZ heVXZ adXViZY ^c JVad ;aid+ =Va^[dgc^V ^c V Wj^aY^c\ id WZ XdchigjXiZY Wn i]Z aVcYadgY+
 l]^X] ^h VXXdjciZY [dg Vh V Wj^aY,id,hj^i VggVc\ZbZci jcYZg Zm^hi^c\ VXXdjci^c\ hiVcYVgYh+ VcY i]Z aZVhZ V\gZZbZci lZ ZciZgZY ^cid ^c ;j\jhi 1/05
 [dg d[[^XZ heVXZ ^c >jWa^c+ CgZaVcY-
 Cc GVn 1/03+ i]Z @;M< ^hhjZY ;MO Hd- 1/03,/8+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZghw- N]Z hiVcYVgY hiViZh i]Vi Vc Zci^in h]djaY gZXd\c^oZ
 gZkZcjZ id YZe^Xi i]Z igVch[Zg d[ egdb^hZY \ddYh dg hZgk^XZh id XjhidbZgh ^c Vc Vbdjci i]Vi gZ[aZXih i]Z Xdch^YZgVi^dc id l]^X] i]Z Zci^in ZmeZXih
 id WZ Zci^iaZY ^c ZmX]Vc\Z [dg i]dhZ \ddYh dg hZgk^XZh- Nd VX]^ZkZ i]^h+ Vc Zci^in l^aa cZZY id ^YZci^[n i]Z XdcigVXi l^i] V XjhidbZg: ^YZci^[n i]Z
 hZeVgViZ eZg[dgbVcXZ dWa^\Vi^dch ^c i]Z XdcigVXi: YZiZgb^cZ i]Z igVchVXi^dc eg^XZ: VaadXViZ i]Z igVchVXi^dc eg^XZ id i]Z hZeVgViZ eZg[dgbVcXZ
 dWa^\Vi^dch ^c i]Z XdcigVXi: VcY gZXd\c^oZ gZkZcjZ l]Zc 'dg Vh( i]Z Zci^in hVi^h[^Zh ZVX] eZg[dgbVcXZ dWa^\Vi^dc- Cc ;j\jhi 1/04+ i]Z @;M< ^hhjZY
 ;MO Hd- 1/04,03+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh9 >Z[ZggVa d[ i]Z ?[[ZXi^kZ >ViZw+ l]^X] YZ[ZggZY i]Z Z[[ZXi^kZ YViZ d[ ;MO Hd- 1/03,/8-
 ;MO Hd- 1/03,/8 l^aa cdl WZ Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07 VcY XVc WZ VYdeiZY dc V [jaa gZigdheZXi^kZ WVh^h dg dc V bdY^[^ZY
 gZigdheZXi^kZ WVh^h- Cc GVgX] 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,/7+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 Jg^cX^eVa kZghjh
 ;\Zci =dch^YZgVi^dchw+ l]^X] XaVg^[^Zh i]Z ^beaZbZciVi^dc \j^YVcXZ dc eg^cX^eVa kZghjh V\Zci Xdch^YZgVi^dch- Cc ;eg^a 1/05+ i]Z @;M< ^hhjZY ;MO
 Hd- 1/05,0/+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 CYZci^[n^c\ JZg[dgbVcXZ IWa^\Vi^dch VcY F^XZch^c\w+ l]^X] XaVg^[^Zh XZgiV^c
 VheZXih d[ ^YZci^[n^c\ eZg[dgbVcXZ dWa^\Vi^dch VcY a^XZch^c\ ^beaZbZciVi^dc \j^YVcXZ- Cc GVn 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,01+ vLZkZcjZ
 [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 HVggdl,MXdeZ CbegdkZbZcih VcY JgVXi^XVa ?meZY^Zcihw gZaViZY id Y^hXadhjgZh d[ gZbV^c^c\ eZg[dgbVcXZ
 dWa^\Vi^dch+ Vh lZaa Vh di]Zg VbZcYbZcih id \j^YVcXZ dc XdaaZXiVW^a^in+ cdc,XVh] Xdch^YZgVi^dc VcY i]Z egZhZciVi^dc d[ hVaZh VcY di]Zg h^b^aVg iVmZh
 XdaaZXiZY [gdb XjhidbZgh- JgZhZcian+ lZ eaVc id VYdei ;MO Hd- 1/03,/8 Vi ^ih Z[[ZXi^kZ YViZ+ Wji lZ ]VkZ cdi nZi YZiZgb^cZY l]^X] igVch^i^dc
 bZi]dY lZ l^aa X]ddhZ- QZ ]VkZ hjWhiVci^Vaan XdbeaZiZY djg gZk^Zl d[ Zm^hi^c\ gZkZcjZ XdcigVXih VcY Yd cdi Vci^X^eViZ i]Vi i]Z ^beaZbZciVi^dc d[
 ;MO Hd- 1/03,/8 l^aa ]VkZ V bViZg^Va ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc- QZ VgZ Xdci^cj^c\ id gZk^Zl i]Z ^beVXi i]Vi i]Z cZl
 hiVcYVgY l^aa ]VkZ dc djg [^cVcX^Va hiViZbZci Y^hXadhjgZh-


 Off-Balance Sheet Arrangements
 QZ Yd cdi ]VkZ Vcn d[[,WVaVcXZ h]ZZi VggVc\ZbZcih-



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 NVWaZ d[ =dciZcih


 Item 7A.       Quantitative and Qualitative Disclosures About Market Risk
 Interest Rate Risk- N]Z eg^bVgn dW_ZXi^kZh d[ djg ^ckZhibZci eda^Xn+ ^c dgYZg d[ eg^dg^in+ VgZ Vh [daadlh9 hV[Zin VcY egZhZgkVi^dc d[ eg^cX^eVa VcY
 Y^kZgh^[^XVi^dc d[ g^h`: a^fj^Y^in d[ ^ckZhibZcih hj[[^X^Zci id bZZi XVh] [adl gZfj^gZbZcih: VcY XdbeZi^i^kZ n^ZaY- ;ai]dj\] djg ^ckZhibZcih VgZ
 hjW_ZXi id bVg`Zi g^h`+ djg ^ckZhibZci eda^Xn heZX^[^Zh XgZY^i fjVa^in hiVcYVgYh [dg djg ^ckZhibZcih VcY a^b^ih i]Z Vbdjci d[ XgZY^i ZmedhjgZ [gdb
 Vcn h^c\aZ ^hhjZ+ ^hhjZg dg XZgiV^c ineZh d[ ^ckZhibZci- Ijg ^ckZhibZci eda^Xn Vaadlh jh id bV^ciV^c V edgi[da^d d[ XVh] Zfj^kVaZcih VcY h]dgi,iZgb
 ^ckZhibZcih ^c V kVg^Zin d[ hZXjg^i^Zh+ ^cXajY^c\ O-M- [ZYZgVa \dkZgcbZci VcY [ZYZgVa V\ZcXn hZXjg^i^Zh+ XdgedgViZ WdcYh dg XdbbZgX^Va eVeZg ^hhjZY
 Wn O-M- XdgedgVi^dch+ bdcZn bVg`Zi ^chigjbZcih+ XZgiV^c fjVa^[n^c\ bdcZn bVg`Zi bjijVa [jcYh+ XZgiV^c gZejgX]VhZ V\gZZbZcih+ VcY iVm,ZmZbei
 dWa^\Vi^dch d[ hiViZh+ V\ZcX^Zh VcY bjc^X^eVa^i^Zh ^c i]Z O-M- Ijg XVh] Zfj^kVaZcih VcY ^ckZhibZcih Vh d[ >ZXZbWZg 20+ 1/05 Xdch^hiZY d[ i^bZ
 YZedh^ih l]^X] VgZ cdi hjW_ZXi id h^\c^[^XVci ^ciZgZhi gViZ g^h`-
 QZ VgZ ZmedhZY id g^h`h VhhdX^ViZY l^i] X]Vc\Zh ^c ^ciZgZhi gViZh ^c XdccZXi^dc l^i] djg iZgb adVc VcY Wdggdl^c\h jcYZg djg gZkdak^c\ XgZY^i
 [VX^a^in- Ic Djan 01+ 1/05+ lZ ZciZgZY ^cid i]Z VbZcYZY XgZY^i V\gZZbZci+ l]^X] egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc gZeaVX^c\ djg
 eg^dg gZkdak^c\ XgZY^i [VX^a^in d[ #64/-/ b^aa^dc+ d[ l]^X] #74/-/ b^aa^dc lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05+ VcY V #64/-/ b^aa^dc iZgb adVc
 [VX^a^in+ d[ l]^X] #601-8 b^aa^dc eg^cX^eVa Vbdjci lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05- QZ jhZY i]Z egdXZZYh d[ #0-/ W^aa^dc d[ adVch jcYZg i]Z
 gZkdak^c\ XgZY^i [VX^a^in+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc- <VhZY dc ^cYZWiZYcZhh jcYZg djg iZgb adVc VcY gZkdak^c\
 XgZY^i [VX^a^i^Zh d[ #0-5 W^aa^dc Vh d[ >ZXZbWZg 20+ 1/05+ V 0-/$ ^cXgZVhZ ^c ^ciZgZhi gViZh ldjaY ^cXgZVhZ cZi ^ciZgZhi ZmeZchZ ^c 1/06 Wn Veegdm^bViZan
 #05 b^aa^dc-
 Cc ;j\jhi 1/03+ lZ XdbeaZiZY V eg^kViZ eaVXZbZci d[ #464-/ b^aa^dc V\\gZ\ViZ eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh- N]Z 1/10 HdiZh ]VkZ V [^mZY
 VccjVa ^ciZgZhi gViZ d[ 0-764$ VcY lZ+ i]ZgZ[dgZ+ Yd cdi ]VkZ ZXdcdb^X ^ciZgZhi gViZ ZmedhjgZ dc i]Z 1/10 HdiZh- BdlZkZg+ i]Z [V^g kVajZ d[ i]Z 1/10
 HdiZh ^h ZmedhZY id ^ciZgZhi gViZ g^h`- AZcZgVaan+ i]Z [V^g kVajZ d[ i]Z 1/10 HdiZh l^aa ^cXgZVhZ Vh ^ciZgZhi gViZh [Vaa VcY YZXgZVhZ Vh ^ciZgZhi gViZh g^hZ-
 N]Z [V^g kVajZ d[ i]Z 1/10 HdiZh ^h Vahd V[[ZXiZY Wn kdaVi^a^in ^c djg dgY^cVgn h]VgZ eg^XZ- ;h d[ >ZXZbWZg 20+ 1/05+ i]Z [V^g kVajZ d[ i]Z 1/10 HdiZh
 lVh Zhi^bViZY id WZ #442 b^aa^dc-
 Foreign Exchange Risk- QZ ]VkZ h^\c^[^XVci deZgVi^dch ^c ?jgdeZ Vh lZaa Vh ^c i]Z O-M- N]Z [jcXi^dcVa XjggZcXn d[ ZVX] [dgZ^\c hjWh^Y^Vgn ^h
 \ZcZgVaan i]Z adXVa XjggZcXn- QZ VgZ ZmedhZY id [dgZ^\c XjggZcXn ZmX]Vc\Z g^h` Vh i]Z [jcXi^dcVa XjggZcXn [^cVcX^Va hiViZbZcih d[ [dgZ^\c
 hjWh^Y^Vg^Zh VgZ igVchaViZY id O-M- YdaaVgh- N]Z VhhZih VcY a^VW^a^i^Zh d[ djg [dgZ^\c hjWh^Y^Vg^Zh ]Vk^c\ V [jcXi^dcVa XjggZcXn di]Zg i]Vc i]Z O-M-
 YdaaVg VgZ igVchaViZY ^cid O-M- YdaaVgh Vi i]Z ZmX]Vc\Z gViZ egZkV^a^c\ Vi i]Z WVaVcXZ h]ZZi YViZ+ VcY Vi i]Z VkZgV\Z ZmX]Vc\Z gViZ [dg i]Z gZedgi^c\
 eZg^dY [dg gZkZcjZ VcY ZmeZchZ VXXdjcih- N]Z XjbjaVi^kZ [dgZ^\c XjggZcXn igVchaVi^dc VY_jhibZci ^h gZXdgYZY Vh V XdbedcZci d[ VXXjbjaViZY di]Zg
 XdbegZ]Zch^kZ adhh ^c h]VgZ]daYZghx Zfj^in- N]Z gZedgiZY gZhjaih d[ djg [dgZ^\c hjWh^Y^Vg^Zh l^aa WZ ^c[ajZcXZY Wn i]Z^g igVchaVi^dc ^cid O-M- YdaaVgh
 Wn XjggZcXn bdkZbZcih V\V^chi i]Z O-M- YdaaVg- Ijg eg^bVgn XjggZcXn igVchaVi^dc ZmedhjgZ ^h gZaViZY id djg hjWh^Y^Vg^Zh i]Vi ]VkZ [jcXi^dcVa
 XjggZcX^Zh YZcdb^cViZY ^c i]Z Zjgd- ; 0/$ higZc\i]Zc^c\.'lZV`Zc^c\( ^c i]Z gViZh jhZY id igVchaViZ i]Z gZhjaih d[ djg [dgZ^\c hjWh^Y^Vg^Zh i]Vi ]VkZ
 [jcXi^dcVa XjggZcX^Zh YZcdb^cViZY ^c i]Z Zjgd ldjaY ]VkZ ^cXgZVhZY.'YZXgZVhZY( cZi ^cXdbZ [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05 Wn
 Veegdm^bViZan #8 b^aa^dc-
 NgVchVXi^dcVa ZmedhjgZ Vg^hZh l]ZgZ igVchVXi^dch dXXjg ^c XjggZcX^Zh di]Zg i]Vc i]Z [jcXi^dcVa XjggZcXn- NgVchVXi^dch ^c [dgZ^\c XjggZcX^Zh VgZ
 gZXdgYZY Vi i]Z ZmX]Vc\Z gViZ egZkV^a^c\ Vi i]Z YViZ d[ i]Z igVchVXi^dc- N]Z gZhjai^c\ bdcZiVgn VhhZih VcY a^VW^a^i^Zh VgZ igVchaViZY ^cid i]Z
 Veegdeg^ViZ [jcXi^dcVa XjggZcXn Vi ZmX]Vc\Z gViZh egZkV^a^c\ Vi i]Z WVaVcXZ h]ZZi YViZ VcY i]Z gZhjai^c\ \V^ch VcY adhhZh VgZ gZedgiZY ^c [dgZ^\c
 XjggZcXn \V^c 'adhh( ^c i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- ;h d[ >ZXZbWZg 20+ 1/05+ djg eg^bVgn ZmedhjgZ id igVchVXi^dc g^h` gZaViZY id Zjgd cZi
 bdcZiVgn a^VW^a^i^Zh+ ^cXajY^c\ ^ciZgXdbeVcn adVch+ ]ZaY Wn hjWh^Y^Vg^Zh l^i] V O-M- YdaaVg [jcXi^dcVa XjggZcXn- ;h d[ >ZXZbWZg 20+ 1/05+ V 0/$
 higZc\i]Zc^c\.'lZV`Zc^c\( ^c i]Z Zjgd V\V^chi i]Z O-M- YdaaVg ldjaY ]VkZ 'YZXgZVhZY(.^cXgZVhZY cZi ^cXdbZ Wn Veegdm^bViZan #5 b^aa^dc- Cc 1/06+ id
 b^i^\ViZ i]^h g^h`+ lZ ZciZgZY ^cid [dgZ^\c ZmX]Vc\Z [dglVgY XdcigVXih id bVcV\Z XjggZcXn g^h` gZaViZY id XZgiV^c ^ciZgXdbeVcn adVch YZcdb^cViZY ^c
 cdc,[jcXi^dcVa XjggZcX^Zh- N]ZhZ [dgZ^\c ZmX]Vc\Z [dglVgY XdcigVXih VgZ cdi YZh^\cViZY Vh ]ZY\Zh: \V^ch VcY adhhZh dc i]ZhZ YZg^kVi^kZ
 ^chigjbZcih VgZ YZh^\cZY id d[[hZi \V^ch VcY adhhZh dc i]Z jcYZgan^c\ WVaVcXZ h]ZZi ZmedhjgZh-



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 Item 8.        Financial Statements and Supplementary Data
 Ijg Xdchda^YViZY [^cVcX^Va hiViZbZcih Vh a^hiZY WZadl VgZ ^cXajYZY ^c i]^h ;ccjVa LZedgi dc @dgb 0/,E Vh eV\Zh @,0 i]gdj\] @,36-

                                                                                                                                                 Page
 Jazz Pharmaceuticals plc
 LZedgi d[ CcYZeZcYZci LZ\^hiZgZY JjWa^X ;XXdjci^c\ @^gb                                                                                        @,0
 =dchda^YViZY <VaVcXZ M]ZZih                                                                                                                    @,1
 =dchda^YViZY MiViZbZcih d[ CcXdbZ                                                                                                              @,2
 =dchda^YViZY MiViZbZcih d[ =dbegZ]Zch^kZ CcXdbZ 'Fdhh(                                                                                         @,3
 =dchda^YViZY MiViZbZcih d[ M]VgZ]daYZghx ?fj^in                                                                                                @,4
 =dchda^YViZY MiViZbZcih d[ =Vh] @adlh                                                                                                          @,7
 HdiZh id =dchda^YViZY @^cVcX^Va MiViZbZcih                                                                                                     @,0/


 Item 9.        Changes in and Disagreements with Accountants on Accounting and Financial Disclosure
 Hdi Veea^XVWaZ-
 Item 9A.       Controls and Procedures
 Evaluation of Disclosure Controls and Procedures- QZ ]VkZ XVgg^ZY dji Vc ZkVajVi^dc jcYZg i]Z hjeZgk^h^dc VcY l^i] i]Z eVgi^X^eVi^dc d[
 bVcV\ZbZci+ ^cXajY^c\ djg eg^cX^eVa ZmZXji^kZ d[[^XZg VcY eg^cX^eVa [^cVcX^Va d[[^XZg+ d[ djg Y^hXadhjgZ Xdcigdah VcY egdXZYjgZh 'Vh YZ[^cZY ^c LjaZ
 02V,04'Z( d[ i]Z ?mX]Vc\Z ;Xi( Vh d[ i]Z ZcY d[ i]Z eZg^dY XdkZgZY Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E- <VhZY dc i]Z^g ZkVajVi^dc+ djg eg^cX^eVa
 ZmZXji^kZ d[[^XZg VcY eg^cX^eVa [^cVcX^Va d[[^XZg XdcXajYZY i]Vi djg Y^hXadhjgZ Xdcigdah VcY egdXZYjgZh lZgZ Z[[ZXi^kZ Vh d[ >ZXZbWZg 20+ 1/05-
 Limitations on the Effectiveness of Controls. ; Xdcigda hnhiZb+ cd bViiZg ]dl lZaa XdcXZ^kZY VcY deZgViZY+ XVc egdk^YZ dcan gZVhdcVWaZ+ cdi
 VWhdajiZ+ VhhjgVcXZ i]Vi i]Z dW_ZXi^kZh d[ i]Z Xdcigda hnhiZb VgZ bZi- <ZXVjhZ d[ ^c]ZgZci a^b^iVi^dch ^c Vaa Xdcigda hnhiZbh+ cd ZkVajVi^dc d[
 Xdcigdah XVc egdk^YZ VWhdajiZ VhhjgVcXZ i]Vi Vaa Xdcigda ^hhjZh+ ^[ Vcn+ l^i]^c Vc dg\Vc^oVi^dc ]VkZ WZZc YZiZXiZY- ;XXdgY^c\an+ djg Y^hXadhjgZ
 Xdcigdah VcY egdXZYjgZh VgZ YZh^\cZY id egdk^YZ gZVhdcVWaZ+ cdi VWhdajiZ+ VhhjgVcXZ i]Vi i]Z dW_ZXi^kZh d[ djg Y^hXadhjgZ Xdcigda hnhiZb VgZ bZi
 VcY+ Vh hZi [dgi] VWdkZ+ djg eg^cX^eVa ZmZXji^kZ d[[^XZg VcY eg^cX^eVa [^cVcX^Va d[[^XZg ]VkZ XdcXajYZY+ WVhZY dc i]Z^g ZkVajVi^dc Vh d[ i]Z ZcY d[ i]Z
 eZg^dY XdkZgZY Wn i]^h gZedgi+ i]Vi djg Y^hXadhjgZ Xdcigdah VcY egdXZYjgZh lZgZ Z[[ZXi^kZ id egdk^YZ gZVhdcVWaZ VhhjgVcXZ i]Vi i]Z dW_ZXi^kZh d[ djg
 Y^hXadhjgZ Xdcigda hnhiZb lZgZ bZi-
 Changes in Internal Control over Financial Reporting. >jg^c\ i]Z fjVgiZg ZcYZY >ZXZbWZg 20+ 1/05+ i]ZgZ lZgZ cd X]Vc\Zh id djg ^ciZgcVa Xdcigda
 dkZg [^cVcX^Va gZedgi^c\ i]Vi ]VkZ bViZg^Vaan V[[ZXiZY+ dg VgZ gZVhdcVWan a^`Zan id bViZg^Vaan V[[ZXi+ djg ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\-
 Management’s Report on Internal Control over Financial Reporting. N]Z [daadl^c\ gZedgi ^h egdk^YZY Wn bVcV\ZbZci ^c gZheZXi d[ djg ^ciZgcVa
 Xdcigda dkZg [^cVcX^Va gZedgi^c\ 'Vh YZ[^cZY ^c LjaZ 02V,04'[( d[ i]Z ?mX]Vc\Z ;Xi(9
 0-         Ijg bVcV\ZbZci ^h gZhedch^WaZ [dg ZhiVWa^h]^c\ VcY bV^ciV^c^c\ VYZfjViZ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\-
 1-         Ijg bVcV\ZbZci jhZY i]Z =dbb^iiZZ d[ Medchdg^c\ Ig\Vc^oVi^dch d[ i]Z NgZVYlVn =dbb^hh^dc CciZgcVa =dcigda , CciZ\gViZY @gVbZldg`
            '1/02(+ dg i]Z =IMI [gVbZldg`+ id ZkVajViZ i]Z Z[[ZXi^kZcZhh d[ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\- GVcV\ZbZci WZa^ZkZh i]Vi i]Z
            =IMI [gVbZldg` ^h V hj^iVWaZ [gVbZldg` [dg ^ih ZkVajVi^dc d[ [^cVcX^Va gZedgi^c\ WZXVjhZ ^i ^h [gZZ [gdb W^Vh+ eZgb^ih gZVhdcVWan
            Xdch^hiZci fjVa^iVi^kZ VcY fjVci^iVi^kZ bZVhjgZbZcih d[ djg ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\+ ^h hj[[^X^Zcian XdbeaZiZ hd i]Vi
            i]dhZ gZaZkVci [VXidgh i]Vi ldjaY VaiZg V XdcXajh^dc VWdji i]Z Z[[ZXi^kZcZhh d[ djg ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ VgZ cdi
            db^iiZY VcY ^h gZaZkVci id Vc ZkVajVi^dc d[ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\-
 2-         GVcV\ZbZci ]Vh VhhZhhZY i]Z Z[[ZXi^kZcZhh d[ djg ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ Vh d[ >ZXZbWZg 20+ 1/05 VcY ]Vh XdcXajYZY
            i]Vi hjX] ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ lVh Z[[ZXi^kZ- N]ZgZ lZgZ cd bViZg^Va lZV`cZhhZh ^c ^ciZgcVa Xdcigda dkZg [^cVcX^Va
            gZedgi^c\ ^YZci^[^ZY Wn bVcV\ZbZci-
 3-         EJGA+ djg ^cYZeZcYZci gZ\^hiZgZY ejWa^X VXXdjci^c\ [^gb+ ]Vh VjY^iZY i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih d[ DVoo J]VgbVXZji^XVah eaX
            Vh d[ VcY [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05+ ^cXajYZY ]ZgZ^c+ VcY ]Vh ^hhjZY Vc VjY^i gZedgi dc djg ^ciZgcVa Xdcigda dkZg [^cVcX^Va
            gZedgi^c\+ l]^X] ^h ^cXajYZY WZadl-



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 N]Z <dVgY d[ >^gZXidgh VcY M]VgZ]daYZgh
 DVoo J]VgbVXZji^XVah eaX


 QZ ]VkZ VjY^iZY DVoo J]VgbVXZji^XVah eaXxh ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ Vh d[ >ZXZbWZg 20+ 1/05+ WVhZY dc Xg^iZg^V ZhiVWa^h]ZY ^c
 Internal Control - Integrated Framework (2013) ^hhjZY Wn i]Z =dbb^iiZZ d[ Medchdg^c\ Ig\Vc^oVi^dch d[ i]Z NgZVYlVn =dbb^hh^dc '=IMI(- DVoo
 J]VgbVXZji^XVah eaXxh bVcV\ZbZci ^h gZhedch^WaZ [dg bV^ciV^c^c\ Z[[ZXi^kZ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ VcY [dg ^ih VhhZhhbZci d[ i]Z
 Z[[ZXi^kZcZhh d[ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\+ ^cXajYZY ^c i]Z VXXdbeVcn^c\ GVcV\ZbZcixh LZedgi dc CciZgcVa =dcigda dkZg @^cVcX^Va
 LZedgi^c\- Ijg gZhedch^W^a^in ^h id ZmegZhh Vc de^c^dc dc i]Z =dbeVcnxh ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ WVhZY dc djg VjY^i-
 QZ XdcYjXiZY djg VjY^i ^c VXXdgYVcXZ l^i] i]Z hiVcYVgYh d[ i]Z JjWa^X =dbeVcn ;XXdjci^c\ IkZgh^\]i <dVgY 'Oc^iZY MiViZh(- N]dhZ hiVcYVgYh
 gZfj^gZ i]Vi lZ eaVc VcY eZg[dgb i]Z VjY^i id dWiV^c gZVhdcVWaZ VhhjgVcXZ VWdji l]Zi]Zg Z[[ZXi^kZ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ lVh
 bV^ciV^cZY ^c Vaa bViZg^Va gZheZXih- Ijg VjY^i ^cXajYZY dWiV^c^c\ Vc jcYZghiVcY^c\ d[ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\+ VhhZhh^c\ i]Z g^h` i]Vi
 V bViZg^Va lZV`cZhh Zm^hih+ VcY iZhi^c\ VcY ZkVajVi^c\ i]Z YZh^\c VcY deZgVi^c\ Z[[ZXi^kZcZhh d[ ^ciZgcVa Xdcigda WVhZY dc i]Z VhhZhhZY g^h`- Ijg
 VjY^i Vahd ^cXajYZY eZg[dgb^c\ hjX] di]Zg egdXZYjgZh Vh lZ Xdch^YZgZY cZXZhhVgn ^c i]Z X^gXjbhiVcXZh- QZ WZa^ZkZ i]Vi djg VjY^i egdk^YZh V
 gZVhdcVWaZ WVh^h [dg djg de^c^dc-
 ; XdbeVcnxh ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ ^h V egdXZhh YZh^\cZY id egdk^YZ gZVhdcVWaZ VhhjgVcXZ gZ\VgY^c\ i]Z gZa^VW^a^in d[ [^cVcX^Va
 gZedgi^c\ VcY i]Z egZeVgVi^dc d[ [^cVcX^Va hiViZbZcih [dg ZmiZgcVa ejgedhZh ^c VXXdgYVcXZ l^i] \ZcZgVaan VXXZeiZY VXXdjci^c\ eg^cX^eaZh- ;
 XdbeVcnxh ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ ^cXajYZh i]dhZ eda^X^Zh VcY egdXZYjgZh i]Vi '0( eZgiV^c id i]Z bV^ciZcVcXZ d[ gZXdgYh i]Vi+ ^c
 gZVhdcVWaZ YZiV^a+ VXXjgViZan VcY [V^gan gZ[aZXi i]Z igVchVXi^dch VcY Y^hedh^i^dch d[ i]Z VhhZih d[ i]Z XdbeVcn: '1( egdk^YZ gZVhdcVWaZ VhhjgVcXZ
 i]Vi igVchVXi^dch VgZ gZXdgYZY Vh cZXZhhVgn id eZgb^i egZeVgVi^dc d[ [^cVcX^Va hiViZbZcih ^c VXXdgYVcXZ l^i] \ZcZgVaan VXXZeiZY VXXdjci^c\
 eg^cX^eaZh+ VcY i]Vi gZXZ^eih VcY ZmeZcY^ijgZh d[ i]Z XdbeVcn VgZ WZ^c\ bVYZ dcan ^c VXXdgYVcXZ l^i] Vji]dg^oVi^dch d[ bVcV\ZbZci VcY Y^gZXidgh
 d[ i]Z XdbeVcn: VcY '2( egdk^YZ gZVhdcVWaZ VhhjgVcXZ gZ\VgY^c\ egZkZci^dc dg i^bZan YZiZXi^dc d[ jcVji]dg^oZY VXfj^h^i^dc+ jhZ+ dg Y^hedh^i^dc d[
 i]Z XdbeVcnxh VhhZih i]Vi XdjaY ]VkZ V bViZg^Va Z[[ZXi dc i]Z [^cVcX^Va hiViZbZcih-
 <ZXVjhZ d[ ^ih ^c]ZgZci a^b^iVi^dch+ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ bVn cdi egZkZci dg YZiZXi b^hhiViZbZcih- ;ahd+ egd_ZXi^dch d[ Vcn
 ZkVajVi^dc d[ Z[[ZXi^kZcZhh id [jijgZ eZg^dYh VgZ hjW_ZXi id i]Z g^h` i]Vi Xdcigdah bVn WZXdbZ ^cVYZfjViZ WZXVjhZ d[ X]Vc\Zh ^c XdcY^i^dch+ dg i]Vi
 i]Z YZ\gZZ d[ Xdbea^VcXZ l^i] i]Z eda^X^Zh dg egdXZYjgZh bVn YZiZg^dgViZ-
 Cc djg de^c^dc+ DVoo J]VgbVXZji^XVah eaX bV^ciV^cZY+ ^c Vaa bViZg^Va gZheZXih+ Z[[ZXi^kZ ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ Vh d[ >ZXZbWZg 20+
 1/05+ WVhZY dc Xg^iZg^V ZhiVWa^h]ZY ^c Internal Control - Integrated Framework (2013) ^hhjZY Wn =IMI-
 QZ Vahd ]VkZ VjY^iZY+ ^c VXXdgYVcXZ l^i] i]Z hiVcYVgYh d[ i]Z JjWa^X =dbeVcn ;XXdjci^c\ IkZgh^\]i <dVgY 'Oc^iZY MiViZh(+ i]Z Xdchda^YViZY
 WVaVcXZ h]ZZih d[ DVoo J]VgbVXZji^XVah eaX VcY hjWh^Y^Vg^Zh Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04+ VcY i]Z gZaViZY Xdchda^YViZY hiViZbZcih d[ ^cXdbZ+
 XdbegZ]Zch^kZ ^cXdbZ 'adhh(+ h]VgZ]daYZghx Zfj^in+ VcY XVh] [adlh [dg ZVX] d[ i]Z nZVgh ^c i]Z i]gZZ,nZVg eZg^dY ZcYZY >ZXZbWZg 20+ 1/05+ VcY i]Z
 gZaViZY [^cVcX^Va hiViZbZci hX]ZYjaZ+ VcY djg gZedgi YViZY @ZWgjVgn 17+ 1/06 ZmegZhhZY Vc jcfjVa^[^ZY de^c^dc dc i]dhZ Xdchda^YViZY [^cVcX^Va
 hiViZbZcih VcY i]Z gZaViZY [^cVcX^Va hiViZbZci hX]ZYjaZ-


 .h. EJGA
 >jWa^c+ CgZaVcY
 @ZWgjVgn 17+ 1/06


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 Item 9B.       Other Information
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                                                                         PARTIII
 =ZgiV^c ^c[dgbVi^dc gZfj^gZY Wn JVgi CCC ^h db^iiZY [gdb i]^h ;ccjVa LZedgi dc @dgb 0/,E VcY ^cXdgedgViZY Wn gZ[ZgZcXZ id djg YZ[^c^i^kZ egdmn
 hiViZbZci [dg djg 1/06 VccjVa \ZcZgVa bZZi^c\ d[ h]VgZ]daYZgh+ dg djg 1/06 Jgdmn MiViZbZci+ id WZ [^aZY ejghjVci id LZ\jaVi^dc 03; d[ i]Z MZXjg^i^Zh
 ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY+ dg ?mX]Vc\Z ;Xi- C[ djg 1/06 Jgdmn MiViZbZci ^h cdi [^aZY l^i]^c 01/ YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY
 Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ ^cXajYZY ^c Vc VbZcYbZci id i]^h ;ccjVa LZedgi dc @dgb 0/,E [^aZY cdi aViZg
 i]Vc i]Z ZcY d[ hjX] 01/,YVn eZg^dY-


 Item 10.       Directors, Executive Officers and Corporate Governance
 N]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb ^h id WZ ^cXajYZY ^c djg 1/06 Jgdmn MiViZbZci Vh [daadlh9
 s          N]Z ^c[dgbVi^dc gZaVi^c\ id djg Y^gZXidgh VcY cdb^cZZh [dg Y^gZXidg ^h id WZ ^cXajYZY ^c i]Z hZXi^dc Zci^iaZY vJgdedhVa 0,?aZXi^dc d[
            >^gZXidgh:w
 s          N]Z ^c[dgbVi^dc gZaVi^c\ id djg ZmZXji^kZ d[[^XZgh ^h id WZ ^cXajYZY ^c i]Z hZXi^dc Zci^iaZY v?mZXji^kZ I[[^XZgh:w
 s          N]Z ^c[dgbVi^dc gZaVi^c\ id djg VjY^i Xdbb^iiZZ+ VjY^i Xdbb^iiZZ [^cVcX^Va ZmeZgi VcY egdXZYjgZh Wn l]^X] h]VgZ]daYZgh bVn gZXdbbZcY
            cdb^cZZh id djg WdVgY d[ Y^gZXidgh ^h id WZ ^cXajYZY ^c i]Z hZXi^dc Zci^iaZY v=dgedgViZ AdkZgcVcXZ VcY <dVgY GViiZgh:w VcY
 s          N]Z ^c[dgbVi^dc gZ\VgY^c\ Xdbea^VcXZ l^i] MZXi^dc 05'V( d[ i]Z ?mX]Vc\Z ;Xi ^h id WZ ^cXajYZY ^c i]Z hZXi^dc Zci^iaZY vMZXi^dc 05'V(
            <ZcZ[^X^Va IlcZgh]^e LZedgi^c\ =dbea^VcXZ-w
 MjX] ^c[dgbVi^dc ^h ^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id djg 1/06 Jgdmn MiViZbZci+ egdk^YZY i]Vi ^[ i]Z 1/06 Jgdmn MiViZbZci ^h cdi [^aZY l^i]^c 01/
 YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ ^cXajYZY ^c Vc VbZcYbZci id i]^h
 ;ccjVa LZedgi dc @dgb 0/,E [^aZY cdi aViZg i]Vc i]Z ZcY d[ hjX] 01/,YVn eZg^dY-
 Ijg =dYZ d[ =dcYjXi Veea^Zh id Vaa d[ djg ZbeadnZZh+ Y^gZXidgh VcY d[[^XZgh+ ^cXajY^c\ djg eg^cX^eVa ZmZXji^kZ d[[^XZg+ eg^cX^eVa [^cVcX^Va d[[^XZg+
 eg^cX^eVa VXXdjci^c\ d[[^XZg dg XdcigdaaZg+ dg eZghdch eZg[dgb^c\ h^b^aVg [jcXi^dch+ VcY i]dhZ d[ djg hjWh^Y^Vg^Zh- N]Z =dYZ d[ =dcYjXi ^h VkV^aVWaZ
 dc djg lZWh^iZ Vi www.jazzpharmaceuticals.com jcYZg i]Z hZXi^dc Zci^iaZY v;Wdjiw jcYZg v=dgedgViZ ?i]^Xh-w QZ ^ciZcY id hVi^h[n i]Z Y^hXadhjgZ
 gZfj^gZbZcih jcYZg CiZb 4-/4 d[ i]Z M?= @dgb 7,E gZ\VgY^c\ Vc VbZcYbZci id+ dg lV^kZg [gdb+ V egdk^h^dc d[ djg =dYZ d[ =dcYjXi Wn edhi^c\ hjX]
 ^c[dgbVi^dc dc djg lZWh^iZ Vi i]Z lZWh^iZ VYYgZhh VcY adXVi^dc heZX^[^ZY VWdkZ-


 Item 11.       Executive Compensation
 N]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb ^h id WZ ^cXajYZY ^c djg 1/06 Jgdmn MiViZbZci jcYZg i]Z hZXi^dch Zci^iaZY v?mZXji^kZ =dbeZchVi^dc+w v>^gZXidg
 =dbeZchVi^dc+w v=dgedgViZ AdkZgcVcXZ VcY <dVgY GViiZgh,=dbeZchVi^dc =dbb^iiZZ CciZgadX`h VcY Cch^YZg JVgi^X^eVi^dcw VcY v=dgedgViZ
 AdkZgcVcXZ VcY <dVgY GViiZgh,=dbeZchVi^dc =dbb^iiZZ LZedgiw VcY ^h ^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ+ egdk^YZY i]Vi ^[ i]Z 1/06 Jgdmn
 MiViZbZci ^h cdi [^aZY l^i]^c 01/ YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ
 ^cXajYZY ^c Vc VbZcYbZci id i]^h ;ccjVa LZedgi dc @dgb 0/,E [^aZY cdi aViZg i]Vc i]Z ZcY d[ hjX] 01/,YVn eZg^dY-


 Item 12.       Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters
 N]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb l^i] gZheZXi id Zfj^in XdbeZchVi^dc eaVch ^h id WZ ^cXajYZY ^c djg 1/06 Jgdmn MiViZbZci jcYZg i]Z hZXi^dc
 Zci^iaZY v?fj^in =dbeZchVi^dc JaVc Cc[dgbVi^dcw VcY i]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb l^i] gZheZXi id hZXjg^in dlcZgh]^e d[ XZgiV^c WZcZ[^X^Va
 dlcZgh VcY bVcV\ZbZci ^h id WZ ^cXajYZY ^c djg 1/05 Jgdmn MiViZbZci jcYZg i]Z hZXi^dc Zci^iaZY vMZXjg^in IlcZgh]^e d[ =ZgiV^c <ZcZ[^X^Va IlcZgh
 VcY GVcV\ZbZciw VcY ^c ZVX] XVhZ ^h ^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ+ egdk^YZY i]Vi ^[ i]Z 1/06 Jgdmn MiViZbZci ^h cdi [^aZY l^i]^c 01/ YVnh V[iZg
 i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ ^cXajYZY ^c Vc VbZcYbZci id i]^h ;ccjVa
 LZedgi dc @dgb 0/,E [^aZY cdi aViZg i]Vc i]Z ZcY d[ hjX] 01/,YVn eZg^dY-

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 Item 13.      Certain Relationships and Related Transactions, and Director Independence
 N]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb ^h id WZ ^cXajYZY ^c djg 1/06 Jgdmn MiViZbZci jcYZg i]Z hZXi^dch Zci^iaZY v=ZgiV^c LZaVi^dch]^eh VcY LZaViZY
 JVgin NgVchVXi^dchw VcY v=dgedgViZ AdkZgcVcXZ VcY <dVgY GViiZgh,CcYZeZcYZcXZ d[ i]Z <dVgY d[ >^gZXidghw VcY ^h ^cXdgedgViZY ]ZgZ^c Wn
 gZ[ZgZcXZ+ egdk^YZY i]Vi ^[ i]Z 1/06 Jgdmn MiViZbZci ^h cdi [^aZY l^i]^c 01/ YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY Wn i]^h ;ccjVa LZedgi dc
 @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ ^cXajYZY ^c Vc VbZcYbZci id i]^h ;ccjVa LZedgi dc @dgb 0/,E [^aZY cdi aViZg i]Vc i]Z ZcY d[ hjX] 01/,
 YVn eZg^dY-


 Item 14.      Principal Accountant Fees and Services
 N]Z ^c[dgbVi^dc gZfj^gZY Wn i]^h ^iZb ^h id WZ ^cXajYZY ^c djg 1/06 Jgdmn MiViZbZci jcYZg i]Z hZXi^dc Zci^iaZY vJgdedhVa 1,Ic V Hdc,<^cY^c\
 ;Yk^hdgn <Vh^h+ LVi^[n ;eed^cibZci d[ CcYZeZcYZci ;jY^idgh VcY+ Ic V <^cY^c\ <Vh^h+ ;ji]dg^oZ i]Z <dVgY d[ >^gZXidgh+ ;Xi^c\ N]gdj\] i]Z
 ;jY^i =dbb^iiZZ+ id >ZiZgb^cZ i]Z CcYZeZcYZci ;jY^idghx LZbjcZgVi^dcw VcY ^h ^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ+ egdk^YZY i]Vi ^[ i]Z 1/06 Jgdmn
 MiViZbZci ^h cdi [^aZY l^i]^c 01/ YVnh V[iZg i]Z ZcY d[ i]Z [^hXVa nZVg XdkZgZY Wn i]^h ;ccjVa LZedgi dc @dgb 0/,E+ i]Z db^iiZY ^c[dgbVi^dc l^aa WZ
 ^cXajYZY ^c Vc VbZcYbZci id i]^h ;ccjVa LZedgi dc @dgb 0/,E [^aZY cdi aViZg i]Vc i]Z ZcY d[ hjX] 01/,YVn eZg^dY-


                                                                         PART IV

 Item 15.      Exhibits and Financial Statement Schedules
 (a) The following documents are filed as part of this Annual Report on Form 10-K:
 1.    Index to Financial Statements:
 MZZ CcYZm id =dchda^YViZY @^cVcX^Va MiViZbZcih ^c CiZb 7 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 2.    Financial Statement Schedules:
 N]Z [daadl^c\ [^cVcX^Va hiViZbZci hX]ZYjaZ d[ DVoo J]VgbVXZji^XVah eaX ^h [^aZY Vh eVgi d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E dc eV\Z @,35 VcY h]djaY
 WZ gZVY ^c Xdc_jcXi^dc l^i] i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih d[ DVoo J]VgbVXZji^XVah eaX-
 MX]ZYjaZ CC9 PVajVi^dc VcY KjVa^[n^c\ ;XXdjcih
 ;aa di]Zg hX]ZYjaZh VgZ db^iiZY WZXVjhZ i]Zn VgZ cdi Veea^XVWaZ+ cdi gZfj^gZY jcYZg i]Z ^chigjXi^dch+ dg i]Z gZfjZhiZY ^c[dgbVi^dc ^h h]dlc ^c i]Z
 Xdchda^YViZY [^cVcX^Va hiViZbZcih dg gZaViZY cdiZh i]ZgZid-
 (b) Exhibits-The following exhibits are included herein or incorporated herein by reference:

 Exhibit
 Number              Description of Document
 1-0                 ;\gZZbZci VcY JaVc d[ GZg\Zg VcY LZdg\Vc^oVi^dc+ YViZY Vh d[ MZeiZbWZg 08+ 1/00+ Wn VcY Vbdc\ ;ojg J]VgbV F^b^iZY
                     'cdl DVoo J]VgbVXZji^XVah eaX(+ DV\jVg GZg\Zg MjW CcX-+ DVoo J]VgbVXZji^XVah+ CcX- VcY MZVbjh Gjaa^\Vc+ hdaZan ^c ]^h
                     XVeVX^in Vh i]Z CcYZbc^idghx LZegZhZciVi^kZ '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah+
                     CcX-xh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//( [^aZY l^i] i]Z M?= dc MZeiZbWZg 08+ 1/00(-
 1-1                 FZiiZg ;\gZZbZci+ YViZY Vh d[ DVcjVgn 06+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DV\jVg GZg\Zg MjW CcX-+ DVoo
                     J]VgbVXZji^XVah+ CcX- VcY MZVbjh Gjaa^\Vc+ hdaZan ^c ]^h XVeVX^in Vh i]Z CcYZbc^idghx LZegZhZciVi^kZ '^cXdgedgViZY Wn
                     gZ[ZgZcXZ id ?m]^W^i 1-1 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z
                     M?= dc DVcjVgn 07+ 1/01(-
 1-2                 ;\gZZbZci VcY JaVc d[ GZg\Zg+ YViZY Vh d[ ;eg^a 15+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DZlZa GZg\Zg MjW
                     CcX-+ ?OM; J]VgbV CcX-+ VcY ?hhZm QddYaVcYh BZVai] PZcijgZh+ CcX-+ GVn[adlZg F-J-+ VcY <gnVc Gdgidc+ ^c i]Z^g
                     XVeVX^in Vh i]Z gZegZhZciVi^kZh d[ i]Z Zfj^in ]daYZgh d[ ?OM; J]VgbV CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     1-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;eg^a 16+
                     1/01(-
 1-3                 ;hh^\cbZci+ YViZY Vh d[ DjcZ 00+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX VcY DVoo J]VgbVXZji^XVah+ CcX-
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0< ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,
                     224//(+ Vh [^aZY l^i] i]Z M?= dc DjcZ 01+ 1/01(-

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 1-4                 NZcYZg I[[Zg ;\gZZbZci+ YViZY >ZXZbWZg 08+ 1/02+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah JjWa^X F^b^iZY =dbeVcn+ DVoo
                     J]VgbVXZji^XVah CiVan M-g-a- VcY AZci^jb M-e-;- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah
                     eaXxh =jggZci LZedgi dc @dgb 7,E.; '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc >ZXZbWZg 1/+ 1/02(-
 1-5r                ;hhZi JjgX]VhZ ;\gZZbZci+ YViZY DVcjVgn 02+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah CciZgcVi^dcVa CCC F^b^iZY+ ;Zg^Va
                     <^dJ]VgbV+ FF= VcY DVoo J]VgbVXZji^XVah eaX '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah
                     eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 02+ 1/03(-
 1-6r                ;hh^\cbZci ;\gZZbZci+ YViZY Djan 0+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah CciZgcVi^dcVa CC F^b^iZY+ M^\bV,NVj
                     J]VgbVXZji^XVah+ CcX-+ DVoo J]VgbVXZji^XVah eaX VcY AZci^jb M-e-;- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c
                     DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 4+ 1/03(-
 1-7                 ;bZcYZY VcY LZhiViZY ;\gZZbZci [dg i]Z ;Xfj^h^i^dc d[ i]Z NdeVo Jdgi[da^d <jh^cZhh d[ DVoo J]VgbVXZji^XVah eaX+
                     YViZY GVgX] 1/+ 1/04+ WZilZZc DVoo J]VgbVXZji^XVah eaX VcY ?hhZm <^YXd F^b^iZY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVgX]
                     12+ 1/04(-
 1-8                 ;\gZZbZci VcY JaVc d[ GZg\Zg+ YViZY Vh d[ GVn 16+ 1/05+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ JaZm GZg\Zg MjW+ CcX-+
                     VcY =ZaVidg J]VgbVXZji^XVah+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci
                     LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVn 20+ 1/05(-

 2-0                 ;bZcYZY VcY LZhiViZY GZbdgVcYjb VcY ;gi^XaZh d[ ;hhdX^Vi^dc d[ DVoo J]VgbVXZji^XVah eaX+ Vh VbZcYZY dc ;j\jhi
                     3+ 1/05 '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 2-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ
                     Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 3-0                 LZ[ZgZcXZ ^h bVYZ id ?m]^W^i 2-0-
 3-1;                CckZhidg L^\]ih ;\gZZbZci+ YViZY Djan 6+ 1//8 Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY i]Z di]Zg eVgi^Zh cVbZY
                     i]ZgZ^c '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-77 ^c DVoo J]VgbVXZji^XVah+ CcX-xh =jggZci LZedgi dc @dgb 7,E '@^aZ
                     Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc Djan 6+ 1//8(-
 3-1<                ;hh^\cbZci+ ;hhjbei^dc VcY ;bZcYbZci ;\gZZbZci+ YViZY Vh d[ DVcjVgn 07+ 1/01+ Wn VcY Vbdc\ DVoo
                     J]VgbVXZji^XVah+ CcX-+ DVoo J]VgbVXZji^XVah eaX VcY i]Z di]Zg eVgi^Zh cVbZY i]ZgZ^c '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 3-6< ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn
                     DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah+ CcX- l^i] i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 3-1=                CcYZcijgZ+ YViZY Vh d[ ;j\jhi 02+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DVoo CckZhibZcih C F^b^iZY VcY O-M-
                     <Vc` HVi^dcVa ;hhdX^Vi^dc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 3-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi
                     dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 02+ 1/03(-
 3-1>                @dgb d[ 0-764$ ?mX]Vc\ZVWaZ MZc^dg HdiZ YjZ 1/10 '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 3-1 ^c DVoo
                     J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 02+ 1/03(-
 0/-0r               Mjeean ;\gZZbZci+ YViZY Vh d[ ;eg^a 0+ 1/0/+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY M^Z\[g^ZY 'OM;( CcX-
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-43 ^c DVoo J]VgbVXZji^XVah+ CcX-xh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd-
                     //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/0/+ Vh [^aZY l^i] i]Z M?= dc GVn 5+ 1/0/(-
 0/-1r               GVhiZg MZgk^XZh ;\gZZbZci+ YViZY ;eg^a 04+ 1/00+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX-+ =jgVMXg^ei+ CcX- VcY
                     ?megZhh MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo
                     J]VgbVXZji^XVah+ CcX-xh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/00+ Vh [^aZY
                     l^i] i]Z M?= dc GVn 8+ 1/00(-
 0/-2r               LdnVain <ZVg^c\ F^XZcXZ ;\gZZbZci VcY Mjeean ;\gZZbZci LZ ?gl^c^V,>Zg^kZY ;heVgV\^cVhZ+ YViZY Djan 11+ 1//4+
                     WZilZZc JjWa^X BZVai] ?c\aVcY '[dgbZgan BZVai] JgdiZXi^dc ;\ZcXn( VcY ?OM; J]VgbV M;M '[dgbZgan IJ^+ M-;-(+ Vh
                     VbZcYZY dc ZVX] d[ >ZXZbWZg 11+ 1//8+ GVgX] 12+ 1/01 VcY ;j\jhi 7+ 1/01 '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-00 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K.; '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+
                     1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/01(-
 0/-3                HdkVi^dc ;\gZZbZci gZaVi^c\ id LdnVain <ZVg^c\ F^XZcXZ ;\gZZbZci VcY Mjeean ;\gZZbZci gZ ?gl^c^V,>Zg^kZY
                     ;heVgV\^cVhZ+ YViZY Vh d[ GVn 02+ 1/04+ Wn VcY Vbdc\ ?OM; J]VgbV M;M+ i]Z MZXgZiVgn d[ MiViZ [dg BZVai] VXi^c\
                     i]gdj\] JjWa^X BZVai] ?c\aVcY VcY Jdgidc <^de]VgbV F^b^iZY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/04+ Vh [^aZY
                     l^i] i]Z M?= dc ;j\jhi 4+ 1/04(-

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 0/-4r               GVhiZg GVcj[VXijg^c\ MZgk^XZh ;\gZZbZci+ YViZY Vh d[ IXidWZg 0+ 1/04+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY
                     F^b^iZY VcY JVi]Zdc J]VgbVXZji^XVah CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh
                     ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc
                     @ZWgjVgn 12+ 1/05(-
 0/-5;               =gZY^i ;\gZZbZci+ YViZY Vh d[ DjcZ 07+ 1/04+ Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DVoo MZXjg^i^Zh F^b^iZY+ DVoo
                     J]VgbVXZji^XVah+ CcX-+ DVoo @^cVcX^c\ C F^b^iZY+ DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY+ i]Z aZcYZgh eVgin i]ZgZid VcY <Vc`
                     d[ ;bZg^XV+ H-;-+ Vh =daaViZgVa ;\Zci+ ;Yb^c^higVi^kZ ;\Zci+ Ml^c\ F^cZ FZcYZg VcY F.= ChhjZg '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaX&h =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z
                     M?= dc DjcZ 07+ 1/04(-
 0/-5<               ;bZcYbZci Hd- 0+ YViZY Vh d[ Djan 01+ 1/05+ id =gZY^i ;\gZZbZci+ YViZY Vh d[ DjcZ 07+ 1/04+ Vbdc\ DVoo J]VgbVXZji^XVah
                     eaX+ DVoo MZXjg^i^Zh F^b^iZY+ DVoo J]VgbVXZji^XVah+ CcX-+ DVoo @^cVcX^c\ C F^b^iZY+ DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY+ i]Z
                     aZcYZgh eVgin i]ZgZid VcY <Vc` d[ ;bZg^XV+ H-;-+ Vh =daaViZgVa ;\Zci+ ;Yb^c^higVi^kZ ;\Zci+ Ml^c\ F^cZ FZcYZg VcY F.=
                     ChhjZg '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ
                     Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-6;               =dbbZgX^Va FZVhZ+ YViZY Vh d[ DjcZ 1+ 1//3+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY N]Z <dVgY d[ NgjhiZZh d[ i]Z
                     FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-41 ^c DVoo J]VgbVXZji^XVah+ CcX-xh
                     gZ\^higVi^dc hiViZbZci dc @dgb M,0+ Vh VbZcYZY '@^aZ Hd- 222,030053(+ Vh [^aZY l^i] i]Z M?= dc GVgX] 16+ 1//6(-
 0/-6<               @^ghi ;bZcYbZci d[ FZVhZ+ YViZY DjcZ 0+ 1//8+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY Q]ZViaZn,@^ZaYh+ FF=+
                     hjXXZhhdg ^c ^ciZgZhi id N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-75 ^c DVoo J]VgbVXZji^XVah+ CcX-xh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i]
                     i]Z M?= dc DjcZ 3+ 1//8(-
 0/-6=               MZXdcY ;bZcYbZci d[ FZVhZ+ YViZY @ZWgjVgn 17+ 1/01+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY Q]ZViaZn,@^ZaYh+
                     FF=+ hjXXZhhdg ^c ^ciZgZhi id N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-20 ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+
                     1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah+ CcX- l^i] i]Z M?= dc
                     @ZWgjVgn 17+ 1/01(-
 0/-7                FZVhZ+ YViZY GVn 7+ 1/01+ Wn VcY WZilZZc Dd]c LdcVc VcY =VhiaZ =dkZ JgdeZgin >ZkZadebZcih F^b^iZY VcY DVoo
                     J]VgbVXZji^XVah eaX '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc
                     @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-8                =dbbZgX^Va FZVhZ+ YViZY Vh d[ DVcjVgn 6+ 1/04+ Wn VcY WZilZZc N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg
                     Oc^kZgh^in VcY DVoo J]VgbVXZji^XVah+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0/ ^c DVoo J]VgbVXZji^XVah eaXxh
                     ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc
                     @ZWgjVgn 13+ 1/04(-
 0/-0/*              @dgb d[ CcYZbc^[^XVi^dc ;\gZZbZci WZilZZc DVoo J]VgbVXZji^XVah eaX VcY ^ih d[[^XZgh VcY Y^gZXidgh '^cXdgedgViZY ]ZgZ^c
                     Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i]
                     i]Z M?= dc DVcjVgn 07+ 1/01(-
 0/-00*              I[[Zg FZiiZg [gdb DVoo J]VgbVXZji^XVah+ CcX- id MjoVccZ MVldX]`V BddeZg '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-08 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+
                     1/01+ Vh [^aZY l^i] i]Z M?= dc GVn 7+ 1/01(-
 0/-01*              I[[Zg FZiiZg [gdb DVoo J]VgbVXZji^XVah+ CcX- id GVii]Zl Sdjc\ '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/03+ Vh [^aZY
                     l^i] i]Z M?= dc GVn 7+ 1/03(-
 0/-02;*             ?beadnbZci ;\gZZbZci Wn VcY WZilZZc ?OM; J]VgbV CcX- VcY CV^c GXA^aa '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+
                     1/03+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-02<*             ;bZcYbZci id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc CV^c GXA^aa VcY ?OM; J]VgbV '?jgdeZ( F^b^iZY '^cXdgedgViZY
                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-04< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg
                     i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 13+ 1/04(-
 0/-02=*             ;bZcYZY VcY LZhiViZY MX]ZYjaZ 2 id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah OE FiY VcY CV^c
                     GXA^aa '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K
                     '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-02>*             =]Vc\Z ^c =dcigda MidX` ;lVgY ;XXZaZgVi^dc ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah eaX VcY CV^c GXA^aa
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-5 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd-
                     //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-

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 0/-03*              I[[Zg FZiiZg [gdb DVoo J]VgbVXZji^XVah+ CcX- id G^X]VZa G^aaZg '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/03+ Vh
                     [^aZY l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-04;*             ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY VcY JVja NgZVXn '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY MZeiZbWZg 2/+ 1/03+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-04<*             ;bZcYbZci id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY VcY JVja NgZVXn
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-06< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd-
                     //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 13+ 1/04(-
 0/-04=*             ;bZcYZY VcY LZhiViZY MX]ZYjaZ 2 id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY FiY- VcY
                     JVja NgZVXn '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,
                     K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-04>*             =]Vc\Z ^c =dcigda MidX` ;lVgY ;XXZaZgVi^dc ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah eaX VcY JVja NgZVXn
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-3 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd-
                     //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-05*              ;bZcYZY VcY LZhiViZY I[[Zg FZiiZg+ YViZY Vh d[ Djan 18+ 1/04+ [gdb DVoo J]VgbVXZji^XVah+ CcX- id EVgZc Mb^i]+ G->-+
                     J]->- ''^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ
                     Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/04+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 8+ 1/04(-
 0/-06;*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-2 ^c DVoo
                     J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 07+
                     1/01(-
 0/-06<*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc MjW,JaVc AdkZgc^c\ ;lVgYh id JVgi^X^eVcih ^c i]Z LZejWa^X d[
                     CgZaVcY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2< ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z
                     eZg^dY ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo
                     J]VgbVXZji^XVah CcX- l^i] i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 0/-06=*             @dgb d[ Hdi^XZ d[ AgVci d[ MidX` Iei^dch VcY @dgb d[ Iei^dc ;\gZZbZci 'O-M-( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1//6
                     ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16= ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc
                     @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06>*             @dgb d[ Hdi^XZ d[ AgVci d[ MidX` Iei^dch VcY @dgb d[ Iei^dc ;\gZZbZci 'Cg^h]( jcYZg DVoo J]VgbVXZji^XVah eaX 1//6
                     ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16> ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi
                     dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06?*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'O-M-( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16? ^c DVoo
                     J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY
                     l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06@*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16@ ^c DVoo
                     J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY
                     l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06A*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M-
                     Iei^dc ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah
                     eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?=
                     dc HdkZbWZg 4+ 1/02(-
 0/-06B*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY
                     @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07;*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-0 ^c DVoo
                     J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 07+
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 0/-07<*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc MjW,JaVc AdkZgc^c\ ;lVgYh id JVgi^X^eVcih ^c i]Z LZejWa^X d[
                     CgZaVcY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-28< ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg
                     i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo
                     J]VgbVXZji^XVah CcX- l^i] i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 0/-07=*             @dgb d[ Iei^dc AgVci Hdi^XZ VcY @dgb d[ MidX` Iei^dc ;\gZZbZci 'O-M-( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb
                     0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-07>*             @dgb d[ MidX` Iei^dc AgVci Hdi^XZ VcY @dgb d[ Iei^dc ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-7 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb
                     0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-07?*             @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00
                     ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-17? ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc
                     @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-07@*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'O-M-( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-8 ^c DVoo J]VgbVXZji^XVah
                     eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc
                     ;j\jhi 6+ 1/01(-
 0/-07A*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0/ ^c DVoo J]VgbVXZji^XVah
                     eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc
                     ;j\jhi 6+ 1/01(-
 0/-07B*             @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci
                     jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-17B ^c DVoo
                     J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY
                     l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-07C*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ O-M- Iei^dc
                     ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc
                     HdkZbWZg 4+ 1/02(-
 0/-07D*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb
                     d[ O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-3 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+
                     1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07E*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M-
                     Iei^dc ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah
                     eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?=
                     dc HdkZbWZg 4+ 1/02(-
 0/-07F*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY
                     @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-5 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07G*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M-
                     Iei^dc ;\gZZbZci '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc
                     @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/05+ Vh [^aZY l^i] i]Z M?= dc GVn 0/+ 1/05(-

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                     Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/05+ Vh [^aZY
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                     ?m]^W^i 0/-7 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ
                     2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-

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                     ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
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                     i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-5 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-07L*             @dgb d[ O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY
                     LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc
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                     ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c
                     Wn gZ[ZgZcXZ id ?m]^W^i 0/-7 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z
                     eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
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                     gZ[ZgZcXZ id ?m]^W^i 88-5 ^c DVoo J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY
                     l^i] i]Z M?= dc DVcjVgn 07+ 1/01(-
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                     Wn gZ[ZgZcXZ id ?m]^W^i 88-3 ^c DVoo J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh
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                     ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` Iei^dc JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-2/< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+
                     1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-1/=*             DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` Iei^dc JaVc , @dgb d[ Hdc,O-M-
                     Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci 'VeegdkZY ;j\jhi 0+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
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                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-8 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg
                     i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-1/?*             ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc 'VeegdkZY HdkZbWZg 2+ 1/05( '^cXdgedgViZY
                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg
                     i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-1/@*             @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci jcYZg
                     i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc '^cXdgedgViZY
                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-3 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg
                     i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-1/A*             @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX
                     ;bZcYZY VcY LZhiViZY Hdc,?beadnZZ >^gZXidgh 1//6 MidX` ;lVgY JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+
                     1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-10;*             DVoo J]VgbVXZji^XVah eaX 1//6 ?beadnZZ MidX` JjgX]VhZ JaVc+ Vh VbZcYZY VcY gZhiViZY '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-20; ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-10<*             DVoo J]VgbVXZji^XVah eaX 1//6 ?beadnZZ MidX` JjgX]VhZ JaVc MjW,JaVc AdkZgc^c\ JjgX]VhZ L^\]ih id JVgi^X^eVcih ^c i]Z
                     LZejWa^X d[ CgZaVcY '^cXdgedgViZY Wn gZ[ZgZcXZ ]ZgZ^c id ?m]^W^i 0/-03= ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc
                     @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc GVn 7+ 1/01 (-

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                     gZ[ZgZcXZ id ?m]^W^i 0/-11< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-11<*             DVoo J]VgbVXZji^XVah eaX =Vh] <dcjh JaVc [dg O-M- ;[[^a^ViZh 'VeegdkZY HdkZbWZg 2+ 1/05(-
 0/-11=*             DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc [dg CciZgcVi^dcVa ;[[^a^ViZh '1/03( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-13> ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg
                     20+ 1/02+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 14+ 1/03(-
 0/-11>*             DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc 'CgZaVcY VcY Ii]Zg MeZX^[^ZY ;[[^a^ViZh( '=VaZcYVg SZVg 1/05( '^cXdgedgViZY ]ZgZ^c
                     Wn gZ[ZgZcXZ id ?m]^W^i 0/-11> ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z
                     eZg^dY ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-11?*             DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc 'CgZaVcY VcY Ii]Zg MeZX^[^ZY ;[[^a^ViZh( '=VaZcYVg SZVg 1/06(-
 0/-12*              DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY ?mZXji^kZ =]Vc\Z ^c =dcigda VcY MZkZgVcXZ <ZcZ[^i JaVc 'VeegdkZY
                     @ZWgjVgn 0/+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-12 ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc
                     @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
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                     ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX]
                     20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc GVn 6+ 1/04(-
 0/-14;*             DVoo J]VgbVXZji^XVah eaX Hdc,?beadnZZ >^gZXidg =dbeZchVi^dc Jda^Xn 'VeegdkZY ;eg^a 2/+ 1/04( '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY DjcZ 2/+ 1/04+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 4+ 1/04(-
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                     gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-16               NZcYZg VcY Mjeedgi ;\gZZbZci+ YViZY Vh d[ GVn 16+ 1/05+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ JaZm GZg\Zg MjW+
                     CcX- VcY ZVX] d[ i]Z eZghdch hZi [dgi] dc MX]ZYjaZ ; ViiVX]ZY i]ZgZid '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-0
                     ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVn 20+ 1/05(-
 10-0                MjWh^Y^Vg^Zh d[ DVoo J]VgbVXZji^XVah eaX-
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 20-0                =Zgi^[^XVi^dc d[ =]^Z[ ?mZXji^kZ I[[^XZg ejghjVci id LjaZh 02V,03'V( VcY 04Y,03'V( egdbja\ViZY jcYZg i]Z MZXjg^i^Zh
                     ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY-
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                     ejghjVci id MZXi^dc 8/5 d[ i]Z MVgWVcZh,ImaZn ;Xi d[ 1//1-
 0/0-CHM             R<LF CchiVcXZ >dXjbZci
 0/0-M=B             R<LF NVmdcdbn ?miZch^dc MX]ZbV >dXjbZci
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 0/0-F;<             R<LF NVmdcdbn ?miZch^dc FVWZah F^c`WVhZ >dXjbZci
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 )         N]Z XZgi^[^XVi^dch ViiVX]ZY Vh ?m]^W^i 21-0 VXXdbeVcn i]^h ;ccjVa LZedgi dc @dgb 0/,E ejghjVci id 07 O-M-=- MZXi^dc 024/+ Vh VYdeiZY
           ejghjVci id MZXi^dc 8/5 d[ i]Z MVgWVcZh,ImaZn ;Xi d[ 1//1+ VcY h]Vaa cdi WZ YZZbZY v[^aZYw Wn i]Z LZ\^higVci [dg ejgedhZh d[ MZXi^dc 07 d[
           i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY-

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 Item 16.     Form 10-K Summary
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                                                                                                      .h. <LO=? =- =IT;>>
                                                                                                         Bruce C. Cozadd
                                                                                         Chairman and Chief Executive Officer and Director
                                                                                                   (Principal Executive Officer)

                                                                                                     .h. G ;NNB?Q J-SIOHA
                                                                                                      Matthew P. Young
                                                                           Executive Vice President and Chief Financial Officer (Principal Financial
                                                                                                          Officer)


                                                                                                      .h. E;L?H D- QCFMIH
                                                                                                         Karen J. Wilson
                                                                                                  Senior Vice President, Finance
                                                                                                  (Principal Accounting Officer)



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                                                                POWER OF ATTORNEY

 EHIQ ;FF J?LMIHM <S NB?M? JL?M?HNM+ i]Vi ZVX] eZghdc l]dhZ h^\cVijgZ VeeZVgh WZadl Xdchi^ijiZh VcY Veed^cih <gjXZ =- =doVYY+
 GVii]Zl J- Sdjc\+ MjoVccZ MVldX]`V BddeZg VcY EVgZc D- Q^ahdc+ VcY ZVX] d[ i]Zb+ Vh ]^h dg ]Zg igjZ VcY aVl[ja ViidgcZnh,^c,[VXi VcY V\Zcih+
 l^i] [jaa edlZg d[ hjWhi^iji^dc [dg ]^b dg ]Zg+ VcY ^c ]^h dg ]Zg cVbZ ^c Vcn VcY Vaa XVeVX^i^Zh+ id h^\c Vcn VcY Vaa VbZcYbZcih id i]^h ;ccjVa LZedgi
 dc @dgb 0/,E+ VcY id [^aZ i]Z hVbZ+ l^i] Zm]^W^ih i]ZgZid VcY di]Zg YdXjbZcih ^c XdccZXi^dc i]ZgZl^i]+ l^i] i]Z MZXjg^i^Zh VcY ?mX]Vc\Z
 =dbb^hh^dc+ \gVci^c\ jcid hV^Y ViidgcZnh,^c,[VXi VcY V\Zcih+ VcY ZVX] d[ i]Zb+ [jaa edlZg VcY Vji]dg^in id Yd VcY eZg[dgb ZVX] VcY ZkZgn VXi VcY
 i]^c\ gZfj^h^iZ VcY cZXZhhVgn id WZ YdcZ i]ZgZl^i]+ Vh [jaan id Vaa ^ciZcih VcY ejgedhZh Vh ]Z dg h]Z b^\]i dg XdjaY Yd ^c eZghdc+ ]ZgZWn gVi^[n^c\
 VcY Xdc[^gb^c\ Vaa i]Vi hV^Y ViidgcZnh,^c,[VXi VcY V\Zcih+ VcY Vcn d[ i]Zb+ ]^h dg ]Zg hjWhi^ijiZ dg hjWhi^ijiZh+ bVn aVl[jaan Yd dg XVjhZ id WZ YdcZ
 Wn k^gijZ ]ZgZd[-

 JjghjVci id i]Z gZfj^gZbZcih d[ i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ i]Z [daadl^c\ eZghdch dc WZ]Va[ d[ i]Z gZ\^higVci VcY ^c i]Z XVeVX^i^Zh VcY dc
 i]Z YViZh ^cY^XViZY ]VkZ h^\cZY i]^h gZedgi WZadl9

                      Signature                                                       Title                                             Date

               .h. <LO=? =- =IT;>>                   =]V^gbVc+ =]^Z[ ?mZXji^kZ I[[^XZg VcY >^gZXidg                              @ZWgjVgn 17+ 1/06
                  Bruce C. Cozadd                    (Principal Executive Officer)
              .h. G ;NNB?Q J-SIOHA                   ?mZXji^kZ P^XZ JgZh^YZci VcY =]^Z[ @^cVcX^Va I[[^XZg (Principal             @ZWgjVgn 17+ 1/06
                 Matthew P. Young                    Financial Officer)
               .h. E;L?H D- QCFMIH                   MZc^dg P^XZ JgZh^YZci+ @^cVcXZ                                              @ZWgjVgn 17+ 1/06
                  Karen J. Wilson                    (Principal Accounting Officer)
                 .h. J;OF F- <?LHM                                                                                               @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                     Paul L. Berns
              .h. J;NLC=E A- ?HLCABN                                                                                             @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                 Patrick G. Enright
                  .h. J?N?L AL;S                                                                                                 @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                      Peter Gray
           .h. B?;NB?L ;HH G=MB;LLS                                                                                              @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
              Heather Ann McSharry
             .h. M?;GOM =- GOFFCA;H                                                                                              @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                Seamus C. Mulligan
            .h. E?HH?NB Q- IxE??@?                                                                                               @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
               Kenneth W. O’Keefe
           .h. HIL<?LN A- LC?>?F+ JB->-                                                                                          @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
              Norbert G. Riedel, Ph.D.
                .h. ?FG;L M=BH??                                                                                                 @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                     Elmar Schnee
        .h. =;NB?LCH? ;- MIBH+ JB;LG->-                                                                                          @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
           Catherine A. Sohn, Pharm.D.
             .h. LC=E ? QCHHCHAB;G                                                                                               @ZWgjVgn 17+ 1/06
                                                     >^gZXidg
                Rick E Winningham

                                                                          012
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                                             Report of Independent Registered Public Accounting Firm

 N]Z <dVgY d[ >^gZXidgh VcY M]VgZ]daYZgh
 DVoo J]VgbVXZji^XVah eaX


 QZ ]VkZ VjY^iZY i]Z VXXdbeVcn^c\ Xdchda^YViZY WVaVcXZ h]ZZih d[ DVoo J]VgbVXZji^XVah eaX VcY hjWh^Y^Vg^Zh 'i]Z =dbeVcn( Vh d[ >ZXZbWZg 20+
 1/05 VcY 1/04+ VcY i]Z gZaViZY Xdchda^YViZY hiViZbZcih d[ ^cXdbZ+ XdbegZ]Zch^kZ ^cXdbZ 'adhh(+ h]VgZ]daYZghx Zfj^in+ VcY XVh] [adlh [dg ZVX] d[
 i]Z nZVgh ^c i]Z i]gZZ,nZVg eZg^dY ZcYZY >ZXZbWZg 20+ 1/05- Cc XdccZXi^dc l^i] djg VjY^ih d[ i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih+ lZ Vahd ]VkZ
 VjY^iZY i]Z [^cVcX^Va hiViZbZci hX]ZYjaZ Vi CiZb 04'V(1 [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03- N]ZhZ Xdchda^YViZY [^cVcX^Va
 hiViZbZcih VcY [^cVcX^Va hiViZbZci hX]ZYjaZ VgZ i]Z gZhedch^W^a^in d[ i]Z =dbeVcnxh bVcV\ZbZci- Ijg gZhedch^W^a^in ^h id ZmegZhh Vc de^c^dc dc
 i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih VcY [^cVcX^Va hiViZbZci hX]ZYjaZ WVhZY dc djg VjY^ih-
 QZ XdcYjXiZY djg VjY^ih ^c VXXdgYVcXZ l^i] i]Z hiVcYVgYh d[ i]Z JjWa^X =dbeVcn ;XXdjci^c\ IkZgh^\]i <dVgY 'Oc^iZY MiViZh(- N]dhZ hiVcYVgYh
 gZfj^gZ i]Vi lZ eaVc VcY eZg[dgb i]Z VjY^i id dWiV^c gZVhdcVWaZ VhhjgVcXZ VWdji l]Zi]Zg i]Z [^cVcX^Va hiViZbZcih VgZ [gZZ d[ bViZg^Va b^hhiViZbZci-
 ;c VjY^i ^cXajYZh ZmVb^c^c\+ dc V iZhi WVh^h+ Zk^YZcXZ hjeedgi^c\ i]Z Vbdjcih VcY Y^hXadhjgZh ^c i]Z [^cVcX^Va hiViZbZcih- ;c VjY^i Vahd ^cXajYZh
 VhhZhh^c\ i]Z VXXdjci^c\ eg^cX^eaZh jhZY VcY h^\c^[^XVci Zhi^bViZh bVYZ Wn bVcV\ZbZci+ Vh lZaa Vh ZkVajVi^c\ i]Z dkZgVaa [^cVcX^Va hiViZbZci
 egZhZciVi^dc- QZ WZa^ZkZ i]Vi djg VjY^ih egdk^YZ V gZVhdcVWaZ WVh^h [dg djg de^c^dc-
 Cc djg de^c^dc+ i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih gZ[ZggZY id VWdkZ egZhZci [V^gan+ ^c Vaa bViZg^Va gZheZXih+ i]Z [^cVcX^Va edh^i^dc d[ DVoo
 J]VgbVXZji^XVah eaX VcY hjWh^Y^Vg^Zh Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04+ VcY i]Z gZhjaih d[ i]Z^g deZgVi^dch VcY i]Z^g XVh] [adlh [dg ZVX] d[ i]Z nZVgh
 ^c i]Z i]gZZ,nZVg eZg^dY ZcYZY >ZXZbWZg 20+ 1/05+ ^c Xdc[dgb^in l^i] O-M- \ZcZgVaan VXXZeiZY VXXdjci^c\ eg^cX^eaZh- ;ahd+ ^c djg de^c^dc+ i]Z
 gZaViZY [^cVcX^Va hiViZbZci hX]ZYjaZ [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03+ l]Zc Xdch^YZgZY ^c gZaVi^dc id i]Z WVh^X Xdchda^YViZY
 [^cVcX^Va hiViZbZcih iV`Zc Vh V l]daZ+ egZhZcih [V^gan+ ^c Vaa bViZg^Va gZheZXih+ i]Z ^c[dgbVi^dc hZi [dgi] i]ZgZ^c-
 QZ Vahd ]VkZ VjY^iZY+ ^c VXXdgYVcXZ l^i] i]Z hiVcYVgYh d[ i]Z JjWa^X =dbeVcn ;XXdjci^c\ IkZgh^\]i <dVgY 'Oc^iZY MiViZh(+ i]Z =dbeVcnxh
 ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\ Vh d[ >ZXZbWZg 20+ 1/05+ WVhZY dc Xg^iZg^V ZhiVWa^h]ZY ^c Internal Control - Integrated Framework (2013)
 ^hhjZY Wn i]Z =dbb^iiZZ d[ Medchdg^c\ Ig\Vc^oVi^dch d[ i]Z NgZVYlVn =dbb^hh^dc '=IMI(+ VcY djg gZedgi YViZY @ZWgjVgn 17+ 1/06 ZmegZhhZY Vc
 jcfjVa^[^ZY de^c^dc dc i]Z Z[[ZXi^kZcZhh d[ i]Z =dbeVcnxh ^ciZgcVa Xdcigda dkZg [^cVcX^Va gZedgi^c\-


 .h. EJGA
 >jWa^c+ CgZaVcY
 @ZWgjVgn 17+ 1/06



                                                                         @,0
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 NVWaZ d[ =dciZcih


                                                           JAZZ PHARMACEUTICALS PLC
                                                         CONSOLIDATED BALANCE SHEETS
                                                        (In thousands, except per share amounts)

                                                                                                                             December 31,
                                                                                                                    2016                    2015
                                                   ASSETS
 =jggZci VhhZih9
 =Vh] VcY XVh] Zfj^kVaZcih                                                                                  #           254+852      #         877+674
 CckZhibZcih                                                                                                                5/+///                      ,
 ;XXdjcih gZXZ^kVWaZ+ cZi d[ VaadlVcXZh d[ #4+043 VcY #2+582 Vi >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan                123+133                1/8+574
 CckZcidg^Zh                                                                                                                23+/40                 08+340
 JgZeV^Y ZmeZchZh                                                                                                           13+4/0                 1/+588
 Ii]Zg XjggZci VhhZih                                                                                                       18+20/                 08+/36
 NdiVa XjggZci VhhZih                                                                                                   637+/58               0+146+556
 JgdeZgin VcY Zfj^ebZci+ cZi                                                                                            0/6+38/                    74+461
 CciVc\^WaZ VhhZih+ cZi                                                                                               2+/01+//0               0+074+5/5
 AddYl^aa                                                                                                               782+70/                546+028
 >Z[ZggZY iVm VhhZih+ cZi+ cdc,XjggZci                                                                                      04+/5/             02/+037
 >Z[ZggZY [^cVcX^c\ Xdhih                                                                                                    8+626                  6+1/8
 Ii]Zg cdc,XjggZci VhhZih                                                                                                   03+/5/                  8+160
 NdiVa VhhZih                                                                                               #         3+7//+116      #        2+221+501
                                 LIABILITIES AND SHAREHOLDERS’ EQUITY
 =jggZci a^VW^a^i^Zh9
 ;XXdjcih eVnVWaZ                                                                                           #               11+304   #             10+7/6
 ;XXgjZY a^VW^a^i^Zh                                                                                                    082+157                053+/6/
 =jggZci edgi^dc d[ adc\,iZgb YZWi                                                                                          25+/83                 26+476
 CcXdbZ iVmZh eVnVWaZ                                                                                                        3+4/5                  0+7/7
 >Z[ZggZY gZkZcjZ                                                                                                            0+012                  0+26/
 NdiVa XjggZci a^VW^a^i^Zh                                                                                              146+3/5                115+531
 >Z[ZggZY gZkZcjZ+ cdc,XjggZci                                                                                               1+5/0                  2+610
 Fdc\,iZgb YZWi+ aZhh XjggZci edgi^dc                                                                                 0+882+420               0+04/+746
 >Z[ZggZY iVm a^VW^a^in+ cZi+ cdc,XjggZci                                                                               445+622                172+382
 Ii]Zg cdc,XjggZci a^VW^a^i^Zh                                                                                          001+506                    58+142
 =dbb^ibZcih VcY Xdci^c\ZcX^Zh 'HdiZ 00(
 M]VgZ]daYZghx Zfj^in9
 IgY^cVgn h]VgZh+ cdb^cVa kVajZ #/-///0 eZg h]VgZ: 2//+/// h]VgZh Vji]dg^oZY: 48+71/ VcY 50+2/4 h]VgZh
 ^hhjZY VcY djihiVcY^c\ Vi >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan                                                             5                      5
 Hdc,kdi^c\ Zjgd YZ[ZggZY h]VgZh+ y/-/0 eVg kVajZ eZg h]VgZ: 3+/// h]VgZh Vji]dg^oZY+ ^hhjZY VcY
 djihiVcY^c\ Vi Wdi] >ZXZbWZg 20+ 1/05 VcY 1/04                                                                                44                     44
 =Ve^iVa gZYZbei^dc gZhZgkZ                                                                                                   361                    360
 ;YY^i^dcVa eV^Y,^c XVe^iVa                                                                                           0+554+121               0+451+8//
 ;XXjbjaViZY di]Zg XdbegZ]Zch^kZ adhh                                                                                  '206+222(              '156+361(
 LZiV^cZY ZVgc^c\h                                                                                                      417+8/6                2/1+575
 NdiVa h]VgZ]daYZghx Zfj^in                                                                                           0+766+228               0+487+535
 NdiVa a^VW^a^i^Zh VcY h]VgZ]daYZghx Zfj^in                                                                 #         3+7//+116      #        2+221+501




                                  N]Z VXXdbeVcn^c\ cdiZh VgZ Vc ^ciZ\gVa eVgi d[ i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih-

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 NVWaZ d[ =dciZcih


                                                          JAZZ PHARMACEUTICALS PLC
                                                     CONSOLIDATED STATEMENTS OF INCOME
                                                       (In thousands, except per share amounts)


                                                                                                            Year Ended December 31,
                                                                                            2016                     2015                 2014
 LZkZcjZh9
 JgdYjXi hVaZh+ cZi                                                                   #        0+366+150     #         0+205+708      #     0+051+605
 LdnVai^Zh VcY XdcigVXi gZkZcjZh                                                                   0/+601                    6+873               0/+048
 NdiVa gZkZcjZh                                                                                0+376+862               0+213+7/2            0+061+764
 IeZgVi^c\ ZmeZchZh9
 =dhi d[ egdYjXi hVaZh 'ZmXajY^c\ Vbdgi^oVi^dc VcY ^beV^gbZci d[ ^ciVc\^WaZ VhhZih(             0/4+275                 0/1+415              006+307
 MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ                                                            4/1+781                  338+008             3/5+003
 LZhZVgX] VcY YZkZadebZci                                                                       051+186                 024+142                  74+070
 ;Xfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci                                                      12+64/                        ,           1/1+515
 CciVc\^WaZ VhhZi Vbdgi^oVi^dc                                                                  0/0+883                     87+051           015+473
 CbeV^gbZci X]Vg\Zh                                                                                     ,                   20+412               28+254
 NdiVa deZgVi^c\ ZmeZchZh                                                                       785+208                 705+472              866+177
 CcXdbZ [gdb deZgVi^dch                                                                         480+543                 4/7+11/              084+476
 CciZgZhi ZmeZchZ+ cZi                                                                           '50+831(                '45+806(             '41+602(
 @dgZ^\c XjggZcXn \V^c                                                                              2+261                    0+334                7+572
 Fdhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi                                                    '527(                '05+704(                     ,
 CcXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc VcY Zfj^in ^c adhh d[ ^ckZhiZZ                              421+335                 324+822              040+446
 CcXdbZ iVm egdk^h^dc                                                                           024+125                 0/5+288                  83+120
 ?fj^in ^c adhh d[ ^ckZhiZZ                                                                          268                         ,                    ,
 HZi ^cXdbZ                                                                                     285+720                 218+423                  46+215
 HZi adhh Viig^WjiVWaZ id cdcXdcigdaa^c\ ^ciZgZhih                                                      ,                       '0(              '0+/50(
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX                                  #         285+720      #          218+424       #          47+276


 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ9
 <Vh^X                                                                                #              5-45    #                4-27    #            /-87
 >^ajiZY                                                                              #              5-30    #                4-12    #            /-82
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ XVaXjaVi^dch , WVh^X                           5/+4//                   50+121               48+635
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ XVaXjaVi^dch , Y^ajiZY                         50+76/                   52+/25               51+503




                                 N]Z VXXdbeVcn^c\ cdiZh VgZ Vc ^ciZ\gVa eVgi d[ i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih-

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 NVWaZ d[ =dciZcih


                                                        JAZZ PHARMACEUTICALS PLC
                                     CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME (LOSS)
                                                          (In thousands)


                                                                                                        Year Ended December 31,
                                                                                          2016                   2015               2014
 HZi ^cXdbZ                                                                       #           285+720     #          218+423    #          46+215
 Ii]Zg XdbegZ]Zch^kZ adhh9
 @dgZ^\c XjggZcXn igVchaVi^dc VY_jhibZcih                                                     '38+750(              '034+264(         '067+153(
 Ii]Zg XdbegZ]Zch^kZ adhh                                                                     '38+750(              '034+264(         '067+153(
 NdiVa XdbegZ]Zch^kZ ^cXdbZ 'adhh(                                                            235+86/                073+048          '01/+827(
 =dbegZ]Zch^kZ adhh Viig^WjiVWaZ id cdcXdcigdaa^c\ ^ciZgZhih                                        ,                     '0(              '0+/64(
 =dbegZ]Zch^kZ ^cXdbZ 'adhh( Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX             #           235+86/     #          073+05/    #     '008+752(




                              N]Z VXXdbeVcn^c\ cdiZh VgZ Vc ^ciZ\gVa eVgi d[ i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih-


                                                                        @,3
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 NVWaZ d[ =dciZcih


                                                              JAZZ PHARMACEUTICALS PLC
                                            CONSOLIDATED STATEMENTS OF SHAREHOLDERS’ EQUITY
                                                              (In thousands)

                                            Non-voting Euro                                  Accumu-                         Total Jazz
                     Ordinary Shares           Deferred                                        lated                          Pharma-
                                                                                              Other                          ceuticals
                                                                  Capital                    Compre-                            plc              Non-
                                                                  Redemp-   Additional       hensive                           Share-          control-
                                                                    tion     Paid-in         Income              Retained     holders’           l in g          Total
                    Shares        Amount   Shares       Amount    Reserve    Capital          (Loss)             Earnings      Equity          interest         Equity
 Balance at
 December 31,
 2013               46+743    #        5    3+///   #       44    #   360   # 0+11/+206      #    45+042     #     07+421    # 0+184+423   #              ,   # 0+184+423
 HdcXdcigdaa^c\
 ^ciZgZhi dc
 AZci^jb
 ;Xfj^h^i^dc             ,             ,        ,             ,         ,               ,               ,               ,              ,        025+467          025+467
 ;Xfj^h^i^dc d[
 cdcXdcigdaa^c\
 ^ciZgZhi                ,             ,        ,             ,         ,          '0+42/(              ,               ,        '0+42/(       '024+328(        '025+858(
 ChhjVcXZ d[
 ZmX]Vc\ZVWaZ
 hZc^dg cdiZh            ,             ,        ,             ,         ,      015+752                  ,               ,       015+752                   ,      015+752
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 ^c Xdc_jcXi^dc
 l^i] ZmZgX^hZ d[
 h]VgZ dei^dch       0+074             ,        ,             ,         ,         32+/32                ,               ,        32+/32                   ,       32+/32
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 jcYZg ZbeadnZZ
 hidX` ejgX]VhZ
 eaVc                 006              ,        ,             ,         ,          6+086                ,               ,         6+086                   ,        6+086
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 ^c Xdc_jcXi^dc
 l^i] kZhi^c\ d[
 gZhig^XiZY hidX`
 jc^ih                111              ,        ,             ,         ,               ,               ,               ,              ,                  ,              ,
 M]VgZh l^i]]ZaY
 [dg eVnbZci d[
 ZbeadnZZ&h
 l^i]]daY^c\ iVm
 a^VW^a^in               ,             ,        ,             ,         ,         '07+/2/(              ,               ,       '07+/2/(                  ,      '07+/2/(
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 ^c Xdc_jcXi^dc
 l^i] ZmZgX^hZ d[
 lVggVcih            0+441             ,        ,             ,         ,          7+136                ,               ,         7+136                   ,        7+136
 M]VgZh ^hhjZY
 jcYZg Y^gZXidgh
 YZ[ZggZY
 XdbeZchVi^dc
 eaVc                  06              ,        ,             ,         ,               ,               ,               ,              ,                  ,              ,
 M]VgZ,WVhZY
 XdbeZchVi^dc            ,             ,        ,             ,         ,         6/+/46                ,               ,        6/+/46                   ,       6/+/46
 ?mXZhh iVm
 WZcZ[^ih [gdb
 ZbeadnZZ h]VgZ
 dei^dch                 ,             ,        ,             ,         ,          0+730                ,               ,         0+730                   ,        0+730
 M]VgZh
 gZejgX]VhZY          '2/3(            ,        ,             ,         ,               ,               ,         '31+104(      '31+104(                  ,      '31+104(
 Ii]Zg
 XdbegZ]Zch^kZ
 adhh                    ,             ,        ,             ,         ,               ,        '067+14/(              ,      '067+14/(            '03(        '067+153(
 HZi ^cXdbZ              ,             ,        ,             ,         ,               ,               ,          47+276        47+276          '0+/50(          46+215
 Balance at
 December 31,
 2014               5/+532    #        5    3+///   #       44    #   360   # 0+347+//4      # '011+/86( #         23+6/3    # 0+260+033   #         53       # 0+260+1/7




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 NVWaZ d[ =dciZcih


                                                              JAZZ PHARMACEUTICALS PLC
                                       CONSOLIDATED STATEMENTS OF SHAREHOLDERS’ EQUITY-(Continued)
                                                             (In thousands)

                                            Non-voting Euro                                   Accumu-                    Total Jazz
                     Ordinary Shares           Deferred                                         lated                     Pharma-
                                                                                               Other                     ceuticals
                                                                  Capital                     Compre-                       plc          Non-
                                                                  Redemp-   Additional        hensive                      Share-      control-
                                                                    tion     Paid-in          Income         Retained     holders’       l in g       Total
                    Shares        Amount   Shares       Amount    Reserve    Capital           (Loss)        Earnings      Equity      interest      Equity
 Balance at
 December 31,
 2014               5/+532    #        5    3+///   #       44    #   360   # 0+347+//4      # '011+/86( #     23+6/3    # 0+260+033   #    53     # 0+260+1/7
 ;Xfj^h^i^dc d[
 cdcXdcigdaa^c\
 ^ciZgZhi                ,             ,        ,             ,         ,             '0/(            ,             ,           '0/(       '52(           '62(
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 ^c Xdc_jcXi^dc
 l^i] ZmZgX^hZ d[
 h]VgZ dei^dch        621              ,        ,             ,         ,         21+871              ,             ,        21+871           ,        21+871
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 jcYZg ZbeadnZZ
 hidX` ejgX]VhZ
 eaVc                  64              ,        ,             ,         ,          6+430              ,             ,         6+430           ,         6+430
 ChhjVcXZ d[
 dgY^cVgn h]VgZh
 ^c Xdc_jcXi^dc
 l^i] kZhi^c\ d[
 gZhig^XiZY hidX`
 jc^ih                154              ,        ,             ,         ,               ,             ,             ,              ,          ,               ,
 M]VgZh l^i]]ZaY
 [dg eVnbZci d[
 ZbeadnZZ&h
 l^i]]daY^c\ iVm
 a^VW^a^in               ,             ,        ,             ,         ,         '15+0/1(            ,             ,       '15+0/1(          ,       '15+0/1(
 M]VgZ,WVhZY
 XdbeZchVi^dc            ,             ,        ,             ,         ,         80+684              ,             ,        80+684           ,        80+684
 ?mXZhh iVm
 WZcZ[^ih [gdb
 ZbeadnZZ h]VgZ
 dei^dch                 ,             ,        ,             ,         ,          '0+200(            ,             ,        '0+200(          ,         '0+200(
 M]VgZh
 gZejgX]VhZY          '30/(            ,        ,             ,         ,               ,             ,       '50+442(      '50+442(          ,       '50+442(
 Ii]Zg
 XdbegZ]Zch^kZ
 adhh                    ,             ,        ,             ,         ,               ,      '034+264(            ,      '034+264(          ,      '034+264(
 HZi ^cXdbZ              ,             ,        ,             ,         ,               ,             ,       218+424       218+424          '0(      218+423
 Balance at
 December 31,
 2015               50+2/4    #        5    3+///   #       44    #   360   # 0+451+8//      # '156+361( # 2/1+575       # 0+487+535   #      ,    # 0+487+535




                                                                            @,5
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 NVWaZ d[ =dciZcih


                                                                    JAZZ PHARMACEUTICALS PLC
                                          CONSOLIDATED STATEMENTS OF SHAREHOLDERS’ EQUITY-(Continued)
                                                                (In thousands)

                                                                       Non-voting Euro                                      Accumu-
                                             Ordinary Shares              Deferred                                            lated
                                                                                                                             Other
                                                                                                                            Compre-
                                                                                                 Capital     Additional     hensive
                                                                                               Redemp-tion    Paid-in       Income      Retained       Total
                                           Shares          Amount     Shares        Amount       Reserve      Capital        (Loss)     Earnings      Equity
 Balance at December 31, 2015               50+2/4     #        5       3+///   #         44   #      360    # 0+451+8//   # '156+361( # 2/1+575    # 0+487+535
 =jbjaVi^kZ Z[[ZXi VY_jhibZci [gdb
 VYdei^dc d[ ;MO Hd- 1/05,/8 'HdiZ
 1(                                               ,             ,           ,              ,            ,              ,           ,     0/6+576       0/6+576
 ChhjVcXZ d[ dgY^cVgn h]VgZh ^c
 Xdc_jcXi^dc l^i] ZmZgX^hZ d[ h]VgZ
 dei^dch                                       288              ,           ,              ,            ,        05+77/            ,           ,        05+77/
 ChhjVcXZ d[ dgY^cVgn h]VgZh jcYZg
 ZbeadnZZ hidX` ejgX]VhZ eaVc                   6/              ,           ,              ,            ,         6+183            ,           ,         6+183
 ChhjVcXZ d[ dgY^cVgn h]VgZh ^c
 Xdc_jcXi^dc l^i] kZhi^c\ d[ gZhig^XiZY
 hidX` jc^ih                                   178              ,           ,              ,            ,              ,           ,           ,               ,
 M]VgZh l^i]]ZaY [dg eVnbZci d[
 ZbeadnZZ&h l^i]]daY^c\ iVm a^VW^a^in             ,             ,           ,              ,            ,       '10+123(           ,           ,       '10+123(
 M]VgZ,WVhZY XdbeZchVi^dc                         ,             ,           ,              ,            ,        88+281            ,           ,        88+281
 M]VgZh gZejgX]VhZY                          '1+132(            ,           ,              ,            0              ,           ,    '167+186(     '167+185(
 Ii]Zg XdbegZ]Zch^kZ adhh                         ,             ,           ,              ,            ,              ,     '38+750(          ,       '38+750(
 HZi ^cXdbZ                                       ,             ,           ,              ,            ,              ,           ,     285+720       285+720
 Balance at December 31, 2016               48+71/     #        5       3+///   #         44   #      361    # 0+554+121   # '206+222( # 417+8/6    # 0+766+228




                                      N]Z VXXdbeVcn^c\ cdiZh VgZ Vc ^ciZ\gVa eVgi d[ i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih-

                                                                                    @,6
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 NVWaZ d[ =dciZcih


                                                         JAZZ PHARMACEUTICALS PLC
                                                CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                              (In thousands)

                                                                                                         Year Ended December 31,
                                                                                         2016                     2015                 2014
 Operating activities
 HZi ^cXdbZ                                                                          #      285+720        #          218+423      #          46+215
 ;Y_jhibZcih id gZXdcX^aZ cZi ^cXdbZ id cZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh9
 CciVc\^WaZ VhhZi Vbdgi^oVi^dc                                                              0/0+883                      87+051           015+473
 M]VgZ,WVhZY XdbeZchVi^dc                                                                       87+660                   80+44/               58+527
 CbeV^gbZci X]Vg\Zh                                                                                  ,                   20+412               28+254
 >ZegZX^Vi^dc                                                                                   00+675                    8+783                6+/86
 ;Xfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci                                                   12+64/                        ,           1/1+515
 Fdhh dc Y^hedhVa d[ egdeZgin VcY Zfj^ebZci                                                        36                      061                   13
 ;Xfj^h^i^dc VXXdjci^c\ ^ckZcidgn [V^g kVajZ hiZe,je VY_jhibZcih                                     ,                        ,               0/+366
 >Z[ZggZY ^cXdbZ iVmZh                                                                      '30+052(                  '57+247(             '38+143(
 Jgdk^h^dc [dg adhhZh dc VXXdjcih gZXZ^kVWaZ VcY ^ckZcidgn                                       1+1/8                    3+/51                1+382
 Fdhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi                                                  527                    05+704                    ,
 ;bdgi^oVi^dc d[ YZWi Y^hXdjci VcY YZ[ZggZY [^cVcX^c\ Xdhih                                     11+022                   11+627               02+614
 Ii]Zg cdc,XVh] igVchVXi^dch                                                                    '2+630(                  '4+076(           '00+875(
 =]Vc\Zh ^c VhhZih VcY a^VW^a^i^Zh9
 ;XXdjcih gZXZ^kVWaZ                                                                        '14+5/2(                  '13+730(             '44+/30(
 CckZcidg^Zh                                                                                '06+/13(                      5+160               '6+52/(
 JgZeV^Y ZmeZchZh VcY di]Zg XjggZci VhhZih                                                  '04+6//(                      2+61/               00+825
 Ii]Zg adc\,iZgb VhhZih                                                                           156                    '3+462(              '2+/5/(
 ;XXdjcih eVnVWaZ                                                                                 250                    '1+17/(           '26+855(
 ;XXgjZY a^VW^a^i^Zh                                                                            0/+023                    1+875               1/+886
 CcXdbZ iVmZh eVnVWaZ                                                                            1+851                   '5+160(               7+523
 >Z[ZggZY gZkZcjZ                                                                               '0+204(                   '425(               '0+1/2(
 =dci^c\Zci Xdch^YZgVi^dc                                                                            ,                        ,            '03+8//(
 Ii]Zg cdc,XjggZci a^VW^a^i^Zh                                                                  12+088                   15+451               06+613
 HZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh                                                  48/+425                   420+832             3/6+5/5
 Investing activities
 ;Xfj^h^i^dch+ cZi d[ XVh] VXfj^gZY                                                       '0+4/1+332(                         ,          '717+565(
 ;Xfj^h^i^dc d[ ^ciVc\^WaZ VhhZih                                                          '04/+///(                          ,                    ,
 ;Xfj^h^i^dc d[ ^ckZhibZcih                                                                 '54+164(                          ,                    ,
 ;Xfj^h^i^dc d[ ^c,egdXZhh gZhZVgX] VcY YZkZadebZci                                         '12+64/(                          ,          '1/1+515(
 JjgX]VhZh d[ egdeZgin VcY Zfj^ebZci                                                            '6+721(               '24+847(             '25+236(
 HZi egdXZZYh [gdb hVaZ d[ Wjh^cZhh                                                                  ,                   22+6/2                    ,
 HZi XVh] jhZY ^c ^ckZhi^c\ VXi^k^i^Zh                                                    '0+638+2//(                    '1+144(        '0+/56+538(
 Financing activities
 HZi egdXZZYh [gdb ^hhjVcXZ d[ YZWi                                                         883+536                   787+531            0+083+274
 JgdXZZYh [gdb ZbeadnZZ Zfj^in ^cXZci^kZ VcY ejgX]VhZ eaVch VcY ZmZgX^hZ d[
 lVggVcih                                                                                       13+063                   3/+412               47+376
 M]VgZ gZejgX]VhZh                                                                         '167+185(                  '50+442(             '31+104(
 ;Xfj^h^i^dc d[ cdcXdcigdaa^c\ ^ciZgZhih                                                             ,                      '62(         '025+858(
 JVnbZci d[ Xdci^c\Zci Xdch^YZgVi^dc                                                                 ,                        ,            '24+0//(
 JVnbZci d[ ZbeadnZZ l^i]]daY^c\ iVmZh gZaViZY id h]VgZ,WVhZY VlVgYh                        '10+123(                  '15+0/1(             '07+/2/(
 LZeVnbZcih d[ adc\,iZgb YZWi                                                               '17+2/3(                 '8/4+65/(                '8+413(
 LZeVnbZcih jcYZg gZkdak^c\ XgZY^i [VX^a^in                                                '04/+///(                 '05/+///(           '2//+///(
 HZi XVh] egdk^YZY Wn 'jhZY ^c( [^cVcX^c\ VXi^k^i^Zh                                        43/+876                  '103+212(            600+/23
 ?[[ZXi d[ ZmX]Vc\Z gViZh dc XVh] VcY XVh] Zfj^kVaZcih                                          '4+/34(               '0/+511(                '2+342(
 HZi ^cXgZVhZ 'YZXgZVhZ( ^c XVh] VcY XVh] Zfj^kVaZcih                                      '511+711(                  2/3+632                 36+427
 =Vh] VcY XVh] Zfj^kVaZcih+ Vi WZ\^cc^c\ d[ eZg^dY                                          877+674                   573+/31             525+4/3
 =Vh] VcY XVh] Zfj^kVaZcih+ Vi ZcY d[ eZg^dY                                         #      254+852        #          877+674      #      573+/31
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                                      @,7
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 NVWaZ d[ =dciZcih


                                                           JAZZ PHARMACEUTICALS PLC
                                            CONSOLIDATED STATEMENTS OF CASH FLOWS-(Continued)
                                                              (In thousands)


                                                                                                              Year Ended December 31,
                                                                                              2016                     2015                2014
 MjeeaZbZciVa Y^hXadhjgZ d[ XVh] [adl ^c[dgbVi^dc9
 =Vh] eV^Y [dg ^ciZgZhi                                                               #              28+787     #             3/+/88   #          20+867
 =Vh] eV^Y [dg ^cXdbZ iVmZh                                                                       05/+2/5                  034+486            0/7+078
 Hdc,XVh] ^ckZhi^c\ VXi^k^i^Zh9
 =dchigjXi^dc,^c,egd\gZhh gZaViZY id [VX^a^in aZVhZ dWa^\Vi^dc                                       12+688                    3+240                   ,




                                  N]Z VXXdbeVcn^c\ cdiZh VgZ Vc ^ciZ\gVa eVgi d[ i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih-

                                                                           @,8
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 NVWaZ d[ =dciZcih


                                                          JAZZ PHARMACEUTICALS PLC

                                             NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

 1. Organization and Description of Business
 DVoo J]VgbVXZji^XVah eaX ^h Vc ^ciZgcVi^dcVa W^de]VgbVXZji^XVa XdbeVcn [dXjhZY dc ^begdk^c\ eVi^Zcihx a^kZh Wn ^YZci^[n^c\+ YZkZade^c\ VcY
 XdbbZgX^Va^o^c\ bZVc^c\[ja egdYjXih i]Vi VYYgZhh jcbZi bZY^XVa cZZYh-
 QZ ]VkZ V Y^kZghZ edgi[da^d d[ egdYjXih VcY egdYjXi XVcY^YViZh+ l^i] V [dXjh ^c i]Z VgZVh d[ haZZe VcY ]ZbVidad\n.dcXdad\n- Ijg aZVY bVg`ZiZY
 egdYjXih VgZ9
 s         Xyrem® (sodium oxybate) oral solution+ i]Z dcan egdYjXi VeegdkZY Wn i]Z O-M- @ddY VcY >gj\ ;Yb^c^higVi^dc+ dg @>;+ VcY XjggZcian
           bVg`ZiZY [dg i]Z igZVibZci d[ Wdi] XViVeaZmn VcY ZmXZhh^kZ YVni^bZ haZZe^cZhh+ dg ?>M+ ^c eVi^Zcih l^i] cVgXdaZehn:
 s         Erwinaze® (asparaginase Erwinia chrysanthemi)+ V igZVibZci VeegdkZY ^c i]Z O-M- VcY ^c XZgiV^c bVg`Zih ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY
           Vh ?gl^cVhZt( [dg eVi^Zcih l^i] VXjiZ anbe]dWaVhi^X aZj`Zb^V+ dg ;FF+ l]d ]VkZ YZkZadeZY ]neZghZch^i^k^in id E. coli,YZg^kZY
           VheVgV\^cVhZ: VcY
 s         Defitelio® (defibrotide sodium)+ V egdYjXi VeegdkZY ^c i]Z O-M- [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] ]ZeVi^X kZcd,
           dXXajh^kZ Y^hZVhZ+ dg PI>+ Vahd `cdlc Vh h^cjhd^YVa dWhigjXi^dc hncYgdbZ+ dg MIM+ l^i] gZcVa dg ejabdcVgn Ynh[jcXi^dc [daadl^c\
           ]ZbVided^Zi^X hiZb XZaa igVcheaVciVi^dc+ dg BM=N+ VcY ^c ?jgdeZ 'l]ZgZ ^i ^h bVg`ZiZY Vh >Z[^iZa^dt 'YZ[^Wgdi^YZ(( [dg i]Z igZVibZci d[
           hZkZgZ PI> ^c VYjaih VcY X]^aYgZc jcYZg\d^c\ BM=N i]ZgVen-
 Ijg higViZ\n ^h id XgZViZ h]VgZ]daYZg kVajZ Wn9
 s         Agdl^c\ hVaZh d[ i]Z Zm^hi^c\ egdYjXih ^c djg edgi[da^d+ ^cXajY^c\ Wn ^YZci^[n^c\ VcY ^ckZhi^c\ ^c \gdli] deedgijc^i^Zh hjX] Vh cZl
           igZVibZci ^cY^XVi^dch VcY cZl \Zd\gVe]^X bVg`Zih:
 s         ;Xfj^g^c\ dg a^XZch^c\ g^\]ih id Xa^c^XVaan bZVc^c\[ja VcY Y^[[ZgZci^ViZY egdYjXih i]Vi VgZ dc i]Z bVg`Zi dg egdYjXi XVcY^YViZh i]Vi VgZ ^c
           aViZ,hiV\Z YZkZadebZci: VcY
 s         Jjghj^c\ iVg\ZiZY YZkZadebZci d[ edhi,Y^hXdkZgn Y^[[ZgZci^ViZY egdYjXi XVcY^YViZh-
 QZ Veean V Y^hX^ea^cZY VeegdVX] id VaadXVi^c\ djg gZhdjgXZh WZilZZc ^ckZhibZcih ^c djg XjggZci XdbbZgX^Va VcY YZkZadebZci edgi[da^d VcY
 VXfj^h^i^dch dg ^c,a^XZch^c\ d[ cZl VhhZih-
 N]gdj\]dji i]^h gZedgi+ jcaZhh di]Zgl^hZ ^cY^XViZY dg i]Z XdciZmi di]Zgl^hZ gZfj^gZh+ Vaa gZ[ZgZcXZh id vDVoo J]VgbVXZji^XVah+w vi]Z gZ\^higVci+w
 vlZ+w vjh+w VcY vdjgw gZ[Zg id DVoo J]VgbVXZji^XVah eaX VcY ^ih Xdchda^YViZY hjWh^Y^Vg^Zh- N]gdj\]dji i]^h gZedgi+ Vaa gZ[ZgZcXZh id vdgY^cVgn
 h]VgZhw gZ[Zg id DVoo J]VgbVXZji^XVah eaXxh dgY^cVgn h]VgZh-

 2. Summary of Significant Accounting Policies
 Basis of Presentation
 N]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih ]VkZ WZZc egZeVgZY ^c VXXdgYVcXZ l^i] O-M- \ZcZgVaan VXXZeiZY VXXdjci^c\ eg^cX^eaZh+ dg O-M- A;;J+ VcY
 ^cXajYZ i]Z VXXdjcih d[ DVoo J]VgbVXZji^XVah eaX VcY djg hjWh^Y^Vg^Zh VcY ^ciZgXdbeVcn igVchVXi^dch VcY WVaVcXZh ]VkZ WZZc Za^b^cViZY- Ijg
 Xdchda^YViZY [^cVcX^Va hiViZbZcih ^cXajYZ i]Z gZhjaih d[ deZgVi^dch d[ Wjh^cZhhZh lZ ]VkZ VXfj^gZY [gdb i]Z YViZ d[ ZVX] VXfj^h^i^dc [dg i]Z
 Veea^XVWaZ gZedgi^c\ eZg^dYh-
 Reclassifications
 =ZgiV^c eg^dg eZg^dY Vbdjcih egZhZciZY ^c i]ZhZ Xdchda^YViZY [^cVcX^Va hiViZbZcih VcY i]Z VXXdbeVcn^c\ [ddicdiZh ]VkZ WZZc gZXaVhh^[^ZY id
 Xdc[dgb id i]Z XjggZci eZg^dY egZhZciVi^dc- N]Z ^cY^gZXi Z[[ZXih d[ XZgiV^c jcgZXd\c^oZY iVm WZcZ[^ih+ egZk^djhan XaVhh^[^ZY l^i]^c di]Zg cdc,XjggZci
 VhhZih Vh d[ >ZXZbWZg 20+ 1/04+ ]VkZ WZZc gZXaVhh^[^ZY id YZ[ZggZY iVm VhhZih+ cZi+ cdc,XjggZci VcY YZ[ZggZY iVm a^VW^a^in+ cZi+ cdc,XjggZci ^c i]Z
 Xdchda^YViZY WVaVcXZ h]ZZi VcY HdiZ 07-
 Adoption of New Accounting Standards
 ?[[ZXi^kZ DVcjVgn 0+ 1/05+ lZ VYdeiZY ;XXdjci^c\ MiVcYVgYh OeYViZ+ dg ;MO+ Hd- 1/04,/2 vCciZgZhi , CbejiVi^dc d[ CciZgZhiw+ dg ;MO Hd- 1/04,/2-
 ;MO Hd- 1/04,/2 gZfj^gZh YZWi ^hhjVcXZ Xdhih gZaViZY id V gZXd\c^oZY YZWi a^VW^a^in id WZ egZhZciZY ^c i]Z WVaVcXZ h]ZZi Vh V Y^gZXi YZYjXi^dc [gdb
 i]Z YZWi a^VW^a^in ^chiZVY d[ Vh Vc VhhZi- N]Z hiVcYVgY gZfj^gZh gZigdheZXi^kZ Veea^XVi^dc- N]Z VYdei^dc d[ ;MO Hd- 1/04,/2 gZhjaiZY ^c V #05-0 b^aa^dc
 gZYjXi^dc d[ Wdi] YZ[ZggZY [^cVcX^c\ Xdhih VcY adc\,iZgb YZWi+ aZhh XjggZci edgi^dc ^c djg Xdchda^YViZY WVaVcXZ h]ZZi Vh d[ >ZXZbWZg 20+ 1/04-

                                                                          @,0/
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 NVWaZ d[ =dciZcih
                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 Cc GVgX] 1/05+ i]Z @^cVcX^Va ;XXdjci^c\ MiVcYVgYh <dVgY+ dg i]Z @;M< ^hhjZY ;MO Hd- 1/05,/8+ vCbegdkZbZcih id ?beadnZZ M]VgZ,<VhZY
 JVnbZci ;XXdjci^c\w- N]Z hiVcYVgY h^bea^[^Zh hZkZgVa VgZVh d[ VXXdjci^c\ [dg h]VgZ,WVhZY XdbeZchVi^dc VggVc\ZbZcih- ;MO Hd- 1/05,/8 ^h
 Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/06- QZ ZaZXiZY id ZVgan VYdei ;MO Hd- 1/05,/8 ^c i]Z [djgi] fjVgiZg d[ 1/05 l]^X] gZfj^gZY jh id gZ[aZXi Vcn
 VY_jhibZcih Vh d[ DVcjVgn 0+ 1/05+ i]Z WZ\^cc^c\ d[ i]Z VccjVa eZg^dY i]Vi ^cXajYZh i]Z ^ciZg^b eZg^dY d[ VYdei^dc-
 ;MO Hd- 1/05,/8 gZfj^gZh i]Vi Vaa ZmXZhh iVm WZcZ[^ih VcY iVm YZ[^X^ZcX^Zh WZ gZXd\c^oZY Vh ^cXdbZ iVm WZcZ[^i dg ZmeZchZ ^c i]Z ^cXdbZ hiViZbZci
 VcY cd adc\Zg YZaVnh gZXd\c^i^dc d[ V iVm WZcZ[^i jci^a i]Z iVm WZcZ[^i ^h gZVa^oZY i]gdj\] V gZYjXi^dc id iVmZh eVnVWaZ- Ic VYdei^dc d[ ;MO Hd- 1/05,
 /8+ lZ gZXdgYZY V #0/6-6 b^aa^dc XjbjaVi^kZ,Z[[ZXi VY_jhibZci id deZc^c\ gZiV^cZY ZVgc^c\h VcY YZ[ZggZY iVm VhhZih+ cZi+ cdc,XjggZci Vh d[ DVcjVgn 0+
 1/05 [dg egZk^djhan jcgZXd\c^oZY ZmXZhh iVm WZcZ[^ih VcY gZXd\c^oZY ZmXZhh iVm WZcZ[^ih d[ #6-6 b^aa^dc ^c djg ^cXdbZ iVm egdk^h^dc [dg i]Z nZVg
 ZcYZY >ZXZbWZg 20+ 1/05-
 ;Ydei^dc d[ i]Z X]Vc\Zh id i]Z VXXdjci^c\ [dg hiVijidgn l^i]]daY^c\ iVm gZfj^gZbZcih ]VY cd ^beVXi dc djg Xdchda^YViZY [^cVcX^Va hiViZbZcih- QZ
 ZaZXiZY id Xdci^cjZ id Zhi^bViZ [dg[Z^ijgZh ZmeZXiZY id dXXjg ^c YZiZgb^c^c\ i]Z Vbdjci d[ XdbeZchVi^dc Xdhi id WZ gZXd\c^oZY ^c ZVX] eZg^dY-
 QZ ZaZXiZY id Veean i]Z egZhZciVi^dc gZfj^gZbZcih [dg XVh] [adlh gZaViZY id ZmXZhh iVm WZcZ[^ih gZigdheZXi^kZan id Vaa eZg^dYh egZhZciZY l]^X]
 gZhjaiZY ^c Vc ^cXgZVhZ ^c cZi XVh] egdk^YZY Wn deZgVi^c\ VXi^k^i^Zh VcY V gZYjXi^dc ^c cZi XVh] egdk^YZY Wn [^cVcX^c\ VXi^k^i^Zh d[ #0-7 b^aa^dc [dg
 i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/03- N]ZgZ lVh cd ^beVXi dc djg Xdchda^YViZY hiViZbZci d[ XVh] [adlh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/04- N]Z
 egZhZciVi^dc gZfj^gZbZcih [dg XVh] [adlh gZaViZY id ZbeadnZZ iVmZh eV^Y [dg l^i]]ZaY h]VgZh ]VY cd ^beVXi dc Vcn d[ i]Z eZg^dYh egZhZciZY ^c djg
 Xdchda^YViZY hiViZbZcih d[ XVh] [adlh h^cXZ hjX] XVh] [adlh ]VkZ ]^hidg^XVaan WZZc egZhZciZY Vh V [^cVcX^c\ VXi^k^in-
 Significant Risks and Uncertainties
 Ijg [^cVcX^Va gZhjaih gZbV^c h^\c^[^XVcian ^c[ajZcXZY Wn hVaZh d[ RngZb- Cc 1/05+ cZi egdYjXi hVaZh d[ RngZb lZgZ #0+0/6-5 b^aa^dc+ l]^X] gZegZhZciZY
 64$ d[ idiVa cZi egdYjXi hVaZh- Ijg VW^a^in id bV^ciV^c dg ^cXgZVhZ hVaZh d[ RngZb ^c ^ih VeegdkZY ^cY^XVi^dch ^h hjW_ZXi id V cjbWZg d[ g^h`h VcY
 jcXZgiV^ci^Zh+ ^cXajY^c\ i]Z ediZci^Va XdbbZgX^Va^oVi^dc d[ V \ZcZg^X kZgh^dc d[ RngZb+ ^cXajY^c\ ^c XdccZXi^dc l^i] i]Z gZXZci VeegdkVa Wn i]Z @>;
 d[ Vc VWWgZk^ViZY cZl Ygj\ Veea^XVi^dc+ dg ;H>;+ [dg V \ZcZg^X kZgh^dc d[ RngZb+ Vh lZaa Vh iZciVi^kZ VeegdkVa d[ ild VYY^i^dcVa ;H>;h: i]Z
 ediZci^Va O-M- ^cigdYjXi^dc d[ Vc VaiZgcVi^kZ egdYjXi id RngZb [dg igZVi^c\ XViVeaZmn VcY.dg ?>M+ ^c cVgXdaZehn: X]Vc\Zh id+ ^cXgZVhZh d[ dg
 jcXZgiV^ci^Zh VgdjcY gZ\jaVidgn gZhig^Xi^dch+ ^cXajY^c\ X]Vc\Zh id djg RngZb g^h` ZkVajVi^dc VcY b^i^\Vi^dc higViZ\n+ dg L?GM+ eVgi^XjaVgan ^c a^\]i
 d[ i]Z @>;xh lV^kZg d[ i]Z h^c\aZ h]VgZY hnhiZb L?GM gZfj^gZbZci [dg hdY^jb dmnWViZ VcY VeegdkVa d[ V hZeVgViZ \ZcZg^X hdY^jb dmnWViZ L?GM:
 Vcn ^cXgZVhZ ^c eg^X^c\ egZhhjgZ [gdb+ dg gZhig^Xi^dch dc gZ^bWjghZbZci ^bedhZY Wn+ i]^gY eVgin eVndgh: X]Vc\Zh ^c ]ZVai]XVgZ aVlh VcY eda^Xn+
 ^cXajY^c\ X]Vc\Zh ^c gZfj^gZbZcih [dg eVi^Zci Vhh^hiVcXZ egd\gVbh+ gZWViZh+ gZ^bWjghZbZci VcY XdkZgV\Z Wn [ZYZgVa ]ZVai]XVgZ egd\gVbh+ VcY
 X]Vc\Zh gZhjai^c\ [gdb ^cXgZVhZY hXgji^cn dc e]VgbVXZji^XVa eg^X^c\ Wn \dkZgcbZci Zci^i^Zh: deZgVi^dcVa Y^hgjei^dch Vi i]Z RngZb XZcigVa
 e]VgbVXn dg Vcn [V^ajgZ id Xdbean l^i] djg L?GM dWa^\Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;: Vcn hjeean dg bVcj[VXijg^c\ egdWaZbh+ ^cXajY^c\ djg
 hdaZ hdjgXZ RngZb ;JC egdk^YZg: Xdci^cjZY VXXZeiVcXZ d[ RngZb Wn e]nh^X^Vch VcY eVi^Zcih+ ZkZc ^c i]Z [VXZ d[ cZ\Vi^kZ ejWa^X^in i]Vi hjg[VXZh
 [gdb i^bZ id i^bZ: X]Vc\Zh id djg aVWZa+ ^cXajY^c\ cZl hV[Zin lVgc^c\h dg X]Vc\Zh id djg WdmZY lVgc^c\+ i]Vi [jgi]Zg gZhig^Xi ]dl lZ bVg`Zi VcY hZaa
 RngZb: VcY djg O-M-,WVhZY hdY^jb dmnWViZ VcY RngZb hjeea^Zghx VW^a^in id dWiV^c hj[[^X^Zci fjdiVh [gdb i]Z O-M- >gj\ ?c[dgXZbZci
 ;Yb^c^higVi^dc+ dg >?;+ id hVi^h[n djg cZZYh [dg RngZb-
 MZkZc XdbeVc^Zh hZci jh cdi^XZh i]Vi i]Zn ]VY [^aZY ;H>;h l^i] i]Z @>; hZZ`^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb+ VcY lZ [^aZY
 eViZci aVlhj^ih V\V^chi ZVX] d[ i]ZhZ XdbeVc^Zh ^c i]Z >^hig^Xi =djgi [dg HZl DZghZn+ dg >^hig^Xi =djgi- Cc i]Z hZXdcY fjVgiZg d[ 1/05+ lZ hZiiaZY ild
 d[ i]ZhZ aVlhj^ih+ \gVci^c\ i]Z hZiia^c\ ;H>; Veea^XVcih V a^XZchZ id bVcj[VXijgZ+ bVg`Zi VcY hZaa i]Z^g \ZcZg^X kZgh^dch d[ RngZb dc dg V[iZg
 >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- Cc 1/05+ i]Z >^hig^Xi =djgi Xdchda^YViZY Vaa d[ djg eZcY^c\ eViZci
 a^i^\Vi^dc 'di]Zg i]Vc djg aVlhj^i [^aZY ^c ;j\jhi 1/05( V\V^chi QZhi,QVgY J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg
 LdmVcZ+ VcY hZi i]Z XVhZ [dg ig^Va ^c i]Z hZXdcY fjVgiZg d[ 1/06- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z >^hig^Xi =djgi W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z
 Xdchda^YViZY XVhZ ^ckdak^c\ i]Z eViZcih dc i]Z RngZb Y^hig^Wji^dc hnhiZb+ dg L?GM eViZcih- QZ XVccdi egZY^Xi i]Z i^b^c\ dg djiXdbZ d[ i]^h dg
 i]Z di]Zg ;H>; a^i^\Vi^dc egdXZZY^c\h- Cc Djan 1/05+ i]Z JViZci Ng^Va VcY ;eeZVa <dVgY+ dg JN;<+ d[ i]Z O-M- JViZci VcY NgVYZbVg` I[[^XZ+ dg
 OMJNI+ ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ h^m d[ hZkZc L?GM eViZcih VgZ jceViZciVWaZ: ^[ i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa
 =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY+ VcY lZ l^aa cdi WZ VWaZ id Zc[dgXZ i]ZhZ eViZcih- @dg V YZhXg^ei^dc d[ i]ZhZ
 aZ\Va egdXZZY^c\h+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Ic DVcjVgn 06+ 1/06+ i]Z @>; VccdjcXZY VeegdkVa d[ LdmVcZxh ;H>; [dg V \ZcZg^X kZgh^dc d[ RngZb- N]Z @>;xh aZiiZg Veegdk^c\ LdmVcZxh ;H>;
 cdiZh i]Vi LdmVcZ lVh i]Z [^ghi ;H>; Veea^XVci VcY ^h Za^\^WaZ [dg 07/ YVnh d[ \ZcZg^X Ygj\ ZmXajh^k^in [dg ^ih \ZcZg^X egdYjXi- LdmVcZxh VeegdkVa
 Vahd ^cXajYZh V lV^kZg i]Vi eZgb^ih LdmVcZ id jhZ V hZeVgViZ L?GM

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                                                            22222
 NVWaZ d[ =dciZcih
                                                           JAZZ PHARMACEUTICALS PLC
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 egd\gVb [gdb RngZb+ dc i]Z XdcY^i^dc i]Vi LdmVcZxh lV^kZg,\gVciZY L?GM hnhiZb WZ deZc id Vaa [jijgZ hedchdgh d[ ;H>;h dg H>;h [dg hdY^jb
 dmnWViZ egdYjXih- Ic DVcjVgn 08+ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY ild VYY^i^dcVa ;H>;h [dg \ZcZg^X kZgh^dch d[ RngZb+ dcZ [dg ;bcZVa
 J]VgbVXZji^XVah+ dg ;bcZVa+ VcY dcZ [dg I]b FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc Vh LVcWVmn+ CcX-+ dg LVcWVmn-
 Q]^aZ i]Z @>; ]Vh VeegdkZY dg iZciVi^kZan VeegdkZY ;H>;h hZZ`^c\ id bVg`Zi \ZcZg^X kZgh^dch d[ RngZb VcY lZ WZa^ZkZ i]Vi ^i ^h a^`Zan i]Vi i]Z
 @>; l^aa VeegdkZ dg iZciVi^kZan VeegdkZ VYY^i^dcVa ;H>;h+ i]Z i^b^c\ d[ Vcn ediZci^Va XdbbZgX^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb ^h
 jcXZgiV^c- QZ Yd cdi WZa^ZkZ V aVjcX] Wn Vc ;H>; [^aZg ^h a^`Zan id dXXjg eg^dg id Z^i]Zg V YViZ V\gZZY ^c V hZiiaZbZci V\gZZbZci WZilZZc jh VcY
 hjX] ;H>; [^aZg dg V >^hig^Xi =djgi+ dg ediZci^Vaan Vc VeeZaaViZ Xdjgi+ YZX^h^dc ^c djg dc\d^c\ eViZci a^i^\Vi^dc- C[ lZ egZkV^a Vi ig^Va dg dc VeeZVa+ lZ
 XVccdi \jVgVciZZ i]Vi i]Z Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb- CchiZVY+ i]Z
 Xdjgi bVn dgYZg Vc ;H>; [^aZg i]Vi ^h [djcY id ^c[g^c\Z id eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain+ l]^X] XdjaY WZ
 h^\c^[^XVci- QZ ZmeZXi i]Vi i]Z aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[ di]Zg egdYjXih i]Vi XdbeZiZ l^i] RngZb+ ldjaY
 ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg hVaZh d[ RngZb VcY dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @dg
 [jgi]Zg Y^hXjhh^dc gZ\VgY^c\ i]Z g^h`h VhhdX^ViZY l^i] @>; VeegdkVa d[ i]Z LdmVcZ ;H>;+ iZciVi^kZ VeegdkVa d[ i]Z ;bcZVa VcY LVcWVmn ;H>;h+
 ediZci^Va VeegdkVa dg iZciVi^kZ VeegdkVa d[ VYY^i^dcVa ;H>;h VcY i]Z ediZci^Va aVjcX] d[ V \ZcZg^X kZgh^dc d[ RngZb+ dg i]Z VeegdkVa VcY aVjcX] d[
 di]Zg hdY^jb dmnWViZ egdYjXih i]Vi XdbeZiZ l^i] RngZb+ Vh lZaa Vh di]Zg g^h`h VcY X]VaaZc\Zh lZ [VXZ l^i] gZheZXi id RngZb+ hZZ v<jh^cZhh,
 AdkZgcbZci LZ\jaVi^dc,N]Z BViX],QVmbVc ;Xiw ^c JVgi C+ CiZb 0 VcY i]Z g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z
 M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 Cc ;j\jhi 1/04+ lZ ^beaZbZciZY i]Z XjggZci RngZb L?GM+ VcY lZ ]VkZ hjWb^iiZY VcY ZmeZXi id Xdci^cjZ id hjWb^i dc\d^c\ VhhZhhbZcih Vh hZi
 [dgi] ^c i]Z @>;xh RngZb L?GM VeegdkVa aZiiZg- BdlZkZg+ lZ XVccdi \jVgVciZZ i]Vi djg ^beaZbZciVi^dc VcY dc\d^c\ VhhZhhbZcih l^aa WZ
 hVi^h[VXidgn id i]Z @>; dg i]Vi i]Z RngZb L?GM l^aa hVi^h[n i]Z @>;xh ZmeZXiVi^dch ^c ^ih ZkVajVi^dc d[ i]Z RngZb L?GM dc Vc dc\d^c\ WVh^h- ;cn
 [V^ajgZ id Xdbean l^i] i]Z L?GM dWa^\Vi^dch XdjaY gZhjai ^c Zc[dgXZbZci VXi^dc Wn i]Z @>;: aZVY id X]Vc\Zh ^c djg RngZb L?GM dWa^\Vi^dch:
 cZ\Vi^kZan V[[ZXi hVaZh d[ RngZb: gZhjai ^c VYY^i^dcVa Xdhih VcY ZmeZchZh [dg jh: VcY.dg iV`Z V h^\c^[^XVci Vbdjci d[ i^bZ+ Vcn d[ l]^X] XdjaY
 bViZg^Vaan VcY VYkZghZan V[[ZXi djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- @jgi]Zg+ lZ XVccdi egZY^Xi l]Zi]Zg
 i]Z @>; l^aa hZZ` id gZfj^gZ dg jai^bViZan gZfj^gZ bdY^[^XVi^dch id i]Z RngZb L?GM+ ^cXajY^c\ l^i] gZheZXi id i]Z Y^hig^Wji^dc hnhiZb 'eVgi^XjaVgan
 cdl i]Vi i]Z @>; ]Vh VeegdkZY V hZeVgViZ L?GM [dg i]Z ;H>; [^aZgh i]Vi XdciZbeaViZh ^ciZgVXi^dc l^i] i]Z RngZb L?GM(+ dg hZZ` id di]Zgl^hZ
 ^bedhZ dg jai^bViZan ^bedhZ VYY^i^dcVa gZfj^gZbZcih id i]Z RngZb L?GM+ dg i]Z ediZci^Va i^b^c\+ iZgbh dg egdeg^Zin i]ZgZd[- ;cn hjX] bdY^[^XVi^dch
 dg VYY^i^dcVa gZfj^gZbZcih XdjaY ediZci^Vaan bV`Z ^i ZVh^Zg [dg [jijgZ hdY^jb dmnWViZ XdbeZi^idgh+ bV`Z ^i bdgZ Y^[[^Xjai dg ZmeZch^kZ [dg jh id
 Y^hig^WjiZ RngZb+ bV`Z Y^hig^Wji^dc ZVh^Zg [dg [jijgZ hdY^jb dmnWViZ XdbeZi^idgh+ ^beV^g i]Z hV[Zin egd[^aZ d[ RngZb VcY.dg cZ\Vi^kZan V[[ZXi hVaZh d[
 RngZb-
 QZ bVn [VXZ egZhhjgZ id bdY^[n i]Z RngZb L?GM+ dg id a^XZchZ dg h]VgZ ^ciZaaZXijVa egdeZgin eZgi^cZci id i]Z RngZb L?GM+ ^cXajY^c\ egdeg^ZiVgn
 YViV gZfj^gZY [dg hV[Z Y^hig^Wji^dc d[ hdY^jb dmnWViZ+ ^c XdccZXi^dc l^i] i]Z @>;xh VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ L?GM- QZ XVccdi
 egZY^Xi i]Z djiXdbZ dg ^beVXi dc djg Wjh^cZhh d[ Vcn [jijgZ VXi^dc i]Vi lZ bVn iV`Z l^i] gZheZXi id i]Z VeegdkVa d[ i]Z \ZcZg^X hdY^jb dmnWViZ
 L?GM+ dg a^XZch^c\ dg h]Vg^c\ ^ciZaaZXijVa egdeZgin eZgi^cZci id djg RngZb L?GM dg ZaZbZcih d[ i]Z RngZb L?GM- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z
 g^h` [VXidgh jcYZg i]Z ]ZVY^c\h vThe approval and launch of a generic version of Xyrem or other sodium oxybate products that compete with
 Xyrem would adversely affect sales of Xyremw VcY vWe have incurred and expect to continue to incur substantial costs as a result of litigation or
 other proceedings relating to patents, other intellectual property rights and related matters, and we may be unable to protect our rights to, or
 commercialize, our productsw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E-
 Cc MZeiZbWZg 1/05+ DVoo J]VgbVXZji^XVah+ CcX-+ djg l]daan dlcZY hjWh^Y^Vgn+ hjWb^iiZY V =^i^oZc JZi^i^dc id i]Z @>; gZfjZhi^c\ i]Vi+ [dg hV[Zin
 gZVhdch+ i]Z @>; gZ[jhZ id VeegdkZ Vcn hdY^jb dmnWViZ ;H>; l^i] V egdedhZY eVX`V\Z ^chZgi dg L?GM i]Vi db^ih i]Z edgi^dch d[ i]Z RngZb
 eVX`V\Z ^chZgi VcY i]Z RngZb L?GM i]Vi ^chigjXi egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ i]Z egdYjXi l]Zc ^i ^h Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm
 hdY^jb 'Vahd `cdlc Vh kVaegdViZ dg kVaegd^X VX^Y(- Ic DVcjVgn 06+ 1/06+ i]Z @>; \gVciZY i]Z =^i^oZc JZi^i^dc l^i] gZheZXi id i]Z RngZb eVX`V\Z
 ^chZgi- N]Z @>; XdcXajYZY i]Vi ^i l^aa cdi VeegdkZ Vcn hdY^jb dmnWViZ ;H>; gZ[ZgZcX^c\ RngZb i]Vi YdZh cdi ^cXajYZ ^c ^ih eVX`V\Z ^chZgi i]Z
 edgi^dch d[ i]Z XjggZcian VeegdkZY RngZb eVX`V\Z ^chZgi gZaViZY id i]Z Ygj\,Ygj\ ^ciZgVXi^dc l^i] Y^kVaegdZm hdY^jb- N]Z @>; hiViZY i]Vi ^i Y^Y cdi
 cZZY id gZVX] i]Z fjZhi^dc d[ l]Zi]Zg i]Z Ygj\,Ygj\ ^ciZgVXi^dc+ dg >>C+ ^c[dgbVi^dc XdjaY ]VkZ WZZc ZmXajYZY [gdb i]Z \ZcZg^X hdY^jb dmnWViZ
 L?GM bViZg^Vah WZXVjhZ ^i lVh Veegdk^c\ V L?GM ^c XdccZXi^dc l^i] V hdY^jb dmnWViZ ;H>; ^cXajY^c\ i]Vi ^c[dgbVi^dc- Ijg RngZb eViZcih
 ^cXajYZ i]gZZ >>C eViZcih XdkZg^c\ i]ZhZ ^chigjXi^dch dc i]Z RngZb eVX`V\Z ^chZgi VcY RngZb L?GM- QZ XVccdi egZY^Xi l]Zi]Zg dg l]Zc dcZ dg
 bdgZ d[ i]Z ;H>; [^aZgh bVn ejghjZ V X]VaaZc\Z id i]Z @>;xh gZhedchZ id i]Z =^i^oZc JZi^i^dc dg l]Zi]Zg Vcn hjX] X]VaaZc\Zh ldjaY WZ hjXXZhh[ja-
 F^`Zl^hZ+ lZ XVccdi egZY^Xi

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 l]Zi]Zg lZ l^aa WZ VWaZ id bV^ciV^c i]Z kVa^Y^in d[ Vcn d[ djg eViZcih dg l^aa di]Zgl^hZ dWiV^c V _jY^X^Va YZiZgb^cVi^dc i]Vi i]Z \ZcZg^X hdY^jb
 dmnWViZ eVX`V\Z ^chZgi dg i]Z \ZcZg^X hdY^jb dmnWViZ L?GM l^aa ^c[g^c\Z Vcn d[ djg eViZcih dg+ ^[ lZ egZkV^a ^c egdk^c\ ^c[g^c\ZbZci+ l]Zi]Zg V
 Xdjgi l^aa \gVci Vc ^c_jcXi^dc i]Vi egZkZcih i]Z ;H>; [^aZgh [gdb bVg`Zi^c\ i]Z^g \ZcZg^X kZgh^dch d[ RngZb dg ^chiZVY gZfj^gZ i]Z ;H>; [^aZgh id
 eVn YVbV\Zh ^c i]Z [dgb d[ adhi egd[^ih dg V gZVhdcVWaZ gdnVain- @dg V YZhXg^ei^dc d[ i]ZhZ bViiZgh+ hZZ vFZ\Va JgdXZZY^c\hw ^c JVgi C+ CiZb 2 d[ i]^h
 ;ccjVa LZedgi dc @dgb 0/,E+ v<jh^cZhh,AdkZgcbZci LZ\jaVi^dc,N]Z BViX],QVmbVc ;Xiw ^c i]^h JVgi C+ CiZb 0+ VcY i]Z g^h` [VXidgh jcYZg i]Z
 ]ZVY^c\h vL^h`h LZaViZY id RngZb VcY i]Z M^\c^[^XVci CbeVXi d[ RngZb MVaZhw VcY vL^h`h LZaViZY id Ijg CciZaaZXijVa JgdeZginw ^c JVgi C+ CiZb 0; d[
 i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 IWiV^c^c\ VcY bV^ciV^c^c\ Veegdeg^ViZ gZ^bWjghZbZci [dg RngZb ^c i]Z O-M- ^h ^cXgZVh^c\an X]VaaZc\^c\ YjZ id+ Vbdc\ di]Zg i]^c\h+ i]Z ViiZci^dc
 WZ^c\ eV^Y id ]ZVai]XVgZ Xdhi XdciV^cbZci VcY egZhXg^ei^dc Ygj\ eg^X^c\+ eg^X^c\ egZhhjgZ [gdb i]^gY eVgin eVndgh VcY ^cXgZVh^c\an gZhig^Xi^kZ
 gZ^bWjghZbZci XdcY^i^dch WZ^c\ ^bedhZY Wn i]^gY eVgin eVndgh- Cc i]^h gZ\VgY+ lZ ]VkZ ZmeZg^ZcXZY VcY ZmeZXi id Xdci^cjZ id ZmeZg^ZcXZ ^cXgZVh^c\
 egZhhjgZ [gdb i]^gY eVgin eVndgh id V\gZZ id Y^hXdjcih+ gZWViZh dg di]Zg eg^X^c\ iZgbh [dg RngZb- ;cn hjX] gZhig^Xi^kZ eg^X^c\ iZgbh dg VYY^i^dcVa
 gZ^bWjghZbZci XdcY^i^dch XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg RngZb gZkZcjZh- Cc VYY^i^dc+ Ygj\ eg^X^c\ Wn e]VgbVXZji^XVa XdbeVc^Zh ]Vh
 gZXZcian XdbZ jcYZg XadhZ hXgji^cn+ eVgi^XjaVgan l^i] gZheZXi id XdbeVc^Zh i]Vi ]VkZ ^cXgZVhZY i]Z eg^XZ d[ egdYjXih V[iZg VXfj^g^c\ i]dhZ egdYjXih
 [gdb di]Zg XdbeVc^Zh- QZ ZmeZXi i]Vi ]ZVai]XVgZ eda^X^Zh VcY gZ[dgbh ^ciZcYZY id XjgW ]ZVai]XVgZ Xdhih l^aa Xdci^cjZ id WZ egdedhZY+ l]^X] XdjaY
 a^b^i i]Z eg^XZh i]Vi lZ X]Vg\Z [dg djg egdYjXih+ ^cXajY^c\ RngZb+ a^b^i djg XdbbZgX^Va deedgijc^in VcY.dg cZ\Vi^kZan ^beVXi gZkZcjZh [gdb hVaZh d[
 djg egdYjXih- ;ahd+ eg^XZ ^cXgZVhZh dc RngZb VcY djg di]Zg egdYjXih+ VcY cZ\Vi^kZ ejWa^X^in gZ\VgY^c\ eg^X^c\ VcY eg^XZ ^cXgZVhZh \ZcZgVaan+
 l]Zi]Zg l^i] gZheZXi id djg egdYjXih dg egdYjXih Y^hig^WjiZY Wn di]Zg e]VgbVXZji^XVa XdbeVc^Zh+ XdjaY cZ\Vi^kZan V[[ZXi bVg`Zi VXXZeiVcXZ d[
 RngZb VcY djg di]Zg egdYjXih-
 Cc 1/05+ hVaZh d[ djg hZXdcY aVg\Zhi egdYjXi+ ?gl^cVoZ.?gl^cVhZ 'l]^X] lZ gZ[Zg id ^c i]^h gZedgi Vh ?gl^cVoZ jcaZhh di]Zgl^hZ ^cY^XViZY dg i]Z
 XdciZmi di]Zgl^hZ gZfj^gZh( lZgZ #1//-6 b^aa^dc+ l]^X] gZegZhZciZY 03$ d[ idiVa cZi egdYjXi hVaZh- QZ hZZ` id bV^ciV^c VcY ^cXgZVhZ hVaZh d[
 ?gl^cVoZ+ Vh lZaa Vh id bV`Z ?gl^cVoZ bdgZ l^YZan VkV^aVWaZ+ i]gdj\] dc\d^c\ hVaZh VcY bVg`Zi^c\ VcY gZhZVgX] VcY YZkZadebZci VXi^k^i^Zh-
 BdlZkZg+ djg VW^a^in id hjXXZhh[jaan VcY hjhiV^cVWan bV^ciV^c dg \gdl hVaZh d[ ?gl^cVoZ ^h hjW_ZXi id V cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\
 i]Z a^b^iZY edejaVi^dc d[ eVi^Zcih l^i] ;FF VcY i]Z ^cX^YZcXZ d[ ]neZghZch^i^k^in gZVXi^dch id ?- Xda^,YZg^kZY VheVgV\^cVhZ l^i]^c i]Vi edejaVi^dc+
 djg cZZY id Veean [dg VcY gZXZ^kZ bVg`Zi^c\ Vji]dg^oVi^dch+ i]gdj\] i]Z ?jgdeZVc Oc^dcxh bjijVa gZXd\c^i^dc egdXZYjgZ dg di]Zgl^hZ+ ^c XZgiV^c
 VYY^i^dcVa Xdjcig^Zh hd lZ XVc aVjcX] egdbdi^dcVa Z[[dgih ^c i]dhZ Xdjcig^Zh+ Vh lZaa Vh i]dhZ di]Zg g^h`h VcY jcXZgiV^ci^Zh Y^hXjhhZY ^c vL^h`
 @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 ?gl^cVoZ ^h a^XZchZY [gdb VcY bVcj[VXijgZY Wn V h^c\aZ hdjgXZ+ Jdgidc <^de]VgbV F^b^iZY+ dg J<F- ?gl^cVoZ lVh VeegdkZY Wn i]Z @>; jcYZg V
 W^dad\^Xh a^XZchZ Veea^XVi^dc+ dg <F;+ VcY lVh aVjcX]ZY ^c i]Z O-M- ^c HdkZbWZg 1/00- N]Z ?gl^cVoZ <F; ^cXajYZh V cjbWZg d[ edhi,bVg`Zi^c\
 Xdbb^ibZcih gZaViZY id i]Z bVcj[VXijgZ d[ ?gl^cVoZ Wn J<F- QZ XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa Xdbean l^i] ^ih bVcj[VXijg^c\,gZaViZY edhi,
 bVg`Zi^c\ Xdbb^ibZcih i]Vi VgZ eVgi d[ i]Z <F; VeegdkVa- Cc DVcjVgn 1/06+ i]Z @>; ^hhjZY V lVgc^c\ aZiiZg id J<F+ X^i^c\ h^\c^[^XVci k^daVi^dch d[
 @>;xh XjggZci AddY GVcj[VXijg^c\ JgVXi^XZh+ dg XAGJ+ [dg [^c^h]ZY e]VgbVXZji^XVah VcY h^\c^[^XVci YZk^Vi^dch [gdb XAGJ [dg VXi^kZ
 e]VgbVXZji^XVa ^c\gZY^Zcih+ dg ;JCh- QZ XVccdi egZY^Xi ^[ dg l]Zc J<F l^aa XdggZXi i]Z k^daVi^dch VcY YZk^Vi^dch id i]Z hVi^h[VXi^dc d[ i]Z @>;-
 ;cn [V^ajgZ id Yd hd XdjaY gZhjai ^c i]Z @>; gZ[jh^c\ VYb^hh^dc d[ ?gl^cVoZ ^cid i]Z O-M-+ Vh lZaa Vh VYY^i^dcVa Zc[dgXZbZci VXi^dch Wn i]Z @>; VcY
 di]Zg gZ\jaVidgn Zci^i^Zh-
 Cc VYY^i^dc+ V h^\c^[^XVci X]VaaZc\Z id djg VW^a^in id bV^ciV^c XjggZci hVaZh aZkZah VcY id ^cXgZVhZ hVaZh ^h djg cZZY id Vkd^Y hjeean ^ciZggjei^dch d[
 ?gl^cVoZ YjZ id XVeVX^in XdchigV^cih+ egdYjXi^dc YZaVnh+ fjVa^in dg gZ\jaVidgn X]VaaZc\Zh dg di]Zg bVcj[VXijg^c\ Y^[[^Xjai^Zh- N]Z XjggZci
 bVcj[VXijg^c\ XVeVX^in [dg ?gl^cVoZ ^h XdbeaZiZan VWhdgWZY Wn YZbVcY [dg i]Z egdYjXi- QZ VgZ ldg`^c\ l^i] J<F id ZkVajViZ ediZci^Va ZmeVch^dc
 d[ ^ih egdYjXi^dc XVeVX^in id ^cXgZVhZ i]Z hjeean d[ ?gl^cVoZ dkZg i]Z adc\Zg iZgb VcY id VYYgZhh i]Z egdYjXi^dc YZaVnh+ fjVa^in X]VaaZc\Zh VcY
 gZaViZY gZ\jaVidgn hXgji^cn- ;h V XdchZfjZcXZ d[ XdchigV^cZY bVcj[VXijg^c\ XVeVX^in+ lZ ]VkZ ]VY Vc ZmigZbZan a^b^iZY dg cd VW^a^in id Wj^aY
 egdYjXi ^ckZcidgn aZkZah i]Vi XVc WZ jhZY id VWhdgW Y^hgjei^dch id hjeean gZhjai^c\ [gdb fjVa^in+ gZ\jaVidgn dg di]Zg ^hhjZh- QZ ]VkZ ZmeZg^ZcXZY
 egdYjXi fjVa^in+ bVcj[VXijg^c\ VcY ^ckZcidgn X]VaaZc\Zh i]Vi ]VkZ gZhjaiZY+ VcY bVn Xdci^cjZ id gZhjai+ ^c Y^hgjei^dch ^c djg VW^a^in id hjeean
 XZgiV^c bVg`Zih+ ^cXajY^c\ i]Z O-M-+ [gdb i^bZ id i^bZ VcY ]VkZ XVjhZY+ VcY bVn ^c i]Z [jijgZ XVjhZ+ jh id ^beaZbZci WViX],heZX^[^X+ bdY^[^ZY
 egdYjXi jhZ ^chigjXi^dch- Gdhi gZXZcian+ lZ ZmeZg^ZcXZY hjeean ^ciZggjei^dch d[ ?gl^cVoZ ^c i]Z O-M- VcY di]Zg Xdjcig^Zh ^c i]Z i]^gY VcY [djgi]
 fjVgiZgh d[ 1/05- QZ XVccdi egZY^Xi l]Zi]Zg i]Z @>;xh gZfj^gZY gZbZY^Vi^dc VXi^k^i^Zh ^c XdccZXi^dc l^i] i]Z lVgc^c\ aZiiZg l^aa [jgi]Zg higV^c
 bVcj[VXijg^c\ XVeVX^in VcY VYkZghZan V[[ZXi ?gl^cVoZ hjeean+ eVgi^XjaVgan ^c a^\]i d[ djg ZmigZbZan a^b^iZY egdYjXi ^ckZcidgn- ;h XVeVX^in
 XdchigV^cih VcY hjeean Y^hgjei^dch Xdci^cjZ+ l]Zi]Zg Vh V gZhjai d[ Xdci^cjZY fjVa^in dg di]Zg bVcj[VXijg^c\ ^hhjZh+ gZ\jaVidgn ^hhjZh dg
 di]Zgl^hZ+ lZ l^aa WZ jcVWaZ id Wj^aY V YZh^gZY ZmXZhh aZkZa d[ egdYjXi ^ckZcidgn+ djg VW^a^in id hjeean i]Z bVg`Zi bVn Xdci^cjZ id WZ Xdbegdb^hZY
 VcY e]nh^X^Vchx YZX^h^dch id jhZ ?gl^cVoZ ]VkZ WZZc+ VcY ^c i]Z [jijgZ bVn Xdci^cjZ id WZ+ cZ\Vi^kZan ^beVXiZY-

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 ;YY^i^dcVa ?gl^cVoZ hjeean ^ciZggjei^dch VcY.dg djg ^cVW^a^in id ZmeVcY egdYjXi^dc XVeVX^in XdjaY bViZg^Vaan VYkZghZan V[[ZXi djg hVaZh d[ VcY
 gZkZcjZh [gdb ?gl^cVoZ VcY djg ediZci^Va [jijgZ bV^ciZcVcXZ VcY \gdli] d[ i]Z bVg`Zi [dg i]^h egdYjXi-
 MVaZh d[ >Z[^iZa^d.YZ[^Wgdi^YZ lZgZ 6$ d[ djg cZi egdYjXi hVaZh ^c 1/05- QZ VXfj^gZY i]^h egdYjXi ^c DVcjVgn 1/03 ^c XdccZXi^dc l^i] djg VXfj^h^i^dc
 d[ AZci^jb M-g-a-+ dg AZci^jb+ l]^X] lZ gZ[Zg id Vh i]Z AZci^jb ;Xfj^h^i^dc+ VcY hZXjgZY ldgaYl^YZ g^\]ih id i]Z egdYjXi Wn VXfj^g^c\ g^\]ih id
 YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh ^c ;j\jhi 1/03- QZ aVjcX]ZY >Z[^iZa^d ^c XZgiV^c ?jgdeZVc Xdjcig^Zh ^c 1/03 VcY Xdci^cjZY id aVjcX] ^c VYY^i^dcVa
 ?jgdeZVc Xdjcig^Zh dc V gdaa^c\ WVh^h i]gdj\] 1/05- QZ VgZ ^c i]Z egdXZhh d[ bV`^c\ eg^X^c\ VcY gZ^bWjghZbZci hjWb^hh^dch l^i] gZheZXi id
 >Z[^iZa^d ^c i]dhZ ?jgdeZVc Xdjcig^Zh l]ZgZ >Z[^iZa^d ^h cdi nZi aVjcX]ZY+ ^cXajY^c\ ^c Xdjcig^Zh l]ZgZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah VgZ
 gZfj^gZY [dg aVjcX]- Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb djg ^ckZhibZci ^c >Z[^iZa^d.YZ[^Wgdi^YZ ^h hjW_ZXi id g^h`h VcY jcXZgiV^ci^Zh+
 ^cXajY^c\ i]dhZ Y^hXjhhZY ^c vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E- Cc eVgi^XjaVg+ lZ bVn cdi WZ VWaZ id hjXXZhh[jaan
 bV^ciV^c dg \gdl hVaZh d[ >Z[^iZa^d ^c ?jgdeZ+ dg dWiV^c bVg`Zi^c\ VeegdkVa ^c di]Zg Xdjcig^Zh+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg
 Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih- ; `Zn X]VaaZc\Z id djg hjXXZhh ^c bV^ciV^c^c\ dg \gdl^c\ hVaZh d[
 >Z[^iZa^d ^c ?jgdeZ ^h djg VW^a^in id dWiV^c Veegdeg^ViZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^c i]dhZ ?jgdeZVc Xdjcig^Zh l]ZgZ >Z[^iZa^d ^h cdi nZi
 aVjcX]ZY- C[ lZ ZmeZg^ZcXZ YZaVnh dg jc[dgZhZZc Y^[[^Xjai^Zh ^c dWiV^c^c\ [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah+ eaVccZY aVjcX]Zh ^c i]Z
 V[[ZXiZY Xdjcig^Zh ldjaY WZ YZaVnZY+ dg+ ^[ lZ VgZ jcVWaZ id jai^bViZan dWiV^c [VkdgVWaZ eg^X^c\ VcY gZ^bWjghZbZci VeegdkVah ^c Xdjcig^Zh i]Vi
 gZegZhZci h^\c^[^XVci bVg`Zih+ ZheZX^Vaan l]ZgZ V Xdjcignxh gZ^bWjghZY eg^XZ ^c[ajZcXZh di]Zg Xdjcig^Zh+ djg \gdli] egdheZXih ^c ?jgdeZ XdjaY WZ
 cZ\Vi^kZan V[[ZXiZY-
 Cc GVgX] 1/05+ i]Z @>; VeegdkZY djg H>; [dg >Z[^iZa^d [dg i]Z igZVibZci d[ VYjai VcY eZY^Vig^X eVi^Zcih l^i] PI> l^i] gZcVa dg ejabdcVgn
 Ynh[jcXi^dc [daadl^c\ BM=N- QZ egdbdiZ >Z[^iZa^d Vadc\ l^i] ?gl^cVhZ id bVcn ]ZbVidad\n VcY dcXdad\n heZX^Va^hih l]d deZgViZ ^c i]Z hVbZ
 ]dhe^iVah+ VcY lZ WZa^ZkZ i]Vi lZ WZcZ[^i [gdb deZgVi^dcVa hncZg\^Zh [gdb i]^h dkZgaVe- QZ aVjcX]ZY >Z[^iZa^d ^c i]Z O-M- h]dgian V[iZg @>;
 VeegdkVa+ VcY djg O-M- XdbbZgX^Va aVjcX] ^h hi^aa Vi Vc ZVgan hiV\Z- Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb djg ^ckZhibZci ^c >Z[^iZa^d ^h
 hjW_ZXi id g^h`h VcY jcXZgiV^ci^Zh+ ^cXajY^c\ i]Z Xdci^cjZY VXXZeiVcXZ d[ >Z[^iZa^d ^c i]Z O-M- Wn ]dhe^iVa e]VgbVXn VcY i]ZgVeZji^Xh Xdbb^iiZZh
 VcY i]Z Xdci^cjZY VkV^aVW^a^in d[ VYZfjViZ XdkZgV\Z VcY gZ^bWjghZbZci Wn \dkZgcbZci egd\gVbh VcY i]^gY eVgin eVndgh: i]Z aVX` d[ ZmeZg^ZcXZ d[
 O-M- e]nh^X^Vch ^c Y^V\cdh^c\ VcY igZVi^c\ PI>+ eVgi^XjaVgan ^c VYjaih+ VcY i]Z edhh^W^a^in i]Vi e]nh^X^Vch bVn YZaVn ^c^i^Vi^dc d[ igZVibZci dg
 iZgb^cViZ igZVibZci WZ[dgZ i]Z ZcY d[ i]Z gZXdbbZcYZY Ydh^c\ hX]ZYjaZ: djg VW^a^in id hjXXZhh[jaan bV^ciV^c dg \gdl hVaZh d[ >Z[^iZa^d ^c ?jgdeZ:
 YZaVnh dg egdWaZbh ^c i]Z hjeean dg bVcj[VXijgZ d[ i]Z egdYjXi: i]Z a^b^iZY h^oZ d[ i]Z edejaVi^dc d[ PI> eVi^Zcih l]d VgZ ^cY^XViZY [dg igZVibZci
 l^i] >Z[^iZa^d 'eVgi^XjaVgan ^[ X]Vc\Zh ^c BM=N igZVibZci egdidXdah gZYjXZ i]Z ^cX^YZcXZ d[ PI> Y^V\cdh^h(: djg VW^a^in id bZZi i]Z edhi,bVg`Zi^c\
 Xdbb^ibZcih VcY gZfj^gZbZcih ^bedhZY Wn i]Z @>; ^c XdccZXi^dc l^i] ^ih VeegdkVa d[ djg H>; [dg >Z[^iZa^d: VcY djg VW^a^in id dWiV^c bVg`Zi^c\
 VeegdkVa ^c di]Zg Xdjcig^Zh VcY id YZkZade i]Z egdYjXi [dg VYY^i^dcVa ^cY^XVi^dch+ Vh lZaa Vh i]dhZ di]Zg g^h`h VcY jcXZgiV^ci^Zh Y^hXjhhZY ^c vL^h`
 @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E- C[ hVaZh d[ >Z[^iZa^d Yd cdi gZVX] i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb
 i]Z egdYjXi l^aa WZ cZ\Vi^kZan V[[ZXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY
 \gdli] egdheZXih-
 Cc VYY^i^dc+ ^c 1/05+ lZ bVYZ V h^\c^[^XVci ^ckZhibZci ^c PnmZdh i]gdj\] i]Z =ZaVidg ;Xfj^h^i^dc- Ijg VW^a^in id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih [gdb
 i]^h ^ckZhibZci ^h hjW_ZXi id V cjbWZg d[ g^h`h VcY jcXZgiV^ci^Zh Y^hXjhhZY ^c vL^h` @VXidghw ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/,E-
 C[ lZ VgZ jcVWaZ id dWiV^c gZ\jaVidgn VeegdkVa [dg PnmZdh ^c i]Z O-M- dg ^c ?jgdeZ ^c V i^bZan bVccZg+ dg Vi Vaa+ dg ^[ hVaZh d[ Vc VeegdkZY PnmZdh
 egdYjXi Yd cdi gZVX] i]Z aZkZah lZ ZmeZXi+ djg Vci^X^eViZY gZkZcjZ [gdb PnmZdh ldjaY WZ cZ\Vi^kZan V[[ZXiZY+ l]^X] XdjaY ]VkZ V bViZg^Va VYkZghZ
 Z[[ZXi dc djg Wjh^cZhh+ [^cVcX^Va XdcY^i^dc+ gZhjaih d[ deZgVi^dch VcY \gdli] egdheZXih-

 Cc VYY^i^dc id g^h`h heZX^[^XVaan gZaViZY id RngZb+ ?gl^cVoZ+ >Z[^iZa^d.YZ[^Wgdi^YZ VcY PnmZdh+ lZ VgZ hjW_ZXi id di]Zg X]VaaZc\Zh VcY g^h`h heZX^[^X id
 djg Wjh^cZhh VcY djg VW^a^in id ZmZXjiZ dc djg higViZ\n+ Vh lZaa Vh g^h`h VcY jcXZgiV^ci^Zh Xdbbdc id XdbeVc^Zh ^c i]Z e]VgbVXZji^XVa ^cYjhign l^i]
 YZkZadebZci VcY XdbbZgX^Va deZgVi^dch- N]ZhZ g^h`h VcY jcXZgiV^ci^Zh ^cXajYZ9
 s          i]Z X]VaaZc\Zh d[ egdiZXi^c\ VcY Zc]VcX^c\ djg ^ciZaaZXijVa egdeZgin g^\]ih:
 s          i]Z X]VaaZc\Zh d[ VX]^Zk^c\ VcY bV^ciV^c^c\ XdbbZgX^Va hjXXZhh d[ djg egdYjXih:
 s          YZaVnh dg egdWaZbh ^c i]Z hjeean dg bVcj[VXijgZ d[ djg egdYjXih VcY egdYjXi XVcY^YViZh+ eVgi^XjaVgan l^i] gZheZXi id XZgiV^c egdYjXih
            Vh id l]^X] lZ bV^ciV^c a^b^iZY ^ckZcidg^Zh+ djg YZeZcYZcXZ dc h^c\aZ hdjgXZ hjeea^Zgh [dg bdhi d[ djg egdYjXih+ egdYjXi XVcY^YViZh
            VcY ;JCh+ VcY i]Z gZfj^gZbZci i]Vi lZ VcY djg egdYjXi hjeea^Zgh WZ fjVa^[^ZY Wn i]Z @>; id bVcj[VXijgZ egdYjXi VcY Xdbean l^i]
            Veea^XVWaZ bVcj[VXijg^c\ gZ\jaVi^dch:
 s          i]Z cZZY id dWiV^c VcY bV^ciV^c Veegdeg^ViZ eg^X^c\ VcY gZ^bWjghZbZci [dg djg egdYjXih ^c Vc ^cXgZVh^c\an X]VaaZc\^c\ Zck^gdcbZci YjZ
            id+ Vbdc\ di]Zg i]^c\h+ i]Z ViiZci^dc WZ^c\ eV^Y id ]ZVai]XVgZ Xdhi XdciV^cbZci VcY

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 di]Zg VjhiZg^in bZVhjgZh VcY e]VgbVXZji^XVa eg^X^c\ ^c i]Z O-M- VcY ldgaYl^YZ+ ^cXajY^c\ i]Z cZZY id dWiV^c VcY bV^ciV^c gZ^bWjghZbZci [dg RngZb
 ^c i]Z O-M- ^c Vc Zck^gdcbZci ^c l]^X] lZ VgZ hjW_ZXi id ^cXgZVh^c\an gZhig^Xi^kZ XdcY^i^dch [dg gZ^bWjghZbZci gZfj^gZY Wn \dkZgcbZci egd\gVbh
 VcY i]^gY eVgin eVndgh:
 s          djg VW^a^in id ^YZci^[n VcY VXfj^gZ+ ^c,a^XZchZ dg YZkZade VYY^i^dcVa egdYjXih dg egdYjXi XVcY^YViZh id \gdl djg Wjh^cZhh:
 s          i]Z X]VaaZc\Zh d[ Xdbea^VcXZ l^i] i]Z gZfj^gZbZcih d[ i]Z @>;+ i]Z >?;+ VcY XdbeVgVWaZ cdc,O-M- gZ\jaVidgn V\ZcX^Zh+ ^cXajY^c\ l^i]
            gZheZXi id egdYjXi aVWZa^c\+ gZfj^gZbZcih [dg Y^hig^Wji^dc+ dWiV^c^c\ hj[[^X^Zci >?; fjdiVh l]ZgZ cZZYZY+ bVg`Zi^c\ VcY egdbdi^dcVa
            VXi^k^i^Zh+ eVi^Zci Vhh^hiVcXZ egd\gVbh+ VYkZghZ ZkZci gZedgi^c\ VcY egdYjXi gZXVaah dg l^i]YgVlVah:
 s          i]Z Y^[[^Xjain VcY jcXZgiV^cin d[ e]VgbVXZji^XVa egdYjXi YZkZadebZci+ ^cXajY^c\ i]Z i^b^c\ i]ZgZd[+ VcY i]Z jcXZgiV^cin d[ Xa^c^XVa
            hjXXZhh+ hjX] Vh i]Z g^h` i]Vi gZhjaih [gdb egZXa^c^XVa hijY^Zh VcY.dg ZVgan Xa^c^XVa ig^Vah bVn cdi WZ egZY^Xi^kZ d[ gZhjaih dWiV^cZY ^c aViZg
            VcY aVg\Zg Xa^c^XVa ig^Vah eaVccZY dg Vci^X^eViZY id WZ XdcYjXiZY [dg djg egdYjXi XVcY^YViZh:
 s          i]Z ^c]ZgZci jcXZgiV^cin VhhdX^ViZY l^i] i]Z gZ\jaVidgn VeegdkVa egdXZhh+ ZheZX^Vaan Vh lZ Xdci^cjZ id ^cXgZVhZ ^ckZhibZci ^c djg
            egdYjXi e^eZa^cZ YZkZadebZci egd_ZXih VcY jcYZgiV`Z bjai^eaZ eaVccZY H>; hjWb^hh^dch [dg djg egdYjXi XVcY^YViZh:
 s          i]Z g^h`h VhhdX^ViZY l^i] Wjh^cZhh XdbW^cVi^dc dg egdYjXi dg egdYjXi XVcY^YViZ VXfj^h^i^dc igVchVXi^dch+ ^cXajY^c\ g^h`h VhhdX^ViZY
            l^i] i]Z =ZaVidg ;Xfj^h^i^dc+ hjX] Vh i]Z X]VaaZc\Zh ^c]ZgZci ^c i]Z ^ciZ\gVi^dc d[ VXfj^gZY Wjh^cZhhZh l^i] djg ]^hidg^XVa Wjh^cZhh+ i]Z
            ^cXgZVhZ ^c \Zd\gVe]^X Y^heZgh^dc Vbdc\ djg XZciZgh d[ deZgVi^dc VcY i]Z g^h`h i]Vi lZ bVn VXfj^gZ jcVci^X^eViZY a^VW^a^i^Zh Vadc\ l^i]
            VXfj^gZY Wjh^cZhhZh dg di]Zgl^hZ [V^a id gZVa^oZ i]Z Vci^X^eViZY WZcZ[^ih 'XdbbZgX^Va dg di]Zgl^hZ( [gdb hjX] igVchVXi^dch: VcY
 s          edhh^WaZ gZhig^Xi^dch dc djg VW^a^in VcY [aZm^W^a^in id ejghjZ XZgiV^c [jijgZ deedgijc^i^Zh Vh V gZhjai d[ djg hjWhiVci^Va djihiVcY^c\ YZWi
            dWa^\Vi^dch+ Vh V gZhjai d[+ Vbdc\ di]Zg i]^c\h+ i]Z =ZaVidg ;Xfj^h^i^dc-
 Business Acquisitions
 Ijg Xdchda^YViZY [^cVcX^Va hiViZbZcih ^cXajYZ i]Z gZhjaih d[ deZgVi^dch d[ Vc VXfj^gZY Wjh^cZhh [gdb i]Z YViZ d[ VXfj^h^i^dc- QZ VXXdjci [dg
 VXfj^gZY Wjh^cZhhZh jh^c\ i]Z VXfj^h^i^dc bZi]dY d[ VXXdjci^c\- N]Z VXfj^h^i^dc bZi]dY d[ VXXdjci^c\ [dg VXfj^gZY Wjh^cZhhZh gZfj^gZh+ Vbdc\
 di]Zg i]^c\h+ i]Vi VhhZih VXfj^gZY+ a^VW^a^i^Zh VhhjbZY VcY Vcn cdcXdcigdaa^c\ ^ciZgZhih ^c i]Z VXfj^gZY Wjh^cZhh WZ gZXd\c^oZY Vi i]Z^g Zhi^bViZY [V^g
 kVajZh Vh d[ i]Z VXfj^h^i^dc YViZ+ l^i] a^b^iZY ZmXZei^dch+ VcY i]Vi i]Z [V^g kVajZ d[ VXfj^gZY ^c,egdXZhh gZhZVgX] VcY YZkZadebZci+ dg CJL%>+ WZ
 gZXdgYZY dc i]Z WVaVcXZ h]ZZi- ;ahd+ igVchVXi^dc Xdhih VgZ ZmeZchZY Vh ^cXjggZY- ;cn ZmXZhh d[ i]Z VXfj^h^i^dc Xdch^YZgVi^dc dkZg i]Z Vhh^\cZY
 kVajZh d[ i]Z cZi VhhZih VXfj^gZY ^h gZXdgYZY Vh \ddYl^aa- =dci^c\Zci Xdch^YZgVi^dc ^h ^cXajYZY l^i]^c i]Z VXfj^h^i^dc Xdhi VcY ^h gZXd\c^oZY Vi ^ih
 [V^g kVajZ dc i]Z VXfj^h^i^dc YViZ- ; a^VW^a^in gZhjai^c\ [gdb Xdci^c\Zci Xdch^YZgVi^dc ^h gZbZVhjgZY id [V^g kVajZ Vi ZVX] gZedgi^c\ YViZ jci^a i]Z
 Xdci^c\ZcXn ^h gZhdakZY VcY X]Vc\Zh ^c [V^g kVajZ VgZ gZXd\c^oZY ^c ZVgc^c\h-
 Concentrations of Risk
 @^cVcX^Va ^chigjbZcih i]Vi ediZci^Vaan hjW_ZXi jh id XdcXZcigVi^dch d[ XgZY^i g^h` Xdch^hi d[ XVh]+ XVh] Zfj^kVaZcih VcY ^ckZhibZcih- Ijg ^ckZhibZci
 eda^Xn eZgb^ih ^ckZhibZcih ^c O-M- [ZYZgVa \dkZgcbZci VcY [ZYZgVa V\ZcXn hZXjg^i^Zh+ XdgedgViZ WdcYh dg XdbbZgX^Va eVeZg ^hhjZY Wn O-M-
 XdgedgVi^dch+ bdcZn bVg`Zi ^chigjbZcih+ XZgiV^c fjVa^[n^c\ bdcZn bVg`Zi bjijVa [jcYh+ XZgiV^c gZejgX]VhZ V\gZZbZcih+ VcY iVm,ZmZbei dWa^\Vi^dch
 d[ O-M- hiViZh+ V\ZcX^Zh VcY bjc^X^eVa^i^Zh VcY eaVXZh gZhig^Xi^dch dc XgZY^i gVi^c\h+ bVijg^i^Zh+ VcY XdcXZcigVi^dc Wn ineZ VcY ^hhjZg- QZ VgZ
 ZmedhZY id XgZY^i g^h` ^c i]Z ZkZci d[ V YZ[Vjai Wn i]Z [^cVcX^Va ^chi^iji^dch ]daY^c\ djg XVh]+ XVh] Zfj^kVaZcih VcY ^ckZhibZcih id i]Z ZmiZci
 gZXdgYZY dc i]Z WVaVcXZ h]ZZi-
 QZ VgZ Vahd hjW_ZXi id XgZY^i g^h` [gdb djg VXXdjcih gZXZ^kVWaZ gZaViZY id djg egdYjXi hVaZh- QZ bdc^idg djg ZmedhjgZ l^i]^c VXXdjcih gZXZ^kVWaZ
 VcY gZXdgY V gZhZgkZ V\V^chi jcXdaaZXi^WaZ VXXdjcih gZXZ^kVWaZ Vh cZXZhhVgn- QZ ZmiZcY XgZY^i id e]VgbVXZji^XVa l]daZhVaZ Y^hig^Wjidgh VcY
 heZX^Vain e]VgbVXZji^XVa Y^hig^Wji^dc XdbeVc^Zh+ eg^bVg^an ^c i]Z O-M-+ VcY id di]Zg ^ciZgcVi^dcVa Y^hig^Wjidgh VcY ]dhe^iVah- =jhidbZg
 XgZY^ildgi]^cZhh ^h bdc^idgZY VcY XdaaViZgVa ^h cdi gZfj^gZY- QZ bdc^idg YZiZg^dgVi^c\ ZXdcdb^X XdcY^i^dch ^c XZgiV^c ?jgdeZVc Xdjcig^Zh l]^X] bVn
 gZhjai ^c kVg^VW^a^in d[ i]Z i^b^c\ d[ XVh] gZXZ^eih VcY Vc ^cXgZVhZ ^c i]Z VkZgV\Z aZc\i] d[ i^bZ i]Vi ^i iV`Zh id XdaaZXi VXXdjcih gZXZ^kVWaZ
 djihiVcY^c\- B^hidg^XVaan+ lZ ]VkZ cdi ZmeZg^ZcXZY h^\c^[^XVci XgZY^i adhhZh dc djg VXXdjcih gZXZ^kVWaZ VcY lZ Yd cdi ZmeZXi id ]VkZ lg^iZ,d[[h dg
 VY_jhibZcih id VXXdjcih gZXZ^kVWaZ l]^X] ldjaY ]VkZ V bViZg^Va VYkZghZ Z[[ZXi dc djg [^cVcX^Va edh^i^dc+ a^fj^Y^in dg gZhjaih d[ deZgVi^dch- ;h d[
 >ZXZbWZg 20+ 1/05+ [^kZ XjhidbZgh VXXdjciZY [dg 8/$ d[ \gdhh VXXdjcih gZXZ^kVWaZ ^cXajY^c\ ?megZhh MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh+ CcX-
 VcY ^ih V[[^a^ViZ =jgVMXg^ei+ CcX-+ dg ?megZhh MXg^eih+ l]^X] VXXdjciZY [dg 62$ d[ \gdhh VXXdjcih

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                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 gZXZ^kVWaZ+ VcY GXEZhhdc =dgedgVi^dc VcY V[[^a^ViZh+ l]^X] VXXdjciZY [dg 02$ d[ \gdhh VXXdjcih gZXZ^kVWaZ- ;h d[ >ZXZbWZg 20+ 1/04+ [^kZ
 XjhidbZgh VXXdjciZY [dg 8/$ d[ \gdhh VXXdjcih gZXZ^kVWaZ ^cXajY^c\ ?megZhh MXg^eih+ l]^X] VXXdjciZY [dg 58$ d[ \gdhh VXXdjcih gZXZ^kVWaZ+ VcY
 C>CM F^b^iZY+ l]^X] VXXdjciZY [dg 00$ d[ \gdhh VXXdjcih gZXZ^kVWaZ-
 QZ YZeZcY dc h^c\aZ hdjgXZ hjeea^Zgh [dg bdhi d[ djg egdYjXih+ egdYjXi XVcY^YViZh VcY i]Z^g ;JCh- QZ XdbbZcXZY bVcj[VXijg^c\ d[ RngZb ^c djg
 CgZaVcY [VX^a^in ^c i]Z i]^gY fjVgiZg d[ 1/05-
 Cash Equivalents and Investments
 QZ Xdch^YZg Vaa ]^\]an a^fj^Y ^ckZhibZcih+ gZVY^an XdckZgi^WaZ id XVh]+ i]Vi bVijgZ l^i]^c i]gZZ bdci]h dg aZhh [gdb YViZ d[ ejgX]VhZ id WZ XVh]
 Zfj^kVaZcih-
 CckZhibZcih Xdch^hi d[ i^bZ YZedh^ih l^i] ^c^i^Va bVijg^i^Zh d[ \gZViZg i]Vc i]gZZ bdci]h- =daaZXi^kZan+ XVh] Zfj^kVaZcih VcY ^ckZhibZcih VgZ
 Xdch^YZgZY VkV^aVWaZ,[dg,hVaZ VcY VgZ gZXdgYZY Vi [V^g kVajZ- OcgZVa^oZY \V^ch VcY adhhZh+ cZi d[ iVm+ VgZ gZXdgYZY ^c VXXjbjaViZY di]Zg
 XdbegZ]Zch^kZ adhh ^c h]VgZ]daYZghx Zfj^in- QZ jhZ i]Z heZX^[^X,^YZci^[^XVi^dc bZi]dY [dg XVaXjaVi^c\ gZVa^oZY \V^ch VcY adhhZh dc hZXjg^i^Zh hdaY-
 LZVa^oZY \V^ch VcY adhhZh VcY YZXa^cZh ^c kVajZ _jY\ZY id WZ di]Zg i]Vc iZbedgVgn dc ^ckZhibZcih VgZ ^cXajYZY ^c ^ciZgZhi ZmeZchZ+ cZi ^c i]Z
 Xdchda^YViZY hiViZbZcih d[ ^cXdbZ-
 Inventories
 CckZcidg^Zh VgZ kVajZY Vi i]Z adlZg d[ Xdhi dg bVg`Zi- =dhi ^h YZiZgb^cZY jh^c\ i]Z [^ghi,^c+ [^ghi,dji bZi]dY [dg Vaa ^ckZcidg^Zh- Ijg eda^Xn ^h id lg^iZ
 Ydlc ^ckZcidgn i]Vi ]Vh WZXdbZ dWhdaZiZ+ ^ckZcidgn i]Vi ]Vh V Xdhi WVh^h ^c ZmXZhh d[ ^ih ZmeZXiZY cZi gZVa^oVWaZ kVajZ VcY ^ckZcidgn ^c ZmXZhh d[
 ZmeZXiZY gZfj^gZbZcih- N]Z Zhi^bViZ d[ ZmXZhh fjVci^i^Zh ^h hjW_ZXi^kZ VcY eg^bVg^an YZeZcYZci dc djg Zhi^bViZh d[ [jijgZ YZbVcY [dg V eVgi^XjaVg
 egdYjXi- C[ djg Zhi^bViZ d[ [jijgZ YZbVcY X]Vc\Zh+ lZ Xdch^YZg i]Z ^beVXi dc i]Z gZhZgkZ [dg ZmXZhh ^ckZcidgn VcY VY_jhi i]Z gZhZgkZ Vh gZfj^gZY-
 CcXgZVhZh ^c i]Z gZhZgkZ VgZ gZXdgYZY Vh X]Vg\Zh ^c Xdhi d[ egdYjXi hVaZh- @dg egdYjXi XVcY^YViZh i]Vi ]VkZ cdi WZZc VeegdkZY Wn i]Z @>;+
 ^ckZcidgn jhZY ^c Xa^c^XVa ig^Vah ^h ZmeZchZY Vi i]Z i^bZ d[ egdYjXi^dc VcY gZXdgYZY Vh gZhZVgX] VcY YZkZadebZci ZmeZchZ- @dg egdYjXih i]Vi ]VkZ
 WZZc VeegdkZY Wn i]Z @>;+ ^ckZcidgn jhZY ^c Xa^c^XVa ig^Vah ^h ZmeZchZY Vi i]Z i^bZ i]Z ^ckZcidgn ^h eVX`V\ZY [dg i]Z Xa^c^XVa ig^Va- Jg^dg id gZXZ^k^c\
 @>; VeegdkVa+ Xdhih gZaViZY id ejgX]VhZh d[ i]Z ;JC VcY i]Z bVcj[VXijg^c\ d[ i]Z egdYjXi XVcY^YViZ VgZ gZXdgYZY Vh gZhZVgX] VcY YZkZadebZci
 ZmeZchZ- ;aa Y^gZXi bVcj[VXijg^c\ Xdhih ^cXjggZY V[iZg VeegdkVa VgZ XVe^iVa^oZY ^cid ^ckZcidgn-
 Property and Equipment
 JgdeZgin VcY Zfj^ebZci VgZ hiViZY Vi Xdhi+ aZhh VXXjbjaViZY YZegZX^Vi^dc- >ZegZX^Vi^dc ^h XdbejiZY jh^c\ i]Z higV^\]i,a^cZ bZi]dY dkZg i]Z
 Zhi^bViZY jhZ[ja a^kZh d[ i]Z VhhZih- ?hi^bViZY jhZ[ja a^kZh VgZ Vh [daadlh9

 <j^aY^c\h                                                                                                                                         3/ nZVgh
 GVcj[VXijg^c\ Zfj^ebZci VcY bVX]^cZgn                                                                                                           4,0/ nZVgh
 =dbejiZg hd[ilVgZ VcY Zfj^ebZci                                                                                                                    2 nZVgh
 @jgc^ijgZ VcY [^mijgZh                                                                                                                             4 nZVgh

 FZVhZ]daY ^begdkZbZcih VgZ Vbdgi^oZY dkZg i]Z h]dgiZg d[ i]Z cdcXVcXZaVWaZ iZgb d[ djg deZgVi^c\ aZVhZh dg i]Z^g ZXdcdb^X jhZ[ja a^kZh-
 GV^ciZcVcXZ VcY gZeV^gh VgZ ZmeZchZY Vh ^cXjggZY-
 Goodwill
 AddYl^aa gZegZhZcih i]Z ZmXZhh d[ i]Z VXfj^h^i^dc Xdch^YZgVi^dc dkZg i]Z [V^g kVajZ d[ VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY- QZ ]VkZ YZiZgb^cZY
 i]Vi lZ deZgViZ ^c V h^c\aZ hZ\bZci VcY ]VkZ V h^c\aZ gZedgi^c\ jc^i VhhdX^ViZY l^i] i]Z YZkZadebZci VcY XdbbZgX^Va^oVi^dc d[ e]VgbVXZji^XVa
 egdYjXih- N]Z VccjVa iZhi [dg \ddYl^aa ^beV^gbZci ^h V ild,hiZe egdXZhh- N]Z [^ghi hiZe ^h V XdbeVg^hdc d[ i]Z [V^g kVajZ d[ i]Z gZedgi^c\ jc^i l^i] ^ih
 XVggn^c\ Vbdjci+ ^cXajY^c\ \ddYl^aa- C[ i]^h hiZe ^cY^XViZh ^beV^gbZci+ i]Zc+ ^c i]Z hZXdcY hiZe+ i]Z adhh ^h bZVhjgZY Vh i]Z ZmXZhh d[ gZXdgYZY
 \ddYl^aa dkZg ^ih ^bea^ZY [V^g kVajZ- Cbea^ZY [V^g kVajZ ^h i]Z ZmXZhh d[ i]Z [V^g kVajZ d[ i]Z gZedgi^c\ jc^i dkZg i]Z [V^g kVajZ d[ Vaa ^YZci^[^ZY VhhZih
 VcY a^VW^a^i^Zh- QZ iZhi \ddYl^aa [dg ^beV^gbZci VccjVaan ^c IXidWZg VcY l]Zc ZkZcih dg X]Vc\Zh ^c X^gXjbhiVcXZh ^cY^XViZ i]Vi i]Z XVggn^c\ kVajZ
 bVn cdi WZ gZXdkZgVWaZ-
 Acquired In-Process Research and Development
 N]Z ^c^i^Va Xdhih d[ g^\]ih id CJL%> egd_ZXih VXfj^gZY ^c Vc VhhZi VXfj^h^i^dc VgZ ZmeZchZY Vh CJL%> jcaZhh i]Z egd_ZXi ]Vh Vc VaiZgcVi^kZ [jijgZ
 jhZ- N]Z [V^g kVajZ d[ CJL%> egd_ZXih VXfj^gZY ^c V Wjh^cZhh XdbW^cVi^dc VgZ XVe^iVa^oZY VcY VXXdjciZY [dg Vh ^cYZ[^c^iZ,a^kZY ^ciVc\^WaZ VhhZih
 jci^a i]Z jcYZgan^c\ egd_ZXi gZXZ^kZh gZ\jaVidgn VeegdkVa+ Vi l]^X] ed^ci i]Z

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 ^ciVc\^WaZ VhhZi l^aa WZ VXXdjciZY [dg Vh V [^c^iZ,a^kZY ^ciVc\^WaZ VhhZi+ dg Y^hXdci^cjZY+ Vi l]^X] ed^ci i]Z ^ciVc\^WaZ VhhZi l^aa WZ lg^iiZc d[[-
 >ZkZadebZci Xdhih ^cXjggZY V[iZg Vc VXfj^h^i^dc VgZ ZmeZchZY Vh ^cXjggZY-
 Intangible Assets
 CciVc\^WaZ VhhZih l^i] [^c^iZ jhZ[ja a^kZh Xdch^hi eg^bVg^an d[ ejgX]VhZY YZkZadeZY iZX]cdad\n VcY VgZ Vbdgi^oZY dc V higV^\]i,a^cZ WVh^h dkZg i]Z^g
 Zhi^bViZY jhZ[ja a^kZh+ l]^X] gVc\Z [gdb ild id 05 nZVgh- N]Z Zhi^bViZY jhZ[ja a^kZh VhhdX^ViZY l^i] [^c^iZ,a^kZY ^ciVc\^WaZ VhhZih VgZ Xdch^hiZci
 l^i] i]Z Zhi^bViZY a^kZh d[ i]Z VhhdX^ViZY egdYjXih VcY bVn WZ bdY^[^ZY l]Zc X^gXjbhiVcXZh lVggVci- MjX] VhhZih VgZ gZk^ZlZY [dg ^beV^gbZci
 l]Zc ZkZcih dg X^gXjbhiVcXZh ^cY^XViZ i]Vi i]Z XVggn^c\ kVajZ d[ Vc VhhZi bVn cdi WZ gZXdkZgVWaZ- ;c ^beV^gbZci adhh ldjaY WZ gZXd\c^oZY l]Zc
 Zhi^bViZY jcY^hXdjciZY [jijgZ XVh] [adlh ZmeZXiZY id gZhjai [gdb i]Z jhZ d[ Vc VhhZi VcY ^ih ZkZcijVa Y^hedh^i^dc VgZ aZhh i]Vc ^ih XVggn^c\ Vbdjci-
 N]Z Vbdjci d[ Vcn ^beV^gbZci ^h bZVhjgZY Vh i]Z Y^[[ZgZcXZ WZilZZc i]Z XVggn^c\ Vbdjci VcY i]Z [V^g kVajZ d[ i]Z ^beV^gZY VhhZi-
 Revenue Recognition
 LZkZcjZh VgZ gZXd\c^oZY l]Zc i]ZgZ ^h eZghjVh^kZ Zk^YZcXZ i]Vi Vc VggVc\ZbZci Zm^hih+ YZa^kZgn ]Vh dXXjggZY+ i]Z eg^XZ ^h [^mZY VcY YZiZgb^cVWaZ
 VcY XdaaZXi^dc ^h gZVhdcVWan VhhjgZY-
 Product Sales, Net
 JgdYjXi hVaZh gZkZcjZ ^h gZXd\c^oZY l]Zc i^iaZ ]Vh igVch[ZggZY id i]Z XjhidbZg VcY i]Z XjhidbZg ]Vh VhhjbZY i]Z g^h`h VcY gZlVgYh d[ dlcZgh]^e+
 l]^X] ^h ine^XVaan dc YZa^kZgn id i]Z XjhidbZg dg+ ^c i]Z XVhZ d[ egdYjXih i]Vi VgZ hjW_ZXi id Xdch^\cbZci V\gZZbZcih+ l]Zc i]Z XjhidbZg gZbdkZh
 egdYjXi [gdb djg Xdch^\cZY ^ckZcidgn adXVi^dc [dg h]^ebZci Y^gZXian id V eVi^Zci-
 LZkZcjZ [gdb hVaZh igVchVXi^dch l]ZgZ i]Z WjnZg ]Vh i]Z g^\]i id gZijgc i]Z egdYjXi ^h gZXd\c^oZY Vi i]Z i^bZ d[ hVaZ dcan ^[ '^( i]Z hZaaZgxh eg^XZ id
 i]Z WjnZg ^h hjWhiVci^Vaan [^mZY dg YZiZgb^cVWaZ Vi i]Z YViZ d[ hVaZ+ '^^( i]Z WjnZg ]Vh eV^Y i]Z hZaaZg+ dg i]Z WjnZg ^h dWa^\ViZY id eVn i]Z hZaaZg VcY i]Z
 dWa^\Vi^dc ^h cdi Xdci^c\Zci dc gZhVaZ d[ i]Z egdYjXi+ '^^^( i]Z WjnZgxh dWa^\Vi^dc id i]Z hZaaZg ldjaY cdi WZ X]Vc\ZY ^c i]Z ZkZci d[ i]Z[i dg e]nh^XVa
 YZhigjXi^dc dg YVbV\Z d[ i]Z egdYjXi+ '^k( i]Z WjnZg VXfj^g^c\ i]Z egdYjXi [dg gZhVaZ ]Vh ZXdcdb^X hjWhiVcXZ VeVgi [gdb i]Vi egdk^YZY Wn i]Z hZaaZg+
 'k( i]Z hZaaZg YdZh cdi ]VkZ h^\c^[^XVci dWa^\Vi^dch [dg [jijgZ eZg[dgbVcXZ id Y^gZXian Wg^c\ VWdji gZhVaZ d[ i]Z egdYjXi Wn i]Z WjnZg+ VcY 'k^( i]Z
 Vbdjci d[ [jijgZ gZijgch XVc WZ gZVhdcVWan Zhi^bViZY-
 LZkZcjZh [gdb hVaZh d[ egdYjXih VgZ gZXdgYZY cZi d[ Zhi^bViZY VaadlVcXZh [dg gZijgch+ heZX^Vain Y^hig^Wjidg [ZZh+ l]daZhVaZg [ZZh+ egdbei eVnbZci
 Y^hXdjcih+ \dkZgcbZci gZWViZh+ \dkZgcbZci X]Vg\ZWVX`h+ Xdjedc egd\gVbh VcY gZWViZh jcYZg bVcV\ZY XVgZ eaVch- Jgdk^h^dch [dg gZijgch+
 heZX^Vain Y^hig^Wjidg [ZZh+ l]daZhVaZg [ZZh+ \dkZgcbZci gZWViZh+ Xdjedc egd\gVbh VcY gZWViZh jcYZg bVcV\ZY XVgZ eaVch VgZ ^cXajYZY l^i]^c XjggZci
 a^VW^a^i^Zh ^c djg Xdchda^YViZY WVaVcXZ h]ZZih- Jgdk^h^dch [dg \dkZgcbZci X]Vg\ZWVX`h VcY egdbei eVnbZci Y^hXdjcih VgZ \ZcZgVaan h]dlc Vh V
 gZYjXi^dc ^c VXXdjcih gZXZ^kVWaZ- =VaXjaVi^c\ XZgiV^c d[ i]ZhZ ^iZbh ^ckdakZh Zhi^bViZh VcY _jY\bZcih WVhZY dc hVaZh dg ^ckd^XZ YViV+ XdcigVXijVa
 iZgbh+ ]^hidg^XVa ji^a^oVi^dc gViZh+ cZl ^c[dgbVi^dc gZ\VgY^c\ X]Vc\Zh ^c i]ZhZ egd\gVbhx gZ\jaVi^dch VcY \j^YZa^cZh i]Vi ldjaY ^beVXi i]Z Vbdjci d[
 i]Z VXijVa gZWViZh+ djg ZmeZXiVi^dch gZ\VgY^c\ [jijgZ ji^a^oVi^dc gViZh [dg i]ZhZ egd\gVbh VcY X]VccZa ^ckZcidgn YViV- ;Y_jhibZcih id Zhi^bViZh [dg
 i]ZhZ VaadlVcXZh ]VkZ cdi WZZc bViZg^Va-
 Royalties and Contract Revenues
 QZ gZXZ^kZ gdnVai^Zh [gdb i]^gY eVgi^Zh WVhZY dc hVaZh d[ djg egdYjXih jcYZg a^XZch^c\ VcY Y^hig^Wji^dc VggVc\ZbZcih- @dg i]dhZ VggVc\ZbZcih
 l]ZgZ gdnVai^Zh VgZ gZVhdcVWan Zhi^bVWaZ+ lZ gZXd\c^oZ gZkZcjZh WVhZY dc Zhi^bViZh d[ gdnVai^Zh ZVgcZY Yjg^c\ i]Z Veea^XVWaZ eZg^dY+ VcY VY_jhi [dg
 Y^[[ZgZcXZh WZilZZc i]Z Zhi^bViZY VcY VXijVa gdnVai^Zh ^c i]Z [daadl^c\ fjVgiZg- B^hidg^XVaan+ i]ZhZ VY_jhibZcih ]VkZ cdi WZZc h^\c^[^XVci-
 Ijg XdcigVXi gZkZcjZh Xdch^hi d[ [ZZh VcY b^aZhidcZ eVnbZcih- Hdc,gZ[jcYVWaZ [ZZh l]ZgZ lZ ]VkZ cd Xdci^cj^c\ eZg[dgbVcXZ dWa^\Vi^dch VgZ
 gZXd\c^oZY Vh gZkZcjZh l]Zc i]ZgZ ^h eZghjVh^kZ Zk^YZcXZ d[ Vc VggVc\ZbZci VcY XdaaZXi^dc ^h gZVhdcVWan VhhjgZY- Cc h^ijVi^dch l]ZgZ lZ ]VkZ
 Xdci^cj^c\ eZg[dgbVcXZ dWa^\Vi^dch+ cdc,gZ[jcYVWaZ [ZZh VgZ YZ[ZggZY VcY VgZ gZXd\c^oZY gViVWan dkZg djg egd_ZXiZY eZg[dgbVcXZ eZg^dY- QZ
 gZXd\c^oZ Vi,g^h` b^aZhidcZ eVnbZcih+ l]^X] VgZ ine^XVaan gZaViZY id gZ\jaVidgn+ XdbbZgX^Va dg di]Zg VX]^ZkZbZcih Wn jh dg djg a^XZchZZh VcY
 Y^hig^Wjidgh+ Vh gZkZcjZh l]Zc i]Z b^aZhidcZ ^h VXXdbea^h]ZY VcY XdaaZXi^dc ^h gZVhdcVWan VhhjgZY- MVaZh,WVhZY b^aZhidcZ eVnbZcih VgZ ine^XVaan
 eVnbZcih bVYZ id jh i]Vi VgZ ig^\\ZgZY l]Zc V\\gZ\ViZ cZi hVaZh d[ V egdYjXi Wn V XdaaVWdgVidg [dg V heZX^[^ZY eZg^dY '[dg ZmVbeaZ+ Vc VccjVa
 eZg^dY( gZVX] Vc V\gZZY jedc i]gZh]daY Vbdjci- QZ gZXd\c^oZ hVaZh,WVhZY b^aZhidcZ eVnbZcih [gdb V XdaaVWdgVidg l]Zc i]Z ZkZci l]^X] ig^\\Zgh
 i]Z dWa^\Vi^dc d[ eVnbZci ]Vh dXXjggZY+ i]ZgZ ^h cd [jgi]Zg dWa^\Vi^dc dc djg eVgi ^c XdccZXi^dc l^i] i]Z eVnbZci+ VcY XdaaZXi^dc ^h gZVhdcVWan
 VhhjgZY- LZ[jcYVWaZ [ZZh VgZ YZ[ZggZY VcY gZXd\c^oZY Vh gZkZcjZh jedc i]Z aViZg d[ l]Zc i]Zn WZXdbZ cdcgZ[jcYVWaZ dg l]Zc djg eZg[dgbVcXZ
 dWa^\Vi^dch VgZ XdbeaZiZY-

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 Cost of Product Sales
 =dhi d[ egdYjXi hVaZh ^cXajYZh bVcj[VXijg^c\ VcY Y^hig^Wji^dc Xdhih+ i]Z Xdhi d[ Ygj\ hjWhiVcXZ+ gdnVai^Zh YjZ id i]^gY eVgi^Zh dc egdYjXi hVaZh+
 egdYjXi a^VW^a^in VcY XVg\d ^chjgVcXZ+ @>; jhZg [ZZh+ [gZ^\]i+ h]^ee^c\+ ]VcYa^c\ VcY hidgV\Z Xdhih VcY hVaVg^Zh VcY gZaViZY Xdhih d[ ZbeadnZZh
 ^ckdakZY l^i] egdYjXi^dc- =dhi d[ egdYjXi hVaZh ^cXajYZY #0/-4 b^aa^dc d[ ^ckZcidgn Xdhih VhhdX^ViZY l^i] i]Z [V^g kVajZ hiZe,je ^c VXfj^gZY
 ^ckZcidgn ^c 1/03- ?mXajYZY [gdb Xdhi d[ egdYjXi hVaZh h]dlc dc i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ ^h Vbdgi^oVi^dc d[ VXfj^gZY YZkZadeZY
 iZX]cdad\n d[ #88-/ b^aa^dc+ #82-/ b^aa^dc VcY #011-5 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan-
 Research and Development
 LZhZVgX] VcY YZkZadebZci ZmeZchZh Xdch^hi eg^bVg^an d[ Xdhih gZaViZY id Xa^c^XVa hijY^Zh VcY djih^YZ hZgk^XZh+ eZghdccZa ZmeZchZh VcY di]Zg
 gZhZVgX] VcY YZkZadebZci Xdhih+ ^cXajY^c\ b^aZhidcZ eVnbZcih ^cXjggZY eg^dg id gZ\jaVidgn VeegdkVa d[ egdYjXih- =a^c^XVa hijYn VcY djih^YZ
 hZgk^XZh Xdhih gZaViZ eg^bVg^an id hZgk^XZh eZg[dgbZY Wn Xa^c^XVa gZhZVgX] dg\Vc^oVi^dch+ Xa^c^XVa hijY^Zh eZg[dgbZY Vi Xa^c^XVa h^iZh+ bViZg^Vah VcY
 hjeea^Zh+ VcY di]Zg i]^gY eVgin [ZZh- JZghdccZa ZmeZchZh gZaViZ eg^bVg^an id hVaVg^Zh+ WZcZ[^ih VcY h]VgZ,WVhZY XdbeZchVi^dc- Ii]Zg gZhZVgX] VcY
 YZkZadebZci ZmeZchZh eg^bVg^an ^cXajYZ dkZg]ZVY VaadXVi^dch Xdch^hi^c\ d[ kVg^djh hjeedgi VcY [VX^a^i^Zh,gZaViZY Xdhih- LZhZVgX] VcY YZkZadebZci
 Xdhih VgZ ZmeZchZY Vh ^cXjggZY- @dg egdYjXi XVcY^YViZh i]Vi ]VkZ cdi WZZc VeegdkZY Wn i]Z @>;+ ^ckZcidgn jhZY ^c Xa^c^XVa ig^Vah ^h ZmeZchZY Vi i]Z
 i^bZ d[ egdYjXi^dc VcY gZXdgYZY Vh gZhZVgX] VcY YZkZadebZci ZmeZchZ- @dg egdYjXih i]Vi ]VkZ WZZc VeegdkZY Wn i]Z @>;+ ^ckZcidgn jhZY ^c
 Xa^c^XVa ig^Vah ^h ZmeZchZY Vi i]Z i^bZ i]Z ^ckZcidgn ^h eVX`V\ZY [dg i]Z ig^Va-
 Advertising Expenses
 QZ ZmeZchZ i]Z Xdhih d[ VYkZgi^h^c\+ ^cXajY^c\ egdbdi^dcVa ZmeZchZh+ Vh ^cXjggZY- ;YkZgi^h^c\ ZmeZchZh lZgZ #18-4 b^aa^dc+ #16-8 b^aa^dc VcY #14-6
 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan-
 Income Taxes
 QZ jhZ i]Z VhhZi VcY a^VW^a^in bZi]dY d[ VXXdjci^c\ [dg ^cXdbZ iVmZh- OcYZg i]^h bZi]dY+ YZ[ZggZY iVm VhhZih VcY a^VW^a^i^Zh VgZ YZiZgb^cZY WVhZY dc
 Y^[[ZgZcXZh WZilZZc i]Z [^cVcX^Va hiViZbZci XVggn^c\ Vbdjci VcY i]Z iVm WVh^h d[ VhhZih VcY a^VW^a^i^Zh VcY VgZ bZVhjgZY jh^c\ ZcVXiZY iVm gViZh VcY
 aVlh i]Vi l^aa WZ ^c Z[[ZXi l]Zc i]Z Y^[[ZgZcXZh VgZ ZmeZXiZY id gZkZghZ- ; kVajVi^dc VaadlVcXZ ^h egdk^YZY l]Zc ^i ^h bdgZ,a^`Zan,i]Vc,cdi i]Vi hdbZ
 edgi^dc dg Vaa d[ V YZ[ZggZY iVm VhhZi l^aa cdi WZ gZVa^oZY- QZ VXXdjci [dg jcgZXd\c^oZY iVm WZcZ[^ih jh^c\ V vbdgZ,a^`Zan,i]Vc,cdiw i]gZh]daY [dg
 gZXd\c^o^c\ VcY gZhdak^c\ jcgZXd\c^oZY iVm WZcZ[^ih- ; gZXd\c^oZY iVm WZcZ[^i ^h i]Zc bZVhjgZY Vi i]Z aVg\Zhi Vbdjci d[ WZcZ[^i i]Vi ^h \gZViZg i]Vc
 [^[in eZgXZci a^`Zan d[ WZ^c\ gZVa^oZY jedc hZiiaZbZci- CciZgZhi VcY eZcVai^Zh gZaViZY id jcgZXd\c^oZY iVm WZcZ[^ih VgZ ^cXajYZY ^c i]Z ^cXdbZ iVm
 egdk^h^dc VcY XaVhh^[^ZY l^i] i]Z gZaViZY a^VW^a^in dc i]Z Xdchda^YViZY WVaVcXZ h]ZZih-
 Foreign Currency
 Ijg [jcXi^dcVa VcY gZedgi^c\ XjggZcXn ^h i]Z O-M- YdaaVg- N]Z VhhZih VcY a^VW^a^i^Zh d[ djg hjWh^Y^Vg^Zh i]Vi ]VkZ V [jcXi^dcVa XjggZcXn di]Zg i]Vc i]Z
 O-M- YdaaVg VgZ igVchaViZY ^cid O-M- YdaaVgh Vi i]Z ZmX]Vc\Z gViZ egZkV^a^c\ Vi i]Z WVaVcXZ h]ZZi YViZ l^i] i]Z gZhjaih d[ deZgVi^dch d[ hjWh^Y^Vg^Zh
 igVchaViZY Vi i]Z VkZgV\Z ZmX]Vc\Z gViZ [dg i]Z gZedgi^c\ eZg^dY- N]Z XjbjaVi^kZ [dgZ^\c XjggZcXn igVchaVi^dc VY_jhibZci ^h gZXdgYZY Vh V XdbedcZci
 d[ VXXjbjaViZY di]Zg XdbegZ]Zch^kZ ^cXdbZ 'adhh( ^c h]VgZ]daYZghx Zfj^in-
 NgVchVXi^dch ^c [dgZ^\c XjggZcX^Zh VgZ igVchaViZY ^cid i]Z [jcXi^dcVa XjggZcXn d[ i]Z gZaZkVci hjWh^Y^Vgn Vi i]Z gViZ d[ ZmX]Vc\Z egZkV^a^c\ Vi i]Z YViZ
 d[ i]Z igVchVXi^dc- ;cn bdcZiVgn VhhZih VcY a^VW^a^i^Zh Vg^h^c\ [gdb i]ZhZ igVchVXi^dch VgZ igVchaViZY ^cid i]Z gZaZkVci [jcXi^dcVa XjggZcXn Vi
 ZmX]Vc\Z gViZh egZkV^a^c\ Vi i]Z WVaVcXZ h]ZZi YViZ dg dc hZiiaZbZci- LZhjai^c\ \V^ch VcY adhhZh VgZ gZXdgYZY ^c [dgZ^\c XjggZcXn \V^c 'adhh( ^c djg
 Xdchda^YViZY hiViZbZcih d[ ^cXdbZ-
 Deferred Financing Costs
 >Z[ZggZY [^cVcX^c\ Xdhih VgZ gZedgiZY Vi Xdhi+ aZhh VXXjbjaViZY Vbdgi^oVi^dc VcY VgZ egZhZciZY ^c i]Z Xdchda^YViZY WVaVcXZ h]ZZih Vh V Y^gZXi
 YZYjXi^dc [gdb i]Z XVggn^c\ kVajZ d[ i]Z VhhdX^ViZY YZWi+ l^i] i]Z ZmXZei^dc d[ YZ[ZggZY [^cVcX^c\ Xdhih VhhdX^ViZY l^i] gZkdak^c\,YZWi
 VggVc\ZbZcih l]^X] VgZ egZhZciZY Vh VhhZih- N]Z gZaViZY Vbdgi^oVi^dc ZmeZchZ ^h ^cXajYZY ^c ^ciZgZhi ZmeZchZ+ cZi ^c djg Xdchda^YViZY hiViZbZcih d[
 ^cXdbZ-
 Contingencies
 @gdb i^bZ id i^bZ+ lZ bVn WZXdbZ ^ckdakZY ^c XaV^bh VcY di]Zg aZ\Va bViiZgh Vg^h^c\ ^c i]Z dgY^cVgn XdjghZ d[ Wjh^cZhh- QZ gZXdgY VXXgjVah [dg adhh
 Xdci^c\ZcX^Zh id i]Z ZmiZci i]Vi lZ XdcXajYZ i]Vi ^i ^h egdWVWaZ i]Vi V a^VW^a^in ]Vh WZZc ^cXjggZY VcY i]Z Vbdjci d[ i]Z gZaViZY adhh XVc WZ
 gZVhdcVWan Zhi^bViZY- FZ\Va [ZZh VcY di]Zg ZmeZchZh gZaViZY id a^i^\Vi^dc VgZ ZmeZchZY Vh ^cXjggZY VcY ^cXajYZY ^c hZaa^c\+ \ZcZgVa VcY
 VYb^c^higVi^kZ ZmeZchZh-

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 Use of Estimates
 N]Z egZeVgVi^dc d[ [^cVcX^Va hiViZbZcih ^c Xdc[dgb^in l^i] O-M- \ZcZgVaan VXXZeiZY VXXdjci^c\ eg^cX^eaZh+ dg A;;J+ gZfj^gZh bVcV\ZbZci id bV`Z
 Zhi^bViZh VcY Vhhjbei^dch i]Vi V[[ZXi i]Z gZedgiZY Vbdjcih d[ VhhZih+ a^VW^a^i^Zh+ gZkZcjZh VcY ZmeZchZh+ VcY gZaViZY Y^hXadhjgZh ^c i]Z
 Xdchda^YViZY [^cVcX^Va hiViZbZcih VcY VXXdbeVcn^c\ cdiZh- GVcV\ZbZci WVhZh ^ih Zhi^bViZh dc ]^hidg^XVa ZmeZg^ZcXZ VcY dc Vhhjbei^dch WZa^ZkZY
 id WZ gZVhdcVWaZ jcYZg i]Z X^gXjbhiVcXZh- ;XijVa gZhjaih XdjaY Y^[[Zg bViZg^Vaan [gdb i]dhZ Zhi^bViZh-
 Net Income per Ordinary Share
 <Vh^X cZi ^cXdbZ eZg dgY^cVgn h]VgZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX ^h WVhZY dc i]Z lZ^\]iZY,VkZgV\Z cjbWZg d[ dgY^cVgn h]VgZh
 djihiVcY^c\- >^ajiZY cZi ^cXdbZ eZg dgY^cVgn h]VgZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX ^h WVhZY dc i]Z lZ^\]iZY,VkZgV\Z cjbWZg d[ dgY^cVgn
 h]VgZh djihiVcY^c\ VcY ediZci^Vaan Y^aji^kZ dgY^cVgn h]VgZh djihiVcY^c\-
 <Vh^X VcY Y^ajiZY cZi ^cXdbZ eZg dgY^cVgn h]VgZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX lZgZ XdbejiZY Vh [daadlh '^c i]djhVcYh+ ZmXZei eZg h]VgZ
 Vbdjcih(9

                                                                                                              Year Ended December 31,
                                                                                              2016                     2015                2014
 HjbZgVidg9
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX                                  #           285+720       #          218+424     #          47+276
 >Zcdb^cVidg9
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ XVaXjaVi^dc , WVh^X                              5/+4//                   50+121              48+635
 >^aji^kZ Z[[ZXi d[ ZbeadnZZ Zfj^in ^cXZci^kZ VcY ejgX]VhZ eaVch                                      0+26/                    0+7/3               1+3/1
 >^aji^kZ Z[[ZXi d[ lVggVcih                                                                              ,                        ,                355
 QZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh jhZY ^c eZg h]VgZ XVaXjaVi^dc , Y^ajiZY                            50+76/                   52+/25              51+503


 HZi ^cXdbZ eZg dgY^cVgn h]VgZ 9
 <Vh^X                                                                                #                5-45     #               4-27   #            /-87
 >^ajiZY                                                                              #                5-30     #               4-12   #            /-82

 JdiZci^Vaan Y^aji^kZ dgY^cVgn h]VgZh [gdb djg ZbeadnZZ Zfj^in ^cXZci^kZ VcY ejgX]VhZ eaVch+ lVggVcih VcY djg 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh
 YjZ 1/10+ dg i]Z 1/10 HdiZh+ VgZ YZiZgb^cZY Wn Veean^c\ i]Z igZVhjgn hidX` bZi]dY id i]Z VhhjbZY ZmZgX^hZ d[ h]VgZ dei^dch VcY lVggVcih+ i]Z
 VhhjbZY kZhi^c\ d[ djihiVcY^c\ gZhig^XiZY hidX` jc^ih+ dg LMOh+ i]Z VhhjbZY ^hhjVcXZ d[ dgY^cVgn h]VgZh jcYZg djg ZbeadnZZ hidX` ejgX]VhZ eaVc+
 dg ?MJJ+ VcY i]Z VhhjbZY ^hhjVcXZ d[ dgY^cVgn h]VgZh jedc ZmX]Vc\Z d[ i]Z 1/10 HdiZh- N]Z Veegdm^bViZan 1-8 b^aa^dc dgY^cVgn h]VgZh ^hhjVWaZ
 jedc ZmX]Vc\Z d[ i]Z 1/10 HdiZh ]VY cd Z[[ZXi dc Y^ajiZY cZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ WZXVjhZ i]Z
 VkZgV\Z eg^XZ d[ djg dgY^cVgn h]VgZh [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05 Y^Y cdi ZmXZZY i]Z Z[[ZXi^kZ ZmX]Vc\Z eg^XZ d[ #088-66 eZg dgY^cVgn h]VgZ
 jcYZg i]Z 1/10 HdiZh-
 N]Z [daadl^c\ iVWaZ gZegZhZcih i]Z lZ^\]iZY,VkZgV\Z dgY^cVgn h]VgZh i]Vi lZgZ ZmXajYZY [gdb i]Z XdbejiVi^dc d[ Y^ajiZY cZi ^cXdbZ Viig^WjiVWaZ id
 DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ [dg i]Z nZVgh egZhZciZY WZXVjhZ ^cXajY^c\ i]Zb ldjaY ]VkZ Vc Vci^,Y^aji^kZ Z[[ZXi '^c i]djhVcYh(9

                                                                                                              Year Ended December 31,
                                                                                              2016                     2015                2014
 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10                                                           1+767                    1+767                0+001
 Iei^dch id ejgX]VhZ dgY^cVgn h]VgZh VcY LMOh                                                        2+/0/                    0+5/8                 708
 IgY^cVgn h]VgZh jcYZg ?MJJ                                                                             82                        ,                      ,
 Share-Based Compensation
 QZ VXXdjci [dg XdbeZchVi^dc Xdhi [dg Vaa h]VgZ,WVhZY VlVgYh Vi [V^g kVajZ dc i]Z YViZ d[ \gVci- N]Z [V^g kVajZ ^h gZXd\c^oZY Vh ZmeZchZ dkZg i]Z
 hZgk^XZ eZg^dY+ cZi d[ Zhi^bViZY [dg[Z^ijgZh+ jh^c\ i]Z higV^\]i,a^cZ bZi]dY- N]Z Zhi^bVi^dc d[ h]VgZ,WVhZY VlVgYh i]Vi l^aa jai^bViZan kZhi gZfj^gZh
 _jY\bZci+ VcY+ id i]Z ZmiZci VXijVa gZhjaih dg jeYViZY Zhi^bViZh Y^[[Zg

                                                                          @,08
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                                                           22230
 NVWaZ d[ =dciZcih
                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 [gdb XjggZci Zhi^bViZh+ hjX] Vbdjcih l^aa WZ gZXdgYZY Vh V XjbjaVi^kZ VY_jhibZci ^c i]Z eZg^dY Zhi^bViZh VgZ gZk^hZY- QZ eg^bVg^an Xdch^YZg
 ]^hidg^XVa ZmeZg^ZcXZ l]Zc Zhi^bVi^c\ ZmeZXiZY [dg[Z^ijgZh-
 Recent Accounting Pronouncements
 Cc DVcjVgn 1/06+ i]Z @;M<+ ^hhjZY ;MO Hd- 1/06,/3+ vCciVc\^WaZh , AddYl^aa VcY Ii]Zg 'Nde^X 24/(9 M^bea^[n^c\ i]Z NZhi [dg AddYl^aa CbeV^gbZciw
 l]^X] h^bea^[^Zh i]Z VXXdjci^c\ [dg \ddYl^aa ^beV^gbZci Wn Za^b^cVi^c\ MiZe 1 d[ i]Z XjggZci \ddYl^aa ^beV^gbZci iZhi- AddYl^aa ^beV^gbZci l^aa cdl
 WZ i]Z Vbdjci Wn l]^X] i]Z gZedgi^c\ jc^ixh XVggn^c\ kVajZ ZmXZZYh ^ih [V^g kVajZ+ a^b^iZY id i]Z XVggn^c\ kVajZ d[ i]Z \ddYl^aa- N]Z hiVcYVgY ^h
 Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/1/- ?Vgan VYdei^dc ^h eZgb^iiZY [dg Vcn ^beV^gbZci iZhih eZg[dgbZY V[iZg DVcjVgn 0+ 1/06- N]Z cZl \j^YVcXZ
 ^h cdi ZmeZXiZY id ]VkZ V bViZg^Va ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc-
 Cc DVcjVgn 1/06+ i]Z @;M< ^hhjZY ;MO Hd- 1/06,/0+ v<jh^cZhh =dbW^cVi^dch 'Nde^X 7/4(9 =aVg^[n^c\ i]Z >Z[^c^i^dc d[ V <jh^cZhhw l]^X] egdk^YZh
 XaVg^[^XVi^dc dc i]Z YZ[^c^i^dc d[ V Wjh^cZhh VcY VYYh \j^YVcXZ id Vhh^hi Zci^i^Zh l^i] ZkVajVi^c\ l]Zi]Zg igVchVXi^dch h]djaY WZ VXXdjciZY [dg Vh
 VXfj^h^i^dch 'dg Y^hedhVah( d[ VhhZih dg Wjh^cZhhZh- N]Z hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- N]Z
 [jijgZ ^beVXi d[ ;MO Hd- 1/06,/0 l^aa WZ YZeZcYZci jedc i]Z cVijgZ d[ djg [jijgZ VXfj^h^i^dc dg Y^hedh^i^dc igVchVXi^dch+ ^[ Vcn-
 Cc IXidWZg 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,05+ vCcXdbZ NVmZh 'Nde^X 63/(9 CcigV,?ci^in NgVch[Zgh d[ ;hhZih Ii]Zg N]Vc CckZcidgnw l]^X]
 gZfj^gZh Vc Zci^in id gZXd\c^oZ i]Z ^cXdbZ iVm XdchZfjZcXZh d[ Vc ^cigV,Zci^in VhhZi igVch[Zg+ di]Zg i]Vc Vc ^cigV,Zci^in VhhZi igVch[Zg d[ ^ckZcidgn+
 l]Zc i]Z igVch[Zg dXXjgh- N]Z hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- QZ VgZ XjggZcian VhhZhh^c\ djg
 VeegdVX] id i]Z VYdei^dc d[ i]^h hiVcYVgY VcY i]Z ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc-
 Cc ;j\jhi 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,04+ vMiViZbZci d[ =Vh] @adlh 'Nde^X 12/(9 =aVhh^[^XVi^dc d[ =ZgiV^c =Vh] LZXZ^eih VcY =Vh]
 JVnbZcihw- ;MO 1/05,04 VYYgZhhZh ]dl XZgiV^c XVh] gZXZ^eih VcY XVh] eVnbZcih VgZ egZhZciZY VcY XaVhh^[^ZY ^c i]Z hiViZbZci d[ XVh] [adlh- N]Z
 hiVcYVgY ^h Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07- ?Vgan VYdei^dc ^h eZgb^iiZY- QZ Yd cdi ZmeZXi i]Z VYdei^dc d[ i]^h \j^YVcXZ id ]VkZ V
 bViZg^Va ^beVXi dc djg Xdchda^YViZY [^cVcX^Va hiViZbZcih-
 Cc @ZWgjVgn 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,/1+ vFZVhZh 'Nde^X 731(w- OcYZg i]Z cZl \j^YVcXZ+ aZhhZZh l^aa WZ gZfj^gZY id gZXd\c^oZ V g^\]i,d[,
 jhZ VhhZi+ l]^X] gZegZhZcih i]Z aZhhZZxh g^\]i id jhZ+ dg Xdcigda i]Z jhZ d[+ V heZX^[^ZY VhhZi [dg i]Z aZVhZ iZgb+ VcY V XdggZhedcY^c\ aZVhZ a^VW^a^in+
 l]^X] gZegZhZcih i]Z aZhhZZxh dWa^\Vi^dc id bV`Z aZVhZ eVnbZcih jcYZg V aZVhZ+ bZVhjgZY dc V Y^hXdjciZY WVh^h- ;MO Hd- 1/05,/1 ^h Z[[ZXi^kZ
 WZ\^cc^c\ DVcjVgn 0+ 1/08 VcY ZVgan Veea^XVi^dc ^h eZgb^iiZY- ;MO Hd- 1/05,/1 bjhi WZ VYdeiZY dc V bdY^[^ZY gZigdheZXi^kZ igVch^i^dc WVh^h [dg
 aZVhZh Zm^hi^c\ Vi+ dg ZciZgZY ^cid V[iZg+ i]Z WZ\^cc^c\ d[ i]Z ZVga^Zhi XdbeVgVi^kZ eZg^dY egZhZciZY ^c i]Z Xdchda^YViZY [^cVcX^Va hiViZbZcih- Q]^aZ
 lZ VgZ Xdci^cj^c\ id VhhZhh Vaa ediZci^Va ^beVXih d[ i]Z hiVcYVgY+ lZ XjggZcian WZa^ZkZ i]Z bdhi h^\c^[^XVci ^beVXi gZaViZh id djg VXXdjci^c\ [dg i]Z
 aZVhZ V\gZZbZci lZ ZciZgZY ^cid ^c DVcjVgn 1/04 id aZVhZ d[[^XZ heVXZ adXViZY ^c JVad ;aid+ =Va^[dgc^V ^c V Wj^aY^c\ id WZ XdchigjXiZY Wn i]Z aVcYadgY+
 l]^X] ^h VXXdjciZY [dg Vh V Wj^aY,id,hj^i VggVc\ZbZci jcYZg Zm^hi^c\ VXXdjci^c\ hiVcYVgYh+ VcY i]Z aZVhZ V\gZZbZci lZ ZciZgZY ^cid ^c ;j\jhi 1/05
 [dg d[[^XZ heVXZ ^c >jWa^c+ CgZaVcY-
 Cc GVn 1/03+ i]Z @;M< ^hhjZY ;MO Hd- 1/03,/8+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZghw- N]Z hiVcYVgY hiViZh i]Vi Vc Zci^in h]djaY gZXd\c^oZ
 gZkZcjZ id YZe^Xi i]Z igVch[Zg d[ egdb^hZY \ddYh dg hZgk^XZh id XjhidbZgh ^c Vc Vbdjci i]Vi gZ[aZXih i]Z Xdch^YZgVi^dc id l]^X] i]Z Zci^in ZmeZXih
 id WZ Zci^iaZY ^c ZmX]Vc\Z [dg i]dhZ \ddYh dg hZgk^XZh- Nd VX]^ZkZ i]^h+ Vc Zci^in l^aa cZZY id ^YZci^[n i]Z XdcigVXi l^i] V XjhidbZg: ^YZci^[n i]Z
 hZeVgViZ eZg[dgbVcXZ dWa^\Vi^dch ^c i]Z XdcigVXi: YZiZgb^cZ i]Z igVchVXi^dc eg^XZ: VaadXViZ i]Z igVchVXi^dc eg^XZ id i]Z hZeVgViZ eZg[dgbVcXZ
 dWa^\Vi^dch ^c i]Z XdcigVXi: VcY gZXd\c^oZ gZkZcjZ l]Zc 'dg Vh( i]Z Zci^in hVi^h[^Zh ZVX] eZg[dgbVcXZ dWa^\Vi^dc- Cc ;j\jhi 1/04+ i]Z @;M< ^hhjZY
 ;MO Hd- 1/04,03+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh9 >Z[ZggVa d[ i]Z ?[[ZXi^kZ >ViZw+ l]^X] YZ[ZggZY i]Z Z[[ZXi^kZ YViZ d[ ;MO Hd- 1/03,/8-
 ;MO Hd- 1/03,/8 l^aa cdl WZ Z[[ZXi^kZ [dg jh WZ\^cc^c\ DVcjVgn 0+ 1/07 VcY XVc WZ VYdeiZY dc V [jaa gZigdheZXi^kZ WVh^h dg dc V bdY^[^ZY
 gZigdheZXi^kZ WVh^h- Cc GVgX] 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,/7+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 Jg^cX^eVa kZghjh
 ;\Zci =dch^YZgVi^dchw+ l]^X] XaVg^[^Zh i]Z ^beaZbZciVi^dc \j^YVcXZ dc eg^cX^eVa kZghjh V\Zci Xdch^YZgVi^dch- Cc ;eg^a 1/05+ i]Z @;M< ^hhjZY ;MO
 Hd- 1/05,0/+ vLZkZcjZ [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 CYZci^[n^c\ JZg[dgbVcXZ IWa^\Vi^dch VcY F^XZch^c\w+ l]^X] XaVg^[^Zh XZgiV^c
 VheZXih d[ ^YZci^[n^c\ eZg[dgbVcXZ dWa^\Vi^dch VcY a^XZch^c\ ^beaZbZciVi^dc \j^YVcXZ- Cc GVn 1/05+ i]Z @;M< ^hhjZY ;MO Hd- 1/05,01+ vLZkZcjZ
 [gdb =dcigVXih l^i] =jhidbZgh 'Nde^X 5/5(9 HVggdl,MXdeZ CbegdkZbZcih VcY JgVXi^XVa ?meZY^Zcihw gZaViZY id Y^hXadhjgZh d[ gZbV^c^c\ eZg[dgbVcXZ
 dWa^\Vi^dch+ Vh lZaa Vh di]Zg VbZcYbZcih id \j^YVcXZ dc XdaaZXiVW^a^in+ cdc,XVh] Xdch^YZgVi^dc VcY i]Z egZhZciVi^dc d[ hVaZh VcY di]Zg h^b^aVg iVmZh
 XdaaZXiZY [gdb XjhidbZgh- JgZhZcian+ lZ eaVc id VYdei ;MO Hd- 1/03,/8 Vi ^ih Z[[ZXi^kZ YViZ+ ]dlZkZg lZ ]VkZ cdi nZi YZiZgb^cZY l]^X] igVch^i^dc
 bZi]dY lZ l^aa X]ddhZ- QZ ]VkZ hjWhiVci^Vaan XdbeaZiZY djg gZk^Zl d[ Zm^hi^c\ gZkZcjZ XdcigVXih VcY XjggZcian Yd cdi Vci^X^eViZ i]Vi i]Z
 ^beaZbZciVi^dc d[ ;MO Hd- 1/03,/8 l^aa ]VkZ V bViZg^Va ^beVXi dc djg gZhjaih d[ deZgVi^dch VcY [^cVcX^Va edh^i^dc- QZ VgZ Xdci^cj^c\ id gZk^Zl i]Z
 ^beVXi i]Vi i]Z cZl hiVcYVgY l^aa ]VkZ dc djg [^cVcX^Va hiViZbZci Y^hXadhjgZh-

                                                                           @,1/
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                                                           22231
 NVWaZ d[ =dciZcih
                                                           JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)



 3. Business Combination, Asset Acquisitions, Equity Method Investment and Disposition
 Celator Acquisition
 Ic GVn 16+ 1/05+ lZ ZciZgZY ^cid V YZ[^c^i^kZ bZg\Zg V\gZZbZci l^i] =ZaVidg ejghjVci id l]^X] lZ bVYZ V XVh] iZcYZg d[[Zg d[ #2/-14 eZg h]VgZ [dg
 Vaa d[ i]Z djihiVcY^c\ h]VgZh d[ =ZaVidgxh Xdbbdc hidX`- ;h d[ i]Z Zme^gVi^dc d[ i]Z d[[Zg eZg^dY dc Djan 01+ 1/05+ 25+405+062 h]VgZh+ l]^X]
 gZegZhZciZY Veegdm^bViZan 70$ d[ =ZaVidgxh i]Zc djihiVcY^c\ Xdbbdc hidX`+ lZgZ egdeZgan iZcYZgZY VcY cdi l^i]YgVlc ^c i]Z iZcYZg d[[Zg- N]Z
 XdcY^i^dc id i]Z iZcYZg d[[Zg i]Vi bdgZ i]Vc 4/$ d[ =ZaVidgxh djihiVcY^c\ Xdbbdc hidX` WZ kVa^Yan iZcYZgZY VcY cdi l^i]YgVlc eg^dg id i]Z
 Zme^gVi^dc d[ i]Z iZcYZg d[[Zg lVh hVi^h[^ZY- Cc VYY^i^dc+ cdi^XZh d[ \jVgVciZZY YZa^kZgn lZgZ YZa^kZgZY l^i] gZheZXi id 1+/05+126 VYY^i^dcVa h]VgZh+
 gZegZhZci^c\ Veegdm^bViZan 3$ d[ =ZaVidgxh djihiVcY^c\ Xdbbdc hidX` Vh d[ i]Z Zme^gVi^dc d[ i]Z iZcYZg d[[Zg- Ic Djan 01+ 1/05+ lZ XdbeaZiZY i]Z
 =ZaVidg ;Xfj^h^i^dc jcYZg i]Z iZgbh d[ i]Z bZg\Zg V\gZZbZci+ ejghjVci id l]^X] =ZaVidg WZXVbZ Vc ^cY^gZXi l]daan dlcZY hjWh^Y^Vgn d[ DVoo
 J]VgbVXZji^XVah eaX VcY ZVX] h]VgZ d[ =ZaVidg Xdbbdc hidX` i]Zc djihiVcY^c\ 'di]Zg i]Vc h]VgZh dlcZY Wn jh dg =ZaVidg( lVh XdckZgiZY ^cid i]Z
 g^\]i id gZXZ^kZ #2/-14+ i]Z hVbZ eg^XZ eZg h]VgZ d[[ZgZY ^c i]Z iZcYZg d[[Zg- N]Z V\\gZ\ViZ XVh] Xdch^YZgVi^dc [dg i]Z =ZaVidg ;Xfj^h^i^dc lVh #0-4
 W^aa^dc-
 Ic Djan 01+ 1/05+ lZ ZciZgZY ^cid i]Z VbZcYZY XgZY^i V\gZZbZci i]Vi egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc+ l]^X] gZeaVXZY djg eg^dg
 gZkdak^c\ XgZY^i [VX^a^in d[ #64/-/ b^aa^dc+ VcY V #64/-/ b^aa^dc iZgb adVc [VX^a^in+ d[ l]^X] #601-8 b^aa^dc gZbV^cZY djihiVcY^c\ Vh d[ >ZXZbWZg 20+
 1/05- JaZVhZ hZZ HdiZ 8 [dg [jgi]Zg ^c[dgbVi^dc gZ\VgY^c\ i]Z 1/04 XgZY^i V\gZZbZci VcY i]Z VbZcYZY XgZY^i V\gZZbZci- QZ jhZY i]Z egdXZZYh d[ #0-/
 W^aa^dc d[ adVch jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc-
 =ZaVidg lVh Vc dcXdad\n,[dXjhZY W^de]VgbVXZji^XVa XdbeVcn hZZ`^c\ id igVch[dgb i]Z hX^ZcXZ d[ XdbW^cVi^dc i]ZgVen
 VcY YZkZade egdYjXih id ^begdkZ eVi^Zci djiXdbZh ^c XVcXZg- N]Z =ZaVidg ;Xfj^h^i^dc WgdVYZcZY djg ]ZbVidad\n.dcXdad\n edgi[da^d l^i] i]Z
 VXfj^h^i^dc d[ ldgaYl^YZ YZkZadebZci VcY XdbbZgX^Va^oVi^dc g^\]ih id PnmZdh+ Vc ^ckZhi^\Vi^dcVa egdYjXi ^c YZkZadebZci Vh V igZVibZci [dg ]^\],
 g^h` VXjiZ bnZad^Y aZj`Zb^V- Cc VYY^i^dc+ i]Z =ZaVidg ;Xfj^h^i^dc egdk^YZY jh l^i] =ZaVidgxh egdeg^ZiVgn iZX]cdad\n eaVi[dgb+ =dbW^JaZm+ l]^X] ]Vh
 i]Z ediZci^Va id ZcVWaZ i]Z gVi^dcVa YZh^\c VcY gVe^Y ZkVajVi^dc d[ dei^b^oZY XdbW^cVi^dch d[ VYY^i^dcVa Vci^,XVcXZg Ygj\h-
 N]Z =ZaVidg ;Xfj^h^i^dc lVh VXXdjciZY [dg Vh V Wjh^cZhh XdbW^cVi^dc jh^c\ i]Z VXfj^h^i^dc bZi]dY jcYZg l]^X] VhhZih VcY a^VW^a^i^Zh d[ =ZaVidg
 lZgZ gZXdgYZY Vi i]Z^g gZheZXi^kZ Zhi^bViZY [V^g kVajZh Vh d[ i]Z Xadh^c\ YViZ d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY VYYZY id i]Z VhhZih VcY a^VW^a^i^Zh d[ DVoo
 J]VgbVXZji^XVah eaX+ ^cXajY^c\ Vc Vbdjci [dg \ddYl^aa gZegZhZci^c\ i]Z Y^[[ZgZcXZ WZilZZc i]Z VXfj^h^i^dc Xdch^YZgVi^dc VcY i]Z Zhi^bViZY [V^g
 kVajZ d[ i]Z ^YZci^[^VWaZ cZi VhhZih- N]Z gZhjaih d[ deZgVi^dch d[ =ZaVidg VcY i]Z Zhi^bViZY [V^g kVajZh d[ i]Z VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY
 ]VkZ WZZc ^cXajYZY ^c djg Xdchda^YViZY [^cVcX^Va hiViZbZcih h^cXZ i]Z Xadh^c\ YViZ d[ i]Z =ZaVidg ;Xfj^h^i^dc-
 Cc 1/05+ lZ ^cXjggZY #0/-/ b^aa^dc ^c VXfj^h^i^dc,gZaViZY Xdhih gZaViZY id i]Z =ZaVidg ;Xfj^h^i^dc+ l]^X] eg^bVg^an Xdch^hiZY d[ WVc`^c\+ aZ\Va+
 VXXdjci^c\ VcY kVajVi^dc,gZaViZY ZmeZchZh- N]ZhZ ZmeZchZh lZgZ gZXdgYZY ^c hZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZ ^c i]Z VXXdbeVcn^c\
 Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- QZ Y^Y cdi gZXd\c^oZ Vcn gZkZcjZh [gdb i]Z VXfj^gZY =ZaVidg Wjh^cZhh ^c 1/05- N]Z edgi^dc d[ idiVa ZmeZchZh
 VcY cZi adhh VhhdX^ViZY l^i] i]Z VXfj^gZY =ZaVidg Wjh^cZhh lVh cdi hZeVgViZan ^YZci^[^VWaZ YjZ id i]Z ^ciZ\gVi^dc l^i] djg deZgVi^dch-

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 NVWaZ d[ =dciZcih
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                                            NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 N]Z egZa^b^cVgn [V^g kVajZh d[ VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY Vi i]Z Xadh^c\ YViZ d[ i]Z =ZaVidg ;Xfj^h^i^dc VgZ hjbbVg^oZY WZadl '^c
 i]djhVcYh(9

 =Vh] VcY XVh] Zfj^kVaZcih                                                                                                         #              15+026
 Ii]Zg gZXZ^kVWaZh                                                                                                                                  275
 JgZeV^Y ZmeZchZh VcY YZedh^ih                                                                                                                      040
 JgdeZgin VcY Zfj^ebZci                                                                                                                             656
 CciVc\^WaZ VhhZih                                                                                                                           0+700+14/
 AddYl^aa                                                                                                                                      141+714
 Ii]Zg cdc,XjggZci VhhZih                                                                                                                            32
 ;XXgjZY a^VW^a^i^Zh                                                                                                                           '08+/65(
 >Z[ZggZY iVm a^VW^a^in+ cZi+ cdc,XjggZci                                                                                                     '431+8/0(
 Ii]Zg cdc,XjggZci a^VW^a^i^Zh                                                                                                                    '0+//1(
 NdiVa VXfj^h^i^dc Xdch^YZgVi^dc , XVh] eV^Y                                                                                       #         0+417+47/

 N]Z [V^g kVajZ Zhi^bViZh [dg i]Z VhhZih VXfj^gZY VcY a^VW^a^i^Zh VhhjbZY lZgZ WVhZY jedc egZa^b^cVgn XVaXjaVi^dch+ VcY djg Zhi^bViZh VcY
 Vhhjbei^dch VgZ hjW_ZXi id X]Vc\Z Vh lZ dWiV^c VYY^i^dcVa ^c[dgbVi^dc [dg djg Zhi^bViZh Yjg^c\ i]Z bZVhjgZbZci eZg^dY 'je id dcZ nZVg [gdb i]Z
 VXfj^h^i^dc YViZ(- N]Z VgZVh d[ i]ZhZ egZa^b^cVgn Zhi^bViZh i]Vi VgZ cdi nZi [^cVa^oZY gZaViZ eg^bVg^an id iVm,gZaViZY ^iZbh- >jg^c\ i]Z i]gZZ bdci]h
 ZcYZY >ZXZbWZg 20+ 1/05+ lZ gZXdgYZY V bZVhjgZbZci eZg^dY VY_jhibZci l]^X] gZYjXZY YZ[ZggZY iVm a^VW^a^in+ cZi+ cdc,XjggZci+ ^ciVc\^WaZ VhhZih VcY
 \ddYl^aa Wn #11-6 b^aa^dc+ #02-7 b^aa^dc VcY #8-/ b^aa^dc+ gZheZXi^kZan- N]Z bZVhjgZbZci eZg^dY VY_jhibZci eg^bVg^an gZaViZY id i]Z gZ[^cZbZci d[ i]Z
 Zhi^bViZY hiViZ iVm gViZ [dg =ZaVidg-
 CYZci^[^VWaZ ^ciVc\^WaZ VhhZih VXfj^gZY Xdbeg^hZ CJL%>+ l]^X] gZegZhZcih ^cXdbeaZiZ gZhZVgX] VcY YZkZadebZci egd_ZXih Vi =ZaVidg gZaViZY id
 PnmZdh- GVcV\ZbZci Zhi^bViZY i]Z [V^g kVajZ d[ PnmZdh CJL%> id WZ Veegdm^bViZan #0-7 W^aa^dc- N]Z [V^g kVajZ d[ VXfj^gZY CJL%> lVh YZiZgb^cZY
 jh^c\ i]Z ^cXdbZ VeegdVX]+ ^cXajY^c\ i]Z Veea^XVi^dc d[ egdWVW^a^in [VXidgh gZaViZY id i]Z a^`Za^]ddY d[ hjXXZhh d[ PnmZdh gZVX]^c\ [^cVa
 YZkZadebZci VcY XdbbZgX^Va^oVi^dc- N]^h VeegdVX] Vahd idd` ^cid Xdch^YZgVi^dc ^c[dgbVi^dc VcY XZgiV^c egd\gVb,gZaViZY YdXjbZcih VcY [dgZXVhih
 egZeVgZY Wn bVcV\ZbZci- N]Z [V^g kVajZ d[ VXfj^gZY CJL%> lVh XVe^iVa^oZY Vh d[ i]Z Xadh^c\ YViZ d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY ^h hjWhZfjZcian
 VXXdjciZY [dg Vh Vc ^cYZ[^c^iZ,a^kZY ^ciVc\^WaZ VhhZi jci^a XdbeaZi^dc dg VWVcYdcbZci d[ i]Z VhhdX^ViZY gZhZVgX] VcY YZkZadebZci Z[[dgih-
 ;XXdgY^c\an+ Yjg^c\ i]Z YZkZadebZci eZg^dY V[iZg i]Z Xadh^c\ YViZ d[ i]Z =ZaVidg ;Xfj^h^i^dc+ i]^h VhhZi l^aa cdi WZ Vbdgi^oZY ^cid ZVgc^c\h: ^chiZVY+
 i]^h VhhZi l^aa WZ hjW_ZXi id eZg^dY^X ^beV^gbZci iZhi^c\- Oedc hjXXZhh[ja XdbeaZi^dc d[ i]Z YZkZadebZci egdXZhh [dg Vc VXfj^gZY CJL%> egd_ZXi+
 YZiZgb^cVi^dc Vh id i]Z jhZ[ja a^[Z d[ i]Z VhhZi l^aa WZ bVYZ- N]Z VhhZi ldjaY i]Zc WZ Xdch^YZgZY V [^c^iZ,a^kZY ^ciVc\^WaZ VhhZi VcY Vbdgi^oVi^dc d[
 i]Z VhhZi ^cid ZVgc^c\h ldjaY WZ\^c dkZg i]Z gZbV^c^c\ Zhi^bViZY jhZ[ja a^[Z d[ i]Z VhhZi-
 N]Z ZmXZhh d[ i]Z idiVa VXfj^h^i^dc Xdch^YZgVi^dc dkZg i]Z [V^g kVajZ Vbdjcih Vhh^\cZY id i]Z VhhZih VXfj^gZY VcY i]Z a^VW^a^i^Zh VhhjbZY gZegZhZcih
 i]Z \ddYl^aa Vbdjci gZhjai^c\ [gdb i]Z =ZaVidg ;Xfj^h^i^dc- QZ WZa^ZkZ i]Vi i]Z [VXidgh i]Vi Xdcig^WjiZY id \ddYl^aa ^cXajYZY i]Z =ZaVidg ldg`[dgXZ+
 l]^X] l^aa XdbeaZbZci djg Xa^c^XVa ZmeZg^ZcXZ ^c ]ZbVidad\n.dcXdad\n VcY djg ZmeZgi^hZ ^c gZVX]^c\ iVg\ZiZY e]nh^X^Vch l]d igZVi hZg^djh bZY^XVa
 XdcY^i^dch+ VcY i]Z YZ[ZggZY iVm XdchZfjZcXZh d[ ^ciVc\^WaZ VhhZih gZXdgYZY [dg [^cVcX^Va hiViZbZci ejgedhZh- QZ Yd cdi ZmeZXi Vcn edgi^dc d[ i]^h
 \ddYl^aa id WZ YZYjXi^WaZ [dg iVm ejgedhZh-
 Pro Forma Financial Information (Unaudited)
 N]Z [daadl^c\ jcVjY^iZY hjeeaZbZciVa egd [dgbV ^c[dgbVi^dc egZhZcih djg XdbW^cZY ]^hidg^XVa gZhjaih d[ deZgVi^dch l^i] egd [dgbV VY_jhibZcih Vh
 ^[ i]Z =ZaVidg ;Xfj^h^i^dc ]VY WZZc XdbeaZiZY dc DVcjVgn 0+ 1/04- N]Z eg^bVgn egd [dgbV VY_jhibZcih ^cXajYZ9
 s          N]Z ZmXajh^dc d[ VXfj^h^i^dc,gZaViZY VcY ^ciZ\gVi^dc ZmeZchZh d[ #02-5 b^aa^dc ^c 1/05 VcY i]Z ^cXajh^dc d[ i]ZhZ ZmeZchZh ^c 1/04-
 s          ;c ^cXgZVhZ ^c ^ciZgZhi ZmeZchZ d[ #02-6 b^aa^dc ^c 1/05 VcY #14-8 b^aa^dc ^c 1/04 ^cXjggZY dc VYY^i^dcVa Wdggdl^c\h bVYZ id eVgi^Vaan [jcY
            i]Z =ZaVidg ;Xfj^h^i^dc Vh ^[ i]Z Wdggdl^c\h ]VY dXXjggZY dc DVcjVgn 0+ 1/04-

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 NVWaZ d[ =dciZcih
                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 N]Z jcVjY^iZY egd [dgbV gZhjaih Yd cdi VhhjbZ Vcn deZgVi^c\ Z[[^X^ZcX^Zh Vh V gZhjai d[ i]Z Xdchda^YVi^dc d[ deZgVi^dch VcY VgZ Vh [daadlh '^c
 i]djhVcYh+ ZmXZei eZg h]VgZ YViV(9

                                                                                                                      Year Ended December 31,
                                                                                                                     2016                  2015
 LZkZcjZh                                                                                                   #          0+377+007   #          0+215+135
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX                                                        #            275+231   #            172+002
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , WVh^X                             #               5-28   #               3-51
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , Y^ajiZY                           #               5-13   #               3-38
 License and Option Agreement
 Cc Djan 1/05+ lZ ZciZgZY ^cid Vc V\gZZbZci l^i] J[ZcZm CcX-+ dg J[ZcZm+ jcYZg l]^X] J[ZcZm \gVciZY jh ldgaYl^YZ g^\]ih id YZkZade VcY
 XdbbZgX^Va^oZ bjai^eaZ ZVgan,hiV\Z ]ZbVidad\n egdYjXi XVcY^YViZh- N]Z V\gZZbZci Vahd ^cXajYZh Vc dei^dc [dg jh id cZ\di^ViZ V a^XZchZ [dg V
 gZXdbW^cVci eZ\VheVg\VhZ egdYjXi XVcY^YViZ l^i] J[ZcZm- OcYZg i]Z V\gZZbZci+ J[ZcZm gZXZ^kZY je[gdci+ dei^dc VcY YZkZadebZci b^aZhidcZ
 eVnbZcih idiVa^c\ #04-7 b^aa^dc VcY bVn WZ Za^\^WaZ id gZXZ^kZ VYY^i^dcVa eVnbZcih d[ je id #054 b^aa^dc WVhZY dc i]Z VX]^ZkZbZci d[ XZgiV^c
 YZkZadebZci+ gZ\jaVidgn VcY hVaZh b^aZhidcZh-
 Equity Method Investment
 Cc GVn 1/05+ lZ Xdbb^iiZY id ^ckZhi #14-/ b^aa^dc ^c ;gg^kd <^dkZcijgZh FF=+ dg ;gg^kd+ dkZg V [^kZ,nZVg eZg^dY- N]Z [^ghi ^chiVaabZci d[ #4-/ b^aa^dc
 lVh ^ckZhiZY ^c i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05- QZ VXXdjci [dg djg ^ckZhibZci ^c ;gg^kd jcYZg i]Z Zfj^in bZi]dY d[ VXXdjci^c\- Ijg Zfj^in
 bZi]dY ^ckZhibZci ^h ^cXajYZY l^i]^c di]Zg cdc,XjggZci VhhZih dc i]Z Xdchda^YViZY WVaVcXZ h]ZZi Vh d[ >ZXZbWZg 20+ 1/05- QZ gZXdgY djg h]VgZ d[
 adhhZh ^c djg Zfj^in bZi]dY ^ckZhibZci ^c i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ-
 Acquisition of Alizé Pharma II S.A.S.
 Cc GVgX] 1/05+ lZ VXfj^gZY Vaa d[ i]Z djihiVcY^c\ h]VgZh d[ ;a^op J]VgbV CC M-;-M-+ V eg^kViZan ]ZaY W^diZX]cdad\n XdbeVcn+ [dg Vc je[gdci eVnbZci
 d[ #7-7 b^aa^dc- Cc XdccZXi^dc l^i] i]Z VXfj^h^i^dc+ lZ dWiV^cZY ^ciZaaZXijVa egdeZgin VcY `cdl,]dl gZaViZY id gZXdbW^cVci Xg^hVciVheVhZ- N]Z
 igVchVXi^dc ^cXajYZh Xdci^c\Zci gZ\jaVidgn b^aZhidcZ eVnbZcih d[ je id y0/ b^aa^dc- N]Z igVchVXi^dc lVh VXXdjciZY [dg Vh Vc VhhZi VXfj^h^i^dc VcY
 i]Z je[gdci eVnbZci lVh X]Vg\ZY id VXfj^gZY CJL%> ZmeZchZ jedc Xadh^c\ d[ i]Z igVchVXi^dc-
 Disposition
 Cc GVgX] 1/04+ lZ hdaY XZgiV^c egdYjXih VcY i]Z gZaViZY Wjh^cZhh i]Vi lZ dg^\^cVaan VXfj^gZY Vh eVgi d[ djg DjcZ 1/01 VXfj^h^i^dc d[ ?OM; J]VgbV
 CcX-+ dg i]Z ?OM; ;Xfj^h^i^dc- N]Z ejgX]VhZ eg^XZ [dg i]Z egdYjXih VcY gZaViZY Wjh^cZhh lVh #23-/ b^aa^dc+ hjW_ZXi id egZ, VcY edhi,Xadh^c\
 ejgX]VhZ eg^XZ VY_jhibZcih- Cc 1/04+ lZ gZXd\c^oZY V adhh dc Y^hedhVa d[ #/-1 b^aa^dc l^i]^c hZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZh ^c djg
 Xdchda^YViZY hiViZbZcih d[ ^cXdbZ-
 N]Z gZaViZY VhhZih bZi i]Z VhhZih ]ZaY [dg hVaZ Xg^iZg^V VcY lZgZ gZXaVhh^[^ZY id VhhZih ]ZaY [dg hVaZ Vh d[ >ZXZbWZg 20+ 1/03- AddYl^aa lVh VaadXViZY
 id i]ZhZ VhhZih jh^c\ i]Z gZaVi^kZ [V^g kVajZ bZi]dY- QZ ]VkZ YZiZgb^cZY i]Vi i]Z Y^hedh^i^dc d[ i]ZhZ VhhZih Y^Y cdi fjVa^[n [dg gZedgi^c\ Vh V
 Y^hXdci^cjZY deZgVi^dc+ WZXVjhZ i]Z hVaZ Y^Y cdi gZegZhZci V higViZ\^X h]^[i i]Vi ]VY dg l^aa ]VkZ V bV_dg Z[[ZXi dc djg deZgVi^dch VcY [^cVcX^Va
 gZhjaih-



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                                                            JAZZ PHARMACEUTICALS PLC
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 4. Fair Value Measurement
 =Vh] VcY XVh] Zfj^kVaZcih VcY ^ckZhibZcih Xdch^hiZY d[ i]Z [daadl^c\ '^c i]djhVcYh(9

                                                                                         December 31, 2016
                                                              Gross                   Gross
                                        Amortized           Unrealized              Unrealized           Estimated          Cash and Cash
                                          Cost                Gains                  Losses              Fair Value          Equivalents            Investments
 =Vh]                               #        104+852    #                ,    #                  ,   #        104+852   #            104+852    #                 ,
 N^bZ YZedh^ih                               10/+///                     ,                       ,            10/+///                04/+///                5/+///
 NdiVah                             #        314+852    #                ,    #                  ,   #        314+852   #            254+852    #           5/+///


                                                                                         December 31, 2015
                                                              Gross                   Gross                                   Cash and
                                        Amortized           Unrealized              Unrealized           Estimated             Ca sh
                                          Cost                Gains                  Losses              Fair Value          Equivalents            Investments
 =Vh]                               #        163+834    #                ,    #                  ,   #        163+834   #            163+834    #                 ,
 N^bZ YZedh^ih                               602+73/                     ,                       ,            602+73/                602+73/                      ,
 NdiVah                             #        877+674    #                ,    #                  ,   #        877+674   #            877+674    #                 ,

 =Vh] Zfj^kVaZcih VcY ^ckZhibZcih VgZ Xdch^YZgZY VkV^aVWaZ,[dg,hVaZ hZXjg^i^Zh- QZ jhZ i]Z heZX^[^X,^YZci^[^XVi^dc bZi]dY [dg XVaXjaVi^c\ gZVa^oZY
 \V^ch VcY adhhZh dc hZXjg^i^Zh hdaY VcY ^cXajYZ i]Zb ^c ^ciZgZhi ZmeZchZ+ cZi ^c i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- Ijg ^ckZhibZcih WVaVcXZ
 gZegZhZcih i^bZ YZedh^ih l^i] dg^\^cVa bVijg^i^Zh d[ \gZViZg i]Vc i]gZZ bdci]h-
 N]Z [daadl^c\ iVWaZ hjbbVg^oZh+ Wn bV_dg hZXjg^in ineZ+ djg VkV^aVWaZ,[dg,hVaZ hZXjg^i^Zh i]Vi lZgZ bZVhjgZY Vi [V^g kVajZ dc V gZXjgg^c\ WVh^h VcY
 lZgZ XViZ\dg^oZY jh^c\ i]Z [V^g kVajZ ]^ZgVgX]n '^c i]djhVcYh(9

                                                                                         December 31, 2016                           December 31, 2015
                                                                                  Significant                                Significant
                                                                                    Other                                      Other
                                                                                  Observable               Total             Observable                Total
                                                                                    Inputs               Estimated             Inputs               Estimated
                                                                                   (Level 2)             Fair Value           (Level 2)             Fair Value
 N^bZ YZedh^ih                                                               #          10/+///      #        10/+///   #            602+73/    #        602+73/

 ;h d[ >ZXZbWZg 20+ 1/05+ djg VkV^aVWaZ,[dg,hVaZ hZXjg^i^Zh ^cXajYZY i^bZ YZedh^ih l]^X] lZgZ bZVhjgZY Vi [V^g kVajZ jh^c\ FZkZa 1 ^cejih VcY i]Z^g
 XVggn^c\ kVajZh lZgZ Veegdm^bViZan ZfjVa id i]Z^g [V^g kVajZh- FZkZa 1 ^cejih+ dWiV^cZY [gdb kVg^djh i]^gY eVgin YViV egdk^YZgh+ gZegZhZci fjdiZY
 eg^XZh [dg h^b^aVg VhhZih ^c VXi^kZ bVg`Zih+ dg i]ZhZ ^cejih lZgZ YZg^kZY [gdb dWhZgkVWaZ bVg`Zi YViV+ dg ^[ cdi Y^gZXian dWhZgkVWaZ+ lZgZ YZg^kZY [gdb
 dg XdggdWdgViZY Wn di]Zg dWhZgkVWaZ bVg`Zi YViV-
 N]ZgZ lZgZ cd igVch[Zgh WZilZZc i]Z Y^[[ZgZci aZkZah d[ i]Z [V^g kVajZ ]^ZgVgX]n ^c 1/05 dg ^c 1/04-
 ;h d[ >ZXZbWZg 20+ 1/05+ i]Z Zhi^bViZY [V^g kVajZ d[ djg 1/10 HdiZh+ l]^X] ]VY V XVggn^c\ kVajZ d[ #362-8 b^aa^dc+ lVh Veegdm^bViZan #442 b^aa^dc-
 N]Z [V^g kVajZ d[ i]Z 1/10 HdiZh lVh Zhi^bViZY jh^c\ fjdiZY bVg`Zi eg^XZh dWiV^cZY [gdb Wgd`Zgh 'FZkZa 1(- N]Z Zhi^bViZY [V^g kVajZ d[ djg
 Wdggdl^c\h jcYZg djg iZgb adVc VcY gZkdak^c\ XgZY^i [VX^a^i^Zh lZgZ Veegdm^bViZan ZfjVa id i]Z^g gZheZXi^kZ Wdd` kVajZh WVhZY dc i]Z Wdggdl^c\
 gViZh XjggZcian VkV^aVWaZ [dg kVg^VWaZ gViZ adVch 'FZkZa 1(-

 5. Inventories
 CckZcidg^Zh Xdch^hiZY d[ i]Z [daadl^c\ '^c i]djhVcYh(9

                                                                                                                                    December 31,
                                                                                                                            2016                     2015
 LVl bViZg^Vah                                                                                                    #                 0+436   #                1+5/7
 Qdg` ^c egdXZhh                                                                                                                   07+578                   00+725
 @^c^h]ZY \ddYh                                                                                                                    02+704                    4+//6
 NdiVa ^ckZcidg^Zh                                                                                                #                23+/40   #               08+340



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 NVWaZ d[ =dciZcih
                                                           JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 6. Property and Equipment
 JgdeZgin VcY Zfj^ebZci Xdch^hiZY d[ i]Z [daadl^c\ '^c i]djhVcYh(9

                                                                                                                                   December 31,
                                                                                                                        2016                         2015
 FVcY VcY Wj^aY^c\h                                                                                          #                 35+/22        #               0+664
 =dchigjXi^dc,^c,egd\gZhh                                                                                                      22+316                       52+//7
 GVcj[VXijg^c\ Zfj^ebZci VcY bVX]^cZgn                                                                                         08+485                        4+717
 =dbejiZg hd[ilVgZ                                                                                                             06+721                       04+686
 =dbejiZg Zfj^ebZci                                                                                                            0/+87/                       0/+852
 FZVhZ]daY ^begdkZbZcih                                                                                                            8+217                     8+2/0
 @jgc^ijgZ VcY [^mijgZh                                                                                                            1+325                     1+47/
 MjWidiVa                                                                                                                   028+521                     0/8+141
 FZhh VXXjbjaViZY YZegZX^Vi^dc VcY Vbdgi^oVi^dc                                                                             '21+031(                     '12+57/(
 JgdeZgin VcY Zfj^ebZci+ cZi                                                                                 #              0/6+38/          #              74+461

 N]Z YZXgZVhZ ^c XdchigjXi^dc,^c,egd\gZhh+ dg =CJ+ [gdb >ZXZbWZg 20+ 1/04 id >ZXZbWZg 20+ 1/05 ^h eg^bVg^an YjZ id i]Z gZXaVhh^[^XVi^dc d[ Wj^aY^c\
 VcY Zfj^ebZci Xdhih gZaViZY id djg CgZaVcY bVcj[VXijg^c\ VcY YZkZadebZci [VX^a^in [gdb =CJ id i]Z Veegdeg^ViZ egdeZgin VcY Zfj^ebZci XViZ\dgn dc
 i]Z WVaVcXZ h]ZZi [daadl^c\ @>; VeegdkVa d[ i]Z [VX^a^in ^c DjcZ 1/05-

 7. Goodwill and Intangible Assets
 N]Z \gdhh XVggn^c\ Vbdjci d[ \ddYl^aa lVh Vh [daadlh '^c i]djhVcYh(9

 <VaVcXZ Vi >ZXZbWZg 20+ 1/04                                                                                                                #          546+028
 AddYl^aa Vg^h^c\ [gdb i]Z =ZaVidg ;Xfj^h^i^dc                                                                                                          141+714
 @dgZ^\c ZmX]Vc\Z                                                                                                                                        '05+043(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/05                                                                                                                #          782+70/

 N]Z \gdhh XVggn^c\ Vbdjcih VcY cZi Wdd` kVajZh d[ djg ^ciVc\^WaZ VhhZih lZgZ Vh [daadlh '^c i]djhVcYh(9

                                                            December 31, 2016                                              December 31, 2015
                                      Remaining
                                       Weighted-
                                     Average Useful        Gross                                              Gross
                                          Life            Carrying     Accumulated        Net Book           Carrying          Accumulated           Net Book
                                       (In years)         Amount       Amortization        Value             Amount            Amortization           Value
 ;Xfj^gZY YZkZadeZY
 iZX]cdad\^Zh                             00-2        #    0+366+507   #    '30/+412( #    0+/56+/84     #    0+210+213        #      '213+/33( #       886+17/
 GVcj[VXijg^c\ XdcigVXih                  0-0                 00+167            '7+181(        1+875              00+586                   '4+565(           5+/10
 NgVYZbVg`h                                ,                  1+761             '1+761(              ,             1+771                   '1+771(               ,
 NdiVa [^c^iZ,a^kZY ^ciVc\^WaZ
 VhhZih                                                    0+380+657        '310+576(      0+/6/+/70          0+224+8/2               '221+5/1(        0+//2+2/0
 ;Xfj^gZY CJL%> VhhZih                                     0+830+81/                 ,     0+830+81/             071+2/4                         ,      071+2/4
 NdiVa ^ciVc\^WaZ VhhZih                              #    2+322+577   #    '310+576( #    2+/01+//0     #    0+407+1/7        #      '221+5/1( #      0+074+5/5

 N]Z ^cXgZVhZ ^c i]Z \gdhh XVggn^c\ Vbdjci d[ ^ciVc\^WaZ VhhZih Vh d[ >ZXZbWZg 20+ 1/05 XdbeVgZY id >ZXZbWZg 20+ 1/04 gZ[aZXih i]Z VXfj^h^i^dc d[
 i]Z PnmZdh CJL%> VhhZi ^c i]Z =ZaVidg ;Xfj^h^i^dc+ Vh YZhXg^WZY ^c HdiZ 2+ VcY i]Z XVe^iVa^oVi^dc d[ V #04/-/ b^aa^dc b^aZhidcZ eVnbZci id M^\bV,
 NVj J]VgbVXZji^XVah CcX- i]Vi lVh ig^\\ZgZY Wn i]Z @>; VeegdkVa d[ >Z[^iZa^d dc GVgX] 2/+ 1/05+ eVgi^Vaan d[[hZi Wn i]Z cZ\Vi^kZ ^beVXi d[ [dgZ^\c
 XjggZcXn igVchaVi^dc VY_jhibZcih YjZ id i]Z higZc\i]Zc^c\ d[ i]Z O-M- YdaaVg V\V^chi i]Z Zjgd- ;YY^i^dcVaan+ V[iZg gZXZ^k^c\ @>; VeegdkVa d[
 >Z[^iZa^d+ lZ gZXaVhh^[^ZY #37-3 b^aa^dc d[ VXfj^gZY CJL%> [gdb Vc ^cYZ[^c^iZ,a^kZY ^ciVc\^WaZ VhhZi id Vc VXfj^gZY YZkZadeZY iZX]cdad\n [^c^iZ,a^kZY
 ^ciVc\^WaZ VhhZi- N]Z >Z[^iZa^d VXfj^gZY YZkZadeZY iZX]cdad\n VhhZi l^aa WZ Vbdgi^oZY dkZg ^ih Zhi^bViZY jhZ[ja a^[Z d[ 03 nZVgh-

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                                                           JAZZ PHARMACEUTICALS PLC
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 N]Z Vhhjbei^dch VcY Zhi^bViZh jhZY id YZiZgb^cZ [jijgZ XVh] [adlh VcY gZbV^c^c\ jhZ[ja a^kZh d[ djg ^ciVc\^WaZ VcY di]Zg adc\,a^kZY VhhZih VgZ
 XdbeaZm VcY hjW_ZXi^kZ- N]Zn XVc WZ V[[ZXiZY Wn kVg^djh [VXidgh+ ^cXajY^c\ ZmiZgcVa [VXidgh+ hjX] Vh ^cYjhign VcY ZXdcdb^X igZcYh+ VcY ^ciZgcVa
 [VXidgh hjX] Vh X]Vc\Zh ^c djg Wjh^cZhh higViZ\n VcY djg [dgZXVhih [dg heZX^[^X egdYjXi a^cZh-
 ;h V gZhjai d[ djg YZX^h^dc id iZgb^cViZ V e^kdiVa J]VhZ 1 Xa^c^XVa ig^Va d[ DTJ,305+ lZ gZXd\c^oZY Vc ^beV^gbZci X]Vg\Z d[ #20-4 b^aa^dc id djg
 VXfj^gZY CJL%> VhhZi ^c i]Z [djgi] fjVgiZg d[ 1/04-
 <VhZY dc [^c^iZ,a^kZY ^ciVc\^WaZ VhhZih gZXdgYZY Vh d[ >ZXZbWZg 20+ 1/05+ VcY Vhhjb^c\ i]Z jcYZgan^c\ VhhZih l^aa cdi WZ ^beV^gZY VcY i]Vi lZ l^aa
 cdi X]Vc\Z i]Z ZmeZXiZY a^kZh d[ i]Z VhhZih+ [jijgZ Vbdgi^oVi^dc ZmeZchZh lZgZ Zhi^bViZY Vh [daadlh '^c i]djhVcYh(9

                                                                                                                                           Estimated
                                                                                                                                          Amortization
 Year Ending December 31,                                                                                                                   Expense
 1/06                                                                                                                                 #             0/1+/73
 1/07                                                                                                                                                88+268
 1/08                                                                                                                                                88+058
 1/1/                                                                                                                                                87+/30
 1/10                                                                                                                                                86+007
 N]ZgZV[iZg                                                                                                                                         463+18/
 NdiVa                                                                                                                                #         0+/6/+/70


 8. Accrued Liabilities
 ;XXgjZY a^VW^a^i^Zh Xdch^hiZY d[ i]Z [daadl^c\ '^c i]djhVcYh(9

                                                                                                                              December 31,
                                                                                                                      2016                   2015
 LZWViZh VcY di]Zg hVaZh YZYjXi^dch                                                                          #               61+233   #              56+343
 ?beadnZZ XdbeZchVi^dc VcY WZcZ[^ih                                                                                          32+252                  24+484
 LdnVai^Zh                                                                                                                   00+532                   3+100
 ;XXgjZY XdcigVXi iZgb^cVi^dc [ZZh                                                                                           00+501                       ,
 =a^c^XVa ig^Va VXXgjVah                                                                                                     0/+028                   0+5/0
 ;XXgjZY ^ciZgZhi                                                                                                             4+068                   3+/32
 Jgd[Zhh^dcVa [ZZh                                                                                                            3+485                   2+/27
 MVaZh gZijgch gZhZgkZ                                                                                                        3+255                   5+00/
 CckZcidgn,gZaViZY VXXgjVah                                                                                                   2+24/                   0+/06
 ;XXgjZY XdchigjXi^dc,^c,egd\gZhh                                                                                             0+486                   0+526
 =dcigVXi XaV^b hZiiaZbZci                                                                                                        ,                  07+///
 Ii]Zg                                                                                                                       14+/68                  10+253
 NdiVa VXXgjZY a^VW^a^i^Zh                                                                                   #            082+157     #             053+/6/



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                                                          JAZZ PHARMACEUTICALS PLC
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 9. Debt
 N]Z [daadl^c\ iVWaZ hjbbVg^oZh i]Z XVggn^c\ Vbdjci d[ djg ^cYZWiZYcZhh '^c i]djhVcYh(9

                                                                                                                            December 31,
                                                                                                                    2016                   2015
 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10                                                                  #           464+///     #          464+///
 OcVbdgi^oZY Y^hXdjci dc 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10                                                     '0/0+/83(              '008+356(
 0-764$ ZmX]Vc\ZVWaZ hZc^dg cdiZh YjZ 1/10+ cZi                                                                         362+8/5                344+422
 <dggdl^c\h jcYZg gZkdak^c\ XgZY^i [VX^a^in                                                                             74/+///                        ,
 NZgb adVc                                                                                                              6/4+608                621+287
 Ii]Zg Wdggdl^c\h                                                                                                               ,                   402
 NdiVa YZWi                                                                                                           1+/18+514              0+077+333
 FZhh XjggZci edgi^dc                                                                                                      25+/83                 26+476
 NdiVa adc\,iZgb YZWi                                                                                       #         0+882+420     #        0+04/+746

 Credit Agreement
 Ic DjcZ 07+ 1/04+ DVoo J]VgbVXZji^XVah eaX+ Vh \jVgVcidg+ VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh+ Vh WdggdlZgh+ ZciZgZY ^cid V XgZY^i
 V\gZZbZci+ l]^X] lZ gZ[Zg id ^c i]^h gZedgi Vh i]Z 1/04 XgZY^i V\gZZbZci+ i]Vi egdk^YZY [dg V #64/-/ b^aa^dc eg^cX^eVa Vbdjci iZgb adVc+ l]^X] lVh
 YgVlc ^c [jaa Vi Xadh^c\+ VcY V #64/-/ b^aa^dc gZkdak^c\ XgZY^i [VX^a^in+ d[ l]^X] #05/-/ b^aa^dc lVh YgVlc Vi Xadh^c\ VcY hjWhZfjZcian gZeV^Y- QZ jhZY
 i]Z egdXZZYh [gdb ^c^i^Va Wdggdl^c\h jcYZg i]Z 1/04 XgZY^i V\gZZbZci id gZeVn ^c [jaa i]Z #782-0 b^aa^dc eg^cX^eVa Vbdjci d[ iZgb adVch djihiVcY^c\
 jcYZg i]Z XgZY^i V\gZZbZci i]Vi lZ ZciZgZY ^cid ^c DjcZ 1/01+ Vh hjWhZfjZcian VbZcYZY+ l]^X] lZ gZ[Zg id Vh i]Z egZk^djh XgZY^i V\gZZbZci+ VcY id
 eVn gZaViZY [ZZh VcY ZmeZchZh- N]Z egZk^djh XgZY^i V\gZZbZci lVh iZgb^cViZY jedc gZeVnbZci d[ i]Z iZgb adVch djihiVcY^c\ i]ZgZjcYZg-

 Ic Djan 01+ 1/05+ DVoo J]VgbVXZji^XVah eaX+ Vh \jVgVcidg+ VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh+ Vh WdggdlZgh+ ZciZgZY ^cid i]Z VbZcYZY
 XgZY^i V\gZZbZci- N]Z VbZcYZY XgZY^i V\gZZbZci egdk^YZh [dg V gZkdak^c\ XgZY^i [VX^a^in d[ #0-14 W^aa^dc+ l]^X] gZeaVXZh i]Z gZkdak^c\ XgZY^i [VX^a^in
 d[ #64/-/ b^aa^dc egdk^YZY [dg jcYZg i]Z 1/04 XgZY^i V\gZZbZci+ d[ l]^X] #74/-/ b^aa^dc lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05+ VcY V #64/-/ b^aa^dc
 iZgb adVc [VX^a^in+ d[ l]^X] #601-8 b^aa^dc eg^cX^eVa Vbdjci lVh djihiVcY^c\ Vh d[ >ZXZbWZg 20+ 1/05- QZ jhZY i]Z egdXZZYh d[ #0-/ W^aa^dc d[ adVch
 jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ id\Zi]Zg l^i] XVh] dc ]VcY+ id [jcY i]Z =ZaVidg ;Xfj^h^i^dc VcY ZmeZXi id jhZ i]Z egdXZZYh [gdb [jijgZ adVch
 jcYZg i]Z gZkdak^c\ XgZY^i [VX^a^in+ ^[ Vcn+ [dg \ZcZgVa XdgedgViZ ejgedhZh+ ^cXajY^c\ XdgedgViZ YZkZadebZci VXi^k^i^Zh- JaZVhZ hZZ HdiZ 2 [dg
 VYY^i^dcVa ^c[dgbVi^dc gZ\VgY^c\ i]Z =ZaVidg ;Xfj^h^i^dc-
 OcYZg i]Z VbZcYZY XgZY^i V\gZZbZci+ i]Z iZgb adVc bVijgZh dc Djan 01+ 1/10 VcY i]Z gZkdak^c\ XgZY^i [VX^a^in iZgb^cViZh+ VcY Vcn adVch djihiVcY^c\
 i]ZgZjcYZg WZXdbZ YjZ VcY eVnVWaZ+ dc Djan 01+ 1/10-
 <dggdl^c\h jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci WZVg ^ciZgZhi+ Vi djg dei^dc+ Vi V gViZ ZfjVa id Z^i]Zg 'V( i]Z FC<IL gViZ+ eajh Vc Veea^XVWaZ bVg\^c
 gVc\^c\ [gdb 0-4/$ id 1-14$ eZg Vccjb+ WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d+ dg 'W( i]Z eg^bZ aZcY^c\ gViZ+ eajh Vc Veea^XVWaZ bVg\^c gVc\^c\
 [gdb /-4/$ id 0-14$ eZg Vccjb+ WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d- N]Z gZkdak^c\ XgZY^i [VX^a^in ]Vh V Xdbb^ibZci [ZZ eVnVWaZ dc i]Z jcYgVlc
 Vbdjci gVc\^c\ [gdb /-14$ id /-24$ eZg Vccjb WVhZY jedc djg hZXjgZY aZkZgV\Z gVi^d-
 ;h d[ >ZXZbWZg 20+ 1/05+ i]Z ^ciZgZhi gViZ dc i]Z iZgb adVc lVh 1-66$ VcY i]Z Z[[ZXi^kZ ^ciZgZhi gViZ lVh 2-/$- ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY
 jcYgVlc gZkdak^c\ XgZY^i [VX^a^i^Zh idiVa^c\ #3//-/ b^aa^dc d[ l]^X] #/-4 b^aa^dc lVh Xdbb^iiZY [dg Vc djihiVcY^c\ aZiiZg d[ XgZY^i-
 DVoo J]VgbVXZji^XVah eaX VcY XZgiV^c d[ djg l]daan dlcZY hjWh^Y^Vg^Zh VgZ WdggdlZgh jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci- N]Z WdggdlZghx
 dWa^\Vi^dch jcYZg i]Z VbZcYZY XgZY^i V\gZZbZci VcY Vcn ]ZY\^c\ dg XVh] bVcV\ZbZci dWa^\Vi^dch ZciZgZY ^cid l^i] V aZcYZg VgZ \jVgVciZZY dc V
 hZc^dg hZXjgZY WVh^h Wn DVoo J]VgbVXZji^XVah eaX VcY XZgiV^c d[ djg hjWh^Y^Vg^Zh '^cXajY^c\ i]Z ^hhjZg d[ i]Z 1/10 HdiZh Vh YZhXg^WZY WZadl( VcY VgZ
 hZXjgZY Wn hjWhiVci^Vaan Vaa d[ DVoo J]VgbVXZji^XVah eaXxh+ i]Z WdggdlZghx VcY i]Z \jVgVcidg hjWh^Y^Vg^Zhx VhhZih-
 QZ bVn bV`Z kdajciVgn egZeVnbZcih d[ eg^cX^eVa Vi Vcn i^bZ l^i]dji eVnbZci d[ V egZb^jb- QZ VgZ gZfj^gZY id bV`Z bVcYVidgn egZeVnbZcih d[
 i]Z iZgb adVc 'l^i]dji eVnbZci d[ V egZb^jb( l^i] '0( cZi XVh] egdXZZYh [gdb XZgiV^c cdc,dgY^cVgn XdjghZ VhhZi hVaZh 'hjW_ZXi id gZ^ckZhibZci
 g^\]ih VcY di]Zg ZmXZei^dch(+ '1( cZi XVh] egdXZZYh [gdb ^hhjVcXZh d[ YZWi 'di]Zg i]Vc

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                                                          JAZZ PHARMACEUTICALS PLC
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 XZgiV^c eZgb^iiZY YZWi(+ VcY '2( XVhjVain egdXZZYh VcY XdcYZbcVi^dc VlVgYh 'hjW_ZXi id gZ^ckZhibZci g^\]ih VcY di]Zg ZmXZei^dch(-
 Jg^cX^eVa gZeVnbZcih d[ i]Z iZgb adVc+ l]^X] VgZ YjZ fjVgiZgan+ WZ\Vc ^c >ZXZbWZg 1/05 VcY VgZ ZfjVa id 4-/$ eZg Vccjb d[ i]Z eg^cX^eVa Vbdjci
 djihiVcY^c\ dc Djan 01+ 1/05 d[ #610-8 b^aa^dc Yjg^c\ i]Z [^ghi ild nZVgh+ 6-4$ eZg Vccjb Yjg^c\ i]Z i]^gY nZVg+ 0/-/$ eZg Vccjb Yjg^c\ i]Z [djgi]
 nZVg VcY 01-4$ eZg Vccjb Yjg^c\ i]Z [^[i] nZVg+ l^i] Vcn gZbV^c^c\ WVaVcXZ eVnVWaZ dc i]Z bVijg^in YViZ-
 N]Z VbZcYZY XgZY^i V\gZZbZci XdciV^ch [^cVcX^Va XdkZcVcih i]Vi gZfj^gZ DVoo J]VgbVXZji^XVah eaX VcY djg gZhig^XiZY hjWh^Y^Vg^Zh id cdi 'V( ZmXZZY V
 bVm^bjb hZXjgZY cZi aZkZgV\Z gVi^d dg 'W( [Vaa WZadl V XVh] ^ciZgZhi XdkZgV\Z gVi^d- QZ lZgZ+ Vh d[ >ZXZbWZg 20+ 1/05+ VcY VgZ XjggZcian+ ^c
 Xdbea^VcXZ l^i] i]ZhZ [^cVcX^Va XdkZcVcih-

 Cc XdccZXi^dc l^i] djg Zcign ^cid i]Z VbZcYZY XgZY^i V\gZZbZci+ lZ gZXdgYZY V adhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi d[ #/-5 b^aa^dc ^c
 1/05 eg^bVg^an gZaViZY id cZl i]^gY eVgin [ZZh VhhdX^ViZY l^i] bdY^[^ZY YZWi- Cc 1/04+ ^c XdccZXi^dc l^i] djg Zcign ^cid i]Z 1/04 XgZY^i V\gZZbZci VcY
 iZgb^cVi^dc d[ i]Z egZk^djh XgZY^i V\gZZbZci+ lZ gZXdgYZY V adhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi d[ #05-7 b^aa^dc+ l]^X] lVh Xdbeg^hZY
 d[ #05-/ b^aa^dc gZaViZY id i]Z ZmeZch^c\ d[ jcVbdgi^oZY YZ[ZggZY [^cVcX^c\ Xdhih VcY jcVbdgi^oZY dg^\^cVa ^hhjZ Y^hXdjci VhhdX^ViZY l^i]
 Zmi^c\j^h]ZY YZWi VcY #/-7 b^aa^dc gZaViZY id cZl i]^gY eVgin [ZZh VhhdX^ViZY l^i] bdY^[^ZY YZWi-
 Exchangeable Senior Notes
 Cc ;j\jhi 1/03+ lZ XdbeaZiZY V eg^kViZ eaVXZbZci d[ i]Z 1/10 HdiZh- CciZgZhi dc i]Z 1/10 HdiZh ^h eVnVWaZ hZb^,VccjVaan ^c XVh] ^c VggZVgh dc
 @ZWgjVgn 04 VcY ;j\jhi 04 d[ ZVX] nZVg+ WZ\^cc^c\ dc @ZWgjVgn 04+ 1/04+ Vi V gViZ d[ 0-764$ eZg nZVg- Cc XZgiV^c X^gXjbhiVcXZh+ lZ bVn WZ gZfj^gZY
 id eVn VYY^i^dcVa Vbdjcih Vh V gZhjai d[ Vcn Veea^XVWaZ iVm l^i]]daY^c\ dg YZYjXi^dch gZfj^gZY ^c gZheZXi d[ eVnbZcih dc i]Z 1/10 HdiZh- N]Z 1/10
 HdiZh bVijgZ dc ;j\jhi 04+ 1/10+ jcaZhh ZVga^Zg ZmX]Vc\ZY+ gZejgX]VhZY dg gZYZZbZY-
 N]Z ]daYZgh d[ i]Z 1/10 HdiZh ]VkZ i]Z VW^a^in id gZfj^gZ jh id gZejgX]VhZ Vaa dg V edgi^dc d[ i]Z^g 1/10 HdiZh [dg XVh] ^c i]Z ZkZci DVoo
 J]VgbVXZji^XVah eaX jcYZg\dZh XZgiV^c [jcYVbZciVa X]Vc\Zh- Jg^dg id ;j\jhi 04+ 1/10+ lZ bVn gZYZZb i]Z 1/10 HdiZh+ ^c l]daZ Wji cdi ^c eVgi+
 hjW_ZXi id Xdbea^VcXZ l^i] XZgiV^c XdcY^i^dch+ ^[ lZ ]VkZ+ dg dc i]Z cZmi ^ciZgZhi eVnbZci YViZ ldjaY+ WZXdbZ dWa^\ViZY id eVn id i]Z ]daYZg d[ Vcn
 1/10 HdiZ VYY^i^dcVa Vbdjcih Vh V gZhjai d[ XZgiV^c iVm,gZaViZY ZkZcih- QZ Vahd bVn gZYZZb i]Z 1/10 HdiZh dc dg V[iZg ;j\jhi 1/+ 1/07+ ^c l]daZ dg
 ^c eVgi+ ^[ i]Z aVhi gZedgiZY hVaZ eg^XZ eZg dgY^cVgn h]VgZ ]Vh WZZc Vi aZVhi 02/$ d[ i]Z ZmX]Vc\Z eg^XZ i]Zc ^c Z[[ZXi [dg Vi aZVhi 1/ igVY^c\ YVnh
 'l]Zi]Zg dg cdi XdchZXji^kZ( Yjg^c\ Vcn 2/ XdchZXji^kZ igVY^c\ YVn eZg^dY ZcY^c\ dc+ VcY ^cXajY^c\+ i]Z igVY^c\ YVn ^bbZY^ViZan egZXZY^c\ i]Z
 YViZ dc l]^X] lZ egdk^YZ i]Z cdi^XZ d[ gZYZbei^dc-
 N]Z 1/10 HdiZh VgZ ZmX]Vc\ZVWaZ Vi Vc ^c^i^Va ZmX]Vc\Z gViZ d[ 4-//46 dgY^cVgn h]VgZh eZg #0+/// eg^cX^eVa Vbdjci d[ 1/10 HdiZh+ l]^X] ^h Zfj^kVaZci
 id Vc ^c^i^Va ZmX]Vc\Z eg^XZ d[ Veegdm^bViZan #088-66 eZg dgY^cVgn h]VgZ- Oedc ZmX]Vc\Z+ i]Z 1/10 HdiZh bVn WZ hZiiaZY ^c XVh]+ dgY^cVgn h]VgZh dg V
 XdbW^cVi^dc d[ XVh] VcY dgY^cVgn h]VgZh+ Vi djg ZaZXi^dc- Ijg ^ciZci VcY eda^Xn ^h id hZiiaZ i]Z eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh ^c XVh] jedc
 ZmX]Vc\Z- N]Z ZmX]Vc\Z gViZ l^aa WZ hjW_ZXi id VY_jhibZci ^c hdbZ ZkZcih Wji l^aa cdi WZ VY_jhiZY [dg Vcn VXXgjZY VcY jceV^Y ^ciZgZhi- Cc VYY^i^dc+
 [daadl^c\ XZgiV^c bV`Z,l]daZ [jcYVbZciVa X]Vc\Zh dXXjgg^c\ eg^dg id i]Z bVijg^in YViZ d[ i]Z 1/10 HdiZh dg jedc djg ^hhjVcXZ d[ V cdi^XZ d[
 gZYZbei^dc+ lZ l^aa ^c XZgiV^c X^gXjbhiVcXZh ^cXgZVhZ i]Z ZmX]Vc\Z gViZ [dg ]daYZgh d[ i]Z 1/10 HdiZh l]d ZaZXi id ZmX]Vc\Z i]Z^g 1/10 HdiZh ^c
 XdccZXi^dc l^i] i]Vi bV`Z,l]daZ [jcYVbZciVa X]Vc\Z dg Yjg^c\ i]Z gZaViZY gZYZbei^dc eZg^dY- Jg^dg id @ZWgjVgn 04+ 1/10+ i]Z 1/10 HdiZh l^aa WZ
 ZmX]Vc\ZVWaZ dcan jedc hVi^h[VXi^dc d[ XZgiV^c XdcY^i^dch VcY Yjg^c\ XZgiV^c eZg^dYh+ VcY i]ZgZV[iZg+ Vi Vcn i^bZ jci^a i]Z XadhZ d[ Wjh^cZhh dc i]Z
 hZXdcY hX]ZYjaZY igVY^c\ YVn ^bbZY^ViZan egZXZY^c\ i]Z bVijg^in YViZ-
 N]Z 1/10 HdiZh lZgZ ^hhjZY Wn DVoo CckZhibZcih C F^b^iZY+ dg i]Z ChhjZg+ V 0//$,dlcZY [^cVcXZ hjWh^Y^Vgn d[ DVoo J]VgbVXZji^XVah eaX- N]Z ChhjZgxh
 dWa^\Vi^dch jcYZg i]Z 1/10 HdiZh VgZ [jaan VcY jcXdcY^i^dcVaan \jVgVciZZY dc V hZc^dg jchZXjgZY WVh^h Wn DVoo J]VgbVXZji^XVah eaX- Hd hjWh^Y^Vgn
 d[ DVoo J]VgbVXZji^XVah eaX \jVgVciZZY i]Z 1/10 HdiZh- MjW_ZXi id XZgiV^c adXVa aVl gZhig^Xi^dch dc eVnbZci d[ Y^k^YZcYh+ Vbdc\ di]Zg i]^c\h+ VcY
 ediZci^Va cZ\Vi^kZ iVm XdchZfjZcXZh+ lZ VgZ cdi VlVgZ d[ Vcn h^\c^[^XVci gZhig^Xi^dch dc i]Z VW^a^in d[ DVoo J]VgbVXZji^XVah eaX id dWiV^c [jcYh [gdb
 i]Z ChhjZg dg DVoo J]VgbVXZji^XVah eaXxh di]Zg hjWh^Y^Vg^Zh Wn Y^k^YZcY dg adVc+ dg Vcn aZ\Va dg ZXdcdb^X gZhig^Xi^dch dc i]Z VW^a^in d[ i]Z ChhjZg dg
 DVoo J]VgbVXZji^XVah eaXxh di]Zg hjWh^Y^Vg^Zh id igVch[Zg [jcYh id DVoo J]VgbVXZji^XVah eaX ^c i]Z [dgb d[ XVh] Y^k^YZcYh+ adVch dg VYkVcXZh- N]ZgZ ^h
 cd VhhjgVcXZ i]Vi ^c i]Z [jijgZ hjX] gZhig^Xi^dch l^aa cdi WZ VYdeiZY-
 Cc VXXdjci^c\ [dg i]Z ^hhjVcXZ d[ i]Z 1/10 HdiZh+ lZ hZeVgViZY i]Z 1/10 HdiZh ^cid a^VW^a^in VcY Zfj^in XdbedcZcih- N]Z XVggn^c\ Vbdjci d[ i]Z
 a^VW^a^in XdbedcZci lVh XVaXjaViZY Wn bZVhjg^c\ i]Z Zhi^bViZY [V^g kVajZ d[ V h^b^aVg a^VW^a^in i]Vi YdZh cdi ]VkZ Vc VhhdX^ViZY ZmX]Vc\Z [ZVijgZ-
 N]Z XVggn^c\ Vbdjci d[ i]Z Zfj^in XdbedcZci gZegZhZci^c\ i]Z ZmX]Vc\Z dei^dc lVh YZiZgb^cZY Wn YZYjXi^c\ i]Z [V^g kVajZ d[ i]Z a^VW^a^in
 XdbedcZci [gdb i]Z [VXZ kVajZ d[ i]Z 1/10 HdiZh Vh V l]daZ- N]Z ZmXZhh

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                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 d[ i]Z eg^cX^eVa Vbdjci d[ i]Z a^VW^a^in XdbedcZci dkZg ^ih XVggn^c\ Vbdjci l^aa WZ Vbdgi^oZY id ^ciZgZhi ZmeZchZ dkZg i]Z ZmeZXiZY a^[Z d[ i]Z 1/10
 HdiZh jh^c\ i]Z Z[[ZXi^kZ ^ciZgZhi bZi]dY l^i] Vc Z[[ZXi^kZ ^ciZgZhi gViZ d[ 5-3$ eZg Vccjb- QZ ]VkZ YZiZgb^cZY i]Z ZmeZXiZY a^[Z d[ i]Z 1/10 HdiZh
 id WZ ZfjVa id i]Z dg^\^cVa hZkZc,nZVg iZgb- N]Z Zfj^in XdbedcZci ^h cdi gZbZVhjgZY Vh adc\ Vh ^i Xdci^cjZh id bZZi i]Z XdcY^i^dch [dg Zfj^in
 XaVhh^[^XVi^dc- ;h d[ >ZXZbWZg 20+ 1/05+ i]Z v^[,XdckZgiZY kVajZw Y^Y cdi ZmXZZY i]Z eg^cX^eVa Vbdjci d[ i]Z 1/10 HdiZh-
 QZ VaadXViZY i]Z idiVa ^hhjVcXZ Xdhih ^cXjggZY d[ #05-0 b^aa^dc id i]Z a^VW^a^in VcY Zfj^in XdbedcZcih WVhZY dc i]Z^g gZaVi^kZ kVajZh- ChhjVcXZ Xdhih
 Viig^WjiVWaZ id i]Z a^VW^a^in XdbedcZci l^aa WZ Vbdgi^oZY id ZmeZchZ dkZg i]Z iZgb d[ i]Z 1/10 HdiZh+ VcY ^hhjVcXZ Xdhih Viig^WjiVWaZ id i]Z Zfj^in
 XdbedcZci lZgZ ^cXajYZY l^i] i]Z Zfj^in XdbedcZci ^c djg h]VgZ]daYZghx Zfj^in-
 @dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03+ lZ gZXd\c^oZY #16-4 b^aa^dc+ #15-4 b^aa^dc VcY #8-8 b^aa^dc+ gZheZXi^kZan+ ^c ^ciZgZhi ZmeZchZ+
 cZi gZaViZY id i]Z XdcigVXijVa Xdjedc gViZ VcY Vbdgi^oVi^dc d[ i]Z YZWi Y^hXdjci dc i]Z 1/10 HdiZh-
 ;h d[ >ZXZbWZg 20+ 1/05+ i]Z XVggn^c\ kVajZ d[ i]Z Zfj^in XdbedcZci d[ i]Z 1/10 HdiZh+ cZi d[ Zfj^in ^hhjVcXZ Xdhih+ lVh #015-8 b^aa^dc-
 MX]ZYjaZY bVijg^i^Zh l^i] gZheZXi id djg adc\,iZgb YZWi VgZ Vh [daadlh '^c i]djhVcYh(9

                                                                                                                                 Scheduled Long-Term
 Year Ending December 31,                                                                                                           Debt Maturities
 1/06                                                                                                                        #                  25+/83
 1/07                                                                                                                                           3/+5/5
 1/08                                                                                                                                           47+541
 1/1/                                                                                                                                           65+588
 1/10                                                                                                                                        0+814+7/0
 NdiVa                                                                                                                       #               1+026+741


 10. Deferred Revenue
 N]Z YZ[ZggZY gZkZcjZ WVaVcXZ eg^bVg^an gZaViZh id Vc V\gZZbZci lZ ]VkZ l^i] O=< J]VgbV F^b^iZY+ dg O=<+ jcYZg l]^X] O=< ]Vh i]Z g^\]i id
 bVg`Zi RngZb [dg XZgiV^c ^cY^XVi^dch ^c kVg^djh Xdjcig^Zh djih^YZ d[ i]Z O-M- QZ gZXd\c^oZY XdcigVXi gZkZcjZh d[ #0-0 b^aa^dc Yjg^c\ ZVX] d[ 1/05+
 1/04 VcY 1/03 gZaVi^c\ id ild je[gdci eVnbZcih gZXZ^kZY [gdb O=< ^c 1//5 idiVa^c\ #04-/ b^aa^dc- N]Z YZ[ZggZY gZkZcjZ WVaVcXZ gZaViZY id i]^h
 V\gZZbZci ^h WZ^c\ gZXd\c^oZY gViVWan i]gdj\] 1/08-

 11. Commitments and Contingencies
 Indemnification
 Cc i]Z cdgbVa XdjghZ d[ Wjh^cZhh+ lZ ZciZg ^cid V\gZZbZcih i]Vi XdciV^c V kVg^Zin d[ gZegZhZciVi^dch VcY lVggVci^Zh VcY egdk^YZ [dg \ZcZgVa
 ^cYZbc^[^XVi^dc+ ^cXajY^c\ ^cYZbc^[^XVi^dc VhhdX^ViZY l^i] egdYjXi a^VW^a^in dg ^c[g^c\ZbZci d[ ^ciZaaZXijVa egdeZgin g^\]ih- Ijg ZmedhjgZ jcYZg i]ZhZ
 V\gZZbZcih ^h jc`cdlc WZXVjhZ ^i ^ckdakZh [jijgZ XaV^bh i]Vi bVn WZ bVYZ Wji ]VkZ cdi nZi WZZc bVYZ V\V^chi jh- Nd YViZ+ lZ ]VkZ cdi eV^Y Vcn
 XaV^bh dg WZZc gZfj^gZY id YZ[ZcY Vcn VXi^dc gZaViZY id i]ZhZ ^cYZbc^[^XVi^dc dWa^\Vi^dch-
 QZ ]VkZ V\gZZY id ^cYZbc^[n djg ZmZXji^kZ d[[^XZgh+ Y^gZXidgh VcY XZgiV^c di]Zg ZbeadnZZh [dg adhhZh VcY Xdhih ^cXjggZY ^c XdccZXi^dc l^i] XZgiV^c
 ZkZcih dg dXXjggZcXZh+ ^cXajY^c\ VYkVcX^c\ bdcZn id XdkZg XZgiV^c Xdhih+ hjW_ZXi id XZgiV^c a^b^iVi^dch- N]Z bVm^bjb ediZci^Va Vbdjci d[ [jijgZ
 eVnbZcih lZ XdjaY WZ gZfj^gZY id bV`Z jcYZg i]Z ^cYZbc^[^XVi^dc dWa^\Vi^dch ^h jca^b^iZY: ]dlZkZg+ lZ bV^ciV^c ^chjgVcXZ eda^X^Zh i]Vi bVn a^b^i
 djg ZmedhjgZ VcY bVn ZcVWaZ jh id gZXdkZg V edgi^dc d[ Vcn [jijgZ Vbdjcih eV^Y- ;hhjb^c\ i]Z Veea^XVW^a^in d[ XdkZgV\Z+ i]Z l^aa^c\cZhh d[ i]Z
 ^chjgZg id VhhjbZ XdkZgV\Z+ VcY hjW_ZXi id XZgiV^c gZiZci^dc+ adhh a^b^ih VcY di]Zg eda^Xn egdk^h^dch+ lZ WZa^ZkZ i]Z [V^g kVajZ d[ i]ZhZ
 ^cYZbc^[^XVi^dc dWa^\Vi^dch ^h cdi h^\c^[^XVci- ;XXdgY^c\an+ lZ ]VkZ cdi gZXd\c^oZY Vcn a^VW^a^i^Zh gZaVi^c\ id i]ZhZ dWa^\Vi^dch Vh d[ >ZXZbWZg 20+
 1/05 VcY >ZXZbWZg 20+ 1/04- Hd VhhjgVcXZh XVc WZ \^kZc i]Vi i]Z XdkZg^c\ ^chjgZgh l^aa cdi ViiZbei id Y^hejiZ i]Z kVa^Y^in+ Veea^XVW^a^in+ dg Vbdjci
 d[ XdkZgV\Z l^i]dji ZmeZch^kZ a^i^\Vi^dc V\V^chi i]ZhZ ^chjgZgh+ ^c l]^X] XVhZ lZ bVn ^cXjg hjWhiVci^Va a^VW^a^i^Zh Vh V gZhjai d[ i]ZhZ ^cYZbc^[^XVi^dc
 dWa^\Vi^dch-

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 Lease and Other Commitments
 QZ ]VkZ cdcXVcXZaVWaZ deZgVi^c\ aZVhZh [dg djg d[[^XZ Wj^aY^c\h VcY lZ VgZ dWa^\ViZY id bV`Z eVnbZcih jcYZg cdcXVcXZaVWaZ deZgVi^c\ aZVhZh [dg
 VjidbdW^aZh jhZY Wn djg hVaZh [dgXZ-
 FZVhZ ZmeZchZ jcYZg djg deZgVi^c\ aZVhZh lVh Vh [daadlh '^c i]djhVcYh(9

                                                                                                              Year Ended December 31,
                                                                                              2016                     2015                  2014
 FZVhZ ZmeZchZ                                                                       #               00+5//     #             0/+368   #            0/+567

 @jijgZ b^c^bjb aZVhZ eVnbZcih jcYZg djg cdcXVcXZaVWaZ deZgVi^c\ VcY [VX^a^in aZVhZh Vh d[ >ZXZbWZg 20+ 1/05+ lZgZ Vh [daadlh '^c i]djhVcYh(9

                                                                                                                                             Lease
 Year ending December 31,                                                                                                                  Payments
 1/06                                                                                                                                  #            04+331
 1/07                                                                                                                                               01+144
 1/08                                                                                                                                               0/+770
 1/1/                                                                                                                                                8+830
 1/10                                                                                                                                                8+328
 N]ZgZV[iZg                                                                                                                                         56+803
 NdiVa                                                                                                                                 #        014+761

 Cc DVcjVgn 1/04+ lZ ZciZgZY ^cid Vc V\gZZbZci id aZVhZ d[[^XZ heVXZ adXViZY ^c JVad ;aid+ =Va^[dgc^V ^c V Wj^aY^c\ id WZ XdchigjXiZY Wn i]Z aVcYadgY-
 QZ ZmeZXi id dXXjen i]^h d[[^XZ heVXZ Wn i]Z ZcY d[ 1/06- N]Z aZVhZ ]Vh V iZgb d[ 01 nZVgh [gdb i]Z XdbbZcXZbZci YViZ Vh YZ[^cZY ^c i]Z aZVhZ
 V\gZZbZci VcY lZ ]VkZ Vc dei^dc id ZmiZcY i]Z iZgb d[ i]Z aZVhZ il^XZ [dg V eZg^dY d[ [^kZ nZVgh ZVX]- QZ VgZ dWa^\ViZY id bV`Z aZVhZ eVnbZcih
 idiVa^c\ Veegdm^bViZan #77 b^aa^dc dkZg i]Z ^c^i^Va iZgb d[ i]Z aZVhZ- Cc XdccZXi^dc l^i] i]^h aZVhZ+ i]Z aVcYadgY ^h egdk^Y^c\ V iZcVci ^begdkZbZci
 VaadlVcXZ [dg i]Z Xdhih VhhdX^ViZY l^i] i]Z YZh^\c+ YZkZadebZci VcY XdchigjXi^dc d[ iZcVci ^begdkZbZcih [dg i]Z aZVhZY [VX^a^in- QZ VgZ dWa^\ViZY
 id [jcY Vaa Xdhih ^cXjggZY ^c ZmXZhh d[ i]Z iZcVci ^begdkZbZci VaadlVcXZ- N]Z hXdeZ d[ i]Z eaVccZY iZcVci ^begdkZbZcih Yd cdi fjVa^[n Vh vcdgbVa
 iZcVci ^begdkZbZcihw jcYZg i]Z aZVhZ VXXdjci^c\ \j^YVcXZ- ;XXdgY^c\an+ [dg VXXdjci^c\ ejgedhZh+ lZ ]VkZ XdcXajYZY lZ VgZ i]Z YZZbZY dlcZg
 d[ i]Z Wj^aY^c\ Yjg^c\ i]Z XdchigjXi^dc eZg^dY- ;h d[ >ZXZbWZg 20+ 1/05+ lZ gZXdgYZY egd_ZXi XdchigjXi^dc Xdhih d[ #16-0 b^aa^dc ^cXjggZY Wn i]Z
 aVcYadgY Vh XdchigjXi^dc,^c,egd\gZhh ^c egdeZgin VcY Zfj^ebZci+ cZi VcY V XdggZhedcY^c\ [^cVcX^c\ dWa^\Vi^dc ^c di]Zg cdc,XjggZci a^VW^a^i^Zh ^c djg
 Xdchda^YViZY WVaVcXZ h]ZZih- QZ l^aa ^cXgZVhZ i]Z VhhZi VcY [^cVcX^c\ dWa^\Vi^dc Vh VYY^i^dcVa Wj^aY^c\ Xdhih VgZ ^cXjggZY Wn i]Z aVcYadgY Yjg^c\
 i]Z XdchigjXi^dc eZg^dY- Cc i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05+ lZ gZXdgYZY gZci ZmeZchZ VhhdX^ViZY l^i] i]Z \gdjcY aZVhZ d[ #0-8 b^aa^dc ^c djg
 Xdchda^YViZY hiViZbZcih d[ ^cXdbZ-
 Cc ;j\jhi 1/05+ lZ ZciZgZY ^cid Vc deZgVi^c\ aZVhZ V\gZZbZci [dg d[[^XZ heVXZ ^c >jWa^c+ CgZaVcY [dg V iZgb d[ 1/ nZVgh+ l^i] Vc dei^dc id iZgb^cViZ Vi
 i]Z ZcY d[ Z^\]i nZVgh l^i] cd aZhh i]Vc dcZ nZVgxh eg^dg lg^iiZc cdi^XZ VcY i]Z eVnbZci d[ V iZgb^cVi^dc [ZZ+ VcY V [jgi]Zg dei^dc id iZgb^cViZ Vi i]Z
 ZcY d[ 04 nZVgh l^i] cd aZhh i]Vc dcZ nZVgxh eg^dg lg^iiZc cdi^XZ- QZ VgZ dWa^\ViZY id bV`Z b^c^bjb aZVhZ eVnbZcih idiVa^c\ #08-5 b^aa^dc ^c
 XdccZXi^dc l^i] i]^h aZVhZ-
 ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY #16-0 b^aa^dc d[ cdcXVcXZaVWaZ ejgX]VhZ Xdbb^ibZcih YjZ l^i]^c dcZ nZVg+ eg^bVg^an gZaViZY id V\gZZbZcih l^i]
 i]^gY eVgin bVcj[VXijgZgh-
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 QZ VgZ ^ckdakZY ^c aZ\Va egdXZZY^c\h+ ^cXajY^c\ i]Z [daadl^c\ bViiZgh9
 Xyrem ANDA Matters. Ic IXidWZg 07+ 1/0/+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP JViZci =Zgi^[^XVi^dc+ dg JVgV\gVe] CP =Zgi^[^XVi^dc+ [gdb QZhi,QVgY
 J]VgbVXZji^XVah =dge-+ [dgbZgan `cdlc Vh LdmVcZ FVWdgVidg^Zh+ CcX-+ dg LdmVcZ+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>;+ id i]Z @>;+ gZfjZhi^c\ VeegdkVa
 id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- LdmVcZxh ^c^i^Va cdi^XZ VaaZ\ZY i]Vi Vaa [^kZ eViZcih i]Zc a^hiZY [dg RngZb ^c i]Z @>;xh ejWa^XVi^dc v;eegdkZY
 >gj\ JgdYjXih l^i] N]ZgVeZji^X ?fj^kVaZcXZ ?kVajVi^dch+w dg IgVc\Z <dd`+ dc i]Z YViZ d[ i]Z cdi^XZ VgZ ^ckVa^Y+ jcZc[dgXZVWaZ dg cdi ^c[g^c\ZY Wn
 LdmVcZxh egdedhZY \ZcZg^X egdYjXi- Ic HdkZbWZg 11+ 1/0/+ lZ [^aZY V aVlhj^i V\V^chi LdmVcZ ^c gZhedchZ id LdmVcZxh ^c^i^Va cdi^XZ ^c i]Z O-M-
 >^hig^Xi =djgi [dg i]Z >^hig^Xi d[ HZl DZghZn+ dg i]Z >^hig^Xi =djgi+ hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X
 kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih- ;YY^i^dcVa eViZcih XdkZg^c\ RngZb ]VkZ WZZc ^hhjZY h^cXZ >ZXZbWZg 1/0/+ VcY V[iZg gZXZ^k^c\
 JVgV\gVe] CP =Zgi^[^XVi^dc cdi^XZh [gdb LdmVcZ l^i] gZheZXi id i]dhZ eViZcih+ lZ

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 ]VkZ [^aZY VYY^i^dcVa aVlhj^ih V\V^chi LdmVcZ id ^cXajYZ i]ZhZ VYY^i^dcVa eViZcih ^c i]Z a^i^\Vi^dc- ;aa d[ i]Z aVlhj^ih [^aZY V\V^chi LdmVcZ WZilZZc
 1/0/ VcY 1/01 lZgZ Xdchda^YViZY Wn i]Z >^hig^Xi =djgi ^cid V h^c\aZ XVhZ+ l]^X] lZ gZ[Zg id Vh i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ- Cc i]Z [^ghi LdmVcZ
 Xdchda^YViZY XVhZ+ lZ VaaZ\Z i]Vi 0/ d[ djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn LdmVcZxh ;H>;+ l]^X] lVh VeegdkZY Wn i]Z @>; ^c
 DVcjVgn 1/06+ VcY hZZ` V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb aVjcX]^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih-
 ;[iZg gZXZ^k^c\ VYY^i^dcVa JVgV\gVe] CP =Zgi^[^XVi^dc cdi^XZh [gdb LdmVcZ+ lZ [^aZY i]gZZ VXi^dch V\V^chi LdmVcZ ^c i]Z >^hig^Xi =djgi dc @ZWgjVgn 1/+
 1/04+ DjcZ 0+ 1/04 VcY DVcjVgn 16+ 1/05 i]Vi lZgZ Xdchda^YViZY Wn i]Z >^hig^Xi =djgi ^cid V hZXdcY XVhZ+ l]^X] lZ gZ[Zg id Vh i]Z hZXdcY LdmVcZ
 Xdchda^YViZY XVhZ- Cc i]Z hZXdcY LdmVcZ Xdchda^YViZY XVhZ+ lZ VaaZ\Z i]Vi [^kZ d[ djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn LdmVcZxh
 ;H>; VcY hZZ` V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]dhZ eViZcih-
 Cc >ZXZbWZg 1/02+ i]Z >^hig^Xi =djgi eZgb^iiZY LdmVcZ id VbZcY ^ih VchlZg ^c i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ id VaaZ\Z XZgiV^c Zfj^iVWaZ
 YZ[ZchZh+ VcY i]Z eVgi^Zh lZgZ \^kZc VYY^i^dcVa i^bZ [dg Y^hXdkZgn dc i]dhZ cZl YZ[ZchZh- Cc VYY^i^dc+ ^c GVgX] 1/03+ i]Z >^hig^Xi =djgi \gVciZY djg
 bdi^dc id W^[jgXViZ VcY hiVn i]Z edgi^dc d[ i]Z [^ghi LdmVcZ Xdchda^YViZY XVhZ gZ\VgY^c\ eViZcih gZaViZY id i]Z Y^hig^Wji^dc hnhiZb [dg RngZb+ dg
 L?GM+ eViZcih-
 Cc Djan 1/05+ i]Z >^hig^Xi =djgi YZiZgb^cZY i]Vi ^i ldjaY ign Vaa d[ i]Z eViZcih Vi ^hhjZ ^c i]Z [^ghi VcY hZXdcY LdmVcZ Xdchda^YViZY XVhZh id\Zi]Zg+
 ^cXajY^c\ i]Z L?GM eViZcih i]Vi lZgZ egZk^djhan W^[jgXViZY VcY hiVnZY+ VcY hZi ig^Va ^c i]^h XdbW^cZY Xdchda^YViZY XVhZ [dg i]Z hZXdcY fjVgiZg d[
 1/06- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z >^hig^Xi =djgi W^[jgXViZY VcY hiVnZY i]Z eVgi d[ i]Z XdbW^cZY Xdchda^YViZY XVhZ ^ckdak^c\ i]Z L?GM eViZcih-
 ;ahd ^c i]Z [^ghi fjVgiZg d[ 1/06+ i]Z @>; VeegdkZY LdmVcZxh ;H>; l^i] V L?GM i]Vi ^h hZeVgViZ [gdb i]Z RngZb L?GM-
 Ic ;j\jhi 01+ 1/05+ lZ [^aZY V aVlhj^i V\V^chi LdmVcZ ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi Vc VYY^i^dcVa aViZg,^hhjZY L?GM eViZci ^h dg l^aa WZ
 ^c[g^c\ZY Wn LdmVcZxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci LdmVcZ [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY
 ^c[g^c\Z i]Vi eViZci- Cc MZeiZbWZg 1/05+ LdmVcZ bdkZY id Y^hb^hh i]Z aVlhj^i- N]^h bdi^dc ^h eZcY^c\-
 N]Z VXijVa i^b^c\ d[ ZkZcih ^c djg a^i^\Vi^dc l^i] LdmVcZ bVn WZ aViZg i]Vc lZ XjggZcian Vci^X^eViZ- QZ XVccdi egZY^Xi i]Z heZX^[^X i^b^c\ dg djiXdbZ
 d[ ZkZcih ^c i]ZhZ bViiZgh dg i]Z ^beVXi d[ i]ZhZ bViiZgh dc di]Zg dc\d^c\ egdXZZY^c\h l^i] Vcn ;H>; [^aZg-
 Ic >ZXZbWZg 0/+ 1/01+ lZ gZXZ^kZY cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb ;bcZVa J]VgbVXZji^XVah+ FF=+ dg ;bcZVa+ i]Vi ^i ]VY hjWb^iiZY Vc
 ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic DVcjVgn 07+ 1/02+ lZ [^aZY V aVlhj^i V\V^chi ;bcZVa ^c i]Z >^hig^Xi
 =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn ;bcZVaxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci
 ;bcZVa [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Ic HdkZbWZg 10+ 1/02+ lZ gZXZ^kZY cdi^XZ d[ JVgV\gVe] CP
 =Zgi^[^XVi^dc [gdb JVg J]VgbVXZji^XVa+ CcX-+ dg JVg+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[
 RngZb- Ic >ZXZbWZg 16+ 1/02+ lZ [^aZY V aVlhj^i V\V^chi JVg ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ
 ^c[g^c\ZY Wn JVgxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci JVg [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ
 eViZcih-
 Cc ;eg^a 1/03+ ;bcZVa Vh`ZY i]Z >^hig^Xi =djgi id Xdchda^YViZ ^ih XVhZ l^i] i]Z JVg XVhZ+ hiVi^c\ i]Vi Wdi] XVhZh ldjaY egdXZZY dc i]Z hX]ZYjaZ [dg
 i]Z JVg XVhZ- N]Z >^hig^Xi =djgi \gVciZY i]^h gZfjZhi ^c GVn 1/03- N]Z dgYZg Xdchda^YVi^c\ i]Z XVhZh ZmiZcYZY ;bcZVaxh 2/,bdci] hiVn eZg^dY id
 Xd^cX^YZ l^i] i]Z YViZ d[ JVgxh 2/,bdci] hiVn eZg^dY- N]Z hiVn Zme^gZY dc GVn 1/+ 1/05-
 ;YY^i^dcVa eViZcih XdkZg^c\ RngZb ]VkZ ^hhjZY h^cXZ ;eg^a 1/03 VcY ]VkZ WZZc a^hiZY ^c i]Z IgVc\Z <dd` [dg RngZb- ;bcZVa VcY JVg ]VkZ \^kZc
 jh VYY^i^dcVa cdi^XZh d[ JVgV\gVe] CP =Zgi^[^XVi^dch gZ\VgY^c\ hjX] eViZcih+ VcY lZ ]VkZ [^aZY VYY^i^dcVa aVlhj^ih V\V^chi ;bcZVa VcY JVg ^c i]Z
 >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn ;bcZVaxh VcY JVgxh ;H>;h VcY hZZ`^c\ V eZgbVcZci
 ^c_jcXi^dc id egZkZci ;bcZVa VcY JVg [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ eViZcih- Cc GVgX] 1/05+ JVg bdkZY id
 Y^hb^hh XaV^bh ^ckdak^c\ djg eViZcih XdkZg^c\ V eVgi d[ i]Z RngZb aVWZa i]Vi ^chigjXih egZhXg^WZgh dc VY_jhi^c\ i]Z YdhZ d[ RngZb l]Zc ^i ^h WZ^c\
 Xd,VYb^c^hiZgZY l^i] Y^kVaegdZm hdY^jb 'Vahd `cdlc Vh kVaegdViZ dg kVaegd^X VX^Y(+ dg djg bZi]dY d[ VYb^c^higVi^dc eViZcih gZaVi^c\ id >>C eViZcih-
 Cc ;j\jhi 1/05+ lZ VcY JVg hi^ejaViZY id Y^hb^hh XaV^bh gZaVi^c\ id djg eViZcih XdkZg^c\ i]Z [dgbjaVi^dc d[ RngZb dc i]Z \gdjcYh i]Vi JVg ]VY
 cdi^[^ZY @>; i]Vi ^i ]VY XdckZgiZY ^ih JVgV\gVe] CP =Zgi^[^XVi^dch id V JVgV\gVe] CCC =Zgi^[^XVi^dc-
 Ic DjcZ 3+ 1/03+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb I]b FVWdgVidg^Zh CcX-+ [dgbZgan `cdlc Vh LVcWVmn+ CcX-+ dg LVcWVmn+ i]Vi ^i
 ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic Djan 04+ 1/03+ lZ [^aZY V aVlhj^i V\V^chi LVcWVmn
 ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn LVcWVmnxh ;H>; VcY hZZ`^c\ V eZgbVcZci
 ^c_jcXi^dc id egZkZci LVcWVmn [gdb ^cigdYjX^c\ V

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 \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ eViZcih- M^cXZ DjcZ 1/03+ lZ ]VkZ gZXZ^kZY VYY^i^dcVa cdi^XZh d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb
 LVcWVmn gZ\VgY^c\ cZlan ^hhjZY eViZcih [dg RngZb a^hiZY ^c i]Z IgVc\Z <dd`+ VcY lZ ]VkZ [^aZY VYY^i^dcVa aVlhj^ih V\V^chi LVcWVmn ^c i]Z >^hig^Xi
 =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ ^c[g^c\ZY dg l^aa WZ ^c[g^c\ZY Wn LVcWVmnxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id
 egZkZci LVcWVmn [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi l^aa ^c[g^c\Z i]ZhZ eViZcih- Cc GVn 1/05+ i]Z LVcWVmn a^i^\Vi^dc lVh hZiiaZY Vh
 YZhXg^WZY WZadl- Cc i]Z [^ghi fjVgiZg d[ 1/06+ i]Z @>; iZciVi^kZan VeegdkZY i]Z ;H>;h d[ ;bcZVa VcY LVcWVmn-
 Ic IXidWZg 2/+ 1/03+ lZ gZXZ^kZY V cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb NZkV J]VgbVXZji^XVa CcYjhig^Zh FiY-+ [dgbZgan `cdlc Vh QVihdc
 FVWdgVidg^Zh+ CcX-+ dg QVihdc+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic >ZXZbWZg
 00+ 1/03+ lZ [^aZY V aVlhj^i V\V^chi QVihdc ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ dg l^aa WZ ^c[g^c\ZY Wn QVihdcxh
 ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QVihdc [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Cc
 GVgX] 1/04+ QVihdc bdkZY id Y^hb^hh i]Z edgi^dc d[ i]Z XVhZ WVhZY dc djg IgVc\Z <dd`,a^hiZY L?GM eViZcih dc i]Z \gdjcYh i]Vi i]ZhZ eViZcih
 Yd cdi XdkZg eViZciVWaZ hjW_ZXi bViiZg- Cc HdkZbWZg 1/04+ i]Z >^hig^Xi =djgi VYb^c^higVi^kZan iZgb^cViZY i]^h bdi^dc id Y^hb^hh 'l^i]dji egZ_jY^XZ(
 eZcY^c\ i]Z djiXdbZ d[ ^ciZg eVgiZh gZk^Zl+ dg CJL+ egdXZZY^c\h WZ[dgZ i]Z JN;< gZaVi^c\ id i]Z eViZcih i]Vi lZgZ i]Z hjW_ZXi d[ QVihdcxh bdi^dc-
 M^cXZ GVgX] 1/04+ lZ ]VkZ gZXZ^kZY Vc VYY^i^dcVa cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc [gdb QVihdc gZ\VgY^c\ cZlan ^hhjZY eViZcih [dg RngZb a^hiZY
 ^c i]Z IgVc\Z <dd`+ VcY lZ ]VkZ [^aZY Vc VYY^i^dcVa aVlhj^i V\V^chi QVihdc ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ dg
 l^aa WZ ^c[g^c\ZY Wn QVihdcxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QVihdc [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi
 ldjaY ^c[g^c\Z i]ZhZ eViZcih-
 Cc ;eg^a 1/04+ i]Z >^hig^Xi =djgi ^hhjZY Vc dgYZg i]Vi Xdchda^YViZY Vaa i]Zc,eZcY^c\ aVlhj^ih V\V^chi ;bcZVa+ JVg+ LVcWVmn VcY QVihdc ^cid dcZ
 XVhZ-
 Ic DjcZ 7+ 1/04+ lZ gZXZ^kZY V JVgV\gVe] CP =Zgi^[^XVi^dc [gdb QdX`]VgYi <^d ;A+ dg QdX`]VgYi+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>;
 gZfjZhi^c\ VeegdkVa id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic Djan 06+ 1/04+ lZ [^aZY V aVlhj^i ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih
 XdkZg^c\ RngZb lZgZ dg ldjaY WZ ^c[g^c\ZY Wn QdX`]VgYixh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci QdX`]VgYi [gdb ^cigdYjX^c\ V
 \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z djg eViZcih- Ic HdkZbWZg 15+ 1/04+ lZ gZXZ^kZY Vc VYY^i^dcVa cdi^XZ d[ JVgV\gVe] CP =Zgi^[^XVi^dc
 [gdb QdX`]VgYi gZ\VgY^c\ cZlan ^hhjZY eViZcih a^hiZY ^c i]Z IgVc\Z <dd`+ VcY lZ [^aZY Vc VYY^i^dcVa aVlhj^i V\V^chi QdX`]VgYi ^c i]Z >^hig^Xi
 =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb lZgZ dg ldjaY WZ ^c[g^c\ZY Wn QdX`]VgYixh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci
 QdX`]VgYi [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY ^c[g^c\Z i]ZhZ eViZcih- Cc ;eg^a 1/05+ i]Z QdX`]VgYi a^i^\Vi^dc lVh hZiiaZY Vh hZi
 [dgi] WZadl
 Ic Djan 12+ 1/04+ lZ gZXZ^kZY V JVgV\gVe] CP =Zgi^[^XVi^dc [gdb Fje^c CcX-+ dg Fje^c+ i]Vi ^i ]VY hjWb^iiZY Vc ;H>; id i]Z @>; gZfjZhi^c\ VeegdkVa
 id bVg`Zi V \ZcZg^X kZgh^dc d[ RngZb- Ic MZeiZbWZg 1+ 1/04+ lZ [^aZY V aVlhj^i ^c i]Z >^hig^Xi =djgi VaaZ\^c\ i]Vi djg eViZcih XdkZg^c\ RngZb VgZ dg
 l^aa WZ ^c[g^c\ZY Wn Fje^cxh ;H>; VcY hZZ`^c\ V eZgbVcZci ^c_jcXi^dc id egZkZci Fje^c [gdb ^cigdYjX^c\ V \ZcZg^X kZgh^dc d[ RngZb i]Vi ldjaY
 ^c[g^c\Z djg eViZcih-
 Cc DVcjVgn+ ;eg^a VcY DjcZ 1/05+ i]Z >^hig^Xi =djgi ^hhjZY dgYZgh Xdchda^YVi^c\ Vaa d[ i]Z XVhZh i]Zc eZcY^c\ V\V^chi ;bcZVa+ JVg+ LVcWVmn+ QVihdc+
 QdX`]VgYi VcY Fje^c ^cid V h^c\aZ XVhZ [dg Vaa ejgedhZh- Hd ig^Va YViZ ]Vh WZZc hZi ^c i]Vi Xdchda^YViZY XVhZ-
 QZ ZciZgZY ^cid hZiiaZbZci V\gZZbZcih l^i] QdX`]VgYi VcY LVcWVmn dc ;eg^a 07+ 1/05 VcY GVn 8+ 1/05+ gZheZXi^kZan+ i]Vi gZhdakZY djg eViZci
 a^i^\Vi^dc V\V^chi QdX`]VgYi VcY LVcWVmn- OcYZg i]Z hZiiaZbZci V\gZZbZcih+ lZ \gVciZY ZVX] d[ QdX`]VgYi VcY LVcWVmn V a^XZchZ id bVcj[VXijgZ+
 bVg`Zi+ VcY hZaa ^ih \ZcZg^X kZgh^dc d[ RngZb dc dg V[iZg >ZXZbWZg 20+ 1/14+ dg ZVga^Zg YZeZcY^c\ dc i]Z dXXjggZcXZ d[ XZgiV^c ZkZcih- N]Z heZX^[^X
 iZgbh d[ i]Z hZiiaZbZci V\gZZbZcih VgZ Xdc[^YZci^Va-
 N]Z hZiiaZbZcih l^i] QdX`]VgYi VcY LVcWVmn Yd cdi gZhdakZ i]Z a^i^\Vi^dc V\V^chi ;bcZVa+ JVg+ QVihdc VcY Fje^c+ l]^X] ^h dc\d^c\- QZ XVccdi
 egZY^Xi i]Z heZX^[^X i^b^c\ dg djiXdbZ d[ ZkZcih ^c i]^h bViiZg l^i] gZheZXi id i]Z gZbV^c^c\ YZ[ZcYVcih dg i]Z ^beVXi d[ YZkZadebZcih ^ckdak^c\
 Vcn heZX^[^X eVgi^Zh dg eViZcih dc di]Zg dc\d^c\ egdXZZY^c\h l^i] Vcn ;H>; [^aZg-
 Xyrem Post-Grant Patent Review Matters- Cc DVcjVgn 1/04+ XZgiV^c d[ i]Z ;H>; [^aZgh [^aZY eZi^i^dch [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ i]Z h^m
 L?GM eViZcih- Cc Djan 1/05+ i]Z JN;< ^hhjZY [^cVa YZX^h^dch i]Vi i]Z XaV^bh d[ i]ZhZ h^m eViZcih VgZ jceViZciVWaZ: Vh V gZhjai+ ^[ i]Z Oc^iZY MiViZh
 =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i je]daYh i]dhZ YZX^h^dch dc VeeZVa+ i]ZhZ XaV^bh l^aa WZ XVcXZaZY- QZ ]VkZ [^aZY cdi^XZh d[ VeeZVa l^i]
 gZheZXi id i]ZhZ CJL YZX^h^dch id i]Z Oc^iZY MiViZh =djgi d[ ;eeZVah [dg i]Z @ZYZgVa =^gXj^i- Cc MZeiZbWZg 1/04+ XZgiV^c d[ i]Z ;H>; [^aZgh [^aZY V
 eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ Vc VYY^i^dcVa L?GM eViZci- Cc GVgX] 1/05+ i]Z JN;< eVgi^Vaan ^chi^ijiZY Vc CJL dc V hZkZci] L?GM
 eViZci+ YZXa^c^c\ id gZk^Zl 14 d[ 17 XaV^bh- ; JN;< YZX^h^dc dc i]Z i]gZZ XaV^bh i]Vi lZgZ ig^ZY ^h ZmeZXiZY WZ[dgZ i]Z ZcY d[ i]Z [^ghi fjVgiZg d[
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 Cc IXidWZg 1/04+ LVcWVmn VcY JVg [^aZY eZi^i^dch [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ dcZ d[ djg >>C eViZcih+ VcY ;bcZVa [^aZY Vc CJL eZi^i^dc dc
 i]Z hVbZ eViZci ^c @ZWgjVgn 1/05- Cc ;eg^a 1/05+ i]Z JN;< YZc^ZY JVgxh eZi^i^dc ^c ^ih Zci^gZin VcY ^hhjZY V YZX^h^dc dc LVcWVmnxh eZi^i^dc+
 ^chi^iji^c\ Vc CJL ig^Va l^i] gZheZXi id 05 d[ i]Z XaV^bh jcYZg i]Z eViZci hjW_ZXi id i]^h eZi^i^dc VcY YZcn^c\ i]Z eZi^i^dc l^i] gZheZXi id i]Z di]Zg 07
 XaV^bh- Cc Djan 1/05+ i]Z JN;< YZc^ZY ;bcZVaxh eZi^i^dc ^c ^ih Zci^gZin- Cc GVgX] 1/05+ LVcWVmn [^aZY V eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[
 i]Z hZXdcY d[ djg >>C eViZcih- Cc XdccZXi^dc l^i] hZiiaZbZci d[ djg a^i^\Vi^dc l^i] LVcWVmn+ Wdi] d[ i]Z CJL eZi^i^dch [^aZY Wn LVcWVmn lZgZ
 iZgb^cViZY-
 Cc >ZXZbWZg 1/04+ QdX`]VgYi [^aZY V eZi^i^dc [dg CJL l^i] gZheZXi id i]Z kVa^Y^in d[ dcZ d[ djg eViZcih XdkZg^c\ i]Z [dgbjaVi^dc d[ RngZb- Cc
 XdccZXi^dc l^i] hZiiaZbZci d[ djg eViZci a^i^\Vi^dc l^i] QdX`]VgYi+ i]^h CJL eZi^i^dc lVh iZgb^cViZY-
 QZ XVccdi egZY^Xi l]Zi]Zg VYY^i^dcVa edhi,\gVci eViZci gZk^Zl X]VaaZc\Zh l^aa WZ [^aZY Wn Vcn d[ i]Z ;H>; [^aZgh dg Vcn di]Zg Zci^in+ i]Z djiXdbZ
 d[ Vcn eZcY^c\ CJL dg di]Zg egdXZZY^c\+ i]Z djiXdbZ d[ Vcn VeeZVa d[ i]Z Djan 1/05 CJL YZX^h^dch l^i] gZheZXi id i]Z h^m L?GM eViZcih dg i]Z
 ^beVXi Vcn CJL dg di]Zg egdXZZY^c\ b^\]i ]VkZ dc dc\d^c\ ;H>; a^i^\Vi^dc egdXZZY^c\h dg di]Zg VheZXih d[ djg RngZb Wjh^cZhh-
 Shareholder Litigation Matters Relating to Celator Acquisition. Ic DjcZ 10+ 1/05+ V ejiVi^kZ XaVhh,VXi^dc aVlhj^i X]VaaZc\^c\ djg VXfj^h^i^dc d[
 =ZaVidg J]VgbVXZji^XVah+ CcX-+ dg =ZaVidg+ XVei^dcZY Dunbar v. Celator Pharmaceuticals, Inc., dg i]Z >jcWVg VXi^dc+ lVh [^aZY ^c i]Z MjeZg^dg =djgi
 d[ HZl DZghZn- QZ gZ[Zg id djg VXfj^h^i^dc d[ =ZaVidg ^c i]^h gZedgi Vh i]Z =ZaVidg ;Xfj^h^i^dc- N]Z XdbeaV^ci lVh [^aZY V\V^chi =ZaVidg+ ZVX] bZbWZg
 d[ i]Z =ZaVidg WdVgY d[ Y^gZXidgh+ DVoo J]VgbVXZji^XVah eaX VcY djg l]daan dlcZY hjWh^Y^Vgn JaZm GZg\Zg MjW+ CcX-+ dg JaZm- N]Z XdbeaV^ci \ZcZgVaan
 VaaZ\Zh i]Vi i]Z =ZaVidg Y^gZXidgh WgZVX]ZY i]Z^g [^YjX^Vgn Yji^Zh ^c XdccZXi^dc l^i] i]Z =ZaVidg ;Xfj^h^i^dc+ VcY i]Vi DVoo J]VgbVXZji^XVah eaX VcY
 JaZm V^YZY VcY VWZiiZY i]ZhZ VaaZ\ZY WgZVX]Zh d[ [^YjX^Vgn Yjin- N]Z XdbeaV^ci Vahd \ZcZgVaan VhhZgih i]Vi i]Z =ZaVidg Y^gZXidgh WgZVX]ZY i]Z^g
 [^YjX^Vgn Yji^Zh id =ZaVidgxh ejWa^X hidX`]daYZgh Wn+ Vbdc\ di]Zg i]^c\h+ '^( V\gZZ^c\ id hZaa =ZaVidg id jh Vi Vc ^cVYZfjViZ eg^XZ+ '^^( ^beaZbZci^c\ Vc
 jc[V^g egdXZhh+ '^^^( V\gZZ^c\ id XZgiV^c egdk^h^dch d[ i]Z bZg\Zg V\gZZbZci [dg i]Z =ZaVidg ;Xfj^h^i^dc i]Vi VaaZ\ZYan [VkdgZY jh VcY YZiZggZY
 VaiZgcVi^kZ W^Yh+ VcY '^k( [V^a^c\ id Y^hXadhZ ejgedgiZYan bViZg^Va ^c[dgbVi^dc ^c =ZaVidgxh MX]ZYjaZ 03>,8 [^a^c\ l^i] i]Z O-M- MZXjg^i^Zh VcY ?mX]Vc\Z
 =dbb^hh^dc+ dg M?=- N]Z eaV^ci^[[ hdj\]i+ Vbdc\ di]Zg i]^c\h+ Vc ^c_jcXi^dc V\V^chi i]Z XdchjbbVi^dc d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY Vc VlVgY d[
 Xdhih VcY ZmeZchZh+ ^cXajY^c\ V gZVhdcVWaZ VaadlVcXZ [dg ViidgcZnhx VcY ZmeZgihx [ZZh-
 <ZilZZc DjcZ 16+ 1/05 VcY DjcZ 18+ 1/05+ ild ejiVi^kZ XaVhh,VXi^dc aVlhj^ih X]VaaZc\^c\ i]Z =ZaVidg ;Xfj^h^i^dc+ XVei^dcZY Palmisciano v. Celator
 Pharmaceuticals, Inc., dg i]Z JVab^hX^Vcd VXi^dc+ VcY Barreto v. Celator Pharmaceuticals, Inc.+ dg i]Z <VggZid VXi^dc, lZgZ [^aZY ^c i]Z >^hig^Xi
 =djgi- N]Z XdbeaV^cih lZgZ [^aZY V\V^chi =ZaVidg VcY ZVX] bZbWZg d[ i]Z =ZaVidg WdVgY d[ Y^gZXidgh- N]Z XdbeaV^cih VhhZgi XVjhZh d[ VXi^dc jcYZg
 hZXi^dch 03 VcY 1/ d[ i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY+ egZY^XViZY dc =ZaVidgxh VcY i]Z =ZaVidg Y^gZXidghx VaaZ\ZY [V^ajgZ id Y^hXadhZ
 ejgedgiZYan bViZg^Va ^c[dgbVi^dc ^c =ZaVidgxh MX]ZYjaZ 03>,8 [^a^c\ l^i] i]Z M?=- N]Z eaV^ci^[[h hdj\]i+ Vbdc\ di]Zg i]^c\h+ Vc ^c_jcXi^dc V\V^chi
 i]Z XdchjbbVi^dc d[ i]Z =ZaVidg ;Xfj^h^i^dc VcY Vc VlVgY d[ Xdhih VcY ZmeZchZh+ ^cXajY^c\ V gZVhdcVWaZ VaadlVcXZ [dg ViidgcZnhx VcY ZmeZgihx
 [ZZh- HZ^i]Zg DVoo J]VgbVXZji^XVah eaX cdg JaZm lZgZ cVbZY YZ[ZcYVcih ^c i]ZhZ VXi^dch-
 Ic Djan 5+ 1/05+ i]Z YZ[ZcYVcih id i]Z >jcWVg VXi^dc+ i]Z JVab^hX^Vcd VXi^dc VcY i]Z <VggZid VXi^dc ZciZgZY ^cid V bZbdgVcYjb d[ jcYZghiVcY^c\
 gZ\VgY^c\ hZiiaZbZci d[ i]ZhZ VXi^dch l^i] i]Z eaV^ci^[[h- N]Z bZbdgVcYjb d[ jcYZghiVcY^c\ djia^cZh i]Z iZgbh d[ i]Z eVgi^Zhx V\gZZbZci ^c eg^cX^eaZ
 id hZiiaZ VcY gZaZVhZ Vaa XaV^bh l]^X] lZgZ dg XdjaY ]VkZ WZZc VhhZgiZY ^c i]ZhZ VXi^dch- Cc Xdch^YZgVi^dc [dg hjX] hZiiaZbZci VcY gZaZVhZ+ i]Z eVgi^Zh
 id i]ZhZ VXi^dch V\gZZY+ Vbdc\ di]Zg i]^c\h+ i]Vi =ZaVidg ldjaY VbZcY ^ih MX]ZYjaZ 03>,8 id ^cXajYZ XZgiV^c hjeeaZbZciVa Y^hXadhjgZh- N]Z
 MX]ZYjaZ 03>,8 lVh VbZcYZY Wn =ZaVidg dc Djan 5+ 1/05+ VcY i]Z =ZaVidg ;Xfj^h^i^dc lVh XdbeaZiZY dc Djan 01+ 1/05- N]Z hZiiaZbZci gZbV^ch
 hjW_ZXi id+ Vbdc\ di]Zg ^iZbh+ Xdc[^gbVidgn Y^hXdkZgn+ i]Z ZmZXji^dc d[ V hi^ejaVi^dc d[ hZiiaZbZci Wn i]Z eVgi^Zh+ [^cVa VeegdkVa d[ i]Z hZiiaZbZci Wn
 i]Z >^hig^Xi =djgi ^c i]Z <VggZid VXi^dc VcY Y^hb^hhVa l^i] egZ_jY^XZ d[ i]Z >jcWVg VXi^dc VcY i]Z JVab^hX^Vcd VXi^dc-
 @gdb i^bZ id i^bZ lZ VgZ ^ckdakZY ^c aZ\Va egdXZZY^c\h Vg^h^c\ ^c i]Z dgY^cVgn XdjghZ d[ Wjh^cZhh- QZ WZa^ZkZ i]ZgZ ^h cd di]Zg a^i^\Vi^dc eZcY^c\
 i]Vi XdjaY ]VkZ+ ^cY^k^YjVaan dg ^c i]Z V\\gZ\ViZ+ V bViZg^Va VYkZghZ Z[[ZXi dc djg gZhjaih d[ deZgVi^dch dg [^cVcX^Va XdcY^i^dc-
 Other Contingencies
 Cc GVn 1/05+ lZ gZXZ^kZY V hjWedZcV [gdb i]Z O-M- ;iidgcZnxh I[[^XZ [dg i]Z >^hig^Xi d[ GVhhVX]jhZiih gZfjZhi^c\ YdXjbZcih gZaViZY id djg
 hjeedgi d[ 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih+ VcY+ [dg RngZb+ YdXjbZcih XdcXZgc^c\ i]Z egdk^h^dc d[
 [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih- Cc IXidWZg 1/05+ lZ gZXZ^kZY V hZXdcY hjWedZcV jeYVi^c\ VcY [jgi]Zg heZX^[n^c\ YdXjbZci gZfjZhih
 gZ\VgY^c\ hjeedgi id 4/0'X('2( dg\Vc^oVi^dch i]Vi egdk^YZ [^cVcX^Va Vhh^hiVcXZ id GZY^XVgZ eVi^Zcih VcY i]Z egdk^h^dc d[ [^cVcX^Va Vhh^hiVcXZ [dg
 GZY^XVgZ eVi^Zcih iV`^c\ Ygj\h hdaY Wn jh- Cc @ZWgjVgn 1/06+ lZ gZXZ^kZY V i]^gY hjWedZcV gZfjZhi^c\ YdXjbZcih gZ\VgY^c\ djg hjeedgi id V
 heZX^[^X 4/0'X('2( dg\Vc^oVi^dc i]Vi ZhiVWa^h]ZY V [jcY [dg cVgXdaZehn eVi^Zcih ^c DVcjVgn 1/06- Ii]Zg XdbeVc^Zh ]VkZ Y^hXadhZY h^b^aVg

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 hjWedZcVh VcY Xdci^cj^c\ ^cfj^g^Zh- QZ VgZ XddeZgVi^c\ l^i] i]^h ^ckZhi^\Vi^dc- QZ VgZ jcVWaZ id egZY^Xi ]dl adc\ i]^h ^ckZhi^\Vi^dc l^aa Xdci^cjZ+
 l]Zi]Zg lZ l^aa gZXZ^kZ VYY^i^dcVa hjWedZcVh ^c XdccZXi^dc l^i] i]^h ^ckZhi^\Vi^dc+ dg ^ih djiXdbZ+ Wji lZ ZmeZXi i]Vi lZ l^aa Xdci^cjZ id ^cXjg
 h^\c^[^XVci Xdhih ^c XdccZXi^dc l^i] i]Z ^ckZhi^\Vi^dc+ gZ\VgYaZhh d[ i]Z djiXdbZ- @dg bdgZ ^c[dgbVi^dc+ hZZ i]Z g^h` [VXidg jcYZg i]Z ]ZVY^c\ vWe
 are subject to significant ongoing regulatory obligations and oversight, which may result in significant additional expense and limit our ability
 to commercialize our products” ^c JVgi C+ CiZb 0; d[ i]^h ;ccjVa LZedgi dc @dgb 0/|E-

 12. Shareholders’ Equity
 Share Repurchase Program
 Cc GVn 1/02+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY V h]VgZ gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ lZgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg d[
 dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ gZejgX]VhZ eg^XZ d[ je id #1//-/ b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- Cc ;j\jhi 1/04+ lZ
 XdbeaZiZY gZejgX]VhZh jcYZg i]Z GVn 1/02 h]VgZ gZejgX]VhZ egd\gVb- Cc HdkZbWZg 1/04+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY Vcdi]Zg h]VgZ
 gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ lZgZ Vji]dg^oZY id gZejgX]VhZ V cjbWZg d[ dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ ejgX]VhZ eg^XZ d[ je id
 #2//-/ b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- Cc MZeiZbWZg 1/05+ lZ XdbeaZiZY gZejgX]VhZh jcYZg i]Z HdkZbWZg 1/04 h]VgZ gZejgX]VhZ
 egd\gVb- Cc HdkZbWZg 1/05+ djg WdVgY d[ Y^gZXidgh Vji]dg^oZY V cZl h]VgZ gZejgX]VhZ egd\gVb ejghjVci id l]^X] lZ VgZ Vji]dg^oZY id gZejgX]VhZ V
 cjbWZg d[ dgY^cVgn h]VgZh ]Vk^c\ Vc V\\gZ\ViZ ejgX]VhZ eg^XZ d[ je id #2//-/ b^aa^dc+ ZmXajh^kZ d[ Vcn Wgd`ZgV\Z Xdbb^hh^dch- OcYZg i]^h egd\gVb+
 l]^X] ]Vh cd Zme^gVi^dc YViZ+ lZ bVn gZejgX]VhZ dgY^cVgn h]VgZh [gdb i^bZ id i^bZ dc i]Z deZc bVg`Zi- N]Z i^b^c\ VcY Vbdjci d[ gZejgX]VhZh l^aa
 YZeZcY dc V kVg^Zin d[ [VXidgh+ ^cXajY^c\ i]Z eg^XZ d[ djg dgY^cVgn h]VgZh+ VaiZgcVi^kZ ^ckZhibZci deedgijc^i^Zh+ gZhig^Xi^dch jcYZg i]Z VbZcYZY
 XgZY^i V\gZZbZci+ XdgedgViZ VcY gZ\jaVidgn gZfj^gZbZcih VcY bVg`Zi XdcY^i^dch- N]Z cZl h]VgZ gZejgX]VhZ egd\gVb bVn WZ bdY^[^ZY+ hjheZcYZY dg
 Y^hXdci^cjZY Vi Vcn i^bZ l^i]dji eg^dg cdi^XZ- Cc 1/05+ jcYZg i]Z HdkZbWZg 1/04 VcY HdkZbWZg 1/05 gZejgX]VhZ egd\gVbh+ lZ heZci V idiVa d[
 #167-2 b^aa^dc id gZejgX]VhZ 1-1 b^aa^dc d[ djg dgY^cVgn h]VgZh Vi Vc VkZgV\Z idiVa ejgX]VhZ eg^XZ+ ^cXajY^c\ Wgd`ZgV\Z Xdbb^hh^dch+ d[ #013-/8 eZg
 h]VgZ- ;aa dgY^cVgn h]VgZh gZejgX]VhZY lZgZ XVcXZaZY- ;h d[ >ZXZbWZg 20+ 1/05+ i]Z gZbV^c^c\ Vbdjci Vji]dg^oZY jcYZg i]Z HdkZbWZg 1/05 h]VgZ
 gZejgX]VhZ egd\gVb lVh #170-4 b^aa^dc-
 Authorized But Unissued Ordinary Shares
 QZ ]VY gZhZgkZY i]Z [daadl^c\ h]VgZh d[ Vji]dg^oZY Wji jc^hhjZY dgY^cVgn h]VgZh '^c i]djhVcYh(9

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 1/00 ?fj^in CcXZci^kZ JaVc                                                                                                                 02+877
 1//6 ?fj^in CcXZci^kZ JaVc                                                                                                                    807
 1//6 ?beadnZZ MidX` JjgX]VhZ JaVc                                                                                                             332
 ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc                                                                             374
 ;bZcYZY VcY LZhiViZY >^gZXidgh >Z[ZggZY =dbeZchVi^dc JaVc                                                                                     067
 NdiVa                                                                                                                                      05+/01

 13. Comprehensive Income (Loss)
 =dbegZ]Zch^kZ ^cXdbZ 'adhh( ^cXajYZh cZi ^cXdbZ VcY Vaa X]Vc\Zh ^c h]VgZ]daYZghx Zfj^in Yjg^c\ V eZg^dY+ ZmXZei [dg i]dhZ X]Vc\Zh gZhjai^c\ [gdb
 ^ckZhibZcih Wn h]VgZ]daYZgh dg Y^hig^Wji^dch id h]VgZ]daYZgh-

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                                                          22245
 NVWaZ d[ =dciZcih
                                                          JAZZ PHARMACEUTICALS PLC
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 Accumulated Other Comprehensive Loss
 N]Z XdbedcZcih d[ VXXjbjaViZY di]Zg XdbegZ]Zch^kZ adhh Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX Vi >ZXZbWZg 20+ 1/05 VcY >ZXZbWZg 20+ 1/04
 lZgZ Vh [daadlh '^c i]djhVcYh(9

                                                                                                                                               Total
                                                                                                                     Foreign                Accumulated
                                                                                                                    Currency                   O th er
                                                                                                                   Translation             Comprehensive
                                                                                                                   Adjustments                  Loss
 <VaVcXZ Vi >ZXZbWZg 20+ 1/04                                                                                 #          '156+361( #              '156+361(
 Ii]Zg XdbegZ]Zch^kZ adhh                                                                                                   '38+750(                  '38+750(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/05                                                                                 #          '206+222( #              '206+222(

 Cc 1/05+ di]Zg XdbegZ]Zch^kZ adhh gZ[aZXih [dgZ^\c XjggZcXn igVchaVi^dc VY_jhibZcih+ eg^bVg^an YjZ id i]Z higZc\i]Zc^c\ d[ i]Z O-M- YdaaVg V\V^chi i]Z
 Zjgd-

 14. Segment and Other Information
 Ijg deZgVi^c\ hZ\bZci ^h gZedgiZY ^c V bVccZg Xdch^hiZci l^i] i]Z ^ciZgcVa gZedgi^c\ egdk^YZY id i]Z X]^Z[ deZgVi^c\ YZX^h^dc bV`Zg dg+ =I>G- Ijg
 =I>G ]Vh WZZc ^YZci^[^ZY Vh djg X]^Z[ ZmZXji^kZ d[[^XZg- QZ ]VkZ YZiZgb^cZY i]Vi lZ deZgViZ ^c dcZ Wjh^cZhh hZ\bZci+ l]^X] ^h i]Z ^YZci^[^XVi^dc+
 YZkZadebZci VcY XdbbZgX^Va^oVi^dc d[ bZVc^c\[ja e]VgbVXZji^XVa egdYjXih i]Vi VYYgZhh jcbZi bZY^XVa cZZYh- N]Z [daadl^c\ iVWaZ egZhZcih V
 hjbbVgn d[ idiVa gZkZcjZh '^c i]djhVcYh(9

                                                                                                             Year Ended December 31,
                                                                                             2016                     2015                     2014
 RngZb                                                                               #         0+0/6+505       #            844+076    #          667+473
 ?gl^cVoZ.?gl^cVhZ                                                                                 1//+567                  1/2+150               088+554
 >Z[^iZa^d.YZ[^Wgdi^YZ                                                                             0/7+841                   6/+620                   6/+426
 Jg^Vait 'o^Xdcdi^YZ( ^cigVi]ZXVa ^c[jh^dc                                                          18+01/                   15+33/                   15+310
 JhnX]^Vign                                                                                         06+542                   26+024                   3/+768
 Ii]Zg                                                                                              02+131                   13+/54                   35+52/
 JgdYjXi hVaZh+ cZi                                                                            0+366+150                0+205+708                0+051+605
 LdnVai^Zh VcY XdcigVXi gZkZcjZh                                                                    0/+601                    6+873                   0/+048
 NdiVa gZkZcjZh                                                                      #         0+376+862       #        0+213+7/2      #         0+061+764

 N]Z [daadl^c\ iVWaZ egZhZcih V hjbbVgn d[ idiVa gZkZcjZh Viig^WjiZY id \Zd\gVe]^X hdjgXZh '^c i]djhVcYh(9

                                                                                                             Year Ended December 31,
                                                                                             2016                     2015                     2014
 Oc^iZY MiViZh                                                                       #         0+243+810       #        0+081+768      #         0+//6+285
 ?jgdeZ                                                                                            0/5+035                  0/2+503               015+604
 ;aa di]Zg                                                                                          15+8/5                   17+20/                   27+653
 NdiVa gZkZcjZh                                                                      #         0+376+862       #        0+213+7/2      #         0+061+764

 N]Z [daadl^c\ iVWaZ egZhZcih V hjbbVgn d[ i]Z eZgXZciV\Z d[ idiVa gZkZcjZh [gdb XjhidbZgh i]Vi gZegZhZciZY bdgZ i]Vc 0/$ d[ djg idiVa gZkZcjZh9

                                                                                                            Year Ended December 31,
                                                                                            2016                     2015                      2014
 ?megZhh MXg^eih                                                                                     63$                       61$                       55$
 GXEZhhdc =dgedgVi^dc VcY V[[^a^ViZh                                                                 04$                        6$                         ,$
 ;XXgZYd BZVai] Agdje+ CcX-                                                                            ,$                       5$                       03$

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 NVWaZ d[ =dciZcih
                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 ;i i]Z ZcY d[ i]Z hZXdcY fjVgiZg d[ 1/04+ lZ igVch^i^dcZY i]Z O-M- Y^hig^Wji^dc d[ ?gl^cVoZ [gdb ;XXgZYd BZVai] Agdje+ CcX- id GXEZhhdc-
 N]Z [daadl^c\ iVWaZ egZhZcih idiVa adc\,a^kZY VhhZih Wn adXVi^dc '^c i]djhVcYh(9

                                                                                                                           December 31,
                                                                                                                   2016                   2015
 CgZaVcY                                                                                                   #              51+342   #             51+684
 Oc^iZY MiViZh                                                                                                            24+680                 01+683
 CiVan                                                                                                                     6+///                  6+817
 Ii]Zg                                                                                                                     1+135                  1+/44
 NdiVa adc\,a^kZY VhhZih '0(                                                                               #           0/6+38/     #             74+461
 UUUUUUUUUUUUUUUUUUUUUUUUU
 '0(   Fdc\,a^kZY VhhZih Xdch^hi d[ egdeZgin VcY Zfj^ebZci-

 15. Share-Based Compensation
 2011 Equity Incentive Plan
 Ic DVcjVgn 07+ 1/01+ i]Z Wjh^cZhhZh d[ DVoo J]VgbVXZji^XVah+ CcX- VcY ;ojg J]VgbV lZgZ XdbW^cZY ^c V bZg\Zg igVchVXi^dc+ dg i]Z ;ojg GZg\Zg- Cc
 XdccZXi^dc l^i] i]Z ;ojg GZg\Zg+ DVoo J]VgbVXZji^XVah+ CcX-xh WdVgY d[ Y^gZXidgh VYdeiZY i]Z 1/00 ?fj^in CcXZci^kZ JaVc+ dg i]Z 1/00 JaVc+ ^c
 IXidWZg 1/00 VcY ^ih hidX`]daYZgh VeegdkZY i]Z 1/00 JaVc Vi i]Z heZX^Va bZZi^c\ d[ i]Z hidX`]daYZgh ]ZaY ^c >ZXZbWZg 1/00 ^c XdccZXi^dc l^i] i]Z
 ;ojg GZg\Zg- N]Z 1/00 JaVc WZXVbZ Z[[ZXi^kZ ^bbZY^ViZan WZ[dgZ i]Z XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg VcY lVh VhhjbZY VcY VYdeiZY Wn jh jedc
 i]Z XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg- N]Z iZgbh d[ i]Z 1/00 JaVc egdk^YZ [dg i]Z \gVci d[ hidX` dei^dch+ hidX` VeegZX^Vi^dc g^\]ih+ gZhig^XiZY hidX`
 VlVgYh+ LMOh+ di]Zg hidX` VlVgYh+ VcY eZg[dgbVcXZ VlVgYh i]Vi bVn WZ hZiiaZY ^c XVh]+ h]VgZh+ dg di]Zg egdeZgin- ;aa djihiVcY^c\ \gVcih jcYZg i]Z
 1/00 JaVc lZgZ \gVciZY id ZbeadnZZh VcY kZhi gViVWan dkZg hZgk^XZ eZg^dYh d[ [djg nZVgh VcY Zme^gZ cd bdgZ i]Vc 0/ nZVgh V[iZg i]Z YViZ d[ \gVci- ; h
 d[ >ZXZbWZg 20+ 1/05+ V idiVa d[ 08+/25+874 d[ djg dgY^cVgn h]VgZh ]VY WZZc Vji]dg^oZY [dg ^hhjVcXZ jcYZg i]Z 1/00 JaVc- Cc VYY^i^dc+ i]Z h]VgZ
 gZhZgkZ jcYZg i]Z 1/00 JaVc l^aa VjidbVi^XVaan ^cXgZVhZ dc DVcjVgn 0 d[ ZVX] nZVg i]gdj\] DVcjVgn 0+ 1/11+ Wn i]Z aZVhi d[ 'V( 3-4$ d[ i]Z idiVa
 cjbWZg d[ dgY^cVgn h]VgZh djihiVcY^c\ dc >ZXZbWZg 20 d[ i]Z egZXZY^c\ XVaZcYVg nZVg+ 'W( 4+///+/// h]VgZh+ dg 'X( hjX] aZhhZg cjbWZg d[ dgY^cVgn
 h]VgZh Vh YZiZgb^cZY Wn djg WdVgY d[ Y^gZXidgh- Ic DVcjVgn 0+ 1/06+ i]Z h]VgZ gZhZgkZ jcYZg i]Z 1/00 JaVc VjidbVi^XVaan ^cXgZVhZY Wn 1+581+136
 dgY^cVgn h]VgZh ejghjVci id i]^h egdk^h^dc-
 2007 Equity Incentive Plan
 N]Z 1//6 ?fj^in CcXZci^kZ JaVc+ dg i]Z 1//6 JaVc+ l]^X] lVh ^c^i^Vaan VYdeiZY Wn i]Z DVoo J]VgbVXZji^XVah+ CcX- WdVgY d[ Y^gZXidgh VcY VeegdkZY Wn
 i]Z DVoo J]VgbVXZji^XVah+ CcX- hidX`]daYZgh ^c XdccZXi^dc l^i] ^ih ^c^i^Va ejWa^X d[[Zg^c\+ lVh Xdci^cjZY VcY VhhjbZY Wn jh jedc XdchjbbVi^dc d[
 i]Z ;ojg GZg\Zg- N]Z 1//6 JaVc egdk^YZY [dg i]Z \gVci d[ hidX` dei^dch+ gZhig^XiZY hidX` VlVgYh+ LMOh+ hidX` VeegZX^Vi^dc g^\]ih+ eZg[dgbVcXZ hidX`
 VlVgYh VcY di]Zg [dgbh d[ Zfj^in XdbeZchVi^dc id ZbeadnZZh+ ^cXajY^c\ d[[^XZgh+ cdc,ZbeadnZZ Y^gZXidgh VcY XdchjaiVcih- Jg^dg id i]Z
 XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg+ Vaa d[ i]Z \gVcih jcYZg i]Z 1//6 JaVc lZgZ \gVciZY id ZbeadnZZh VcY kZhi gViVWan dkZg hZgk^XZ eZg^dYh d[ i]gZZ id
 [^kZ nZVgh VcY Zme^gZ cd bdgZ i]Vc 0/ nZVgh V[iZg i]Z YViZ d[ \gVci- ?[[ZXi^kZ Vh d[ i]Z Xadh^c\ d[ i]Z ;ojg GZg\Zg dc DVcjVgn 07+ 1/01+ i]Z cjbWZg d[
 h]VgZh gZhZgkZY [dg ^hhjVcXZ jcYZg i]Z 1//6 JaVc lVh hZi id 0+///+/// dgY^cVgn h]VgZh- N]Z h]VgZ gZhZgkZ jcYZg i]Z 1//6 JaVc l^aa cdi VjidbVi^XVaan
 ^cXgZVhZ- M^cXZ i]Z ;ojg GZg\Zg+ Vaa d[ i]Z cZl \gVcih jcYZg i]Z 1//6 JaVc lZgZ \gVciZY id cdc,ZbeadnZZ Y^gZXidgh+ kZhi gViVWan dkZg hZgk^XZ
 eZg^dYh d[ dcZ id i]gZZ nZVgh VcY Zme^gZ cd bdgZ i]Vc 0/ nZVgh V[iZg i]Z YViZ d[ \gVci- N]Z 1//6 JaVc Zme^gZh ^c ;eg^a 1/06-

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 NVWaZ d[ =dciZcih
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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 2007 Employee Stock Purchase Plan
 Cc 1//6+ DVoo J]VgbVXZji^XVah+ CcX-xh ZbeadnZZh WZXVbZ Za^\^WaZ id eVgi^X^eViZ ^c i]Z ?beadnZZ MidX` JjgX]VhZ JaVc+ dg ?MJJ- N]Z ?MJJ lVh VbZcYZY
 VcY gZhiViZY Wn DVoo J]VgbVXZji^XVah+ CcX-xh WdVgY d[ Y^gZXidgh ^c IXidWZg 1/00 VcY VeegdkZY Wn ^ih hidX`]daYZgh ^c >ZXZbWZg 1/00- N]Z VbZcYZY
 VcY gZhiViZY ?MJJ WZXVbZ Z[[ZXi^kZ ^bbZY^ViZan eg^dg id i]Z Z[[ZXi^kZ i^bZ d[ i]Z ;ojg GZg\Zg VcY lVh VhhjbZY Wn jh jedc i]Z XdchjbbVi^dc d[
 i]Z ;ojg GZg\Zg- N]Z VbZcYZY VcY gZhiViZY ?MJJ Vaadlh djg Za^\^WaZ ZbeadnZZ eVgi^X^eVcih '^cXajY^c\ ZbeadnZZh d[ Vcn d[ V eVgZci dg hjWh^Y^Vgn
 XdbeVcn ^[ djg WdVgY d[ Y^gZXidgh YZh^\cViZh hjX] XdbeVcn Vh Za^\^WaZ id eVgi^X^eViZ( id ejgX]VhZ djg dgY^cVgn h]VgZh Vi V Y^hXdjci d[ 04$ i]gdj\]
 eVngdaa YZYjXi^dch- N]Z ?MJJ Xdch^hih d[ V [^mZY d[[Zg^c\ eZg^dY d[ 13 bdci]h l^i] [djg ejgX]VhZ eZg^dYh l^i]^c ZVX] d[[Zg^c\ eZg^dY- N]Z cjbWZg
 d[ h]VgZh VkV^aVWaZ [dg ^hhjVcXZ jcYZg djg ?MJJ Yjg^c\ Vcn h^m,bdci] ejgX]VhZ eZg^dY ^h 064+/// h]VgZh- ;h d[ >ZXZbWZg 20+ 1/05+ V idiVa d[
 1+55/+/// d[ djg dgY^cVgn h]VgZh ]VY WZZc Vji]dg^oZY [dg ^hhjVcXZ jcYZg i]Z ?MJJ- N]Z h]VgZ gZhZgkZ jcYZg i]Z ?MJJ l^aa VjidbVi^XVaan ^cXgZVhZ dc
 DVcjVgn 0 d[ ZVX] nZVg i]gdj\] DVcjVgn 0+ 1/11+ Wn i]Z aZVhi d[ 'V( 0-4$ d[ i]Z idiVa cjbWZg d[ dgY^cVgn h]VgZh djihiVcY^c\ dc >ZXZbWZg 20 d[ i]Z
 egZXZY^c\ XVaZcYVg nZVg+ 'W( 0+///+/// h]VgZh+ VcY 'X( hjX] aZhhZg cjbWZg d[ dgY^cVgn h]VgZh Vh YZiZgb^cZY Wn djg WdVgY d[ Y^gZXidgh dg V Yjan,
 Vji]dg^oZY Xdbb^iiZZ i]ZgZd[- Ijg XdbeZchVi^dc Xdbb^iiZZ YZiZgb^cZY cdi id VjidbVi^XVaan ^cXgZVhZ i]Z h]VgZ gZhZgkZ jcYZg i]Z ?MJJ dc DVcjVgn
 0+ 1/06-
 Amended and Restated 2007 Non-Employee Directors Stock Award Plan
 N]Z ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc+ dg i]Z 1//6 >^gZXidgh ;lVgY JaVc+ l]^X] lVh ^c^i^Vaan VYdeiZY Wn i]Z
 DVoo J]VgbVXZji^XVah+ CcX- WdVgY d[ Y^gZXidgh VcY VeegdkZY Wn i]Z DVoo J]VgbVXZji^XVah+ CcX- hidX`]daYZgh ^c XdccZXi^dc l^i] ^ih ^c^i^Va ejWa^X
 d[[Zg^c\+ lVh Xdci^cjZY VcY VhhjbZY Wn jh jedc i]Z XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg- Oci^a IXidWZg 1/00+ i]Z 1//6 >^gZXidgh ;lVgY JaVc
 egdk^YZY [dg i]Z VjidbVi^X \gVci d[ hidX` dei^dch id ejgX]VhZ h]VgZh d[ DVoo J]VgbVXZji^XVah+ CcX-xh Xdbbdc hidX` id ^ih cdc,ZbeadnZZ Y^gZXidgh
 ^c^i^Vaan Vi i]Z i^bZ Vcn ^cY^k^YjVa [^ghi WZXVbZ V cdc,ZbeadnZZ Y^gZXidg+ l]^X] kZhi dkZg i]gZZ nZVgh+ VcY i]Zc VccjVaan dkZg i]Z^g eZg^dY d[ hZgk^XZ
 dc ^ih WdVgY d[ Y^gZXidgh+ l]^X] kZhi dkZg dcZ nZVg- Ic IXidWZg 13+ 1/00+ DVoo J]VgbVXZji^XVah+ CcX-xh WdVgY d[ Y^gZXidgh VbZcYZY i]Z 1//6 >^gZXidgh
 ;lVgY JaVc id Za^b^cViZ Vaa [jijgZ ^c^i^Va VcY VccjVa VjidbVi^X \gVcih hd i]Vi [jijgZ VjidbVi^X \gVcih ldjaY cdi WZ bVYZ i]Vi ldjaY WZ hjW_ZXi id i]Z
 ZmX^hZ iVm ^bedhZY Wn MZXi^dc 3874 d[ i]Z CciZgcVa LZkZcjZ =dYZ d[ 0875+ Vh VbZcYZY+ dg i]Z CciZgcVa LZkZcjZ =dYZ+ ^c XdccZXi^dc l^i] i]Z ;ojg
 GZg\Zg- ;XXdgY^c\an+ Vaa [jijgZ hidX` dei^dc \gVcih jcYZg i]Z 1//6 >^gZXidgh ;lVgY JaVc l^aa WZ Vi i]Z Y^hXgZi^dc d[ djg WdVgY d[ Y^gZXidgh- M^cXZ i]Z
 ;ojg GZg\Zg+ Vaa d[ i]Z cZl \gVcih jcYZg i]Z 1//6 >^gZXidgh ;lVgY JaVc lZgZ \gVciZY id cdc,ZbeadnZZ Y^gZXidgh VcY kZhi gViVWan dkZg hZgk^XZ
 eZg^dYh d[ dcZ id i]gZZ nZVgh VcY Zme^gZ cd bdgZ i]Vc 0/ nZVgh V[iZg i]Z YViZ d[ \gVci- Cc VYY^i^dc+ i]Z 1//6 >^gZXidgh ;lVgY JaVc egdk^YZh i]Z
 hdjgXZ d[ h]VgZh id [jcY Y^hig^Wji^dch bVYZ eg^dg id ;j\jhi 04+ 1/0/ jcYZg i]Z >^gZXidgh >Z[ZggZY =dbeZchVi^dc JaVc YZhXg^WZY WZadl- Cc ;j\jhi
 1/05+ djg h]VgZ]daYZgh VeegdkZY djg egdedhVa id ZmeVcY i]Z ineZh d[ hidX` VlVgYh i]Vi bVn WZ \gVciZY id djg cdc,ZbeadnZZ Y^gZXidgh jcYZg i]Z
 1//6 >^gZXidgh ;lVgY JaVc VcY Za^b^cViZ i]Z [^cVa VjidbVi^X h]VgZ gZhZgkZ ^cXgZVhZ jcYZg i]Z 1//6 >^gZXidgh JaVc i]Vi lVh hX]ZYjaZY id dXXjg dc
 DVcjVgn 0+ 1/06- ;h d[ >ZXZbWZg 20+ 1/05+ V idiVa d[ 758+657 d[ djg dgY^cVgn h]VgZh ]VY WZZc Vji]dg^oZY [dg ^hhjVcXZ jcYZg i]Z 1//6 >^gZXidgh ;lVgY
 JaVc-
 Amended and Restated Directors Deferred Compensation Plan
 Cc GVn 1//6+ i]Z DVoo J]VgbVXZji^XVah+ CcX- WdVgY d[ Y^gZXidgh VYdeiZY i]Z >^gZXidgh >Z[ZggZY =dbeZchVi^dc JaVc+ dg i]Z >^gZXidgh >Z[ZggZY JaVc+
 l]^X] lVh VbZcYZY ^c >ZXZbWZg 1//7 VcY lVh i]Zc VbZcYZY VcY gZhiViZY ^c ;j\jhi 1/0/+ VcY l]^X] lVh Xdci^cjZY VcY VhhjbZY Wn jh jedc
 XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg- N]Z >^gZXidgh >Z[ZggZY JaVc Vaadlh ZVX] cdc,ZbeadnZZ Y^gZXidg id ZaZXi id YZ[Zg gZXZ^ei d[ Vaa dg V edgi^dc d[ ]^h
 dg ]Zg VccjVa gZiV^cZg [ZZh id V [jijgZ YViZ dg YViZh- ;bdjcih YZ[ZggZY jcYZg i]Z >^gZXidgh >Z[ZggZY JaVc VgZ XgZY^iZY Vh h]VgZh d[ DVoo
 J]VgbVXZji^XVah+ CcX-xh Xdbbdc hidX` 'dg djg dgY^cVgn h]VgZh [daadl^c\ i]Z ;ojg GZg\Zg( id V e]Vcidb hidX` VXXdjci+ i]Z cjbWZg d[ l]^X] VgZ
 WVhZY dc i]Z Vbdjci d[ i]Z gZiV^cZg [ZZh YZ[ZggZY Y^k^YZY Wn i]Z bVg`Zi kVajZ d[ DVoo J]VgbVXZji^XVah+ CcX-xh Xdbbdc hidX` 'dg djg dgY^cVgn h]VgZh
 [daadl^c\ i]Z ;ojg GZg\Zg( dc i]Z [^ghi igVY^c\ YVn d[ i]Z [^ghi deZc l^cYdl eZg^dY [daadl^c\ i]Z YViZ i]Z gZiV^cZg [ZZh VgZ YZZbZY ZVgcZY- Ic i]Z
 0/i] Wjh^cZhh YVn [daadl^c\ i]Z YVn d[ hZeVgVi^dc [gdb i]Z WdVgY d[ Y^gZXidgh dg i]Z dXXjggZcXZ d[ V X]Vc\Z ^c Xdcigda+ dg Vh hddc i]ZgZV[iZg Vh
 egVXi^XVa dcXZ i]Z cdc,ZbeadnZZ Y^gZXidg ]Vh egdk^YZY i]Z cZXZhhVgn ^c[dgbVi^dc [dg ZaZXigdc^X YZedh^i d[ i]Z YZ[ZggZY h]VgZh+ ZVX] cdc,ZbeadnZZ
 Y^gZXidg l^aa gZXZ^kZ 'dg XdbbZcXZ gZXZ^k^c\+ YZeZcY^c\ jedc l]Zi]Zg i]Z Y^gZXidg ]Vh ZaZXiZY id gZXZ^kZ Y^hig^Wji^dch [gdb ]^h dg ]Zg e]Vcidb
 hidX` VXXdjci ^c V ajbe hjb dg ^c ^chiVaabZcih dkZg i^bZ( V Y^hig^Wji^dc d[ ]^h dg ]Zg e]Vcidb hidX` VXXdjci+ ^c djg dgY^cVgn h]VgZh '^( gZhZgkZY
 jcYZg i]Z 1//6 >^gZXidgh Iei^dc JaVc eg^dg id ;j\jhi 04+ 1/0/ VcY '^^( [gdb V cZl gZhZgkZ d[ 1//+/// h]VgZh hZi je jcYZg i]Z >^gZXidgh >Z[ZggZY JaVc
 dc ;j\jhi 04+ 1/0/- ;ai]dj\] lZ Xdci^cjZ id bV^ciV^c i]Z >^gZXidgh >Z[ZggZY JaVc+ h^cXZ i]Z XdchjbbVi^dc d[ i]Z ;ojg GZg\Zg lZ ]VkZ cdi
 eZgb^iiZY VcY l^aa cdi eZgb^i cdc,ZbeadnZZ Y^gZXidgh id YZ[Zg Vcn VccjVa gZiV^cZg [ZZh jcYZg i]Z >^gZXidgh >Z[ZggZY JaVc- QZ gZXdgYZY cd ZmeZchZ
 ^c 1/05+ 1/04 VcY 1/03 gZaViZY id gZiV^cZg [ZZh ZVgcZY VcY YZ[ZggZY- ;h d[ >ZXZbWZg 20+ 1/05+ 03+388 d[ djg dgY^cVgn h]VgZh i]Vi lZgZ jc^hhjZY
 gZaViZY id gZiV^cZg [ZZh i]Vi lZgZ YZ[ZggZY jcYZg i]Z >^gZXidgh >Z[ZggZY JaVc-

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 Share-Based Compensation
 N]Z iVWaZ WZadl h]dlh+ [dg Vaa h]VgZ dei^dc \gVcih+ i]Z lZ^\]iZY,VkZgV\Z Vhhjbei^dch jhZY ^c i]Z <aVX`,MX]daZh dei^dc eg^X^c\ bdYZa VcY i]Z
 gZhjai^c\ lZ^\]iZY,VkZgV\Z \gVci YViZ [V^g kVajZ d[ h]VgZ dei^dch \gVciZY ^c ZVX] d[ i]Z eVhi i]gZZ nZVgh9

                                                                                                                  Year Ended December 31,
                                                                                                  2016                        2015                         2014
 AgVci YViZ [V^g kVajZ                                                                   #               3/-34      #                46-08         #              5/-18
 PdaVi^a^in                                                                                                28$                         28$                           34$
 ?meZXiZY iZgb 'nZVgh(                                                                                     3-1                         3-1                           3-2
 LVc\Z d[ g^h`,[gZZ gViZh                                                                           /-7,0-5$                    0-0,0-4$                     0-0,0-3$
 ?meZXiZY Y^k^YZcY n^ZaY                                                                                     ,$                            ,$                           ,$

 QZ gZan dc V WaZcY d[ i]Z ]^hidg^XVa VcY ^bea^ZY kdaVi^a^i^Zh d[ djg dlc dgY^cVgn h]VgZh id YZiZgb^cZ ZmeZXiZY kdaVi^a^in [dg h]VgZ dei^dc \gVcih- Cc
 VYY^i^dc+ lZ jhZ V h^c\aZ kdaVi^a^in Zhi^bViZ [dg ZVX] h]VgZ dei^dc \gVci- N]Z lZ^\]iZY,VkZgV\Z kdaVi^a^in ^h YZiZgb^cZY Wn XVaXjaVi^c\ i]Z lZ^\]iZY
 VkZgV\Z d[ kdaVi^a^i^Zh [dg Vaa h]VgZ dei^dch \gVciZY ^c V \^kZc nZVg-
 N]Z ZmeZXiZY iZgb d[ h]VgZ dei^dc \gVcih gZegZhZcih i]Z lZ^\]iZY,VkZgV\Z eZg^dY i]Z VlVgYh VgZ ZmeZXiZY id gZbV^c djihiVcY^c\ VcY djg Zhi^bViZh
 lZgZ WVhZY dc ]^hidg^XVa ZmZgX^hZ YViV- N]Z g^h`,[gZZ ^ciZgZhi gViZ Vhhjbei^dc lVh WVhZY dc oZgd Xdjedc O-M- NgZVhjgn ^chigjbZcih l]dhZ iZgb lVh
 Xdch^hiZci l^i] i]Z ZmeZXiZY iZgb d[ djg h]VgZ dei^dc \gVcih- N]Z ZmeZXiZY Y^k^YZcY n^ZaY Vhhjbei^dc lVh WVhZY dc djg ]^hidgn VcY ZmeZXiVi^dc d[
 Y^k^YZcY eVndjih-
 M]VgZ,WVhZY XdbeZchVi^dc ZmeZchZ gZaViZY id h]VgZ dei^dch+ LMOh VcY \gVcih jcYZg djg ?MJJ lVh Vh [daadlh '^c i]djhVcYh(9

                                                                                                                   Year Ended December 31,
                                                                                                   2016                        2015                        2014
 MZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ                                                         #            68+/26        #             63+542       #              44+/72
 LZhZVgX] VcY YZkZadebZci                                                                                 04+185                      02+245                      01+068
 =dhi d[ egdYjXi hVaZh                                                                                     3+327                       2+430                       1+265
 NdiVa h]VgZ,WVhZY XdbeZchVi^dc ZmeZchZ+ egZ,iVm                                                          87+660                      80+44/                      58+527
 CcXdbZ iVm WZcZ[^i [gdb h]VgZ,WVhZY XdbeZchVi^dc ZmeZchZ '0(                                            '2/+/11(                    '1/+/60(                     '02+44/(
 NdiVa h]VgZ,WVhZY XdbeZchVi^dc ZmeZchZ+ cZi d[ iVm                                          #            57+638        #             60+368       #              45+/77
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0(   @daadl^c\ VYdei^dc d[ ;MO Hd- 1/05,/8+ i]Z 1/05 ^cXdbZ iVm WZcZ[^i ^cXajYZh ZmXZhh iVm WZcZ[^ih gZXd\c^oZY-
 QZ gZXd\c^oZY ^cXdbZ iVm WZcZ[^ih gZaViZY id h]VgZ dei^dc ZmZgX^hZh d[ #7-2 b^aa^dc ^c 1/05 VcY gZVa^oZY #/-3 b^aa^dc VcY #0-5 b^aa^dc ^c 1/04 VcY 1/03+
 gZheZXi^kZan-
 Share Options
 N]Z [daadl^c\ iVWaZ hjbbVg^oZh ^c[dgbVi^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY VXi^k^in Yjg^c\ 1/05 gZaViZY id djg h]VgZ dei^dc eaVch9

                                                                       Shares                                                Weighted-
                                                                     Subject to                  Weighted-                    Average                    Aggregate
                                                                    Outstanding                   Average                    Remaining                    Intrinsic
                                                                      Options                    Exercise                   Contractual                     Value
                                                                   (In thousands)                  Price                    Term (Years)               (In thousands)
 IjihiVcY^c\ Vi DVcjVgn 0+ 1/05                                               2+826          #            0/1-70
 Iei^dch \gVciZY                                                              0+2/7                       014-7/
 Iei^dch ZmZgX^hZY                                                             '287(                       31-24
 Iei^dch [dg[Z^iZY                                                             '158(                      031-4/
 Iei^dch Zme^gZY                                                                  '54(                    056-20
 IjihiVcY^c\ Vi >ZXZbWZg 20+ 1/05                                             3+402                       000-41                             6-1 #             0/3+435
 PZhiZY VcY ZmeZXiZY id kZhi Vi >ZXZbWZg 20+ 1/05                             3+177                       00/-/8                             6-0               0/3+306
 ?mZgX^hVWaZ Vi >ZXZbWZg 20+ 1/05                                             1+430                        8/-/5                             5-0               0/0+3/0

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                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 ;\\gZ\ViZ ^cig^ch^X kVajZ h]dlc ^c i]Z iVWaZ VWdkZ ^h ZfjVa id i]Z Y^[[ZgZcXZ WZilZZc i]Z ZmZgX^hZ eg^XZ d[ i]Z jcYZgan^c\ h]VgZ dei^dch VcY i]Z [V^g
 kVajZ d[ djg dgY^cVgn h]VgZh [dg h]VgZ dei^dch i]Vi lZgZ ^c i]Z bdcZn- N]Z V\\gZ\ViZ ^cig^ch^X kVajZ X]Vc\Zh WVhZY dc i]Z [V^g bVg`Zi kVajZ d[ djg
 dgY^cVgn h]VgZh- N]Z V\\gZ\ViZ ^cig^ch^X kVajZ d[ h]VgZ dei^dch ZmZgX^hZY lVh #25-0 b^aa^dc+ #82-2 b^aa^dc VcY #027-1 b^aa^dc Yjg^c\ 1/05+ 1/04 VcY
 1/03+ gZheZXi^kZan- QZ ^hhjZY cZl dgY^cVgn h]VgZh jedc ZmZgX^hZ d[ h]VgZ dei^dch-
 ;h d[ >ZXZbWZg 20+ 1/05+ idiVa XdbeZchVi^dc Xdhi cdi nZi gZXd\c^oZY gZaViZY id jckZhiZY h]VgZ dei^dch lVh #70-2 b^aa^dc+ l]^X] ^h ZmeZXiZY id WZ
 gZXd\c^oZY dkZg V lZ^\]iZY,VkZgV\Z eZg^dY d[ 1-4 nZVgh-
 ;h d[ >ZXZbWZg 20+ 1/05+ idiVa XdbeZchVi^dc Xdhi cdi nZi gZXd\c^oZY gZaViZY id \gVcih jcYZg i]Z ?MJJ lVh #4-3 b^aa^dc+ l]^X] ^h ZmeZXiZY id WZ
 gZXd\c^oZY dkZg V lZ^\]iZY,VkZgV\Z eZg^dY d[ aZhh i]Vc dcZ nZVg-
 Restricted Stock Units
 Cc 1/05+ lZ \gVciZY LMOh XdkZg^c\ Vc ZfjVa cjbWZg d[ djg dgY^cVgn h]VgZh id ZbeadnZZh l^i] V lZ^\]iZY,VkZgV\Z \gVci YViZ [V^g kVajZ d[ #014-68-
 N]Z [V^g kVajZ d[ LMOh ^h YZiZgb^cZY dc i]Z YViZ d[ \gVci WVhZY dc i]Z bVg`Zi eg^XZ d[ djg dgY^cVgn h]VgZh Vh d[ i]Vi YViZ- N]Z [V^g kVajZ d[ i]Z
 LMOh ^h gZXd\c^oZY Vh Vc ZmeZchZ gViVWan dkZg i]Z kZhi^c\ eZg^dY d[ [djg nZVgh- Cc 1/05+ 34/+/// LMOh lZgZ gZaZVhZY l^i] 178+/// dgY^cVgn h]VgZh
 ^hhjZY VcY 050+/// dgY^cVgn h]VgZh l^i]]ZaY [dg iVm ejgedhZh- N]Z idiVa [V^g kVajZ d[ h]VgZh kZhiZY lVh #48-1 b^aa^dc+ #61-1 b^aa^dc VcY #4/-8 b^aa^dc
 Yjg^c\ 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan-
 ;h d[ >ZXZbWZg 20+ 1/05+ idiVa XdbeZchVi^dc Xdhi cdi nZi gZXd\c^oZY gZaViZY id jckZhiZY LMOh lVh #88-5 b^aa^dc+ l]^X] ^h ZmeZXiZY id WZ
 gZXd\c^oZY dkZg V lZ^\]iZY,VkZgV\Z eZg^dY d[ 1-2 nZVgh-


 N]Z [daadl^c\ iVWaZ hjbbVg^oZh ^c[dgbVi^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY VXi^k^in Yjg^c\ 1/05 gZaViZY id djg LMOh9

                                                                                                                  Weighted-
                                                                                           Weighted-               Average                Aggregate
                                                                                            Average               Remaining                Intrinsic
                                                               Number of RSUs (i n         Grant-Date            Contractual                 Value
                                                                  thousands)               Fair Value            Term (Years)           (In thousands)
 IjihiVcY^c\ Vi DVcjVgn 0+ 1/05                                              0+/43     #           018-3/
 LMOh \gVciZY                                                                    408               014-68
 LMOh gZaZVhZY                                                                '34/(                0/4-/8
 LMOh [dg[Z^iZY                                                               '015(                026-14
 IjihiVcY^c\ Vi >ZXZbWZg 20+ 1/05                                                886               026-4/                       0-2 #           0/7+62/


 16. Employee Benefit Plans
 QZ deZgViZ V cjbWZg d[ YZ[^cZY Xdcig^Wji^dc gZi^gZbZci eaVch- N]Z Xdhih d[ i]ZhZ eaVch VgZ X]Vg\ZY id i]Z Xdchda^YViZY hiViZbZcih d[ ^cXdbZ ^c i]Z
 eZg^dY i]Zn VgZ ^cXjggZY- QZ gZXdgYZY ZmeZchZ gZaViZY id djg YZ[^cZY Xdcig^Wji^dc eaVch d[ #2-3 b^aa^dc+ #1-1 b^aa^dc VcY #1-/ b^aa^dc ^c 1/05+ 1/04 VcY
 1/03+ gZheZXi^kZan- Cc CgZaVcY+ lZ deZgViZ V YZ[^cZY Xdcig^Wji^dc eaVc ^c l]^X] lZ Xdcig^WjiZ je id 7$ d[ Vc ZbeadnZZxh Za^\^WaZ ZVgc^c\h- QZ
 gZXdgYZY ZmeZchZ d[ #/-7 b^aa^dc+ #/-5 b^aa^dc VcY #/-4 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan+ ^c XdccZXi^dc l^i] i]Z Xdcig^Wji^dch lZ bVYZ
 jcYZg i]Z Cg^h] YZ[^cZY Xdcig^Wji^dc eaVc- Cc i]Z O-M-+ lZ egdk^YZ V fjVa^[^ZY 3/0'`( hVk^c\h eaVc [dg djg O-M-,WVhZY ZbeadnZZh- ;aa O-M-,WVhZY
 ZbeadnZZh VgZ Za^\^WaZ id eVgi^X^eViZ+ egdk^YZY i]Zn bZZi i]Z gZfj^gZbZcih d[ i]Z eaVc- Cc 1/02+ lZ ZaZXiZY id bViX] XZgiV^c ZbeadnZZ Xdcig^Wji^dch
 jcYZg i]Z 3/0'`( hVk^c\h eaVc- QZ gZXdgYZY ZmeZchZ d[ #0-8 b^aa^dc+ #0-0 b^aa^dc VcY #0-/ b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan- Cc i]Z Oc^iZY
 E^c\Ydb+ lZ deZgViZ V YZ[^cZY Xdcig^Wji^dc eaVc ^c l]^X] lZ Xdcig^WjiZ je id 01$ d[ Vc ZbeadnZZxh Za^\^WaZ ZVgc^c\h- QZ gZXdgYZY ZmeZchZ d[ #/-5
 b^aa^dc+ #/-3 b^aa^dc VcY #/-4 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan+ ^c XdccZXi^dc l^i] Xdcig^Wji^dch lZ bVYZ jcYZg i]Z O-E- YZ[^cZY
 Xdcig^Wji^dc eaVc- Cc @gVcXZ+ lZ VXXgjZ [dg V ediZci^Va a^VW^a^in l]^X] ^h eVnVWaZ ^[ Vc ZbeadnZZ gZi^gZh- N]Z VXXgjZY a^VW^a^in [dg @gVcXZ lVh #/-2
 b^aa^dc VcY #/-1 b^aa^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan- Cc CiVan+ lZ VXXgjZ [dg V ediZci^Va a^VW^a^in l]^X] ^h eVnVWaZ ^[ Vc ZbeadnZZ
 aZVkZh ZbeadnbZci- N]Z VXXgjZY a^VW^a^in [dg CiVan lVh #/-2 b^aa^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04-



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 17. Restructuring
 Cc 1/05 VcY 1/04+ lZ gZXdgYZY hZkZgVcXZ Xdhih d[ #0-4 b^aa^dc VcY #0-0 b^aa^dc+ gZheZXi^kZan+ [dg iZgb^cViZY ZbeadnZZh ^c XdccZXi^dc l^i] i]Z
 gZdg\Vc^oVi^dc d[ djg deZgVi^dch+ eg^bVg^an ^c @gVcXZ VcY CiVan- N]ZhZ dcZ,i^bZ iZgb^cVi^dc WZcZ[^ih lZgZ gZXdgYZY dkZg i]Z gZbV^c^c\ hZgk^XZ eZg^dY
 l]ZgZ ZbeadnZZh lZgZ gZfj^gZY id hiVn i]gdj\] i]Z^g iZgb^cVi^dc YViZ id gZXZ^kZ i]Z WZcZ[^ih VcY ^cXajYZY l^i]^c Xdhi d[ egdYjXi hVaZh VcY hZaa^c\+
 \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZh ^c djg Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY ^cXjggZY idiVa iZgb^cVi^dc WZcZ[^i
 Xdhih d[ #1-5 b^aa^dc ^c XdccZXi^dc l^i] i]ZhZ gZdg\Vc^oVi^dch- QZ Yd cdi ZmeZXi id ^cXjg Vcn VYY^i^dcVa bViZg^Va dcZ,i^bZ iZgb^cVi^dc WZcZ[^i Xdhih
 gZaVi^c\ id i]ZhZ gZhigjXijg^c\ VXi^k^i^Zh ^c 1/06-
 Cc 1/03+ lZ gZXdgYZY hZkZgVcXZ Xdhih [dg iZgb^cViZY ZbeadnZZh ^c XdccZXi^dc l^i] djg YZX^h^dc id Y^hXdci^cjZ hVaZh gZegZhZciVi^kZ,aZY egdbdi^dc
 d[ djg ehnX]^Vign egdYjXih hiVgi^c\ ^c 1/04- Cc VYY^i^dc+ lZ ^c^i^ViZY V gZhigjXijg^c\ eaVc gZaViZY id i]Z Xdchda^YVi^dc d[ djg O-E- d[[^XZ adXVi^dch VcY
 gZXdgYZY hZkZgVcXZ Xdhih [dg iZgb^cViZY ZbeadnZZh VcY [VX^a^in XadhjgZ Xdhih ^c XdccZXi^dc l^i] i]^h eaVc- N]Z dcZ,i^bZ iZgb^cVi^dc WZcZ[^ih lZgZ
 gZXdgYZY dkZg i]Z gZbV^c^c\ hZgk^XZ eZg^dY l]ZgZ ZbeadnZZh lZgZ gZfj^gZY id hiVn i]gdj\] i]Z^g iZgb^cVi^dc YViZ id gZXZ^kZ i]Z WZcZ[^ih- QZ
 gZXdgYZY Xdhih gZaViZY id i]ZhZ dcZ,i^bZ iZgb^cVi^dc WZcZ[^ih d[ #/-3 b^aa^dc VcY #0-7 b^aa^dc ^c 1/04 VcY 1/03+ gZheZXi^kZan+ l^i]^c hZaa^c\+ \ZcZgVa
 VcY VYb^c^higVi^kZ ZmeZchZh ^c djg Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- @VX^a^in XadhjgZ Xdhih d[ #/-1 b^aa^dc VcY #/-0 b^aa^dc lZgZ ^cXjggZY ^c 1/04
 VcY 1/03+ gZheZXi^kZan+ VcY gZXdgYZY l^i]^c hZaa^c\+ \ZcZgVa VcY VYb^c^higVi^kZ ZmeZchZh ^c djg Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- QZ XdbeaZiZY
 i]ZhZ gZhigjXijg^c\ VXi^k^i^Zh ^c 1/04 VcY lZ Y^Y cdi ^cXjg Vcn gZaViZY VYY^i^dcVa Xdhih ^c 1/05-
 N]Z [daadl^c\ iVWaZ hjbbVg^oZh i]Z Vbdjcih gZaViZY id gZhigjXijg^c\ i]gdj\] >ZXZbWZg 20+ 1/05 '^c i]djhVcYh(9

                                                                                           Termination              Facility Closure
                                                                                            Benefits                     Costs                 Total
 <VaVcXZ Vi >ZXZbWZg 20+ 1/02                                                         #                   ,     #                141       #             141
 ?meZchZ                                                                                              0+712                       007                  0+830
 JVnbZcih                                                                                                 ,                      '141(                  '141(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/03                                                                         0+712                       007                  0+830
 ?meZchZ                                                                                              0+358                      061                   0+530
 JVnbZcih                                                                                            '1+076(                     '18/(                 '1+366(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/04                                                                         0+0/4                            ,               0+0/4
 ?meZchZ                                                                                              0+405                            ,               0+405
 JVnbZcih                                                                                            '1+48/(                           ,               '1+48/(
 <VaVcXZ Vi >ZXZbWZg 20+ 1/05                                                         #                  20     #                      ,   #              20

 N]Z WVaVcXZh Vh d[ >ZXZbWZg 20+ 1/05+ 1/04 VcY 1/03 lZgZ ^cXajYZY l^i]^c VXXgjZY a^VW^a^i^Zh ^c djg Xdchda^YViZY WVaVcXZ h]ZZih-

 18. Income Taxes
 N]Z XdbedcZcih d[ ^cXdbZ WZ[dgZ i]Z ^cXdbZ iVm egdk^h^dc VcY Zfj^in ^c adhh d[ ^ckZhiZZ lZgZ Vh [daadlh '^c i]djhVcYh(9

                                                                                                              Year Ended December 31,
                                                                                              2016                       2015                  2014
 CgZaVcY                                                                              #           068+46/      #             122+674       #      127+240
 Oc^iZY MiViZh                                                                                    201+8/3                    174+31/              111+217
 Ii]Zg                                                                                               28+861                  '72+161(            '2/8+011(
 NdiVa                                                                                #           421+335      #             324+822       #      040+446

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                                                           JAZZ PHARMACEUTICALS PLC
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 N]Z [daadl^c\ iVWaZ hZih [dgi] i]Z YZiV^ah d[ i]Z ^cXdbZ iVm egdk^h^dc '^c i]djhVcYh(9

                                                                                                                Year Ended December 31,
                                                                                               2016                      2015                 2014
 =jggZci
 CgZaVcY                                                                               #              15+31/     #              18+637    #          18+226
 Oc^iZY MiViZh                                                                                     03/+/50                   005+2/0                 86+568
 Ii]Zg                                                                                                 8+807                    17+6/7               05+358
 NdiVa XjggZci ^cXdbZ iVm                                                                          065+288                  063+646              032+374
 >Z[ZggZY+ ZmXajh^kZ d[ di]Zg XdbedcZcih WZadl
 CgZaVcY                                                                                              '6+665(                   '5+544(              '2+4/7(
 Oc^iZY MiViZh                                                                                        '8+01/(                     221            '04+//2(
 Ii]Zg                                                                                             '02+61/(                  '3/+421(            '2/+632(
 NdiVa YZ[ZggZY+ ZmXajh^kZ d[ di]Zg XdbedcZcih                                                     '2/+505(                  '35+744(            '38+143(
 >Z[ZggZY+ X]Vc\Z ^c iVm gViZh
 Oc^iZY MiViZh                                                                                          0/8                       183                     ,
 Ii]Zg                                                                                             '0/+545(                  '10+686(                     ,
 NdiVa YZ[ZggZY+ X]Vc\Z ^c iVm gViZh                                                               '0/+436(                  '10+4/2(                     ,
 NdiVa YZ[ZggZY ^cXdbZ iVm WZcZ[^i                                                                 '30+052(                  '57+247(            '38+143(
 NdiVa ^cXdbZ iVm egdk^h^dc                                                            #           024+125       #          0/5+288       #          83+120



 Ijg ^cXdbZ iVm egdk^h^dc lVh #024-1 b^aa^dc+ #0/5-3 b^aa^dc VcY #83-1 b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan+ gZaViZY id iVm Vg^h^c\ dc ^cXdbZ ^c
 CgZaVcY+ i]Z O-M- VcY XZgiV^c di]Zg [dgZ^\c _jg^hY^Xi^dch+ XZgiV^c jcgZXd\c^oZY iVm WZcZ[^ih VcY kVg^djh ZmeZchZh cdi YZYjXi^WaZ [dg ^cXdbZ iVm
 ejgedhZh-
 N]Z Z[[ZXi^kZ iVm gViZh [dg 1/05+ 1/04 VcY 1/03 lZgZ 14-3$+ 13-3$ VcY 51-1$+ gZheZXi^kZan- ;[iZg VY_jhi^c\ i]Z ^cXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc
 VcY Zfj^in ^c adhh d[ ^ckZhiZZ [dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/03 Wn ZmXajY^c\ V idiVa d[ #1/1-/ b^aa^dc ^c je[gdci VcY b^aZhidcZ eVnbZcih [dg
 g^\]ih id DTJ,00/ VcY id YZ[^Wgdi^YZ ^c i]Z ;bZg^XVh+ l]^X] lZgZ VXfj^gZY Wn djg hjWh^Y^Vg^Zh ^c V cdc,iVmVWaZ _jg^hY^Xi^dc+ i]Z Z[[ZXi^kZ iVm gViZ dc
 i]Z gZhjai^c\ ^cXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc [dg 1/03 lVh 15-6$- N]Z Z[[ZXi^kZ iVm gViZh [dg 1/05 VcY 1/04 lZgZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn
 gViZ d[ 01-4$+ eg^bVg^an YjZ id ^cXdbZ iVmVWaZ Vi V gViZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ+ jcgZXd\c^oZY iVm WZcZ[^ih+ VcY kVg^djh ZmeZchZh cdi
 YZYjXi^WaZ [dg ^cXdbZ iVm ejgedhZh+ eVgi^Vaan d[[hZi Wn dg^\^cVi^c\ iVm XgZY^ih+ gZYjXi^dch ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch VcY YZYjXi^dch VkV^aVWaZ
 ^c gZaVi^dc id hjWh^Y^Vgn Zfj^in- N]Z Z[[ZXi^kZ iVm gViZ [dg 1/03 lVh ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ d[ 01-4$+ eg^bVg^an YjZ id ^cXdbZ iVmVWaZ Vi V
 gViZ ]^\]Zg i]Vc i]Z Cg^h] hiVijidgn gViZ+ jcgZXd\c^oZY iVm WZcZ[^ih+ XjggZci nZVg adhhZh ^c hdbZ _jg^hY^Xi^dch [dg l]^X] cd iVm WZcZ[^i ^h VkV^aVWaZ VcY
 kVg^djh ZmeZchZh cdi YZYjXi^WaZ [dg ^cXdbZ iVm ejgedhZh+ eVgi^Vaan d[[hZi Wn X]Vc\Zh ^c O-M- hiViZ kVajVi^dc VaadlVcXZh ^c 1/03 VcY WZcZ[^ih [gdb
 XZgiV^c dg^\^cVi^c\ ^cXdbZ iVm XgZY^ih- N]Z ^cXgZVhZ ^c i]Z Z[[ZXi^kZ iVm gViZ ^c 1/05 XdbeVgZY id 1/04 lVh eg^bVg^an YjZ id V YZXgZVhZ ^c i]Z ^beVXi d[
 i]Z gZYjXi^dc ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch VcY V YZXgZVhZ ^c dg^\^cVi^c\ iVm XgZY^ih+ eVgi^Vaan d[[hZi Wn X]Vc\Zh ^c ^cXdbZ b^m Vbdc\ i]Z
 kVg^djh _jg^hY^Xi^dch ^c l]^X] lZ deZgViZ- N]Z YZXgZVhZ ^c i]Z Z[[ZXi^kZ iVm gViZ ^c 1/04 XdbeVgZY id 1/03 lVh eg^bVg^an YjZ id X]Vc\Zh ^c ^cXdbZ
 b^m Vbdc\ i]Z kVg^djh _jg^hY^Xi^dch ^c l]^X] lZ deZgViZ+ ^cXgZVhZY dg^\^cVi^c\ iVm XgZY^ih+ ^cXgZVhZY YZYjXi^dch VkV^aVWaZ ^c gZaVi^dc id hjWh^Y^Vgn
 Zfj^in VcY gZYjXi^dch ^c iVm gViZh ^c XZgiV^c _jg^hY^Xi^dch+ eVgi^Vaan d[[hZi Wn i]Z ^beVXi d[ ^beV^gbZcih d[ ^ciVc\^WaZ VhhZih VcY X]Vc\Zh ^c O-M- hiViZ
 kVajVi^dc VaadlVcXZh Yjg^c\ 1/03- QZ VgZ XjggZcian eVn^c\ iVmZh ^c CgZaVcY+ i]Z O-M- VcY XZgiV^c di]Zg [dgZ^\c _jg^hY^Xi^dch l]ZgZ lZ ]VkZ
 deZgVi^dch VcY Z^i]Zg Vaa cZi deZgVi^c\ adhhZh+ dg HIFh+ ]VkZ WZZc ji^a^oZY+ dg VgZ gZhig^XiZY Vh V gZhjai d[ i]Z ;ojg GZg\Zg-

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                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 N]Z gZXdcX^a^Vi^dc WZilZZc i]Z hiVijidgn ^cXdbZ iVm gViZ Veea^ZY id ^cXdbZ WZ[dgZ ^cXdbZ iVm egdk^h^dc VcY Zfj^in ^c adhh d[ ^ckZhiZZ VcY djg
 Z[[ZXi^kZ ^cXdbZ iVm gViZ lVh Vh [daadlh9

                                                                                                               Year Ended December 31,
                                                                                               2016                     2015                   2014
 MiVijidgn ^cXdbZ iVm gViZ                                                                             01-4$                   01-4$                  01-4$
 @dgZ^\c ^cXdbZ iVm gViZ Y^[[ZgZci^Va                                                                  05-6$                   08-0$                  4/-/$
 =]Vc\Z ^c jcgZXd\c^oZY iVm WZcZ[^ih                                                                   2-2$                     2-5$                   5-1$
 @^cVcX^c\ Xdhih                                                                                       '1-8($                  '/-3($                  /-6$
 LZhZVgX] VcY di]Zg iVm XgZY^ih                                                                        '1-7($                  '2-7($                 '8-3($
 >ZYjXi^dc dc hjWh^Y^Vgn Zfj^in                                                                        '1-3($                  '1-6($                 '6-4($
 ;Xfj^h^i^dc,gZaViZY Xdhih                                                                             1-0$                       ,$                   2-0$
 Hdc,YZYjXi^WaZ XdbeZchVi^dc                                                                           0-7$                     0-8$                   3-5$
 =]Vc\Z ^c iVm gViZ                                                                                    '0-7($                  '3-4($                    ,$
 ?mXZhh iVm WZcZ[^ih [gdb h]VgZ,WVhZY XdbeZchVi^dc                                                     '0-4($                     ,$                     ,$
 =]Vc\Z ^c kVajVi^dc VaadlVcXZ                                                                         '/-0($                  '/-5($                  4-6$
 =]Vc\Z ^c Zhi^bViZh                                                                                     ,$                    '0-/($                 '2-/($
 Ii]Zg                                                                                                 /-4$                     /-2$                  '/-6($
 ?[[ZXi^kZ ^cXdbZ iVm gViZ                                                                             14-3$                   13-3$                  51-1$

 >Z[ZggZY ^cXdbZ iVmZh gZ[aZXi i]Z iVm Z[[ZXih d[ HIFh VcY iVm XgZY^i XVggn[dglVgYh VcY i]Z cZi iZbedgVgn Y^[[ZgZcXZh WZilZZc i]Z XVggn^c\ Vbdjcih
 d[ VhhZih VcY a^VW^a^i^Zh [dg [^cVcX^Va gZedgi^c\ VcY i]Z Vbdjcih jhZY [dg ^cXdbZ iVm ejgedhZh jh^c\ XjggZcian ZcVXiZY iVm gViZh VcY gZ\jaVi^dch i]Vi
 VgZ ZmeZXiZY id WZ ^c Z[[ZXi l]Zc i]Z Y^[[ZgZcXZh VgZ ZmeZXiZY id WZ gZXdkZgZY dg hZiiaZY-
 M^\c^[^XVci XdbedcZcih d[ djg cZi YZ[ZggZY iVm VhhZih.'a^VW^a^i^Zh( lZgZ Vh [daadlh '^c i]djhVcYh(9

                                                                                                                                December 31,
                                                                                                                       2016                    2015
 >Z[ZggZY iVm VhhZih9
 HZi deZgVi^c\ adhh XVggn[dglVgYh                                                                               #          1/1+647      #             46+/80
 NVm XgZY^i XVggn[dglVgYh                                                                                                  003+081                    25+686
 CciVc\^WaZ VhhZih                                                                                                             04+854                 14+273
 M]VgZ,WVhZY XdbeZchVi^dc                                                                                                      16+411                 1/+/4/
 ;XXgjVah                                                                                                                      27+652                 21+244
 Ii]Zg                                                                                                                         46+782                 38+31/
 NdiVa YZ[ZggZY iVm VhhZih                                                                                                 346+/82                110+/86
 PVajVi^dc VaadlVcXZ                                                                                                        '42+073(              '22+838(
 HZi YZ[ZggZY iVm VhhZih                                                                                                   3/2+8/8                076+037
 >Z[ZggZY iVm a^VW^a^i^Zh9
 ;Xfj^gZY ^ciVc\^WaZ VhhZih                                                                                               '80/+35/(              '2/6+245(
 Ii]Zg                                                                                                                      '24+011(              '22+026(
 NdiVa YZ[ZggZY iVm a^VW^a^i^Zh                                                                                           '834+471(              '23/+382(
 HZi YZ[ZggZY iVm a^VW^a^i^Zh                                                                                   #         '430+562( #            '042+234(

 N]Z cZi X]Vc\Z ^c kVajVi^dc VaadlVcXZ lVh #08-1 b^aa^dc+ #3-2 b^aa^dc VcY #8-/ b^aa^dc ^c 1/05+ 1/04 VcY 1/03+ gZheZXi^kZan-

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                                                            JAZZ PHARMACEUTICALS PLC
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 N]Z [daadl^c\ iVWaZ egZhZcih i]Z WgZV`Ydlc WZilZZc cdc,XjggZci YZ[ZggZY iVm VhhZih VcY a^VW^a^i^Zh '^c i]djhVcYh(9

                                                                                                                          Year Ended December 31,
                                                                                                                        2016                    2015
 Hdc,XjggZci YZ[ZggZY iVm VhhZih                                                                                #              04+/5/   #           02/+037
 Hdc,XjggZci YZ[ZggZY iVm a^VW^a^i^Zh                                                                                       '445+622(              '172+382(
 HZi YZ[ZggZY iVm a^VW^a^i^Zh                                                                                   #           '430+562( #            '042+234(

 >jg^c\ HdkZbWZg 1/04+ i]Z @;M< ^hhjZY ;MO 1/04,06 l]^X] h^bea^[^Zh i]Z egZhZciVi^dc d[ YZ[ZggZY ^cXdbZ iVmZh- N]^h ;MO gZfj^gZh i]Vi YZ[ZggZY
 iVm VhhZih VcY a^VW^a^i^Zh WZ XaVhh^[^ZY Vh cdc,XjggZci ^c V hiViZbZci d[ [^cVcX^Va edh^i^dc- QZ ZVgan VYdeiZY ;MO 1/04,06 Z[[ZXi^kZ >ZXZbWZg 20+
 1/04-
 ;h d[ >ZXZbWZg 20+ 1/05+ lZ ]VY HIF XVggn[dglVgYh VcY iVm XgZY^i XVggn[dglVgYh [dg O-M- [ZYZgVa ^cXdbZ iVm ejgedhZh d[ Veegdm^bViZan #314-6
 b^aa^dc VcY #0/0-3 b^aa^dc+ gZheZXi^kZan+ VkV^aVWaZ id gZYjXZ [jijgZ ^cXdbZ hjW_ZXi id ^cXdbZ iVmZh- N]Z HIF XVggn[dglVgYh VgZ ^cXajh^kZ d[ #83-5
 b^aa^dc [gdb i]Z ?OM; ;Xfj^h^i^dc ^c 1/01 VcY #118-2 b^aa^dc [gdb i]Z =ZaVidg ;Xfj^h^i^dc ^c 1/05- N]Z [ZYZgVa HIF XVggn[dglVgYh l^aa Zme^gZ+ ^[ cdi
 ji^a^oZY+ ^c i]Z iVm nZVgh 1/06 id 1/25+ VcY i]Z [ZYZgVa iVm XgZY^ih l^aa Zme^gZ+ ^[ cdi ji^a^oZY+ ^c i]Z iVm nZVgh 1/06 id 1/25+ l^i] i]Z ZmXZei^dc d[
 VaiZgcVi^kZ b^c^bjb iVm XgZY^ih+ l]^X] ]VkZ cd Zme^gVi^dc YViZ- Cc VYY^i^dc+ lZ ]VY Veegdm^bViZan #054-/ b^aa^dc d[ HIF XVggn[dglVgYh VcY #8-7
 b^aa^dc d[ iVm XgZY^i XVggn[dglVgYh Vh d[ >ZXZbWZg 20+ 1/05 VkV^aVWaZ id gZYjXZ [jijgZ iVmVWaZ ^cXdbZ [dg hiViZ ^cXdbZ iVm ejgedhZh- N]Z hiViZ HIF
 XVggn[dglVgYh l^aa Zme^gZ+ ^[ cdi ji^a^oZY+ ^c i]Z iVm nZVgh 1/06 id 1/25- N]Z hiViZ iVm XgZY^ih ]VkZ cd Zme^gVi^dc YViZ- N]Z O-M- [ZYZgVa VcY hiViZ HIF
 XVggn[dglVgYh VcY iVm XgZY^i XVggn[dglVgYh VgZ ^cXajh^kZ d[ #0/0-8 b^aa^dc d[ egZk^djhan jcgZXd\c^oZY ZmXZhh iVm WZcZ[^ih l]^X] gZhjaiZY [gdb
 ZmZgX^hZh d[ ZbeadnZZ h]VgZ dei^dch VcY XZgiV^c hVaZh Wn ZbeadnZZh d[ h]VgZh ^hhjZY jcYZg di]Zg ZbeadnZZ Zfj^in XdbeZchVi^dc- N]ZhZ egZk^djhan
 jcgZXd\c^oZY ZmXZhh iVm WZcZ[^ih lZgZ ^cXajYZY l^i]^c V XjbjaVi^kZ,Z[[ZXi VY_jhibZci id deZc^c\ gZiV^cZY ZVgc^c\h VcY YZ[ZggZY iVm a^VW^a^i^Zh+ cZi+
 cdc,XjggZci dc VYdei^dc d[ ;MO Hd- 1/05,/8- Cc VYY^i^dc+ Vh d[ >ZXZbWZg 20+ 1/05+ i]ZgZ lZgZ HIF XVggn[dglVgYh [dg ^cXdbZ iVm ejgedhZh d[
 Veegdm^bViZan #43-1 b^aa^dc VcY #37-3 b^aa^dc VkV^aVWaZ id gZYjXZ [jijgZ ^cXdbZ hjW_ZXi id ^cXdbZ iVmZh ^c i]Z Oc^iZY E^c\Ydb VcY CiVan+
 gZheZXi^kZan- N]Z HIFh \ZcZgViZY ^c i]Z Oc^iZY E^c\Ydb VcY CiVan ]VkZ cd Zme^gVi^dc eZg^dY- QZ Vahd ]VY ZmXZhh [dgZ^\c iVm XgZY^ih+ Vh d[
 >ZXZbWZg 20+ 1/05+ d[ #3-1 b^aa^dc+ l]^X] bVn dcan WZ ji^a^oZY V\V^chi XZgiV^c hdjgXZh d[ ^cXdbZ- N]Z ZmXZhh [dgZ^\c iVm XgZY^ih ]VkZ cd Zme^gVi^dc
 eZg^dY-
 Oi^a^oVi^dc d[ XZgiV^c d[ djg HIF VcY iVm XgZY^i XVggn[dglVgYh ^c i]Z O-M- ^h hjW_ZXi id Vc VccjVa a^b^iVi^dc YjZ id i]Z dlcZgh]^e X]Vc\Z a^b^iVi^dch
 egdk^YZY Wn MZXi^dch 271 VcY 272 d[ i]Z CciZgcVa LZkZcjZ =dYZ VcY h^b^aVg hiViZ egdk^h^dch- MjX] Vc VccjVa a^b^iVi^dc bVn gZhjai ^c i]Z Zme^gVi^dc
 d[ XZgiV^c HIFh VcY iVm XgZY^ih WZ[dgZ [jijgZ ji^a^oVi^dc- QZ XjggZcian Zhi^bViZ i]Vi lZ ]VkZ Vc VccjVa a^b^iVi^dc dc i]Z ji^a^oVi^dc d[ XZgiV^c
 VXfj^gZY [ZYZgVa HIFh VcY XgZY^ih d[ #170-1 b^aa^dc+ WZ[dgZ iVm Z[[ZXi+ [dg 1/06+ #031-/ b^aa^dc+ WZ[dgZ iVm Z[[ZXi+ [dg 1/07 VcY V XdbW^cZY idiVa d[
 #230-8 b^aa^dc+ WZ[dgZ iVm Z[[ZXi+ [dg 1/08 id 1/21- Cc VYY^i^dc+ Vh V gZhjai d[ i]Z ;ojg GZg\Zg+ jci^a 1/11 lZ VgZ hjW_ZXi id XZgiV^c a^b^iVi^dch jcYZg i]Z
 CciZgcVa LZkZcjZ =dYZ ^c gZaVi^dc id i]Z ji^a^oVi^dc d[ O-M- HIFh id d[[hZi O-M- iVmVWaZ ^cXdbZ gZhjai^c\ [gdb XZgiV^c igVchVXi^dch-
 PVajVi^dc VaadlVcXZh gZfj^gZ Vc VhhZhhbZci d[ Wdi] edh^i^kZ VcY cZ\Vi^kZ Zk^YZcXZ l]Zc YZiZgb^c^c\ l]Zi]Zg ^i ^h bdgZ a^`Zan i]Vc cdi i]Vi
 YZ[ZggZY iVm VhhZih VgZ gZXdkZgVWaZ- MjX] VhhZhhbZci ^h gZfj^gZY dc V _jg^hY^Xi^dc,Wn,_jg^hY^Xi^dc WVh^h- Ijg kVajVi^dc VaadlVcXZ lVh #42-1 b^aa^dc
 VcY #22-8 b^aa^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan+ [dg XZgiV^c O-M- hiViZ VcY [dgZ^\c YZ[ZggZY iVm VhhZih l]^X] lZ bV^ciV^c jci^a
 hj[[^X^Zci edh^i^kZ Zk^YZcXZ Zm^hih id hjeedgi gZkZghVa- >jg^c\ 1/05+ Vh eVgi d[ i]Z dkZgVaa X]Vc\Z ^c kVajVi^dc VaadlVcXZ+ lZ gZXd\c^oZY V cZi
 ^cXdbZ iVm ZmeZchZ d[ #06-8 b^aa^dc gZaVi^c\ id i]Z XgZVi^dc d[ V kVajVi^dc VaadlVcXZ V\V^chi XZgiV^c YZ[ZggZY iVm VhhZih eg^bVg^an VhhdX^ViZY l^i]
 HIFh gZXd\c^oZY Yjg^c\ i]Z nZVg+ eVgi^Vaan d[[hZi Wn V gZaZVhZ d[ V kVajVi^dc VaadlVcXZ YjZ id i]Z ^beVXi d[ i]Z gZYjXi^dc d[ iVm gViZh ^c XZgiV^c
 _jg^hY^Xi^dch VcY ji^a^oVi^dc d[ XZgiV^c YZ[ZggZY iVm VhhZih eg^bVg^an VhhdX^ViZY l^i] HIFh- >jg^c\ 1/04+ Vh eVgi d[ i]Z dkZgVaa X]Vc\Z ^c kVajVi^dc
 VaadlVcXZ+ lZ gZXd\c^oZY V cZi ^cXdbZ iVm ZmeZchZ d[ #1-3 b^aa^dc gZaVi^c\ id i]Z XgZVi^dc d[ V kVajVi^dc VaadlVcXZ V\V^chi XZgiV^c YZ[ZggZY iVm VhhZih
 eg^bVg^an VhhdX^ViZY l^i] HIFh Vg^h^c\ Yjg^c\ i]Z nZVg+ eVgi^Vaan d[[hZi Wn V gZaZVhZ d[ V kVajVi^dc VaadlVcXZ YjZ id i]Z ^beVXi d[ i]Z gZYjXi^dc d[ iVm
 gViZh ^c XZgiV^c _jg^hY^Xi^dch dc XZgiV^c YZ[ZggZY iVm VhhZih eg^bVg^an VhhdX^ViZY l^i] HIFh- >jg^c\ 1/03+ Vh eVgi d[ i]Z dkZgVaa X]Vc\Z ^c kVajVi^dc
 VaadlVcXZ+ lZ gZXd\c^oZY V cZi ^cXdbZ iVm WZcZ[^i d[ #6-6 b^aa^dc gZaVi^c\ id i]Z cZi gZkZghVa d[ V kVajVi^dc VaadlVcXZ V\V^chi XZgiV^c YZ[ZggZY iVm
 VhhZih VhhdX^ViZY l^i] HIFh VcY iVm XgZY^i XVggn[dglVgYh- QZ eZg^dY^XVaan ZkVajViZ i]Z a^`Za^]ddY d[ i]Z gZVa^oVi^dc d[ YZ[ZggZY iVm VhhZih VcY l^aa
 VY_jhi hjX] Vbdjcih ^c a^\]i d[ X]Vc\^c\ [VXih VcY X^gXjbhiVcXZh ^cXajY^c\+ Wji cdi a^b^iZY id+ [jijgZ egd_ZXi^dch d[ iVmVWaZ ^cXdbZ+ iVm aZ\^haVi^dc+
 gja^c\h Wn gZaZkVci iVm Vji]dg^i^Zh+ i]Z egd\gZhh d[ iVm VjY^ih VcY i]Z gZ\jaVidgn VeegdkVa d[ egdYjXih XjggZcian jcYZg YZkZadebZci- LZVa^oVi^dc d[
 hjWhiVci^Vaan Vaa i]Z YZ[ZggZY iVm VhhZih ^h YZeZcYZci dc [jijgZ Wdd` ^cXdbZ-

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                                                           JAZZ PHARMACEUTICALS PLC
                                        NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 NZbedgVgn Y^[[ZgZcXZh gZaViZY id jcY^hig^WjiZY ZVgc^c\h d[ [dgZ^\c deZgVi^dch i]Vi VgZ Xdch^YZgZY ^cYZ[^c^iZan gZ^ckZhiZY ^c djg [dgZ^\c hjWh^Y^Vg^Zh
 idiVaZY Veegdm^bViZan #0-1 W^aa^dc VcY #872-7 b^aa^dc Vh d[ >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan- Cc i]Z ZkZci d[ i]Z Y^hig^Wji^dc d[ i]dhZ
 ZVgc^c\h ^c i]Z [dgb d[ Y^k^YZcYh+ V hVaZ d[ i]Z hjWh^Y^Vg^Zh+ dg XZgiV^c di]Zg igVchVXi^dch+ lZ bVn WZ a^VWaZ [dg ^cXdbZ iVmZh+ hjW_ZXi id Vc
 VY_jhibZci+ ^[ Vcn+ [dg [dgZ^\c iVm XgZY^ih VcY [dgZ^\c l^i]]daY^c\ iVmZh eVnVWaZ id XZgiV^c [dgZ^\c iVm Vji]dg^i^Zh- ;h d[ >ZXZbWZg 20+ 1/05+ ^i lVh
 cdi egVXi^XVWaZ id YZiZgb^cZ i]Z Vbdjci d[ i]Z jcgZXd\c^oZY YZ[ZggZY iVm a^VW^a^in gZaViZY id i]ZhZ ZVgc^c\h-
 QZ VgZ gZfj^gZY id gZXd\c^oZ i]Z [^cVcX^Va hiViZbZci Z[[ZXih d[ V iVm edh^i^dc l]Zc ^i ^h bdgZ a^`Zan i]Vc cdi+ WVhZY dc i]Z iZX]c^XVa bZg^ih+ i]Vi i]Z
 edh^i^dc l^aa WZ hjhiV^cZY jedc ZmVb^cVi^dc- ;h V gZhjai+ lZ ]VkZ gZXdgYZY Vc jcgZXd\c^oZY iVm WZcZ[^i [dg XZgiV^c iVm WZcZ[^ih l]^X] lZ _jY\Z bVn
 cdi WZ hjhiV^cZY jedc ZmVb^cVi^dc- ; gZXdcX^a^Vi^dc d[ djg \gdhh jcgZXd\c^oZY iVm WZcZ[^ih [daadlh '^c i]djhVcYh(9

                                                                                                                    December 31,
                                                                                               2016                     2015                2014
 <VaVcXZ Vi i]Z WZ\^cc^c\ d[ i]Z nZVg                                                 #               55+274    #              3/+7/1   #          10+526
 CcXgZVhZh gZaViZY id XjggZci nZVg iVm edh^i^dch                                                      15+762                   12+553              08+726
 CcXgZVhZh gZaViZY id eg^dg nZVg iVm edh^i^dch                                                         0+080                    1+722                   ,
 >ZXgZVhZh gZaViZY id eg^dg nZVg iVm edh^i^dch                                                         '144(                    '535(               '561(
 FVehZ d[ i]Z Veea^XVWaZ hiVijiZ d[ a^b^iVi^dch                                                       '2+173(                   '157(                   ,
 <VaVcXZ Vi i]Z ZcY d[ i]Z nZVg                                                       #               8/+80/    #              55+274   #          3/+7/1

 N]Z jcgZXd\c^oZY iVm WZcZ[^ih lZgZ ^cXajYZY ^c di]Zg cdc,XjggZci a^VW^a^i^Zh VcY YZ[ZggZY iVm VhhZih+ cZi+ cdc,XjggZci ^c djg Xdchda^YViZY WVaVcXZ
 h]ZZih- CciZgZhi gZaViZY id djg jcgZXd\c^oZY iVm WZcZ[^ih ^h gZXdgYZY ^c i]Z ^cXdbZ iVm egdk^h^dc ^c djg Xdchda^YViZY hiViZbZcih d[ ^cXdbZ- ;h d[
 >ZXZbWZg 20+ 1/05 VcY 1/04+ djg VXXgjZY ^ciZgZhi VcY eZcVai^Zh gZaViZY id jcgZXd\c^oZY iVm WZcZ[^ih lZgZ cdi h^\c^[^XVci- CcXajYZY ^c i]Z WVaVcXZ d[
 jcgZXd\c^oZY iVm WZcZ[^ih lZgZ ediZci^Va WZcZ[^ih d[ #54-2 b^aa^dc VcY #37-0 b^aa^dc Vi >ZXZbWZg 20+ 1/05 VcY 1/04+ gZheZXi^kZan+ i]Vi+ ^[ gZXd\c^oZY+
 ldjaY V[[ZXi i]Z Z[[ZXi^kZ iVm gViZ dc ^cXdbZ-
 Ijg bdhi h^\c^[^XVci iVm _jg^hY^Xi^dch VgZ CgZaVcY+ i]Z O-M- 'Wdi] Vi i]Z [ZYZgVa aZkZa VcY ^c kVg^djh hiViZ _jg^hY^Xi^dch(+ CiVan VcY @gVcXZ- <ZXVjhZ d[
 djg HIF XVggn[dglVgYh VcY iVm XgZY^i XVggn[dglVgYh+ hjWhiVci^Vaan Vaa d[ djg iVm nZVgh gZbV^c deZc id [ZYZgVa+ hiViZ VcY [dgZ^\c iVm ZmVb^cVi^dc-
 =ZgiV^c d[ djg hjWh^Y^Vg^Zh VgZ XjggZcian jcYZg ZmVb^cVi^dc Wn i]Z @gZcX] iVm Vji]dg^i^Zh [dg i]Z nZVgh ZcYZY >ZXZbWZg 20+ 1/01 VcY 1/02- N]ZhZ
 ZmVb^cVi^dch bVn aZVY id dgY^cVgn XdjghZ VY_jhibZcih dg egdedhZY VY_jhibZcih id djg iVmZh- Cc >ZXZbWZg 1/04+ lZ gZXZ^kZY egdedhZY iVm
 VhhZhhbZci cdi^XZh [gdb i]Z @gZcX] iVm Vji]dg^i^Zh [dg 1/01 VcY 1/02 gZaVi^c\ id XZgiV^c igVch[Zg eg^X^c\ VY_jhibZcih- N]Z cdi^XZh egdedhZ VYY^i^dcVa
 @gZcX] iVm d[ Veegdm^bViZan #3/-2 b^aa^dc+ ^cXajY^c\ ^ciZgZhi VcY eZcVai^Zh i]gdj\] i]Z YViZ d[ i]Z VhhZhhbZci+ igVchaViZY Vi i]Z [dgZ^\c ZmX]Vc\Z
 gViZ Vi >ZXZbWZg 20+ 1/05- QZ Y^hV\gZZ l^i] i]Z egdedhZY VhhZhhbZci VcY ^ciZcY id XdciZhi ^i k^\dgdjhan-



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                                                           JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)

 19. Quarterly Financial Data (Unaudited)
 N]Z [daadl^c\ ^ciZg^b [^cVcX^Va ^c[dgbVi^dc egZhZcih djg 1/05 VcY 1/04 gZhjaih d[ deZgVi^dch dc V fjVgiZgan WVh^h '^c i]djhVcYh+ ZmXZei eZg h]VgZ
 Vbdjcih(9

                                                                                                                      2016
                                                                          March 31                      June 30                September 30              December 31
 LZkZcjZh                                                            #           225+/0/         #          270+050        #           263+070       #            285+510
 Agdhh bVg\^c '0(                                                                20/+366                    244+02/                    236+20/                    247+847
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX '1(                          64+701                    003+4/1                        78+717                 005+578
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn
 h]VgZ+ WVh^X '1(                                                                     0-13                         0-78                      0-38                    0-84
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn
 h]VgZ+ Y^ajiZY '1(                                                                   0-10                         0-74                      0-34                    0-80

                                                                                                                      2015
                                                                          March 31                      June 30                September 30              December 31
 LZkZcjZh                                                            #           2/8+2/2         #          222+636        #           23/+761       #            23/+770
 Agdhh bVg\^c '0(                                                                167+626                    20/+182                    20/+258                    203+783
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX                              6/+6//                        77+003                     76+85/                  71+650
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn
 h]VgZ+ WVh^X                                                                         0-05                         0-33                      0-32                    0-24
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn
 h]VgZ+ Y^ajiZY                                                                   0-01                  0-3/                  0-28                  0-21
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0(     Agdhh bVg\^c ^h XdbejiZY Wn hjWigVXi^c\ Xdhi d[ egdYjXi hVaZh 'ZmXajY^c\ Vbdgi^oVi^dc VcY ^beV^gbZci d[ ^ciVc\^WaZ VhhZih( [gdb egdYjXi
         hVaZh+ cZi-
 '1(     ;h YZhXg^WZY ^c HdiZ 1+ lZ ZaZXiZY id ZVgan VYdei ;MO Hd- 1/05,/8 ^c i]Z [djgi] fjVgiZg d[ 1/05 gZigdVXi^kZ id i]Z WZ\^cc^c\ d[ i]Z [^hXVa
         nZVg- JgZk^djhan gZedgiZY fjVgiZgan cZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX VcY i]Z gZaViZY eZg,h]VgZ bZVhjgZh [dg i]Z [^ghi i]gZZ
         fjVgiZgh d[ 1/05 ]VkZ WZZc gZXVhi id gZ[aZXi i]Z VYdei^dc d[ ;MO Hd- 1/05,/8- <Zadl ^h V gZXdcX^a^Vi^dc d[ i]Z cZi ^cXdbZ Viig^WjiVWaZ id DVoo
         J]VgbVXZji^XVah eaX VcY i]Z gZaViZY eZg,h]VgZ bZVhjgZh Vh egZk^djhan gZedgiZY ^c djg fjVgiZgan gZedgih dc @dgb 0/,K id i]Z gZXVhi Vbdjcih
         gZedgiZY VWdkZ-

                                                                                                                            2016
                                                                                                     March 31              June 30               September 30
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX+ Vh egZk^djhan gZedgiZY                 #            63+010      #         000+171      #           76+034
 ;Ydei^dc d[ ;MO Hd- 1/05,/8                                                                               0+580                   2+11/                  1+572
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX+ Vh gZXVhi                              #            64+701      #         003+4/1      #           78+717


 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , WVh^X+ Vh
 egZk^djhan gZedgiZY                                                                         #              0-10      #             0-73     #             0-33
 ;Ydei^dc d[ ;MO Hd- 1/05,/8                                                                                /-/2                    /-/4                   /-/4
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , WVh^X+ Vh
 gZXVhi                                                                                      #              0-13      #             0-78     #             0-38


 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , Y^ajiZY+ Vh
 egZk^djhan gZedgiZY                                                                         #              0-08      #             0-7/     #             0-30
 ;Ydei^dc d[ ;MO Hd- 1/05,/8                                                                                /-/1                    /-/4                   /-/3
 HZi ^cXdbZ Viig^WjiVWaZ id DVoo J]VgbVXZji^XVah eaX eZg dgY^cVgn h]VgZ , Y^ajiZY+ Vh
 gZXVhi                                                                                      #              0-10      #             0-74     #             0-34



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                                                          JAZZ PHARMACEUTICALS PLC
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS-(Continued)


 N]Z ^ciZg^b [^cVcX^Va ^c[dgbVi^dc VWdkZ ^cXajYZh i]Z [daadl^c\ ^iZbh9
 s      Oe[gdci VcY b^aZhidcZ eVnbZcih d[ #7-7 b^aa^dc VcY #04-/ b^aa^dc ^c i]Z [^ghi VcY i]^gY fjVgiZgh d[ 1/05+ gZheZXi^kZan+ VcY #14-/ b^aa^dc ^c i]Z
        i]^gY fjVgiZg d[ 1/04:
 s      NgVchVXi^dc Xdhih VcY ^ciZ\gVi^dc gZaViZY Xdhih d[ #1-1 b^aa^dc+ #0/-7 b^aa^dc VcY #/-6 b^aa^dc ^c i]Z hZXdcY+ i]^gY VcY [djgi] fjVgiZgh d[ 1/05+
        gZheZXi^kZan:
 s      ?meZchZh gZaViZY id XZgiV^c aZ\Va egdXZZY^c\h VcY gZhigjXijg^c\ d[ #5-0 b^aa^dc ^c i]Z [^ghi fjVgiZg d[ 1/05 VcY #/-4 b^aa^dc VcY #0-0 b^aa^dc ^c
        i]Z [^ghi VcY [djgi] fjVgiZgh d[ 1/04+ gZheZXi^kZan:
 s      ; dcZ,i^bZ X]Vg\Z d[ #00-5 b^aa^dc ^c gZheZXi d[ V XdcigVXi iZgb^cVi^dc ^c i]Z [djgi] fjVgiZg d[ 1/05:
 s      ; adhh dc Zmi^c\j^h]bZci VcY bdY^[^XVi^dc d[ YZWi d[ #/-5 b^aa^dc ^c i]Z i]^gY fjVgiZg d[ 1/05 VcY #05-7 b^aa^dc ^c i]Z hZXdcY fjVgiZg d[ 1/04:
 s      CbeV^gbZci X]Vg\Zh d[ #20-4 b^aa^dc ^c i]Z [djgi] fjVgiZg d[ 1/04+ l]^X] gZhjaiZY [gdb djg YZX^h^dc id iZgb^cViZ V e^kdiVa J]VhZ 1 Xa^c^XVa ig^Va
        d[ DTJ,305: VcY
 s      ; dcZ,i^bZ X]Vg\Z d[ #07-/ b^aa^dc ^c i]Z [djgi] fjVgiZg d[ 1/04 [dg hZiiaZbZci d[ V XdcigVXi XaV^b i]Vi lVh dg^\^cVaan VhhZgiZY V\V^chi ;ojg
        J]VgbV eg^dg id i]Z ;ojg GZg\Zg-

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                                                                     Schedule II
                                                        Valuation and Qualifying Accounts
                                                                  (In thousands)

                                                                                    Additions
                                                                 Balance at         charged to                                              Balance at
                                                                 beginning           costs and                                               end of
                                                                  of period          expenses        Other Additions       Deductions        period
 @dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/05
 ;aadlVcXZ [dg YdjWi[ja VXXdjcih                         '0( #           378    #           057      #            ,    #          '26/( #           176
 ;aadlVcXZ [dg hVaZh Y^hXdjcih                           '0(             070              0+223                   ,             '0+286(             007
 ;aadlVcXZ [dg X]Vg\ZWVX`h                               '0(           2+/12             30+880                   ,            '3/+154(           3+638
 >Z[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ            '1('2('3(          22+838             08+217               4+433             '4+526(          42+073


 @dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/04
 ;aadlVcXZ [dg YdjWi[ja VXXdjcih                         '0( #           42/    #                ,   #            ,    #           '30( #           378
 ;aadlVcXZ [dg hVaZh Y^hXdjcih                           '0(             127              1+8//                   ,             '1+846(             070
 ;aadlVcXZ [dg X]Vg\ZWVX`h                               '0(           1+604             28+/68                   ,            '27+660(           2+/12
 >Z[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ            '1('2('3(          18+586              4+/33               0+777             '1+57/(          22+838


 @dg i]Z nZVg ZcYZY >ZXZbWZg 20+ 1/03
 ;aadlVcXZ [dg YdjWi[ja VXXdjcih                         '0( #           483    #                ,   #            ,    #           '53( #           42/
 ;aadlVcXZ [dg hVaZh Y^hXdjcih                           '0(             267              2+683                   ,             '2+823(             127
 ;aadlVcXZ [dg X]Vg\ZWVX`h                               '0(           1+6/7             17+503                   ,            '17+5/6(           1+604
 >Z[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ                '1('2(          1/+580            07+860                  ,           '8+854(         18+586
 UUUUUUUUUUUUUUUUUUUUUUUUUU
 '0(    M]dlc Vh V gZYjXi^dc d[ VXXdjcih gZXZ^kVWaZ- =]Vg\Zh gZaViZY id hVaZh Y^hXdjcih VcY X]Vg\ZWVX`h VgZ gZ[aZXiZY Vh V gZYjXi^dc d[ gZkZcjZ-
 '1(    ;YY^i^dch id i]Z YZ[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ gZaViZ id bdkZbZcih dc XZgiV^c O-M- hiViZ VcY di]Zg [dgZ^\c YZ[ZggZY iVm VhhZih
        l]ZgZ lZ Xdci^cjZ id bV^ciV^c V kVajVi^dc VaadlVcXZ jci^a hj[[^X^Zci edh^i^kZ Zk^YZcXZ Zm^hih id hjeedgi gZkZghVa-
 '2(    >ZYjXi^dch id i]Z YZ[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ ^cXajYZ bdkZbZcih gZaVi^c\ id ji^a^oVi^dc d[ HIFh VcY iVm XgZY^i XVggn[dglVgYh+
        gZaZVhZ ^c kVajVi^dc VaadlVcXZ VcY di]Zg bdkZbZcih ^cXajY^c\ VY_jhibZcih [daadl^c\ [^cVa^oVi^dc d[ iVm gZijgch-
 '3(    Ii]Zg VYY^i^dch id i]Z YZ[ZggZY iVm VhhZi kVajVi^dc VaadlVcXZ gZaViZ id XjggZcXn igVchaVi^dc VY_jhibZcih gZXdgYZY Y^gZXian ^c di]Zg
        XdbegZ]Zch^kZ ^cXdbZ VcY V kVajVi^dc VaadlVcXZ gZXd\c^oZY dc ejgX]VhZ VXXdjci^c\-



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                                                                    EXHIBIT INDEX


 Exhibit
 Number              Description of Document
 1-0                 ;\gZZbZci VcY JaVc d[ GZg\Zg VcY LZdg\Vc^oVi^dc+ YViZY Vh d[ MZeiZbWZg 08+ 1/00+ Wn VcY Vbdc\ ;ojg J]VgbV F^b^iZY 'cdl
                     DVoo J]VgbVXZji^XVah eaX(+ DV\jVg GZg\Zg MjW CcX-+ DVoo J]VgbVXZji^XVah+ CcX- VcY MZVbjh Gjaa^\Vc+ hdaZan ^c ]^h XVeVX^in Vh
                     i]Z CcYZbc^idghx LZegZhZciVi^kZ '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah+ CcX-xh =jggZci LZedgi
                     dc @dgb 7,E '@^aZ Hd- //0,224//( [^aZY l^i] i]Z M?= dc MZeiZbWZg 08+ 1/00(-
 1-1                 FZiiZg ;\gZZbZci+ YViZY Vh d[ DVcjVgn 06+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DV\jVg GZg\Zg MjW CcX-+ DVoo
                     J]VgbVXZji^XVah+ CcX- VcY MZVbjh Gjaa^\Vc+ hdaZan ^c ]^h XVeVX^in Vh i]Z CcYZbc^idghx LZegZhZciVi^kZ '^cXdgedgViZY Wn
                     gZ[ZgZcXZ id ?m]^W^i 1-1 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc
                     DVcjVgn 07+ 1/01(-
 1-2                 ;\gZZbZci VcY JaVc d[ GZg\Zg+ YViZY Vh d[ ;eg^a 15+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DZlZa GZg\Zg MjW CcX-+
                     ?OM; J]VgbV CcX-+ VcY ?hhZm QddYaVcYh BZVai] PZcijgZh+ CcX-+ GVn[adlZg F-J-+ VcY <gnVc Gdgidc+ ^c i]Z^g XVeVX^in Vh i]Z
                     gZegZhZciVi^kZh d[ i]Z Zfj^in ]daYZgh d[ ?OM; J]VgbV CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo
                     J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;eg^a 16+ 1/01(-
 1-3                 ;hh^\cbZci+ YViZY Vh d[ DjcZ 00+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX VcY DVoo J]VgbVXZji^XVah+ CcX- '^cXdgedgViZY
                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0< ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i]
                     i]Z M?= dc DjcZ 01+ 1/01(-
 1-4                 NZcYZg I[[Zg ;\gZZbZci+ YViZY >ZXZbWZg 08+ 1/02+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah JjWa^X F^b^iZY =dbeVcn+ DVoo
                     J]VgbVXZji^XVah CiVan M-g-a- VcY AZci^jb M-e-;- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah eaXxh
                     =jggZci LZedgi dc @dgb 7,E.; '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc >ZXZbWZg 1/+ 1/02(-
 1-5r                ;hhZi JjgX]VhZ ;\gZZbZci+ YViZY DVcjVgn 02+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah CciZgcVi^dcVa CCC F^b^iZY+ ;Zg^Va
                     <^dJ]VgbV+ FF= VcY DVoo J]VgbVXZji^XVah eaX '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah eaXxh
                     =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 02+ 1/03(-
 1-6r                ;hh^\cbZci ;\gZZbZci+ YViZY Djan 0+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah CciZgcVi^dcVa CC F^b^iZY+ M^\bV,NVj
                     J]VgbVXZji^XVah+ CcX-+ DVoo J]VgbVXZji^XVah eaX VcY AZci^jb M-e-;- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo
                     J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 4+ 1/03(-
 1-7                 ;bZcYZY VcY LZhiViZY ;\gZZbZci [dg i]Z ;Xfj^h^i^dc d[ i]Z NdeVo Jdgi[da^d <jh^cZhh d[ DVoo J]VgbVXZji^XVah eaX+ YViZY
                     GVgX] 1/+ 1/04+ WZilZZc DVoo J]VgbVXZji^XVah eaX VcY ?hhZm <^YXd F^b^iZY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c
                     DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVgX] 12+ 1/04(-
 1-8                 ;\gZZbZci VcY JaVc d[ GZg\Zg+ YViZY Vh d[ GVn 16+ 1/05+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ JaZm GZg\Zg MjW+ CcX-+ VcY
                     =ZaVidg J]VgbVXZji^XVah+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 1-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc
                     @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVn 20+ 1/05(-
 2-0                 ;bZcYZY VcY LZhiViZY GZbdgVcYjb VcY ;gi^XaZh d[ ;hhdX^Vi^dc d[ DVoo J]VgbVXZji^XVah eaX+ Vh VbZcYZY dc ;j\jhi 3+ 1/05
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 2-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 3-0                 LZ[ZgZcXZ ^h bVYZ id ?m]^W^i 2-0-
 3-1;                CckZhidg L^\]ih ;\gZZbZci+ YViZY Djan 6+ 1//8 Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY i]Z di]Zg eVgi^Zh cVbZY i]ZgZ^c
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-77 ^c DVoo J]VgbVXZji^XVah+ CcX-xh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,
                     224//(+ Vh [^aZY l^i] i]Z M?= dc Djan 6+ 1//8(-
 3-1<                ;hh^\cbZci+ ;hhjbei^dc VcY ;bZcYbZci ;\gZZbZci+ YViZY Vh d[ DVcjVgn 07+ 1/01+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah+ CcX-+
                     DVoo J]VgbVXZji^XVah eaX VcY i]Z di]Zg eVgi^Zh cVbZY i]ZgZ^c '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 3-6< ^c i]Z ;ccjVa
                     LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc
                     WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah+ CcX- l^i] i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 3-1=                CcYZcijgZ+ YViZY Vh d[ ;j\jhi 02+ 1/03+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DVoo CckZhibZcih C F^b^iZY VcY O-M- <Vc`
                     HVi^dcVa ;hhdX^Vi^dc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 3-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E
                     '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 02+ 1/03(-
 3-1>                @dgb d[ 0-764$ ?mX]Vc\ZVWaZ MZc^dg HdiZ YjZ 1/10 '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 3-1 ^c DVoo J]VgbVXZji^XVah
                     eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 02+ 1/03(-
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 0/-0r               Mjeean ;\gZZbZci+ YViZY Vh d[ ;eg^a 0+ 1/0/+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY M^Z\[g^ZY 'OM;( CcX-
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-43 ^c DVoo J]VgbVXZji^XVah+ CcX-xh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/0/+ Vh [^aZY l^i] i]Z M?= dc GVn 5+ 1/0/(-
 0/-1r               GVhiZg MZgk^XZh ;\gZZbZci+ YViZY ;eg^a 04+ 1/00+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX-+ =jgVMXg^ei+ CcX- VcY ?megZhh
                     MXg^eih MeZX^Vain >^hig^Wji^dc MZgk^XZh+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah+ CcX-xh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/00+ Vh [^aZY l^i] i]Z M?= dc GVn 8+ 1/00(-
 0/-2r               LdnVain <ZVg^c\ F^XZcXZ ;\gZZbZci VcY Mjeean ;\gZZbZci LZ ?gl^c^V,>Zg^kZY ;heVgV\^cVhZ+ YViZY Djan 11+ 1//4+ WZilZZc
                     JjWa^X BZVai] ?c\aVcY '[dgbZgan BZVai] JgdiZXi^dc ;\ZcXn( VcY ?OM; J]VgbV M;M '[dgbZgan IJ^+ M-;-(+ Vh VbZcYZY dc ZVX]
                     d[ >ZXZbWZg 11+ 1//8+ GVgX] 12+ 1/01 VcY ;j\jhi 7+ 1/01 '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-00 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K.; '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i]
                     i]Z M?= dc ;j\jhi 8+ 1/01(-
 0/-3                HdkVi^dc ;\gZZbZci gZaVi^c\ id LdnVain <ZVg^c\ F^XZcXZ ;\gZZbZci VcY Mjeean ;\gZZbZci gZ ?gl^c^V,>Zg^kZY ;heVgV\^cVhZ+
                     YViZY Vh d[ GVn 02+ 1/04+ Wn VcY Vbdc\ ?OM; J]VgbV M;M+ i]Z MZXgZiVgn d[ MiViZ [dg BZVai] VXi^c\ i]gdj\] JjWa^X BZVai]
                     ?c\aVcY VcY Jdgidc <^de]VgbV F^b^iZY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/04+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 4+
                     1/04(-
 0/-4r               GVhiZg GVcj[VXijg^c\ MZgk^XZh ;\gZZbZci+ YViZY Vh d[ IXidWZg 0+ 1/04+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY
                     VcY JVi]Zdc J]VgbVXZji^XVah CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa
                     LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-5;               =gZY^i ;\gZZbZci+ YViZY Vh d[ DjcZ 07+ 1/04+ Vbdc\ DVoo J]VgbVXZji^XVah eaX+ DVoo MZXjg^i^Zh F^b^iZY+ DVoo J]VgbVXZji^XVah+
                     CcX-+ DVoo @^cVcX^c\ C F^b^iZY+ DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY+ i]Z aZcYZgh eVgin i]ZgZid VcY <Vc` d[ ;bZg^XV+ H-;-+ Vh
                     =daaViZgVa ;\Zci+ ;Yb^c^higVi^kZ ;\Zci+ Ml^c\ F^cZ FZcYZg VcY F.= ChhjZg '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c
                     DVoo J]VgbVXZji^XVah eaX&h =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc DjcZ 07+ 1/04(-
 0/-5<               ;bZcYbZci Hd- 0+ YViZY Vh d[ Djan 01+ 1/05+ id =gZY^i ;\gZZbZci+ YViZY Vh d[ DjcZ 07+ 1/04+ Vbdc\ DVoo J]VgbVXZji^XVah eaX+
                     DVoo MZXjg^i^Zh F^b^iZY+ DVoo J]VgbVXZji^XVah+ CcX-+ DVoo @^cVcX^c\ C F^b^iZY+ DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY+ i]Z aZcYZgh
                     eVgin i]ZgZid VcY <Vc` d[ ;bZg^XV+ H-;-+ Vh =daaViZgVa ;\Zci+ ;Yb^c^higVi^kZ ;\Zci+ Ml^c\ F^cZ FZcYZg VcY F.= ChhjZg
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-6;               =dbbZgX^Va FZVhZ+ YViZY Vh d[ DjcZ 1+ 1//3+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY N]Z <dVgY d[ NgjhiZZh d[ i]Z
                     FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-41 ^c DVoo J]VgbVXZji^XVah+ CcX-xh gZ\^higVi^dc
                     hiViZbZci dc @dgb M,0+ Vh VbZcYZY '@^aZ Hd- 222,030053(+ Vh [^aZY l^i] i]Z M?= dc GVgX] 16+ 1//6(-
 0/-6<               @^ghi ;bZcYbZci d[ FZVhZ+ YViZY DjcZ 0+ 1//8+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY Q]ZViaZn,@^ZaYh+ FF=+
                     hjXXZhhdg ^c ^ciZgZhi id N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-75 ^c DVoo J]VgbVXZji^XVah+ CcX-xh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc DjcZ 3+
                     1//8(-
 0/-6=               MZXdcY ;bZcYbZci d[ FZVhZ+ YViZY @ZWgjVgn 17+ 1/01+ Wn VcY WZilZZc DVoo J]VgbVXZji^XVah+ CcX- VcY Q]ZViaZn,@^ZaYh+ FF=+
                     hjXXZhhdg ^c ^ciZgZhi id N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg Oc^kZgh^in '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-20 ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo
                     J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah+ CcX- l^i] i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 0/-7                FZVhZ+ YViZY GVn 7+ 1/01+ Wn VcY WZilZZc Dd]c LdcVc VcY =VhiaZ =dkZ JgdeZgin >ZkZadebZcih F^b^iZY VcY DVoo
                     J]VgbVXZji^XVah eaX '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb
                     0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-8                =dbbZgX^Va FZVhZ+ YViZY Vh d[ DVcjVgn 6+ 1/04+ Wn VcY WZilZZc N]Z <dVgY d[ NgjhiZZh d[ i]Z FZaVcY MiVc[dgY Djc^dg
                     Oc^kZgh^in VcY DVoo J]VgbVXZji^XVah+ CcX- '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0/ ^c DVoo J]VgbVXZji^XVah eaXxh
                     ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn
                     13+ 1/04(-
 0/-0/*              @dgb d[ CcYZbc^[^XVi^dc ;\gZZbZci WZilZZc DVoo J]VgbVXZji^XVah eaX VcY ^ih d[[^XZgh VcY Y^gZXidgh '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc
                     DVcjVgn 07+ 1/01(-
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                     DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/01+ Vh [^aZY
                     l^i] i]Z M?= dc GVn 7+ 1/01(-
 0/-01*              I[[Zg FZiiZg [gdb DVoo J]VgbVXZji^XVah+ CcX- id GVii]Zl Sdjc\ '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/03+ Vh [^aZY l^i]
                     i]Z M?= dc GVn 7+ 1/03(-
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 0/-02;*             ?beadnbZci ;\gZZbZci Wn VcY WZilZZc ?OM; J]VgbV CcX- VcY CV^c GXA^aa '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c
                     DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/03+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-02<*             ;bZcYbZci id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc CV^c GXA^aa VcY ?OM; J]VgbV '?jgdeZ( F^b^iZY '^cXdgedgViZY ]ZgZ^c
                     Wn gZ[ZgZcXZ id ?m]^W^i 0/-04< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 13+ 1/04(-
 0/-02=*             ;bZcYZY VcY LZhiViZY MX]ZYjaZ 2 id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah OE FiY VcY CV^c GXA^aa
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-02>*             =]Vc\Z ^c =dcigda MidX` ;lVgY ;XXZaZgVi^dc ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah eaX VcY CV^c GXA^aa
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-5 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-03*              I[[Zg FZiiZg [gdb DVoo J]VgbVXZji^XVah+ CcX- id G^X]VZa G^aaZg '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/03+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-04;*             ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY VcY JVja NgZVXn '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/03+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 3+ 1/03(-
 0/-04<*             ;bZcYbZci id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY F^b^iZY VcY JVja NgZVXn '^cXdgedgViZY
                     ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-06< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z
                     eZg^dY ZcYZY >ZXZbWZg 20+ 1/03+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 13+ 1/04(-
 0/-04=*             ;bZcYZY VcY LZhiViZY MX]ZYjaZ 2 id ?beadnbZci ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah CgZaVcY FiY- VcY JVja
                     NgZVXn '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd-
                     //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-04>*             =]Vc\Z ^c =dcigda MidX` ;lVgY ;XXZaZgVi^dc ;\gZZbZci Wn VcY WZilZZc DVoo J]VgbVXZji^XVah eaX VcY JVja NgZVXn
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-3 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-05*              ;bZcYZY VcY LZhiViZY I[[Zg FZiiZg+ YViZY Vh d[ Djan 18+ 1/04+ [gdb DVoo J]VgbVXZji^XVah+ CcX- id EVgZc Mb^i]+ G->-+ J]->-
                     ''^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,
                     224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/04+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 8+ 1/04(-
 0/-06;*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-2 ^c DVoo J]VgbVXZji^XVah
                     eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 07+ 1/01(-
 0/-06<*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc MjW,JaVc AdkZgc^c\ ;lVgYh id JVgi^X^eVcih ^c i]Z LZejWa^X d[ CgZaVcY
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2< ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah CcX- l^i] i]Z
                     M?= dc @ZWgjVgn 17+ 1/01(-
 0/-06=*             @dgb d[ Hdi^XZ d[ AgVci d[ MidX` Iei^dch VcY @dgb d[ Iei^dc ;\gZZbZci 'O-M-( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16= ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E
                     '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06>*             @dgb d[ Hdi^XZ d[ AgVci d[ MidX` Iei^dch VcY @dgb d[ Iei^dc ;\gZZbZci 'Cg^h]( jcYZg DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16> ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E
                     '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-06?*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'O-M-( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16? ^c DVoo J]VgbVXZji^XVah
                     eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc
                     @ZWgjVgn 15+ 1/02(-
 0/-06@*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-16@ ^c DVoo J]VgbVXZji^XVah
                     eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc
                     @ZWgjVgn 15+ 1/02(-
Case 1:22-cv-00941-GBW                          Document 324 Filed 06/20/25                                 Page 226 of 382 PageID #:
                                                           22261
 NVWaZ d[ =dciZcih



 0/-06A*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc
                     ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan
                     LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-06B*             DVoo J]VgbVXZji^XVah eaX 1//6 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[
                     Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c
                     DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07;*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-0 ^c DVoo J]VgbVXZji^XVah
                     eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z M?= dc DVcjVgn 07+ 1/01(-
 0/-07<*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc MjW,JaVc AdkZgc^c\ ;lVgYh id JVgi^X^eVcih ^c i]Z LZejWa^X d[ CgZaVcY
                     '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-28< ^c i]Z ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY
                     ZcYZY >ZXZbWZg 20+ 1/00+ Vh [^aZY Wn DVoo J]VgbVXZji^XVah eaX dc WZ]Va[ d[ VcY Vh hjXXZhhdg id DVoo J]VgbVXZji^XVah CcX- l^i]
                     i]Z M?= dc @ZWgjVgn 17+ 1/01(-
 0/-07=*             @dgb d[ Iei^dc AgVci Hdi^XZ VcY @dgb d[ MidX` Iei^dc ;\gZZbZci 'O-M-( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K
                     '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-07>*             @dgb d[ MidX` Iei^dc AgVci Hdi^XZ VcY @dgb d[ Iei^dc ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in
                     CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-7 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K
                     '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+ 1/01(-
 0/-07?*             @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX 1/00
                     ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-17? ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb
                     0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-07@*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'O-M-( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-8 ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+
                     1/01(-
 0/-07A*             @dgb d[ LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'Cg^h]( jcYZg i]Z DVoo
                     J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0/ ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/01+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 6+
                     1/01(-
 0/-07B*             @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci jcYZg i]Z
                     DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-17B ^c DVoo J]VgbVXZji^XVah
                     eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc
                     @ZWgjVgn 15+ 1/02(-
 0/-07C*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ O-M- Iei^dc ;\gZZbZci
                     'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc
                     @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07D*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[ O-M-
                     LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-3 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07E*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc
                     ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan
                     LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07F*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[
                     Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci 'VeegdkZY Djan 20+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-5 ^c
                     DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-07G*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc
                     ;\gZZbZci '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-0 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ
                     Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/05+ Vh [^aZY l^i] i]Z M?= dc GVn 0/+ 1/05(-
Case 1:22-cv-00941-GBW                          Document 324 Filed 06/20/25                                   Page 227 of 382 PageID #:
                                                           22262
 NVWaZ d[ =dciZcih



 0/-07H*             DVoo J]VgbVXZji^XVah eaX 1/00 ?fj^in CcXZci^kZ JaVc , @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i AgVci Hdi^XZ VcY @dgb d[ Hdc,
                     O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh
                     KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/05+ Vh [^aZY l^i] i]Z M?= dc GVn 0/+
                     1/05(-
 0/-07I*             ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc 'VeegdkZY ;j\jhi 3+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-7
                     ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY DjcZ 2/+ 1/05+ Vh [^aZY
                     l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-07J*             ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc 'VeegdkZY HdkZbWZg 2+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+
                     Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-07K*             @dgb d[ O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[ O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci jcYZg i]Z
                     DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-5 ^c
                     DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-07L*             @dgb d[ O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY
                     LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan
                     LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-07M*             @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci
                     jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1/00 ?fj^in CcXZci^kZ JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-7 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg
                     2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-08*              DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY >^gZXidgh >Z[ZggZY =dbeZchVi^dc JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 88-5 ^c DVoo J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z M?= dc
                     DVcjVgn 07+ 1/01(-
 0/-1/;*             DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` Iei^dc JaVc '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 88-3 ^c DVoo J]VgbVXZji^XVah eaXxh gZ\^higVi^dc hiViZbZci dc @dgb M,7 '@^aZ Hd- 222,068/64(+ Vh [^aZY l^i] i]Z
                     M?= dc DVcjVgn 07+ 1/01(-
 0/-1/<*             @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY
                     VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` Iei^dc JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2/< ^c DVoo
                     J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/01+ Vh [^aZY l^i]
                     i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-1/=*             DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` Iei^dc JaVc , @dgb d[ Hdc,O-M- Iei^dc
                     AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci 'VeegdkZY ;j\jhi 0+ 1/02( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i
                     0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/02+
                     Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 4+ 1/02(-
 0/-1/>*             ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc 'VeegdkZY ;j\jhi 3+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-8 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-1/?*             ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc 'VeegdkZY HdkZbWZg 2+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-2 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-1/@*             @dgb d[ Hdc,O-M- LZhig^XiZY MidX` Oc^i ;lVgY AgVci Hdi^XZ VcY @dgb d[ LZhig^XiZY MidX` Oc^i ;lVgY ;\gZZbZci jcYZg i]Z
                     DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY 1//6 Hdc,?beadnZZ >^gZXidgh MidX` ;lVgY JaVc '^cXdgedgViZY ]ZgZ^c Wn
                     gZ[ZgZcXZ id ?m]^W^i 0/-3 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                     MZeiZbWZg 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-1/A*             @dgb d[ Hdc,O-M- Iei^dc AgVci Hdi^XZ VcY @dgb d[ Hdc,O-M- Iei^dc ;\gZZbZci jcYZg i]Z DVoo J]VgbVXZji^XVah eaX ;bZcYZY
                     VcY LZhiViZY Hdc,?beadnZZ >^gZXidgh 1//6 MidX` ;lVgY JaVc '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-4 ^c DVoo
                     J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY MZeiZbWZg 2/+ 1/05+ Vh [^aZY
                     l^i] i]Z M?= dc HdkZbWZg 7+ 1/05(-
 0/-10;*             DVoo J]VgbVXZji^XVah eaX 1//6 ?beadnZZ MidX` JjgX]VhZ JaVc+ Vh VbZcYZY VcY gZhiViZY '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                     ?m]^W^i 0/-20; ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg
                     20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 15+ 1/02(-
 0/-10<*             DVoo J]VgbVXZji^XVah eaX 1//6 ?beadnZZ MidX` JjgX]VhZ JaVc MjW,JaVc AdkZgc^c\ JjgX]VhZ L^\]ih id JVgi^X^eVcih ^c i]Z
                     LZejWa^X d[ CgZaVcY '^cXdgedgViZY Wn gZ[ZgZcXZ ]ZgZ^c id ?m]^W^i 0/-03= ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb
                     0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/01+ Vh [^aZY l^i] i]Z M?= dc GVn 7+ 1/01 (-
Case 1:22-cv-00941-GBW                           Document 324 Filed 06/20/25                                  Page 228 of 382 PageID #:
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 NVWaZ d[ =dciZcih



 0/-11;*              DVoo J]VgbVXZji^XVah eaX =Vh] <dcjh JaVc [dg O-M- ;[[^a^ViZh 'VeegdkZY HdkZbWZg 3+ 1/04( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id
                      ?m]^W^i 0/-11< ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg
                      20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-11<*              DVoo J]VgbVXZji^XVah eaX =Vh] <dcjh JaVc [dg O-M- ;[[^a^ViZh 'VeegdkZY HdkZbWZg 2+ 1/05(-
 0/-11=*              DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc [dg CciZgcVi^dcVa ;[[^a^ViZh '1/03( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-13> ^c
                      DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/02+ Vh [^aZY
                      l^i] i]Z M?= dc @ZWgjVgn 14+ 1/03(-
 0/-11>*              DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc 'CgZaVcY VcY Ii]Zg MeZX^[^ZY ;[[^a^ViZh( '=VaZcYVg SZVg 1/05( '^cXdgedgViZY ]ZgZ^c Wn
                      gZ[ZgZcXZ id ?m]^W^i 0/-11> ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                      >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-11?*              DVoo J]VgbVXZji^XVah =Vh] <dcjh JaVc 'CgZaVcY VcY Ii]Zg MeZX^[^ZY ;[[^a^ViZh( '=VaZcYVg SZVg 1/06(-
 0/-12*               DVoo J]VgbVXZji^XVah eaX ;bZcYZY VcY LZhiViZY ?mZXji^kZ =]Vc\Z ^c =dcigda VcY MZkZgVcXZ <ZcZ[^i JaVc 'VeegdkZY @ZWgjVgn
                      0/+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-12 ^c DVoo J]VgbVXZji^XVah eaXxh ;ccjVa LZedgi dc @dgb 0/,E '@^aZ Hd-
                      //0,224//( [dg i]Z eZg^dY ZcYZY >ZXZbWZg 20+ 1/04+ Vh [^aZY l^i] i]Z M?= dc @ZWgjVgn 12+ 1/05(-
 0/-13*               DVoo J]VgbVXZji^XVah eaX 1/04 ?mZXji^kZ I[[^XZg =dbeZchVi^dc ;ggVc\ZbZcih '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 0/-2
                      ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY GVgX] 20+ 1/04+ Vh [^aZY
                      l^i] i]Z M?= dc GVn 6+ 1/04(-
 0/-14;*              DVoo J]VgbVXZji^XVah eaX Hdc,?beadnZZ >^gZXidg =dbeZchVi^dc Jda^Xn 'VeegdkZY ;eg^a 2/+ 1/04( '^cXdgedgViZY ]ZgZ^c Wn
                      gZ[ZgZcXZ id ?m]^W^i 0/-1 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                      DjcZ 2/+ 1/04+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 4+ 1/04(-
 0/-14<*              ;bZcYZY VcY LZhiViZY Hdc,?beadnZZ >^gZXidg =dbeZchVi^dc Jda^Xn 'VeegdkZY GVn 4+ 1/05( '^cXdgedgViZY ]ZgZ^c Wn
                      gZ[ZgZcXZ id ?m]^W^i 0/-6 ^c DVoo J]VgbVXZji^XVah eaXxh KjVgiZgan LZedgi dc @dgb 0/,K '@^aZ Hd- //0,224//( [dg i]Z eZg^dY ZcYZY
                      DjcZ 2/+ 1/05+ Vh [^aZY l^i] i]Z M?= dc ;j\jhi 8+ 1/05(-
 0/-16                NZcYZg VcY Mjeedgi ;\gZZbZci+ YViZY Vh d[ GVn 16+ 1/05+ Wn VcY Vbdc\ DVoo J]VgbVXZji^XVah eaX+ JaZm GZg\Zg MjW+ CcX- VcY
                      ZVX] d[ i]Z eZghdch hZi [dgi] dc MX]ZYjaZ ; ViiVX]ZY i]ZgZid '^cXdgedgViZY ]ZgZ^c Wn gZ[ZgZcXZ id ?m]^W^i 88-0 ^c DVoo
                      J]VgbVXZji^XVah eaXxh =jggZci LZedgi dc @dgb 7,E '@^aZ Hd- //0,224//(+ Vh [^aZY l^i] i]Z M?= dc GVn 20+ 1/05(-
 10-0                 MjWh^Y^Vg^Zh d[ DVoo J]VgbVXZji^XVah eaX-
 12-0                 =dchZci d[ EJGA+ CcYZeZcYZci LZ\^hiZgZY JjWa^X ;XXdjci^c\ @^gb-
 13-0                 JdlZg d[ ;iidgcZn '^cXajYZY dc i]Z h^\cVijgZ eV\Z ]ZgZid(-
 20-0                 =Zgi^[^XVi^dc d[ =]^Z[ ?mZXji^kZ I[[^XZg ejghjVci id LjaZh 02V,03'V( VcY 04Y,03'V( egdbja\ViZY jcYZg i]Z MZXjg^i^Zh ?mX]Vc\Z
                      ;Xi d[ 0823+ Vh VbZcYZY-
 20-1                 =Zgi^[^XVi^dc d[ =]^Z[ @^cVcX^Va I[[^XZg ejghjVci id LjaZh 02V,03'V( VcY 04Y,03'V( egdbja\ViZY jcYZg i]Z MZXjg^i^Zh ?mX]Vc\Z
                      ;Xi d[ 0823+ Vh VbZcYZY-
 21-0)                =Zgi^[^XVi^dch d[ =]^Z[ ?mZXji^kZ I[[^XZg VcY =]^Z[ @^cVcX^Va I[[^XZg ejghjVci id 07 O-M-=- MZXi^dc 024/+ Vh VYdeiZY ejghjVci id
                      MZXi^dc 8/5 d[ i]Z MVgWVcZh,ImaZn ;Xi d[ 1//1-
 0/0-CHM              R<LF CchiVcXZ >dXjbZci
 0/0-M=B              R<LF NVmdcdbn ?miZch^dc MX]ZbV >dXjbZci
 0/0-=;F              R<LF NVmdcdbn ?miZch^dc =VaXjaVi^dc F^c`WVhZ >dXjbZci
 0/0->?@              R<LF NVmdcdbn ?miZch^dc >Z[^c^i^dc F^c`WVhZ >dXjbZci
 0/0-F;<              R<LF NVmdcdbn ?miZch^dc FVWZah F^c`WVhZ >dXjbZci
 0/0-JL?           R<LF NVmdcdbn ?miZch^dc JgZhZciVi^dc F^c`WVhZ >dXjbZci
 UUUUUUUUUUUUUUUUU
 *      CcY^XViZh bVcV\ZbZci XdcigVXi dg XdbeZchVidgn eaVc-

 r         =dc[^YZci^Va igZVibZci ]Vh WZZc \gVciZY [dg edgi^dch d[ i]^h Zm]^W^i- Ib^iiZY edgi^dch ]VkZ WZZc [^aZY hZeVgViZan l^i] i]Z MZXjg^i^Zh VcY
           ?mX]Vc\Z =dbb^hh^dc-

 )         N]Z XZgi^[^XVi^dch ViiVX]ZY Vh ?m]^W^i 21-0 VXXdbeVcn i]^h ;ccjVa LZedgi dc @dgb 0/,E ejghjVci id 07 O-M-=- MZXi^dc 024/+ Vh VYdeiZY
           ejghjVci id MZXi^dc 8/5 d[ i]Z MVgWVcZh,ImaZn ;Xi d[ 1//1+ VcY h]Vaa cdi WZ YZZbZY v[^aZYw Wn i]Z LZ\^higVci [dg ejgedhZh d[ MZXi^dc 07 d[
           i]Z MZXjg^i^Zh ?mX]Vc\Z ;Xi d[ 0823+ Vh VbZcYZY-
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                                                        "B$@$ 0558:80A4@#



  &$       >YVTSWK SL XNK >PGR$

  HVS ?Ohh EVO`[OQScbWQOZa ^ZQ 8OaV 7]\ca EZO\ #I(G( 6TTWZWObSa$ #bVS jPlank$ Wa RSaWU\SR b] ^`]dWRS [SO\W\UTcZ W\QS\bWdS& ]\ O\
  O\\cOZ POaWa& T]` S[^Z]gSSa ]T I(G( 6TTWZWObSa ]T ?Ohh EVO`[OQScbWQOZa ^ZQ #bVS jCompanyk$(

  '$       4POMOHOPOX]$

  >\ ]`RS` b] PS SZWUWPZS b] ^O`bWQW^ObS W\ bVS EZO\ T]` O EZO\ LSO`& O\ S[^Z]gSS #O$ [cab PS O\ OQbWdS `SUcZO` S[^Z]gSS ]T O I(G(
  6TTWZWObS ]T bVS 8][^O\g eV]aS :[^Z]g[S\b GbO`b 9ObS Wa DQb]PS` -+ ]T bVS EZO\ LSO` ]` SO`ZWS` O\R #P$ [cab \]b PS SZWUWPZS b]
  ^O`bWQW^ObS W\ O Q][[S`QWOZ #W\QZcRW\U aOZSa$ ]` ]bVS` aW[WZO` W\QS\bWdS Q][^S\aObW]\ ^ZO\( :[^Z]gSSa eV] O`S \]b Sf^`SaaZg
  QZOaaWTWSR Pg bVS I(G( 6TTWZWObS Oa j`SUcZO`k S[^Z]gSSa& acQV Oa bS[^]`O`g ]` Q]\b`OQb S[^Z]gSSa O\R W\bS`\a& O`S \]b SZWUWPZS b] PS
  EO`bWQW^O\ba(

  >\ ]`RS` b] PS SZWUWPZS b] `SQSWdS O 7]\ca T]` O EZO\ LSO`& O EO`bWQW^O\b [cab #W$ Q]\bW\cS b] PS O\ OQbWdS `SUcZO` S[^Z]gSS ]T O
  I(G( 6TTWZWObS ]T bVS 8][^O\g W\ U]]R abO\RW\U T`][ bVS RObS VWa)VS` ^O`bWQW^ObW]\ W\ bVS EZO\ Q][[S\QSa T]` bVS EZO\ LSO` c\bWZ
  bVS RObS 7]\caSa O`S ^OWR T]` bVS EZO\ LSO`& SfQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& O\R #WW$ OQb W\ OQQ]`RO\QS eWbV bVS 8][^O\gla 8]RS
  ]T 8]\RcQb& Q][^ZWO\QS ^]ZWQWSa O\R ^`]QSRc`Sa& O\R bV]aS ]T bVS EO`bWQW^O\bla S[^Z]gS`& O\R O^^ZWQOPZS ZOea O\R `SUcZObW]\a
  Rc`W\U bVS EZO\ LSO`(

  ($       AGVMKX 1SRYW$

  6 EO`bWQW^O\bla HO`USb 7]\ca US\S`OZZg eWZZ PS POaSR ]\ bVS EO`bWQW^O\bla ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg ZSdSZ( HVS HO`USb 7]\ca T]`
  EO`bWQW^O\ba O\R bVS O[]c\b ]T 7]\ca OQbcOZZg ^OWR b] O EO`bWQW^O\b W\ O EZO\ LSO` c\RS` bVS EZO\ [Og dO`g T`][ gSO` b] gSO` O\R
  PSbeSS\ ^]aWbW]\a& O\R O[]\U ^]aWbW]\a Ob bVS aO[S ZSdSZ( =]eSdS`& Oa O US\S`OZ UcWRSZW\S& bVS HO`USb 7]\caSa eVWQV eWZZ bg^WQOZZg
  PS OaaWU\SR b] dO`W]ca QObSU]`WSa ]T S[^Z]gSSa #O\R dO`gW\U RS^S\RW\U ]\ `Sa^]\aWPWZWbg ZSdSZa eWbVW\ SOQV QObSU]`g$ O`S Oa
  T]ZZ]ea4

                                                                                                                  AGVMKX 1SRYW
                                                                                                                   ">KVIKRX SL
   >SWOXOSR                                                                                                       1GWK @GPGV]#
   8VOW`[O\ ]T bVS 7]O`R& 8VWST :fSQcbWdS DTTWQS`& E`SaWRS\b                                                          +**"
   :fSQcbWdS JWQS E`SaWRS\b                                                                                           //"
   GS\W]` JWQS E`SaWRS\b eV] Wa O\ :fSQcbWdS 8][[WbbSS BS[PS` ]` Wa O GSQbW]\ +0 DTTWQS`                              ./"

                                                                  +(
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   GS\W]` JWQS E`SaWRS\b eV] Wa \]b O\ :fSQcbWdS 8][[WbbSS BS[PS` ]` O GSQbW]\ +0 DTTWQS`                              .*"
   JWQS E`SaWRS\b                                                                                                      -/"
   :fSQcbWdS 9W`SQb]`                                                                                                  -*"
   GS\W]` 9W`SQb]`                                                                                                     ,/"
   9W`SQb]`                                                                                                            ,,"
   6aa]QWObS 9W`SQb]`                                                                                                  ,*"
   GS\W]` BO\OUS`                                                                                                      +2"
   BO\OUS`                                                                                                             +/"
   6\OZgab                                                                                                             +,"
   Gc^^]`b                                                                                                              2"


  >T O EO`bWQW^O\b []dSa b] O ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg ZSdSZ eWbV O VWUVS` HO`USb 7]\ca Rc`W\U O EZO\ LSO`& bVS EO`bWQW^O\bla
  HO`USb 7]\ca eWZZ PS `SaSb Ob acQV VWUVS` ZSdSZ T]` bVS S\bW`S EZO\ LSO`( >T O EO`bWQW^O\b []dSa b] O ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg
  ZSdSZ eWbV O Z]eS` HO`USb 7]\ca Rc`W\U O EZO\ LSO`& bVS EO`bWQW^O\bla HO`USb 7]\ca eWZZ PS `SaSb Ob bVS Z]eS` ZSdSZ T]` bVS S\bW`S
  EZO\ LSO`(

  )$       1SRYW >SSP GRJ 1SRYWKW$

  ;]ZZ]eW\U bVS S\R ]T O EZO\ LSO`& bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS eWZZ RSbS`[W\S& W\ Wba a]ZS RWaQ`SbW]\& bVS 7]\ca E]]Z
  T]` bVS EZO\ LSO` b] PS OZZ]QObSR T]` bVS ^Og[S\b ]T 7]\caSa b] EO`bWQW^O\ba( HVS 7]\ca E]]Z eWZZ PS QOZQcZObSR Pg [cZbW^ZgW\U

  #O$ bVS ac[ ]T bVS T]ZZ]eW\U O[]c\ba T]` SOQV EO`bWQW^O\b4

          #W$ bVS 7OaS GOZO`g T]` acQV EO`bWQW^O\b& [cZbW^ZWSR Pg

         #WW$ acQV EO`bWQW^O\bla O^^ZWQOPZS HO`USb 7]\ca & ^`]dWRSR bVOb W\ bVS QOaS ]T O\g EO`bWQW^O\b eV] Wa O\ SfSQcbWdS ]TTWQS` ]T
  ?Ohh EVO`[OQScbWQOZa ^ZQ& acQV EO`bWQW^O\bla HO`USb 7]\ca eWZZ PS RSbS`[W\SR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS5

  eWbV

    #P$ bVS ^S`QS\bOUS aSb Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS POaSR c^]\ Wba RSbS`[W\ObW]\ ]T bVS 8][^O\gla acQQSaa W\
  OQVWSdW\U bVS ]PXSQbWdSa SabOPZWaVSR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS T]` Tc\RW\U bVS 7]\ca E]]Z T]` bVS EZO\ LSO`
  #bVS jBonus Pool Objectivesk$(



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  HVS 7]\ca E]]Z DPXSQbWdSa O`S `SZObSR b] bVS OQVWSdS[S\b ]T bVS ]dS`OZZ Q]`^]`ObS ]PXSQbWdSa SabOPZWaVSR T]` bVS O^^ZWQOPZS EZO\
  LSO` Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS #bVS jCorporate Objectivesk$(

  *$      1SRYW$

  :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& O EO`bWQW^O\bla 7]\ca T]` O EZO\ LSO` eWZZ PS POaSR c^]\ bVS T]ZZ]eW\U Q`WbS`WO4 #O$ bVS
  8][^O\gla acQQSaa W\ OQVWSdW\U bVS 8]`^]`ObS DPXSQbWdSa SabOPZWaVSR T]` bVS EZO\ LSO`& #P$ bVS EO`bWQW^O\bla acQQSaa W\ OQVWSdW\U
  VWa)VS` W\RWdWRcOZ ]PXSQbWdSa SabOPZWaVSR T]` bVS EZO\ LSO` #WT O^^ZWQOPZS$ O\R bVS EO`bWQW^O\bla Q]\b`WPcbW]\ b] bVS 8][^O\gla
  acQQSaa W\ OQVWSdW\U bVS 8]`^]`ObS DPXSQbWdSa& W\ SOQV QOaS eVWZS RS[]\ab`ObW\U 8][^O\g dOZcSa& O\R #Q$ bVS EO`bWQW^O\bla
  Q][^ZWO\QS eWbV 8][^O\g ^]ZWQWSa O\R bV]aS ]T EO`bWQW^O\bla S[^Z]gS`( :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& bVS O[]c\b ]T 7]\ca
  OQbcOZZg ^OWR b] SOQV EO`bWQW^O\b eWZZ PS O\ O[]c\b S_cOZ b] acQV EO`bWQW^O\bla 7OaS GOZO`g [cZbW^ZWSR Pg bVS O^^ZWQOPZS HO`USb
  7]\ca #Oa [Og PS ORXcabSR c^ ]` R]e\ T]` SOQV EO`bWQW^O\b Pg bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS ]` bVS 8][^O\gla
  [O\OUS[S\b& Oa O^^`]^`WObS& POaSR ]\ bVS Q`WbS`WO aSb T]`bV OP]dS$( :OQV EO`bWQW^O\bla 7]\ca T]` O EZO\ LSO` eWZZ PS O^^`]dSR Pg
  bVS 8VWST :fSQcbWdS DTTWQS` ]` VWa ]` VS` RSZSUObS& SfQS^b bVOb W\ bVS QOaS ]T O\g EO`bWQW^O\b eV] Wa O\ SfSQcbWdS ]TTWQS` ]T ?Ohh
  EVO`[OQScbWQOZa ^ZQ& acQV EO`bWQW^O\bla 7]\ca eWZZ PS O^^`]dSR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS(

  HVS b]bOZ ]T OZZ 7]\caSa ^OWR c\RS` bVWa EZO\ W\ O\g EZO\ LSO` [Og \]b SfQSSR bVS 7]\ca E]]Z T]` acQV EZO\ LSO` c\ZSaa acQV
  SfQSaa O[]c\b Wa a^SQWTWQOZZg O^^`]dSR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS( :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& \]
  O[]c\ba eWZZ PS ^OgOPZS b] O\g EO`bWQW^O\b VS`Sc\RS` c\bWZ bVS 7]\ca E]]Z O\R acQV EO`bWQW^O\bla 7]\ca VOdS PSS\ RSbS`[W\SR Oa
  RSaQ`WPSR OP]dS( :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& \] EO`bWQW^O\b Wa S\bWbZSR b] O\g ^O`bWQcZO` P]\ca& ]` O\g P]\ca& c\ZSaa
  O^^`]dSR Oa RSaQ`WPSR OP]dS(

  +$      AKVQORGXOSR SL 4QTPS]QKRX/ 3KGXN/ ?KXOVKQKRX/ >KVQGRKRX 3OWGHOPOX]$

  C] 7]\ca eWZZ PS ^OWR b] O\g EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV O I(G( 6TTWZWObS ]T bVS 8][^O\g bS`[W\ObSa ^`W]` b] bVS RObS
  7]\caSa T]` O EZO\ LSO` O`S aQVSRcZSR b] PS ^OWR ^c`acO\b b] GSQbW]\ 1& c\ZSaa #O$ acQV bS`[W\ObW]\ Wa RcS b] bVS EO`bWQW^O\bla
  RSObV& `SbW`S[S\b ]` ES`[O\S\b 9WaOPWZWbg& #P$ bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS& ]` bVS 8][^O\gla [O\OUS[S\b W\
  O^^`]^`WObS QW`Qc[abO\QSa W\ [O\OUS[S\bla RWaQ`SbW]\ RSbS`[W\Sa bVOb bVS EO`bWQW^O\b eWZZ PS SZWUWPZS b] `SQSWdS O 7]\ca& ]` #Q$
  acQV Q]\RWbW]\ Wa ^`]VWPWbSR Pg `SUcZObW]\a& ZOea& S[^Z]g[S\b OU`SS[S\ba ]` S[^Z]g[S\b Q]\b`OQba O^^ZWQOPZS b] O ^O`bWQcZO`
  EO`bWQW^O\b(

  >\ bVS QOaS ]T O EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV O I(G( 6TTWZWObS ]T bVS 8][^O\g bS`[W\ObSa #W\QZcRW\U RcS b] RSObV& `SbW`S[S\b
  ]` ES`[O\S\b 9WaOPWZWbg$ ^`W]` b] bVS RObS 7]\caSa T]` O EZO\ LSO` O`S aQVSRcZSR b] PS ^OWR O\R eV] PSQ][Sa S\bWbZSR b] `SQSWdS
  O 7]\ca ^c`acO\b b] bVS T]`SU]W\U ^O`OU`O^V& bVS O[]c\b ]T acQV EO`bWQW^O\bla 7]\ca T]` bVS EZO\ LSO` eWZZ PS RSbS`[W\SR Pg bVS
  7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS& ]` bVS 8][^O\gla [O\OUS[S\b O\R [Og PS ^`]`ObSR ]` ]bVS`eWaS RSbS`[W\SR POaSR ]\ bVS
  \c[PS` ]T []\bVa S[^Z]gSR Rc`W\U bVS EZO\ LSO`& ^S`T]`[O\QS ]` O\g ]bVS` TOQb]`a Oa RSQWRSR Pg bVS 7]O`R& bVS 8][^S\aObW]\
  8][[WbbSS ]` bVS 8][^O\gla [O\OUS[S\b& Oa O^^`]^`WObS(

  6\g EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV O I(G( 6TTWZWObS ]T bVS 8][^O\g bS`[W\ObSa #W\QZcRW\U RcS b] RSObV& `SbW`S[S\b ]`
  ES`[O\S\b 9WaOPWZWbg$ ^`W]` b] bVS RObS 7]\caSa T]` O EZO\ LSO` O`S aQVSRcZSR b] PS ^OWR O\R eV] PSQ][Sa S\bWbZSR b] `SQSWdS O
  7]\ca ^c`acO\b b] bVWa GSQbW]\ 0 eWZZ PS ^OWR acQV 7]\ca Ob bVS bW[S RSbS`[W\SR Pg bVS 8][^O\gla [O\OUS[S\b& eVWQV eWZZ W\ \]
  SdS\b PS ZObS` bVO\ bVS bW[S Ob eVWQV ]bVS` EO`bWQW^O\bal 7]\caSa T]` bVS EZO\ LSO` O`S aQVSRcZSR b] PS ^OWR ^c`acO\b b] GSQbW]\ 1(



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  ,$      >G]QKRX SL 1SRYWKW$

  7]\caSa T]` O EZO\ LSO` eWZZ PS ^OWR W\ QOaV b] O EO`bWQW^O\b #]` VWa)VS` PS\STWQWO`g& W\ bVS SdS\b ]T RSObV$ Pg BO`QV +/bV ]T bVS
  T]ZZ]eW\U gSO`& SfQS^b #W$ Oa Wa ]bVS`eWaS RSbS`[W\SR W\ bVS a]ZS RWaQ`SbW]\ ]T bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS ]` bVS
  8][^O\gla [O\OUS[S\b& Oa O^^`]^`WObS& ]` #WW$ Oa [Og PS \SQSaaO`g ]` ORdWaOPZS b] Q][^Zg eWbV `SUcZObW]\a& ZOea& S[^Z]g[S\b
  OU`SS[S\ba ]` S[^Z]g[S\b Q]\b`OQba O^^ZWQOPZS b] O ^O`bWQcZO` EO`bWQW^O\b5 provided& however& bVOb W\ OZZ QOaSa& bVS ^Og[S\b RObS
  ]T O\g 7]\ca T]` O\g EO`bWQW^O\b eV] Wa acPXSQb b] GSQbW]\ .*36 ]T bVS >\bS`\OZ FSdS\cS 8]RS ]T +320& Oa O[S\RSR& ]` O\g abObS
  ZOe ]T aW[WZO` STTSQb #jSection 409Ak$ eWZZ PS RSaWU\SR b] SWbVS` Q][^Zg eWbV GSQbW]\ .*36 ]` aObWaTg O\ SfS[^bW]\ T`][
  O^^ZWQObW]\ ]T GSQbW]\ .*36& O\R bVS EZO\ eWZZ PS OR[W\WabS`SR O\R W\bS`^`SbSR b] bVS U`SObSab SfbS\b ^]aaWPZS W\ Q][^ZWO\QS eWbV
  GSQbW]\ .*36 ]` W\ OQQ]`RO\QS eWbV acQV SfS[^bW]\& Oa O^^ZWQOPZS( 7S\STWba c\RS` bVWa EZO\ O`S \]b b`O\aTS`OPZS& O\R bVS EZO\ Wa
  c\Tc\RSR(

  -$      DOXNNSPJORM SL AG\KW$

  7]\caSa eWZZ PS acPXSQb b] W\Q][S O\R S[^Z]g[S\b bOf eWbVV]ZRW\U Oa `S_cW`SR Pg O^^ZWQOPZS ZOe(

  .$      >PGR 0QKRJQKRXW$

  HVWa EZO\ [Og PS `SdWaSR& []RWTWSR& ]` bS`[W\ObSR Ob O\g bW[S W\ bVS a]ZS RWaQ`SbW]\ ]T bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS(
  KWbV]cb ZW[WbW\U bVS T]`SU]W\U& bVS EZO\ [Og PS `SdWaSR& []RWTWSR& ]` bS`[W\ObSR eWbV `Sa^SQb b] O EO`bWQW^O\b ]` a^SQWTWQ U`]c^ ]T
  EO`bWQW^O\ba Oa [Og PS \SQSaaO`g ]` ORdWaOPZS b] Q][^Zg eWbV bVS ZOea O\R `SUcZObW]\a ]T bVS Xc`WaRWQbW]\ eVS`S acQV EO`bWQW^O\b ]`
  a^SQWTWQ U`]c^ ]T EO`bWQW^O\ba O`S S[^Z]gSR ]` eVS`S acQV EO`bWQW^O\b ]` a^SQWTWQ U`]c^ ]T EO`bWQW^O\ba O`S bOf `SaWRS\ba(

  &%$     <S 4QTPS]QKRX ?OMNXW$

  C]bVW\U Q]\bOW\SR W\ bVWa EZO\ Wa W\bS\RSR b] Q]\TS` O\g `WUVb c^]\ O\g S[^Z]gSS b] Q]\bW\cSR S[^Z]g[S\b eWbV bVS 8][^O\g ]`
  O\g I(G( 6TTWZWObS ]` ]bVS` OTTWZWObS bVS`S]T(

  &&$     >PGR 0JQOROWXVGXOSR$

  HVWa EZO\ eWZZ PS OR[W\WabS`SR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS( HVS 7]O`R O\R bVS 8][^S\aObW]\ 8][[WbbSS aVOZZ
  VOdS bVS a]ZS RWaQ`SbW]\ O\R OcbV]`Wbg b] OR[W\WabS` O\R W\bS`^`Sb bVS EZO\& O\R bVS RSQWaW]\a ]T bVS 7]O`R O\R bVS 8][^S\aObW]\
  8][[WbbSS aVOZZ W\ SdS`g QOaS PS TW\OZ O\R PW\RW\U ]\ OZZ ^S`a]\a VOdW\U O\ W\bS`Sab W\ bVS EZO\( C]beWbVabO\RW\U bVS T]`SU]W\U&
  QS`bOW\ Oa^SQba ]T bVS EZO\ [Og PS OR[W\WabS`SR Pg bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS 8][^O\gla [O\OUS[S\b& Oa a^SQWTWQOZZg
  ^`]dWRSR W\ bVS EZO\& O\R W\ acQV SdS\b& bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS 8][^O\gla [O\OUS[S\b aVOZZ VOdS bVS a]ZS RWaQ`SbW]\
  O\R OcbV]`Wbg b] OR[W\WabS` O\R W\bS`^`Sb acQV Oa^SQba ]T bVS EZO\& O\R bVS RSQWaW]\a ]T bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS
  8][^O\gla [O\OUS[S\b aVOZZ W\ acQV QOaSa PS TW\OZ O\R PW\RW\U(


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  &'$     3KLOROXOSRW$

  jBase Salaryk T]` O EO`bWQW^O\b [SO\a bVS b]bOZ O[]c\b ]T POaS aOZO`g ]` POaS ^Og OQbcOZZg ^OWR b] bVS EO`bWQW^O\b Rc`W\U bVS
  ^S`W]R ]T VWa)VS` ^O`bWQW^ObW]\ W\ bVS EZO\ T]` bVS EZO\ LSO`& `ObVS` bVO\ bVS EO`bWQW^O\bla POaS aOZO`g ZSdSZ ]` POaS ^Og ZSdSZ Ob O\g
  ^O`bWQcZO` ^]W\b Rc`W\U bVS EZO\ LSO` #e.g(& bVS 7OaS GOZO`g T]` O EO`bWQW^O\b eV]aS POaS aOZO`g ]` POaS ^Og Wa ORXcabSR Rc`W\U bVS
  EZO\ LSO`& T]` O EO`bWQW^O\b eV] Wa VW`SR Rc`W\U bVS EZO\ LSO`& ]` T]` O EO`bWQW^O\b eV]aS S[^Z]g[S\b bS`[W\ObSa Rc`W\U bVS EZO\
  LSO` eWZZ PS bVS b]bOZ O[]c\b ]T POaS aOZO`g ]` POaS ^Og OQbcOZZg ^OWR b] bVS EO`bWQW^O\b Rc`W\U bVS ^S`W]R ]T VWa)VS` ^O`bWQW^ObW]\ W\
  bVS EZO\ T]` bVS EZO\ LSO`$( 7OaS GOZO`g R]Sa \]b W\QZcRS O\g Sf^S\aS `SW[Pc`aS[S\ba& `SZ]QObW]\ ^Og[S\ba& W\QS\bWdS
  Q][^S\aObW]\ ]` P]\caSa& O[]c\ba `SQSWdSR Oa O `SacZb ]T S_cWbg OeO`Ra& ]dS`bW[S ]` aVWTb RWTTS`S\bWOZ ^Og[S\ba ]` aW[WZO` ]\S'
  bW[S ]` c\cacOZ ^Og[S\ba( 6\g aOZO`g ]` ^Og SO`\SR T]` ^S`W]Ra Rc`W\U eVWQV O EO`bWQW^O\b Wa ]\ RWaQW^ZW\O`g OQbW]\ O`S SfQZcRSR
  T`][ 7OaS GOZO`g(

  jBoardk [SO\a bVS 7]O`R ]T 9W`SQb]`a ]T ?Ohh EVO`[OQScbWQOZa ^ZQ(

  jBonusk [SO\a O EO`bWQW^O\bla OQbcOZ P]\ca T]` O EZO\ LSO` Oa RSbS`[W\SR W\ OQQ]`RO\QS eWbV GSQbW]\ / ]` GSQbW]\ 0& WT
  O^^ZWQOPZS(

  jBonus Poolk T]` O EZO\ LSO` [SO\a bVS OUU`SUObS R]ZZO` O[]c\b aSb Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS T]` bVS
  ^Og[S\b ]T 7]\caSa T]` acQV EZO\ LSO` b] EO`bWQW^O\ba Oa aSb T]`bV W\ GSQbW]\ .(

  jChief Executive Officerk [SO\a bVS 8VWST :fSQcbWdS DTTWQS` ]T ?Ohh EVO`[OQScbWQOZa ^ZQ( jCompensation Committeek [SO\a

  bVS 8][^S\aObW]\ 8][[WbbSS ]T bVS 7]O`R(
  jEmployment Start Datek [SO\a bVS TW`ab PcaW\Saa ROg ]\ eVWQV O EO`bWQW^O\b Wa O\ OQbWdS `SUcZO` S[^Z]gSS ]T O I(G( 6TTWZWObS ]T
  bVS 8][^O\g& ]\ bVS I(G( 6TTWZWObSla ^Og`]ZZ& Oa O^^ZWQOPZS(

   jExecutive Committee Memberk [SO\a O\ S[^Z]gSS ]T bVS 8][^O\g eV] aS`dSa Oa O [S[PS` ]T bVS 8][^O\gla SfSQcbWdS
  Q][[WbbSS& Oa RSbS`[W\SR Pg bVS 8VWST :fSQcbWdS DTTWQS` T`][ bW[S b] bW[S(

   jParticipantk [SO\a O\ OQbWdS `SUcZO` S[^Z]gSS ]T O I(G( 6TTWZWObS ]T bVS 8][^O\g eV] [SSba OZZ ]T bVS SZWUWPWZWbg `S_cW`S[S\ba
  aSb T]`bV W\ GSQbW]\ ,(

  jPermanent Disabilityk [SO\a bVOb O EO`bWQW^O\b VOa PSQ][S ^S`[O\S\bZg RWaOPZSR c\RS` O\g ^]ZWQg ]` ^`]U`O[ ]T RWaOPWZWbg
  W\Q][S W\ac`O\QS bVS\ W\ T]`QS Q]dS`W\U acQV EO`bWQW^O\b(

  j>PGRk [SO\a bVWa ?Ohh EVO`[OQScbWQOZa ^ZQ 8OaV 7]\ca EZO\ #I(G( 6TTWZWObSa$( jPlan Yeark [SO\a bVS QOZS\RO` gSO`(

  jSection 16 Officerk [SO\a O\ W\RWdWRcOZ eV] VOa PSS\ RSaWU\ObSR Pg bVS 7]O`R Oa O\ j]TTWQS`k ]T ?Ohh EVO`[OQScbWQOZa ^ZQ T]`
  bVS ^c`^]aSa ]T GSQbW]\ +0 ]T bVS GSQc`WbWSa :fQVO\US 6Qb ]T +3-.& Oa O[S\RSR& O\R FcZS +0O'+#T$ bVS`Sc\RS`(

  jTarget Bonusk [SO\a& T]` O EO`bWQW^O\b T]` O EZO\ LSO`& bVS ^S`QS\bOUS ]T 7OaS GOZO`g& POaSR ]\ acQV EO`bWQW^O\bla ^]aWbW]\
  O\R)]` `Sa^]\aWPWZWbg ZSdSZ W\ O EZO\ LSO`& bVOb `S^`SaS\ba bVS O[]c\b ]T 7]\ca bVOb acQV EO`bWQW^O\b [Og `SQSWdS T]` acQV EZO\ LSO`&
  Oa [Og PS ORXcabSR eWbV `Sa^SQb b] acQV EO`bWQW^O\b T]` acQV EZO\ LSO` W\ bVS RWaQ`SbW]\ ]T bVS 7]O`R& bVS 8][^S\aObW]\
  8][[WbbSS ]` bVS 8VWST :fSQcbWdS DTTWQS` ]` VWa ]` VS` RSZSUObS& Oa O^^ZWQOPZS(


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  jU.S. Affiliatek [SO\a O\g j^O`S\bk ]` jacPaWRWO`gk ]T bVS 8][^O\g& Oa acQV bS`[a O`S RSTW\SR W\ FcZS .*/ ]T bVS GSQc`WbWSa 6Qb
  ]T +3--& Oa O[S\RSR& bVOb Wa ]`UO\WhSR c\RS` bVS ZOea ]T bVS I\WbSR GbObSa(

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  As approved by the Compensation Committee of the Board of Directors of Jazz Pharmaceuticals plc on 13 February
  2013, as amended on 4 November 2015, and as amended and restated on 2 November 2016.


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                                        "8?4:0<3 0<3 =A74? @>4285843 0558:80A4@#

                                                           "2GPKRJGV EKGV '%&,#



  &$       >YVTSWK SL XNK >PGR$

  HVS ?Ohh EVO`[OQScbWQOZa 8OaV 7]\ca EZO\ #>`SZO\R O\R DbVS` G^SQWTWSR 6TTWZWObSa$ #8OZS\RO` LSO` ,*+1$ #bVS jPlank$ Wa RSaWU\SR
  b] ^`]dWRS [SO\W\UTcZ W\QS\bWdS& ]\ O\ O\\cOZ POaWa& T]` S[^Z]gSSa ]T ?Ohh EVO`[OQScbWQOZa ^ZQ #bVS jCompanyk$ O\R S[^Z]gSSa ]T
  bVS 8][^O\gla >`SZO\R O\R DbVS` G^SQWTWSR 6TTWZWObSa T]` bVS EZO\ LSO` PSUW\\W\U + ?O\cO`g ,*+1 O\R S\RW\U -+ 9SQS[PS` ,*+1(

  '$       4POMOHOPOX]$

  >\ ]`RS` b] PS SZWUWPZS b] ^O`bWQW^ObS W\ bVS EZO\ T]` O EZO\ LSO`& O\ S[^Z]gSS #O$ [cab PS O\ S[^Z]gSS ]T bVS 8][^O\g ]` O\ >`SZO\R
  O\R DbVS` G^SQWTWSR 6TTWZWObS #SOQV& W\QZcRW\U >`SZO\R& O jSpecified Affiliatek$ eV]aS :[^Z]g[S\b GbO`b 9ObS Wa -+ DQb]PS` ]T bVS
  EZO\ LSO` ]` SO`ZWS`& O\R #P$ [cab \]b PS SZWUWPZS b] ^O`bWQW^ObS W\ O Q][[S`QWOZ #W\QZcRW\U aOZSa$ ]` ]bVS` aW[WZO` W\QS\bWdS
  Q][^S\aObW]\ ^ZO\( 6RRWbW]\OZZg& eWbV `Sa^SQb b] <S\bWc[ G(^(6(& ?Ohh EVO`[OQScbWQOZa >bOZg G(^(6( O\R O\g ]bVS` G^SQWTWSR 6TTWZWObS
  W\ >bOZg #]bVS` bVO\ ?Ohh =SOZbVQO`S >bOZg G(`(Z($& ]\Zg S[^Z]gSSa eV] O`S QZOaaWTWSR Oa jRW`WUS\bWk c\RS` >bOZWO\ S[^Z]g[S\b ZOea O\R
  O`S W\RWdWRcOZZg \]bWTWSR W\ O aS^O`ObS e`WbW\U ]T bVSW` SZWUWPWZWbg O`S SZWUWPZS b] ^O`bWQW^ObS W\ bVS EZO\( :[^Z]gSSa eV] O`S W\bS`\a O`S
  \]b SZWUWPZS b] PS EO`bWQW^O\ba& b] bVS SfbS\b ^S`[WaaWPZS c\RS` O^^ZWQOPZS Z]QOZ ZOe(

  >\ ]`RS` b] PS SZWUWPZS b] `SQSWdS O 7]\ca T]` O EZO\ LSO`& O EO`bWQW^O\b [cab #W$ Q]\bW\cS b] PS O\ S[^Z]gSS ]T bVS 8][^O\g ]` O
  G^SQWTWSR 6TTWZWObS W\ U]]R abO\RW\U& Oa RSbS`[W\SR Ob bVS RWaQ`SbW]\ ]T bVS S[^Z]gS`& T`][ bVS RObS VWa)VS` ^O`bWQW^ObW]\ W\ bVS EZO\
  Q][[S\QSa T]` bVS EZO\ LSO` c\bWZ bVS 7]\ca EOg[S\b 9ObS #Oa RSTW\SR W\ GSQbW]\ 1$ T]` bVS EZO\ LSO`& SfQS^b Oa ^`]dWRSR W\
  GSQbW]\ 0& #WW$ OQb W\ OQQ]`RO\QS eWbV bVS 8][^O\gla 8]RS ]T 8]\RcQb& Q][^ZWO\QS ^]ZWQWSa O\R ^`]QSRc`Sa& O\R bV]aS ]T bVS
  EO`bWQW^O\bla S[^Z]gS`& O\R O^^ZWQOPZS ZOea O\R `SUcZObW]\a Rc`W\U bVS EZO\ LSO`& O\R #WWW$ \]b PS aS`dW\U O \]bWQS ^S`W]R Oa ]T bVS
  7]\ca EOg[S\b 9ObS T]` bVS EZO\ LSO`(

  HVS EZO\ eWZZ Ocb][ObWQOZZg Sf^W`S Ob bVS S\R ]T bVS W\RWQObSR EZO\ LSO`& O\R \] \Se ^ZO\ eWZZ PS W[^ZS[S\bSR c\ZSaa bVS 8][^O\g
  O\\]c\QSa ]bVS`eWaS(

  ($       AGVMKX 1SRYW$

  HVS HO`USb 7]\ca T]` EO`bWQW^O\ba O\R bVS O[]c\b ]T 7]\ca OQbcOZZg ^OWR b] O EO`bWQW^O\b W\ O EZO\ LSO` c\RS` bVS EZO\ [Og dO`g
  T`][ gSO` b] gSO` O\R PSbeSS\ ^]aWbW]\a& O\R O[]\U ^]aWbW]\a Ob bVS aO[S ZSdSZ( C] EO`bWQW^O\b VOa O\g Q]\b`OQbcOZ ]` ]bVS`eWaS
  OQ_cW`SR `WUVba b] O HO`USb 7]\ca ^c`acO\b b] O\g ^`SdW]ca bO`USb P]\ca #eVSbVS` aSb T]`bV W\ O e`WbbS\ ^ZO\ ]` ]bVS`eWaS$( HVS 7]O`R
  ]` bVS 8][^S\aObW]\ 8][[WbbSS `SbOW\a bVS a]ZS RWaQ`SbW]\ b] RSbS`[W\S bVS HO`USb 7]\caSa bVOb O^^Zg b] EO`bWQW^O\ba& O\R acQV
  RSbS`[W\ObW]\ [Og W\QZcRS #Pcb Wa \]b `S_cW`SR$ Q]\aWRS`ObW]\ ]T O EO`bWQW^O\bla ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg ZSdSZ( EO`bWQW^O\ba W\ >bOZg
  eV] O`S QZOaaWTWSR Oa jRW`WUS\bWk c\RS` >bOZWO\ S[^Z]g[S\b ZOea eWZZ PS ^`]dWRSR e`WbbS\ \]bWQS a^SQWTgW\U acQV EO`bWQW^O\bla HO`USb
  7]\ca O\R bVS PSZ]e bOPZS R]Sa \]b O^^Zg b] acQV EO`bWQW^O\ba( ;]` ]bVS` EO`bWQW^O\ba& bVS T]ZZ]eW\U bOPZS ^`]dWRSa

                                                                      +(
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  O US\S`OZ UcWRSZW\S Oa b] bVS HO`USb 7]\caSa eVWQV [Og bg^WQOZZg PS OaaWU\SR b] dO`W]ca QObSU]`WSa ]T S[^Z]gSSa4


                                                                                                                     AGVMKX 1SRYW
                                                                                                                      ">KVIKRX SL
  >SWOXOSR                                                                                                           1GWK @GPGV]#
  8VOW`[O\ ]T bVS 7]O`R& 8VWST :fSQcbWdS DTTWQS`& E`SaWRS\b                                                              +**"
  :fSQcbWdS JWQS E`SaWRS\b                                                                                                //"
  GS\W]` JWQS E`SaWRS\b eV] Wa O\ :fSQcbWdS 8][[WbbSS BS[PS` ]` Wa O GSQbW]\ +0 DTTWQS`                                   ./"
  GS\W]` JWQS E`SaWRS\b eV] Wa \]b O\ :fSQcbWdS 8][[WbbSS BS[PS` ]` O GSQbW]\ +0 DTTWQS`                                  .*"
  JWQS E`SaWRS\b                                                                                                          -/"
  :fSQcbWdS 9W`SQb]`                                                                                                      -*"
  GS\W]` 9W`SQb]`                                                                                                         ,/"
  9W`SQb]`                                                                                                                ,,"
  6aa]QWObS 9W`SQb]`                                                                                                      ,*"
  GS\W]` BO\OUS`                                                                                                          +2"
  BO\OUS`                                                                                                                 +/"
  6\OZgab                                                                                                                 +,"
  Gc^^]`b                                                                                                                 2"


  6a ORRWbW]\OZ US\S`OZ UcWRSZW\Sa& WT O EO`bWQW^O\b []dSa b] O ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg ZSdSZ eWbV O VWUVS` HO`USb 7]\ca Rc`W\U O
  EZO\ LSO`& bVS EO`bWQW^O\bla HO`USb 7]\ca eWZZ PS `SaSb Ob acQV VWUVS` ZSdSZ T]` bVS S\bW`S EZO\ LSO`5 O\R WT O EO`bWQW^O\b []dSa b] O
  ^]aWbW]\ O\R)]` `Sa^]\aWPWZWbg ZSdSZ eWbV O Z]eS` HO`USb 7]\ca Rc`W\U O EZO\ LSO`& bVS EO`bWQW^O\bla HO`USb 7]\ca eWZZ PS `SaSb Ob bVS
  Z]eS` ZSdSZ T]` bVS S\bW`S EZO\ LSO`& b] bVS SfbS\b ^S`[WaaWPZS c\RS` O^^ZWQOPZS Z]QOZ ZOe(

  )$      1SRYW >SSP GRJ 1SRYWKW$

  ;]ZZ]eW\U bVS S\R ]T O EZO\ LSO`& bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS eWZZ RSbS`[W\S& W\ Wba a]ZS RWaQ`SbW]\& bVS 7]\ca E]]Z T]`
  bVS EZO\ LSO` b] PS OZZ]QObSR T]` bVS ^Og[S\b ]T 7]\caSa b] EO`bWQW^O\ba( HVS 7]\ca E]]Z eWZZ PS QOZQcZObSR Pg [cZbW^ZgW\U

  #O$ bVS ac[ ]T bVS T]ZZ]eW\U O[]c\ba T]` SOQV EO`bWQW^O\b4

         #W$ bVS 7OaS GOZO`g T]` acQV EO`bWQW^O\b& [cZbW^ZWSR Pg

         #WW$ acQV EO`bWQW^O\bla O^^ZWQOPZS HO`USb 7]\ca & ^`]dWRSR bVOb W\ bVS QOaS ]T O\g EO`bWQW^O\b eV] Wa O\ SfSQcbWdS ]TTWQS` ]T
  ?Ohh EVO`[OQScbWQOZa ^ZQ& acQV EO`bWQW^O\bla HO`USb 7]\ca eWZZ PS RSbS`[W\SR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS5
   eWbV

   #P$ bVS ^S`QS\bOUS aSb Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS POaSR c^]\ Wba RSbS`[W\ObW]\ ]T bVS 8][^O\gla acQQSaa W\
  OQVWSdW\U bVS ]PXSQbWdSa SabOPZWaVSR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS T]` Tc\RW\U bVS 7]\ca E]]Z T]` bVS EZO\ LSO` #bVS
  jBonus Pool Objectivesk$(

  HVS 7]\ca E]]Z DPXSQbWdSa O`S `SZObSR b] bVS OQVWSdS[S\b ]T bVS ]dS`OZZ Q]`^]`ObS ]PXSQbWdSa SabOPZWaVSR T]` bVS O^^ZWQOPZS EZO\ LSO`
  Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS #bVS jCorporate Objectivesk$(

  6b bVS RWaQ`SbW]\ ]T bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS& bVS 7]\ca E]]Z eWZZ PS `SRcQSR Pg bVS O[]c\b ]T

                                                                   ,(
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  P]\caSa bVOb O`S `S_cW`SR b] PS ^OWR b] O\g EO`bWQW^O\ba c\RS` O^^ZWQOPZS Q]ZZSQbWdS PO`UOW\W\U OU`SS[S\ba& ZOP]` c\W]\ O``O\US[S\ba&
  ]` bVS ZWYS& WT O\g(

  *$      1SRYW$

  :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& O EO`bWQW^O\bla 7]\ca #]\ O U`]aa POaWa$ T]` O EZO\ LSO` eWZZ PS POaSR c^]\ bVS T]ZZ]eW\U Q`WbS`WO4 #O$
  bVS 8][^O\gla acQQSaa W\ OQVWSdW\U bVS 8]`^]`ObS DPXSQbWdSa SabOPZWaVSR T]` bVS EZO\ LSO`& #P$ bVS EO`bWQW^O\bla acQQSaa W\ OQVWSdW\U
  VWa)VS` W\RWdWRcOZ ]PXSQbWdSa SabOPZWaVSR T]` bVS EZO\ LSO` #WT O^^ZWQOPZS$ O\R bVS EO`bWQW^O\bla Q]\b`WPcbW]\ b] bVS 8][^O\gla acQQSaa
  W\ OQVWSdW\U bVS 8]`^]`ObS DPXSQbWdSa& W\ SOQV QOaS eVWZS RS[]\ab`ObW\U 8][^O\g dOZcSa& O\R #Q$ bVS EO`bWQW^O\bla Q][^ZWO\QS eWbV
  8][^O\g ^]ZWQWSa O\R bV]aS ]T EO`bWQW^O\bla S[^Z]gS` Oa SdOZcObSR Ob bVS RWaQ`SbW]\ ]T bVS S[^Z]gS`( 6^^ZgW\U bVSaS Q`WbS`WO& O
  ^O`bWQW^O\b [Og #]` [Og \]b$ PS S\bWbZSR b] O\g 7]\ca( >\ bVS SdS\b bVOb O EO`bWQW^O\b Wa b] `SQSWdS O 7]\ca& SfQS^b Oa ^`]dWRSR W\
  GSQbW]\ 0& bVS O[]c\b ]T 7]\ca OQbcOZZg ^OWR b] SOQV EO`bWQW^O\b eWZZ PS O\ O[]c\b S_cOZ b] acQV EO`bWQW^O\bla 7OaS GOZO`g [cZbW^ZWSR
  Pg bVS O^^ZWQOPZS HO`USb 7]\ca #Oa [Og PS ORXcabSR c^ ]` R]e\ T]` SOQV EO`bWQW^O\b Pg bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS ]`
  bVS 8][^O\gla [O\OUS[S\b& Oa O^^`]^`WObS& POaSR ]\ bVS Q`WbS`WO aSb T]`bV OP]dS& O\R eWZZ PS `SRcQSR Pg bVS O[]c\b ]T O\g P]\caSa
  bVOb O`S `S_cW`SR b] PS ^OWR b] bVS EO`bWQW^O\b c\RS` O^^ZWQOPZS Q]ZZSQbWdS PO`UOW\W\U OU`SS[S\ba& ZOP]` c\W]\ O``O\US[S\ba& ]` bVS
  ZWYS$( :OQV EO`bWQW^O\bla 7]\ca T]` O EZO\ LSO` eWZZ PS O^^`]dSR Pg bVS 8VWST :fSQcbWdS DTTWQS` ]` VWa ]` VS` RSZSUObS& SfQS^b bVOb W\
  bVS QOaS ]T O\g EO`bWQW^O\b eV] Wa O\ SfSQcbWdS ]TTWQS` ]T ?Ohh EVO`[OQScbWQOZa ^ZQ& acQV EO`bWQW^O\bla 7]\ca eWZZ PS O^^`]dSR Pg bVS
  7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS(

  HVS b]bOZ ]T OZZ 7]\caSa ^OWR c\RS` bVWa EZO\ W\ O\g EZO\ LSO` [Og \]b SfQSSR bVS 7]\ca E]]Z T]` acQV EZO\ LSO` c\ZSaa acQV SfQSaa
  O[]c\b Wa a^SQWTWQOZZg O^^`]dSR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS( :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& \] O[]c\ba eWZZ PS
  ^OgOPZS b] O\g EO`bWQW^O\b VS`Sc\RS` c\bWZ bVS 7]\ca E]]Z O\R acQV EO`bWQW^O\bla 7]\ca VOdS PSS\ RSbS`[W\SR Oa RSaQ`WPSR OP]dS(
  :fQS^b Oa ^`]dWRSR W\ GSQbW]\ 0& \] EO`bWQW^O\b Wa S\bWbZSR b] O\g ^O`bWQcZO` P]\ca& ]` O\g P]\ca& c\ZSaa O^^`]dSR Oa RSaQ`WPSR OP]dS(

  +$      AKVQORGXOSR SL 4QTPS]QKRX/ 3KGXN/ ?KXOVKQKRX/ >KVQGRKRX 3OWGHOPOX]$

  C] 7]\ca& ^`]`ObSR ]` ]bVS`eWaS& eWZZ PS ^OWR b] O\g EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV bVS 8][^O\g ]` O G^SQWTWSR 6TTWZWObS
  bS`[W\ObSa ^`W]` b] bVS RObS 7]\caSa T]` O EZO\ LSO` O`S aQVSRcZSR b] PS ^OWR ^c`acO\b b] GSQbW]\ 1& c\ZSaa #O$ acQV bS`[W\ObW]\ Wa RcS
  b] bVS EO`bWQW^O\bla RSObV& `SbW`S[S\b ]` ES`[O\S\b 9WaOPWZWbg& #P$ bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS& ]` bVS 8][^O\gla
  [O\OUS[S\b W\ O^^`]^`WObS QW`Qc[abO\QSa W\ [O\OUS[S\bla RWaQ`SbW]\ RSbS`[W\Sa bVOb bVS EO`bWQW^O\b eWZZ PS SZWUWPZS b] `SQSWdS O
  7]\ca& ]` #Q$ acQV Q]\RWbW]\ Wa ^`]VWPWbSR Pg `SUcZObW]\a& ZOea& S[^Z]g[S\b OU`SS[S\ba ]` S[^Z]g[S\b Q]\b`OQba O^^ZWQOPZS b] O
  ^O`bWQcZO` EO`bWQW^O\b(

  >\ bVS QOaS ]T O EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV bVS 8][^O\g ]` O G^SQWTWSR 6TTWZWObS bS`[W\ObSa #W\QZcRW\U RcS b] RSObV&
  `SbW`S[S\b ]` ES`[O\S\b 9WaOPWZWbg$ ^`W]` b] bVS 7]\ca EOg[S\b 9ObS O\R eV] PSQ][Sa S\bWbZSR b] `SQSWdS O 7]\ca ^c`acO\b b] bVS
  T]`SU]W\U ^O`OU`O^V& bVS O[]c\b ]T acQV EO`bWQW^O\bla 7]\ca T]` bVS EZO\ LSO` eWZZ PS RSbS`[W\SR Pg bVS 7]O`R& bVS 8][^S\aObW]\
  8][[WbbSS& ]` bVS 8][^O\gla [O\OUS[S\b& O\R [Og PS ^`]`ObSR ]` ]bVS`eWaS RSbS`[W\SR POaSR ]\ bVS \c[PS` ]T []\bVa S[^Z]gSR
  Rc`W\U bVS EZO\ LSO`& ^S`T]`[O\QS ]` O\g ]bVS` TOQb]`a Oa RSQWRSR Pg bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS ]` bVS 8][^O\gla
  [O\OUS[S\b& Oa O^^`]^`WObS& b] bVS SfbS\b ^S`[WaaWPZS c\RS` O^^ZWQOPZS Z]QOZ ZOe(

  6\g EO`bWQW^O\b eV]aS S[^Z]g[S\b eWbV bVS 8][^O\g ]` O G^SQWTWSR 6TTWZWObS bS`[W\ObSa #W\QZcRW\U RcS b] RSObV& `SbW`S[S\b ]`
  ES`[O\S\b 9WaOPWZWbg$ ^`W]` b] bVS 7]\ca EOg[S\b 9ObS O\R eV] PSQ][Sa S\bWbZSR b] `SQSWdS O 7]\ca ^c`acO\b b] bVWa GSQbW]\ 0 eWZZ
  PS ^OWR acQV 7]\ca Ob bVS bW[S RSbS`[W\SR Pg bVS 8][^O\gla [O\OUS[S\b& eVWQV eWZZ W\ \] SdS\b PS ZObS` bVO\ bVS 7]\ca EOg[S\b
  9ObS(

  I\ZSaa ]bVS`eWaS `S_cW`SR c\RS` O^^ZWQOPZS Z]QOZ ZOe& ^Og[S\ba c\RS` bVWa EZO\ aVOZZ \]b PS W\QZcRSR W\ QOZQcZObW]\ ]T O\g ^Og[S\b W\
  ZWSc ]T \]bWQS& aSdS`O\QS ^Og& bS`[W\ObW]\& W\RS[\Wbg ]` aW[WZO` ^Og(


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  ,$       >G]QKRX SL 1SRYWKW$

  7]\caSa T]` O EZO\ LSO` eWZZ PS ^OWR W\ QOaV b] O EO`bWQW^O\b #]` VWa)VS` PS\STWQWO`g& W\ bVS SdS\b ]T RSObV$ Pg BO`QV +/bV ]T bVS
  T]ZZ]eW\U gSO` #bVS jBonus Payment Datek$& SfQS^b #W$ Oa Wa ]bVS`eWaS RSbS`[W\SR W\ bVS a]ZS RWaQ`SbW]\ ]T bVS 7]O`R& bVS
  8][^S\aObW]\ 8][[WbbSS
  ]` bVS 8][^O\gla [O\OUS[S\b& Oa O^^`]^`WObS& ]` #WW$ Oa [Og PS \SQSaaO`g ]` ORdWaOPZS b] Q][^Zg eWbV `SUcZObW]\a& ZOea&
  S[^Z]g[S\b OU`SS[S\ba ]` S[^Z]g[S\b Q]\b`OQba O^^ZWQOPZS b] O ^O`bWQcZO` EO`bWQW^O\b( 7S\STWba c\RS` bVWa EZO\ O`S \]b b`O\aTS`OPZS&
  b] bVS SfbS\b ^S`[WaaWPZS c\RS` O^^ZWQOPZS Z]QOZ ZOe(

  -$       DOXNNSPJORM SL AG\KW GRJ ;GRJGXSV] 2SRXVOHYXOSRW$

  7]\caSa eWZZ PS acPXSQb b] O^^ZWQOPZS bOf O\R a]QWOZ aSQc`Wbg eWbVV]ZRW\U Oa `S_cW`SR Pg O^^ZWQOPZS Z]QOZ ZOea(

  .$       >PGR 0QKRJQKRXW$

  HVWa EZO\ [Og PS `SdWaSR& []RWTWSR& ]` bS`[W\ObSR Ob O\g bW[S W\ bVS a]ZS RWaQ`SbW]\ ]T bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS(
  KWbV]cb ZW[WbW\U bVS T]`SU]W\U& bVS EZO\ [Og PS `SdWaSR& []RWTWSR& ]` bS`[W\ObSR eWbV `Sa^SQb b] O EO`bWQW^O\b ]` a^SQWTWQ U`]c^ ]T
  EO`bWQW^O\ba Oa [Og PS \SQSaaO`g ]` ORdWaOPZS b] Q][^Zg eWbV bVS ZOea O\R `SUcZObW]\a ]T bVS Xc`WaRWQbW]\ eVS`S acQV EO`bWQW^O\b ]`
  a^SQWTWQ U`]c^ ]T EO`bWQW^O\ba O`S S[^Z]gSR ]` eVS`S acQV EO`bWQW^O\b ]` a^SQWTWQ U`]c^ ]T EO`bWQW^O\ba O`S bOf `SaWRS\ba(

  &%$      <S 4QTPS]QKRX ?OMNXW/ <S 0IUYOVKJ ?OMNXW$

  C]bVW\U Q]\bOW\SR W\ bVWa EZO\ Wa W\bS\RSR b] Q]\TS` O\g `WUVb c^]\ O\g S[^Z]gSS b] Q]\bW\cSR S[^Z]g[S\b eWbV bVS 8][^O\g ]` O\g
  G^SQWTWSR 6TTWZWObS ]` ]bVS` OTTWZWObS bVS`S]T(

  6\g ^Og[S\b ]T 7]\caSa e]cZR PS ]\ O d]Zc\bO`g O\R RWaQ`SbW]\O`g POaWa& eWbV]cb Q`SObW\U O\g Q]\b`OQbcOZ ]` ]bVS` OQ_cW`SR `WUVb b]
  ^O`bWQW^ObS eWbV `Sa^SQb b] O aW[WZO` #]` O\g ]bVS`$ P]\ca ^ZO\ ]` b] `SQSWdS O\g aW[WZO` OeO`Ra #]` PS\STWba W\ ZWSc$ W\ bVS Tcbc`S(

  &&$      >PGR 0JQOROWXVGXOSR$

  HVWa EZO\ eWZZ PS OR[W\WabS`SR Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS( HVS 7]O`R O\R bVS 8][^S\aObW]\ 8][[WbbSS aVOZZ
  VOdS bVS a]ZS RWaQ`SbW]\ O\R OcbV]`Wbg b] OR[W\WabS` O\R W\bS`^`Sb bVS EZO\& O\R bVS RSQWaW]\a ]T bVS 7]O`R O\R bVS 8][^S\aObW]\
  8][[WbbSS aVOZZ W\ SdS`g QOaS PS TW\OZ O\R PW\RW\U ]\ OZZ ^S`a]\a VOdW\U O\ W\bS`Sab W\ bVS EZO\( C]beWbVabO\RW\U bVS T]`SU]W\U& QS`bOW\
  Oa^SQba ]T bVS EZO\ [Og PS OR[W\WabS`SR Pg bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS 8][^O\gla [O\OUS[S\b& Oa a^SQWTWQOZZg ^`]dWRSR W\
  bVS EZO\& O\R W\ acQV SdS\b& bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS 8][^O\gla [O\OUS[S\b aVOZZ VOdS bVS a]ZS RWaQ`SbW]\ O\R OcbV]`Wbg b]
  OR[W\WabS` O\R W\bS`^`Sb acQV Oa^SQba ]T bVS EZO\& O\R bVS RSQWaW]\a ]T bVS 8VWST :fSQcbWdS DTTWQS` ]` bVS 8][^O\gla [O\OUS[S\b
  aVOZZ W\ acQV QOaSa PS TW\OZ O\R PW\RW\U(

  &'$      3KLOROXOSRW$

  jBase Salaryk T]` O EO`bWQW^O\b [SO\a bVS b]bOZ O[]c\b ]T POaS aOZO`g ]` POaS ^Og OQbcOZZg ^OWR b] bVS EO`bWQW^O\b Rc`W\U bVS ^S`W]R
  ]T VWa)VS` ^O`bWQW^ObW]\ W\ bVS EZO\ T]` bVS EZO\ LSO`& `ObVS` bVO\ bVS EO`bWQW^O\bla POaS aOZO`g ZSdSZ ]` POaS ^Og ZSdSZ Ob O\g ^O`bWQcZO`
  ^]W\b Rc`W\U bVS EZO\ LSO` #e.g(& bVS 7OaS GOZO`g T]` O EO`bWQW^O\b eV]aS POaS aOZO`g ]` POaS ^Og Wa ORXcabSR Rc`W\U bVS EZO\ LSO`& T]`
  O EO`bWQW^O\b eV] Wa VW`SR Rc`W\U bVS EZO\ LSO`& ]` T]` O EO`bWQW^O\b eV]aS S[^Z]g[S\b bS`[W\ObSa Rc`W\U bVS EZO\ LSO` eWZZ PS bVS
  b]bOZ O[]c\b ]T POaS aOZO`g ]` POaS ^Og OQbcOZZg ^OWR b] bVS EO`bWQW^O\b Rc`W\U bVS ^S`W]R ]T VWa)VS` ^O`bWQW^ObW]\ W\ bVS EZO\ T]` bVS
  EZO\ LSO`$( 7OaS GOZO`g R]Sa \]b W\QZcRS O\g PS\STWba& Sf^S\aS `SW[Pc`aS[S\ba& `SZ]QObW]\ ^Og[S\ba& W\QS\bWdS Q][^S\aObW]\ ]`
  P]\caSa& O[]c\ba `SQSWdSR Oa O `SacZb ]T S_cWbg OeO`Ra& ]dS`bW[S ]` aVWTb RWTTS`S\bWOZ ^Og[S\ba ]` aW[WZO` ]\S' bW[S ]` c\cacOZ
  ^Og[S\ba( 6\g aOZO`g ]` ^Og SO`\SR T]` ^S`W]Ra Rc`W\U eVWQV O EO`bWQW^O\b Wa ]\ RWaQW^ZW\O`g OQbW]\ ]` aS`dW\U O \]bWQS ^S`W]R O`S
  SfQZcRSR T`][ 7OaS GOZO`g b] bVS SfbS\b ^S`[WaaWPZS c\RS` O^^ZWQOPZS Z]QOZ ZOe(

                                                                      .(
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  jBoardk [SO\a bVS 7]O`R ]T 9W`SQb]`a ]T ?Ohh EVO`[OQScbWQOZa ^ZQ(

  jBonusk [SO\a O EO`bWQW^O\bla OQbcOZ P]\ca T]` O EZO\ LSO` Oa RSbS`[W\SR W\ OQQ]`RO\QS eWbV GSQbW]\ / ]` GSQbW]\ 0& WT O^^ZWQOPZS(

  jBonus Poolk T]` O EZO\ LSO` [SO\a bVS OUU`SUObS R]ZZO` O[]c\b aSb Pg bVS 7]O`R ]` bVS 8][^S\aObW]\ 8][[WbbSS T]` bVS ^Og[S\b
  ]T 7]\caSa T]` acQV EZO\ LSO` b] EO`bWQW^O\ba Oa aSb T]`bV W\ GSQbW]\ .(

  jChief Executive Officerk [SO\a bVS 8VWST :fSQcbWdS DTTWQS` ]T ?Ohh EVO`[OQScbWQOZa ^ZQ(

  jCompensation Committeek [SO\a bVS 8][^S\aObW]\ 8][[WbbSS ]T bVS 7]O`R(

  jEmployment Start Datek [SO\a bVS TW`ab PcaW\Saa ROg ]\ eVWQV O EO`bWQW^O\b Wa O\ S[^Z]gSS ]T bVS 8][^O\g ]` O G^SQWTWSR
  6TTWZWObS& ]\ bVS 8][^O\gla ]` acQV 6TTWZWObSla ^Og`]ZZ& Oa O^^ZWQOPZS(

  jExecutive Committee Memberk [SO\a O\ S[^Z]gSS ]T bVS 8][^O\g eV] aS`dSa Oa O [S[PS` ]T bVS 8][^O\gla SfSQcbWdS
  Q][[WbbSS& Oa RSbS`[W\SR Pg bVS 8VWST :fSQcbWdS DTTWQS` T`][ bW[S b] bW[S(

  jIreland and Other Specified Affiliatek [SO\a O\g j^O`S\bk ]` jacPaWRWO`gk ]T bVS 8][^O\g bVOb Wa ]`UO\WhSR c\RS` bVS ZOea ]T
  >`SZO\R& c\RS` bVS ZOea ]T O\g ]bVS` Q]c\b`g eWbVW\ :c`]^S& ]` c\RS` bVS ZOea ]T 8O\ORO( >\ ORRWbW]\& bVS 7]O`R ]` bVS 8][^S\aObW]\
  8][[WbbSS QO\ RSaWU\ObS O\g ]bVS` j^O`S\bk ]` jacPaWRWO`gk ]T bVS 8][^O\g b] PS W\QZcRSR eWbVW\ bVWa RSTW\WbW]\(

  jParticipantk [SO\a O\ S[^Z]gSS ]T bVS 8][^O\g ]` O\ >`SZO\R O\R DbVS` G^SQWTWSR 6TTWZWObS eV] [SSba OZZ ]T bVS SZWUWPWZWbg
  `S_cW`S[S\ba aSb T]`bV W\ GSQbW]\ ,(

  jPermanent Disabilityk [SO\a bVOb O EO`bWQW^O\b VOa PSQ][S ^S`[O\S\bZg RWaOPZSR c\RS` O\g ^]ZWQg ]` ^`]U`O[ ]T RWaOPWZWbg W\Q][S
  W\ac`O\QS bVS\ W\ T]`QS Q]dS`W\U acQV EO`bWQW^O\b(

  jPlank [SO\a bVWa ?Ohh EVO`[OQScbWQOZa 8OaV 7]\ca EZO\ #>`SZO\R O\R DbVS` G^SQWTWSR 6TTWZWObSa$ #8OZS\RO` LSO` ,*+1$(

  jPlan Yeark [SO\a bVS QOZS\RO` gSO` PSUW\\W\U + ?O\cO`g ,*+1 O\R S\RW\U -+ 9SQS[PS` ,*+1& OTbS` eVWQV bVS EZO\ aV]cZR Sf^W`S(

  jSection 16 Officerk [SO\a O\ W\RWdWRcOZ eV] VOa PSS\ RSaWU\ObSR Pg bVS 7]O`R Oa O\ j]TTWQS`k ]T ?Ohh EVO`[OQScbWQOZa ^ZQ T]` bVS
  ^c`^]aSa ]T GSQbW]\ +0 ]T bVS GSQc`WbWSa :fQVO\US 6Qb ]T +3-.& Oa O[S\RSR& O\R FcZS +0O'+#T$ bVS`Sc\RS`(

  jTarget Bonusk [SO\a& T]` O EO`bWQW^O\b T]` O EZO\ LSO`& bVS ^S`QS\bOUS ]T 7OaS GOZO`g bVOb `S^`SaS\ba bVS O[]c\b ]T 7]\ca bVOb
  acQV EO`bWQW^O\b [Og `SQSWdS T]` acQV EZO\ LSO`& Oa [Og PS ORXcabSR eWbV `Sa^SQb b] acQV EO`bWQW^O\b T]` acQV EZO\ LSO` W\ bVS
  RWaQ`SbW]\ ]T bVS 7]O`R& bVS 8][^S\aObW]\ 8][[WbbSS ]` bVS 8VWST :fSQcbWdS DTTWQS` ]` VWa ]` VS` RSZSUObS& Oa O^^ZWQOPZS(

                                                                 %%%%%

  As approved by the Compensation Committee of the Board of Directors of Jazz Pharmaceuticals plc on 2 November 2016.

                                                                   /(
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  06?44;4<A 0<3 0224>A0<24

  > OQY\]eZSRUS bVOb bVWa 8OaV 7]\ca EZO\ T]` bVS EZO\ LSO` PSUW\\W\U + ?O\cO`g ,*+1 O\R S\RW\U -+ 9SQS[PS` ,*+1 ac^S`aSRSa O\R
  `S^ZOQSa OZZ ^`W]` OU`SS[S\ba& `S^`SaS\bObW]\a ]` c\RS`abO\RW\Ua& eVSbVS` e`WbbS\& ]`OZ ]` W[^ZWSR& PSbeSS\ bVS 8][^O\g& [g
  S[^Z]gS` O\R [S& eWbV `Sa^SQb b] bVWa acPXSQb [ObbS`( ;c`bVS`& > OQY\]eZSRUS bVOb > VOdS `SOR& c\RS`abO\R& O\R OU`SS b] Q][^Zg eWbV
  OZZ ]T bVS bS`[a O\R Q]\RWbW]\a ]T bVWa 8OaV 7]\ca EZO\(


  :[^Z]gSS GWU\Obc`S4

  9ObS4


                                                                  0(
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                                                        22276


                                                                                                                           Exhibit 21.1



                                                   Subsidiaries of the Registrant




  Name of Subsidiary                                              State or Jurisdiction of Incorporation or Organization




  Jazz Pharmaceuticals Ireland Limited                        Ireland
  Jazz Financing I Designated Activity Company                Ireland
  Jazz Capital Limited                                        Ireland
  Jazz Pharmaceuticals, Inc.                                  Delaware
  Celator Pharmaceuticals, Inc.                               Delaware
  Jazz Pharmaceuticals Europe Holdings Limited                Gibraltar
  Jazz Pharmaceuticals France SAS                             France
  Jazz Pharmaceuticals France Holdings SAS                    France
  Jazz Pharmaceuticals Lux S.à r.l.                           Luxembourg
  Gentium S.R.L.                                              Italy
  Jazz Pharmaceuticals Italy S.R.L.                           Italy
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                                                          22277
                                                                                                                                         Exhibit 23.1

                                            Consent of Independent Registered Public Accounting Firm



 The Board of Directors
 Jazz Pharmaceuticals plc


 We consent to the incorporation by reference in the registration statements (No. 333-202269, No. 333-194131, No. 333-186886, No. 333-179075 and
 No. 333-209767) on Form S-8 of Jazz Pharmaceuticals plc of our reports dated February 28, 2017, with respect to the consolidated balance sheets of
 Jazz Pharmaceuticals plc as of December 31, 2016 and 2015, and the related consolidated statements of income, comprehensive income (loss),
 shareholders’ equity, and cash flows for each of the years in the three-year period ended December 31, 2016, and the related financial statement
 schedule, and the effectiveness of internal control over financial reporting as of December 31, 2016, which reports appear in the December 31, 2016
 annual report on Form 10-K of Jazz Pharmaceuticals plc.




 /s/ KPMG

 Dublin, Ireland
 February 28, 2017
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                                                            22278
                                                                                                                                              Exhibit 31.1

                                                                    CERTIFICATION

 >& 7`cQS 8( 8]hORR& QS`bWTg bVOb4

  +( > VOdS `SdWSeSR bVWa 6\\cOZ FS^]`b ]\ ;]`[ +*'@ ]T ?Ohh EVO`[OQScbWQOZa ^cPZWQ ZW[WbSR Q][^O\g5

  ,(    7OaSR ]\ [g Y\]eZSRUS& bVWa `S^]`b R]Sa \]b Q]\bOW\ O\g c\b`cS abObS[S\b ]T O [ObS`WOZ TOQb ]` ][Wb b] abObS O [ObS`WOZ TOQb \SQSaaO`g b] [OYS
       bVS abObS[S\ba [ORS& W\ ZWUVb ]T bVS QW`Qc[abO\QSa c\RS` eVWQV acQV abObS[S\ba eS`S [ORS& \]b [WaZSORW\U eWbV `Sa^SQb b] bVS ^S`W]R Q]dS`SR
       Pg bVWa `S^]`b5

  -( 7OaSR ]\ [g Y\]eZSRUS& bVS TW\O\QWOZ abObS[S\ba& O\R ]bVS` TW\O\QWOZ W\T]`[ObW]\ W\QZcRSR W\ bVWa `S^]`b& TOW`Zg ^`SaS\b W\ OZZ [ObS`WOZ `Sa^SQba
     bVS TW\O\QWOZ Q]\RWbW]\& `SacZba ]T ]^S`ObW]\a O\R QOaV TZ]ea ]T bVS `SUWab`O\b Oa ]T& O\R T]`& bVS ^S`W]Ra ^`SaS\bSR W\ bVWa `S^]`b5

  .( HVS `SUWab`O\bla ]bVS` QS`bWTgW\U ]TTWQS`#a$ O\R > O`S `Sa^]\aWPZS T]` SabOPZWaVW\U O\R [OW\bOW\W\U RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa #Oa
     RSTW\SR W\ :fQVO\US 6Qb FcZSa +-O'+/#S$ O\R +/R'+/#S$$ O\R W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U #Oa RSTW\SR W\ :fQVO\US 6Qb FcZSa +-O'
     +/#T$ O\R +/R'+/#T$$ T]` bVS `SUWab`O\b O\R VOdS4
  O$        9SaWU\SR acQV RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa& ]` QOcaSR acQV RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa b] PS RSaWU\SR c\RS` ]c`
            ac^S`dWaW]\& b] S\ac`S bVOb [ObS`WOZ W\T]`[ObW]\ `SZObW\U b] bVS `SUWab`O\b& W\QZcRW\U Wba Q]\a]ZWRObSR acPaWRWO`WSa& Wa [ORS Y\]e\ b] ca Pg
            ]bVS`a eWbVW\ bV]aS S\bWbWSa& ^O`bWQcZO`Zg Rc`W\U bVS ^S`W]R W\ eVWQV bVWa `S^]`b Wa PSW\U ^`S^O`SR5
  P$        9SaWU\SR acQV W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U& ]` QOcaSR acQV W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U b] PS RSaWU\SR c\RS` ]c`
            ac^S`dWaW]\& b] ^`]dWRS `SOa]\OPZS Oaac`O\QS `SUO`RW\U bVS `SZWOPWZWbg ]T TW\O\QWOZ `S^]`bW\U O\R bVS ^`S^O`ObW]\ ]T TW\O\QWOZ abObS[S\ba T]`
            SfbS`\OZ ^c`^]aSa W\ OQQ]`RO\QS eWbV US\S`OZZg OQQS^bSR OQQ]c\bW\U ^`W\QW^ZSa5
  Q$        :dOZcObSR bVS STTSQbWdS\Saa ]T bVS `SUWab`O\bla RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa O\R ^`SaS\bSR W\ bVWa `S^]`b ]c` Q]\QZcaW]\a OP]cb bVS
            STTSQbWdS\Saa ]T bVS RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa& Oa ]T bVS S\R ]T bVS ^S`W]R Q]dS`SR Pg bVWa `S^]`b POaSR ]\ acQV SdOZcObW]\5 O\R
  R$        9WaQZ]aSR W\ bVWa `S^]`b O\g QVO\US W\ bVS `SUWab`O\bla W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U bVOb ]QQc``SR Rc`W\U bVS `SUWab`O\bla []ab
            `SQS\b TWaQOZ _cO`bS` #bVS `SUWab`O\bla T]c`bV TWaQOZ _cO`bS` W\ bVS QOaS ]T O\ O\\cOZ `S^]`b$ bVOb VOa [ObS`WOZZg OTTSQbSR& ]` Wa `SOa]\OPZg
            ZWYSZg b] [ObS`WOZZg OTTSQb& bVS `SUWab`O\bla W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U5 O\R

  /( HVS `SUWab`O\bla ]bVS` QS`bWTgW\U ]TTWQS`#a$ O\R > VOdS RWaQZ]aSR& POaSR ]\ ]c` []ab `SQS\b SdOZcObW]\ ]T W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ
     `S^]`bW\U& b] bVS `SUWab`O\bla OcRWb]`a O\R bVS OcRWb Q][[WbbSS ]T bVS `SUWab`O\bla P]O`R ]T RW`SQb]`a #]` ^S`a]\a ^S`T]`[W\U bVS S_cWdOZS\b
     Tc\QbW]\a$4
  O$        6ZZ aWU\WTWQO\b RSTWQWS\QWSa O\R [ObS`WOZ eSOY\SaaSa W\ bVS RSaWU\ ]` ]^S`ObW]\ ]T W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U eVWQV O`S
            `SOa]\OPZg ZWYSZg b] ORdS`aSZg OTTSQb bVS `SUWab`O\bla OPWZWbg b] `SQ]`R& ^`]QSaa& ac[[O`WhS O\R `S^]`b TW\O\QWOZ W\T]`[ObW]\5 O\R
  P$        6\g T`OcR& eVSbVS` ]` \]b [ObS`WOZ& bVOb W\d]ZdSa [O\OUS[S\b ]` ]bVS` S[^Z]gSSa eV] VOdS O aWU\WTWQO\b `]ZS W\ bVS `SUWab`O\bla W\bS`\OZ
            Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U(



  9ObS4 ;SP`cO`g ,2& ,*+1                                                     7g4                             )a) 7`cQS 8( 8]hORR
                                                                                                             Bruce C. Cozadd
                                                                                              Chairman and Chief Executive Officer and Director
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                                                           22279
                                                                                                                                             Exhibit 31.2

                                                                   CERTIFICATION

 >& BObbVSe E( L]c\U& QS`bWTg bVOb4

  +( > VOdS `SdWSeSR bVWa 6\\cOZ FS^]`b ]\ ;]`[ +*'@ ]T ?Ohh EVO`[OQScbWQOZa ^cPZWQ ZW[WbSR Q][^O\g5

  ,( 7OaSR ]\ [g Y\]eZSRUS& bVWa `S^]`b R]Sa \]b Q]\bOW\ O\g c\b`cS abObS[S\b ]T O [ObS`WOZ TOQb ]` ][Wb b] abObS O [ObS`WOZ TOQb \SQSaaO`g b] [OYS
     bVS abObS[S\ba [ORS& W\ ZWUVb ]T bVS QW`Qc[abO\QSa c\RS` eVWQV acQV abObS[S\ba eS`S [ORS& \]b [WaZSORW\U eWbV `Sa^SQb b] bVS ^S`W]R Q]dS`SR
     Pg bVWa `S^]`b5

  -( 7OaSR ]\ [g Y\]eZSRUS& bVS TW\O\QWOZ abObS[S\ba& O\R ]bVS` TW\O\QWOZ W\T]`[ObW]\ W\QZcRSR W\ bVWa `S^]`b& TOW`Zg ^`SaS\b W\ OZZ [ObS`WOZ `Sa^SQba
     bVS TW\O\QWOZ Q]\RWbW]\& `SacZba ]T ]^S`ObW]\a O\R QOaV TZ]ea ]T bVS `SUWab`O\b Oa ]T& O\R T]`& bVS ^S`W]Ra ^`SaS\bSR W\ bVWa `S^]`b5

  .( HVS `SUWab`O\bla ]bVS` QS`bWTgW\U ]TTWQS`#a$ O\R > O`S `Sa^]\aWPZS T]` SabOPZWaVW\U O\R [OW\bOW\W\U RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa #Oa
     RSTW\SR W\ :fQVO\US 6Qb FcZSa +-O'+/#S$ O\R +/R'+/#S$$ O\R W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U #Oa RSTW\SR W\ :fQVO\US 6Qb FcZSa +-O'
     +/#T$ O\R +/R'+/#T$$ T]` bVS `SUWab`O\b O\R VOdS4
  O$       9SaWU\SR acQV RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa& ]` QOcaSR acQV RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa b] PS RSaWU\SR c\RS` ]c`
           ac^S`dWaW]\& b] S\ac`S bVOb [ObS`WOZ W\T]`[ObW]\ `SZObW\U b] bVS `SUWab`O\b& W\QZcRW\U Wba Q]\a]ZWRObSR acPaWRWO`WSa& Wa [ORS Y\]e\ b] ca Pg
           ]bVS`a eWbVW\ bV]aS S\bWbWSa& ^O`bWQcZO`Zg Rc`W\U bVS ^S`W]R W\ eVWQV bVWa `S^]`b Wa PSW\U ^`S^O`SR5
  P$       9SaWU\SR acQV W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U& ]` QOcaSR acQV W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U b] PS RSaWU\SR c\RS` ]c`
           ac^S`dWaW]\& b] ^`]dWRS `SOa]\OPZS Oaac`O\QS `SUO`RW\U bVS `SZWOPWZWbg ]T TW\O\QWOZ `S^]`bW\U O\R bVS ^`S^O`ObW]\ ]T TW\O\QWOZ abObS[S\ba T]`
           SfbS`\OZ ^c`^]aSa W\ OQQ]`RO\QS eWbV US\S`OZZg OQQS^bSR OQQ]c\bW\U ^`W\QW^ZSa5
  Q$       :dOZcObSR bVS STTSQbWdS\Saa ]T bVS `SUWab`O\bla RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa O\R ^`SaS\bSR W\ bVWa `S^]`b ]c` Q]\QZcaW]\a OP]cb bVS
           STTSQbWdS\Saa ]T bVS RWaQZ]ac`S Q]\b`]Za O\R ^`]QSRc`Sa& Oa ]T bVS S\R ]T bVS ^S`W]R Q]dS`SR Pg bVWa `S^]`b POaSR ]\ acQV SdOZcObW]\5 O\R
  R$       9WaQZ]aSR W\ bVWa `S^]`b O\g QVO\US W\ bVS `SUWab`O\bla W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U bVOb ]QQc``SR Rc`W\U bVS `SUWab`O\bla []ab
           `SQS\b TWaQOZ _cO`bS` #bVS `SUWab`O\bla T]c`bV TWaQOZ _cO`bS` W\ bVS QOaS ]T O\ O\\cOZ `S^]`b$ bVOb VOa [ObS`WOZZg OTTSQbSR& ]` Wa `SOa]\OPZg
           ZWYSZg b] [ObS`WOZZg OTTSQb& bVS `SUWab`O\bla W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U5 O\R

  /( HVS `SUWab`O\bla ]bVS` QS`bWTgW\U ]TTWQS`#a$ O\R > VOdS RWaQZ]aSR& POaSR ]\ ]c` []ab `SQS\b SdOZcObW]\ ]T W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ
     `S^]`bW\U& b] bVS `SUWab`O\bla OcRWb]`a O\R bVS OcRWb Q][[WbbSS ]T bVS `SUWab`O\bla P]O`R ]T RW`SQb]`a #]` ^S`a]\a ^S`T]`[W\U bVS S_cWdOZS\b
     Tc\QbW]\a$4

  O$       6ZZ aWU\WTWQO\b RSTWQWS\QWSa O\R [ObS`WOZ eSOY\SaaSa W\ bVS RSaWU\ ]` ]^S`ObW]\ ]T W\bS`\OZ Q]\b`]Z ]dS` TW\O\QWOZ `S^]`bW\U eVWQV O`S
           `SOa]\OPZg ZWYSZg b] ORdS`aSZg OTTSQb bVS `SUWab`O\bla OPWZWbg b] `SQ]`R& ^`]QSaa& ac[[O`WhS O\R `S^]`b TW\O\QWOZ W\T]`[ObW]\5 O\R
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                                                                                            Executive Vice President and Chief Financial Officer
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       Chairman and Chief Executive Officer and Director


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       Executive Vice President and Chief Financial Officer


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                                                                  22294         the Securities Exchange Act of 1934

                                                                                                       Filing by: Jazz Pharmaceuticals, Inc.
                                                                                                       Subject Company: Jazz Pharmaceuticals, Inc.
                                                                                                       SEC File No. of Jazz Pharmaceuticals, Inc.:
                                                                                                       001-33500
                                                                                                       Registration No. 333-177528

       The following transcript of an investor presentation by Jazz Pharmaceuticals, Inc. (“Jazz Pharmaceuticals”) on Wednesday, November 30, 2011 contains
forward-looking statements, including, but not limited to, related to Jazz Pharmaceuticals’ growth potential and future financial performance, including 2011
financial guidance, and statements related to the anticipated consummation of the business combination transaction between Jazz Pharmaceuticals and Azur
Pharma Public Limited Company (formerly Azur Pharma Limited, “Azur Pharma”) and the timing thereof. These forward-looking statements are based on Jazz
Pharmaceuticals’ current expectations and inherently involve significant risks and uncertainties. Jazz Pharmaceuticals’ actual results and the timing of events
could differ materially from those anticipated in such forward looking statements as a result of these risks and uncertainties, which include, without limitation,
risks related to: Jazz Pharmaceuticals’ dependence on sales of Xyrem® and its ability to increase sales of its Xyrem and Luvox CR® products; competition,
including potential generic competition; Jazz Pharmaceuticals’ dependence on single source suppliers and manufacturers; the ability of Jazz Pharmaceuticals to
protect its intellectual property and defend its patents; regulatory obligations and oversight; Jazz Pharmaceuticals’ cash flow; Jazz Pharmaceuticals’ ability to
complete the transaction with Azur Pharma on the proposed terms and schedule; and those risks detailed from time-to-time under the caption “Risk Factors” and
elsewhere in Jazz Pharmaceuticals’ Securities and Exchange Commission (“SEC”) filings and reports, including in its Quarterly Report on Form 10-Q for the
quarter ended September 30, 2011 and definitive proxy statement related to the Azur Pharma transaction, in each case filed with the SEC. Jazz Pharmaceuticals
undertakes no duty or obligation to update any forward-looking statements contained in this transcript as a result of new information, future events or changes in
its expectations.

Additional Information and Where to Find It
       In connection with the proposed transaction, Jazz Pharmaceuticals and Azur Pharma have filed documents with the SEC, including the filing by Jazz
Pharmaceuticals of a definitive proxy statement/prospectus relating to the proposed transaction and the related matters, and the filing by Azur Pharma of a
registration statement on Form S-4 that includes the proxy statement/prospectus relating to the proposed transaction and the related matters. The definitive proxy
statement/prospectus has been mailed to Jazz Pharmaceuticals’ stockholders in connection with the proposed transaction. INVESTORS AND SECURITY
HOLDERS ARE URGED TO READ THE REGISTRATION STATEMENT ON FORM S-4 AND THE RELATED DEFINITIVE PROXY
STATEMENT/PROSPECTUS BECAUSE THEY CONTAIN IMPORTANT INFORMATION ABOUT JAZZ PHARMACEUTICALS, AZUR PHARMA, THE
ST
PROPOSED TRANSACTION AND THE RELATED MATTERS. Investors and security holders may obtain free copies of these documents and other related
documents filed with the
SEC at Case
        the SEC’s1:22-cv-00941-GBW                     Document
                   web site at www.sec.gov, by directing a request to Jazz324       Filed Investor
                                                                           Pharmaceuticals’  06/20/25          Page 260
                                                                                                    Relations department   at Jazzof 382 PageID
                                                                                                                                   Pharmaceuticals, Inc., #:
Attention: Investor Relations, 3180 Porter Drive, Palo Alto, California 94304, or to Jazz Pharmaceuticals’ Investor Relations department at 650-496-2800 or by
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email to investorinfo@jazzpharma.com. Investors and security holders may obtain free copies of the documents filed with the SEC on Jazz Pharmaceuticals’
website at www.jazzpharmaceuticals.com under the heading “Investors” and then under the heading “SEC Filings.”

       Jazz Pharmaceuticals and its directors and executive officers and Azur Pharma and its directors and executive officers may be deemed participants in the
solicitation of proxies from the stockholders of Jazz Pharmaceuticals in connection with the proposed transaction. Information regarding the special interests of
these directors and executive officers in the proposed transaction is included in the proxy statement/prospectus described above. Additional information regarding
the directors and executive officers of Jazz Pharmaceuticals is also included in Jazz Pharmaceuticals’ proxy statement for its 2011 Annual Meeting of
Stockholders, which was filed with the SEC on April 12, 2011. These documents are available free of charge at the SEC’s web site at www.sec.gov and from
Investor Relations at Jazz Pharmaceuticals as described above.

       This communication does not constitute an offer to sell, or the solicitation of an offer to sell, or the solicitation of an offer to subscribe for or buy, any
securities nor shall there be any sale, issuance or transfer of securities in any jurisdiction in which such offer, solicitation or sale would be unlawful prior to
registration or qualification under the securities laws of any such jurisdiction.
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    Case PARTICIPANTS
CORPORATE 1:22-cv-00941-GBW                             Document 324 Filed 06/20/25                                Page 262 of 382 PageID #:
Bruce Cozadd                                                       22297
Jazz Pharmaceuticals, Inc. - Chairman & CEO

CONFERENCE CALL PARTICIPANTS
Dave Amsellem
Piper Jaffray - Analyst

PRESENTATION


Dave Amsellem - Piper Jaffray - Analyst
Okay, let’s get started. Dave Amsellem from the Specialty Pharma Team at Piper Jaffray. Our next company presentation is Jazz Pharmaceuticals. It’s been a very
eventful year for the Company with the significant expansion of Xyrem and also the recent acquisition of Azur Pharma, so much to talk about. With us today is
Bruce Cozadd, Chairman and CEO. Bruce, thanks for joining us. I’ll hand it over to you for a few brief introductory remarks and then we can go right into
questions.


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Hi, David. Thank you, and thank you, everyone, for joining us this morning. I will say I’m going to make forward-looking statements during the presentation, so
please do see our SEC filings for a listing of risk factors that could affect whether all of those things come to pass.

I’ll also point out that we’re in the pendency of an announced but not yet closed transaction. On September 19, we announced a transaction with Azur Pharma.
That transaction is expected to close in January, but there is a proxy S-4 statement that’s been declared effective by the SEC; I would encourage all of you to see
that for additional information on that transaction.

So, by way of introductory remarks, I’ll just make a few. The first is that the first part of our corporate strategy right now remains optimizing the value of our lead
product, Xyrem. Xyrem, or sodium oxybate, is indicated for the treatment of narcolepsy. The two major symptoms of narcolepsy, those are excessive daytime
sleepiness and cataplexy. It’s the only drug with that indication distributed under our proprietary distribution system, or REMS, called the Xyrem Success
Program.

This product, we’ve given guidance this year of $230 million to $235 million in revenues. That’s up very substantially from prior periods. And we’ve seen really
good volume growth of Xyrem in 2011. We came into this year with a growth rate, 2010 over 2009, of about 7% on the volume side. We’ve seen that tick up to
the 11% and 12% range for each of the past three quarters.

For a product that’s been on the market nine years, to see an increasing growth rate, I think demonstrates the effectiveness of the number of the commercial
initiatives that we’ve put in place over the past 12 months, initiatives that we think will continue to pay off in increased growth of this product in this orphan
condition of narcolepsy.

The second piece of our strategy is now to add in additional commercial or near-commercial products to build on our commercial infrastructure, and we took a
big step toward achieving that objective with the announcement of the Azur transaction in September.

This will take us from two products to 12 products in CNS and women’s health. It will take the combined Company to an estimated $475 million in net sales in its
first 12 months as a combined entity. We think the products are a good fit, particularly Prialt, which reminds us a lot of Xyrem, when we acquired Xyrem back in
2005. The transaction also will redomicile the Company to Ireland and have advantages to us, I think, in positioning us efficiently for future transactions as well.

The third piece of our strategy is to selectively invest in R&D. We took a major step toward executing on that part of our strategy by adding a new head of R&D
in the last few months. Jeff Tobias has just recently joined us. I think he’s very focused right now in supporting our

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commercial       1:22-cv-00941-GBW
            business,                                  Document
                      but also in evaluating areas where                324 inFiled
                                                         we can make investments           06/20/25
                                                                                     R&D targeted  at bringing Page    263to of
                                                                                                               new products     382
                                                                                                                             market thatPageID       #:
                                                                                                                                        fit with our specialty
focus, physician audiences that are concentrated, which will be well addressed through a modestly-sized sales force.
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All three of those pieces of our strategy — focus on Xyrem, add new commercial products, and selectively invest in R&D — are built over a structure of a
Company where the management team tries to think like stockholders. We are stockholders, not just through options. We’ve invested our own money in the
Company.

Kate Falberg, our CFO sitting next to me, recently bought some more stock in the open market. And every time we make an investment, whether that’s in
growing the Xyrem business, doing a strategy transaction like the Azur transaction, making an R&D investment, we use the same criteria I think a lot of you
would use in thinking through how does this build shareholder value, what’s this going to do for us in terms of true economics over time? And I think that’s a
distinguishing characteristic of our Company.

Coming out of the Azur transaction, which, as I said, we expect to close in January, we’ll have a very strong balance sheet, a couple hundred million in cash, no
debt. We estimate our cash flow on an ongoing basis will be north of $200 million, so positions us, we think, well for continued growth in future transactions.
And with that, David, I’ll end my introductory remarks and take questions.

QUESTION AND ANSWER


Dave Amsellem - Piper Jaffray - Analyst
Well, I’ll start out with a few of my own, but feel free, anyone in the audience, to jump right in. So, first on Xyrem, two bigger picture questions. Number one is
how sustainable is the double-digit volume growth that you’ve seen? And I know that on past conference calls you’ve talked about new initiatives, patient
outreach, and additional physicians that you’re calling on. But as the growth continues, what sustains that?

Secondly is on price. Obviously, there’s been some significant pricing actions and you’re getting — or do you think you’re getting to a point where you are more
limited in what you can do on price? Are you starting to get in the cross-hairs of managed care? So, I think as a starting point, those are two very important topics
that we think of.


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Okay. Let me start with the second first, on price. Xyrem’s price today varies, obviously, by dose, from 4.5 grams a night up to 9 grams a night. But at the most
common dose, it puts us in the low $40,000 per patient year level. Now, that’s assuming that someone actually takes full dose every night, 365 days a year.

But when we compare that price to prices for other drugs that also treat orphan conditions that are serious disorders, and narcolepsy certainly is a serious disorder
where the drug truly makes a difference for those patients and where there’s no substitute, right? Nothing else with the same indication, nothing else with the
same mechanism of action. We actually think Xyrem is at the low end of that range of drug pricing.

We’ve got excellent reimbursement coverage, about 80% private pay. 70% of our patients have a monthly out-of-pocket cost of $50.00 or less. Our rate of prior
authorizations remains fairly low, so we’ve got good coverage. Obviously, you can see by our volume growth rate it actually accelerated over time. So we feel
very comfortable that the price we have for the product today remains a good value for the payors, and we haven’t seen a change in that landscape over the course
of the past couple of years.

On the volume side, we came into this year expecting volume growth rate maybe in the high single digits, and we’ve done better than that. And to your question,
David, what’s the opportunity for additional volume growth? We estimate we’re penetrating about 18% or 19% of the diagnosed and treated narcolepsy patient
population today. We estimate that’s about a 50,000-patient pool in the United States, and we think over time that market share certainly ought to go up.

There’s really no competition. The other drugs used to treat narcolepsy for the excessive daytime sleepiness part of narcolepsy are stimulants. Those can and are
used together with Xyrem, so that’s not an either/or, it’s an and proposition. Probably 80% to 90% of our patients and the patients in our clinical trials were also
on stimulants.

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So we doCase      1:22-cv-00941-GBW
          see continued   room for volume growth. Will Document              324 rates?
                                                           it continue at double-digit  Filed    06/20/25
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                                                                                                                                            I think we’re #:
                                                                                                                                                          in the
early stages of the initiatives we rolled out this year; and for now, we see the22299
                                                                                  opportunity for continued solid volume growth.


Dave Amsellem - Piper Jaffray - Analyst
I have a couple of follow-ups to that, first, on the pricing side. You’re certainly comfortable, it sounds like, where price is now. I guess the question is if you were
to continue to be aggressive on pricing actions — and I’m not asking you to tell (inaudible) price increase, but what I am asking is if you were to continue to be
aggressive, do you think the managed care landscape would change?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
I don’t have a perfect crystal ball any more than anyone else does. I will say that after we do price increases we watch to see what the reaction is. We watch to see
what the payor reaction is; we look at what the physician reaction is.

We look at how many patients there are on therapy. Do all patients who need therapy get therapy? Which, I’m happy to say, through a number of initiatives we
support, including a patient assistance program where we do provide about 10% of product actually free of charge to patients, we think we are ensuring that all
patients have access to therapy regardless of ability to pay.

But this is a data-driven decision for us. So we see what actually happens; we make decisions based on the information we then have at hand. And I’ll say the
landscape around us isn’t static either; it’s changed over the last couple of years. And so when we ask what’s going to happen in 2012, 2013, 2014, let’s see what’s
happening around us as well. But lately, what’s been happening around us as well is that existing products have been taking price increases and new product
launches have tended to be at prices north of our cost of therapy.


Dave Amsellem - Piper Jaffray - Analyst
Thank you. And then another follow-up, just on the volume side. So I think you said a little bit north of 9,000 patients were on the drug as of the third quarter call,
so the penetration, as you said, is pretty low. So, the question here is, obviously, there is some doctors who aren’t aware of therapy. So there’s that, but can you
identify is there still a lot of what I call low-hanging fruit out there in terms of patients who are clear candidates for therapy who are not adequately responding to
stimulants? How high could the penetration be over time?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Yes, so the number of patients on therapy over time is obviously a function of how many new patients we bring on to therapy, but it’s also a function of how many
patients leave therapy. And so we’re trying to optimize on all dimensions.

We’re certainly looking to make sure that we call on all the physicians who are the right targets for us, and this year we did add several hundred new physician
targets where we know they’re treating narcolepsy, we know they’re writing stimulants for narcolepsy, but they hadn’t been in our call pattern before.

We’re trying to make sure physicians and patients understand the proper use of the product, how to use it safely. It does have a black box warning, and we want to
make sure patients understand that as a CNS depressant, you wouldn’t want to use this in conjunction with alcohol or other CNS depressants.

So we’re trying to do better education on the physician side to bring more patients into the top of the funnel, but then we also want to make sure that if the patient
has been prescribed Xyrem by their physician, that they’re likely to fill that prescription. We have uniquely good data on that because the prescription itself is
faxed directly into a central pharmacy — one pharmacy, and we have that information.

So we actually know our prescription fill rate. For a lot of drugs, that’s an estimate; you can do surveys and try to guess. We actually know in each case and we’ve
seen an increasing percentage of patients written a prescription, fill that prescription.

We know that some patients don’t fill the prescription because they have fears about this product. They’ve heard about its side effects; they’ve heard it’s a
controlled substance; they’ve heard it has a bad reputation.

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       if we can1:22-cv-00941-GBW                      Document
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                                                                                                                                                sure they understand
what this condition is, why they’ve been prescribed this drug and how to use22300
                                                                             it appropriately, we see that reflected in a higher capture rate of those prescriptions.

And then the last piece is once they start therapy, initiate therapy, do they understand how to titrate up to an efficacious dose, what to expect to in terms of AEs
over the first month of therapy so that they can great this chronic condition successfully?

And we’ve seen increasing numbers of physicians prescribing the product. We’ve seen a higher capture rate of new prescriptions. And now, we’ve seen a higher
compliance rate and higher persistence rates for patients who have initiated therapy, staying on therapy long-term. All of those things go to increasing that volume
of patients on the drug at any point in time.


Dave Amsellem - Piper Jaffray - Analyst
Okay, that’s helpful. Any questions from the audience before we move on to other topics?


Unidentified Audience Member
A couple of months ago it was disclosed that some adverse results from Xyrem had not been disclosed properly. Can you just bring us up to date on that?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Sure. I’m going to repeat the question since you weren’t miked. The question was a couple of months ago it was disclosed that there were adverse events in
Xyrem that hadn’t previously been properly reported and could I give an update on that?

So back in April or May, we became aware through our own efforts that not all AEs had been properly reported from SDS, our specialty pharmacy through Jazz
Pharmaceuticals, and therefore, through our drug safety group on to FDA. We notified FDA immediately. We did report those AEs we became aware of. We
publicly disclosed that in May as part of our 10-Q, and at this point we think the FDA is fully aware of all of that.

We did get a 483 based on an FDA inspection that started shortly after that. That was given to us in May. That turned into a warning letter issued to us in October
of this year by FDA. And I think it’s important to point out to everyone here that we take full responsibility for our need to have a robust, timely, accurate AE
reporting system. And that includes the activities of our subcontractors, right, of our outsource providers, including SDS.

And we’ve been working very closely with SDS since the time we became aware of this to make changes in policies, personnel, training, systems, auditing, really
across the board. And following the receipt of the warning letter in October, we did submit what I think was a very thorough response on November 1 detailing all
of the actions we’ve taken to ensure that our system works the way it ought to work with reliability.


Dave Amsellem - Piper Jaffray - Analyst
What’s your sense of when you think the letter could be closed out? And maybe a better way of asking is what are the next steps now that the response is sitting at
the FDA?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Ultimately, there is a formal close-out process with FDA on warning letters. We’ve made our response. We’ve offered to meet with district office out in Alameda
to walk through any questions they might have on the materials we submitted. That meeting has not happened yet.

As to timing of getting to close-out, it’s hard to predict. A lot of our responses to this situation have already happened and can be documented. Some of them will
occur over time; for example, putting in place an ongoing auditing program. Obviously, it will take time for us to then perform those audits, measure the
improvements in performance.

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think the FDA is going to want to make sure the system has been fixed and that    that fix works over time.
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Dave Amsellem - Piper Jaffray - Analyst
And just to be clear, this doesn’t impact your ability — the shift, it doesn’t impact your ability to promote — and then, is there any concern that we should have
on those fronts?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
So, no, there’s no change to our ability to run our business other than, obviously, we’ve substantially upgraded our drug safety capabilities in AE reporting since
the spring. But no, it’s had no impact. We disclose in our risk factors that FDA — and it’s in the warning letter, which is a public document, that FDA, if they’re
not satisfied, can always take additional steps. We’re confident, based on our response, that they’re not going to need to take any of those additional steps, so we
don’t forecast any impact on our business. Did you have a question?


Unidentified Audience Member
(inaudible question - microphone inaccessible)


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Yes. So, CJ, we’re very confident that our search, certainly for deaths, is complete. Will the numbers change over time? The numbers change depending on where
you’re reading, for a couple of reasons. One is what time period is being looked at, so what’s the cutoff point?

And second, what’s the description of the pool you’re looking at? Sometimes you’re looking at US only; sometimes you’re looking at combining the data from
UCB that markets the product in a number of ex-US markets; sometimes we include cases captured from literature, even if we can’t identify the patient
specifically.

So sometimes there’s a slightly different definition, but the numbers haven’t actually been moving. They’ve been — we’ve had a good handle on it’s just trying to
present it however the relevant regulatory body or medical journal, as the case may be, want us to define it.


Dave Amsellem - Piper Jaffray - Analyst
Maybe it would be helpful if you could give us any — just an update on the litigation with Roxane. I guess a couple of questions there. Any dates that have been
set, (inaudible) anything particular?

And then secondly, what are your general thoughts on —? For those of us I guess who aren’t as familiar with the issues, what are you general thoughts on the
major barriers here for a generic and why you think your patents around the REMS, the Xyrem Success Program, will hold up?


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
Sure. I think it’s important when we talk about the first element of our strategy being to optimize the value of the Xyrem franchise to recognize that we think the
franchise does have very long exclusivity. We have nine patents covering the product, seven of which are in the Orange Book. Those patent dates go out to 2024.

Five of the patents are around the restricted distribution system, although there are other patents for formulation and use. The restricted distribution system
patents, we think, are particularly important because part of the FDA’s approval in sodium oxybate back in 2002 was conditioned on having a very tight
distribution system for this controlled substance, in part to ensure that there’s not abuse or diversion.

                                                                                  6
And anCase       1:22-cv-00941-GBW
       integral part of having a system that’s effectiveDocument           324
                                                          that way is having          Filed
                                                                             one database      06/20/25
                                                                                          that uniquely  identifies Page      267
                                                                                                                    all patients       ofprescribed
                                                                                                                                 that are 382 PageID           #:
                                                                                                                                                    this drug and
shipped this drug to make sure that a patient can’t get the drug through multiple sources, can’t get it through multiple physicians.
                                                                              22302
We think any generic company — Roxane included — will have a difficult time setting up their own distribution system that, A, doesn’t infringe our intellectual
property, and B, would successfully accomplish the goals of this REMS to make sure patients don’t get (inaudible) with the prescriptions.

There aren’t any key dates, I would say, set yet in the Roxane litigation. This was litigation that commenced in the fourth quarter of last year after they submitted
an ANDA. They’re the one Paragraph IV filer for Xyrem, but we are very aggressively defending our IP position on this product. We actually had a number of
new patents issued last year, so we’re continuing to invest in the protection of this franchise.


Dave Amsellem - Piper Jaffray - Analyst
Bruce, you mentioned the difficulty in circumventing the patent. I then want to touch on the issue on validity. Can you walk us through your thoughts on validity
here? And I think it’s a sort of a general philosophical question, but the FDA, how do you patent something that essentially the FDA required you to do and what
is the invention? And obviously, there are other cases of patents around REMS programs, but give me your sense on how you feel about the validity argument.


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
I’ve got five seconds left —.


Dave Amsellem - Piper Jaffray - Analyst
Actually, you have more than that, so you’re —.


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
You’re in charge?


Dave Amsellem - Piper Jaffray - Analyst
Yes, go ahead. Yes, you’re fine.


Bruce Cozadd - Jazz Pharmaceuticals, Inc. - Chairman & CEO
The patents have been issued. And there are multiple patents, so the validity argument on the first step — the patents exist, so somebody’s going to have to make
a compelling argument that that was a mistake.

Can you patent something that FDA required? I think our distribution system is unique. I think there are elements of it that haven’t existed in other restricted
distribution systems, and uniqueness or innovation is one source of patentability. Doing something different that hasn’t been done before in a unique way that
serves the purpose.

And in this case, I think the restricted distribution system for sodium oxybate, as we’ve constructed it over time, definitely, definitely does that. Beyond that, we’d
have to get down to each patent and each claim, and we don’t have time to do that.

But as I tell people, if you zoom up to a higher level, you didn’t have restricted distribution system-related patents years ago because there weren’t restricted
distribution systems, right? REMS is a fairly recent concept. There are a limited number of the risk MAPs that preceded REMS, and this was one of the first.

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          not sure1:22-cv-00941-GBW
                   you’ll see distribution system patentsDocument        324
                                                         forever because at this pointFiled     06/20/25
                                                                                       there’s prior                Page
                                                                                                     (inaudible), right? There268    of out
                                                                                                                               are some 382     PageID
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                                                                                                                                                   that have received
patents. So I think there is a window of time for innovation and patentability22303
                                                                               of restricted distribution systems, and we’re fortunate, I think, that Xyrem is the
beneficiary of that.


Dave Amsellem - Piper Jaffray - Analyst
Okay. Well, we’re out of time. Thank you very much (inaudible) in the audience. Thank you, everyone.



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               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE THIRD CIRCUIT
                   NOS. 15-3559, 15-3591, 15-3681 & 15-3682

                        In re Wellbutrin XL Antitrust Litigation

                        Aetna Health of California Inc. et al.,
                                            Plaintiffs-Appellants,

                                           v.

                           SmithKlineBeecham Corp. et al.,
                                           Defendants-Appellees.

                  On Appeal from the United States District Court
    For the Eastern District of Pennsylvania (Nos. 2-08-cv-2431, 2-08-cv-2433)

      BRIEF OF FEDERAL TRADE COMMISSION AS AMICUS CURIAE
                     IN SUPPORT OF NO PARTY


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                                  INTRODUCTION

       In FTC v. Actavis, the Supreme Court ruled that when the holder of a

 pharmaceutical patent pays a generic patent challenger to stay off the market, such

 a “reverse payment” must be analyzed under the traditional antitrust rule of reason.

 133 S. Ct. 2223, 2237 (2013). Antitrust scrutiny is required because such payments

 to potential competitors may “maintain supracompetitive prices to be shared

 among the patentee and the challenger rather than face what might have been a

 competitive market.” Id. at 2236. The Court explained that “the relevant

 anticompetitive harm” from this type of agreement is that it “prevent[s] the risk of

 competition.” Id. Actavis thus reflects the established antitrust principle that “the

 law does not condone the purchase of protection from uncertain competition any

 more than it condones the elimination of actual competition.” 12 Phillip E. Areeda

 & Herbert Hovenkamp, Antitrust Law ¶ 2030b, at 220 (3d ed. 2010).

       The anticompetitive harm identified in Actavis can arise not just when the

 parties terminate the patent litigation, but also when the brand-name firm pays the

 generic not to enter during the pendency of the litigation. Sellers of brand-name

 prescription drugs often enjoy considerable monopoly profits until generic entry,

 and thus have an incentive to avoid such entry whenever possible. Here,

 GlaxoSmithKline (GSK), the brand-name company, allegedly paid millions of

 dollars to Teva, the generic, to stay out of the market for the antidepressant drug


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 Wellbutrin XL while their patent litigation remained pending. The district court

 concluded incorrectly that the rule-of-reason principles that Actavis articulated do

 not apply to this reverse-payment agreement because, unlike in Actavis, the parties

 did not settle the underlying patent litigation. While this brief takes no position on

 the ultimate merits of the case, it addresses four fundamental legal errors in the

 district court’s rule-of-reason analysis.

          First, the district court erroneously concluded that the settlement challenged

 here did not “present[] the type of anticompetitive harm contemplated by Actavis”

 because, unlike that case, the underlying patent litigation continued. Op. 46.1 In

 fact, Actavis teaches that a reverse payment is likely to be anticompetitive if it

 shares monopoly profits to “prevent the risk of competition.” This concern exists

 when a reverse payment induces a generic challenger to defer entering the market

 while the patent case is pending.

          Second, the district court held that under the “traditional rule of reason,” the

 plaintiffs could show an antitrust violation only if they proved “that the Wellbutrin

 Settlement actually resulted in the delayed entry of Wellbutrin XL” into the

 market. Op. 52-53. But the rule-of-reason inquiry considers whether the nature of




 1
     The district court’s opinion (op.) is Document 612 on that court’s docket.

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 the restraint is likely to harm competition. It requires no showing of actual delayed

 entry or injury to a specific party to establish an antitrust violation.

       Third, the district court erred when it credited the defendants’ proffered

 procompetitive justifications without requiring them to explain how the benefits

 are attributable to the reverse payment. Indeed, it is implausible that Teva would

 have required a payment to accept beneficial terms, or that GSK would have paid

 Teva to accept such benefits.

       Fourth, the district court further erred when it found the agreement lawful

 based in part on a provision that entitled the parties to abandon their deal if the

 FTC objected to it. The court mistook that provision as an effective grant of veto

 power to the FTC. More importantly, such provisions have no relevance to the

 rule-of-reason inquiry, for they shed no light on the likely competitive effects of

 the alleged restraint.

            INTEREST OF THE FEDERAL TRADE COMMISSION

       The FTC, an independent federal agency charged with promoting a

 competitive marketplace and protecting consumer interests, exercises primary

 responsibility for federal antitrust enforcement in the pharmaceutical industry. The

 Commission has issued a variety of empirical studies addressing the competitive

 process by which generic substitution for brand-name drugs saves consumers




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 billions of dollars each year, 2 and has used its law enforcement authority to

 challenge anticompetitive patent settlements.3 Pursuant to Fed. R. App. P. 29(a),

 the Commission respectfully submits this brief.

                           STATEMENT OF THE CASE

       A.     Background
       The entry of generic drugs into the market is governed by a regulatory

 framework known as the Hatch-Waxman Amendments. 4 The basic contours of that

 framework are set forth in this Court’s opinion in Lamictal, 791 F.3d at 394-96.

 Three features of the regime are particularly relevant here.

       The first concerns the circumstances under which a would-be generic

 competitor can enter the market “at risk”—i.e., while patent infringement issues


 2
  See Fed. Trade Comm’n, Authorized Generic Drugs: Short-Term Effects and
 Long-Term Impact (2011) (“AG Report”),
 http://www.ftc.gov/os/2011/08/2011genericdrugreport.pdf; Fed. Trade Comm’n,
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 company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-
 study/100112payfordelayrpt.pdf. Both the Supreme Court and this Court have
 relied on such FTC studies. See, e.g., Caraco Pharm. Labs., Ltd. v. Novo Nordisk
 A/S, 132 S. Ct. 1670, 1678 (2012); King Drug Co. of Florence, Inc. v. SmithKline
 Beecham Corp., 791 F.3d 388, 404 n.21 (3d Cir. 2015) (“Lamictal”).
 3
  See, e.g., Actavis, 133 S. Ct. 2223; King Drug Co. of Florence, Inc. v. Cephalon,
 Inc., 88 F. Supp. 3d 402, 411 (E.D. Pa. 2015).
 4
  Drug Price Competition and Patent Term Restoration Act of 1984, Pub. L. No.
 98-417 (1984) (codified at various sections of Titles 15, 21, 28, and 35 of the U.S.
 Code).

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 are unresolved. The Hatch-Waxman Amendments enable a generic company to

 litigate a patent challenge before it enters the market. When the generic company

 files an Abbreviated New Drug Application (ANDA) with the FDA, it may certify

 that its product does not infringe any existing, valid patent (this action is called a

 “paragraph-IV certification”). The Amendments deem the paragraph-IV

 certification to be an artificial act of infringement and allow the brand-name

 manufacturer to promptly sue the generic applicant. A timely suit automatically

 stays FDA approval of the ANDA for 30 months. 21 U.S.C. § 355(j)(5)(B)(iii).

 The stay immediately terminates, however, if a court rules that the patent at issue is

 invalid or not infringed. 21 U.S.C. § 355(j)(5)(B)(iii)(I). Once the stay terminates

 and the FDA approves the ANDA, the generic can enter the market (unless the

 patentee obtains a preliminary injunction).

       The Hatch-Waxman Amendments thus permit a generic competitor to enter

 the market at risk. A company that chooses to enter at risk and is later held to have

 infringed the patent may be liable for substantial damages. The decision to enter at

 risk therefore reflects in part the generic drug applicant’s estimation of the strength

 of its patent-infringement defense. By the time of the settlement in this case, Teva

 had already launched one version of the product at issue at risk.

       Second, under the Hatch-Waxman Amendments, the first generic to file an

 ANDA with a paragraph-IV certification is eligible for a 180-day exclusivity

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 period in which it can sell its product without competition from other generic

 firms. See Lamictal, 791 F.3d at 396. But the brand-name manufacturer is still

 allowed during this period to sell its own “authorized generic,” which is the brand-

 name drug marketed as a generic. Id. This Court recently held that a commitment

 by the brand-name manufacturer not to introduce its own authorized generic to

 compete against the generic manufacturer—referred to as a “no-AG agreement”—

 can amount to a reverse payment that “may be subject to antitrust scrutiny under

 the rule of reason.” Id. at 403.

       Third, parties to settlements of pharmaceutical patent litigation under the

 Hatch-Waxman Amendments must submit their settlement agreements to the FTC

 and the Department of Justice. Congress imposed that requirement because it was

 concerned about “abuse of the Hatch-Waxman law” resulting from “pacts between

 big pharmaceutical firms and makers of generic versions of brand name drugs, that

 are intended to keep lower-cost drugs off the market.” S. Rep. No. 107-167, at 4

 (2002). See Medicare Prescription Drug, Improvement, and Modernization Act of

 2003 (“MMA”), Pub. L. No. 108-173, §§ 1111-1118, 117 Stat. 2066, 2461-64

 (codified at 21 U.S.C. § 355 note). The MMA facilitates law enforcement by

 providing access to all reverse-payment deals. But Congress placed no duty on the

 FTC or the DoJ to take action on a submitted settlement. To the contrary, the

 MMA provides that “any failure … to take action” concerning a filed agreement

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 “shall not at any time bar any proceeding or any action with respect to” any such

 agreement. Id. at § 1117, 117 Stat. 2463.

       The Commission reviews agreements filed pursuant to the MMA. 5 Staff

 sometimes takes further action, ranging from informal inquiries into settlement

 terms to formal investigations that may result in an enforcement action. As with

 enforcement matters generally, these decisions are made on a case-by-case basis.

 Importantly, a determination not to investigate or challenge an agreement does not

 signify an implicit approval of the agreement or a lack of antitrust concern.

       B.     The Challenged Agreements
       GSK manufactures the brand-name drug Wellbutrin XL, an extended-release

 version of the antidepressant bupropion hydrochloride. GSK’s business partner,

 Biovail, owns rights to patents covering Wellbutrin XL. Op. 10. In September

 2004, Anchen Pharmaceuticals, Inc. filed the first ANDA with a paragraph-IV

 certification for a generic version of Wellbutrin XL. Op. 12. Anchen was therefore

 eligible for a 180-day period during which other ANDA filers (but not an

 authorized generic) would be precluded from competing. GSK and Biovail sued



 5
  See generally Frequently Asked Questions About Filing Agreements with the
 FTC Pursuant to the Medicare Prescription Drug, Improvement, and
 Modernization Act of 2003,
 https://www.ftc.gov/system/files/attachments/competition-policy-
 guidance/050210pharmrulesfaqsection.pdf (last visited Mar. 10, 2016).

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 Anchen for patent infringement in December 2004, triggering the automatic 30-

 month stay on FDA approval of Anchen’s ANDA. Id.

         In August 2006, the district court hearing the patent case entered a final

 judgment that Anchen’s generic product did not infringe Biovail’s patent. Op. 15.

 Biovail appealed the decision to the Federal Circuit. Op. 15-16.6 In the meantime,

 the district court’s holding of non-infringement terminated the stay on FDA

 approval of Anchen’s ANDA, which FDA approved in December 2006. Op. 20.

         Pursuant to an agreement with Anchen, Teva immediately began selling

 300-mg generic Wellbutrin XL. Op. 19-20 & n.10. This launch was “at risk”

 because Biovail still had pending claims of patent infringement. Op. 25-27.

 Anchen and Teva also anticipated launching a 150-mg version at risk as early as

 the first quarter of 2007. Op. 20.

         In February 2007, however, Teva and Anchen abandoned their plan to

 launch 150-mg generic Wellbutrin XL at risk. Instead, they entered into the

 agreements with GSK and Biovail that are the subject of this appeal. Under those

 agreements, Teva and Anchen committed not to sell 150-mg generic Wellbutrin

 XL for more than a year—until a licensed entry date of May 30, 2008—unless

 Anchen won the patent appeal before then. Op. 26. GSK agreed not to market an


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     By the time of the appeal, GSK had withdrawn from the patent suit. Op. 12.

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 authorized generic during the first 180 days after Teva began to sell either 150-mg

 or 300-mg generic Wellbutrin XL. Op. 27. Finally, the parties agreed that, if the

 FTC objected within a defined time period, they would “either resolve the

 objection or have the right to terminate the entire settlement.” Op. 66.

       C.     Proceedings Below
       Direct and indirect purchaser plaintiffs sued Biovail and GSK for conspiring

 to prevent generic competition, including by entering into anticompetitive reverse-

 payment agreements with generic drug manufacturers. Op. 34-35. The district

 court granted summary judgment in favor of the defendants, holding that no

 reasonable jury could find the challenged reverse-payment agreement unlawful.

 The court acknowledged GSK’s no-AG commitment, found that Teva had insisted

 on this provision, and did not question that it was worth hundreds of millions of

 dollars to Teva. Op. 27, 46 n.28, 54, 63. But notwithstanding Teva’s agreement to

 stay out of the market, the court interpreted Actavis to have adopted a “limited

 definition” of the competitive harm that justifies antitrust scrutiny of reverse

 payments. It concluded that Actavis did not apply to this reverse-payment

 settlement because the patent challenge continued, so the settlement “maintain[ed]

 the risk of a finding of patent invalidity or non-infringement.” Op. 41-42. The

 court reasoned that, because the settlement allowed the patent litigation to

 continue, it was distinguishable from the settlement reviewed in Actavis and was


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 comparable to one without a reverse payment at all. Op. 42-43. In the court’s view,

 continued litigation meant that “the patent’s strength dictated the entry date for

 generic Wellbutrin XL,” op. 43, notwithstanding Teva’s insistence on a payment.

       After finding that Actavis did not apply, the court then assessed the

 agreement under what it called the “traditional rule of reason.” See, e.g., op. 44-48,

 50 n.32, 52. According to the court, this required plaintiffs to “show that the

 Wellbutrin Settlement actually resulted in the delayed entry of Wellbutrin XL—

 that absent the Wellbutrin Settlement, generic competition would have occurred

 earlier.” Op. 52-53. Ruling that the plaintiffs had failed to provide such evidence,

 the court held that no reasonable jury could find the challenged reverse-payment

 agreement to be anticompetitive. Op. 44, 54-56.

       The court also held that, even if the plaintiffs could show anticompetitive

 effects, “a reasonable jury could not find that any anticompetitive effects outweigh

 the procompetitive benefits of the settlement.” Op. 5; see also op. 57-58. The court

 deemed as procompetitive certain benefits that GSK had granted to Teva and

 Anchen that could facilitate generic entry. Op. 57-62. Having credited GSK’s

 testimony that Teva would not have settled without the no-AG commitment, the

 court held this challenged reverse payment was necessary to achieve these

 proffered procompetitive benefits. Op. 63. It did not, however, explain why Teva

 would insist on being paid before it would accept help entering the market.

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       Finally, the court also deemed settlement provisions relating to FTC review

 of the agreements to be relevant to its rule-of-reason analysis. Op. 64-67. The court

 explained that the parties could terminate the settlement if the FTC objected to it

 and, after good-faith efforts, they were unable to address the agency’s concern. Op.

 66. In the court’s view, this reservation of a right to terminate “in effect” gave the

 FTC “veto power over the Wellbutrin Settlement.” Op. 66. As a result, the court

 suggested, the FTC review provisions had procompetitive benefits “at least in an

 indirect way,” because “the FTC, therefore, did not have to use their limited

 resources to file a lawsuit to force changes to the agreement or even abrogation of

 it.” Id.; see also id. n.40. In addition, the court ruled, these “enhanced FTC review”

 provisions “tend to negate any anticompetitive aim of the parties, in particular

 GSK.” Op. 66.

                                     ARGUMENT

 I.    THE DISTRICT COURT MISUNDERSTOOD THE ANTICOMPETITIVE HARM
       SHOWING REQUIRED IN REVERSE-PAYMENT CASES
       The district court’s holding that no reasonable jury could find that the

 Wellbutrin settlement agreement had any anticompetitive effect rests on two legal

 errors. First, the court’s conclusion that Actavis does not apply to a reverse

 payment that does not terminate the underlying patent litigation turns on an

 untenably narrow view of the competitive concern identified by the Supreme

 Court. Actavis reflects antitrust law’s fundamental concern with collusive

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 arrangements by potential rivals that agree to avoid competition and share the

 resulting monopoly profits. This core antitrust concern can arise whenever a

 pharmaceutical company pays a potential generic rival to stay out of the market,

 whether or not patent litigation is still pending.

       Second, the district court erroneously held that plaintiffs could establish an

 antitrust violation under a traditional rule-of-reason analysis only if they “show[ed]

 that the Wellbutrin Settlement actually resulted in the delayed entry.” Op. 52-53. In

 fact, the traditional rule of reason requires a plaintiff to show conduct that threatens

 harm to the competitive process and sufficient market power to inflict such harm; it

 does not require proof of the “but-for” world—what the market would have looked

 like in the absence of the anticompetitive conduct. In holding to the contrary, the

 district court improperly conflated the analysis of an antitrust violation with the

 distinct question of antitrust standing. A private plaintiff seeking damages must

 show that it suffered an injury-in-fact caused by the violation. The government

 faces no such requirement. Obscuring that distinction threatens to impede

 government law-enforcement actions.

       A.     Eliminating the Risk of Competition is an Anticompetitive Harm
              Under Actavis Even if Patent Litigation Remains Ongoing
       In Actavis, the Supreme Court examined a patent litigation settlement

 between a brand-name drug manufacturer and a would-be generic entrant. The

 Court found the settlement “unusual” because “a party with no claim for damages

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 … walks away with money simply so it will stay away from the patentee’s

 market.” Actavis, 133 S. Ct. at 2231, 2233. Such “reverse payments,” the Court

 held, “tend to have significant adverse effects on competition,” id. at 2231, because

 they “maintain supracompetitive prices to be shared among the patentee and the

 challenger rather than face what might have been a competitive market.” Id. at

 2236. In other words, reverse-payment settlements “prevent the risk of

 competition.” Id.

       The core concern in Actavis was that a monopolist and a potential

 competitor would collude to avoid competing for some period of time and share

 the resulting monopoly profits. See id. at 2235. The Court thus focused on the

 companies’ reasons for making the reverse payment: “If the basic reason is a desire

 to maintain and to share patent-generated monopoly profits, then, in the absence of

 some other justification, the antitrust laws are likely to forbid the arrangement.” Id.

 at 2237.

       The decision below emphasized repeatedly that Teva had insisted on a no-

 AG agreement as part of any settlement. Op. 27-28, 54-55. The court further noted

 this Court’s recent holding that “a no authorized generic agreement ‘falls under

 Actavis’s rule because it may well represent an unusual, unexplained reverse

 transfer of considerable value from the patentee to the alleged infringer and may

 therefore give rise to the inference that it is a payment to eliminate the risk of

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 competition.’” Op. 37 n.25 (quoting Lamictal, 791 F.3d at 393). Indeed, the court

 did not question plaintiffs’ allegation that GSK’s no-AG agreement amounted to a

 $200 million payment to Teva; it simply deemed that fact irrelevant. Op. 46 n.28.

 Finally, the court observed that “a reasonable jury [could] find that Anchen/Teva

 would have launched at risk after June 2007,” op. 84, and that they agreed in the

 settlement to delay competition until Anchen prevailed in the Federal Circuit, or

 May 30, 2008, whichever occurred first.

       The court nevertheless held that the settlement “d[id] not present the same

 antitrust concerns that motivated the court in Actavis” because it “required the

 underlying patent litigation to continue, maintaining the risk of a finding of patent

 invalidity or non-infringement and providing for immediate generic entry upon

 such a finding.” Op. 41; see also op. 46-47. The court therefore did not examine

 the purpose of GSK’s no-AG commitment to Teva or consider whether that

 payment induced Teva to agree not to launch at risk, thereby maintaining GSK’s

 otherwise uncertain 150-mg Wellbutrin XL monopoly profits while the patent case

 remained pending.

       In reaching that conclusion, the district court ignored the reasoning of

 Actavis. To be sure, the Supreme Court in Actavis found that a reverse payment

 can be anticompetitive if it settles a patent challenge and thereby eliminates the

 risk that the underlying patent will be held invalid or not infringed. But the Court

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 never suggested that the risk of losing the patent case was the only cognizable risk

 of competition a reverse payment might seek to avoid. Rather, the reasoning of

 Actavis extends to any situation where a monopolist makes a reverse payment to

 “maintain supracompetitive prices to be shared among the patentee and the

 challenger rather than face what might have been a competitive market.” Actavis,

 133 S. Ct. at 2236. An agreement that forecloses the possibility of at-risk entry into

 the market (in exchange for shared monopoly profits) can also be anticompetitive

 under that analysis.

       In overlooking the underlying logic of Actavis, the district court elevated

 nominal factual distinctions over economic reality. In Lamictal, this Court reversed

 the district court for the same analytical error. There, relying on multiple

 references in Actavis to “money,” the district court concluded that Actavis was

 limited to payments of cash and did not address equally valuable non-cash

 compensation. This Court held instead that as a matter of economic reality “no-AG

 agreements are likely to present the same types of problems as reverse payments of

 cash.” Lamictal, 791 F.3d at 404. This Court further explained that it did not

 believe the Actavis court “intended to draw such a formal line,” citing the well-

 established proposition that “economic realities rather than a formalistic approach

 must govern review of antitrust activity.” Id. at 406 & n.24 (quoting United States

 v. Dentsply Int’l, 399 F.3d 181, 189 (3d Cir. 2005)).

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       The alleged reverse payment in this case is “likely to present the same types

 of problems” (Lamictal, 791 F.3d at 404) as the payment analyzed in Actavis. GSK

 allegedly gave Teva something of great value—a six-month monopoly on generic

 sales of Wellbutrin XL worth millions of dollars—at significant cost to itself. In

 the same agreement, Teva, which could have entered the market at any time,

 agreed to stay out pending the patent appeal, thus safeguarding GSK’s profits. This

 raises the prospect that the payment may have been designed “to maintain and to

 share patent-generated monopoly profits.” Actavis, 133 S. Ct. at 2237.

       B.     Proof of Actual Delayed Entry is Not Required to Show
              Anticompetitive Effects
       The district court held that “[i]t is in keeping with the traditional rule of

 reason analysis to require the plaintiffs to show that the Wellbutrin Settlement

 actually resulted in the delayed entry of Wellbutrin XL—that absent the Wellbutrin

 Settlement, generic competition would have occurred earlier.” Op. at 52-53.7 It

 then ruled that plaintiffs had failed to produce evidence supporting either of two

 potential but-for scenarios—that the parties would have agreed to an earlier entry

 date or that continued litigation would have resulted in earlier entry because Teva


 7
  The district court appears to suggest that the Actavis analysis is somehow
 different from the traditional rule of reason. But in Actavis, the Supreme Court
 made clear that the “FTC must prove its case as in other rule-of-reason cases.” 133
 S. Ct at 2237. Thus, Actavis does not redefine the general antitrust rule of reason,
 but simply applies it. Lamictal, 791 F.3d at 411.

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 would have launched at risk. Op. 56. The district court erred in holding that a

 plaintiff can show an antitrust violation under the rule-of-reason analysis only if it

 shows what actually would have occurred in the market absent the anticompetitive

 conduct.

       To prevail under the rule of reason, an antitrust plaintiff must demonstrate

 that a challenged agreement has anticompetitive effects. The Supreme Court has

 long recognized that proving anticompetitive effects does not require

 reconstructing the hypothetical world absent the conduct. Instead, the analysis

 focuses on whether an agreement “promotes competition or … suppresses

 competition.” Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 691

 (1978).

       Of course, anticompetitive effects can be established by demonstrating an

 actual increase in prices or decrease in output. See, e.g., United States v. Brown

 Univ., 5 F.3d 658, 668 (3d Cir. 1993). But the Supreme Court has condemned

 practices that “impede the ordinary give and take of the market place,” Prof’l

 Eng’rs, 435 U.S. at 692, or were “likely enough to disrupt the proper functioning

 of the price-setting mechanism of the market … even absent proof that [they]

 resulted in higher prices.” FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 461-62

 (1986). The Court has focused on “the principal tendency of a restriction” to

 interfere with competition. Cal. Dental Ass’n v. FTC, 526 U.S. 756, 781 (1999);

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 see also Bd. of Trade of Chi. v. United States, 246 U.S. 231, 238 (1918) (courts

 should examine “the nature of the restraint and its effect, actual or probable”).

 Similarly, in a reverse-payment case, anticompetitive effects are established if the

 payment represents a sharing of the brand’s monopoly profits to “prevent the risk

 of competition”—whether or not that competition would have ultimately

 materialized. Actavis, 133 S. Ct. at 2236; see also In re Cipro Cases I & II, 61 Cal.

 4th 116, 150 (2015) (applying parallel state-law provision).

       Additional proof is required for a private plaintiff to demonstrate it has

 antitrust standing to sue under the Clayton Act. To be entitled to damages, a

 private plaintiff must prove not only an antitrust violation, but also that the

 violation caused actual antitrust injury. See Brunswick Corp. v. Pueblo Bowl-O-

 Mat, Inc., 429 U.S. 477, 485-86, 489 (1977). But this inquiry is analytically

 separate from—and additional to—the showing of harm to competition necessary

 to establish the underlying antitrust violation.8 See id. at 486, 489 (explaining

 injury requirement and noting that antitrust laws include “statutory prohibition[s]

 against acts that have a potential to cause certain harms” and statutory authority for


 8
  Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 344 (1990) (quoting
 Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 334.2c, at 330 (1989
 Supp.)); see also Volmar Distribs., Inc. v. New York Post Co., 825 F. Supp. 1153,
 1161 n.5 (S.D.N.Y. 1993) (under Atlantic Richfield, antitrust injury requirement is
 separate from substantive requirements of Sherman Act).

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 “damages action[s] intended to remedy those harms”); Lamictal, 791 F.3d at 410

 n.35 (treating question of antitrust injury as distinct from violation); ZF Meritor,

 LLC v. Eaton Corp., 696 F.3d 254, 281, 289 (3d Cir. 2012) (same).

       The district court’s opinion reflects its failure to keep these two analyses

 separate. It twice examines whether generic Wellbutrin XL would have actually

 launched in the absence of the settlement agreement: first to determine whether

 there was an antitrust violation, op. 52-56, and then again to determine whether the

 plaintiffs satisfied the antitrust standing requirement, op. 78-84.

       C.     The Distinction Between Anticompetitive Effect and Antitrust
              Standing is Significant for Government Antitrust Enforcement
       In a private damages case, the distinction between antitrust violation and

 antitrust standing is often academic because private plaintiffs must prove both. The

 district court’s failure to recognize this distinction, however, implicates

 government antitrust enforcement. Because the FTC, along with the DoJ, enforces

 the substantive antitrust laws directly, it need not show a specific injury. See 15

 U.S.C. § 45(a)(2); California v. Am. Stores Co., 495 U.S. 271, 295-96 (1990) (“In

 a Government case the proof of the violation of law may itself establish sufficient

 public injury to warrant relief.”); 2 Phillip E. Areeda & Herbert Hovenkamp,

 Antitrust Law ¶ 303, at 61 (4th ed. 2014). The government can “sue anyone who

 violates the antitrust laws” and obtain an injunction to block an anticompetitive

 agreement or conduct. Zoellner v. St. Luke’s Reg’l Med. Ctr., Ltd., 937 F. Supp. 2d

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 1261, 1266 (D. Idaho 2013) (citing Glen Holly Entm’t, Inc. v. Tektronix, Inc., 352

 F.3d 367, 371 (9th Cir. 2003)).

       The distinction between public and private suits is intentional, reflecting the

 strong public law enforcement interest in allowing the government to redress

 conduct when “the reasonably anticipated consequence[]” is a “statutorily

 prohibited injury.” 2 Areeda & Hovenkamp, Antitrust Law ¶ 303, at 61. The

 leading antitrust treatise offers a useful analogy:

       [T]he state can interdict drunken driving even when the driver has
       caused no injury at all in the particular case. Its power results from the
       fact that drunken driving is known to have harmful consequences and
       it is less socially costly to arrest the driver before rather than after
       these consequences occur. The private plaintiff’s interest, by contrast,
       is purely remedial.

 Id. at 61-62.

       The district court appeared to recognize that the FTC faces a lower burden in

 a reverse-payment case than private plaintiffs, but it incorrectly characterized the

 nature and source of the distinction. Op. 72 (the FTC “faces a different standard of

 causation in bringing agency antitrust actions such as Actavis: the FTC must

 establish only that the defendant’s action is ‘likely to cause injury’”) (quoting 15

 U.S.C. § 45(n)). First, the district court’s reference in the decision’s antitrust

 standing section to the “standard of causation” facing the FTC suggests that the

 FTC must show antitrust standing. But that is not correct because, as just shown,



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 the FTC enforces the antitrust laws directly pursuant to the FTC Act. See 15 U.S.C.

 § 45(a)(2).

       Second, the district court erroneously distinguished government and private

 plaintiffs on the basis of Section 5(n) of the FTC Act, 15 U.S.C. § 45(n). Op. 72.

 That section, however, governs only the Commission’s authority over “unfair …

 acts or practices,” not its distinct authority to stop “unfair methods of competition.”

 See H.R. Rep. No. 103-617 at 12 (1994) (Conf. Rep.), as reprinted in 1994

 U.S.C.C.A.N. 1795, 1798 (noting that 15 U.S.C. § 45(n) codifies the

 Commission’s Policy Statement on Unfairness (appended to Int’l Harvester Co.,

 104 F.T.C. 949, 1070, 1072 (1984)), which specifically does not apply to “unfair

 methods of competition”). Accordingly, Section 5(n) is irrelevant to an FTC case

 brought under Actavis, which alleges only “unfair methods of competition.”

 II.   A REVERSE PAYMENT IS NOT JUSTIFIED BY A PROCOMPETITIVE BENEFIT
       UNLESS THE DEFENDANT SHOWS HOW THE PAYMENT PROMOTES THAT
       BENEFIT
       The district court held that even if plaintiffs could show anticompetitive

 effects, the reverse-payment agreement could not violate antitrust law because it

 had sufficient procompetitive justifications. Op. 62-63. This mistaken conclusion

 rests on a misunderstanding of the justification inquiry prescribed by the rule of

 reason.




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       Under the rule of reason, once a plaintiff shows evidence of anticompetitive

 effect and market power, “the burden shifts to the defendant to show that the

 challenged conduct promotes a sufficiently pro-competitive objective.” See Brown

 Univ., 5 F.3d at 669. In the reverse-payment context, this means that the defendant

 must “explain[] the presence of the challenged term and show[] the lawfulness of

 that term under the rule of reason.” Lamictal, 791 F.3d at 412 (quoting Actavis,

 133 S. Ct. at 2236); see also Cephalon, Inc., 88 F. Supp. 3d at 415. The proffered

 justification cannot be pretextual. See United States v. Dentsply Int’l, Inc., 399

 F.3d 181, 197 (3d Cir. 2005); see also Cephalon, Inc., 88 F. Supp. 3d at 418-19.

       In Actavis, the Supreme Court specifically identified two justifications for

 reverse payments—“litigation expenses saved through the settlement” and

 “compensation for other services that the generic has promised to perform.” 133 S.

 Ct. at 2236. Such explanations can indicate that the generic’s decision not to

 compete was based on “traditional settlement considerations,” thereby refuting the

 antitrust concern that the parties are sharing monopoly profits preserved by

 avoiding competition. Id. at 2236.

       The Court observed that “[t]here may be other justifications” than the two

 specifically identified. Id. But nothing in Actavis suggests that it altered traditional

 rule-of-reason principles governing the assessment of justifications or that a

 justification can be credited if it lacks any connection to the reverse payment.

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 Indeed, absent an explanation for the reverse payment, nothing contradicts the

 conclusion that “the payment’s objective is to maintain supracompetitive prices to

 be shared among the patentee and the challenger rather than face what might have

 been a competitive market—the very anticompetitive consequence that underlies

 the claim of antitrust unlawfulness.” Id.

       The district court’s justification analysis is thus flawed for several reasons.

 First, the district court failed to require the defendant to articulate a plausible link

 between the reverse payment (a no-AG commitment that the court acknowledged

 could have significant value) and a sufficiently procompetitive objective. The court

 relied on a number of provisions in the settlement that might assist Teva’s getting

 the generic product to market. Op. 57-58. But the antitrust question is not whether

 there are benefits to certain provisions in the abstract. It is whether the benefits are

 attributable to the restraint—in this case the payment. See Brown Univ., 5 F.3d at

 669 (restraint must “promote[] a sufficiently pro-competitive objective”). None of

 the purported procompetitive benefits the district court identified can explain the

 payment as anything other than an inducement to Teva to share GSK’s monopoly

 profits instead of competing prior to May 2008. Indeed, it defies economic logic

 and common sense that Teva would insist on a payment to accept terms that

 unambiguously benefited it by facilitating its generic entry, or that GSK would

 otherwise pay to accelerate such entry.

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       Second, the district court erred by finding the agreement justified because it

 allowed generic entry earlier than otherwise might have been possible. Actavis

 specifically rejected this line of argument. See 133 S. Ct. at 2234-35. As this Court

 explained, “[n]otwithstanding such ‘early entry,’ the antitrust problem was that …

 entry might have been earlier, and/or the risk of competition not eliminated, had

 the reverse payment not been tendered.” Lamictal, 791 F.3d at 408. Indeed, the

 “concern with combining an early-entry date with the valuable consideration of a

 no-AG agreement is that the generic manufacturer may be willing to accept a later

 early-entry date without any corresponding benefit to consumers.” Id. at 405 n.23;

 see also Actavis, 133 S. Ct. at 2237 (“They may, as in other industries, settle in

 other ways, for example, by allowing the generic manufacturer to enter the

 patentee’s market prior to the patent’s expiration, without the patentee paying the

 challenger to stay out prior to that point.”).

       Finally, the district court’s analysis irrationally turns proof of the plaintiff’s

 case—the use of a reverse payment to induce an entry-restricting settlement—into

 a defense. The district court found that Teva would not have entered the settlement

 unless GSK shared its monopoly profits through a no-AG commitment. Op. 67.

 Based on this factual finding, the court concluded that the payment was necessary

 to achieve the purported procompetitive benefits of the agreement. Id. Under

 Actavis, however, that is the very finding that can demonstrate that the parties

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 intended the reverse payment to eliminate the risk of competition by

 “maintain[ing] and … shar[ing] patent-generated monopoly profits.” Actavis, 133

 S. Ct. at 2237; see also Lamictal, 791 F.3d at 410 (GSK’s “agreement not to launch

 an authorized generic was an inducement—valuable to both it and Teva—to ensure

 a longer period of supracompetitive monopoly profits …”). Absent the payment,

 consumers may have benefited from an at-risk launch by Teva. By the district

 court’s flawed logic, the payment was justified by the very thing the Supreme

 Court found to be anticompetitive.

        None of the justifications discussed by the district court explains the alleged

 no-AG payment as anything other than an inducement to the generic to eliminate

 the risk of competition prior to an appellate court decision on the patent merits.

 The court’s ruling that these aspects of the settlement could justify any

 anticompetitive effects of the challenged restraint was legal error.

 III.   SO-CALLED “ENHANCED FTC REVIEW” PROVISIONS ARE IRRELEVANT TO
        THE ANTITRUST ANALYSIS
        As explained above, the MMA requires drug companies to file their patent

 settlements and certain other agreements with the FTC and the DoJ. The district

 court deemed it relevant to a rule-of-reason analysis of a reverse-payment

 agreement that the Wellbutrin settlement agreement included provisions relating to

 that statutorily mandated submission that (1) the parties would respond to FTC

 inquiries and attempt to resolve any FTC objection, and (2) any party could

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 terminate the settlement if they could not address any FTC objection. Op. 64-65.

 The court misconstrued these provisions to mean that “[t]he FTC was given, in

 effect, veto power over the Wellbutrin Settlement,” and held that these provisions

 “tend to negate any anticompetitive aim of the parties, in particular GSK,” and

 “may also be described as procompetitive, at least in an indirect way.” Op. 66. 9

       But, as stated by the district court: “If the FTC objected to the settlement, the

 parties agreed that they would either resolve the objection or have the right to

 terminate the entire settlement.” Op. 66. See also op. 32 (GSK had similar rights).

 From this unremarkable provision granting the parties the right to terminate the

 settlement, the court concluded that the FTC had “veto power” over it.10 Op. 66-67

 (“the FTC only had to raise concerns to have the agreement changed in a way that

 9
   The district court asked the parties, in preparation for argument on the summary
 judgment issues concerning the challenged agreements, to provide additional
 information on the procedures applicable to agency review of those agreements.
 Order, In re Wellbutrin XL Antitrust Litig., 2:08-cv-02431 (E.D. Pa. July 17, 2012),
 ECF No. 464. The FTC submitted an amicus brief in the district court in
 September 2013, in part to explain the agency’s review of drug patent settlements
 under the MMA. See Federal Trade Commission’s Brief as Amicus Curiae at 19-
 21, In re Wellbutrin XL Antitrust Litig., No. 2:08-cv-02431, (E.D. Pa. Sept. 26,
 2013), ECF No. 510-2. The court rejected the FTC’s submission. Order, In re
 Wellbutrin XL Antitrust Litig., No. 2:08-cv-02431, (E.D. Pa. Oct. 3, 2013), ECF
 No. 522.
 10
   So-called “best efforts” and “termination rights” clauses are common in merger
 agreements that the parties believe may raise competitive concerns. See, e.g.,
 Darren S. Tucker & Kevin L. Yingling, Antitrust Risk-Shifting Provisions in
 Merger Agreements After the Financial Collapse, Antitrust Source 1, 3 (April
 2009), http://papers.ssrn.com/sol3/papers.cfm?abstract_id=1397649.

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 would be more beneficial to consumers.”); op. 65 (“A note of concern from the

 agency was sufficient to alter or terminate the settlement; no formal agency action

 was necessary.”). 11 The reservation of a right to terminate a filed settlement does

 not mean that it will in fact be terminated if the agency objects.

       More fundamentally, the district court’s reliance on FTC-related provisions

 reflects a basic misunderstanding of antitrust principles in three respects.

       First, the district court asserted that what it called the “provisions for

 enhanced FTC review” would “tend to negate any anticompetitive aim of the

 parties, in particular GSK.” It is well established, however, that “a good intention

 will [not] save an otherwise objectionable” arrangement. Chi. Bd. of Trade, 246

 U.S. at 238. A party’s subjective intent is relevant only to the extent that it helps

 the court understand the likely effect of the challenged conduct. See, e.g., id.

 (intent evidence may help to “interpret facts and to predict consequences”). 12 In the

 context of reverse payments in particular, Actavis explains that “the relevant

 antitrust question” is how to explain the presence of the payment. 133 S. Ct. at


 11
   Agreements filed with the FTC under the MMA are subject to confidentiality
 protections that limit the agency’s ability to disclose the contents of such
 agreements. This Court, however, will be able to examine the relevant provisions
 (Section 3 of the Omnibus Agreement) in the sealed portion of the joint appendix.
 12
   See also United States v. Microsoft, 253 F.3d 34, 59 (D.C. Cir. 2001)
 (knowledge of intent behind challenged conduct “is relevant only to the extent it
 helps us understand the likely effect of the monopolist’s conduct”).

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 2237. Is the basic reason “to maintain and to share … monopoly profits?” Id. Or

 can the defendants show “legitimate justifications” that can “explain[] the presence

 of the challenged [reverse-payment] term?” Id. at 2236. This inquiry focuses on the

 competitive effects of the conduct. Provisions in a settlement agreement promising

 cooperation with an FTC review reveal nothing about the likely competitive effects

 of the challenged agreement.

       Second, the district court’s suggestion that the FTC-related provisions

 provided “indirect procompetitive benefits” likewise is unconnected to the likely

 effects of the challenged reverse payment. The court reasoned that the veto power

 the parties purportedly granted the FTC would conserve FTC law enforcement

 resources. Op. 66. But even if that were correct, as a matter of antitrust law, the

 potential savings in FTC law enforcement resources cannot possibly offset adverse

 economic effects on consumers of Wellbutrin XL.

       Moreover, the district court’s reasoning implicitly assumes that the FTC’s

 decision not to challenge the Wellbutrin settlement amounted to an administrative

 blessing of the deal.13 But it is well established that government inaction does not


 13
   According to the court, merely “a note of concern” from the FTC “was sufficient
 to alter or terminate the settlement,” and the FTC raised no concern. Op. 65. The
 court thus went beyond its mistaken view of FTC-related provisions, adopting as
 material facts the settling parties’ description of what occurred at an FTC meeting
 and the identity of agency personnel with whom they interacted. Op. 32-34, 65.

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 indicate agency approval. See, e.g., Altria Group, Inc. v. Good, 555 U.S. 70, 89-90

 (2008). That is particularly true here, where the MMA makes clear that “any

 failure of the [FTC] to take action” against a filed settlement agreement “shall not

 at any time bar any proceeding or any action with respect to” any such agreement.

 MMA § 1117, 117 Stat. at 2463.

       Courts impute no legal significance to agency inaction for good reason. An

 agency’s exercise of its enforcement discretion “involves a complicated balancing”

 of factors, including “whether a violation has occurred,” whether the agency has

 available enforcement resources, and whether a potential action “best fits the

 agency’s overall policies.” Heckler v. Chaney, 470 U.S. 821, 831 (1985). Given

 those concerns, “the Commission alone is empowered to develop that enforcement

 policy best calculated to achieve” its statutory mission. Moog Indus., Inc. v. FTC,

 355 U.S. 411, 413 (1958) (refusing to stay an FTC order against one firm until

 competing firms could be similarly restrained).

       Congress enacted the MMA filing requirements so that the FTC could

 exercise its enforcement discretion with full knowledge of the universe of potential

 targets. The MMA was not designed as a pre-clearance review mechanism that

 immunizes companies’ agreements or provides antitrust counseling. The district

 court committed serious legal error when it turned the MMA into an escape hatch

 for defendants to evade antitrust scrutiny.

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                                   CONCLUSION

       Regardless of its ruling on the ultimate merits, this Court should correct the

 legal errors committed by the district court, as set forth above.

                                             Respectfully submitted,

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 March 11, 2016




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                NOS. 15-3559, 15-3591, 15-3681 & 15-3682
                   In re Wellbutrin Antitrust Litigation
                      COMBINED CERTIFICATES
      BRIEF OF FEDERAL TRADE COMMISSION AS AMICUS CURIAE
                      IN SUPPORT OF NO PARTY


 I hereby certify that:

    1. This brief complies with the type-volume limitation of Fed. R. Civ. P.
       32(a)(7)(B). It has 6,950 words as counted by Microsoft Word 2010.
    2. The electronic version of this brief is identical to the version sent in hard
       copy to this Court.
    3. The electronic version of this brief is in PDF and was scanned using
       Symantec Endpoint Protection Version 12.1.6318.6100 with virus
       definitions updated March 11, 2016. No viruses were detected.
    4. I filed the electronic version of this brief with the Court via the CM/ECF
       system. The Notice of Docket Activity generated by CM/ECF system
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       this proceeding indicates that all parties are Filing Users.
    5. I have caused to be sent to the Court seven hard copies of this brief via
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                                    Clerk of Court
                          U.S. Court of Appeal, Third Circuit
                                21400 U.S. Courthouse
                                  601 Market Street
                            Philadelphia, PA 19106-1790

    6. I am a member of the bar of this Court.


 DATE: March 11, 2016                         /s/ Mark S. Hegedus
                                              Mark S. Hegedus
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                   NOS. 15-2005, 15-2006, 15-2007
               UNITED STATES COURT OF APPEALS
                    FOR THE FIRST CIRCUIT

                            Nos. 15-2005, 15-2006, 15-2007
             IN RE: NEXIUM (ESOMEPRAZOLE) ANTITRUST LITIGATION
                        (caption continues on subsequent pages)


                       On Appeal from the United States District Court
                             For the District of Massachusetts
                           Civil Action No. 12-md-02409-WGY


            BRIEF OF AMICUS CURIAE FEDERAL TRADE COMMISSION
                         IN SUPPORT OF NO PARTY


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      Director                                 General Counsel

      Markus H. Meier                          Joel Marcus
      Acting Deputy Director                   Director of Litigation

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                                 Nos. 15-2005
             IN RE: NEXIUM (ESOMEPRAZOLE) ANTITRUST LITIGATION


      AMERICAN SALES COMPANY, LLC, on behalf of itself and all others similarly
      situated; VALUE DRUG COMPANY; BURLINGTON DRUG COMPANY INC.;
         ROCHESTER DRUG CO-OPERATIVE, INC., on behalf of itself and others
              similarly situated; MEIJER, INC.; MEIJER DISTRIBUTION, INC.,

                                    Plaintiffs-Appellants,

              ALLIED SERVICES DIVISION WELFARE FUND; LABORERS
          INTERNATIONAL UNION OF NORTH AMERICA LOCAL 17 HEALTH
      CARE FUND; LABORERS INTERNATIONAL UNION OF NORTH AMERICA
       LOCAL 35 HEALTH CARE FUND; A.F. OF L. - A.G.C. BUILDING TRADES
         WELFARE PLAN; FRATERNAL ORDER OF POLICE MIAMI LODGE 20
       INSURANCE TRUST FUND; NEW YORK HOTEL TRADES COUNCIL AND
         HOTEL ASSOC. OF NEW YORK CITY, INC. HEALTH BENEFITS FUND;
       UNITED FOOD & COMMERCIAL WORKERS UNIONS AND EMPLOYERS
       MIDWEST HEALTH BENEFITS FUND; MICHIGAN REGIONAL COUNCIL
           OF CARPENTERS EMPLOYEE BENEFITS FUND; INTERNATIONAL
       UNION OF MACHINISTS AND AEROSPACE WORKERS DISTRICT NO. 15
         HEALTH FUND; INTERNATIONAL BROTHERHOOD OF ELECTRICAL
      WORKERS LOCAL 595 HEALTH AND WELFARE FUND; WALGREEN CO.;
         THE KROGER COMPANY; SAFEWAY INCORPORATED; SUPERVALU,
             INC.; HEB GROCERY CO. LP; GIANT EAGLE, INC.; RITE AID
        CORPORATION; RITE AID HEADQUARTERS CORPORATION; JCG (PJC)
             USA, LLC; MAXI DRUG, INC., d/b/a Brooks Pharmacy; ECKERD
       CORPORATION; CVS PHARMACY, INC.; AMERISOURCEBERGEN DRUG
            CORPORATION; CARITEN INSURANCE COMPANY; EMPHESYS
        INSURANCE COMPANY; HUMANA BENEFIT PLAN OF ILLINOIS, INC.;
         HUMANA INSURANCE COMPANY; HUMANA HEALTH INSURANCE
      COMPANY OF FLORIDA, INC.; HUMANA INSURANCE OF PUERTO RICO,
      INC.; HUMANA INSURANCE OF KENTUCKY; ARCADIAN HEALTH PLAN,
           INC.; ARCADIAN HEALTH PLAN OF GEORGIA, INC.; ARCADIAN
         HEALTH PLAN OF LOUISIANA, INC.; ARCADIAN HEALTH PLAN OF
        NORTH CAROLINA, INC.; CAREPLUS HEALTH PLANS, INC.; CARITEN
        HEALTH PLAN INC.; CHA HMO, INC.; HUMANA EMPLOYERS HEALTH
            PLAN OF GEORGIA, INC.; HUMANA ADVANTAGECARE PLAN;

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       HUMANA HEALTHAMERICA LOCAL 345 HEALTH CARE FUND, on behalf
                    of itself and all others similarly situated,

                                          Plaintiffs,

                                              v.

          ASTRAZENECA LP; ASTRAZENECA AB; AKTIEBOLAGET HASSLE;
          RANBAXY PHARMACEUTICALS INC.; RANBAXY INC.; RANBAXY
                           LABORATORIES LTD.,

                                   Defendants-Appellees,d

        DR. REDDY’S LABORATORIES, INC.; DR. REDDY’S LABORATORIES,
       LTD.; TEVA PHARMACEUTICALS USA, INC.; TEVA PHARMACEUTICAL
                           INDUSTRIES, LTD.,

                                         Defendants.



                                 Nos. 15-2006
             IN RE: NEXIUM (ESOMEPRAZOLE) ANTITRUST LITIGATION


             ALLIED SERVICES DIVISION WELFARE FUND; LABORERS
         INTERNATIONAL UNION OF NORTH AMERICA LOCAL 17 HEALTH
      CARE FUND; LABORERS INTERNATIONAL UNION OF NORTH AMERICA
       LOCAL 35 HEALTH CARE FUND; A.F. OF L. - A.G.C. BUILDING TRADES
        WELFARE PLAN; FRATERNAL ORDER OF POLICE MIAMI LODGE 20
      INSURANCE TRUST FUND; NEW YORK HOTEL TRADES COUNCIL AND
        HOTEL ASSOC. OF NEW YORK CITY, INC. HEALTH BENEFITS FUND;
       UNITED FOOD & COMMERCIAL WORKERS UNIONS AND EMPLOYERS
       MIDWEST HEALTH BENEFITS FUND; MICHIGAN REGIONAL COUNCIL
          OF CARPENTERS EMPLOYEE BENEFITS FUND; INTERNATIONAL
      UNION OF MACHINISTS AND AEROSPACE WORKERS DISTRICT NO. 15
        HEALTH FUND; INTERNATIONAL BROTHERHOOD OF ELECTRICAL
              WORKERS LOCAL 595 HEALTH AND WELFARE FUND,

                                   Plaintiffs – Appellants,

      AMERICAN SALES COMPANY, LLC, on behalf of itself and all others similarly
      situated; VALUE DRUG COMPANY; BURLINGTON DRUG COMPANY INC.;
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         ROCHESTER DRUG CO-OPERATIVE, INC., on behalf of itself and others
      similarly situated; MEIJER, INC.; MEIJER DISTRIBUTION, INC.; WALGREEN
               CO.; THE KROGER COMPANY; SAFEWAY INCORPORATED;
        SUPERVALU, INC.; HEB GROCERY CO. LP; GIANT EAGLE, INC.; RITE
        AID CORPORATION; RITE AID HEADQUARTERS CORPORATION; JCG
           (PJC) USA, LLC; MAXI DRUG, INC., d/b/a Brooks Pharmacy; ECKERD
       CORPORATION; CVS PHARMACY, INC.; AMERISOURCEBERGEN DRUG
        CORPORATION; CARITEN HEALTH PLAN INC.; CARITEN INSURANCE
      COMPANY; ARCADIAN HEALTH PLAN, INC.; ARCADIAN HEALTH PLAN
         OF GEORGIA, INC.; ARCADIAN HEALTH PLAN OF LOUISIANA, INC.;
         ARCADIAN HEALTH PLAN OF GEORGIA, INC.; CAREPLUS HEALTH
        PLANS, INC.; EMPHESYS INSURANCE COMPANY; HUMANA BENEFIT
           PLAN OF ILLINOIS, INC.; CHA HMO, INC.; HUMANA INSURANCE
        COMPANY; HUMANA HEALTH INSURANCE COMPANY OF FLORIDA,
             INC.; HUMANA INSURANCE OF PUERTO RICO, INC.; HUMANA
            INSURANCE COMPANY OF KENTUCKY; HUMANA EMPLOYERS
      HEALTH PLAN OF GEORGIA, INC.; HUMANA ADVANTAGECARE PLAN;
         HUMANA HEALTH BENEFIT PLAN OF LOUISIANA, INC.; HUMANA
         HEALTH COMPANY OF NEW YORK, INC.; HUMANA HEALTH PLAN,
            INC.; HUMANA HEALTH PLAN OF CALIFORNIA, INC.; HUMANA
         HEALTH PLAN OF OHIO, INC.; HUMANA HEALTH PLAN OF TEXAS,
          INC.; HUMANA HEALTH PLANS OF PUERTO RICO, INC.; HUMANA
        MEDICAL PLAN, INC.; HUMANA MEDICAL PLAN OF MICHIGAN, INC.;
            HUMANA MEDICAL PLAN OF UTAH, INC.; HUMANA REGIONAL
       HEALTH PLAN, INC.; HUMANA WISCONSIN HEALTH ORGANIZATION
        INSURANCE CORPORATION; M.D. CARE INC.; HUMANA INSURANCE
          COMPANY OF NEW YORK; ARCADIAN HEALTH PLAN OF NORTH
          CAROLINA, INC; LABORERS INTERNATIONAL UNION OF NORTH
      AMERICA LOCAL 345 HEALTH CARE FUND, on behalf of itself and all others
                                     similarly situated,

                                          Plaintiffs,

                                              v.

          ASTRAZENECA LP; ASTRAZENECA AB; AKTIEBOLAGET HASSLE;
          RANBAXY PHARMACEUTICALS INC.; RANBAXY INC.; RANBAXY
                           LABORATORIES LTD.,

                                    Defendants-Appellees,


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          TEVA PHARMACEUTICALS USA, INC.; TEVA PHARMACEUTICAL
        INDUSTRIES, LTD.; DR. REDDY'S LABORATORIES, INC.; DR. REDDY'S
                             LABORATORIES, LTD.,

                                         Defendants.



                                 Nos. 15-2006
             IN RE: NEXIUM (ESOMEPRAZOLE) ANTITRUST LITIGATION


          WALGREEN CO.; KROGER COMPANY; SAFEWAY INCORPORATED;
         SUPERVALU, INC.; HEB GROCERY CO. LP; GIANT EAGLE, INC.; RITE
        AID CORPORATION; RITE AID HEADQUARTERS CORPORATION; JCG
       (PJC) USA, LLC; MAXI DRUG, INC., d/b/a BROOKS PHARMACY; ECKERD
                            CORPORATION; CVS, INC.,

                                   Plaintiffs – Appellants,

               ALLIED SERVICES DIVISION WELFARE FUND; LABORERS
          INTERNATIONAL UNION OF NORTH AMERICA LOCAL 17 HEALTH
       CARE FUND; LABORERSINTERNATIONAL UNION OF NORTH AMERICA
           LOCAL 35 HEALTH CARE FUND; FRATERNAL ORDER OF POLICE
           MIAMI LODGE 20 INSURANCE TRUST FUND; NEW YORK HOTEL
         TRADES COUNCIL AND HOTEL ASSOCIATION OF NEW YORK CITY,
            INC. HEALTH BENEFITS FUND; UNITED FOOD & COMMERCIAL
         WORKERS UNIONS AND EMPLOYERS MIDWEST HEALTH BENEFITS
        FUND; MICHIGAN REGIONAL COUNCIL OF CARPENTERS EMPLOYEE
           BENEFITS FUND; INTERNATIONAL UNION OF MACHINISTS AND
                AEROSPACE WORKERS DISTRICT NO. 15 HEALTH FUND;
       INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS LOCAL
           595 HEALTH AND WELFARE FUND; A.F. OF L. - A.G.C. BUILDING
       TRADES WELFARE PLAN; AMERICAN SALES COMPANY, LLC, on behalf
         of itself and all others similarly situated; BURLINGTON DRUG COMPANY
        INC.; MEIJER DISTRIBUTION, INC.; MEIJER, INC.; ROCHESTER DRUG
       CO-OPERATIVE, INC., on behalf of itself and others similarly situated; VALUE
          DRUG COMPANY; AMERISOURCEBERGEN DRUG CORPORATION;
       LABORERS INTERNATIONAL UNION OF NORTH AMERICA LOCAL 345
        HEALTH CARE FUND; CARITEN INSURANCE COMPANY; EMPHESYS
        INSURANCE COMPANY; HUMANA BENEFIT PLAN OF ILLINOIS, INC.;

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          HUMANA INSURANCE COMPANY; HUMANA HEALTH INSURANCE
       COMPANY OF FLORIDA, INC.; HUMANA INSURANCE OF PUERTO RICO,
         INC.; HUMANA INSURANCE COMPANY OF KENTUCKY; ARCADIAN
         HEALTH PLAN, INC.; ARCADIAN HEALTH PLAN OF GEORGIA, INC.;
        ARCADIAN HEALTH PLAN OF LOUISIANA, INC.; ARCADIAN HEALTH
        PLAN OF NORTH CAROLINA, INC.; CAREPLUS HEALTH PLANS, INC.;
       CARITEN HEALTH PLAN INC.; CHA HMO, INC.; HUMANA EMPLOYERS
       HEALTH PLAN OF GEORGIA, INC.; HUMANA ADVANTAGECARE PLAN;
          HUMANA HEALTH BENEFIT PLAN OF LOUISIANA, INC.; HUMANA
         HEALTH COMPANY OF NEW YORK, INC.; HUMANA HEALTH PLAN,
           INC.; HUMANA HEALTH PLAN OF CALIFORNIA, INC.; HUMANA
         HEALTH PLAN OF OHIO, INC.; HUMANA HEALTH PLAN OF TEXAS,
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           HUMANA MEDICAL PLAN OF UTAH, INC.; HUMANA REGIONAL
        HEALTH PLAN, INC.; HUMANA WISCONSIN HEALTH ORGANIZATION
                   INSURANCE CORPORATION; M.D. CARE INC.,

                                          Plaintiffs,

                                              v.

          ASTRAZENECA AB; ASTRAZENECA PHARMACEUTICALS LP;
       AKTIEBOLAGET HASSLE; RANBAXY INC.; RANBAXY LABORATORIES
                 LTD.; RANBAXY PHARMACEUTICALS INC.,

                                    Defendants-Appellees,

             TEVA PHARMACEUTICAL INDUSTRIES, LTD.; TEVA
        PHARMACEUTICALS USA, INC.; DR. REDDY'S LABORATORIES, INC.;
                   DR. REDDY'S LABORATORIES, LTD.,

                                         Defendants.




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                                       INTRODUCTION

             Competition from generic drugs saves consumers hundreds of billions of

       dollars each year. To encourage generic competition, Congress established a

       mechanism that enables generic drug manufacturers to challenge patents associated

       with brand-name drugs. In some cases, parties have settled the resulting patent

       dispute with an agreement in which the brand-name drug manufacturer pays the

       generic drug maker to drop its patent challenge and stay off the market. In FTC v.

       Actavis, Inc., the Supreme Court held that such “reverse payment” agreements

       create a “risk of significant anticompetitive effects” and must be analyzed under

       the antitrust rule of reason. 133 S. Ct. 2223, 2237-38 (2013). The Court explained

       that “the relevant anticompetitive harm” from this type of agreement is that it

       “prevents the risk of competition.” Id. at 2236.

             In this case, the district court concluded that the jury had found that the

       challenged reverse payment agreement was “unreasonably anticompetitive under a

       rule of reason standard.” In re Nexium (Esomeprazole) Antitrust Litig., 309 F.R.D.

       107, 125 (D. Mass. 2015). But the court nonetheless held that plaintiffs had failed

       to establish an antitrust violation. It did so because the jury “was not persuaded”

       that the parties would have agreed to an earlier entry date but for the reverse

       payment. Id. at 142; see also id. at 125 (describing the special verdict).




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             Based on this determination, the district court ruled that the plaintiffs had

       failed to establish that they suffered an injury (in the form of an overcharge for

       Nexium), and thus had failed to establish an antitrust violation, which foreclosed

       any remedy. Id. at 141-42. In so doing, the court mistakenly conflated two distinct

       analyses: the existence of an antitrust violation, which requires a general showing

       of harm to the competitive process, and the question of antitrust standing, which

       requires a specific showing by a private plaintiff that, among other things, it

       suffered an injury-in-fact caused by the violation.1 See Atl. Richfield Co. v. USA

       Petroleum Co., 495 U.S. 328, 344 (1990); Sullivan, 34 F.3d 1091. Appellants may

       be making the same mistake. See Consolidated Brief of Direct Purchaser and End-




       1
         See RSA Media, Inc. v. AK Media Grp., Inc., 260 F.3d 10, 14 (1st Cir. 2001);
       Sullivan v. Nat’l Football League, 34 F.3d 1091, 1103 (1st Cir. 1994). The district
       court referred to this requirement generally as “causation,” Nexium, 309 F.R.D. at
       141, but it is clear that the court’s use of the term included two parts: a showing of
       an injury-in-fact and an injury resulting from the anticompetitive effects found by
       the jury. In Sullivan, this Court referred to this requirement as “causation of
       injury-in-fact,” 34 F.3d at 1103, which we shorten to “injury-in-fact” for purposes
       of this brief.
         The injury-in-fact requirement necessary to establish antitrust standing under the
       Clayton Act, 15 U.S.C. § 15, may overlap with the parallel requirement necessary
       to show Article III standing generally. See 2A Phillip E. Areeda, Herbert
       Hovenkamp, Roger D. Blair, & Christine Piette Durrance Antitrust Law ¶ 335a at
       77 n.7 (4th ed. 2014). Regardless, the injury-in-fact requirement is an aspect of
       antitrust standing, not of the substantive antitrust violation.

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       Payor Class Plaintiffs-Appellants, In re: Nexium (Esomeprazole) Antitrust Litig.,

       Nos. 15-2005 et al., at 72-75, 118-22 (1st Cir. Feb. 5, 2016).2

             This distinction is especially important in the context of reverse-payment

       agreements, which, as the Supreme Court has explained, harm the competitive

       process by removing the risk of potential but uncertain competition. Actavis, 133

       S. Ct. at 2236. That harm occurs regardless of whether a specific purchaser

       ultimately proves that it suffered injury-in-fact.

             The Federal Trade Commission submits this brief to address the district

       court’s legal error in its analysis of the requisite showing for a rule of reason

       violation. In addition, we seek to clarify that the district court, while correctly

       acknowledging a difference in the showings required of the FTC and private

       plaintiffs to obtain relief, erred in suggesting that such difference derives from 15

       U.S.C. § 45(n). That provision is limited to FTC claims challenging “unfair …

       acts or practices,” not antitrust claims challenging “unfair methods of

       competition.”

       2
        And at least in the district court, appellees did make that mistake. See
       AstraZeneca’s Opp. to Pls.’ Mot. for Perm. Injunction, In re: Nexium
       (Esomeprazole) Antitrust Litig., No. 12-md-02409-WGY, at 2, ECF No. 1473 (D.
       Mass. Jan. 26, 2015) (“To establish an antitrust violation under Actavis, Plaintiffs
       had to prove that lawful generic Nexium would have entered the market prior to
       May 27, 2014 in the absence of the AstraZeneca-Ranbaxy settlement agreement.”)
       Ranbaxy’s Opp. to Pls.’ Mot. for Perm. Injunction, In re: Nexium (Esomeprazole)
       Antitrust Litig., No. 12-md-02409-WGY, at 8-10, ECF No. 1475) (D. Mass. Jan.
       26, 2015).

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             The FTC offers no views regarding the underlying facts of the case or the

       ultimate merits of the plaintiffs’ appeal. Nonetheless, as an antitrust enforcement

       agency responsible for protecting the public interest, the FTC wishes to ensure that

       courts properly analyze antitrust violations. The district court’s erroneous analysis

       threatens to impede federal antitrust law enforcement efforts by, in effect, requiring

       the government to take on additional proof requirements that, under the law, are to

       be borne only by private plaintiffs. Moreover, this is the first case to be tried under

       FTC v. Actavis. As various other post-Actavis cases proceed, the prospect that

       other courts might repeat the district court’s error is of particular concern.

                  INTEREST OF THE FEDERAL TRADE COMMISSION

             The FTC is an independent federal agency charged with promoting a

       competitive marketplace and protecting consumer interests. As exemplified by

       Actavis, the Commission has primary responsibility for federal antitrust

       enforcement in the pharmaceutical industry. It also makes use of its broad

       statutory authority to gather information directly from market participants to

       prepare “systematic, institutional stud[ies] of real-world industries and activities.”3

       3
         Miles W. Kirkpatrick et al., Report of the American Bar Association Section of
       Antitrust Law Special Committee to Study the Role of the Federal Trade
       Commission, 58 Antitrust L.J. 43, 103 (1989); see 15 U.S.C. § 46(b). The
       Supreme Court and other courts have frequently relied on such FTC studies. See,
       e.g., Caraco Pharm. Labs., Ltd. v. Novo Nordisk A/S, 132 S. Ct. 1670, 1678
       (2012); King Drug Co. of Florence, Inc. v. SmithKline Beecham Corp., 791 F.3d
       388, 404 n.21 (3d Cir. 2015).

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       Of particular relevance here, the Commission has issued a variety of empirical

       studies addressing the competitive dynamics of generic substitution for brand-

       name drugs, 4 and has used its law enforcement authority to challenge patent

       settlements of the type at issue here.5 Pursuant to Fed. R. App. P. 29(a), the

       Commission respectfully submits this brief.

                                STATEMENT OF THE CASE

             A.     Generic Drugs
             Before marketing a new drug, a pharmaceutical manufacturer must file a

       “new drug application” (“NDA”) with the Food and Drug Administration and

       obtain FDA approval. 21 U.S.C. § 355(b). A drug approved under the NDA

       process is often called a “brand-name” drug.

             Prior to 1984, a generic drug manufacturer had to undertake the same NDA

       process as a brand-name drugmaker. That requirement deterred generic entry

       because the NDA process is costly and can take many years to complete. To

       4
        See Fed. Trade Comm’n, Authorized Generic Drugs: Short-Term Effects and
       Long-Term Impact (2011) (“AG Report”),
       http://www.ftc.gov/os/2011/08/2011genericdrugreport.pdf; Fed. Trade Comm’n,
       Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers Billions (2010),
       https://www.ftc.gov/sites/default/files/documents/reports/pay-delay-how-drug-
       company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-
       study/100112payfordelayrpt.pdf.
       5
        See, e.g., Actavis, 133 S. Ct. 2223; Schering-Plough Corp. v. FTC, 402 F.3d 1056
       (11th Cir. 2005) (overruled in relevant part in Actavis); Plaintiff Federal Trade
       Commission’s First Amended Complaint for Injunctive Relief, FTC v. Cephalon,
       Inc., No. 2:08-cv-2141, ECF No. 40 (E.D. Pa. filed Aug. 12, 2009).

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       address that concern, Congress enacted legislation in 1984, known informally as

       the Hatch-Waxman Amendments, that promotes competition while continuing to

       encourage innovation. 6 The Hatch-Waxman Amendments enable generic

       manufacturers to use a streamlined process to obtain FDA approval for generic

       versions of previously introduced brand-name drugs. Specifically, the

       Amendments allow generic manufacturers to file Abbreviated New Drug

       Applications (“ANDAs”) that rely on brand manufacturers’ existing safety and

       efficacy studies, reducing the costs of generic drug development and expediting the

       FDA approval process. 21 U.S.C. §§ 355(j)(2)(A)(ii), (iii), (iv). The Amendments

       also establish procedures that apply when a company seeks FDA approval to

       market a generic product before expiration of patents claimed to cover the

       counterpart brand-name drug. In such cases, the generic applicant must certify in

       its ANDA that the patent in question is invalid or not infringed by the generic

       product (or both). This is known as a “paragraph-IV certification.” 21 U.S.C.

       § 355(j)(2)(A)(vii)(IV); see generally Caraco, 132 S. Ct. at 1677-78.

             To expedite resolution of patent disputes arising from ANDAs, the Hatch-

       Waxman Amendments encourage the brand-name manufacturer to respond to a

       paragraph-IV certification by promptly suing the generic applicant for patent

       6
        Drug Price Competition and Patent Term Restoration Act of 1984, Pub. L. No.
       98-417 (1984) (codified at various sections of Titles 15, 21, 28, and 35 of the U.S.
       Code).

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       infringement. Such a suit triggers an automatic stay of FDA approval of the

       ANDA for 30 months. 21 U.S.C. § 355(j)(5)(B)(iii). Correspondingly, the Hatch-

       Waxman Amendments encourage patent challenges by providing the first-filer of

       an ANDA containing a paragraph-IV certification with a 180-day exclusivity

       period that protects the first-filer from competition from other ANDA filers. See

       21 U.S.C. § 355(j)(5)(B)(iv). The “vast majority of potential profits for a generic

       drug manufacturer materialize during the 180-day exclusivity period.” Actavis,

       133 S. Ct. at 2229 (internal quotation marks omitted).

             B.     Proceedings Below
             AstraZeneca is the brand-name manufacturer of the blockbuster heartburn

       drug Nexium. Ranbaxy and others filed ANDAs, along with paragraph-IV

       certifications, to introduce generic competition to Nexium. To protect its Nexium

       franchise, AstraZeneca allegedly made reverse payments to three generic

       manufacturers, including first-filer Ranbaxy, to induce them to abandon their

       patent challenges and stay out of the market until May 2014.

             After a six-week trial, the jury returned a special verdict, which the district

       court found represented a finding that the challenged settlement with Ranbaxy was

       “unreasonably anticompetitive”:

             By checking “yes” to Questions 1, 2, and 3, the jury indicated that
             they were convinced that the AstraZeneca-Ranbaxy Settlement
             Agreement was unreasonably anticompetitive under a rule of reason
             standard. But by checking “no” at Question 4, the jury indicated they


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             could not conclude that Ranbaxy would have agreed to an earlier
             launch date but for their reverse payment settlement agreement.

       Nexium, 309 F.R.D. at 125.

             The plaintiffs then filed separate motions for an injunction and a new trial.

       In July 2015, the district court denied both motions. Id. at 142-43. The court

       recognized that the jury had found that the challenged agreement was

       “unreasonably anticompetitive” under the “rule of reason.” Id. at 125. But it

       nonetheless determined that the plaintiffs had failed to show “the prerequisite

       antitrust violation” required to obtain an injunction because they had not proved a

       “causal link between this suspicious agreement and the overcharge harms the

       Plaintiffs allege.” Id. at 141-42. In the court’s words, “[t]here may have been

       intent to violate the antitrust laws, and certainly anticompetitive ‘effect’ from the

       AstraZeneca-Ranbaxy Settlement Agreement, but the jury could not establish that

       this materially caused the overcharges the Plaintiffs allegedly had suffered as

       consumers of Nexium.” Id. at 125 (emphasis added). This showing, the district

       court held, was a necessary part of proving an antitrust violation. Id. at 142.

                                           ARGUMENT

       I.    IN AN ANTITRUST CASE, VIOLATION AND INJURY-IN-FACT ARE DISTINCT
             ANALYSES
             As the Supreme Court has made clear, “proof of a[n antitrust] violation and

       of antitrust injury are distinct matters that must be shown independently.” Atl.



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       Richfield Co., 495 U.S. at 344 (quoting Phillip E. Areeda & Herbert Hovenkamp,

       Antitrust Law ¶ 334.2c, at 330 (1989 Supp.)). A burden common to all antitrust

       plaintiffs, public and private, is to establish that the antitrust laws—whether under

       the Sherman Act or, in the case of the FTC, the FTC Act—have been violated.7 To

       do so, the plaintiff must demonstrate that the challenged restraint tends to suppress,

       rather than promote, competition. Generally, this requires the plaintiff to establish

       in the context of a rule-of-reason case that the conduct has an “anticompetitive

       effect,” also known as harm to competition. 8 See Actavis, 133 S. Ct. at 2237.

             A government plaintiff that demonstrates an antitrust violation is generally

       entitled to appropriate relief, whereas a private plaintiff must make an additional

       showing that it suffered an injury-in-fact (actual or threatened) caused by the

       anticompetitive conduct in order to prevail. See Cal. v. Am. Stores Co., 495 U.S.

       271, 295-96 (1990) (contrasting the Government’s entitlement to relief upon

       proving an antitrust violation with the requirement that private plaintiffs show

       “threatened harm or damages”).

             This difference in standards is due to the statutory structure of the antitrust

       laws. The federal government enforces the substantive antitrust laws directly. See,

       7
        See FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 454 (1986) (noting that “unfair
       methods of competition” under the FTC Act encompasses all practices that violate
       the Sherman Act and the other antitrust laws).
       8
        Part II below addresses the relevant harm to competition in reverse-payment
       cases.

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       e.g., 15 U.S.C. § 45(a)(2). In contrast, private plaintiffs derive their authority to

       bring suit from Section 4 or 16 of the Clayton Act, and must satisfy the additional

       burdens imposed by those provisions. See 15 U.S.C. §§ 15, 26. This distinction is

       rooted in public policy. The interest of private plaintiffs is to remediate an injury

       they have suffered or may suffer. The interest of the government is to “prevent

       and restrain” violations of the antitrust laws along with the attendant social costs

       such violations can cause. See 2 Phillip E. Areeda & Herbert Hovenkamp,

       Antitrust Law ¶ 303, at 62 (4th ed. 2014) (quoting 15 U.S.C. § 25).

             A.     Showing Injury-in-Fact Is Not Necessary to Establish
                    Anticompetitive Effect
             The Supreme Court and this Court have long recognized that a showing of

       injury-in-fact is not necessary to establish that a challenged agreement has an

       anticompetitive effect and thus violates the antitrust laws. Instead, the analysis

       focuses on whether an agreement “promotes competition or … suppresses

       competition.” Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 691

       (1978). Of course, anticompetitive effects can be established by demonstrating an

       actual increase in prices or decrease in output, because those effects reveal the

       underlying anticompetitive character of the agreement. See Sullivan, 34 F.3d at

       1097. But even where an actual price increase is not proven, antitrust law

       precludes “actions that harm the competitive process.” Clamp-All Corp. v. Cast

       Iron Soil Pipe Inst., 851 F.2d 478, 486 (1st Cir. 1988) (Breyer, J.); see also Town


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       of Concord, Mass. v. Boston Edison Co., 915 F.2d 17, 21-22 (1st Cir. 1990)

       (Breyer, J.) (holding that an agreement has anticompetitive effects when it

       “obstructs the achievement of competition’s basic goals—lower prices, better

       products, and more efficient production methods”).

             Thus, the Supreme Court has condemned restraints because they “impede[d]

       the ordinary give and take of the marketplace,” Nat’l Soc’y of Prof’l Eng’rs, 435

       U.S. at 692, or were “likely enough to disrupt the proper functioning of the price-

       setting mechanism of the market … even absent proof that [they] resulted in higher

       prices.” Ind. Fed’n of Dentists, 476 U.S. at 461-62. Rather than focusing on

       whether a challenged agreement has injured a specific party, the Court has focused

       on “the principal tendency of a restriction” to interfere with competition. Cal.

       Dental Ass’n v. FTC, 526 U.S. 756, 770 (1999); see also Bd. of Trade of Chi. v.

       United States, 246 U.S. 231, 238 (1918) (to determine whether restraint violates

       the rule of reason, courts should examine “the nature of the restraint and its effect,

       actual or probable”).

             The en banc D.C. Circuit decision in the Microsoft monopolization case

       illustrates this principle, holding that proving an antitrust violation does not require

       showing that the conduct at issue caused specific harm that would not have

       occurred in a reconstructed but-for world. The D.C. Circuit explained that the

       antitrust violation analysis does not “turn on a plaintiff’s ability or inability to



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       reconstruct the hypothetical marketplace absent a defendant’s anticompetitive

       conduct” because “neither plaintiffs nor the court can confidently reconstruct a

       product’s hypothetical … development in a world absent the defendant’s

       exclusionary conduct.” United States v. Microsoft Corp., 253 F.3d 34, 79 (D.C.

       Cir. 2001) (en banc) (citing 3 Phillip E. Areeda & Herbert Hovenkamp, Antitrust

       Law ¶ 651c, at 78 (1996)). Instead, to establish a violation (as opposed to injury-

       in-fact), a plaintiff need only show that “as a general matter the [defendant’s

       conduct] is the type of conduct that is reasonably capable of contributing

       significantly to a defendant’s continued monopoly power,” viewed “at the time

       [the defendant] engaged in the anticompetitive conduct.” Id. As the court

       explained, “to some degree, ‘the defendant is made to suffer the uncertain

       consequences of its own undesirable conduct.’” Id. (quoting 3 Areeda &

       Hovenkamp, Antitrust Law ¶ 651c, at 78).

             B.     To Obtain Relief, Private Plaintiffs Must Establish Both an
                    Antitrust Violation and Injury-in-Fact
             Although proof of injury-in-fact is not necessary to establish an antitrust

       violation, it is generally necessary for a private plaintiff to prove injury-in-fact in

       order to obtain relief. The Supreme Court and this Court have explained that to

       establish antitrust standing (which includes injury-in-fact) a private plaintiff must

       demonstrate a causal connection between the antitrust violation and an injury that

       it actually sustained. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.


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       477, 486, 489 (1977) (explaining injury requirement and noting that antitrust laws

       include “statutory prohibition[s] against acts that have a potential to cause certain

       harms” and statutory authority for “damages action[s] intended to remedy these

       harms”); RSA Media, Inc., 260 F.3d at 14. To satisfy these requirements, private

       plaintiffs seeking monetary relief must show actual damages, while those seeking

       only an injunction must show “threatened loss or damage.” Cargill, Inc. v.

       Monfort of Colo., Inc., 479 U.S. 104, 113 (1986) (to access the “complementary

       remedies for a single set of injuries” provided by the Clayton Act—i.e., monetary

       relief and injunctive relief—a private plaintiff must demonstrate damages or the

       “threatened loss or damage of the type the antitrust laws were designed to

       prevent”) (internal quotation marks omitted); see also 2A Areeda et al., Antitrust

       Law ¶ 335b, at 78 (“[T]he plaintiff must show that this threatened injury would be

       caused by the alleged antitrust violation and that this threatened injury would

       constitute ‘antitrust injury’ if it actually occurred.”).9 This showing of injury-in-

       fact is analytically separate from—and required in addition to—the showing of




       9
        Plaintiffs seeking damages must also quantify the amount of damages. See
       Assoc. Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S.
       519, 543-44 (1983); Gallant v. BOC Grp. Inc., 886 F. Supp. 202, 209 (D. Mass.
       1995).

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       anticompetitive effects necessary to establish the underlying antitrust violation.10

       Indeed, if it were otherwise, the injury-in-fact inquiry would itself be largely

       redundant: Establishing an actual price increase would simultaneously show an

       anticompetitive effect and an overcharge injury.

             In holding that injury-in-fact was a necessary element of the underlying

       violation, the district court relied primarily on an erroneous interpretation of

       Sullivan v. National Football League. See Nexium, 309 F.R.D. at 140-41. 11 This

       Court’s analysis in Sullivan, however, actually illustrates the distinction between

       antitrust violations and injury-in-fact. Sullivan concerned an antitrust challenge to

       an NFL rule barring public ownership of football teams. The former owner of the

       New England Patriots claimed that this restriction on ownership eligibility violated

       10
         Atlantic Richfield, 495 U.S. at 344 (“proof of a[n antitrust] violation and of
       antitrust injury are distinct matters that must be shown independently”) (quoting
       Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 334.2c, at 330 (1989
       Supp.)); see Volmar Distribs., Inc. v. N.Y. Post Co., 825 F. Supp. 1153, 1161 n.5
       (S.D.N.Y. 1993) (Atlantic Richfield is “clear … that the antitrust injury
       requirement exists separate and apart from the substantive requirements of the
       Sherman Act.”).
       11
         The other cases cited by the district court are similarly consistent with the well-
       established distinction between violation and injury. See Zenith Radio Corp. v.
       Hazeltine Research, Inc., 395 U.S. 100, 130 (1969) (court of appeals holding that
       “failure to prove the fact of injury barred injunctive relief” was “unsound”); Out
       Front Prods., Inc. v. Magid, 748 F.2d 166, 169 (3d Cir. 1984) (“[I]f plaintiff fails
       to establish a causal relationship between its financial difficulties and defendants’
       antitrust violations, its case must fail.” (emphasis added)); Foremost-McKesson,
       Inc. v. Instrumentation Lab., Inc., 527 F.2d 417, 418 (5th Cir. 1976) (citing Zenith
       Radio and noting that plaintiff must demonstrate that “the illegality” caused it
       injury).

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       the Sherman Act because it prevented him from selling his team to the highest

       bidder.

             This Court began by analyzing whether this type of restraint was

       anticompetitive. Sullivan, 34 F.3d at 1096-97. It noted that anticompetitive effects

       are “usually measured by a reduction in output and an increase in prices in the

       relevant market.” Id. at 1097. But it explained that “an action [also] harms the

       competitive process ‘when it obstructs the achievement of competition’s basic

       goals—lower prices, better products, and more efficient production methods.’” Id.

       (quoting Town of Concord, 915 F.2d at 22). Despite no evidence of higher prices

       and thin evidence of any competition for the sale of NFL teams, the Court

       nevertheless concluded that the NFL rule harmed competition because the

       agreement excluded potential purchasers, thereby “making the relevant market

       unresponsive to consumer preference.” Id. at 1101.

             The Court then separately examined whether Sullivan had “suffered

       damages from an antitrust violation and [whether] there is a causal connection

       between the illegal practice and the injury.” Id. at 1103. It found sufficient

       evidence that, in the absence of the NFL’s rule, Sullivan could have sold the team

       to the public for substantially more money and therefore had suffered an injury.

       Id. at 1106. See also Ocean State Physicians Health Plan, Inc. v. Blue Cross &

       Blue Shield of R.I., 883 F.2d 1101, 1105-06 (1st Cir. 1989) (reviewing decision



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       finding a violation of Section 2 of the Sherman Act, but awarding no monetary or

       injunctive relief, and concluding that on appeal the court must “deal first with the

       merits of the jury’s finding of antitrust liability” before deciding whether an

       injunction was appropriate). Consistent with long-established Supreme Court

       precedent, this Court’s Sullivan opinion treated antitrust violation and injury-in-

       fact as distinct analyses. 12

       II.    UNDER ACTAVIS, THE ANTICOMPETITIVE EFFECT OF A REVERSE PAYMENT
              IS THAT IT PREVENTS THE RISK OF COMPETITION
              The distinction between anticompetitive effect and injury-in-fact is

       particularly important in the context of a reverse-payment agreement. Under

       Actavis, the “relevant anticompetitive harm” from a large and unjustified reverse

       payment is that it “prevent[s] the risk of competition.” 133 S. Ct. at 2236

       (emphasis added); see also King Drug Co. of Florence, 791 F.3d at 404, 412; In re


       12
           Other courts have likewise recognized antitrust violations despite plaintiffs’
       inability to show injury. For example, in a series of decisions, the Seventh Circuit
       affirmed a jury’s antitrust liability verdict and the district court’s resulting
       injunction, Blue Cross & Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d
       1406 (7th Cir. 1995), while rejecting plaintiffs’ damages claims, Blue Cross &
       Blue Shield United of Wis. v. Marshfield Clinic, 152 F.3d 588 (7th Cir. 1998). In
       Microbix Biosystems, Inc. v. Biowhittaker, Inc., 172 F. Supp. 2d 680, 695-99 (D.
       Md. 2000), a district court found sufficient evidence that the defendant’s exclusive
       supply agreement violated sections 1 and 2 of the Sherman Act, but found
       insufficient evidence of both injury and causation because intervening events—
       including FDA action—would have prevented the plaintiff from entering the
       market regardless of the defendants’ unlawful conduct. The court made clear that
       the causation and injury requirements were “[i]n addition to proving violation of
       the antitrust laws.” Id. at 696.

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       Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 755 (E.D. Pa. 2014). By holding that

       the plaintiffs could not establish an antitrust violation without showing that the

       reverse payment caused an actual overcharge, the district court misconstrued both

       the established antitrust principles described above and the teaching of Actavis

       itself.

                 In Actavis, the Supreme Court explained that a large reverse payment can

       “induce the generic challenger to abandon its claim with a share of [the] monopoly

       profits that would otherwise be lost in the competitive market.” 133 S. Ct. at 2235;

       see also id. at 2236 (noting that a firm without market power is unlikely “to pay

       large sums to induce others to stay out of its market” (internal quotation marks

       omitted)). The likelihood that a reverse payment will have this effect depends

       upon its size, its independence from services received, and the lack of any other

       convincing justification. Id. at 2237. The Court explained further that if the basic

       reason for the payment is “a desire to maintain and to share patent-generated

       monopoly profits, then, in the absence of some other justification, the antitrust laws

       are likely to forbid the arrangement.” Id.

                 Appellants contend that “[i]n reverse payment cases, the anticompetitive

       effect—maintain[ing] supracompetitive prices—is accomplished by delaying

       generic competition,” and, indeed, that “[n]o one … [has] identified any possible

       anticompetitive effects other than delay.” Consolidated Br. of Direct Purchaser and



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       End-Payor Class Plaintiffs-Appellants at 118-19 (quotation mark omitted), 121.

       But the Actavis opinion never uses the word “delay” to describe the

       anticompetitive harm of a reverse payment. To the contrary, it makes clear that a

       reverse payment can violate the antitrust laws if it induces the generic to abandon

       its patent challenge and stay out of the market regardless of whether the generic

       would actually have otherwise entered the market sooner than permitted by the

       agreement. Id. at 2235; see also id. at 2231 (noting that the patent “may or may

       not be valid, and may or may not be infringed”); id. at 2234 (“The payment in

       effect amounts to a purchase by the patentee of the exclusive right to sell its

       product, a right it already claims but would lose if the patent litigation were to

       continue and the patent were held invalid or not infringed by the generic

       product.”).

             Indeed, the Court recognized that paying a generic competitor to drop its

       patent challenge is anticompetitive even if that challenge were likely to fail:

             The owner of a particularly valuable patent might contend, of course,
             that even a small risk of invalidity justifies a large payment. But, be
             that as it may, the payment (if otherwise unexplained) likely seeks to
             prevent the risk of competition. And, as we have said, that
             consequence constitutes the relevant anticompetitive harm.

       Id. at 2236. The anticompetitive effect of an unlawful reverse payment therefore

       occurs at the moment the agreement is entered. The antitrust violation is distinct

       from the actual injury—such as an overcharge to a specific plaintiff—it may



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       subsequently cause. Valley Drug Co. v. Geneva Pharms., Inc., 344 F.3d 1294,

       1306 (11th Cir. 2003); see also Polk Bros., Inc. v. Forest City Enters., 776 F.2d

       185, 189 (7th Cir. 1985) (“A court must ask whether an agreement promoted

       enterprise and productivity at the time it was adopted.”); Microbix Biosystems, 172

       F. Supp. 2d at 694 (“[A]nti-competitive conduct is determined as of the time the

       conduct occurred, not thereafter.”).

             As the California Supreme Court further observed in a reverse-payment case

       brought under state law, “[e]very case involves a comparison of a challenged

       agreement against a prediction about—a probabilistic assessment of—the expected

       competition that would have arisen in its absence. Every restraint of trade

       condemned for suppressing entry involves uncertainties about the extent to which

       competition would have come to pass.” In re Cipro Cases I & II, 61 Cal. 4th 116,

       150 (2015) (applying parallel state-law provision). But “the law does not condone

       the purchase of protection from uncertain competition any more than it condones

       the elimination of actual competition.” Id. (quoting 12 Phillip E. Areeda &

       Herbert Hovenkamp, Antitrust Law ¶ 2030b, at 220 (3d ed. 2012)); see also

       Sullivan, 34 F.3d at 1100 (in assessing harm to competition, “evidence of actual,

       present competition is not necessary as long as evidence shows the potential for

       competition exists”); Microsoft Corp., 253 F.3d at 79.




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              Accordingly, lower courts applying Actavis have understood that they do not

       need to determine what would have happened in the absence of a reverse payment

       to establish that it violates the antitrust laws. The Third Circuit held that Actavis

       does not “require allegations that defendants could in fact have reached another,

       more competitive settlement” because “the anticompetitive harm is not certain

       consumer loss through higher prices, but rather the patentee’s avoidance of the risk

       of competition.” King Drug Co. of Florence, 791 F.3d at 410. Similarly, another

       court observed that “[t]he anticompetitive harm is not that the patent surely would

       have been invalidated if not for the settlement, and that a generic therefore surely

       would have entered the market sooner,” but “that the reverse-payment settlement

       seeks to prevent the risk of competition.” In re Aggrenox Antitrust Litig., 94 F.

       Supp. 3d 224, 240 (D. Conn. 2015) (internal quotation marks omitted). And the

       California Supreme Court in the Cipro case determined that a reverse payment

       could be anticompetitive even though the brand’s patent had subsequently been

       upheld. 61 Cal. 4th at 159 (“Likewise, consideration of whether the agreement is

       justified as procompetitive will not turn on whether the patent would ultimately

       have been proved valid or invalid.”).

       III.   THE DISTINCTION BETWEEN VIOLATION AND INJURY-IN-FACT HAS
              IMPORTANT PUBLIC POLICY IMPLICATIONS
              As the foregoing discussion illustrates, long-established antitrust principles

       (and the rationale of the Actavis decision) contradict the district court’s conclusion


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       that showing an injury-in-fact is necessary to prove an antitrust violation. This

       error is not merely academic; it has significant implications for government

       antitrust enforcement. Because the FTC, along with the Department of Justice,

       enforces the substantive antitrust laws directly, it need not show a specific injury as

       a private plaintiff would. See California v. Am. Stores Co., 495 U.S. at 295-96 (“In

       a Government case the proof of the violation of law may itself establish sufficient

       public injury to warrant relief.”); 2 Areeda & Hovenkamp, Antitrust Law ¶ 303, at

       61. It can “sue anyone who violates the antitrust laws” and obtain an injunction to

       block an anticompetitive agreement or conduct. Zoellner v. St. Luke’s Reg’l Med.

       Ctr., Ltd., 937 F. Supp. 2d 1261, 1266 (D. Id. 2013) (citing Glen Holly Entm’t Inc.

       v. Tektronix Inc., 352 F.3d 367, 371 (9th Cir. 2003)).

             The distinction between public and private suits is intentional, reflecting the

       strong public law enforcement interest in allowing the government to redress

       conduct when “the reasonably anticipated consequence” is a “statutorily prohibited

       injury.” 2 Areeda & Hovenkamp, Antitrust Law ¶ 303, at 61. The leading antitrust

       treatise offers a useful analogy:

             [T]he state can interdict drunken driving even when it has caused no
             injury at all in the particular case. Its power results from the fact that
             drunken driving is known to have harmful consequences and it is less
             socially costly to arrest the driver before rather than after those
             consequences occur. The private plaintiff’s interest, by contrast, is
             purely remedial.




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       Id. at 62. The public interest in governmental policing of conduct that threatens

       harm to the competitive process upon which the U.S. economy depends is no less

       weighty. See United States v. Topco Assocs., Inc., 405 U.S. 596, 610 (1972)

       (“Antitrust laws in general, and the Sherman Act in particular, are the Magna Carta

       of free enterprise.”).

             The district court did recognize that the FTC, as a government enforcer,

       faces requirements that differ from those of private plaintiffs. Nexium, 309 F.R.D.

       at 141. The difference, as discussed above, derives from the FTC’s authority to

       enforce the antitrust laws. See 15 U.S.C. § 45(a)(2). The district court, however,

       erroneously attributed this distinction to Section 5(n) of the FTC Act (15 U.S.C.

       § 45(n)). That section governs the Commission’s authority over “unfair … acts or

       practices,” not its distinct authority to stop “unfair methods of competition.” See

       H.R. Rep. No. 103-617 at 12 (1994) (Conf. Rep.), as reprinted in 1994

       U.S.C.C.A.N. 1795, 1798 (noting that 15 U.S.C. § 45(n) codifies the

       Commission’s Policy Statement on Unfairness (appended to Int’l Harvester Co.,

       104 F.T.C. 949, 1070, 1072 (1984)), which specifically does not apply to “unfair

       methods of competition”). Accordingly, it is irrelevant to a case the FTC would

       bring under Actavis because the Actavis case alleges only “unfair methods of

       competition.”




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             Moreover, the court’s reliance on 15 U.S.C. § 45(n) incorrectly suggests that

       the FTC bears the burden of showing in an antitrust case that “a defendant’s action

       is likely to cause injury.” Nexium, 309 F.R.D. at 141 (quoting Ian Simmons,

       Kenneth R. O’Rourke & Scott Schaeffer, Viewing FTC v. Actavis Through the

       Lens of Clayton Act Section 4, Antitrust, Vol. 28, No. 1 (2013)). But, as discussed

       above, the FTC bears no burden to show an injury-in-fact (either actual or likely)

       from anticompetitive conduct.

                                         CONCLUSION

             Whatever outcome it reaches on the merits, this Court should clarify that

       showing an antitrust violation does not require proof of injury-in-fact.

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         1831, 24-1832, 24-1833, and 24-1849 (consolidated)

           IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT
             –––––––––––––––––––––––––––––––––––––––––––––
               UNITED HEALTHCARE SERVICES, INC.,
                        Plaintiff-Appellant,
                                     v.
                    GILEAD SCIENCES, INC., et al.,
                         Defendants-Appellees.
                            Case No. 24-1585
             –––––––––––––––––––––––––––––––––––––––––––––
             On Appeal from the United States District Court
                  for the Norther District of California,
               No. 3:19-cv-02573 (Hon. Edward M. Chen)
             –––––––––––––––––––––––––––––––––––––––––––––
        BRIEF FOR THE FEDERAL TRADE COMMISSION
      AS AMICUS CURIAE IN SUPPORT OF NEITHER PARTY
           –––––––––––––––––––––––––––––––––––––––––––––
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                                 (caption, cont’d)
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      BLUE CROSS AND BLUE SHIELD OF FLORIDA, INC., et al.,
                     Plaintiffs-Appellants,
                                        v.
                     GILEAD SCIENCES, INC., et al.,
                         Defendants-Appellees.
                           Case No. 24-1601
             –––––––––––––––––––––––––––––––––––––––––––––
  FRATERNAL ORDER OF POLICE, MIAMI LODGE 20 INSURANCE
                   TRUST FUND, et al.,
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                         Defendants-Appellees.
                           Case No. 24-1639
             –––––––––––––––––––––––––––––––––––––––––––––
                             HUMANA INC.
                            Plaintiff-Appellant,
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                         Defendant-Appellee.
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                                 (caption, cont’d)
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                             HUMANA INC.
                            Plaintiff-Appellant,
                                        v.
                     GILEAD SCIENCES, INC., et al.,
                         Defendants-Appellees.
                           Case No. 24-1662
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                     Plaintiffs-Appellants,
                                        v.
                     GILEAD SCIENCES, INC., et al.,
                         Defendants-Appellees.
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                     Plaintiffs-Appellants,
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                        Defendant-Appellee.
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                         CENTENE CORPORATION,
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                         Defendant-Appellee.
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                         Defendants-Appellees.
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                         Defendant-Appellee.
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      INTRODUCTION AND INTERESTS OF AMICUS CURIAE

       In FTC v. Actavis, Inc., 570 U.S. 136 (2013), the Supreme Court

 held that “reverse-payment” agreements may violate the antitrust laws.

 In a reverse-payment agreement, a patentholder (usually a brand

 pharmaceutical company) compensates an alleged infringer (usually a

 generic competitor) in exchange for the latter’s agreement to drop its

 litigation challenges to the patent. In effect, the patentholder shares

 some of its monopoly profits with its potential competitor to eliminate

 the possibility of price-lowering competition. Although several other

 circuits have addressed the Actavis framework, this is the first case in

 which this Court has been called upon to assess the legality of an

 alleged reverse-payment agreement. The Federal Trade Commission

 submits this brief both to set forth the legal standards that govern

 reverse-payment claims under Actavis and to address several errors

 committed by the district court in applying those standards.

       As an independent agency of the United States charged with

 preventing unfair methods of competition, see 15 U.S.C. § 45(a), the

 Commission has a strong interest in the correct application of the law

 relating to reverse-payment agreements. The Commission has long used
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 its law enforcement authority to address anticompetitive

 pharmaceutical patent settlements through administrative proceedings

 and federal court suits, including the Actavis litigation. 1 The

 Commission also regularly files amicus curiae briefs in pharmaceutical

 antitrust cases, including during the district court proceedings of one of

 the cases now on appeal.

       Congress has recognized that pharmaceutical settlements

 implicate the Commission’s competition mission and expertise. Since

 2003, Congress has required certain agreements between drugmakers

 to be filed with the Commission, including agreements to settle patent

 litigation, so that the Commission can evaluate whether those

 agreements may violate the antitrust laws. See Pub. L. No. 108-173,

 §§ 1111-1118 (codified at 21 U.S.C. § 355 note). The Commission

 reviews and publishes data regarding these agreements. More

 generally, the Commission has issued several empirical studies

 addressing the competitive effects of generic substitution for brand-




   1
    See, e.g., Impax Labs., Inc. v. FTC, 994 F.3d 484 (5th Cir. 2021); FTC
 v. AbbVie, Inc., 976 F.3d 327, 351-59 (3d Cir. 2020); King Drug Co. of
 Florence v. Cephalon, Inc., 88 F. Supp. 3d 402 (E.D. Pa. 2015).

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 name drugs. 2 The Supreme Court and other federal courts have relied

 on those studies. 3

       In this case, Appellants allege that Gilead Pharmaceuticals and

 Teva Pharmaceuticals entered into unlawful reverse-payment

 agreements relating to two HIV drugs. A jury returned a special verdict

 for the defendants, finding that Appellants failed to prove either

 (1) that Gilead had sufficient market power or (2) that the settlements

 included large and unjustified reverse payments. The Commission takes

 no position on market power; it writes to explain that the district court

 committed two significant legal errors when analyzing the reverse-

 payment issue. First, the district court wrongly held that defendants

 could argue that the payment in question was not “large” in comparison

 to Gilead’s monopoly profits. In fact, the proper benchmark is the

 litigation expense the brand avoided by settling. Second, the district

 court incorrectly held that the strength of Gilead’s patent could justify a



   2
    E.g., FTC, Authorized Generic Drugs: Short-Term Effects and Long-
 Term Impact (2011); FTC, Pay-for-Delay: How Drug Company Pay-Offs
 Cost Consumers Billions (2010).
   3
   See, e.g., Caraco Pharm. Labs., Ltd. v. Novo Nordisk A/S, 566 U.S.
 399, 408 (2012); King Drug Co. of Florence, Inc. v. SmithKline Beecham
 Corp., 791 F.3d 388, 404 n.21 (3d Cir. 2015).

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 reverse payment. Under Actavis, patent strength is legally irrelevant to

 whether an antitrust violation occurred. These errors, if adopted by

 other courts, could significantly harm efforts by government and private

 parties to redress reverse-payment agreements. Thus, if the Court

 reaches the reverse-payment issues, it should correct these errors to

 ensure proper application of the law in future reverse-payment cases.

                               STATEMENT
 A.    Regulation of Brand and Generic Drugs Under the
       Hatch-Waxman Act

       Reverse-payment agreements may occur in patent litigation

 arising from the Drug Price Competition and Patent Term Restoration

 Act of 1984, commonly known as the Hatch Waxman Act. Under that

 scheme, the manufacturer of a new drug (i.e., the “brand” company)

 must file a New Drug Application (“NDA”) with the Food and Drug

 Administration, demonstrating that the drug is safe and effective. 21

 U.S.C. § 355(b). The brand company must list certain patents relating

 to that drug, along with their expiration dates, in an FDA publication

 known as the Orange Book. The NDA must be approved before the

 brand can market the drug.




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       After an NDA for a drug is approved, another company may file an

 Abbreviated New Drug Application (“ANDA”), seeking to market a

 generic version of the drug. Id. § 355(j). An ANDA is a streamlined

 process that does not require proof of safety or efficacy. Instead, the

 ANDA applicant must show that the generic drug is “bioequivalent” to

 the brand, i.e., that it contains the same active ingredient in the same

 amounts and works in the body the same way. Id. § 355(j)(2)(A). Generic

 drugs are as safe and effective as their brand name counterparts but

 are usually much less expensive Accordingly, third party payors (e.g.,

 health insurers) encourage pharmacists to substitute generics for

 brand-name drugs, and all states permit such substitution. In theory,

 once generics enter the market, they should typically capture the vast

 majority of the brand’s sales, with consumers then getting the same

 medication at much lower prices.

       If an ANDA applicant seeks to market a generic drug before

 expiration of a patent listed in the Orange Book for the brand-name

 reference drug, it must include a “Paragraph IV” certification in its

 ANDA asserting that the patent is invalid or that the generic product

 will not infringe Id. § 355(j)(2)(A)(vii)(IV). Such a certification is deemed



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 a technical act of infringement, which enables the brand company to file

 suit.

         As an incentive to encourage generic development, the first

 company to file an ANDA containing a Paragraph IV certification for a

 drug receives a 180-day period of generic exclusivity; the FDA will not

 approve other generics until 180 days after the first ANDA filer begins

 commercial marketing of its generic. Id. § 355(j)(5)(B)(iv). This right can

 be extraordinarily valuable—sometimes worth as much as “several

 hundred million dollars.” Actavis, 570 U.S. at 155.

  B.     Reverse Payments Can Be Antitrust Violations

         In patent litigation between a brand and a generic company under

 the Hatch-Waxman scheme, the profits the generic company stands to

 earn if it wins the infringement suit and launches its product are

 normally much less than those the brand stands to lose from generic

 entry. See, e.g., Joblove v. Barr Labs., Inc. (In re Tamoxifen Citrate

 Antitrust Litig.), 466 F.3d 187, 209 (2d Cir. 2006). Thus, both the brand

 and generic manufacturers may benefit, at the expense of consumers, if

 the parties settle the lawsuit with the brand company paying

 compensation to the generic in exchange for the generic’s agreement to



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 stop contesting the patent and stay out of the market. Such an

 arrangement is called a “reverse payment” because it involves the

 plaintiff (the brand) paying the defendant (the generic), rather than the

 other way around. In effect, the brand company preserves its monopoly

 by sharing monopoly profits with the generic.

       In Actavis, the Supreme Court held that a “large and unjustified”

 reverse payment “can bring with it the risk of significant

 anticompetitive effects.” Actavis, 570 U.S. at 158. Accordingly, reverse-

 payment agreements may violate the Sherman Act’s prohibition on

 restraints of trade. See 15 U.S.C. § 1. The anticompetitive concern with

 a reverse payment is that it may “seek[] to prevent the risk of

 competition.” Actavis, 570 U.S. at 158. The disputed patent “may or

 may not be valid, and may or may not be infringed.” Id. at 147. But a

 reverse payment can avoid a judicial decision on those questions and

 instead “maintain supracompetitive prices to be shared among the

 patentee and the challenger rather than face what might have been a

 competitive market.” Id. at 157. The result is that “[t]he patentee and

 the challenger gain; the consumer loses.” Id. at 154.




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       Courts applying the Actavis framework have recognized that a

 reverse payment need not take the form of a straight transfer of money.

 Any arrangement that conveys monetary value to a generic can be a

 reverse payment. Rochester Drug. Co-Op., Inc. v. Warner Chilcott Co.

 (In re Loestrin 24 Fe Antitrust Litig.), 814 F.3d 538, 549-51 (1st Cir.

 2016) (concluding that “Actavis should reach non-monetary reverse

 payments” and citing numerous cases); King Drug of Florence, Inc. v.

 SmithKline Beechham Corp., 791 F.3d 388, 403 (3d Cir. 2015) (“We do

 not believe Actavis’s holding can be limited to reverse payments of

 cash.”). For example, an agreement by a brand company not to launch

 its own authorized generic to compete with the generic company’s

 product may be of “great monetary value” and is “likely to present the

 same types of problems as reverse payments of cash.” Id.

       Actavis held that the legality of reverse-payment agreements

 should be evaluated under antitrust law’s “rule of reason.” Actavis, 570

 U.S. at 158-60. To determine whether a challenged restraint violates

 the rule of reason, courts apply a three-step burden-shifting framework.

 Ohio v. Am. Express Co., 585 U.S. 529, 541 (2018). At the first step, the

 plaintiff must show that the agreement has substantial anticompetitive



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 effect. Id. For a reverse-payment agreement, this requires proof that (1)

 the brand company has market power (i.e., the ability to raise prices

 above those that would be charged in a competitive market), and (2) the

 agreement involved a payment from the brand to the generic that was

 “large and unjustified.” Impax Labs, Inc. v. FTC, 994 F.3d 484, 492-94

 (5th Cir. 2021); see also King Drug, 791 F.3d at 412. If the plaintiff

 makes this showing, the burden shifts to the defendant to show that the

 restraint produces procompetitive benefits. If that showing is made, the

 burden shifts to the plaintiff to show that any procompetitive effects

 could be obtained by less restrictive means. Ohio, 585 U.S. at 541-42;

 Impax, 994 F.3d at 492; King Drug, 791 F.3d at 412. Where the plaintiff

 fails to show a less restrictive alternative, “the court must balance the

 anticompetitive and procompetitive effects of the restraint,” and “[i]f the

 anticompetitive harms outweigh the procompetitive benefits, then the

 agreement is illegal.” Impax, 994 F.3d at 492.

       Private antitrust plaintiffs must clear an additional hurdle to

 prevail in a reverse-payment suit. In addition to showing that the

 reverse payment violated the antitrust laws, private plaintiffs must

 show that the reverse payment caused them an antitrust injury—i.e.,



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 an injury of the type the antitrust laws were intended to prevent that

 flows from the violation. In re Wellbutrin XL Antitrust Litig., 868 F.3d

 132, 163-65 (3d Cir. 2017); Am. Sales Co., LLC v. AstraZeneca LP (In re

 Nexium (Esomeprazole) Antitrust Litig.), 842 F.3d 34, 60 (1st Cir. 2016);

 see generally Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477,

 486, 489 (1977). Although this requirement is referred to “antitrust

 standing,” it is an element of the antitrust merits rather than a

 jurisdictional consideration related to Article III standing. Wellbutrin,

 868 F.3d at 163-64. In the context of a reverse-payment claim brought

 by drug purchasers, the antitrust standing inquiry usually turns on

 whether the generic would have launched its drug at an earlier date but

 for the reverse payment, thus lowering prices and saving the

 purchasers money. See Nexium, 842 F.3d at 60 (plaintiff seeking

 damages “must show actual, quantifiable damages by reason of the

 antitrust violation”).

       Government enforcers like the FTC, by contrast, “stand in

 different shoes.” Id. The government “is empowered to directly enforce

 the substantive antitrust laws” and its interest is “to ‘prevent and

 restrain’ violations of the antitrust laws along with the attendant social



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 costs such violations can cause.” Id. Thus the government, unlike a

 private plaintiff, need not show that a reverse payment caused a

 specific quantifiable injury.

 C.    Proceedings in This Case

       Appellants in this case are classes of direct and indirect drug

 purchasers who allege that Gilead and Teva entered into unlawful

 reverse-payment agreements. Gilead holds NDAs for the drugs Truvada

 and Atripla—both blockbuster drugs used in the treatment of HIV. The

 products were protected by patents that expired on various dates

 between 2017 and 2021. Teva filed ANDAs to market generic versions

 of both drugs in 2009, and was the first generic company to do so.

 Ordinarily, as the first filer, Teva would have been entitled to the 180-

 day period of generic exclusivity if it prevailed in patent litigation, but

 Appellants contend that, under the terms of the Hatch-Waxman Act

 Teva forfeited this right. See 21 U.S.C. § 355(j)(5)(D) (providing that

 forfeiture of 180-day generic exclusivity period occurs where, inter alia,

 generic applicant fails to obtain tentative approval for its product from

 FDA within 30 months).




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       Gilead sued Teva for patent infringement. The parties settled in

 2014, after a bench trial but before the court ruled on the merits. The

 settlement agreement allowed Teva to launch generic versions of

 Truvada and Atripla six months before any other generic manufacturer

 licensed by Gilead. Appellants contend that this contractual period of

 generic exclusivity was highly lucrative to Teva—and amounted to a

 large and unjustified reverse payment—given that Teva had forfeited

 the statutory 180-day generic exclusivity period authorized by the

 Hatch-Waxman Act.

       Following a trial, a jury returned a special verdict finding for

 Gilead and Teva on two independent grounds. First, the jury found that

 Appellants did not “prove that Gilead had market power within the

 relevant market(s) that included Truvada and/or Atripla.” ECF 2057 at

 2. Second, although the verdict form instructed the jury to skip the

 remaining questions if it found no market power, the jury proceeded to

 answer the next question and found that Appellants did not prove that

 the “patent settlement agreement between Gilead and Teva included a

 ‘reverse payment’ from Gilead to Teva so that Teva would delay its

 entry into the market and Gilead could thereby avoid the risk of generic



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 competition.” Id. The jury did not reach the antitrust injury questions

 on the verdict form, which asked whether Appellants had proven that

 the defendants’ conduct caused entry of generic Truvada or generic

 Atripla to be delayed, thereby causing any one or more of the …

 plaintiffs to pay some amount more for the drug than they would have

 paid if generic entry had not been delayed.” Id. at 3.

       Appellants moved for a new trial (ECF 2088), but the district

 court denied the motion, holding that sufficient evidence supported the

 jury’s answers to both questions. ECF 2129.

                               ARGUMENT

       The Commission takes no position on the jury’s finding that

 Appellants failed to prove Gilead had sufficient market power, which

 would be a sufficient basis for the judgment. But at various points in

 the case, the district court misapplied the law regarding reverse

 payments in a way that could impede future law enforcement efforts by

 the FTC and other government antitrust enforcers. If the Court reaches

 the question of whether the agreement between Gilead and Teva

 included a reverse payment to delay Teva’s market entry, it should

 correct these errors.



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 I.       THE BRAND COMPANY’S SAVED LITIGATION COSTS ARE THE
          RELEVANT BENCHMARK FOR DETERMINING WHETHER A
          REVERSE PAYMENT WAS LARGE.

          Under Actavis, a plaintiff must present evidence that a reverse

 payment was “large and unjustified” at the first step of the rule-of-

 reason analysis. Actavis, 570 U.S. at 158; see also Impax, 994 F.3d at

 493-94. The benchmark for determining whether a reverse payment is

 large is “its scale in relation to the [brand’s] anticipated future litigation

 costs.” Actavis, 570 U.S. at 159. 4 In this case, Appellants moved in

 limine to exclude evidence and arguments regarding benchmarks other

 than avoided litigation costs. The district court denied the motion,

 allowing the defendants to introduce evidence and make arguments

 that the payment was not “large” in comparison to the brand’s

 monopoly profits and/or the size of the relevant market. ECF 1716 at

 12-14. The district court’s ruling misapplied Actavis and is contrary to

 the decisions of other courts of appeals.




      4
    If the payment, or part of it, was legitimately for “compensation for
 … services that the generic has promised to perform,” see Actavis, 570
 U.S. at 156, then that portion may be excluded when assessing whether
 the payment was “large.” In this case, however, there is no claim that
 the payment was justified as compensation for services.

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       Actavis makes clear that the focus of the inquiry is on the

 payment’s size relative to avoided litigation costs. The Supreme Court

 was concerned that the brand might be using “a share of its monopoly

 profits” to “induce the generic challenger to abandon its claim.” Actavis,

 570 U.S. at 154. The Court explained that this concern is not present

 when the payment “amount[s] to no more than a rough approximation

 of the litigation expenses saved through the settlement.” Actavis, 570

 U.S. at 156 (“Where a reverse payment reflects traditional settlement

 considerations, such as avoided litigation costs … there is not the same

 concern that a patentee is using its monopoly profits to avoid the risk of

 patent invalidation or a finding of noninfringement.”).

       If the brand is paying more than saved litigation costs (and the

 payment is not explained by something else the brand is purchasing),

 that additional money replaces profits the generic misses out on by not

 competing. As a result, the generic “presumably agrees to an [] entry

 date that is later than it would have otherwise accepted.” King Drug

 Co., 791 F.3d at 405.

       Nowhere in Actavis does the Supreme Court identify the brand’s

 monopoly profits or the size of the overall market as a benchmark for



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 “large.” Instead, the Court observed that “patentees sometimes pay a

 generic challenger a sum even larger than what the generic would gain

 in profits if it won the [patent] litigation and entered the market.”

 Actavis, 570 U.S. at 154. And it then cited an academic article

 explaining that the generic’s expected profits are usually only a small

 portion of the brand’s pre-competition monopoly profits. See C. Scott

 Hemphill, Paying for Delay, 81 N.Y.U. L.R. 1553, 1580-81 (2006). That

 is, even a very small slice of the brand’s monopoly profits may be

 enough to induce a generic to abandon its patent challenge and delay

 market entry.

       Other courts applying the Actavis framework have properly

 recognized that the inquiry focuses on the brand’s avoided litigation

 costs rather than on monopoly or market profits. For example, in FTC v.

 AbbVie, Inc., 976 F.3d 327 (3d Cir. 2020), the Third Circuit held that

 the FTC plausibly alleged that a reverse payment was “large” where it

 conferred “extremely valuable” rights to the generic that “far exceeded

 the litigation costs [the parties] saved by settling.” Id. at 356.; see also

 In re Lipitor Antitrust Litig,, 868 F.3d 231, 253-54 (3d Cir. 2017)

 (plaintiffs plausibly alleged that reverse payment was large where it far



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 exceeded saved litigation costs); In re Xyrem (Sodium Oxybate)

 Antitrust Litig., 555 F. Supp. 3d 829, 865 (N.D. Cal. 2021) (“Payments

 may be sufficiently ‘large’ because they allegedly are ‘extremely

 valuable’ and exceed litigation costs saved through settlement.”).

       In reaching a contrary conclusion, the district court relied on

 language from Actavis stating that a reverse payment may not be

 unlawful if it “reflect[s] compensation for other services that the generic

 has promised to perform” or there are “other justifications.” ECF 1716

 at 12-13 (quoting Actavis, 570 U.S. at 156). But these factors do not go

 to whether the reverse payment is “large.” 5 Rather, the Court discussed

 these factors in a paragraph addressing whether a payment is

 “unjustified.” Actavis, 570 U.S. at 156. The fact that a defendant may be

 able to justify a large reverse payment has no bearing on what

 benchmark should be used to assess whether the payment is in fact

 “large.” And nothing about the passages the district court quoted from

 Actavis suggests that the size of the payment can be judged against the

 brand’s monopoly profits.



   5
   Moreover, as noted above, there is no claim in this case that the
 payment was justified as compensation for services.

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       The district court also held that using avoided litigation costs as

 the relevant benchmark “essentially assumes that Gilead’s monopoly

 profits were not based on a lawful monopoly arising from the patent but

 rather based on an unlawful monopoly because the patent is either

 invalid or not infringed.” ECF 1716 at 13-14. But analyzing the size of

 the payment in accordance with the factors identified by the Supreme

 Court involves no judgment as to the validity or infringement of the

 patent. 6 Indeed, the problem with using monopoly profits as a

 benchmark for “large” is not that doing so would impugn those profits

 as illegitimate; it is that the comparison sheds no light on whether the

 size of the payment could induce the generic not to compete.

       The district court also misread the Supreme Court’s observation in

 Actavis that “the owner of a particularly valuable patent might contend

 that even a small risk of invalidity justifies a large payment.” Actavis,

 570 U.S. at 157. The district court read this language as “suggest[ing]”

 that the brand’s profits may be considered in assessing “whether the

 size of a reverse payment is large.” ECF 1716 at 14. In fact, the



   6
   Patent validity is also irrelevant to the antitrust rule-of-reason
 analysis, as discussed in Part II.

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 Supreme Court was making the opposite point. The next two sentences

 in Actavis state: “But, be that as it may, the payment (if otherwise

 unexplained) likely seeks to prevent the risk of competition. And … that

 consequence constitutes the relevant anticompetitive harm.” Actavis,

 570 U.S. at 157. In other words, a large and unexplained reverse

 payment raises anticompetitive concerns even when it protects a

 valuable patent facing only “a small risk of invalidity,” Actavis, 570 U.S.

 at 157. The district court’s interpretation that having a valuable patent

 with large monopoly profits entitles a brand company to lawfully make

 a larger reverse payment thus misapprehends the Supreme Court’s

 meaning.

       Finally, the district court erred in relying upon an unreported

 district court case holding without explanation or analysis that

 defendants in a reverse payment case could introduce evidence that the

 value of their drug franchise was a legitimate benchmark for evaluating

 whether a payment was large. ECF 1716 at 13. In re Namenda Indirect

 Purchaser Antitrust Litig., No. 1:15-cv-6549, 2022 WL 3362429, at *2

 (S.D.N.Y. Aug. 15, 2022). Like the district court’s reasoning here, this

 conclusion is inconsistent with what Actavis actually says. This Court



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 should follow Actavis and the Third Circuit and hold that saved

 litigation costs are the appropriate benchmark for determining whether

 a reverse payment is large.

 II.   PATENT MERITS ARE NOT RELEVANT TO THE RULE-OF-
       REASON ANALYSIS THAT DETERMINES WHETHER A REVERSE
       PAYMENT IS UNLAWFUL.

       Actavis makes clear that whether a reverse-payment agreement

 violates the antitrust laws does not depend on the strength of the

 brand’s patent (i.e., whether the patent is likely to be held invalid in

 patent litigation). The Court held that “it is normally not necessary to

 litigate patent validity to answer the antitrust question.” Actavis, 570

 U.S. at 157. It explained that “a small risk of invalidity” does not justify

 a large payment, because the payment still “likely seeks to prevent the

 risk of competition,” which “constitutes the relevant anticompetitive

 harm.” Id.

       The district court strayed from these principles. It allowed the

 defendants to argue to the jury that, in assessing anticompetitive effects

 under the rule of reason: “if there were a payment, if that payment did

 not result in delayed entry by Teva, the Defense wins this case.” ECF

 2046 at 3287-88. The defendants then argued at length as to why



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 Gilead’s patents would have been upheld regardless of the payment. See

 ECF 2046 at 3305-25. Later, in denying Appellants’ motion for a new

 trial, the district court accepted the defendants’ arguments that “even if

 there were some kind of payment to Teva, there was no payment for

 delay (i.e., no quid pro quo) because there was evidence that Gilead’s

 patents were strong and the strength of Gilead’s patents explained the

 entry date” provided for in the settlement agreement. ECF 2129 at 19.

 The court also specifically rejected Appellants’ arguments that the

 patent merits are relevant only to causation, holding that “even though

 a large and unexplained reverse payment allows a jury to infer pay-for-

 delay, that does not mean that a defendant is barred from arguing no

 pay-for-delay because the patent owned by defendant was strong.

 Defendants made such a showing here and supported it with

 substantial evidence” Id. at 20.

       This analysis reflects two basic errors. First, the district court

 improperly held that evidence of the patent merits could support the

 jury’s conclusion that the Gilead-Teva settlement did not include a

 reverse payment. Second, the court conflated the question of whether an

 antitrust violation occurred—that is, whether an unlawful reverse



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 payment was made—with the entirely separate question of whether any

 violation caused the plaintiffs’ antitrust injury.

       The strength of a patent is irrelevant to whether a reverse

 payment has anticompetitive effects—which are instead established by

 proving a large and unjustified payment. 7 The harm from a reverse

 payment is that it forestalls any possibility that the generic will win the

 patent case and be allowed to compete. As the Actavis district court

 explained on remand: “[T]he actual validity of the patent is irrelevant to

 the question of whether the reverse payments violated the antitrust

 laws. Paying the generics to stay out of the market for the purpose of

 avoiding the risk of competition is an antitrust harm, regardless of

 whether or not the patent is actually valid and infringed.” FTC v.

 Actavis, Inc. (In re Androgel Antitrust Litig. (No. II)), No. 1:09-cv-955,

 2018 WL 2984873, at *11 (N.D. Ga. June 14, 2018).

       The Supreme Court’s exclusion of patent merits from the rule-of-

 reason analysis reflects the practical reality that “the impact of an


   7
    As discussed above in Section I, whether a reverse payment is large
 turns on the size of the payment relative to avoided litigation costs, and
 whether it is justified turns on the reason for making a large payment—
 for example, if the payment represents compensation for services
 rendered.

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 agreement on competition is assessed at the time it was adopted.”

 Impax, 994 F.3d at 496. When a reverse-payment agreement is adopted,

 the outcome of the patent litigation is uncertain, but the presence of a

 large and unjustified reverse payment shows that the parties perceived

 a risk of competition and were working to reduce it. As the Supreme

 Court of California has explained (interpreting Actavis and applying the

 state law analog to the Sherman Act), “[i]f a brand is willing to pay a

 generic more than the costs of continued litigation, and more than the

 value of any collateral benefits, in order to settle and keep the generic

 out of the market, there is cause to believe some portion of the

 consideration is payment for exclusion beyond the point that would

 have resulted, on average, from simply litigating the case to its

 conclusion.” In re Cipro Cases I & II, 348 P.3d 845, 867 (Cal. 2015).

 “Otherwise, the brand would have had little incentive to settle at such a

 high price.” Id.

       Conversely, a generic company that receives a large and

 unjustified payment “presumably agrees to an [] entry date that is later

 than it would have otherwise accepted” since the generic is presumably

 agreeing to an entry date later than it when it would be entitled to



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 enter if it won the lawsuit. King Drug, 791 F.3d at 405. Regardless of

 whether the parties viewed the patent as “strong” or “weak,” a large

 and unjustified reverse payment only serves to reduce the potential for

 competition compared to what the parties believed it otherwise would

 have been.

       The district court’s misstatement about the relevance of the

 patent merits appears to have stemmed at least partly from its

 conflation of, on the one hand, the rule-of-reason analysis applicable

 when determining the existence of an antitrust violation—and, on the

 other hand, the causation and antitrust injury analyses applicable in

 suits brought by private plaintiffs. To establish that a reverse payment

 caused antitrust injury, a private plaintiff may need to show that the

 payment actually caused the generic to enter the market (and introduce

 price competition) later than it otherwise would have. This may entail

 an assessment of whether the generic would have prevailed in the

 patent case. See, e.g., Wellbutrin, 868 F.3d at 164-65. But the question

 of whether a private plaintiff can show an antitrust injury is distinct

 from whether an antitrust violation (i.e., large and unjustified reverse

 payment) has occurred. See Nexium, 842 F.3d at 60; see also Atl.



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 Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 344 (1990) (“[P]roof of

 a[n antitrust] violation and of antitrust injury are distinct matters that

 must be shown independently.”). It is important to address these issues

 separately because the antitrust injury requirement applies only to

 private plaintiffs, not to the government.

       Here, the district court did not separate the question of antitrust

 injury—i.e., whether the payment caused delay by inducing Teva to

 enter the market with generics at a later date than it would have done

 absent the agreement—from the question of whether there was a

 reverse payment that violated the antitrust laws. See ECF 2129 at 19.

 The district court acknowledged that it “under[stood]” this legal

 distinction,” but did “not see a need for this distinction to be made” in

 this case because Appellants needed to show antitrust injury and

 damages in addition to proving a violation. ECF 1861 at 63. That was

 legal error.

       As the First Circuit explained in correcting a similar error, the

 conclusion that a reverse payment did not actually delay the generic’s

 entry establishes that, “notwithstanding the existence of an antitrust

 violation, the plaintiffs failed to establish an antitrust injury that



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 entitled them to monetary relief.” Nexium, 842 F.3d at 60 (emphasis

 added). In this case, the jury never reached the antitrust injury

 question because it found that no violation had occurred. Since patent

 merits are at most relevant to antitrust injury, it was error for the court

 to allow an argument that the patent would have been upheld as part of

 the rule-of-reason analysis. This distinction is not merely academic:

 Because government antitrust enforcers do not need to prove antitrust

 injury, conflating the two standards can improperly increase the

 government’s burden in a public antitrust case and hinder effective

 government enforcement.




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                                CONCLUSION

       If the Court reaches the reverse-payment issues, it should correct

 the district court’s errors.

                                     Respectfully submitted,

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  September 24, 2024




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                             CERTIFICATES
       I certify that the foregoing brief complies with Federal Rule of

 Appellate Procedure 29(a)(5), in that it contains 5,101 words.

       I further certify that on September 24, 2024, I filed the foregoing

 brief with the Court’s appellate CM/ECF system. Counsel for all parties

 are registered users of the Court’s appellate CM/ECF system.

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                                 CERTIFICATE OF SERVICE

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